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                              Schedule 5
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                                                     Schedule 5 - Works Dropped From Charter For Which Plaintiffs Obtained Statutory Damages in This Case



                           Artist                                                Track                                  Reg. No.                            Plaintiff     PX-01 #    PX-02 #     Charter Orig.     Charter Orig.
                                                                                                                                                                                                   Ex. A #           Ex. B #
1   Avril Lavigne                                       I Always Get What I Want                                   SR0000332312        Arista Music                      68         n/a        62                n/a
2   CeeLo Green                                         Fool For You                                               SR0000796589        Elektra Entertainment Group       6027       n/a        1417              n/a
3   Bone Thugs N Harmony                                1st Of Tha Month                                           SR0000225335        Sony Music Entertainment          888        n/a        2014              n/a
4   Bone Thugs N Harmony                                Buddah Lovaz                                               SR0000225335        Sony Music Entertainment          889        n/a        2015              n/a
5   Bone Thugs N Harmony                                Cleveland Is The City                                      SR0000330830        Sony Music Entertainment          890        n/a        2016              n/a
6   Bone Thugs N Harmony                                Crept And We Came                                          SR0000225335        Sony Music Entertainment          891        n/a        2017              n/a
7   Bone Thugs N Harmony                                Da Introduction                                            SR0000225335        Sony Music Entertainment          892        n/a        2018              n/a
8   Bone Thugs N Harmony                                Die Die Die                                                SR0000225335        Sony Music Entertainment          893        n/a        2019              n/a
9   Bone Thugs N Harmony                                East 1999                                                  SR0000225335        Sony Music Entertainment          894        n/a        2021              n/a
10 Bone Thugs N Harmony                                 Ecstasy                                                    SR0000274908        Sony Music Entertainment          895        n/a        2022              n/a
11 Bone Thugs N Harmony                                 Eternal                                                    SR0000225335        Sony Music Entertainment          896        n/a        2023              n/a
12 Bone Thugs N Harmony                                 Get'Cha Thug On                                            SR0000260406        Sony Music Entertainment          897        n/a        2024              n/a
13 Bone Thugs N Harmony                                 Home                                                       SR0000330830        Sony Music Entertainment          898        n/a        2025              n/a
14 Bone Thugs N Harmony                                 Land Of Tha Heartless                                      SR0000225335        Sony Music Entertainment          899        n/a        2026              n/a
15 Bone Thugs N Harmony                                 Look Into My Eyes                                          SR0000260406        Sony Music Entertainment          900        n/a        2027              n/a
16 Bone Thugs N Harmony                                 Mo'Murda                                                   SR0000225335        Sony Music Entertainment          901        n/a        2028              n/a
17 Bone Thugs N Harmony                                 Money, Money                                               SR0000330830        Sony Music Entertainment          902        n/a        2029              n/a
18 Bone Thugs N Harmony                                 Mr. Bill Collector                                         SR0000225335        Sony Music Entertainment          903        n/a        2023              n/a
19 Bone Thugs N Harmony                                 Mr. Quija 2                                                SR0000225335        Sony Music Entertainment          904        n/a        2031              n/a
20 Bone Thugs N Harmony                                 No Shorts, No Losses                                       SR0000225335        Sony Music Entertainment          905        n/a        2032              n/a
21 Bone Thugs N Harmony                                 Resurrection (Paper, Paper)                                SR0000274908        Sony Music Entertainment          906        n/a        2033              n/a
22 Bone Thugs N Harmony                                 Shotz To Tha Double Glock                                  SR0000225335        Sony Music Entertainment          907        n/a        2034              n/a
23 Bone Thugs N Harmony                                 Tha Crossroads                                             SR0000225335        Sony Music Entertainment          885        n/a        2035              n/a
24 Bone Thugs N Harmony                                 Thuggish Ruggish Bone                                      SR0000223608        Sony Music Entertainment          884        n/a        2036              n/a
25 Bone Thugs N Harmony                                 Weed Song                                                  SR0000274908        Sony Music Entertainment          908        n/a        2037              n/a
26 Bone Thugs N Harmony feat. 2Pac                      Thug Luv                                                   SR0000260406        Sony Music Entertainment          886        n/a        2038              n/a
27 Bone Thugs N Harmony feat. Felecia Lindsey and 3LW   Get Up & Get It                                            SR0000330830        Sony Music Entertainment          887        n/a        2039              n/a
28 Bone Thugs N Harmony with Eazy-E                     For Tha Love Of $                                          SR0000223608        Sony Music Entertainment          909        n/a        2040              n/a
29 John Williams                                        The Imperial March from The Empire Strikes Back            SR0000233783        Sony Music Entertainment          1892       n/a        3015              n/a
30 Amy Winehouse                                        Someone To Watch Over Me                                   SR0000614121        UMG Recordings, Inc.              3633       n/a        4395              n/a
31 Bastille                                             Bad Blood (Live Piano Version)                             SR0000753441        UMG Recordings, Inc.              3237       n/a        4475              n/a
32 Eric Clapton                                         Lay Down Sally                                             SR0000018550        UMG Recordings, Inc.              4112       n/a        4931              n/a
33 Lady Gaga                                            Retro, Dance, Freak                                        SR0000642917        UMG Recordings, Inc.              4732       n/a        5508              n/a
34 Lifehouse                                            Who We Are                                                 SR0000409087        UMG Recordings, Inc.              4840       n/a        4614              n/a
35 LMFAO                                                Party Rock Anthem                                          SR0000671268        UMG Recordings, Inc.              4872       n/a        5645              n/a
36 Maroon 5                                             Harder To Breathe                                          SR0000702833        UMG Recordings, Inc.              4941       n/a        5723              n/a
37 Maroon 5                                             Must Get Out                                               SR0000702833        UMG Recordings, Inc.              4955       n/a        5734              n/a
38 Maroon 5                                             Not Coming Home                                            SR0000702833        UMG Recordings, Inc.              4958       n/a        5738              n/a
39 Maroon 5                                             Secret                                                     SR0000702833        UMG Recordings, Inc.              4965       n/a        5745              n/a
40 Maroon 5                                             Shiver                                                     SR0000702833        UMG Recordings, Inc.              4968       n/a        5748              n/a
41 Maroon 5                                             Sunday Morning                                             SR0000702833        UMG Recordings, Inc.              4970       n/a        5750              n/a
42 Maroon 5                                             Sweetest Goodbye                                           SR0000664148        UMG Recordings, Inc.              4971       n/a        5751              n/a
43 Maroon 5                                             Tangled                                                    SR0000702833        UMG Recordings, Inc.              4972       n/a        5753              n/a
44 Maroon 5                                             The Sun                                                    SR0000702833        UMG Recordings, Inc.              4974       n/a        5754              n/a
45 Maroon 5                                             Through With You                                           SR0000702833        UMG Recordings, Inc.              4976       n/a        5736              n/a
46 Scissor Sisters                                      Get It Get It                                              SR0000355220        UMG Recordings, Inc.              5281       n/a        6161              n/a
47 n/a                                                  Human                                                      PA0001625982        EMI April Music Inc.              n/a        63         n/a               75


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                                   Schedule 5 - Works Dropped From Charter For Which Plaintiffs Obtained Statutory Damages in This Case



         Artist                                             Track                                  Reg. No.                            Plaintiff                 PX-01 #    PX-02 #     Charter Orig.     Charter Orig.
                                                                                                                                                                                          Ex. A #            Ex. B #
48 n/a                             Pontoon                                                    PA0002049153        EMI Blackwood Music Inc.                      n/a        446        n/a               595
49 n/a                             Drive Me Wild                                              PA0002072171        Polygram Publishing, Inc.                     n/a        974        n/a               1063
50 n/a                             Rabiosa (Spanish Version)                                  PA0001833947        Songs of Universal, Inc.                      n/a        1345       n/a               1377
51 n/a                             Rabiosa (English Version)                                  PA0001833949        Songs of Universal, Inc.                      n/a        1344       n/a               1376
52 n/a                             Loca                                                       PA0001834128        Songs of Universal, Inc.                      n/a        1309       n/a               1324
53 n/a                             Don't Get Me Started                                       PA0002072695        Songs of Universal, Inc.                      n/a        1066       n/a               1239
54 n/a                             Stuck On Stupid                                            PA0002094523        Songs of Universal, Inc.                      n/a        1167       n/a               1442
55 n/a                             Sweet Love                                                 PA0002094537        Songs of Universal, Inc.                      n/a        1169       n/a               1449
56 n/a                             Oye Baby                                                   PA0001745498        Sony/ATV Music Publishing LLC                 n/a        771        n/a               1724
57 n/a                             Something For The DJs                                      PA0001774899        Sony/ATV Music Publishing LLC                 n/a        823        n/a               1777
58 n/a                             Mr. Worldwide (Intro)                                      PA0001780980        Sony/ATV Music Publishing LLC                 n/a        753        n/a               1704
59 n/a                             Shake Senora                                               PA0001820421        Sony/ATV Music Publishing LLC                 n/a        810        n/a               1759
60 n/a                             Shake Senora Remix                                         PA0001820421        Sony/ATV Music Publishing LLC                 n/a        811        n/a               1760
61 n/a                             Lanterns                                                   PA0001887807        Sony/ATV Music Publishing LLC                 n/a        716        n/a               1669
62 n/a                             Girls Fall Like Dominoes                                   PA0001996711        Sony/ATV Music Publishing LLC                 n/a        681        n/a               1626
63 n/a                             Best Of Times                                              PA0002069314        Sony/ATV Music
                                                                                                                  Sony/ATV Music Publishing
                                                                                                                                  Publishing LLC
                                                                                                                                               LLC / EMI        n/a        639        n/a               1571
64 n/a                             Took My Love                                               PA0001781001        Blackwood Music
                                                                                                                  Unichappell Music,Inc.
                                                                                                                                      Inc. / Warner Tamerlane   n/a        859        n/a               1889
65 n/a                             New God Flow.1                                             PA0001839620        Publishing Corp.                              n/a        1989       n/a               2043
66 n/a                             Every Position                                             PA0002031790        Universal Music - Z Tunes LLC                 n/a        1427       n/a               2363
67 n/a                             Disco Inferno                                              PA0001298497        Universal Music Corp, Inc.                    n/a        1220       n/a               2642
68 n/a                             These Arms Of Mine                                         PA0000258549        Universal Music Corp.                         n/a        1754       n/a               2970
69 n/a                             Fa-Fa-Fa-Fa-Fa (Sad Song)                                  PA0000318166        Universal Music Corp.                         n/a        1612       n/a               2664
70 n/a                             You Don't Miss Your Water                                  PA0000387512        Universal Music Corp.                         n/a        1790       n/a               3035
71 n/a                             I Got The Will                                             PA0000402311        Universal Music Corp.                         n/a        1655       n/a               2744
72 n/a                             Power Of Love / Love Power                                 PA0000526816        Universal Music Corp.                         n/a        938        n/a               2885
73 n/a                             Trick Or Treat                                             PA0001011470        Universal Music Corp.                         n/a        1766       n/a               2992
74 n/a                             This Is 50                                                 PA0001298490        Universal Music Corp.                         n/a        1758       n/a               2976
75 n/a                             Piggy Bank                                                 PA0001298491        Universal Music Corp.                         n/a        1712       n/a               2878
76 n/a                             I'm Supposed To Die Tonight                                PA0001298492        Universal Music Corp.                         n/a        1664       n/a               2765
77 n/a                             Candy Shop                                                 PA0001298495        Universal Music Corp.                         n/a        1589       n/a               2613
78 n/a                             Just A Lil Bit                                             PA0001298496        Universal Music Corp.                         n/a        1671       n/a               2790
79 n/a                             Ryder Music                                                PA0001298498        Universal Music Corp.                         n/a        1727       n/a               2906
80 n/a                             My Toy Soldier                                             PA0001298500        Universal Music Corp.                         n/a        1128       n/a               2845
81 n/a                             I Don't Need 'Em                                           PA0001298501        Universal Music Corp.                         n/a        1446       n/a               2738
82 n/a                             Build You Up                                               PA0001298503        Universal Music Corp.                         n/a        1587       n/a               2607
83 n/a                             Hustler's Ambition                                         PA0001372056        Universal Music Corp.                         n/a        1647       n/a               2733
84 n/a                             How Come You Don't Call Me (Neptunes Remix)                PA0001316943        Universal Music Publishing, Inc.              n/a        1291       n/a               3133
85 n/a                             Hate It Or Love It                                         PA0001277483        Universal Music Z Tunes LLC                   n/a        1635       n/a               2382
86 n/a                             Mercy.1                                                    PA0001913931        Warner-Tamerlane Publishing Corp.             n/a        2228       n/a               3376
87 n/a                             New York Minute: Vacation                                  PA0001251377        WB Music Corp.                                n/a        2765       n/a               3829
88 n/a                             Tommie Sunshine's Megasix Smash Up                         PA0001753640        WB Music Corp.                                n/a        2952       n/a               3975




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               Appendix 1 to Schedule 5

           Charter Original Ex. A and B
                 to the Complaint
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                                                                    EXHIBIT A - SOUND RECORDINGS

                           Artist                                               Track                     Reg. No.                  Plaintiff
   1   Alabama                                     Mountain Music                                    SR0000045289    Arista Music
   2   Alan Jackson                                Drive (For Daddy Gene)                            SR0000311615    Arista Music
   3   Alan Jackson                                It's Five O' Clock Somewhere                      SR0000340026    Arista Music
   4   Alan Jackson                                Where Were You (When the World Stopped Turning)   SR0000311615    Arista Music
   5   Alan Jackson                                www.memory                                        SR0000289367    Arista Music
   6   Alicia Keys                                 As I Am (Intro)                                   SR0000627148    Arista Music
   7   Alicia Keys                                 Butterflyz                                        SR0000299410    Arista Music
   8   Alicia Keys                                 Caged Bird                                        SR0000299410    Arista Music
   9   Alicia Keys                                 Diary                                             SR0000346869    Arista Music
  10   Alicia Keys                                 Dragon Days                                       SR0000346869    Arista Music
  11   Alicia Keys                                 Fallin                                            PA0001328763    Arista Music
  12   Alicia Keys                                 Feeling U, Feeling Me (Interlude)                 SR0000346869    Arista Music
  13   Alicia Keys                                 Girlfriend                                        SR0000299410    Arista Music
  14   Alicia Keys                                 Go Ahead                                          SR0000627148    Arista Music
  15   Alicia Keys                                 Goodbye                                           SR0000299410    Arista Music
  16   Alicia Keys                                 Harlem's Nocturne                                 SR0000346869    Arista Music
  17   Alicia Keys                                 Heartburn                                         SR0000346869    Arista Music
  18   Alicia Keys                                 I Need You                                        SR0000627148    Arista Music
  19   Alicia Keys                                 If I Ain't Got You                                SR0000346869    Arista Music
  20   Alicia Keys                                 If I Was Your Woman / Walk On By                  SR0000346869    Arista Music
  21   Alicia Keys                                 Jane Doe                                          SR0000299410    Arista Music
  22   Alicia Keys                                 Karma                                             SR0000346869    Arista Music
  23   Alicia Keys                                 Lesson Learned                                    SR0000627148    Arista Music
  24   Alicia Keys                                 Like You'll Never See Me Again                    SR0000627148    Arista Music
  25   Alicia Keys                                 Lovin U                                           SR0000299410    Arista Music
  26   Alicia Keys                                 Never Felt This Way                               SR0000299410    Arista Music
  27   Alicia Keys                                 No One                                            SR0000627148    Arista Music
  28   Alicia Keys                                 Nobody Not Really (Interlude)                     SR0000346869    Arista Music
  29   Alicia Keys                                 Piano & I                                         SR0000299410    Arista Music
  30   Alicia Keys                                 Prelude To A Kiss                                 SR0000627148    Arista Music
  31   Alicia Keys                                 Rock Wit U                                        SR0000299410    Arista Music
  32   Alicia Keys                                 Samsonite Man                                     SR0000346869    Arista Music
  33   Alicia Keys                                 Slow Down                                         SR0000346869    Arista Music
  34   Alicia Keys                                 Streets Of New York                               SR0000379937    Arista Music
  35   Alicia Keys                                 Superwoman                                        SR0000627148    Arista Music
  36   Alicia Keys                                 Sure Looks Good To Me                             SR0000627148    Arista Music
  37   Alicia Keys                                 Teenage Love Affair                               SR0000627148    Arista Music
  38   Alicia Keys                                 Tell You Something (Nana's Reprise)               SR0000627148    Arista Music
  39   Alicia Keys                                 The Life                                          SR0000299410    Arista Music
  40   Alicia Keys                                 The Thing About Love                              SR0000627148    Arista Music
  41   Alicia Keys                                 Troubles                                          SR0000299410    Arista Music
  42   Alicia Keys                                 Waiting For Your Love                             SR0000627148    Arista Music
  43   Alicia Keys                                 Wake Up                                           SR0000346869    Arista Music
  44   Alicia Keys                                 When You Really Love Someone                      SR0000346869    Arista Music
  45   Alicia Keys                                 Where Do We Go From Here                          SR0000627148    Arista Music
  46   Alicia Keys                                 Why Do I Feel So Sad                              SR0000299410    Arista Music
  47   Alicia Keys                                 Wreckless Love                                    SR0000627148    Arista Music
  48   Alicia Keys                                 You Don't Know My Name                            SR0000346869    Arista Music
  49   Alicia Keys                                 Mr. Man                                           SR0000299410    Arista Music
  50   Alicia Keys feat. Lellow                    So Simple                                         SR0000346869    Arista Music
  51   Angie Stone feat. Alicia Keys & Eve         Brotha Part II                                    SR0000303830    Arista Music
  52   Avril Lavigne                               Complicated                                       PA0001328757    Arista Music
  53   Avril Lavigne                               Contagious                                        SR0000609671    Arista Music
  54   Avril Lavigne                               Don't Tell Me                                     SR0000332312    Arista Music
  55   Avril Lavigne                               Everything Back But You                           SR0000609671    Arista Music
  56   Avril Lavigne                               Fall To Pieces                                    SR0000332312    Arista Music
  57   Avril Lavigne                               Forgotten                                         SR0000332312    Arista Music
  58   Avril Lavigne                               Freak Out                                         SR0000332312    Arista Music
  59   Avril Lavigne                               He Wasn't                                         SR0000332312    Arista Music
  60   Avril Lavigne                               Hot                                               SR0000609671    Arista Music
  61   Avril Lavigne                               How Does It Feel                                  SR0000332312    Arista Music
  62   Avril Lavigne                               I Always Get What I Want                          SR0000332312    Arista Music
  63   Avril Lavigne                               I Can Do Better                                   SR0000609671    Arista Music
  64   Avril Lavigne                               I Don't Have To Try                               SR0000609671    Arista Music
  65   Avril Lavigne                               Innocence                                         SR0000609671    Arista Music
  66   Avril Lavigne                               Keep Holding On                                   SR0000609671    Arista Music
  67   Avril Lavigne                               My Happy Ending                                   SR0000332312    Arista Music



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                                                                     EXHIBIT A - SOUND RECORDINGS

                         Artist                                              Track                       Reg. No.                  Plaintiff
   68 Avril Lavigne                                Nobody's Home                                    SR0000332312    Arista Music
   69 Avril Lavigne                                One Of Those Girls                               SR0000609671    Arista Music
   70 Avril Lavigne                                Runaway                                          SR0000609671    Arista Music
   71 Avril Lavigne                                Slipped Away                                     SR0000332312    Arista Music
   72 Avril Lavigne                                Take Me Away                                     SR0000332312    Arista Music
   73 Avril Lavigne                                The Best Damn Thing                              SR0000609671    Arista Music
   74 Avril Lavigne                                Together                                         SR0000332312    Arista Music
   75 Avril Lavigne                                When You're Gone                                 SR0000609671    Arista Music
   76 Avril Lavigne                                Who Knows                                        SR0000332312    Arista Music
   77 Brad Paisley                                 All I Wanted Was a Car                           SR0000610946    Arista Music
   78 Brad Paisley                                 Better Than This                                 SR0000610946    Arista Music
   79 Brad Paisley                                 Easy Money                                       SR0000366007    Arista Music
   80 Brad Paisley                                 Flowers                                          SR0000366007    Arista Music
   81 Brad Paisley                                 I'll Take You Back                               SR0000366007    Arista Music
   82 Brad Paisley                                 I'm Still A Guy                                  SR0000610946    Arista Music
   83 Brad Paisley                                 If Love Was a Plane                              SR0000610946    Arista Music
   84 Brad Paisley                                 It Did                                           SR0000610946    Arista Music
   85 Brad Paisley                                 Letter To Me                                     SR0000610946    Arista Music
   86 Brad Paisley                                 Love Is Never-Ending                             SR0000366007    Arista Music
   87 Brad Paisley                                 Mr. Policeman                                    SR0000610946    Arista Music
   88 Brad Paisley                                 Oh Love                                          SR0000610946    Arista Music
   89 Brad Paisley                                 Online                                           SR0000610946    Arista Music
   90 Brad Paisley                                 Out in the Parkin' Lot                           SR0000366007    Arista Music
   91 Brad Paisley                                 Out Take 3                                       SR0000366007    Arista Music
   92 Brad Paisley                                 Out Take 4                                       SR0000366007    Arista Music
   93 Brad Paisley                                 Outtake #2                                       SR0000610946    Arista Music
   94 Brad Paisley                                 Previously                                       SR0000610946    Arista Music
   95 Brad Paisley                                 Rainin' You                                      SR0000366007    Arista Music
   96 Brad Paisley                                 She's Everything                                 SR0000366007    Arista Music
   97 Brad Paisley                                 Some Mistakes                                    SR0000610946    Arista Music
   98 Brad Paisley                                 The Uncloudy Day                                 SR0000366007    Arista Music
   99 Brad Paisley                                 The World                                        SR0000366007    Arista Music
  100 Brad Paisley                                 Throttleneck                                     SR0000610946    Arista Music
  101 Brad Paisley                                 Ticks                                            SR0000610946    Arista Music
  102 Brad Paisley                                 Time Warp                                        SR0000366007    Arista Music
  103 Brad Paisley                                 Time Well Wasted                                 SR0000366007    Arista Music
  104 Brad Paisley                                 Waitin' On a Woman                               SR0000366007    Arista Music
  105 Brad Paisley                                 When I Get Where I'm Going                       SR0000366007    Arista Music
  106 Brad Paisley                                 When We All Get to Heaven                        SR0000610946    Arista Music
  107 Brad Paisley                                 With You, Without You                            SR0000610946    Arista Music
  108 Brad Paisley                                 You Need a Man Around Here                       SR0000366007    Arista Music
      Brad Paisley feat. James Burton and The
  109                                              Cornography                                      SR0000366007    Arista Music
      Kung Pao Buckaroos
  110 Brad Paisley feat. The Kung Pao Buckaroos Bigger Fish to Fry                                  SR0000610946    Arista Music
  111   Brooks & Dunn                              Boot Scootin' Boogie                             SR0000140290    Arista Music
  112   Bruce Hornsby & the Range                  Down the Road Tonight                            SR0000071024    Arista Music
  113   Bruce Hornsby & the Range                  Mandolin Rain                                    SR0000071024    Arista Music
  114   Bruce Hornsby & The Range                  On The Western Skyline                           SR0000071024    Arista Music
  115   Bruce Hornsby & the Range                  The Long Race                                    SR0000071024    Arista Music
  116   Bruce Hornsby & the Range                  The Red Plains                                   SR0000071024    Arista Music
  117   Bruce Hornsby & the Range                  The River Runs Low                               SR0000071024    Arista Music
  118   Bruce Hornsby & the Range                  The Way It Is                                    SR0000071024    Arista Music
  119   Bruce Hornsby & the Range                  The Wild Frontier                                SR0000071024    Arista Music
  120   Bruce Hornsby and the Range                Every Little Kiss                                SR0000071024    Arista Music
  121   Christina Aguilera                         Candyman                                         SR0000393677    Arista Music
  122   Citizen Cope                               107°                                             SR0000395941    Arista Music
  123   Citizen Cope                               All Dressed Up                                   SR0000395941    Arista Music
  124   Citizen Cope                               Awe                                              SR0000395941    Arista Music
  125   Citizen Cope                               Back Together                                    SR0000395941    Arista Music
  126   Citizen Cope                               Brother Lee                                      SR0000395941    Arista Music
  127   Citizen Cope                               Bullet And A Target                              SR0000355314    Arista Music
  128   Citizen Cope                               D'Artagnan's Theme                               SR0000355314    Arista Music
  129   Citizen Cope                               Deep                                             SR0000355314    Arista Music
  130   Citizen Cope                               Every Waking Moment                              SR0000395941    Arista Music
  131   Citizen Cope                               Fame                                             SR0000355314    Arista Music
  132   Citizen Cope                               Friendly Fire                                    SR0000395941    Arista Music
  133   Citizen Cope                               Hurricane Waters                                 SR0000355314    Arista Music



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                                                                     EXHIBIT A - SOUND RECORDINGS

                        Artist                                                   Track                   Reg. No.                  Plaintiff
  134   Citizen Cope                               John Lennon                                      SR0000395941    Arista Music
  135   Citizen Cope                               Left For Dead                                    SR0000395941    Arista Music
  136   Citizen Cope                               More Than It Seems                               SR0000395941    Arista Music
  137   Citizen Cope                               My Way Home                                      SR0000355314    Arista Music
  138   Citizen Cope                               Nite Becomes Day                                 SR0000355314    Arista Music
  139   Citizen Cope                               Pablo Picasso                                    SR0000355314    Arista Music
  140   Citizen Cope                               Penitentiary                                     SR0000355314    Arista Music
  141   Citizen Cope                               Sideways                                         SR0000355314    Arista Music
  142   Citizen Cope                               Somehow                                          SR0000395941    Arista Music
  143   Citizen Cope                               Son's Gonna Rise                                 SR0000355314    Arista Music
  144   Dave Matthews Band                         #34                                              SR0000285688    Arista Music
  145   Dave Matthews Band                         #41                                              SR0000212572    Arista Music
  146   Dave Matthews Band                         Alligator Pie                                    SR0000628753    Arista Music
  147   Dave Matthews Band                         American Baby Intro                              SR0000385935    Arista Music
  148   Dave Matthews Band                         Angel                                            SR0000300313    Arista Music
  149   Dave Matthews Band                         Ants Marching                                    SR0000285688    Arista Music
  150   Dave Matthews Band                         Baby Blue                                        SR0000628753    Arista Music
  151   Dave Matthews Band                         Bartender                                        SR0000321902    Arista Music
  152   Dave Matthews Band                         Big Eyed Fish                                    SR0000321902    Arista Music
  153   Dave Matthews Band                         Busted Stuff                                     SR0000321902    Arista Music
  154   Dave Matthews Band                         Captain                                          SR0000321902    Arista Music
  155   Dave Matthews Band                         Crash Into Me                                    SR0000212572    Arista Music
  156   Dave Matthews Band                         Crush                                            SR0000257982    Arista Music
  157   Dave Matthews Band                         Cry Freedom                                      SR0000212572    Arista Music
  158   Dave Matthews Band                         Dancing Nancies                                  SR0000285688    Arista Music
  159   Dave Matthews Band                         Digging a Ditch                                  SR0000321902    Arista Music
  160   Dave Matthews Band                         Dive In                                          SR0000628753    Arista Music
  161   Dave Matthews Band                         Don't Drink The Water                            SR0000257982    Arista Music
  162   Dave Matthews Band                         Dreamgirl                                        SR0000385935    Arista Music
  163   Dave Matthews Band                         Dreams of Our Fathers                            SR0000300313    Arista Music
  164   Dave Matthews Band                         Drive in Drive Out                               SR0000212572    Arista Music
  165   Dave Matthews Band                         Everybody Wake Up (Our Finest Hour Arrives)      SR0000385935    Arista Music
  166   Dave Matthews Band                         Everyday                                         SR0000300313    Arista Music
  167   Dave Matthews Band                         Fool to Think                                    SR0000300313    Arista Music
  168   Dave Matthews Band                         Funny the Way It Is                              SR0000628753    Arista Music
  169   Dave Matthews Band                         Grace Is Gone                                    SR0000321902    Arista Music
  170   Dave Matthews Band                         Grey Street                                      SR0000321902    Arista Music
  171   Dave Matthews Band                         Grux                                             SR0000628753    Arista Music
  172   Dave Matthews Band                         Halloween                                        SR0000257982    Arista Music
  173   Dave Matthews Band                         Hunger For The Great Light                       SR0000385935    Arista Music
  174   Dave Matthews Band                         I Did It                                         SR0000300313    Arista Music
  175   Dave Matthews Band                         If I Had It All                                  SR0000300313    Arista Music
  176   Dave Matthews Band                         Jimi Thing                                       SR0000285688    Arista Music
  177   Dave Matthews Band                         Kit Kat Jam                                      SR0000321902    Arista Music
  178   Dave Matthews Band                         Let You Down                                     SR0000212572    Arista Music
  179   Dave Matthews Band                         Lie in Our Graves                                SR0000212572    Arista Music
  180   Dave Matthews Band                         Louisiana Bayou                                  SR0000385935    Arista Music
  181   Dave Matthews Band                         Lover Lay Down                                   SR0000285688    Arista Music
  182   Dave Matthews Band                         Lying in the Hands of God                        SR0000628753    Arista Music
  183   Dave Matthews Band                         Mother Father                                    SR0000300313    Arista Music
  184   Dave Matthews Band                         Old Dirt Hill (Bring That Beat Back)             SR0000385935    Arista Music
  185   Dave Matthews Band                         Out of My Hands                                  SR0000385935    Arista Music
  186   Dave Matthews Band                         Pantala Naga Pampa                               SR0000257982    Arista Music
  187   Dave Matthews Band                         Pay for What You Get                             SR0000285688    Arista Music
  188   Dave Matthews Band                         Pig                                              SR0000257982    Arista Music
  189   Dave Matthews Band                         Proudest Monkey                                  SR0000212572    Arista Music
  190   Dave Matthews Band                         Rapunzel                                         SR0000257982    Arista Music
  191   Dave Matthews Band                         Raven                                            SR0000321902    Arista Music
  192   Dave Matthews Band                         Rhyme & Reason                                   SR0000285688    Arista Music
  193   Dave Matthews Band                         Satellite                                        SR0000285688    Arista Music
  194   Dave Matthews Band                         Say Goodbye                                      SR0000212572    Arista Music
  195   Dave Matthews Band                         Seven                                            SR0000628753    Arista Music
  196   Dave Matthews Band                         Shake Me Like A Monkey                           SR0000628753    Arista Music
  197   Dave Matthews Band                         Sleep to Dream Her                               SR0000300313    Arista Music
  198   Dave Matthews Band                         Smooth Rider                                     SR0000385935    Arista Music
  199   Dave Matthews Band                         So Much To Say                                   SR0000212572    Arista Music
  200   Dave Matthews Band                         So Right                                         SR0000300313    Arista Music
  201   Dave Matthews Band                         Spaceman                                         SR0000628753    Arista Music



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                           Artist                                                 Track                    Reg. No.                  Plaintiff
  202   Dave Matthews Band                         Spoon                                              SR0000257982    Arista Music
  203   Dave Matthews Band                         Squirm                                             SR0000628753    Arista Music
  204   Dave Matthews Band                         Stand Up (For It)                                  SR0000385935    Arista Music
  205   Dave Matthews Band                         Stay (Wasting Time)                                SR0000257982    Arista Music
  206   Dave Matthews Band                         Steady as We Go                                    SR0000385935    Arista Music
  207   Dave Matthews Band                         Stolen Away on 55th & 3rd                          SR0000385935    Arista Music
  208   Dave Matthews Band                         The Best of What's Around                          SR0000285688    Arista Music
  209   Dave Matthews Band                         The Dreaming Tree                                  SR0000257982    Arista Music
  210   Dave Matthews Band                         The Last Stop                                      SR0000257982    Arista Music
  211   Dave Matthews Band                         The Space Between                                  SR0000300313    Arista Music
  212   Dave Matthews Band                         The Stone                                          SR0000257982    Arista Music
  213   Dave Matthews Band                         Time Bomb                                          SR0000628753    Arista Music
  214   Dave Matthews Band                         Too Much                                           SR0000212572    Arista Music
  215   Dave Matthews Band                         Tripping Billies                                   SR0000212572    Arista Music
  216   Dave Matthews Band                         Two Step                                           SR0000212572    Arista Music
  217   Dave Matthews Band                         Typical Situation                                  SR0000285688    Arista Music
  218   Dave Matthews Band                         Warehouse                                          SR0000285688    Arista Music
  219   Dave Matthews Band                         What Would You Say                                 SR0000285688    Arista Music
  220   Dave Matthews Band                         What You Are                                       SR0000300313    Arista Music
  221   Dave Matthews Band                         When The World Ends                                SR0000300313    Arista Music
  222   Dave Matthews Band                         Where Are You Going                                SR0000321902    Arista Music
  223   Dave Matthews Band                         Why I Am                                           SR0000628753    Arista Music
  224   Dave Matthews Band                         You & Me                                           SR0000628753    Arista Music
  225   Dave Matthews Band                         You Might Die Trying                               SR0000385935    Arista Music
  226   Dave Matthews Band                         You Never Know                                     SR0000321902    Arista Music
  227   Diamond Rio                                Beautiful Mess                                     SR0000319527    Arista Music
  228   Etta James                                 Crawlin' King Snake                                SR0000356724    Arista Music
  229   Etta James                                 I'll Be Seeing You                                 SR0000187947    Arista Music
  230   Etta James                                 I've Been Lovin' You Too Long                      SR0000279857    Arista Music
  231   Etta James                                 If I Had Any Pride Left At All                     SR0000279857    Arista Music
  232   Etta James                                 It's a Man's Man's Man's World                     SR0000386246    Arista Music
  233   Etta James                                 Strongest Weakness                                 SR0000339597    Arista Music
  234   Etta James                                 The Blues Is My Business                           SR0000339597    Arista Music
  235   Etta James                                 The Man I Love                                     SR0000187947    Arista Music
  236   Etta James                                 The Very Thought Of You                            SR0000187947    Arista Music
  237   Etta James                                 Try a Little Tenderness                            SR0000270247    Arista Music
  238   Heather Headley                            Am I Worth It                                      SR0000382683    Arista Music
  239   Heather Headley                            Back When It Was                                   SR0000382683    Arista Music
  240   Heather Headley                            Change                                             SR0000382683    Arista Music
  241   Heather Headley                            I Didn't Mean To                                   SR0000382683    Arista Music
  242   Heather Headley                            In My Mind                                         SR0000382683    Arista Music
  243   Heather Headley                            Losing You                                         SR0000382683    Arista Music
  244   Heather Headley                            Me Time                                            SR0000382683    Arista Music
  245   Heather Headley                            The Letter                                         SR0000382683    Arista Music
  246   Heather Headley                            Wait A Minute                                      SR0000382683    Arista Music
  247   Heather Headley                            What's Not Being Said                              SR0000382683    Arista Music
  248   Heather Headley featuring Shaggy           Rain                                               SR0000382683    Arista Music
  249   Heather Headley featuring Vybz Kartel      How Many Ways                                      SR0000382683    Arista Music
  250   Hurricane Chris                            Beat In My Trunk                                   SR0000620403    Arista Music
  251   Hurricane Chris                            Do Something                                       SR0000620403    Arista Music
  252   Hurricane Chris                            Doin' My Thang                                     SR0000620403    Arista Music
  253   Hurricane Chris                            Leaving You                                        SR0000620403    Arista Music
  254   Hurricane Chris                            New Fashion                                        SR0000620403    Arista Music
  255   Hurricane Chris                            Touch Me                                           SR0000620403    Arista Music
  256   Hurricane Chris                            Walk Like That                                     SR0000620403    Arista Music
        Hurricane Chris featuring Big Poppa of
  257                                              Bang                                               SR0000620403    Arista Music
        Ratchet City & Bigg Redd
  258   Hurricane Chris featuring Boxie            Playas Rock                                        SR0000620403    Arista Music
  259   Hurricane Chris featuring Nicole Wray      Getting Money                                      SR0000620403    Arista Music
  260   Hurricane Chris featuring Nicole Wray      Momma                                              SR0000620403    Arista Music
        Hurricane Chris featuring The Game, Lil
  261   Boosie, Baby, E-40, Angie Locc of Lava     A Bay Bay                                          SR0000719410    Arista Music
        House & Jadakiss
  262   Jamey Johnson                              It Was Me                                          SR0000374946    Arista Music
  263   Jamey Johnson                              Redneck Side of Me                                 SR0000374946    Arista Music
  264   Jamie Foxx                                 DJ Play A Love Song                                SR0000374820    Arista Music
  265   Jamie Foxx                                 Extravaganza                                       SR0000374820    Arista Music
  266   Jamie Foxx                                 Love Changes                                       SR0000374820    Arista Music



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                            Artist                                             Track                               Reg. No.                  Plaintiff
 267   Jamie Foxx                                 Unpredictable (Radio Edit)                                  SR0000374820    Arista Music
 268   Jamie Foxx                                 With You                                                    SR0000374820    Arista Music
 269   Jazmine Sullivan                           After The Hurricane                                         SR0000618093    Arista Music
 270   Jazmine Sullivan                           Bust Your Windows                                           SR0000618093    Arista Music
 271   Jazmine Sullivan                           Call Me Guilty                                              SR0000618093    Arista Music
 272   Jazmine Sullivan                           Dream Big                                                   SR0000618093    Arista Music
 273   Jazmine Sullivan                           Fear                                                        SR0000618093    Arista Music
 274   Jazmine Sullivan                           In Love With Another Man                                    SR0000618093    Arista Music
 275   Jazmine Sullivan                           Lions, Tigers & Bears                                       SR0000618093    Arista Music
 276   Jazmine Sullivan                           Live A Lie                                                  SR0000618093    Arista Music
 277   Jazmine Sullivan                           My Foolish Heart                                            SR0000618093    Arista Music
 278   Jazmine Sullivan                           Need U Bad                                                  SR0000613934    Arista Music
 279   Jazmine Sullivan                           One Night Stand                                             SR0000618093    Arista Music
 280   Jazmine Sullivan                           Switch!                                                     SR0000618093    Arista Music
 281   Jefferson Starship                         Find Your Way Back                                          SR0000030619    Arista Music
 282   Jefferson Starship                         Jane                                                        SR0000014668    Arista Music
 283   Jefferson Starship                         Layin' It on the Line                                       SR0000058222    Arista Music
 284   Jefferson Starship                         No Way Out                                                  SR0000058222    Arista Music
 285   Jefferson Starship                         Stranger                                                    SR0000026534    Arista Music
 286   John Denver                                Darcy Farrow                                                RE0000919266    Arista Music
 287   John Denver                                Fall                                                        RE0000919266    Arista Music
 288   John Denver                                For Baby (For Bobbie)                                       RE0000919266    Arista Music
 289   John Denver                                Goodbye Again                                               RE0000919266    Arista Music
 290   John Denver                                Late Winter, Early Spring (When Everybody Goes To Mexico)   RE0000919266    Arista Music
 291   John Denver                                Mother Nature's Son                                         RE0000919266    Arista Music
 292   John Denver                                Prisoners                                                   RE0000919266    Arista Music
 293   John Denver                                Rocky Mountain High                                         RE0000919266    Arista Music
 294   John Denver                                Spring                                                      RE0000919266    Arista Music
 295   John Denver                                Summer                                                      RE0000919266    Arista Music
 296   John Denver                                Winter                                                      RE0000919266    Arista Music
 297   Kenny Chesney                              All I Need To Know                                          SR0000208984    Arista Music
 298   Kenny Chesney                              All I Want For Christmas Is A Real Good Tan                 SR0000333554    Arista Music
 299   Kenny Chesney                              Anything But Mine                                           SR0000341104    Arista Music
 300   Kenny Chesney                              Back Where I Come From                                      SR0000277700    Arista Music
 301   Kenny Chesney                              Baptism                                                     SR0000263302    Arista Music
 302   Kenny Chesney                              Because Of Your Love                                        SR0000277700    Arista Music
 303   Kenny Chesney                              Being Drunk's A Lot Like Loving You                         SR0000341104    Arista Music
 304   Kenny Chesney                              Christmas In Dixie                                          SR0000333554    Arista Music
 305   Kenny Chesney                              Don't Happen Twice                                          SR0000277700    Arista Music
 306   Kenny Chesney                              Fall In Love                                                SR0000208984    Arista Music
 307   Kenny Chesney                              For The First Time                                          SR0000277700    Arista Music
 308   Kenny Chesney                              How Forever Feels                                           SR0000263302    Arista Music
 309   Kenny Chesney                              I Go Back                                                   SR0000341104    Arista Music
 310   Kenny Chesney                              I Lost It                                                   SR0000277700    Arista Music
 311   Kenny Chesney                              I'll Be Home For Christmas                                  SR0000333554    Arista Music
 312   Kenny Chesney                              Jingle Bells                                                SR0000333554    Arista Music
 313   Kenny Chesney                              Just A Kid                                                  SR0000333554    Arista Music
 314   Kenny Chesney                              Keg In The Closet                                           SR0000341104    Arista Music
 315   Kenny Chesney                              Live Those Songs                                            SR0000341104    Arista Music
 316   Kenny Chesney                              Me And You                                                  SR0000208984    Arista Music
 317   Kenny Chesney                              O Little Town Of Bethlehem                                  SR0000333554    Arista Music
 318   Kenny Chesney                              Old Blue Chair                                              SR0000341104    Arista Music
 319   Kenny Chesney                              Outta Here                                                  SR0000341104    Arista Music
 320   Kenny Chesney                              Please Come To Boston                                       SR0000341104    Arista Music
 321   Kenny Chesney                              Pretty Paper                                                SR0000333554    Arista Music
 322   Kenny Chesney                              She Thinks My Tractor's Sexy                                SR0000263302    Arista Music
 323   Kenny Chesney                              She's Got It All                                            SR0000238371    Arista Music
 324   Kenny Chesney                              Silent Night                                                SR0000333554    Arista Music
 325   Kenny Chesney                              Silver Bells                                                SR0000333554    Arista Music
 326   Kenny Chesney                              Some People Change                                          SR0000341104    Arista Music
 327   Kenny Chesney                              Thank God For Kids                                          SR0000333554    Arista Music
 328   Kenny Chesney                              That's Why I'm Here                                         SR0000238371    Arista Music
 329   Kenny Chesney                              The Angel At The Top Of My Tree                             SR0000333554    Arista Music
 330   Kenny Chesney                              The Tin Man                                                 SR0000208984    Arista Music
 331   Kenny Chesney                              The Woman With You                                          SR0000341104    Arista Music
 332   Kenny Chesney                              There Goes My Life                                          SR0000341104    Arista Music
 333   Kenny Chesney                              What I Need To Do                                           SR0000263302    Arista Music
 334   Kenny Chesney                              When I Close My Eyes                                        SR0000238371    Arista Music



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                        Artist                                                Track                      Reg. No.                Plaintiff
 335   Kenny Chesney                              When I Think About Leaving                        SR0000341104    Arista Music
 336   Kenny Chesney                              When The Sun Goes Down                            SR0000341104    Arista Music
 337   Kenny Chesney                              You Had Me From Hello                             SR0000263302    Arista Music
 338   Kenny Rogers with Dolly Parton             Islands In The Stream                             SR0000049409    Arista Music
 339   Kings Of Leon                              California Waiting                                SR0000330401    Arista Music
 340   Kings Of Leon                              Holy Roller Novocaine                             SR0000330401    Arista Music
 341   Kings Of Leon                              Molly's Chambers                                  SR0000330401    Arista Music
 342   Kings Of Leon                              Wasted Time                                       SR0000330401    Arista Music
 343   Kings Of Leon                              Wicker Chair                                      SR0000330401    Arista Music
 344   Luther Vandross                            I'd Rather                                        SR0000298047    Arista Music
 345   Luther Vandross                            Take You Out                                      SR0000298047    Arista Music
 346   Mario                                      Let Me Love You                                   SR0000363091    Arista Music
 347   Ronnie Milsap & Kenny Rogers               Make No Mistake, She's Mine                       SR0000084019    Arista Music
 348   Starship                                   Hearts Of The World (Will Understand)             SR0000065899    Arista Music
 349   Starship                                   It's Not Enough                                   SR0000107373    Arista Music
 350   Starship                                   Love Among The Cannibals                          SR0000107373    Arista Music
 351   Starship                                   Rock Myself To Sleep                              SR0000065899    Arista Music
 352   Starship                                   Sara                                              SR0000065899    Arista Music
 353   Starship                                   We Built This City                                SR0000065899    Arista Music
 354   SWV                                        Anything                                          SR0000146905    Arista Music
 355   SWV                                        Blak Pudd'n                                       SR0000146905    Arista Music
 356   SWV                                        Can We                                            SR0000249300    Arista Music
 357   SWV                                        Come And Get Some                                 SR0000249300    Arista Music
 358   SWV                                        Coming Home                                       SR0000146905    Arista Music
 359   SWV                                        Downtown                                          SR0000146905    Arista Music
 360   SWV                                        Gettin' Funky                                     SR0000249300    Arista Music
 361   SWV                                        Give It To Me                                     SR0000146905    Arista Music
 362   SWV                                        Give It Up                                        SR0000249300    Arista Music
 363   SWV                                        Here For You                                      SR0000249300    Arista Music
 364   SWV                                        I'm so into You                                   SR0000146905    Arista Music
 365   SWV                                        It's About Time                                   SR0000146905    Arista Music
 366   SWV                                        Lose Myself                                       SR0000249300    Arista Music
 367   SWV                                        Love Like This                                    SR0000249300    Arista Music
 368   SWV                                        Rain                                              SR0000249300    Arista Music
 369   SWV                                        Release Some Tension                              SR0000249300    Arista Music
 370   SWV                                        Right Here                                        SR0000146905    Arista Music
 371   SWV                                        SWV (In The House)                                SR0000146905    Arista Music
 372   SWV                                        That's What I Need                                SR0000146905    Arista Music
 373   SWV                                        Think You're Gonna Like It                        SR0000146905    Arista Music
 374   SWV                                        Weak                                              SR0000146905    Arista Music
 375   SWV                                        Weak (A Cappella)                                 SR0000146905    Arista Music
 376   SWV                                        When U Cry                                        SR0000249300    Arista Music
 377   SWV                                        You're Always On My Mind                          SR0000146905    Arista Music
 378   SWV                                        You're The One                                    PA0001288814    Arista Music
 379   SWV featuring Puff Daddy                   Someone                                           SR0000249300    Arista Music
 380   SWV featuring Redman                       Lose My Cool                                      SR0000249300    Arista Music
 381   Usher                                      Bad Girl                                          SR0000354784    Arista Music
 382   Usher                                      Burn                                              SR0000354784    Arista Music
 383   Usher                                      Can U Handle It?                                  SR0000354784    Arista Music
 384   Usher                                      Caught Up                                         SR0000354784    Arista Music
 385   Usher                                      Confessions                                       SR0000354784    Arista Music
 386   Usher                                      Confessions Part II                               SR0000354784    Arista Music
 387   Usher                                      Do It To Me                                       SR0000354784    Arista Music
 388   Usher                                      Follow Me                                         SR0000354784    Arista Music
 389   Usher                                      Simple Things                                     SR0000354784    Arista Music
 390   Usher                                      Superstar                                         SR0000354784    Arista Music
 391   Usher                                      Take Your Hand                                    SR0000354784    Arista Music
 392   Usher                                      That's What It's Made For                         SR0000354784    Arista Music
 393   Usher                                      Throwback                                         SR0000354784    Arista Music
 394   Usher                                      Truth Hurts                                       SR0000354784    Arista Music
 395   Usher                                      Yeah!                                             SR0000354784    Arista Music
 396   Waylon Jennings                            Luckenbach, Texas (Back to the Basics of Love)    RE0000919768    Arista Music
 397   Alan Jackson                               Chasin' That Neon Rainbow                         SR0000120465    Arista Records LLC
 398   Alan Jackson                               Chattahoochee                                     SR0000147716    Arista Records LLC
 399   Alan Jackson                               Don't Rock The Jukebox                            SR0000138302    Arista Records LLC
 400   Alan Jackson                               Everything I Love                                 SR0000227719    Arista Records LLC
 401   Alan Jackson                               Gone Country                                      SR0000202090    Arista Records LLC
 402   Alan Jackson                               Here In The Real World                            SR0000120465    Arista Records LLC



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                         Artist                                               Track                            Reg. No.                Plaintiff
 403   Alan Jackson                               It Must Be Love                                         SR0000303828    Arista Records LLC
 404   Alan Jackson                               Little Bitty                                            SR0000227719    Arista Records LLC
 405   Alan Jackson                               Little Man                                              SR0000295185    Arista Records LLC
 406   Alan Jackson                               Livin' On Love                                          SR0000202090    Arista Records LLC
 407   Alan Jackson                               Midnight In Montgomery                                  SR0000138302    Arista Records LLC
 408   Alan Jackson                               Pop A Top                                               SR0000303828    Arista Records LLC
 409   Alan Jackson                               Right On the Money                                      SR0000295185    Arista Records LLC
 410   Alan Jackson                               She's Got the Rhythm (And I Got the Blues)              SR0000147716    Arista Records LLC
 411   Alan Jackson                               Tall, Tall Trees                                        SR0000216936    Arista Records LLC
 412   Alan Jackson                               Who's Cheatin' Who                                      SR0000227719    Arista Records LLC
 413   Alan Parsons Project                       Eye In The Sky                                          SR0000037591    Arista Records LLC
 414   Annie Lennox                               Cold                                                    SR0000145693    Arista Records LLC
 415   Annie Lennox                               Little Bird                                             SR0000145693    Arista Records LLC
 416   Annie Lennox                               Precious                                                SR0000145683    Arista Records LLC
 417   Annie Lennox                               Walking On Broken Glass                                 SR0000145693    Arista Records LLC
 418   Annie Lennox                               Why                                                     SR0000145693    Arista Records LLC
 419   Anthony Hamilton                           Diamond In The Rough                                    SR0000625444    Arista Records LLC
 420   Anthony Hamilton                           Fallin' In Love                                         SR0000625444    Arista Records LLC
 421   Anthony Hamilton                           Fine Again                                              SR0000625444    Arista Records LLC
 422   Anthony Hamilton                           Hard To Breathe                                         SR0000625444    Arista Records LLC
 423   Anthony Hamilton                           Her Heart                                               SR0000625444    Arista Records LLC
 424   Anthony Hamilton                           I Did It For Sho                                        SR0000625444    Arista Records LLC
 425   Anthony Hamilton                           Please Stay                                             SR0000625444    Arista Records LLC
 426   Anthony Hamilton                           Prayin' For You/Superman                                SR0000625444    Arista Records LLC
 427   Anthony Hamilton                           Soul's On Fire                                          SR0000625444    Arista Records LLC
 428   Anthony Hamilton                           The Day We Met                                          SR0000625444    Arista Records LLC
 429   Anthony Hamilton                           The News                                                SR0000625444    Arista Records LLC
 430   Anthony Hamilton                           The Point Of It All                                     SR0000625444    Arista Records LLC
 431 Anthony Hamilton featuring David Banner Cool                                                         PA0001640157    Arista Records LLC
 432   Avril Lavigne                              Anything But Ordinary                                   SR0000312786    Arista Records LLC
 433   Avril Lavigne                              I'm with You                                            SR0000312786    Arista Records LLC
 434   Avril Lavigne                              Losing Grip                                             SR0000312786    Arista Records LLC
 435   Avril Lavigne                              Mobile                                                  SR0000312786    Arista Records LLC
 436   Avril Lavigne                              Naked                                                   SR0000312786    Arista Records LLC
 437   Avril Lavigne                              Nobody's Fool                                           SR0000312786    Arista Records LLC
 438   Avril Lavigne                              Sk8er Boi                                               SR0000312786    Arista Records LLC
 439   Avril Lavigne                              Things I'll Never Say                                   SR0000312786    Arista Records LLC
 440   Avril Lavigne                              Tomorrow                                                SR0000312786    Arista Records LLC
 441   Brandy                                     Sittin' Up In My Room                                   SR0000219539    Arista Records LLC
 442   John Williams                              March from 1941                                         SR0000019891    Arista Records LLC
 443   Kenny G                                    Against Doctor's Orders                                 SR0000135107    Arista Records LLC
 444   Kenny G                                    Brazil                                                  SR0000321704    Arista Records LLC
 445   Kenny G                                    Desafinado                                              SR0000289898    Arista Records LLC
 446   Kenny G                                    Havana                                                  SR0002366228    Arista Records LLC
 447   Kenny G                                    Have Yourself a Merry Little Christmas                  SR0000206848    Arista Records LLC
 448   Kenny G                                    I'm in the Mood for Love                                SR0000399076    Arista Records LLC
 449   Kenny G                                    It Had To Be You                                        SR0000399076    Arista Records LLC
 450   Kenny G                                    Loving You                                              SR0000248755    Arista Records LLC
 451   Kenny G                                    Medley: Deck the Halls / The Twelve Days of Christmas   SR0000322511    Arista Records LLC
 452   Kenny G                                    Round Midnight                                          SR0000289898    Arista Records LLC
 453   Kenny G                                    Sade                                                    SR0000079028    Arista Records LLC
 454   Kenny G                                    Silhouette                                              SR0000135107    Arista Records LLC
 455   Kenny G                                    Slip of the Tongue                                      SR0000079028    Arista Records LLC
 456   Kenny G                                    Songbird                                                SR0000079028    Arista Records LLC
 457   Kenny G                                    The Champion's Theme                                    SR0002636228    Arista Records LLC
 458   Kenny G                                    The Look Of Love                                        SR0000289898    Arista Records LLC
 459   Kenny G                                    The Moment                                              SR0002636228    Arista Records LLC
 460   Kenny G                                    Theme from "Dying Young"                                SR0000263707    Arista Records LLC
 461   Monica featuring OutKast                   Gone Be Fine                                            SR0000263982    Arista Records LLC
 462   OutKast                                    A Life In The of Benjamin Andre (Incomplete)            SR0000340520    Arista Records LLC
 463   OutKast                                    Da Art of Storytellin' (Pt. 1)                          SR0000264092    Arista Records LLC
 464   OutKast                                    Da Art of Storytellin' (Pt. 2)                          SR0000264092    Arista Records LLC
 465   OutKast                                    Funkin' Around                                          SR0000326671    Arista Records LLC
 466   OutKast                                    Movin' Cool (The After Party)                           SR0000326671    Arista Records LLC
 467   OutKast                                    Return of the "G"                                       SR0000264092    Arista Records LLC
 468   OutKast featuring George Clinton           Synthesizer                                             SR0000264092    Arista Records LLC
 469   P!nk                                       18 Wheeler                                              SR0000326672    Arista Records LLC



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                         Artist                                                 Track                   Reg. No.                Plaintiff
 470   P!nk                                       Dear Diary                                       SR0000326672    Arista Records LLC
 471   P!nk                                       Don't Let Me Get Me                              SR0000326672    Arista Records LLC
 472   P!nk                                       Eventually                                       SR0000326672    Arista Records LLC
 473   P!nk                                       Family Portrait                                  SR0000326672    Arista Records LLC
 474   P!nk                                       Get The Party Started                            SR0000326672    Arista Records LLC
 475   P!nk                                       God Is A DJ                                      SR0000345431    Arista Records LLC
 476   P!nk                                       Gone to California                               SR0000326672    Arista Records LLC
 477   P!nk                                       Just Like A Pill                                 SR0000326672    Arista Records LLC
 478   P!nk                                       Lonely Girl                                      SR0000326672    Arista Records LLC
 479   P!nk                                       Misery                                           SR0000326672    Arista Records LLC
 480   P!nk                                       Missunaztood                                     SR0000326672    Arista Records LLC
 481   P!nk                                       My Vietnam                                       SR0000326672    Arista Records LLC
 482   P!nk                                       Numb                                             SR0000326672    Arista Records LLC
 483   P!nk                                       So What                                          SR0000719121    Arista Records LLC
 484   P!nk                                       Trouble                                          SR0000344428    Arista Records LLC
 485   Paula DeAnda                               Breathe                                          SR0000393631    Arista Records LLC
 486   Paula DeAnda                               Doing Too Much                                   SR0000393631    Arista Records LLC
 487   Paula DeAnda                               Easy                                             SR0000393631    Arista Records LLC
 488   Paula DeAnda                               Footprints On My Heart                           SR0000393631    Arista Records LLC
 489   Paula DeAnda                               Good Girl                                        SR0000393631    Arista Records LLC
 490   Paula Deanda                               I'll Be Down For You                             SR0000393631    Arista Records LLC
 491   Paula DeAnda                               Overloved                                        SR0000393631    Arista Records LLC
 492   Paula DeAnda                               So Cold                                          SR0000393631    Arista Records LLC
 493   Paula DeAnda                               When It Was Me                                   SR0000393631    Arista Records LLC
 494   Paula DeAnda feat. The Dey                 Walk Away (Remember Me)                          SR0000393631    Arista Records LLC
 495   Paula DeAnda featuring Ak'Sent             Clap Ta This                                     SR0000393631    Arista Records LLC
 496   Paula DeAnda featuring P.B.                Let's Go Out Tonight                             SR0000393631    Arista Records LLC
 497   Paula DeAnda featuring V Nice              Wanna Be With You                                SR0000393631    Arista Records LLC
 498   Run D.M.C.                                 Beats to the Rhyme                               SR0000124365    Arista Records LLC
 499   Run D.M.C.                                 Down With The King                               SR0000291221    Arista Records LLC
 500   Run D.M.C.                                 Faces                                            SR0000124852    Arista Records LLC
 501   Run D.M.C.                                 Hit It Run                                       SR0000124846    Arista Records LLC
 502   Run D.M.C.                                 I'm Not Going Out Like That                      SR0000124365    Arista Records LLC
 503   Run D.M.C.                                 It's Like That                                   SR0000044959    Arista Records LLC
 504   Run D.M.C.                                 It's Tricky                                      SR0000124846    Arista Records LLC
 505   Run D.M.C.                                 King Of Rock                                     SR0000124851    Arista Records LLC
 506   Run D.M.C.                                 Mary, Mary                                       SR0000124365    Arista Records LLC
 507   Run D.M.C.                                 My Adidas                                        SR0000124846    Arista Records LLC
 508   Run D.M.C.                                 Run's House                                      SR0000124365    Arista Records LLC
 509   Run D.M.C.                                 What's It All About                              SR0000124852    Arista Records LLC
 510   Run D.M.C.                                 You Be Illin'                                    SR0000124846    Arista Records LLC
 511   Run D.M.C.                                 You Talk Too Much                                SR0000124851    Arista Records LLC
 512   Santana                                    (Da Le) Yaleo                                    SR0000289833    Arista Records LLC
 513   Santana                                    Africa Bamba                                     SR0000289833    Arista Records LLC
 514   Santana                                    Corazon Espinado                                 SR0000289833    Arista Records LLC
 515   Santana                                    El Farol                                         SR0000289833    Arista Records LLC
 516   Santana                                    Migra                                            SR0000289833    Arista Records LLC
 517   Santana                                    Primavera                                        SR0000289833    Arista Records LLC
 518   Santana                                    Put Your Lights On                               SR0000289833    Arista Records LLC
 519   Santana                                    Smooth                                           SR0000289833    Arista Records LLC
       Santana feat. Dave Matthews & Carter
 520                                              Love Of My Life                                  SR0000289833    Arista Records LLC
       Beauford
 521   Santana featuring Eagle-Eye Cherry         Wishing It Was                                   SR0000289833    Arista Records LLC
 522   Santana featuring Lauryn Hill & Cee-Lo     Do You Like The Way                              SR0000289833    Arista Records LLC
 523   Sarah McLachlan                            Adia                                             SR0000243027    Arista Records LLC
 524   Sarah McLachlan                            Ben's Song                                       SR0000137750    Arista Records LLC
 525   Sarah McLachlan                            Building A Mystery                               SR0000243027    Arista Records LLC
 526   Sarah McLachlan                            Drawn to the Rhythm                              SR0000140285    Arista Records LLC
 527   Sarah McLachlan                            Fallen                                           SR0000345432    Arista Records LLC
 528   Sarah McLachlan                            Fumbling Towards Ecstasy                         SR0000200152    Arista Records LLC
 529   Sarah McLachlan                            Good Enough                                      SR0000200152    Arista Records LLC
 530   Sarah McLachlan                            Hold On                                          SR0000200152    Arista Records LLC
 531   Sarah Mclachlan                            I Will Remember You                              SR0000219471    Arista Records LLC
 532   Sarah McLachlan                            Ice Cream                                        SR0000200152    Arista Records LLC
 533   Sarah McLachlan                            Into the Fire                                    SR0000140285    Arista Records LLC
 534   Sarah McLachlan                            Mercy                                            SR0000140285    Arista Records LLC
 535   Sarah McLachlan                            Possession                                       SR0000200152    Arista Records LLC
 536   Sarah McLachlan                            Push                                             SR0000345432    Arista Records LLC



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                         Artist                                                  Track                  Reg. No.                 Plaintiff
 537   Sarah McLachlan                            Steaming                                         SR0000137750    Arista Records LLC
 538   Sarah McLachlan                            Stupid                                           SR0000345432    Arista Records LLC
 539   Sarah McLachlan                            Sweet Surrender                                  SR0000243027    Arista Records LLC
 540   Sarah McLachlan                            The Path of Thorns (Terms)                       SR0000140285    Arista Records LLC
 541   Sarah McLachlan                            Vox                                              SR0000137750    Arista Records LLC
 542   Sarah McLachlan                            World On Fire                                    SR0000345432    Arista Records LLC
 543   The Alan Parsons Project                   Any Other Day                                    SR0000609687    Arista Records LLC
 544   The Alan Parsons Project                   Children Of The Moon                             SR0000037591    Arista Records LLC
 545   The Alan Parsons Project                   Eye Pieces                                       SR0000609687    Arista Records LLC
 546   The Alan Parsons Project                   Gemini                                           SR0000037591    Arista Records LLC
 547   The Alan Parsons Project                   Mammagamma                                       SR0000037591    Arista Records LLC
 548   The Alan Parsons Project                   Old & Wise                                       SR0000609687    Arista Records LLC
 549   The Alan Parsons Project                   Old and Wise                                     SR0000037591    Arista Records LLC
 550   The Alan Parsons Project                   Psychobabble                                     SR0000037591    Arista Records LLC
 551   The Alan Parsons Project                   Silence and I                                    SR0000037591    Arista Records LLC
 552   The Alan Parsons Project                   SIRIUS                                           SR0000037591    Arista Records LLC
 553   The Alan Parsons Project                   Step By Step                                     SR0000037591    Arista Records LLC
 554   The Alan Parsons Project                   The Naked Eye                                    SR0000609687    Arista Records LLC
 555   The Alan Parsons Project                   You're Gonna Get Your Fingers Burned             SR0000037591    Arista Records LLC
 556   Whitney Houston                            Didn't We Almost Have It All                     SR0000089966    Arista Records LLC
 557   Whitney Houston                            Exhale                                           SR0000219539    Arista Records LLC
 558   Whitney Houston                            Get It Back                                      SR0000298453    Arista Records LLC
 559   Whitney Houston                            Greatest Love Of All                             SR0000060716    Arista Records LLC
 560   Whitney Houston                            Heartbreak Hotel                                 SR0000298453    Arista Records LLC
 561   Whitney Houston                            How Will I Know                                  SR0000060716    Arista Records LLC
 562   Whitney Houston                            I Bow Out                                        SR0000298453    Arista Records LLC
 563   Whitney Houston                            I Have Nothing                                   SR0000152583    Arista Records LLC
 564   Whitney Houston                            I Learned From The Best                          SR0000298453    Arista Records LLC
 565   Whitney Houston                            I Wanna Dance With Somebody                      SR0000089966    Arista Records LLC
 566   Whitney Houston                            I Was Made To Love Him                           SR0000298453    Arista Records LLC
 567   Whitney Houston                            I Will Always Love You                           SR0000152583    Arista Records LLC
 568   Whitney Houston                            I'm Every Woman                                  SR0000152583    Arista Records LLC
 569   Whitney Houston                            I'm Your Baby Tonight                            SR0000129257    Arista Records LLC
 570   Whitney Houston                            If I Told You That                               SR0000298453    Arista Records LLC
 571   Whitney Houston                            In My Business                                   SR0000298453    Arista Records LLC
 572   Whitney Houston                            It's Not Right But It's Okay                     SR0000298453    Arista Records LLC
 573   Whitney Houston                            My Love Is Your Love                             SR0000298453    Arista Records LLC
 574   Whitney Houston                            Oh Yes                                           SR0000298453    Arista Records LLC
 575   Whitney Houston                            One Moment In Time                               SR0000097640    Arista Records LLC
 576   Whitney Houston                            Run To You                                       SR0000152583    Arista Records LLC
 577   Whitney Houston                            Saving All My Love For You                       SR0000060716    Arista Records LLC
 578   Whitney Houston                            So Emotional                                     SR0000089966    Arista Records LLC
 579   Whitney Houston                            Until You Come Back                              SR0000298453    Arista Records LLC
 580   Whitney Houston                            When You Believe                                 SR0000298453    Arista Records LLC
 581   Whitney Houston                            Where Do Broken Hearts Go                        SR0000089966    Arista Records LLC
 582   Whitney Houston                            You'll Never Stand Alone                         SR0000298453    Arista Records LLC
 583   3OH!3                                      StarStrukk                                       SR0000652637    Atlantic Recording Corporation
 584   B.o.B                                      Nothin' On You                                   SR0000704831    Atlantic Recording Corporation
 598   Brandy                                     (Everything I Do) I Do It For You                SR0000256701    Atlantic Recording Corporation
 630   Brandy                                     Afrodisiac                                       SR0000370673    Atlantic Recording Corporation
 613   Brandy                                     All In Me                                        SR0000345858    Atlantic Recording Corporation
 599   Brandy                                     Almost Doesn't Count                             SR0000256701    Atlantic Recording Corporation
 585   Brandy                                     Always On My Mind                                SR0000202696    Atlantic Recording Corporation
 600   Brandy                                     Angel In Disquise                                SR0000256701    Atlantic Recording Corporation
 614   Brandy                                     Anybody                                          SR0000345858    Atlantic Recording Corporation
 615   Brandy                                     Apart                                            SR0000345858    Atlantic Recording Corporation
 586   Brandy                                     As Long As You're Here                           SR0000202696    Atlantic Recording Corporation
 616   Brandy                                     B Rocka Intro                                    SR0000345858    Atlantic Recording Corporation
 587   Brandy                                     Baby                                             SR0000202696    Atlantic Recording Corporation
 588   Brandy                                     Best Friend                                      SR0000202696    Atlantic Recording Corporation
 645   Brandy                                     Brokenhearted (feat. Wanya Morris)               SR0000373291    Atlantic Recording Corporation
 617   Brandy                                     Can We                                           SR0000345858    Atlantic Recording Corporation
 618   Brandy                                     Come A Little Closer                             SR0000345858    Atlantic Recording Corporation
 631   Brandy                                     Come As You Are                                  SR0000370673    Atlantic Recording Corporation
 619   Brandy                                     Die Without You                                  SR0000345858    Atlantic Recording Corporation
 632   Brandy                                     Finally                                          SR0000370673    Atlantic Recording Corporation
 633   Brandy                                     Focus                                            SR0000370673    Atlantic Recording Corporation
 620   Brandy                                     Full Moon                                        SR0000345858    Atlantic Recording Corporation



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                         Artist                                              Track                      Reg. No.                 Plaintiff
 589   Brandy                                     Give Me You                                      SR0000202696    Atlantic Recording Corporation
 601   Brandy                                     Happy                                            SR0000256701    Atlantic Recording Corporation
 602   Brandy                                     Have You Ever                                    SR0000256701    Atlantic Recording Corporation
 621   Brandy                                     He Is                                            SR0000345858    Atlantic Recording Corporation
 634   Brandy                                     How I Feel                                       SR0000370673    Atlantic Recording Corporation
 590   Brandy                                     I Dedicate (Part I)                              SR0000202696    Atlantic Recording Corporation
 591   Brandy                                     I Dedicate (Part II)                             SR0000202696    Atlantic Recording Corporation
 592   Brandy                                     I Dedicate (Part III)                            SR0000202696    Atlantic Recording Corporation
 622   Brandy                                     I Thought                                        SR0000345858    Atlantic Recording Corporation
 635   Brandy                                     I Tried                                          SR0000370673    Atlantic Recording Corporation
 593   Brandy                                     I Wanna Be Down                                  SR0000202696    Atlantic Recording Corporation
 594   Brandy                                     I'm Yours                                        SR0000202696    Atlantic Recording Corporation
 603   Brandy                                     In The Car Interlude                             SR0000256701    Atlantic Recording Corporation
 604   Brandy                                     Intro                                            SR0000256701    Atlantic Recording Corporation
 623   Brandy                                     It's Not Worth It                                SR0000345858    Atlantic Recording Corporation
 605   Brandy                                     Learn The Hard Way                               SR0000256701    Atlantic Recording Corporation
 624   Brandy                                     Like This                                        SR0000345858    Atlantic Recording Corporation
 595   Brandy                                     Love Is On My Side                               SR0000202696    Atlantic Recording Corporation
 625   Brandy                                     Love Wouldn't Count Me Out                       SR0000345858    Atlantic Recording Corporation
 596   Brandy                                     Movin' On                                        SR0000202696    Atlantic Recording Corporation
 636   Brandy                                     Necessary                                        SR0000370673    Atlantic Recording Corporation
 606   Brandy                                     Never Say Never                                  SR0000256701    Atlantic Recording Corporation
 626   Brandy                                     Nothing                                          SR0000345858    Atlantic Recording Corporation
 607   Brandy                                     One Voice                                        SR0000256701    Atlantic Recording Corporation
 608   Brandy                                     Put That On Everything                           SR0000256701    Atlantic Recording Corporation
 637   Brandy                                     Sadiddy                                          SR0000370673    Atlantic Recording Corporation
 638   Brandy                                     Say You Will                                     SR0000370673    Atlantic Recording Corporation
 639   Brandy                                     Should I Go                                      SR0000370673    Atlantic Recording Corporation
 597   Brandy                                     Sunny Day                                        SR0000202696    Atlantic Recording Corporation
 640   Brandy                                     Talk About Our Love                              SR0000370673    Atlantic Recording Corporation
 609   Brandy                                     Tomorrow                                         SR0000256701    Atlantic Recording Corporation
 610   Brandy                                     Top Of The World                                 SR0000256701    Atlantic Recording Corporation
 611   Brandy                                     Truthfully                                       SR0000256701    Atlantic Recording Corporation
 641   Brandy                                     Turn It Up                                       SR0000370673    Atlantic Recording Corporation
 612   Brandy                                     U Dont Know Me (Like U Used To)                  SR0000256701    Atlantic Recording Corporation
 627   Brandy                                     What About Us?                                   SR0000345858    Atlantic Recording Corporation
 628   Brandy                                     When You Touch Me                                SR0000345858    Atlantic Recording Corporation
 642   Brandy                                     Where You Wanna Be                               SR0000370673    Atlantic Recording Corporation
 643   Brandy                                     Who I Am                                         SR0000370673    Atlantic Recording Corporation
 644   Brandy                                     Who Is She 2 U                                   SR0000370673    Atlantic Recording Corporation
 629   Brandy                                     Wow                                              SR0000345858    Atlantic Recording Corporation
 646   Brandy & Monica                            The Boy Is Mine                                  SR0000256110    Atlantic Recording Corporation
 647   Brandy & Ray J                             Another Day In Paradise                          SR0000373291    Atlantic Recording Corporation
 648   Bruno Mars                                 Gorilla                                          SR0000715738    Atlantic Recording Corporation
 649   Bruno Mars                                 Locked Out of Heaven                             SR0000715738    Atlantic Recording Corporation
 650   Bruno Mars                                 Treasure                                         SR0000715738    Atlantic Recording Corporation
 651   Carolina Liar                              All That Sh** Is Gone                            SR0000637774    Atlantic Recording Corporation
 652   Carolina Liar                              Better Alone                                     SR0000637774    Atlantic Recording Corporation
 653   Carolina Liar                              California Bound                                 SR0000637774    Atlantic Recording Corporation
 654   Carolina Liar                              Coming To Terms                                  SR0000637774    Atlantic Recording Corporation
 655   Carolina Liar                              Done Stealin'                                    SR0000637774    Atlantic Recording Corporation
 656   Carolina Liar                              I'm Not Over                                     SR0000637774    Atlantic Recording Corporation
 657   Carolina Liar                              Last Night                                       SR0000637774    Atlantic Recording Corporation
 658   Carolina Liar                              Show Me What I'm Looking For                     SR0000637774    Atlantic Recording Corporation
 659   Carolina Liar                              Simple Life                                      SR0000637774    Atlantic Recording Corporation
 660   Carolina Liar                              Something To Die For                             SR0000637774    Atlantic Recording Corporation
 661   Carolina Liar                              When You Are Near                                SR0000637774    Atlantic Recording Corporation
 662   Christina Perri                            arms                                             SR0000704080    Atlantic Recording Corporation
 673   Christina Perri                            backwards                                        SR0000705202    Atlantic Recording Corporation
 663   Christina Perri                            bang bang bang                                   SR0000704080    Atlantic Recording Corporation
 674   Christina Perri                            black + blue                                     SR0000705202    Atlantic Recording Corporation
 664   Christina Perri                            bluebird                                         SR0000704080    Atlantic Recording Corporation
 665   Christina Perri                            interlude                                        SR0000704080    Atlantic Recording Corporation
 666   Christina Perri                            Jar Of Hearts                                    SR0000704080    Atlantic Recording Corporation
 667   Christina Perri                            miles                                            SR0000704080    Atlantic Recording Corporation
 668   Christina Perri                            mine                                             SR0000704080    Atlantic Recording Corporation
 675   Christina Perri                            my eyes                                          SR0000705202    Atlantic Recording Corporation
 669   Christina Perri                            penguin                                          SR0000704080    Atlantic Recording Corporation



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                         Artist                                                Track                     Reg. No.                 Plaintiff
 670   Christina Perri                            sad song                                          SR0000704080    Atlantic Recording Corporation
 671   Christina Perri                            the lonely                                        SR0000704080    Atlantic Recording Corporation
 672   Christina Perri                            tragedy                                           SR0000704080    Atlantic Recording Corporation
 676   Clean Bandit                               Rather Be                                         SR0000767823    Atlantic Recording Corporation
 704   Flo Rida                                   21                                                SR0000672870    Atlantic Recording Corporation
 677   Flo Rida                                   Ack Like You Know                                 SR0000629161    Atlantic Recording Corporation
 678   Flo Rida                                   All My Life                                       SR0000629161    Atlantic Recording Corporation
 679   Flo Rida                                   American Superstar                                SR0000629161    Atlantic Recording Corporation
 691   Flo Rida                                   Available                                         SR0000658178    Atlantic Recording Corporation
 692   Flo Rida                                   Be On You                                         SR0000658178    Atlantic Recording Corporation
 705   Flo Rida                                   Club Can't Handle Me                              SR0000672870    Atlantic Recording Corporation
 680   Flo Rida                                   Don't Know How To Act                             SR0000629161    Atlantic Recording Corporation
 681   Flo Rida                                   Elevator                                          SR0000629161    Atlantic Recording Corporation
 693   Flo Rida                                   Finally Here                                      SR0000658178    Atlantic Recording Corporation
 682   Flo Rida                                   Freaky Deaky                                      SR0000629161    Atlantic Recording Corporation
 694   Flo Rida                                   Gotta Get It (Dancer)                             SR0000658178    Atlantic Recording Corporation
 711   Flo Rida                                   I Cry                                             SR0000754532    Atlantic Recording Corporation
 712   Flo Rida                                   In My Mind (Part 2)                               SR0000754532    Atlantic Recording Corporation
 683   Flo Rida                                   In The Ayer                                       SR0000629161    Atlantic Recording Corporation
 695   Flo Rida                                   Jump                                              SR0000658178    Atlantic Recording Corporation
 713   Flo Rida                                   Let it Roll                                       SR0000754532    Atlantic Recording Corporation
 684   Flo Rida                                   Low                                               SR0000629161    Atlantic Recording Corporation
 685   Flo Rida                                   Me & U                                            SR0000629161    Atlantic Recording Corporation
 696   Flo Rida                                   Mind On My Money                                  SR0000658178    Atlantic Recording Corporation
 686   Flo Rida                                   Money Right                                       SR0000629161    Atlantic Recording Corporation
 687   Flo Rida                                   Ms. Hangover                                      SR0000629161    Atlantic Recording Corporation
 697   Flo Rida                                   Never                                             SR0000658178    Atlantic Recording Corporation
 706   Flo Rida                                   On and On                                         SR0000672870    Atlantic Recording Corporation
 688   Flo Rida                                   Priceless                                         SR0000629161    Atlantic Recording Corporation
 698   Flo Rida                                   R.O.O.T.S.                                        SR0000658178    Atlantic Recording Corporation
 707   Flo Rida                                   Respirator                                        SR0000672870    Atlantic Recording Corporation
 699   Flo Rida                                   Rewind                                            SR0000658178    Atlantic Recording Corporation
 700   Flo Rida                                   Right Round                                       SR0000658178    Atlantic Recording Corporation
 689   Flo Rida                                   Roll                                              SR0000629161    Atlantic Recording Corporation
 714   Flo Rida                                   Run                                               SR0000754532    Atlantic Recording Corporation
 701   Flo Rida                                   Shone                                             SR0000658178    Atlantic Recording Corporation
 690   Flo Rida                                   Still Missin                                      SR0000629161    Atlantic Recording Corporation
 702   Flo Rida                                   Sugar                                             SR0000658178    Atlantic Recording Corporation
 715   Flo Rida                                   Sweet Spot                                        SR0000754532    Atlantic Recording Corporation
 716   Flo Rida                                   Thinking Of You                                   SR0000754532    Atlantic Recording Corporation
 703   Flo Rida                                   Touch Me                                          SR0000658178    Atlantic Recording Corporation
 708   Flo Rida                                   Turn Around (5,4,3,2,1)                           SR0000672870    Atlantic Recording Corporation
 709   Flo Rida                                   Who Dat Girl                                      SR0000672870    Atlantic Recording Corporation
 710   Flo Rida                                   Why You Up In Here                                SR0000672870    Atlantic Recording Corporation
 717   Flo Rida                                   Wild Ones                                         SR0000754532    Atlantic Recording Corporation
 721   Genesis                                    Congo                                             SR0000239424    Atlantic Recording Corporation
 718   Genesis                                    I Know What I Like (In Your Wardrobe)             N10834          Atlantic Recording Corporation
 720   Genesis                                    Mama                                              SR0000047558    Atlantic Recording Corporation
 719   Genesis                                    The Carpet Crawlers                               N19639          Atlantic Recording Corporation
 722   Gnarls Barkley                             Crazy                                             SR0000398345    Atlantic Recording Corporation
 723   Gnarls Barkley                             Feng Shui                                         SR0000398345    Atlantic Recording Corporation
 724   Gnarls Barkley                             Go-Go Gadget Gospel                               SR0000398345    Atlantic Recording Corporation
 725   Gnarls Barkley                             Gone Daddy Gone                                   SR0000398345    Atlantic Recording Corporation
 726   Gnarls Barkley                             Just A Thought                                    SR0000398345    Atlantic Recording Corporation
 727   Gnarls Barkley                             Necromancer                                       SR0000398345    Atlantic Recording Corporation
 728   Gnarls Barkley                             Online                                            SR0000398345    Atlantic Recording Corporation
 729   Gnarls Barkley                             Smiley Faces                                      SR0000398345    Atlantic Recording Corporation
 730   Gnarls Barkley                             St. Elsewhere                                     SR0000398345    Atlantic Recording Corporation
 731   Gnarls Barkley                             The Boogie Monster                                SR0000398345    Atlantic Recording Corporation
 732   Gnarls Barkley                             The Last Time                                     SR0000398345    Atlantic Recording Corporation
 733   Gnarls Barkley                             Transformer                                       SR0000398345    Atlantic Recording Corporation
 734   Gnarls Barkley                             Who Cares?                                        SR0000398345    Atlantic Recording Corporation
 735   Grouplove                                  Betty's a Bombshell                               SR0000704081    Atlantic Recording Corporation
 736   Grouplove                                  Chloe                                             SR0000704081    Atlantic Recording Corporation
 737   Grouplove                                  Close Your Eyes and Count to Ten                  SR0000704081    Atlantic Recording Corporation
 746   Grouplove                                  Colours                                           SR0000707748    Atlantic Recording Corporation
 738   Grouplove                                  Cruel and Beautiful World                         SR0000704081    Atlantic Recording Corporation
 747   Grouplove                                  Don't Say Oh Well                                 SR0000707748    Atlantic Recording Corporation



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                        Artist                                                 Track                     Reg. No.                 Plaintiff
 748   Grouplove                                  Get Giddy                                         SR0000707748    Atlantic Recording Corporation
 749   Grouplove                                  Getaway Car                                       SR0000707748    Atlantic Recording Corporation
 750   Grouplove                                  Goldcoast                                         SR0000707748    Atlantic Recording Corporation
 739   Grouplove                                  Itchin' On A Photograph                           SR0000704081    Atlantic Recording Corporation
 740   Grouplove                                  Love Will Save Your Soul                          SR0000704081    Atlantic Recording Corporation
 741   Grouplove                                  Lovely Cup                                        SR0000704081    Atlantic Recording Corporation
 742   Grouplove                                  Naked Kids                                        SR0000704081    Atlantic Recording Corporation
 743   Grouplove                                  Slow                                              SR0000704081    Atlantic Recording Corporation
 744   Grouplove                                  Spun                                              SR0000704081    Atlantic Recording Corporation
 745   Grouplove                                  Tongue Tied                                       SR0000704081    Atlantic Recording Corporation
 751   Gucci Mane                                 Haterade                                          SR0000665931    Atlantic Recording Corporation
 757   Hootie & The Blowfish                      Be The One                                        SR0000223661    Atlantic Recording Corporation
 764   Hootie & The Blowfish                      Hey Hey What Can I Do?                            SR0000311807    Atlantic Recording Corporation
 752   Hootie & The Blowfish                      Hold My Hand                                      SR0000193960    Atlantic Recording Corporation
 761   Hootie & The Blowfish                      I Go Blind                                        SR0000230125    Atlantic Recording Corporation
 762   Hootie & The Blowfish                      I Will Wait                                       SR0000246482    Atlantic Recording Corporation
 766   Hootie & The Blowfish                      Innocence                                         SR0000334892    Atlantic Recording Corporation
 753   Hootie & The Blowfish                      Let Her Cry                                       SR0000193960    Atlantic Recording Corporation
 754   Hootie & The Blowfish                      Not Even The Trees                                SR0000193960    Atlantic Recording Corporation
 758   Hootie & The Blowfish                      Old Man & Me                                      SR0000223661    Atlantic Recording Corporation
 763   Hootie & The Blowfish                      Only Lonely                                       SR0000246482    Atlantic Recording Corporation
 755   Hootie & The Blowfish                      Only Wanna Be With You                            SR0000193960    Atlantic Recording Corporation
 759   Hootie & The Blowfish                      Sad Caper                                         SR0000223661    Atlantic Recording Corporation
 767   Hootie & The Blowfish                      Space                                             SR0000334892    Atlantic Recording Corporation
 756   Hootie & The Blowfish                      Time                                              SR0000193960    Atlantic Recording Corporation
 760   Hootie & The Blowfish                      Tucker's Town                                     SR0000223661    Atlantic Recording Corporation
 765   Hootie & The Blowfish                      Use Me                                            SR0000311807    Atlantic Recording Corporation
 768   Hunter Hayes                               I Want Crazy (Encore)                             SR0000748751    Atlantic Recording Corporation
 769   Icona Pop                                  I Love It                                         SR0000723485    Atlantic Recording Corporation
 795   INXS                                       Baby Don't Cry                                    SR0000152091    Atlantic Recording Corporation
 796   INXS                                       Beautiful Girl                                    SR0000152091    Atlantic Recording Corporation
 790   INXS                                       Bitter Tears                                      SR0000121377    Atlantic Recording Corporation
 770   INXS                                       Black And White                                   SR0000042945    Atlantic Recording Corporation
 774   INXS                                       Burn For You                                      SR0000054062    Atlantic Recording Corporation
 791   INXS                                       By My Side                                        SR0000121377    Atlantic Recording Corporation
 775   INXS                                       Dancing On The Jetty                              SR0000054062    Atlantic Recording Corporation
 785   INXS                                       Devil Inside                                      SR0000085232    Atlantic Recording Corporation
 792   INXS                                       Disappear                                         SR0000121377    Atlantic Recording Corporation
 771   INXS                                       Don't Change                                      SR0000042945    Atlantic Recording Corporation
 797   INXS                                       Heaven Sent                                       SR0000152091    Atlantic Recording Corporation
 776   INXS                                       I Send A Message                                  SR0000054062    Atlantic Recording Corporation
 779   INXS                                       Just Keep Walking                                 SR0000054970    Atlantic Recording Corporation
 782   INXS                                       Kiss The Dirt (Falling Down The Mountain)         SR0000066559    Atlantic Recording Corporation
 783   INXS                                       Listen Like Thieves                               SR0000066559    Atlantic Recording Corporation
 777   INXS                                       Love Is (What I Say)                              SR0000054062    Atlantic Recording Corporation
 786   INXS                                       Mystify                                           SR0000085232    Atlantic Recording Corporation
 787   INXS                                       Need You Tonight                                  SR0000085232    Atlantic Recording Corporation
 788   INXS                                       Never Tear Us Apart                               SR0000085232    Atlantic Recording Corporation
 789   INXS                                       New Sensation                                     SR0000085232    Atlantic Recording Corporation
 798   INXS                                       Not Enough Time                                   SR0000152091    Atlantic Recording Corporation
 778   INXS                                       Original Sin                                      SR0000054753    Atlantic Recording Corporation
 780   INXS                                       Stay Young                                        SR0000054971    Atlantic Recording Corporation
 793   INXS                                       Suicide Blonde                                    SR0000121377    Atlantic Recording Corporation
 799   INXS                                       Taste It                                          SR0000152091    Atlantic Recording Corporation
 800   INXS                                       The Gift                                          SR0000175450    Atlantic Recording Corporation
 772   INXS                                       The One Thing                                     SR0000042945    Atlantic Recording Corporation
 794   INXS                                       The Stairs                                        SR0000121377    Atlantic Recording Corporation
 781   INXS                                       This Time                                         SR0000065969    Atlantic Recording Corporation
 773   INXS                                       To Look At You                                    SR0000042945    Atlantic Recording Corporation
 784   INXS                                       What You Need                                     SR0000066559    Atlantic Recording Corporation
 801   INXS with Jimmy Barnes                     Good Times                                        SR0000084356    Atlantic Recording Corporation
 802   Jason Mraz                                 A Beautiful Mess                                  SR0000623312    Atlantic Recording Corporation
 803   Jason Mraz                                 Butterfly                                         SR0000623312    Atlantic Recording Corporation
 804   Jason Mraz                                 Coyotes                                           SR0000623312    Atlantic Recording Corporation
 805   Jason Mraz                                 Details in the Fabric                             SR0000623312    Atlantic Recording Corporation
 814   Jason Mraz                                 I Won't Give Up                                   SR0000704463    Atlantic Recording Corporation
 806   Jason Mraz                                 I'm Yours                                         SR0000623312    Atlantic Recording Corporation
 807   Jason Mraz                                 If It Kills Me                                    SR0000623312    Atlantic Recording Corporation



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                         Artist                                                 Track                     Reg. No.                 Plaintiff
 808   Jason Mraz                                 Live High                                          SR0000623312    Atlantic Recording Corporation
 809   Jason Mraz                                 Love For A Child                                   SR0000623312    Atlantic Recording Corporation
 810   Jason Mraz                                 Lucky                                              SR0000623312    Atlantic Recording Corporation
 811   Jason Mraz                                 Make It Mine                                       SR0000623312    Atlantic Recording Corporation
 812   Jason Mraz                                 Only Human                                         SR0000623312    Atlantic Recording Corporation
 813   Jason Mraz                                 The Dynamo Of Volition                             SR0000623312    Atlantic Recording Corporation
 815   Kid Rock                                   All Summer Long                                    SR0000622796    Atlantic Recording Corporation
 816   Kid Rock                                   Amen                                               SR0000622796    Atlantic Recording Corporation
 817   Kid Rock                                   Blue Jeans And A Rosary                            SR0000622796    Atlantic Recording Corporation
 818   Kid Rock                                   Don't Tell Me You Love Me                          SR0000622796    Atlantic Recording Corporation
 819   Kid Rock                                   Half Your Age                                      SR0000622796    Atlantic Recording Corporation
 820   Kid Rock                                   Lowlife (Living The Highlife)                      SR0000622796    Atlantic Recording Corporation
 821   Kid Rock                                   New Orleans                                        SR0000622796    Atlantic Recording Corporation
 822   Kid Rock                                   Rock N Roll Jesus                                  SR0000622796    Atlantic Recording Corporation
 823   Kid Rock                                   Roll On                                            SR0000622796    Atlantic Recording Corporation
 824   Kid Rock                                   So Hott                                            SR0000622796    Atlantic Recording Corporation
 825   Kid Rock                                   Sugar                                              SR0000622796    Atlantic Recording Corporation
 826   Kid Rock                                   When U Love Someone                                SR0000622796    Atlantic Recording Corporation
 843   Lupe Fiasco                                All Black Everything                               SR0000704469    Atlantic Recording Corporation
 844   Lupe Fiasco                                Beautiful Lasers (2 Ways)                          SR0000704469    Atlantic Recording Corporation
 845   Lupe Fiasco                                BREAK THE CHAIN                                    SR0000704469    Atlantic Recording Corporation
 846   Lupe Fiasco                                Coming Up                                          SR0000704469    Atlantic Recording Corporation
 827   Lupe Fiasco                                Dumb It Down                                       SR0000639320    Atlantic Recording Corporation
 828   Lupe Fiasco                                Fighters                                           SR0000639320    Atlantic Recording Corporation
 829   Lupe Fiasco                                Free Chilly                                        SR0000639320    Atlantic Recording Corporation
 830   Lupe Fiasco                                Go Baby                                            SR0000639320    Atlantic Recording Corporation
 831   Lupe Fiasco                                Go Go Gadget Flow                                  SR0000639320    Atlantic Recording Corporation
 832   Lupe Fiasco                                Gotta Eat                                          SR0000639320    Atlantic Recording Corporation
 833   Lupe Fiasco                                Hi-Definition                                      SR0000639320    Atlantic Recording Corporation
 834   Lupe Fiasco                                Hip-Hop Saved My Life                              SR0000639320    Atlantic Recording Corporation
 847   Lupe Fiasco                                I Don't Wanna Care Right Now                       SR0000704469    Atlantic Recording Corporation
 835   Lupe Fiasco                                Intruder Alert                                     SR0000639320    Atlantic Recording Corporation
 848   Lupe Fiasco                                Letting Go                                         SR0000704469    Atlantic Recording Corporation
 836   Lupe Fiasco                                Little Weapon                                      SR0000639320    Atlantic Recording Corporation
 849   Lupe Fiasco                                Never Forget You                                   SR0000704469    Atlantic Recording Corporation
 850   Lupe Fiasco                                Out Of My Head                                     SR0000704469    Atlantic Recording Corporation
 837   Lupe Fiasco                                Paris, Tokyo                                       SR0000639320    Atlantic Recording Corporation
 838   Lupe Fiasco                                Put You On Game                                    SR0000639320    Atlantic Recording Corporation
 851   Lupe Fiasco                                State Run Radio                                    SR0000704469    Atlantic Recording Corporation
 839   Lupe Fiasco                                Streets On Fire                                    SR0000639320    Atlantic Recording Corporation
 840   Lupe Fiasco                                Superstar                                          SR0000639320    Atlantic Recording Corporation
 841   Lupe Fiasco                                The Coolest                                        SR0000639320    Atlantic Recording Corporation
 842   Lupe Fiasco                                The Die                                            SR0000639320    Atlantic Recording Corporation
 852   Lupe Fiasco                                The Show Goes On                                   SR0000704469    Atlantic Recording Corporation
 853   Lupe Fiasco                                Till I Get There                                   SR0000704469    Atlantic Recording Corporation
 854   Lupe Fiasco                                Words I Never Said                                 SR0000704469    Atlantic Recording Corporation
 855   Matchbox Twenty                            3AM                                                SR0000227755    Atlantic Recording Corporation
 876   Matchbox Twenty                            All I Need                                         SR0000345857    Atlantic Recording Corporation
 887   Matchbox Twenty                            All Your Reasons                                   SR0000633456    Atlantic Recording Corporation
 865   Matchbox Twenty                            Angry                                              SR0000305708    Atlantic Recording Corporation
 856   Matchbox Twenty                            Argue                                              SR0000227755    Atlantic Recording Corporation
 888   Matchbox Twenty                            Back 2 Good (Remastered)                           SR0000633456    Atlantic Recording Corporation
 866   Matchbox Twenty                            Bed Of Lies                                        SR0000305708    Atlantic Recording Corporation
 889   Matchbox Twenty                            Bent (Remastered)                                  SR0000633456    Atlantic Recording Corporation
 867   Matchbox Twenty                            Black & White People                               SR0000305708    Atlantic Recording Corporation
 857   Matchbox Twenty                            Busted                                             SR0000227755    Atlantic Recording Corporation
 890   Matchbox Twenty                            Can't Let You Go                                   SR0000633456    Atlantic Recording Corporation
 877   Matchbox Twenty                            Cold                                               SR0000345857    Atlantic Recording Corporation
 878   Matchbox Twenty                            Could I Be You                                     SR0000345857    Atlantic Recording Corporation
 868   Matchbox Twenty                            Crutch                                             SR0000305708    Atlantic Recording Corporation
 858   Matchbox Twenty                            Damn                                               SR0000227755    Atlantic Recording Corporation
 886   Matchbox Twenty                            Disease (Acoustic)                                 SR0000353594    Atlantic Recording Corporation
 891   Matchbox Twenty                            Disease (Remastered)                               SR0000633456    Atlantic Recording Corporation
 879   Matchbox Twenty                            Downfall                                           SR0000345857    Atlantic Recording Corporation
 898   Matchbox Twenty                            English Town                                       SR0000714896    Atlantic Recording Corporation
 880   Matchbox Twenty                            Feel                                               SR0000345857    Atlantic Recording Corporation
 859   Matchbox Twenty                            Girl Like That                                     SR0000227755    Atlantic Recording Corporation
 881   Matchbox Twenty                            Hand Me Down                                       SR0000345857    Atlantic Recording Corporation



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                         Artist                                                Track                      Reg. No.                 Plaintiff
 860   Matchbox Twenty                            Hang                                               SR0000227755    Atlantic Recording Corporation
 892   Matchbox Twenty                            How Far We've Come                                 SR0000633456    Atlantic Recording Corporation
 899   Matchbox Twenty                            How Long                                           SR0000714896    Atlantic Recording Corporation
 900   Matchbox Twenty                            I Will                                             SR0000714896    Atlantic Recording Corporation
 893   Matchbox Twenty                            I'll Believe You When                              SR0000633456    Atlantic Recording Corporation
 894   Matchbox Twenty                            If I Fall                                          SR0000633456    Atlantic Recording Corporation
 869   Matchbox Twenty                            If You're Gone                                     SR0000305708    Atlantic Recording Corporation
 861   Matchbox Twenty                            Kody                                               SR0000227755    Atlantic Recording Corporation
 870   Matchbox Twenty                            Last Beautiful Girl                                SR0000305708    Atlantic Recording Corporation
 871   Matchbox Twenty                            Leave                                              SR0000305708    Atlantic Recording Corporation
 901   Matchbox Twenty                            Like Sugar                                         SR0000714896    Atlantic Recording Corporation
 862   Matchbox Twenty                            Long Day                                           SR0000227755    Atlantic Recording Corporation
 895   Matchbox Twenty                            Mad Season (Remastered)                            SR0000633456    Atlantic Recording Corporation
 902   Matchbox Twenty                            Our Song                                           SR0000714896    Atlantic Recording Corporation
 903   Matchbox Twenty                            Overjoyed                                          SR0000714896    Atlantic Recording Corporation
 863   Matchbox Twenty                            Push                                               SR0000227755    Atlantic Recording Corporation
 896   Matchbox Twenty                            Push Remastered)                                   SR0000633456    Atlantic Recording Corporation
 904   Matchbox Twenty                            Put Your Hands Up                                  SR0000714896    Atlantic Recording Corporation
 905   Matchbox Twenty                            Radio                                              SR0000714896    Atlantic Recording Corporation
 864   Matchbox Twenty                            Real World                                         SR0000227755    Atlantic Recording Corporation
 872   Matchbox Twenty                            Rest Stop                                          SR0000305708    Atlantic Recording Corporation
 906   Matchbox Twenty                            She's So Mean                                      SR0000714896    Atlantic Recording Corporation
 907   Matchbox Twenty                            Sleeping At The Wheel                              SR0000714896    Atlantic Recording Corporation
 882   Matchbox Twenty                            Soul                                               SR0000345857    Atlantic Recording Corporation
 873   Matchbox Twenty                            Stop                                               SR0000305708    Atlantic Recording Corporation
 874   Matchbox Twenty                            The Burn                                           SR0000305708    Atlantic Recording Corporation
 883   Matchbox Twenty                            The Difference                                     SR0000345857    Atlantic Recording Corporation
 897   Matchbox Twenty                            These Hard Times                                   SR0000633456    Atlantic Recording Corporation
 884   Matchbox Twenty                            Unwell                                             SR0000345857    Atlantic Recording Corporation
 875   Matchbox Twenty                            You Won't Be Mine                                  SR0000305708    Atlantic Recording Corporation
 885   Matchbox Twenty                            You're So Real                                     SR0000345857    Atlantic Recording Corporation
 908   Meek Mill                                  Amen                                               SRu001109021    Atlantic Recording Corporation
 909   Musiq Soulchild                            backagain                                          SR0000706644    Atlantic Recording Corporation
 910   Musiq Soulchild                            dearjohn                                           SR0000706644    Atlantic Recording Corporation
 911   Musiq Soulchild                            deserveumore                                       SR0000706644    Atlantic Recording Corporation
 912   Musiq Soulchild                            ifuleave                                           SR0000706644    Atlantic Recording Corporation
 913   Musiq Soulchild                            iwannabe                                           SR0000706644    Atlantic Recording Corporation
 914   Musiq Soulchild                            loveofmylife                                       SR0000706644    Atlantic Recording Corporation
 915   Musiq Soulchild                            moneyright                                         SR0000706644    Atlantic Recording Corporation
 916   Musiq Soulchild                            Radio                                              SR0000706644    Atlantic Recording Corporation
 917   Musiq Soulchild                            sobeautiful                                        SR0000706644    Atlantic Recording Corporation
 918   Musiq Soulchild                            someone                                            SR0000706644    Atlantic Recording Corporation
 919   Musiq Soulchild                            special                                            SR0000706644    Atlantic Recording Corporation
 920   Musiq Soulchild                            until                                              SR0000706644    Atlantic Recording Corporation
 921   Omarion                                    Bo$$                                               SR0000789927    Atlantic Recording Corporation
 922   Omarion                                    Deeper                                             SR0000789927    Atlantic Recording Corporation
 923   Omarion                                    You Like It                                        SR0000789927    Atlantic Recording Corporation
 924   P.O.D.                                     Youth Of The Nation                                SR0000303757    Atlantic Recording Corporation
 941   Paramore                                   (One Of Those) Crazy Girls                         SR0000724441    Atlantic Recording Corporation
 935   Paramore                                   All I Wanted                                       SR0000657157    Atlantic Recording Corporation
 942   Paramore                                   Anklebiters                                        SR0000724441    Atlantic Recording Corporation
 943   Paramore                                   Be Alone                                           SR0000724441    Atlantic Recording Corporation
 925   Paramore                                   Born For This                                      SR0000631909    Atlantic Recording Corporation
 936   Paramore                                   Careful                                            SR0000657157    Atlantic Recording Corporation
 926   Paramore                                   crushcrushcrush                                    SR0000631909    Atlantic Recording Corporation
 944   Paramore                                   Daydreaming                                        SR0000724441    Atlantic Recording Corporation
 945   Paramore                                   Fast In My Car                                     SR0000724441    Atlantic Recording Corporation
 937   Paramore                                   Feeling Sorry                                      SR0000657157    Atlantic Recording Corporation
 927   Paramore                                   Fences                                             SR0000631909    Atlantic Recording Corporation
 928   Paramore                                   For A Pessimist, I'm Pretty Optimistic             SR0000631909    Atlantic Recording Corporation
 946   Paramore                                   Future                                             SR0000724441    Atlantic Recording Corporation
 947   Paramore                                   Grow Up                                            SR0000724441    Atlantic Recording Corporation
 929   Paramore                                   Hallelujah                                         SR0000631909    Atlantic Recording Corporation
 948   Paramore                                   Hate To See Your Heart Break                       SR0000724441    Atlantic Recording Corporation
 949   Paramore                                   Interlude: Holiday                                 SR0000724441    Atlantic Recording Corporation
 950   Paramore                                   Interlude: I'm Not Angry Anymore                   SR0000724441    Atlantic Recording Corporation
 951   Paramore                                   Interlude: Moving On                               SR0000724441    Atlantic Recording Corporation
 952   Paramore                                   Last Hope                                          SR0000724441    Atlantic Recording Corporation



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                         Artist                                                 Track                   Reg. No.                 Plaintiff
 930 Paramore                                     Let The Flames Begin                             SR0000631909    Atlantic Recording Corporation
 938 Paramore                                     Looking Up                                       SR0000657157    Atlantic Recording Corporation
 931 Paramore                                     Miracle                                          SR0000631909    Atlantic Recording Corporation
 939 Paramore                                     Misguided Ghosts                                 SR0000657157    Atlantic Recording Corporation
 953 Paramore                                     Now                                              SR0000724441    Atlantic Recording Corporation
 954 Paramore                                     Part II                                          SR0000724441    Atlantic Recording Corporation
 955 Paramore                                     Proof                                            SR0000724441    Atlantic Recording Corporation
 956 Paramore                                     Still Into You                                   SR0000724441    Atlantic Recording Corporation
 932 Paramore                                     That's What You Get                              SR0000631909    Atlantic Recording Corporation
 940 Paramore                                     Turn It Off                                      SR0000657157    Atlantic Recording Corporation
 933 Paramore                                     We Are Broken                                    SR0000631909    Atlantic Recording Corporation
 934 Paramore                                     When It Rains                                    SR0000631909    Atlantic Recording Corporation
 957 Plies                                        1 Mo Time                                        SR0000612286    Atlantic Recording Corporation
 958 Plies                                        100 Years                                        SR0000612286    Atlantic Recording Corporation
 959 Plies                                        Friday                                           SR0000612286    Atlantic Recording Corporation
 960 Plies                                        Goons Lurkin                                     SR0000612286    Atlantic Recording Corporation
 961 Plies                                        Hypnotized                                       SR0000612286    Atlantic Recording Corporation
 962 Plies                                        I Am The Club                                    SR0000612286    Atlantic Recording Corporation
 963 Plies                                        I Kno U Workin                                   SR0000612286    Atlantic Recording Corporation
 964 Plies                                        Kept It Too Real                                 SR0000612286    Atlantic Recording Corporation
 965 Plies                                        Money Straight                                   SR0000612286    Atlantic Recording Corporation
 966 Plies                                        Murkin Season                                    SR0000612286    Atlantic Recording Corporation
 967 Plies                                        On My D**k                                       SR0000612286    Atlantic Recording Corporation
 968 Plies                                        Runnin' My Momma Crazy                           SR0000612286    Atlantic Recording Corporation
 969 Plies                                        The Real Testament Intro                         SR0000612286    Atlantic Recording Corporation
 970 Plies                                        You                                              SR0000612286    Atlantic Recording Corporation
 971 Plies                                        Shawty                                           SR0000612286    Atlantic Recording Corporation
 972 Rob Thomas                                   All That I Am                                    SR0000373876    Atlantic Recording Corporation
 973 Rob Thomas                                   Ever The Same                                    SR0000373876    Atlantic Recording Corporation
 974 Rob Thomas                                   Fallin' To Pieces                                SR0000373876    Atlantic Recording Corporation
 975 Rob Thomas                                   I Am An Illusion                                 SR0000373876    Atlantic Recording Corporation
 976 Rob Thomas                                   Lonely No More                                   SR0000373876    Atlantic Recording Corporation
 977 Rob Thomas                                   My, My, My                                       SR0000373876    Atlantic Recording Corporation
 978 Rob Thomas                                   Now Comes The Night                              SR0000373876    Atlantic Recording Corporation
 979 Rob Thomas                                   Problem Girl                                     SR0000373876    Atlantic Recording Corporation
 980 Rob Thomas                                   Something To Be                                  SR0000373876    Atlantic Recording Corporation
 981 Rob Thomas                                   This Is How A Heart Breaks                       SR0000373876    Atlantic Recording Corporation
 982 Rob Thomas                                   When The Heartache Ends                          SR0000373876    Atlantic Recording Corporation
 983 Shinedown                                    45                                               SR0000342566    Atlantic Recording Corporation
 984 Shinedown                                    All I Ever Wanted                                SR0000342566    Atlantic Recording Corporation
 985 Shinedown                                    Better Version                                   SR0000342566    Atlantic Recording Corporation
 995 Shinedown                                    Breaking Inside                                  SR0000673788    Atlantic Recording Corporation
 986 Shinedown                                    Burning Bright                                   SR0000342566    Atlantic Recording Corporation
 996 Shinedown                                    Call Me                                          SR0000673788    Atlantic Recording Corporation
 997 Shinedown                                    Cry For Help                                     SR0000673788    Atlantic Recording Corporation
 987 Shinedown                                    Crying Out                                       SR0000342566    Atlantic Recording Corporation
 998 Shinedown                                    Cyanide Sweet Tooth Suicide                      SR0000673788    Atlantic Recording Corporation
 999 Shinedown                                    Devour                                           SR0000673788    Atlantic Recording Corporation
 988 Shinedown                                    Fly From The Inside                              SR0000342566    Atlantic Recording Corporation
1000 Shinedown                                    I Own You                                        SR0000673788    Atlantic Recording Corporation
1001 Shinedown                                    If You Only Knew                                 SR0000673788    Atlantic Recording Corporation
 989 Shinedown                                    In Memory                                        SR0000342566    Atlantic Recording Corporation
 990 Shinedown                                    Lacerated                                        SR0000342566    Atlantic Recording Corporation
 991 Shinedown                                    Left Out                                         SR0000342566    Atlantic Recording Corporation
 992 Shinedown                                    Lost In The Crowd                                SR0000342566    Atlantic Recording Corporation
 993 Shinedown                                    No More Love                                     SR0000342566    Atlantic Recording Corporation
1002 Shinedown                                    Second Chance                                    SR0000673788    Atlantic Recording Corporation
1003 Shinedown                                    Sin With A Grin                                  SR0000673788    Atlantic Recording Corporation
1004 Shinedown                                    Son Of Sam                                       SR0000673788    Atlantic Recording Corporation
1005 Shinedown                                    Sound Of Madness                                 SR0000673788    Atlantic Recording Corporation
 994 Shinedown                                    Stranger Inside                                  SR0000342566    Atlantic Recording Corporation
1006 Shinedown                                    The Crow & The Butterfly                         SR0000673788    Atlantic Recording Corporation
1007 Shinedown                                    The Energy                                       SR0000673788    Atlantic Recording Corporation
1008 Shinedown                                    What A Shame                                     SR0000673788    Atlantic Recording Corporation
1009 Simple Plan                                  Addicted                                         SR0000351060    Atlantic Recording Corporation
1020 Simple Plan                                  Crazy                                            SR0000375167    Atlantic Recording Corporation
1021 Simple Plan                                  Everytime                                        SR0000375167    Atlantic Recording Corporation
1028 Simple Plan                                  Generation                                       SR0000639323    Atlantic Recording Corporation



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                                                                      EXHIBIT A - SOUND RECORDINGS

                         Artist                                                 Track                     Reg. No.                 Plaintiff
1010 Simple Plan                                  God Must Hate Me                                   SR0000351060    Atlantic Recording Corporation
1029 Simple Plan                                  Holding On                                         SR0000639323    Atlantic Recording Corporation
1030 Simple Plan                                  I Can Wait Forever                                 SR0000639323    Atlantic Recording Corporation
1011 Simple Plan                                  I Won't Be There                                   SR0000351060    Atlantic Recording Corporation
1012 Simple Plan                                  I'd Do Anything                                    SR0000351060    Atlantic Recording Corporation
1013 Simple Plan                                  I'm Just A Kid                                     SR0000351060    Atlantic Recording Corporation
1022 Simple Plan                                  Jump                                               SR0000375167    Atlantic Recording Corporation
1023 Simple Plan                                  Me Against The World                               SR0000375167    Atlantic Recording Corporation
1014 Simple Plan                                  Meet You There                                     SR0000351060    Atlantic Recording Corporation
1015 Simple Plan                                  My Alien                                           SR0000351060    Atlantic Recording Corporation
1031 Simple Plan                                  No Love                                            SR0000639323    Atlantic Recording Corporation
1024 Simple Plan                                  One                                                SR0000375167    Atlantic Recording Corporation
1016 Simple Plan                                  One Day                                            SR0000351060    Atlantic Recording Corporation
1017 Simple Plan                                  Perfect                                            SR0000351060    Atlantic Recording Corporation
1025 Simple Plan                                  Perfect World                                      SR0000375167    Atlantic Recording Corporation
1026 Simple Plan                                  Promise                                            SR0000375167    Atlantic Recording Corporation
1038 Simple Plan                                  Running Out of Time                                SR0000686779    Atlantic Recording Corporation
1032 Simple Plan                                  Save You                                           SR0000639323    Atlantic Recording Corporation
1033 Simple Plan                                  Take My Hand                                       SR0000639323    Atlantic Recording Corporation
1027 Simple Plan                                  Thank You                                          SR0000375167    Atlantic Recording Corporation
1034 Simple Plan                                  The End                                            SR0000639323    Atlantic Recording Corporation
1018 Simple Plan                                  The Worst Day Ever                                 SR0000351060    Atlantic Recording Corporation
1035 Simple Plan                                  Time To Say Goodbye                                SR0000639323    Atlantic Recording Corporation
1036 Simple Plan                                  When I'm Gone                                      SR0000639323    Atlantic Recording Corporation
1039 Simple Plan                                  When I'm Gone (Acoustic Version)                   SR0000686779    Atlantic Recording Corporation
1019 Simple Plan                                  When I'm With You                                  SR0000351060    Atlantic Recording Corporation
1037 Simple Plan                                  Your Love Is A Lie                                 SR0000639323    Atlantic Recording Corporation
1040 Staind                                       All I Want                                         SR0000652574    Atlantic Recording Corporation
1041 Staind                                       Believe                                            SR0000652574    Atlantic Recording Corporation
1042 Staind                                       Break Away                                         SR0000652574    Atlantic Recording Corporation
1043 Staind                                       It's Been Awhile (Live at Hiro Ballroom)           SR0000652574    Atlantic Recording Corporation
1044 Staind                                       Lost Along The Way                                 SR0000652574    Atlantic Recording Corporation
1045 Staind                                       Nothing Left To Say                                SR0000652574    Atlantic Recording Corporation
1046 Staind                                       Pardon Me                                          SR0000652574    Atlantic Recording Corporation
1047 Staind                                       Raining Again                                      SR0000652574    Atlantic Recording Corporation
1048 Staind                                       Rainy Day Parade                                   SR0000652574    Atlantic Recording Corporation
1049 Staind                                       Tangled Up In You                                  SR0000652574    Atlantic Recording Corporation
1050 Staind                                       The Corner                                         SR0000652574    Atlantic Recording Corporation
1051 Staind                                       The Way I Am                                       SR0000652574    Atlantic Recording Corporation
1052 Staind                                       This Is It                                         SR0000652574    Atlantic Recording Corporation
1069 Trey Songz                                   2 Reasons                                          SR0000715080    Atlantic Recording Corporation
1053 Trey Songz                                   Alone                                              SR0000671697    Atlantic Recording Corporation
1070 Trey Songz                                   Bad Decisions                                      SR0000715080    Atlantic Recording Corporation
1054 Trey Songz                                   Blind                                              SR0000671697    Atlantic Recording Corporation
1055 Trey Songz                                   Bottoms Up                                         SR0000671697    Atlantic Recording Corporation
1056 Trey Songz                                   Can't Be Friends                                   SR0000671697    Atlantic Recording Corporation
1071 Trey Songz                                   Chapter V                                          SR0000715080    Atlantic Recording Corporation
1072 Trey Songz                                   Check Me Out                                       SR0000715080    Atlantic Recording Corporation
1073 Trey Songz                                   Dive In                                            SR0000715080    Atlantic Recording Corporation
1074 Trey Songz                                   Don't Be Scared                                    SR0000715080    Atlantic Recording Corporation
1057 Trey Songz                                   Doorbell                                           SR0000671697    Atlantic Recording Corporation
1075 Trey Songz                                   Forever Yours                                      SR0000715080    Atlantic Recording Corporation
1076 Trey Songz                                   Fumble                                             SR0000715080    Atlantic Recording Corporation
1077 Trey Songz                                   Hail Mary                                          SR0000715080    Atlantic Recording Corporation
1078 Trey Songz                                   Heart Attack                                       SR0000715080    Atlantic Recording Corporation
1079 Trey Songz                                   Inside Interlewd                                   SR0000715080    Atlantic Recording Corporation
1080 Trey Songz                                   Interlude4U                                        SR0000715080    Atlantic Recording Corporation
1058 Trey Songz                                   Love Faces                                         SR0000671697    Atlantic Recording Corporation
1059 Trey Songz                                   Made To Be Together                                SR0000671697    Atlantic Recording Corporation
1060 Trey Songz                                   Massage                                            SR0000671697    Atlantic Recording Corporation
1081 Trey Songz                                   Never Again                                        SR0000715080    Atlantic Recording Corporation
1061 Trey Songz                                   Pain (Interlude)                                   SR0000671697    Atlantic Recording Corporation
1087 Trey Songz                                   Panty Droppa (Intro)                               SR0000797222    Atlantic Recording Corporation
1082 Trey Songz                                   Panty Wetter                                       SR0000715080    Atlantic Recording Corporation
1062 Trey Songz                                   Passion (Interlude)                                SR0000671697    Atlantic Recording Corporation
1083 Trey Songz                                   Playin' Hard                                       SR0000715080    Atlantic Recording Corporation
1063 Trey Songz                                   Please Return My Call                              SR0000671697    Atlantic Recording Corporation
1064 Trey Songz                                   Pleasure (Interlude)                               SR0000671697    Atlantic Recording Corporation



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                        Artist                                                Track                      Reg. No.                 Plaintiff
1084 Trey Songz                                   Pretty Girl's Lie                                 SR0000715080    Atlantic Recording Corporation
1065 Trey Songz                                   Red Lipstick                                      SR0000671697    Atlantic Recording Corporation
1085 Trey Songz                                   Simply Amazing                                    SR0000715080    Atlantic Recording Corporation
1066 Trey Songz                                   Unfortunate                                       SR0000671697    Atlantic Recording Corporation
1067 Trey Songz                                   Unusual                                           SR0000671697    Atlantic Recording Corporation
1086 Trey Songz                                   Without A Woman                                   SR0000715080    Atlantic Recording Corporation
1068 Trey Songz                                   You Just Need Me                                  SR0000671697    Atlantic Recording Corporation
1088 Ty Dolla $ign                                Or Nah                                            SR0000743306    Atlantic Recording Corporation
1089 Uncle Kracker                                Smile                                             SR0000657108    Atlantic Recording Corporation
1090 Waka Flocka Flame                            Bang                                              SR0000672357    Atlantic Recording Corporation
1091 Waka Flocka Flame                            Bricksquad                                        SR0000672357    Atlantic Recording Corporation
1092 Waka Flocka Flame                            Bustin' At 'Em                                    SR0000672357    Atlantic Recording Corporation
1093 Waka Flocka Flame                            F**k The Club Up                                  SR0000672357    Atlantic Recording Corporation
1094 Waka Flocka Flame                            F**k This Industry                                SR0000672357    Atlantic Recording Corporation
1095 Waka Flocka Flame                            For My Dawgs                                      SR0000672357    Atlantic Recording Corporation
1096 Waka Flocka Flame                            G Check                                           SR0000672357    Atlantic Recording Corporation
1097 Waka Flocka Flame                            Grove St. Party                                   SR0000672357    Atlantic Recording Corporation
1098 Waka Flocka Flame                            Homies                                            SR0000672357    Atlantic Recording Corporation
1099 Waka Flocka Flame                            Karma                                             SR0000672357    Atlantic Recording Corporation
1100 Waka Flocka Flame                            Live By The Gun                                   SR0000672357    Atlantic Recording Corporation
1101 Waka Flocka Flame                            No Hands                                          SR0000672357    Atlantic Recording Corporation
1102 Waka Flocka Flame                            O Let's Do It                                     SR0000672357    Atlantic Recording Corporation
1103 Waka Flocka Flame                            Smoke, Drank                                      SR0000672357    Atlantic Recording Corporation
1104 Waka Flocka Flame                            Snake In The Grass                                SR0000672357    Atlantic Recording Corporation
1105 Waka Flocka Flame                            TTG (Trained To Go)                               SR0000672357    Atlantic Recording Corporation
1106 Wale & Meek Mill                             Bag Of Money                                      SR0000718581    Atlantic Recording Corporation
1107 Wiz Khalifa                                  Bluffin                                           SR0000715951    Atlantic Recording Corporation
1108 Wiz Khalifa                                  Fall Asleep                                       SR0000715951    Atlantic Recording Corporation
1109 Wiz Khalifa                                  Got Everything                                    SR0000715951    Atlantic Recording Corporation
1110 Wiz Khalifa                                  Initiation                                        SR0000715951    Atlantic Recording Corporation
1111 Wiz Khalifa                                  Intro                                             SR0000715951    Atlantic Recording Corporation
1112 Wiz Khalifa                                  It's Nothin                                       SR0000715951    Atlantic Recording Corporation
1113 Wiz Khalifa                                  Let It Go                                         SR0000715951    Atlantic Recording Corporation
1114 Wiz Khalifa                                  Medicated                                         SR0000715951    Atlantic Recording Corporation
1115 Wiz Khalifa                                  No Limit                                          SR0000715951    Atlantic Recording Corporation
1116 Wiz Khalifa                                  Paperbond                                         SR0000715951    Atlantic Recording Corporation
1117 Wiz Khalifa                                  Remember You                                      SR0000715951    Atlantic Recording Corporation
1118 Wiz Khalifa                                  Rise Above                                        SR0000715951    Atlantic Recording Corporation
1119 Wiz Khalifa                                  The Bluff                                         SR0000715951    Atlantic Recording Corporation
1120 Wiz Khalifa                                  The Plan                                          SR0000715951    Atlantic Recording Corporation
1121 Wiz Khalifa                                  Time                                              SR0000715951    Atlantic Recording Corporation
1122 Wiz Khalifa                                  Up In It                                          SR0000715951    Atlantic Recording Corporation
1123 Wiz Khalifa                                  Work Hard, Play Hard                              SR0000715951    Atlantic Recording Corporation
1124 Zac Brown Band                               Day That I Die                                    SR0000726685    Atlantic Recording Corporation
1125 Zac Brown Band                               Goodbye In Her Eyes                               SR0000726685    Atlantic Recording Corporation
1126 Zac Brown Band                               Island Song                                       SR0000726685    Atlantic Recording Corporation
1127 Zac Brown Band                               Lance's Song                                      SR0000726685    Atlantic Recording Corporation
1128 Zac Brown Band                               Last But Not Least                                SR0000726685    Atlantic Recording Corporation
1129 Zac Brown Band                               Natural Disaster                                  SR0000726685    Atlantic Recording Corporation
1130 Zac Brown Band                               Overnight                                         SR0000726685    Atlantic Recording Corporation
1131 Zac Brown Band                               Sweet Annie                                       SR0000726685    Atlantic Recording Corporation
1132 Zac Brown Band                               The Wind                                          SR0000726685    Atlantic Recording Corporation
1133 Zac Brown Band                               Uncaged                                           SR0000726685    Atlantic Recording Corporation
1134 Gorilla Zoe                                  Lost                                              SR0000663781    Bad Boy Records LLC
1135 P. Diddy feat. Keyshia Cole                  Last Night                                        SR0000400868    Bad Boy Records LLC
1136 The Notorious B.I.G.                         Notorious Thugs                                   SR0000220411    Bad Boy Records LLC
1137 Yung Joc                                     1st Time                                          SR0000393525    Bad Boy Records LLC
1152 Yung Joc                                     Bottle Poppin'                                    SR0000622799    Bad Boy Records LLC
1153 Yung Joc                                     Brand New                                         SR0000622799    Bad Boy Records LLC
1154 Yung Joc                                     BYOB                                              SR0000622799    Bad Boy Records LLC
1155 Yung Joc                                     Chevy Smile                                       SR0000622799    Bad Boy Records LLC
1156 Yung Joc                                     Coffee Shop                                       SR0000622799    Bad Boy Records LLC
1157 Yung Joc                                     Cut Throat                                        SR0000622799    Bad Boy Records LLC
1138 Yung Joc                                     Do Yah Bad                                        SR0000393525    Bad Boy Records LLC
1139 Yung Joc                                     Don't Play Wit It                                 SR0000393525    Bad Boy Records LLC
1140 Yung Joc                                     Dope Boy Magic                                    SR0000393525    Bad Boy Records LLC
1141 Yung Joc                                     Excuse Me Officer (Interlude)                     SR0000393525    Bad Boy Records LLC
1142 Yung Joc                                     Flip Flop                                         SR0000393525    Bad Boy Records LLC



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                       Artist                                                  Track                    Reg. No.                 Plaintiff
1158 Yung Joc                                     Getting to da Money                              SR0000622799    Bad Boy Records LLC
1143 Yung Joc                                     He Stayed In Trouble (Interlude)                 SR0000393525    Bad Boy Records LLC
1144 Yung Joc                                     Hear Me Coming                                   SR0000393525    Bad Boy Records LLC
1159 Yung Joc                                     Hell Yeah                                        SR0000622799    Bad Boy Records LLC
1160 Yung Joc                                     Hustlemania (Skit)                               SR0000622799    Bad Boy Records LLC
1161 Yung Joc                                     Hustlenomics                                     SR0000622799    Bad Boy Records LLC
1145 Yung Joc                                     I Know You See It                                SR0000393525    Bad Boy Records LLC
1162 Yung Joc                                     I'm A G                                          SR0000622799    Bad Boy Records LLC
1146 Yung Joc                                     I'm Him                                          SR0000393525    Bad Boy Records LLC
1147 Yung Joc                                     It's Goin' Down                                  SR0000393525    Bad Boy Records LLC
1148 Yung Joc                                     Knock It Out                                     SR0000393525    Bad Boy Records LLC
1163 Yung Joc                                     Livin' The Life                                  SR0000622799    Bad Boy Records LLC
1164 Yung Joc                                     Momma                                            SR0000622799    Bad Boy Records LLC
1149 Yung Joc                                     New Joc City (Intro)                             SR0000393525    Bad Boy Records LLC
1165 Yung Joc                                     Pak Man                                          SR0000622799    Bad Boy Records LLC
1150 Yung Joc                                     Patron                                           SR0000393525    Bad Boy Records LLC
1151 Yung Joc                                     Picture Perfect                                  SR0000393525    Bad Boy Records LLC
1166 Yung Joc                                     Play Your Cards                                  SR0000622799    Bad Boy Records LLC
1167 30 Seconds To Mars                           A Modern Myth (Without Hidden Track)             SR0000377457    Capitol Records, LLC
1168 30 Seconds To Mars                           Battle Of One                                    SR0000377457    Capitol Records, LLC
1169 30 Seconds To Mars                           Hunter                                           SR0000377457    Capitol Records, LLC
1170 30 Seconds To Mars                           R-Evolve                                         SR0000377457    Capitol Records, LLC
1171 30 Seconds To Mars                           Savior                                           SR0000377457    Capitol Records, LLC
1172 30 Seconds To Mars                           The Fantasy                                      SR0000377457    Capitol Records, LLC
1173 30 Seconds To Mars                           The Kill [Bury Me]                               SR0000377457    Capitol Records, LLC
1174 30 Seconds To Mars                           The Story                                        SR0000377457    Capitol Records, LLC
1175 30 Seconds To Mars                           Was It A Dream?                                  SR0000377457    Capitol Records, LLC
1176 5 Seconds Of Summer                          Heartache On The Big Screen                      SR0000741298    Capitol Records, LLC
1177 5 Seconds Of Summer                          She Looks So Perfect                             SR0000741298    Capitol Records, LLC
1178 5 Seconds Of Summer                          The Only Reason                                  SR0000741298    Capitol Records, LLC
1179 5 Seconds Of Summer                          What I Like About You                            SR0000764151    Capitol Records, LLC
1180 Avant                                        Break Ya Back                                    SR0000648878    Capitol Records, LLC
1181 Avant                                        French Pedicure                                  SR0000648878    Capitol Records, LLC
1182 Avant                                        Involve Yourself                                 SR0000648878    Capitol Records, LLC
1183 Avant                                        Material Things                                  SR0000648878    Capitol Records, LLC
1184 Avant                                        Out of Character                                 SR0000648878    Capitol Records, LLC
1185 Avant                                        Perfect Gentleman                                SR0000648878    Capitol Records, LLC
1186 Avant                                        Sailing                                          SR0000648878    Capitol Records, LLC
1187 Avant                                        Sensuality                                       SR0000648878    Capitol Records, LLC
1188 Avant                                        When It Hurts                                    SR0000649607    Capitol Records, LLC
1189 Avant                                        Y.O.U.                                           SR0000648878    Capitol Records, LLC
1190 Avant featuring Snoop Dogg                   Attention                                        SR0000648878    Capitol Records, LLC
1191 Blind Melon                                  2X4                                              SR0000262682    Capitol Records, LLC
1192 Blind Melon                                  All That I Need                                  SR0000336269    Capitol Records, LLC
1193 Blind Melon                                  Car Seat (God's Presents)                        SR0000262682    Capitol Records, LLC
1194 Blind Melon                                  Change                                           SR0000384161    Capitol Records, LLC
1195 Blind Melon                                  Dear Ol' Dad                                     SR0000384161    Capitol Records, LLC
1196 Blind Melon                                  Deserted                                         SR0000384161    Capitol Records, LLC
1197 Blind Melon                                  Drive                                            SR0000384161    Capitol Records, LLC
1198 Blind Melon                                  Dumptruck                                        SR0000262682    Capitol Records, LLC
1199 Blind Melon                                  Galaxie                                          SR0000262682    Capitol Records, LLC
1200 Blind Melon                                  Glitch                                           SR0000336269    Capitol Records, LLC
1201 Blind Melon                                  Hell                                             SR0000336269    Capitol Records, LLC
1202 Blind Melon                                  Holyman                                          SR0000384161    Capitol Records, LLC
1203 Blind Melon                                  I Wonder                                         SR0000384161    Capitol Records, LLC
1204 Blind Melon                                  John Sinclair                                    SR0000336269    Capitol Records, LLC
1205 Blind Melon                                  Lemonade                                         SR0000262682    Capitol Records, LLC
1206 Blind Melon                                  Letters From A Porcupine                         SR0000336269    Capitol Records, LLC
1207 Blind Melon                                  Life Ain't So Shitty                             SR0000336269    Capitol Records, LLC
1208 Blind Melon                                  Mouthful Of Cavities                             SR0000262682    Capitol Records, LLC
1209 Blind Melon                                  New Life                                         SR0000262682    Capitol Records, LLC
1210 Blind Melon                                  No Rain                                          SR0000384161    Capitol Records, LLC
1211 Blind Melon                                  No Rain (Ripped Away Version)                    SR0000377592    Capitol Records, LLC
1212 Blind Melon                                  Paper Scratcher                                  SR0000384161    Capitol Records, LLC
1213 Blind Melon                                  Pull                                             SR0000336269    Capitol Records, LLC
1214 Blind Melon                                  Seed To A Tree                                   SR0000384161    Capitol Records, LLC
1215 Blind Melon                                  Skinned                                          SR0000262682    Capitol Records, LLC
1216 Blind Melon                                  Sleepyhouse                                      SR0000384161    Capitol Records, LLC



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                      Artist                                                     Track                  Reg. No.                 Plaintiff
1217 Blind Melon                                  Soak The Sin                                     SR0000384161    Capitol Records, LLC
1218 Blind Melon                                  Soul One                                         SR0000377592    Capitol Records, LLC
1219 Blind Melon                                  Soup                                             SR0000377592    Capitol Records, LLC
1220 Blind Melon                                  St. Andrew's Fall                                SR0000262682    Capitol Records, LLC
1221 Blind Melon                                  St. Andrew's Hall                                SR0000336269    Capitol Records, LLC
1222 Blind Melon                                  Swallowed                                        SR0000336269    Capitol Records, LLC
1223 Blind Melon                                  The Duke                                         SR0000262682    Capitol Records, LLC
1224 Blind Melon                                  The Pusher                                       SR0000336269    Capitol Records, LLC
1225 Blind Melon                                  Time                                             SR0000384161    Capitol Records, LLC
1226 Blind Melon                                  Toes Across The Floor                            SR0000262682    Capitol Records, LLC
1227 Blind Melon                                  Tones Of Home                                    SR0000384161    Capitol Records, LLC
1228 Blind Melon                                  Vernie                                           SR0000262682    Capitol Records, LLC
1229 Blind Melon                                  Walk                                             SR0000377592    Capitol Records, LLC
1230 Blind Melon                                  Wilt                                             SR0000262682    Capitol Records, LLC
1231 Capital Cities                               Center Stage                                     SR0000725325    Capitol Records, LLC
1232 Capital Cities                               Chartreuse                                       SR0000725325    Capitol Records, LLC
1233 Capital Cities                               Chasing You                                      SR0000725325    Capitol Records, LLC
1234 Capital Cities                               Farrah Fawcett Hair                              SR0000725325    Capitol Records, LLC
1235 Capital Cities                               I Sold My Bed, But Not My Stereo                 SR0000725325    Capitol Records, LLC
1236 Capital Cities                               Kangaroo Court                                   SR0000725325    Capitol Records, LLC
1237 Capital Cities                               Lazy Lies                                        SR0000725325    Capitol Records, LLC
1238 Capital Cities                               Love Away                                        SR0000725325    Capitol Records, LLC
1239 Capital Cities                               Origami                                          SR0000725325    Capitol Records, LLC
1240 Capital Cities                               Patience Gets Us Nowhere Fast                    SR0000725325    Capitol Records, LLC
1241 Capital Cities                               Safe and Sound                                   SR0000725325    Capitol Records, LLC
1242 Capital Cities                               Tell Me How To Live                              SR0000725325    Capitol Records, LLC
1243 Darius Rucker                                Heartbreak Road                                  SR0000724693    Capitol Records, LLC
1244 Darius Rucker                                Leavin' The Light On                             SR0000724693    Capitol Records, LLC
1245 Darius Rucker                                Lie To Me                                        SR0000724693    Capitol Records, LLC
1246 Darius Rucker                                Lost In You                                      SR0000724693    Capitol Records, LLC
1247 Darius Rucker                                Miss You                                         SR0000724693    Capitol Records, LLC
1248 Darius Rucker                                Radio                                            SR0000724693    Capitol Records, LLC
1249 Darius Rucker                                Shine                                            SR0000724693    Capitol Records, LLC
1250 Darius Rucker                                Take Me Home                                     SR0000724693    Capitol Records, LLC
1251 Darius Rucker                                True Believers                                   SR0000724693    Capitol Records, LLC
1252 Darius Rucker                                Wagon Wheel                                      SR0000724693    Capitol Records, LLC
1253 Darius Rucker/Mallary Hope                   I Will Love You Still                            SR0000724693    Capitol Records, LLC
1254 Darius Rucker/Sheryl Crow                    Love Without You                                 SR0000724693    Capitol Records, LLC
1255 Heart                                        All I Wanna Do Is Make Love To You               SR0000114803    Capitol Records, LLC
1256 Heart                                        Alone                                            SR0000088275    Capitol Records, LLC
1257 Heart                                        Crazy On You                                     SR0000102964    Capitol Records, LLC
1258 Heart                                        Dog And Butterfly                                SR0000276088    Capitol Records, LLC
1259 Heart                                        Dreamboat Annie                                  SR0000102964    Capitol Records, LLC
1260 Heart                                        Heartless                                        SR0000102963    Capitol Records, LLC
1261 Heart                                        If Looks Could Kill                              SR0000075726    Capitol Records, LLC
1262 Heart                                        Magic Man                                        SR0000102964    Capitol Records, LLC
1263 Heart                                        Never                                            SR0000075726    Capitol Records, LLC
1264 Heart                                        Nothin' At All                                   SR0000075726    Capitol Records, LLC
1265 Heart                                        Stranded                                         SR0000114803    Capitol Records, LLC
1266 Heart                                        These Dreams                                     SR0000276088    Capitol Records, LLC
1267 Heart                                        What About Love                                  SR0000075726    Capitol Records, LLC
1268 Heart                                        Who Will You Run To                              SR0000088275    Capitol Records, LLC
1269 Heart                                        Will You Be There (In The Morning)               SR0000212555    Capitol Records, LLC
1270 Jennifer Lopez                               Papi                                             SR0000740643    Capitol Records, LLC
1271 Katy Perry                                   Circle The Drain                                 SR0000662268    Capitol Records, LLC
1272 Katy Perry                                   Dressin' Up                                      SR0000695553    Capitol Records, LLC
1273 Katy Perry                                   E.T.                                             SR0000681293    Capitol Records, LLC
1274 Katy Perry                                   Fingerprints                                     SR0000638214    Capitol Records, LLC
1275 Katy Perry                                   Firework                                         SR0000662268    Capitol Records, LLC
1276 Katy Perry                                   Hot N Cold                                       SR0000638214    Capitol Records, LLC
1277 Katy Perry                                   Hot N Cold (Innerpartysystem Main)               SR0000638214    Capitol Records, LLC
1278 Katy Perry                                   Hot N Cold (Manhattan Clique Remix Radio Edit)   SR0000638214    Capitol Records, LLC
1279 Katy Perry                                   Hummingbird Heartbeat                            SR0000662268    Capitol Records, LLC
1280 Katy Perry                                   I Kissed A Girl                                  SR0000638214    Capitol Records, LLC
1281 Katy Perry                                   I'm Still Breathing                              SR0000638214    Capitol Records, LLC
1282 Katy Perry                                   If You Can Afford Me                             SR0000638214    Capitol Records, LLC
1283 Katy Perry                                   Last Friday Night (T.G.I.F.)                     SR0000662268    Capitol Records, LLC
1284 Katy Perry                                   Last Friday Night (T.G.I.F.) (Remix)             SR0000695549    Capitol Records, LLC



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                        Artist                                                  Track                   Reg. No.                 Plaintiff
1285 Katy Perry                                   Lost                                             SR0000638213    Capitol Records, LLC
1286 Katy Perry                                   Mannequin                                        SR0000638214    Capitol Records, LLC
1287 Katy Perry                                   Not Like The Movies                              SR0000662268    Capitol Records, LLC
1288 Katy Perry                                   One Of The Boys                                  SR0000638214    Capitol Records, LLC
1289 Katy Perry                                   Part Of Me                                       SR0000695742    Capitol Records, LLC
1290 Katy Perry                                   Peacock                                          SR0000662268    Capitol Records, LLC
1291 Katy Perry                                   Pearl                                            SR0000662268    Capitol Records, LLC
1292 Katy Perry                                   Roar                                             SR0000734383    Capitol Records, LLC
1293 Katy Perry                                   Self Inflicted                                   SR0000638214    Capitol Records, LLC
1294 Katy Perry                                   Teenage Dream                                    SR0000662268    Capitol Records, LLC
1295 Katy Perry                                   Teenage Dream (Kaskade Club Remix)               SR0000662268    Capitol Records, LLC
1296 Katy Perry                                   The One That Got Away                            SR0000662268    Capitol Records, LLC
1297 Katy Perry                                   The One That Got Away                            SR0000662268    Capitol Records, LLC
1298 Katy Perry                                   The One That Got Away (Acoustic)                 SR0000695553    Capitol Records, LLC
1299 Katy Perry                                   Thinking Of You                                  SR0000638214    Capitol Records, LLC
1300 Katy Perry                                   Tommie Sunshine's Megasix Smash-Up               SR0000695553    Capitol Records, LLC
1301 Katy Perry                                   Ur So Gay                                        SR0000638214    Capitol Records, LLC
1302 Katy Perry                                   Waking Up In Vegas                               SR0000638214    Capitol Records, LLC
1303 Katy Perry                                   Who Am I Living For?                             SR0000662268    Capitol Records, LLC
1304 Katy Perry featuring Snoop Dogg              California Gurls                                 SR0000662264    Capitol Records, LLC
1305 Katy Perry featuring Snoop Dogg              California Gurls (Armand Van Helden Remix)       SR0000669922    Capitol Records, LLC
1306 Katy Perry featuring Snoop Dogg              California Gurls (Passion Pit Main Mix)          SR0000662268    Capitol Records, LLC
1307 Kenny Rogers                                 Daytime Friends                                  N44114          Capitol Records, LLC
1308 Kenny Rogers                                 Don't Fall In Love With A Dreamer                SR0000017924    Capitol Records, LLC
1309 Kenny Rogers                                 Through The Years                                SR0000027768    Capitol Records, LLC
1310 Kenny Rogers                                 What Are We Doin' In Love                        SR0000000135    Capitol Records, LLC
1311 Lady Antebellum                              All For Love                                     SR0000724696    Capitol Records, LLC
1312 Lady Antebellum                              And The Radio Played                             SR0000724696    Capitol Records, LLC
1313 Lady Antebellum                              As You Turn Away                                 SR0000686148    Capitol Records, LLC
1314 Lady Antebellum                              Better Man                                       SR0000724696    Capitol Records, LLC
1315 Lady Antebellum                              Better Off Now (That You're Gone)                SR0000724696    Capitol Records, LLC
1316 Lady Antebellum                              Can't Stand The Rain                             SR0000724696    Capitol Records, LLC
1317 Lady Antebellum                              Cold As Stone                                    SR0000686148    Capitol Records, LLC
1318 Lady Antebellum                              Compass                                          SR0000750709    Capitol Records, LLC
1319 Lady Antebellum                              Dancin' Away With My Heart                       SR0000686147    Capitol Records, LLC
1320 Lady Antebellum                              Downtown                                         SR0000721174    Capitol Records, LLC
1321 Lady Antebellum                              Friday Night                                     SR0000686148    Capitol Records, LLC
1322 Lady Antebellum                              Generation Away                                  SR0000723786    Capitol Records, LLC
1323 Lady Antebellum                              Get To Me                                        SR0000724696    Capitol Records, LLC
1324 Lady Antebellum                              Golden                                           SR0000741953    Capitol Records, LLC
1325 Lady Antebellum                              Goodbye Town                                     SR0000724696    Capitol Records, LLC
1326 Lady Antebellum                              Heart Of The World                               SR0000686148    Capitol Records, LLC
1327 Lady Antebellum                              I Run To You                                     SR0000732681    Capitol Records, LLC
1328 Lady Antebellum                              It Ain't Pretty                                  SR0000724696    Capitol Records, LLC
1329 Lady Antebellum                              Just A Kiss                                      SR0000679267    Capitol Records, LLC
1330 Lady Antebellum                              Life As We Know It                               SR0000724696    Capitol Records, LLC
1331 Lady Antebellum                              Long Teenage Goodbye                             SR0000724696    Capitol Records, LLC
1332 Lady Antebellum                              Love I've Found In You                           SR0000686148    Capitol Records, LLC
1333 Lady Antebellum                              Nothin' Like The First Time                      SR0000724696    Capitol Records, LLC
1334 Lady Antebellum                              Singing Me Home                                  SR0000686148    Capitol Records, LLC
1335 Lady Antebellum                              Somewhere Love Remains                           SR0000686148    Capitol Records, LLC
1336 Lady Antebellum                              Wanted You More                                  SR0000686145    Capitol Records, LLC
1337 Lady Antebellum                              We Owned The Night                               SR0000686144    Capitol Records, LLC
1338 Lady Antebellum                              When You Were Mine                               SR0000686148    Capitol Records, LLC
1339 Luke Bryan                                   All My Friends Say                               SR0000612029    Capitol Records, LLC
1340 Luke Bryan                                   Baby's On The Way                                SR0000612029    Capitol Records, LLC
1341 Luke Bryan                                   Beer In The Headlights                           SR0000728445    Capitol Records, LLC
1342 Luke Bryan                                   Better Than My Heart                             SR0000728445    Capitol Records, LLC
1343 Luke Bryan                                   Blood Brothers                                   SR0000722027    Capitol Records, LLC
1344 Luke Bryan                                   Country Man                                      SR0000612029    Capitol Records, LLC
1345 Luke Bryan                                   Crash My Party                                   SR0000722027    Capitol Records, LLC
1346 Luke Bryan                                   Dirt Road Diary                                  SR0000722027    Capitol Records, LLC
1347 Luke Bryan                                   Drink A Beer                                     SR0000728445    Capitol Records, LLC
1348 Luke Bryan                                   First Love Song                                  SR0000612032    Capitol Records, LLC
1349 Luke Bryan                                   Goodbye Girl                                     SR0000728445    Capitol Records, LLC
1350 Luke Bryan                                   I'll Stay Me                                     SR0000612032    Capitol Records, LLC
1351 Luke Bryan                                   Out Like That                                    SR0000728445    Capitol Records, LLC
1352 Luke Bryan                                   Over The River                                   SR0000612032    Capitol Records, LLC



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                       Artist                                                   Track                  Reg. No.                 Plaintiff
1353 Luke Bryan                                   Play It Again                                   SR0000728445    Capitol Records, LLC
1354 Luke Bryan                                   Pray About Everything                           SR0000612032    Capitol Records, LLC
1355 Luke Bryan                                   Roller Coaster                                  SR0000728445    Capitol Records, LLC
1356 Luke Bryan                                   Shut It Down                                    SR0000728445    Capitol Records, LLC
1357 Luke Bryan                                   Sunburnt Lips                                   SR0000728445    Capitol Records, LLC
1358 Luke Bryan                                   Tackle Box                                      SR0000612032    Capitol Records, LLC
1359 Luke Bryan                                   That's My Kind Of Night                         SR0000728445    Capitol Records, LLC
1360 Luke Bryan                                   The Car In Front Of Me                          SR0000612029    Capitol Records, LLC
1361 Luke Bryan                                   We Rode In Trucks                               SR0000612032    Capitol Records, LLC
1362 Luke Bryan                                   We Run This Town                                SR0000728445    Capitol Records, LLC
1363 Luke Bryan                                   What Is It With You                             SR0000728445    Capitol Records, LLC
1364 Luke Bryan                                   You Make Me Want To                             SR0000612032    Capitol Records, LLC
1365 Luke Bryan                                   Your Mama Should've Named You Whiskey           SR0000728445    Capitol Records, LLC
1366 Maze                                         Changing Times                                  SR0000034187    Capitol Records, LLC
1367 Maze                                         Dee's Song (Live)                               SR0000337846    Capitol Records, LLC
1368 Maze                                         Feel That You're Feelin'                        SR0000034187    Capitol Records, LLC
1369 Maze                                         Feel That You're Feelin' (Live)                 SR0000337846    Capitol Records, LLC
1370 Maze                                         Golden Time Of Day                              SR0000007973    Capitol Records, LLC
1371 Maze                                         I Wanna Thank You (Live)                        SR0000337846    Capitol Records, LLC
1372 Maze                                         I Want To Feel Wanted (Live)                    SR0000337846    Capitol Records, LLC
1373 Maze                                         Introduction                                    SR0000034187    Capitol Records, LLC
1374 Maze                                         Joy & Pain                                      SR0000034187    Capitol Records, LLC
1375 Maze                                         Joy And Pain                                    SR0000034187    Capitol Records, LLC
1376 Maze                                         Lady Of Magic                                   SR0000048450    Capitol Records, LLC
1377 Maze                                         Reason                                          SR0000034187    Capitol Records, LLC
1378 Maze                                         Running Away                                    SR0000034187    Capitol Records, LLC
1379 Maze                                         Running Away (Live)                             SR0000337846    Capitol Records, LLC
1380 Maze                                         We Are One (Live)                               SR0000337846    Capitol Records, LLC
1381 Maze                                         You (Live)                                      SR0000337846    Capitol Records, LLC
1382 Maze Featuring Frankie Beverly               Ain't It Strange                                SR0000008107    Capitol Records, LLC
1383 Maze Featuring Frankie Beverly               Back In Stride                                  SR0000337846    Capitol Records, LLC
1384 Maze Featuring Frankie Beverly               Back In Stride (Live)                           SR0000337846    Capitol Records, LLC
1385 Maze Featuring Frankie Beverly               Call On Me                                      SR0000008107    Capitol Records, LLC
1386 Maze Featuring Frankie Beverly               Feel That You're Feelin'                        SR0000007931    Capitol Records, LLC
1387 Maze Featuring Frankie Beverly               Freedom (South Africa) (Live)                   SR0000337846    Capitol Records, LLC
1388 Maze Featuring Frankie Beverly               Happy Feelings (Live)                           SR0000096013    Capitol Records, LLC
1389 Maze Featuring Frankie Beverly               I Need You                                      SR0000007973    Capitol Records, LLC
1390 Maze Featuring Frankie Beverly               I Wanna Thank You                               SR0000046840    Capitol Records, LLC
1391 Maze Featuring Frankie Beverly               Lovely Inspiration (Instrumental)               SR0000008107    Capitol Records, LLC
1392 Maze Featuring Frankie Beverly               Song For My Mother                              SR0000007973    Capitol Records, LLC
1393 Maze Featuring Frankie Beverly               Timin'                                          SR0000008107    Capitol Records, LLC
1394 Maze Featuring Frankie Beverly               Too Many Games (Live)                           SR0000337846    Capitol Records, LLC
1395 Maze Featuring Frankie Beverly               Welcome Home                                    SR0000008107    Capitol Records, LLC
1396 Maze Featuring Frankie Beverly               When You Love Someone (Live)                    SR0000337846    Capitol Records, LLC
1397 Maze Featuring Frankie Beverly               Woman Is a Wonder                               SR0000008107    Capitol Records, LLC
1398 Maze Featuring Frankie Beverly               You                                             SR0000007973    Capitol Records, LLC
1399 Maze Featuring Frankie Beverly               You're Not The Same                             SR0000007973    Capitol Records, LLC
1400 Maze Featuring Frankie Beverly               Your Own Kind Of Way                            SR0000046840    Capitol Records, LLC
1401 Rolling Stones                               Harlem Shuffle                                  SR0000071259    Capitol Records, LLC
1402 Bruno Mars                                   The Lazy Song                                   SR0000671062    Elektra Entertainment Group Inc.
1403 Busta Rhymes                                 Tear Da Roof Off                                SR0000269647    Elektra Entertainment Group Inc.
1405 CeeLo Green                                  Bodies                                          SR0000673160    Elektra Entertainment Group Inc.
1406 CeeLo Green                                  Bright Lights Bigger City                       SR0000673160    Elektra Entertainment Group Inc.
1407 CeeLo Green                                  Cry Baby                                        SR0000673160    Elektra Entertainment Group Inc.
1417 CeeLo Green                                  Fool For You                                    SR0000796589    Elektra Entertainment Group Inc.
1404 CeeLo Green                                  Forget You                                      SR0000673158    Elektra Entertainment Group Inc.
1408 CeeLo Green                                  I Want You                                      SR0000673160    Elektra Entertainment Group Inc.
1409 CeeLo Green                                  It's OK                                         SR0000673160    Elektra Entertainment Group Inc.
1410 CeeLo Green                                  Love Gun                                        SR0000673160    Elektra Entertainment Group Inc.
1411 CeeLo Green                                  No One's Gonna Love You                         SR0000673160    Elektra Entertainment Group Inc.
1412 CeeLo Green                                  Old Fashioned                                   SR0000673160    Elektra Entertainment Group Inc.
1413 CeeLo Green                                  Satisfied                                       SR0000673160    Elektra Entertainment Group Inc.
1414 CeeLo Green                                  The Lady Killer Theme (Intro)                   SR0000673160    Elektra Entertainment Group Inc.
1415 CeeLo Green                                  The Lady Killer Theme (Outro)                   SR0000673160    Elektra Entertainment Group Inc.
1416 CeeLo Green                                  Wildflower                                      SR0000673160    Elektra Entertainment Group Inc.
1418 Fitz & The Tantrums                          6am                                             SR0000724442    Elektra Entertainment Group Inc.
1419 Fitz & The Tantrums                          Break The Walls                                 SR0000724442    Elektra Entertainment Group Inc.
1420 Fitz & The Tantrums                          Fools Gold                                      SR0000724442    Elektra Entertainment Group Inc.



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                       Artist                                                  Track                    Reg. No.                 Plaintiff
1421 Fitz & The Tantrums                          Get Away                                         SR0000724442    Elektra Entertainment Group Inc.
1422 Fitz & The Tantrums                          House On Fire                                    SR0000724442    Elektra Entertainment Group Inc.
1423 Fitz & The Tantrums                          Keepin Our Eyes Out                              SR0000724442    Elektra Entertainment Group Inc.
1424 Fitz & The Tantrums                          Last Raindrop                                    SR0000724442    Elektra Entertainment Group Inc.
1425 Fitz & The Tantrums                          MerryGoRound                                     SR0000724442    Elektra Entertainment Group Inc.
1426 Fitz & The Tantrums                          Out Of My League                                 SR0000724442    Elektra Entertainment Group Inc.
1427 Fitz & The Tantrums                          Spark                                            SR0000724442    Elektra Entertainment Group Inc.
1428 Fitz & The Tantrums                          The End                                          SR0000724442    Elektra Entertainment Group Inc.
1429 Fitz & The Tantrums                          The Walker                                       SR0000724442    Elektra Entertainment Group Inc.
1430 George Jones                                 Choices                                          SR0000178893    Elektra Entertainment Group Inc.
1431 Grover Washington, Jr.                       Just The Two Of Us                               SR0000023451    Elektra Entertainment Group Inc.
1438 Keith Sweat                                  (There You Go) Tellin' Me No Again               SR0000150241    Elektra Entertainment Group Inc.
1443 Keith Sweat                                  Come With Me                                     SR0000226496    Elektra Entertainment Group Inc.
1433 Keith Sweat                                  Don't Stop Your Love                             SR0000086761    Elektra Entertainment Group Inc.
1442 Keith Sweat                                  Get Up On It                                     SR0000193836    Elektra Entertainment Group Inc.
1434 Keith Sweat                                  How Deep Is Your Love                            SR0000086761    Elektra Entertainment Group Inc.
1432 Keith Sweat                                  I Want Her                                       SR0000085227    Elektra Entertainment Group Inc.
1440 Keith Sweat                                  I'll Give All My Love To You                     SR0000150379    Elektra Entertainment Group Inc.
1435 Keith Sweat                                  Make It Last Forever                             SR0000086761    Elektra Entertainment Group Inc.
1441 Keith Sweat                                  Merry Go Round                                   SR0000150379    Elektra Entertainment Group Inc.
1436 Keith Sweat                                  Right And A Wrong Way                            SR0000086761    Elektra Entertainment Group Inc.
1437 Keith Sweat                                  Something Just Ain't Right                       SR0000086761    Elektra Entertainment Group Inc.
1439 Keith Sweat                                  Why Me Baby?                                     SR0000150241    Elektra Entertainment Group Inc.
1444 Keith Sweat                                  Yumi                                             SR0000226496    Elektra Entertainment Group Inc.
1445 Kenny Rogers                                 Love the World Away                              SR0000021092    Elektra Entertainment Group Inc.
1446 Nada Surf                                    Deeper Well                                      SR0000225933    Elektra Entertainment Group Inc.
1447 Nada Surf                                    Hollywood                                        SR0000225933    Elektra Entertainment Group Inc.
1448 Nada Surf                                    Icebox                                           SR0000225933    Elektra Entertainment Group Inc.
1449 Nada Surf                                    Psychic Caramel                                  SR0000225933    Elektra Entertainment Group Inc.
1450 Nada Surf                                    Sleep                                            SR0000225933    Elektra Entertainment Group Inc.
1451 Nada Surf                                    Stalemate                                        SR0000225933    Elektra Entertainment Group Inc.
1452 Nada Surf                                    The Plan                                         SR0000225933    Elektra Entertainment Group Inc.
1453 Nada Surf                                    Treehouse                                        SR0000225933    Elektra Entertainment Group Inc.
1454 Nada Surf                                    Zen Brain                                        SR0000225933    Elektra Entertainment Group Inc.
1466 Staind                                       Blow Away                                        SR0000332424    Elektra Entertainment Group Inc.
1455 Staind                                       Can't Believe                                    SR0000297677    Elektra Entertainment Group Inc.
1456 Staind                                       Change                                           SR0000297677    Elektra Entertainment Group Inc.
1467 Staind                                       Could It Be                                      SR0000332424    Elektra Entertainment Group Inc.
1457 Staind                                       Epiphany                                         SR0000297677    Elektra Entertainment Group Inc.
1458 Staind                                       Fade                                             SR0000297677    Elektra Entertainment Group Inc.
1468 Staind                                       Falling Down                                     SR0000332424    Elektra Entertainment Group Inc.
1469 Staind                                       Fill Me Up                                       SR0000332424    Elektra Entertainment Group Inc.
1459 Staind                                       For You                                          SR0000297677    Elektra Entertainment Group Inc.
1470 Staind                                       Fray                                             SR0000332424    Elektra Entertainment Group Inc.
1471 Staind                                       How About You                                    SR0000332424    Elektra Entertainment Group Inc.
1472 Staind                                       Intro                                            SR0000332424    Elektra Entertainment Group Inc.
1473 Staind                                       Layne                                            SR0000332424    Elektra Entertainment Group Inc.
1460 Staind                                       Open Your Eyes                                   SR0000297677    Elektra Entertainment Group Inc.
1461 Staind                                       Outside                                          SR0000297677    Elektra Entertainment Group Inc.
1462 Staind                                       Pressure                                         SR0000297677    Elektra Entertainment Group Inc.
1474 Staind                                       Price To Play                                    SR0000332424    Elektra Entertainment Group Inc.
1475 Staind                                       Reality                                          SR0000332424    Elektra Entertainment Group Inc.
1476 Staind                                       So Far Away                                      SR0000332424    Elektra Entertainment Group Inc.
1463 Staind                                       Suffer                                           SR0000297677    Elektra Entertainment Group Inc.
1464 Staind                                       Take It                                          SR0000297677    Elektra Entertainment Group Inc.
1477 Staind                                       Tonight                                          SR0000332424    Elektra Entertainment Group Inc.
1465 Staind                                       Warm Safe Place                                  SR0000297677    Elektra Entertainment Group Inc.
1478 Staind                                       Yesterday                                        SR0000332424    Elektra Entertainment Group Inc.
1479 Staind                                       Zoe Jane                                         SR0000332424    Elektra Entertainment Group Inc.
1481 The Cars                                     Bye Bye Love                                     SR0000004128    Elektra Entertainment Group Inc.
1486 The Cars                                     Dangerous Type                                   SR0000010621    Elektra Entertainment Group Inc.
1493 The Cars                                     Drive                                            SR0000052759    Elektra Entertainment Group Inc.
1482 The Cars                                     Good Times Roll                                  SR0000004128    Elektra Entertainment Group Inc.
1496 The Cars                                     Heartbeat City                                   SR0000053584    Elektra Entertainment Group Inc.
1494 The Cars                                     Hello Again                                      SR0000052759    Elektra Entertainment Group Inc.
1490 The Cars                                     I'm Not The One                                  SR0000032055    Elektra Entertainment Group Inc.
1487 The Cars                                     It's All I Can Do                                SR0000010621    Elektra Entertainment Group Inc.
1480 The Cars                                     Just What I Needed                               SR0000004127    Elektra Entertainment Group Inc.



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                         Artist                                               Track                      Reg. No.                 Plaintiff
1488 The Cars                                     Let's Go                                          SR0000010639    Elektra Entertainment Group Inc.
1483 The Cars                                     Moving In Stereo                                  SR0000004128    Elektra Entertainment Group Inc.
1484 The Cars                                     My Best Friend's Girl                             SR0000004128    Elektra Entertainment Group Inc.
1491 The Cars                                     Shake It Up                                       SR0000032055    Elektra Entertainment Group Inc.
1492 The Cars                                     Since You're Gone                                 SR0000032055    Elektra Entertainment Group Inc.
1498 The Cars                                     Tonight She Comes                                 SR0000066519    Elektra Entertainment Group Inc.
1489 The Cars                                     Touch and Go                                      SR0000020897    Elektra Entertainment Group Inc.
1495 The Cars                                     Why Can't I Have You                              SR0000052759    Elektra Entertainment Group Inc.
1499 The Cars                                     You Are The Girl                                  SR0000083709    Elektra Entertainment Group Inc.
1497 The Cars                                     You Might Think                                   SR0000053584    Elektra Entertainment Group Inc.
1485 The Cars                                     You're All I've Got Tonight                       SR0000004128    Elektra Entertainment Group Inc.
1513 The Cure                                     10:15 Saturday Night                              SR0000072309    Elektra Entertainment Group Inc.
1514 The Cure                                     A Few Hours After This ...                        SR0000072370    Elektra Entertainment Group Inc.
1512 The Cure                                     A Man Inside My Mouth                             SR0000070179    Elektra Entertainment Group Inc.
1502 The Cure                                     A Night Like This                                 SR0000065872    Elektra Entertainment Group Inc.
1518 The Cure                                     Boys Don't Cry                                    SR0000075783    Elektra Entertainment Group Inc.
1529 The Cure                                     Charlotte Sometimes                               SR0000192615    Elektra Entertainment Group Inc.
1503 The Cure                                     Close To Me                                       SR0000065872    Elektra Entertainment Group Inc.
1519 The Cure                                     Closedown                                         SR0000104305    Elektra Entertainment Group Inc.
1520 The Cure                                     Disintegration                                    SR0000104305    Elektra Entertainment Group Inc.
1521 The Cure                                     Fascination Street                                SR0000104305    Elektra Entertainment Group Inc.
1504 The Cure                                     In Between Days                                   SR0000065872    Elektra Entertainment Group Inc.
1515 The Cure                                     Jumping Someone Else's Train                      SR0000072370    Elektra Entertainment Group Inc.
1516 The Cure                                     Killing An Arab                                   SR0000072370    Elektra Entertainment Group Inc.
1505 The Cure                                     Kyoto Song                                        SR0000065872    Elektra Entertainment Group Inc.
1522 The Cure                                     Lovesong                                          SR0000104305    Elektra Entertainment Group Inc.
1523 The Cure                                     Lullaby                                           SR0000104305    Elektra Entertainment Group Inc.
1524 The Cure                                     Pictures Of You                                   SR0000104305    Elektra Entertainment Group Inc.
1525 The Cure                                     Plainsong                                         SR0000104305    Elektra Entertainment Group Inc.
1526 The Cure                                     Prayers For Rain                                  SR0000104305    Elektra Entertainment Group Inc.
1506 The Cure                                     Push                                              SR0000065872    Elektra Entertainment Group Inc.
1507 The Cure                                     Screw                                             SR0000065872    Elektra Entertainment Group Inc.
1508 The Cure                                     Sinking                                           SR0000065872    Elektra Entertainment Group Inc.
1509 The Cure                                     Six Different Ways                                SR0000065872    Elektra Entertainment Group Inc.
1501 The Cure                                     Stop Dead                                         SR0000065387    Elektra Entertainment Group Inc.
1510 The Cure                                     The Baby Screams                                  SR0000065872    Elektra Entertainment Group Inc.
1511 The Cure                                     The Blood                                         SR0000065872    Elektra Entertainment Group Inc.
1517 The Cure                                     The Exploding Boy                                 SR0000072370    Elektra Entertainment Group Inc.
1500 The Cure                                     The Hanging Garden                                SR0000036019    Elektra Entertainment Group Inc.
1527 The Cure                                     The Same Deep Water As You                        SR0000104305    Elektra Entertainment Group Inc.
1528 The Cure                                     Untitled                                          SR0000104305    Elektra Entertainment Group Inc.
1544 Third Eye Blind                              10 Days Late                                      SR0000278241    Elektra Entertainment Group Inc.
1545 Third Eye Blind                              1000 Julys                                        SR0000278241    Elektra Entertainment Group Inc.
1546 Third Eye Blind                              An Ode To Maybe                                   SR0000278241    Elektra Entertainment Group Inc.
1547 Third Eye Blind                              Anything                                          SR0000278241    Elektra Entertainment Group Inc.
1530 Third Eye Blind                              Burning Man                                       SR0000188673    Elektra Entertainment Group Inc.
1548 Third Eye Blind                              Camouflage                                        SR0000278241    Elektra Entertainment Group Inc.
1549 Third Eye Blind                              Darwin                                            SR0000278241    Elektra Entertainment Group Inc.
1550 Third Eye Blind                              Deep Inside Of You                                SR0000278241    Elektra Entertainment Group Inc.
1551 Third Eye Blind                              Farther                                           SR0000278241    Elektra Entertainment Group Inc.
1531 Third Eye Blind                              God Of Wine                                       SR0000188673    Elektra Entertainment Group Inc.
1532 Third Eye Blind                              Good For You                                      SR0000188673    Elektra Entertainment Group Inc.
1533 Third Eye Blind                              Graduate                                          SR0000188673    Elektra Entertainment Group Inc.
1534 Third Eye Blind                              How's It Going To Be                              SR0000188673    Elektra Entertainment Group Inc.
1535 Third Eye Blind                              I Want You                                        SR0000188673    Elektra Entertainment Group Inc.
1536 Third Eye Blind                              Jumper                                            SR0000188673    Elektra Entertainment Group Inc.
1537 Third Eye Blind                              London                                            SR0000188673    Elektra Entertainment Group Inc.
1538 Third Eye Blind                              Losing A Whole Year                               SR0000188673    Elektra Entertainment Group Inc.
1539 Third Eye Blind                              Motorcycle Drive By                               SR0000188673    Elektra Entertainment Group Inc.
1540 Third Eye Blind                              Narcolepsy                                        SR0000188673    Elektra Entertainment Group Inc.
1552 Third Eye Blind                              Never Let You Go                                  SR0000278241    Elektra Entertainment Group Inc.
1541 Third Eye Blind                              Semi-Charmed Life                                 SR0000188673    Elektra Entertainment Group Inc.
1553 Third Eye Blind                              Slow Motion                                       SR0000278241    Elektra Entertainment Group Inc.
1554 Third Eye Blind                              Slow Motion (Instrumental)                        SR0000278241    Elektra Entertainment Group Inc.
1542 Third Eye Blind                              Thanks A Lot                                      SR0000188673    Elektra Entertainment Group Inc.
1543 Third Eye Blind                              The Background                                    SR0000188673    Elektra Entertainment Group Inc.
1555 Third Eye Blind                              The Red Summer Sun                                SR0000278241    Elektra Entertainment Group Inc.
1556 Third Eye Blind                              Wounded                                           SR0000278241    Elektra Entertainment Group Inc.



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                           Artist                                             Track                    Reg. No.                Plaintiff
1568 Cobra Starship                               Cobras Never Say Die                            SR0000711457    Fueled By Ramen LLC
1557 Cobra Starship                               Fold Your Hands Child                           SR0000657140    Fueled By Ramen LLC
1558 Cobra Starship                               Good Girls Go Bad                               SR0000657140    Fueled By Ramen LLC
1559 Cobra Starship                               Hot Mess                                        SR0000657140    Fueled By Ramen LLC
1569 Cobra Starship                               I May Be Rude But I'm The Truth                 SR0000711457    Fueled By Ramen LLC
1560 Cobra Starship                               Living In The Sky With Diamonds                 SR0000657140    Fueled By Ramen LLC
1561 Cobra Starship                               Move Like You Gonna Die                         SR0000657140    Fueled By Ramen LLC
1562 Cobra Starship                               Nice Guys Finish Last                           SR0000657140    Fueled By Ramen LLC
1563 Cobra Starship                               Pete Wentz Is The Only Reason We're Famous      SR0000657140    Fueled By Ramen LLC
1564 Cobra Starship                               The Scene Is Dead; Long Live The Scene          SR0000657140    Fueled By Ramen LLC
1565 Cobra Starship                               The World Will Never Do                         SR0000657140    Fueled By Ramen LLC
1566 Cobra Starship                               Wet Hot American Summer                         SR0000657140    Fueled By Ramen LLC
1567 Cobra Starship                               You're Not In On The Joke                       SR0000657140    Fueled By Ramen LLC
1570 fun.                                         All Alone                                       SR0000704930    Fueled By Ramen LLC
1571 fun.                                         All Alright                                     SR0000704930    Fueled By Ramen LLC
1572 fun.                                         Carry On                                        SR0000704930    Fueled By Ramen LLC
1573 fun.                                         It Gets Better                                  SR0000704930    Fueled By Ramen LLC
1574 fun.                                         One Foot                                        SR0000704930    Fueled By Ramen LLC
1575 fun.                                         Out on the Town                                 SR0000704930    Fueled By Ramen LLC
1576 fun.                                         Some Nights                                     SR0000704930    Fueled By Ramen LLC
1577 fun.                                         Some Nights (Intro)                             SR0000704930    Fueled By Ramen LLC
1578 fun.                                         Stars                                           SR0000704930    Fueled By Ramen LLC
1579 fun.                                         We Are Young                                    SR0000704930    Fueled By Ramen LLC
1580 Gym Class Heroes                             The Fighter                                     SR0000704012    Fueled By Ramen LLC
1581 Travie McCoy                                 Billionaire                                     SR0000706137    Fueled By Ramen LLC
1582 Young the Giant                              Anagram                                         SR0000746139    Fueled By Ramen LLC
1583 Young the Giant                              Camera                                          SR0000746139    Fueled By Ramen LLC
1584 Young the Giant                              Crystallized                                    SR0000746139    Fueled By Ramen LLC
1585 Young the Giant                              Daydreamer                                      SR0000746139    Fueled By Ramen LLC
1586 Young the Giant                              Eros                                            SR0000746139    Fueled By Ramen LLC
1587 Young the Giant                              Firelight                                       SR0000746139    Fueled By Ramen LLC
1588 Young the Giant                              In My Home                                      SR0000746139    Fueled By Ramen LLC
1589 Young the Giant                              Mind Over Matter                                SR0000746139    Fueled By Ramen LLC
1590 Young the Giant                              Paralysis                                       SR0000746139    Fueled By Ramen LLC
1591 Young the Giant                              Slow Dive                                       SR0000746139    Fueled By Ramen LLC
1592 Young the Giant                              Teachers                                        SR0000746139    Fueled By Ramen LLC
1593 Young the Giant                              Waves                                           SR0000746139    Fueled By Ramen LLC
1594 Ciara                                        Bang It Up                                      SR0000404728    LaFace Records LLC
1595 Ciara                                        Go Girl                                         PA0001640177    LaFace Records LLC
1596 Ciara                                        I Proceed                                       SR0000404728    LaFace Records LLC
1597 Ciara                                        Make It Last Forever                            SR0000404728    LaFace Records LLC
1598 Ciara                                        My Love                                         SR0000404728    LaFace Records LLC
1599 Ciara                                        Promise                                         SR0000404728    LaFace Records LLC
1600 Ciara feat. Lil Jon                          That's Right                                    SR0000404728    LaFace Records LLC
1601 OutKast                                      13th Floor/Growing Old                          SR0000233296    LaFace Records LLC
1602 OutKast                                      ATLiens                                         SR0000233296    LaFace Records LLC
1603 OutKast                                      B.O.B.                                          SR0000306741    LaFace Records LLC
1604 OutKast                                      Babylon                                         SR0000233296    LaFace Records LLC
1605 OutKast                                      Decatur Psalm                                   SR0000233296    LaFace Records LLC
1606 OutKast                                      E.T. (Extraterrestrial)                         SR0000233296    LaFace Records LLC
1607 OutKast                                      Elevators                                       SR0000233296    LaFace Records LLC
1608 OutKast                                      Elevators (Me & You)                            SR0000233296    LaFace Records LLC
1609 OutKast                                      Hollywood Divorce                               SR0000395944    LaFace Records LLC
1610 OutKast                                      Jazzy Belle                                     SR0000233296    LaFace Records LLC
1611 OutKast                                      Mainstream                                      SR0000233296    LaFace Records LLC
1612 OutKast                                      Millennium                                      SR0000233296    LaFace Records LLC
1613 OutKast                                      Morris Brown                                    SR0000395944    LaFace Records LLC
1614 OutKast                                      Ms. Jackson                                     SR0000306741    LaFace Records LLC
1615 OutKast                                      Ova Da Wudz                                     SR0000233296    LaFace Records LLC
1616 OutKast                                      So Fresh, So Clean                              SR0000306741    LaFace Records LLC
1617 OutKast                                      The Whole World                                 SR0000309898    LaFace Records LLC
1618 OutKast                                      Wailin'                                         SR0000233296    LaFace Records LLC
1619 OutKast                                      Wheelz of Steel                                 SR0000233296    LaFace Records LLC
1620 OutKast                                      You May Die                                     SR0000233296    LaFace Records LLC
1621 P!nk                                         Ave Mary A                                      SR0000619959    LaFace Records LLC
1622 P!nk                                         Bad Influence                                   SR0000619959    LaFace Records LLC
1623 P!nk                                         Crystal Ball                                    SR0000619959    LaFace Records LLC
1624 P!nk                                         Dear Mr. President                              SR0000395942    LaFace Records LLC



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                         Artist                                               Track                      Reg. No.                Plaintiff
1625 P!nk                                         Funhouse                                          SR0000619959    LaFace Records LLC
1626 P!nk                                         Glitter In The Air                                SR0000619959    LaFace Records LLC
1627 P!nk                                         I Don't Believe You                               SR0000619959    LaFace Records LLC
1628 P!nk                                         It's All Your Fault                               SR0000619959    LaFace Records LLC
1629 P!nk                                         Leave Me Alone (I'm Lonely)                       SR0000403184    LaFace Records LLC
1630 P!nk                                         Mean                                              SR0000619959    LaFace Records LLC
1631 P!nk                                         Most Girls                                        SR0000279958    LaFace Records LLC
1632 P!nk                                         Nobody Knows                                      SR0000395942    LaFace Records LLC
1633 P!nk                                         One Foot Wrong                                    SR0000619959    LaFace Records LLC
1634 P!nk                                         Please Don't Leave Me                             SR0000619959    LaFace Records LLC
1635 P!nk                                         Sober                                             SR0000619959    LaFace Records LLC
1636 P!nk                                         There You Go                                      SR0000279958    LaFace Records LLC
1637 P!nk                                         U + Ur Hand (Explicit)                            SR0000403184    LaFace Records LLC
1638 P!nk                                         U + Ur Hand (Main Version/Clean)                  SR0000395942    LaFace Records LLC
1639 P!nk                                         Who Knew                                          SR0000395942    LaFace Records LLC
1640 TLC                                          Can I Get a Witness-Interlude                     SR0000198743    LaFace Records LLC
1641 TLC                                          Case Of The Fake People                           SR0000198743    LaFace Records LLC
1642 TLC                                          CrazySexyCool-Interlude                           SR0000198743    LaFace Records LLC
1643 TLC                                          Creep                                             SR0000198743    LaFace Records LLC
1644 TLC                                          Diggin' on You                                    SR0000198743    LaFace Records LLC
1645 TLC                                          If I Was Your Girlfriend                          SR0000198743    LaFace Records LLC
1646 TLC                                          Intermission-lude                                 SR0000198743    LaFace Records LLC
1647 TLC                                          Intro-Iude                                        SR0000198743    LaFace Records LLC
1648 TLC                                          Kick Your Game                                    SR0000198743    LaFace Records LLC
1649 TLC                                          Let's Do It Again                                 SR0000198743    LaFace Records LLC
1650 TLC                                          Sexy-Interlude                                    SR0000198743    LaFace Records LLC
1651 TLC                                          Sumthin' Wicked This Way Comes                    SR0000198743    LaFace Records LLC
1652 TLC                                          Switch                                            SR0000198743    LaFace Records LLC
1653 TLC                                          Take Our Time                                     SR0000198743    LaFace Records LLC
1654 TLC                                          Waterfalls                                        SR0000198743    LaFace Records LLC
1655 Usher                                        Appetite                                          SR0000620940    LaFace Records LLC
1656 Usher                                        Bedtime                                           SR0000257730    LaFace Records LLC
1657 Usher                                        Before I Met You                                  SR0000620940    LaFace Records LLC
1658 Usher                                        Can U Help Me                                     SR0000307207    LaFace Records LLC
1659 Usher                                        Come Back                                         SR0000257730    LaFace Records LLC
1660 Usher                                        Here I Stand                                      SR0000620940    LaFace Records LLC
1661 Usher                                        His Mistakes                                      SR0000620940    LaFace Records LLC
1662 Usher                                        Hottest Thing                                     SR0000307207    LaFace Records LLC
1663 Usher                                        How Do I Say                                      SR0000307207    LaFace Records LLC
1664 Usher                                        I Can't Let U Go                                  SR0000307207    LaFace Records LLC
1665 Usher                                        I Will                                            SR0000257730    LaFace Records LLC
1666 Usher                                        If I Want To                                      SR0000307207    LaFace Records LLC
1667 Usher                                        Intro                                             SR0000620940    LaFace Records LLC
1668 Usher                                        Just Like Me                                      SR0000257730    LaFace Records LLC
1669 Usher                                        Lifetime                                          SR0000620940    LaFace Records LLC
1670 Usher                                        Love In This Club, Part II                        SR0000620940    LaFace Records LLC
1671 Usher                                        Love You Gently                                   SR0000620940    LaFace Records LLC
1672 Usher                                        Moving Mountains                                  SR0000620940    LaFace Records LLC
1673 Usher                                        My Way                                            SR0000257730    LaFace Records LLC
1674 Usher                                        Nice And Slow                                     SR0000257730    LaFace Records LLC
1675 Usher                                        One Day You'll Be Mine                            SR0000257730    LaFace Records LLC
1676 Usher                                        Prayer For You Interlude                          SR0000620940    LaFace Records LLC
1677 Usher                                        Something Special                                 SR0000620940    LaFace Records LLC
1678 Usher                                        This Ain't Sex                                    SR0000620940    LaFace Records LLC
1679 Usher                                        Trading Places                                    SR0000620940    LaFace Records LLC
1680 Usher                                        Twork It Out                                      SR0000307207    LaFace Records LLC
1681 Usher                                        U Don't Have to Call                              SR0000307207    LaFace Records LLC
1682 Usher                                        U Got It Bad                                      SR0000307207    LaFace Records LLC
1683 Usher                                        U Remind Me                                       SR0000307207    LaFace Records LLC
1684 Usher                                        What's A Man To Do                                SR0000620940    LaFace Records LLC
1685 Usher                                        Will Work For Love                                SR0000620940    LaFace Records LLC
1686 Usher                                        Without U                                         SR0000307207    LaFace Records LLC
1687 Usher                                        You Make Me Wanna...                              SR0000257730    LaFace Records LLC
1688 Usher feat. Jay-Z                            Best Thing                                        SR0000620940    LaFace Records LLC
1689 Usher feat. Monica                           Slow Jam                                          SR0000257730    LaFace Records LLC
1690 Usher feat. will.i.am                        What's Your Name                                  SR0000620940    LaFace Records LLC
1693 The Black Keys                               Lonely Boy                                        SR0000733194    Nonesuch Records Inc.
1691 The Black Keys                               Strange Times                                     SR0000644154    Nonesuch Records Inc.



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                         Artist                                               Track                      Reg. No.                Plaintiff
1692 The Black Keys                               Tighten Up                                        SR0000669071    Nonesuch Records Inc.
1694 The Black Keys                               Turn Blue                                         SR0000757078    Nonesuch Records Inc.
1695 Wilco                                        Airline To Heaven                                 SR0000374907    Nonesuch Records Inc.
1696 Casting Crowns                               Already There                                     SR0000689742    Provident Label Group, LLC
1697 Casting Crowns                               Always Enough - Demo                              SR0000643694    Provident Label Group, LLC
1698 Casting Crowns                               And Now My Lifesong Sings                         SR0000375845    Provident Label Group, LLC
1699 Casting Crowns                               At Your Feet                                      SR0000643694    Provident Label Group, LLC
1700 Casting Crowns                               Blessed Redeemer                                  SR0000643694    Provident Label Group, LLC
1701 Casting Crowns                               City On The Hill                                  SR0000689742    Provident Label Group, LLC
1702 Casting Crowns                               Courageous                                        SR0000689742    Provident Label Group, LLC
1703 Casting Crowns                               Does Anybody Hear Her                             SR0000375845    Provident Label Group, LLC
1704 Casting Crowns                               Face Down                                         SR0000689742    Provident Label Group, LLC
1705 Casting Crowns                               Father, Spirit, Jesus                             SR0000375845    Provident Label Group, LLC
1706 Casting Crowns                               Holy One                                          SR0000643694    Provident Label Group, LLC
1707 Casting Crowns                               If We've Ever Needed You - Demo                   SR0000643694    Provident Label Group, LLC
1708 Casting Crowns                               In Me (Demo)                                      SR0000375845    Provident Label Group, LLC
1709 Casting Crowns                               Jesus, Friend Of Sinners                          SR0000689742    Provident Label Group, LLC
1710 Casting Crowns                               Jesus, Hold Me Now                                SR0000643694    Provident Label Group, LLC
1711 Casting Crowns                               Joyful, Joyful                                    SR0000643694    Provident Label Group, LLC
1712 Casting Crowns                               Just Another Birthday                             SR0000689742    Provident Label Group, LLC
1713 Casting Crowns                               Lifesong                                          SR0000375845    Provident Label Group, LLC
1714 Casting Crowns                               Love Them Like Jesus                              SR0000375845    Provident Label Group, LLC
1715 Casting Crowns                               Mercy                                             SR0000643694    Provident Label Group, LLC
1716 Casting Crowns                               My Own Worst Enemy                                SR0000689742    Provident Label Group, LLC
1717 Casting Crowns                               Praise You In This Storm                          SR0000375845    Provident Label Group, LLC
1718 Casting Crowns                               Prodigal                                          SR0000375845    Provident Label Group, LLC
1719 Casting Crowns                               Set Me Free                                       SR0000375845    Provident Label Group, LLC
1720 Casting Crowns                               Shadow Of Your Wings                              SR0000643694    Provident Label Group, LLC
1721 Casting Crowns                               So Far To Find You                                SR0000689742    Provident Label Group, LLC
1722 Casting Crowns                               Spirit Wind                                       SR0000689742    Provident Label Group, LLC
1723 Casting Crowns                               Stained Glass Masquerade                          SR0000375845    Provident Label Group, LLC
1724 Casting Crowns                               The Well                                          SR0000689742    Provident Label Group, LLC
1725 Casting Crowns                               To Know You - Demo                                SR0000643694    Provident Label Group, LLC
1726 Casting Crowns                               Until The Whole World Hears                       SR0000643694    Provident Label Group, LLC
1727 Casting Crowns                               Wedding Day                                       SR0000689742    Provident Label Group, LLC
1728 Casting Crowns                               While You Were Sleeping                           SR0000375845    Provident Label Group, LLC
1730 Nickelback                                   Burn It To The Ground                             SR0000651954    Roadrunner Records, Inc.
1731 Nickelback                                   Gotta Be Somebody                                 SR0000651954    Roadrunner Records, Inc.
1729 Nickelback                                   How You Remind Me                                 SR0000330446    Roadrunner Records, Inc.
1732 Nickelback                                   I'd Come For You                                  SR0000651954    Roadrunner Records, Inc.
1733 Nickelback                                   If Today Was Your Last Day                        SR0000651954    Roadrunner Records, Inc.
1734 Nickelback                                   Just To Get High                                  SR0000651954    Roadrunner Records, Inc.
1735 Nickelback                                   Never Gonna Be Alone                              SR0000651954    Roadrunner Records, Inc.
1736 Nickelback                                   Next Go Round                                     SR0000651954    Roadrunner Records, Inc.
1739 Nickelback                                   S.E.X.                                            SR0000651954    Roadrunner Records, Inc.
1740 Nickelback                                   Shakin' Hands                                     SR0000651954    Roadrunner Records, Inc.
1737 Nickelback                                   Something In Your Mouth                           SR0000651954    Roadrunner Records, Inc.
1738 Nickelback                                   This Afternoon                                    SR0000651954    Roadrunner Records, Inc.
1741 Slipknot                                     742617000027                                      SR0000301094    Roadrunner Records, Inc.
1762 Slipknot                                     .execute.                                         SR0000656810    Roadrunner Records, Inc.
1747 Slipknot                                     (515)                                             SR0000330440    Roadrunner Records, Inc.
1742 Slipknot                                     (sic)                                             SR0000301094    Roadrunner Records, Inc.
1763 Slipknot                                     All Hope Is Gone                                  SR0000656810    Roadrunner Records, Inc.
1754 Slipknot                                     Before I Forget                                   SR0000358238    Roadrunner Records, Inc.
1764 Slipknot                                     Butcher's Hook                                    SR0000656810    Roadrunner Records, Inc.
1765 Slipknot                                     Child Of Burning Time                             SR0000656810    Roadrunner Records, Inc.
1766 Slipknot                                     Dead Memories                                     SR0000656810    Roadrunner Records, Inc.
1748 Slipknot                                     Disasterpiece                                     SR0000330440    Roadrunner Records, Inc.
1755 Slipknot                                     Duality                                           SR0000358238    Roadrunner Records, Inc.
1749 Slipknot                                     Everything Ends                                   SR0000330440    Roadrunner Records, Inc.
1743 Slipknot                                     Eyeless                                           SR0000301094    Roadrunner Records, Inc.
1767 Slipknot                                     Gehenna                                           SR0000656810    Roadrunner Records, Inc.
1768 Slipknot                                     Gematria (The Killing Name)                       SR0000656810    Roadrunner Records, Inc.
1761 Slipknot                                     Iowa (Live Version)                               SR0000390797    Roadrunner Records, Inc.
1750 Slipknot                                     Left Behind                                       SR0000330440    Roadrunner Records, Inc.
1751 Slipknot                                     My Plague                                         SR0000330440    Roadrunner Records, Inc.
1752 Slipknot                                     People = Shit                                     SR0000330440    Roadrunner Records, Inc.
1756 Slipknot                                     Prelude 3.0                                       SR0000358238    Roadrunner Records, Inc.



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                         Artist                                                  Track                    Reg. No.                Plaintiff
1769 Slipknot                                     Psychosocial                                       SR0000656810    Roadrunner Records, Inc.
1770 Slipknot                                     Snuff                                              SR0000656810    Roadrunner Records, Inc.
1744 Slipknot                                     Spit It Out                                        SR0000301094    Roadrunner Records, Inc.
1771 Slipknot                                     Sulfur                                             SR0000656810    Roadrunner Records, Inc.
1745 Slipknot                                     Surfacing                                          SR0000301094    Roadrunner Records, Inc.
1757 Slipknot                                     The Blister Exists                                 SR0000358238    Roadrunner Records, Inc.
1753 Slipknot                                     The Heretic Anthem                                 SR0000330440    Roadrunner Records, Inc.
1758 Slipknot                                     The Nameless                                       SR0000358238    Roadrunner Records, Inc.
1772 Slipknot                                     This Cold Black                                    SR0000656810    Roadrunner Records, Inc.
1773 Slipknot                                     Til We Die                                         SR0000656810    Roadrunner Records, Inc.
1774 Slipknot                                     Vendetta                                           SR0000656810    Roadrunner Records, Inc.
1759 Slipknot                                     Vermilion                                          SR0000358238    Roadrunner Records, Inc.
1760 Slipknot                                     Vermilion Pt. 2                                    SR0000358238    Roadrunner Records, Inc.
1775 Slipknot                                     Vermilion Pt. 2 (Bloodstone Mix)                   SR0000656810    Roadrunner Records, Inc.
1746 Slipknot                                     Wait And Bleed                                     SR0000301094    Roadrunner Records, Inc.
1776 Slipknot                                     Wherein Lies Continue                              SR0000656810    Roadrunner Records, Inc.
1793 Stone Sour                                   1st Person                                         SR0000695030    Roadrunner Records, Inc.
1794 Stone Sour                                   30/30-150                                          SR0000695030    Roadrunner Records, Inc.
1777 Stone Sour                                   Bother                                             SR0000330447    Roadrunner Records, Inc.
1795 Stone Sour                                   Cardiff                                            SR0000695030    Roadrunner Records, Inc.
1778 Stone Sour                                   Choose                                             SR0000330447    Roadrunner Records, Inc.
1796 Stone Sour                                   Come What(ever) May                                SR0000695030    Roadrunner Records, Inc.
1786 Stone Sour                                   Digital (Did You Tell)                             SR0000689549    Roadrunner Records, Inc.
1779 Stone Sour                                   Get Inside                                         SR0000330447    Roadrunner Records, Inc.
1797 Stone Sour                                   Hell & Consequences                                SR0000695030    Roadrunner Records, Inc.
1787 Stone Sour                                   Home Again                                         SR0000689549    Roadrunner Records, Inc.
1780 Stone Sour                                   Inhale                                             SR0000330447    Roadrunner Records, Inc.
1784 Stone Sour                                   Kill Everybody                                     SR0000357276    Roadrunner Records, Inc.
1798 Stone Sour                                   Made Of Scars                                      SR0000695030    Roadrunner Records, Inc.
1788 Stone Sour                                   Nylon 6/6                                          SR0000689549    Roadrunner Records, Inc.
1781 Stone Sour                                   Orchids                                            SR0000330447    Roadrunner Records, Inc.
1789 Stone Sour                                   Pieces                                             SR0000689549    Roadrunner Records, Inc.
1799 Stone Sour                                   Reborn                                             SR0000695030    Roadrunner Records, Inc.
1785 Stone Sour                                   Road Hogs                                          SR0000357276    Roadrunner Records, Inc.
1790 Stone Sour                                   Say You'll Haunt Me                                SR0000689549    Roadrunner Records, Inc.
1800 Stone Sour                                   Sillyworld                                         SR0000695030    Roadrunner Records, Inc.
1801 Stone Sour                                   Socio                                              SR0000695030    Roadrunner Records, Inc.
1782 Stone Sour                                   Take A Number                                      SR0000330447    Roadrunner Records, Inc.
1791 Stone Sour                                   The Bitter End                                     SR0000689549    Roadrunner Records, Inc.
1792 Stone Sour                                   Threadbare                                         SR0000689549    Roadrunner Records, Inc.
1802 Stone Sour                                   Through Glass                                      SR0000695030    Roadrunner Records, Inc.
1783 Stone Sour                                   Tumult                                             SR0000330447    Roadrunner Records, Inc.
1803 Stone Sour                                   Your God                                           SR0000695030    Roadrunner Records, Inc.
1804 Stone Sour                                   Zzyzx Rd.                                          SR0000695030    Roadrunner Records, Inc.
1805 Adam Lambert                                 Whataya Want From Me                               SR0000654886    Sony Music Entertainment
1806 Adele                                        Best For Last                                      SR0000616701    Sony Music Entertainment
1807 Adele                                        Chasing Pavements                                  SR0000616701    Sony Music Entertainment
1808 Adele                                        Cold Shoulder                                      SR0000616701    Sony Music Entertainment
1809 Adele                                        Crazy For You                                      SR0000616701    Sony Music Entertainment
1810 Adele                                        Daydreamer                                         SR0000616701    Sony Music Entertainment
1811 Adele                                        Don't You Remember                                 SR0000673074    Sony Music Entertainment
1812 Adele                                        First Love                                         SR0000616701    Sony Music Entertainment
1813 Adele                                        He Won't Go                                        SR0000673074    Sony Music Entertainment
1814 Adele                                        Hometown Glory                                     SR0000616701    Sony Music Entertainment
1815 Adele                                        I Found A Boy                                      SR0000673074    Sony Music Entertainment
1816 Adele                                        I'll Be Waiting                                    SR0000673074    Sony Music Entertainment
1817 Adele                                        Lovesong                                           SR0000673074    Sony Music Entertainment
1818 Adele                                        Make You Feel My Love                              SR0000616701    Sony Music Entertainment
1819 Adele                                        Melt My Heart To Stone                             SR0000616701    Sony Music Entertainment
1820 Adele                                        My Same                                            SR0000616701    Sony Music Entertainment
1821 Adele                                        One And Only                                       SR0000673074    Sony Music Entertainment
1822 Adele                                        Right As Rain                                      SR0000616701    Sony Music Entertainment
1823 Adele                                        Rolling In The Deep                                SR0000673074    Sony Music Entertainment
1824 Adele                                        Rumour Has It                                      SR0000673074    Sony Music Entertainment
1825 Adele                                        Set Fire To The Rain                               SR0000673074    Sony Music Entertainment
1826 Adele                                        Someone Like You                                   SR0000673074    Sony Music Entertainment
1827 Adele                                        Take It All                                        SR0000673074    Sony Music Entertainment
1828 Adele                                        That's It, I Quit, I'm Moving On                   SR0000616701    Sony Music Entertainment



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                         Artist                                                 Track                   Reg. No.                Plaintiff
1829 Adele                                        Tired                                            SR0000616701    Sony Music Entertainment
1830 Adele                                        Turning Tables                                   SR0000673074    Sony Music Entertainment
1831 Aerosmith                                    Adam's Apple                                     N26905          Sony Music Entertainment
1832 Aerosmith                                    Angel's Eye                                      SR0000294320    Sony Music Entertainment
1833 Aerosmith                                    Baby, Please Don't Go                            SR0000355804    Sony Music Entertainment
1834 Aerosmith                                    Back In The Saddle                               N33961          Sony Music Entertainment
1835 Aerosmith                                    Big Ten Inch Record                              N26905          Sony Music Entertainment
1836 Aerosmith                                    Chip Away The Stone                              SR0000005095    Sony Music Entertainment
1837 Aerosmith                                    Critical Mass                                    RE0000927389    Sony Music Entertainment
1838 Aerosmith                                    Devil's Got a New Disguise                       SR0000400132    Sony Music Entertainment
1839 Aerosmith                                    Dream On                                         RE0000928145    Sony Music Entertainment
1840 Aerosmith                                    Falling In Love (Is Hard On The Knees)           SR0000246031    Sony Music Entertainment
1841 Aerosmith                                    Fly Away From Here                               SR0000299932    Sony Music Entertainment
1842 Aerosmith                                    Full Circle                                      SR0000246031    Sony Music Entertainment
1843 Aerosmith                                    Girls of Summer                                  SR0000314304    Sony Music Entertainment
1844 Aerosmith                                    Helter Skelter                                   SR0000138466    Sony Music Entertainment
1845 Aerosmith                                    Hole In My Soul                                  SR0000246031    Sony Music Entertainment
1846 Aerosmith                                    I Don't Want to Miss a Thing                     SR0000730819    Sony Music Entertainment
1847 Aerosmith                                    Jaded                                            PA0001065844    Sony Music Entertainment
1848 Aerosmith                                    Jailbait                                         SR0000039598    Sony Music Entertainment
1849 Aerosmith                                    Just Push Play                                   SR0000299932    Sony Music Entertainment
1850 Aerosmith                                    Kings And Queens                                 RE0000927389    Sony Music Entertainment
1851 Aerosmith                                    Last Child                                       N33961          Sony Music Entertainment
1852 Aerosmith                                    Lay It Down                                      SR0000314304    Sony Music Entertainment
1853 Aerosmith                                    Lick And A Promise                               N33961          Sony Music Entertainment
1854 Aerosmith                                    Lightning Strikes                                SR0000039598    Sony Music Entertainment
1855 Aerosmith                                    Lord Of The Thighs                               RE0000871991    Sony Music Entertainment
1856 Aerosmith                                    Mama Kin                                         RE0000928145    Sony Music Entertainment
1857 Aerosmith                                    Nine Lives                                       SR0000246031    Sony Music Entertainment
1858 Aerosmith                                    No Surprize                                      SR0000014473    Sony Music Entertainment
1859 Aerosmith                                    Nobody's Fault                                   N33961          Sony Music Entertainment
1860 Aerosmith                                    One Way Street                                   RE0000928145    Sony Music Entertainment
1861 Aerosmith                                    Pink                                             SR0000246031    Sony Music Entertainment
1862 Aerosmith                                    Rats In The Cellar                               N33961          Sony Music Entertainment
1863 Aerosmith                                    Remember (Walking In The Sand)                   SR0000014473    Sony Music Entertainment
1864 Aerosmith                                    Round And Round                                  N26905          Sony Music Entertainment
1865 Aerosmith                                    Seasons of Wither                                RE0000871991    Sony Music Entertainment
1866 Aerosmith                                    Sedona Sunrise                                   SR0000400132    Sony Music Entertainment
1867 Aerosmith                                    Sunshine                                         SR0000299932    Sony Music Entertainment
1868 Aerosmith                                    Sweet Emotion                                    N26905          Sony Music Entertainment
1869 Aerosmith                                    Theme From Spider Man                            SR0000316861    Sony Music Entertainment
1870 Aerosmith                                    Toys In The Attic                                N26905          Sony Music Entertainment
1871 Aerosmith                                    Train Kept A Rollin'                             RE0000871991    Sony Music Entertainment
1872 Aerosmith                                    Walk This Way                                    N26905          Sony Music Entertainment
1873 Aerosmith                                    You See Me Crying                                N26905          Sony Music Entertainment
1874 Alicia Keys                                  Dah Dee Dah (Sexy Thing)                         SR0000252535    Sony Music Entertainment
1875 Alicia Keys                                  Empire State Of Mind (Part II) Broken Down       SR0000752597    Sony Music Entertainment
1876 Alicia Keys                                  I Got A Little Something                         SR0000685875    Sony Music Entertainment
1877 Alicia Keys                                  Juiciest                                         SR0000685875    Sony Music Entertainment
1878 Alicia Keys                                  Un-thinkable (I'm Ready)                         SR0000752593    Sony Music Entertainment
1879 Annie Lennox                                 Dark Road                                        SR0000627150    Sony Music Entertainment
1880 Annie Lennox                                 Sing                                             SR0000627150    Sony Music Entertainment
1881 Audioslave                                   Like A Stone                                     SR0000322103    Sony Music Entertainment
1882 Avril Lavigne                                4 Real                                           SR0000680182    Sony Music Entertainment
1883 Avril Lavigne                                Alice                                            SR0000680182    Sony Music Entertainment
1884 Avril Lavigne                                Bad Reputation                                   SR0000680182    Sony Music Entertainment
1885 Avril Lavigne                                Black Star                                       SR0000680182    Sony Music Entertainment
1886 Avril Lavigne                                Darlin                                           SR0000680182    Sony Music Entertainment
1887 Avril Lavigne                                Everybody Hurts                                  SR0000680182    Sony Music Entertainment
1888 Avril Lavigne                                Girlfriend                                       SR0000719163    Sony Music Entertainment
1889 Avril Lavigne                                Goodbye                                          SR0000680182    Sony Music Entertainment
1890 Avril Lavigne                                I Love You                                       SR0000680182    Sony Music Entertainment
1891 Avril Lavigne                                Knockin' on Heaven's Door                        SR0000680182    Sony Music Entertainment
1892 Avril Lavigne                                Not Enough                                       SR0000680182    Sony Music Entertainment
1893 Avril Lavigne                                Push                                             SR0000680182    Sony Music Entertainment
1894 Avril Lavigne                                Remember When                                    SR0000680182    Sony Music Entertainment
1895 Avril Lavigne                                Smile                                            SR0000680182    Sony Music Entertainment
1896 Avril Lavigne                                Stop Standing There                              SR0000680182    Sony Music Entertainment



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                                                                     EXHIBIT A - SOUND RECORDINGS

                       Artist                                                  Track                     Reg. No.                Plaintiff
1897 Avril Lavigne                                What The Hell                                     SR0000670616    Sony Music Entertainment
1898 Avril Lavigne                                Wish You Were Here                                SR0000680182    Sony Music Entertainment
1899 Barbra Streisand duet with Neil Diamond      You Don't Bring Me Flowers                        SR0000004765    Sony Music Entertainment
1900 Becky G                                      Shower                                            SR0000760239    Sony Music Entertainment
1901 Beyoncé                                      ***Flawless                                       SR0000747291    Sony Music Entertainment
1902 Beyoncé                                      1+1                                               SR0000683948    Sony Music Entertainment
1903 Beyoncé                                      Ave Maria                                         SR0000623449    Sony Music Entertainment
1904 Beyoncé                                      Be With You                                       SR0000342236    Sony Music Entertainment
1905 Beyoncé                                      Best Thing I Never Had                            SR0000683948    Sony Music Entertainment
1906 Beyoncé                                      Blow                                              SR0000747291    Sony Music Entertainment
1907 Beyoncé                                      Broken-Hearted Girl                               SR0000623449    Sony Music Entertainment
1908 Beyoncé                                      Check On It                                       SR0000395861    Sony Music Entertainment
1909 Beyoncé                                      Countdown                                         SR0000683948    Sony Music Entertainment
1910 Beyoncé                                      Crazy in Love                                     SR0000342236    Sony Music Entertainment
1911 Beyoncé                                      Dance For You                                     SR0000683948    Sony Music Entertainment
1912 Beyoncé                                      Disappear                                         SR0000623449    Sony Music Entertainment
1913 Beyoncé                                      Diva                                              SR0000623449    Sony Music Entertainment
1914 Beyoncé                                      Ego                                               SR0000623449    Sony Music Entertainment
1915 Beyoncé                                      End Of Time                                       SR0000683948    Sony Music Entertainment
1916 Beyoncé                                      Gift From Virgo                                   SR0000342236    Sony Music Entertainment
1917 Beyoncé                                      Halo                                              SR0000623449    Sony Music Entertainment
1918 Beyoncé                                      Halo                                              SR0000623449    Sony Music Entertainment
1919 Beyoncé                                      Haunted                                           SR0000747291    Sony Music Entertainment
1920 Beyoncé                                      Heaven                                            SR0000747291    Sony Music Entertainment
1921 Beyoncé                                      Hello                                             SR0000623449    Sony Music Entertainment
1922 Beyoncé                                      I Care                                            SR0000683948    Sony Music Entertainment
1923 Beyoncé                                      I Miss You                                        SR0000683948    Sony Music Entertainment
1924 Beyoncé                                      I Was Here                                        SR0000683948    Sony Music Entertainment
1925 Beyoncé                                      If I Were A Boy                                   SR0000718926    Sony Music Entertainment
1926 Beyoncé                                      Jealous                                           SR0000747291    Sony Music Entertainment
1927 Beyoncé                                      Lay Up Under Me                                   SR0000683948    Sony Music Entertainment
1928 Beyoncé                                      Love On Top                                       SR0000683948    Sony Music Entertainment
1929 Beyoncé                                      Me, Myself And I                                  SR0000342236    Sony Music Entertainment
1930 Beyoncé                                      Naughty Girl                                      SR0000342236    Sony Music Entertainment
1931 Beyoncé                                      No Angel                                          SR0000747291    Sony Music Entertainment
1932 Beyoncé                                      Partition                                         SR0000747291    Sony Music Entertainment
1933 Beyoncé                                      Party                                             SR0000683948    Sony Music Entertainment
1934 Beyoncé                                      Pretty Hurts                                      SR0000747291    Sony Music Entertainment
1935 Beyoncé                                      Radio                                             SR0000623449    Sony Music Entertainment
1936 Beyoncé                                      Rather Die Young                                  SR0000683948    Sony Music Entertainment
1937 Beyoncé                                      Rocket                                            SR0000747291    Sony Music Entertainment
1938 Beyoncé                                      Run The World (Girls)                             SR0000683948    Sony Music Entertainment
1939 Beyoncé                                      Satellites                                        SR0000623449    Sony Music Entertainment
1940 Beyoncé                                      Scared Of Lonely                                  SR0000623449    Sony Music Entertainment
1941 Beyoncé                                      Schoolin' Life                                    SR0000683948    Sony Music Entertainment
1942 Beyoncé                                      Single Ladies (Put A Ring On It)                  SR0000723765    Sony Music Entertainment
1943 Beyoncé                                      Smash Into You                                    SR0000623449    Sony Music Entertainment
1944 Beyoncé                                      Speechless                                        SR0000342236    Sony Music Entertainment
1945 Beyoncé                                      Start Over                                        SR0000683948    Sony Music Entertainment
1946 Beyoncé                                      Sweet Dreams                                      SR0000623449    Sony Music Entertainment
1947 Beyoncé                                      That's Why You're Beautiful                       SR0000623449    Sony Music Entertainment
1948 Beyoncé                                      Video Phone                                       SR0000623449    Sony Music Entertainment
1949 Beyoncé                                      XO                                                SR0000747291    Sony Music Entertainment
1950 Beyoncé feat. Big Boi and Sleepy Brown       Hip Hop Star                                      SR0000342236    Sony Music Entertainment
1951 Beyoncé feat. Blue Ivy                       Blue                                              SR0000747291    Sony Music Entertainment
1952 Beyoncé feat. Drake                          Mine                                              SR0000747291    Sony Music Entertainment
1953 Beyoncé feat. Frank Ocean                    Superpower                                        SR0000747291    Sony Music Entertainment
1954 Beyoncé feat. Jay-Z                          Drunk in Love                                     SR0000747291    Sony Music Entertainment
1955 Beyoncé feat. Jay-Z                          That's How You Like It                            SR0000342236    Sony Music Entertainment
1956 Beyoncé feat. Missy Elliott                  Signs                                             SR0000342236    Sony Music Entertainment
1957 Beyonce ft. Jay-Z                            Upgrade U                                         SR0000395861    Sony Music Entertainment
1958 Big Time Rush                                All Over Again                                    SR0000697856    Sony Music Entertainment
1959 Big Time Rush                                Big Night                                         SR0000668082    Sony Music Entertainment
1960 Big Time Rush                                Big Time Rush                                     SR0000668082    Sony Music Entertainment
1961 Big Time Rush                                City Is Ours                                      SR0000668082    Sony Music Entertainment
1962 Big Time Rush                                Cover Girl                                        SR0000697856    Sony Music Entertainment
1963 Big Time Rush                                Elevate                                           SR0000697856    Sony Music Entertainment
1964 Big Time Rush                                Halfway There                                     SR0000668082    Sony Music Entertainment



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                                                                     EXHIBIT A - SOUND RECORDINGS

                      Artist                                                   Track                     Reg. No.                Plaintiff
1965 Big Time Rush                                If I Ruled The World                              SR0000697856    Sony Music Entertainment
1966 Big Time Rush                                Invisible                                         SR0000697856    Sony Music Entertainment
1967 Big Time Rush                                Love Me Love Me                                   SR0000697856    Sony Music Entertainment
1968 Big Time Rush                                Music Sounds Better                               SR0000697856    Sony Music Entertainment
1969 Big Time Rush                                No Idea                                           SR0000697856    Sony Music Entertainment
1970 Big Time Rush                                Nothing Even Matters                              SR0000668082    Sony Music Entertainment
1971 Big Time Rush                                Oh Yeah                                           SR0000668082    Sony Music Entertainment
1972 Big Time Rush                                Show Me                                           SR0000697856    Sony Music Entertainment
1973 Big Time Rush                                Superstar                                         SR0000697856    Sony Music Entertainment
1974 Big Time Rush                                Til I Forget About You                            SR0000668082    Sony Music Entertainment
1975 Big Time Rush                                Time Of Our Life                                  SR0000697856    Sony Music Entertainment
1976 Big Time Rush                                Worldwide                                         SR0000668082    Sony Music Entertainment
1977 Big Time Rush                                You're Not Alone                                  SR0000697856    Sony Music Entertainment
1978 Big Time Rush feat. Cymphonique              I Know You Know                                   SR0000668082    Sony Music Entertainment
1979 Big Time Rush feat. Jordin Sparks            Count On You                                      SR0000668082    Sony Music Entertainment
1980 Bill Withers                                 I Don't Know                                      N1596           Sony Music Entertainment
1981 Bill Withers                                 I Don't Want You on My Mind                       N1596           Sony Music Entertainment
1982 Bill Withers                                 Kissing My Love                                   N1596           Sony Music Entertainment
1983 Bill Withers                                 Lean On Me                                        N1596           Sony Music Entertainment
1984 Bill Withers                                 Lonely Town, Lonely Street                        N1596           Sony Music Entertainment
1985 Bill Withers                                 Use Me                                            N1596           Sony Music Entertainment
1986 Bill Withers                                 Watching You Watching Me                          SR0000065774    Sony Music Entertainment
1987 Billy Joel                                   A Matter Of Trust                                 SR0000077612    Sony Music Entertainment
1988 Billy Joel                                   All About Soul                                    SR0000185184    Sony Music Entertainment
1989 Billy Joel                                   All For Leyna                                     SR0000017630    Sony Music Entertainment
1990 Billy Joel                                   Allentown                                         SR0000040031    Sony Music Entertainment
1991 Billy Joel                                   An Innocent Man                                   SR0000047532    Sony Music Entertainment
1992 Billy Joel                                   Don't Ask Me Why                                  SR0000017630    Sony Music Entertainment
1993 Billy Joel                                   Honesty                                           SR0000004681    Sony Music Entertainment
1994 Billy Joel                                   I Go To Extremes                                  SR0000109420    Sony Music Entertainment
1995 Billy Joel                                   It's Still Rock & Roll to Me                      SR0000017630    Sony Music Entertainment
1996 Billy Joel                                   Just The Way You Are                              RE0000927434    Sony Music Entertainment
1997 Billy Joel                                   Leave A Tender Moment Alone                       SR0000047532    Sony Music Entertainment
1998 Billy Joel                                   Leningrad                                         SR0000109420    Sony Music Entertainment
1999 Billy Joel                                   My Life                                           SR0000004681    Sony Music Entertainment
2000 Billy Joel                                   Piano Man                                         N11702          Sony Music Entertainment
2001 Billy Joel                                   Say Goodbye To Hollywood                          SR0000031638    Sony Music Entertainment
2002 Billy Joel                                   Streetlife Serenader (Audio)                      RE0000872265    Sony Music Entertainment
2003 Billy Joel                                   Tell Her About It                                 SR0000047534    Sony Music Entertainment
2004 Billy Joel                                   The Downeaster 'Alexa'                            SR0000109420    Sony Music Entertainment
2005 Billy Joel                                   The Entertainer                                   RE0000872265    Sony Music Entertainment
2006 Billy Joel                                   The Longest Time                                  SR0000047532    Sony Music Entertainment
2007 Billy Joel                                   The River Of Dreams                               SR0000798617    Sony Music Entertainment
2008 Billy Joel                                   This Is The Time                                  SR0000077612    Sony Music Entertainment
2009 Billy Joel                                   Uptown Girl                                       SR0000047532    Sony Music Entertainment
2010 Billy Joel                                   We Didn't Start the Fire                          SR0000111680    Sony Music Entertainment
2011 Billy Joel                                   You May Be Right                                  SR0000017630    Sony Music Entertainment
2012 Billy Joel                                   You're My Home                                    N11702          Sony Music Entertainment
2013 Billy Joel                                   You're Only Human (Second Wind)                   SR0000068501    Sony Music Entertainment
2014 Bone Thugs N Harmony                         1st Of Tha Month                                  SR0000225335    Sony Music Entertainment
2015 Bone Thugs N Harmony                         Buddah Lovaz                                      SR0000225335    Sony Music Entertainment
2016 Bone Thugs N Harmony                         Cleveland Is The City                             SR0000330830    Sony Music Entertainment
2017 Bone Thugs N Harmony                         Crept And We Came                                 SR0000225335    Sony Music Entertainment
2018 Bone Thugs N Harmony                         Da Introduction                                   SR0000225335    Sony Music Entertainment
2019 Bone Thugs N Harmony                         Die Die Die                                       SR0000225335    Sony Music Entertainment
2020 Bone Thugs N Harmony                         Down '71 (The Getaway)                            SR0000225335    Sony Music Entertainment
2021 Bone Thugs N Harmony                         East 1999                                         SR0000225335    Sony Music Entertainment
2022 Bone Thugs N Harmony                         Ecstasy                                           SR0000274908    Sony Music Entertainment
2023 Bone Thugs N Harmony                         Eternal                                           SR0000225335    Sony Music Entertainment
2024 Bone Thugs N Harmony                         Get'Cha Thug On                                   SR0000260406    Sony Music Entertainment
2025 Bone Thugs N Harmony                         Home                                              SR0000330830    Sony Music Entertainment
2026 Bone Thugs N Harmony                         Land Of Tha Heartless                             SR0000225335    Sony Music Entertainment
2027 Bone Thugs N Harmony                         Look Into My Eyes                                 SR0000260406    Sony Music Entertainment
2028 Bone Thugs N Harmony                         Mo'Murda                                          SR0000225335    Sony Music Entertainment
2029 Bone Thugs N Harmony                         Money, Money                                      SR0000330830    Sony Music Entertainment
2030 Bone Thugs N Harmony                         Mr. Bill Collector                                SR0000225335    Sony Music Entertainment
2031 Bone Thugs N Harmony                         Mr. Quija 2                                       SR0000225335    Sony Music Entertainment
2032 Bone Thugs N Harmony                         No Shorts, No Losses                              SR0000225335    Sony Music Entertainment



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                                                                     EXHIBIT A - SOUND RECORDINGS

                        Artist                                                  Track                    Reg. No.                Plaintiff
2033 Bone Thugs N Harmony                         Resurrection (Paper, Paper)                       SR0000274908    Sony Music Entertainment
2034 Bone Thugs N Harmony                         Shotz To Tha Double Glock                         SR0000225335    Sony Music Entertainment
2035 Bone Thugs N Harmony                         Tha Crossroads                                    SR0000225335    Sony Music Entertainment
2036 Bone Thugs N Harmony                         Thuggish Ruggish Bone                             SR0000223608    Sony Music Entertainment
2037 Bone Thugs N Harmony                         Weed Song                                         SR0000274908    Sony Music Entertainment
2038 Bone Thugs N Harmony feat. 2Pac              Thug Luv                                          SR0000260406    Sony Music Entertainment
     Bone Thugs N Harmony feat. Felecia
2039                                              Get Up & Get It                                   SR0000330830    Sony Music Entertainment
     Lindsey and 3LW
2040 Bone Thugs N Harmony with Eazy-E             For Tha Love Of $                                 SR0000223608    Sony Music Entertainment
2041 Boston                                       A Man I'll Never Be                               SR0000004079    Sony Music Entertainment
2042 Boston                                       Don't Look Back                                   SR0000003614    Sony Music Entertainment
2043 Boston                                       Feelin' Satisfied                                 SR0000004079    Sony Music Entertainment
2044 Boston                                       Higher Power                                      SR0000239485    Sony Music Entertainment
2045 Boston                                       Higher Power (Kalodner Edit)                      SR0000239485    Sony Music Entertainment
2046 Boston                                       More Than A Feeling                               N36238          Sony Music Entertainment
2047 Boston                                       Party                                             SR0000004079    Sony Music Entertainment
2048 Boston                                       Tell Me                                           SR0000239485    Sony Music Entertainment
2049 Boston                                       The Star Spangled Banner, 4th of July Reprise     SR0000239485    Sony Music Entertainment
2050 Boys Like Girls                              Be Your Everything                                SR0000717244    Sony Music Entertainment
2051 Boys Like Girls                              Broken Man                                        SR0000724396    Sony Music Entertainment
2052 Boys Like Girls                              Cheated                                           SR0000731314    Sony Music Entertainment
2053 Boys Like Girls                              Chemicals Collide                                 SR0000643654    Sony Music Entertainment
2054 Boys Like Girls                              Contagious                                        SR0000643654    Sony Music Entertainment
2055 Boys Like Girls                              Crazy World                                       SR0000731314    Sony Music Entertainment
2056 Boys Like Girls                              Dance Hall Drug                                   SR0000724396    Sony Music Entertainment
2057 Boys Like Girls                              Five Minutes To Midnight                          SR0000724396    Sony Music Entertainment
2058 Boys Like Girls                              Go                                                SR0000643654    Sony Music Entertainment
2059 Boys Like Girls                              Heart Heart Heartbreak                            SR0000643654    Sony Music Entertainment
2060 Boys Like Girls                              Heels Over Head                                   SR0000724396    Sony Music Entertainment
2061 Boys Like Girls                              Heels Over Head (Tom Lord-Alge Mix)               SR0000724396    Sony Music Entertainment
2062 Boys Like Girls                              Hero / Heroine                                    SR0000724396    Sony Music Entertainment
2063 Boys Like Girls                              Hero/Heroine                                      SR0000724396    Sony Music Entertainment
2064 Boys Like Girls                              Hey You                                           SR0000731314    Sony Music Entertainment
2065 Boys Like Girls                              Holiday                                           SR0000724396    Sony Music Entertainment
2066 Boys Like Girls                              Learning To Fall                                  SR0000724396    Sony Music Entertainment
2067 Boys Like Girls                              Leaving California                                SR0000731314    Sony Music Entertainment
2068 Boys Like Girls                              Life Of The Party                                 SR0000717244    Sony Music Entertainment
2069 Boys Like Girls                              Love Drunk                                        SR0000643654    Sony Music Entertainment
2070 Boys Like Girls                              Me, You And My Medication                         SR0000724396    Sony Music Entertainment
2071 Boys Like Girls                              On Top Of The World                               SR0000724396    Sony Music Entertainment
2072 Boys Like Girls                              Real Thing                                        SR0000643654    Sony Music Entertainment
2073 Boys Like Girls                              Red Cup Hands Up Long Brown Hair                  SR0000731314    Sony Music Entertainment
2074 Boys Like Girls                              She's Got A Boyfriend Now                         SR0000643654    Sony Music Entertainment
2075 Boys Like Girls                              Shoot                                             SR0000731314    Sony Music Entertainment
2076 Boys Like Girls                              Someone Like You                                  SR0000643654    Sony Music Entertainment
2077 Boys Like Girls                              Stuck in the Middle                               SR0000731314    Sony Music Entertainment
2078 Boys Like Girls                              Take Me Home                                      SR0000731314    Sony Music Entertainment
2079 Boys Like Girls                              The First One                                     SR0000643654    Sony Music Entertainment
2080 Boys Like Girls                              The First Time                                    SR0000717244    Sony Music Entertainment
2081 Boys Like Girls                              The Great Escape                                  SR0000724396    Sony Music Entertainment
2082 Boys Like Girls                              The Shot Heard 'Round The World                   SR0000643654    Sony Music Entertainment
2083 Boys Like Girls                              Thunder                                           SR0000724396    Sony Music Entertainment
2084 Boys Like Girls                              Up Against The Wall                               SR0000724396    Sony Music Entertainment
2085 Boys Like Girls featuring Taylor Swift       Two Is Better Than One                            SR0000639800    Sony Music Entertainment
2086 Brad Paisley                                 A Man Don't Have to Die                           SR0000680360    Sony Music Entertainment
2087 Brad Paisley                                 Alcohol                                           SR0000746295    Sony Music Entertainment
2088 Brad Paisley                                 Be The Lake                                       SR0000680360    Sony Music Entertainment
2089 Brad Paisley                                 Camouflage                                        SR0000680360    Sony Music Entertainment
2090 Brad Paisley                                 I Do Now                                          SR0000680360    Sony Music Entertainment
2091 Brad Paisley                                 New Favorite Memory                               SR0000680360    Sony Music Entertainment
2092 Brad Paisley                                 Old Alabama                                       SR0000680360    Sony Music Entertainment
2093 Brad Paisley                                 One of Those Lives                                SR0000680360    Sony Music Entertainment
2094 Brad Paisley                                 This Is Country Music                             SR0000680360    Sony Music Entertainment
2095 Brad Paisley                                 Toothbrush                                        SR0000680360    Sony Music Entertainment
2096 Brad Paisley                                 Working On A Tan                                  SR0000680360    Sony Music Entertainment
2097 Brad Paisley feat. Blake Shelton             Don't Drink the Water                             SR0000680360    Sony Music Entertainment
2098 Brad Paisley feat. Clint Eastwood            Eastwood                                          SR0000680360    Sony Music Entertainment
2099 Brad Paisley feat. Don Henley                Love Her Like She's Leavin'                       SR0000680360    Sony Music Entertainment



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                                                                     EXHIBIT A - SOUND RECORDINGS

                        Artist                                               Track                      Reg. No.               Plaintiff
     Brad Paisley feat. Marty Stuart, Sheryl
2100                                              Life's Railway to Heaven                          SR0000680360   Sony Music Entertainment
     Crow and Carl Jackson
2101 Brad Praisley                                Remind Me                                         SR0000680360   Sony Music Entertainment
2102 Brandi Carlile                               Again Today / Hiding My Heart                     SR0000609517   Sony Music Entertainment
2103 Brandi Carlile                               Cannonball                                        SR0000609517   Sony Music Entertainment
2104 Brandi Carlile                               Downpour                                          SR0000609517   Sony Music Entertainment
2105 Brandi Carlile                               Have You Ever                                     SR0000609517   Sony Music Entertainment
2106 Brandi Carlile                               Josephine                                         SR0000609517   Sony Music Entertainment
2107 Brandi Carlile                               Late Morning Lullaby                              SR0000609517   Sony Music Entertainment
2108 Brandi Carlile                               Losing Heart                                      SR0000609517   Sony Music Entertainment
2109 Brandi Carlile                               My Song                                           SR0000609517   Sony Music Entertainment
2110 Brandi Carlile                               Shadow On The Wall                                SR0000609517   Sony Music Entertainment
2111 Brandi Carlile                               Turpentine                                        SR0000609517   Sony Music Entertainment
2112 Brandi Carlile                               Until I Die                                       SR0000609517   Sony Music Entertainment
2113 Brandi Carlile                               Wasted                                            SR0000609517   Sony Music Entertainment
2114 Brandy                                       1st & Love                                        SR0000622255   Sony Music Entertainment
2115 Brandy                                       A Capella (Something's Missing)                   SR0000622255   Sony Music Entertainment
2116 Brandy                                       Camouflage                                        SR0000622255   Sony Music Entertainment
2117 Brandy                                       Can You Hear Me Now                               SR0000710136   Sony Music Entertainment
2118 Brandy                                       Do You Know What You Have                         SR0000710136   Sony Music Entertainment
2119 Brandy                                       Fall                                              SR0000622255   Sony Music Entertainment
2120 Brandy                                       Hardly Breathing                                  SR0000710136   Sony Music Entertainment
2121 Brandy                                       Human                                             SR0000622255   Sony Music Entertainment
2122 Brandy                                       Let Me Go                                         SR0000710136   Sony Music Entertainment
2123 Brandy                                       Long Distance                                     SR0000622255   Sony Music Entertainment
2124 Brandy                                       Long Distance Interlude                           SR0000622255   Sony Music Entertainment
2125 Brandy                                       Music                                             SR0000710136   Sony Music Entertainment
2126 Brandy                                       No Such Thing As Too Late                         SR0000710136   Sony Music Entertainment
2127 Brandy                                       Outro                                             SR0000710136   Sony Music Entertainment
2128 Brandy                                       Paint This House                                  SR0000710136   Sony Music Entertainment
2129 Brandy                                       Piano Man                                         SR0000622255   Sony Music Entertainment
2130 Brandy                                       Scared Of Beautiful                               SR0000710136   Sony Music Entertainment
2131 Brandy                                       Shattered Heart                                   SR0000622255   Sony Music Entertainment
2132 Brandy                                       Slower                                            SR0000710136   Sony Music Entertainment
2133 Brandy                                       So Sick                                           SR0000710136   Sony Music Entertainment
2134 Brandy                                       The Definition                                    SR0000622255   Sony Music Entertainment
2135 Brandy                                       Torn Down                                         SR0000622255   Sony Music Entertainment
2136 Brandy                                       True                                              SR0000622255   Sony Music Entertainment
2137 Brandy                                       Warm It Up (With Love)                            SR0000622255   Sony Music Entertainment
2138 Brandy                                       What You Need                                     SR0000710136   Sony Music Entertainment
2139 Brandy                                       Wildest Dreams                                    SR0000710136   Sony Music Entertainment
2140 Brandy                                       Wish Your Love Away                               SR0000710136   Sony Music Entertainment
2141 Brandy                                       Without You                                       SR0000710136   Sony Music Entertainment
2142 Brandy featuring Chris Brown                 Put It Down                                       SR0000710136   Sony Music Entertainment
2143 Britney Spears                               Alien                                             SR0000738040   Sony Music Entertainment
2144 Britney Spears                               Body Ache                                         SR0000738040   Sony Music Entertainment
2145 Britney Spears                               Brightest Morning Star                            SR0000738040   Sony Music Entertainment
2146 Britney Spears                               Criminal                                          SR0000673693   Sony Music Entertainment
2147 Britney Spears                               Don't Cry                                         SR0000738040   Sony Music Entertainment
2148 Britney Spears                               Don't Keep Me Waiting                             SR0000677693   Sony Music Entertainment
2149 Britney Spears                               Gasoline                                          SR0000673693   Sony Music Entertainment
2150 Britney Spears                               He About To Lose Me                               SR0000677693   Sony Music Entertainment
2151 Britney Spears                               Hold It Against Me                                SR0000673693   Sony Music Entertainment
2152 Britney Spears                               Hold On Tight                                     SR0000738040   Sony Music Entertainment
2153 Britney Spears                               How I Roll                                        SR0000673693   Sony Music Entertainment
2154 Britney Spears                               I Wanna Go                                        SR0000673693   Sony Music Entertainment
2155 Britney Spears                               Inside Out                                        SR0000673693   Sony Music Entertainment
2156 Britney Spears                               Now That I Found You                              SR0000738040   Sony Music Entertainment
2157 Britney Spears                               Passenger                                         SR0000738040   Sony Music Entertainment
2158 Britney Spears                               Perfume                                           SR0000738038   Sony Music Entertainment
2159 Britney Spears                               Perfume (The Dreaming Mix)                        SR0000738040   Sony Music Entertainment
2160 Britney Spears                               Seal It With A Kiss                               SR0000673693   Sony Music Entertainment
2161 Britney Spears                               Selfish                                           SR0000677693   Sony Music Entertainment
2162 Britney Spears                               Til It's Gone                                     SR0000738040   Sony Music Entertainment
2163 Britney Spears                               Till The World Ends                               SR0000674674   Sony Music Entertainment
2164 Britney Spears                               Trip To Your Heart                                SR0000673693   Sony Music Entertainment
2165 Britney Spears                               Trouble For Me                                    SR0000673693   Sony Music Entertainment
2166 Britney Spears                               Up N' Down                                        SR0000677693   Sony Music Entertainment



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                                                                    EXHIBIT A - SOUND RECORDINGS

                       Artist                                                  Track                    Reg. No.                Plaintiff
2167 Britney Spears feat. Jamie Lynn              Chillin' With You                                SR0000738040    Sony Music Entertainment
2168 Britney Spears feat. Sabi                    (Drop Dead) Beautiful                            SR0000673693    Sony Music Entertainment
2169 Britney Spears feat. T.I.                    Tik Tik Boom                                     SR0000738040    Sony Music Entertainment
2170 Britney Spears feat. will.i.am               Big Fat Bass                                     SR0000673693    Sony Music Entertainment
2171 Britney Spears feat. will.i.am               It Should Be Easy                                SR0000738040    Sony Music Entertainment
2172 Bruce Springsteen                            American Land                                    SR0000383238    Sony Music Entertainment
2173 Bruce Springsteen                            American Skin (41 Shots)                         SR0000742574    Sony Music Entertainment
2174 Bruce Springsteen                            Death To My Hometown                             SR0000705192    Sony Music Entertainment
2175 Bruce Springsteen                            Down in the Hole                                 SR0000742574    Sony Music Entertainment
2176 Bruce Springsteen                            Dream Baby Dream                                 SR0000742197    Sony Music Entertainment
2177 Bruce Springsteen                            Easy Money                                       SR0000705192    Sony Music Entertainment
2178 Bruce Springsteen                            Frankie Fell in Love                             SR0000742574    Sony Music Entertainment
2179 Bruce Springsteen                            Harry's Place                                    SR0000742574    Sony Music Entertainment
2180 Bruce Springsteen                            Heaven's Wall                                    SR0000742574    Sony Music Entertainment
2181 Bruce Springsteen                            High Hopes                                       SR0000742572    Sony Music Entertainment
2182 Bruce Springsteen                            Hunter of Invisible Game                         SR0000742574    Sony Music Entertainment
2183 Bruce Springsteen                            Jack Of All Trades                               SR0000705192    Sony Music Entertainment
2184 Bruce Springsteen                            Just Like Fire Would                             SR0000742574    Sony Music Entertainment
2185 Bruce Springsteen                            Land of Hope and Dreams                          SR0000705192    Sony Music Entertainment
2186 Bruce Springsteen                            Rocky Ground                                     SR0000705192    Sony Music Entertainment
2187 Bruce Springsteen                            Shackled And Drawn                               SR0000705192    Sony Music Entertainment
2188 Bruce Springsteen                            Swallowed Up (In The Belly Of The Whale)         SR0000705192    Sony Music Entertainment
2189 Bruce Springsteen                            The Ghost of Tom Joad                            SR0000742574    Sony Music Entertainment
2190 Bruce Springsteen                            The Wall                                         SR0000742574    Sony Music Entertainment
2191 Bruce Springsteen                            This Depression                                  SR0000705192    Sony Music Entertainment
2192 Bruce Springsteen                            This is Your Sword                               SR0000742574    Sony Music Entertainment
2193 Bruce Springsteen                            We Are Alive                                     SR0000705192    Sony Music Entertainment
2194 Bruce Springsteen                            We Take Care Of Our Own                          SR0000705192    Sony Music Entertainment
2195 Bruce Springsteen                            Wrecking Ball                                    SR0000705192    Sony Music Entertainment
2196 Bruce Springsteen                            You've Got It                                    SR0000705192    Sony Music Entertainment
2197 Bullet For My Valentine                      A Place Where You Belong                         SR0000706395    Sony Music Entertainment
2198 Bullet For My Valentine                      Alone                                            SR0000706395    Sony Music Entertainment
2199 Bullet For My Valentine                      Ashes Of The Innocent                            SR0000619985    Sony Music Entertainment
2200 Bullet For My Valentine                      Begging For Mercy                                SR0000706395    Sony Music Entertainment
2201 Bullet For My Valentine                      Bittersweet Memories                             SR0000706395    Sony Music Entertainment
2202 Bullet For My Valentine                      Breaking Out, Breaking Down                      SR0000706395    Sony Music Entertainment
2203 Bullet For My Valentine                      Deliver Us from Evil                             SR0000619985    Sony Music Entertainment
2204 Bullet For My Valentine                      Dignity                                          SR0000706395    Sony Music Entertainment
2205 Bullet For My Valentine                      Disappear                                        SR0000619985    Sony Music Entertainment
2206 Bullet For My Valentine                      End Of Days                                      SR0000619985    Sony Music Entertainment
2207 Bullet For My Valentine                      Eye Of The Storm                                 SR0000619985    Sony Music Entertainment
2208 Bullet For My Valentine                      Fever                                            SR0000706395    Sony Music Entertainment
2209 Bullet For My Valentine                      Forever And Always                               SR0000619985    Sony Music Entertainment
2210 Bullet For My Valentine                      Hearts Burst Into Fire                           SR0000619985    Sony Music Entertainment
2211 Bullet For My Valentine                      Last To Know                                     SR0000619985    Sony Music Entertainment
2212 Bullet For My Valentine                      One Good Reason Why                              SR0000619985    Sony Music Entertainment
2213 Bullet For My Valentine                      Pleasure And Pain                                SR0000706395    Sony Music Entertainment
2214 Bullet For My Valentine                      Pretty On The Outside                            SR0000706395    Sony Music Entertainment
2215 Bullet For My Valentine                      Road To Nowhere                                  SR0000619985    Sony Music Entertainment
2216 Bullet For My Valentine                      Say Goodnight                                    SR0000619985    Sony Music Entertainment
2217 Bullet For My Valentine                      Scream Aim Fire                                  PA0001607594    Sony Music Entertainment
2218 Bullet For My Valentine                      Take It Out On Me                                SR0000619985    Sony Music Entertainment
2219 Bullet For My Valentine                      The Last Fight                                   SR0000706395    Sony Music Entertainment
2220 Bullet For My Valentine                      Waking The Demon                                 SR0000619985    Sony Music Entertainment
2221 Bullet For My Valentine                      Watching Us Die Tonight                          SR0000619985    Sony Music Entertainment
2222 Bullet For My Valentine                      Your Betrayal                                    SR0000706395    Sony Music Entertainment
2223 Cage The Elephant                            2024                                             SR0000703665    Sony Music Entertainment
2224 Cage The Elephant                            Aberdeen                                         SR0000703665    Sony Music Entertainment
2225 Cage The Elephant                            Ain't No Rest for the Wicked                     SR0000615871    Sony Music Entertainment
2226 Cage The Elephant                            Always Something                                 SR0000703665    Sony Music Entertainment
2227 Cage The Elephant                            Around My Head                                   SR0000703665    Sony Music Entertainment
2228 Cage The Elephant                            Back Against The Wall                            SR0000631003    Sony Music Entertainment
2229 Cage The Elephant                            Back Stabbin' Betty                              SR0000631003    Sony Music Entertainment
2230 Cage The Elephant                            Cover Me Again                                   SR0000631003    Sony Music Entertainment
2231 Cage The Elephant                            Drones In The Valley                             SR0000631003    Sony Music Entertainment
2232 Cage The Elephant                            Flow                                             SR0000703665    Sony Music Entertainment
2233 Cage The Elephant                            Free Love                                        SR0000631003    Sony Music Entertainment
2234 Cage The Elephant                            In One Ear                                       SR0000631003    Sony Music Entertainment



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                      Artist                                                   Track                              Reg. No.                Plaintiff
2235 Cage The Elephant                            Indy Kidz                                                  SR0000703665    Sony Music Entertainment
2236 Cage The Elephant                            James Brown                                                SR0000631003    Sony Music Entertainment
2237 Cage The Elephant                            Japanese Buffalo                                           SR0000703665    Sony Music Entertainment
2238 Cage The Elephant                            Judas                                                      SR0000631003    Sony Music Entertainment
2239 Cage The Elephant                            Lotus                                                      SR0000631003    Sony Music Entertainment
2240 Cage The Elephant                            Right Before My Eyes                                       SR0000703665    Sony Music Entertainment
2241 Cage The Elephant                            Rubber Ball                                                SR0000703665    Sony Music Entertainment
2242 Cage The Elephant                            Sabertooth Tiger                                           SR0000703665    Sony Music Entertainment
2243 Cage The Elephant                            Sell Yourself                                              SR0000703665    Sony Music Entertainment
2244 Cage The Elephant                            Shake Me Down                                              SR0000703665    Sony Music Entertainment
2245 Cage The Elephant                            Soil To The Sun                                            SR0000631003    Sony Music Entertainment
2246 Cage The Elephant                            Tiny Little Robots                                         SR0000631003    Sony Music Entertainment
2247 Calvin Harris                                I Need Your Love                                           SR0000710756    Sony Music Entertainment
2248 Camila                                       Coleccionista De Canciones                                 SR0000393905    Sony Music Entertainment
2249 Camila                                       Me Basto                                                   SR0000393905    Sony Music Entertainment
2250 Camila                                       Me Da Igual                                                SR0000393905    Sony Music Entertainment
2251 Camila                                       Nanga Ti Feo                                               SR0000393905    Sony Music Entertainment
2252 Camila                                       Perderte de Nuevo                                          SR0000393905    Sony Music Entertainment
2253 Camila                                       Sin Tu Amor                                                SR0000393905    Sony Music Entertainment
2254 Camila                                       Todo Cambio                                                SR0000393905    Sony Music Entertainment
2255 Camila                                       U Got My Love                                              SR0000393905    Sony Music Entertainment
2256 Camila                                       Va Para Ti                                                 SR0000393905    Sony Music Entertainment
2257 Camila                                       Yo Quiero                                                  SR0000393905    Sony Music Entertainment
2258 Carlos Santana                               Havana Moon                                                SR0000045295    Sony Music Entertainment
2259 Carrie Underwood                             All-American Girl                                          SR0000627157    Sony Music Entertainment
2260 Carrie Underwood                             Before He Cheats                                           SR0000742546    Sony Music Entertainment
2261 Carrie Underwood                             Blown Away                                                 SR0000700157    Sony Music Entertainment
2262 Carrie Underwood                             Crazy Dreams                                               SR0000627157    Sony Music Entertainment
2263 Carrie Underwood                             Cupid's Got A Shotgun                                      SR0000700157    Sony Music Entertainment
2264 Carrie Underwood                             Do You Think About Me                                      SR0000700157    Sony Music Entertainment
2265 Carrie Underwood                             Don't Forget to Remember Me                                SR0000383054    Sony Music Entertainment
2266 Carrie Underwood                             Flat On The Floor                                          SR0000627157    Sony Music Entertainment
2267 Carrie Underwood                             Forever Changed                                            SR0000700157    Sony Music Entertainment
2268 Carrie Underwood                             Get Out Of This Town                                       SR0000627157    Sony Music Entertainment
2269 Carrie Underwood                             Good Girl                                                  SR0000700157    Sony Music Entertainment
2270 Carrie Underwood                             Good In Goodbye                                            SR0000700157    Sony Music Entertainment
2271 Carrie Underwood                             I Ain't In Checotah Anymore                                SR0000383054    Sony Music Entertainment
2272 Carrie Underwood                             I Just Can't Live A Lie                                    SR0000383054    Sony Music Entertainment
2273 Carrie Underwood                             I Know You Won't                                           SR0000627157    Sony Music Entertainment
2274 Carrie Underwood                             I Told You So                                              SR0000627157    Sony Music Entertainment
2275 Carrie Underwood                             Inside Your Heaven                                         SR0000383054    Sony Music Entertainment
2276 Carrie Underwood                             Jesus Take The Wheel                                       SR0000742547    Sony Music Entertainment
2277 Carrie Underwood                             Just A Dream                                               SR0000627157    Sony Music Entertainment
2278 Carrie Underwood                             Last Name                                                  SR0000627157    Sony Music Entertainment
2279 Carrie Underwood                             Leave Love Alone                                           SR0000700157    Sony Music Entertainment
2280 Carrie Underwood                             Lessons Learned                                            SR0000383054    Sony Music Entertainment
2281 Carrie Underwood                             Nobody Ever Told You                                       SR0000700157    Sony Music Entertainment
2282 Carrie Underwood                             One Way Ticket                                             SR0000700157    Sony Music Entertainment
2283 Carrie Underwood                             See You Again                                              SR0000700157    Sony Music Entertainment
2284 Carrie Underwood                             So Small                                                   SR0000742208    Sony Music Entertainment
2285 Carrie Underwood                             Some Hearts                                                SR0000383054    Sony Music Entertainment
2286 Carrie Underwood                             Starts With Goodbye                                        SR0000383054    Sony Music Entertainment
2287 Carrie Underwood                             Thank God For Hometowns                                    SR0000700157    Sony Music Entertainment
2288 Carrie Underwood                             That's Where It Is                                         SR0000383054    Sony Music Entertainment
2289 Carrie Underwood                             The More Boys I Meet                                       SR0000627157    Sony Music Entertainment
2290 Carrie Underwood                             The Night Before (Life Goes On)                            SR0000383054    Sony Music Entertainment
2291 Carrie Underwood                             Twisted                                                    SR0000627157    Sony Music Entertainment
2292 Carrie Underwood                             Two Black Cadillacs                                        SR0000700157    Sony Music Entertainment
2293 Carrie Underwood                             Wasted                                                     SR0000383054    Sony Music Entertainment
2294 Carrie Underwood                             We're Young and Beautiful                                  SR0000383054    Sony Music Entertainment
2295 Carrie Underwood                             Wheel Of The World                                         SR0000627157    Sony Music Entertainment
2296 Carrie Underwood                             Whenever You Remember                                      SR0000383054    Sony Music Entertainment
2297 Carrie Underwood                             Who Are You                                                SR0000700157    Sony Music Entertainment
2298 Carrie Underwood                             Wine After Whiskey                                         SR0000700157    Sony Music Entertainment
2299 Carrie Underwood                             You Won't Find This                                        SR0000627157    Sony Music Entertainment
2300 Celene Dion                                  I Hate You Then I Love You (Duet with Luciano Pavarotti)   SR0000248109    Sony Music Entertainment
2301 Celene Dion                                  Just A Little Bit Of Love                                  SR0000248109    Sony Music Entertainment
2302 Celene Dion                                  Love Is On The Way                                         SR0000248109    Sony Music Entertainment



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                        Artist                                                  Track                     Reg. No.                Plaintiff
2303 Celene Dion                                  Miles To Go (Before I Sleep)                       SR0000248109    Sony Music Entertainment
2304 Celene Dion                                  Treat Her Like A Lady                              SR0000248109    Sony Music Entertainment
2305 Celene Dion                                  When I Need You                                    SR0000248109    Sony Music Entertainment
2306 Celene Dion                                  Where Does My Heart Beat Now                       SR0000124245    Sony Music Entertainment
2307 Celene Dion                                  Where Is The Love                                  SR0000248109    Sony Music Entertainment
2308 Celene Dion                                  Why Oh Why                                         SR0000248109    Sony Music Entertainment
2309 Celine Dion                                  Let's Talk About Love                              SR0000248109    Sony Music Entertainment
2310 Celine Dion                                  Us                                                 SR0000248109    Sony Music Entertainment
2311 Charlie Daniels                              the Devil Went Down To Georgia                     SR0000008973    Sony Music Entertainment
2312 Charlie Wilson                               Crying For You                                     SR0000679365    Sony Music Entertainment
2313 Charlie Wilson                               I Can't Let Go                                     SR0000679365    Sony Music Entertainment
2314 Charlie Wilson                               Life Of The Party                                  SR0000679365    Sony Music Entertainment
2315 Charlie Wilson                               Lotto                                              SR0000679365    Sony Music Entertainment
2316 Charlie Wilson                               My Girl Is A Dime                                  SR0000679365    Sony Music Entertainment
2317 Charlie Wilson                               Never Got Enough                                   SR0000679365    Sony Music Entertainment
2318 Charlie Wilson                               One And Forever                                    SR0000679365    Sony Music Entertainment
2319 Charlie Wilson                               Where Would I Be                                   SR0000679365    Sony Music Entertainment
2320 Charlie Wilson                               You Are                                            SR0000679365    Sony Music Entertainment
2321 Charlie Wilson Featuring Fantasia            I Wanna Be Your Man                                SR0000679365    Sony Music Entertainment
2322 Cher Lloyd                                   Swagger Jagger                                     SR0000724733    Sony Music Entertainment
2323 Cher Lloyd                                   Want U Back                                        SR0000724736    Sony Music Entertainment
2324 Chevelle                                     Closure                                            SR0000324184    Sony Music Entertainment
2325 Chevelle                                     Comfortable Liar                                   SR0000324184    Sony Music Entertainment
2326 Chevelle                                     Forfeit                                            SR0000324184    Sony Music Entertainment
2327 Chevelle                                     Get Some                                           SR0000363500    Sony Music Entertainment
2328 Chevelle                                     I Get It                                           SR0000407044    Sony Music Entertainment
2329 Chevelle                                     Panic Prone                                        SR0000363500    Sony Music Entertainment
2330 Chevelle                                     Send The Pain Below                                SR0000324184    Sony Music Entertainment
2331 Chevelle                                     Straight Jacket Fashion                            SR0000407044    Sony Music Entertainment
2332 Chevelle                                     The Clincher                                       SR0000363500    Sony Music Entertainment
2333 Chevelle                                     The Fad                                            SR0000407044    Sony Music Entertainment
2334 Chevelle                                     The Red                                            PA0001060682    Sony Music Entertainment
2335 Chevelle                                     Vitamin R (Leading Us Along)                       PA0001263996    Sony Music Entertainment
2336 Chipmunk Feat. Chris Brown                   Champion                                           SR0000751658    Sony Music Entertainment
2337 Chris Brown                                  2012                                               SR0000711816    Sony Music Entertainment
2338 Chris Brown                                  4 Years Old                                        SR0000711816    Sony Music Entertainment
2339 Chris Brown                                  All Back                                           SR0000679366    Sony Music Entertainment
2340 Chris Brown                                  Bassline                                           SR0000711816    Sony Music Entertainment
2341 Chris Brown                                  Beg For It                                         SR0000679366    Sony Music Entertainment
2342 Chris Brown                                  Biggest Fan                                        SR0000711816    Sony Music Entertainment
2343 Chris Brown                                  Don't Judge Me                                     SR0000711816    Sony Music Entertainment
2344 Chris Brown                                  Don't Wake Me Up                                   SR0000711816    Sony Music Entertainment
2345 Chris Brown                                  Free Run                                           SR0000711816    Sony Music Entertainment
2346 Chris Brown                                  Oh My Love                                         SR0000679366    Sony Music Entertainment
2347 Chris Brown                                  Say It With Me                                     SR0000679366    Sony Music Entertainment
2348 Chris Brown                                  She Ain't You                                      SR0000679366    Sony Music Entertainment
2349 Chris Brown                                  Should've Kissed You                               SR0000679366    Sony Music Entertainment
2350 Chris Brown                                  Strip                                              SR0000711816    Sony Music Entertainment
2351 Chris Brown                                  Stuck On Stupid                                    SR0000711816    Sony Music Entertainment
2352 Chris Brown                                  Sweet Love                                         SR0000711816    Sony Music Entertainment
2353 Chris Brown                                  Tell Somebody                                      SR0000711816    Sony Music Entertainment
2354 Chris Brown                                  Up To You                                          SR0000679366    Sony Music Entertainment
2355 Chris Brown                                  Wait For You                                       SR0000711816    Sony Music Entertainment
2356 Chris Brown                                  Yeah 3x                                            SR0000679366    Sony Music Entertainment
2357 Chris Brown feat. Benny Benassi              Beautiful People                                   SR0000679366    Sony Music Entertainment
2358 Chris Brown feat. Big Sean & Wiz Khalifa     Till I Die                                         SR0000711816    Sony Music Entertainment
2359 Chris Brown feat. Kevin McCall               No BS                                              SR0000679366    Sony Music Entertainment
2360 Chris Brown feat. Lil Wayne & Tyga           Loyal                                              SR0000760918    Sony Music Entertainment
2361 Chris Brown feat. Ludacris                   Wet The Bed                                        SR0000679366    Sony Music Entertainment
2362 Chris Brown feat. Nas                        Mirage                                             SR0000711816    Sony Music Entertainment
2363 Chris Brown feat. Nicki Minaj                Love More                                          SR0000726473    Sony Music Entertainment
2364 Chris Brown feat. Sabrina Antionette         Trumpet Lights                                     SR0000711816    Sony Music Entertainment
2365 Chris Brown feat. Sevyn                      Party Hard / Cadillac (Interlude)                  SR0000711816    Sony Music Entertainment
2366 Chris Brown feat. Sevyn                      Remember My Name                                   SR0000711816    Sony Music Entertainment
2367 Chris Brown feat. Sevyn                      Touch Me                                           SR0000711816    Sony Music Entertainment
2368 Chris Brown feat. Wiz Khalifa                Bomb                                               SR0000679366    Sony Music Entertainment
2369 Chris Brown featuring B.o.B                  Get Down (Rarities & B-Sides)                      SR0000708122    Sony Music Entertainment
2370 Chris Brown featuring Eva Simons             Love The Girls                                     SR0000679366    Sony Music Entertainment



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                         Artist                                                  Track                     Reg. No.                Plaintiff
2371 Chris Brown featuring Eva Simons             Pass Out                                            SR0000747286    Sony Music Entertainment
2372 Chris Brown featuring Justin Bieber          Next To You                                         SR0000679366    Sony Music Entertainment
     Chris Brown featuring Lil Wayne & Busta
2373                                              Look At Me Now                                      SR0000677541    Sony Music Entertainment
     Rhymes
     Chris Brown featuring Lil Wayne & Swizz
2374                                              I Can Transform Ya                                  SR0000747284    Sony Music Entertainment
     Beatz
     Chris Brown featuring Tyga & Kevin
2375                                              Deuces                                              SR0000679366    Sony Music Entertainment
     McCall
2376 Chris Young                                  A.M.                                                SR0000726878    Sony Music Entertainment
2377 Chris Young                                  Aw Naw                                              SR0000726910    Sony Music Entertainment
2378 Chris Young                                  Forgiveness                                         SR0000726878    Sony Music Entertainment
2379 Chris Young                                  Goodbye                                             SR0000736687    Sony Music Entertainment
2380 Chris Young                                  Hold You To It                                      SR0000726878    Sony Music Entertainment
2381 Chris Young                                  Lighters In the Air                                 SR0000726878    Sony Music Entertainment
2382 Chris Young                                  Nothin' But the Cooler Left                         SR0000726878    Sony Music Entertainment
2383 Chris Young                                  Text Me Texas                                       SR0000726878    Sony Music Entertainment
2384 Chris Young                                  We're Gonna Find It Tonight                         SR0000726878    Sony Music Entertainment
2385 Chris Young                                  Who I Am With You                                   SR0000726878    Sony Music Entertainment
2386 Ciara                                        Body Party                                          SR0000724526    Sony Music Entertainment
2387 Ciara                                        Ciara To The Stage                                  SR0000631011    Sony Music Entertainment
2388 Ciara                                        G Is For Girl (A-Z)                                 SR0000631011    Sony Music Entertainment
2389 Ciara                                        I Don't Remember                                    SR0000631011    Sony Music Entertainment
2390 Ciara                                        Keep Dancin' On Me                                  SR0000631011    Sony Music Entertainment
2391 Ciara                                        Like A Surgeon                                      SR0000631011    Sony Music Entertainment
2392 Ciara                                        Never Ever                                          SR0000631011    Sony Music Entertainment
2393 Ciara                                        Pucker Up                                           SR0000631011    Sony Music Entertainment
2394 Ciara                                        Ride                                                SR0000671337    Sony Music Entertainment
2395 Ciara                                        So Hard                                             SR0000757150    Sony Music Entertainment
2396 Ciara                                        Speechless                                          SR0000671337    Sony Music Entertainment
2397 Ciara                                        Tell Me What Your Name Is                           SR0000631011    Sony Music Entertainment
2398 Ciara feat. Chris Brown                      Turntables                                          SR0000631011    Sony Music Entertainment
2399 Ciara feat. Ludacris                         High Price                                          SR0000631011    Sony Music Entertainment
2400 Ciara feat. Nicki Minaj                      I'm Out                                             SR0000724534    Sony Music Entertainment
2401 Ciara feat. The-Dream                        Lover's Thing                                       SR0000631011    Sony Music Entertainment
2402 Ciara Featuring Justin Timberlake            Love Sex Magic                                      SR0000631011    Sony Music Entertainment
2403 Clash                                        I Fought The Law                                    SR0000013444    Sony Music Entertainment
2404 Clash                                        Should I Stay Or Should I Go                        SR0000034959    Sony Music Entertainment
2405 Crossfade                                    Cold                                                SR0000697112    Sony Music Entertainment
2406 Crossfade                                    Colors                                              SR0000354126    Sony Music Entertainment
2407 Crossfade                                    Dead Skin                                           SR0000354126    Sony Music Entertainment
2408 Crossfade                                    Death Trend Setta                                   SR0000354126    Sony Music Entertainment
2409 Crossfade                                    Disco                                               SR0000354126    Sony Music Entertainment
2410 Crossfade                                    No Giving Up                                        SR0000354126    Sony Music Entertainment
2411 Crossfade                                    So Far Away                                         SR0000354126    Sony Music Entertainment
2412 Crossfade                                    Starless                                            SR0000354126    Sony Music Entertainment
2413 Crossfade                                    The Deep End                                        SR0000354126    Sony Music Entertainment
2414 Crossfade                                    The Unknown                                         SR0000354126    Sony Music Entertainment
2415 Cypress Hill                                 (Rock) Superstar                                    SR0000287128    Sony Music Entertainment
2416 Cypress Hill                                 Can't Get the Best of Me                            SR0000287128    Sony Music Entertainment
2417 Cypress Hill                                 Dr. Greenthumb                                      SR0000263930    Sony Music Entertainment
2418 Cypress Hill                                 EZ Come EZ Go                                       SR0000384639    Sony Music Entertainment
2419 Cypress Hill                                 Hand On The Pump                                    SR0000134573    Sony Music Entertainment
2420 Cypress Hill                                 Tequila Sunrise                                     SR0000263930    Sony Music Entertainment
2421 Cypress Hill                                 The Only Way                                        SR0000384639    Sony Music Entertainment
2422 Cypress Hill                                 Throw Your Set In The Air                           SR0000215690    Sony Music Entertainment
2423 Cypress Hill featuring Tego Calderon         Latin Thugs                                         SR0000354123    Sony Music Entertainment
2424 Darren Hayes of Savage Garden                California                                          SR0000386428    Sony Music Entertainment
2425 Darren Hayes of Savage Garden                So Beautiful                                        SR0000386428    Sony Music Entertainment
2426 Daughtry                                     All These Lives                                     SR0000399960    Sony Music Entertainment
2427 Daughtry                                     Breakdown                                           SR0000399960    Sony Music Entertainment
2428 Daughtry                                     Crashed                                             SR0000399960    Sony Music Entertainment
2429 Daughtry                                     Crawling Back to You                                SR0000715606    Sony Music Entertainment
2430 Daughtry                                     Feels Like Tonight                                  SR0000399960    Sony Music Entertainment
2431 Daughtry                                     Gone                                                SR0000399960    Sony Music Entertainment
2432 Daughtry                                     Home                                                SR0000399960    Sony Music Entertainment
2433 Daughtry                                     It's Not Over                                       SR0000399960    Sony Music Entertainment
2434 Daughtry                                     Over You                                            SR0000399960    Sony Music Entertainment
2435 Daughtry                                     There And Back Again                                SR0000399960    Sony Music Entertainment



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                        Artist                                                Track                      Reg. No.                Plaintiff
2436 Daughtry                                     Used To                                           SR0000399960    Sony Music Entertainment
2437 Daughtry                                     What About Now                                    SR0000399960    Sony Music Entertainment
2438 Daughtry                                     What I Want                                       SR0000399960    Sony Music Entertainment
2439 Dave Matthews Band                           American Baby                                     SR0000719468    Sony Music Entertainment
2440 Destiny's Child                              Dangerously In Love                               SR0000289199    Sony Music Entertainment
2441 Dixie Chicks                                 Bitter End                                        SR0000391109    Sony Music Entertainment
2442 Dixie Chicks                                 Cowboy Take Me Away                               SR0000275086    Sony Music Entertainment
2443 Dixie Chicks                                 Easy Silence                                      SR0000391109    Sony Music Entertainment
2444 Dixie Chicks                                 Everybody Knows                                   SR0000391109    Sony Music Entertainment
2445 Dixie Chicks                                 Give It Up Or Let Me Go                           SR0000252000    Sony Music Entertainment
2446 Dixie Chicks                                 Goodbye Earl                                      SR0000275086    Sony Music Entertainment
2447 Dixie Chicks                                 Heartbreak Town                                   SR0000275086    Sony Music Entertainment
2448 Dixie Chicks                                 I Believe in Love                                 SR0000314722    Sony Music Entertainment
2449 Dixie Chicks                                 I Can Love You Better                             SR0000252000    Sony Music Entertainment
2450 Dixie Chicks                                 Landslide                                         SR0000314722    Sony Music Entertainment
2451 Dixie Chicks                                 Let Him Fly                                       SR0000275086    Sony Music Entertainment
2452 Dixie Chicks                                 Lil' Jack Slade                                   SR0000314722    Sony Music Entertainment
2453 Dixie Chicks                                 Lubbock or Leave It                               SR0000391109    Sony Music Entertainment
2454 Dixie Chicks                                 Lullaby                                           SR0000391109    Sony Music Entertainment
2455 Dixie Chicks                                 Not Ready To Make Nice                            SR0000697321    Sony Music Entertainment
2456 Dixie Chicks                                 Ready To Run                                      SR0000309667    Sony Music Entertainment
2457 Dixie Chicks                                 Silent House                                      SR0000391109    Sony Music Entertainment
2458 Dixie Chicks                                 Sin Wagon                                         SR0000275086    Sony Music Entertainment
2459 Dixie Chicks                                 Some Days You Gotta Dance                         SR0000275086    Sony Music Entertainment
2460 Dixie Chicks                                 The Long Way Around                               SR0000391109    Sony Music Entertainment
2461 Dixie Chicks                                 There's Your Trouble                              SR0000252000    Sony Music Entertainment
2462 Dixie Chicks                                 Tonight the Heartache's on Me                     SR0000252000    Sony Music Entertainment
2463 Dixie Chicks                                 Top of the World                                  SR0000314722    Sony Music Entertainment
2464 Dixie Chicks                                 Travelin' Soldier                                 SR0000314722    Sony Music Entertainment
2465 Dixie Chicks                                 Truth No. 2                                       SR0000314722    Sony Music Entertainment
2466 Dixie Chicks                                 White Trash Wedding                               SR0000314722    Sony Music Entertainment
2467 Dixie Chicks                                 Wide Open Spaces                                  SR0000252000    Sony Music Entertainment
2468 Dixie Chicks                                 Without You                                       SR0000275086    Sony Music Entertainment
2469 Dixie Chicks                                 You Were Mine                                     SR0000252000    Sony Music Entertainment
2470 Eddie Money                                  Baby Hold On                                      RE0000923174    Sony Music Entertainment
2471 Eddie Money                                  I Wanna Go Back                                   SR0000071987    Sony Music Entertainment
2472 Eddie Money                                  Looking Through The Eyes Of A Child               SR0000109485    Sony Music Entertainment
2473 Eddie Money                                  No Control                                        SR0000038050    Sony Music Entertainment
2474 Eddie Money                                  Peace in Our Time                                 SR0000109485    Sony Music Entertainment
2475 Eddie Money                                  Shakin'                                           SR0000038050    Sony Music Entertainment
2476 Eddie Money                                  Stop Steppin' On My Heart                         SR0000109485    Sony Music Entertainment
2477 Eddie Money                                  Think I'm In Love                                 SR0000038226    Sony Music Entertainment
2478 Eddie Money                                  Two Tickets To Paradise                           RE0000923174    Sony Music Entertainment
2479 Eddie Money                                  We Should Be Sleeping                             SR0000071987    Sony Music Entertainment
2480 Eddie Money                                  Where's The Party?                                SR0000050822    Sony Music Entertainment
2481 Electric Light Orchestra                     Across the Border                                 N46612          Sony Music Entertainment
2482 Electric Light Orchestra                     Confusion                                         SR0000012943    Sony Music Entertainment
2483 Electric Light Orchestra                     Do Ya                                             N36991          Sony Music Entertainment
2484 Electric Light Orchestra                     Don't Bring Me Down                               SR0000012943    Sony Music Entertainment
2485 Electric Light Orchestra                     Evil Woman                                        N27257          Sony Music Entertainment
2486 Electric Light Orchestra                     Four Little Diamonds                              SR0000046784    Sony Music Entertainment
2487 Electric Light Orchestra                     Getting to the Point                              SR0000070477    Sony Music Entertainment
2488 Electric Light Orchestra                     Here Is the News                                  SR0000030537    Sony Music Entertainment
2489 Electric Light Orchestra                     Illusions In G Major                              N19100          Sony Music Entertainment
2490 Electric Light Orchestra                     Last Train to London                              SR0000012943    Sony Music Entertainment
2491 Electric Light Orchestra                     Livin' Thing                                      N36991          Sony Music Entertainment
2492 Electric Light Orchestra                     Ma Ma Ma Belle                                    N11365          Sony Music Entertainment
2493 Electric Light Orchestra                     Mr Blue Sky                                       N46612          Sony Music Entertainment
2494 Electric Light Orchestra                     Nightrider                                        N27257          Sony Music Entertainment
2495 Electric Light Orchestra                     Rockaria!                                         N36991          Sony Music Entertainment
2496 Electric Light Orchestra                     Secret Messages                                   SR0000046784    Sony Music Entertainment
2497 Electric Light Orchestra                     Shine a Little Love                               SR0000009161    Sony Music Entertainment
2498 Electric Light Orchestra                     Showdown                                          N11365          Sony Music Entertainment
2499 Electric Light Orchestra                     So Serious                                        SR0000070477    Sony Music Entertainment
2500 Electric Light Orchestra                     Strange Magic                                     N27257          Sony Music Entertainment
2501 Electric Light Orchestra                     Sweet Talkin' Woman                               N46612          Sony Music Entertainment
2502 Electric Light Orchestra                     Telephone Line                                    N36991          Sony Music Entertainment
2503 Electric Light Orchestra                     The Diary Of Horace Wimp                          SR0000012943    Sony Music Entertainment



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                                                                    EXHIBIT A - SOUND RECORDINGS

                        Artist                                               Track                      Reg. No.                Plaintiff
2504 Electric Light Orchestra                     The Way Life's Meant To Be                       SR0000030537    Sony Music Entertainment
2505 Electric Light Orchestra                     TICKET TO THE MOON                               SR0000030537    Sony Music Entertainment
2506 Electric Light Orchestra                     Turn To Stone                                    N46612          Sony Music Entertainment
2507 Electric Light Orchestra                     Twilight                                         SR0000030537    Sony Music Entertainment
2508 Electric Light Orchestra                     Wild West Hero                                   N46612          Sony Music Entertainment
2509 Elle Varner                                  Damn Good Friends                                SR0000721189    Sony Music Entertainment
2510 Elle Varner                                  Leaf                                             SR0000721189    Sony Music Entertainment
2511 Elle Varner                                  Not Tonight                                      SR0000721189    Sony Music Entertainment
2512 Elle Varner                                  Oh What A Night                                  SR0000721189    Sony Music Entertainment
2513 Elle Varner                                  Refill                                           SR0000721190    Sony Music Entertainment
2514 Elle Varner                                  So Fly                                           SR0000721187    Sony Music Entertainment
2515 Elle Varner                                  Sound Proof Room                                 SR0000721189    Sony Music Entertainment
2516 Elle Varner                                  Stop The Clock                                   SR0000721189    Sony Music Entertainment
2517 Elle Varner                                  Welcome Home                                     SR0000721189    Sony Music Entertainment
2518 Elle Varner Featuring J. Cole                Only Wanna Give It To You                        SR0000721192    Sony Music Entertainment
2519 Emblem3                                      3000 Miles                                       SR0000726978    Sony Music Entertainment
2520 Emblem3                                      Chloe (You're The One I Want)                    SR0000726979    Sony Music Entertainment
2521 Emblem3                                      Do It All Again                                  SR0000726978    Sony Music Entertainment
2522 Emblem3                                      Girl Next Door                                   SR0000726978    Sony Music Entertainment
2523 Emblem3                                      I Love LA                                        SR0000726978    Sony Music Entertainment
2524 Emblem3                                      I Wish                                           SR0000726978    Sony Music Entertainment
2525 Emblem3                                      Jaiden                                           SR0000726978    Sony Music Entertainment
2526 Emblem3                                      Just For One Day                                 SR0000726978    Sony Music Entertainment
2527 Emblem3                                      Nothing To Lose                                  SR0000726978    Sony Music Entertainment
2528 Emblem3                                      One Day                                          SR0000726978    Sony Music Entertainment
2529 Emblem3                                      Reason                                           SR0000726978    Sony Music Entertainment
2530 Emblem3                                      Spaghetti                                        SR0000726978    Sony Music Entertainment
2531 Emblem3                                      Sunset Blvd                                      SR0000726978    Sony Music Entertainment
2532 Emblem3                                      Teenage Kings                                    SR0000726978    Sony Music Entertainment
2533 Emblem3                                      XO                                               SR0000726978    Sony Music Entertainment
2534 Europe                                       Carrie                                           SR0000076395    Sony Music Entertainment
2535 Europe                                       Cherokee                                         SR0000076395    Sony Music Entertainment
2536 Europe                                       Danger On the Track                              SR0000076395    Sony Music Entertainment
2537 Europe                                       Danger On The Track (Live)                       SR0000076395    Sony Music Entertainment
2538 Europe                                       Heart Of Stone                                   SR0000076395    Sony Music Entertainment
2539 Europe                                       Love Chaser                                      SR0000076395    Sony Music Entertainment
2540 Europe                                       Ninja                                            SR0000076395    Sony Music Entertainment
2541 Europe                                       On The Loose                                     SR0000076395    Sony Music Entertainment
2542 Europe                                       Rock the Night                                   SR0000076395    Sony Music Entertainment
2543 Europe                                       The Final Countdown                              SR0000076395    Sony Music Entertainment
2544 Europe                                       Time Has Come                                    SR0000076395    Sony Music Entertainment
2545 Fabulous Thunderbirds                        Amnesia                                          SR0000076616    Sony Music Entertainment
2546 Fabulous Thunderbirds                        Down At Antwones                                 SR0000076616    Sony Music Entertainment
2547 Fabulous Thunderbirds                        I Don't Care                                     SR0000076616    Sony Music Entertainment
2548 Fabulous Thunderbirds                        Tell Me                                          SR0000076616    Sony Music Entertainment
2549 Fabulous Thunderbirds                        True Love                                        SR0000076616    Sony Music Entertainment
2550 Fabulous Thunderbirds                        Tuff Enuff                                       SR0000076616    Sony Music Entertainment
2551 Fifth Harmony                                BO$$                                             SR0000768358    Sony Music Entertainment
2552 Foo Fighters                                 Ain't It The Life                                SR0000285034    Sony Music Entertainment
2553 Foo Fighters                                 All My Life (Edit)                               SR0000325862    Sony Music Entertainment
2554 Foo Fighters                                 Another Round                                    SR0000377762    Sony Music Entertainment
2555 Foo Fighters                                 Aurora                                           SR0000285034    Sony Music Entertainment
2556 Foo Fighters                                 Ballad Of The Beaconsfield Miners                SR0000617325    Sony Music Entertainment
2557 Foo Fighters                                 Best Of You                                      SR0000734391    Sony Music Entertainment
2558 Foo Fighters                                 Breakout                                         SR0000285034    Sony Music Entertainment
2559 Foo Fighters                                 But, Honestly                                    SR0000617325    Sony Music Entertainment
2560 Foo Fighters                                 Cheer Up, Boys (Your Make Up Is Running)         SR0000617325    Sony Music Entertainment
2561 Foo Fighters                                 Cold Day In The Sun                              SR0000377762    Sony Music Entertainment
2562 Foo Fighters                                 Come Alive                                       SR0000617325    Sony Music Entertainment
2563 Foo Fighters                                 Danny Says                                       SR0000325862    Sony Music Entertainment
2564 Foo Fighters                                 DOA                                              SR0000377762    Sony Music Entertainment
2565 Foo Fighters                                 Doll                                             SR0000297253    Sony Music Entertainment
2566 Foo Fighters                                 End Over End                                     SR0000377762    Sony Music Entertainment
2567 Foo Fighters                                 Enough Space                                     SR0000297253    Sony Music Entertainment
2568 Foo Fighters                                 Everlong                                         SR0000297253    Sony Music Entertainment
2569 Foo Fighters                                 February Stars                                   SR0000297253    Sony Music Entertainment
2570 Foo Fighters                                 Free Me                                          SR0000377762    Sony Music Entertainment
2571 Foo Fighters                                 Friend Of A Friend                               SR0000377762    Sony Music Entertainment



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                                                                    EXHIBIT A - SOUND RECORDINGS

                         Artist                                               Track                     Reg. No.                Plaintiff
2572 Foo Fighters                                 Generator                                        SR0000285034    Sony Music Entertainment
2573 Foo Fighters                                 Gimme Stitches                                   SR0000285034    Sony Music Entertainment
2574 Foo Fighters                                 Headwires                                        SR0000285034    Sony Music Entertainment
2575 Foo Fighters                                 Hell                                             SR0000377762    Sony Music Entertainment
2576 Foo Fighters                                 Hey, Johnny Park!                                SR0000297253    Sony Music Entertainment
2577 Foo Fighters                                 Home                                             SR0000617325    Sony Music Entertainment
2578 Foo Fighters                                 In Your Honor                                    SR0000377762    Sony Music Entertainment
2579 Foo Fighters                                 Learn To Fly                                     SR0000285034    Sony Music Entertainment
2580 Foo Fighters                                 Let It Die                                       SR0000617325    Sony Music Entertainment
2581 Foo Fighters                                 Live-In Skin                                     SR0000285034    Sony Music Entertainment
2582 Foo Fighters                                 Long Road To Ruin                                SR0000617325    Sony Music Entertainment
2583 Foo Fighters                                 M.I.A.                                           SR0000285034    Sony Music Entertainment
2584 Foo Fighters                                 Marigold                                         SR0000396409    Sony Music Entertainment
2585 Foo Fighters                                 Miracle                                          SR0000377762    Sony Music Entertainment
2586 Foo Fighters                                 Monkey Wrench                                    SR0000297253    Sony Music Entertainment
2587 Foo Fighters                                 My Hero                                          SR0000297253    Sony Music Entertainment
2588 Foo Fighters                                 My Hero (Live)                                   SR0000396409    Sony Music Entertainment
2589 Foo Fighters                                 My Poor Brain                                    SR0000297253    Sony Music Entertainment
2590 Foo Fighters                                 New Way Home                                     SR0000297253    Sony Music Entertainment
2591 Foo Fighters                                 Next Year                                        SR0000285034    Sony Music Entertainment
2592 Foo Fighters                                 No Way Back                                      SR0000377762    Sony Music Entertainment
2593 Foo Fighters                                 On The Mend                                      SR0000377762    Sony Music Entertainment
2594 Foo Fighters                                 Once & For All (Demo)                            SR0000617325    Sony Music Entertainment
2595 Foo Fighters                                 Over And Out                                     SR0000377762    Sony Music Entertainment
2596 Foo Fighters                                 Razor                                            SR0000396409    Sony Music Entertainment
2597 Foo Fighters                                 Resolve                                          SR0000377762    Sony Music Entertainment
2598 Foo Fighters                                 See You                                          SR0000297253    Sony Music Entertainment
2599 Foo Fighters                                 Skin And Bones                                   SR0000396409    Sony Music Entertainment
2600 Foo Fighters                                 Stacked Actors                                   SR0000285034    Sony Music Entertainment
2601 Foo Fighters                                 Statues                                          SR0000617325    Sony Music Entertainment
2602 Foo Fighters                                 Still                                            SR0000377762    Sony Music Entertainment
2603 Foo Fighters                                 Stranger Things Have Happened                    SR0000617325    Sony Music Entertainment
2604 Foo Fighters                                 Summer's End                                     SR0000617325    Sony Music Entertainment
2605 Foo Fighters                                 The Deepest Blues Are Black                      SR0000377762    Sony Music Entertainment
2606 Foo Fighters                                 The Last Song                                    SR0000377762    Sony Music Entertainment
2607 Foo Fighters                                 The Pretender                                    SR0000748786    Sony Music Entertainment
2608 Foo Fighters                                 Up In Arms                                       SR0000297253    Sony Music Entertainment
2609 Foo Fighters                                 Virginia Moon                                    SR0000377762    Sony Music Entertainment
2610 Foo Fighters                                 Walking After You                                SR0000297253    Sony Music Entertainment
2611 Foo Fighters                                 What If I Do?                                    SR0000377762    Sony Music Entertainment
2612 Foo Fighters                                 Wheels                                           SR0000636262    Sony Music Entertainment
2613 Foo Fighters                                 Wind Up                                          SR0000297253    Sony Music Entertainment
2614 Foo Fighters                                 Word Forward                                     SR0000636262    Sony Music Entertainment
2615 Foster The People                            Call It What You Want                            SR0000752474    Sony Music Entertainment
2616 Foster The People                            Chin Music For The Unsuspecting Hero             SR0000754312    Sony Music Entertainment
2617 Foster The People                            Don't Stop (Color on the Walls)                  SR0000752474    Sony Music Entertainment
2618 Foster The People                            Helena Beat - Behind The Scenes                  PA0001897876    Sony Music Entertainment
2619 Foster The People                            Houdini                                          SR0000752475    Sony Music Entertainment
2620 Foster The People                            I Would Do Anything For You                      SR0000752474    Sony Music Entertainment
2621 Foster The People                            Life on the Nickel                               SR0000752474    Sony Music Entertainment
2622 Foster The People                            Love                                             SR0000742408    Sony Music Entertainment
2623 Foster The People                            Miss You                                         SR0000752474    Sony Music Entertainment
2624 Foster The People                            Pumped Up Kicks                                  SR0000754312    Sony Music Entertainment
2625 Foster The People                            Warrant                                          SR0000752474    Sony Music Entertainment
2626 Foster The People                            Waste                                            SR0000752474    Sony Music Entertainment
2627 Fozzy                                        A Passed Life                                    SR0000726755    Sony Music Entertainment
2628 Fozzy                                        Blood Happens                                    SR0000726755    Sony Music Entertainment
2629 Fozzy                                        Dark Passenger                                   SR0000726755    Sony Music Entertainment
2630 Fozzy                                        Inside My Head                                   SR0000726755    Sony Music Entertainment
2631 Fozzy                                        Sandpaper                                        SR0000726755    Sony Music Entertainment
2632 Fozzy                                        She's My Addiction                               SR0000726755    Sony Music Entertainment
2633 Fozzy                                        Shine Forever                                    SR0000726755    Sony Music Entertainment
2634 Fozzy                                        Sin and Bones                                    SR0000726755    Sony Music Entertainment
2635 Fozzy                                        Spider in My Mouth                               SR0000726755    Sony Music Entertainment
2636 Fozzy                                        Storm the Beaches                                SR0000726755    Sony Music Entertainment
2637 Fuel                                         Again                                            SR0000616497    Sony Music Entertainment
2638 Fuel                                         Angels Take a Soul                               SR0000616497    Sony Music Entertainment
2639 Fuel                                         Bad Day                                          SR0000269920    Sony Music Entertainment



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                        Artist                                               Track                     Reg. No.                Plaintiff
2640 Fuel                                         Days With You                                   SR0000342237    Sony Music Entertainment
2641 Fuel                                         Die Like This                                   SR0000342237    Sony Music Entertainment
2642 Fuel                                         Down                                            SR0000269920    Sony Music Entertainment
2643 Fuel                                         Down Inside Of You                              SR0000342237    Sony Music Entertainment
2644 Fuel                                         Easy                                            SR0000269920    Sony Music Entertainment
2645 Fuel                                         Empty Spaces                                    SR0000269920    Sony Music Entertainment
2646 Fuel                                         Falls On Me                                     PA0001234071    Sony Music Entertainment
2647 Fuel                                         Forever                                         SR0000616497    Sony Music Entertainment
2648 Fuel                                         Getting Thru?                                   SR0000342237    Sony Music Entertainment
2649 Fuel                                         Gone                                            SR0000616497    Sony Music Entertainment
2650 Fuel                                         Halos of the Son                                SR0000616497    Sony Music Entertainment
2651 Fuel                                         Hangin Round                                    SR0000616497    Sony Music Entertainment
2652 Fuel                                         I Should Have Told You                          SR0000616497    Sony Music Entertainment
2653 Fuel                                         Innocent                                        SR0000269920    Sony Music Entertainment
2654 Fuel                                         Jesus Or A Gun                                  PA0000939885    Sony Music Entertainment
2655 Fuel                                         Knives                                          SR0000269920    Sony Music Entertainment
2656 Fuel                                         Last Time                                       SR0000269920    Sony Music Entertainment
2657 Fuel                                         Leave the Memories Alone                        SR0000616497    Sony Music Entertainment
2658 Fuel                                         Luck                                            SR0000342237    Sony Music Entertainment
2659 Fuel                                         Million Miles                                   SR0000342237    Sony Music Entertainment
2660 Fuel                                         Most Of All                                     SR0000342237    Sony Music Entertainment
2661 Fuel                                         Not This Time                                   SR0000616497    Sony Music Entertainment
2662 Fuel                                         Prove                                           SR0000269920    Sony Music Entertainment
2663 Fuel                                         Quarter                                         SR0000342237    Sony Music Entertainment
2664 Fuel                                         Running Away                                    SR0000342237    Sony Music Entertainment
2665 Fuel                                         Scar                                            SR0000269920    Sony Music Entertainment
2666 Fuel                                         Scars in the Making                             SR0000616497    Sony Music Entertainment
2667 Fuel                                         Shimmer                                         SR0000253431    Sony Music Entertainment
2668 Fuel                                         Slow                                            SR0000269920    Sony Music Entertainment
2669 Fuel                                         Solace                                          SR0000269920    Sony Music Entertainment
2670 Fuel                                         Sunburn                                         SR0000253431    Sony Music Entertainment
2671 Fuel                                         These Things                                    SR0000342237    Sony Music Entertainment
2672 Fuel                                         Wasted Time                                     SR0000616497    Sony Music Entertainment
2673 Fuel 238                                     Hideaway                                        SR0000253431    Sony Music Entertainment
2674 Fuel 238                                     Mary Pretends                                   SR0000253431    Sony Music Entertainment
2675 Fuel 238                                     New Thing                                       SR0000253431    Sony Music Entertainment
2676 Fuel 238                                     Ozone                                           SR0000253431    Sony Music Entertainment
2677 Fuel 238                                     Song For You                                    SR0000253431    Sony Music Entertainment
2678 Fuel 238                                     Untitled**                                      SR0000253431    Sony Music Entertainment
2679 Fugees                                       Manifest/Outro                                  SR0000222005    Sony Music Entertainment
2680 Fugees                                       Mista Mista                                     SR0000222005    Sony Music Entertainment
2681 Fugees                                       No Woman No Cry                                 SR0000222005    Sony Music Entertainment
2682 Fugees                                       Ready Or Not                                    SR0000222005    Sony Music Entertainment
2683 Fugees                                       Red Intro                                       SR0000222005    Sony Music Entertainment
2684 Fugees                                       The Score                                       SR0000222005    Sony Music Entertainment
2685 Fugees                                       Zealots                                         SR0000222005    Sony Music Entertainment
2686 Future                                       Astronaut Chick                                 SR0000701457    Sony Music Entertainment
2687 Future                                       Neva End                                        SR0000701457    Sony Music Entertainment
2688 Future                                       Permanent Scar                                  SR0000701457    Sony Music Entertainment
2689 Future                                       Same Damn Time                                  SR0000701457    Sony Music Entertainment
2690 Future                                       Straight Up                                     SR0000701457    Sony Music Entertainment
2691 Future                                       Tony Montana                                    SR0000701457    Sony Music Entertainment
2692 Future                                       Truth Gonna Hurt You                            SR0000701457    Sony Music Entertainment
2693 Future                                       Turn On The Lights                              SR0000701457    Sony Music Entertainment
2694 Future                                       You Deserve It                                  SR0000701457    Sony Music Entertainment
2695 Future feat. Pharrell, Pusha T and Casino    Move That Doh                                   SR0000762576    Sony Music Entertainment
2696 Future feat. Pharrell, Pusha T and Casino    Move That Dope                                  SR0000762576    Sony Music Entertainment
2697 Future featuring Big Rube                    The Future Is Now                               SR0000701457    Sony Music Entertainment
2698 Future featuring Juicy J                     I'm Trippin                                     SR0000701457    Sony Music Entertainment
2699 Future featuring R. Kelly                    Parachute                                       SR0000701457    Sony Music Entertainment
2700 Future featuring Snoop Dogg                  Homicide                                        SR0000701457    Sony Music Entertainment
2701 Future featuring T.I.                        Magic                                           SR0000701457    Sony Music Entertainment
2702 Future featuring Trae The Truth              Long Live The Pimp                              SR0000701457    Sony Music Entertainment
2703 Garth Brooks                                 Dance, The                                      SR0000109121    Sony Music Entertainment
2704 Gavin DeGraw                                 Candy                                           SR0000412465    Sony Music Entertainment
2705 Gavin DeGraw                                 Radiation                                       SR0000412465    Sony Music Entertainment
2706 Gavin DeGraw                                 Run Every Time                                  SR0000412465    Sony Music Entertainment
2707 Gavin DeGraw                                 Spell It Out                                    SR0000412465    Sony Music Entertainment



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                      Artist                                                     Track                  Reg. No.                Plaintiff
2708 Gavin DeGraw                                 Stealing                                         SR0000412465    Sony Music Entertainment
2709 Gavin DeGraw                                 Sweeter                                          SR0000412465    Sony Music Entertainment
2710 Gavin DeGraw                                 Where You Are                                    SR0000412465    Sony Music Entertainment
2711 Gavin DeGraw                                 You Know Where I'm At                            SR0000412465    Sony Music Entertainment
2712 George Jones                                 He Stopped Loving Her Today                      SR0000018496    Sony Music Entertainment
2713 George Jones                                 I Always Get Lucky With You                      SR0000045294    Sony Music Entertainment
2714 George Jones                                 I'm A One Woman Man                              SR0000101829    Sony Music Entertainment
2715 George Jones                                 I've Aged Twenty Years In Five                   SR0000021788    Sony Music Entertainment
2716 George Jones                                 If Drinkin' Don't Kill Me (Her Memory Will)      SR0000021788    Sony Music Entertainment
2717 George Jones                                 Someday My Day Will Come                         SR0000010280    Sony Music Entertainment
2718 George Jones                                 Still Doin' Time                                 SR0000030506    Sony Music Entertainment
2719 George Jones                                 Tennessee Whiskey                                SR0000045294    Sony Music Entertainment
2720 George Jones                                 The One I Loved Back Then (The Corvette Song)    SR0000067238    Sony Music Entertainment
2721 George Jones                                 The Right Left Hand                              SR0000078097    Sony Music Entertainment
2722 George Jones                                 Who's Gonna Fill Their Shoes                     PA0000262395    Sony Music Entertainment
2723 George Jones                                 You've Still Got a Place In My Heart             SR0000055734    Sony Music Entertainment
2724 George Jones & Tammy Wynette                 Near You                                         RE0000905501    Sony Music Entertainment
2725 George Michael                               An Easier Affair                                 SR0000618251    Sony Music Entertainment
2726 George Michael                               Cowboys and Angels                               SR0000133600    Sony Music Entertainment
2727 George Michael                               Faith                                            SR0000799379    Sony Music Entertainment
2728 George Michael                               Father Figure                                    SR0000092432    Sony Music Entertainment
2729 George Michael                               Freedom! '90                                     SR0000133600    Sony Music Entertainment
2730 George Michael                               I Want Your Sex                                  SR0000092432    Sony Music Entertainment
2731 George Michael                               Kissing A Fool                                   SR0000092432    Sony Music Entertainment
2732 George Michael                               One More Try                                     SR0000092432    Sony Music Entertainment
2733 George Michael                               Praying For Time                                 SR0000133600    Sony Music Entertainment
2734 George Michael                               They Won't Go When I Go                          SR0000133600    Sony Music Entertainment
2735 Good Charlotte                               A New Beginning                                  SR0000309099    Sony Music Entertainment
2736 Good Charlotte                               Emotionless                                      SR0000309099    Sony Music Entertainment
2737 Good Charlotte                               Girls & Boys                                     SR0000309099    Sony Music Entertainment
2738 Good Charlotte                               Hold On                                          SR0000309099    Sony Music Entertainment
2739 Good Charlotte                               Movin' On                                        SR0000309099    Sony Music Entertainment
2740 Good Charlotte                               My Bloody Valentine                              SR0000309099    Sony Music Entertainment
2741 Good Charlotte                               Riot Girl                                        SR0000309099    Sony Music Entertainment
2742 Good Charlotte                               Say Anything                                     SR0000309099    Sony Music Entertainment
2743 Good Charlotte                               The Anthem                                       SR0000309099    Sony Music Entertainment
2744 Good Charlotte                               The Day That I Die                               SR0000309099    Sony Music Entertainment
2745 Good Charlotte                               The Story Of My Old Man                          SR0000309099    Sony Music Entertainment
2746 Good Charlotte                               The Young & The Hopeless                         SR0000309099    Sony Music Entertainment
2747 Good Charlotte                               Wondering                                        SR0000309099    Sony Music Entertainment
2748 Gossip                                       2012                                             SR0000643177    Sony Music Entertainment
2749 Gossip                                       8th Wonder                                       SR0000643177    Sony Music Entertainment
2750 Gossip                                       Dimestore Diamond                                SR0000643177    Sony Music Entertainment
2751 Gossip                                       For Keeps                                        SR0000643177    Sony Music Entertainment
2752 Gossip                                       Four Letter Word                                 SR0000643177    Sony Music Entertainment
2753 Gossip                                       Love and Let Love                                SR0000643177    Sony Music Entertainment
2754 Gossip                                       Love Long Distance                               SR0000643177    Sony Music Entertainment
2755 Gossip                                       Men In Love                                      SR0000643177    Sony Music Entertainment
2756 Gossip                                       Pop Goes the World                               SR0000643177    Sony Music Entertainment
2757 Gossip                                       Spare Me From The Mold                           SR0000643177    Sony Music Entertainment
2758 Gossip                                       The Breakdown                                    SR0000643177    Sony Music Entertainment
2759 Gossip                                       Vertical Rhythm                                  SR0000643177    Sony Music Entertainment
2760 Gretchen Wilson                              All Jacked Up                                    PA0001259117    Sony Music Entertainment
2761 Gretchen Wilson                              California Girls                                 SR0000388036    Sony Music Entertainment
2762 Gretchen Wilson                              Chariot                                          PA0001245662    Sony Music Entertainment
2763 Gretchen Wilson                              Here For The Party                               PA0001245662    Sony Music Entertainment
2764 Gretchen Wilson                              Holdin' You                                      PA0001245662    Sony Music Entertainment
2765 Gretchen Wilson                              Homewrecker                                      PA0001245662    Sony Music Entertainment
2766 Gretchen Wilson                              I Don't Feel Like Loving You Today               SR0000388036    Sony Music Entertainment
2767 Gretchen Wilson                              One Of The Boys                                  SR0000609494    Sony Music Entertainment
2768 Gretchen Wilson                              Pocahontas Proud                                 PA0001245662    Sony Music Entertainment
2769 Gretchen Wilson                              Politically Uncorrect                            SR0000388036    Sony Music Entertainment
2770 Gretchen Wilson                              Redneck Woman                                    PA0001233077    Sony Music Entertainment
2771 Gretchen Wilson                              The Bed                                          PA0001245662    Sony Music Entertainment
2772 Gretchen Wilson                              What Happened                                    PA0001245662    Sony Music Entertainment
2773 Gretchen Wilson                              When I Think About Cheatin'                      PA0001245662    Sony Music Entertainment
2774 Gretchen Wilson                              When It Rains                                    PA0001245662    Sony Music Entertainment
2775 Heatwave                                     Ain't No Half Steppin'                           SR0000004075    Sony Music Entertainment



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                       Artist                                                Track                      Reg. No.                Plaintiff
2776 Heatwave                                     All You Do Is Dial                               SR0000000875    Sony Music Entertainment
2777 Heatwave                                     Always And Forever                               SR0000000875    Sony Music Entertainment
2778 Heatwave                                     Boogie Nights                                    SR0000000875    Sony Music Entertainment
2779 Heatwave                                     Central Heating                                  SR0000005108    Sony Music Entertainment
2780 Heatwave                                     Eyeballin'                                       SR0000008717    Sony Music Entertainment
2781 Heatwave                                     Gangsters of the Groove                          SR0000023077    Sony Music Entertainment
2782 Heatwave                                     Happiness Togetherness                           SR0000005108    Sony Music Entertainment
2783 Heatwave                                     I'll Beat Your Booty                             SR0000000875    Sony Music Entertainment
2784 Heatwave                                     Lay It On Me                                     SR0000000875    Sony Music Entertainment
2785 Heatwave                                     Lettin' It Loose                                 SR0000041027    Sony Music Entertainment
2786 Heatwave                                     Look After Love                                  SR0000041402    Sony Music Entertainment
2787 Heatwave                                     Mind Blowing Decisions                           SR0000005108    Sony Music Entertainment
2788 Heatwave                                     Sho'Nuff Must Be Luv                             SR0000000875    Sony Music Entertainment
2789 Heatwave                                     The Groove Line                                  SR0000005108    Sony Music Entertainment
2790 Heatwave                                     Too Hot To Handle                                SR0000000875    Sony Music Entertainment
2791 Heatwave                                     Where Did I Go Wrong                             SR0000024332    Sony Music Entertainment
2792 Hot Chelle Rae                               Beautiful Freaks                                 SR0000412466    Sony Music Entertainment
2793 Hot Chelle Rae                               Downtown Girl                                    SR0000412466    Sony Music Entertainment
2794 Hot Chelle Rae                               Forever Unstoppable                              SR0000412466    Sony Music Entertainment
2795 Hot Chelle Rae                               Honestly                                         SR0000412466    Sony Music Entertainment
2796 Hot Chelle Rae                               Keep You With Me                                 SR0000412466    Sony Music Entertainment
2797 Hot Chelle Rae                               The Only One                                     SR0000412466    Sony Music Entertainment
2798 Hot Chelle Rae                               Tonight Tonight                                  SR0000412466    Sony Music Entertainment
2799 Hot Chelle Rae                               Whatever                                         SR0000412466    Sony Music Entertainment
2800 Hot Chelle Rae Featuring Bei Maejor          Radio                                            SR0000412466    Sony Music Entertainment
2801 Hot Chelle Rae Featuring Demi Lovato         Why Don't You Love Me                            SR0000412466    Sony Music Entertainment
2802 Hurricane Chris                              A Bay Bay                                        SR0000719410    Sony Music Entertainment
2803 In This Moment                               A Star-Crossed Wasteland                         SR0000669909    Sony Music Entertainment
2804 In This Moment                               Adrenalize                                       SR0000703747    Sony Music Entertainment
2805 In This Moment                               All For You                                      SR0000630468    Sony Music Entertainment
2806 In This Moment                               Aries                                            SR0000703747    Sony Music Entertainment
2807 In This Moment                               Ashes                                            SR0000610825    Sony Music Entertainment
2808 In This Moment                               Beast Within                                     SR0000703747    Sony Music Entertainment
2809 In This Moment                               Beautiful Tragedy                                SR0000610825    Sony Music Entertainment
2810 In This Moment                               Blazin'                                          SR0000669909    Sony Music Entertainment
2811 In This Moment                               Blood                                            SR0000703747    Sony Music Entertainment
2812 In This Moment                               Burn                                             SR0000703747    Sony Music Entertainment
2813 In This Moment                               Circles                                          SR0000610825    Sony Music Entertainment
2814 In This Moment                               Comanche                                         SR0000703747    Sony Music Entertainment
2815 In This Moment                               Forever                                          SR0000630468    Sony Music Entertainment
2816 In This Moment                               From the Ashes                                   SR0000703747    Sony Music Entertainment
2817 In This Moment                               Gunshow                                          SR0000669909    Sony Music Entertainment
2818 In This Moment                               He Said Eternity                                 SR0000610825    Sony Music Entertainment
2819 In This Moment                               Her Kiss                                         SR0000630468    Sony Music Entertainment
2820 In This Moment                               Into The Light                                   SR0000630468    Sony Music Entertainment
2821 In This Moment                               Iron Army                                        SR0000669909    Sony Music Entertainment
2822 In This Moment                               Just Drive                                       SR0000669909    Sony Music Entertainment
2823 In This Moment                               Legacy of Odio                                   SR0000610825    Sony Music Entertainment
2824 In This Moment                               Lost At Sea                                      SR0000630468    Sony Music Entertainment
2825 In This Moment                               Mechanical Love                                  SR0000630468    Sony Music Entertainment
2826 In This Moment                               Next Life                                        SR0000610825    Sony Music Entertainment
2827 In This Moment                               Prayers                                          SR0000610829    Sony Music Entertainment
2828 In This Moment                               Rise With Me                                     SR0000703747    Sony Music Entertainment
2829 In This Moment                               Scarlet                                          SR0000703747    Sony Music Entertainment
2830 In This Moment                               Standing Alone                                   SR0000669909    Sony Music Entertainment
2831 In This Moment                               The Blood Legion                                 SR0000703747    Sony Music Entertainment
2832 In This Moment                               The Dream                                        SR0000630468    Sony Music Entertainment
2833 In This Moment                               The Great Divide                                 SR0000630468    Sony Music Entertainment
2834 In This Moment                               The Last Cowboy                                  SR0000669909    Sony Music Entertainment
2835 In This Moment                               The Promise                                      SR0000669909    Sony Music Entertainment
2836 In This Moment                               The Rabbit Hole                                  SR0000630468    Sony Music Entertainment
2837 In This Moment                               The Road                                         SR0000669909    Sony Music Entertainment
2838 In This Moment                               This Moment                                      SR0000610825    Sony Music Entertainment
2839 In This Moment                               Violet Skies                                     SR0000630468    Sony Music Entertainment
2840 In This Moment                               When the Storm Subsides                          SR0000610825    Sony Music Entertainment
2841 In This Moment                               Whispers Of October                              SR0000610825    Sony Music Entertainment
2842 In This Moment                               Whore                                            SR0000703747    Sony Music Entertainment
2843 In This Moment                               World In Flames                                  SR0000669909    Sony Music Entertainment



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                       Artist                                               Track                       Reg. No.                Plaintiff
2844 In This Moment                               You Always Believed                              SR0000630468    Sony Music Entertainment
2845 In This Moment                               You're Gonna' Listen                             SR0000703747    Sony Music Entertainment
2846 Incubus                                      A Kiss to Send Us Off                            SR0000403204    Sony Music Entertainment
2847 Incubus                                      Anna Molly                                       SR0000742203    Sony Music Entertainment
2848 Incubus                                      Aqueous Transmission                             SR0000306181    Sony Music Entertainment
2849 Incubus                                      Are You In?                                      SR0000306181    Sony Music Entertainment
2850 Incubus                                      Battlestar Scralatchtica                         SR0000278818    Sony Music Entertainment
2851 Incubus                                      Blood on the Ground                              SR0000306181    Sony Music Entertainment
2852 Incubus                                      Circles                                          SR0000306181    Sony Music Entertainment
2853 Incubus                                      Clean                                            SR0000278818    Sony Music Entertainment
2854 Incubus                                      Consequence                                      SR0000278818    Sony Music Entertainment
2855 Incubus                                      Diamonds and Coal                                SR0000403204    Sony Music Entertainment
2856 Incubus                                      Dig                                              SR0000403204    Sony Music Entertainment
2857 Incubus                                      Drive                                            SR0000278818    Sony Music Entertainment
2858 Incubus                                      Earth To Bella (Part I)                          SR0000403204    Sony Music Entertainment
2859 Incubus                                      Earth To Bella (Part II)                         SR0000403204    Sony Music Entertainment
2860 Incubus                                      Earth to Bella, Pt. 1                            SR0000403204    Sony Music Entertainment
2861 Incubus                                      Earth to Bella, Pt. 2                            SR0000403204    Sony Music Entertainment
2862 Incubus                                      Echo                                             SR0000306181    Sony Music Entertainment
2863 Incubus                                      Have You Ever                                    SR0000306181    Sony Music Entertainment
2864 Incubus                                      I Miss You                                       SR0000278818    Sony Music Entertainment
2865 Incubus                                      Just a Phase                                     SR0000306181    Sony Music Entertainment
2866 Incubus                                      Light Grenades                                   SR0000403204    Sony Music Entertainment
2867 Incubus                                      Love Hurts                                       SR0000403204    Sony Music Entertainment
2868 Incubus                                      Magic Medicine                                   SR0000249690    Sony Music Entertainment
2869 Incubus                                      Make Yourself                                    SR0000278818    Sony Music Entertainment
2870 Incubus                                      Mexico                                           SR0000306181    Sony Music Entertainment
2871 Incubus                                      Nice To Know You                                 SR0000306181    Sony Music Entertainment
2872 Incubus                                      Nowhere Fast                                     SR0000278818    Sony Music Entertainment
2873 Incubus                                      Oil And Water                                    SR0000403204    Sony Music Entertainment
2874 Incubus                                      Out from Under                                   SR0000278818    Sony Music Entertainment
2875 Incubus                                      Paper Shoes                                      SR0000403204    Sony Music Entertainment
2876 Incubus                                      Pendulous Threads                                SR0000403204    Sony Music Entertainment
2877 Incubus                                      Privilege                                        SR0000278818    Sony Music Entertainment
2878 Incubus                                      Quicksand                                        SR0000403204    Sony Music Entertainment
2879 Incubus                                      Rogues                                           SR0000403204    Sony Music Entertainment
2880 Incubus                                      Stellar                                          SR0000278818    Sony Music Entertainment
2881 Incubus                                      Summer Romance (Anti-Gravity Love Song)          SR0000249690    Sony Music Entertainment
2882 Incubus                                      The Warmth                                       SR0000278818    Sony Music Entertainment
2883 Incubus                                      Under My Umbrella                                SR0000306181    Sony Music Entertainment
2884 Incubus                                      Warning                                          SR0000306181    Sony Music Entertainment
2885 Incubus                                      When It Comes                                    SR0000278818    Sony Music Entertainment
2886 Incubus                                      Wish You Were Here                               PA0001065849    Sony Music Entertainment
2887 Itzhak Perlman                               Theme from"Far and Away"                         SR0000247495    Sony Music Entertainment
2888 Itzhak Perlman;John Williams                 Schindler's List: Theme                          SR0000247495    Sony Music Entertainment
2889 iwrestledabearonce                           Break It Down Camacho                            SR0000697986    Sony Music Entertainment
2890 iwrestledabearonce                           Deodorant Can't Fix Ugly                         SR0000697986    Sony Music Entertainment
2891 iwrestledabearonce                           Gold Jacket, Green Jacket                        SR0000697986    Sony Music Entertainment
2892 iwrestledabearonce                           I'm Gonna Shoot                                  SR0000697986    Sony Music Entertainment
2893 iwrestledabearonce                           It Is "Bro" Isn't It?                            SR0000697986    Sony Music Entertainment
2894 iwrestledabearonce                           Karate Nipples                                   SR0000697986    Sony Music Entertainment
2895 iwrestledabearonce                           Next Visible Delicious                           SR0000697986    Sony Music Entertainment
2896 iwrestledabearonce                           Stay to the Right                                SR0000697986    Sony Music Entertainment
2897 iwrestledabearonce                           This Head Music Makes My Eyes Rain               SR0000697986    Sony Music Entertainment
2898 iwrestledabearonce                           You Know That Ain't Them Dogs' Real Voice        SR0000697986    Sony Music Entertainment
2899 J. Cole                                      Chaining Day                                     SR0000730319    Sony Music Entertainment
2900 J. Cole                                      Let Nas Down                                     SR0000730319    Sony Music Entertainment
2901 J. Cole                                      Mo Money (Interlude)                             SR0000730319    Sony Music Entertainment
2902 J. Cole                                      Power Trip                                       SR0000730319    Sony Music Entertainment
2903 J. Cole                                      Rich Niggaz                                      SR0000730319    Sony Music Entertainment
2904 J. Cole                                      Trouble                                          SR0000730319    Sony Music Entertainment
2905 J. Cole                                      Where's Jermaine? (Skit)                         SR0000730319    Sony Music Entertainment
2906 J. Cole feat. TLC                            Crooked Smile                                    SR0000730319    Sony Music Entertainment
2907 Jace Everett                                 Bad Things                                       SR0000385664    Sony Music Entertainment
2908 Jack White                                   Blunderbuss                                      SR0000699383    Sony Music Entertainment
2909 Jack White                                   Freedom At 21                                    SR0000699383    Sony Music Entertainment
2910 Jack White                                   Hip (Eponymous) Poor Boy                         SR0000699383    Sony Music Entertainment
2911 Jack White                                   Hypocritical Kiss                                SR0000699383    Sony Music Entertainment



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                       Artist                                                  Track                     Reg. No.                Plaintiff
2912 Jack White                                   I Guess I Should Go To Sleep                      SR0000699383    Sony Music Entertainment
2913 Jack White                                   I'm Shakin'                                       SR0000699383    Sony Music Entertainment
2914 Jack White                                   Love Interruption                                 SR0000699383    Sony Music Entertainment
2915 Jack White                                   Missing Pieces                                    SR0000699383    Sony Music Entertainment
2916 Jack White                                   On And On And On                                  SR0000699383    Sony Music Entertainment
2917 Jack White                                   Sixteen Saltines                                  SR0000699383    Sony Music Entertainment
2918 Jack White                                   Take Me With You When You Go                      SR0000699383    Sony Music Entertainment
2919 Jack White                                   Trash Tongue Talker                               SR0000699383    Sony Music Entertainment
2920 Jack White                                   Weep Themselves To Sleep                          SR0000699383    Sony Music Entertainment
2921 Jake Owen                                    Alone With You                                    SR0000697851    Sony Music Entertainment
2922 Jake Owen                                    Anywhere With You                                 SR0000697851    Sony Music Entertainment
2923 Jake Owen                                    Apple Pie Moonshine                               SR0000697851    Sony Music Entertainment
2924 Jake Owen                                    Barefoot Blue Jean Night                          SR0000697851    Sony Music Entertainment
2925 Jake Owen                                    Beachin'                                          SR0000737050    Sony Music Entertainment
2926 Jake Owen                                    Heaven                                            SR0000697851    Sony Music Entertainment
2927 Jake Owen                                    Keepin' It Country                                SR0000697851    Sony Music Entertainment
2928 Jake Owen                                    Nobody Feelin' No Pain                            SR0000697851    Sony Music Entertainment
2929 Jake Owen                                    Settin' The World On Fire                         SR0000697851    Sony Music Entertainment
2930 Jake Owen                                    The Journey Of Your Life                          SR0000697851    Sony Music Entertainment
2931 Jake Owen                                    The One That Got Away                             SR0000697851    Sony Music Entertainment
2932 Jake Owen                                    Wide Awake                                        SR0000697851    Sony Music Entertainment
2933 James Taylor                                 Bartender's Blues                                 SR0000000157    Sony Music Entertainment
2934 James Taylor                                 Only A Dream In Rio                               SR0000068536    Sony Music Entertainment
2935 James Taylor                                 Up On The Roof                                    SR0000009172    Sony Music Entertainment
2936 James Taylor                                 Your Smiling Face                                 RE0000923126    Sony Music Entertainment
2937 Jamie Foxx feat. Drake                       Fall For Your Type                                SR0000671348    Sony Music Entertainment
2938 Jamiroquai                                   Virtual Insanity                                  SR0000299909    Sony Music Entertainment
2939 Jennifer Hudson                              Angel                                             SR0000674220    Sony Music Entertainment
2940 Jennifer Hudson                              Believe                                           SR0000674220    Sony Music Entertainment
2941 Jennifer Hudson                              Don't Look Down                                   SR0000674220    Sony Music Entertainment
2942 Jennifer Hudson                              Everybody Needs Love                              SR0000674220    Sony Music Entertainment
2943 Jennifer Hudson                              Gone                                              SR0000674220    Sony Music Entertainment
2944 Jennifer Hudson                              I Got This                                        SR0000674220    Sony Music Entertainment
2945 Jennifer Hudson                              I Remember Me                                     SR0000674220    Sony Music Entertainment
2946 Jennifer Hudson                              No One Gonna Love You                             SR0000674220    Sony Music Entertainment
2947 Jennifer Hudson                              Still Here                                        SR0000674220    Sony Music Entertainment
2948 Jennifer Hudson                              Where You At                                      SR0000674220    Sony Music Entertainment
2949 Jennifer Hudson                              Why Is It So Hard                                 SR0000674220    Sony Music Entertainment
2950 Jennifer Hudson & Ne-Yo feat. Rick Ross      Think Like A Man                                  SR0000712017    Sony Music Entertainment
2951 Jennifer Lopez                               No Me Ames                                        SR0000267571    Sony Music Entertainment
2952 Jerrod Niemann                               Drink to That All Night                           SR0000738148    Sony Music Entertainment
2953 John Legend                                  Cross The Line                                    SR0000619653    Sony Music Entertainment
2954 John Legend                                  Everybody Knows                                   SR0000619653    Sony Music Entertainment
2955 John Legend                                  Good Morning                                      SR0000742202    Sony Music Entertainment
2956 John Legend                                  I Love, You Love                                  SR0000619653    Sony Music Entertainment
2957 John Legend                                  If You're Out There                               SR0000619653    Sony Music Entertainment
2958 John Legend                                  Quickly                                           SR0000619653    Sony Music Entertainment
2959 John Legend                                  Satisfaction                                      SR0000619653    Sony Music Entertainment
2960 John Legend                                  Take Me Away                                      SR0000619653    Sony Music Entertainment
2961 John Legend                                  This Time                                         SR0000619653    Sony Music Entertainment
2962 John Legend feat. Buju Banton                Can't Be My Lover                                 SR0000619653    Sony Music Entertainment
2963 John Legend feat. Estelle                    No Other Love                                     SR0000619653    Sony Music Entertainment
2964 John Legend featuring Kanye west             It's Over                                         SR0000619653    Sony Music Entertainment
2965 John Mayer                                   83                                                SR0000305049    Sony Music Entertainment
2966 John Mayer                                   3x5                                               SR0000305049    Sony Music Entertainment
2967 John Mayer                                   A Face To Call Home                               SR0000701446    Sony Music Entertainment
2968 John Mayer                                   Back to You                                       SR0000305049    Sony Music Entertainment
2969 John Mayer                                   Belief                                            SR0000398715    Sony Music Entertainment
2970 John Mayer                                   Bold As Love                                      SR0000398715    Sony Music Entertainment
2971 John Mayer                                   Born and Raised                                   SR0000701446    Sony Music Entertainment
2972 John Mayer                                   City Love                                         SR0000305049    Sony Music Entertainment
2973 John Mayer                                   Crossroads                                        SR0000650569    Sony Music Entertainment
2974 John Mayer                                   Daughters                                         SR0000405307    Sony Music Entertainment
2975 John Mayer                                   Do You Know Me                                    SR0000650569    Sony Music Entertainment
2976 John Mayer                                   Dreaming With A Broken Heart                      SR0000398715    Sony Music Entertainment
2977 John Mayer                                   Edge Of Desire                                    SR0000650569    Sony Music Entertainment
2978 John Mayer                                   Fool To Love You                                  SR0000701446    Sony Music Entertainment
2979 John Mayer                                   Friends, Lovers Or Nothing                        SR0000650569    Sony Music Entertainment



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                      Artist                                                    Track                        Reg. No.                 Plaintiff
2980 John Mayer                                   Gravity                                               SR0000398715     Sony Music Entertainment
2981 John Mayer                                   Great Indoors                                         SR0000305049     Sony Music Entertainment
2982 John Mayer                                   Half Of My Heart                                      SR0000650569     Sony Music Entertainment
2983 John Mayer                                   Heartbreak Warfare                                    SR0000650569     Sony Music Entertainment
2984 John Mayer                                   I Don't Trust Myself (With Loving You)                SR0000398715     Sony Music Entertainment
2985 John Mayer                                   I'm Gonna Find Another You                            SR0000398715     Sony Music Entertainment
2986 John Mayer                                   If I Ever Get Around To Living                        SR0000701446     Sony Music Entertainment
2987 John Mayer                                   In Repair                                             SR0000398715     Sony Music Entertainment
2988 John Mayer                                   Love Is A Verb                                        SR0000701446     Sony Music Entertainment
2989 John Mayer                                   Love Song For No One                                  SR0000305049     Sony Music Entertainment
2990 John Mayer                                   My Stupid Mouth                                       SR0000305049     Sony Music Entertainment
2991 John Mayer                                   Neon                                                  SR0000305049     Sony Music Entertainment
2992 John Mayer                                   No Such Thing                                         SR0000305049     Sony Music Entertainment
2993 John Mayer                                   Not Myself                                            SR0000305049     Sony Music Entertainment
2994 John Mayer                                   Perfectly Lonely                                      SR0000650569     Sony Music Entertainment
2995 John Mayer                                   Queen of California                                   SR0000701446     Sony Music Entertainment
2996 John Mayer                                   Shadow Days                                           SR0000701446     Sony Music Entertainment
2997 John Mayer                                   Slow Dancing In A Burning Room                        SR0000398715     Sony Music Entertainment
2998 John Mayer                                   Something Like Olivia                                 SR0000701446     Sony Music Entertainment
2999 John Mayer                                   Speak For Me                                          SR0000701446     Sony Music Entertainment
3000 John Mayer                                   St. Patrick's Day                                     SR0000305049     Sony Music Entertainment
3001 John Mayer                                   Stop This Train                                       SR0000398715     Sony Music Entertainment
3002 John Mayer                                   The Age of Worry                                      SR0000701446     Sony Music Entertainment
3003 John Mayer                                   The Heart Of Life                                     SR0000398715     Sony Music Entertainment
3004 John Mayer                                   Vultures                                              SR0000398715     Sony Music Entertainment
3005 John Mayer                                   Waiting On The World To Change                        SR0000718995     Sony Music Entertainment
3006 John Mayer                                   Walt Grace's Submarine Test, January 1967             SR0000701446     Sony Music Entertainment
3007 John Mayer                                   War Of My Life                                        SR0000650569     Sony Music Entertainment
3008 John Mayer                                   Whiskey, Whiskey, Whiskey                             SR0000701446     Sony Music Entertainment
3009 John Mayer                                   Who Says                                              SR0000650569     Sony Music Entertainment
3010 John Mayer                                   Why Georgia                                           SR0000305049     Sony Music Entertainment
3011 John Mayer                                   Your Body Is A Wonderland                             SR0000305049     Sony Music Entertainment
3012 John Williams                                Bugler's Dream and Olympic Fanfare Medley             SR0000224437     Sony Music Entertainment
3013 John Williams                                Hook: Flight To Neverland                             SR0000233783     Sony Music Entertainment
3014 John Williams                                Summon The Heroes                                     SR0000224437     Sony Music Entertainment
3015 John Williams                                The Imperial March from The Empire Strikes Back       SR0000233783     Sony Music Entertainment
3016 John Williams                                Theme From Jurassic Park                              SR0000233783     Sony Music Entertainment
     John Williams;London Symphony
3017                                              Main Title (From "Star Wars")                         SR0000247474     Sony Music Entertainment
     Orchestra
                                             Close Encounters of the Third Kind/When You Wish Upon a Star
3018 John Williams;The Boston Pops Orchestra                                                              SR0000186141   Sony Music Entertainment
                                             Medley
                                             Scherzo for Motorcycle and Orchestra from Indiana Jones and
3019 John Williams;The Boston Pops Orchestra                                                              SR0000186141   Sony Music Entertainment
                                             the Last Crusade
3020 John Williams;The Boston Pops Orchestra Theme from "Sugarland Express"                             SR0000186141     Sony Music Entertainment
3021 Johnny Cash                                  (Ghost) Riders in the Sky                             SR0000010496     Sony Music Entertainment
3022 Johnny Cash                                  Cocaine Blues                                         SR0000011119     Sony Music Entertainment
3023 Johnny Cash                                  Sunday Morning Coming Down                            RE0000923063     Sony Music Entertainment
3024 Johnny Cash                                  The General Lee                                       SR0000035327     Sony Music Entertainment
3025 Josh Thompson                                A Name In This Town                                   SR0000652025     Sony Music Entertainment
3026 Josh Thompson                                Always Been Me                                        SR0000652025     Sony Music Entertainment
3027 Josh Thompson                                Back Around                                           SR0000652025     Sony Music Entertainment
3028 Josh Thompson                                Beer On The Table                                     SR0000652025     Sony Music Entertainment
3029 Josh Thompson                                Blame It On Waylon                                    SR0000652025     Sony Music Entertainment
3030 Josh Thompson                                I Won't Go Crazy                                      SR0000652025     Sony Music Entertainment
3031 Josh Thompson                                Sinner                                                SR0000652025     Sony Music Entertainment
3032 Josh Thompson                                Way Out Here                                          SR0000652025     Sony Music Entertainment
3033 Josh Thompson                                Won't Be Lonely Long - On The Road                    SR0000652025     Sony Music Entertainment
3034 Josh Thompson                                You Ain't Seen Country Yet                            SR0000652025     Sony Music Entertainment
3035 Journey                                      Dead or Alive                                         SR0000030088     Sony Music Entertainment
3036 Journey                                      Don't Stop Believin'                                  SR0000030088     Sony Music Entertainment
3037 Journey                                      Escape                                                SR0000030088     Sony Music Entertainment
3038 Journey                                      Keep on Runnin'                                       SR0000030088     Sony Music Entertainment
3039 Journey                                      Lay It Down                                           SR0000030088     Sony Music Entertainment
3040 Journey                                      Mother, Father                                        SR0000030707     Sony Music Entertainment
3041 Journey                                      Open Arms                                             SR0000030088     Sony Music Entertainment
3042 Journey                                      Still They Ride                                       SR0000030088     Sony Music Entertainment
3043 Journey                                      Stone In Love                                         SR0000030088     Sony Music Entertainment



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                                                                    EXHIBIT A - SOUND RECORDINGS

                         Artist                                                 Track                   Reg. No.                Plaintiff
3044 Journey                                      Who's Crying Now                                 SR0000030707    Sony Music Entertainment
3045 Julio Iglesias duet with Willie Nelson       To all the Girls I've Loved Before               SR0000058185    Sony Music Entertainment
3046 Justin Timberlake                            Blue Ocean Floor                                 SR0000717770    Sony Music Entertainment
3047 Justin Timberlake                            Body Count                                       SR0000717770    Sony Music Entertainment
3048 Justin Timberlake                            Don't Hold The Wall                              SR0000717770    Sony Music Entertainment
3049 Justin Timberlake                            Dress On                                         SR0000717770    Sony Music Entertainment
3050 Justin Timberlake                            Let The Groove Get In                            SR0000717770    Sony Music Entertainment
3051 Justin Timberlake                            Not A Bad Thing                                  SR0000743696    Sony Music Entertainment
3052 Justin Timberlake                            Pusher Love Girl                                 SR0000717770    Sony Music Entertainment
3053 Justin Timberlake                            Spaceship Coupe                                  SR0000717770    Sony Music Entertainment
3054 Justin Timberlake                            Strawberry Bubblegum                             SR0000717770    Sony Music Entertainment
3055 Justin Timberlake                            That Girl                                        SR0000717770    Sony Music Entertainment
3056 Justin Timberlake                            TKO                                              SR0000743696    Sony Music Entertainment
3057 Justin Timberlake                            Tunnel Vision                                    SR0000717770    Sony Music Entertainment
3058 Justin Timberlake featuring JAY Z            Suit & Tie                                       SR0000714855    Sony Music Entertainment
3059 Kansas                                       Closet Chronicles                                RE0000927442    Sony Music Entertainment
3060 Kansas                                       Dust in The Wind                                 RE0000927442    Sony Music Entertainment
3061 Kansas                                       Hopelessly Human                                 RE0000927442    Sony Music Entertainment
3062 Kansas                                       Lightning's Hand                                 RE0000927442    Sony Music Entertainment
3063 Kansas                                       Nobody's Home                                    RE0000927442    Sony Music Entertainment
3064 Kansas                                       Paradox                                          RE0000927442    Sony Music Entertainment
3065 Kansas                                       Point Of Know Return                             RE0000927442    Sony Music Entertainment
3066 Kansas                                       Portrait (He Knew)                               RE0000927442    Sony Music Entertainment
3067 Kansas                                       Sparks of the Tempest                            RE0000927442    Sony Music Entertainment
3068 Kansas                                       The Spider                                       RE0000927442    Sony Music Entertainment
3069 Karmin                                       Acapella                                         SR0000746675    Sony Music Entertainment
3070 Karmin                                       Brokenhearted                                    SR0000719608    Sony Music Entertainment
3071 Karmin                                       Coming Up Strong                                 SR0000717565    Sony Music Entertainment
3072 Karmin                                       Crash Your Party                                 SR0000719621    Sony Music Entertainment
3073 Karmin                                       Hello                                            SR0000717565    Sony Music Entertainment
3074 Karmin                                       I Told You So                                    SR0000717565    Sony Music Entertainment
3075 Karmin                                       I'm Just Sayin'                                  SR0000717565    Sony Music Entertainment
3076 Karmin                                       Too Many Fish                                    SR0000717565    Sony Music Entertainment
3077 Karmin                                       Walking On The Moon                              SR0000717565    Sony Music Entertainment
3078 Keb' Mo'                                     A Better Man                                     SR0000237597    Sony Music Entertainment
3079 Kellie Pickler                               100 Proof                                        SR0000697940    Sony Music Entertainment
3080 Kellie Pickler                               Best Days Of Your Life                           SR0000618096    Sony Music Entertainment
3081 Kellie Pickler                               Didn't You Know How Much I Loved You             SR0000618096    Sony Music Entertainment
3082 Kellie Pickler                               Going Out In Style                               SR0000618096    Sony Music Entertainment
3083 Kellie Pickler                               I'm Your Woman                                   SR0000618096    Sony Music Entertainment
3084 Kellie Pickler                               Little House On The Highway                      SR0000697940    Sony Music Entertainment
3085 Kellie Pickler                               Long As I Never See You Again                    SR0000697940    Sony Music Entertainment
3086 Kellie Pickler                               Lucky Girl                                       SR0000618096    Sony Music Entertainment
3087 Kellie Pickler                               Makin' Me Fall In Love Again                     SR0000618096    Sony Music Entertainment
3088 Kellie Pickler                               Mother's Day                                     SR0000697940    Sony Music Entertainment
3089 Kellie Pickler                               One Last Time                                    SR0000618096    Sony Music Entertainment
3090 Kellie Pickler                               Rockaway (The Rockin' Chair Song)                SR0000697940    Sony Music Entertainment
3091 Kellie Pickler                               Rocks Instead of Rice                            SR0000618096    Sony Music Entertainment
3092 Kellie Pickler                               Somebody to Love Me                              SR0000618096    Sony Music Entertainment
3093 Kellie Pickler                               Stop Cheatin' On Me                              SR0000697940    Sony Music Entertainment
3094 Kellie Pickler                               The Letter (To Daddy)                            SR0000697940    Sony Music Entertainment
3095 Kellie Pickler                               Tough                                            SR0000697940    Sony Music Entertainment
3096 Kellie Pickler                               Turn On The Radio And Dance                      SR0000697940    Sony Music Entertainment
3097 Kellie Pickler                               Unlock That Honky Tonk                           SR0000697940    Sony Music Entertainment
3098 Kellie Pickler                               Where's Tammy Wynette                            SR0000697940    Sony Music Entertainment
3099 Kelly Clarkson                               Breaking Your Own Heart                          SR0000693113    Sony Music Entertainment
3100 Kelly Clarkson                               Dark Side                                        SR0000693113    Sony Music Entertainment
3101 Kelly Clarkson                               Don't Be A Girl About It                         SR0000693113    Sony Music Entertainment
3102 Kelly Clarkson                               Einstein                                         SR0000693113    Sony Music Entertainment
3103 Kelly Clarkson                               Hello                                            SR0000693113    Sony Music Entertainment
3104 Kelly Clarkson                               Honestly                                         SR0000693113    Sony Music Entertainment
3105 Kelly Clarkson                               I Forgive You                                    SR0000693113    Sony Music Entertainment
3106 Kelly Clarkson                               Mr. Know It All                                  SR0000715680    Sony Music Entertainment
3107 Kelly Clarkson                               Standing In Front Of You                         SR0000693113    Sony Music Entertainment
3108 Kelly Clarkson                               Stronger (What Doesn't Kill You)                 SR0000693113    Sony Music Entertainment
3109 Kelly Clarkson                               The War Is Over                                  SR0000693113    Sony Music Entertainment
3110 Kelly Clarkson                               You Can't Win                                    SR0000693113    Sony Music Entertainment
3111 Kelly Clarkson                               You Love Me                                      SR0000693113    Sony Music Entertainment



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                                                                     EXHIBIT A - SOUND RECORDINGS

                      Artist                                                  Track                      Reg. No.                Plaintiff
3112 Kenny Chesney                                Always Gonna Be You                               SR0000722762    Sony Music Entertainment
3113 Kenny Chesney                                Come Over                                         SR0000734917    Sony Music Entertainment
3114 Kenny Chesney                                El Cerrito Place                                  SR0000722762    Sony Music Entertainment
3115 Kenny Chesney                                Happy On The Hey Now (A Song For Kristi)          SR0000726972    Sony Music Entertainment
3116 Kenny Chesney                                I'm A Small Town                                  SR0000722762    Sony Music Entertainment
3117 Kenny Chesney                                It's That Time Of Day                             SR0000726972    Sony Music Entertainment
3118 Kenny Chesney                                Life On A Rock                                    SR0000726972    Sony Music Entertainment
3119 Kenny Chesney                                Lindy                                             SR0000726972    Sony Music Entertainment
3120 Kenny Chesney                                Makes Me Wonder                                   SR0000722762    Sony Music Entertainment
3121 Kenny Chesney                                Marley                                            SR0000726972    Sony Music Entertainment
3122 Kenny Chesney                                Must Be Something I Missed                        SR0000726972    Sony Music Entertainment
3123 Kenny Chesney                                Pirate Flag                                       SR0000726974    Sony Music Entertainment
3124 Kenny Chesney                                Sing 'Em Good My Friend                           SR0000722762    Sony Music Entertainment
3125 Kenny Chesney                                Time Flies                                        SR0000722762    Sony Music Entertainment
3126 Kenny Chesney                                To Get To You (55th And 3rd)                      SR0000722762    Sony Music Entertainment
3127 Kenny Chesney                                Welcome To The Fishbowl                           SR0000722762    Sony Music Entertainment
3128 Kenny Chesney                                When I See This Bar                               SR0000726972    Sony Music Entertainment
3129 Kenny Chesney                                While He Still Knows Who I Am                     SR0000722762    Sony Music Entertainment
     Kenny Chesney feat. The Wailers with
3130                                              Spread The Love                                   SR0000726972    Sony Music Entertainment
     Elan
3131 Kenny Chesney featuring Grace Potter         You And Tequila                                   SR0000722762    Sony Music Entertainment
3132 Kenny Chesney with Willie Nelson             Coconut Tree (with Willie Nelson)                 SR0000726972    Sony Music Entertainment
3133 Kenny G                                      Forever In Love                                   SR0000709272    Sony Music Entertainment
3134 Kenny G                                      Morning                                           SR0000709272    Sony Music Entertainment
3135 Kenny G                                      Sentimental                                       SR0000709272    Sony Music Entertainment
3136 Kenny G                                      Sister Rose                                       SR0000709272    Sony Music Entertainment
3137 Kenny G                                      The Wedding Song                                  SR0000709272    Sony Music Entertainment
3138 Kid Ink                                      Hello World                                       SR0000742556    Sony Music Entertainment
3139 Kid Ink                                      Money and the Power                               SR0000761343    Sony Music Entertainment
3140 Kid Ink                                      More Than A King                                  SR0000742556    Sony Music Entertainment
3141 Kid Ink                                      My System                                         SR0000742556    Sony Music Entertainment
3142 Kid Ink                                      Rollin'                                           SR0000742556    Sony Music Entertainment
3143 Kid Ink                                      Show Me                                           SR0000742549    Sony Music Entertainment
3144 Kid Ink                                      Star Player                                       SR0000742556    Sony Music Entertainment
3145 Kid Ink                                      Tattoo Of My Name                                 SR0000742556    Sony Music Entertainment
3146 Kid Ink                                      The Movement                                      SR0000742556    Sony Music Entertainment

3147 Kid Ink feat. A$AP Ferg & French Montana Bossin' Up                                            SR0000761343    Sony Music Entertainment
3148 Kid Ink feat. August Alsina                  We Just Came to Party                             SR0000742556    Sony Music Entertainment
3149 Kid Ink feat. Chris Brown                    Main Chick                                        SR0000742556    Sony Music Entertainment
3150 Kid Ink feat. Elle Varner & MGK              No Miracles                                       SR0000742552    Sony Music Entertainment
3151 Kid Ink feat. King Los                       No Option                                         SR0000742553    Sony Music Entertainment
3152 Kid Ink feat. Maejor Ali                     I Don't Care                                      SR0000742556    Sony Music Entertainment
3153 Kid Ink feat. Meek Mill & Wale               Bad Ass                                           SR0000761343    Sony Music Entertainment
3154 Kid Ink feat. Pusha T                        Murda                                             SR0000742556    Sony Music Entertainment
3155 Kid Ink feat. Tyga                           Iz U Down                                         SR0000742550    Sony Music Entertainment
3156 Kings Of Leon                                17                                                SR0000617761    Sony Music Entertainment
3157 Kings Of Leon                                Be Somebody                                       SR0000617761    Sony Music Entertainment
3158 Kings Of Leon                                Beautiful War                                     SR0000734388    Sony Music Entertainment
3159 Kings Of Leon                                Closer                                            SR0000617761    Sony Music Entertainment
3160 Kings Of Leon                                Cold Desert                                       SR0000617761    Sony Music Entertainment
3161 Kings Of Leon                                Comeback Story                                    SR0000734388    Sony Music Entertainment
3162 Kings Of Leon                                Coming Back Again                                 SR0000734388    Sony Music Entertainment
3163 Kings Of Leon                                Crawl                                             SR0000723763    Sony Music Entertainment
3164 Kings Of Leon                                Don't Matter                                      SR0000734388    Sony Music Entertainment
3165 Kings Of Leon                                Family Tree                                       SR0000734388    Sony Music Entertainment
3166 Kings Of Leon                                Last Mile Home                                    SR0000734388    Sony Music Entertainment
3167 Kings Of Leon                                Manhattan                                         SR0000617761    Sony Music Entertainment
3168 Kings Of Leon                                Notion                                            SR0000617761    Sony Music Entertainment
3169 Kings Of Leon                                On the Chin                                       SR0000734388    Sony Music Entertainment
3170 Kings Of Leon                                Revelry                                           SR0000617761    Sony Music Entertainment
3171 Kings Of Leon                                Rock City                                         SR0000734388    Sony Music Entertainment
3172 Kings Of Leon                                Sex On Fire                                       SR0000617761    Sony Music Entertainment
3173 Kings Of Leon                                Supersoaker                                       SR0000726617    Sony Music Entertainment
3174 Kings Of Leon                                Temple                                            SR0000734388    Sony Music Entertainment
3175 Kings Of Leon                                Tonight                                           SR0000734388    Sony Music Entertainment
3176 Kings Of Leon                                Wait for Me                                       SR0000734389    Sony Music Entertainment
3177 Kings Of Leon                                Work On Me                                        SR0000734388    Sony Music Entertainment



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                       Artist                                              Track                                Reg. No.                 Plaintiff
3178 Korn                                         B.B.K.                                                   SR0000263749     Sony Music Entertainment
3179 Korn                                         Cameltosis                                               SR0000263749     Sony Music Entertainment
3180 Korn                                         Children Of The Korn                                     SR0000263749     Sony Music Entertainment
3181 Korn                                         Dead Bodies Everywhere                                   SR0000263749     Sony Music Entertainment
3182 Korn                                         Earache My Eye                                           SR0000263749     Sony Music Entertainment
3183 Korn                                         Freak On A Leash                                         SR0000263749     Sony Music Entertainment
3184 Korn                                         Got The Life                                             SR0000263749     Sony Music Entertainment
3185 Korn                                         It's On!                                                 SR0000263749     Sony Music Entertainment
3186 Korn                                         Justin                                                   SR0000263749     Sony Music Entertainment
3187 Korn                                         My Gift To You                                           SR0000263749     Sony Music Entertainment
3188 Korn                                         Pretty                                                   SR0000263749     Sony Music Entertainment
3189 Korn                                         Reclaim My Place                                         SR0000263749     Sony Music Entertainment
3190 Korn                                         Seed                                                     SR0000263749     Sony Music Entertainment
3191 Kreayshawn                                   Gucci Gucci                                              SR0000733390     Sony Music Entertainment
3192 L-Burna aka Layzie Bone                      Carole Of The Bones                                      SR0000291785     Sony Music Entertainment
3193 L-Burna aka Layzie Bone                      Still The Greatest                                       SR0000291785     Sony Music Entertainment
3194 Leona Lewis                                  Better In Time                                           SR0000619647     Sony Music Entertainment
     London Symphony Orchestra;John
3195                                              Theme (From "Jaws")                                      SR0000247474     Sony Music Entertainment
     Williams
3196 Los Lonely Boys                              Crazy Dream                                                SR0000352465   Sony Music Entertainment
3197 Los Lonely Boys                              Dime Mi Amor                                               SR0000352465   Sony Music Entertainment
3198 Los Lonely Boys                              Heaven                                                     SR0000352465   Sony Music Entertainment
3199 Los Lonely Boys                              Hollywood                                                  SR0000352465   Sony Music Entertainment
3200 Los Lonely Boys                              La Contestacion                                            SR0000352465   Sony Music Entertainment
3201 Los Lonely Boys                              More Than Love                                             SR0000352465   Sony Music Entertainment
3202 Los Lonely Boys                              Nobody Else                                                SR0000352465   Sony Music Entertainment
3203 Los Lonely Boys                              Onda                                                       SR0000352465   Sony Music Entertainment
3204 Los Lonely Boys                              Real Emotions                                              SR0000352465   Sony Music Entertainment
3205 Los Lonely Boys                              Senorita                                                   SR0000352465   Sony Music Entertainment
3206 Los Lonely Boys                              Tell Me Why                                                SR0000352465   Sony Music Entertainment
3207 Los Lonely Boys                              Velvet Sky                                                 SR0000352465   Sony Music Entertainment
3208 Love and Theft                               Angel Eyes                                                 PA0001922065   Sony Music Entertainment
3209 Luther Vandross                              A House Is Not A Home                                      SR0000030527   Sony Music Entertainment
3210 Luther Vandross                              Ain't No Stoppin' Us Now                                   SR0000317135   Sony Music Entertainment
3211 Luther Vandross                              Always And Forever                                         SR0000317135   Sony Music Entertainment
3212 Luther Vandross                              Any Love - Wembley Stadium 1989                            PA0000434017   Sony Music Entertainment
3213 Luther Vandross                              Emotional Love                                             SR0000185186   Sony Music Entertainment
3214 Luther Vandross                              Give Me the Reason                                         SR0000071632   Sony Music Entertainment
3215 Luther Vandross                              Heaven Knows                                               SR0000171321   Sony Music Entertainment
3216 Luther Vandross                              Killing Me Softly                                          SR0000317135   Sony Music Entertainment
3217 Luther Vandross                              Lady, Lady                                                 SR0000171321   Sony Music Entertainment
3218 Luther Vandross                              Love Is On The Way (Real Love)                             SR0000171321   Sony Music Entertainment
3219 Luther Vandross                              Never Too Much                                             SR0000030497   Sony Music Entertainment
3220 Luther Vandross                              So Amazing                                                 SR0000079450   Sony Music Entertainment
                                                  Superstar/Until You Come Back To Me (That's What I'm Gonna
3221 Luther Vandross                                                                                         SR0000054317   Sony Music Entertainment
                                                  Do)
3222 Luther Vandross                              The Night I Fell in Love                                   SR0000064351   Sony Music Entertainment
3223 Luther Vandross                              What The World Needs Now                                   SR0000317135   Sony Music Entertainment
3224 Macy Gray                                    A Moment To Myself                                         SR0000267460   Sony Music Entertainment
3225 Macy Gray                                    Blowin' Up Your Speakers                                   SR0000302804   Sony Music Entertainment
3226 Macy Gray                                    Boo                                                        SR0000302804   Sony Music Entertainment
3227 Macy Gray                                    Caligula                                                   SR0000267460   Sony Music Entertainment
3228 Macy Gray                                    Come Together                                              SR0000336638   Sony Music Entertainment
3229 Macy Gray                                    Do Something                                               SR0000267460   Sony Music Entertainment
3230 Macy Gray                                    Every Now And Then                                         SR0000336638   Sony Music Entertainment
3231 Macy Gray                                    Forgiveness                                                SR0000302804   Sony Music Entertainment
3232 Macy Gray                                    Freak Like Me                                              SR0000302804   Sony Music Entertainment
3233 Macy Gray                                    Gimme All Your Lovin' or I Will Kill You                   SR0000302804   Sony Music Entertainment
3234 Macy Gray                                    Happiness                                                  SR0000336638   Sony Music Entertainment
3235 Macy Gray                                    Harry                                                      SR0000302804   Sony Music Entertainment
3236 Macy Gray                                    I Can't Wait To Meetchu                                    SR0000267460   Sony Music Entertainment
3237 Macy Gray                                    I Try                                                      SR0000267460   Sony Music Entertainment
3238 Macy Gray                                    I've Committed Murder                                      SR0000267460   Sony Music Entertainment
3239 Macy Gray                                    Jesus For A Day                                            SR0000336638   Sony Music Entertainment
3240 Macy Gray                                    My Fondest Childhood Memories                              SR0000336638   Sony Music Entertainment
3241 Macy Gray                                    Oblivion                                                   SR0000302804   Sony Music Entertainment
3242 Macy Gray                                    Relating To A Psychopath                                   SR0000302804   Sony Music Entertainment
3243 Macy Gray                                    Screamin'                                                  SR0000336638   Sony Music Entertainment



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                       Artist                                           Track                          Reg. No.                Plaintiff
3244 Macy Gray                               Sex-o-matic Venus Freak                              SR0000267460    Sony Music Entertainment
3245 Macy Gray                               Sexual Revolution                                    SR0000302804    Sony Music Entertainment
3246 Macy Gray                               She Don't Write Songs About You                      SR0000336638    Sony Music Entertainment
3247 Macy Gray                               Speechless                                           SR0000336638    Sony Music Entertainment
3248 Macy Gray                               Still                                                SR0000267460    Sony Music Entertainment
3249 Macy Gray                               The Letter                                           SR0000267460    Sony Music Entertainment
3250 Macy Gray                               Things That Made Me Change                           SR0000336638    Sony Music Entertainment
3251 Macy Gray                               When I See You                                       PA0001207765    Sony Music Entertainment
3252 Macy Gray                               Why Didn't You Call Me                               SR0000267460    Sony Music Entertainment
3253 Macy Gray feat. Slick Rick              Hey Young World, Pt. 2                               SR0000302804    Sony Music Entertainment
     Macy Gray featuring Angie Stone and Mos
3254                                         My Nutmeg Phantasy                                   SR0000302804    Sony Music Entertainment
     Def
3255 Macy Gray featuring Erykah Badu         Sweet Baby                                           PA0001074698    Sony Music Entertainment
3256 Macy Gray featuring Sunshine Anderson Don't Come Around                                      SR0000302804    Sony Music Entertainment
3257 Manchester Orchestra                    Apprehension                                         SR0000680374    Sony Music Entertainment
3258 Manchester Orchestra                    April Fool                                           SR0000680374    Sony Music Entertainment
3259 Manchester Orchestra                    Deer                                                 SR0000680374    Sony Music Entertainment
3260 Manchester Orchestra                    Leaky Breaks                                         SR0000680374    Sony Music Entertainment
3261 Manchester Orchestra                    Leave It Alone                                       SR0000680374    Sony Music Entertainment
3262 Manchester Orchestra                    Mighty                                               SR0000680374    Sony Music Entertainment
3263 Manchester Orchestra                    Pale Black Eye                                       SR0000680374    Sony Music Entertainment
3264 Manchester Orchestra                    Pensacola                                            SR0000680374    Sony Music Entertainment
3265 Manchester Orchestra                    Simple Math                                          SR0000680374    Sony Music Entertainment
3266 Manchester Orchestra                    Virgin                                               SR0000680374    Sony Music Entertainment
3267 Marc Anthony                            Ahora Quien                                          SR0000355308    Sony Music Entertainment
3268 Marc Anthony                            Amigo                                                SR0000355308    Sony Music Entertainment
3269 Marc Anthony                            Escapémonos                                          SR0000355308    Sony Music Entertainment
3270 Marc Anthony                            Lamento Borincano                                    SR0000358132    Sony Music Entertainment
3271 Marc Anthony                            Se Esfuma Tu Amor                                    SR0000355308    Sony Music Entertainment
3272 Marc Anthony                            Tu Amor Me Hace Bien                                 SR0000355308    Sony Music Entertainment
3273 Marc Anthony                            Valio La Pena                                        SR0000355308    Sony Music Entertainment
3274 Marc Anthony                            Vivir Mi Vida                                        SR0000727153    Sony Music Entertainment
3275 Marc Anthony                            Volando Entre Tus Brazos                             SR0000355308    Sony Music Entertainment
3276 Marcela Morelo                          Para Toda La Vida                                    SR0000290235    Sony Music Entertainment
3277 Mariah Carey                            Breakdown                                            SR0000244014    Sony Music Entertainment
3278 Marvin Gaye                             Sexual Healing                                       SR0000038850    Sony Music Entertainment
3279 Marvin Sapp                             Comfort Zone                                         PA0001749838    Sony Music Entertainment
3280 Marvin Sapp                             Don't Count Me Out                                   PA0001749838    Sony Music Entertainment
3281 Marvin Sapp                             Fresh Wind                                           PA0001749838    Sony Music Entertainment
3282 Marvin Sapp                             He Has His Hands On You                              PA0001749838    Sony Music Entertainment
3283 Marvin Sapp                             Here I Am                                            PA0001749838    Sony Music Entertainment
3284 Marvin Sapp                             I Came                                               PA0001749838    Sony Music Entertainment
3285 Marvin Sapp                             I Came (Intro)                                       PA0001749838    Sony Music Entertainment
3286 Marvin Sapp                             Keep Holding On                                      PA0001749838    Sony Music Entertainment
3287 Marvin Sapp                             More Than A Conqueror                                PA0001749838    Sony Music Entertainment
3288 Marvin Sapp                             Praise You Forever                                   PA0001749838    Sony Music Entertainment
3289 Marvin Sapp                             The Best In Me                                       PA0001749838    Sony Music Entertainment
3290 Marvin Sapp                             Wait                                                 PA0001749838    Sony Music Entertainment
3291 Mary Mary                               Can't Give Up Now                                    SR0000711038    Sony Music Entertainment
3292 Mary Mary                               Dirt                                                 SR0000711038    Sony Music Entertainment
3293 Mary Mary                               Go Get It                                            SR0000711038    Sony Music Entertainment
3294 Mary Mary                               God Bless                                            SR0000711038    Sony Music Entertainment
3295 Mary Mary                               He Said                                              SR0000317087    Sony Music Entertainment
3296 Mary Mary                               I'm Running                                          SR0000711038    Sony Music Entertainment
3297 Mary Mary                               Little Girl                                          SR0000317087    Sony Music Entertainment
3298 Mary Mary                               Sunday Morning                                       SR0000711038    Sony Music Entertainment
3299 Mary Mary feat. Kirk Franklin           And I                                                SR0000378079    Sony Music Entertainment
3300 Mary Mary featuring Destiny's Child     Good To Me                                           SR0000269994    Sony Music Entertainment
3301 Maxwell                                 Bad Habits                                           SR0000639738    Sony Music Entertainment
3302 Maxwell                                 Cold                                                 SR0000639738    Sony Music Entertainment
3303 Maxwell                                 Fistful Of Tears                                     SR0000639738    Sony Music Entertainment
3304 Maxwell                                 Help Somebody                                        SR0000639738    Sony Music Entertainment
3305 Maxwell                                 Love You                                             SR0000639738    Sony Music Entertainment
3306 Maxwell                                 Phoenix Rise                                         SR0000639738    Sony Music Entertainment
3307 Maxwell                                 Playing Possum                                       SR0000639738    Sony Music Entertainment
3308 Maxwell                                 Pretty Wings                                         SR0000639738    Sony Music Entertainment
3309 Maxwell                                 Stop The World                                       SR0000639738    Sony Music Entertainment
3310 Meat Loaf                               Bat Out Of Hell                                      RE0000925597    Sony Music Entertainment



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                        Artist                                                 Track                     Reg. No.                Plaintiff
3311 Meat Loaf                                    Great Boleros of Fire                             SR0000293673    Sony Music Entertainment
3312 Meat Loaf                                    Heaven Can Wait                                   RE0000925597    Sony Music Entertainment
3313 Meat Loaf                                    Midnight at the Lost and Found                    SR0000046157    Sony Music Entertainment
3314 Meat Loaf                                    Nocturnal Pleasure                                SR0000030226    Sony Music Entertainment
3315 Meat Loaf                                    Paradise By The Dashboard Light                   RE0000925597    Sony Music Entertainment
3316 Meat Loaf                                    Two out of Three Ain't Bad                        RE0000925597    Sony Music Entertainment
3317 Meat Loaf with Cher                          Dead Ringer for Love                              SR0000030226    Sony Music Entertainment
3318 MGMT                                         4th Dimensional Transition                        SR0000670166    Sony Music Entertainment
3319 MGMT                                         Brian Eno                                         SR0000655661    Sony Music Entertainment
3320 MGMT                                         Congratulations                                   SR0000655661    Sony Music Entertainment
3321 MGMT                                         Electric Feel                                     SR0000670166    Sony Music Entertainment
3322 MGMT                                         Flash Delirium                                    SR0000655661    Sony Music Entertainment
3323 MGMT                                         Future Reflections                                SR0000670166    Sony Music Entertainment
3324 MGMT                                         I Found a Whistle                                 SR0000655661    Sony Music Entertainment
3325 MGMT                                         It's Working                                      SR0000655661    Sony Music Entertainment
3326 MGMT                                         Kids                                              SR0000670166    Sony Music Entertainment
3327 MGMT                                         Lady Dada's Nightmare                             SR0000655661    Sony Music Entertainment
3328 MGMT                                         Of Moons, Birds & Monsters                        SR0000670166    Sony Music Entertainment
3329 MGMT                                         Pieces of What                                    SR0000670166    Sony Music Entertainment
3330 MGMT                                         Siberian Breaks                                   SR0000655661    Sony Music Entertainment
3331 MGMT                                         Someone's Missing                                 SR0000655661    Sony Music Entertainment
3332 MGMT                                         Song for Dan Treacy                               SR0000655661    Sony Music Entertainment
3333 MGMT                                         The Handshake                                     SR0000670166    Sony Music Entertainment
3334 MGMT                                         The Youth                                         SR0000670166    Sony Music Entertainment
3335 MGMT                                         Time To Pretend                                   SR0000697485    Sony Music Entertainment
3336 MGMT                                         Weekend Wars                                      SR0000670166    Sony Music Entertainment
3337 Michael Jackson                              Baby Be Mine                                      SR0000041965    Sony Music Entertainment
3338 Michael Jackson                              Burn This Disco Out                               SR0000011120    Sony Music Entertainment
3339 Michael Jackson                              Don't Stop 'Til You Get Enough                    SR0000011105    Sony Music Entertainment
3340 Michael Jackson                              Get On The Floor                                  SR0000011120    Sony Music Entertainment
3341 Michael Jackson                              Girlfriend                                        SR0000011120    Sony Music Entertainment
3342 Michael Jackson                              Human Nature                                      SR0000041965    Sony Music Entertainment
3343 Michael Jackson                              I Can't Help It                                   SR0000011105    Sony Music Entertainment
3344 Michael Jackson                              It's The Falling In Love                          SR0000011120    Sony Music Entertainment
3345 Michael Jackson                              Off The Wall                                      SR0000011120    Sony Music Entertainment
3346 Michael Jackson                              P.Y.T. (Pretty Young Thing)                       SR0000041965    Sony Music Entertainment
3347 Michael Jackson                              The Lady In My Life                               SR0000041965    Sony Music Entertainment
3348 Michael Jackson                              Working Day and Night                             SR0000011120    Sony Music Entertainment
3349 Miguel                                       Adorn                                             SR0000709268    Sony Music Entertainment
3350 Miguel                                       All I Want Is You                                 SR0000673073    Sony Music Entertainment
3351 Miguel                                       Girl With The Tattoo Enter.lewd                   SR0000673073    Sony Music Entertainment
3352 Miguel                                       Girls Like You                                    SR0000673073    Sony Music Entertainment
3353 Miguel                                       Hard Way                                          SR0000673073    Sony Music Entertainment
3354 Miguel                                       Hero                                              SR0000673073    Sony Music Entertainment
3355 Miguel                                       How Many Drinks?                                  SR0000709268    Sony Music Entertainment
3356 Miguel                                       My Piece                                          SR0000673073    Sony Music Entertainment
3357 Miguel                                       Pay Me                                            SR0000673073    Sony Music Entertainment
3358 Miguel                                       Quickie                                           SR0000673073    Sony Music Entertainment
3359 Miguel                                       Sure Thing                                        SR0000673073    Sony Music Entertainment
3360 Miguel                                       Teach Me                                          SR0000673073    Sony Music Entertainment
3361 Miguel                                       To The Moon                                       SR0000673073    Sony Music Entertainment
3362 Miguel                                       Vixen                                             SR0000673073    Sony Music Entertainment
3363 Mike Posner                                  Cooler Than Me                                    SR0000657938    Sony Music Entertainment
3364 Miley Cyrus                                  #GETITRIGHT                                       SR0000735242    Sony Music Entertainment
3365 Miley Cyrus                                  Adore You                                         SR0000735242    Sony Music Entertainment
3366 Miley Cyrus                                  Do My Thang                                       SR0000735242    Sony Music Entertainment
3367 Miley Cyrus                                  Drive                                             SR0000735242    Sony Music Entertainment
3368 Miley Cyrus                                  Maybe You're Right                                SR0000735242    Sony Music Entertainment
3369 Miley Cyrus                                  On My Own                                         SR0000735242    Sony Music Entertainment
3370 Miley Cyrus                                  Rooting for My Baby                               SR0000735242    Sony Music Entertainment
3371 Miley Cyrus                                  Someone Else                                      SR0000735242    Sony Music Entertainment
3372 Miley Cyrus                                  We Can't Stop                                     SR0000726503    Sony Music Entertainment
3373 Miley Cyrus feat. Big Sean                   Love Money Party                                  SR0000735242    Sony Music Entertainment
3374 Miley Cyrus feat. Britney Spears             SMS (Bangerz)                                     SR0000735242    Sony Music Entertainment
3375 Miley Cyrus feat. French Montana             FU                                                SR0000735242    Sony Music Entertainment
3376 Miley Cyrus feat. Future                     My Darlin'                                        SR0000735242    Sony Music Entertainment
3377 Miley Cyrus feat. Ludacris                   Hands in the Air                                  SR0000735242    Sony Music Entertainment
3378 Miley Cyrus feat. Nelly                      4x4                                               SR0000735242    Sony Music Entertainment



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                                                                    EXHIBIT A - SOUND RECORDINGS

                      Artist                                                 Track                      Reg. No.                Plaintiff
3379 Miranda Lambert                              Airstream Song                                   SR0000641403    Sony Music Entertainment
3380 Miranda Lambert                              All Kinds of Kinds                               PA0001805349    Sony Music Entertainment
3381 Miranda Lambert                              Automatic                                        SR0000738201    Sony Music Entertainment
3382 Miranda Lambert                              Baggage Claim                                    PA0001805349    Sony Music Entertainment
3383 Miranda Lambert                              Better In The Long Run                           PA0001805349    Sony Music Entertainment
3384 Miranda Lambert                              Bring Me Down                                    SR0000367710    Sony Music Entertainment
3385 Miranda Lambert                              Crazy Ex-Girlfriend                              SR0000746292    Sony Music Entertainment
3386 Miranda Lambert                              Dead Flowers                                     SR0000641403    Sony Music Entertainment
3387 Miranda Lambert                              Dear Diamond                                     PA0001805349    Sony Music Entertainment
3388 Miranda Lambert                              Desperation                                      SR0000609529    Sony Music Entertainment
3389 Miranda Lambert                              Down                                             SR0000609529    Sony Music Entertainment
3390 Miranda Lambert                              Dry Town                                         SR0000609529    Sony Music Entertainment
3391 Miranda Lambert                              Easy From Now On                                 SR0000609529    Sony Music Entertainment
3392 Miranda Lambert                              Easy Living                                      PA0001805349    Sony Music Entertainment
3393 Miranda Lambert                              Famous In A Small Town                           SR0000609529    Sony Music Entertainment
3394 Miranda Lambert                              Fastest Girl In Town                             PA0001805349    Sony Music Entertainment
3395 Miranda Lambert                              Fine Tune                                        PA0001805349    Sony Music Entertainment
3396 Miranda Lambert                              Getting Ready                                    SR0000609529    Sony Music Entertainment
3397 Miranda Lambert                              Greyhound Bound For Nowhere                      SR0000367710    Sony Music Entertainment
3398 Miranda Lambert                              Guilty In Here                                   SR0000609529    Sony Music Entertainment
3399 Miranda Lambert                              Gunpowder & Lead                                 SR0000609529    Sony Music Entertainment
3400 Miranda Lambert                              Heart Like Mine                                  SR0000641403    Sony Music Entertainment
3401 Miranda Lambert                              Hurts To Think                                   PA0001805349    Sony Music Entertainment
3402 Miranda Lambert                              I Can't Be Bothered                              SR0000367710    Sony Music Entertainment
3403 Miranda Lambert                              I Wanna Die                                      SR0000367710    Sony Music Entertainment
3404 Miranda Lambert                              Kerosene                                         SR0000367710    Sony Music Entertainment
3405 Miranda Lambert                              Look At Miss Ohio                                PA0001805349    Sony Music Entertainment
3406 Miranda Lambert                              Love Is Looking For You                          SR0000367710    Sony Music Entertainment
3407 Miranda Lambert                              Love Letters                                     SR0000609529    Sony Music Entertainment
3408 Miranda Lambert                              Love Song                                        SR0000641403    Sony Music Entertainment
3409 Miranda Lambert                              Love Your Memory                                 SR0000367710    Sony Music Entertainment
3410 Miranda Lambert                              Maintain the Pain                                SR0000641403    Sony Music Entertainment
3411 Miranda Lambert                              Makin' Plans                                     SR0000641403    Sony Music Entertainment
3412 Miranda Lambert                              Mama, I'm Alright                                SR0000367710    Sony Music Entertainment
3413 Miranda Lambert                              Mama's Broken Heart                              PA0001805349    Sony Music Entertainment
3414 Miranda Lambert                              Me And Charlie Talking                           SR0000746293    Sony Music Entertainment
3415 Miranda Lambert                              Me and Your Cigarettes                           SR0000641403    Sony Music Entertainment
3416 Miranda Lambert                              More Like Her                                    SR0000609529    Sony Music Entertainment
3417 Miranda Lambert                              New Strings                                      SR0000367710    Sony Music Entertainment
3418 Miranda Lambert                              Nobody's Fool                                    PA0001805349    Sony Music Entertainment
3419 Miranda Lambert                              Oklahoma Sky                                     PA0001805349    Sony Music Entertainment
3420 Miranda Lambert                              Only Prettier                                    SR0000641403    Sony Music Entertainment
3421 Miranda Lambert                              Over You                                         PA0001805349    Sony Music Entertainment
3422 Miranda Lambert                              Safe                                             PA0001805349    Sony Music Entertainment
3423 Miranda Lambert                              Same Old You                                     PA0001805349    Sony Music Entertainment
3424 Miranda Lambert                              Sin For A Sin                                    SR0000641403    Sony Music Entertainment
3425 Miranda Lambert                              Somewhere Trouble Don't Go                       SR0000641403    Sony Music Entertainment
3426 Miranda Lambert                              That's the Way That the World Goes 'Round        SR0000641403    Sony Music Entertainment
3427 Miranda Lambert                              There's A Wall                                   SR0000367710    Sony Music Entertainment
3428 Miranda Lambert                              Time To Get A Gun                                SR0000641403    Sony Music Entertainment
3429 Miranda Lambert                              Virginia Bluebell                                SR0000641403    Sony Music Entertainment
3430 Miranda Lambert                              What About Georgia?                              SR0000367710    Sony Music Entertainment
3431 Miranda Lambert                              White Liar                                       SR0000641403    Sony Music Entertainment
3432 Modest Mouse                                 Education                                        SR0000407040    Sony Music Entertainment
3433 Modest Mouse                                 Fire It Up                                       SR0000407040    Sony Music Entertainment
3434 Modest Mouse                                 Florida                                          SR0000407040    Sony Music Entertainment
3435 Modest Mouse                                 Fly Trapped In A Jar                             SR0000407040    Sony Music Entertainment
3436 Modest Mouse                                 Invisible                                        SR0000407040    Sony Music Entertainment
3437 Modest Mouse                                 Little Motel                                     SR0000407040    Sony Music Entertainment
3438 Modest Mouse                                 March Into The Sea                               SR0000407040    Sony Music Entertainment
3439 Modest Mouse                                 Missed The Boat                                  SR0000407040    Sony Music Entertainment
3440 Modest Mouse                                 Parting of the Sensory                           SR0000407040    Sony Music Entertainment
3441 Modest Mouse                                 People As Places As People                       SR0000407040    Sony Music Entertainment
3442 Modest Mouse                                 Spitting Venom                                   SR0000407040    Sony Music Entertainment
3443 Modest Mouse                                 Steam Engenius                                   SR0000407040    Sony Music Entertainment
3444 Modest Mouse                                 We've Got Everything                             SR0000407040    Sony Music Entertainment
3445 Monica Featuring Rick Ross                   Anything (To Find You)                           SR0000700530    Sony Music Entertainment
3446 Montgomery Gentry                            Daddy Won't Sell the Farm                        SR0000266467    Sony Music Entertainment



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                                                                     EXHIBIT A - SOUND RECORDINGS

                    Artist                                                     Track                     Reg. No.                Plaintiff
3447 Montgomery Gentry                            Didn't I                                          PA0001079468    Sony Music Entertainment
3448 Montgomery Gentry                            Gone                                              SR0000266467    Sony Music Entertainment
3449 Montgomery Gentry                            Hell Yeah                                         SR0000314295    Sony Music Entertainment
3450 Montgomery Gentry                            Lonely And Gone                                   SR0000266467    Sony Music Entertainment
3451 Montgomery Gentry                            My Town                                           SR0000314295    Sony Music Entertainment
3452 Montgomery Gentry                            She Don't Tell Me To                              SR0000386446    Sony Music Entertainment
3453 Montgomery Gentry                            Something To Be Proud Of                          SR0000355896    Sony Music Entertainment
3454 Montgomery Gentry                            Speed                                             SR0000314295    Sony Music Entertainment
3455 Mudvayne                                     (Per)Version of a truth                           SR0000346266    Sony Music Entertainment
3456 Mudvayne                                     A Key to Nothing                                  SR0000346266    Sony Music Entertainment
3457 Mudvayne                                     Mercy, Severity                                   SR0000346266    Sony Music Entertainment
3458 Mudvayne                                     Severed                                           SR0000269973    Sony Music Entertainment
3459 Mudvayne                                     Shadow of a Man                                   SR0000346266    Sony Music Entertainment
3460 Mudvayne                                     Silenced                                          SR0000346266    Sony Music Entertainment
3461 Mudvayne                                     Skrying                                           SR0000346266    Sony Music Entertainment
3462 Mudvayne                                     Solve Et Coagula                                  SR0000346266    Sony Music Entertainment
3463 Mudvayne                                     The End of All Things to Come                     SR0000346266    Sony Music Entertainment
3464 Mudvayne                                     The Patient Mental                                SR0000346266    Sony Music Entertainment
3465 Mudvayne                                     Trapped In The Wake Of A Dream                    SR0000346266    Sony Music Entertainment
3466 Mudvayne                                     World So Cold                                     SR0000346266    Sony Music Entertainment
3467 Oh Land                                      Break The Chain                                   SR0000674211    Sony Music Entertainment
3468 Oh Land                                      Helicopter                                        SR0000674211    Sony Music Entertainment
3469 Oh Land                                      Human                                             SR0000674211    Sony Music Entertainment
3470 Oh Land                                      Lean                                              SR0000674211    Sony Music Entertainment
3471 Oh Land                                      Perfection                                        SR0000674211    Sony Music Entertainment
3472 Oh Land                                      Rainbow                                           SR0000674211    Sony Music Entertainment
3473 Oh Land                                      Sun Of A Gun                                      SR0000674211    Sony Music Entertainment
3474 Oh Land                                      Voodoo                                            SR0000674211    Sony Music Entertainment
3475 Oh Land                                      We Turn It Up                                     SR0000674211    Sony Music Entertainment
3476 Oh Land                                      White Nights                                      SR0000674211    Sony Music Entertainment
3477 Oh Land                                      Wolf & I                                          SR0000674211    Sony Music Entertainment
3478 One Direction                                Everything About You                              SR0000703645    Sony Music Entertainment
3479 One Direction                                Gotta Be You                                      SR0000703645    Sony Music Entertainment
3480 One Direction                                I Want                                            SR0000703645    Sony Music Entertainment
3481 One Direction                                I Wish                                            SR0000703645    Sony Music Entertainment
3482 One Direction                                Kiss You                                          SR0000714020    Sony Music Entertainment
3483 One Direction                                Moments                                           SR0000703645    Sony Music Entertainment
3484 One Direction                                More Than This                                    SR0000703645    Sony Music Entertainment
3485 One Direction                                One Thing                                         SR0000703645    Sony Music Entertainment
3486 One Direction                                Same Mistakes                                     SR0000703645    Sony Music Entertainment
3487 One Direction                                Save You Tonight                                  SR0000703645    Sony Music Entertainment
3488 One Direction                                Stand Up                                          SR0000703645    Sony Music Entertainment
3489 One Direction                                Stole My Heart                                    SR0000703645    Sony Music Entertainment
3490 One Direction                                Taken                                             SR0000703645    Sony Music Entertainment
3491 One Direction                                Tell Me A Lie                                     SR0000703645    Sony Music Entertainment
3492 One Direction                                What Makes You Beautiful                          SR0000703645    Sony Music Entertainment
3493 Otherwise                                    Crimson                                           SR0000704620    Sony Music Entertainment
3494 Otherwise                                    Die for You                                       SR0000704620    Sony Music Entertainment
3495 Otherwise                                    Don't Be Afraid                                   SR0000704620    Sony Music Entertainment
3496 Otherwise                                    Full Circle                                       SR0000704620    Sony Music Entertainment
3497 Otherwise                                    Heaven                                            SR0000704620    Sony Music Entertainment
3498 Otherwise                                    I                                                 SR0000704620    Sony Music Entertainment
3499 Otherwise                                    I Don't Apologize (1000 Pictures)                 SR0000704620    Sony Music Entertainment
3500 Otherwise                                    II                                                SR0000704620    Sony Music Entertainment
3501 Otherwise                                    III                                               SR0000704620    Sony Music Entertainment
3502 Otherwise                                    Lighthouse                                        SR0000704620    Sony Music Entertainment
3503 Otherwise                                    Scream Now                                        SR0000704620    Sony Music Entertainment
3504 Otherwise                                    Silence Reigns                                    SR0000704620    Sony Music Entertainment
3505 Otherwise                                    Soldiers                                          SR0000704620    Sony Music Entertainment
3506 Otherwise                                    Vegas Girl                                        SR0000704620    Sony Music Entertainment
3507 OutKast                                      Idlewild Blue (Don'tchu Worry 'Bout Me)           SR0000747302    Sony Music Entertainment
3508 OutKast                                      Mighty "O"                                        SR0000747300    Sony Music Entertainment
3509 Ozzy Osbourne                                21st Century Schizoid Man                         SR0000388035    Sony Music Entertainment
3510 Ozzy Osbourne                                A.V.H.                                            SR0000135019    Sony Music Entertainment
3511 Ozzy Osbourne                                Back on Earth                                     SR0000247732    Sony Music Entertainment
3512 Ozzy Osbourne                                Bark At The Moon                                  SR0000053824    Sony Music Entertainment
3513 Ozzy Osbourne                                Breakin' All The Rules                            SR0000098705    Sony Music Entertainment
3514 Ozzy Osbourne                                Centre of Eternity                                SR0000053824    Sony Music Entertainment



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                       Artist                                                Track                      Reg. No.                Plaintiff
3515 Ozzy Osbourne                                Crazy Babies                                     SR0000098705    Sony Music Entertainment
3516 Ozzy Osbourne                                Crazy Train                                      SR0000028652    Sony Music Entertainment
3517 Ozzy Osbourne                                Desire                                           SR0000135019    Sony Music Entertainment
3518 Ozzy Osbourne                                Diary of a Madman                                SR0000034167    Sony Music Entertainment
3519 Ozzy Osbourne                                Dreamer                                          SR0000303331    Sony Music Entertainment
3520 Ozzy Osbourne                                Gets Me Through                                  SR0000303331    Sony Music Entertainment
3521 Ozzy Osbourne                                Ghost Behind My Eyes                             SR0000171292    Sony Music Entertainment
3522 Ozzy Osbourne                                Hellraiser                                       SR0000135019    Sony Music Entertainment
3523 Ozzy Osbourne                                I Can't Save You                                 SR0000628282    Sony Music Entertainment
3524 Ozzy Osbourne                                I Don't Wanna Stop                               SR0000628282    Sony Music Entertainment
3525 Ozzy Osbourne                                I Don't Want to Change the World                 SR0000135019    Sony Music Entertainment
3526 Ozzy Osbourne                                I Just Want You                                  SR0000171292    Sony Music Entertainment
3527 Ozzy Osbourne                                In My Life                                       SR0000373744    Sony Music Entertainment
3528 Ozzy Osbourne                                Mama, I'm Coming Home                            SR0000135019    Sony Music Entertainment
3529 Ozzy Osbourne                                Miracle Man                                      SR0000098705    Sony Music Entertainment
3530 Ozzy Osbourne                                Mississippi Queen                                SR0000388035    Sony Music Entertainment
3531 Ozzy Osbourne                                Mr. Crowley                                      SR0000028652    Sony Music Entertainment
3532 Ozzy Osbourne                                Mr. Tinkertrain                                  SR0000135019    Sony Music Entertainment
3533 Ozzy Osbourne                                Nightmare                                        SR0000628282    Sony Music Entertainment
3534 Ozzy Osbourne                                No Easy Way Out                                  SR0000303331    Sony Music Entertainment
3535 Ozzy Osbourne                                No More Tears                                    SR0000135019    Sony Music Entertainment
3536 Ozzy Osbourne                                Not Going Away                                   SR0000628282    Sony Music Entertainment
3537 Ozzy Osbourne                                Now You See It (Now You Don't)                   SR0000053824    Sony Music Entertainment
3538 Ozzy Osbourne                                Over The Mountain                                SR0000034167    Sony Music Entertainment
3539 Ozzy Osbourne                                Perry Mason                                      SR0000171292    Sony Music Entertainment
3540 Ozzy Osbourne                                Road To Nowhere                                  SR0000135019    Sony Music Entertainment
3541 Ozzy Osbourne                                Rock 'n' Roll Rebel                              SR0000053824    Sony Music Entertainment
3542 Ozzy Osbourne                                Shot In The Dark                                 SR0000076545    Sony Music Entertainment
3543 Ozzy Osbourne                                Slow Down                                        SR0000053824    Sony Music Entertainment
3544 Ozzy Osbourne                                So Tired                                         SR0000053824    Sony Music Entertainment
3545 Ozzy Osbourne                                Spiders                                          SR0000054446    Sony Music Entertainment
3546 Ozzy Osbourne                                Thunder Underground                              SR0000171292    Sony Music Entertainment
3547 Ozzy Osbourne                                Time After Time                                  SR0000135019    Sony Music Entertainment
3548 Ozzy Osbourne                                Waiting for Darkness                             SR0000053824    Sony Music Entertainment
3549 Ozzy Osbourne                                Won't Be Coming Home (S.I.N.)                    SR0000135019    Sony Music Entertainment
3550 Ozzy Osbourne                                You're No Different                              SR0000053824    Sony Music Entertainment
3551 Ozzy Osbourne                                Zombie Stomp                                     SR0000135019    Sony Music Entertainment
3552 P!nk                                         Are We All We Are                                SR0000709056    Sony Music Entertainment
3553 P!nk                                         Beam Me Up                                       SR0000709056    Sony Music Entertainment
3554 P!nk                                         Chaos & Piss                                     SR0000709377    Sony Music Entertainment
3555 P!nk                                         F**kin' Perfect                                  SR0000671699    Sony Music Entertainment
3556 P!nk                                         How Come You're Not Here                         SR0000709056    Sony Music Entertainment
3557 P!nk                                         Just Give Me A Reason                            SR0000709056    Sony Music Entertainment
3558 P!nk                                         Push You Away                                    SR0000644873    Sony Music Entertainment
3559 P!nk                                         Raise Your Glass                                 SR0000671699    Sony Music Entertainment
3560 P!nk                                         Slut Like You                                    SR0000709056    Sony Music Entertainment
3561 P!nk                                         Stupid Girls                                     SR0000727837    Sony Music Entertainment
3562 P!nk                                         The Great Escape                                 SR0000709056    Sony Music Entertainment
3563 P!nk                                         The Truth About Love                             SR0000709056    Sony Music Entertainment
3564 P!nk                                         Timebomb                                         SR0000709377    Sony Music Entertainment
3565 P!nk                                         Try                                              SR0000709056    Sony Music Entertainment
3566 P!nk                                         Walk of Shame                                    SR0000709056    Sony Music Entertainment
3567 P!nk                                         Where Did The Beat Go?                           SR0000709056    Sony Music Entertainment
3568 P!nk featuring Eminem                        Here Comes The Weekend                           SR0000709056    Sony Music Entertainment
3569 P!nk Featuring William Orbit                 Feel Good Time                                   PA0001242238    Sony Music Entertainment
3570 Passion Pit                                  Little Secrets                                   PA0001678112    Sony Music Entertainment
3571 Passion Pit                                  To Kingdom Come                                  PA0001683346    Sony Music Entertainment
3572 Paul Simon                                   Me and Julio Down By the Schoolyard              RE0000923092    Sony Music Entertainment
3573 Paul Simon                                   Mother And Child Reunion                         RE0000923092    Sony Music Entertainment
3574 Pearl Jam                                    1/2 Full                                         SR0000324204    Sony Music Entertainment
3575 Pearl Jam                                    All or None                                      SR0000324204    Sony Music Entertainment
3576 Pearl Jam                                    Animal (Remastered)                              SR0000207219    Sony Music Entertainment
3577 Pearl Jam                                    Arc                                              SR0000324204    Sony Music Entertainment
3578 Pearl Jam                                    Army Reserve                                     SR0000654748    Sony Music Entertainment
3579 Pearl Jam                                    Around The Bend                                  SR0000230851    Sony Music Entertainment
3580 Pearl Jam                                    Aya Davanita                                     SR0000206558    Sony Music Entertainment
3581 Pearl Jam                                    Better Man                                       SR0000206558    Sony Music Entertainment
3582 Pearl Jam                                    Big Wave                                         SR0000654748    Sony Music Entertainment



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                                                                    EXHIBIT A - SOUND RECORDINGS

                         Artist                                              Track                        Reg. No.                Plaintiff
3583 Pearl Jam                                    Black                                              SR0000137787    Sony Music Entertainment
3584 Pearl Jam                                    Blood (Remastered)                                 SR0000207219    Sony Music Entertainment
3585 Pearl Jam                                    Brain Of J.                                        SR0000255869    Sony Music Entertainment
3586 Pearl Jam                                    Breakerfall                                        SR0000300972    Sony Music Entertainment
3587 Pearl Jam                                    Breath And A Scream                                SR0000635733    Sony Music Entertainment
3588 Pearl Jam                                    Bu$hleaguer                                        SR0000324204    Sony Music Entertainment
3589 Pearl Jam                                    Bugs                                               SR0000206558    Sony Music Entertainment
3590 Pearl Jam                                    Can't Keep                                         SR0000324204    Sony Music Entertainment
3591 Pearl Jam                                    Come Back                                          SR0000654748    Sony Music Entertainment
3592 Pearl Jam                                    Corduroy                                           SR0000206558    Sony Music Entertainment
3593 Pearl Jam                                    Cropduster                                         SR0000324204    Sony Music Entertainment
3594 Pearl Jam                                    Daughter                                           SR0000207219    Sony Music Entertainment
3595 Pearl Jam                                    Deep                                               SR0000137787    Sony Music Entertainment
3596 Pearl Jam                                    Dissident                                          SR0000207219    Sony Music Entertainment
3597 Pearl Jam                                    Do the Evolution                                   SR0000255869    Sony Music Entertainment
3598 Pearl Jam                                    Elderly Woman Behind The Counter in a Small Town   SR0000207219    Sony Music Entertainment
3599 Pearl Jam                                    Evacuation                                         SR0000300972    Sony Music Entertainment
3600 Pearl Jam                                    Even Flow                                          SR0000137787    Sony Music Entertainment
3601 Pearl Jam                                    Faithful                                           SR0000255869    Sony Music Entertainment
3602 Pearl Jam                                    Garden                                             SR0000137787    Sony Music Entertainment
3603 Pearl Jam                                    Get Right                                          SR0000324204    Sony Music Entertainment
3604 Pearl Jam                                    Ghost                                              SR0000324204    Sony Music Entertainment
3605 Pearl Jam                                    Given To Fly                                       SR0000255869    Sony Music Entertainment
3606 Pearl Jam                                    Glorified G                                        SR0000207219    Sony Music Entertainment
3607 Pearl Jam                                    Go                                                 SR0000207219    Sony Music Entertainment
3608 Pearl Jam                                    Gods' Dice                                         SR0000300972    Sony Music Entertainment
3609 Pearl Jam                                    Gone                                               SR0000654748    Sony Music Entertainment
3610 Pearl Jam                                    Green Disease                                      SR0000324204    Sony Music Entertainment
3611 Pearl Jam                                    Grievance                                          SR0000300972    Sony Music Entertainment
3612 Pearl Jam                                    Habit                                              SR0000230851    Sony Music Entertainment
3613 Pearl Jam                                    Hail, Hail                                         SR0000230851    Sony Music Entertainment
3614 Pearl Jam                                    Help Help                                          SR0000324204    Sony Music Entertainment
3615 Pearl Jam                                    I Am Mine                                          SR0000324204    Sony Music Entertainment
3616 Pearl Jam                                    I'm Open                                           SR0000230851    Sony Music Entertainment
3617 Pearl Jam                                    Immortality                                        SR0000206558    Sony Music Entertainment
3618 Pearl Jam                                    In My Tree                                         SR0000230851    Sony Music Entertainment
3619 Pearl Jam                                    Indifference (Remastered)                          SR0000207219    Sony Music Entertainment
3620 Pearl Jam                                    Inside Job                                         SR0000654748    Sony Music Entertainment
3621 Pearl Jam                                    Insignificance                                     SR0000300972    Sony Music Entertainment
3622 Pearl Jam                                    Jeremy                                             SR0000137787    Sony Music Entertainment
3623 Pearl Jam                                    Last Exit                                          SR0000206558    Sony Music Entertainment
3624 Pearl Jam                                    Leash                                              SR0000207219    Sony Music Entertainment
3625 Pearl Jam                                    Life Wasted                                        SR0000654748    Sony Music Entertainment
3626 Pearl Jam                                    Light Years                                        SR0000300972    Sony Music Entertainment
3627 Pearl Jam                                    Love Boat Captain                                  SR0000324204    Sony Music Entertainment
3628 Pearl Jam                                    Low Light                                          SR0000255869    Sony Music Entertainment
3629 Pearl Jam                                    Lukin                                              SR0000230851    Sony Music Entertainment
3630 Pearl Jam                                    Mankind                                            SR0000230851    Sony Music Entertainment
3631 Pearl Jam                                    Marker In The Sand                                 SR0000654748    Sony Music Entertainment
3632 Pearl Jam                                    MFC                                                SR0000255869    Sony Music Entertainment
3633 Pearl Jam                                    No Way                                             SR0000255869    Sony Music Entertainment
3634 Pearl Jam                                    Not For You                                        SR0000206558    Sony Music Entertainment
3635 Pearl Jam                                    Nothingman                                         SR0000206558    Sony Music Entertainment
3636 Pearl Jam                                    Oceans                                             SR0000137787    Sony Music Entertainment
3637 Pearl Jam                                    Of The Girl                                        SR0000300972    Sony Music Entertainment
3638 Pearl Jam                                    Off He Goes                                        SR0000230851    Sony Music Entertainment
3639 Pearl Jam                                    Once                                               SR0000137787    Sony Music Entertainment
3640 Pearl Jam                                    Parachutes                                         SR0000654748    Sony Music Entertainment
3641 Pearl Jam                                    Parting Ways                                       SR0000300972    Sony Music Entertainment
3642 Pearl Jam                                    Pilate                                             SR0000255869    Sony Music Entertainment
3643 Pearl Jam                                    Porch                                              SR0000137787    Sony Music Entertainment
3644 Pearl Jam                                    Present Tense                                      SR0000230851    Sony Music Entertainment
3645 Pearl Jam                                    Pry, To                                            SR0000206558    Sony Music Entertainment
3646 Pearl Jam                                    Push Me, Pull Me                                   SR0000255869    Sony Music Entertainment
3647 Pearl Jam                                    Rats (Remastered)                                  SR0000207219    Sony Music Entertainment
3648 Pearl Jam                                    Rearviewmirror                                     SR0000207219    Sony Music Entertainment
3649 Pearl Jam                                    Red Bar (also known as "●" or "The Color Red")     SR0000255869    Sony Music Entertainment
3650 Pearl Jam                                    Red Mosquito                                       SR0000230851    Sony Music Entertainment



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                                                                       EXHIBIT A - SOUND RECORDINGS

                          Artist                                               Track                       Reg. No.                Plaintiff
3651 Pearl Jam                                    Release                                             SR0000137787    Sony Music Entertainment
3652 Pearl Jam                                    Rival                                               SR0000300972    Sony Music Entertainment
3653 Pearl Jam                                    Satan's Bed                                         SR0000206558    Sony Music Entertainment
3654 Pearl Jam                                    Save You                                            SR0000324204    Sony Music Entertainment
3655 Pearl Jam                                    Sleight Of Hand                                     SR0000300972    Sony Music Entertainment
3656 Pearl Jam                                    Smile                                               SR0000230851    Sony Music Entertainment
3657 Pearl Jam                                    Sometimes                                           SR0000230851    Sony Music Entertainment
3658 Pearl Jam                                    Soon Forget                                         SR0000300972    Sony Music Entertainment
3659 Pearl Jam                                    Spin The Black Circle                               SR0000206558    Sony Music Entertainment
3660 Pearl Jam                                    State Of Love And Trust                             SR0000635733    Sony Music Entertainment
3661 Pearl Jam                                    Stupidmop                                           SR0000206558    Sony Music Entertainment
3662 Pearl Jam                                    Thin Air                                            SR0000300972    Sony Music Entertainment
3663 Pearl Jam                                    Thumbing My Way                                     SR0000324204    Sony Music Entertainment
3664 Pearl Jam                                    Tremor Christ                                       SR0000206558    Sony Music Entertainment
3665 Pearl Jam                                    Unemployable                                        SR0000654748    Sony Music Entertainment
3666 Pearl Jam                                    W.M.A.                                              SR0000207219    Sony Music Entertainment
3667 Pearl Jam                                    Wasted Reprise                                      SR0000654748    Sony Music Entertainment
3668 Pearl Jam                                    Whipping                                            SR0000206558    Sony Music Entertainment
3669 Pearl Jam                                    Who You Are                                         SR0000230851    Sony Music Entertainment
3670 Pearl Jam                                    Why Go                                              SR0000137787    Sony Music Entertainment
3671 Pearl Jam                                    Wishlist                                            SR0000255869    Sony Music Entertainment
3672 Pearl Jam                                    World Wide Suicide                                  SR0000654748    Sony Music Entertainment
3673 Pearl Jam                                    Yellow Ledbetter                                    SR0000363498    Sony Music Entertainment
3674 Pharrell Williams Duet with Miley Cyrus      Come Get It Bae                                     SR0000756467    Sony Music Entertainment
3675 Pitbull                                      Call Of The Wild                                    SR0000641804    Sony Music Entertainment
3676 Pitbull                                      Can't Stop Me Now                                   SR0000641804    Sony Music Entertainment
3677 Pitbull                                      Celebrate                                           SR0000763595    Sony Music Entertainment
3678 Pitbull                                      Don't Stop the Party                                SR0000714643    Sony Music Entertainment
3679 Pitbull                                      Dope Ball (Interlude)                               SR0000641804    Sony Music Entertainment
3680 Pitbull                                      Drinks for You (Ladies Anthem)                      SR0000714643    Sony Music Entertainment
3681 Pitbull                                      Echa Pa'lla (Manos Pa'rriba)                        SR0000714643    Sony Music Entertainment
3682 Pitbull                                      Get It Started                                      SR0000714740    Sony Music Entertainment
3683 Pitbull                                      Girls                                               SR0000641804    Sony Music Entertainment
3684 Pitbull                                      Give Me Everything                                  SR0000681904    Sony Music Entertainment
3685 Pitbull                                      Give Them What They Ask For                         SR0000641804    Sony Music Entertainment
3686 Pitbull                                      Hotel Room Service                                  SR0000641804    Sony Music Entertainment
3687 Pitbull                                      I Know You Want Me                                  SR0000641804    Sony Music Entertainment
3688 Pitbull                                      I'm Off That                                        SR0000714643    Sony Music Entertainment
3689 Pitbull                                      Juice Box                                           SR0000641804    Sony Music Entertainment
3690 Pitbull                                      Pause                                               SR0000681904    Sony Music Entertainment
3691 Pitbull                                      Something For The DJs                               SR0000681904    Sony Music Entertainment
3692 Pitbull                                      Feel This Moment                                    SR0000714643    Sony Music Entertainment
3693 Pitbull                                      Last Night                                          SR0000714643    Sony Music Entertainment
3694 Pitbull & Ne-Yo                              Time of Our Lives                                   SR0000763598    Sony Music Entertainment
3695 Pitbull feat. Akon & David Rush              Everybody Fucks                                     SR0000714643    Sony Music Entertainment
3696 Pitbull feat. Bebe Rexha                     This Is Not A Drill                                 SR0000763598    Sony Music Entertainment
3697 Pitbull feat. Chloe Angelides                Sexy Beaches                                        SR0000763598    Sony Music Entertainment
3698 Pitbull feat. Chris Brown                    Hope We Meet Again                                  SR0000714643    Sony Music Entertainment
3699 Pitbull feat. Danny Mercer                   Outta Nowhere                                       SR0000714643    Sony Music Entertainment
3700 Pitbull feat. Enrique Iglesias               Tchu Tchu Tcha                                      SR0000714643    Sony Music Entertainment
3701 Pitbull feat. G.R.L.                         Wild Wild Love                                      SR0000763597    Sony Music Entertainment
3702 Pitbull feat. Heymous Molly                  Day Drinking                                        SR0000763598    Sony Music Entertainment
3703 Pitbull feat. Jason Derulo & Juicy J         Drive You Crazy                                     SR0000763598    Sony Music Entertainment
     Pitbull feat. Jennifer Lopez & Claudia
3704                                              We Are One (Ole Ola)                                SR0000763333    Sony Music Entertainment
     Leitte
3705 Pitbull feat. Ke$ha                          Timber                                              SR0000737322    Sony Music Entertainment
3706 Pitbull Feat. Lil Jon;Shawty Lo              Krazy                                               SR0000641804    Sony Music Entertainment
3707 Pitbull feat. Sean Paul                      Ah Leke                                             SR0000763598    Sony Music Entertainment
3708 Pitbull feat. Sensato                        Global Warming                                      SR0000714643    Sony Music Entertainment
3709 Pitbull feat. The Wanted & Afrojack          Have Some Fun                                       SR0000714643    Sony Music Entertainment
3710 Pitbull feat. Usher & Afrojack               Party Ain't Over                                    SR0000714643    Sony Music Entertainment
3711 Pitbull feat. Vein                           11:59                                               SR0000714643    Sony Music Entertainment
3712 Pitbull featuring Akon                       Shut It Down                                        SR0000641804    Sony Music Entertainment
3713 Pitbull Featuring Akon & DJ Frank E          Mr. Right Now                                       SR0000683282    Sony Music Entertainment
3714 Pitbull featuring Avery Storm                Triumph                                             SR0000641804    Sony Music Entertainment
3715 Pitbull featuring B.O.B.                     Across The World                                    SR0000641804    Sony Music Entertainment
3716 Pitbull Featuring Chris Brown                International Love                                  SR0000681904    Sony Music Entertainment
3717 Pitbull Featuring Enrique Iglesias           Come N Go                                           SR0000681904    Sony Music Entertainment



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                                                                     EXHIBIT A - SOUND RECORDINGS

                          Artist                                              Track                      Reg. No.                Plaintiff
3718 Pitbull Featuring Jamie Foxx                 Where Do We Go                                    SR0000681904    Sony Music Entertainment
     Pitbull Featuring Kelly Rowland & Jamie
3719                                              Castle Made Of Sand                               SR0000681904    Sony Music Entertainment
     Drastik
3720 Pitbull featuring Nayer & Bass III Euro      Full Of S**t                                      SR0000641804    Sony Music Entertainment
3721 Pitbull Featuring Nelly                      My Kinda Girl                                     SR0000683282    Sony Music Entertainment
     Pitbull Featuring Red Foo, Vein & David
3722                                              Took My Love                                      SR0000641804    Sony Music Entertainment
     Rush
3723 Pitbull featuring Slim                       Daddy's Little Girl                               SR0000641804    Sony Music Entertainment
3724 Pitbull featuring T-Pain                     Hey Baby (Drop It To The Floor)                   SR0000681904    Sony Music Entertainment
3725 Pitbull Featuring T-Pain & Sean Paul         Shake Senora                                      SR0000681904    Sony Music Entertainment
     Pitbull Featuring T-Pain, Sean Paul &
3726                                              Shake Senora Remix                                SR0000683282    Sony Music Entertainment
     Ludacris
3727 Pitbull Featuring Vein                       Mr. Worldwide (Intro)                             SR0000681904    Sony Music Entertainment
3728 Pitbull vs. Nicola Fasano                    Oye Baby                                          SR0000683282    Sony Music Entertainment
3729 R. Kelly                                     Cookie                                            SR0000737848    Sony Music Entertainment
3730 R. Kelly                                     Crazy Sex                                         SR0000737848    Sony Music Entertainment
3731 R. Kelly                                     Every Position                                    SR0000737848    Sony Music Entertainment
3732 R. Kelly                                     Genius                                            SR0000737850    Sony Music Entertainment
3733 R. Kelly                                     Marry the P***y                                   SR0000737848    Sony Music Entertainment
3734 R. Kelly                                     Physical                                          SR0000737848    Sony Music Entertainment
3735 R. Kelly                                     Prelude                                           SR0000737848    Sony Music Entertainment
3736 R. Kelly                                     Right Back                                        SR0000737848    Sony Music Entertainment
3737 R. Kelly                                     Shut Up                                           SR0000737848    Sony Music Entertainment
3738 R. Kelly                                     Spend That                                        SR0000737848    Sony Music Entertainment
3739 R. Kelly                                     Throw This Money On You                           SR0000737848    Sony Music Entertainment
3740 R. Kelly                                     You Deserve Better                                SR0000737848    Sony Music Entertainment
3741 R. Kelly & Usher                             Same Girl                                         SR0000726953    Sony Music Entertainment
3742 R. Kelly feat. 2 Chainz                      My Story                                          SR0000737848    Sony Music Entertainment
3743 R. Kelly feat. Future                        Tear It Up                                        SR0000737848    Sony Music Entertainment
3744 R. Kelly feat. Kelly Rowland                 All The Way                                       SR0000737848    Sony Music Entertainment
3745 R. Kelly feat. Ludacris                      Legs Shakin'                                      SR0000737848    Sony Music Entertainment
3746 R. Kelly feat. Migos & Juicy J               Show Ya P***y                                     SR0000737848    Sony Music Entertainment
3747 Raphael Saadiq                               100 Yard Dash                                     SR0000619872    Sony Music Entertainment
3748 Raphael Saadiq                               Calling                                           SR0000619872    Sony Music Entertainment
3749 Raphael Saadiq                               Day Dreams                                        SR0000677734    Sony Music Entertainment
3750 Raphael Saadiq                               Go To Hell                                        SR0000677734    Sony Music Entertainment
3751 Raphael Saadiq                               Good Man                                          SR0000677734    Sony Music Entertainment
3752 Raphael Saadiq                               Heart Attack                                      SR0000677734    Sony Music Entertainment
3753 Raphael Saadiq                               Keep Marchin'                                     SR0000619872    Sony Music Entertainment
3754 Raphael Saadiq                               Let's Take a Walk                                 SR0000619872    Sony Music Entertainment
3755 Raphael Saadiq                               Love That Girl                                    SR0000619872    Sony Music Entertainment
3756 Raphael Saadiq                               Movin' Down the Line                              SR0000677734    Sony Music Entertainment
3757 Raphael Saadiq                               Oh Girl                                           SR0000619872    Sony Music Entertainment
3758 Raphael Saadiq                               Over You                                          SR0000677734    Sony Music Entertainment
3759 Raphael Saadiq                               Radio                                             SR0000677734    Sony Music Entertainment
3760 Raphael Saadiq                               Sometimes                                         SR0000619872    Sony Music Entertainment
3761 Raphael Saadiq                               Staying In Love                                   SR0000619872    Sony Music Entertainment
3762 Raphael Saadiq                               Stone Rollin                                      SR0000677734    Sony Music Entertainment
3763 Raphael Saadiq                               Sure Hope You Mean It                             SR0000619872    Sony Music Entertainment
3764 Raphael Saadiq                               The Answer                                        SR0000677734    Sony Music Entertainment
3765 Raphael Saadiq feat. Joss Stone              Just One Kiss                                     SR0000619872    Sony Music Entertainment
       Raphael Saadiq feat. The Infamous Young
3766                                           Big Easy                                             SR0000619872    Sony Music Entertainment
       Spodie and the Rebirth Brass Band

3767 Raphael Saadiq feat. Yukimi Nakano           Just Don't                                        SR0000677734    Sony Music Entertainment
3768 Ray Charles                                  Seven Spanish Angels                              SR0000058443    Sony Music Entertainment
3769 Ray Charles;Billy Joel                       Baby Grand (duet w/Ray Charles)                   SR0000077612    Sony Music Entertainment
3770 Sade                                         All About Our Love                                SR0000298354    Sony Music Entertainment
3771 Sade                                         Bulletproof Soul                                  SR0000183731    Sony Music Entertainment
3772 Sade                                         By Your Side                                      SR0000298354    Sony Music Entertainment
3773 Sade                                         Cherish The Day                                   SR0000183731    Sony Music Entertainment
3774 Sade                                         Cherry Pie                                        SR0000069105    Sony Music Entertainment
3775 Sade                                         Clean Heart                                       SR0000093822    Sony Music Entertainment
3776 Sade                                         Every Word                                        SR0000298354    Sony Music Entertainment
3777 Sade                                         Fear                                              SR0000071848    Sony Music Entertainment
3778 Sade                                         Feel No Pain                                      SR0000183731    Sony Music Entertainment
3779 Sade                                         Flow                                              SR0000298354    Sony Music Entertainment
3780 Sade                                         Frankie's First Affair                            SR0000069105    Sony Music Entertainment



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                         Artist                                                Track                    Reg. No.                Plaintiff
3781 Sade                                         Give it Up                                       SR0000093822    Sony Music Entertainment
3782 Sade                                         Hang On To Your Love                             SR0000069105    Sony Music Entertainment
3783 Sade                                         Haunt Me                                         SR0000093822    Sony Music Entertainment
3784 Sade                                         I Couldn't Love You More                         SR0000183731    Sony Music Entertainment
3785 Sade                                         I Never Thought I'd See the Day                  SR0000093822    Sony Music Entertainment
3786 Sade                                         I Will Be Your Friend                            SR0000069105    Sony Music Entertainment
3787 Sade                                         Immigrant                                        SR0000298354    Sony Music Entertainment
3788 Sade                                         Is It A Crime                                    SR0000071848    Sony Music Entertainment
3789 Sade                                         It's Only Love That Gets You Through             SR0000298354    Sony Music Entertainment
3790 Sade                                         Jezebel                                          SR0000071848    Sony Music Entertainment
3791 Sade                                         Keep Looking                                     SR0000093822    Sony Music Entertainment
3792 Sade                                         King of Sorrow                                   SR0000298354    Sony Music Entertainment
3793 Sade                                         Kiss Of Life                                     SR0000183731    Sony Music Entertainment
3794 Sade                                         Like a Tattoo                                    SR0000183731    Sony Music Entertainment
3795 Sade                                         Love Is Stronger Than Pride                      SR0000093822    Sony Music Entertainment
3796 Sade                                         Lovers Rock                                      SR0000298354    Sony Music Entertainment
3797 Sade                                         Maureen                                          SR0000071848    Sony Music Entertainment
3798 Sade                                         Mermaid                                          SR0000183731    Sony Music Entertainment
3799 Sade                                         Never as Good as the First Time                  SR0000071848    Sony Music Entertainment
3800 Sade                                         No Ordinary Love                                 SR0000183731    Sony Music Entertainment
3801 Sade                                         Nothing Can Come Between Us                      SR0000093822    Sony Music Entertainment
3802 Sade                                         Paradise                                         SR0000093822    Sony Music Entertainment
3803 Sade                                         Pearls                                           SR0000183731    Sony Music Entertainment
3804 Sade                                         Please Send Me Someone to Love                   SR0000233773    Sony Music Entertainment
3805 Sade                                         Punch Drunk                                      SR0000071848    Sony Music Entertainment
3806 Sade                                         Sally                                            SR0000069105    Sony Music Entertainment
3807 Sade                                         Siempre Hay Esperanza                            SR0000093822    Sony Music Entertainment
3808 Sade                                         Slave Song                                       SR0000298354    Sony Music Entertainment
3809 Sade                                         Smooth Operator                                  SR0000069105    Sony Music Entertainment
3810 Sade                                         Somebody Already Broke My Heart                  SR0000298354    Sony Music Entertainment
3811 Sade                                         Tar Baby                                         SR0000071848    Sony Music Entertainment
3812 Sade                                         The Sweetest Gift                                SR0000298354    Sony Music Entertainment
3813 Sade                                         Turn My Back On You                              SR0000093822    Sony Music Entertainment
3814 Sade                                         War of the Hearts                                SR0000071848    Sony Music Entertainment
3815 Sade                                         When Am I Going To Make A Living                 SR0000069105    Sony Music Entertainment
3816 Sade                                         Why Can't We Live Together                       SR0000069105    Sony Music Entertainment
3817 Sade                                         You're Not The Man                               SR0000071848    Sony Music Entertainment
3818 Santana                                      All I Ever Wanted                                SR0000013645    Sony Music Entertainment
3819 Santana                                      Aqua Marine                                      SR0000013645    Sony Music Entertainment
3820 Santana                                      Blues for Salvador                               SR0000086429    Sony Music Entertainment
3821 Santana                                      Brightest Star                                   SR0000028839    Sony Music Entertainment
3822 Santana                                      Carnaval                                         N40322          Sony Music Entertainment
3823 Santana                                      Dance Sister Dance (Baila Mi Hermana)            N33113          Sony Music Entertainment
3824 Santana                                      Europa (Earth's Cry Heaven's Smile)              N33113          Sony Music Entertainment
3825 Santana                                      Flor D'Luna (Moonflower)                         RE0000927177    Sony Music Entertainment
3826 Santana                                      Full Moon                                        SR0000118423    Sony Music Entertainment
3827 Santana                                      Gypsy Woman                                      SR0000118423    Sony Music Entertainment
3828 Santana                                      Hannibal                                         SR0000086429    Sony Music Entertainment
3829 Santana                                      Hold On                                          SR0000039658    Sony Music Entertainment
3830 Santana                                      How Long                                         SR0000065770    Sony Music Entertainment
3831 Santana                                      I Love You Much Too Much                         SR0000028774    Sony Music Entertainment
3832 Santana                                      I'll Be Waiting                                  N40322          Sony Music Entertainment
3833 Santana                                      La Fuente del Ritmo                              N3383; N5328    Sony Music Entertainment
3834 Santana                                      Let the Children Play                            N40322          Sony Music Entertainment
3835 Santana                                      Mirage                                           RE0000872000    Sony Music Entertainment
3836 Santana                                      Nowhere to Run                                   SR0000039763    Sony Music Entertainment
3837 Santana                                      ONE CHAIN (DON'T MAKE NO PRISON)                 SR0000004781    Sony Music Entertainment
3838 Santana                                      Revelations                                      N40322          Sony Music Entertainment
3839 Santana                                      Say It Again                                     PA0000254926    Sony Music Entertainment
3840 Santana                                      The Sensitive Kind                               SR0000028774    Sony Music Entertainment
3841 Santana                                      Well All Right                                   SR0000004781    Sony Music Entertainment
3842 Santana                                      Winning                                          SR0000028839    Sony Music Entertainment
3843 Santana                                      You Know That I Love You                         SR0000013645    Sony Music Entertainment
3844 Sara Bareilles                               1000 Times                                       SR0000727195    Sony Music Entertainment
3845 Sara Bareilles                               Between The Lines                                SR0000609856    Sony Music Entertainment
3846 Sara Bareilles                               Bottle It Up                                     SR0000609856    Sony Music Entertainment
3847 Sara Bareilles                               Brave                                            SR0000727192    Sony Music Entertainment
3848 Sara Bareilles                               Cassiopeia                                       SR0000727195    Sony Music Entertainment



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                       Artist                                                 Track                     Reg. No.                Plaintiff
3849 Sara Bareilles                               Chasing The Sun                                  SR0000727195    Sony Music Entertainment
3850 Sara Bareilles                               City                                             SR0000609856    Sony Music Entertainment
3851 Sara Bareilles                               Come Round Soon                                  SR0000609856    Sony Music Entertainment
3852 Sara Bareilles                               December                                         SR0000727195    Sony Music Entertainment
3853 Sara Bareilles                               Eden                                             SR0000727195    Sony Music Entertainment
3854 Sara Bareilles                               Fairytale                                        SR0000609856    Sony Music Entertainment
3855 Sara Bareilles                               Gravity                                          SR0000609856    Sony Music Entertainment
3856 Sara Bareilles                               Hercules                                         SR0000727195    Sony Music Entertainment
3857 Sara Bareilles                               I Choose You                                     SR0000727195    Sony Music Entertainment
3858 Sara Bareilles                               Islands                                          SR0000727195    Sony Music Entertainment
3859 Sara Bareilles                               Little Black Dress                               SR0000727195    Sony Music Entertainment
3860 Sara Bareilles                               Love On The Rocks                                SR0000609856    Sony Music Entertainment
3861 Sara Bareilles                               Love Song                                        SR0000730822    Sony Music Entertainment
3862 Sara Bareilles                               Manhattan                                        SR0000727193    Sony Music Entertainment
3863 Sara Bareilles                               Many the Miles                                   SR0000609856    Sony Music Entertainment
3864 Sara Bareilles                               Morningside                                      SR0000609856    Sony Music Entertainment
3865 Sara Bareilles                               One Sweet Love                                   SR0000609856    Sony Music Entertainment
3866 Sara Bareilles                               Satellite Call                                   SR0000727195    Sony Music Entertainment
3867 Sara Bareilles                               Vegas                                            SR0000609856    Sony Music Entertainment
3868 Sarah McLachlan                              Don't Give Up On Us                              SR0000661978    Sony Music Entertainment
3869 Sarah McLachlan                              U Want Me 2                                      SR0000661978    Sony Music Entertainment
3870 Savage Garden                                A Thousand Words                                 SR0000299097    Sony Music Entertainment
3871 Savage Garden                                Affirmation                                      SR0000276120    Sony Music Entertainment
3872 Savage Garden                                Carry On Dancing                                 SR0000299097    Sony Music Entertainment
3873 Savage Garden                                Crash And Burn                                   SR0000276120    Sony Music Entertainment
3874 Savage Garden                                Hold Me                                          SR0000276120    Sony Music Entertainment
3875 Savage Garden                                Promises                                         SR0000299097    Sony Music Entertainment
3876 Savage Garden                                Tears Of Pearls                                  SR0000299097    Sony Music Entertainment
3877 Savage Garden                                The Animal Song                                  SR0000276120    Sony Music Entertainment
3878 Savage Garden                                Universe                                         SR0000299097    Sony Music Entertainment
3879 Savage Garden                                Violet                                           SR0000299097    Sony Music Entertainment
3880 Sean Kingston and Justin Bieber              Eenie Meenie                                     SR0000730824    Sony Music Entertainment
3881 Shakira                                      Devoción                                         SR0000669191    Sony Music Entertainment
3882 Shakira                                      Empire                                           SR0000756299    Sony Music Entertainment
3883 Shakira                                      Gordita                                          SR0000669191    Sony Music Entertainment
3884 Shakira                                      Lo Que Más                                       SR0000669191    Sony Music Entertainment
3885 Shakira                                      Loca (Featuring Dizzee Rascal)                   SR0000669191    Sony Music Entertainment
3886 Shakira                                      Loca (Featuring El Cata)                         SR0000669191    Sony Music Entertainment
3887 Shakira                                      Rabiosa                                          SR0000669191    Sony Music Entertainment
3888 Shakira                                      Waka Waka (This Time For Africa)                 SR0000669191    Sony Music Entertainment
3889 Sia                                          Be Good To Me                                    SR0000655573    Sony Music Entertainment
3890 Sia                                          Big Girl Little Girl                             SR0000655573    Sony Music Entertainment
3891 Sia                                          Cloud                                            SR0000655573    Sony Music Entertainment
3892 Sia                                          Hurting Me Now                                   SR0000655573    Sony Music Entertainment
3893 Sia                                          I'm in Here                                      SR0000655573    Sony Music Entertainment
3894 Sia                                          Never Gonna Leave Me                             SR0000655573    Sony Music Entertainment
3895 Sia                                          Oh Father                                        SR0000655573    Sony Music Entertainment
3896 Sia                                          Stop Trying                                      SR0000655573    Sony Music Entertainment
3897 Sia                                          The Co-Dependent                                 SR0000655573    Sony Music Entertainment
3898 Social Distortion                            Ball And Chain                                   SR0000115085    Sony Music Entertainment
3899 Social Distortion                            Ring Of Fire                                     SR0000115085    Sony Music Entertainment
3900 Social Distortion                            Story Of My Life                                 SR0000115085    Sony Music Entertainment
3901 Stevie Ray Vaughan & Double Trouble          Boot Hill                                        SR0000138313    Sony Music Entertainment
3902 Stevie Ray Vaughan & Double Trouble          Chitlins Con Carne                               SR0000138313    Sony Music Entertainment
3903 Stevie Ray Vaughan & Double Trouble          Close to You                                     SR0000138313    Sony Music Entertainment
3904 Stevie Ray Vaughan & Double Trouble          Empty Arms                                       SR0000138313    Sony Music Entertainment
3905 Stevie Ray Vaughan & Double Trouble          May I Have a Talk with You                       SR0000138313    Sony Music Entertainment
3906 Stevie Ray Vaughan & Double Trouble          So Excited                                       SR0000138313    Sony Music Entertainment
3907 Stevie Ray Vaughan & Double Trouble          Wham                                             SR0000138313    Sony Music Entertainment
3908 Stevie Ray Vaughan And Double Trouble        Life By The Drop                                 SR0000138313    Sony Music Entertainment
3909 Stevie Ray Vaughan And Double Trouble        Little Wing                                      SR0000138313    Sony Music Entertainment
3910 Stevie Ray Vaughan And Double Trouble        The Sky Is Crying                                SR0000138313    Sony Music Entertainment
3911 Suicide Silence                              Bludgeoned to Death                              SR0000623967    Sony Music Entertainment
3912 Suicide Silence                              Cancerous Skies                                  SR0000697040    Sony Music Entertainment
3913 Suicide Silence                              Cross-Eyed Catastrophe                           SR0000697040    Sony Music Entertainment
3914 Suicide Silence                              Destruction of a Statue                          SR0000623967    Sony Music Entertainment
3915 Suicide Silence                              Disengage                                        SR0000643826    Sony Music Entertainment
3916 Suicide Silence                              Eyes Sewn Shut                                   SR0000623967    Sony Music Entertainment



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                                                                    EXHIBIT A - SOUND RECORDINGS

                        Artist                                                Track                       Reg. No.                Plaintiff
3917 Suicide Silence                              Fuck Everything                                    SR0000697040    Sony Music Entertainment
3918 Suicide Silence                              Genocide                                           SR0000643826    Sony Music Entertainment
3919 Suicide Silence                              Girl of Glass                                      SR0000623967    Sony Music Entertainment
3920 Suicide Silence                              Green Monster                                      SR0000623967    Sony Music Entertainment
3921 Suicide Silence                              Hands of a Killer                                  SR0000623967    Sony Music Entertainment
3922 Suicide Silence                              Human Violence                                     SR0000697040    Sony Music Entertainment
3923 Suicide Silence                              In a Photograph                                    SR0000623967    Sony Music Entertainment
3924 Suicide Silence                              March To The Black Crown                           SR0000697040    Sony Music Entertainment
3925 Suicide Silence                              No Pity For a Coward                               SR0000623967    Sony Music Entertainment
3926 Suicide Silence                              No Time To Bleed                                   SR0000643826    Sony Music Entertainment
3927 Suicide Silence                              O.C.D.                                             SR0000697040    Sony Music Entertainment
3928 Suicide Silence                              Slaves to Substance                                SR0000697040    Sony Music Entertainment
3929 Suicide Silence                              Smashed                                            SR0000697040    Sony Music Entertainment
3930 Suicide Silence                              The Disease                                        SR0000623967    Sony Music Entertainment
3931 Suicide Silence                              The Fallen                                         SR0000623967    Sony Music Entertainment
3932 Suicide Silence                              The Only Thing That Sets Us Apart                  SR0000697040    Sony Music Entertainment
3933 Suicide Silence                              The Price of Beauty                                SR0000623967    Sony Music Entertainment
3934 Suicide Silence                              Unanswered                                         SR0000623967    Sony Music Entertainment
3935 Suicide Silence                              Witness the Addiction                              SR0000697040    Sony Music Entertainment
3936 Suicide Silence                              You Only Live Once                                 SR0000697040    Sony Music Entertainment
3937 Susan Boyle                                  Amazing Grace                                      SR0000645076    Sony Music Entertainment
3938 Susan Boyle                                  Cry Me A River                                     SR0000645076    Sony Music Entertainment
3939 Susan Boyle                                  Daydream Believer                                  SR0000645076    Sony Music Entertainment
3940 Susan Boyle                                  How Great Thou Art                                 SR0000645076    Sony Music Entertainment
3941 Susan Boyle                                  I Dreamed A Dream                                  SR0000645076    Sony Music Entertainment
3942 Susan Boyle                                  Proud                                              SR0000645076    Sony Music Entertainment
3943 Susan Boyle                                  Silent Night                                       SR0000645076    Sony Music Entertainment
3944 Susan Boyle                                  The End Of The World                               SR0000645076    Sony Music Entertainment
3945 Susan Boyle                                  Up To The Mountain                                 SR0000645076    Sony Music Entertainment
3946 Susan Boyle                                  Who I Was Born To Be                               SR0000645076    Sony Music Entertainment
3947 Susan Boyle                                  Wild Horses                                        SR0000645076    Sony Music Entertainment
3948 Susan Boyle                                  You'll See                                         SR0000645076    Sony Music Entertainment
3949 Switchfoot                                   Adding To The Noise                                SR0000347967    Sony Music Entertainment
3950 Switchfoot                                   Ammunition                                         SR0000347967    Sony Music Entertainment
3951 Switchfoot                                   Gone                                               SR0000347967    Sony Music Entertainment
3952 Switchfoot                                   Meant To Live                                      SR0000347967    Sony Music Entertainment
3953 Switchfoot                                   More Than Fine                                     SR0000347967    Sony Music Entertainment
3954 Switchfoot                                   On Fire                                            SR0000347967    Sony Music Entertainment
3955 Switchfoot                                   Redemption                                         SR0000347967    Sony Music Entertainment
3956 Switchfoot                                   The Beautiful Letdown                              SR0000347967    Sony Music Entertainment
3957 Switchfoot                                   Twenty-four                                        SR0000347967    Sony Music Entertainment
3958 System Of A Down                             Attack                                             SR0000388170    Sony Music Entertainment
3959 System Of A Down                             B.Y.O.B.                                           SR0000718994    Sony Music Entertainment
3960 System Of A Down                             Cigaro                                             SR0000372792    Sony Music Entertainment
3961 System of a Down                             Dreaming                                           SR0000388170    Sony Music Entertainment
3962 System Of A Down                             Holy Mountains                                     SR0000388170    Sony Music Entertainment
3963 System Of A Down                             Hypnotize                                          SR0000748788    Sony Music Entertainment
3964 System of a Down                             Kill Rock 'n Roll                                  SR0000388170    Sony Music Entertainment
3965 System Of A Down                             Lonely Day                                         SR0000388170    Sony Music Entertainment
3966 System of a Down                             Lost In Hollywood                                  SR0000372792    Sony Music Entertainment
3967 System Of A Down                             Old School Hollywood                               SR0000372792    Sony Music Entertainment
3968 System Of A Down                             Question!                                          SR0000372792    Sony Music Entertainment
3969 System Of A Down                             Radio/Video                                        SR0000372792    Sony Music Entertainment
3970 System Of A Down                             Revenga                                            SR0000372792    Sony Music Entertainment
3971 System Of A Down                             Sad Statue                                         SR0000372792    Sony Music Entertainment
3972 System Of A Down                             She's Like Heroin                                  SR0000388170    Sony Music Entertainment
3973 System of a Down                             Soldier Side                                       SR0000388170    Sony Music Entertainment
3974 System Of A Down                             Soldier Side - Intro                               SR0000372792    Sony Music Entertainment
3975 System Of A Down                             Stealing Society                                   SR0000388170    Sony Music Entertainment
3976 System Of A Down                             Tentative                                          SR0000388170    Sony Music Entertainment
3977 System Of A Down                             This Cocaine Makes Me Feel Like I'm On This Song   SR0000372792    Sony Music Entertainment
3978 System Of A Down                             U-Fig                                              SR0000388170    Sony Music Entertainment
3979 System Of A Down                             Vicinity Of Obscenity                              SR0000388170    Sony Music Entertainment
3980 System Of A Down                             Violent Pornography                                SR0000372792    Sony Music Entertainment
3981 T-Pain feat. B.o.B                           Up Down (Do This All Day)                          SR0000766922    Sony Music Entertainment
3982 Teddy Pendergrass                            All I Need Is You                                  SR0000012942    Sony Music Entertainment
3983 Teddy Pendergrass                            And If I Had                                       RE0000926587    Sony Music Entertainment
3984 Teddy Pendergrass                            Be Sure                                            RE0000926587    Sony Music Entertainment



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                                                                    EXHIBIT A - SOUND RECORDINGS

                      Artist                                                   Track                    Reg. No.                Plaintiff
3985 Teddy Pendergrass                            Cold, Cold World                                 SR0000002510    Sony Music Entertainment
3986 Teddy Pendergrass                            Do Me                                            SR0000012942    Sony Music Entertainment
3987 Teddy Pendergrass                            Easy, Easy, Got To Take It Easy                  RE0000926587    Sony Music Entertainment
3988 Teddy Pendergrass                            Get Up, Get Down, Get Funky, Get Loose           SR0000002555    Sony Music Entertainment
3989 Teddy Pendergrass                            Girl You Know                                    SR0000019849    Sony Music Entertainment
3990 Teddy Pendergrass                            I Just Called to Say                             SR0000019849    Sony Music Entertainment
3991 Teddy Pendergrass                            I'll Never See Heaven Again                      SR0000012942    Sony Music Entertainment
3992 Teddy Pendergrass                            If You Know Like I Know                          SR0000009608    Sony Music Entertainment
3993 Teddy Pendergrass                            Is It Still Good To Ya?                          SR0000019849    Sony Music Entertainment
3994 Teddy Pendergrass                            It Don't Hurt Now                                SR0000002510    Sony Music Entertainment
3995 Teddy Pendergrass                            Let Me Love You                                  SR0000019849    Sony Music Entertainment
3996 Teddy Pendergrass                            Life Is A Circle                                 SR0000012942    Sony Music Entertainment
3997 Teddy Pendergrass                            Life Is A Song Worth Singing                     SR0000002510    Sony Music Entertainment
3998 Teddy Pendergrass                            Set Me Free                                      SR0000012942    Sony Music Entertainment
3999 Teddy Pendergrass                            Somebody Told Me                                 RE0000926587    Sony Music Entertainment
4000 Teddy Pendergrass                            When Somebody Loves You Back                     SR0000002510    Sony Music Entertainment
4001 Teddy Pendergrass                            You Can't Hide From Yourself                     RE0000926587    Sony Music Entertainment
4002 Teddy Pendergrass & Stephanie Mills          Feel the Fire                                    SR0000019849    Sony Music Entertainment
4003 Teddy Pendergrass & Stephanie Mills          Take Me In Your Arms Tonight                     SR0000019849    Sony Music Entertainment
4004 Teena Marie                                  Call Me (I Got Yo Number)                        SR0000090900    Sony Music Entertainment
4005 Teena Marie                                  Cassanova Brown                                  SR0000050515    Sony Music Entertainment
4006 Teena Marie                                  Dear Lover                                       SR0000050515    Sony Music Entertainment
4007 Teena Marie                                  Here's Looking At You                            SR0000134764    Sony Music Entertainment
4008 Teena Marie                                  If I Were a Bell                                 SR0000134764    Sony Music Entertainment
4009 Teena Marie                                  Lovergirl                                        SR0000061732    Sony Music Entertainment
4010 Teena Marie                                  My Dear Mr. Gaye                                 SR0000062234    Sony Music Entertainment
4011 Teena Marie                                  Out On A Limb                                    SR0000062234    Sony Music Entertainment
4012 Teena Marie                                  Work It                                          SR0000090900    Sony Music Entertainment
4013 The Clash                                    Bankrobber                                       SR0000030054    Sony Music Entertainment
4014 The Clash                                    Brand New Cadillac                               SR0000016270    Sony Music Entertainment
4015 The Clash                                    Capital Radio One                                SR0000030054    Sony Music Entertainment
4016 The Clash                                    Career Opportunities                             SR0000293426    Sony Music Entertainment
4017 The Clash                                    Cheat                                            SR0000030054    Sony Music Entertainment
4018 The Clash                                    Clampdown                                        SR0000016270    Sony Music Entertainment
4019 The Clash                                    Complete Control                                 SR0000293426    Sony Music Entertainment
4020 The Clash                                    Death Or Glory                                   SR0000016270    Sony Music Entertainment
4021 The Clash                                    English Civil War                                SR0000006482    Sony Music Entertainment
4022 The Clash                                    Four Horsemen                                    SR0000016270    Sony Music Entertainment
4023 The Clash                                    Ghetto Defendant                                 SR0000034959    Sony Music Entertainment
4024 The Clash                                    Groovy Times                                     SR0000013444    Sony Music Entertainment
4025 The Clash                                    Hateful                                          SR0000016270    Sony Music Entertainment
4026 The Clash                                    I'm Not Down                                     SR0000016270    Sony Music Entertainment
4027 The Clash                                    Ivan Meets G.I. Joe                              SR0000024334    Sony Music Entertainment
4028 The Clash                                    Jimmy Jazz                                       SR0000016270    Sony Music Entertainment
4029 The Clash                                    Julie's Been Working for the Drug Squad          SR0000006482    Sony Music Entertainment
4030 The Clash                                    Koka Kola                                        SR0000016270    Sony Music Entertainment
4031 The Clash                                    London Calling                                   SR0000016270    Sony Music Entertainment
4032 The Clash                                    Lost In The Supermarket                          SR0000016270    Sony Music Entertainment
4033 The Clash                                    Lover's Rock                                     SR0000016270    Sony Music Entertainment
4034 The Clash                                    Police on my Back                                SR0000024334    Sony Music Entertainment
4035 The Clash                                    Revolution Rock                                  SR0000016270    Sony Music Entertainment
4036 The Clash                                    Rock the Casbah                                  SR0000034959    Sony Music Entertainment
4037 The Clash                                    Rudie Can't Fail                                 SR0000016270    Sony Music Entertainment
4038 The Clash                                    Safe European Home                               SR0000006482    Sony Music Entertainment
4039 The Clash                                    Somebody Got Murdered                            SR0000024334    Sony Music Entertainment
4040 The Clash                                    Spanish Bombs                                    SR0000016270    Sony Music Entertainment
4041 The Clash                                    Stay Free                                        SR0000006482    Sony Music Entertainment
4042 The Clash                                    Stop The World                                   SR0000760747    Sony Music Entertainment
4043 The Clash                                    Straight to Hell                                 SR0000034959    Sony Music Entertainment
4044 The Clash                                    The Card Cheat                                   SR0000016270    Sony Music Entertainment
4045 The Clash                                    The Guns Of Brixton                              SR0000016270    Sony Music Entertainment
4046 The Clash                                    The Magnificent Seven                            SR0000031262    Sony Music Entertainment
4047 The Clash                                    The Right Profile                                SR0000016270    Sony Music Entertainment
4048 The Clash                                    The Street Parade                                SR0000024334    Sony Music Entertainment
4049 The Clash                                    This is England                                  SR0000070039    Sony Music Entertainment
4050 The Clash                                    This Is Radio Clash                              SR0000033898    Sony Music Entertainment
4051 The Clash                                    Tommy Gun                                        SR0000006482    Sony Music Entertainment
4052 The Clash                                    Train In Vain                                    SR0000293426    Sony Music Entertainment



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                                                                     EXHIBIT A - SOUND RECORDINGS

                         Artist                                                Track                     Reg. No.                Plaintiff
4053 The Clash                                    Wrong 'Em Boyo                                    SR0000016270    Sony Music Entertainment
4054 The Fabulous Thunderbirds                    Look at That, Look at That                        SR0000076616    Sony Music Entertainment
4055 The Fabulous Thunderbirds                    Two Time My Lovin                                 SR0000076616    Sony Music Entertainment
4056 The Fabulous Thunderbirds                    Why Get Up                                        SR0000076616    Sony Music Entertainment
4057 The Fabulous Thunderbirds                    Wrap It Up                                        SR0000076616    Sony Music Entertainment
4058 The Fugees                                   Cowboys                                           SR0000222005    Sony Music Entertainment
4059 The Fugees                                   Family Business                                   SR0000222005    Sony Music Entertainment
4060 The Fugees                                   Killing Me Softly With His Song                   SR0000222005    Sony Music Entertainment
4061 The Fugees                                   The Beast                                         SR0000222005    Sony Music Entertainment
4062 The Neighbourhood                            Sweater Weather                                   SR0000728982    Sony Music Entertainment
4063 The Staple Singers                           Slippery People                                   SR0000061705    Sony Music Entertainment
4064 Three 6 Mafia                                Stay Fly                                          PA0001305910    Sony Music Entertainment
4065 Three Days Grace                             Animal I Have Become                              SR0000719115    Sony Music Entertainment
4066 Three Days Grace                             Bitter Taste                                      SR0000641798    Sony Music Entertainment
4067 Three Days Grace                             Break                                             SR0000641798    Sony Music Entertainment
4068 Three Days Grace                             Goin' Down                                        SR0000641798    Sony Music Entertainment
4069 Three Days Grace                             Last To Know                                      SR0000641798    Sony Music Entertainment
4070 Three Days Grace                             Life Starts Now                                   SR0000641798    Sony Music Entertainment
4071 Three Days Grace                             Lost In You                                       SR0000641798    Sony Music Entertainment
4072 Three Days Grace                             No More                                           SR0000641798    Sony Music Entertainment
4073 Three Days Grace                             Someone Who Cares                                 SR0000641798    Sony Music Entertainment
4074 Three Days Grace                             The Good Life                                     SR0000641798    Sony Music Entertainment
4075 Three Days Grace                             Without You                                       SR0000641798    Sony Music Entertainment
4076 Three Days Grace                             World So Cold                                     SR0000641798    Sony Music Entertainment
4077 Tinashe feat. Schoolboy Q                    2 On                                              SR0000763606    Sony Music Entertainment
4078 Tony Bennett & Amy Winehouse                 Body And Soul                                     SR0000701447    Sony Music Entertainment
4079 Tony Terry                                   With You                                          SR0000127422    Sony Music Entertainment
4080 Train                                        50 Ways To Say Goodbye                            SR0000700152    Sony Music Entertainment
4081 Train                                        Drive By                                          SR0000700152    Sony Music Entertainment
4082 Tyler Farr                                   Ain't Even Drinkin'                               SR0000735228    Sony Music Entertainment
4083 Tyler Farr                                   Cowgirl                                           SR0000735228    Sony Music Entertainment
4084 Tyler Farr                                   Dirty                                             SR0000735228    Sony Music Entertainment
4085 Tyler Farr                                   Hello Goodbye                                     SR0000729158    Sony Music Entertainment
4086 Tyler Farr                                   Living With the Blues                             SR0000735228    Sony Music Entertainment
4087 Tyler Farr                                   Makes You Wanna Drink                             SR0000729124    Sony Music Entertainment
4088 Tyler Farr                                   Redneck Crazy                                     SR0000729105    Sony Music Entertainment
4089 Tyler Farr                                   Whiskey in My Water                               SR0000735228    Sony Music Entertainment
4090 Tyler Farr                                   Wish I Had a Boat                                 SR0000735228    Sony Music Entertainment
4091 Tyler Farr feat. Colt Ford                   Chicks, Trucks, and Beer                          SR0000735228    Sony Music Entertainment
4092 Usher                                        2nd Round                                         SR0000731104    Sony Music Entertainment
4093 Usher                                        Can't Stop Won't Stop                             SR0000731104    Sony Music Entertainment
4094 Usher                                        Climax                                            SR0000731104    Sony Music Entertainment
4095 Usher                                        Dive                                              SR0000731104    Sony Music Entertainment
4096 Usher                                        Euphoria                                          SR0000731104    Sony Music Entertainment
4097 Usher                                        Good Kisser                                       SR0000773759    Sony Music Entertainment
4098 Usher                                        Hey Daddy (Daddy's Home)                          SR0000652023    Sony Music Entertainment
4099 Usher                                        I Care For U                                      SR0000731104    Sony Music Entertainment
4100 Usher                                        I.F.U.                                            SR0000731104    Sony Music Entertainment
4101 Usher                                        Lemme See                                         SR0000731104    Sony Music Entertainment
4102 Usher                                        Lessons For The Lover                             SR0000731104    Sony Music Entertainment
4103 Usher                                        Love In This Club                                 SR0000742199    Sony Music Entertainment
4104 Usher                                        More                                              SR0000652023    Sony Music Entertainment
4105 Usher                                        Numb                                              SR0000731104    Sony Music Entertainment
4106 Usher                                        Papers                                            SR0000652023    Sony Music Entertainment
4107 Usher                                        Say The Words                                     SR0000731104    Sony Music Entertainment
4108 Usher                                        Scream                                            SR0000731104    Sony Music Entertainment
4109 Usher                                        Show Me                                           SR0000731104    Sony Music Entertainment
4110 Usher                                        Sins Of My Father                                 SR0000731104    Sony Music Entertainment
4111 Usher                                        There Goes My Baby                                SR0000652023    Sony Music Entertainment
4112 Usher                                        What Happened To U                                SR0000731104    Sony Music Entertainment
4113 Usher feat. Nicki Minaj                      Lil Freak                                         SR0000652023    Sony Music Entertainment
4114 Usher feat. T.I.                             Guilty                                            SR0000652023    Sony Music Entertainment
4115 Usher feat. will.i.am                        OMG                                               PA0001700214    Sony Music Entertainment
4116 Usher featuring A$AP Rocky                   Hot Thing                                         SR0000731104    Sony Music Entertainment
4117 Usher featuring Luke Steele                  Looking 4 Myself                                  SR0000731104    Sony Music Entertainment
4118 Walk The Moon                                Anna Sun                                          SR0000709118    Sony Music Entertainment
4119 WALK THE MOON                                Next In Line                                      SR0000709118    Sony Music Entertainment
4120 WALK THE MOON                                Tightrope                                         SR0000709118    Sony Music Entertainment



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                         Artist                                                Track                                Reg. No.                Plaintiff
4121 Warrant                                      32 Pennies                                                   SR0000103108    Sony Music Entertainment
4122 Warrant                                      Bed Of Roses                                                 SR0000122785    Sony Music Entertainment
4123 Warrant                                      Big Talk                                                     SR0000103108    Sony Music Entertainment
4124 Warrant                                      Cherry Pie                                                   SR0000122785    Sony Music Entertainment
4125 Warrant                                      D.R.F.S.R.                                                   SR0000103108    Sony Music Entertainment
4126 Warrant                                      Down Boys                                                    SR0000103108    Sony Music Entertainment
4127 Warrant                                      Heaven                                                       SR0000103108    Sony Music Entertainment
4128 Warrant                                      I Saw Red                                                    SR0000122785    Sony Music Entertainment
4129 Warrant                                      Mr. Rainmaker                                                SR0000122785    Sony Music Entertainment
4130 Warrant                                      Sometimes She Cries                                          SR0000103108    Sony Music Entertainment
4131 Warrant                                      Sure Feels Good to Me                                        SR0000122785    Sony Music Entertainment
4132 Warrant                                      The Hole In My Wall                                          SR0000146976    Sony Music Entertainment
4133 Warrant                                      Train, Train                                                 SR0000122785    Sony Music Entertainment
4134 Warrant                                      Uncle Tom's Cabin                                            SR0000122785    Sony Music Entertainment
4135 Weird Al Yankovic                            (This Song's Just) Six Words Long                            SR0000088931    Sony Music Entertainment
4136 Weird Al Yankovic                            Alimony                                                      SR0000088931    Sony Music Entertainment
4137 Weird Al Yankovic                            Another One Rides The Bus                                    SR0000046144    Sony Music Entertainment
4138 Weird Al Yankovic                            Attack Of The Radioactive Hamsters From A Planet Near Mars   SR0000108100    Sony Music Entertainment
4139 Weird Al Yankovic                            Buckingham Blues                                             SR0000046320    Sony Music Entertainment
4140 Weird Al Yankovic                            Buy Me A Condo                                               SR0000054056    Sony Music Entertainment
4141 Weird Al Yankovic                            Cable TV                                                     SR0000068020    Sony Music Entertainment
4142 Weird Al Yankovic                            Christmas At Ground Zero                                     SR0000078099    Sony Music Entertainment
4143 Weird Al Yankovic                            Dare To Be Stupid                                            SR0000068020    Sony Music Entertainment
4144 Weird Al Yankovic                            Dog Eat Dog                                                  SR0000078099    Sony Music Entertainment
4145 Weird Al Yankovic                            Eat It                                                       SR0000054439    Sony Music Entertainment
4146 Weird Al Yankovic                            Fat                                                          SR0000088931    Sony Music Entertainment
4147 Weird Al Yankovic                            Fun Zone                                                     SR0000108100    Sony Music Entertainment
4148 Weird Al Yankovic                            Gandhi II                                                    SR0000108100    Sony Music Entertainment
4149 Weird Al Yankovic                            Generic Blues                                                SR0000108100    Sony Music Entertainment
4150 Weird Al Yankovic                            George Of The Jungle                                         SR0000068020    Sony Music Entertainment
4151 Weird Al Yankovic                            Girls Just Want To Have Lunch                                SR0000068020    Sony Music Entertainment
4152 Weird Al Yankovic                            Good Enough For Now                                          SR0000078099    Sony Music Entertainment
4153 Weird Al Yankovic                            Good Old Days                                                SR0000088931    Sony Music Entertainment
4154 Weird Al Yankovic                            Gotta Boogie                                                 SR0000046144    Sony Music Entertainment
4155 Weird Al Yankovic                            Happy Birthday                                               SR0000046144    Sony Music Entertainment
4156 Weird Al Yankovic                            Here's Johnny                                                SR0000078099    Sony Music Entertainment
4157 Weird Al Yankovic                            Hooked On Polkas                                             SR0000068020    Sony Music Entertainment
4158 Weird Al Yankovic                            I Lost On Jeopardy                                           SR0000054056    Sony Music Entertainment
4159 Weird Al Yankovic                            I Love Rocky Road                                            SR0000046144    Sony Music Entertainment
4160 Weird Al Yankovic                            I Want A New Duck                                            SR0000068020    Sony Music Entertainment
4161 Weird Al Yankovic                            I'll Be Mellow When I'm Dead                                 SR0000046144    Sony Music Entertainment
4162 Weird Al Yankovic                            Isle Thing                                                   SR0000108100    Sony Music Entertainment
4163 Weird Al Yankovic                            King Of Suede                                                SR0000054056    Sony Music Entertainment
4164 Weird Al Yankovic                            Lasagna                                                      SR0000088931    Sony Music Entertainment
4165 Weird Al Yankovic                            Like A Surgeon                                               PA0000254936    Sony Music Entertainment
4166 Weird Al Yankovic                            Melanie                                                      SR0000088931    Sony Music Entertainment
4167 Weird Al Yankovic                            Midnight Star                                                SR0000054056    Sony Music Entertainment
4168 Weird Al Yankovic                            Money for Nothing/Beverly Hillbillies                        SR0000108100    Sony Music Entertainment
4169 Weird Al Yankovic                            Mr. Frump In The Iron Lung                                   SR0000046144    Sony Music Entertainment
4170 Weird Al Yankovic                            Mr. Popeil                                                   SR0000054056    Sony Music Entertainment
4171 Weird Al Yankovic                            Nature Trail To Hell                                         SR0000054056    Sony Music Entertainment
4172 Weird Al Yankovic                            One More Minute                                              SR0000068020    Sony Music Entertainment
4173 Weird Al Yankovic                            One Of Those Days                                            SR0000078099    Sony Music Entertainment
4174 Weird Al Yankovic                            Polka Party                                                  SR0000078099    Sony Music Entertainment
4175 Weird Al Yankovic                            Polkas On 45                                                 SR0000054056    Sony Music Entertainment
4176 Weird Al Yankovic                            Ricky                                                        SR0000046320    Sony Music Entertainment
4177 Weird Al Yankovic                            She Drives Like Crazy                                        SR0000108100    Sony Music Entertainment
4178 Weird Al Yankovic                            Spam                                                         SR0000108100    Sony Music Entertainment
4179 Weird Al Yankovic                            Spatula City                                                 SR0000108100    Sony Music Entertainment
4180 Weird Al Yankovic                            Stop Draggin' My Car Around                                  SR0000046144    Sony Music Entertainment
4181 Weird Al Yankovic                            Such A Groovy Guy                                            SR0000046144    Sony Music Entertainment
4182 Weird Al Yankovic                            That Boy Could Dance                                         SR0000054439    Sony Music Entertainment
4183 Weird Al Yankovic                            The Biggest Ball Of Twine In Minnesota                       SR0000108100    Sony Music Entertainment
4184 Weird Al Yankovic                            The Brady Bunch                                              SR0000054056    Sony Music Entertainment
4185 Weird Al Yankovic                            The Check's In The Mail                                      SR0000046144    Sony Music Entertainment
4186 Weird Al Yankovic                            The Hot Rocks Polka                                          SR0000108100    Sony Music Entertainment
4187 Weird Al Yankovic                            Theme From Rocky XIII                                        SR0000054056    Sony Music Entertainment



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                                                                      EXHIBIT A - SOUND RECORDINGS

                       Artist                                                  Track                      Reg. No.                Plaintiff
4188 Weird Al Yankovic                            This Is The Life                                   SR0000068020    Sony Music Entertainment
4189 Weird Al Yankovic                            Toothless People                                   SR0000078099    Sony Music Entertainment
4190 Weird Al Yankovic                            Twister                                            SR0000088931    Sony Music Entertainment
4191 Weird Al Yankovic                            Uhf                                                SR0000108100    Sony Music Entertainment
4192 Weird Al Yankovic                            Velvet Elvis                                       SR0000088931    Sony Music Entertainment
4193 Weird Al Yankovic                            Yoda                                               SR0000068020    Sony Music Entertainment
4194 Weird Al Yankovic                            You Make Me                                        SR0000088931    Sony Music Entertainment
4195 Wham                                         Careless Whisper                                   SR0000068616    Sony Music Entertainment
4196 Whitney Houston                              A Song For You                                     SR0000644885    Sony Music Entertainment
4197 Whitney Houston                              Call You Tonight                                   SR0000644885    Sony Music Entertainment
4198 Whitney Houston                              For The Lovers                                     SR0000644885    Sony Music Entertainment
4199 Whitney Houston                              I Didn't Know My Own Strength                      SR0000644885    Sony Music Entertainment
4200 Whitney Houston                              I Got You                                          SR0000644885    Sony Music Entertainment
4201 Whitney Houston                              I Look To You                                      SR0000644885    Sony Music Entertainment
4202 Whitney Houston                              Million Dollar Bill                                SR0000644885    Sony Music Entertainment
4203 Whitney Houston                              Nothin' But Love                                   SR0000644885    Sony Music Entertainment
4204 Whitney Houston                              Salute                                             SR0000644885    Sony Music Entertainment
4205 Whitney Houston                              Worth It                                           SR0000644885    Sony Music Entertainment
4206 Whitney Houston featuring Akon               Like I Never Left                                  SR0000644885    Sony Music Entertainment
4207 Willie Nelson                                Always On My Mind                                  SR0000034836    Sony Music Entertainment
4208 Willie Nelson                                Angel Flying Too Close To The Ground               SR0000033917    Sony Music Entertainment
4209 Willie Nelson                                City Of New Orleans                                SR0000055605    Sony Music Entertainment
4210 Willie Nelson                                Forgiving You Was Easy                             SR0000064588    Sony Music Entertainment
4211 Willie Nelson                                Good Hearted Woman                                 SR0000004979    Sony Music Entertainment
4212 Willie Nelson                                Graceland                                          SR0000153066    Sony Music Entertainment
4213 Willie Nelson                                Last Thing I Needed First Thing This Morning       SR0000034842    Sony Music Entertainment
4214 Willie Nelson                                My Heroes Have Always Been Cowboys                 SR0000015871    Sony Music Entertainment
                                                                                                     PA0000084966
4215 Willie Nelson                                On The Road Again                                                  Sony Music Entertainment
                                                                                                     SR0000034019
4216 Willie Nelson with Ray Price                 Faded Love                                         SR0000019676    Sony Music Entertainment
4217 Marc Anthony                                 A Quién Quiero Mentirle                            SR0000654928    Sony Music Entertainment US Latin
4218 Marc Anthony                                 Aguanile                                           SR0000615507    Sony Music Entertainment US Latin
4219 Marc Anthony                                 Amada Amante                                       SR0000654928    Sony Music Entertainment US Latin
4220 Marc Anthony                                 Che Che Colé                                       SR0000615507    Sony Music Entertainment US Latin
4221 Marc Anthony                                 El Cantante                                        SR0000615507    Sony Music Entertainment US Latin
4222 Marc Anthony                                 El Día de Mi Suerte                                SR0000615507    Sony Music Entertainment US Latin
4223 Marc Anthony                                 Escandalo                                          SR0000615507    Sony Music Entertainment US Latin
4224 Marc Anthony                                 Qué Lío                                            SR0000615507    Sony Music Entertainment US Latin
4225 Marc Anthony                                 Quítate Tú Pa' Ponerme Yo                          SR0000615507    Sony Music Entertainment US Latin
4226 Marc Anthony                                 Te Lo Pido Por Favor                               SR0000654928    Sony Music Entertainment US Latin
4227 Marc Anthony                                 Todo Tiene Su Final                                SR0000615507    Sony Music Entertainment US Latin
4228 Marc Anthony                                 Y Cómo Es Él                                       SR0000654928    Sony Music Entertainment US Latin
4229 Shakira                                      La Tortura                                         SR0000711081    Sony Music Entertainment US Latin
4230 2 Chainz                                     Feds Watching                                      SR0000724645    UMG Recordings, Inc.
4231 2 Chainz                                     Ghetto Dreams                                      SR0000706415    UMG Recordings, Inc.
4232 2 Chainz                                     No Lie                                             SR0000700831    UMG Recordings, Inc.
4233 2 Chainz                                     Wut We Doin?                                       SR0000706415    UMG Recordings, Inc.
4234 2Pac                                         2 Of Amerikaz Most Wanted                          SR0000331786    UMG Recordings, Inc.
4235 2Pac                                         Brenda's Got A Baby                                SR0000172261    UMG Recordings, Inc.
4236 2Pac                                         California Love                                    SR0000331786    UMG Recordings, Inc.
4237 2Pac                                         Can U Get Away                                     SR0000198774    UMG Recordings, Inc.
4238 2Pac                                         Changes                                            SR0000246223    UMG Recordings, Inc.
4239 2Pac                                         Dear Mama                                          SR0000198941    UMG Recordings, Inc.
4240 2Pac                                         Death Around The Corner                            SR0000198774    UMG Recordings, Inc.
4241 2Pac                                         Definition Of A Thug N***a                         SR0000260354    UMG Recordings, Inc.
4242 2Pac                                         Dopefiend's Diner                                  SR0000627960    UMG Recordings, Inc.
4243 2Pac                                         Fuck The World                                     SR0000198774    UMG Recordings, Inc.
4244 2Pac                                         Ghetto Gospel                                      SR0000366107    UMG Recordings, Inc.
4245 2Pac                                         Hail Mary                                          SR0000331786    UMG Recordings, Inc.
4246 2Pac                                         Heavy In The Game                                  SR0000198774    UMG Recordings, Inc.
4247 2Pac                                         How Do U Want It                                   SR0000331786    UMG Recordings, Inc.
4248 2Pac                                         I Ain't Mad At Cha                                 SR0000331786    UMG Recordings, Inc.
4249 2Pac                                         If I Die 2Nite                                     SR0000198774    UMG Recordings, Inc.
4250 2Pac                                         It Ain't Easy                                      SR0000198774    UMG Recordings, Inc.
4251 2Pac                                         Keep Ya Head Up                                    SR0000152641    UMG Recordings, Inc.
4252 2Pac                                         Lord Knows                                         SR0000198774    UMG Recordings, Inc.
4253 2Pac                                         Me Against The World                               SR0000198774    UMG Recordings, Inc.
4254 2Pac                                         Never Call U B**** Again                           SR0000323532    UMG Recordings, Inc.



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                                                                     EXHIBIT A - SOUND RECORDINGS

                         Artist                                               Track                      Reg. No.              Plaintiff
4255 2Pac                                         Old School                                        SR0000198774    UMG Recordings, Inc.
4256 2Pac                                         Resist The Temptation                             SR0000331786    UMG Recordings, Inc.
4257 2Pac                                         So Many Tears                                     SR0000198774    UMG Recordings, Inc.
4258 2Pac                                         Still Ballin'                                     SR0000323532    UMG Recordings, Inc.
4259 2Pac                                         Temptations                                       SR0000198774    UMG Recordings, Inc.
4260 2Pac                                         They Don't Give A F**** About Us                  SR0000323532    UMG Recordings, Inc.
4261 2Pac                                         Thugz Mansion                                     SR0000323532    UMG Recordings, Inc.
4262 2Pac                                         Trapped                                           SR0000172261    UMG Recordings, Inc.
4263 2Pac                                         Unconditional Love                                SR0000246223    UMG Recordings, Inc.
4264 2Pac                                         Until The End Of Time                             SR0000295873    UMG Recordings, Inc.
4265 2Pac                                         When I Get Free                                   SR0000260354    UMG Recordings, Inc.
4266 2Pac                                         Young Niggaz                                      SR0000198774    UMG Recordings, Inc.
4267 50 Cent                                      21 Questions (Explicit)                           SR0000332595    UMG Recordings, Inc.
4268 50 Cent                                      8 More Miles                                      SR0000338743    UMG Recordings, Inc.
4269 50 Cent                                      A Baltimore Love Thing                            SR0000366051    UMG Recordings, Inc.
4270 50 Cent                                      All Of Me                                         SR0000611234    UMG Recordings, Inc.
4271 50 Cent                                      Amusement Park                                    SR0000611234    UMG Recordings, Inc.
4272 50 Cent                                      Back Down                                         SR0000337801    UMG Recordings, Inc.
4273 50 Cent                                      Blood Hound                                       SR0000337801    UMG Recordings, Inc.
4274 50 Cent                                      Build You Up                                      SR0000366051    UMG Recordings, Inc.
4275 50 Cent                                      Candy Shop                                        SR0000366051    UMG Recordings, Inc.
4276 50 Cent                                      Come & Go                                         SR0000611234    UMG Recordings, Inc.
4277 50 Cent                                      Come and Go                                       SR0000611234    UMG Recordings, Inc.
4278 50 Cent                                      Curtis 187                                        SR0000611234    UMG Recordings, Inc.
4279 50 Cent                                      Disco Inferno                                     SR0000366950    UMG Recordings, Inc.
4280 50 Cent                                      Don't Push Me                                     SR0000337801    UMG Recordings, Inc.
4281 50 Cent                                      Fire                                              SR0000611234    UMG Recordings, Inc.
4282 50 Cent                                      Follow My Lead                                    SR0000611234    UMG Recordings, Inc.
4283 50 Cent                                      Fully Loaded Clip                                 SR0000611234    UMG Recordings, Inc.
4284 50 Cent                                      GATman And Robbin                                 SR0000366051    UMG Recordings, Inc.
4285 50 Cent                                      Get In My Car                                     SR0000366051    UMG Recordings, Inc.
4286 50 Cent                                      God Gave Me Style                                 SR0000366051    UMG Recordings, Inc.
4287 50 Cent                                      Gotta Make It To Heaven                           SR0000337801    UMG Recordings, Inc.
4288 50 Cent                                      Gunz Come Out                                     SR0000366051    UMG Recordings, Inc.
4289 50 Cent                                      Hate It Or Love It                                SR0000366051    UMG Recordings, Inc.
4290 50 Cent                                      Heat                                              SR0000337801    UMG Recordings, Inc.
4291 50 Cent                                      High All The Time                                 SR0000337801    UMG Recordings, Inc.
4292 50 Cent                                      Hustler's Ambition                                SR0000382030    UMG Recordings, Inc.
4293 50 Cent                                      I Don't Need 'Em                                  SR0000366051    UMG Recordings, Inc.
4294 50 Cent                                      I Get Money                                       SR0000610389    UMG Recordings, Inc.
4295 50 Cent                                      I'll Still Kill                                   SR0000611234    UMG Recordings, Inc.
4296 50 Cent                                      I'm Supposed To Die Tonight                       SR0000366051    UMG Recordings, Inc.
4297 50 Cent                                      If I Can't                                        SR0000337801    UMG Recordings, Inc.
4298 50 Cent                                      In My Hood                                        SR0000366051    UMG Recordings, Inc.
4299 50 Cent                                      Intro                                             SR0000611234    UMG Recordings, Inc.
4300 50 Cent                                      Intro/ 50 Cent/ The Massacre                      SR0000366051    UMG Recordings, Inc.
4301 50 Cent                                      Just A Lil Bit                                    SR0000366051    UMG Recordings, Inc.
4302 50 Cent                                      Lifes On The Line                                 SR0000337801    UMG Recordings, Inc.
4303 50 Cent                                      Like My Style                                     SR0000337801    UMG Recordings, Inc.
4304 50 Cent                                      Man Down                                          SR0000611234    UMG Recordings, Inc.
4305 50 Cent                                      Many Men (Wish Death)                             SR0000337801    UMG Recordings, Inc.
4306 50 Cent                                      Movin On Up                                       SR0000611234    UMG Recordings, Inc.
4307 50 Cent                                      My Gun Go Off                                     SR0000611234    UMG Recordings, Inc.
4308 50 Cent                                      My Toy Soldier                                    SR0000366051    UMG Recordings, Inc.
4309 50 Cent                                      Outta Control                                     SR0000366051    UMG Recordings, Inc.
4310 50 Cent                                      P.I.M.P.                                          SR0000337801    UMG Recordings, Inc.
4311 50 Cent                                      Patiently Waiting                                 SR0000337801    UMG Recordings, Inc.
4312 50 Cent                                      Peep Show                                         SR0000611234    UMG Recordings, Inc.
4313 50 Cent                                      Piggy Bank                                        SR0000366051    UMG Recordings, Inc.
4314 50 Cent                                      Poor Lil Rich                                     SR0000337801    UMG Recordings, Inc.
4315 50 Cent                                      Position Of Power                                 SR0000366051    UMG Recordings, Inc.
4316 50 Cent                                      Ryder Music                                       SR0000366051    UMG Recordings, Inc.
4317 50 Cent                                      Ski Mask Way                                      SR0000366051    UMG Recordings, Inc.
4318 50 Cent                                      So Amazing                                        SR0000366051    UMG Recordings, Inc.
4319 50 Cent                                      Straight To The Bank                              SR0000611234    UMG Recordings, Inc.
4320 50 Cent                                      This Is 50                                        SR0000366051    UMG Recordings, Inc.
4321 50 Cent                                      Touch The Sky                                     SR0000611234    UMG Recordings, Inc.
4322 50 Cent                                      U Not Like Me                                     SR0000337801    UMG Recordings, Inc.



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                         Artist                                                  Track                      Reg. No.              Plaintiff
4323 50 Cent                                      Wanksta                                              SR0000322706    UMG Recordings, Inc.
4324 50 Cent                                      What Up Gangsta                                      SR0000337801    UMG Recordings, Inc.
4325 A Perfect Circle                             A Stranger                                           SR0000341312    UMG Recordings, Inc.
4326 A Perfect Circle                             Crimes                                               SR0000341312    UMG Recordings, Inc.
4327 A Perfect Circle                             Gravity                                              SR0000341312    UMG Recordings, Inc.
4328 A Perfect Circle                             Lullaby                                              SR0000341312    UMG Recordings, Inc.
4329 A Perfect Circle                             Pet                                                  SR0000341312    UMG Recordings, Inc.
4330 A Perfect Circle                             The Noose                                            SR0000341312    UMG Recordings, Inc.
4331 A Perfect Circle                             The Nurse Who Loved Me                               SR0000341312    UMG Recordings, Inc.
4332 A Perfect Circle                             Vanishing                                            SR0000341312    UMG Recordings, Inc.
4333 A Perfect Circle                             Weak And Powerless                                   SR0000341312    UMG Recordings, Inc.
4334 Ace Hood                                     Beautiful                                            SR0000681567    UMG Recordings, Inc.
4335 Ace Hood                                     Bitter World                                         SR0000681567    UMG Recordings, Inc.
4336 Ace Hood                                     Body 2 Body                                          SR0000681567    UMG Recordings, Inc.
4337 Ace Hood                                     ErrryThang                                           SR0000681567    UMG Recordings, Inc.
4338 Ace Hood                                     Go N' Get It                                         SR0000681573    UMG Recordings, Inc.
4339 Ace Hood                                     Hustle Hard                                          SR0000681567    UMG Recordings, Inc.
4340 Ace Hood                                     I Know                                               SR0000681567    UMG Recordings, Inc.
4341 Ace Hood                                     King Of The Streets                                  SR0000681567    UMG Recordings, Inc.
4342 Ace Hood                                     Letter To My Ex's                                    SR0000681567    UMG Recordings, Inc.
4343 Ace Hood                                     Lord Knows                                           SR0000681567    UMG Recordings, Inc.
4344 Ace Hood                                     Memory Lane                                          SR0000681567    UMG Recordings, Inc.
4345 Ace Hood                                     Real Big                                             SR0000681567    UMG Recordings, Inc.
4346 Ace Hood                                     Spoke To My Momma                                    SR0000681567    UMG Recordings, Inc.
4347 Ace Hood                                     Tear Da Roof Off                                     SR0000681567    UMG Recordings, Inc.
4348 Ace Hood                                     Walk It Like I Talk It                               SR0000681567    UMG Recordings, Inc.
4349 Akon                                         Blown Away                                           SR0000610156    UMG Recordings, Inc.
4350 Akon                                         Gangsta Bop                                          SR0000610156    UMG Recordings, Inc.
4351 Akon                                         I Can't Wait                                         SR0000610156    UMG Recordings, Inc.
4352 Akon                                         Mama Africa                                          SR0000610156    UMG Recordings, Inc.
4353 Akon                                         Never Took The Time                                  SR0000610156    UMG Recordings, Inc.
4354 Akon                                         Once In A While                                      SR0000610156    UMG Recordings, Inc.
4355 Akon                                         Shake Down                                           SR0000610156    UMG Recordings, Inc.
4356 Akon                                         Smack That                                           SR0000411449    UMG Recordings, Inc.
4357 Akon                                         The Rain                                             SR0000610156    UMG Recordings, Inc.
4358 Akon                                         Tired Of Runnin'                                     SR0000610156    UMG Recordings, Inc.
4359 Alex Clare                                   Hands Are Clever                                     SR0000700527    UMG Recordings, Inc.
4360 Alex Clare                                   Humming Bird                                         SR0000700527    UMG Recordings, Inc.
4361 Alex Clare                                   I Love You                                           SR0000700527    UMG Recordings, Inc.
4362 Alex Clare                                   I Won't Let You Down                                 SR0000700527    UMG Recordings, Inc.
4363 Alex Clare                                   Relax My Beloved                                     SR0000700527    UMG Recordings, Inc.
4364 Alex Clare                                   Sanctuary                                            SR0000700527    UMG Recordings, Inc.
4365 Alex Clare                                   Treading Water                                       SR0000700527    UMG Recordings, Inc.
4366 Alex Clare                                   Up All Night                                         SR0000700527    UMG Recordings, Inc.
4367 Alex Clare                                   When Doves Cry                                       SR0000700527    UMG Recordings, Inc.
4368 Alex Clare                                   Whispering                                           SR0000700527    UMG Recordings, Inc.
4369 Amy Winehouse                                (There Is) No Greater Love                           SR0000614121    UMG Recordings, Inc.
4370 Amy Winehouse                                A Song For You                                       SR0000695755    UMG Recordings, Inc.
4371 Amy Winehouse                                Amy Amy Amy                                          SR0000614121    UMG Recordings, Inc.
4372 Amy Winehouse                                Best Friends, Right?                                 SR0000695755    UMG Recordings, Inc.
4373 Amy Winehouse                                Between The Cheats                                   SR0000695755    UMG Recordings, Inc.
4374 Amy Winehouse                                Cupid                                                SR0000636832    UMG Recordings, Inc.
4375 Amy Winehouse                                Fuck Me Pumps                                        SR0000614121    UMG Recordings, Inc.
4376 Amy Winehouse                                Half Time                                            SR0000695755    UMG Recordings, Inc.
4377 Amy Winehouse                                Hey Little Rich Girl                                 SR0000636832    UMG Recordings, Inc.
4378 Amy Winehouse                                I Heard Love Is Blind                                SR0000614121    UMG Recordings, Inc.
4379 Amy Winehouse                                I Heard Love Is Blind (Live At Concorde)             SR0000614121    UMG Recordings, Inc.
4380 Amy Winehouse                                In My Bed                                            SR0000614121    UMG Recordings, Inc.
4381 Amy Winehouse                                Intro / Stronger Than Me                             SR0000614121    UMG Recordings, Inc.
4382 Amy Winehouse                                Know You Now                                         SR0000614121    UMG Recordings, Inc.
4383 Amy Winehouse                                Like Smoke                                           SR0000695755    UMG Recordings, Inc.
4384 Amy Winehouse                                Love Is A Losing Game                                SR0000407451    UMG Recordings, Inc.
4385 Amy Winehouse                                Love Is A Losing Game (Demo)                         SR0000636832    UMG Recordings, Inc.
4386 Amy Winehouse                                Me & Mr. Jones                                       SR0000407451    UMG Recordings, Inc.
4387 Amy Winehouse                                Monkey Man                                           SR0000636832    UMG Recordings, Inc.
4388 Amy Winehouse                                Moody's Mood For Love                                SR0000614121    UMG Recordings, Inc.
4389 Amy Winehouse                                Mr Magic (Through The Smoke) (Janice Long Session)   SR0000614121    UMG Recordings, Inc.
4390 Amy Winehouse                                October Song                                         SR0000614121    UMG Recordings, Inc.



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                         Artist                                               Track                     Reg. No.              Plaintiff
4391 Amy Winehouse                                Our Day Will Come                                SR0000695755    UMG Recordings, Inc.
4392 Amy Winehouse                                Rehab                                            SR0000407451    UMG Recordings, Inc.
4393 Amy Winehouse                                Round Midnight                                   SR0000614121    UMG Recordings, Inc.
4394 Amy Winehouse                                Some Unholy War (Down Tempo)                     SR0000636832    UMG Recordings, Inc.
4395 Amy Winehouse                                Someone To Watch Over Me                         SR0000614121    UMG Recordings, Inc.
4396 Amy Winehouse                                Stronger Than Me                                 SR0000614121    UMG Recordings, Inc.
4397 Amy Winehouse                                Stronger Than Me (Harmonic 33 Remix)             SR0000614121    UMG Recordings, Inc.
4398 Amy Winehouse                                Take The Box                                     SR0000614121    UMG Recordings, Inc.
4399 Amy Winehouse                                Tears Dry                                        SR0000695755    UMG Recordings, Inc.
4400 Amy Winehouse                                The Girl From Ipanema                            SR0000695755    UMG Recordings, Inc.
4401 Amy Winehouse                                To Know Him Is To Love Him (Live)                SR0000636832    UMG Recordings, Inc.
4402 Amy Winehouse                                Valerie                                          SR0000636832    UMG Recordings, Inc.
4403 Amy Winehouse                                What Is It About Men                             SR0000614121    UMG Recordings, Inc.
4404 Amy Winehouse                                Will You Still Love Me Tomorrow?                 SR0000695755    UMG Recordings, Inc.
4405 Amy Winehouse                                You Know I'm No Good                             SR0000407451    UMG Recordings, Inc.
4406 Amy Winehouse                                You Sent Me Flying                               SR0000614121    UMG Recordings, Inc.
4407 Amy Winehouse                                You're Wondering Now                             SR0000636832    UMG Recordings, Inc.
4408 Ariana Grande                                The Way                                          SR0000722427    UMG Recordings, Inc.
4409 Avant                                        4 Minutes                                        SR0000379553    UMG Recordings, Inc.
4410 Avant                                        AV                                               SR0000339561    UMG Recordings, Inc.
4411 Avant                                        Call On Me                                       SR0000308368    UMG Recordings, Inc.
4412 Avant                                        Destiny                                          SR0000281220    UMG Recordings, Inc.
4413 Avant                                        Director                                         SR0000396388    UMG Recordings, Inc.
4414 Avant                                        Don't Say No, Just Say Yes                       SR0000341102    UMG Recordings, Inc.
4415 Avant                                        Don't Take Your Love Away                        SR0000339561    UMG Recordings, Inc.
4416 Avant                                        Everything About You                             SR0000339561    UMG Recordings, Inc.
4417 Avant                                        Exclusive                                        SR0000396388    UMG Recordings, Inc.
4418 Avant                                        Feast                                            SR0000339561    UMG Recordings, Inc.
4419 Avant                                        Flickin'                                         SR0000339561    UMG Recordings, Inc.
4420 Avant                                        Get Away                                         SR0000281220    UMG Recordings, Inc.
4421 Avant                                        GPSA (Ghetto Public Service Announcement)        SR0000396388    UMG Recordings, Inc.
4422 Avant                                        Grown Ass Man                                    SR0000396388    UMG Recordings, Inc.
4423 Avant                                        Happy                                            SR0000281220    UMG Recordings, Inc.
4424 Avant                                        Have Some Fun                                    SR0000339561    UMG Recordings, Inc.
4425 Avant                                        Heaven                                           SR0000339561    UMG Recordings, Inc.
4426 Avant                                        Hooked                                           SR0000339561    UMG Recordings, Inc.
4427 Avant                                        I Wanna Know                                     SR0000281220    UMG Recordings, Inc.
4428 Avant                                        Imagination                                      SR0000396388    UMG Recordings, Inc.
4429 Avant                                        Jack & Jill                                      SR0000308368    UMG Recordings, Inc.
4430 Avant                                        Let's Make a Deal                                SR0000281220    UMG Recordings, Inc.
4431 Avant                                        Lie About Us                                     SR0000396388    UMG Recordings, Inc.
4432 Avant                                        Love School                                      SR0000308368    UMG Recordings, Inc.
4433 Avant                                        Makin' Good Love                                 SR0000308368    UMG Recordings, Inc.
4434 Avant                                        Mr. Dream                                        SR0000396388    UMG Recordings, Inc.
4435 Avant                                        My First Love                                    SR0000281220    UMG Recordings, Inc.
4436 Avant                                        No Limit                                         SR0000308368    UMG Recordings, Inc.
4437 Avant                                        Now You Got Someone                              SR0000396388    UMG Recordings, Inc.
4438 Avant                                        One Way Street                                   SR0000308368    UMG Recordings, Inc.
4439 Avant                                        Ooh Aah                                          SR0000281220    UMG Recordings, Inc.
4440 Avant                                        Phone Sex (That's What's Up)                     SR0000339561    UMG Recordings, Inc.
4441 Avant                                        Private Room Intro                               SR0000339561    UMG Recordings, Inc.
4442 Avant                                        Reaction                                         SR0000281220    UMG Recordings, Inc.
4443 Avant                                        Read Your Mind                                   SR0000344351    UMG Recordings, Inc.
4444 Avant                                        Right Place, Wrong Time                          SR0000396388    UMG Recordings, Inc.
4445 Avant                                        Seems To Be                                      SR0000339561    UMG Recordings, Inc.
4446 Avant                                        Separated                                        SR0000281220    UMG Recordings, Inc.
4447 Avant                                        Serious                                          SR0000281220    UMG Recordings, Inc.
4448 Avant                                        Six In Da Morning                                SR0000308368    UMG Recordings, Inc.
4449 Avant                                        So Many Ways                                     SR0000396388    UMG Recordings, Inc.
4450 Avant                                        Sorry                                            SR0000308368    UMG Recordings, Inc.
4451 Avant                                        Suicide                                          SR0000308368    UMG Recordings, Inc.
4452 Avant                                        Thinkin' About You                               SR0000308368    UMG Recordings, Inc.
4453 Avant                                        This Is Your Night                               SR0000396388    UMG Recordings, Inc.
4454 Avant                                        This Time                                        SR0000281220    UMG Recordings, Inc.
4455 Avant                                        Wanna Be Close                                   SR0000339561    UMG Recordings, Inc.
4456 Avant                                        What Do You Want                                 SR0000308368    UMG Recordings, Inc.
4457 Avant                                        Why                                              SR0000281220    UMG Recordings, Inc.
4458 Avant                                        With You                                         SR0000396388    UMG Recordings, Inc.



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                         Artist                                               Track                      Reg. No.              Plaintiff
4459 Avant                                        You                                               SR0000339561    UMG Recordings, Inc.
4460 Avant                                        You Ain't Right                                   SR0000308368    UMG Recordings, Inc.
4461 Avant                                        You Got Me                                        SR0000339561    UMG Recordings, Inc.
4462 Avant                                        You Know What                                     SR0000378385    UMG Recordings, Inc.
4463 Avicii                                       Levels                                            SR0000698465    UMG Recordings, Inc.
4464 Bad Meets Evil                               A Kiss                                            SR0000678636    UMG Recordings, Inc.
4465 Bad Meets Evil                               Above The Law                                     SR0000678636    UMG Recordings, Inc.
4466 Bad Meets Evil                               Echo                                              SR0000678636    UMG Recordings, Inc.
4467 Bad Meets Evil                               Fast Lane                                         SR0000678637    UMG Recordings, Inc.
4468 Bad Meets Evil                               I'm On Everything                                 SR0000678636    UMG Recordings, Inc.
4469 Bad Meets Evil                               Lighters                                          SR0000678636    UMG Recordings, Inc.
4470 Bad Meets Evil                               Living Proof                                      SR0000678636    UMG Recordings, Inc.
4471 Bad Meets Evil                               Loud Noises                                       SR0000678636    UMG Recordings, Inc.
4472 Bad Meets Evil                               Take From Me                                      SR0000678636    UMG Recordings, Inc.
4473 Bad Meets Evil                               The Reunion                                       SR0000678636    UMG Recordings, Inc.
4474 Bad Meets Evil                               Welcome 2 Hell                                    SR0000678636    UMG Recordings, Inc.
4475 Bastille                                     Bad Blood (Live Piano Version)                    SR0000753441    UMG Recordings, Inc.
4476 Bastille                                     Daniel in the Den                                 SR0000753441    UMG Recordings, Inc.
4477 Bastille                                     Durban Skies                                      SR0000728185    UMG Recordings, Inc.
4478 Bastille                                     Flaws                                             SR0000728185    UMG Recordings, Inc.
4479 Bastille                                     Flaws (Live At KOKO)                              SR0000739260    UMG Recordings, Inc.
4480 Bastille                                     Get Home                                          SR0000753441    UMG Recordings, Inc.
4481 Bastille                                     Haunt                                             SR0000748676    UMG Recordings, Inc.
4482 Bastille                                     Icarus                                            SR0000753441    UMG Recordings, Inc.
4483 Bastille                                     Laughter Lines                                    SR0000748676    UMG Recordings, Inc.
4484 Bastille                                     Laura Palmer (Abbey Road Sessions)                SR0000753441    UMG Recordings, Inc.
4485 Bastille                                     Oblivion                                          SR0000753441    UMG Recordings, Inc.
4486 Bastille                                     Of The Night                                      SR0000748676    UMG Recordings, Inc.
4487 Bastille                                     Overjoyed                                         SR0000748676    UMG Recordings, Inc.
4488 Bastille                                     Poet                                              SR0000748676    UMG Recordings, Inc.
4489 Bastille                                     Previously On Other People's Heartache...         SR0000748676    UMG Recordings, Inc.
4490 Bastille                                     Skulls                                            SR0000748676    UMG Recordings, Inc.
4491 Bastille                                     Sleepsong                                         SR0000748676    UMG Recordings, Inc.
4492 Bastille                                     The Draw                                          SR0000748676    UMG Recordings, Inc.
4493 Bastille                                     The Silence                                       SR0000748676    UMG Recordings, Inc.
4494 Bastille                                     These Streets                                     SR0000753441    UMG Recordings, Inc.
4495 Bastille                                     Things We Lost in the Fire                        SR0000753441    UMG Recordings, Inc.
4496 Bastille                                     Tuning Out...                                     SR0000748676    UMG Recordings, Inc.
4497 Bastille                                     Weight of Living, Pt. I                           SR0000753441    UMG Recordings, Inc.
4498 Bastille                                     What Would You Do                                 SR0000748676    UMG Recordings, Inc.
4499 Big Sean                                     Beware                                            SR0000730543    UMG Recordings, Inc.
4500 Big Sean                                     Celebrity                                         SR0000678630    UMG Recordings, Inc.
4501 Big Sean                                     Dance (Ass)                                       SR0000678630    UMG Recordings, Inc.
4502 Big Sean                                     Don't Tell Me You Love Me                         SR0000678630    UMG Recordings, Inc.
4503 Big Sean                                     Get It                                            SR0000678630    UMG Recordings, Inc.
4504 Big Sean                                     High                                              SR0000678630    UMG Recordings, Inc.
4505 Big Sean                                     Intro                                             SR0000678630    UMG Recordings, Inc.
4506 Big Sean                                     Keys                                              SR0000678630    UMG Recordings, Inc.
4507 Big Sean                                     Livin This Life                                   SR0000678630    UMG Recordings, Inc.
4508 Big Sean                                     Made                                              SR0000678630    UMG Recordings, Inc.
4509 Big Sean                                     Marvin & Chardonnay                               SR0000678630    UMG Recordings, Inc.
4510 Big Sean                                     Memories Pt 2                                     SR0000678630    UMG Recordings, Inc.
4511 Big Sean                                     My House                                          SR0000678630    UMG Recordings, Inc.
4512 Big Sean                                     So Much More                                      SR0000678630    UMG Recordings, Inc.
4513 Big Sean                                     Wait For Me                                       SR0000678630    UMG Recordings, Inc.
4514 Big Sean                                     What Goes Around                                  SR0000678630    UMG Recordings, Inc.
4515 Billy Currington                             23 Degrees And South                              SR0000730540    UMG Recordings, Inc.
4516 Billy Currington                             Another Day Without You                           SR0000730540    UMG Recordings, Inc.
4517 Billy Currington                             Banana Pancakes                                   SR0000730540    UMG Recordings, Inc.
4518 Billy Currington                             Closer Tonight                                    SR0000730540    UMG Recordings, Inc.
4519 Billy Currington                             Don't                                             SR0000617590    UMG Recordings, Inc.
4520 Billy Currington                             Every Reason Not To Go                            SR0000617590    UMG Recordings, Inc.
4521 Billy Currington                             Everything                                        SR0000617590    UMG Recordings, Inc.
4522 Billy Currington                             Hallelujah                                        SR0000730540    UMG Recordings, Inc.
4523 Billy Currington                             Hard To Be A Hippie                               SR0000730540    UMG Recordings, Inc.
4524 Billy Currington                             Heal Me                                           SR0000617590    UMG Recordings, Inc.
4525 Billy Currington                             Hey Girl                                          SR0000730540    UMG Recordings, Inc.
4526 Billy Currington                             I Shall Return                                    SR0000617590    UMG Recordings, Inc.



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                         Artist                                              Track                         Reg. No.              Plaintiff
4527 Billy Currington                             Let Me Down Easy                                    SR0000664523    UMG Recordings, Inc.
4528 Billy Currington                             Life, Love And The Meaning Of                       SR0000617590    UMG Recordings, Inc.
4529 Billy Currington                             No One Has Eyes Like You                            SR0000617590    UMG Recordings, Inc.
4530 Billy Currington                             One Way Ticket                                      SR0000730540    UMG Recordings, Inc.
4531 Billy Currington                             People Are Crazy                                    SR0000617590    UMG Recordings, Inc.
4532 Billy Currington                             Swimmin' In Sunshine                                SR0000617590    UMG Recordings, Inc.
4533 Billy Currington                             That's How Country Boys Roll                        SR0000617590    UMG Recordings, Inc.
4534 Billy Currington                             Walk On                                             SR0000617590    UMG Recordings, Inc.
4535 Billy Currington                             We Are Tonight                                      SR0000730540    UMG Recordings, Inc.
4536 Billy Currington                             Wingman                                             SR0000730540    UMG Recordings, Inc.
4537 Black Eyed Peas                              Alive                                               SR0000633587    UMG Recordings, Inc.
4538 Black Eyed Peas                              Another Weekend                                     SR0000633584    UMG Recordings, Inc.
4539 Black Eyed Peas                              Boom Boom Pow                                       SR0000633584    UMG Recordings, Inc.
4540 Black Eyed Peas                              Do It Like This                                     SR0000670148    UMG Recordings, Inc.
4541 Black Eyed Peas                              Don't Bring Me Down                                 SR0000633584    UMG Recordings, Inc.
4542 Black Eyed Peas                              Don't Phunk Around                                  SR0000633584    UMG Recordings, Inc.
4543 Black Eyed Peas                              Don't Stop The Party                                SR0000670148    UMG Recordings, Inc.
4544 Black Eyed Peas                              Electric City                                       SR0000633584    UMG Recordings, Inc.
4545 Black Eyed Peas                              I Gotta Feeling                                     SR0000633584    UMG Recordings, Inc.
4546 Black Eyed Peas                              Imma Be                                             SR0000633585    UMG Recordings, Inc.
4547 Black Eyed Peas                              Let's Get Re-Started                                SR0000633584    UMG Recordings, Inc.
4548 Black Eyed Peas                              Light Up The Night                                  SR0000670148    UMG Recordings, Inc.
4549 Black Eyed Peas                              Mare                                                SR0000633584    UMG Recordings, Inc.
4550 Black Eyed Peas                              Meet Me Halfway                                     SR0000633584    UMG Recordings, Inc.
4551 Black Eyed Peas                              Missing You                                         SR0000633584    UMG Recordings, Inc.
4552 Black Eyed Peas                              Now Generation                                      SR0000633584    UMG Recordings, Inc.
4553 Black Eyed Peas                              One Tribe                                           SR0000633584    UMG Recordings, Inc.
4554 Black Eyed Peas                              Out Of My Head                                      SR0000633584    UMG Recordings, Inc.
4555 Black Eyed Peas                              Party All The Time                                  SR0000633584    UMG Recordings, Inc.
4556 Black Eyed Peas                              Pump It Harder                                      SR0000633584    UMG Recordings, Inc.
4557 Black Eyed Peas                              Ring-A-Ling                                         SR0000633584    UMG Recordings, Inc.
4558 Black Eyed Peas                              Rock That Body                                      SR0000633584    UMG Recordings, Inc.
4559 Black Eyed Peas                              Rockin To The Beat                                  SR0000633584    UMG Recordings, Inc.
4560 Black Eyed Peas                              Showdown                                            SR0000633584    UMG Recordings, Inc.
4561 Black Eyed Peas                              Shut Up                                             SR0000347870    UMG Recordings, Inc.
4562 Black Eyed Peas                              Simple Little Melody                                SR0000633584    UMG Recordings, Inc.
4563 Black Eyed Peas                              That's The Joint                                    SR0000633584    UMG Recordings, Inc.
4564 Black Eyed Peas                              The Time (Dirty Bit)                                SR0000670148    UMG Recordings, Inc.
4565 Black Eyed Peas                              Where Ya Wanna Go                                   SR0000633584    UMG Recordings, Inc.
4566 Blue October                                 18th Floor Balcony                                  SR0000388117    UMG Recordings, Inc.
4567 Blue October                                 Congratulations                                     SR0000388117    UMG Recordings, Inc.
4568 Blue October                                 Drilled A Wire Through My Cheek                     SR0000388117    UMG Recordings, Inc.
4569 Blue October                                 Everlasting Friend                                  SR0000388117    UMG Recordings, Inc.
4570 Blue October                                 Hate Me                                             SR0000388117    UMG Recordings, Inc.
4571 Blue October                                 Into The Ocean                                      SR0000388117    UMG Recordings, Inc.
4572 Blue October                                 Let It Go                                           SR0000388117    UMG Recordings, Inc.
4573 Blue October                                 Overweight                                          SR0000388117    UMG Recordings, Inc.
4574 Blue October                                 She's My Ride Home                                  SR0000388117    UMG Recordings, Inc.
4575 Blue October                                 Sound Of Pulling Heaven Down                        SR0000388117    UMG Recordings, Inc.
4576 Blue October                                 What If We Could                                    SR0000388117    UMG Recordings, Inc.
4577 Blue October                                 X-Amount Of Words                                   SR0000388117    UMG Recordings, Inc.
4578 Blue October                                 You Make Me Smile                                   SR0000615154    UMG Recordings, Inc.
4579 Bob Marley                                   Buffalo Soldier                                     SR0000045126    UMG Recordings, Inc.
4580 Bob Marley                                   Could You Be Loved                                  SR0000020594    UMG Recordings, Inc.
4581 Bob Marley                                   Mr Brown                                            SR0000152585    UMG Recordings, Inc.
4582 Bob Marley                                   One Love                                            RE0000926868    UMG Recordings, Inc.
                                                                                                      N48538;
4583 Bob Marley                                   Three Little Birds                                                  UMG Recordings, Inc.
                                                                                                      RE0000926868
                                                                                                      N48538;
4584 Bob Marley & The Wailers                     Exodus                                                              UMG Recordings, Inc.
                                                                                                      RE0000926868
                                                                                                      NF137;
4585 Bob Marley & The Wailers                     Get Up, Stand Up                                                    UMG Recordings, Inc.
                                                                                                      RE0000931699
                                                                                                      N48538;
4586 Bob Marley & The Wailers                     Jamming                                                             UMG Recordings, Inc.
                                                                                                      RE0000926868
4587 Bob Marley & The Wailers                     Misty Morning                                       SR0000001122    UMG Recordings, Inc.
                                                                                                      NF2048;
4588 Bob Marley & The Wailers                     No Woman, No Cry                                                    UMG Recordings, Inc.
                                                                                                      RE0000906116
4589 Bob Marley & The Wailers                     Rebel Music (3 O'Clock Roadblock)                   RE0000906116    UMG Recordings, Inc.



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                      Artist                                                  Track                      Reg. No.              Plaintiff
4590 Bob Marley & The Wailers                     Redemption Song                                   SR0000019502    UMG Recordings, Inc.
4591 Bob Marley & The Wailers                     Satisfy My Soul                                   SR0000001122    UMG Recordings, Inc.
                                                                                                    N48538;
4592 Bob Marley & the Wailers                     So Much Things To Say                                             UMG Recordings, Inc.
                                                                                                    RE0000926868
                                                                                                    N8793;
4593 Bob Marley & the Wailers                     Stir It Up                                                        UMG Recordings, Inc.
                                                                                                    RE0000860333
4594 Bob Marley & The Wailers                     Time Will Tell                                    SR0000001122    UMG Recordings, Inc.
                                                                                                    N48538;
4595 Bob Marley & The Wailers                     Waiting In Vain                                                   UMG Recordings, Inc.
                                                                                                    RE0000926868
4596 Bob Marley & The Wailers                     Who The Cap Fit                                   SR0000323536    UMG Recordings, Inc.
4597 Bon Jovi                                     You Give Love A Bad Name                          SR0000071794    UMG Recordings, Inc.
4598 Brand New                                    At The Bottom                                     SR0000642061    UMG Recordings, Inc.
4599 Brand New                                    Be Gone                                           SR0000642060    UMG Recordings, Inc.
4600 Brand New                                    Bed                                               SR0000642060    UMG Recordings, Inc.
4601 Brand New                                    Bought A Bride                                    SR0000642060    UMG Recordings, Inc.
4602 Brand New                                    Daisy                                             SR0000642060    UMG Recordings, Inc.
4603 Brand New                                    Gasoline                                          SR0000642060    UMG Recordings, Inc.
4604 Brand New                                    In A Jar                                          SR0000642060    UMG Recordings, Inc.
4605 Brand New                                    Noro                                              SR0000642060    UMG Recordings, Inc.
4606 Brand New                                    Sink                                              SR0000642060    UMG Recordings, Inc.
4607 Brand New                                    Vices                                             SR0000642060    UMG Recordings, Inc.
4608 Brand New                                    You Stole                                         SR0000642060    UMG Recordings, Inc.
4609 Bryan Adams                                  (Everything I Do) I Do It For You                 SR0000133214    UMG Recordings, Inc.
4610 Bryan Adams                                  Can't Stop This Thing We Started                  SR0000140512    UMG Recordings, Inc.
4611 Bryan Adams                                  Cuts Like A Knife                                 SR0000385401    UMG Recordings, Inc.
4612 Bryan Adams                                  Do I Have To Say The Words?                       SR0000140512    UMG Recordings, Inc.
4613 Bryan Adams                                  Heat Of The Night                                 SR0000085179    UMG Recordings, Inc.
4614 Bryan Adams                                  It's Only Love                                    SR0000058024    UMG Recordings, Inc.
4615 Bryan Adams                                  Kids Wanna Rock                                   SR0000058024    UMG Recordings, Inc.
4616 Bryan Adams                                  Please Forgive Me                                 SR0000183432    UMG Recordings, Inc.
4617 Bryan Adams                                  Run To You                                        SR0000058024    UMG Recordings, Inc.
4618 Bryan Adams                                  Somebody                                          SR0000206509    UMG Recordings, Inc.
4619 Bryan Adams                                  Summer Of '69                                     SR0000058024    UMG Recordings, Inc.
4620 Carly Rae Jepsen, Owl City                   Good Time                                         SR0000738473    UMG Recordings, Inc.
4621 Chamillionaire                               Fly As The Sky                                    SR0000381901    UMG Recordings, Inc.
4622 Chamillionaire                               Frontin'                                          SR0000381901    UMG Recordings, Inc.
4623 Chamillionaire                               Grown and Sexy                                    SR0000381901    UMG Recordings, Inc.
4624 Chamillionaire                               In The Trunk                                      SR0000381901    UMG Recordings, Inc.
4625 Chamillionaire                               No Snitchin'                                      SR0000381901    UMG Recordings, Inc.
4626 Chamillionaire                               Outro                                             SR0000381901    UMG Recordings, Inc.
4627 Chamillionaire                               Peepin' Me                                        SR0000381901    UMG Recordings, Inc.
4628 Chamillionaire                               Picture Perfect                                   SR0000381901    UMG Recordings, Inc.
4629 Chamillionaire                               Radio Interruption                                SR0000381901    UMG Recordings, Inc.
4630 Chamillionaire                               Rain                                              SR0000381901    UMG Recordings, Inc.
4631 Chamillionaire                               Ridin'                                            SR0000381901    UMG Recordings, Inc.
4632 Chamillionaire                               Southern Takeover                                 SR0000381901    UMG Recordings, Inc.
4633 Chamillionaire                               Think I'm Crazy                                   SR0000381901    UMG Recordings, Inc.
4634 Chamillionaire                               Turn It Up                                        SR0000381901    UMG Recordings, Inc.
4635 Chamillionaire                               Void In My Life                                   SR0000381901    UMG Recordings, Inc.
4636 Chrisette Michele                            All I Ever Think About                            SR0000631429    UMG Recordings, Inc.
4637 Chrisette Michele                            Another One                                       SR0000631429    UMG Recordings, Inc.
4638 Chrisette Michele                            Epiphany (Radio)                                  SR0000631427    UMG Recordings, Inc.
4639 Chrisette Michele                            Fragile                                           SR0000631429    UMG Recordings, Inc.
4640 Chrisette Michele                            I'm Okay                                          SR0000631429    UMG Recordings, Inc.
4641 Chrisette Michele                            Mr. Right                                         SR0000631429    UMG Recordings, Inc.
4642 Chrisette Michele                            Notebook                                          SR0000631429    UMG Recordings, Inc.
4643 Chrisette Michele                            On My Own                                         SR0000631429    UMG Recordings, Inc.
4644 Chrisette Michele                            Playin' Our Song                                  SR0000631429    UMG Recordings, Inc.
4645 Chrisette Michele                            Porcelain Doll                                    SR0000631429    UMG Recordings, Inc.
4646 Colbie Caillat                               Battle                                            SR0000620297    UMG Recordings, Inc.
4647 Colbie Caillat                               Begin Again                                       SR0000637479    UMG Recordings, Inc.
4648 Colbie Caillat                               Brand New Me                                      SR0000619237    UMG Recordings, Inc.
4649 Colbie Caillat                               Break Through                                     SR0000637479    UMG Recordings, Inc.
4650 Colbie Caillat                               Breakin' At The Cracks                            SR0000637479    UMG Recordings, Inc.
4651 Colbie Caillat                               Bubbly                                            SR0000620297    UMG Recordings, Inc.
4652 Colbie Caillat                               Capri                                             SR0000620297    UMG Recordings, Inc.
4653 Colbie Caillat                               Circles                                           SR0000619237    UMG Recordings, Inc.
4654 Colbie Caillat                               Don't Hold Me Down                                SR0000637479    UMG Recordings, Inc.



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                          Artist                                               Track                     Reg. No.              Plaintiff
4655 Colbie Caillat                               Dreams Collide                                    SR0000620297    UMG Recordings, Inc.
4656 Colbie Caillat                               Droplets                                          SR0000637479    UMG Recordings, Inc.
4657 Colbie Caillat                               Fallin' For You                                   SR0000637478    UMG Recordings, Inc.
4658 Colbie Caillat                               Fearless                                          SR0000637479    UMG Recordings, Inc.
4659 Colbie Caillat                               Feelings Show                                     SR0000620297    UMG Recordings, Inc.
4660 Colbie Caillat                               Hold Your Head High                               SR0000637479    UMG Recordings, Inc.
4661 Colbie Caillat                               Hoy Me Voy                                        SR0000619237    UMG Recordings, Inc.
4662 Colbie Caillat                               I Never Told You                                  SR0000637479    UMG Recordings, Inc.
4663 Colbie Caillat                               I Won't                                           SR0000637479    UMG Recordings, Inc.
4664 Colbie Caillat                               It Stops Today                                    SR0000637479    UMG Recordings, Inc.
4665 Colbie Caillat                               Magic                                             SR0000620297    UMG Recordings, Inc.
4666 Colbie Caillat                               Midnight Bottle                                   SR0000620297    UMG Recordings, Inc.
4667 Colbie Caillat                               Never Let You Go                                  SR0000637479    UMG Recordings, Inc.
4668 Colbie Caillat                               One Fine Wire                                     SR0000620297    UMG Recordings, Inc.
4669 Colbie Caillat                               Out of My Mind                                    SR0000637479    UMG Recordings, Inc.
4670 Colbie Caillat                               Oxygen                                            SR0000620297    UMG Recordings, Inc.
4671 Colbie Caillat                               Rainbow                                           SR0000637479    UMG Recordings, Inc.
4672 Colbie Caillat                               Realize                                           SR0000620297    UMG Recordings, Inc.
4673 Colbie Caillat                               Runnin' Around                                    SR0000637479    UMG Recordings, Inc.
4674 Colbie Caillat                               Somethin' Special                                 SR0000615614    UMG Recordings, Inc.
4675 Colbie Caillat                               Stay With Me                                      SR0000637479    UMG Recordings, Inc.
4676 Colbie Caillat                               Tailor Made                                       SR0000620297    UMG Recordings, Inc.
4677 Colbie Caillat                               Tell Him                                          SR0000619237    UMG Recordings, Inc.
4678 Colbie Caillat                               The Little Things                                 SR0000620297    UMG Recordings, Inc.
4679 Colbie Caillat                               Tied Down                                         SR0000620297    UMG Recordings, Inc.
4680 Colbie Caillat                               Turn Your Lights Down Low                         SR0000619237    UMG Recordings, Inc.
4681 Colbie Caillat                               What I Wanted to Say                              SR0000637479    UMG Recordings, Inc.
4682 Colbie Caillat                               You Got Me                                        SR0000637479    UMG Recordings, Inc.
4683 Counting Crows                               A Murder Of One                                   SR0000172267    UMG Recordings, Inc.
4684 Counting Crows                               Anna Begins                                       SR0000345378    UMG Recordings, Inc.
4685 Counting Crows                               Ghost Train                                       SR0000172267    UMG Recordings, Inc.
4686 Counting Crows                               Mr. Jones                                         SR0000172267    UMG Recordings, Inc.
4687 Counting Crows                               Omaha                                             SR0000172267    UMG Recordings, Inc.
4688 Counting Crows                               Perfect Blue Buildings                            SR0000172267    UMG Recordings, Inc.
4689 Counting Crows                               Rain King                                         SR0000345378    UMG Recordings, Inc.
4690 Counting Crows                               Raining In Baltimore                              SR0000172267    UMG Recordings, Inc.
4691 Counting Crows                               Round Here                                        SR0000172267    UMG Recordings, Inc.
4692 Counting Crows                               Sullivan Street                                   SR0000172267    UMG Recordings, Inc.
4693 Counting Crows                               Time And Time Again                               SR0000172267    UMG Recordings, Inc.
4694 Daniel Bedingfield                           Blown It Again                                    SR0000321977    UMG Recordings, Inc.
4695 Daniel Bedingfield                           Friday                                            SR0000321977    UMG Recordings, Inc.
4696 Daniel Bedingfield                           Girlfriend                                        SR0000321977    UMG Recordings, Inc.
4697 Daniel Bedingfield                           He Don't Love You Like I Love You                 SR0000321977    UMG Recordings, Inc.
4698 Daniel Bedingfield                           Honest Questions                                  SR0000321977    UMG Recordings, Inc.
4699 Daniel Bedingfield                           Inflate My Ego                                    SR0000321977    UMG Recordings, Inc.
4700 Daniel Bedingfield                           James Dean (I Wanna Know)                         SR0000321977    UMG Recordings, Inc.
4701 Daniel Bedingfield                           Without The Girl                                  SR0000321977    UMG Recordings, Inc.
4702 Delta Spirit                                 California                                        SR0000709678    UMG Recordings, Inc.
4703 Delta Spirit                                 Empty House                                       SR0000709678    UMG Recordings, Inc.
4704 Delta Spirit                                 Home                                              SR0000709678    UMG Recordings, Inc.
4705 Delta Spirit                                 Idaho                                             SR0000709678    UMG Recordings, Inc.
4706 Delta Spirit                                 Into The Darkness                                 SR0000709678    UMG Recordings, Inc.
4707 Delta Spirit                                 Money Saves                                       SR0000709678    UMG Recordings, Inc.
4708 Delta Spirit                                 Otherside                                         SR0000709678    UMG Recordings, Inc.
4709 Delta Spirit                                 Tear It Up                                        SR0000709678    UMG Recordings, Inc.
4710 Delta Spirit                                 Tellin' The Mind                                  SR0000709678    UMG Recordings, Inc.
4711 Delta Spirit                                 Time Bomb                                         SR0000709678    UMG Recordings, Inc.
4712 Delta Spirit                                 Yamaha                                            SR0000709678    UMG Recordings, Inc.
4713 Disclosure                                   Latch                                             SR0000724303    UMG Recordings, Inc.
4714 Dr. Dre                                      I Need A Doctor                                   SR0000674469    UMG Recordings, Inc.
4715 Duffy                                        Delayed Devotion                                  SR0000613340    UMG Recordings, Inc.
4716 Duffy                                        Distant Dreamer                                   SR0000613340    UMG Recordings, Inc.
4717 Duffy                                        Hanging On Too Long                               SR0000613340    UMG Recordings, Inc.
4718 Duffy                                        I'm Scared                                        SR0000613340    UMG Recordings, Inc.
4719 Duffy                                        Mercy                                             SR0000613340    UMG Recordings, Inc.
4720 Duffy                                        Rockferry                                         SR0000613340    UMG Recordings, Inc.
4721 Duffy                                        Serious                                           SR0000613340    UMG Recordings, Inc.
4722 Duffy                                        Stepping Stone                                    SR0000613340    UMG Recordings, Inc.



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                         Artist                                               Track                     Reg. No.              Plaintiff
4723 Duffy                                        Syrup & Honey                                    SR0000613340    UMG Recordings, Inc.
4724 Duffy                                        Warwick Avenue                                   SR0000613340    UMG Recordings, Inc.
4725 Easton Corbin                                A Thing For You                                  SR0000709974    UMG Recordings, Inc.
4726 Easton Corbin                                All Over The Road                                SR0000709974    UMG Recordings, Inc.
4727 Easton Corbin                                Are You With Me                                  SR0000709974    UMG Recordings, Inc.
4728 Easton Corbin                                Dance Real Slow                                  SR0000709974    UMG Recordings, Inc.
4729 Easton Corbin                                Hearts Drawn In The Sand                         SR0000709972    UMG Recordings, Inc.
4730 Easton Corbin                                I Think Of You                                   SR0000709974    UMG Recordings, Inc.
4731 Easton Corbin                                Lovin' You Is Fun                                SR0000699451    UMG Recordings, Inc.
4732 Easton Corbin                                Only A Girl                                      SR0000710243    UMG Recordings, Inc.
4733 Easton Corbin                                That's Gonna Leave A Memory                      SR0000709974    UMG Recordings, Inc.
4734 Easton Corbin                                This Feels A Lot Like Love                       SR0000709974    UMG Recordings, Inc.
4735 Easton Corbin                                Tulsa Texas                                      SR0000709974    UMG Recordings, Inc.
4736 Eli Young Band                               Every Other Memory                               SR0000684024    UMG Recordings, Inc.
4737 Eli Young Band                               How Quickly You Forget                           SR0000684024    UMG Recordings, Inc.
4738 Eli Young Band                               Life At Best                                     SR0000684024    UMG Recordings, Inc.
4739 Eli Young Band                               My Old Man's Son                                 SR0000684024    UMG Recordings, Inc.
4740 Eli Young Band                               On My Way                                        SR0000684024    UMG Recordings, Inc.
4741 Eli Young Band                               Recover                                          SR0000684024    UMG Recordings, Inc.
4742 Eli Young Band                               Say Goodnight                                    SR0000684024    UMG Recordings, Inc.
4743 Eli Young Band                               The Falling                                      SR0000684024    UMG Recordings, Inc.
4744 Eli Young Band                               War On A Desperate Man                           SR0000684024    UMG Recordings, Inc.
4745 Ellie Goulding                               Animal                                           SR0000752677    UMG Recordings, Inc.
4746 Ellie Goulding                               Anything Could Happen                            SR0000709961    UMG Recordings, Inc.
4747 Ellie Goulding                               Atlantis                                         SR0000709960    UMG Recordings, Inc.
4748 Ellie Goulding                               Believe Me                                       SR0000752677    UMG Recordings, Inc.
4749 Ellie Goulding                               Dead In The Water                                SR0000709960    UMG Recordings, Inc.
4750 Ellie Goulding                               Don't Say A Word                                 SR0000709960    UMG Recordings, Inc.
4751 Ellie Goulding                               Every Time You Go                                SR0000752677    UMG Recordings, Inc.
4752 Ellie Goulding                               Explosions                                       SR0000709960    UMG Recordings, Inc.
4753 Ellie Goulding                               Figure 8                                         SR0000709960    UMG Recordings, Inc.
4754 Ellie Goulding                               Guns And Horses                                  SR0000752677    UMG Recordings, Inc.
4755 Ellie Goulding                               Halcyon                                          SR0000709960    UMG Recordings, Inc.
4756 Ellie Goulding                               Hanging On                                       SR0000709960    UMG Recordings, Inc.
4757 Ellie Goulding                               Home                                             SR0000752677    UMG Recordings, Inc.
4758 Ellie Goulding                               Human                                            SR0000752677    UMG Recordings, Inc.
4759 Ellie Goulding                               I Know You Care                                  SR0000709960    UMG Recordings, Inc.
4760 Ellie Goulding                               I'll Hold My Breath                              SR0000671828    UMG Recordings, Inc.
4761 Ellie Goulding                               In My City                                       SR0000709960    UMG Recordings, Inc.
4762 Ellie Goulding                               Joy                                              SR0000709960    UMG Recordings, Inc.
4763 Ellie Goulding                               Lights                                           SR0000671828    UMG Recordings, Inc.
4764 Ellie Goulding                               Little Dreams                                    SR0000752677    UMG Recordings, Inc.
4765 Ellie Goulding                               My Blood                                         SR0000709960    UMG Recordings, Inc.
4766 Ellie Goulding                               Only You                                         SR0000709960    UMG Recordings, Inc.
4767 Ellie Goulding                               Ritual                                           SR0000709960    UMG Recordings, Inc.
4768 Ellie Goulding                               Roscoe                                           SR0000752677    UMG Recordings, Inc.
4769 Ellie Goulding                               Salt Skin                                        SR0000752677    UMG Recordings, Inc.
4770 Ellie Goulding                               Starry Eyed                                      SR0000664533    UMG Recordings, Inc.
4771 Ellie Goulding                               The End                                          SR0000752677    UMG Recordings, Inc.
4772 Ellie Goulding                               The Writer                                       SR0000671828    UMG Recordings, Inc.
4773 Ellie Goulding                               This Love (Will Be Your Downfall)                SR0000752677    UMG Recordings, Inc.
4774 Ellie Goulding                               Under The Sheets                                 SR0000752677    UMG Recordings, Inc.
4775 Ellie Goulding                               Wish I Stayed                                    SR0000752677    UMG Recordings, Inc.
4776 Ellie Goulding                               Without Your Love                                SR0000709960    UMG Recordings, Inc.
4777 Ellie Goulding                               Your Biggest Mistake                             SR0000752677    UMG Recordings, Inc.
4778 Ellie Goulding                               Your Song                                        SR0000752677    UMG Recordings, Inc.
4779 Elliott Smith                                A Question Mark                                  SR0000241677    UMG Recordings, Inc.
4780 Elliott Smith                                Amity                                            SR0000241677    UMG Recordings, Inc.
4781 Elliott Smith                                Baby Britain                                     SR0000241677    UMG Recordings, Inc.
4782 Elliott Smith                                Better Be Quiet Now                              SR0000280584    UMG Recordings, Inc.
4783 Elliott Smith                                Bled White                                       SR0000241677    UMG Recordings, Inc.
4784 Elliott Smith                                Bottle Up And Explode!                           SR0000241677    UMG Recordings, Inc.
4785 Elliott Smith                                Bye                                              SR0000280584    UMG Recordings, Inc.
4786 Elliott Smith                                Can't Make A Sound                               SR0000280584    UMG Recordings, Inc.
4787 Elliott Smith                                Colorbars                                        SR0000280584    UMG Recordings, Inc.
4788 Elliott Smith                                Easy Way Out                                     SR0000280584    UMG Recordings, Inc.
4789 Elliott Smith                                Everybody Cares, Everybody Understands           SR0000241677    UMG Recordings, Inc.
4790 Elliott Smith                                Everything Reminds Me Of Her                     SR0000280584    UMG Recordings, Inc.



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                         Artist                                              Track                              Reg. No.              Plaintiff
4791 Elliott Smith                                I Didn't Understand                                      SR0000241677    UMG Recordings, Inc.
4792 Elliott Smith                                In The Lost And Found (Honky Bach)/The Roost             SR0000280584    UMG Recordings, Inc.
4793 Elliott Smith                                Independence Day                                         SR0000241677    UMG Recordings, Inc.
4794 Elliott Smith                                Junk Bond Trader                                         SR0000280584    UMG Recordings, Inc.
4795 Elliott Smith                                Oh Well, okay                                            SR0000241677    UMG Recordings, Inc.
4796 Elliott Smith                                Pitseleh                                                 SR0000241677    UMG Recordings, Inc.
4797 Elliott Smith                                Pretty Mary K                                            SR0000280584    UMG Recordings, Inc.
4798 Elliott Smith                                Somebody That I Used To Know                             SR0000280584    UMG Recordings, Inc.
4799 Elliott Smith                                Stupidity Tries                                          SR0000280584    UMG Recordings, Inc.
4800 Elliott Smith                                Sweet Adeline                                            SR0000241677    UMG Recordings, Inc.
4801 Elliott Smith                                Tomorrow Tomorrow                                        SR0000241677    UMG Recordings, Inc.
4802 Elliott Smith                                Waltz #1                                                 SR0000241677    UMG Recordings, Inc.
4803 Elliott Smith                                Wouldn't Mama Be Proud?                                  SR0000280584    UMG Recordings, Inc.
4804 Elton John                                   Believe                                                  SR0000198748    UMG Recordings, Inc.
4805 Elton John                                   Bennie And The Jets                                      N10950          UMG Recordings, Inc.
4806 Elton John                                   Bennie And The Jets (Live)                               SR0000622999    UMG Recordings, Inc.
4807 Elton John                                   Blessed                                                  SR0000198748    UMG Recordings, Inc.
4808 Elton John                                   Blue Eyes                                                SR0000035166    UMG Recordings, Inc.
4809 Elton John                                   Candle In The Wind                                       N10950          UMG Recordings, Inc.
4810 Elton John                                   Crocodile Rock                                           N6758           UMG Recordings, Inc.
4811 Elton John                                   Daniel                                                   N6759           UMG Recordings, Inc.
4812 Elton John                                   Don't Go Breaking My Heart                               N37165          UMG Recordings, Inc.
                                                                                                           N0511;
4813 Elton John                                   Don't Let The Sun Go Down On Me                                          UMG Recordings, Inc.
                                                                                                           RE0000866913
4814 Elton John                                   Electricity                                              SR0000352448    UMG Recordings, Inc.
4815 Elton John                                   Goodbye Yellow Brick Road                                N10950          UMG Recordings, Inc.
4816 Elton John                                   Honky Cat                                                N01989          UMG Recordings, Inc.
4817 Elton John                                   I Feel Like A Bullet (In The Gun Of Robert Ford)         N27695          UMG Recordings, Inc.
4818 Elton John                                   I Guess That's Why They Call It The Blues                SR0000045784    UMG Recordings, Inc.
4819 Elton John                                   I Want Love                                              SR0000303795    UMG Recordings, Inc.
4820 Elton John                                   I'm Still Standing                                       SR0000046348    UMG Recordings, Inc.
4821 Elton John                                   Little Jeannie                                           SR0000023473    UMG Recordings, Inc.
4822 Elton John                                   Nikita                                                   SR0000067567    UMG Recordings, Inc.
                                                                                                           N22622;
4823 Elton John                                   Philadelphia Freedom                                                     UMG Recordings, Inc.
                                                                                                           RE0000887755
4824 Elton John                                   Rocket Man (I Think It's Going To Be A Long Long Time)   N1989           UMG Recordings, Inc.
4825 Elton John                                   Sacrifice                                                SR0000107727    UMG Recordings, Inc.
4826 Elton John                                   Saturday Night's Alright For Fighting                    N10950          UMG Recordings, Inc.
4827 Elton John                                   The Bridge                                               SR0000396048    UMG Recordings, Inc.
4828 Elton John                                   This Train Don't Stop There Anymore                      SR0000303795    UMG Recordings, Inc.
4829 Elton John                                   Tinderbox                                                SR0000396047    UMG Recordings, Inc.
4830 Elton John                                   Tiny Dancer                                              RE0000802431    UMG Recordings, Inc.
4831 Eminem                                       (Curtains Up - Encore version)                           SR0000364769    UMG Recordings, Inc.
4832 Eminem                                       25 To Life                                               SR0000653572    UMG Recordings, Inc.
4833 Eminem                                       3 a.m.                                                   SR0000633152    UMG Recordings, Inc.
4834 Eminem                                       8 Mile                                                   SR0000322706    UMG Recordings, Inc.
4835 Eminem                                       Almost Famous                                            SR0000653572    UMG Recordings, Inc.
4836 Eminem                                       Ass Like That                                            SR0000364769    UMG Recordings, Inc.
4837 Eminem                                       Beautiful                                                SR0000633152    UMG Recordings, Inc.
4838 Eminem                                       Berzerk                                                  SR0000729822    UMG Recordings, Inc.
4839 Eminem                                       Big Weenie                                               SR0000364769    UMG Recordings, Inc.
4840 Eminem                                       Business                                                 SR0000317924    UMG Recordings, Inc.
4841 Eminem                                       Cinderella Man                                           SR0000653572    UMG Recordings, Inc.
4842 Eminem                                       Cleanin' Out My Closet                                   SR0000317924    UMG Recordings, Inc.
4843 Eminem                                       Cold Wind Blows                                          SR0000653572    UMG Recordings, Inc.
4844 Eminem                                       Crack A Bottle                                           SR0000642488    UMG Recordings, Inc.
4845 Eminem                                       Crazy In Love                                            SR0000364769    UMG Recordings, Inc.
4846 Eminem                                       Curtains Close (Skit)                                    SR0000317924    UMG Recordings, Inc.
4847 Eminem                                       Curtains Up                                              SR0000364769    UMG Recordings, Inc.
4848 Eminem                                       Drips                                                    SR0000317924    UMG Recordings, Inc.
4849 Eminem                                       Em Calls Paul                                            SR0000364769    UMG Recordings, Inc.
4850 Eminem                                       Encore                                                   SR0000364769    UMG Recordings, Inc.
4851 Eminem                                       Encore / Curtains Up                                     SR0000364769    UMG Recordings, Inc.
4852 Eminem                                       Encore/Curtains Down                                     SR0000364769    UMG Recordings, Inc.
4853 Eminem                                       Evil Deeds                                               SR0000364769    UMG Recordings, Inc.
4854 Eminem                                       FACK                                                     SR0000382840    UMG Recordings, Inc.
4855 Eminem                                       Final Thought (Skit)                                     SR0000364769    UMG Recordings, Inc.
4856 Eminem                                       Get You Mad                                              SR0000265774    UMG Recordings, Inc.



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                         Artist                                            Track                        Reg. No.              Plaintiff
4857 Eminem                                       Go To Sleep                                      SR0000327127    UMG Recordings, Inc.
4858 Eminem                                       Going Through Changes                            SR0000653572    UMG Recordings, Inc.
4859 Eminem                                       Guilty Conscience                                SR0000262686    UMG Recordings, Inc.
4860 Eminem                                       Hailie's Song                                    SR0000317924    UMG Recordings, Inc.
4861 Eminem                                       Insane                                           SR0000633152    UMG Recordings, Inc.
4862 Eminem                                       Intro                                            SR0000382840    UMG Recordings, Inc.
4863 Eminem                                       Jimmy Crack Corn                                 SR0000405877    UMG Recordings, Inc.
4864 Eminem                                       Just Don't Give A Fuck                           SR0000262686    UMG Recordings, Inc.
4865 Eminem                                       Just Lose It                                     SR0000362082    UMG Recordings, Inc.
4866 Eminem                                       Like Toy Soldiers                                SR0000364769    UMG Recordings, Inc.
4867 Eminem                                       Lose Yourself                                    SR0000322706    UMG Recordings, Inc.
4868 Eminem                                       Love The Way You Lie                             SR0000653572    UMG Recordings, Inc.
4869 Eminem                                       Love You More                                    SR0000364769    UMG Recordings, Inc.
4870 Eminem                                       Mockingbird                                      SR0000364769    UMG Recordings, Inc.
4871 Eminem                                       Mosh                                             SR0000364769    UMG Recordings, Inc.
4872 Eminem                                       My 1st Single                                    SR0000364769    UMG Recordings, Inc.
4873 Eminem                                       My Dad's Gone Crazy                              SR0000317924    UMG Recordings, Inc.
4874 Eminem                                       My Fault                                         SR0000262686    UMG Recordings, Inc.
4875 Eminem                                       My Name Is                                       SR0000262686    UMG Recordings, Inc.
4876 Eminem                                       Never Enough                                     SR0000364769    UMG Recordings, Inc.
4877 Eminem                                       No Apologies                                     SR0000401289    UMG Recordings, Inc.
4878 Eminem                                       No Love                                          SR0000653572    UMG Recordings, Inc.
4879 Eminem                                       Not Afraid                                       SR0000653571    UMG Recordings, Inc.
4880 Eminem                                       On Fire                                          SR0000653572    UMG Recordings, Inc.
4881 Eminem                                       One Shot 2 Shot                                  SR0000364769    UMG Recordings, Inc.
4882 Eminem                                       Paul                                             SR0000364769    UMG Recordings, Inc.
4883 Eminem                                       Paul (Skit)                                      SR0000364769    UMG Recordings, Inc.
4884 Eminem                                       Public Enemy #1                                  SR0000401289    UMG Recordings, Inc.
4885 Eminem                                       Puke                                             SR0000364769    UMG Recordings, Inc.
4886 Eminem                                       Rabbit Run                                       SR0000322706    UMG Recordings, Inc.
4887 Eminem                                       Rain Man                                         SR0000364769    UMG Recordings, Inc.
4888 Eminem                                       Rap God                                          SR0000735449    UMG Recordings, Inc.
4889 Eminem                                       Ricky Ticky Toc                                  SR0000364769    UMG Recordings, Inc.
4890 Eminem                                       Ridaz                                            SR0000659181    UMG Recordings, Inc.
4891 Eminem                                       Say Goodbye Hollywood                            SR0000317924    UMG Recordings, Inc.
4892 Eminem                                       Say What You Say                                 SR0000317924    UMG Recordings, Inc.
4893 Eminem                                       Seduction                                        SR0000653572    UMG Recordings, Inc.
4894 Eminem                                       Session One                                      SR0000659181    UMG Recordings, Inc.
4895 Eminem                                       Shake That                                       SR0000382840    UMG Recordings, Inc.
4896 Eminem                                       Sing For The Moment                              SR0000317924    UMG Recordings, Inc.
4897 Eminem                                       So Bad                                           SR0000653572    UMG Recordings, Inc.
4898 Eminem                                       Soldier                                          SR0000317924    UMG Recordings, Inc.
4899 Eminem                                       Space Bound                                      SR0000653572    UMG Recordings, Inc.
4900 Eminem                                       Spend Some Time                                  SR0000262686    UMG Recordings, Inc.
4901 Eminem                                       Square Dance                                     SR0000317924    UMG Recordings, Inc.
4902 Eminem                                       Stan (Live)                                      SR0000382840    UMG Recordings, Inc.
4903 Eminem                                       Stay Wide Awake                                  SR0000642488    UMG Recordings, Inc.
4904 Eminem                                       Still Don't Give                                 SR0000262686    UMG Recordings, Inc.
4905 Eminem                                       Superman                                         SR0000317924    UMG Recordings, Inc.
4906 Eminem                                       Survival                                         SR0000735449    UMG Recordings, Inc.
4907 Eminem                                       Talkin' 2 Myself                                 SR0000653572    UMG Recordings, Inc.
4908 Eminem                                       The Kiss (Skit)                                  SR0000317924    UMG Recordings, Inc.
4909 Eminem                                       The Monster                                      SR0000735449    UMG Recordings, Inc.
4910 Eminem                                       The Re-Up                                        SR0000401289    UMG Recordings, Inc.
4911 Eminem                                       The Real Slim Shady                              SR0000293541    UMG Recordings, Inc.
4912 Eminem                                       The Way I Am                                     SR0000287944    UMG Recordings, Inc.
4913 Eminem                                       Till I Collapse                                  SR0000317924    UMG Recordings, Inc.
4914 Eminem                                       Untitled                                         SR0000653572    UMG Recordings, Inc.
4915 Eminem                                       W.T.P.                                           SR0000653572    UMG Recordings, Inc.
4916 Eminem                                       We As Americans                                  SR0000364769    UMG Recordings, Inc.
4917 Eminem                                       We Made You                                      SR0000642488    UMG Recordings, Inc.
4918 Eminem                                       When I'm Gone                                    SR0000382840    UMG Recordings, Inc.
4919 Eminem                                       When The Music Stops                             SR0000317924    UMG Recordings, Inc.
4920 Eminem                                       White America                                    SR0000317924    UMG Recordings, Inc.
4921 Eminem                                       Without Me                                       SR0000317924    UMG Recordings, Inc.
4922 Eminem                                       Won't Back Down                                  SR0000653572    UMG Recordings, Inc.
4923 Eminem                                       Yellow Brick Road                                SR0000364769    UMG Recordings, Inc.
4924 Eminem                                       You Don't Know                                   SR0000400225    UMG Recordings, Inc.



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                         Artist                                             Track                             Reg. No.              Plaintiff
4925 Eminem                                       You're Never Over                                      SR0000653572    UMG Recordings, Inc.
4926 Eric Church                                  Give Me Back My Hometown                               SR0000741485    UMG Recordings, Inc.
4927 Eric Clapton                                 Cocaine                                                SR0000001112    UMG Recordings, Inc.
4928 Eric Clapton                                 I Can't Stand It                                       SR0000025214    UMG Recordings, Inc.
4929 Eric Clapton                                 I Shot The Sheriff                                     SR0000742060    UMG Recordings, Inc.
4930 Eric Clapton                                 Knockin' On Heaven's Door                              SR0000742060    UMG Recordings, Inc.
4931 Eric Clapton                                 Lay Down Sally                                         SR0000018550    UMG Recordings, Inc.
                                                                                                         N16809;
4932 Eric Clapton                                 Let It Grow                                                            UMG Recordings, Inc.
                                                                                                         RE0000866829
4933 Eric Clapton                                 Promises                                               SR0000630877    UMG Recordings, Inc.
4934 Eric Clapton                                 Swing Low Sweet Chariot                                SR0000613979    UMG Recordings, Inc.
4935 Eric Clapton                                 Wonderful Tonight                                      SR0000018550    UMG Recordings, Inc.
4936 Fall Out Boy                                 Alone Together                                         SR0000720423    UMG Recordings, Inc.
4937 Fall Out Boy                                 American Beauty/American Psycho                        SR0000766295    UMG Recordings, Inc.
4938 Fall Out Boy                                 Centuries                                              SR0000750127    UMG Recordings, Inc.
4939 Fall Out Boy                                 Death Valley                                           SR0000720423    UMG Recordings, Inc.
4940 Fall Out Boy                                 Favorite Record                                        SR0000766550    UMG Recordings, Inc.
4941 Fall Out Boy                                 Fourth of July                                         SR0000766550    UMG Recordings, Inc.
4942 Fall Out Boy                                 Immortals                                              SR0000766550    UMG Recordings, Inc.
4943 Fall Out Boy                                 Irresistible                                           SR0000766295    UMG Recordings, Inc.
4944 Fall Out Boy                                 Jet Pack Blues                                         SR0000766550    UMG Recordings, Inc.
4945 Fall Out Boy                                 Just One Yesterday                                     SR0000720423    UMG Recordings, Inc.
4946 Fall Out Boy                                 Miss Missing You                                       SR0000720423    UMG Recordings, Inc.
4947 Fall Out Boy                                 My Songs Know What You Did In The Dark (Light Em Up)   SR0000720423    UMG Recordings, Inc.
4948 Fall Out Boy                                 Novocaine                                              SR0000766550    UMG Recordings, Inc.
4949 Fall Out Boy                                 Rat A Tat                                              SR0000720423    UMG Recordings, Inc.
4950 Fall Out Boy                                 Save Rock And Roll                                     SR0000720423    UMG Recordings, Inc.
4951 Fall Out Boy                                 The Kids Aren't Alright                                SR0000766934    UMG Recordings, Inc.
4952 Fall Out Boy                                 The Mighty Fall                                        SR0000720423    UMG Recordings, Inc.
4953 Fall Out Boy                                 The Phoenix                                            SR0000720423    UMG Recordings, Inc.
4954 Fall Out Boy                                 Thnks fr th Mmrs                                       SR0000766550    UMG Recordings, Inc.
4955 Fall Out Boy                                 Twin Skeleton's (Hotel In NYC)                         SR0000766550    UMG Recordings, Inc.
4956 Fall Out Boy                                 Uma Thurman                                            SR0000766286    UMG Recordings, Inc.
4957 Fall Out Boy                                 Where Did The Party Go                                 SR0000720423    UMG Recordings, Inc.
4958 Fall Out Boy                                 Young Volcanoes                                        SR0000720423    UMG Recordings, Inc.
4959 Far East Movement                            Like A G6                                              SR0000658290    UMG Recordings, Inc.
4960 Feist                                        1234                                                   SR0000406935    UMG Recordings, Inc.
4961 Feist                                        Brandy Alexander                                       SR0000406936    UMG Recordings, Inc.
4962 Feist                                        Gatekeeper                                             SR0000374394    UMG Recordings, Inc.
4963 Feist                                        Honey Honey                                            SR0000406936    UMG Recordings, Inc.
4964 Feist                                        How My Heart Behaves                                   SR0000406936    UMG Recordings, Inc.
4965 Feist                                        I Feel It All                                          SR0000406936    UMG Recordings, Inc.
4966 Feist                                        Inside And Out                                         SR0000374394    UMG Recordings, Inc.
4967 Feist                                        Intuition                                              SR0000406936    UMG Recordings, Inc.
4968 Feist                                        Leisure Suite                                          SR0000374394    UMG Recordings, Inc.
4969 Feist                                        Let It Die                                             SR0000374394    UMG Recordings, Inc.
4970 Feist                                        Lonely Lonely                                          SR0000374394    UMG Recordings, Inc.
4971 Feist                                        Mushaboom                                              SR0000388836    UMG Recordings, Inc.
4972 Feist                                        My Moon My Man                                         SR0000620089    UMG Recordings, Inc.
4973 Feist                                        Now At Last                                            SR0000374394    UMG Recordings, Inc.
4974 Feist                                        One Evening                                            SR0000374394    UMG Recordings, Inc.
4975 Feist                                        Past In Present                                        SR0000406936    UMG Recordings, Inc.
4976 Feist                                        Sealion                                                SR0000406936    UMG Recordings, Inc.
4977 Feist                                        Secret Heart                                           SR0000374394    UMG Recordings, Inc.
4978 Feist                                        So Sorry                                               SR0000406936    UMG Recordings, Inc.
4979 Feist                                        The Limit To Your Love                                 SR0000406936    UMG Recordings, Inc.
4980 Feist                                        The Park                                               SR0000406936    UMG Recordings, Inc.
4981 Feist                                        The Water                                              SR0000406936    UMG Recordings, Inc.
4982 Feist                                        Tout Doucement                                         SR0000374394    UMG Recordings, Inc.
4983 Feist                                        When I Was A Young Girl                                SR0000374394    UMG Recordings, Inc.
4984 Fergie                                       All That I Got (The Make Up Song)                      SR0000393675    UMG Recordings, Inc.
4985 Fergie                                       Barracuda                                              SR0000613597    UMG Recordings, Inc.
4986 Fergie                                       Big Girls Don't Cry (Personal)                         SR0000393675    UMG Recordings, Inc.
4987 Fergie                                       Clumsy                                                 SR0000393675    UMG Recordings, Inc.
4988 Fergie                                       Fergalicious                                           SR0000393675    UMG Recordings, Inc.
4989 Fergie                                       Finally                                                SR0000393675    UMG Recordings, Inc.
4990 Fergie                                       Glamorous                                              SR0000393675    UMG Recordings, Inc.
4991 Fergie                                       Here I Come                                            SR0000393675    UMG Recordings, Inc.



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                      Artist                                                  Track                     Reg. No.              Plaintiff
4992 Fergie                                       Labels Or Love                                   SR0000613598    UMG Recordings, Inc.
4993 Fergie                                       London Bridge                                    SR0000399946    UMG Recordings, Inc.
4994 Fergie                                       Losing My Ground                                 SR0000393675    UMG Recordings, Inc.
4995 Fergie                                       Mary Jane Shoes                                  SR0000393675    UMG Recordings, Inc.
4996 Fergie                                       Pedestal                                         SR0000393675    UMG Recordings, Inc.
4997 Fergie                                       Velvet                                           SR0000393675    UMG Recordings, Inc.
4998 Fergie                                       Voodoo Doll                                      SR0000393675    UMG Recordings, Inc.
4999 Flobots                                      Anne Braden                                      SR0000613276    UMG Recordings, Inc.
5000 Flobots                                      Combat                                           SR0000613276    UMG Recordings, Inc.
5001 Flobots                                      Fight With Tools                                 SR0000613276    UMG Recordings, Inc.
5002 Flobots                                      Mayday!!!                                        SR0000613276    UMG Recordings, Inc.
5003 Flobots                                      Never Had It                                     SR0000613276    UMG Recordings, Inc.
5004 Flobots                                      Rise                                             SR0000613276    UMG Recordings, Inc.
5005 Flobots                                      Same Thing                                       SR0000613276    UMG Recordings, Inc.
5006 Flobots                                      Stand Up                                         SR0000613276    UMG Recordings, Inc.
5007 Flobots                                      The Rhythm Method (Move!)                        SR0000613276    UMG Recordings, Inc.
5008 Flobots                                      There's A War Going On For Your Mind             SR0000613276    UMG Recordings, Inc.
5009 Flobots                                      We Are Winning                                   SR0000613276    UMG Recordings, Inc.
5010 Florence + The Machine                       Between Two Lungs                                SR0000645045    UMG Recordings, Inc.
5011 Florence + The Machine                       Blinding                                         SR0000645045    UMG Recordings, Inc.
5012 Florence + The Machine                       Cosmic Love                                      SR0000645045    UMG Recordings, Inc.
5013 Florence + The Machine                       Dog Days Are Over                                SR0000645045    UMG Recordings, Inc.
5014 Florence + The Machine                       Girl With One Eye                                SR0000645045    UMG Recordings, Inc.
5015 Florence + The Machine                       Howl                                             SR0000645045    UMG Recordings, Inc.
5016 Florence + The Machine                       Hurricane Drunk                                  SR0000645045    UMG Recordings, Inc.
5017 Florence + The Machine                       I'm Not Calling You A Liar                       SR0000645045    UMG Recordings, Inc.
5018 Florence + The Machine                       My Boy Builds Coffins                            SR0000645045    UMG Recordings, Inc.
5019 Florence + The Machine                       Rabbit Heart (Raise It Up)                       SR0000645045    UMG Recordings, Inc.
5020 Florence + The Machine                       You've Got The Love                              SR0000645045    UMG Recordings, Inc.
5021 Frank Ocean                                  Bad Religion                                     SR0000704928    UMG Recordings, Inc.
5022 Frank Ocean                                  Crack Rock                                       SR0000704928    UMG Recordings, Inc.
5023 Frank Ocean                                  End                                              SR0000704928    UMG Recordings, Inc.
5024 Frank Ocean                                  Fertilizer                                       SR0000704928    UMG Recordings, Inc.
5025 Frank Ocean                                  Forrest Gump                                     SR0000704928    UMG Recordings, Inc.
5026 Frank Ocean                                  Lost                                             SR0000704928    UMG Recordings, Inc.
5027 Frank Ocean                                  Monks                                            SR0000704928    UMG Recordings, Inc.
5028 Frank Ocean                                  Not Just Money                                   SR0000704928    UMG Recordings, Inc.
5029 Frank Ocean                                  Pilot Jones                                      SR0000704928    UMG Recordings, Inc.
5030 Frank Ocean                                  Pink Matter                                      SR0000704928    UMG Recordings, Inc.
5031 Frank Ocean                                  Pyramids                                         SR0000704928    UMG Recordings, Inc.
5032 Frank Ocean                                  Sierra Leone                                     SR0000704928    UMG Recordings, Inc.
5033 Frank Ocean                                  Start                                            SR0000704928    UMG Recordings, Inc.
5034 Frank Ocean                                  Super Rich Kids                                  SR0000704928    UMG Recordings, Inc.
5035 Frank Ocean                                  Sweet Life                                       SR0000704928    UMG Recordings, Inc.
5036 Frank Ocean                                  Thinkin Bout You                                 SR0000699626    UMG Recordings, Inc.
5037 Frank Ocean                                  White                                            SR0000704928    UMG Recordings, Inc.
5038 Gary Allan                                   As Long As You're Looking Back                   SR0000613393    UMG Recordings, Inc.
5039 Gary Allan                                   Half Of My Mistakes                              SR0000613393    UMG Recordings, Inc.
5040 Gary Allan                                   Like It's A Bad Thing                            SR0000613393    UMG Recordings, Inc.
5041 Gary Allan                                   Living Hard                                      SR0000613393    UMG Recordings, Inc.
5042 Gary Allan                                   She's So California                              SR0000613393    UMG Recordings, Inc.
5043 Gary Allan                                   Trying To Matter                                 SR0000613393    UMG Recordings, Inc.
5044 Gary Allan                                   Watching Airplanes                               SR0000613393    UMG Recordings, Inc.
5045 Gary Allan                                   We Touched The Sun                               SR0000613393    UMG Recordings, Inc.
5046 Gary Allan                                   Wrecking Ball                                    SR0000613393    UMG Recordings, Inc.
5047 Gary Allan                                   Yesterday's Rain                                 SR0000613393    UMG Recordings, Inc.
5048 George Strait                                A Fire I Can't Put Out                           SR0000213745    UMG Recordings, Inc.
5049 George Strait                                Ace In The Hole                                  SR0000100975    UMG Recordings, Inc.
5050 George Strait                                Adalida                                          SR0000278184    UMG Recordings, Inc.
5051 George Strait                                All My Ex's Live In Texas                        SR0000358502    UMG Recordings, Inc.
5052 George Strait                                Am I Blue (Yes I'm Blue)                         SR0000213745    UMG Recordings, Inc.
5053 George Strait                                Amarillo By Morning                              SR0000213745    UMG Recordings, Inc.
5054 George Strait                                Baby Blue                                        SR0000358502    UMG Recordings, Inc.
5055 George Strait                                Baby's Gotten Good At Goodbye                    SR0000100975    UMG Recordings, Inc.
5056 George Strait                                Blue Clear Sky                                   SR0000358502    UMG Recordings, Inc.
5057 George Strait                                Carried Away                                     SR0000358502    UMG Recordings, Inc.
5058 George Strait                                Carrying Your Love With Me                       SR0000358502    UMG Recordings, Inc.
5059 George Strait                                Check Yes Or No                                  SR0000213745    UMG Recordings, Inc.



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                         Artist                                                  Track                              Reg. No.              Plaintiff
5060 George Strait                                Cowboys Like Us                                              SR0000333733    UMG Recordings, Inc.
5061 George Strait                                Desperately                                                  SR0000334394    UMG Recordings, Inc.
5062 George Strait                                Does Fort Worth Ever Cross Your Mind                         SR0000213745    UMG Recordings, Inc.
5063 George Strait                                Don't Make Me Come Over There And Love You                   SR0000270094    UMG Recordings, Inc.
5064 George Strait                                Down And Out                                                 SR0000030829    UMG Recordings, Inc.
5065 George Strait                                Drinking Champagne                                           SR0000213745    UMG Recordings, Inc.
5066 George Strait                                Easy Come, Easy Go                                           SR0000213745    UMG Recordings, Inc.
5067 George Strait                                Famous Last Words Of A Fool                                  SR0000358502    UMG Recordings, Inc.
5068 George Strait                                Fool Hearted Memory                                          SR0000213745    UMG Recordings, Inc.
5069 George Strait                                Go On                                                        SR0000270094    UMG Recordings, Inc.
5070 George Strait                                Gone As A Girl Can Get                                       SR0000141229    UMG Recordings, Inc.
5071 George Strait                                Good News, Bad News                                          SR0000372131    UMG Recordings, Inc.
5072 George Strait                                Heartland                                                    SR0000213745    UMG Recordings, Inc.
5073 George Strait                                How 'Bout Them Cowgirls                                      SR0000398524    UMG Recordings, Inc.
5074 George Strait                                I Can Still Make Cheyenne                                    SR0000358502    UMG Recordings, Inc.
5075 George Strait                                I Cross My Heart                                             SR0000213745    UMG Recordings, Inc.
5076 George Strait                                I Hate Everything                                            SR0000358502    UMG Recordings, Inc.
5077 George Strait                                I Just Want To Dance With You                                SR0000252101    UMG Recordings, Inc.
5078 George Strait                                I Know She Still Loves Me                                    SR0000358502    UMG Recordings, Inc.
5079 George Strait                                I'd Like To Have That One Back                               SR0000178495    UMG Recordings, Inc.
5080 George Strait                                I've Come To Expect It From You                              SR0000358502    UMG Recordings, Inc.
5081 George Strait                                If I Know Me                                                 SR0000358502    UMG Recordings, Inc.
5082 George Strait                                If You Ain't Lovin' (You Ain't Livin')                       SR0000213745    UMG Recordings, Inc.
5083 George Strait                                If You Can Do Anything Else                                  SR0000270094    UMG Recordings, Inc.
                                                  If You're Thinking You Want A Stranger (There's One Coming
5084 George Strait                                                                                             SR0000030829    UMG Recordings, Inc.
                                                  Home)
5085 George Strait                                It Ain't Cool To Be Crazy About You                          SR0000358502    UMG Recordings, Inc.
5086 George Strait                                Lead On                                                      SR0000358502    UMG Recordings, Inc.
5087 George Strait                                Let's Fall To Pieces Together                                SR0000358502    UMG Recordings, Inc.
5088 George Strait                                Living And Living Well                                       SR0000309691    UMG Recordings, Inc.
5089 George Strait                                Love Without End, Amen                                       SR0000358502    UMG Recordings, Inc.
5090 George Strait                                Marina Del Rey                                               SR0000066434    UMG Recordings, Inc.
5091 George Strait                                Meanwhile                                                    SR0000263154    UMG Recordings, Inc.
5092 George Strait                                Nobody In His Right Mind Would've Left Her                   SR0000077926    UMG Recordings, Inc.
5093 George Strait                                Ocean Front Property                                         SR0000079124    UMG Recordings, Inc.
5094 George Strait                                One Night At A Time                                          SR0000358502    UMG Recordings, Inc.
5095 George Strait                                Overnight Success                                            SR0000100975    UMG Recordings, Inc.
5096 George Strait                                Right Or Wrong                                               SR0000358502    UMG Recordings, Inc.
5097 George Strait                                Round About Way                                              SR0000358502    UMG Recordings, Inc.
5098 George Strait                                Run                                                          SR0000358502    UMG Recordings, Inc.
5099 George Strait                                She Let Herself Go                                           SR0000801476    UMG Recordings, Inc.
5100 George Strait                                She'll Leave You With A Smile                                SR0000358502    UMG Recordings, Inc.
5101 George Strait                                So Much Like My Dad                                          SR0000358502    UMG Recordings, Inc.
5102 George Strait                                The Best Day                                                 SR0000278800    UMG Recordings, Inc.
5103 George Strait                                The Big One                                                  SR0000358502    UMG Recordings, Inc.
5104 George Strait                                The Chair                                                    SR0000073980    UMG Recordings, Inc.
5105 George Strait                                The Chill Of An Early Fall                                   SR0000128640    UMG Recordings, Inc.
5106 George Strait                                The Cowboy Rides Away                                        SR0000213745    UMG Recordings, Inc.
5107 George Strait                                The Fireman                                                  SR0000213745    UMG Recordings, Inc.
5108 George Strait                                The Love Bug                                                 SR0000178495    UMG Recordings, Inc.
5109 George Strait                                The Man In Love With You                                     SR0000178495    UMG Recordings, Inc.
5110 George Strait                                The Seashores Of Old Mexico                                  SR0000801476    UMG Recordings, Inc.
5111 George Strait                                Today My World Slipped Away                                  SR0000278184    UMG Recordings, Inc.
5112 George Strait                                True                                                         SR0000801476    UMG Recordings, Inc.
5113 George Strait                                Unwound                                                      SR0000030829    UMG Recordings, Inc.
5114 George Strait                                We Really Shouldn't Be Doing This                            SR0000278184    UMG Recordings, Inc.
5115 George Strait                                What Do You Say To That                                      SR0000263154    UMG Recordings, Inc.
5116 George Strait                                What's Going On In Your World                                SR0000100975    UMG Recordings, Inc.
5117 George Strait                                When Did You Stop Loving Me                                  SR0000146421    UMG Recordings, Inc.
5118 George Strait                                Write This Down                                              SR0000801476    UMG Recordings, Inc.
5119 George Strait                                You Can't Make A Heart Love Somebody                         SR0000358502    UMG Recordings, Inc.
5120 George Strait                                You Know Me Better Than That                                 SR0000213745    UMG Recordings, Inc.
5121 George Strait                                You Look So Good In Love                                     SR0000213745    UMG Recordings, Inc.
5122 George Strait                                You'll Be There                                              SR0000376078    UMG Recordings, Inc.
5123 George Strait                                You're Something Special To Me                               SR0000073980    UMG Recordings, Inc.
5124 Gotye                                        Bronte                                                       SR0000692982    UMG Recordings, Inc.
5125 Gotye                                        Don't Worry, We'll Be Watching You                           SR0000692982    UMG Recordings, Inc.
5126 Gotye                                        Easy Way Out                                                 SR0000692982    UMG Recordings, Inc.



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                         Artist                                              Track                      Reg. No.              Plaintiff
5127 Gotye                                        Eyes Wide Open                                   SR0000692982    UMG Recordings, Inc.
5128 Gotye                                        Giving Me A Chance                               SR0000692982    UMG Recordings, Inc.
5129 Gotye                                        I Feel Better                                    SR0000692982    UMG Recordings, Inc.
5130 Gotye                                        In Your Light                                    SR0000692982    UMG Recordings, Inc.
5131 Gotye                                        Save Me                                          SR0000692982    UMG Recordings, Inc.
5132 Gotye                                        Smoke And Mirrors                                SR0000692982    UMG Recordings, Inc.
5133 Gotye                                        Somebody That I Used To Know                     SR0000692982    UMG Recordings, Inc.
5134 Gotye                                        State Of The Art                                 SR0000692982    UMG Recordings, Inc.
5135 Gwen Stefani                                 4 In The Morning                                 SR0000400614    UMG Recordings, Inc.
5136 Gwen Stefani                                 Breakin' Up                                      SR0000400614    UMG Recordings, Inc.
5137 Gwen Stefani                                 Bubble Pop Electric                              SR0000364759    UMG Recordings, Inc.
5138 Gwen Stefani                                 Cool                                             SR0000364759    UMG Recordings, Inc.
5139 Gwen Stefani                                 Crash                                            SR0000364759    UMG Recordings, Inc.
5140 Gwen Stefani                                 Danger Zone                                      SR0000364759    UMG Recordings, Inc.
5141 Gwen Stefani                                 Don't Get It Twisted                             SR0000400614    UMG Recordings, Inc.
5142 Gwen Stefani                                 Early Winter                                     SR0000400614    UMG Recordings, Inc.
5143 Gwen Stefani                                 Fluorescent                                      SR0000400614    UMG Recordings, Inc.
5144 Gwen Stefani                                 Harajuku Girls                                   SR0000364759    UMG Recordings, Inc.
5145 Gwen Stefani                                 Hollaback Girl                                   SR0000364759    UMG Recordings, Inc.
5146 Gwen Stefani                                 Long Way To Go                                   SR0000364759    UMG Recordings, Inc.
5147 Gwen Stefani                                 Luxurious                                        SR0000364759    UMG Recordings, Inc.
5148 Gwen Stefani                                 Now That You Got It                              SR0000400614    UMG Recordings, Inc.
5149 Gwen Stefani                                 Orange County Girl                               SR0000400614    UMG Recordings, Inc.
5150 Gwen Stefani                                 Rich Girl                                        SR0000364759    UMG Recordings, Inc.
5151 Gwen Stefani                                 Serious                                          SR0000364759    UMG Recordings, Inc.
5152 Gwen Stefani                                 The Real Thing                                   SR0000364759    UMG Recordings, Inc.
5153 Gwen Stefani                                 The Sweet Escape                                 SR0000400614    UMG Recordings, Inc.
5154 Gwen Stefani                                 U Started It                                     SR0000400614    UMG Recordings, Inc.
5155 Gwen Stefani                                 What You Waiting For?                            SR0000364759    UMG Recordings, Inc.
5156 Gwen Stefani                                 Wind It Up                                       SR0000400613    UMG Recordings, Inc.
5157 Gwen Stefani                                 Yummy                                            SR0000400614    UMG Recordings, Inc.
5158 Hinder                                       Bed Of Roses                                     SR0000617110    UMG Recordings, Inc.
5159 Hinder                                       Better Than Me                                   SR0000379192    UMG Recordings, Inc.
5160 Hinder                                       Bliss (I Don't Wanna Know)                       SR0000379192    UMG Recordings, Inc.
5161 Hinder                                       Born To Be Wild                                  SR0000617110    UMG Recordings, Inc.
5162 Hinder                                       By The Way                                       SR0000379192    UMG Recordings, Inc.
5163 Hinder                                       Far From Home                                    SR0000622802    UMG Recordings, Inc.
5164 Hinder                                       Get Stoned                                       SR0000379192    UMG Recordings, Inc.
5165 Hinder                                       Heartless                                        SR0000619828    UMG Recordings, Inc.
5166 Hinder                                       Heaven Sent                                      SR0000622802    UMG Recordings, Inc.
5167 Hinder                                       Homecoming Queen                                 SR0000379192    UMG Recordings, Inc.
5168 Hinder                                       How Long                                         SR0000379192    UMG Recordings, Inc.
5169 Hinder                                       Last Kiss Goodbye                                SR0000622802    UMG Recordings, Inc.
5170 Hinder                                       Lips Of An Angel                                 SR0000379192    UMG Recordings, Inc.
5171 Hinder                                       Live For Today                                   SR0000622802    UMG Recordings, Inc.
5172 Hinder                                       Loaded and Alone                                 SR0000622802    UMG Recordings, Inc.
5173 Hinder                                       Lost In The Sun                                  SR0000622802    UMG Recordings, Inc.
5174 Hinder                                       Nothin' Good About Goodbye                       SR0000379192    UMG Recordings, Inc.
5175 Hinder                                       One Night Stand                                  SR0000619828    UMG Recordings, Inc.
5176 Hinder                                       Room 21                                          SR0000379192    UMG Recordings, Inc.
5177 Hinder                                       Running In The Rain                              SR0000622802    UMG Recordings, Inc.
5178 Hinder                                       Shoulda                                          SR0000379192    UMG Recordings, Inc.
5179 Hinder                                       Take It To The Limit                             SR0000622802    UMG Recordings, Inc.
5180 Hinder                                       Take Me Home Tonight                             SR0000617110    UMG Recordings, Inc.
5181 Hinder                                       The Best is Yet to Come                          SR0000622802    UMG Recordings, Inc.
5182 Hinder                                       Thing For You                                    SR0000622802    UMG Recordings, Inc.
5183 Hinder                                       Thunderstruck                                    SR0000622802    UMG Recordings, Inc.
5184 Hinder                                       Up All Night                                     SR0000379192    UMG Recordings, Inc.
5185 Hinder                                       Use Me                                           SR0000614599    UMG Recordings, Inc.
5186 Hinder                                       Without You                                      SR0000619215    UMG Recordings, Inc.
5187 Iggy Azalea                                  Work                                             SR0000748652    UMG Recordings, Inc.
5188 Imagine Dragons                              America                                          SR0000717800    UMG Recordings, Inc.
5189 Imagine Dragons                              Demons                                           SR0000695196    UMG Recordings, Inc.
5190 Imagine Dragons                              Fallen                                           SR0000706680    UMG Recordings, Inc.
5191 Imagine Dragons                              It's Time                                        SR0000695196    UMG Recordings, Inc.
5192 Imagine Dragons                              My Fault                                         SR0000695196    UMG Recordings, Inc.
5193 Imagine Dragons                              Radioactive                                      SR0000695196    UMG Recordings, Inc.
5194 Imagine Dragons                              Round and Round                                  SR0000695196    UMG Recordings, Inc.



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                         Artist                                              Track                      Reg. No.              Plaintiff
5195 Imagine Dragons                              Selene                                           SR0000707482    UMG Recordings, Inc.
5196 Imagine Dragons                              The River                                        SR0000707482    UMG Recordings, Inc.
5197 Imagine Dragons                              Working Man                                      SR0000706680    UMG Recordings, Inc.
5198 Jadakiss                                     Air It Out                                       SR0000356267    UMG Recordings, Inc.
5199 Jadakiss                                     Bring You Down                                   SR0000356267    UMG Recordings, Inc.
5200 Jadakiss                                     Hot Sauce To Go                                  SR0000356267    UMG Recordings, Inc.
5201 Jadakiss                                     I'm Goin Back                                    SR0000356267    UMG Recordings, Inc.
5202 Jadakiss                                     Real Hip Hop                                     SR0000356267    UMG Recordings, Inc.
5203 Jadakiss                                     Shine                                            SR0000356267    UMG Recordings, Inc.
5204 Jadakiss                                     Still Feel Me                                    SR0000356267    UMG Recordings, Inc.
5205 Jadakiss                                     Welcome To D-Block                               SR0000356267    UMG Recordings, Inc.
5206 James Blake                                  Give Me My Month                                 SR0000673339    UMG Recordings, Inc.
5207 James Blake                                  I Mind                                           SR0000673339    UMG Recordings, Inc.
5208 James Blake                                  I Never Learnt To Share                          SR0000673339    UMG Recordings, Inc.
5209 James Blake                                  Limit To Your Love                               SR0000673339    UMG Recordings, Inc.
5210 James Blake                                  Lindisfarne II                                   SR0000673339    UMG Recordings, Inc.
5211 James Blake                                  Measurements                                     SR0000673339    UMG Recordings, Inc.
5212 James Blake                                  To Care (Like You)                               SR0000673339    UMG Recordings, Inc.
5213 James Blake                                  Unluck                                           SR0000673339    UMG Recordings, Inc.
5214 James Blake                                  Why Don't You Call Me?                           SR0000673339    UMG Recordings, Inc.
5215 James Morrison                               Broken Strings                                   SR0000629431    UMG Recordings, Inc.
5216 JAY Z                                        03' Bonnie & Clyde                               SR0000322448    UMG Recordings, Inc.
5217 JAY Z                                        Gotta Have It                                    SR0000683714    UMG Recordings, Inc.
5218 JAY Z                                        Made In America                                  SR0000683714    UMG Recordings, Inc.
5219 JAY Z                                        Murder To Excellence                             SR0000683714    UMG Recordings, Inc.
5220 JAY Z                                        New Day                                          SR0000683714    UMG Recordings, Inc.
5221 JAY Z                                        Ni**as In Paris                                  SR0000683714    UMG Recordings, Inc.
5222 JAY Z                                        No Church In The Wild                            SR0000683714    UMG Recordings, Inc.
5223 JAY Z                                        Otis                                             SR0000683713    UMG Recordings, Inc.
5224 JAY Z                                        Renegade                                         SR0000305948    UMG Recordings, Inc.
5225 JAY Z                                        That's My Bitch                                  SR0000683714    UMG Recordings, Inc.
5226 JAY Z                                        Welcome To The Jungle                            SR0000683714    UMG Recordings, Inc.
5227 JAY Z                                        Who Gon Stop Me                                  SR0000683714    UMG Recordings, Inc.
5228 JAY Z                                        Why I Love You                                   SR0000683714    UMG Recordings, Inc.
5229 Jennifer Lopez                               I'm Into You                                     SR0000751797    UMG Recordings, Inc.
5230 Jeremih                                      Down On Me                                       SR0000664544    UMG Recordings, Inc.
5231 Jessie J                                     Domino                                           SR0000684339    UMG Recordings, Inc.
5232 Jimmy Eat World                              Drugs Or Me                                      SR0000366508    UMG Recordings, Inc.
5233 Jimmy Eat World                              Futures                                          SR0000366508    UMG Recordings, Inc.
5234 Jimmy Eat World                              Just Tonight                                     SR0000366508    UMG Recordings, Inc.
5235 Jimmy Eat World                              Kill                                             SR0000366508    UMG Recordings, Inc.
5236 Jimmy Eat World                              Night Drive                                      SR0000366508    UMG Recordings, Inc.
5237 Jimmy Eat World                              Nothing Wrong                                    SR0000366508    UMG Recordings, Inc.
5238 Jimmy Eat World                              Polaris                                          SR0000366508    UMG Recordings, Inc.
5239 Jimmy Eat World                              The World You Love                               SR0000366508    UMG Recordings, Inc.
5240 Josh Turner                                  All Over Me                                      SR0000645586    UMG Recordings, Inc.
5241 Josh Turner                                  Angels Fall Sometimes                            SR0000386947    UMG Recordings, Inc.
5242 Josh Turner                                  Another Try                                      SR0000615283    UMG Recordings, Inc.
5243 Josh Turner                                  As Fast As I Could                               SR0000645586    UMG Recordings, Inc.
5244 Josh Turner                                  Baby, I Go Crazy                                 SR0000621056    UMG Recordings, Inc.
5245 Josh Turner                                  Baby's Gone Home To Mama                         SR0000386947    UMG Recordings, Inc.
5246 Josh Turner                                  Backwoods Boy                                    SR0000344336    UMG Recordings, Inc.
5247 Josh Turner                                  Everything Is Fine                               SR0000621055    UMG Recordings, Inc.
5248 Josh Turner                                  Eye Candy                                        SR0000645586    UMG Recordings, Inc.
5249 Josh Turner                                  Firecracker                                      SR0000621055    UMG Recordings, Inc.
5250 Josh Turner                                  Friday Paycheck                                  SR0000645586    UMG Recordings, Inc.
5251 Josh Turner                                  Good Woman Bad                                   SR0000344336    UMG Recordings, Inc.
5252 Josh Turner                                  Gravity                                          SR0000381628    UMG Recordings, Inc.
5253 Josh Turner                                  Haywire                                          SR0000645586    UMG Recordings, Inc.
5254 Josh Turner                                  I Had One One Time                               SR0000344336    UMG Recordings, Inc.
5255 Josh Turner                                  I Wouldn't Be A Man                              SR0000645586    UMG Recordings, Inc.
5256 Josh Turner                                  I'll Be There                                    SR0000645586    UMG Recordings, Inc.
5257 Josh Turner                                  In My Dreams                                     SR0000344336    UMG Recordings, Inc.
5258 Josh Turner                                  Jacksonville                                     SR0000344336    UMG Recordings, Inc.
5259 Josh Turner                                  Let's Find A Church                              SR0000645586    UMG Recordings, Inc.
5260 Josh Turner                                  Long Black Train                                 SR0000344336    UMG Recordings, Inc.
5261 Josh Turner                                  Lord Have Mercy On A Country Boy                 SR0000386947    UMG Recordings, Inc.
5262 Josh Turner                                  Loretta Lynn's Lincoln                           SR0000386947    UMG Recordings, Inc.



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                         Artist                                                Track                               Reg. No.              Plaintiff
5263 Josh Turner                                  Lovin' You On My Mind                                       SR0000645586    UMG Recordings, Inc.
5264 Josh Turner                                  Me And God                                                  SR0000386947    UMG Recordings, Inc.
5265 Josh Turner                                  No Rush                                                     SR0000386947    UMG Recordings, Inc.
5266 Josh Turner                                  Nowhere Fast                                                SR0000621055    UMG Recordings, Inc.
5267 Josh Turner                                  One Woman Man                                               SR0000621055    UMG Recordings, Inc.
5268 Josh Turner                                  She'll Go On You                                            SR0000344336    UMG Recordings, Inc.
5269 Josh Turner                                  So Not My Baby                                              SR0000621055    UMG Recordings, Inc.
5270 Josh Turner                                  Soulmate                                                    SR0000621055    UMG Recordings, Inc.
5271 Josh Turner                                  South Carolina Low Country                                  SR0000621055    UMG Recordings, Inc.
5272 Josh Turner                                  The Answer                                                  SR0000645586    UMG Recordings, Inc.
5273 Josh Turner                                  The Difference Between A Woman And A Man                    SR0000344336    UMG Recordings, Inc.
5274 Josh Turner                                  The Longer The Waiting                                      SR0000621055    UMG Recordings, Inc.
5275 Josh Turner                                  The Way He Was Raised                                       SR0000621055    UMG Recordings, Inc.
5276 Josh Turner                                  This Kind Of Love                                           SR0000645586    UMG Recordings, Inc.
5277 Josh Turner                                  Trailerhood                                                 SR0000621055    UMG Recordings, Inc.
5278 Josh Turner                                  Unburn All Our Bridges                                      SR0000344336    UMG Recordings, Inc.
5279 Josh Turner                                  Way Down South                                              SR0000386947    UMG Recordings, Inc.
5280 Josh Turner                                  What It Ain't                                               SR0000344336    UMG Recordings, Inc.
5281 Josh Turner                                  White Noise                                                 SR0000386947    UMG Recordings, Inc.
5282 Josh Turner                                  Why Don't We Just Dance                                     SR0000635058    UMG Recordings, Inc.
5283 Josh Turner                                  Would You Go With Me                                        SR0000615305    UMG Recordings, Inc.
5284 Josh Turner                                  You Don't Mess Around With Jim                              SR0000344336    UMG Recordings, Inc.
5285 Josh Turner                                  Your Man                                                    SR0000386947    UMG Recordings, Inc.
5286 Josh Turner                                  Your Smile                                                  SR0000645586    UMG Recordings, Inc.
5287 Justin Bieber                                All Around The World                                        SR0000710074    UMG Recordings, Inc.
                                                  All I Want For Christmas Is You (SuperFestive!) Duet with
5288 Justin Bieber                                                                                            SR0000704701    UMG Recordings, Inc.
                                                  Mariah Carey
5289 Justin Bieber                                All I Want Is You                                           SR0000704701    UMG Recordings, Inc.
5290 Justin Bieber                                As Long As You Love Me                                      SR0000710074    UMG Recordings, Inc.
5291 Justin Bieber                                Baby                                                        SR0000647660    UMG Recordings, Inc.
5292 Justin Bieber                                Be Alright                                                  SR0000710074    UMG Recordings, Inc.
5293 Justin Bieber                                Beauty And A Beat                                           SR0000710074    UMG Recordings, Inc.
5294 Justin Bieber                                Believe                                                     SR0000704844    UMG Recordings, Inc.
5295 Justin Bieber                                Bigger                                                      SR0000638627    UMG Recordings, Inc.
5296 Justin Bieber                                Boyfriend                                                   SR0000710074    UMG Recordings, Inc.
5297 Justin Bieber                                Catching Feelings                                           SR0000710074    UMG Recordings, Inc.
5298 Justin Bieber                                Christmas Eve                                               SR0000704701    UMG Recordings, Inc.
5299 Justin Bieber                                Christmas Love                                              SR0000704701    UMG Recordings, Inc.
5300 Justin Bieber                                Common Denominator                                          SR0000634194    UMG Recordings, Inc.
5301 Justin Bieber                                Die In Your Arms                                            SR0000705165    UMG Recordings, Inc.
5302 Justin Bieber                                Down To Earth                                               SR0000638627    UMG Recordings, Inc.
5303 Justin Bieber                                Drummer Boy                                                 SR0000704701    UMG Recordings, Inc.
5304 Justin Bieber                                Fa La La                                                    SR0000704701    UMG Recordings, Inc.
5305 Justin Bieber                                Fall                                                        SR0000710074    UMG Recordings, Inc.
5306 Justin Bieber                                Favorite Girl                                               SR0000638627    UMG Recordings, Inc.
5307 Justin Bieber                                First Dance                                                 SR0000638627    UMG Recordings, Inc.
5308 Justin Bieber                                Home This Christmas                                         SR0000704701    UMG Recordings, Inc.
5309 Justin Bieber                                Love Me                                                     SR0000638627    UMG Recordings, Inc.
5310 Justin Bieber                                Maria                                                       SR0000710074    UMG Recordings, Inc.
5311 Justin Bieber                                Mistletoe                                                   SR0000704701    UMG Recordings, Inc.
5312 Justin Bieber                                Never Let You Go                                            SR0000638627    UMG Recordings, Inc.
5313 Justin Bieber                                Never Say Never                                             SR0000659942    UMG Recordings, Inc.
5314 Justin Bieber                                One Less Lonely Girl                                        SR0000636192    UMG Recordings, Inc.
5315 Justin Bieber                                One Love                                                    SR0000710074    UMG Recordings, Inc.
5316 Justin Bieber                                Only Thing I Ever Get For Christmas                         SR0000704701    UMG Recordings, Inc.
5317 Justin Bieber                                Out Of Town Girl                                            SR0000710074    UMG Recordings, Inc.
5318 Justin Bieber                                Overboard                                                   SR0000647657    UMG Recordings, Inc.
5319 Justin Bieber                                Right Here                                                  SR0000710074    UMG Recordings, Inc.
5320 Justin Bieber                                Runaway Love                                                SR0000647657    UMG Recordings, Inc.
5321 Justin Bieber                                Santa Claus Is Coming To Town                               SR0000704701    UMG Recordings, Inc.
5322 Justin Bieber                                She Don't Like The Lights                                   SR0000710074    UMG Recordings, Inc.
5323 Justin Bieber                                Silent Night                                                SR0000704701    UMG Recordings, Inc.
5324 Justin Bieber                                Somebody To Love                                            SR0000647657    UMG Recordings, Inc.
5325 Justin Bieber                                Stuck In The Moment                                         SR0000647657    UMG Recordings, Inc.
5326 Justin Bieber                                Take You                                                    SR0000710074    UMG Recordings, Inc.
5327 Justin Bieber                                That Should Be Me                                           SR0000647657    UMG Recordings, Inc.
5328 Justin Bieber                                The Christmas Song (Chestnuts Roasting On An Open Fire)     SR0000704701    UMG Recordings, Inc.
5329 Justin Bieber                                Thought Of You                                              SR0000710074    UMG Recordings, Inc.



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                         Artist                                                 Track                    Reg. No.              Plaintiff
5330 Justin Bieber                                U Smile                                           SR0000647657    UMG Recordings, Inc.
5331 K Camp                                       Cut Her Off                                       SR0000741940    UMG Recordings, Inc.
5332 Kanye West                                   All Of The Lights                                 SR0000683430    UMG Recordings, Inc.
5333 Kanye West                                   All Of The Lights (Interlude)                     SR0000683430    UMG Recordings, Inc.
5334 Kanye West                                   Anyway                                            SR0000620203    UMG Recordings, Inc.
5335 Kanye West                                   Bad News                                          SR0000620203    UMG Recordings, Inc.
5336 Kanye West                                   Barry Bonds                                       SR0000615020    UMG Recordings, Inc.
5337 Kanye West                                   Big Brother                                       SR0000615020    UMG Recordings, Inc.
5338 Kanye West                                   Bittersweet Poetry                                SR0000615020    UMG Recordings, Inc.
5339 Kanye West                                   Blame Game                                        SR0000683430    UMG Recordings, Inc.
5340 Kanye West                                   Bound 2                                           SR0000724178    UMG Recordings, Inc.
5341 Kanye West                                   Breathe In Breathe Out                            SR0000347391    UMG Recordings, Inc.
5342 Kanye West                                   Champion                                          SR0000615020    UMG Recordings, Inc.
5343 Kanye West                                   Clique                                            SR0000763373    UMG Recordings, Inc.
5344 Kanye West                                   Cold.1                                            SR0000683430    UMG Recordings, Inc.
5345 Kanye West                                   Coldest Winter                                    SR0000620203    UMG Recordings, Inc.
5346 Kanye West                                   Dark Fantasy                                      SR0000683430    UMG Recordings, Inc.
5347 Kanye West                                   Devil In A New Dress                              SR0000683430    UMG Recordings, Inc.
5348 Kanye West                                   Diamonds From Sierra Leone                        SR0000372867    UMG Recordings, Inc.
5349 Kanye West                                   Don't Like.1                                      SR0000683430    UMG Recordings, Inc.
5350 Kanye West                                   Drunk And Hot Girls                               SR0000615020    UMG Recordings, Inc.
5351 Kanye West                                   Everything I Am                                   SR0000615020    UMG Recordings, Inc.
5352 Kanye West                                   Get Em High                                       SR0000347391    UMG Recordings, Inc.
5353 Kanye West                                   Good Morning                                      SR0000615020    UMG Recordings, Inc.
5354 Kanye West                                   Gorgeous                                          SR0000683430    UMG Recordings, Inc.
5355 Kanye West                                   Graduation Day                                    SR0000347391    UMG Recordings, Inc.
5356 Kanye West                                   Hell Of A Life                                    SR0000683430    UMG Recordings, Inc.
5357 Kanye West                                   I Wonder                                          SR0000615020    UMG Recordings, Inc.
5358 Kanye West                                   I'll Fly Away                                     SR0000347391    UMG Recordings, Inc.
5359 Kanye West                                   Last Call                                         SR0000347391    UMG Recordings, Inc.
5360 Kanye West                                   Lil Jimmy Skit                                    SR0000347391    UMG Recordings, Inc.
5361 Kanye West                                   Lost In The World                                 SR0000683430    UMG Recordings, Inc.
5362 Kanye West                                   Mercy                                             SR0000699408    UMG Recordings, Inc.
5363 Kanye West                                   Mercy.1                                           SR0000683430    UMG Recordings, Inc.
5364 Kanye West                                   Monster                                           SR0000683430    UMG Recordings, Inc.
5365 Kanye West                                   Never Let Me Down                                 SR0000347391    UMG Recordings, Inc.
5366 Kanye West                                   New God Flow.1                                    SR0000683430    UMG Recordings, Inc.
5367 Kanye West                                   Pinocchio Story (Freestyle Live From Singapore)   SR0000620203    UMG Recordings, Inc.
5368 Kanye West                                   POWER                                             SR0000683430    UMG Recordings, Inc.
5369 Kanye West                                   RoboCop                                           SR0000620203    UMG Recordings, Inc.
5370 Kanye West                                   Say You Will                                      SR0000620203    UMG Recordings, Inc.
5371 Kanye West                                   School Spirit                                     SR0000347391    UMG Recordings, Inc.
5372 Kanye West                                   School Spirit Skit 1                              SR0000347391    UMG Recordings, Inc.
5373 Kanye West                                   See Me Now                                        SR0000667365    UMG Recordings, Inc.
5374 Kanye West                                   See You In My Nightmares                          SR0000620203    UMG Recordings, Inc.
5375 Kanye West                                   Slow Jamz                                         SR0000347391    UMG Recordings, Inc.
5376 Kanye West                                   So Appalled                                       SR0000683430    UMG Recordings, Inc.
5377 Kanye West                                   Spaceship                                         SR0000347391    UMG Recordings, Inc.
5378 Kanye West                                   Street Lights                                     SR0000620203    UMG Recordings, Inc.
5379 Kanye West                                   Stronger                                          SR0000615019    UMG Recordings, Inc.
5380 Kanye West                                   The Glory                                         SR0000615020    UMG Recordings, Inc.
5381 Kanye West                                   The One                                           SR0000763373    UMG Recordings, Inc.
5382 Kanye West                                   To The World                                      SR0000763373    UMG Recordings, Inc.
5383 Kanye West                                   Two Words                                         SR0000347391    UMG Recordings, Inc.
5384 Kanye West                                   Way Too Cold                                      SR0000699415    UMG Recordings, Inc.
5385 Kanye West                                   We Don't Care                                     SR0000347391    UMG Recordings, Inc.
5386 Kanye West                                   Welcome To Heartbreak                             SR0000620203    UMG Recordings, Inc.
5387 Kanye West                                   Who Will Survive In America                       SR0000683430    UMG Recordings, Inc.
5388 Kanye West                                   Workout Plan                                      SR0000347391    UMG Recordings, Inc.
5389 Keane                                        Snowed Under                                      SR0000637459    UMG Recordings, Inc.
5390 Keane                                        Somewhere Only We Know                            SR0000355429    UMG Recordings, Inc.
5391 Keane                                        Walnut Tree                                       SR0000737377    UMG Recordings, Inc.
5392 Kelly Rowland                                All Of The Night                                  SR0000681564    UMG Recordings, Inc.
5393 Kelly Rowland                                Commander                                         SR0000658307    UMG Recordings, Inc.
5394 Kelly Rowland                                Down For Whatever                                 SR0000681564    UMG Recordings, Inc.
5395 Kelly Rowland                                Each Other                                        SR0000681564    UMG Recordings, Inc.
5396 Kelly Rowland                                Feelin Me Right Now                               SR0000681564    UMG Recordings, Inc.
5397 Kelly Rowland                                Heaven & Earth                                    SR0000681564    UMG Recordings, Inc.



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                         Artist                                                Track                     Reg. No.              Plaintiff
5398 Kelly Rowland                                I'm Dat Chick                                     SR0000681564    UMG Recordings, Inc.
5399 Kelly Rowland                                Keep It Between Us                                SR0000681564    UMG Recordings, Inc.
5400 Kelly Rowland                                Lay It On Me                                      SR0000681564    UMG Recordings, Inc.
5401 Kelly Rowland                                Motivation                                        SR0000677261    UMG Recordings, Inc.
5402 Kelly Rowland                                Turn It Up                                        SR0000681564    UMG Recordings, Inc.
5403 Kelly Rowland                                Work It Man                                       SR0000681564    UMG Recordings, Inc.
5404 Kenny Rogers                                 Share Your Love With Me                           SR0000027768    UMG Recordings, Inc.
5405 Keri Hilson                                  Alienated                                         SR0000629123    UMG Recordings, Inc.
5406 Keri Hilson                                  Change Me                                         SR0000629123    UMG Recordings, Inc.
5407 Keri Hilson                                  Energy                                            SR0000612858    UMG Recordings, Inc.
5408 Keri Hilson                                  Get Your Money Up                                 SR0000629123    UMG Recordings, Inc.
5409 Keri Hilson                                  How Does It Feel                                  SR0000629123    UMG Recordings, Inc.
5410 Keri Hilson                                  Intro                                             SR0000629123    UMG Recordings, Inc.
5411 Keri Hilson                                  Intuition                                         SR0000629123    UMG Recordings, Inc.
5412 Keri Hilson                                  Knock You Down                                    SR0000629123    UMG Recordings, Inc.
5413 Keri Hilson                                  Make Love                                         SR0000629123    UMG Recordings, Inc.
5414 Keri Hilson                                  Return The Favor                                  SR0000619820    UMG Recordings, Inc.
5415 Keri Hilson                                  Slow Dance                                        SR0000629123    UMG Recordings, Inc.
5416 Keri Hilson                                  Tell Him The Truth                                SR0000629123    UMG Recordings, Inc.
5417 Keri Hilson                                  Turnin Me On                                      SR0000621818    UMG Recordings, Inc.
5418 Keri Hilson                                  Where Did He Go                                   SR0000629123    UMG Recordings, Inc.
5419 Keyshia Cole                                 Didn't I Tell You                                 SR0000615233    UMG Recordings, Inc.
5420 Keyshia Cole                                 Enough Of No Love                                 SR0000704034    UMG Recordings, Inc.
5421 Keyshia Cole                                 Fallin' Out                                       SR0000615233    UMG Recordings, Inc.
5422 Keyshia Cole                                 Give Me More                                      SR0000615233    UMG Recordings, Inc.
5423 Keyshia Cole                                 Got To Get My Heart Back                          SR0000615233    UMG Recordings, Inc.
5424 Keyshia Cole                                 Heaven Sent                                       SR0000615233    UMG Recordings, Inc.
5425 Keyshia Cole                                 I Ain't Thru                                      SR0000670139    UMG Recordings, Inc.
5426 Keyshia Cole                                 I Remember                                        SR0000615233    UMG Recordings, Inc.
5427 Keyshia Cole                                 Just Like You                                     SR0000615233    UMG Recordings, Inc.
5428 Keyshia Cole                                 Last Night                                        SR0000615233    UMG Recordings, Inc.
5429 Keyshia Cole                                 Losing You                                        SR0000615233    UMG Recordings, Inc.
5430 Keyshia Cole                                 Same Thing                                        SR0000615233    UMG Recordings, Inc.
5431 Keyshia Cole                                 Shoulda Let You Go                                SR0000615233    UMG Recordings, Inc.
5432 Keyshia Cole                                 Was It Worth It?                                  SR0000615233    UMG Recordings, Inc.
5433 Keyshia Cole                                 Work It Out                                       SR0000615233    UMG Recordings, Inc.
5434 Kid Cudi                                     Alive (nightmare)                                 SR0000637865    UMG Recordings, Inc.
5435 Kid Cudi                                     All Along                                         SR0000696989    UMG Recordings, Inc.
5436 Kid Cudi                                     Ashin' Kusher                                     SR0000696989    UMG Recordings, Inc.
5437 Kid Cudi                                     Creepers                                          SR0000763373    UMG Recordings, Inc.
5438 Kid Cudi                                     Cudi Zone                                         SR0000637865    UMG Recordings, Inc.
5439 Kid Cudi                                     Day 'N' Nite                                      SR0000641952    UMG Recordings, Inc.
5440 Kid Cudi                                     Day 'N' Nite (Club mix)                           SR0000641952    UMG Recordings, Inc.
5441 Kid Cudi                                     Day 'N' Nite (Nightmare)                          SR0000637865    UMG Recordings, Inc.
5442 Kid Cudi                                     Don't Play This Song                              SR0000696989    UMG Recordings, Inc.
5443 Kid Cudi                                     Enter Galactic (Love Connection Part I)           SR0000637865    UMG Recordings, Inc.
5444 Kid Cudi                                     GHOST!                                            SR0000696989    UMG Recordings, Inc.
5445 Kid Cudi                                     Heart Of A Lion (Kid Cudi Theme Music)            SR0000637865    UMG Recordings, Inc.
5446 Kid Cudi                                     Hyyerr                                            SR0000637865    UMG Recordings, Inc.
5447 Kid Cudi                                     In My Dreams (Cudder Anthem)                      SR0000637865    UMG Recordings, Inc.
5448 Kid Cudi                                     Is There Any Love                                 SR0000637865    UMG Recordings, Inc.
5449 Kid Cudi                                     Make Her Say                                      SR0000641951    UMG Recordings, Inc.
5450 Kid Cudi                                     MANIAC                                            SR0000696989    UMG Recordings, Inc.
5451 Kid Cudi                                     Marijuana                                         SR0000696989    UMG Recordings, Inc.
5452 Kid Cudi                                     Mojo So Dope                                      SR0000696989    UMG Recordings, Inc.
5453 Kid Cudi                                     Mr. Rager                                         SR0000695775    UMG Recordings, Inc.
5454 Kid Cudi                                     My World                                          SR0000637865    UMG Recordings, Inc.
5455 Kid Cudi                                     Pursuit Of Happiness                              SR0000637865    UMG Recordings, Inc.
5456 Kid Cudi                                     Revolution (Revofev)                              SR0000696989    UMG Recordings, Inc.
5457 Kid Cudi                                     Scott Mescudi Vs. The World                       SR0000696989    UMG Recordings, Inc.
5458 Kid Cudi                                     Simple As...                                      SR0000637865    UMG Recordings, Inc.
5459 Kid Cudi                                     Sky Might Fall                                    SR0000637865    UMG Recordings, Inc.
5460 Kid Cudi                                     Solo Dolo (nightmare)                             SR0000637865    UMG Recordings, Inc.
5461 Kid Cudi                                     Soundtrack 2 My Life                              SR0000637865    UMG Recordings, Inc.
5462 Kid Cudi                                     T.G.I.F.                                          SR0000637865    UMG Recordings, Inc.
5463 Kid Cudi                                     The End                                           SR0000696989    UMG Recordings, Inc.
5464 Kid Cudi                                     The Mood                                          SR0000696989    UMG Recordings, Inc.
5465 Kid Cudi                                     These Worries                                     SR0000696989    UMG Recordings, Inc.



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                         Artist                                                Track                    Reg. No.              Plaintiff
5466 Kid Cudi                                     Trapped In My Mind                               SR0000696989    UMG Recordings, Inc.
5467 Kid Cudi                                     Up Up & Away                                     SR0000637865    UMG Recordings, Inc.
5468 Kid Cudi                                     We Aite (Wake Your Mind Up)                      SR0000696989    UMG Recordings, Inc.
5469 Kid Cudi                                     Wyld'n Cuz I'm Young                             SR0000696989    UMG Recordings, Inc.
5470 La Roux                                      Bulletproof                                      SR0000628226    UMG Recordings, Inc.
5471 Lady Gaga                                    Again Again                                      SR0000617841    UMG Recordings, Inc.
5472 Lady Gaga                                    Alejandro                                        SR0000642917    UMG Recordings, Inc.
5473 Lady Gaga                                    Americano                                        SR0000678406    UMG Recordings, Inc.
5474 Lady Gaga                                    Bad Kids                                         SR0000678406    UMG Recordings, Inc.
5475 Lady Gaga                                    Bad Romance                                      SR0000642919    UMG Recordings, Inc.
5476 Lady GaGa                                    Beautiful, Dirty, Rich                           SR0000617842    UMG Recordings, Inc.
5477 Lady Gaga                                    Black Jesus (Amen Fashion)                       SR0000678406    UMG Recordings, Inc.
5478 Lady Gaga                                    Bloody Mary                                      SR0000678406    UMG Recordings, Inc.
5479 Lady Gaga                                    Born This Way                                    SR0000678406    UMG Recordings, Inc.
5480 Lady Gaga                                    Born This Way (Country Road Version)             SR0000678406    UMG Recordings, Inc.
5481 Lady GaGa                                    Boys Boys Boys                                   SR0000617841    UMG Recordings, Inc.
5482 Lady GaGa                                    Brown Eyes                                       SR0000617841    UMG Recordings, Inc.
5483 Lady Gaga                                    Christmas Tree                                   SR0000621816    UMG Recordings, Inc.
5484 Lady Gaga                                    Dance In The Dark                                SR0000642917    UMG Recordings, Inc.
5485 Lady GaGa                                    Disco Heaven                                     SR0000642917    UMG Recordings, Inc.
5486 Lady Gaga                                    Eh, Eh (Nothing Else I Can Say)                  SR0000617841    UMG Recordings, Inc.
5487 Lady Gaga                                    Electric Chapel                                  SR0000678406    UMG Recordings, Inc.
5488 Lady Gaga                                    Fashion                                          SR0000737557    UMG Recordings, Inc.
5489 Lady Gaga                                    Fashion Of His Love                              SR0000678406    UMG Recordings, Inc.
5490 Lady Gaga                                    Fasion Of His Love (Fernando Garibay Remix)      SR0000678406    UMG Recordings, Inc.
5491 Lady Gaga                                    Government Hooker                                SR0000678406    UMG Recordings, Inc.
5492 Lady Gaga                                    Hair                                             SR0000678406    UMG Recordings, Inc.
5493 Lady Gaga                                    Heavy Metal Lover                                SR0000678406    UMG Recordings, Inc.
5494 Lady Gaga                                    Highway Unicorn (Road To Love)                   SR0000678406    UMG Recordings, Inc.
5495 Lady GaGa                                    I Like It Rough                                  SR0000617841    UMG Recordings, Inc.
5496 Lady Gaga                                    Judas                                            SR0000678406    UMG Recordings, Inc.
5497 Lady Gaga                                    Judas (DJ White Shadow Remix)                    SR0000678406    UMG Recordings, Inc.
5498 Lady GaGa                                    Just Dance                                       SR0000613221    UMG Recordings, Inc.
5499 Lady GaGa                                    LoveGame                                         SR0000617841    UMG Recordings, Inc.
5500 Lady Gaga                                    Marry The Night                                  SR0000678406    UMG Recordings, Inc.
5501 Lady Gaga                                    Marry The Night (Fernando Garibay Remix)         SR0000678406    UMG Recordings, Inc.
5502 Lady GaGa                                    Money Honey                                      SR0000617841    UMG Recordings, Inc.
5503 Lady Gaga                                    Monster                                          SR0000642917    UMG Recordings, Inc.
5504 Lady GaGa                                    Paparazzi                                        SR0000617841    UMG Recordings, Inc.
5505 Lady Gaga                                    Paparazzi                                        SR0000617841    UMG Recordings, Inc.
5506 Lady GaGa                                    Paper Gangsta                                    SR0000617841    UMG Recordings, Inc.
5507 Lady GaGa                                    Poker Face                                       SR0000617843    UMG Recordings, Inc.
5508 Lady Gaga                                    Retro, Dance, Freak                              SR0000642917    UMG Recordings, Inc.
5509 Lady Gaga                                    Scheiße                                          SR0000678406    UMG Recordings, Inc.
5510 Lady Gaga                                    Scheiße (DJ White Shadow Remix)                  SR0000678406    UMG Recordings, Inc.
5511 Lady Gaga                                    So Happy I Could Die                             SR0000642917    UMG Recordings, Inc.
5512 Lady Gaga                                    Speechless                                       SR0000642917    UMG Recordings, Inc.
5513 Lady GaGa                                    Starstruck                                       SR0000617841    UMG Recordings, Inc.
5514 Lady GaGa                                    Summerboy                                        SR0000617841    UMG Recordings, Inc.
5515 Lady Gaga                                    Teeth                                            SR0000642917    UMG Recordings, Inc.
5516 Lady Gaga                                    Telephone                                        SR0000642917    UMG Recordings, Inc.
5517 Lady Gaga                                    The Edge Of Glory                                SR0000678409    UMG Recordings, Inc.
5518 Lady GaGa                                    The Fame                                         SR0000617841    UMG Recordings, Inc.
5519 Lady Gaga                                    The Queen                                        SR0000678406    UMG Recordings, Inc.
5520 Lady Gaga                                    You & I                                          SR0000678406    UMG Recordings, Inc.
5521 Lady Gaga                                    You And I                                        SR0000678406    UMG Recordings, Inc.
5522 Lana Del Rey                                 American                                         SR0000412524    UMG Recordings, Inc.
5523 Lana Del Rey                                 Bel Air                                          SR0000712342    UMG Recordings, Inc.
5524 Lana Del Rey                                 Blue Jeans                                       SR0000412524    UMG Recordings, Inc.
5525 Lana Del Rey                                 Blue Velvet                                      SR0000712342    UMG Recordings, Inc.
5526 Lana Del Rey                                 Body Electric                                    SR0000412524    UMG Recordings, Inc.
5527 Lana Del Rey                                 Born To Die                                      SR0000692991    UMG Recordings, Inc.
5528 Lana Del Rey                                 Burning Desire                                   SR0000711860    UMG Recordings, Inc.
5529 Lana Del Rey                                 Carmen                                           SR0000692991    UMG Recordings, Inc.
5530 Lana Del Rey                                 Cola                                             SR0000712342    UMG Recordings, Inc.
5531 Lana Del Rey                                 Dark Paradise                                    SR0000712345    UMG Recordings, Inc.
5532 Lana Del Rey                                 Diet Mountain Dew                                SR0000729848    UMG Recordings, Inc.
5533 Lana Del Rey                                 Gods & Monsters                                  SR0000412524    UMG Recordings, Inc.



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                         Artist                                                Track                     Reg. No.              Plaintiff
5534 Lana Del Rey                                 Lolita                                            SR0000692991    UMG Recordings, Inc.
5535 Lana Del Rey                                 Lucky Ones                                        SR0000692991    UMG Recordings, Inc.
5536 Lana Del Rey                                 Million Dollar Man                                SR0000692991    UMG Recordings, Inc.
5537 Lana Del Rey                                 National Anthem                                   SR0000692991    UMG Recordings, Inc.
5538 Lana Del Rey                                 Off To The Races                                  SR0000412524    UMG Recordings, Inc.
5539 Lana Del Rey                                 Radio                                             SR0000692991    UMG Recordings, Inc.
5540 Lana Del Rey                                 Ride                                              SR0000711860    UMG Recordings, Inc.
5541 Lana Del Rey                                 Summertime Sadness                                SR0000729848    UMG Recordings, Inc.
5542 Lana Del Rey                                 This Is What Makes Us Girls                       SR0000692991    UMG Recordings, Inc.
5543 Lana Del Rey                                 Video Games                                       SR0000693409    UMG Recordings, Inc.
5544 Lana Del Rey                                 Without You                                       SR0000711860    UMG Recordings, Inc.
5545 Lana Del Rey                                 Yayo                                              SR0000412524    UMG Recordings, Inc.
5546 Ledisi                                       BGTY                                              SR0000611046    UMG Recordings, Inc.
5547 Ledisi                                       Bravo                                             SR0000611046    UMG Recordings, Inc.
5548 Ledisi                                       Coffee                                            SR0000611046    UMG Recordings, Inc.
5549 Ledisi                                       Hate Me                                           SR0000611046    UMG Recordings, Inc.
5550 Ledisi                                       I Gotta Get To You                                SR0000611046    UMG Recordings, Inc.
5551 Ledisi                                       I Miss You Now                                    SR0000611046    UMG Recordings, Inc.
5552 Ledisi                                       Pieces Of Me                                      SR0000611046    UMG Recordings, Inc.
5553 Ledisi                                       Raise Up                                          SR0000678487    UMG Recordings, Inc.
5554 Ledisi                                       Shine                                             SR0000678487    UMG Recordings, Inc.
5555 Ledisi                                       Shut Up                                           SR0000611046    UMG Recordings, Inc.
5556 Ledisi                                       So Into You                                       SR0000611046    UMG Recordings, Inc.
5557 Ledisi                                       Stay Together                                     SR0000678487    UMG Recordings, Inc.
5558 Lee Ann Womack                               After I Fall                                      SR0000281198    UMG Recordings, Inc.
5559 Lee Ann Womack                               Ashes By Now                                      SR0000281198    UMG Recordings, Inc.
5560 Lee Ann Womack                               Does My Ring Burn Your Finger                     SR0000281198    UMG Recordings, Inc.
5561 Lee Ann Womack                               I Feel Like I'm Forgetting Something              SR0000281198    UMG Recordings, Inc.
5562 Lee Ann Womack                               I Hope You Dance                                  SR0000281261    UMG Recordings, Inc.
5563 Lee Ann Womack                               I Know Why The River Runs                         SR0000281261    UMG Recordings, Inc.
5564 Lee Ann Womack                               Lonely Too                                        SR0000281198    UMG Recordings, Inc.
5565 Lee Ann Womack                               Lord I Hope This Day Is Good                      SR0000281198    UMG Recordings, Inc.
5566 Lee Ann Womack                               Stronger Than I Am                                SR0000281198    UMG Recordings, Inc.
5567 Lee Ann Womack                               The Healing Kind                                  SR0000281261    UMG Recordings, Inc.
5568 Lee Ann Womack                               Thinkin' With My Heart Again                      SR0000281198    UMG Recordings, Inc.
5569 Lee Ann Womack                               Why They Call It Falling                          SR0000281198    UMG Recordings, Inc.
5570 Lifehouse                                    All In All                                        SR0000370643    UMG Recordings, Inc.
5571 Lifehouse                                    Am I Ever Gonna Find Out                          SR0000321812    UMG Recordings, Inc.
5572 Lifehouse                                    Anchor                                            SR0000321812    UMG Recordings, Inc.
5573 Lifehouse                                    Better Luck Next Time                             SR0000370643    UMG Recordings, Inc.
5574 Lifehouse                                    Breathing                                         SR0000289389    UMG Recordings, Inc.
5575 Lifehouse                                    Bridges                                           SR0000409087    UMG Recordings, Inc.
5576 Lifehouse                                    Broken                                            SR0000409087    UMG Recordings, Inc.
5577 Lifehouse                                    Chapter One                                       SR0000370643    UMG Recordings, Inc.
5578 Lifehouse                                    Cling And Clatter                                 SR0000289389    UMG Recordings, Inc.
5579 Lifehouse                                    Come Back Down                                    SR0000370643    UMG Recordings, Inc.
5580 Lifehouse                                    Days Go By                                        SR0000615314    UMG Recordings, Inc.
5581 Lifehouse                                    Easier To Be                                      SR0000409087    UMG Recordings, Inc.
5582 Lifehouse                                    Empty Space                                       SR0000321812    UMG Recordings, Inc.
5583 Lifehouse                                    Everything                                        SR0000321812    UMG Recordings, Inc.
5584 Lifehouse                                    From Where You Are                                SR0000615314    UMG Recordings, Inc.
5585 Lifehouse                                    How Long                                          SR0000321812    UMG Recordings, Inc.
5586 Lifehouse                                    Into The Sun                                      SR0000370643    UMG Recordings, Inc.
5587 Lifehouse                                    Just Another Name                                 SR0000321812    UMG Recordings, Inc.
5588 Lifehouse                                    Learn You Inside Out                              SR0000409087    UMG Recordings, Inc.
5589 Lifehouse                                    Make Me Over                                      SR0000409087    UMG Recordings, Inc.
5590 Lifehouse                                    Mesmerized                                        SR0000409087    UMG Recordings, Inc.
5591 Lifehouse                                    My Precious                                       SR0000321812    UMG Recordings, Inc.
5592 Lifehouse                                    Only One                                          SR0000289389    UMG Recordings, Inc.
5593 Lifehouse                                    Out Of Breath                                     SR0000321812    UMG Recordings, Inc.
5594 Lifehouse                                    Quasimodo                                         SR0000289389    UMG Recordings, Inc.
5595 Lifehouse                                    Sick Cycle Carousel                               SR0000289389    UMG Recordings, Inc.
5596 Lifehouse                                    Simon                                             SR0000289389    UMG Recordings, Inc.
5597 Lifehouse                                    Sky Is Falling                                    SR0000321812    UMG Recordings, Inc.
5598 Lifehouse                                    Someone Else's Song                               SR0000289389    UMG Recordings, Inc.
5599 Lifehouse                                    Somewhere In Between                              SR0000289389    UMG Recordings, Inc.
5600 Lifehouse                                    Spin                                              SR0000321812    UMG Recordings, Inc.
5601 Lifehouse                                    Stanley Climbfall                                 SR0000321812    UMG Recordings, Inc.



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                         Artist                                               Track                    Reg. No.              Plaintiff
5602 Lifehouse                                    Storm                                           SR0000409087    UMG Recordings, Inc.
5603 Lifehouse                                    Take Me Away                                    SR0000321812    UMG Recordings, Inc.
5604 Lifehouse                                    The Beginning                                   SR0000321812    UMG Recordings, Inc.
5605 Lifehouse                                    The End Has Only Begun                          SR0000370643    UMG Recordings, Inc.
5606 Lifehouse                                    The Joke                                        SR0000409087    UMG Recordings, Inc.
5607 Lifehouse                                    Trying                                          SR0000289389    UMG Recordings, Inc.
5608 Lifehouse                                    Undone                                          SR0000370643    UMG Recordings, Inc.
5609 Lifehouse                                    Unknown                                         SR0000289389    UMG Recordings, Inc.
5610 Lifehouse                                    Walking Away                                    SR0000370643    UMG Recordings, Inc.
5611 Lifehouse                                    Wash                                            SR0000321812    UMG Recordings, Inc.
5612 Lifehouse                                    We'll Never Know                                SR0000370643    UMG Recordings, Inc.
5613 Lifehouse                                    Whatever It Takes                               SR0000409087    UMG Recordings, Inc.
5614 Lifehouse                                    Who We Are                                      SR0000409087    UMG Recordings, Inc.
5615 Lifehouse                                    You And Me                                      SR0000370643    UMG Recordings, Inc.
5616 Little Big Town                              Pontoon                                         SR0000709014    UMG Recordings, Inc.
5617 Lloyd                                        Certified                                       SR0000391940    UMG Recordings, Inc.
5618 Lloyd                                        Girls Around The World                          SR0000615838    UMG Recordings, Inc.
5619 Lloyd                                        Hazel                                           SR0000391940    UMG Recordings, Inc.
5620 Lloyd                                        I Don't Mind                                    SR0000391940    UMG Recordings, Inc.
5621 Lloyd                                        I Want You                                      SR0000391940    UMG Recordings, Inc.
5622 Lloyd                                        Incredible                                      SR0000391940    UMG Recordings, Inc.
5623 Lloyd                                        Killing Me                                      SR0000391940    UMG Recordings, Inc.
5624 Lloyd                                        Lloyd (Intro)                                   SR0000391940    UMG Recordings, Inc.
5625 Lloyd                                        One For Me                                      SR0000391940    UMG Recordings, Inc.
5626 Lloyd                                        Player's Prayer                                 SR0000391940    UMG Recordings, Inc.
5627 Lloyd                                        StreetLove                                      SR0000391940    UMG Recordings, Inc.
5628 Lloyd                                        Take You Home                                   SR0000391940    UMG Recordings, Inc.
5629 Lloyd                                        Valentine                                       SR0000391940    UMG Recordings, Inc.
5630 Lloyd                                        What You Wanna Do                               SR0000391940    UMG Recordings, Inc.
5631 Lloyd                                        You (Edited)                                    SR0000391940    UMG Recordings, Inc.
5632 LMFAO                                        All Night Long                                  SR0000678646    UMG Recordings, Inc.
5633 LMFAO                                        Bounce                                          SR0000641967    UMG Recordings, Inc.
5634 LMFAO                                        Champagne Showers                               SR0000678646    UMG Recordings, Inc.
5635 LMFAO                                        Get Crazy                                       SR0000641967    UMG Recordings, Inc.
5636 LMFAO                                        Hot Dog                                         SR0000678646    UMG Recordings, Inc.
5637 LMFAO                                        I Am Not A Whore                                SR0000641967    UMG Recordings, Inc.
5638 LMFAO                                        I Don't Wanna Be                                SR0000641967    UMG Recordings, Inc.
5639 LMFAO                                        I Shake, I Move                                 SR0000641967    UMG Recordings, Inc.
5640 LMFAO                                        I'm In Miami Bitch                              SR0000621810    UMG Recordings, Inc.
5641 LMFAO                                        La La La                                        SR0000641967    UMG Recordings, Inc.
5642 LMFAO                                        Leaving U 4 The Groove                          SR0000641971    UMG Recordings, Inc.
5643 LMFAO                                        Lil' Hipster Girl                               SR0000641967    UMG Recordings, Inc.
5644 LMFAO                                        One Day                                         SR0000678646    UMG Recordings, Inc.
5645 LMFAO                                        Party Rock Anthem                               SR0000671268    UMG Recordings, Inc.
5646 LMFAO                                        Put That A$$ To Work                            SR0000678646    UMG Recordings, Inc.
5647 LMFAO                                        Reminds Me Of You                               SR0000678646    UMG Recordings, Inc.
5648 LMFAO                                        Rock The BeaT                                   SR0000641967    UMG Recordings, Inc.
5649 LMFAO                                        Rock The Beat II                                SR0000678646    UMG Recordings, Inc.
5650 LMFAO                                        Scream My Name                                  SR0000641967    UMG Recordings, Inc.
5651 LMFAO                                        Sexy And I Know It                              SR0000678646    UMG Recordings, Inc.
5652 LMFAO                                        Shots                                           SR0000641967    UMG Recordings, Inc.
5653 LMFAO                                        Sorry For Party Rocking                         SR0000678646    UMG Recordings, Inc.
5654 LMFAO                                        Take It To The Hole                             SR0000678646    UMG Recordings, Inc.
5655 LMFAO                                        We Came Here To Party                           SR0000678646    UMG Recordings, Inc.
5656 LMFAO                                        What Happens At The Party                       SR0000641967    UMG Recordings, Inc.
5657 LMFAO                                        With You                                        SR0000678646    UMG Recordings, Inc.
5658 LMFAO                                        Yes                                             SR0000641967    UMG Recordings, Inc.
5659 Lorde                                        400 Lux                                         SR0000732619    UMG Recordings, Inc.
5660 Lorde                                        A World Alone                                   SR0000732619    UMG Recordings, Inc.
5661 Lorde                                        Biting Down                                     SR0000724529    UMG Recordings, Inc.
5662 Lorde                                        Bravado                                         SR0000724529    UMG Recordings, Inc.
5663 Lorde                                        Glory And Gore                                  SR0000732619    UMG Recordings, Inc.
5664 Lorde                                        Million Dollar Bills                            SR0000724529    UMG Recordings, Inc.
5665 Lorde                                        No Better                                       SR0000736121    UMG Recordings, Inc.
5666 Lorde                                        Ribs                                            SR0000732619    UMG Recordings, Inc.
5667 Lorde                                        Royals                                          SR0000724529    UMG Recordings, Inc.
5668 Lorde                                        Still Sane                                      SR0000732619    UMG Recordings, Inc.
5669 Lorde                                        Swingin Party                                   SR0000726964    UMG Recordings, Inc.



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                                                                      EXHIBIT A - SOUND RECORDINGS

                         Artist                                                 Track                     Reg. No.              Plaintiff
5670 Lorde                                        Team                                               SR0000732619    UMG Recordings, Inc.
5671 Lorde                                        Tennis Court                                       SR0000726964    UMG Recordings, Inc.
5672 Lorde                                        The Love Club                                      SR0000724529    UMG Recordings, Inc.
5673 Lorde                                        White Teeth Teens                                  SR0000732619    UMG Recordings, Inc.
5674 Lorde                                        Buzzcut Season                                     SR0000733267    UMG Recordings, Inc.
5675 Ludacris                                     One More Drink                                     SR0000620047    UMG Recordings, Inc.
5676 Ludacris                                     Undisputed                                         SR0000620048    UMG Recordings, Inc.
5677 Ludacris                                     What Them Girls Like                               SR0000617041    UMG Recordings, Inc.
5678 M.I.A.                                       Attention                                          SR0000736308    UMG Recordings, Inc.
5679 M.I.A.                                       Bad Girls                                          SR0000698452    UMG Recordings, Inc.
5680 M.I.A.                                       Boom Skit                                          SR0000736308    UMG Recordings, Inc.
5681 M.I.A.                                       Come Walk With Me                                  SR0000736307    UMG Recordings, Inc.
5682 M.I.A.                                       Double Bubble Trouble                              SR0000736308    UMG Recordings, Inc.
5683 M.I.A.                                       Karmageddon                                        SR0000736308    UMG Recordings, Inc.
5684 M.I.A.                                       Know It Ain't Right                                SR0000736308    UMG Recordings, Inc.
5685 M.I.A.                                       Lights                                             SR0000736308    UMG Recordings, Inc.
5686 M.I.A.                                       MATANGI                                            SR0000736308    UMG Recordings, Inc.
5687 M.I.A.                                       Only 1                                             SR0000736308    UMG Recordings, Inc.
5688 M.I.A.                                       Refugee-In-Tent                                    SR0000736308    UMG Recordings, Inc.
5689 M.I.A.                                       Sexodus                                            SR0000736308    UMG Recordings, Inc.
5690 M.I.A.                                       Sexodus (Hitboy Version)                           SR0000736308    UMG Recordings, Inc.
5691 M.I.A.                                       Warriors                                           SR0000736308    UMG Recordings, Inc.
5692 M.I.A.                                       Y.A.L.A.                                           SR0000736309    UMG Recordings, Inc.
5693 Macy Gray                                    Everybody                                          SR0000395382    UMG Recordings, Inc.
5694 Macy Gray                                    Get Out                                            SR0000395382    UMG Recordings, Inc.
5695 Macy Gray                                    Glad You're Here                                   SR0000395382    UMG Recordings, Inc.
5696 Macy Gray                                    Help Me                                            SR0000657731    UMG Recordings, Inc.
5697 Macy Gray                                    Kissed It                                          SR0000657731    UMG Recordings, Inc.
5698 Macy Gray                                    Lately                                             SR0000657731    UMG Recordings, Inc.
5699 Macy Gray                                    Let You Win                                        SR0000657731    UMG Recordings, Inc.
5700 Macy Gray                                    Lost                                               SR0000715841    UMG Recordings, Inc.
5701 Macy Gray                                    Okay                                               SR0000395382    UMG Recordings, Inc.
5702 Macy Gray                                    On & On                                            SR0000657731    UMG Recordings, Inc.
5703 Macy Gray                                    One For Me                                         SR0000395382    UMG Recordings, Inc.
5704 Macy Gray                                    Real Love                                          SR0000657731    UMG Recordings, Inc.
5705 Macy Gray                                    Slowly                                             SR0000395382    UMG Recordings, Inc.
5706 Macy Gray                                    Stalker                                            SR0000657731    UMG Recordings, Inc.
5707 Macy Gray                                    Still Hurts                                        SR0000657731    UMG Recordings, Inc.
5708 Macy Gray                                    Strange Behavior                                   SR0000395382    UMG Recordings, Inc.
5709 Macy Gray                                    That Man                                           SR0000657731    UMG Recordings, Inc.
5710 Macy Gray                                    The Comeback                                       SR0000657731    UMG Recordings, Inc.
5711 Macy Gray                                    The Sellout                                        SR0000657731    UMG Recordings, Inc.
5712 Macy Gray                                    Treat Me Like Your Money                           SR0000395382    UMG Recordings, Inc.
5713 Macy Gray                                    What I Gotta Do                                    SR0000395382    UMG Recordings, Inc.
5714 Mariah Carey                                 #Beautiful                                         SR0000750755    UMG Recordings, Inc.
5715 Mariah Carey                                 Touch My Body                                      SR0000612879    UMG Recordings, Inc.
5716 Mariah Carey                                 Up Out My Face                                     SR0000633779    UMG Recordings, Inc.
5717 Maroon 5                                     Crazy Little Thing Called Love                     SR0000664531    UMG Recordings, Inc.
5718 Maroon 5                                     Doin' Dirt                                         SR0000705167    UMG Recordings, Inc.
5719 Maroon 5                                     Figure It Out                                      SR0000627938    UMG Recordings, Inc.
5720 Maroon 5                                     Get Back In My Life                                SR0000664531    UMG Recordings, Inc.
5721 Maroon 5                                     Give A Little More                                 SR0000664529    UMG Recordings, Inc.
5722 Maroon 5                                     Hands All Over                                     SR0000664531    UMG Recordings, Inc.
5723 Maroon 5                                     Harder To Breathe                                  SR0000702833    UMG Recordings, Inc.
5724 Maroon 5                                     Hello                                              SR0000393024    UMG Recordings, Inc.
5725 Maroon 5                                     How                                                SR0000664531    UMG Recordings, Inc.
5726 Maroon 5                                     I Can't Lie                                        SR0000664531    UMG Recordings, Inc.
5727 Maroon 5                                     If I Ain't Got You                                 SR0000664531    UMG Recordings, Inc.
5728 Maroon 5                                     Just A Feeling                                     SR0000664531    UMG Recordings, Inc.
5729 Maroon 5                                     Last Chance                                        SR0000664531    UMG Recordings, Inc.
5730 Maroon 5                                     Let's Stay Together                                SR0000705167    UMG Recordings, Inc.
5731 Maroon 5                                     Misery                                             SR0000659947    UMG Recordings, Inc.
5732 Maroon 5                                     Miss You Love You                                  SR0000627938    UMG Recordings, Inc.
5733 Maroon 5                                     Moves Like Jagger                                  SR0000680542    UMG Recordings, Inc.
5734 Maroon 5                                     Must Get Out                                       SR0000702833    UMG Recordings, Inc.
5735 Maroon 5                                     Must Get Out (Live)                                SR0000393024    UMG Recordings, Inc.
5736 Maroon 5                                     Never Gonna Leave This Bed                         SR0000664531    UMG Recordings, Inc.
5737 Maroon 5                                     No Curtain Call                                    SR0000664531    UMG Recordings, Inc.



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                       Artist                                                Track                        Reg. No.              Plaintiff
5738 Maroon 5                                     Not Coming Home                                    SR0000702833    UMG Recordings, Inc.
5739 Maroon 5                                     Not Coming Home (Live)                             SR0000393024    UMG Recordings, Inc.
5740 Maroon 5                                     One More Night                                     SR0000705170    UMG Recordings, Inc.
5741 Maroon 5                                     One More Night (Sticky K Remix)                    SR0000705167    UMG Recordings, Inc.
5742 Maroon 5                                     Out Of Goodbyes                                    SR0000664531    UMG Recordings, Inc.
5743 Maroon 5                                     Rag Doll                                           SR0000702833    UMG Recordings, Inc.
5744 Maroon 5                                     Runaway                                            SR0000664531    UMG Recordings, Inc.
5745 Maroon 5                                     Secret                                             SR0000702833    UMG Recordings, Inc.
5746 Maroon 5                                     Secret/Ain't No Sunshine                           SR0000393024    UMG Recordings, Inc.
5747 Maroon 5                                     She Will Be Loved                                  SR0000674174    UMG Recordings, Inc.
5748 Maroon 5                                     Shiver                                             SR0000702833    UMG Recordings, Inc.
5749 Maroon 5                                     Stutter                                            SR0000664531    UMG Recordings, Inc.
5750 Maroon 5                                     Sunday Morning                                     SR0000702833    UMG Recordings, Inc.
5751 Maroon 5                                     Sweetest Goodbye                                   SR0000664148    UMG Recordings, Inc.
5752 Maroon 5                                     Sweetest Goodbye (Live)                            SR0000393024    UMG Recordings, Inc.
5753 Maroon 5                                     Tangled                                            SR0000702833    UMG Recordings, Inc.
5754 Maroon 5                                     The Sun                                            SR0000702833    UMG Recordings, Inc.
5755 Maroon 5                                     This Love                                          SR0000348508    UMG Recordings, Inc.
5756 Maroon 5                                     Through With You                                   SR0000702833    UMG Recordings, Inc.
5757 Maroon 5                                     Through With You (Live)                            SR0000393024    UMG Recordings, Inc.
5758 Maroon 5 feat. Christina Aguilera            Moves Like Jagger                                  SR0000690026    UMG Recordings, Inc.
5759 Marvin Gaye                                  Anger                                              SR0000005020    UMG Recordings, Inc.
                                                                                                     N08961;
5760 Marvin Gaye                                  Come Get To This                                                   UMG Recordings, Inc.
                                                                                                     RE0000860289
5761 Marvin Gaye                                  Ego Tripping Out                                   SR0000012844    UMG Recordings, Inc.
5762 Marvin Gaye                                  Got To Give It Up                                  N42204          UMG Recordings, Inc.
5763 Marvin Gaye                                  Praise                                             SR0000024441    UMG Recordings, Inc.
                                                                                                     N03735;
5764 Marvin Gaye                                  You're The Man - Pts. I & II                                       UMG Recordings, Inc.
                                                                                                     RE0000852280
5765 Mary J. Blige                                Someone To Love Me (Naked)                         SR0000676435    UMG Recordings, Inc.
5766 Maze Featuring Frankie Beverly               Time Is On My Side                                 SR0000349929    UMG Recordings, Inc.
5767 Meat Loaf                                    I'd Do Anything For Love (But I Won't Do That)     SR0000316425    UMG Recordings, Inc.
5768 Meat Loaf                                    Life Is A Lemon And I Want My Money Back           SR0000316425    UMG Recordings, Inc.
5769 Meiko                                        Good Looking Loser                                 SR0000707544    UMG Recordings, Inc.
5770 Meiko                                        I Wonder                                           SR0000707544    UMG Recordings, Inc.
5771 Meiko                                        I'm In Love                                        SR0000707544    UMG Recordings, Inc.
5772 Meiko                                        I'm Not Sorry                                      SR0000707544    UMG Recordings, Inc.
5773 Meiko                                        Leave The Lights On                                SR0000713523    UMG Recordings, Inc.
5774 Meiko                                        Let It Go                                          SR0000707544    UMG Recordings, Inc.
5775 Meiko                                        Lie To Me                                          SR0000707544    UMG Recordings, Inc.
5776 Meiko                                        Real Real Sweet                                    SR0000707544    UMG Recordings, Inc.
5777 Meiko                                        Stuck On You                                       SR0000707544    UMG Recordings, Inc.
5778 Meiko                                        Thinking Too Much                                  SR0000707544    UMG Recordings, Inc.
5779 Meiko                                        When The Doors Close                               SR0000707544    UMG Recordings, Inc.
5780 Mumford & Sons                               Babel                                              SR0000800862    UMG Recordings, Inc.
5781 Mumford & Sons                               Below My Feet                                      SR0000800862    UMG Recordings, Inc.
5782 Mumford & Sons                               Broken Crown                                       SR0000800862    UMG Recordings, Inc.
5783 Mumford & Sons                               For Those Below                                    SR0000800862    UMG Recordings, Inc.
5784 Mumford & Sons                               Ghosts That We Knew                                SR0000800862    UMG Recordings, Inc.
5785 Mumford & Sons                               Holland Road                                       SR0000800862    UMG Recordings, Inc.
5786 Mumford & Sons                               Hopeless Wanderer                                  SR0000800862    UMG Recordings, Inc.
5787 Mumford & Sons                               I Will Wait                                        SR0000800862    UMG Recordings, Inc.
5788 Mumford & Sons                               Lover Of The Light                                 SR0000800862    UMG Recordings, Inc.
5789 Mumford & Sons                               Lovers' Eyes                                       SR0000800862    UMG Recordings, Inc.
5790 Mumford & Sons                               Not With Haste                                     SR0000800862    UMG Recordings, Inc.
5791 Mumford & Sons                               Reminder                                           SR0000800862    UMG Recordings, Inc.
5792 Mumford & Sons                               Where Are You Now                                  SR0000800862    UMG Recordings, Inc.
5793 Mumford & Sons                               Whispers In The Dark                               SR0000800862    UMG Recordings, Inc.
5794 Nas                                          America                                            SR0000614072    UMG Recordings, Inc.
5795 Nas                                          Black President                                    SR0000614072    UMG Recordings, Inc.
5796 Nas                                          Breathe                                            SR0000614072    UMG Recordings, Inc.
5797 Nas                                          Fried Chicken                                      SR0000614072    UMG Recordings, Inc.
5798 Nas                                          Hero                                               SR0000614073    UMG Recordings, Inc.
5799 Nas                                          Make The World Go Round                            SR0000614072    UMG Recordings, Inc.
5800 Nas                                          N.I.*.*.E.R. (The Slave and the Master)            SR0000614072    UMG Recordings, Inc.
5801 Nas                                          Project Roach                                      SR0000614072    UMG Recordings, Inc.
5802 Nas                                          Queens Get The Money                               SR0000614072    UMG Recordings, Inc.
5803 Nas                                          Sly Fox                                            SR0000614072    UMG Recordings, Inc.



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                         Artist                                               Track                         Reg. No.              Plaintiff
5804 Nas                                          Testify                                              SR0000614072    UMG Recordings, Inc.
5805 Nas                                          Untitled                                             SR0000614072    UMG Recordings, Inc.
5806 Nas                                          We're Not Alone                                      SR0000614072    UMG Recordings, Inc.
5807 Nas                                          Y'all My Ni**as                                      SR0000614072    UMG Recordings, Inc.
5808 Nas                                          You Can't Stop Us Now                                SR0000614072    UMG Recordings, Inc.
5809 Ne-Yo                                        Addicted                                             SR0000394385    UMG Recordings, Inc.
5810 Ne-Yo                                        Ain't Thinking About You                             SR0000394385    UMG Recordings, Inc.
5811 Ne-Yo                                        Angel                                                SR0000668445    UMG Recordings, Inc.
5812 Ne-Yo                                        Because Of You                                       SR0000394385    UMG Recordings, Inc.
5813 Ne-Yo                                        Can We Chill                                         SR0000394385    UMG Recordings, Inc.
5814 Ne-Yo                                        Crazy                                                SR0000394385    UMG Recordings, Inc.
5815 Ne-Yo                                        Do You                                               SR0000394385    UMG Recordings, Inc.
5816 Ne-Yo                                        Go On Girl                                           SR0000394385    UMG Recordings, Inc.
5817 Ne-Yo                                        Leaving Tonight                                      SR0000394385    UMG Recordings, Inc.
5818 Ne-Yo                                        Let Me Love You (Until You Learn To Love Yourself)   SR0000705073    UMG Recordings, Inc.
5819 Ne-Yo                                        Make It Work                                         SR0000394385    UMG Recordings, Inc.
5820 Ne-Yo                                        Say It                                               SR0000394385    UMG Recordings, Inc.
5821 Ne-Yo                                        Sex With My Ex                                       SR0000394385    UMG Recordings, Inc.
5822 Ne-Yo                                        She Knows                                            SR0000750246    UMG Recordings, Inc.
5823 Nelly                                        Body On Me                                           SR0000616562    UMG Recordings, Inc.
5824 Nelly                                        Chill                                                SR0000616562    UMG Recordings, Inc.
5825 Nelly                                        Dilemma                                              SR0000339724    UMG Recordings, Inc.
5826 Nelly                                        Hold Up                                              SR0000616562    UMG Recordings, Inc.
5827 Nelly                                        Just A Dream                                         SR0000662586    UMG Recordings, Inc.
5828 Nelly                                        LA                                                   SR0000616562    UMG Recordings, Inc.
5829 Nelly                                        Let It Go Lil Mama                                   SR0000616562    UMG Recordings, Inc.
5830 Nelly                                        Lie                                                  SR0000616562    UMG Recordings, Inc.
5831 Nelly                                        Long Night                                           SR0000616562    UMG Recordings, Inc.
5832 Nelly                                        One & Only                                           SR0000616562    UMG Recordings, Inc.
5833 Nelly                                        Party People                                         SR0000613225    UMG Recordings, Inc.
5834 Nelly                                        Self Esteem                                          SR0000616562    UMG Recordings, Inc.
5835 Nelly                                        Stepped On My J'z                                    SR0000616562    UMG Recordings, Inc.
5836 Nelly                                        U Ain't Him                                          SR0000616562    UMG Recordings, Inc.
5837 Nelly                                        UCUD GEDIT                                           SR0000616562    UMG Recordings, Inc.
5838 Nelly                                        Who F*cks Wit Me                                     SR0000616562    UMG Recordings, Inc.
5839 Nelly Furtado                                **** On The Radio (Remember The Days)                SR0000729667    UMG Recordings, Inc.
5840 Nelly Furtado                                Crazy (Radio 1 Live Lounge Session)                  SR0000400012    UMG Recordings, Inc.
5841 Nelly Furtado                                Forca                                                SR0000729667    UMG Recordings, Inc.
5842 Nelly Furtado                                Fotografía                                           SR0000729667    UMG Recordings, Inc.
5843 Nelly Furtado                                Girlfriend In The City                               SR0000729667    UMG Recordings, Inc.
5844 Nelly Furtado                                I'm Like A Bird                                      SR0000729667    UMG Recordings, Inc.
5845 Nelly Furtado                                In God's Hands                                       SR0000612217    UMG Recordings, Inc.
5846 Nelly Furtado                                Island Of Wonder                                     SR0000347749    UMG Recordings, Inc.
5847 Nelly Furtado                                Manos Al Aire                                        SR0000641955    UMG Recordings, Inc.
5848 Nelly Furtado                                Night Is Young                                       SR0000756992    UMG Recordings, Inc.
5849 Nelly Furtado                                Powerless (Say What You Want)                        SR0000729667    UMG Recordings, Inc.
5850 Nelly Furtado                                Stars                                                SR0000729667    UMG Recordings, Inc.
5851 Nelly Furtado                                Try                                                  SR0000347749    UMG Recordings, Inc.
5852 Neon Trees                                   Animal                                               SR0000647020    UMG Recordings, Inc.
5853 Neon Trees                                   Sleeping With A Friend                               SR0000737412    UMG Recordings, Inc.
5854 Nirvana                                      About A Girl                                         SR0000320325    UMG Recordings, Inc.
5855 Nirvana                                      All Apologies                                        SR0000178690    UMG Recordings, Inc.
5856 Nirvana                                      Been A Son                                           SR0000148333    UMG Recordings, Inc.
5857 Nirvana                                      Breed                                                SR0000135335    UMG Recordings, Inc.
5858 Nirvana                                      Come As You Are                                      SR0000178690    UMG Recordings, Inc.
5859 Nirvana                                      Drain You                                            SR0000135335    UMG Recordings, Inc.
5860 Nirvana                                      Dumb                                                 SR0000172276    UMG Recordings, Inc.
5861 Nirvana                                      Heart Shaped Box                                     SR0000172276    UMG Recordings, Inc.
5862 Nirvana                                      In Bloom                                             SR0000135335    UMG Recordings, Inc.
5863 Nirvana                                      Lithium                                              SR0000135335    UMG Recordings, Inc.
5864 Nirvana                                      Lounge Act                                           SR0000135335    UMG Recordings, Inc.
5865 Nirvana                                      On A Plain                                           SR0000135335    UMG Recordings, Inc.
5866 Nirvana                                      Pennyroyal Tea                                       SR0000172276    UMG Recordings, Inc.
5867 Nirvana                                      Polly                                                SR0000135335    UMG Recordings, Inc.
5868 Nirvana                                      Rape Me                                              SR0000172276    UMG Recordings, Inc.
5869 Nirvana                                      Sliver                                               SR0000148333    UMG Recordings, Inc.
5870 Nirvana                                      Smells Like Teen Spirit                              SR0000134601    UMG Recordings, Inc.
5871 Nirvana                                      Something In The Way                                 SR0000135335    UMG Recordings, Inc.



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                      Artist                                                 Track                        Reg. No.              Plaintiff
5872 Nirvana                                      Stay Away                                          SR0000135335    UMG Recordings, Inc.
5873 Nirvana                                      Territorial Pissings                               SR0000135335    UMG Recordings, Inc.
5874 Nirvana                                      The Man Who Sold The World (Live, MTV Unplugged)   SR0000178690    UMG Recordings, Inc.
5875 Nirvana                                      You Know You're Right                              SR0000320325    UMG Recordings, Inc.
5876 No Doubt                                     Settle Down                                        SR0000708747    UMG Recordings, Inc.
5877 Obie Trice                                   Adrenaline Rush (Explicit)                         SR0000322706    UMG Recordings, Inc.
5878 Obie Trice                                   Average Man                                        SR0000341637    UMG Recordings, Inc.
5879 Obie Trice                                   Bad Bitch                                          SR0000341637    UMG Recordings, Inc.
5880 Obie Trice                                   Cheers                                             SR0000341637    UMG Recordings, Inc.
5881 Obie Trice                                   Don't Come Down (Explicit)                         SR0000341637    UMG Recordings, Inc.
5882 Obie Trice                                   Follow My Life                                     SR0000341637    UMG Recordings, Inc.
5883 Obie Trice                                   Got Some Teeth (Explicit)                          SR0000341637    UMG Recordings, Inc.
5884 Obie Trice                                   Hands On You                                       SR0000341637    UMG Recordings, Inc.
5885 Obie Trice                                   Hoodrats                                           SR0000341637    UMG Recordings, Inc.
5886 Obie Trice                                   Lady                                               SR0000341637    UMG Recordings, Inc.
5887 Obie Trice                                   Look In My Eyes                                    SR0000341637    UMG Recordings, Inc.
5888 Obie Trice                                   Never Forget Ya                                    SR0000341637    UMG Recordings, Inc.
5889 Obie Trice                                   Oh!                                                SR0000341637    UMG Recordings, Inc.
5890 Obie Trice                                   Outro (Obie Trice/ Cheers)                         SR0000341637    UMG Recordings, Inc.
5891 Obie Trice                                   Rap Name (Explicit)                                SR0000322706    UMG Recordings, Inc.
5892 Obie Trice                                   Shit Hits The Fan                                  SR0000341637    UMG Recordings, Inc.
5893 Obie Trice                                   Spread Yo Shit                                     SR0000341637    UMG Recordings, Inc.
5894 Obie Trice                                   The Setup                                          SR0000339737    UMG Recordings, Inc.
5895 Obie Trice                                   We All Die One Day                                 SR0000341637    UMG Recordings, Inc.
5896 Of Monsters and Men                          Little Talks                                       SR0000694984    UMG Recordings, Inc.
5897 Of Monsters and Men                          Your Bones                                         SR0000698589    UMG Recordings, Inc.
5898 OneRepublic                                  All Fall Down                                      SR0000614111    UMG Recordings, Inc.
5899 OneRepublic                                  All We Are                                         SR0000614111    UMG Recordings, Inc.
5900 OneRepublic                                  Come Home                                          SR0000632435    UMG Recordings, Inc.
5901 OneRepublic                                  Goodbye, Apathy                                    SR0000614111    UMG Recordings, Inc.
5902 OneRepublic                                  Prodigal                                           SR0000614111    UMG Recordings, Inc.
5903 OneRepublic                                  Someone To Save You                                SR0000614111    UMG Recordings, Inc.
5904 OneRepublic                                  Stop And Stare                                     SR0000614111    UMG Recordings, Inc.
5905 OneRepublic                                  Won't Stop                                         SR0000614111    UMG Recordings, Inc.
5906 Phillip Phillips                             A Fool's Dance                                     SR0000712841    UMG Recordings, Inc.
5907 Phillip Phillips                             Can't Go Wrong                                     SR0000712841    UMG Recordings, Inc.
5908 Phillip Phillips                             Drive Me                                           SR0000712841    UMG Recordings, Inc.
5909 Phillip Phillips                             Get Up Get Down                                    SR0000712841    UMG Recordings, Inc.
5910 Phillip Phillips                             Gone, Gone, Gone                                   SR0000712841    UMG Recordings, Inc.
5911 Phillip Phillips                             Hazel                                              SR0000712841    UMG Recordings, Inc.
5912 Phillip Phillips                             Hold On                                            SR0000712841    UMG Recordings, Inc.
5913 Phillip Phillips                             Home                                               SR0000712859    UMG Recordings, Inc.
5914 Phillip Phillips                             Man On The Moon                                    SR0000712841    UMG Recordings, Inc.
5915 Phillip Phillips                             So Easy                                            SR0000712841    UMG Recordings, Inc.
5916 Phillip Phillips                             Tell Me A Story                                    SR0000712841    UMG Recordings, Inc.
5917 Phillip Phillips                             Wanted Is Love                                     SR0000712841    UMG Recordings, Inc.
5918 Phillip Phillips                             Where We Came From                                 SR0000712841    UMG Recordings, Inc.
5919 Phillip Phillips                             Wicked Game                                        SR0000712841    UMG Recordings, Inc.
5920 Pusha T                                      New God Flow                                       SR0000703870    UMG Recordings, Inc.
5921 Pussycat Dolls                               When I Grow Up                                     SR0000612860    UMG Recordings, Inc.
5922 Quincy Jones                                 It's My Party                                      SR0000669281    UMG Recordings, Inc.
5923 Raffi                                        (Let's Do) The Numbers Rumba                       SR0000133436    UMG Recordings, Inc.
5924 Raffi                                        Aikendrum                                          SR0000133292    UMG Recordings, Inc.
5925 Raffi                                        Anansi                                             SR0000133411    UMG Recordings, Inc.
5926 Raffi                                        Baa Baa Black Sheep                                SR0000133292    UMG Recordings, Inc.
5927 Raffi                                        Bathtime                                           SR0000132457    UMG Recordings, Inc.
5928 Raffi                                        Big Beautiful Planet                               SR0000133436    UMG Recordings, Inc.
5929 Raffi                                        Boom Boom                                          SR0000133411    UMG Recordings, Inc.
5930 Raffi                                        Brown Girl in the Ring                             SR0000132457    UMG Recordings, Inc.
5931 Raffi                                        Brush Your Teeth                                   SR0000133292    UMG Recordings, Inc.
5932 Raffi                                        Bumping Up and Down                                SR0000133292    UMG Recordings, Inc.
5933 Raffi                                        Cluck, Cluck, Red Hen                              SR0000133411    UMG Recordings, Inc.
5934 Raffi                                        Daniel                                             SR0000133436    UMG Recordings, Inc.
5935 Raffi                                        Down By the Bay                                    SR0000133292    UMG Recordings, Inc.
5936 Raffi                                        Ducks Like Rain                                    SR0000133436    UMG Recordings, Inc.
5937 Raffi                                        Eight Piggies in a Row                             SR0000132457    UMG Recordings, Inc.
5938 Raffi                                        Everything Grows                                   SR0000132457    UMG Recordings, Inc.
5939 Raffi                                        Five Little Ducks                                  SR0000133436    UMG Recordings, Inc.



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                         Artist                                                  Track                    Reg. No.              Plaintiff
5940 Raffi                                        Five Little Frogs                                  SR0000133292    UMG Recordings, Inc.
5941 Raffi                                        Frere Jacques                                      SR0000133411    UMG Recordings, Inc.
5942 Raffi                                        Goin' To The Zoo                                   SR0000133292    UMG Recordings, Inc.
5943 Raffi                                        Going on a Picnic                                  SR0000133411    UMG Recordings, Inc.
5944 Raffi                                        Goodnight, Irene                                   SR0000133411    UMG Recordings, Inc.
5945 Raffi                                        Ha Ha Thisaway                                     SR0000132457    UMG Recordings, Inc.
5946 Raffi                                        Haru Ga Kita                                       SR0000132457    UMG Recordings, Inc.
5947 Raffi                                        He's Got the Whole World                           SR0000133436    UMG Recordings, Inc.
5948 Raffi                                        Here Sits a Monkey                                 SR0000133411    UMG Recordings, Inc.
5949 Raffi                                        I Wonder if I'm Growing                            SR0000133292    UMG Recordings, Inc.
5950 Raffi                                        I'm in the Mood                                    SR0000133436    UMG Recordings, Inc.
5951 Raffi                                        Jig Along Home                                     SR0000133411    UMG Recordings, Inc.
5952 Raffi                                        Just Like the Sun                                  SR0000132457    UMG Recordings, Inc.
5953 Raffi                                        Les Zombies et Les Loups-Garous                    SR0000133411    UMG Recordings, Inc.
5954 Raffi                                        Let's Make Some Noise                              SR0000132457    UMG Recordings, Inc.
5955 Raffi                                        Little White Duck                                  SR0000132457    UMG Recordings, Inc.
5956 Raffi                                        Mary Wore Her Red Dress                            SR0000132457    UMG Recordings, Inc.
5957 Raffi                                        Michaud                                            SR0000133436    UMG Recordings, Inc.
5958 Raffi                                        Mr. Sun                                            SR0000133292    UMG Recordings, Inc.
5959 Raffi                                        Must Be Santa                                      SR0000133292    UMG Recordings, Inc.
5960 Raffi                                        My Dreydel                                         SR0000133292    UMG Recordings, Inc.
5961 Raffi                                        My Way Home                                        SR0000133411    UMG Recordings, Inc.
5962 Raffi                                        Nursery Rhyme Instrumental                         SR0000133436    UMG Recordings, Inc.
5963 Raffi                                        Old MacDonald had a Band                           SR0000133292    UMG Recordings, Inc.
5964 Raffi                                        Peanut Butter Sandwich                             SR0000133292    UMG Recordings, Inc.
5965 Raffi                                        Pick a Bale O'Cotton                               SR0000133411    UMG Recordings, Inc.
5966 Raffi                                        Rise and Shine                                     SR0000133436    UMG Recordings, Inc.
5967 Raffi                                        Robin in the Rain                                  SR0000133292    UMG Recordings, Inc.
5968 Raffi                                        Rock-A-Bye Baby                                    SR0000133411    UMG Recordings, Inc.
5969 Raffi                                        Saturday Morning                                   SR0000132457    UMG Recordings, Inc.
5970 Raffi                                        Savez-vous Planter Des Choux                       SR0000132457    UMG Recordings, Inc.
5971 Raffi                                        Something in My Shoe                               SR0000133436    UMG Recordings, Inc.
5972 Raffi                                        Spider on the Floor                                SR0000133292    UMG Recordings, Inc.
5973 Raffi                                        Swing Low Sweet Chariot                            SR0000133411    UMG Recordings, Inc.
5974 Raffi                                        Teddy Bear Hug                                     SR0000132457    UMG Recordings, Inc.
5975 Raffi                                        Tete, Epaules                                      SR0000133436    UMG Recordings, Inc.
5976 Raffi                                        The Corner Grocery Store                           SR0000133411    UMG Recordings, Inc.
5977 Raffi                                        The Little House                                   SR0000132457    UMG Recordings, Inc.
5978 Raffi                                        The More We Get Together                           SR0000133292    UMG Recordings, Inc.
5979 Raffi                                        The Mountain Polka                                 SR0000132457    UMG Recordings, Inc.
5980 Raffi                                        The Sharing Song                                   SR0000133292    UMG Recordings, Inc.
5981 Raffi                                        There Came a Girl from France                      SR0000133411    UMG Recordings, Inc.
5982 Raffi                                        This Little Light of Mine                          SR0000133436    UMG Recordings, Inc.
5983 Raffi                                        Thumbelina                                         SR0000133436    UMG Recordings, Inc.
5984 Raffi                                        Walk, Walk, Walk                                   SR0000133436    UMG Recordings, Inc.
5985 Raffi                                        Wheels on the Bus                                  SR0000133436    UMG Recordings, Inc.
5986 Raffi                                        Willoughby Wallaby Woo                             SR0000133292    UMG Recordings, Inc.
5987 Raffi                                        Y A Un Rat / Sur Le Pont D'Avignon                 SR0000133411    UMG Recordings, Inc.
5988 Raffi                                        You'll Sing a Song and I'll Sing a Song            SR0000133411    UMG Recordings, Inc.
5989 Rammstein                                    Adios                                              SR0000295849    UMG Recordings, Inc.
5990 Rammstein                                    Ashe Zu Ashe                                       SR0000273781    UMG Recordings, Inc.
5991 Rammstein                                    Benzin                                             SR0000387866    UMG Recordings, Inc.
5992 Rammstein                                    Bestrafe Mich                                      SR0000282692    UMG Recordings, Inc.
5993 Rammstein                                    Bück Dich                                          SR0000282692    UMG Recordings, Inc.
5994 Rammstein                                    Du Hast                                            SR0000273781    UMG Recordings, Inc.
5995 Rammstein                                    Du Riechst So Gut                                  SR0000273781    UMG Recordings, Inc.
5996 Rammstein                                    Eifersucht                                         SR0000282692    UMG Recordings, Inc.
5997 Rammstein                                    Engel                                              SR0000282692    UMG Recordings, Inc.
5998 Rammstein                                    Feuer Und Wasser                                   SR0000387866    UMG Recordings, Inc.
5999 Rammstein                                    Heirate Mich                                       SR0000273781    UMG Recordings, Inc.
6000 Rammstein                                    Herzeleid                                          SR0000273781    UMG Recordings, Inc.
6001 Rammstein                                    Hilf Mir                                           SR0000387866    UMG Recordings, Inc.
6002 Rammstein                                    Klavier                                            SR0000282692    UMG Recordings, Inc.
6003 Rammstein                                    Laichzeit                                          SR0000273781    UMG Recordings, Inc.
6004 Rammstein                                    Mein Herz Brennt                                   SR0000295849    UMG Recordings, Inc.
6005 Rammstein                                    Mutter                                             SR0000295849    UMG Recordings, Inc.
6006 Rammstein                                    Nebel                                              SR0000295849    UMG Recordings, Inc.
6007 Rammstein                                    Rein Raus                                          SR0000295849    UMG Recordings, Inc.



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                         Artist                                                Track                    Reg. No.              Plaintiff
6008 Rammstein                                    Rosenrot                                         SR0000387866    UMG Recordings, Inc.
6009 Rammstein                                    Seemann                                          SR0000273781    UMG Recordings, Inc.
6010 Rammstein                                    Sehnsucht                                        SR0000282692    UMG Recordings, Inc.
6011 Rammstein                                    Sonne                                            SR0000295849    UMG Recordings, Inc.
6012 Rammstein                                    Spiel Mit Mir                                    SR0000282692    UMG Recordings, Inc.
6013 Rammstein                                    Spieluhr                                         SR0000295849    UMG Recordings, Inc.
6014 Rammstein                                    Spring                                           SR0000387866    UMG Recordings, Inc.
6015 Rammstein                                    Stirb Nicht Vor Mir                              SR0000387866    UMG Recordings, Inc.
6016 Rammstein                                    Te Quiero Puta!                                  SR0000387866    UMG Recordings, Inc.
6017 Rammstein                                    Tier                                             SR0000282692    UMG Recordings, Inc.
6018 Rammstein                                    Weisses Fleisch                                  SR0000273781    UMG Recordings, Inc.
6019 Rammstein                                    Wilder Wein                                      SR0000273781    UMG Recordings, Inc.
6020 Rammstein                                    Wo Bist Du                                       SR0000387866    UMG Recordings, Inc.
6021 Rammstein                                    Wollt Ihr Das Bett In Flammen Sehen?             SR0000273781    UMG Recordings, Inc.
6022 Rammstein                                    Zerstören                                        SR0000387866    UMG Recordings, Inc.
6023 Rammstein                                    Zwitter                                          SR0000295849    UMG Recordings, Inc.
6024 Rick Ross                                    911                                              SR0000706411    UMG Recordings, Inc.
6025 Rick Ross                                    9 Piece                                          SR0000677844    UMG Recordings, Inc.
6026 Rick Ross                                    All I Have In This World                         SR0000642144    UMG Recordings, Inc.
6027 Rick Ross                                    All I Really Want                                SR0000631749    UMG Recordings, Inc.
6028 Rick Ross                                    Billionaire                                      SR0000642144    UMG Recordings, Inc.
6029 Rick Ross                                    Cross That Line                                  SR0000394154    UMG Recordings, Inc.
6030 Rick Ross                                    DJ Khaled Interlude                              SR0000642144    UMG Recordings, Inc.
6031 Rick Ross                                    Here I Am                                        SR0000627325    UMG Recordings, Inc.
6032 Rick Ross                                    Hustle Hard                                      SR0000681569    UMG Recordings, Inc.
6033 Rick Ross                                    Hustlin'                                         SR0000387156    UMG Recordings, Inc.
6034 Rick Ross                                    I'm Only Human                                   SR0000642144    UMG Recordings, Inc.
6035 Rick Ross                                    Ice Cold                                         SR0000706411    UMG Recordings, Inc.
6036 Rick Ross                                    Luxury Tax                                       SR0000642144    UMG Recordings, Inc.
6037 Rick Ross                                    Mafia Music                                      SR0000631749    UMG Recordings, Inc.
6038 Rick Ross                                    Magnificent                                      SR0000631749    UMG Recordings, Inc.
6039 Rick Ross                                    Maybach Music                                    SR0000642144    UMG Recordings, Inc.
6040 Rick Ross                                    Money Make Me Come                               SR0000642144    UMG Recordings, Inc.
6041 Rick Ross                                    Push It                                          SR0000394154    UMG Recordings, Inc.
6042 Rick Ross                                    Reppin My City                                   SR0000642144    UMG Recordings, Inc.
6043 Rick Ross                                    Speedin'                                         SR0000627979    UMG Recordings, Inc.
6044 Rick Ross                                    Street Life                                      SR0000394154    UMG Recordings, Inc.
6045 Rick Ross                                    The Boss                                         SR0000642192    UMG Recordings, Inc.
6046 Rick Ross                                    This Is The Life                                 SR0000642144    UMG Recordings, Inc.
6047 Rick Ross                                    This Me                                          SR0000642144    UMG Recordings, Inc.
6048 Rick Ross                                    Trilla Intro                                     SR0000642144    UMG Recordings, Inc.
6049 Rick Ross                                    Triple Beam Dream                                SR0000706411    UMG Recordings, Inc.
6050 Rick Ross                                    We Shinin'                                       SR0000642144    UMG Recordings, Inc.
6051 Rick Ross                                    You The Boss                                     SR0000689369    UMG Recordings, Inc.
6052 Rihanna                                      Birthday Cake                                    SR0000689431    UMG Recordings, Inc.
6053 Rihanna                                      California King Bed                              SR0000684805    UMG Recordings, Inc.
6054 Rihanna                                      Cheers (Drink To That)                           SR0000684805    UMG Recordings, Inc.
6055 Rihanna                                      Cockiness (Love It)                              SR0000689431    UMG Recordings, Inc.
6056 Rihanna                                      Cold Case Love                                   SR0000644571    UMG Recordings, Inc.
6057 Rihanna                                      Complicated                                      SR0000684805    UMG Recordings, Inc.
6058 Rihanna                                      Disturbia                                        SR0000616718    UMG Recordings, Inc.
6059 Rihanna                                      Do Ya Thang                                      SR0000689431    UMG Recordings, Inc.
6060 Rihanna                                      Don't Stop The Music                             SR0000615178    UMG Recordings, Inc.
6061 Rihanna                                      Drunk On Love                                    SR0000689431    UMG Recordings, Inc.
6062 Rihanna                                      Fading                                           SR0000684805    UMG Recordings, Inc.
6063 Rihanna                                      Farewell                                         SR0000689431    UMG Recordings, Inc.
6064 Rihanna                                      Fire Bomb                                        SR0000644571    UMG Recordings, Inc.
6065 Rihanna                                      Fool In Love                                     SR0000689431    UMG Recordings, Inc.
6066 Rihanna                                      G4L                                              SR0000644571    UMG Recordings, Inc.
6067 Rihanna                                      Good Girl Gone Bad                               SR0000087124    UMG Recordings, Inc.
6068 Rihanna                                      Hard                                             SR0000644571    UMG Recordings, Inc.
6069 Rihanna                                      Hate That I Love You                             SR0000643083    UMG Recordings, Inc.
6070 Rihanna                                      Haunted                                          SR0000629434    UMG Recordings, Inc.
6071 Rihanna                                      Here I Go Again                                  SR0000372611    UMG Recordings, Inc.
6072 Rihanna                                      If It's Lovin' That You Want                     SR0000377878    UMG Recordings, Inc.
6073 Rihanna                                      Lemme Get That                                   SR0000411459    UMG Recordings, Inc.
6074 Rihanna                                      Let Me                                           SR0000372611    UMG Recordings, Inc.
6075 Rihanna                                      Love The Way You Lie (Part II)                   SR0000684805    UMG Recordings, Inc.



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                         Artist                                              Track                       Reg. No.              Plaintiff
6076 Rihanna                                      Mad House                                         SR0000644571    UMG Recordings, Inc.
6077 Rihanna                                      Man Down                                          SR0000684805    UMG Recordings, Inc.
6078 Rihanna                                      Music Of The Sun                                  SR0000372611    UMG Recordings, Inc.
6079 Rihanna                                      Now I Know                                        SR0000372611    UMG Recordings, Inc.
6080 Rihanna                                      Only Girl (In The World)                          SR0000669316    UMG Recordings, Inc.
6081 Rihanna                                      Photographs                                       SR0000644571    UMG Recordings, Inc.
6082 Rihanna                                      Push Up On Me                                     SR0000411459    UMG Recordings, Inc.
6083 Rihanna                                      Question Existing                                 SR0000411459    UMG Recordings, Inc.
6084 Rihanna                                      Raining Men                                       SR0000684805    UMG Recordings, Inc.
6085 Rihanna                                      Red Lipstick                                      SR0000689431    UMG Recordings, Inc.
6086 Rihanna                                      Rehab                                             SR0000635072    UMG Recordings, Inc.
6087 Rihanna                                      Roc Me Out                                        SR0000689431    UMG Recordings, Inc.
6088 Rihanna                                      ROCKSTAR 101                                      SR0000644571    UMG Recordings, Inc.
6089 Rihanna                                      Rude Boy                                          SR0000644571    UMG Recordings, Inc.
6090 Rihanna                                      Rush                                              SR0000372611    UMG Recordings, Inc.
6091 Rihanna                                      Russian Roulette                                  SR0000644571    UMG Recordings, Inc.
6092 Rihanna                                      S&M                                               SR0000684805    UMG Recordings, Inc.
6093 Rihanna                                      Say It                                            SR0000411459    UMG Recordings, Inc.
6094 Rihanna                                      Shut Up and Drive                                 SR0000616718    UMG Recordings, Inc.
6095 Rihanna                                      Skin                                              SR0000684805    UMG Recordings, Inc.
6096 Rihanna                                      SOS                                               SR0000385674    UMG Recordings, Inc.
6097 Rihanna                                      Stupid In Love                                    SR0000644571    UMG Recordings, Inc.
6098 Rihanna                                      Take A Bow                                        SR0000616718    UMG Recordings, Inc.
6099 Rihanna                                      Talk That Talk                                    SR0000689431    UMG Recordings, Inc.
6100 Rihanna                                      Te Amo                                            SR0000644571    UMG Recordings, Inc.
6101 Rihanna                                      That La, La, La                                   SR0000372611    UMG Recordings, Inc.
6102 Rihanna                                      The Last Song                                     SR0000644571    UMG Recordings, Inc.
6103 Rihanna                                      The Last Time                                     SR0000372611    UMG Recordings, Inc.
6104 Rihanna                                      There's A Thug In My Life                         SR0000372611    UMG Recordings, Inc.
6105 Rihanna                                      Umbrella                                          SR0000615487    UMG Recordings, Inc.
6106 Rihanna                                      Wait Your Turn                                    SR0000644571    UMG Recordings, Inc.
6107 Rihanna                                      Watch N Learn                                     SR0000689431    UMG Recordings, Inc.
6108 Rihanna                                      We All Want Love                                  SR0000689431    UMG Recordings, Inc.
6109 Rihanna                                      We Found Love                                     SR0000684805    UMG Recordings, Inc.
6110 Rihanna                                      What's My Name?                                   SR0000669319    UMG Recordings, Inc.
6111 Rihanna                                      Where Have You Been                               SR0000689431    UMG Recordings, Inc.
6112 Rihanna                                      Willing To Wait                                   SR0000372611    UMG Recordings, Inc.
6113 Rihanna                                      You Da One                                        SR0000689433    UMG Recordings, Inc.
6114 Rihanna                                      You Don't Love Me (No, No, No)                    SR0000372611    UMG Recordings, Inc.
6115 Rise Against                                 A Gentlemen's Coup                                SR0000671827    UMG Recordings, Inc.
6116 Rise Against                                 Architects                                        SR0000671826    UMG Recordings, Inc.
6117 Rise Against                                 Broken Mirrors                                    SR0000671827    UMG Recordings, Inc.
6118 Rise Against                                 Disparity By Design                               SR0000671827    UMG Recordings, Inc.
6119 Rise Against                                 Endgame                                           SR0000671827    UMG Recordings, Inc.
6120 Rise Against                                 Help Is On The Way                                SR0000671825    UMG Recordings, Inc.
6121 Rise Against                                 Lanterns                                          SR0000674467    UMG Recordings, Inc.
6122 Rise Against                                 Make It Stop (September's Children)               SR0000671827    UMG Recordings, Inc.
6123 Rise Against                                 Midnight Hands                                    SR0000671827    UMG Recordings, Inc.
6124 Rise Against                                 Satellite                                         SR0000671827    UMG Recordings, Inc.
6125 Rise Against                                 Survivor Guilt                                    SR0000671827    UMG Recordings, Inc.
6126 Rise Against                                 This Is Letting Go                                SR0000671827    UMG Recordings, Inc.
6127 Rise Against                                 Wait For Me                                       SR0000671827    UMG Recordings, Inc.
6128 Robin Thicke                                 Cry No More                                       SR0000617389    UMG Recordings, Inc.
6129 Robin Thicke                                 Dreamworld                                        SR0000617389    UMG Recordings, Inc.
6130 Robin Thicke                                 Ebb and Flow                                      SR0000618754    UMG Recordings, Inc.
6131 Robin Thicke                                 Everybody's A Star                                SR0000618754    UMG Recordings, Inc.
6132 Robin Thicke                                 Hard On My Love                                   SR0000617389    UMG Recordings, Inc.
6133 Robin Thicke                                 I'm Coming Home                                   SR0000618754    UMG Recordings, Inc.
6134 Robin Thicke                                 Lost Without U                                    SR0000398513    UMG Recordings, Inc.
6135 Robin Thicke                                 Loverman                                          SR0000617389    UMG Recordings, Inc.
6136 Robin Thicke                                 Magic                                             SR0000622566    UMG Recordings, Inc.
6137 Robin Thicke                                 Magic Touch                                       SR0000618707    UMG Recordings, Inc.
6138 Robin Thicke                                 Ms. Harmony                                       SR0000617389    UMG Recordings, Inc.
6139 Robin Thicke                                 Sex Therapy                                       SR0000644567    UMG Recordings, Inc.
6140 Robin Thicke                                 Shadow of Doubt                                   SR0000617389    UMG Recordings, Inc.
6141 Robin Thicke                                 Sidestep                                          SR0000617389    UMG Recordings, Inc.
6142 Robin Thicke                                 Something Else                                    SR0000617389    UMG Recordings, Inc.
6143 Robin Thicke                                 The Sweetest Love                                 SR0000617386    UMG Recordings, Inc.



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                      Artist                                                  Track                      Reg. No.              Plaintiff
6144 Robin Thicke                                 Tie My Hands                                      SR0000617389    UMG Recordings, Inc.
6145 Robin Thicke                                 You're My Baby                                    SR0000617389    UMG Recordings, Inc.
6146 Saving Abel                                  18 Days                                           SR0000639174    UMG Recordings, Inc.
6147 Saving Abel                                  Addicted                                          SR0000639174    UMG Recordings, Inc.
6148 Saving Abel                                  Beautiful Day                                     SR0000639174    UMG Recordings, Inc.
6149 Saving Abel                                  Beautiful You                                     SR0000639174    UMG Recordings, Inc.
6150 Saving Abel                                  Drowning (Face Down)                              SR0000639174    UMG Recordings, Inc.
6151 Saving Abel                                  In God's Eyes                                     SR0000639174    UMG Recordings, Inc.
6152 Saving Abel                                  New Tatoo                                         SR0000639174    UMG Recordings, Inc.
6153 Saving Abel                                  Out Of My Face                                    SR0000639174    UMG Recordings, Inc.
6154 Saving Abel                                  Running From You                                  SR0000639174    UMG Recordings, Inc.
6155 Saving Abel                                  Sailed Away                                       SR0000639174    UMG Recordings, Inc.
6156 Saving Abel                                  She Got Over Me                                   SR0000639174    UMG Recordings, Inc.
6157 ScHoolboy Q                                  Man Of The Year                                   SR0000733738    UMG Recordings, Inc.
6158 ScHoolboy Q                                  Studio                                            SR0000740379    UMG Recordings, Inc.
6159 Scissor Sisters                              Better Luck Next Time                             SR0000355220    UMG Recordings, Inc.
6160 Scissor Sisters                              Filthy/Gorgeous                                   SR0000355220    UMG Recordings, Inc.
6161 Scissor Sisters                              Get It Get It                                     SR0000355220    UMG Recordings, Inc.
6162 Scissor Sisters                              It Can't Come Quickly Enough                      SR0000355220    UMG Recordings, Inc.
6163 Scissor Sisters                              Laura                                             SR0000355220    UMG Recordings, Inc.
6164 Scissor Sisters                              Lovers In The Backseat                            SR0000355220    UMG Recordings, Inc.
6165 Scissor Sisters                              Mary                                              SR0000355220    UMG Recordings, Inc.
6166 Scissor Sisters                              Music Is The Victim                               SR0000355220    UMG Recordings, Inc.
6167 Scissor Sisters                              Return To Oz                                      SR0000355220    UMG Recordings, Inc.
6168 Scissor Sisters                              Take Your Mama                                    SR0000355220    UMG Recordings, Inc.
6169 Scissor Sisters                              Tits On The Radio                                 SR0000355220    UMG Recordings, Inc.
6170 Scotty McCreery                              Before Midnight                                   SR0000735611    UMG Recordings, Inc.
6171 Scotty McCreery                              Blue Jean Baby                                    SR0000735611    UMG Recordings, Inc.
6172 Scotty McCreery                              Buzzin'                                           SR0000735611    UMG Recordings, Inc.
6173 Scotty McCreery                              Can You Feel It                                   SR0000735611    UMG Recordings, Inc.
6174 Scotty McCreery                              Carolina Eyes                                     SR0000735611    UMG Recordings, Inc.
6175 Scotty McCreery                              Carolina Moon                                     SR0000735611    UMG Recordings, Inc.
6176 Scotty McCreery                              Feel Good Summer Song                             SR0000735611    UMG Recordings, Inc.
6177 Scotty McCreery                              Feelin' It                                        SR0000735611    UMG Recordings, Inc.
6178 Scotty McCreery                              Forget To Forget You                              SR0000735611    UMG Recordings, Inc.
6179 Scotty McCreery                              Get Gone With You                                 SR0000735611    UMG Recordings, Inc.
6180 Scotty McCreery                              I Don't Wanna Be Your Friend                      SR0000735611    UMG Recordings, Inc.
6181 Scotty McCreery                              Roll Your Window Down                             SR0000735611    UMG Recordings, Inc.
6182 Scotty McCreery                              See You Tonight                                   SR0000735611    UMG Recordings, Inc.
6183 Scotty McCreery                              Something More                                    SR0000735611    UMG Recordings, Inc.
6184 Scotty McCreery                              The Dash                                          SR0000735611    UMG Recordings, Inc.
6185 Taio Cruz                                    Break Your Heart                                  SR0000655287    UMG Recordings, Inc.
6186 Taio Cruz                                    Dynamite                                          SR0000670254    UMG Recordings, Inc.
6187 The Band Perry                               All Your Life                                     SR0000653353    UMG Recordings, Inc.
6188 The Band Perry                               Double Heart                                      SR0000664551    UMG Recordings, Inc.
6189 The Band Perry                               Hip To My Heart                                   SR0000637103    UMG Recordings, Inc.
6190 The Band Perry                               If I Die Young                                    SR0000653353    UMG Recordings, Inc.
6191 The Band Perry                               Independence                                      SR0000664551    UMG Recordings, Inc.
6192 The Band Perry                               Lasso                                             SR0000664551    UMG Recordings, Inc.
6193 The Band Perry                               Miss You Being Gone                               SR0000664551    UMG Recordings, Inc.
6194 The Band Perry                               Postcard From Paris                               SR0000653353    UMG Recordings, Inc.
6195 The Band Perry                               Quittin? You                                      SR0000653353    UMG Recordings, Inc.
6196 The Band Perry                               Walk Me Down the Middle                           SR0000664551    UMG Recordings, Inc.
6197 The Band Perry                               You Lie                                           SR0000664551    UMG Recordings, Inc.
6198 The Black Eyed Peas                          Fashion Beats                                     SR0000670148    UMG Recordings, Inc.
6199 The Black Eyed Peas                          Just Can't Get Enough                             SR0000670148    UMG Recordings, Inc.
6200 The Black Eyed Peas                          Love You Long Time                                SR0000670148    UMG Recordings, Inc.
6201 The Black Eyed Peas                          Own It                                            SR0000670148    UMG Recordings, Inc.
6202 The Black Eyed Peas                          Play It Loud                                      SR0000670148    UMG Recordings, Inc.
6203 The Black Eyed Peas                          Someday                                           SR0000670148    UMG Recordings, Inc.
6204 The Black Eyed Peas                          The Best One Yet (The Boy)                        SR0000670148    UMG Recordings, Inc.
6205 The Black Eyed Peas                          The Coming                                        SR0000670148    UMG Recordings, Inc.
6206 The Black Eyed Peas                          The Situation                                     SR0000670148    UMG Recordings, Inc.
6207 The Black Eyed Peas                          Whenever                                          SR0000670148    UMG Recordings, Inc.
6208 The Black Eyed Peas                          XOXOXO                                            SR0000670148    UMG Recordings, Inc.
6209 The Cranberries                              Animal Instinct                                   SR0000264395    UMG Recordings, Inc.
6210 The Cranberries                              Daffodil Lament                                   SR0000218047    UMG Recordings, Inc.
6211 The Cranberries                              Free To Decide                                    SR0000228075    UMG Recordings, Inc.



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                        Artist                                                   Track                            Reg. No.              Plaintiff
6212 The Cranberries                              Hollywood                                                  SR0000217619    UMG Recordings, Inc.
6213 The Cranberries                              I Can't Be With You                                        SR0000218047    UMG Recordings, Inc.
6214 The Cranberries                              New New York                                               SR0000324975    UMG Recordings, Inc.
6215 The Cranberries                              Promises                                                   SR0000264395    UMG Recordings, Inc.
6216 The Cranberries                              Ridiculous Thoughts                                        SR0000218047    UMG Recordings, Inc.
6217 The Cranberries                              This Is The Day                                            SR0000303013    UMG Recordings, Inc.
6218 The Cranberries                              Time Is Ticking Out                                        SR0000303013    UMG Recordings, Inc.
6219 The Cranberries                              You And Me                                                 SR0000264395    UMG Recordings, Inc.
6220 The Gabe Dixon Band                          All Will Be Well                                           SR0000618294    UMG Recordings, Inc.
6221 The Gabe Dixon Band                          And The World Turned                                       SR0000618294    UMG Recordings, Inc.
6222 The Gabe Dixon Band                          Baby Doll                                                  SR0000618294    UMG Recordings, Inc.
6223 The Gabe Dixon Band                          Disappear                                                  SR0000618294    UMG Recordings, Inc.
6224 The Gabe Dixon Band                          Ever After You                                             SR0000618294    UMG Recordings, Inc.
6225 The Gabe Dixon Band                          Far From Home                                              SR0000618294    UMG Recordings, Inc.
6226 The Gabe Dixon Band                          Find My Way                                                SR0000618294    UMG Recordings, Inc.
6227 The Gabe Dixon Band                          Five More Hours                                            SR0000618294    UMG Recordings, Inc.
6228 The Gabe Dixon Band                          Further The Sky                                            SR0000618294    UMG Recordings, Inc.
6229 The Gabe Dixon Band                          Sirens                                                     SR0000618294    UMG Recordings, Inc.
6230 The Gabe Dixon Band                          Till You're Gone                                           SR0000618294    UMG Recordings, Inc.
6231 The Mowgli's                                 San Francisco                                              SR0000712405    UMG Recordings, Inc.
6232 The Pussycat Dolls                           Stickwitu                                                  SR0000377102    UMG Recordings, Inc.
6233 Timbaland                                    2 Man Show                                                 SR0000411631    UMG Recordings, Inc.
6234 Timbaland                                    Apologize                                                  SR0000623039    UMG Recordings, Inc.
6235 Timbaland                                    Boardmeeting                                               SR0000411631    UMG Recordings, Inc.
6236 Timbaland                                    Bombay                                                     SR0000411631    UMG Recordings, Inc.
6237 Timbaland                                    Come and Get Me                                            SR0000623039    UMG Recordings, Inc.
6238 Timbaland                                    Fantasy                                                    SR0000411631    UMG Recordings, Inc.
6239 Timbaland                                    Hello                                                      SR0000623039    UMG Recordings, Inc.
6240 Timbaland                                    Kill Yourself                                              SR0000623039    UMG Recordings, Inc.
6241 Timbaland                                    Miscommunication                                           SR0000623039    UMG Recordings, Inc.
6242 Timbaland                                    Oh Timbaland                                               SR0000623039    UMG Recordings, Inc.
6243 Timbaland                                    One and Only                                               SR0000623039    UMG Recordings, Inc.
6244 Timbaland                                    Release                                                    SR0000623039    UMG Recordings, Inc.
6245 Timbaland                                    Scream                                                     SR0000411631    UMG Recordings, Inc.
6246 Timbaland                                    The Way I Are                                              SR0000623039    UMG Recordings, Inc.
6247 Timbaland                                    Throw It On Me                                             SR0000623039    UMG Recordings, Inc.
6248 Timbaland                                    Time                                                       SR0000623039    UMG Recordings, Inc.
6249 Toby Keith                                   Beer For My Horses                                         SR0000808555    UMG Recordings, Inc.
6250 Toby Keith                                   Beers Ago                                                  SR0000687038    UMG Recordings, Inc.
6251 Toby Keith                                   Chill-axin'                                                SR0000687038    UMG Recordings, Inc.
6252 Toby Keith                                   Clancy's Tavern                                            SR0000687038    UMG Recordings, Inc.
6253 Toby Keith                                   Club Zydeco Moon                                           SR0000687038    UMG Recordings, Inc.
6254 Toby Keith                                   Country Comes To Town                                      SR0000278495    UMG Recordings, Inc.
6255 Toby Keith                                   Courtesy Of The Red, White And Blue (The Angry American)   SR0000307469    UMG Recordings, Inc.
6256 Toby Keith                                   Go With Her                                                SR0000363112    UMG Recordings, Inc.
6257 Toby Keith                                   How Do You Like Me Now?!                                   SR0000768442    UMG Recordings, Inc.
6258 Toby Keith                                   I Need To Hear A Country Song                              SR0000687038    UMG Recordings, Inc.
6259 Toby Keith                                   I Wanna Talk About Me                                      SR0000301479    UMG Recordings, Inc.
6260 Toby Keith                                   I Won't Let You Down                                       SR0000687038    UMG Recordings, Inc.
6261 Toby Keith                                   I'm Just Talkin' About Tonight                             SR0000301479    UMG Recordings, Inc.
6262 Toby Keith                                   Just Another Sundown                                       SR0000687038    UMG Recordings, Inc.
6263 Toby Keith                                   Made In America                                            SR0000687038    UMG Recordings, Inc.
6264 Toby Keith                                   Mockingbird                                                SR0000363112    UMG Recordings, Inc.
6265 Toby Keith                                   Red Solo Cup                                               SR0000712025    UMG Recordings, Inc.
6266 Toby Keith                                   Should've Been A Cowboy                                    SR0000152653    UMG Recordings, Inc.
6267 Toby Keith                                   South Of You                                               SR0000687038    UMG Recordings, Inc.
6268 Toby Keith                                   Stays In Mexico                                            SR0000613330    UMG Recordings, Inc.
6269 Toby Keith                                   Tryin' To Fall In Love                                     SR0000687038    UMG Recordings, Inc.
6270 Toby Keith                                   Who's Your Daddy?                                          SR0000307469    UMG Recordings, Inc.
6271 Toby Keith                                   You Ain't Much Fun                                         SR0000200006    UMG Recordings, Inc.
6272 Toby Keith                                   You Shouldn't Kiss Me Like This                            SR0000278495    UMG Recordings, Inc.
6273 UB40                                         (I Can't Help) Falling In Love With You                    SR0000205179    UMG Recordings, Inc.
6274 UB40                                         Breakfast In Bed                                           SR0000205152    UMG Recordings, Inc.
6275 UB40                                         Cherry Oh Baby                                             SR0000049244    UMG Recordings, Inc.
6276 UB40                                         Come Back Darling                                          SR0000178976    UMG Recordings, Inc.
6277 UB40                                         Don't Break My Heart                                       SR0000205152    UMG Recordings, Inc.
6278 UB40                                         Groovin' (Out On Life)                                     SR0000112173    UMG Recordings, Inc.
6279 UB40                                         Here I Am (Come And Take Me)                               SR0000205179    UMG Recordings, Inc.



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                         Artist                                              Track                      Reg. No.                Plaintiff
6280 UB40                                         Higher Ground                                    SR0000205179    UMG Recordings, Inc.
6281 UB40                                         Homely Girl                                      SR0000112173    UMG Recordings, Inc.
6282 UB40                                         I Got You Babe                                   SR0000205152    UMG Recordings, Inc.
6283 UB40                                         If It Happens Again                              SR0000205152    UMG Recordings, Inc.
6284 UB40                                         Kingston Town                                    SR0000205179    UMG Recordings, Inc.
6285 UB40                                         One In Ten                                       SR0000205152    UMG Recordings, Inc.
6286 UB40                                         Please Don't Make Me Cry                         SR0000205152    UMG Recordings, Inc.
6287 UB40                                         Rat In Mi Kitchen                                SR0000205152    UMG Recordings, Inc.
6288 UB40                                         Red Red Wine                                     SR0000205152    UMG Recordings, Inc.
6289 UB40                                         Sing Our Own Song                                SR0000205152    UMG Recordings, Inc.
6290 UB40                                         The Way You Do The Things You Do                 SR0000205179    UMG Recordings, Inc.
6291 UB40                                         Until My Dying Day                               SR0000205179    UMG Recordings, Inc.
6292 Warren G                                     Do You See                                       SR0000629800    UMG Recordings, Inc.
6293 Warren G                                     Gangsta Sermon                                   SR0000629800    UMG Recordings, Inc.
6294 Warren G                                     Recognize                                        SR0000629800    UMG Recordings, Inc.
6295 Warren G                                     Regulate                                         SR0000629797    UMG Recordings, Inc.
6296 Warren G                                     Super Soul Sis                                   SR0000629800    UMG Recordings, Inc.
6297 Warren G                                     This D.J.                                        SR0000765079    UMG Recordings, Inc.
6298 Warren G                                     What's Next                                      SR0000629800    UMG Recordings, Inc.
6299 Weezer                                       Buddy Holly                                      SR0000187644    UMG Recordings, Inc.
6300 Weezer                                       Holiday                                          SR0000350888    UMG Recordings, Inc.
6301 Weezer                                       In The Garage                                    SR0000187644    UMG Recordings, Inc.
6302 Weezer                                       My Name Is Jonas                                 SR0000350888    UMG Recordings, Inc.
6303 Weezer                                       No One Else                                      SR0000187644    UMG Recordings, Inc.
6304 Weezer                                       Only In Dreams                                   SR0000350888    UMG Recordings, Inc.
6305 Weezer                                       Say It Ain't So                                  SR0000187644    UMG Recordings, Inc.
6306 Weezer                                       Surf Wax America                                 SR0000187644    UMG Recordings, Inc.
6307 Weezer                                       The World Has Turned And Left Me Here            SR0000187644    UMG Recordings, Inc.
6308 Weezer                                       Undone -- The Sweater Song                       SR0000187644    UMG Recordings, Inc.
6309 Wisin & Yandel                               Irresistible                                     SR0000665444    UMG Recordings, Inc.
6310 YG                                           Who Do You Love?                                 SR0000745799    UMG Recordings, Inc.
6311 Young Jeezy                                  Amazin'                                          SR0000616586    UMG Recordings, Inc.
6312 Young Jeezy                                  By The Way                                       SR0000616586    UMG Recordings, Inc.
6313 Young Jeezy                                  Circulate                                        SR0000616586    UMG Recordings, Inc.
6314 Young Jeezy                                  Crazy World                                      SR0000616586    UMG Recordings, Inc.
6315 Young Jeezy                                  Don't Do It                                      SR0000616586    UMG Recordings, Inc.
6316 Young Jeezy                                  Don't You Know                                   SR0000616586    UMG Recordings, Inc.
6317 Young Jeezy                                  Everything                                       SR0000616586    UMG Recordings, Inc.
6318 Young Jeezy                                  Get Allot                                        SR0000616586    UMG Recordings, Inc.
6319 Young Jeezy                                  Hustlaz Ambition                                 SR0000616586    UMG Recordings, Inc.
6320 Young Jeezy                                  My President                                     SR0000616586    UMG Recordings, Inc.
6321 Young Jeezy                                  Put On                                           SR0000615616    UMG Recordings, Inc.
6322 Young Jeezy                                  Takin' It There                                  SR0000616586    UMG Recordings, Inc.
6323 Young Jeezy                                  The Recession                                    SR0000616586    UMG Recordings, Inc.
6324 Young Jeezy                                  The Recession (Intro)                            SR0000616586    UMG Recordings, Inc.
6325 Young Jeezy                                  Vacation                                         SR0000616586    UMG Recordings, Inc.
6326 Young Jeezy                                  Welcome Back                                     SR0000616586    UMG Recordings, Inc.
6327 Young Jeezy                                  What They Want                                   SR0000616586    UMG Recordings, Inc.
6328 Young Jeezy                                  Who Dat                                          SR0000616586    UMG Recordings, Inc.
6329 Young Jeezy                                  Word Play                                        SR0000616586    UMG Recordings, Inc.
6330 Zedd                                         Clarity                                          SR0000736147    UMG Recordings, Inc.
6331 Zedd                                         Epos                                             SR0000745858    UMG Recordings, Inc.
6332 Zedd                                         Fall Into The Sky                                SR0000745858    UMG Recordings, Inc.
6333 Zedd                                         Follow You Down                                  SR0000709927    UMG Recordings, Inc.
6334 Zedd                                         Hourglass                                        SR0000736147    UMG Recordings, Inc.
6335 Zedd                                         Lost At Sea                                      SR0000744174    UMG Recordings, Inc.
6336 Zedd                                         Shave It Up                                      SR0000709927    UMG Recordings, Inc.
6337 Zedd                                         Spectrum                                         SR0000736147    UMG Recordings, Inc.
6338 Zedd                                         Stache                                           SR0000745858    UMG Recordings, Inc.
6339 Zedd                                         Stay The Night                                   SR0000736147    UMG Recordings, Inc.
6340 Weird Al Yankovic                            A Complicated Song                               SR0000331347    Volcano Entertainment III, LLC
6341 Weird Al Yankovic                            Achy Breaky Song                                 SR0000184456    Volcano Entertainment III, LLC
6342 Weird Al Yankovic                            Airline Amy                                      SR0000251666    Volcano Entertainment III, LLC
6343 Weird Al Yankovic                            Amish Paradise                                   SR0000225008    Volcano Entertainment III, LLC
6344 Weird Al Yankovic                            Angry White Boy Polka                            SR0000331347    Volcano Entertainment III, LLC
6345 Weird Al Yankovic                            Bedrock Anthem                                   SR0000184456    Volcano Entertainment III, LLC
6346 Weird Al Yankovic                            Bob                                              SR0000331347    Volcano Entertainment III, LLC
6347 Weird Al Yankovic                            Bohemian Polka                                   SR0000184456    Volcano Entertainment III, LLC



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                       Artist                                                 Track                     Reg. No.                Plaintiff
6348 Weird Al Yankovic                            Callin' In Sick                                  SR0000225008    Volcano Entertainment III, LLC
6349 Weird Al Yankovic                            Cavity Search                                    SR0000225008    Volcano Entertainment III, LLC
6350 Weird Al Yankovic                            Couch Potato                                     SR0000331347    Volcano Entertainment III, LLC
6351 Weird Al Yankovic                            Ebay                                             SR0000331347    Volcano Entertainment III, LLC
6352 Weird Al Yankovic                            Everything You Know Is Wrong                     SR0000225008    Volcano Entertainment III, LLC
6353 Weird Al Yankovic                            Frank's 2000" TV                                 SR0000184456    Volcano Entertainment III, LLC
6354 Weird Al Yankovic                            Genius In France                                 SR0000331347    Volcano Entertainment III, LLC
6355 Weird Al Yankovic                            Gump                                             SR0000225008    Volcano Entertainment III, LLC
6356 Weird Al Yankovic                            Hardware Store                                   SR0000331347    Volcano Entertainment III, LLC
6357 Weird Al Yankovic                            I Can't Watch This                               SR0000251666    Volcano Entertainment III, LLC
6358 Weird Al Yankovic                            I Remember Larry                                 SR0000225008    Volcano Entertainment III, LLC
6359 Weird Al Yankovic                            I Was Only Kidding                               SR0000251666    Volcano Entertainment III, LLC
6360 Weird Al Yankovic                            I'm So Sick Of You                               SR0000225008    Volcano Entertainment III, LLC
6361 Weird Al Yankovic                            Jurassic Park                                    SR0000184456    Volcano Entertainment III, LLC
6362 Weird Al Yankovic                            Livin' In The Fridge                             SR0000184456    Volcano Entertainment III, LLC
6363 Weird Al Yankovic                            Ode To A Superhero                               SR0000331347    Volcano Entertainment III, LLC
6364 Weird Al Yankovic                            Party At The Leper Colony                        SR0000331347    Volcano Entertainment III, LLC
6365 Weird Al Yankovic                            Phony Calls                                      SR0000225008    Volcano Entertainment III, LLC
6366 Weird Al Yankovic                            Polka Your Eyes Out                              SR0000251666    Volcano Entertainment III, LLC
6367 Weird Al Yankovic                            She Never Told Me She Was A Mime                 SR0000184456    Volcano Entertainment III, LLC
6368 Weird Al Yankovic                            Smells Like Nirvana                              SR0000251666    Volcano Entertainment III, LLC
6369 Weird Al Yankovic                            Spy Hard                                         SR0000251798    Volcano Entertainment III, LLC
6370 Weird Al Yankovic                            Syndicated Inc.                                  SR0000225008    Volcano Entertainment III, LLC
6371 Weird Al Yankovic                            Taco Grande                                      SR0000251666    Volcano Entertainment III, LLC
6372 Weird Al Yankovic                            Talk Soup                                        SR0000184456    Volcano Entertainment III, LLC
6373 Weird Al Yankovic                            The Alternative Polka                            SR0000225008    Volcano Entertainment III, LLC
6374 Weird Al Yankovic                            The Night Santa Went Crazy                       SR0000225008    Volcano Entertainment III, LLC
6375 Weird Al Yankovic                            The Plumbing Song                                SR0000251666    Volcano Entertainment III, LLC
6376 Weird Al Yankovic                            The White Stuff                                  SR0000251666    Volcano Entertainment III, LLC
6377 Weird Al Yankovic                            Traffic Jam                                      SR0000184456    Volcano Entertainment III, LLC
6378 Weird Al Yankovic                            Trash Day                                        SR0000331347    Volcano Entertainment III, LLC
6379 Weird Al Yankovic                            Trigger Happy                                    SR0000251666    Volcano Entertainment III, LLC
6380 Weird Al Yankovic                            Waffle King                                      SR0000184456    Volcano Entertainment III, LLC
6381 Weird Al Yankovic                            Wanna B Ur Lovr                                  SR0000331347    Volcano Entertainment III, LLC
6382 Weird Al Yankovic                            Why Does This Always Happen To Me?               SR0000331347    Volcano Entertainment III, LLC
6383 Weird Al Yankovic                            You Don't Love Me Anymore                        SR0000251666    Volcano Entertainment III, LLC
6384 Weird Al Yankovic                            Young, Dumb & Ugly                               SR0000184456    Volcano Entertainment III, LLC
6400 Alanis Morissette                            Crazy (James Michael Mix)                        SR0000382587    Warner Bros. Records Inc.
6398 Alanis Morissette                            Eight Easy Steps                                 SR0000356595    Warner Bros. Records Inc.
6399 Alanis Morissette                            Everything                                       SR0000356595    Warner Bros. Records Inc.
6385 Alanis Morissette                            Hand In My Pocket                                SR0000213545    Warner Bros. Records Inc.
6396 Alanis Morissette                            Hands Clean                                      SR0000315266    Warner Bros. Records Inc.
6386 Alanis Morissette                            Head Over Feet                                   SR0000213545    Warner Bros. Records Inc.
6387 Alanis Morissette                            Ironic                                           SR0000213545    Warner Bros. Records Inc.
6394 Alanis Morissette                            Princes Familiar                                 SR0000276685    Warner Bros. Records Inc.
6395 Alanis Morissette                            Simple Together                                  SR0000314676    Warner Bros. Records Inc.
6397 Alanis Morissette                            Sister Blister                                   SR0000315266    Warner Bros. Records Inc.
6393 Alanis Morissette                            Still                                            SR0000276563    Warner Bros. Records Inc.
6390 Alanis Morissette                            Thank U                                          SR0000228847    Warner Bros. Records Inc.
6391 Alanis Morissette                            That I Would Be Good                             SR0000228847    Warner Bros. Records Inc.
6392 Alanis Morissette                            Uninvited                                        SR0000252550    Warner Bros. Records Inc.
6388 Alanis Morissette                            You Learn                                        SR0000213545    Warner Bros. Records Inc.
6389 Alanis Morissette                            You Oughta Know                                  SR0000213545    Warner Bros. Records Inc.
6401 Avenged Sevenfold                            Bat Country                                      SR0000374368    Warner Bros. Records Inc.
6402 Avenged Sevenfold                            Beast And The Harlot                             SR0000374368    Warner Bros. Records Inc.
6403 Avenged Sevenfold                            Betrayed                                         SR0000374368    Warner Bros. Records Inc.
6404 Avenged Sevenfold                            Blinded In Chains                                SR0000374368    Warner Bros. Records Inc.
6405 Avenged Sevenfold                            Burn It Down                                     SR0000374368    Warner Bros. Records Inc.
6406 Avenged Sevenfold                            M.I.A.                                           SR0000374368    Warner Bros. Records Inc.
6407 Avenged Sevenfold                            Seize The Day                                    SR0000374368    Warner Bros. Records Inc.
6408 Avenged Sevenfold                            Sidewinder                                       SR0000374368    Warner Bros. Records Inc.
6409 Avenged Sevenfold                            Strength Of The World                            SR0000374368    Warner Bros. Records Inc.
6410 Avenged Sevenfold                            The Wicked End                                   SR0000374368    Warner Bros. Records Inc.
6411 Avenged Sevenfold                            Trashed And Scattered                            SR0000374368    Warner Bros. Records Inc.
6412 Black Sabbath                                Electric Funeral                                 N20213          Warner Bros. Records Inc.
6413 Black Sabbath                                Hand Of Doom                                     N20213          Warner Bros. Records Inc.
6414 Black Sabbath                                Iron Man                                         N20213          Warner Bros. Records Inc.
6415 Black Sabbath                                Jack The Stripper/Fairies Wear Boots             N20213          Warner Bros. Records Inc.



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                         Artist                                               Track                      Reg. No.                Plaintiff
6416 Black Sabbath                                Paranoid                                          N20213          Warner Bros. Records Inc.
6417 Black Sabbath                                Planet Caravan                                    N20213          Warner Bros. Records Inc.
6418 Black Sabbath                                Rat Salad                                         N20213          Warner Bros. Records Inc.
6419 Black Sabbath                                War Pigs                                          SR0000042886    Warner Bros. Records Inc.
6441 Blake Shelton                                All About Tonight                                 SR0000668677    Warner Bros. Records Inc.
6420 Blake Shelton                                Austin                                            SR0000299678    Warner Bros. Records Inc.
6426 Blake Shelton                                Back There Again                                  SR0000406834    Warner Bros. Records Inc.
6456 Blake Shelton                                Boys 'Round Here                                  SR0000721082    Warner Bros. Records Inc.
6437 Blake Shelton                                Chances                                           SR0000644193    Warner Bros. Records Inc.
6457 Blake Shelton                                Country On The Radio                              SR0000721082    Warner Bros. Records Inc.
6458 Blake Shelton                                Do You Remember                                   SR0000721082    Warner Bros. Records Inc.
6459 Blake Shelton                                Doin' What She Likes                              SR0000721082    Warner Bros. Records Inc.
6427 Blake Shelton                                Don't Make Me                                     SR0000406834    Warner Bros. Records Inc.
6445 Blake Shelton                                Drink On It                                       SR0000693085    Warner Bros. Records Inc.
6446 Blake Shelton                                Get Some                                          SR0000693085    Warner Bros. Records Inc.
6447 Blake Shelton                                God Gave Me You                                   SR0000693085    Warner Bros. Records Inc.
6448 Blake Shelton                                Good Ole Boys                                     SR0000693085    Warner Bros. Records Inc.
6424 Blake Shelton                                Goodbye Time                                      SR0000359309    Warner Bros. Records Inc.
6460 Blake Shelton                                Granddaddy's Gun                                  SR0000721082    Warner Bros. Records Inc.
6449 Blake Shelton                                Hey                                               SR0000693085    Warner Bros. Records Inc.
6443 Blake Shelton                                Hillbilly Bone                                    SR0000685229    Warner Bros. Records Inc.
6438 Blake Shelton                                Home                                              SR0000644193    Warner Bros. Records Inc.
6450 Blake Shelton                                Honey Bee                                         SR0000693085    Warner Bros. Records Inc.
6439 Blake Shelton                                I Can't Walk Away                                 SR0000644193    Warner Bros. Records Inc.
6428 Blake Shelton                                I Don't Care                                      SR0000406834    Warner Bros. Records Inc.
6429 Blake Shelton                                I Have Been Lonely                                SR0000406834    Warner Bros. Records Inc.
6461 Blake Shelton                                I Still Got A Finger                              SR0000721082    Warner Bros. Records Inc.
6451 Blake Shelton                                I'm Sorry                                         SR0000693085    Warner Bros. Records Inc.
6430 Blake Shelton                                It Ain't Easy Bein' Me                            SR0000406834    Warner Bros. Records Inc.
6444 Blake Shelton                                Kiss My Country Ass                               SR0000685229    Warner Bros. Records Inc.
6462 Blake Shelton                                Lay Low                                           SR0000721082    Warner Bros. Records Inc.
6463 Blake Shelton                                Mine Would Be You                                 SR0000721082    Warner Bros. Records Inc.
6464 Blake Shelton                                My Eyes                                           SR0000721082    Warner Bros. Records Inc.
6425 Blake Shelton                                Nobody But Me                                     SR0000359309    Warner Bros. Records Inc.
6421 Blake Shelton                                Ol' Red                                           SR0000300565    Warner Bros. Records Inc.
6452 Blake Shelton                                Over                                              SR0000693085    Warner Bros. Records Inc.
6422 Blake Shelton                                Playboys Of The Southwestern World                SR0000331177    Warner Bros. Records Inc.
6453 Blake Shelton                                Ready To Roll                                     SR0000693085    Warner Bros. Records Inc.
6454 Blake Shelton                                Red River Blue                                    SR0000693085    Warner Bros. Records Inc.
6431 Blake Shelton                                She Can't Get That                                SR0000406834    Warner Bros. Records Inc.
6432 Blake Shelton                                She Don't Love Me                                 SR0000406834    Warner Bros. Records Inc.
6440 Blake Shelton                                She Wouldn't Be Gone                              SR0000659650    Warner Bros. Records Inc.
6465 Blake Shelton                                Small Town Big Time                               SR0000721082    Warner Bros. Records Inc.
6423 Blake Shelton                                Some Beach                                        SR0000359307    Warner Bros. Records Inc.
6455 Blake Shelton                                Sunny In Seattle                                  SR0000693085    Warner Bros. Records Inc.
6466 Blake Shelton                                Sure Be Cool If You Did                           SR0000721082    Warner Bros. Records Inc.
6467 Blake Shelton                                Ten Times Crazier                                 SR0000721082    Warner Bros. Records Inc.
6433 Blake Shelton                                The Last Country Song                             SR0000406834    Warner Bros. Records Inc.
6434 Blake Shelton                                The More I Drink                                  SR0000406834    Warner Bros. Records Inc.
6435 Blake Shelton                                This Can't Be Good                                SR0000406834    Warner Bros. Records Inc.
6436 Blake Shelton                                What I Wouldn't Give                              SR0000406834    Warner Bros. Records Inc.
6442 Blake Shelton                                Who Are You When I'm Not Looking                  SR0000668677    Warner Bros. Records Inc.
6468 Daniel Powter                                Bad Day                                           SR0000384148    Warner Bros. Records Inc.
6469 David Draiman                                Forsaken                                          SR0000308602    Warner Bros. Records Inc.
6488 Deftones                                     Back To School (Mini Maggit)                      SR0000288286    Warner Bros. Records Inc.
6489 Deftones                                     Battle-axe                                        SR0000335169    Warner Bros. Records Inc.
6477 Deftones                                     Be Quiet And Drive (Far Away)                     SR0000244493    Warner Bros. Records Inc.
6470 Deftones                                     Birthmark                                         SR0000171111    Warner Bros. Records Inc.
6496 Deftones                                     Black Moon                                        SR0000390931    Warner Bros. Records Inc.
6471 Deftones                                     Bored                                             SR0000171111    Warner Bros. Records Inc.
6482 Deftones                                     Change (In The House Of Flies)                    SR0000284862    Warner Bros. Records Inc.
6507 Deftones                                     Change (In The House Of Flies) (Acoustic)         SR0000390931    Warner Bros. Records Inc.
6497 Deftones                                     Crenshaw Punch / I'll Throw Rocks At You          SR0000390931    Warner Bros. Records Inc.
6478 Deftones                                     Dai The Flu                                       SR0000244493    Warner Bros. Records Inc.
6490 Deftones                                     Deathblow                                         SR0000335169    Warner Bros. Records Inc.
6483 Deftones                                     Digital Bath                                      SR0000284862    Warner Bros. Records Inc.
6498 Deftones                                     Digital Bath (Acoustic)                           SR0000390931    Warner Bros. Records Inc.
6508 Deftones                                     Entombed                                          SR0000719493    Warner Bros. Records Inc.



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                                                                    EXHIBIT A - SOUND RECORDINGS

                         Artist                                               Track                     Reg. No.                Plaintiff
6472 Deftones                                     Fireal                                           SR0000171111    Warner Bros. Records Inc.
6509 Deftones                                     Gauze                                            SR0000719493    Warner Bros. Records Inc.
6510 Deftones                                     Goon Squad                                       SR0000719493    Warner Bros. Records Inc.
6511 Deftones                                     Graphic Nature                                   SR0000719493    Warner Bros. Records Inc.
6479 Deftones                                     Headup                                           SR0000244493    Warner Bros. Records Inc.
6491 Deftones                                     Hexagram                                         SR0000335169    Warner Bros. Records Inc.
6499 Deftones                                     If Only Tonight We Could Sleep                   SR0000390931    Warner Bros. Records Inc.
6484 Deftones                                     Knife Prty                                       SR0000284862    Warner Bros. Records Inc.
6512 Deftones                                     Leathers                                         SR0000719493    Warner Bros. Records Inc.
6480 Deftones                                     Lhabia                                           SR0000244493    Warner Bros. Records Inc.
6473 Deftones                                     Lifter                                           SR0000171111    Warner Bros. Records Inc.
6492 Deftones                                     Lucky You                                        SR0000335169    Warner Bros. Records Inc.
6493 Deftones                                     Minerva                                          SR0000335169    Warner Bros. Records Inc.
6474 Deftones                                     Minus Blindfold                                  SR0000171111    Warner Bros. Records Inc.
6494 Deftones                                     Moana                                            SR0000335169    Warner Bros. Records Inc.
6481 Deftones                                     MX                                               SR0000244493    Warner Bros. Records Inc.
6500 Deftones                                     No Ordinary Love                                 SR0000390931    Warner Bros. Records Inc.
6475 Deftones                                     Nosebleed                                        SR0000171111    Warner Bros. Records Inc.
6476 Deftones                                     One Weak                                         SR0000171111    Warner Bros. Records Inc.
6485 Deftones                                     Passenger                                        SR0000284862    Warner Bros. Records Inc.
6486 Deftones                                     Pink Maggit                                      SR0000284862    Warner Bros. Records Inc.
6501 Deftones                                     Please Please Please Let Me Get What I Want      SR0000390931    Warner Bros. Records Inc.
6513 Deftones                                     Poltergeist                                      SR0000719493    Warner Bros. Records Inc.
6514 Deftones                                     Romantic Dreams                                  SR0000719493    Warner Bros. Records Inc.
6515 Deftones                                     Rosemary                                         SR0000719493    Warner Bros. Records Inc.
6487 Deftones                                     Rx Queen                                         SR0000284862    Warner Bros. Records Inc.
6502 Deftones                                     Savory                                           SR0000390931    Warner Bros. Records Inc.
6503 Deftones                                     Simple Man                                       SR0000390931    Warner Bros. Records Inc.
6504 Deftones                                     Sinatra                                          SR0000390931    Warner Bros. Records Inc.
6516 Deftones                                     Swerve City                                      SR0000719493    Warner Bros. Records Inc.
6517 Deftones                                     Tempest                                          SR0000719493    Warner Bros. Records Inc.
6505 Deftones                                     The Chauffeur                                    SR0000390931    Warner Bros. Records Inc.
6506 Deftones                                     Wax And Wane                                     SR0000390931    Warner Bros. Records Inc.
6518 Deftones                                     What Happened To You?                            SR0000719493    Warner Bros. Records Inc.
6495 Deftones                                     When Girls Telephone Boys                        SR0000335169    Warner Bros. Records Inc.
6567 Disturbed                                    A Welcome Burden                                 SR0000685183    Warner Bros. Records Inc.
6543 Disturbed                                    Avarice                                          SR0000380289    Warner Bros. Records Inc.
6530 Disturbed                                    Awaken                                           SR0000316958    Warner Bros. Records Inc.
6531 Disturbed                                    Believe                                          SR0000316958    Warner Bros. Records Inc.
6532 Disturbed                                    Bound                                            SR0000316958    Warner Bros. Records Inc.
6533 Disturbed                                    Breathe                                          SR0000316958    Warner Bros. Records Inc.
6529 Disturbed                                    Conflict                                         SR0000288344    Warner Bros. Records Inc.
6555 Disturbed                                    Criminal                                         SR0000647297    Warner Bros. Records Inc.
6544 Disturbed                                    Decadence                                        SR0000380289    Warner Bros. Records Inc.
6556 Disturbed                                    Deceiver                                         SR0000647297    Warner Bros. Records Inc.
6569 Disturbed                                    Dehumanized                                      SR0000695381    Warner Bros. Records Inc.
6545 Disturbed                                    Deify                                            SR0000380289    Warner Bros. Records Inc.
6534 Disturbed                                    Devour                                           SR0000316958    Warner Bros. Records Inc.
6557 Disturbed                                    Divide                                           SR0000647297    Warner Bros. Records Inc.
6519 Disturbed                                    Down With The Sickness                           SR0000280324    Warner Bros. Records Inc.
6520 Disturbed                                    Droppin' Plates                                  SR0000280324    Warner Bros. Records Inc.
6558 Disturbed                                    Enough                                           SR0000647297    Warner Bros. Records Inc.
6559 Disturbed                                    Facade                                           SR0000647297    Warner Bros. Records Inc.
6521 Disturbed                                    Fear                                             SR0000280324    Warner Bros. Records Inc.
6546 Disturbed                                    Forgiven                                         SR0000380289    Warner Bros. Records Inc.
6570 Disturbed                                    God Of The Mind                                  SR0000695381    Warner Bros. Records Inc.
6541 Disturbed                                    Guarded                                          SR0000374276    Warner Bros. Records Inc.
6560 Disturbed                                    Haunted                                          SR0000647297    Warner Bros. Records Inc.
6571 Disturbed                                    Hell                                             SR0000695381    Warner Bros. Records Inc.
6547 Disturbed                                    I'm Alive                                        SR0000380289    Warner Bros. Records Inc.
6561 Disturbed                                    Indestructible                                   SR0000647297    Warner Bros. Records Inc.
6562 Disturbed                                    Inside The Fire                                  SR0000647297    Warner Bros. Records Inc.
6535 Disturbed                                    Intoxication                                     SR0000316958    Warner Bros. Records Inc.
6548 Disturbed                                    Just Stop                                        SR0000380289    Warner Bros. Records Inc.
6549 Disturbed                                    Land Of Confusion                                SR0000380289    Warner Bros. Records Inc.
6536 Disturbed                                    Liberate                                         SR0000316958    Warner Bros. Records Inc.
6522 Disturbed                                    Meaning Of Life                                  SR0000280324    Warner Bros. Records Inc.
6537 Disturbed                                    Mistress                                         SR0000316958    Warner Bros. Records Inc.



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                                                                    EXHIBIT A - SOUND RECORDINGS

                         Artist                                                 Track                            Reg. No.                Plaintiff
6572 Disturbed                                    Monster                                                   SR0000695381    Warner Bros. Records Inc.
6568 Disturbed                                    Numb                                                      SR0000685183    Warner Bros. Records Inc.
6550 Disturbed                                    Overburdened                                              SR0000380289    Warner Bros. Records Inc.
6551 Disturbed                                    Pain Redefined                                            SR0000380289    Warner Bros. Records Inc.
6573 Disturbed                                    Parasite                                                  SR0000695381    Warner Bros. Records Inc.
6563 Disturbed                                    Perfect Insanity                                          SR0000647297    Warner Bros. Records Inc.
6538 Disturbed                                    Prayer                                                    SR0000316958    Warner Bros. Records Inc.
6539 Disturbed                                    Remember                                                  SR0000316958    Warner Bros. Records Inc.
6540 Disturbed                                    Rise                                                      SR0000316958    Warner Bros. Records Inc.
6574 Disturbed                                    Run                                                       SR0000695381    Warner Bros. Records Inc.
6552 Disturbed                                    Sacred Lie                                                SR0000380289    Warner Bros. Records Inc.
6523 Disturbed                                    Shout 2000                                                SR0000280324    Warner Bros. Records Inc.
6575 Disturbed                                    Sickened                                                  SR0000695381    Warner Bros. Records Inc.
6553 Disturbed                                    Sons Of Plunder                                           SR0000380289    Warner Bros. Records Inc.
6542 Disturbed                                    Stricken                                                  SR0000380288    Warner Bros. Records Inc.
6524 Disturbed                                    Stupify                                                   SR0000280324    Warner Bros. Records Inc.
6554 Disturbed                                    Ten Thousand Fists                                        SR0000380289    Warner Bros. Records Inc.
6564 Disturbed                                    The Curse                                                 SR0000647297    Warner Bros. Records Inc.
6525 Disturbed                                    The Game                                                  SR0000280324    Warner Bros. Records Inc.
6565 Disturbed                                    The Night                                                 SR0000647297    Warner Bros. Records Inc.
6576 Disturbed                                    This Moment                                               SR0000695381    Warner Bros. Records Inc.
6566 Disturbed                                    Torn                                                      SR0000647297    Warner Bros. Records Inc.
6577 Disturbed                                    Two Worlds                                                SR0000695381    Warner Bros. Records Inc.
6526 Disturbed                                    Violence Fetish                                           SR0000280324    Warner Bros. Records Inc.
6527 Disturbed                                    Voices                                                    SR0000280324    Warner Bros. Records Inc.
6528 Disturbed                                    Want                                                      SR0000280324    Warner Bros. Records Inc.
6578 Eric Clapton                                 (I) Get Lost                                              SR0000276566    Warner Bros. Records Inc.
6579 Eric Clapton                                 Riding With The King                                      SR0000285808    Warner Bros. Records Inc.
6580 Faith Hill                                   A Man's Home Is His Castle                                SR0000169102    Warner Bros. Records Inc.
6581 Faith Hill                                   A Room In My Heart                                        SR0000169102    Warner Bros. Records Inc.
6624 Faith Hill                                   Baby You Belong                                           SR0000321377    Warner Bros. Records Inc.
6625 Faith Hill                                   Back To You                                               SR0000321377    Warner Bros. Records Inc.
6626 Faith Hill                                   Beautiful                                                 SR0000321377    Warner Bros. Records Inc.
6582 Faith Hill                                   Bed Of Roses                                              SR0000169102    Warner Bros. Records Inc.
6600 Faith Hill                                   Better Days                                               SR0000253752    Warner Bros. Records Inc.
6612 Faith Hill                                   Breathe                                                   SR0000276629    Warner Bros. Records Inc.
6613 Faith Hill                                   Bringing Out The Elvis                                    SR0000276629    Warner Bros. Records Inc.
6590 Faith Hill                                   But I Will                                                SR0000182853    Warner Bros. Records Inc.
6627 Faith Hill                                   Cry                                                       SR0000321377    Warner Bros. Records Inc.
6637 Faith Hill                                   Dearly Beloved                                            SR0000374377    Warner Bros. Records Inc.
6638 Faith Hill                                   Fireflies                                                 SR0000374377    Warner Bros. Records Inc.
6591 Faith Hill                                   Go The Distance                                           SR0000182853    Warner Bros. Records Inc.
6583 Faith Hill                                   I Can't Do That Anymore                                   SR0000169102    Warner Bros. Records Inc.
6614 Faith Hill                                   I Got My Baby                                             SR0000276629    Warner Bros. Records Inc.
6601 Faith Hill                                   I Love You                                                SR0000253752    Warner Bros. Records Inc.
6628 Faith Hill                                   I Think I Will                                            SR0000321377    Warner Bros. Records Inc.
6639 Faith Hill                                   I Want You                                                SR0000374377    Warner Bros. Records Inc.
6592 Faith Hill                                   I Would Be Stronger Than That                             SR0000182853    Warner Bros. Records Inc.
6593 Faith Hill                                   I've Got This Friend (With Larry Stewart)                 SR0000182853    Warner Bros. Records Inc.
6615 Faith Hill                                   If I Should Fall Behind                                   SR0000276629    Warner Bros. Records Inc.
6616 Faith Hill                                   If I'm Not In Love                                        SR0000276629    Warner Bros. Records Inc.
6617 Faith Hill                                   If My Heart Had Wings                                     SR0000276629    Warner Bros. Records Inc.
6629 Faith Hill                                   If This Is The End                                        SR0000321377    Warner Bros. Records Inc.
6640 Faith Hill                                   If You Ask                                                SR0000374377    Warner Bros. Records Inc.
6630 Faith Hill                                   If You're Gonna Fly Away                                  SR0000321377    Warner Bros. Records Inc.
6584 Faith Hill                                   It Matters To Me                                          SR0000169102    Warner Bros. Records Inc.
6618 Faith Hill                                   It Will Be Me                                             SR0000276629    Warner Bros. Records Inc.
6594 Faith Hill                                   Just About Now                                            SR0000182853    Warner Bros. Records Inc.
6595 Faith Hill                                   Just Around The Eyes                                      SR0000182853    Warner Bros. Records Inc.
6602 Faith Hill                                   Just To Hear You Say That You Love Me (with Tim McGraw)   SR0000253752    Warner Bros. Records Inc.
6585 Faith Hill                                   Keep Walkin' On                                           SR0000169102    Warner Bros. Records Inc.
6603 Faith Hill                                   Let Me Let Go                                             SR0000253752    Warner Bros. Records Inc.
6586 Faith Hill                                   Let's Go To Vegas                                         SR0000169102    Warner Bros. Records Inc.
6596 Faith Hill                                   Life's Too Short To Love Like That                        SR0000182853    Warner Bros. Records Inc.
6641 Faith Hill                                   Like We Never Loved At All                                SR0000374377    Warner Bros. Records Inc.
6604 Faith Hill                                   Love Ain't Like That                                      SR0000253752    Warner Bros. Records Inc.
6619 Faith Hill                                   Love Is A Sweet Thing                                     SR0000276629    Warner Bros. Records Inc.
6605 Faith Hill                                   Me                                                        SR0000253752    Warner Bros. Records Inc.



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                       Artist                                                  Track                    Reg. No.                Plaintiff
6648 Faith Hill                                   Mississippi Girl                                 SR0000374378    Warner Bros. Records Inc.
6606 Faith Hill                                   My Wild Frontier                                 SR0000253752    Warner Bros. Records Inc.
6631 Faith Hill                                   One                                              SR0000321377    Warner Bros. Records Inc.
6597 Faith Hill                                   Piece Of My Heart                                SR0000182853    Warner Bros. Records Inc.
6607 Faith Hill                                   Somebody Stand By Me                             SR0000253752    Warner Bros. Records Inc.
6587 Faith Hill                                   Someone Else's Dream                             SR0000169102    Warner Bros. Records Inc.
6642 Faith Hill                                   Stealing Kisses                                  SR0000374377    Warner Bros. Records Inc.
6632 Faith Hill                                   Stronger                                         SR0000321377    Warner Bros. Records Inc.
6643 Faith Hill                                   Sunshine & Summertime                            SR0000374377    Warner Bros. Records Inc.
6598 Faith Hill                                   Take Me As I Am                                  SR0000182853    Warner Bros. Records Inc.
6620 Faith Hill                                   That's How Love Moves                            SR0000276629    Warner Bros. Records Inc.
6608 Faith Hill                                   The Hard Way                                     SR0000253752    Warner Bros. Records Inc.
6644 Faith Hill                                   The Lucky One                                    SR0000374377    Warner Bros. Records Inc.
6609 Faith Hill                                   The Secret Of Life                               SR0000253752    Warner Bros. Records Inc.
6621 Faith Hill                                   The Way You Love Me                              SR0000276629    Warner Bros. Records Inc.
6622 Faith Hill                                   There Will Come A Day                            SR0000276629    Warner Bros. Records Inc.
6633 Faith Hill                                   This Is Me                                       SR0000321377    Warner Bros. Records Inc.
6610 Faith Hill                                   This Kiss (Pop Remix a.k.a. Radio Version)       SR0000253752    Warner Bros. Records Inc.
6634 Faith Hill                                   Unsaveable                                       SR0000321377    Warner Bros. Records Inc.
6645 Faith Hill                                   We've Got Nothing But Love To Prove              SR0000374377    Warner Bros. Records Inc.
6623 Faith Hill                                   What's In It For Me                              SR0000276629    Warner Bros. Records Inc.
6635 Faith Hill                                   When The Lights Go Down                          SR0000321377    Warner Bros. Records Inc.
6599 Faith Hill                                   Wild One                                         SR0000182853    Warner Bros. Records Inc.
6646 Faith Hill                                   Wish For You                                     SR0000374377    Warner Bros. Records Inc.
6588 Faith Hill                                   You Can't Lose Me                                SR0000169102    Warner Bros. Records Inc.
6611 Faith Hill                                   You Give Me Love                                 SR0000253752    Warner Bros. Records Inc.
6647 Faith Hill                                   You Stay With Me                                 SR0000374377    Warner Bros. Records Inc.
6589 Faith Hill                                   You Will Be Mine                                 SR0000169102    Warner Bros. Records Inc.
6636 Faith Hill                                   You're Still Here                                SR0000321377    Warner Bros. Records Inc.
6649 Faith Hill & Tim McGraw                      Let's Make Love                                  SR0000276629    Warner Bros. Records Inc.
6650 Gloriana                                     (Kissed You) Good Night                          SR0000719998    Warner Bros. Records Inc.
6651 Green Day                                    ¡Viva La Gloria!                                 SR0000762131    Warner Bros. Records Inc.
6652 Green Day                                    American Eulogy: Mass Hysteria / Modern World    SR0000762131    Warner Bros. Records Inc.
6653 Green Day                                    Before The Lobotomy                              SR0000762131    Warner Bros. Records Inc.
6654 Green Day                                    Christian's Inferno                              SR0000762131    Warner Bros. Records Inc.
6655 Green Day                                    Horseshoes and Handgrenades                      SR0000762131    Warner Bros. Records Inc.
6656 Green Day                                    Last Night On Earth                              SR0000762131    Warner Bros. Records Inc.
6657 Green Day                                    Murder City                                      SR0000762131    Warner Bros. Records Inc.
6658 Green Day                                    Peacemaker                                       SR0000762131    Warner Bros. Records Inc.
6659 Green Day                                    Restless Heart Syndrome                          SR0000762131    Warner Bros. Records Inc.
6660 Green Day                                    See The Light                                    SR0000762131    Warner Bros. Records Inc.
6661 Green Day                                    Song Of The Century                              SR0000762131    Warner Bros. Records Inc.
6662 Green Day                                    The Static Age                                   SR0000762131    Warner Bros. Records Inc.
6664 James Taylor                                 Don't Let Me Be Lonely Tonight                   N3810           Warner Bros. Records Inc.
6663 James Taylor                                 Golden Moments                                   N35786          Warner Bros. Records Inc.
6665 James Taylor                                 Steamroller (Live)                               N38974          Warner Bros. Records Inc.
6666 Jason Derulo                                 Blind                                            SR0000685175    Warner Bros. Records Inc.
6667 Jason Derulo                                 Encore                                           SR0000685175    Warner Bros. Records Inc.
6668 Jason Derulo                                 Fallen                                           SR0000685175    Warner Bros. Records Inc.
6669 Jason Derulo                                 In My Head                                       SR0000685175    Warner Bros. Records Inc.
6670 Jason Derulo                                 Love Hangover                                    SR0000685175    Warner Bros. Records Inc.
6676 Jason Derulo                                 Marry Me                                         SR0000763207    Warner Bros. Records Inc.
6671 Jason Derulo                                 Ridin' Solo                                      SR0000685175    Warner Bros. Records Inc.
6672 Jason Derulo                                 Strobelight                                      SR0000685175    Warner Bros. Records Inc.
6677 Jason Derulo                                 Stupid Love                                      SR0000763207    Warner Bros. Records Inc.
6678 Jason Derulo                                 Talk Dirty                                       SR0000763207    Warner Bros. Records Inc.
6673 Jason Derulo                                 The Sky's The Limit                              SR0000685175    Warner Bros. Records Inc.
6679 Jason Derulo                                 Trumpets                                         SR0000763207    Warner Bros. Records Inc.
6680 Jason Derulo                                 Vertigo                                          SR0000763207    Warner Bros. Records Inc.
6674 Jason Derulo                                 What If                                          SR0000685175    Warner Bros. Records Inc.
6675 Jason Derulo                                 Whatcha Say                                      SR0000685175    Warner Bros. Records Inc.
6681 Jason Derulo                                 With The Lights On                               SR0000763207    Warner Bros. Records Inc.
6682 John Williams                                Theme from Superman                              SR0000006230    Warner Bros. Records Inc.
6683 Kenny Rogers                                 The Vows Go Unbroken (Always True To You)        SR0000105862    Warner Bros. Records Inc.
6692 Linkin Park                                  1stp Klosr                                       SR0000316952    Warner Bros. Records Inc.
6684 Linkin Park                                  A Place For My Head                              SR0000288402    Warner Bros. Records Inc.
6723 Linkin Park                                  BURN IT DOWN                                     SR0000708311    Warner Bros. Records Inc.
6724 Linkin Park                                  BURN IT DOWN (Instrumental)                      SR0000708311    Warner Bros. Records Inc.



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                         Artist                                                 Track                    Reg. No.                Plaintiff
6685 Linkin Park                                  By Myself                                         SR0000288402    Warner Bros. Records Inc.
6693 Linkin Park                                  By_Myslf                                          SR0000316952    Warner Bros. Records Inc.
6725 Linkin Park                                  CASTLE OF GLASS                                   SR0000708311    Warner Bros. Records Inc.
6726 Linkin Park                                  CASTLE OF GLASS (Instrumental)                    SR0000708311    Warner Bros. Records Inc.
6714 Linkin Park                                  Crawling (Live In Texas)                          SR0000350998    Warner Bros. Records Inc.
6686 Linkin Park                                  Cure For The Itch                                 SR0000288402    Warner Bros. Records Inc.
6706 Linkin Park                                  Don't Stay                                        SR0000346247    Warner Bros. Records Inc.
6707 Linkin Park                                  Easier To Run                                     SR0000346247    Warner Bros. Records Inc.
6694 Linkin Park                                  Enth E Nd                                         SR0000316952    Warner Bros. Records Inc.
6708 Linkin Park                                  Faint                                             SR0000346247    Warner Bros. Records Inc.
6709 Linkin Park                                  Figure.09                                         SR0000346247    Warner Bros. Records Inc.
6687 Linkin Park                                  Forgotten                                         SR0000288402    Warner Bros. Records Inc.
6695 Linkin Park                                  Frgt/10                                           SR0000316952    Warner Bros. Records Inc.
6696 Linkin Park                                  H! Vltg3                                          SR0000316952    Warner Bros. Records Inc.
6710 Linkin Park                                  Hit The Floor                                     SR0000346247    Warner Bros. Records Inc.
6727 Linkin Park                                  I'LL BE GONE                                      SR0000708311    Warner Bros. Records Inc.
6718 Linkin Park                                  In Between                                        SR0000406841    Warner Bros. Records Inc.
6728 Linkin Park                                  IN MY REMAINS                                     SR0000708311    Warner Bros. Records Inc.
6719 Linkin Park                                  In Pieces                                         SR0000406841    Warner Bros. Records Inc.
6715 Linkin Park                                  In The End (Live In Texas)                        SR0000350998    Warner Bros. Records Inc.
6697 Linkin Park                                  Krwlng                                            SR0000316952    Warner Bros. Records Inc.
6698 Linkin Park                                  Kyur4 Th Ich                                      SR0000316952    Warner Bros. Records Inc.
6720 Linkin Park                                  Leave Out All The Rest                            SR0000406841    Warner Bros. Records Inc.
6729 Linkin Park                                  LIES GREED MISERY                                 SR0000708311    Warner Bros. Records Inc.
6730 Linkin Park                                  LOST IN THE ECHO                                  SR0000708311    Warner Bros. Records Inc.
6699 Linkin Park                                  My<Dsmbr                                          SR0000316952    Warner Bros. Records Inc.
6711 Linkin Park                                  Nobody's Listening                                SR0000346247    Warner Bros. Records Inc.
6716 Linkin Park                                  One Step Closer (Live In Texas)                   SR0000350998    Warner Bros. Records Inc.
6717 Linkin Park                                  P5hng Me A*wy (Live in Texas)                     SR0000350998    Warner Bros. Records Inc.
6688 Linkin Park                                  Papercut                                          SR0000288402    Warner Bros. Records Inc.
6700 Linkin Park                                  Plc.4 Mie Haed                                    SR0000316952    Warner Bros. Records Inc.
6689 Linkin Park                                  Points Of Authority                               SR0000288402    Warner Bros. Records Inc.
6731 Linkin Park                                  POWERLESS                                         SR0000708311    Warner Bros. Records Inc.
6701 Linkin Park                                  PPr:Kut                                           SR0000316952    Warner Bros. Records Inc.
6702 Linkin Park                                  Pts.OF.Athrty                                     SR0000316952    Warner Bros. Records Inc.
6703 Linkin Park                                  Rnw@y                                             SR0000316952    Warner Bros. Records Inc.
6732 Linkin Park                                  ROADS UNTRAVELED                                  SR0000708311    Warner Bros. Records Inc.
6690 Linkin Park                                  Runaway                                           SR0000288402    Warner Bros. Records Inc.
6712 Linkin Park                                  Session                                           SR0000346247    Warner Bros. Records Inc.
6733 Linkin Park                                  SKIN TO BONE                                      SR0000708311    Warner Bros. Records Inc.
6713 Linkin Park                                  Somewhere I Belong                                SR0000346247    Warner Bros. Records Inc.
6734 Linkin Park                                  TINFOIL                                           SR0000708311    Warner Bros. Records Inc.
6735 Linkin Park                                  UNTIL IT BREAKS                                   SR0000708311    Warner Bros. Records Inc.
6721 Linkin Park                                  Valentine's Day                                   SR0000406841    Warner Bros. Records Inc.
6736 Linkin Park                                  VICTIMIZED                                        SR0000708311    Warner Bros. Records Inc.
6722 Linkin Park                                  Wake                                              SR0000406841    Warner Bros. Records Inc.
6691 Linkin Park                                  With You                                          SR0000288402    Warner Bros. Records Inc.
6704 Linkin Park                                  Wth>You                                           SR0000316952    Warner Bros. Records Inc.
6705 Linkin Park                                  X-Ecutioner Style                                 SR0000316952    Warner Bros. Records Inc.
6737 Linkin Park & Jay-Z                          Dirt Off Your Shoulder / Lying From You           SR0000362315    Warner Bros. Records Inc.
6738 Linkin Park & Jay-Z                          Numb / Encore                                     SR0000362316    Warner Bros. Records Inc.
6739 Madonna                                      Revolver                                          SR0000662296    Warner Bros. Records Inc.
6740 Maze featuring Frankie Beverly               Africa                                            SR0000107982    Warner Bros. Records Inc.
6750 Maze featuring Frankie Beverly               All Night Long                                    SR0000171913    Warner Bros. Records Inc.
6741 Maze featuring Frankie Beverly               Can't Get Over You                                SR0000107982    Warner Bros. Records Inc.
6742 Maze featuring Frankie Beverly               Change Our Ways                                   SR0000107982    Warner Bros. Records Inc.
6751 Maze featuring Frankie Beverly               Don't Wanna Lose Your Love                        SR0000171913    Warner Bros. Records Inc.
6752 Maze featuring Frankie Beverly               In Time                                           SR0000171913    Warner Bros. Records Inc.
6743 Maze featuring Frankie Beverly               Just Us                                           SR0000107982    Warner Bros. Records Inc.
6753 Maze featuring Frankie Beverly               Laid Back Girl                                    SR0000171913    Warner Bros. Records Inc.
6754 Maze featuring Frankie Beverly               Love Is                                           SR0000171913    Warner Bros. Records Inc.
6744 Maze featuring Frankie Beverly               Love's On The Run                                 SR0000107982    Warner Bros. Records Inc.
6745 Maze featuring Frankie Beverly               Mandela                                           SR0000107982    Warner Bros. Records Inc.
6746 Maze featuring Frankie Beverly               Midnight                                          SR0000107982    Warner Bros. Records Inc.
6755 Maze featuring Frankie Beverly               Nobody Knows What You Feel Inside                 SR0000171913    Warner Bros. Records Inc.
6747 Maze featuring Frankie Beverly               Silky Soul                                        SR0000107982    Warner Bros. Records Inc.
6748 Maze featuring Frankie Beverly               Somebody Else's Arms                              SR0000107982    Warner Bros. Records Inc.
6749 Maze featuring Frankie Beverly               Songs Of Love                                     SR0000107982    Warner Bros. Records Inc.



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                      Artist                                                     Track                   Reg. No.                Plaintiff
6756 Maze featuring Frankie Beverly               The Morning After                                 SR0000171913    Warner Bros. Records Inc.
6757 Maze featuring Frankie Beverly               Twilight                                          SR0000171913    Warner Bros. Records Inc.
6758 Maze featuring Frankie Beverly               What Goes Up                                      SR0000171913    Warner Bros. Records Inc.
6760 Michael Bublé                                Everything                                        SR0000406982    Warner Bros. Records Inc.
6759 Michael Bublé                                Quando, Quando, Quando (with Nelly Furtado)       SR0000370205    Warner Bros. Records Inc.
6761 Muse                                         Cave                                              SR0000273528    Warner Bros. Records Inc.
6762 Muse                                         Muscle Museum                                     SR0000273528    Warner Bros. Records Inc.
6763 Muse                                         Sunburn                                           SR0000273528    Warner Bros. Records Inc.
6764 Muse                                         Unintended                                        SR0000273528    Warner Bros. Records Inc.
6765 Muse                                         Uno                                               SR0000273528    Warner Bros. Records Inc.
6799 My Chemical Romance                          Blood                                             SR0000651990    Warner Bros. Records Inc.
6815 My Chemical Romance                          Bulletproof Heart                                 SR0000681139    Warner Bros. Records Inc.
6779 My Chemical Romance                          Bury Me In Black (Demo)                           SR0000360198    Warner Bros. Records Inc.
6780 My Chemical Romance                          Cancer                                            SR0000399985    Warner Bros. Records Inc.
6800 My Chemical Romance                          Cancer (Live In Mexico)                           SR0000651990    Warner Bros. Records Inc.
6766 My Chemical Romance                          Cemetery Drive                                    SR0000360197    Warner Bros. Records Inc.
6793 My Chemical Romance                          Cemetery Drive (Live Version)                     SR0000400291    Warner Bros. Records Inc.
6781 My Chemical Romance                          Dead!                                             SR0000399985    Warner Bros. Records Inc.
6801 My Chemical Romance                          Dead! (Live In Mexico)                            SR0000651990    Warner Bros. Records Inc.
6794 My Chemical Romance                          Desert Song                                       SR0000400291    Warner Bros. Records Inc.
6782 My Chemical Romance                          Disenchanted                                      SR0000399985    Warner Bros. Records Inc.
6802 My Chemical Romance                          Disenchanted (Live In Mexico)                     SR0000651990    Warner Bros. Records Inc.
6783 My Chemical Romance                          Famous Last Words                                 SR0000399985    Warner Bros. Records Inc.
6803 My Chemical Romance                          Famous Last Words (Live In Mexico)                SR0000651990    Warner Bros. Records Inc.
6767 My Chemical Romance                          Give 'Em Hell, Kid                                SR0000360197    Warner Bros. Records Inc.
6795 My Chemical Romance                          Give 'Em Hell, Kid (Live Version)                 SR0000400291    Warner Bros. Records Inc.
6768 My Chemical Romance                          Hang 'Em High                                     SR0000360197    Warner Bros. Records Inc.
6796 My Chemical Romance                          Headfirst For Halos (Live Version)                SR0000400291    Warner Bros. Records Inc.
6769 My Chemical Romance                          Helena                                            SR0000360197    Warner Bros. Records Inc.
6784 My Chemical Romance                          House Of Wolves                                   SR0000399985    Warner Bros. Records Inc.
6814 My Chemical Romance                          House Of Wolves (Live in Mexico)                  SR0000651990    Warner Bros. Records Inc.
6785 My Chemical Romance                          I Don't Love You                                  SR0000399985    Warner Bros. Records Inc.
6804 My Chemical Romance                          I Don't Love You (Live In Mexico)                 SR0000651990    Warner Bros. Records Inc.
6770 My Chemical Romance                          I Never Told You What I Do For A Living           SR0000360197    Warner Bros. Records Inc.
6797 My Chemical Romance                          I Never Told You What I Do For A Living (Demo)    SR0000400291    Warner Bros. Records Inc.
6771 My Chemical Romance                          I'm Not Okay (I Promise)                          SR0000360197    Warner Bros. Records Inc.
6772 My Chemical Romance                          Interlude                                         SR0000360197    Warner Bros. Records Inc.
6805 My Chemical Romance                          Interlude (Live In Mexico)                        SR0000651990    Warner Bros. Records Inc.
6773 My Chemical Romance                          It's Not A Fashion Statement, It's A Deathwish    SR0000360197    Warner Bros. Records Inc.
6786 My Chemical Romance                          Mama                                              SR0000399985    Warner Bros. Records Inc.
6806 My Chemical Romance                          Mama (Live In Mexico)                             SR0000651990    Warner Bros. Records Inc.
6816 My Chemical Romance                          Na Na Na (Na Na Na Na Na Na Na Na Na)             SR0000681139    Warner Bros. Records Inc.
6817 My Chemical Romance                          Planetary (GO!)                                   SR0000681139    Warner Bros. Records Inc.
6818 My Chemical Romance                          Save Yourself, I'll Hold Them Back                SR0000681139    Warner Bros. Records Inc.
6787 My Chemical Romance                          Sleep                                             SR0000399985    Warner Bros. Records Inc.
6807 My Chemical Romance                          Sleep (Live In Mexico)                            SR0000651990    Warner Bros. Records Inc.
6788 My Chemical Romance                          Teenagers                                         SR0000399985    Warner Bros. Records Inc.
6808 My Chemical Romance                          Teenagers (Live In Mexico)                        SR0000651990    Warner Bros. Records Inc.
6774 My Chemical Romance                          Thank You For The Venom                           SR0000360197    Warner Bros. Records Inc.
6798 My Chemical Romance                          Thank You For The Venom (Live Version)            SR0000400291    Warner Bros. Records Inc.
6809 My Chemical Romance                          The Black Parade Is Dead (Live In Mexico)         SR0000651990    Warner Bros. Records Inc.
6789 My Chemical Romance                          The End.                                          SR0000399985    Warner Bros. Records Inc.
6810 My Chemical Romance                          The End. (Live In Mexico)                         SR0000651990    Warner Bros. Records Inc.
6775 My Chemical Romance                          The Ghost Of You                                  SR0000360197    Warner Bros. Records Inc.
6776 My Chemical Romance                          The Jetset Life Is Gonna Kill You                 SR0000360197    Warner Bros. Records Inc.
6819 My Chemical Romance                          The Kids From Yesterday                           SR0000681139    Warner Bros. Records Inc.
6820 My Chemical Romance                          The Only Hope For Me Is You                       SR0000681139    Warner Bros. Records Inc.
6790 My Chemical Romance                          The Sharpest Lives                                SR0000399985    Warner Bros. Records Inc.
6811 My Chemical Romance                          The Sharpest Lives (Live In Mexico)               SR0000651990    Warner Bros. Records Inc.
6791 My Chemical Romance                          This Is How I Disappear                           SR0000399985    Warner Bros. Records Inc.
6812 My Chemical Romance                          This Is How I Disappear (Live In Mexico)          SR0000651990    Warner Bros. Records Inc.
6777 My Chemical Romance                          To The End                                        SR0000360197    Warner Bros. Records Inc.
6821 My Chemical Romance                          Vampire Money                                     SR0000681139    Warner Bros. Records Inc.
6792 My Chemical Romance                          Welcome To The Black Parade                       SR0000399985    Warner Bros. Records Inc.
6813 My Chemical Romance                          Welcome To The Black Parade (Live in Mexico)      SR0000651990    Warner Bros. Records Inc.
6778 My Chemical Romance                          You Know What They Do To Guys Like Us In Prison   SR0000360197    Warner Bros. Records Inc.
6832 Prince                                       1999                                              SR0000039818    Warner Bros. Records Inc.
6850 Prince                                       200 Balloons                                      SR0000112253    Warner Bros. Records Inc.



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                      Artist                                                   Track                                   Reg. No.                Plaintiff
6854 Prince                                       4 The Tears In Your Eyes                                        SR0000172034    Warner Bros. Records Inc.
6842 Prince                                       Adore                                                           SR0000082403    Warner Bros. Records Inc.
6846 Prince                                       Alphabet St.                                                    SR0000085595    Warner Bros. Records Inc.
6830 Prince                                       Controversy                                                     SR0000029922    Warner Bros. Records Inc.
6834 Prince                                       Delirious                                                       SR0000041035    Warner Bros. Records Inc.
6827 Prince                                       Dirty Mind                                                      SR0000021996    Warner Bros. Records Inc.
6831 Prince                                       Do Me, Baby                                                     SR0000030445    Warner Bros. Records Inc.
6847 Prince                                       Escape                                                          SR0000094291    Warner Bros. Records Inc.
6849 Prince                                       Feel U Up                                                       SR0000109054    Warner Bros. Records Inc.
6855 Prince                                       Gotta Stop (Messin' About)                                      SR0000172034    Warner Bros. Records Inc.
6828 Prince                                       Head                                                            SR0000021996    Warner Bros. Records Inc.
6836 Prince                                       Horny Toad                                                      SR0000049498    Warner Bros. Records Inc.
6833 Prince                                       How Come U Don't Call Me Anymore                                SR0000039818    Warner Bros. Records Inc.
6843 Prince                                       I Could Never Take The Place Of Your Man                        SR0000082403    Warner Bros. Records Inc.
6824 Prince                                       I Feel for You                                                  SR0000014281    Warner Bros. Records Inc.
6851 Prince                                       I Love U In Me                                                  SR0000113649    Warner Bros. Records Inc.
6823 Prince                                       I Wanna Be Your Lover                                           SR0000012043    Warner Bros. Records Inc.
6844 Prince                                       If I Was Your Girlfriend                                        SR0000082403    Warner Bros. Records Inc.
6837 Prince                                       Irresistible Bitch                                              SR0000050859    Warner Bros. Records Inc.
6839 Prince                                       La, La, La, He, He, Hee                                         SR0000078909    Warner Bros. Records Inc.
6835 Prince                                       Little Red Corvette                                             SR0000041035    Warner Bros. Records Inc.
6856 Prince                                       Peach                                                           SR0000172034    Warner Bros. Records Inc.
6857 Prince                                       Pink Cashmere                                                   SR0000172034    Warner Bros. Records Inc.
6858 Prince                                       Pope                                                            SR0000172034    Warner Bros. Records Inc.
6859 Prince                                       Power Fantastic                                                 SR0000172034    Warner Bros. Records Inc.
6848 Prince                                       Scarlet Pussy                                                   SR0000102073    Warner Bros. Records Inc.
6841 Prince                                       Shockadelica                                                    SR0000082213    Warner Bros. Records Inc.
6840 Prince                                       Sign 'O' The Times                                              SR0000078909    Warner Bros. Records Inc.
6822 Prince                                       Soft And Wet                                                    SR0000000839    Warner Bros. Records Inc.
6852 Prince                                       Thieves In The Temple                                           SR0000139907    Warner Bros. Records Inc.
6853 Prince                                       Thieves In The Temple (Remix Version)                           SR0000139907    Warner Bros. Records Inc.
6845 Prince                                       U Got The Look                                                  SR0000082403    Warner Bros. Records Inc.
6826 Prince                                       Uptown                                                          SR0000021987    Warner Bros. Records Inc.
6838 Prince                                       When Doves Cry                                                  SR0000054684    Warner Bros. Records Inc.
6829 Prince                                       When You Were Mine                                              SR0000021996    Warner Bros. Records Inc.
6825 Prince                                       Why You Wanna Treat Me So Bad                                   SR0000014281    Warner Bros. Records Inc.
6862 Prince & The New Power Generation            7                                                               SR0000146900    Warner Bros. Records Inc.
6860 Prince & The New Power Generation            Cream                                                           SR0000135489    Warner Bros. Records Inc.
6861 Prince & The New Power Generation            Diamonds And Pearls                                             SR0000135489    Warner Bros. Records Inc.
6864 Prince & The New Power Generation            Nothing Compares 2 U                                            SR0000172034    Warner Bros. Records Inc.
6863 Prince & The New Power Generation            Sexy M.F.                                                       SR0000146900    Warner Bros. Records Inc.
6865 Prince & The New Power Generation            Gett Off                                                        SR0000135873    Warner Bros. Records Inc.
                                                  17 Days (the rain will come down, then U will have 2 choose. If
6869 Prince And The Revolution                                                                                    SR0000054684    Warner Bros. Records Inc.
                                                  U believe, look 2 the dawn and U shall never lose)
6873 Prince And The Revolution                    Another Lonely Christmas                                        SR0000058458    Warner Bros. Records Inc.
6870 Prince And The Revolution                    Erotic City                                                     SR0000055739    Warner Bros. Records Inc.
6878 Prince And The Revolution                    Girl                                                            SR0000066585    Warner Bros. Records Inc.
6871 Prince And The Revolution                    God                                                             SR0000057169    Warner Bros. Records Inc.
6877 Prince And The Revolution                    Hello                                                           SR0000064741    Warner Bros. Records Inc.
                                                                                                                  SR0000054679;
6866 Prince And The Revolution                    I Would Die 4 U                                                                 Warner Bros. Records Inc.
                                                                                                                  SR0000055615
6879 Prince And The Revolution                    Kiss                                                            SR0000069888    Warner Bros. Records Inc.
                                                                                                                  SR0000054679;
6867 Prince And The Revolution                    Let's Go Crazy                                                                  Warner Bros. Records Inc.
                                                                                                                  SR0000055615
6874 Prince And The Revolution                    Pop Life                                                        SR0000062059    Warner Bros. Records Inc.
                                                                                                                  SR0000054679;
6868 Prince And The Revolution                    Purple Rain                                                                     Warner Bros. Records Inc.
                                                                                                                  SR0000055615
6872 Prince And The Revolution                    Purple Rain (Short Version)                                     SR0000057169    Warner Bros. Records Inc.
6875 Prince And The Revolution                    Raspberry Beret                                                 SR0000062059    Warner Bros. Records Inc.
6876 Prince And The Revolution                    She's Always In My Hair                                         SR0000062682    Warner Bros. Records Inc.
6880 Randy Travis                                 Forever And Ever, Amen                                          SR0000080879    Warner Bros. Records Inc.
6882 Red Hot Chili Peppers                        21st Century                                                    SR0000390775    Warner Bros. Records Inc.
6883 Red Hot Chili Peppers                        Animal Bar                                                      SR0000390775    Warner Bros. Records Inc.
6884 Red Hot Chili Peppers                        C'mon Girl                                                      SR0000390775    Warner Bros. Records Inc.
6885 Red Hot Chili Peppers                        Charlie                                                         SR0000390775    Warner Bros. Records Inc.
6881 Red Hot Chili Peppers                        Dani California                                                 SR0000390774    Warner Bros. Records Inc.
6886 Red Hot Chili Peppers                        Death Of A Martian                                              SR0000390775    Warner Bros. Records Inc.
6887 Red Hot Chili Peppers                        Desecration Smile                                               SR0000390775    Warner Bros. Records Inc.



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                        Artist                                              Track                                      Reg. No.                  Plaintiff
6888 Red Hot Chili Peppers                        Desecration Smile (Video)                                       SR0000390775      Warner Bros. Records Inc.
6889 Red Hot Chili Peppers                        Especially In Michigan                                          SR0000390775      Warner Bros. Records Inc.
6890 Red Hot Chili Peppers                        Hard To Concentrate                                             SR0000390775      Warner Bros. Records Inc.
6891 Red Hot Chili Peppers                        Hey                                                             SR0000390775      Warner Bros. Records Inc.
6892 Red Hot Chili Peppers                        Hump De Bump                                                    SR0000390775      Warner Bros. Records Inc.
6893 Red Hot Chili Peppers                        If                                                              SR0000390775      Warner Bros. Records Inc.
6894 Red Hot Chili Peppers                        Make You Feel Better                                            SR0000390775      Warner Bros. Records Inc.
6895 Red Hot Chili Peppers                        Readymade                                                       SR0000390775      Warner Bros. Records Inc.
6896 Red Hot Chili Peppers                        She Looks To Me                                                 SR0000390775      Warner Bros. Records Inc.
6897 Red Hot Chili Peppers                        She's Only 18                                                   SR0000390775      Warner Bros. Records Inc.
6898 Red Hot Chili Peppers                        Slow Cheetah                                                    SR0000390775      Warner Bros. Records Inc.
6899 Red Hot Chili Peppers                        Snow (Hey Oh)                                                   SR0000390775      Warner Bros. Records Inc.
6900 Red Hot Chili Peppers                        So Much I                                                       SR0000390775      Warner Bros. Records Inc.
6901 Red Hot Chili Peppers                        Stadium Arcadium                                                SR0000390775      Warner Bros. Records Inc.
6902 Red Hot Chili Peppers                        Storm In A Teacup                                               SR0000390775      Warner Bros. Records Inc.
6903 Red Hot Chili Peppers                        Strip My Mind                                                   SR0000390775      Warner Bros. Records Inc.
6904 Red Hot Chili Peppers                        Tell Me Baby                                                    SR0000390775      Warner Bros. Records Inc.
6905 Red Hot Chili Peppers                        Torture Me                                                      SR0000390775      Warner Bros. Records Inc.
6906 Red Hot Chili Peppers                        Turn It Again                                                   SR0000390775      Warner Bros. Records Inc.
6907 Red Hot Chili Peppers                        Warlocks                                                        SR0000390775      Warner Bros. Records Inc.
6908 Red Hot Chili Peppers                        We Believe                                                      SR0000390775      Warner Bros. Records Inc.
6909 Red Hot Chili Peppers                        Wet Sand                                                        SR0000390775      Warner Bros. Records Inc.
6910 The Cure                                     Let's Go To Bed                                                 SR0000045130      Warner Bros. Records Inc.
6911 The Cure                                     The Caterpillar                                                 SR0000054339      Warner Bros. Records Inc.
6912 The Staple Singers                           New Orleans                                                     N27244            Warner Bros. Records Inc.
6913 The Staples                                  Love Me, Love Me, Love Me                                       N36616            Warner Bros. Records Inc.
6914 Coldplay                                     A Rush Of Blood To The Head                                     SR0000322958      WEA International Inc.
6915 Coldplay                                     A Whisper                                                       SR0000322958      WEA International Inc.
6916 Coldplay                                     Amsterdam                                                       SR0000322958      WEA International Inc.
6931 Coldplay                                     Charlie Brown                                                   SR0000686471      WEA International Inc.
6917 Coldplay                                     Daylight                                                        SR0000322958      WEA International Inc.

6922 Coldplay                                     Everything's Not Lost (Includes Hidden Track 'Life Is For Living') SR0000328762   WEA International Inc.
6918 Coldplay                                     God Put A Smile Upon Your Face                                  SR0000322958      WEA International Inc.
6919 Coldplay                                     Green Eyes                                                      SR0000322958      WEA International Inc.
6923 Coldplay                                     High Speed                                                      SR0000328762      WEA International Inc.
6932 Coldplay                                     Lost!                                                           SRu000870150      WEA International Inc.
6929 Coldplay                                     Lovers In Japan (Osaka Sun Mix)                                 SR0000651871      WEA International Inc.
6924 Coldplay                                     Parachutes                                                      SR0000328762      WEA International Inc.
6920 Coldplay                                     Politik                                                         SR0000322958      WEA International Inc.
6925 Coldplay                                     Sparks                                                          SR0000328762      WEA International Inc.
6926 Coldplay                                     Spies                                                           SR0000328762      WEA International Inc.
6927 Coldplay                                     Trouble                                                         SR0000328762      WEA International Inc.
                                                                                                                  SRu000870150;
6933 Coldplay                                     Violet Hill                                                                       WEA International Inc.
                                                                                                                  SR0000652911
6930 Coldplay                                     Viva La Vida                                                    SR0000652909      WEA International Inc.
6921 Coldplay                                     Warning Sign                                                    SR0000322958      WEA International Inc.
6928 Coldplay                                     We Never Change                                                 SR0000328762      WEA International Inc.
                                                                                                                  N15958;
6939 David Bowie                                  1984                                                                              WEA International Inc.
                                                                                                                  RE0000918762
6958 David Bowie                                  Absolute Beginners                                              SR0000386234      WEA International Inc.
6959 David Bowie                                  Alabama Song                                                    SR0000386234      WEA International Inc.
6943 David Bowie                                  Ashes To Ashes                                                  SR0000021894      WEA International Inc.
6960 David Bowie                                  Blue Jean                                                       SR0000386234      WEA International Inc.
6954 David Bowie                                  Cat People (Putting Out Fire)                                   SR0000043560      WEA International Inc.
                                                                                                                  N32697;
6941 David Bowie                                  Changes                                                                           WEA International Inc.
                                                                                                                  RE0000919011
6948 David Bowie                                  China Girl                                                      SR0000043192      WEA International Inc.
6949 David Bowie                                  Criminal World                                                  SR0000043192      WEA International Inc.
6956 David Bowie                                  Day-In Day-Out                                                  SR0000081334      WEA International Inc.
6944 David Bowie                                  Fashion                                                         SR0000021894      WEA International Inc.
                                                                                                                  N46597;
6942 David Bowie                                  Heroes                                                                            WEA International Inc.
                                                                                                                  SR0000032243
6955 David Bowie                                  Let's Dance                                                     SR0000043560      WEA International Inc.
6961 David Bowie                                  Loving The Alien                                                SR0000386234      WEA International Inc.
6950 David Bowie                                  Modern Love                                                     SR0000043192      WEA International Inc.
                                                                                                                  N01548;
6934 David Bowie                                  Moonage Daydream                                                                  WEA International Inc.
                                                                                                                  RE0000919238



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                         Artist                                              Track                          Reg. No.                Plaintiff
6951 David Bowie                                  Ricochet                                             SR0000043192    WEA International Inc.
6945 David Bowie                                  Scary Monsters (And Super Creeps)                    SR0000021894    WEA International Inc.
6952 David Bowie                                  Shake It                                             SR0000043192    WEA International Inc.
6937 David Bowie                                  Sorrow                                               N14159          WEA International Inc.
6947 David Bowie                                  Space Oddity                                         SR0000028765    WEA International Inc.
                                                                                                       N01548;
6935 David Bowie                                  Starman                                                              WEA International Inc.
                                                                                                       RE0000919238
6962 David Bowie                                  The Drowned Girl                                     SR0000386234    WEA International Inc.
                                                                                                       N06581;
6936 David Bowie                                  The Jean Genie                                                       WEA International Inc.
                                                                                                       RE0000918856
6957 David Bowie                                  Time Will Crawl                                      SR0000081334    WEA International Inc.
6946 David Bowie                                  Up The Hill Backwards                                SR0000021894    WEA International Inc.
6963 David Bowie                                  When The Wind Blows                                  SR0000386234    WEA International Inc.
6953 David Bowie                                  Without You                                          SR0000043192    WEA International Inc.
                                                                                                       N22804;
6940 David Bowie                                  Young Americans                                                      WEA International Inc.
                                                                                                       SR0000032244
                                                                                                       N1548;
6938 David Bowie                                  Ziggy Stardust                                                       WEA International Inc.
                                                                                                       RE0000919238
6970 David Guetta                                 Always                                               SR0000660688    WEA International Inc.
6971 David Guetta                                 Baby When The Light                                  SR0000660688    WEA International Inc.
6987 David Guetta                                 Crank It Up                                          SR0000683523    WEA International Inc.
6972 David Guetta                                 Delirious                                            SR0000660688    WEA International Inc.
6973 David Guetta                                 Do Something Love                                    SR0000660688    WEA International Inc.
6979 David Guetta                                 Don't Be Afraid                                      SR0000679879    WEA International Inc.
6974 David Guetta                                 Everytime We Touch                                   SR0000660688    WEA International Inc.
6968 David Guetta                                 Gettin' Over                                         SR0000649229    WEA International Inc.
6977 David Guetta                                 Gettin' Over You                                     SR0000678038    WEA International Inc.
6988 David Guetta                                 I Can Only Imagine                                   SR0000683523    WEA International Inc.
6978 David Guetta                                 I Gotta Feeling (FMIF Remix Edit)                    SR0000678038    WEA International Inc.
6989 David Guetta                                 I Just Wanna F.                                      SR0000683523    WEA International Inc.
6995 David Guetta                                 In Love With Myself                                  SR0000699709    WEA International Inc.
6999 David Guetta                                 In My Head                                           SR0000712148    WEA International Inc.
7000 David Guetta                                 Just One Last Time                                   SR0000712148    WEA International Inc.
6986 David Guetta                                 Little Bad Girl                                      SR0000683522    WEA International Inc.
6980 David Guetta                                 Love Don't Let Me Go (Walking Away)                  SR0000679879    WEA International Inc.
6969 David Guetta                                 Love Is Gone (Fred Rister & Joachim Garraud Remix)   SR0000655935    WEA International Inc.
6984 David Guetta                                 Lunar                                                SR0000683520    WEA International Inc.
6964 David Guetta                                 Memories                                             SR0000643286    WEA International Inc.
7001 David Guetta                                 Metropolis (Edit)                                    SR0000712148    WEA International Inc.
6996 David Guetta                                 Money                                                SR0000699709    WEA International Inc.
6983 David Guetta                                 Night Of Your Life                                   SR0000683519    WEA International Inc.
6990 David Guetta                                 Nothing Really Matters                               SR0000683523    WEA International Inc.
6967 David Guetta                                 One Love                                             SR0000649227    WEA International Inc.
7002 David Guetta                                 Play Hard                                            SR0000712148    WEA International Inc.
6991 David Guetta                                 Repeat                                               SR0000683523    WEA International Inc.
6966 David Guetta                                 Sexy Bitch                                           SR0000649218    WEA International Inc.
7003 David Guetta                                 She Wolf (Falling to Pieces)                         SR0000712148    WEA International Inc.
6997 David Guetta                                 Stay                                                 SR0000699709    WEA International Inc.
7004 David Guetta                                 Sunshine (Edit)                                      SR0000712148    WEA International Inc.
6985 David Guetta                                 Sweat                                                SR0000683521    WEA International Inc.
6976 David Guetta                                 The World Is Mine                                    SR0000665798    WEA International Inc.
6998 David Guetta                                 Time                                                 SR0000699709    WEA International Inc.
6982 David Guetta                                 Titanium                                             SR0000683518    WEA International Inc.
6992 David Guetta                                 Turn Me On                                           SR0000683523    WEA International Inc.
6994 David Guetta                                 Turn Me On (Sidney Samson Remix)                     SR0000695541    WEA International Inc.
7005 David Guetta                                 What the F***                                        SR0000712148    WEA International Inc.
6965 David Guetta                                 When Love Takes Over                                 SR0000643600    WEA International Inc.
6981 David Guetta                                 Where Them Girls At                                  SR0000683517    WEA International Inc.
6975 David Guetta                                 Winner Of The Game                                   SR0000660688    WEA International Inc.
6993 David Guetta                                 Without You                                          SR0000683523    WEA International Inc.
7006 Ed Sheeran                                   Don't                                                SR0000411792    WEA International Inc.
7007 Ed Sheeran                                   Drunk                                                SR0000704259    WEA International Inc.
7008 Ed Sheeran                                   Give Me Love                                         SR0000704259    WEA International Inc.
7009 Ed Sheeran                                   Grade 8                                              SR0000704259    WEA International Inc.
7010 Ed Sheeran                                   Lego House                                           SR0000704259    WEA International Inc.
7011 Ed Sheeran                                   Small Bump                                           SR0000704259    WEA International Inc.
7012 Ed Sheeran                                   The A Team                                           SR0000704259    WEA International Inc.
7013 Ed Sheeran                                   The City                                             SR0000704259    WEA International Inc.



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                         Artist                                              Track                        Reg. No.                Plaintiff
7014 Ed Sheeran                                   This                                               SR0000704259    WEA International Inc.
7015 Ed Sheeran                                   U.N.I.                                             SR0000704259    WEA International Inc.
7016 Ed Sheeran                                   Wake Me Up                                         SR0000704259    WEA International Inc.
7017 Ed Sheeran                                   You Need Me, I Don't Need You                      SR0000704259    WEA International Inc.
7034 Gorillaz                                     5/4                                                SR0000409208    WEA International Inc.
7035 Gorillaz                                     19-2000                                            SR0000409208    WEA International Inc.
                                                                                                     SR0000379135;
7021 Gorillaz                                     All Alone                                                          WEA International Inc.
                                                                                                     SRu000573812
7036 Gorillaz                                     Clint Eastwood                                     SR0000409208    WEA International Inc.
                                                                                                     SR0000379135;
7022 Gorillaz                                     DARE                                                               WEA International Inc.
                                                                                                     SRu000573812
                                                                                                     SR0000379135;
7023 Gorillaz                                     Demon Days                                                         WEA International Inc.
                                                                                                     SRu000573812
                                                                                                     SR0000379135;
7024 Gorillaz                                     Dirty Harry                                                        WEA International Inc.
                                                                                                     SRu000573812
                                                                                                     SR0000379135;
7025 Gorillaz                                     Don't Get Lost In Heaven                                           WEA International Inc.
                                                                                                     SRu000573812
                                                                                                     SR0000379135;
7026 Gorillaz                                     El Mañana                                                          WEA International Inc.
                                                                                                     SRu000573812
                                                                                                     SR0000379135;
7027 Gorillaz                                     Every Planet We Reach Is Dead                                      WEA International Inc.
                                                                                                     SRu000573812
                                                                                                     SR0000379134;
7020 Gorillaz                                     Feel Good Inc.                                                     WEA International Inc.
                                                                                                     SRu000573812
                                                                                                     SR0000379135;
7028 Gorillaz                                     Fire Coming Out Of The Monkey's Head                               WEA International Inc.
                                                                                                     SRu000573812
7038 Gorillaz                                     Hong Kong                                          SR0000614363    WEA International Inc.
                                                                                                     SR0000379135;
7029 Gorillaz                                     Kids With Guns                                                     WEA International Inc.
                                                                                                     SRu000573812
                                                                                                     SR0000379135;
7030 Gorillaz                                     Last Living Souls                                                  WEA International Inc.
                                                                                                     SRu000573812
                                                                                                     SR0000379135;
7031 Gorillaz                                     November Has Come                                                  WEA International Inc.
                                                                                                     SRu000573812
                                                                                                     SR0000379135;
7032 Gorillaz                                     O Green World                                                      WEA International Inc.
                                                                                                     SRu000573812
7042 Gorillaz                                     On Melancholy Hill                                 SR0000650312    WEA International Inc.
7039 Gorillaz                                     People                                             SR0000614363    WEA International Inc.
7037 Gorillaz                                     Re-Hash                                            SR0000409208    WEA International Inc.
7043 Gorillaz                                     Rhinestone Eyes                                    SR0000650312    WEA International Inc.
7018 Gorillaz                                     Rock The House                                     SR0000371589    WEA International Inc.
7040 Gorillaz                                     Rockit                                             SR0000614363    WEA International Inc.
7041 Gorillaz                                     Stylo                                              SR0000650310    WEA International Inc.
7044 Gorillaz                                     Superfast Jellyfish                                SR0000650312    WEA International Inc.
7019 Gorillaz                                     Tomorrow Comes Today                               SR0000373824    WEA International Inc.
                                                                                                     SR0000379135;
7033 Gorillaz                                     White Light                                                        WEA International Inc.
                                                                                                     SRu000573812
7045 Jarabe de Palo                               La Flaca                                           SR0000249379    WEA International Inc.
7055 Muse                                         Assassin                                           SR0000400299    WEA International Inc.
7046 Muse                                         Bliss                                              SR0000383074    WEA International Inc.
7047 Muse                                         Citizen Erased                                     SR0000383074    WEA International Inc.
7056 Muse                                         City Of Delusion                                   SR0000400299    WEA International Inc.
7057 Muse                                         Exo-Politics                                       SR0000400299    WEA International Inc.
7048 Muse                                         Feeling Good                                       SR0000383074    WEA International Inc.
7058 Muse                                         Hoodoo                                             SR0000400299    WEA International Inc.
7049 Muse                                         Hyper Music                                        SR0000383074    WEA International Inc.
7059 Muse                                         Invincible                                         SR0000400299    WEA International Inc.
7060 Muse                                         Knights Of Cydonia                                 SR0000400299    WEA International Inc.
7061 Muse                                         Map Of The Problematique                           SR0000400299    WEA International Inc.
7050 Muse                                         Megalomania                                        SR0000383074    WEA International Inc.
7051 Muse                                         Micro Cuts                                         SR0000383074    WEA International Inc.
7052 Muse                                         New Born                                           SR0000383074    WEA International Inc.
7053 Muse                                         Plug In Baby                                       SR0000383074    WEA International Inc.
7066 Muse                                         Prelude                                            SR0000721619    WEA International Inc.
7062 Muse                                         Soldier's Poem                                     SR0000400299    WEA International Inc.
7063 Muse                                         Starlight                                          SR0000400299    WEA International Inc.
7054 Muse                                         Supermassive Black Hole                            SR0000400298    WEA International Inc.
7067 Muse                                         The 2nd Law: Unsustainable                         SR0000721619    WEA International Inc.
7064 Muse                                         United States Of Eurasia (+Collateral Damage)      SR0000682053    WEA International Inc.
7065 Muse                                         Uprising                                           SR0000682053    WEA International Inc.



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                      Artist                                                  Track                            Reg. No.                Plaintiff
7068 Space Monkeyz vs. Gorillaz                   Lil' Dub Chefin'                                        SR0000336541    WEA International Inc.
7069 Tinie Tempah                                 Written In The Stars                                    SR0000680992    WEA International Inc.
7070 Backstreet Boys                              All I Have To Give                                      SR0000250678    Zomba Recording LLC
7071 Backstreet Boys                              As Long As You Love Me                                  SR0000250678    Zomba Recording LLC
7072 Backstreet Boys                              Drowning                                                SR0000291879    Zomba Recording LLC
7073 Backstreet Boys                              Everybody (Backstreet's Back)                           SR0000254065    Zomba Recording LLC
7074 Backstreet Boys                              I Want It That Way                                      SR0000275134    Zomba Recording LLC
7075 Backstreet Boys                              I'll Never Break Your Heart                             SR0000250678    Zomba Recording LLC
7076 Backstreet Boys                              Larger Than Life                                        SR0000275134    Zomba Recording LLC
7077 Backstreet Boys                              More Than That                                          SR0000289455    Zomba Recording LLC
7078 Backstreet Boys                              Quit Playing Games (With My Heart)                      SR0000250678    Zomba Recording LLC
7079 Backstreet Boys                              Shape Of My Heart                                       SR0000289455    Zomba Recording LLC
7080 Backstreet Boys                              Show Me The Meaning Of Being Lonely                     SR0000275134    Zomba Recording LLC
7081 Backstreet Boys                              The Call                                                SR0000289455    Zomba Recording LLC
7082 Backstreet Boys                              The One                                                 SR0000275134    Zomba Recording LLC
7083 Bowling For Soup                             1985                                                    SR0000361081    Zomba Recording LLC
7084 Bowling For Soup                             A-hole                                                  SR0000361081    Zomba Recording LLC
7085 Bowling For Soup                             Almost                                                  SR0000361081    Zomba Recording LLC
7086 Bowling For Soup                             Down For The Count                                      SR0000361081    Zomba Recording LLC
7087 Bowling For Soup                             Friends O' Mine                                         SR0000361081    Zomba Recording LLC
7088 Bowling For Soup                             Get Happy                                               SR0000361081    Zomba Recording LLC
7089 Bowling For Soup                             Last Call Casualty                                      SR0000361081    Zomba Recording LLC
7090 Bowling For Soup                             My Hometown                                             SR0000361081    Zomba Recording LLC
7091 Bowling For Soup                             Next Ex-Girlfriend                                      SR0000361081    Zomba Recording LLC
7092 Bowling For Soup                             Ohio                                                    SR0000361081    Zomba Recording LLC
7093 Bowling For Soup                             Really Might Be Gone                                    SR0000361081    Zomba Recording LLC
7094 Bowling For Soup                             Ridiculous                                              SR0000361081    Zomba Recording LLC
7095 Bowling For Soup                             Sad Sad Situation                                       SR0000361081    Zomba Recording LLC
7096 Bowling For Soup                             Shut-Up And Smile                                       SR0000361081    Zomba Recording LLC
7097 Bowling For Soup                             Smoothie King                                           SR0000361081    Zomba Recording LLC
7098 Bowling For Soup                             Trucker Hat                                             SR0000361081    Zomba Recording LLC
7099 Bowling For Soup                             Two-Seater                                              SR0000361081    Zomba Recording LLC
7100 Britney Spears                               (I've Just Begun) Having My Fun                         SR0000361774    Zomba Recording LLC
7101 Britney Spears                               (You Drive Me) Crazy                                    SR0000260870    Zomba Recording LLC
7102 Britney Spears                               Amnesia                                                 SR0000620789    Zomba Recording LLC
7103 Britney Spears                               Baby One More Time                                      SR0000260870    Zomba Recording LLC
7104 Britney Spears                               Blur                                                    SR0000620789    Zomba Recording LLC
7105 Britney Spears                               Born to Make You Happy                                  SR0000260870    Zomba Recording LLC
7106 Britney Spears                               Brave New Girl                                          SR0000335267    Zomba Recording LLC
7107 Britney Spears                               Circus                                                  SR0000620789    Zomba Recording LLC
7108 Britney Spears                               Don't Let Me Be The Last One To Know                    SR0000285667    Zomba Recording LLC
7109 Britney Spears                               Early Mornin'                                           SR0000335267    Zomba Recording LLC
7110 Britney Spears                               Everytime                                               SR0000335267    Zomba Recording LLC
7111 Britney Spears                               Gimme More                                              SR0000609441    Zomba Recording LLC
7112 Britney Spears                               I Love Rock 'N' Roll                                    SR0000301907    Zomba Recording LLC
7113 Britney Spears                               I'm a Slave 4 U                                         SR0000301907    Zomba Recording LLC
7114 Britney Spears                               I'm Not a Girl, Not Yet A Woman                         SR0000301907    Zomba Recording LLC
7115 Britney Spears                               If U Seek Amy                                           SR0000620789    Zomba Recording LLC
7116 Britney Spears                               Kill The Lights                                         SR0000620789    Zomba Recording LLC
7117 Britney Spears                               Lace and Leather                                        SR0000620789    Zomba Recording LLC
7118 Britney Spears                               Lucky                                                   SR0000285667    Zomba Recording LLC
7119 Britney Spears                               Mannequin                                               SR0000620789    Zomba Recording LLC
7120 Britney Spears                               Me Against The Music (Rishi Rich's Desi Kulcha Remix)   SR0000335267    Zomba Recording LLC
7121 Britney Spears                               Mmm Papi                                                SR0000620789    Zomba Recording LLC
7122 Britney Spears                               My Baby                                                 SR0000620789    Zomba Recording LLC
7123 Britney Spears                               My Prerogative                                          SR0000361774    Zomba Recording LLC
7124 Britney Spears                               Oops I Did It Again                                     SR0000285667    Zomba Recording LLC
7125 Britney Spears                               Out From Under                                          SR0000620789    Zomba Recording LLC
7126 Britney Spears                               Outrageous                                              SR0000335267    Zomba Recording LLC
7127 Britney Spears                               Overprotected                                           SR0000301907    Zomba Recording LLC
7128 Britney Spears                               Phonography                                             SR0000620789    Zomba Recording LLC
7129 Britney Spears                               Piece Of Me                                             SR0000609604    Zomba Recording LLC
7130 Britney Spears                               Radar                                                   SR0000609604    Zomba Recording LLC
7131 Britney Spears                               Rock Me In                                              SR0000620789    Zomba Recording LLC
7132 Britney Spears                               Shadow                                                  SR0000335267    Zomba Recording LLC
7133 Britney Spears                               Shattered Glass                                         SR0000609604    Zomba Recording LLC
7134 Britney Spears                               Showdown                                                SR0000335267    Zomba Recording LLC
7135 Britney Spears                               Sometimes                                               SR0000260870    Zomba Recording LLC



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                          Artist                                              Track                         Reg. No.               Plaintiff
7136 Britney Spears                               The Hook Up                                          SR0000335267    Zomba Recording LLC
7137 Britney Spears                               Touch Of My Hand                                     SR0000335267    Zomba Recording LLC
7138 Britney Spears                               Toxic                                                SR0000335267    Zomba Recording LLC
7139 Britney Spears                               Unusual You                                          SR0000620789    Zomba Recording LLC
7140 Britney Spears                               Womanizer                                            PA0001619000    Zomba Recording LLC
7141 Britney Spears                               (I Got That) Boom Boom                               SR0000335267    Zomba Recording LLC
7142 Britney Spears                               Boys                                                 SR0000301907    Zomba Recording LLC
7143 Britney Spears                               Breathe On Me                                        SR0000335267    Zomba Recording LLC
7144 Britney Spears                               Me Against the Music                                 SR0000335267    Zomba Recording LLC
7145 Chris Brown                                  Damage                                               SR0000630132    Zomba Recording LLC
7146 Chris Brown                                  Down                                                 SR0000630132    Zomba Recording LLC
7147 Chris Brown                                  Forever                                              SR0000613921    Zomba Recording LLC
7148 Chris Brown                                  Gimme Whatcha Got                                    SR0000630132    Zomba Recording LLC
7149 Chris Brown                                  Heart Ain't A Brain                                  SR0000613921    Zomba Recording LLC
7150 Chris Brown                                  Help Me                                              SR0000630132    Zomba Recording LLC
7151 Chris Brown                                  Hold Up                                              SR0000630132    Zomba Recording LLC
7152 Chris Brown                                  I Wanna Be                                           SR0000630132    Zomba Recording LLC
7153 Chris Brown                                  I'll Call Ya                                         SR0000630132    Zomba Recording LLC
7154 Chris Brown                                  Kiss Kiss                                            SR0000630132    Zomba Recording LLC
7155 Chris Brown                                  Lottery                                              SR0000630132    Zomba Recording LLC
7156 Chris Brown                                  Nice                                                 SR0000630132    Zomba Recording LLC
7157 Chris Brown                                  Picture Perfect                                      SR0000630132    Zomba Recording LLC
7158 Chris Brown                                  Superhuman                                           SR0000613921    Zomba Recording LLC
7159 Chris Brown                                  Take You Down                                        SR0000630132    Zomba Recording LLC
7160 Chris Brown                                  Throwed                                              SR0000630132    Zomba Recording LLC
7161 Chris Brown                                  Wall To Wall                                         PA0001634637    Zomba Recording LLC
7162 Chris Brown                                  With You                                             SR0000630132    Zomba Recording LLC
7163 Chris Brown                                  You                                                  SR0000630132    Zomba Recording LLC
7164 Ciara                                        And I                                                SR0000355316    Zomba Recording LLC
7165 Ciara                                        Crazy                                                SR0000355316    Zomba Recording LLC
7166 Ciara                                        Goodies                                              SR0000355316    Zomba Recording LLC
7167 Ciara                                        Hotline                                              SR0000355316    Zomba Recording LLC
7168 Ciara                                        Lookin' At You                                       SR0000355316    Zomba Recording LLC
7169 Ciara                                        Ooh Baby                                             SR0000355316    Zomba Recording LLC
7170 Ciara                                        Other Chicks                                         SR0000355316    Zomba Recording LLC
7171 Ciara                                        Pick Up The Phone                                    SR0000355316    Zomba Recording LLC
7172 Ciara                                        The Title                                            SR0000355316    Zomba Recording LLC
7173 Ciara                                        Thug Style                                           SR0000355316    Zomba Recording LLC
7174 Ciara feat. Missy Elliott                    One, Two Step                                        SR0000355316    Zomba Recording LLC
7175 Ciara feat. R. Kelly                         Next To You                                          SR0000355316    Zomba Recording LLC
7176 Donell Jones featuring Left-Eye              U Know What's Up                                     PA0001280927    Zomba Recording LLC
7177 Justin Timberlake                            (And She Said) Take Me Now                           SR0000319834    Zomba Recording LLC
7178 Justin Timberlake                            (Oh No) What You Got                                 SR0000319834    Zomba Recording LLC
7179 Justin Timberlake                            Cry Me A River                                       SR0000319834    Zomba Recording LLC
7180 Justin Timberlake                            Last Night                                           SR0000319834    Zomba Recording LLC
7181 Justin Timberlake                            Let's Take A Ride                                    SR0000319834    Zomba Recording LLC
7182 Justin Timberlake                            Like I Love You                                      SR0000321888    Zomba Recording LLC
7183 Justin Timberlake                            Lovestoned/I Think She Knows                         SR0000395943    Zomba Recording LLC
7184 Justin Timberlake                            Medley: Sexy Ladies / Let Me Talk to You (Prelude)   SR0000395943    Zomba Recording LLC
7185 Justin Timberlake                            Never Again                                          SR0000319834    Zomba Recording LLC
7186 Justin Timberlake                            Nothin' Else                                         SR0000319834    Zomba Recording LLC
7187 Justin Timberlake                            Right For Me                                         SR0000319834    Zomba Recording LLC
7188 Justin Timberlake                            Rock Your Body                                       SR0000319834    Zomba Recording LLC
7189 Justin Timberlake                            Senorita                                             SR0000319834    Zomba Recording LLC
7190 Justin Timberlake                            Still On My Brain                                    SR0000319834    Zomba Recording LLC
7191 Justin Timberlake                            Take It From Here                                    SR0000319834    Zomba Recording LLC
7192 Justin Timberlake                            What Goes Around... Comes Around                     SR0000395943    Zomba Recording LLC
7193 Three Days Grace                             Born Like This                                       SR0000338429    Zomba Recording LLC
7194 Three Days Grace                             Burn                                                 SR0000338429    Zomba Recording LLC
7195 Three Days Grace                             Drown                                                SR0000338429    Zomba Recording LLC
7196 Three Days Grace                             Get Out Alive                                        SR0000397604    Zomba Recording LLC
7197 Three Days Grace                             Gone Forever                                         SR0000397604    Zomba Recording LLC
7198 Three Days Grace                             I Hate Everything About You                          SR0000338429    Zomba Recording LLC
7199 Three Days Grace                             It's All Over                                        SR0000397604    Zomba Recording LLC
7200 Three Days Grace                             Just Like You                                        SR0000338429    Zomba Recording LLC
7201 Three Days Grace                             Let It Die                                           SR0000397604    Zomba Recording LLC
7202 Three Days Grace                             Let You Down                                         SR0000338429    Zomba Recording LLC
7203 Three Days Grace                             Never Too Late                                       SR0000397604    Zomba Recording LLC



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                       Artist                                                  Track                    Reg. No.               Plaintiff
7204 Three Days Grace                             Now or Never                                     SR0000338429    Zomba Recording LLC
7205 Three Days Grace                             On My Own                                        SR0000397604    Zomba Recording LLC
7206 Three Days Grace                             One X                                            SR0000397604    Zomba Recording LLC
7207 Three Days Grace                             Over And Over                                    SR0000397604    Zomba Recording LLC
7208 Three Days Grace                             Overrated                                        SR0000338429    Zomba Recording LLC
7209 Three Days Grace                             Riot                                             SR0000397604    Zomba Recording LLC
7210 Three Days Grace                             Scared                                           SR0000338429    Zomba Recording LLC
7211 Three Days Grace                             Take Me Under                                    SR0000338429    Zomba Recording LLC
7212 Three Days Grace                             Time Of Dying                                    SR0000397604    Zomba Recording LLC
7213 Three Days Grace                             Wake Up                                          SR0000338429    Zomba Recording LLC
7214 UGK (Underground Kingz)                      Int'l Players Anthem (I Choose You)              PA0001634651    Zomba Recording LLC
7215 Usher                                        Confessions Part II (Remix)                      SR0000352165    Zomba Recording LLC
7216 Usher                                        My Boo                                           SR0000352165    Zomba Recording LLC
7217 Usher                                        Red Light                                        SR0000352165    Zomba Recording LLC
7218 Usher                                        Seduction                                        SR0000352165    Zomba Recording LLC
7219 Weird Al Yankovic                            Albuquerque                                      SR0000275219    Zomba Recording LLC
7220 Weird Al Yankovic                            Germs                                            SR0000275219    Zomba Recording LLC
7221 Weird Al Yankovic                            Grapefruit Diet                                  SR0000275219    Zomba Recording LLC
7222 Weird Al Yankovic                            It's All About The Pentiums                      SR0000275219    Zomba Recording LLC
7223 Weird Al Yankovic                            Jerry Springer                                   SR0000275219    Zomba Recording LLC
7224 Weird Al Yankovic                            My Baby's In Love With Eddie Vedder              SR0000275219    Zomba Recording LLC
7225 Weird Al Yankovic                            Polka Power!                                     SR0000275219    Zomba Recording LLC
7226 Weird Al Yankovic                            Pretty Fly For A Rabbi                           SR0000275219    Zomba Recording LLC
7227 Weird Al Yankovic                            The Saga Begins                                  SR0000275219    Zomba Recording LLC
7228 Weird Al Yankovic                            The Weird Al Show Theme                          SR0000275219    Zomba Recording LLC
7229 Weird Al Yankovic                            Truck Drivin' Song                               SR0000275219    Zomba Recording LLC
7230 Weird Al Yankovic                            Your Horoscope For Today                         SR0000275219    Zomba Recording LLC
7231 Whodini                                      Big Mouth                                        SR0000063110    Zomba Recording LLC
7232 Whodini                                      Escape (I Need A Break)                          SR0000063110    Zomba Recording LLC
7233 Whodini                                      Five Minutes Of Funk                             SR0000060859    Zomba Recording LLC
7234 Whodini                                      Freaks Come Out At Night                         SR0000063110    Zomba Recording LLC
7235 Whodini                                      Friends                                          SR0000060859    Zomba Recording LLC




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                               EXHIBIT B
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                                                                     EXHIBIT B - MUSICAL COMPOSITIONS

                                 Track                                 Reg. No.                                            Plaintiff
  1   Pink                                                         PA0000849817      Colgems-EMI Music Inc.
                                                                   PA0001207060
  2   Guilty Conscience                                                              Colgems-EMI Music Inc. / WB Music Corp.
                                                                   PA0000954422
  3   Freak Like Me                                                PA0001158289      Colgems-EMI Music, Inc. / Screen Gems-EMI Music, Inc.
  4   Throw It On Me                                               PA0001760173      Cotillion Music, Inc.
                                                                   Eu0000964275
  5   When Something Is Wrong With My Baby                                           Cotillion Music, Inc.
                                                                   RE0000654514
  6   Kids Say the Darndest Things                                 PA0000310031      EMI Algee Music Corp.
  7   Fertilizer                                                   PA0001830370      EMI April Music Inc
  8   (515)                                                        PA0001062108      EMI April Music Inc.
  9   (sic)                                                        PA0001040104      EMI April Music Inc.
 10   2 Man Show                                                   PA0001591430      EMI April Music Inc.
 11   50 Ways To Say Goodbye                                       PA0001799437      EMI April Music Inc.
 12   A New Beginning                                              PA0001111289      EMI April Music Inc.
 13   All I Need                                                   PA0001104579      EMI April Music Inc.
 14   All I Wanted Was a Car                                       PA0001167812      EMI April Music Inc.
 15   All That I Am                                                PA0001161185      EMI April Music Inc.
 16   All Your Reasons                                             PA0001588610      EMI April Music Inc.
 17   Another One                                                  PA0001648125      EMI April Music Inc.
 18   Be The One                                                   PA0000795267      EMI April Music Inc.
 19   Before I Forget                                              PA0001231062      EMI April Music Inc.
 20   Book Of John                                                 PA0001910898      EMI April Music Inc.
 21   Break Your Heart                                             PA0001687491      EMI April Music Inc.
 22   Bust Your Windows                                            PA0001640781      EMI April Music Inc.
 23   By Your Side                                                 PA0001159519      EMI April Music Inc.
 24   Can U Handle It?                                             PA0001159345      EMI April Music Inc.
 25   Caught Up                                                    PA0001159081      EMI April Music Inc.
 26   Choose                                                       PA0001157849      EMI April Music Inc.
 27   Cleveland Is The City                                        PA0001105255      EMI April Music Inc.
 28   Cold Case Love                                               PA0001704466      EMI April Music Inc.
 29   Count On You                                                 PA0001726662      EMI April Music Inc.
 30   Crazy World                                                  PA0001831285      EMI April Music Inc.
 31   Creep                                                        PA0000797832      EMI April Music Inc.
 32   Dance With My Father                                         PA0001105451      EMI April Music Inc.
 33   dearjohn                                                     PA0001624582      EMI April Music Inc.
 34   Digital (Did You Tell)                                       PA0001722498      EMI April Music Inc.
 35   Dilemma                                                      PA0001073273      EMI April Music Inc.
 36   Dirt                                                         PA0001640796      EMI April Music Inc.
 37   Do The Right Thang                                           PA0001706726      EMI April Music Inc.
 38   Dress On                                                     PA0001843834      EMI April Music Inc.
 39   Drips                                                        PA0001092246      EMI April Music Inc.
 40   Drive By                                                     PA0001799432      EMI April Music Inc.
 41   Duality                                                      PA0001231062      EMI April Music Inc.
 42   Ego Tripping Out                                             PA0000065832      EMI April Music Inc.
 43   Elevate                                                      PA0001825038      EMI April Music Inc.
 44   Epiphany                                                     PA0001648126      EMI April Music Inc.
 45   Ever The Same                                                PA0001161186      EMI April Music Inc.
 46   Every Now And Then                                           PA0001131589      EMI April Music Inc.
 47   Everybody Needs Love                                         PA0001738398      EMI April Music Inc.
 48   Everything Ends                                              PA0001102120      EMI April Music Inc.
 49   Eyeless                                                      PA0000965864      EMI April Music Inc.
 50   Fall                                                         PA0001920169      EMI April Music Inc.
 51   Fallin' To Pieces                                            PA0001161187      EMI April Music Inc.
 52   Fantasy                                                      PA0001167356      EMI April Music Inc.
 53   Follow Me                                                    PA0001159084      EMI April Music Inc.
 54   Follow My Life                                               PA0001131993      EMI April Music Inc.
 55   G Is For Girl (A-Z)                                          PA0001649993      EMI April Music Inc.
 56   Get In My Car                                                PA0001723647      EMI April Music Inc.
 57   Get Inside                                                   PA0001115051      EMI April Music Inc.
 58   Get Up Get Down                                              PA0001839489      EMI April Music Inc.
 59   Go                                                           PA0001735199      EMI April Music Inc.
 60   God Bless                                                    PA0001111571      EMI April Music Inc.
 61   God In Me                                                    PA0001640766      EMI April Music Inc.
 62   Gone Be Fine                                                 PA0000914750      EMI April Music Inc.
 63   Good Girl                                                    PA0001807727      EMI April Music Inc.
 64   Good Girls Go Bad                                            PA0001167699      EMI April Music Inc.
 65   Guilty                                                       PA0001807273      EMI April Music Inc.
 66   Hand Me Down                                                 PA0001104642      EMI April Music Inc.




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                                                                     EXHIBIT B - MUSICAL COMPOSITIONS

                                  Track                                Reg. No.                             Plaintiff
  67   Heart Ain't A Brain                                         PA0001885554      EMI April Music Inc.
  68   Heaven Sent                                                 PA0001395845      EMI April Music Inc.
  69   Hell & Consequences                                         PA0001165079      EMI April Music Inc.
  70   Hero/Heroine                                                PA0001165802      EMI April Music Inc.
  71   How Far We've Come                                          PA0001588613      EMI April Music Inc.
  72   How Far We've Come (Remix)                                  PA0001588613      EMI April Music Inc.
  73   How I Feel                                                  PA0001159657      EMI April Music Inc.
  74   How Long                                                    PA0001850276      EMI April Music Inc.
  75   Human                                                       PA0001625982      EMI April Music Inc.
  76   I Can't Wait To Meetchu                                     PA0000986835      EMI April Music Inc.
  77   I Gotta Feeling                                             PA0001396542      EMI April Music Inc.
  78   I Miss You                                                  PA0000978102      EMI April Music Inc.
  79   I Wanna Be                                                  PA0001589983      EMI April Music Inc.
  80   I Will                                                      PA0001850366      EMI April Music Inc.
  81   I Wish                                                      PA0001813030      EMI April Music Inc.
  82   I'll Believe You When                                       PA0001588615      EMI April Music Inc.
  83   I'm Okay                                                    PA0001648136      EMI April Music Inc.
  84   I'm Running                                                 PA0001640785      EMI April Music Inc.
  85   I've Committed Murder                                       PA0000976706      EMI April Music Inc.
  86   If I Fall                                                   PA0001588611      EMI April Music Inc.
  87   If You're Out There                                         PA0001646374      EMI April Music Inc.
  88   In God's Hands                                              PA0001164471      EMI April Music Inc.
  89   Inhale                                                      PA0001115050      EMI April Music Inc.
  90   Innocence                                                   PA0001194022      EMI April Music Inc.
  91   Jane Doe                                                    PA0001065078      EMI April Music Inc.
  92   Kissed It                                                   PA0001737022      EMI April Music Inc.
  93   Land of the Snakes                                          PA0001975666      EMI April Music Inc.
  94   Lately                                                      PA0001737021      EMI April Music Inc.
  95   Leaving California                                          PA0001831261      EMI April Music Inc.
  96   Left Behind                                                 PA0001102120      EMI April Music Inc.
  97   Lesson Learned                                              PA0001590133      EMI April Music Inc.
  98   Let Me Love You                                             PA0001160636      EMI April Music Inc.
  99   Let's Go Out Tonight                                        PA0001166136      EMI April Music Inc.
 100   Life Of The Party                                           PA0001831259      EMI April Music Inc.
 101   Lifes On The Line                                           PA0001147481      EMI April Music Inc.
 102   Lifestyles Of The Rich & Famous                             PA0001113696      EMI April Music Inc.
 103   Like Sugar                                                  PA0001850238      EMI April Music Inc.
 104   Lions, Tigers & Bears                                       PA0001640779      EMI April Music Inc.
 105   Little Girl                                                 PA0001111575      EMI April Music Inc.
 106   Live A Lie                                                  PA0001640780      EMI April Music Inc.
 107   London Bridge                                               PA0001165471      EMI April Music Inc.
 108   Lonely No More                                              PA0001161188      EMI April Music Inc.
 109   Love Drunk                                                  PA0001735247      EMI April Music Inc.
 110   Love Sex Magic                                              PA0001649982      EMI April Music Inc.
 111   loveofmylife                                                PA0001625858      EMI April Music Inc.
 112   Luxurious                                                   PA0001160424      EMI April Music Inc.
 113   Made Of Scars                                               PA0001165080      EMI April Music Inc.
 114   Mannequin                                                   PA0001888782      EMI April Music Inc.
 115   Mr. Man                                                     PA0001065080      EMI April Music Inc.
 116   MVP                                                         PA0001706727      EMI April Music Inc.
 117   My Bloody Valentine                                         PA0001113696      EMI April Music Inc.
 118   My Fondest Childhood Memories                               PA0001131694      EMI April Music Inc.
 119   My My My                                                    PA0001161189      EMI April Music Inc.
 120   My Plague                                                   PA0001102120      EMI April Music Inc.
 121   Nasty Girl                                                  PA0001706696      EMI April Music Inc.
 122   Nobody's Business                                           PA0001881665      EMI April Music Inc.
 123   Now Comes The Night                                         PA0001161195      EMI April Music Inc.
 124   Nylon 6/6                                                   PA0001718972      EMI April Music Inc.
 125   Old Man & Me                                                PA0000795267      EMI April Music Inc.
                                                                   PA0001735856
 126 On Fire                                                                         EMI April Music Inc.
                                                                   PA0001731108
 127   One Thing                                                   PA0001848513      EMI April Music Inc.
 128   Only Wanna Be With You                                      PA0000734279      EMI April Music Inc.
 129   Orchids                                                     PA0001115050      EMI April Music Inc.
 130   Our Song                                                    PA0001850280      EMI April Music Inc.
 131   Overjoyed                                                   PA0001850364      EMI April Music Inc.
 132   P.I.M.P.                                                    PA0001105184      EMI April Music Inc.
 133   Party Hard / Cadillac (Interlude)                           PA0002094531      EMI April Music Inc.




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                                                                     EXHIBIT B - MUSICAL COMPOSITIONS

                                Track                                  Reg. No.                             Plaintiff
 134   Piano & I                                                   PA0001065075      EMI April Music Inc.
 135   Pieces                                                      PA0001718970      EMI April Music Inc.
 136   Porcelain Doll                                              PA0001648132      EMI April Music Inc.
 137   Praise                                                      PA0000101381      EMI April Music Inc.
 138   Prelude 3.0                                                 PA0001231062      EMI April Music Inc.
 139   Problem Girl                                                PA0001161191      EMI April Music Inc.
 140   Put Your Hands Up                                           PA0001850287      EMI April Music Inc.
 141   Radio                                                       PA0001850359      EMI April Music Inc.
 142   Reborn                                                      PA0001165124      EMI April Music Inc.
 143   Relating To A Psychopath                                    PA0001092131      EMI April Music Inc.
 144   Remind Me                                                   PA0001743361      EMI April Music Inc.
 145   Return The Favor                                            PA0001667243      EMI April Music Inc.
 146   Riot Girl                                                   PA0001157807      EMI April Music Inc.
 147   Rock Me In                                                  PA0001626940      EMI April Music Inc.
 148   Rock That Body                                              PA0001666771      EMI April Music Inc.
 149   Russian Roulette                                            PA0001704500      EMI April Music Inc.
 150   Say You'll Haunt Me                                         PA0001722494      EMI April Music Inc.
 151   Sexual Healing                                              PA0000162210      EMI April Music Inc.
 152   Shattered Heart                                             PA0001624650      EMI April Music Inc.
 153   She's Got A Boyfriend Now                                   PA0001736534      EMI April Music Inc.
 154   She's So Mean                                               PA0001850358      EMI April Music Inc.
 155   Shotgun                                                     PA0001878368      EMI April Music Inc.
 156   Show Me                                                     PA0001804834      EMI April Music Inc.
 157   Sillyworld                                                  PA0001165081      EMI April Music Inc.
 158   Sleeping At The Wheel                                       PA0001850160      EMI April Music Inc.
 159   So Beautiful                                                PA0001624586      EMI April Music Inc.
 160   Socio                                                       PA0001165082      EMI April Music Inc.
 161   Someone Like You                                            PA0001735195      EMI April Music Inc.
 162   Something Special                                           PA0001602832      EMI April Music Inc.
 163   Something To Be                                             PA0001161192      EMI April Music Inc.
 164   Space                                                       PA0001194022      EMI April Music Inc.
 165   Speechless                                                  PA0001131696      EMI April Music Inc.
 166   Spit It Out                                                 PA0000965864      EMI April Music Inc.
 167   Spread Yo Shit                                              PA0001245481      EMI April Music Inc.
 168   Still                                                       PA0000986836      EMI April Music Inc.
 169   Still On My Brain                                           PA0001118861      EMI April Music Inc.
 170   Stuck in the Middle                                         PA0001831360      EMI April Music Inc.
 171   Superwoman                                                  PA0001590140      EMI April Music Inc.
 172   Surfacing                                                   PA0000965864      EMI April Music Inc.
 173   Take A Number                                               PA0001115050      EMI April Music Inc.
 174   Take Me Away                                                PA0001656152      EMI April Music Inc.
 175   Take Me Home                                                PA0001831437      EMI April Music Inc.
 176   Take Our Time                                               PA0000797830      EMI April Music Inc.
 177   Taken                                                       PA0001813025      EMI April Music Inc.
 178   Tell You Something (Nana's Reprise)                         PA0001590108      EMI April Music Inc.
 179   Thank You                                                   PA0001653144      EMI April Music Inc.
 180   The Answer                                                  PA0001279740      EMI April Music Inc.
 181   The Anthem                                                  PA0001157807      EMI April Music Inc.
 182   The Bitter End                                              PA0001718944      EMI April Music Inc.
 183   The Blister Exists                                          PA0001231062      EMI April Music Inc.
 184   The Day That I Die                                          PA0001157807      EMI April Music Inc.
 185   The Definition                                              PA0001626025      EMI April Music Inc.
 186   The Fighter                                                 PA0001806416      EMI April Music Inc.
 187   The First Time                                              PA0001607088      EMI April Music Inc.
 188   The Heretic Anthem                                          PA0001102120      EMI April Music Inc.
 189   The Impossible                                              PA0001145924      EMI April Music Inc.
 190   The Life                                                    PA0001065079      EMI April Music Inc.
 191   The More I Drink                                            PA0001993843      EMI April Music Inc.
 192   The Nameless                                                PA0001231062      EMI April Music Inc.
 193   The Shot Heard 'Round The World                             PA0001735286      EMI April Music Inc.
 194   The Story Of My Old Man                                     PA0001113696      EMI April Music Inc.
 195   The Young & The Hopeless                                    PA0001113696      EMI April Music Inc.
 196   These Hard Times                                            PA0001588614      EMI April Music Inc.
 197   Think About You                                             PA0001105460      EMI April Music Inc.
 198   Think Like A Man                                            PA0001820629      EMI April Music Inc.
 199   Threadbare                                                  PA0001718936      EMI April Music Inc.
 200   Through Glass                                               PA0001165083      EMI April Music Inc.
 201   Throwback                                                   PA0001159346      EMI April Music Inc.




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                                                                     EXHIBIT B - MUSICAL COMPOSITIONS

                                Track                                  Reg. No.                             Plaintiff
 202   Time Well Wasted                                            PA0001162300      EMI April Music Inc.
 203   Troubles                                                    PA0001065076      EMI April Music Inc.
 204   Tumult                                                      PA0001157849      EMI April Music Inc.
 205   U Make Me Wanna                                             PA0001241284      EMI April Music Inc.
 206   Undisputed                                                  PA0001707774      EMI April Music Inc.
 207   Vermilion Pt. 2                                             PA0001231062      EMI April Music Inc.
 208   Wait And Bleed                                              PA0001040104      EMI April Music Inc.
 209   Walking                                                     PA0001738379      EMI April Music Inc.
 210   Want U Back                                                 PA0001835074      EMI April Music Inc.
 211   Waterfalls                                                  PA0000797831      EMI April Music Inc.
 212   Welcome To Jamrock                                          PA0001162406      EMI April Music Inc.
 213   What Makes You Beautiful                                    PA0001790417      EMI April Music Inc.
 214   What Them Girls Like                                        PA0001620075      EMI April Music Inc.
 215   What's A Guy Gotta Do                                       PA0001159557      EMI April Music Inc.
 216   When The Heartache Ends                                     PA0001161193      EMI April Music Inc.
 217   When You Really Love Someone                                PA0001158370      EMI April Music Inc.
 218   Who Is She 2 U (Recall Version)                             PA0001159573      EMI April Music Inc.
 219   Why Is It So Hard                                           PA0001738400      EMI April Music Inc.
 220   Will Work For Love                                          PA0001658983      EMI April Music Inc.
 221   With You                                                    PA0001163725      EMI April Music Inc.
 222   Wondering                                                   PA0000157807      EMI April Music Inc.
 223   Wreckless Love                                              PA0001589833      EMI April Music Inc.
 224   You Need a Man Around Here                                  PA0001162302      EMI April Music Inc.
 225   You'll Think Of Me                                          PA0001073550      EMI April Music Inc.
 226   You're So Real                                              PA0001104643      EMI April Music Inc.
 227   Your God                                                    PA0001165084      EMI April Music Inc.
 228   Your Secret Love                                            PA0000826398      EMI April Music Inc.
 229   Zzyzx Rd.                                                   PA0001165085      EMI April Music Inc.
 230   1st Person                                                  PA0001165086      EMI April Music Inc.
 231   30/30-150                                                   PA0001165087      EMI April Music Inc.
 232   4 Minutes                                                   PA0001164517      EMI April Music Inc.
 233   400 Lux                                                     PA0002007289      EMI April Music Inc.
 234   A Little Piece Of Heaven                                    PA0001591961      EMI April Music Inc.
 235   A World Alone                                               PA0002007289      EMI April Music Inc.
 236   Afterlife                                                   PA0001591960      EMI April Music Inc.
 237   Almost Easy                                                 PA0001591963      EMI April Music Inc.
 238   And I                                                       PA0001159779      EMI April Music Inc.
 239   Angel                                                       PA0001738403      EMI April Music Inc.
 240   Angel Eyes                                                  PA0001810572      EMI April Music Inc.
 241   As I Am (Intro)                                             PA0001590109      EMI April Music Inc.
 242   Attention                                                   PA0001621899      EMI April Music Inc.
 243   Bat Country                                                 PA0001162004      EMI April Music Inc.
 244   Be Your Everything                                          PA0001831407      EMI April Music Inc.
 245   Beast And The Harlot                                        PA0001162005      EMI April Music Inc.
 246   Betrayed                                                    PA0001162006      EMI April Music Inc.
 247   Biting Down                                                 PA0002007289      EMI April Music Inc.
 248   Blinded In Chains                                           PA0001162007      EMI April Music Inc.
 249   Bodies                                                      PA0001731809      EMI April Music Inc.
 250   Brompton Cocktail                                           PA0001591959      EMI April Music Inc.
 251   Burn It Down                                                PA0001162008      EMI April Music Inc.
 252   Butterflyz                                                  PA0001065075      EMI April Music Inc.
 253   Caged Bird                                                  PA0001065075      EMI April Music Inc.
 254   Camouflage                                                  PA0001743344      EMI April Music Inc.
 255   Can U Help Me                                               PA0000846618      EMI April Music Inc.
 256   Cardiff                                                     PA0001165077      EMI April Music Inc.
 257   ChampagneChroniKnightCap                                    PA0001955406      EMI April Music Inc.
 258   Come What(ever) May                                         PA0001165078      EMI April Music Inc.
 259   Critical Acclaim                                            PA0001591957      EMI April Music Inc.
 260   Cry Baby                                                    PA0001731812      EMI April Music Inc.
 261   Dear God                                                    PA0001591954      EMI April Music Inc.
 262   Diary                                                       PA0000115368      EMI April Music Inc.
 263   Do It All Again                                             PA0001866549      EMI April Music Inc.
 264   Do It To Me                                                 PA0001159080      EMI April Music Inc.
 265   Don't Tell Me                                               PA0001159306      EMI April Music Inc.
 266   Dragon Days                                                 PA0001158214      EMI April Music Inc.
 267   Drive (For Daddy Gene)                                      PA0001118350      EMI April Music Inc.
 268   Every Other Memory                                          PA0001765856      EMI April Music Inc.
 269   Everybody Hurts                                             PA0001761234      EMI April Music Inc.




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                                                                     EXHIBIT B - MUSICAL COMPOSITIONS

                                 Track                                 Reg. No.                             Plaintiff
 270   Fallin' (Remix)                                             PA0001118374      EMI April Music Inc.
 271   Feeling U, Feeling Me (Interlude)                           PA0001158215      EMI April Music Inc.
 272   Fold Your Hands Child                                       PA0001656112      EMI April Music Inc.
 273   Freak Out                                                   PA0001159307      EMI April Music Inc.
 274   Girlfriend                                                  PA0001065074      EMI April Music Inc.
 275   Glass                                                       PA0001157807      EMI April Music Inc.
 276   Glory And Gore                                              PA0002007289      EMI April Music Inc.
 277   Go Ahead                                                    PA0001590126      EMI April Music Inc.
 278   Gunslinger                                                  PA0001591956      EMI April Music Inc.
 279   Harlem's Nocturne                                           PA0001158371      EMI April Music Inc.
 280   Hold On                                                     PA0001113696      EMI April Music Inc.
 281   Hot                                                         PA0001167507      EMI April Music Inc.
 282   How Do I Say                                                PA0000846620      EMI April Music Inc.
 283   I Always Get What I Want                                    PA0001160190      EMI April Music Inc.
 284   I Can't Let U Go                                            PA0000846615      EMI April Music Inc.
                                                                   PA0001920258
 285 I Love LA                                                                       EMI April Music Inc.
                                                                   PA0001879197
 286   I Want You                                                  PA0001731813      EMI April Music Inc.
 287   If I Ain't Got You                                          PA0001158216      EMI April Music Inc.
 288   Innocence                                                   PA0001167508      EMI April Music Inc.
 289   Intro                                                       PA0001159659      EMI April Music Inc.
 290   It's All About The Pentiums                                 PA0000976952      EMI April Music Inc.
                                                                   PA0001920253
 291 Just For One Day                                                                EMI April Music Inc.
                                                                   PA0001879169
 292   Karma                                                       PA0001158372      EMI April Music Inc.
 293   Lifetime                                                    PA0001602821      EMI April Music Inc.
 294   Like You'll Never See Me Again                              PA0001590110      EMI April Music Inc.
 295   Losing Grip                                                 PA0001101505      EMI April Music Inc.
 296   Lost                                                        PA0001591955      EMI April Music Inc.
 297   M.I.A.                                                      PA0001162010      EMI April Music Inc.
 298   Million Dollar Bills                                        PA0002007289      EMI April Music Inc.
 299   Mobile                                                      PA0001101509      EMI April Music Inc.
 300   No Better                                                   PA0002007289      EMI April Music Inc.
 301   No One                                                      PA0001648485      EMI April Music Inc.
 302   Nobody Not Really (Interlude)                               PA0001158373      EMI April Music Inc.
 303   One Of Those Girls                                          PA0001167509      EMI April Music Inc.
 304   Online                                                      PA0001167813      EMI April Music Inc.
 305   Pete Wentz Is The Only Reason We're Famous                  PA0001667218      EMI April Music Inc.
 306   Pop Ya Collar                                               PA0001033012      EMI April Music Inc.
 307   Prelude To A Kiss                                           PA0001590111      EMI April Music Inc.
 308   Pretty Boy Swag                                             PA0001734530      EMI April Music Inc.
 309   Push                                                        PA0001761225      EMI April Music Inc.
 310   Ribs                                                        PA0002007289      EMI April Music Inc.
 311   Royals                                                      PA0002007289      EMI April Music Inc.
 312   Samsonite Man                                               PA0001158374      EMI April Music Inc.
 313   Satisfied                                                   PA0001731823      EMI April Music Inc.
 314   Scream                                                      PA0001591958      EMI April Music Inc.
 315   Seize The Day                                               PA0001162009      EMI April Music Inc.
 316   Sensuality                                                  PA0001395664      EMI April Music Inc.
 317   She's Gone                                                  PA0001627413      EMI April Music Inc.
 318   Shortie Like Mine                                           PA0001647447      EMI April Music Inc.
 319   Sidewinder                                                  PA0001162011      EMI April Music Inc.
 320   Slow Down                                                   PA0001158938      EMI April Music Inc.
 321   Still Sane                                                  PA0002007289      EMI April Music Inc.
 322   Stranger                                                    PA0001760579      EMI April Music Inc.
 323   Strength Of The World                                       PA0001162012      EMI April Music Inc.
 324   Take Me Away                                                PA0001159308      EMI April Music Inc.
 325   Team                                                        PA0002007289      EMI April Music Inc.
 326   Tennis Court                                                PA0002007289      EMI April Music Inc.
 327   The Love Club                                               PA0001904440      EMI April Music Inc.
 328   The Scene Is Dead; Long Live The Scene                      PA0001662732      EMI April Music Inc.
 329   The Wicked End                                              PA0001162014      EMI April Music Inc.
 330   The World Will Never Do                                     PA0001662901      EMI April Music Inc.
 331   Thug Mentality                                              PA0001023895      EMI April Music Inc.
 332   Ticks                                                       PA0001167818      EMI April Music Inc.
 333   Trashed And Scattered                                       PA0001162013      EMI April Music Inc.
 334   Twork It Out                                                PA0000846613      EMI April Music Inc.
 335   Unbound (The Wild Ride)                                     PA0001591987      EMI April Music Inc.




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                              Track                                    Reg. No.                                             Plaintiff
 336   Valentine's Day                                             PA0001958626      EMI April Music Inc.
 337   Wake Up                                                     PA0001158369      EMI April Music Inc.
 338   Wet Hot American Summer                                     PA0001662916      EMI April Music Inc.
 339   When It Hurts                                               PA0001621885      EMI April Music Inc.
 340   When You're Gone                                            PA0001167506      EMI April Music Inc.
 341   Where Do We Go From Here                                    PA0001590129      EMI April Music Inc.
 342   Where Were You (When the World Stopped Turning)             PA0001076926      EMI April Music Inc.
 343   White Teeth Teens                                           PA0002007289      EMI April Music Inc.
 344   Y.O.U.                                                      PA0001621886      EMI April Music Inc.
 345   Yeah!                                                       PA0001159089      EMI April Music Inc.
 346   You                                                         PA0001621886      EMI April Music Inc.
 347   Come Back                                                   PA0000893388      EMI April Music Inc.
 348   My Way                                                      PA0000893387      EMI April Music Inc.
 349   Nice And Slow                                               PA0000893386      EMI April Music Inc.
 350   One Day You'll Be Mine                                      PA0000893389      EMI April Music Inc.
 351   Papers                                                      PA0001753740      EMI April Music Inc.
 352   You Make Me Wanna...                                        PA0000893384      EMI April Music Inc.
                                                                   PA0001033071
 353 Just Like Me                                                                    EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                                   PA0000893385
 354   Hot Tottie                                                  PA0001760557      EMI April Music Inc. / WB Music Corp.
 355   Have Some Fun                                               PA0001158407      EMI April Music Inc. / EMI Blackwood Music Inc
 356   I Need You                                                  PA0001590128      EMI April Music Inc. / EMI Blackwood Music Inc
 357   Right On the Money                                          PA0000922532      EMI April Music Inc. / EMI Blackwood Music Inc
 358   All I Ever Wanted                                           PA0001131835      EMI April Music Inc. / EMI Blackwood Music Inc.
 359   Back 2 Good                                                 PA0000844646      EMI April Music Inc. / EMI Blackwood Music Inc.
 360   Bed Of Lies                                                 PA0001006952      EMI April Music Inc. / EMI Blackwood Music Inc.
 361   Before I Met You                                            PA0001673114      EMI April Music Inc. / EMI Blackwood Music Inc.
 362   Changes                                                     PA0001731492      EMI April Music Inc. / EMI Blackwood Music Inc.
 363   Downfall                                                    PA0001104581      EMI April Music Inc. / EMI Blackwood Music Inc.
 364   Everywhere                                                  PA0001731500      EMI April Music Inc. / EMI Blackwood Music Inc.
 365   Heartbreak Hotel                                            PA0000927023      EMI April Music Inc. / EMI Blackwood Music Inc.
 366   In Memory                                                   PA0001131837      EMI April Music Inc. / EMI Blackwood Music Inc.
 367   Left Out                                                    PA0001131839      EMI April Music Inc. / EMI Blackwood Music Inc.
 368   Make My Day                                                 PA0001731490      EMI April Music Inc. / EMI Blackwood Music Inc.
 369   Never Forget You                                            PA0001738485      EMI April Music Inc. / EMI Blackwood Music Inc.
 370   One Less Lonely Girl                                        PA0001704465      EMI April Music Inc. / EMI Blackwood Music Inc.
 371   Push                                                        PA0000844645      EMI April Music Inc. / EMI Blackwood Music Inc.
 372   Push (Time Capsule Version)                                 PA0000844645      EMI April Music Inc. / EMI Blackwood Music Inc.
 373   Seduction                                                   PA0001159869      EMI April Music Inc. / EMI Blackwood Music Inc.
 374   Take Your Hand                                              PA0001159167      EMI April Music Inc. / EMI Blackwood Music Inc.
 375   Takin' It There                                             PA0001640699      EMI April Music Inc. / EMI Blackwood Music Inc.
 376   Villuminati                                                 PA0001975662      EMI April Music Inc. / EMI Blackwood Music Inc.
 377   Wasted                                                      PA0004068405      EMI April Music Inc. / EMI Blackwood Music Inc.
 378   When The Music Stops                                        PA0001073068      EMI April Music Inc. / EMI Blackwood Music Inc.
 379   Who Dat                                                     PA0001640769      EMI April Music Inc. / EMI Blackwood Music Inc.
 380   You Don't Know My Name                                      PA0001158217      EMI April Music Inc. / EMI Blackwood Music Inc.
 381   3AM                                                         PA0000844647      EMI April Music Inc. / EMI Blackwood Music Inc.
 382   Better Version                                              PA0001131836      EMI April Music Inc. / EMI Blackwood Music Inc.
 383   Black & White People                                        PA0001006950      EMI April Music Inc. / EMI Blackwood Music Inc.
 384   Busted                                                      PA0000844644      EMI April Music Inc. / EMI Blackwood Music Inc.
 385   Crutch                                                      PA0001006950      EMI April Music Inc. / EMI Blackwood Music Inc.
 386   Damn                                                        PA0000844644      EMI April Music Inc. / EMI Blackwood Music Inc.
 387   Disease (Acoustic)                                          PA0001105084      EMI April Music Inc. / EMI Blackwood Music Inc.
 388   Don't Look Down                                             PA0001738410      EMI April Music Inc. / EMI Blackwood Music Inc.
 389   Fallin' Out                                                 PA0001589919      EMI April Music Inc. / EMI Blackwood Music Inc.
 390   Girl Like That                                              PA0000844644      EMI April Music Inc. / EMI Blackwood Music Inc.
 391   Hang                                                        PA0000844644      EMI April Music Inc. / EMI Blackwood Music Inc.
                                                                   PA0001735191
 392 Heart Heart Heartbreak                                                          EMI April Music Inc. / EMI Blackwood Music Inc.
                                                                   PA0001730760
                                                                   PA0001006950
 393 If You're Gone                                                                  EMI April Music Inc. / EMI Blackwood Music Inc.
                                                                   PA0001038500
 394   Kody                                                        PA0000844644      EMI April Music Inc. / EMI Blackwood Music Inc.
 395   Lacerated                                                   PA0001131838      EMI April Music Inc. / EMI Blackwood Music Inc.
 396   Long Day                                                    PA0000844644      EMI April Music Inc. / EMI Blackwood Music Inc.
 397   Mad Season                                                  PA0001006950      EMI April Music Inc. / EMI Blackwood Music Inc.
 398   Outro (Obie Trice/ Cheers)                                  PA0001159257      EMI April Music Inc. / EMI Blackwood Music Inc.
 399   Piano Man                                                   PA0001625977      EMI April Music Inc. / EMI Blackwood Music Inc.
 400   Real World                                                  PA0001655141      EMI April Music Inc. / EMI Blackwood Music Inc.




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                                                                     EXHIBIT B - MUSICAL COMPOSITIONS

                                  Track                                Reg. No.                                             Plaintiff
 401   Rest Stop                                                   PA0001038500      EMI April Music Inc. / EMI Blackwood Music Inc.
 402   So Simple                                                   PA0001158375      EMI April Music Inc. / EMI Blackwood Music Inc.
 403   Streets Of New York                                         PA0001162554      EMI April Music Inc. / EMI Blackwood Music Inc.
 404   Teenage Love Affair                                         PA0001590132      EMI April Music Inc. / EMI Blackwood Music Inc.
 405   The Point Of It All                                         PA0001631133      EMI April Music Inc. / EMI Blackwood Music Inc.
 406   Un-thinkable (I'm Ready)                                    PA0001666749      EMI April Music Inc. / EMI Blackwood Music Inc.
 407   Warm It Up (With Love)                                      PA0001624745      EMI April Music Inc. / EMI Blackwood Music Inc.
 408   You Won't Be Mine                                           PA0001006950      EMI April Music Inc. / EMI Blackwood Music Inc.
 409   Fallen                                                      PA0001712987      EMI April Music Inc. / EMI Blackwood Music Inc. / Sony/ATV Music Publishing LLC
 410   Like This                                                   PA0001072623      EMI April Music Inc. / EMI Blackwood Music Inc. / Sony/ATV Music Publishing LLC
 411   It's a Beautiful Life                                       PA0001203953      EMI April Music Inc. / EMI Blackwood Music Inc. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001227184
 412 Bad Girl                                                                        EMI April Music Inc. / EMI Blackwood Music Inc. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001159548
                                                                   PA0001227182
 413 Simple Things                                                                   EMI April Music Inc. / EMI Blackwood Music Inc. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001159549
                                                                   PA0001227183
 414 That's What It's Made For                                                       EMI April Music Inc. / EMI Blackwood Music Inc. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001159550
                                                                   PA0001227182
 415 Truth Hurts                                                                     EMI April Music Inc. / EMI Blackwood Music Inc. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001159551
 416 Someone To Love Me (Naked)                                    PA0001842413      EMI April Music Inc. / EMI Blackwood Music Inc. / Warner-Tamerlaner Publishing Corp.

                                                                   PA0000978638
 417 Last Beautiful Girl                                                             EMI April Music Inc. / EMI Blackwood Music Inc. / WB Music Corp.
                                                                   PA0001006951
                                                                   PA0001750279
 418 Out Of My Head                                                                  EMI April Music Inc. / EMI Blackwood Music Inc. / WB Music Corp.
                                                                   PA0001738574
                                                                                     EMI April Music Inc. / EMI Blackwood Music Inc. / WB Music Corp. / Warner-Tamerlane
 419 Boardmeeting                                                  PA0001761903
                                                                                     Publishing Corp.
                                                                   PA0001375846      EMI April Music Inc. / EMI Blackwood Music Inc. / WB Music Corp. / Warner-Tamerlane
 420 Make It Last Forever
                                                                   PA0001166656      Publishing Corp.
                                                                                     EMI April Music Inc. / EMI Blackwood Music Inc. / WB Music Corp. / Warner/Chappell
 421 We Run This Town                                              PA0001967419
                                                                                     Music, Inc.
                                                                   PA0001870880      EMI April Music Inc. / EMI Blackwood Music Inc. / WB Music Corp./ Warner/Chappell
 422 That's My Kind Of Night
                                                                   PA0001967409      Music, Inc.
 423 A Moment To Myself                                            PA0000986838      EMI April Music Inc. / EMI Consortium Songs Inc. d/b/a EMI Longitude Music
 424 backagain                                                     PA0001395994      EMI April Music Inc. / EMI Consortium Songs, Inc. d/b/a EMI Longitude Music
                                                                                     EMI April Music Inc. / EMI Entertainment World Inc. d/b/a EMI Foray Music / Warner-
 425 Blame It On Me                                                PA0001670195
                                                                                     Tamerlane Publishing Corp.
                                                                                     EMI April Music Inc. / EMI Entertainment World Inc. d/b/a EMI Foray Music / Warner-
 426 Fragile                                                       PA0001648128
                                                                                     Tamerlane Publishing Corp.
                                                                                     EMI April Music Inc. / EMI Entertainment World Inc. d/b/a EMI Foray Music / Warner-
 427 Mr. Right                                                     PA0001670188
                                                                                     Tamerlane Publishing Corp.
                                                                                     EMI April Music Inc. / EMI Entertainment World Inc. d/b/a EMI Foray Music / Warner-
 428 Notebook                                                      PA0001670195
                                                                                     Tamerlane Publishing Corp.
 429   until                                                       PA0001624579      EMI April Music Inc. / Jobete Music Co Inc.
 430   Everybody Hates Chris                                       PA0001706689      EMI April Music Inc. / Jobete Music Co. Inc.
 431   Superstar                                                   PA0001159085      EMI April Music Inc. / Jobete Music Co. Inc.
 432   Die In Your Arms                                            PA0001793961      EMI April Music Inc. / Jobete Music Co. Inc. / Warner-Tamerlane Publishing Corp.
 433   Good Man                                                    PA0001752533      EMI April Music Inc. / Songs of Universal, Inc. / Polygram Publishing, Inc.
 434   All My Life                                                 PA0001644944      EMI April Music Inc. / Sony/ATV Music Publishing LLC
 435   Bossin' Up                                                  PA0001908708      EMI April Music Inc. / Sony/ATV Music Publishing LLC
 436   Bravado                                                     PA0001904440      EMI April Music Inc. / Sony/ATV Music Publishing LLC
 437   Call Up The Homies                                          PA0001706741      EMI April Music Inc. / Sony/ATV Music Publishing LLC
 438   Climax                                                      PA0001825135      EMI April Music Inc. / Sony/ATV Music Publishing LLC
 439   Cold                                                        PA0001707770      EMI April Music Inc. / Sony/ATV Music Publishing LLC
 440   Energy                                                      PA0001840559      EMI April Music Inc. / Sony/ATV Music Publishing LLC
 441   First Dance                                                 PA0001749344      EMI April Music Inc. / Sony/ATV Music Publishing LLC
 442   Fistful Of Tears                                            PA0001707770      EMI April Music Inc. / Sony/ATV Music Publishing LLC
 443   Help Somebody                                               PA0001707770      EMI April Music Inc. / Sony/ATV Music Publishing LLC
 444   Love You                                                    PA0001707770      EMI April Music Inc. / Sony/ATV Music Publishing LLC
 445   Nothing                                                     PA0001072625      EMI April Music Inc. / Sony/ATV Music Publishing LLC
 446   Phoenix Rise                                                PA0001707770      EMI April Music Inc. / Sony/ATV Music Publishing LLC
 447   Playing Possum                                              PA0001707770      EMI April Music Inc. / Sony/ATV Music Publishing LLC
 448   Respirator                                                  PA0001821672      EMI April Music Inc. / Sony/ATV Music Publishing LLC
 449   Save You Tonight                                            PA0001784623      EMI April Music Inc. / Sony/ATV Music Publishing LLC
 450   Slower                                                      PA0001835570      EMI April Music Inc. / Sony/ATV Music Publishing LLC
 451   Stop The World                                              PA0001707770      EMI April Music Inc. / Sony/ATV Music Publishing LLC
 452   The War Is Over                                             PA0001807174      EMI April Music Inc. / Sony/ATV Music Publishing LLC
 453   Without You                                                 PA0001877914      EMI April Music Inc. / Sony/ATV Music Publishing LLC




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                                 Track                                 Reg. No.                                               Plaintiff
 454 Mind On My Money                                              PA0001807828      EMI April Music Inc. / Sony/ATV Music Publishing LLC / EMI Blackwood Music
 455 Lemme See                                                     PA0001828069      EMI April Music Inc. / Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc.
 456 Anything (To Find You)                                        PA0001900915      EMI April Music Inc. / Sony/ATV Music Publishing LLC / Jobete Music Co. Inc.
                                                                                     EMI April Music Inc. / Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing
 457 Brand New                                                     PA0001858773
                                                                                     Corp.
                                                                   PA0001850232      EMI April Music Inc. / Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing
 458 Enough Of No Love
                                                                   PA0001833132      Corp.
 459   You Can't Stop Us Now                                       PA0001396096      EMI April Music Inc. / Stone Agate Music (a division of Jobete Music Co. Inc.)
 460   My Boo                                                      PA0001159778      EMI April Music Inc. / Unichappell Music, Inc.
 461   Living Proof                                                PA0001841719      EMI April Music Inc. / Unichappell Music, Inc. / Warner-Tamerlane Publishing Corp.
 462   Living In The Sky With Diamonds                             PA0001678956      EMI April Music Inc. / Unichappell Music, Inc. /WB Music Corp.
 463   Turn It Up                                                  PA0001317543      EMI April Music Inc. / Universal Music Corp.
 464   Wanksta                                                     PA0001105183      EMI April Music Inc. / Universal Music Corp.
                                                                   PA0001699247
 465 Appetite                                                                        EMI April Music Inc. / W.B.M. Music Corp.
                                                                   PA0001687431
                                                                   PA0001227181
 466 Burn                                                                            EMI April Music Inc. / W.B.M. Music Corp.
                                                                   PA0001159079
                                                                   PA0001227181
 467 Confessions Part II                                           PA0001159082      EMI April Music Inc. / W.B.M. Music Corp.
                                                                   PA0001160227
                                                                   PA0001227181
 468 Confessions Part II (Remix)                                                     EMI April Music Inc. / W.B.M. Music Corp.
                                                                   PA0001160227
                                                                   PA0001700475
 469 Hey Daddy (Daddy's Home)                                                        EMI April Music Inc. / W.B.M. Music Corp.
                                                                   PA0001707160
                                                                   PA0001248726
 470 U Got It Bad                                                                    EMI April Music Inc. / W.B.M. Music Corp.
                                                                   PA0000846614
 471   Above The Law                                               PA0001808400      EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
 472   Cheated                                                     PA0001853123      EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
 473   Hold Up                                                     PA0001851053      EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
 474   I'm On Everything                                           PA0001808404      EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
 475   I'm Still A Guy                                             PA0001167815      EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
 476   Loud Noises                                                 PA0001808399      EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
 477   One of Those Lives                                          PA0002004472      EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
 478   Take From Me                                                PA0001808393      EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
 479   Turn It Up                                                  PA0001763350      EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
 480   You Know What                                               PA0001373489      EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001651821
 481 A Milli                                                                         EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001646370
 482 Dirt Road Anthem                                              PA0001694080      EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001851192
 483 Einstein                                                                        EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001771871
 484 Good To Me                                                    PA0001016045      EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001728545
 485 Ground Zero                                                                     EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001706473
 486 Gun Shot                                                      PA0001868333      EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
 487 Hands in the Air                                              PA0000186999      EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
 488 Hold Up                                                       PA0001741949      EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001648809
 489 Hustlenomics                                                                    EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001648764
 490 I'm A G                                                       PA0001648787      EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001387427
 491 Incredible                                                                      EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001167536
                                                                   PA0001349210
 492 It's Goin' Down                                                                 EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001164441
 493 Last Of A Dying Breed                                         PA0001660091      EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
 494 Legs Shakin'                                                  PA0001933961      EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001778259
 495 Pieces Of Me                                                                    EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001760343
 496 Rock the Pants                                                PA0001720639      EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
 497 Super Bass                                                    PA0001852528      EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001745296
 498 That Ain't Me                                                                   EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001744900
                                                                   PA0001227153
 499 The Bed                                                                         EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001159332
                                                                   PA0001878243
 500 We Were Us                                                                      EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001947445
 501 All-American Girl                                             PA0001590017      EMI April Music Inc. / Warner/Chappell Music, Inc.




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                                 Track                                 Reg. No.                                              Plaintiff
                                                                   PA0001740847
 502 Billionaire                                                                     EMI April Music Inc. / WB Music Corp.
                                                                   PA0001714525
 503 Breakdown                                                     PA0000896279      EMI April Music Inc. / WB Music Corp.
                                                                   PA0001158218
 504 Heartburn                                                                       EMI April Music Inc. / WB Music Corp.
                                                                   PA0001879469
 505   High Price                                                  PA0001659051      EMI April Music Inc. / WB Music Corp.
 506   I Do It For Hip Hop                                         PA0001869933      EMI April Music Inc. / WB Music Corp.
 507   Niggaz Know                                                 PA0001884065      EMI April Music Inc. / WB Music Corp.
 508   Shackles (Praise You)                                       PA0001157819      EMI April Music Inc. / WB Music Corp.
 509   Shawty                                                      PA0001765610      EMI April Music Inc. / WB Music Corp.
 510   Take You Down                                               PA0001395676      EMI April Music Inc. / WB Music Corp.
                                                                   PA0001236716
 511 Turn It Up                                                                      EMI April Music Inc. / WB Music Corp.
                                                                   PA0001159468
 512 Until It Breaks                                               PA0001840841      EMI April Music Inc. / WB Music Corp.
                                                                   PA0001087580
 513 Where I Wanna Be                                                                EMI April Music Inc. / WB Music Corp.
                                                                   PA0001024534
 514 Baby                                                          PA0001733297      EMI April Music Inc. / WB Music Corp.
 515 4 Years Old                                                   PA0001842281      EMI April Music Inc. / WB Music Corp. / Warner-Tamerlane Publishing Corp.
 516 Best Thing                                                    PA0001690183      EMI April Music Inc. / WB Music Corp. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001852357
 517 Hip Hop                                                                         EMI April Music Inc. / WB Music Corp. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001874306
                                                                   PA0001679596
 518 Hot Mess                                                                        EMI April Music Inc. / WB Music Corp. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001662752
 519 Lighters                                                      PA0001842411      EMI April Music Inc. / WB Music Corp. / Warner-Tamerlane Publishing Corp.
 520 Nice Guys Finish Last                                         PA0001656109      EMI April Music Inc. / WB Music Corp. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001314213
 521 Real Hip Hop                                                  PA0001159524      EMI April Music Inc. / WB Music Corp. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001241282
 522 Someone Else                                                  PA0001870024      EMI April Music Inc. / WB Music Corp. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001853121
 523 A Little Home                                                                   EMI April Music Inc. / WB Music Corp. / Warner/Chappell Music, Inc.
                                                                   PA0001910890
                                                                   PA0001743353
 524 Be The Lake                                                                     EMI April Music Inc. / WB Music Corp. / Warner/Chappell Music, Inc.
                                                                   PA0002004490
                                                                   PA0001742330
 525 Working On A Tan                                                                EMI April Music Inc. / WB Music Corp. / Warner/Chappell Music, Inc.
                                                                   PA0002004468
 526   Lost In The Sun                                             PA0001641063      EMI Blackwood Music Inc
 527   911                                                         PA0001837905      EMI Blackwood Music Inc.
 528   Africa Bamba                                                PA0000972929      EMI Blackwood Music Inc.
 529   All Over Me                                                 PA0001732490      EMI Blackwood Music Inc.
 530   Anna Begins                                                 PA0000708858      EMI Blackwood Music Inc.
 531   Back When It Was                                            PA0001321505      EMI Blackwood Music Inc.
 532   Bad Things                                                  PA0001164354      EMI Blackwood Music Inc.
 533   Bang It Up                                                  PA0001626146      EMI Blackwood Music Inc.
 534   Beautiful Mess                                              PA0001153078      EMI Blackwood Music Inc.
 535   Better Than Me                                              PA0001162964      EMI Blackwood Music Inc.
 536   Bliss (I Don't Wanna Know)                                  PA0001162965      EMI Blackwood Music Inc.
 537   By The Way                                                  PA0001640696      EMI Blackwood Music Inc.
 538   Celebrate                                                   PA0001775496      EMI Blackwood Music Inc.
 539   Comin' Home                                                 PA0001167517      EMI Blackwood Music Inc.
 540   Cool                                                        PA0001160425      EMI Blackwood Music Inc.
 541   Crazy Dream                                                 PA0001159601      EMI Blackwood Music Inc.
 542   Deuces                                                      PA0001738384      EMI Blackwood Music Inc.
 543   Dime Mi Amor                                                PA0001159602      EMI Blackwood Music Inc.
 544   Disease (Live from Blueroom)                                PA0001105084      EMI Blackwood Music Inc.
 545   Dreamer                                                     PA0001071485      EMI Blackwood Music Inc.
 546   Dust in The Wind                                            RE0000912166      EMI Blackwood Music Inc.
 547   English Town                                                PA0001850285      EMI Blackwood Music Inc.
 548   Even The Stars Fall 4 U                                     PA0001072625      EMI Blackwood Music Inc.
 549   Everybody                                                   PA0001592998      EMI Blackwood Music Inc.
 550   Far From Home                                               PA0001641064      EMI Blackwood Music Inc.
 551   Forever In Love                                             PA0000597869      EMI Blackwood Music Inc.
 552   Get Out Alive                                               PA0001164533      EMI Blackwood Music Inc.
 553   Get To Me                                                   PA0001867242      EMI Blackwood Music Inc.
 554   Goodbye Earl                                                PA0000969189      EMI Blackwood Music Inc.
 555   Heaven                                                      PA0001158408      EMI Blackwood Music Inc.
 556   Heaven                                                      PA0001159600      EMI Blackwood Music Inc.
 557   Hi-Definitions                                              PA0001600815      EMI Blackwood Music Inc.
 558   Hollywood                                                   PA0001159603      EMI Blackwood Music Inc.




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                                  Track                                Reg. No.                                  Plaintiff
 559   Homecoming Queen                                            PA0001162966       EMI Blackwood Music Inc.
 560   How Long                                                    PA0001162974       EMI Blackwood Music Inc.
 561   I Ain't Ready To Quit                                       PA0001728141       EMI Blackwood Music Inc.
 562   I Drive Your Truck                                          PA0001900113       EMI Blackwood Music Inc.
 563   If U Seek Amy                                               PA0001881662       EMI Blackwood Music Inc.
 564   If You Can Do Anything Else                                 PA0000981323       EMI Blackwood Music Inc.
 565   In My Business                                              PA0000931051       EMI Blackwood Music Inc.
 566   International Harvester                                     PA0001642429       EMI Blackwood Music Inc.
 567   It's OK                                                     PA0001769596       EMI Blackwood Music Inc.
 568   Jaded                                                       PA0001042785       EMI Blackwood Music Inc.
 569   La Contestacion                                             PA0001159599       EMI Blackwood Music Inc.
 570   Last Kiss Goodbye                                           PA0001641015       EMI Blackwood Music Inc.
 571   Leave                                                       PA0001006950       EMI Blackwood Music Inc.
 572   Lips Of An Angel                                            PA0001162967       EMI Blackwood Music Inc.
 573   Little Bit Of Everything                                    PA0001947440       EMI Blackwood Music Inc.
 574   Loaded and Alone                                            PA0001641065       EMI Blackwood Music Inc.
 575   Long Distance Interlude                                     PA0001641290       EMI Blackwood Music Inc.
 576   Love Ain't Like That                                        PA0000894510       EMI Blackwood Music Inc.
 577   Mexicoma                                                    PA0001910901       EMI Blackwood Music Inc.
 578   Migra                                                       PA0000972927       EMI Blackwood Music Inc.
 579   Miss You Being Gone                                         PA0001727845       EMI Blackwood Music Inc.
 580   More Than Love                                              PA0001159604       EMI Blackwood Music Inc.
 581   My President                                                PA0001697454       EMI Blackwood Music Inc.
 582   N.I.*.*.E.R. (The Slave and the Master)                     PA0001396103       EMI Blackwood Music Inc.
 583   No One Gonna Love You                                       PA0001738399       EMI Blackwood Music Inc.
 584   Nobody Else                                                 PA0001159606       EMI Blackwood Music Inc.
 585   Nothin' Good About Goodbye                                  PA0001162969       EMI Blackwood Music Inc.
 586   Now I Know                                                  PA0001162729       EMI Blackwood Music Inc.
 587   Nowhere Fast                                                PA0001642920       EMI Blackwood Music Inc.
 588   On My Own                                                   PA0001164541       EMI Blackwood Music Inc.
 589   Onda                                                        PA0001160202       EMI Blackwood Music Inc.
 590   One X                                                       PA0001164536       EMI Blackwood Music Inc.
 591   Out of Character                                            PA0001395668       EMI Blackwood Music Inc.
 592   Over And Over                                               PA0001164542       EMI Blackwood Music Inc.
 593   Parking Lot Party                                           PA0001900112       EMI Blackwood Music Inc.
 594   Pirate Flag                                                 PA0001904652       EMI Blackwood Music Inc.
 595   Pontoon                                                     PA0002049153       EMI Blackwood Music Inc.
 596   Praise You Forever                                          PA0001708382       EMI Blackwood Music Inc.
 597   Prayin' For You/Superman                                    PA0001627414       EMI Blackwood Music Inc.
 598   Promise                                                     PA0001166650       EMI Blackwood Music Inc.
 599   Pucker Up                                                   PA0001649988       EMI Blackwood Music Inc.
 600   Raining In Baltimore                                        PA0000708863       EMI Blackwood Music Inc.
 601   Real Emotions                                               PA0001159607       EMI Blackwood Music Inc.
 602   Right There                                                 PA0001745930       EMI Blackwood Music Inc.
 603   Riot                                                        PA0001164535       EMI Blackwood Music Inc.
 604   Room 21                                                     PA0001162970       EMI Blackwood Music Inc.
 605   Round Here                                                  PA0000708854       EMI Blackwood Music Inc.
 606   Say Anything                                                PA0001157807       EMI Blackwood Music Inc.
 607   Say Goodnight                                               PA0001756544       EMI Blackwood Music Inc.
 608   See You Again                                               PA0001807700       EMI Blackwood Music Inc.
 609   Senorita                                                    PA0001159605       EMI Blackwood Music Inc.
 610   She Thinks My Tractor's Sexy                                PA0000950753       EMI Blackwood Music Inc.
 611   She's So California                                         PA0001695824       EMI Blackwood Music Inc.
 612   Should've Kissed You                                        PA0001772278       EMI Blackwood Music Inc.
 613   Shoulda                                                     PA0001162975       EMI Blackwood Music Inc.
 614   Silhouette                                                  PA0000428657       EMI Blackwood Music Inc.
 615   Something To Do With My Hands                               PA0001800963       EMI Blackwood Music Inc.
 616   Songbird                                                    PA0000330273       EMI Blackwood Music Inc.
 617   Spend That                                                  PA0001933956       EMI Blackwood Music Inc.
 618   Tell Me Why                                                 PA0001159608       EMI Blackwood Music Inc.
 619   That's Why I'm Here                                         PA0000867535       EMI Blackwood Music Inc.
 620   The Best is Yet to Come                                     PA0001641028       EMI Blackwood Music Inc.
 621   The Dollar                                                  PA0001163958       EMI Blackwood Music Inc.
 622   The More Boys I Meet                                        PAu003038078       EMI Blackwood Music Inc.
 623   The One That Got Away                                       PA0001818449       EMI Blackwood Music Inc.
 624   The Recession                                               PA0001640694       EMI Blackwood Music Inc.
 625   The Recession (Intro)                                       PA0001640694       EMI Blackwood Music Inc.
 626   There Goes My Baby                                          PA0001716542       EMI Blackwood Music Inc.




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                                Track                                  Reg. No.                                  Plaintiff
 627   Thing For You                                               PA0001641062       EMI Blackwood Music Inc.
 628   Time Flies                                                  PA0001807051       EMI Blackwood Music Inc.
 629   U Dont Know Me (Like U Used To)                             PA0000965774       EMI Blackwood Music Inc.
 630   Unwell                                                      PA0001104578       EMI Blackwood Music Inc.
 631   Up All Night                                                PA0001641019       EMI Blackwood Music Inc.
 632   Use Me                                                      PA0001640932       EMI Blackwood Music Inc.
 633   Velvet Sky                                                  PA0001159613       EMI Blackwood Music Inc.
 634   We're Young and Beautiful                                   PA0001162893       EMI Blackwood Music Inc.
 635   What About Now                                              PA0001166336       EMI Blackwood Music Inc.
 636   When I Grow Up                                              PA0001640788       EMI Blackwood Music Inc.
 637   When You Touch Me                                           PA0001072626       EMI Blackwood Music Inc.
 638   Why                                                         PA0001660621       EMI Blackwood Music Inc.
 639   Wine After Whiskey                                          PA0001807696       EMI Blackwood Music Inc.
 640   Without You                                                 PA0001641023       EMI Blackwood Music Inc.
 641   You Lie                                                     PA0001728328       EMI Blackwood Music Inc.
 642   Your Man                                                    PA0001163481       EMI Blackwood Music Inc.
 643   (I Got That) Boom Boom                                      PA0001158397       EMI Blackwood Music Inc.
 644   10 Days Late                                                PA0000986880       EMI Blackwood Music Inc.
 645   All About Tonight                                           PA0001716538       EMI Blackwood Music Inc.
 646   Amazin'                                                     PA0001640767       EMI Blackwood Music Inc.
 647   Ballin'                                                     PA0001855548       EMI Blackwood Music Inc.
 648   BGTY                                                        PA0001760358       EMI Blackwood Music Inc.
 649   Black Crowns                                                PA0001788405       EMI Blackwood Music Inc.
 650   Boys 'Round Here                                            PA0001837383       EMI Blackwood Music Inc.
 651   Burning Bright                                              PA0001278083       EMI Blackwood Music Inc.
 652   Call Me                                                     PA0001601050       EMI Blackwood Music Inc.
 653   Calling                                                     PA0001832167       EMI Blackwood Music Inc.
 654   Careless World                                              PA0001788401       EMI Blackwood Music Inc.
 655   Celebration                                                 PA0001788393       EMI Blackwood Music Inc.
 656   Circulate                                                   PA0001640772       EMI Blackwood Music Inc.
 657   Contagious                                                  PA0001354282       EMI Blackwood Music Inc.
 658   Cool                                                        PA0001627481       EMI Blackwood Music Inc.
 659   Crazy World                                                 PA0001640764       EMI Blackwood Music Inc.
 660   Devour                                                      PA0001601052       EMI Blackwood Music Inc.
 661   Dive                                                        PA0001828070       EMI Blackwood Music Inc.
 662   Do It All                                                   PA0001788396       EMI Blackwood Music Inc.
 663   Don't You Know                                              PA0001640771       EMI Blackwood Music Inc.
 664   Everything Back But You                                     PA0001167505       EMI Blackwood Music Inc.
 665   Faded                                                       PA0001788407       EMI Blackwood Music Inc.
 666   Far Away                                                    PA0001788325       EMI Blackwood Music Inc.
 667   Fine Again                                                  PA0001627411       EMI Blackwood Music Inc.
 668   Get Allot                                                   PA0001640710       EMI Blackwood Music Inc.
 669   Get Stoned                                                  PA0001162973       EMI Blackwood Music Inc.
 670   Good Ole Boys                                               PA0001760428       EMI Blackwood Music Inc.
 671   Her Heart                                                   PA0001768280       EMI Blackwood Music Inc.
 672   Honestly                                                    PA0001972855       EMI Blackwood Music Inc.
 673   Honey Bee                                                   PA0001760410       EMI Blackwood Music Inc.
 674   Hustlaz Ambition                                            PA0001640768       EMI Blackwood Music Inc.
 675   I Did It For Sho                                            PA0001627415       EMI Blackwood Music Inc.
 676   If You Only Knew                                            PA0001601046       EMI Blackwood Music Inc.
 677   Involve Yourself                                            PA0001395666       EMI Blackwood Music Inc.
 678   Jesse James                                                 PA0000787272       EMI Blackwood Music Inc.
 679   Lay You Down                                                PA0001788308       EMI Blackwood Music Inc.
 680   Light Dreams                                                PA0001783047       EMI Blackwood Music Inc.
 681   Love Game                                                   PA0001788312       EMI Blackwood Music Inc.
 682   Mine Would Be You                                           PA0001859225       EMI Blackwood Music Inc.
 683   Muthaf**ka Up                                               PA0001788404       EMI Blackwood Music Inc.
 684   My Happy Ending                                             PA0001159309       EMI Blackwood Music Inc.
 685   Potty Mouth                                                 PA0001783085       EMI Blackwood Music Inc.
 686   Red Light                                                   PA0001241918       EMI Blackwood Music Inc.
 687   Second Chance                                               PA0001601042       EMI Blackwood Music Inc.
 688   Sin With A Grin                                             PA0001601054       EMI Blackwood Music Inc.
 689   Sound Of Madness                                            PA0001601045       EMI Blackwood Music Inc.
 690   Spectrum                                                    PA0001832077       EMI Blackwood Music Inc.
 691   Ten Times Crazier                                           PA0001859226       EMI Blackwood Music Inc.
 692   The Best Damn Thing                                         PA0001354251       EMI Blackwood Music Inc.
 693   The Crow & The Butterfly                                    PA0001601051       EMI Blackwood Music Inc.
 694   This Is Like                                                PA0001788320       EMI Blackwood Music Inc.




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                                  Track                                Reg. No.                                               Plaintiff
 695   Til I Forget About You                                      PA0001733313       EMI Blackwood Music Inc.
 696   Vacation                                                    PA0001640774       EMI Blackwood Music Inc.
 697   Welcome Back                                                PA0001640693       EMI Blackwood Music Inc.
 698   What A Shame                                                PA0001601047       EMI Blackwood Music Inc.
 699   What They Want                                              PA0001640765       EMI Blackwood Music Inc.
 700   They Ready                                                  PA0001995515       EMI Blackwood Music Inc. / EMI Al Gallico Music Corp. / WB Music Corp.
 701   Chemicals Collide                                           PA0001735285       EMI Blackwood Music Inc. / EMI April Music Inc.
 702   Disease                                                     PA0001105084       EMI Blackwood Music Inc. / EMI April Music Inc.
 703   God Given Name                                              PA0001610591       EMI Blackwood Music Inc. / EMI April Music Inc.
 704   Hey You                                                     PA0001831262       EMI Blackwood Music Inc. / EMI April Music Inc.
 705   I Decided                                                   PA0001608769       EMI Blackwood Music Inc. / EMI April Music Inc.
 706   Ode to Marvin                                               PA0001608798       EMI Blackwood Music Inc. / EMI April Music Inc.
 707   Real Thing                                                  PA0001735194       EMI Blackwood Music Inc. / EMI April Music Inc.
 708   Sandcastle Disco                                            PA0001615101       EMI Blackwood Music Inc. / EMI April Music Inc.
 709   T.O.N.Y.                                                    PA0001608776       EMI Blackwood Music Inc. / EMI April Music Inc.
 710   Take You Out                                                PA0001068165       EMI Blackwood Music Inc. / EMI April Music Inc.
 711   Would've Been the One                                       PA0001608779       EMI Blackwood Music Inc. / EMI April Music Inc.
 712   The Great Escape                                            PA0001165808       EMI Blackwood Music Inc. / EMI April Music Inc.
                                                                   PA0001848047
                                                                                      EMI Blackwood Music Inc. / EMI April Music Inc. / WB Music Corp. / Warner-Tamerlane
 713 We Made You                                                   PA0001706448
                                                                                      Publishing Corp.
                                                                   PA0001957226
 714   Lil Freak                                                   PA0001700473       EMI Blackwood Music Inc. / Jobete Music Co. Inc. / EMI April Music Inc.
 715   Ay Chico (Lengua Afuera)                                    PA0001166251       EMI Blackwood Music Inc. / Sony/ATV Music Publishing LLC
 716   Back in Time                                                PA0001833789       EMI Blackwood Music Inc. / Sony/ATV Music Publishing LLC
 717   Black Leather Jacket                                        PA0001947438       EMI Blackwood Music Inc. / Sony/ATV Music Publishing LLC
 718   Blame It On Waylon                                          PA0001896309       EMI Blackwood Music Inc. / Sony/ATV Music Publishing LLC
 719   Clarity                                                     PA0001832089       EMI Blackwood Music Inc. / Sony/ATV Music Publishing LLC
 720   Glad You're Here                                            PA0001167415       EMI Blackwood Music Inc. / Sony/ATV Music Publishing LLC
 721   Hurry Baby                                                  PA0001910891       EMI Blackwood Music Inc. / Sony/ATV Music Publishing LLC
 722   I Won't Go Crazy                                            PA0001777806       EMI Blackwood Music Inc. / Sony/ATV Music Publishing LLC
 723   I'm Off That                                                PA0001833780       EMI Blackwood Music Inc. / Sony/ATV Music Publishing LLC
 724   Ice Cold                                                    PA0001854208       EMI Blackwood Music Inc. / Sony/ATV Music Publishing LLC
 725   Independence                                                PA0001728329       EMI Blackwood Music Inc. / Sony/ATV Music Publishing LLC
 726   Iz U Down                                                   PA0001899885       EMI Blackwood Music Inc. / Sony/ATV Music Publishing LLC
 727   Lasso                                                       PA0001728410       EMI Blackwood Music Inc. / Sony/ATV Music Publishing LLC
 728   Last Night                                                  PA0001833744       EMI Blackwood Music Inc. / Sony/ATV Music Publishing LLC
 729   Love's Poster Child                                         PA0001947446       EMI Blackwood Music Inc. / Sony/ATV Music Publishing LLC
 730   Muny                                                        PA0001786604       EMI Blackwood Music Inc. / Sony/ATV Music Publishing LLC
 731   Pause                                                       PA0001780988       EMI Blackwood Music Inc. / Sony/ATV Music Publishing LLC
 732   Show Me                                                     PA0001933694       EMI Blackwood Music Inc. / Sony/ATV Music Publishing LLC
 733   Stop Cheatin' On Me                                         PA0001907989       EMI Blackwood Music Inc. / Sony/ATV Music Publishing LLC
 734   Teeth                                                       PA0001751976       EMI Blackwood Music Inc. / Sony/ATV Music Publishing LLC
                                                                   PA0001690182       EMI Blackwood Music Inc. / Sony/ATV Music Publishing LLC / EMI April Music Inc. /
 735 Love In This Club
                                                                   PA0001659003       Warner-Tamerlane Publishing Corp.
                                                                   PA0001690182       EMI Blackwood Music Inc. / Sony/ATV Music Publishing LLC / EMI April Music Inc. /
 736 Love in This Club, Pt. II
                                                                   PA0001659003       Warner-Tamerlane Publishing Corp.
                                                                   PA0001690182       EMI Blackwood Music Inc. / Sony/ATV Music Publishing LLC / EMI April Music Inc. /
 737 Love in This Club, Pt. II
                                                                   PA0001658976       Warner-Tamerlane Publishing Corp.
 738 Untitled                                                      PA0001735849       EMI Blackwood Music Inc. / Unichappell Music, Inc.
                                                                   PA0001835409
 739 No Such Thing As Too Late                                                        EMI Blackwood Music Inc. / W.B.M. Music Corp.
                                                                   PA0001882752
 740 Sunburnt Lips                                                 PA0001884828       EMI Blackwood Music Inc. / W.B.M. Music Corp.
                                                                   PA0001953394
 741 Drink to That All Night                                                          EMI Blackwood Music Inc. / W.B.M. Music Corp. / WB Music Corp.
                                                                   PA0001910988
 742 I Don't See 'Em                                               PA0002071585       EMI Blackwood Music Inc. / Warner-Tamerlane Publishing Corp.
 743 Manager                                                       PA0001647731       EMI Blackwood Music Inc. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001856241
 744 Alone                                                                            EMI Blackwood Music Inc. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001786329
                                                                   PA0001771887
 745 Blind                                                                            EMI Blackwood Music Inc. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001728367
 746 Burn The House                                                PA0001976123       EMI Blackwood Music Inc. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001856245
 747 Can't Be Friends                                                                 EMI Blackwood Music Inc. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001787041
                                                                   PA0001680553
 748 Duffle Bag Boy                                                                   EMI Blackwood Music Inc. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001590878
                                                                   PA0001814506
 749 Echoes Interlude                                                                 EMI Blackwood Music Inc. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001788398




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                                 Track                                 Reg. No.                                             Plaintiff
                                                                   PA0001263487
 750 Goodies                                                                          EMI Blackwood Music Inc. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001241896
                                                                   PA0001058124
 751 I'm A Dog                                                                        EMI Blackwood Music Inc. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001114111
                                                                   PA0001802342
 752 Let It Show                                                                      EMI Blackwood Music Inc. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001788316
                                                                   PA0001850546
 753 Live Your Life                                                                   EMI Blackwood Music Inc. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001654952
                                                                   PA0001856242
 754 Massage                                                                          EMI Blackwood Music Inc. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001786345
                                                                   PA0001763331
 755 Motivation                                                                       EMI Blackwood Music Inc. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001760929
                                                                   PA0001842289
 756 No Worries                                                                       EMI Blackwood Music Inc. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001885790
                                                                   PA0001299027
 757 Number One                                                                       EMI Blackwood Music Inc. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001160616
 758 Triple Beam Dream                                             PA0001868417       EMI Blackwood Music Inc. / Warner-Tamerlane Publishing Corp.
 759 We Owned The Night                                            PA0001817027       EMI Blackwood Music Inc. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001834384
 760 Up In It                                                                         EMI Blackwood Music Inc. / Warner-Tamerlane Publishing Corp. / W.B.M. Music Corp.
                                                                   PA0001951620
 761 Body Party                                                    PA0001898101       EMI Blackwood Music Inc. / Warner-Tamerlane Publishing Corp. / WB Music Corp.
                                                                   PA0001590007
 762 Get Out Of This Town                                                             EMI Blackwood Music Inc. / Warner/Chappell Music, Inc.
                                                                   PA0001396401
 763   Angel                                                       PA0001976122       EMI Blackwood Music Inc. / WB Music Corp.
 764   Anywhere With You                                           PA0001917492       EMI Blackwood Music Inc. / WB Music Corp.
 765   Don't Pay 4 It                                              PA0001852368       EMI Blackwood Music Inc. / WB Music Corp.
 766   Everything                                                  PA0001640776       EMI Blackwood Music Inc. / WB Music Corp.
                                                                   PA0001814505
 767 For The Fame                                                                     EMI Blackwood Music Inc. / WB Music Corp.
                                                                   PA0001788406
 768 Gimmie That Girl                                              PA0001741424       EMI Blackwood Music Inc. / WB Music Corp.
                                                                   PA0001832802
 769 How Many Drinks?                                                                 EMI Blackwood Music Inc. / WB Music Corp.
                                                                   PA0001917890
 770 It Was Faith                                                  PA0001657887       EMI Blackwood Music Inc. / WB Music Corp.
 771 O Let's Do It                                                 PA0001847140       EMI Blackwood Music Inc. / WB Music Corp.
                                                                   PA0001771886
 772 Red Lipstick                                                                     EMI Blackwood Music Inc. / WB Music Corp.
                                                                   PA0001786336
                                                                   PA0000627933
 773 Sentimental                                                                      EMI Blackwood Music Inc. / WB Music Corp.
                                                                   PA0000597871
                                                                   PA0001741424
 774 The Shape I'm In                                                                 EMI Blackwood Music Inc. / WB Music Corp.
                                                                   PA0001717909
 775   Up To You                                                   PA0001750517       EMI Blackwood Music Inc. / WB Music Corp.
 776   Billionaire                                                 PA0001740847       EMI Blackwood Music Inc. / WB Music Corp.
 777   Cameltosis                                                  PA0001058923       EMI Blackwood Music Inc. / WB Music Corp.
 778   Fingerprints                                                PA0001687080       EMI Blackwood Music Inc. / WB Music Corp.
 779   Generation Away                                             PA0001864847       EMI Blackwood Music Inc. / WB Music Corp. / W.B.M. Music Corp.
 780   100 Favors                                                  PA0001976129       EMI Blackwood Music Inc. / WB Music Corp. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001848044
 781 3 a.m.                                                                           EMI Blackwood Music Inc. / WB Music Corp. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001707168
                                                                   PA0001693859
 782 Back in the Day                                                                  EMI Blackwood Music Inc. / WB Music Corp. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001707143
                                                                   PA0001856248
 783 Bottoms Up                                                                       EMI Blackwood Music Inc. / WB Music Corp. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001747296
                                                                   PA0001848045
 784 Deja Vu                                                                          EMI Blackwood Music Inc. / WB Music Corp. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001706428
                                                                   PA0001825014
 785 Good Good Night                                                                  EMI Blackwood Music Inc. / WB Music Corp. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001814345
 786 High                                                          PA0001808178       EMI Blackwood Music Inc. / WB Music Corp. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001848044
 787 Insane                                                                           EMI Blackwood Music Inc. / WB Music Corp. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001666843
                                                                   PA0001693858
 788 Kick It In The Sticks                                                            EMI Blackwood Music Inc. / WB Music Corp. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001707147
                                                                   PA0001814504
 789 King & Queens                                                                    EMI Blackwood Music Inc. / WB Music Corp. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001788319
                                                                   PA0001848040
 790 Must Be The Ganja                                                                EMI Blackwood Music Inc. / WB Music Corp. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001706429
                                                                   PA0001693858
 791 My Kind of Crazy                                                                 EMI Blackwood Music Inc. / WB Music Corp. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001707144




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                                 Track                                 Reg. No.                                                Plaintiff
                                                                   PA0001848040
 792 Old Time's Sake                                                                  EMI Blackwood Music Inc. / WB Music Corp. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001706421
                                                                   PA0001861898
 793 So Bad                                                                           EMI Blackwood Music Inc. / WB Music Corp. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001730981
                                                                   PA0001848044
 794 Stay Wide Awake                                                                  EMI Blackwood Music Inc. / WB Music Corp. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001943940
                                                                   PA0001852373
 795 Take It To The Head                                                              EMI Blackwood Music Inc. / WB Music Corp. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001844665
                                                                   PA0001870876
 796 Play It Again                                                                    EMI Blackwood Music Inc. / WB Music Corp. / Warner/Chappell Music, Inc.
                                                                   PA0001967424
 797   Paris, Tokyo                                                PA0001600832       EMI Consortium Music Publishing, Inc. d/b/a EMI Full Keel Music
 798   She's Got It All                                            PA0000886673       EMI Consortium Music Publishing, Inc. d/b/a EMI Full Keel Music
 799   Angel Flying Too Close To The Ground                        PA0000049322       EMI Consortium Songs Inc.
 800   The Only Way                                                PA0001163482       EMI Consortium Songs Inc. d/b/a EMI Longitude Music
 801   A Baltimore Love Thing                                      PA0001160841       EMI Consortium Songs, Inc. d/b/a EMI Longitude Music
 802   Commander (feat. David Guetta) (Radio Edit)                 PA0001750325       EMI Entertainment World Inc. d/b/a EMI Foray Music
 803   Feelin Me Right Now                                         PA0001760951       EMI Entertainment World Inc. d/b/a EMI Foray Music
 804   All Of The Night                                            PA0001868329       EMI Entertainment World Inc. d/b/a EMI Foray Music / W.B.M. Music Corp.
                                                                                      EMI Entertainment World Inc. d/b/a EMI Foray Music / Warner-Tamerlane Publishing
 805 2012                                                          PA0001842279
                                                                                      Corp.
                                                                   PA0001058125
 806 Trucker Anthem                                                                   EMI Feist Catalog Inc. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001142644
 807   Super High                                                  PA0001821907       EMI Jemaxal Music Inc.
 808   GATman And Robbin                                           PA0001160842       EMI Miller Catalog Inc.
 809   Mighty "O"                                                  PA0001165509       EMI Mills Music, Inc.
 810   Down With The King                                          PA0001143443       EMI U Catalog Inc.
 811   Forbidden Fruit                                             PA0001975701       EMI Unart Catalog Inc.
 812   Let It Roll                                                 PA0001824804       EMI Unart Catalog Inc. / Sony/ATV Music Publishing LLC
 813   Two Words                                                   PA0001292803       Intersong U.S.A. Inc.
 814   This Is The Day                                             PA0001277414       Island Music Limited
 815   Time Is Ticking Out                                         PA0001277412       Island Music Limited
 816   Ain't That Peculiar                                         EP0000203959       Jobete Music Co Inc.
 817   Trouble Man                                                 EP0000307204       Jobete Music Co Inc.
                                                                   Eu0000750856
 818 Hitch Hike                                                                       Jobete Music Co Inc. / Stone Agate Music (a division of Jobete Music Co. Inc.)
                                                                   RE0000498339
 819   If I Could Build My Whole World Around You                  EP0000229884       Jobete Music Co Inc. / Stone Agate Music (a division of Jobete Music Co. Inc.)
 820   What's Going On                                             EP0000281238       Jobete Music Co Inc. / Stone Agate Music (a division of Jobete Music Co. Inc.)
 821   You                                                         EP0000232619       Jobete Music Co Inc. / Stone Agate Music (a division of Jobete Music Co. Inc.)
 822   Ain't Nothing Like The Real Thing                           EP0000234188       Jobete Music Co. Inc.
 823   Come Get To This                                            EP0000315837       Jobete Music Co. Inc.
 824   Distant Lover                                               EP0000323322       Jobete Music Co. Inc.
 825   Good Lovin' Ain't Easy To Come By                           EP0000254456       Jobete Music Co. Inc.
 826   I Ain't Mad At Cha                                          PA0001070600       Jobete Music Co. Inc.
 827   I'll Be Doggone                                             EP0000198501       Jobete Music Co. Inc.
 828   Inner City Blues (Make Me Wanna Holler)                     EP0000287807       Jobete Music Co. Inc.
 829   Mercy Mercy Me (The Ecology)                                EP0000288939       Jobete Music Co. Inc.
 830   Never Can Say Goodbye                                       Eu0000187089       Jobete Music Co. Inc.
 831   Stay Fly                                                    PA0001328092       Jobete Music Co. Inc.
 832   The Onion Song                                              EP0000259283       Jobete Music Co. Inc.
 833   Too Busy Thinking About My Baby                             EP0000219339       Jobete Music Co. Inc.
       When Did You Stop Loving Me, When Did I Stop Loving
 834                                                               PA0000041232       Jobete Music Co. Inc.
       You
 835   You're A Wonderful One                                      EP0000330074       Jobete Music Co. Inc.
 836   You're All I Need To Get By                                 EP0000246516       Jobete Music Co. Inc.
 837   Your Precious Love                                          EP0000232154       Jobete Music Co. Inc.
 838   Anger                                                       PA0000041233       Jobete Music Co. Inc. / Stone Diamond Music Corp.
 839   Let's Get It On                                             EP0000314589       Jobete Music Co. Inc. / Stone Diamond Music Corp.
 840   3                                                           PA0001744943       Polygram Publishing, Inc.
 841   1/2 Full                                                    PA0001134600       Polygram Publishing, Inc.
 842   After The Storm                                             PA0001932494       Polygram Publishing, Inc.
 843   All or None                                                 PA0001134602       Polygram Publishing, Inc.
 844   Amy Amy Amy                                                 PA0001792200       Polygram Publishing, Inc.
                                                                   PA0000863872
 845 Anybody Seen My Baby?                                                            Polygram Publishing, Inc.
                                                                   PA0000938844
 846   Arc                                                         PA0001134601       Polygram Publishing, Inc.
 847   Army Reserve                                                PA0001701781       Polygram Publishing, Inc.
 848   Around The Bend                                             PAu002141246       Polygram Publishing, Inc.
 849   Babel                                                       PA0001818828       Polygram Publishing, Inc.




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                                Track                                  Reg. No.                                   Plaintiff
 850   Babylon                                                     PA0000340645       Polygram Publishing, Inc.
 851   Below My Feet                                               PA0001818826       Polygram Publishing, Inc.
 852   Between Two Lungs                                           PA0001892800       Polygram Publishing, Inc.
 853   Big Wave                                                    PA0001701775       Polygram Publishing, Inc.
 854   Black                                                       PA0000544550       Polygram Publishing, Inc.
 855   Blinding                                                    PA0001892797       Polygram Publishing, Inc.
 856   Blue Eyes                                                   PA0000148270       Polygram Publishing, Inc.
 857   Breakerfall                                                 PA0001006823       Polygram Publishing, Inc.
 858   Breathe On Me                                               PA0001219076       Polygram Publishing, Inc.
 859   Broken Crown                                                PA0001818825       Polygram Publishing, Inc.
 860   Bu$hleaguer                                                 PA0001134599       Polygram Publishing, Inc.
 861   Bugs                                                        PA0000663647       Polygram Publishing, Inc.
 862   Can You Feel The Love Tonight                               PAu001864442       Polygram Publishing, Inc.
 863   Can't Keep                                                  PA0001134588       Polygram Publishing, Inc.
 864   Candle In The Wind 1997                                     PA0000861158       Polygram Publishing, Inc.
 865   Clint Eastwood                                              PA0001066504       Polygram Publishing, Inc.
 866   Come Back                                                   PA0001701782       Polygram Publishing, Inc.
 867   Cosmic Love                                                 PA0001892799       Polygram Publishing, Inc.
                                                                   EFO000159444
                                                                   RE0000822540
 868 Crocodile Rock                                                                   Polygram Publishing, Inc.
                                                                   EP0000309236
                                                                   RE0000836270
 869 Cropduster                                                    PA0001134591       Polygram Publishing, Inc.
                                                                   EF0000161087
                                                                   RE0000822570
 870 Daniel                                                                           Polygram Publishing, Inc.
                                                                   EU0000387491
                                                                   RE0000836513
 871   Daniel in the Den                                           PA0001915733       Polygram Publishing, Inc.
 872   Deep                                                        PA0000544551       Polygram Publishing, Inc.
 873   Delayed Devotion                                            PA0001698343       Polygram Publishing, Inc.
 874   Dog Days Are Over                                           PA0001892802       Polygram Publishing, Inc.
                                                                   EU0000493982
 875 Don't Let The Sun Go Down On Me                                                  Polygram Publishing, Inc.
                                                                   RE0000857914
 876   Don't You Remember                                          PA0001734876       Polygram Publishing, Inc.
 877   Down And Out                                                PA0000126583       Polygram Publishing, Inc.
 878   Evacuation                                                  PA0001006825       Polygram Publishing, Inc.
 879   Even Flow                                                   PA0000544552       Polygram Publishing, Inc.
 880   Evil Ways                                                   RE0000774048       Polygram Publishing, Inc.
 881   First Episode At Hienton                                    RE0000750700       Polygram Publishing, Inc.
 882   Flaws (Cinematic's in My Soul Remix)                        PA0001915732       Polygram Publishing, Inc.
 883   Flaws (Live At KOKO)                                        PA0001915732       Polygram Publishing, Inc.
 884   For Those Below                                             PA0001818816       Polygram Publishing, Inc.
 885   Garden                                                      PA0000544553       Polygram Publishing, Inc.
 886   Get Home                                                    PA0001915736       Polygram Publishing, Inc.
 887   Get Right                                                   PA0001134596       Polygram Publishing, Inc.
 888   Ghost                                                       PA0001134592       Polygram Publishing, Inc.
 889   Ghosts That We Knew                                         PA0001818832       Polygram Publishing, Inc.
 890   Gods' Dice                                                  PA0001006824       Polygram Publishing, Inc.
 891   Gone                                                        PA0001701776       Polygram Publishing, Inc.
 892   Good Hearted Woman                                          RE0000664954       Polygram Publishing, Inc.
                                                                   EFO000170947
 893 Goodbye Yellow Brick Road                                                        Polygram Publishing, Inc.
                                                                   RE0000838312
 894   Green Disease                                               PA0001134597       Polygram Publishing, Inc.
 895   Grievance                                                   PA0001006831       Polygram Publishing, Inc.
 896   Habit                                                       PAu002141247       Polygram Publishing, Inc.
 897   Hanging On Too Long                                         PA0001698354       Polygram Publishing, Inc.
 898   Haunt                                                       PA0001917699       Polygram Publishing, Inc.
 899   He Won?t Go                                                 PA0001734873       Polygram Publishing, Inc.
 900   Heavy In Your Arms                                          PA0001776732       Polygram Publishing, Inc.
 901   Help Help                                                   PA0001134598       Polygram Publishing, Inc.
 902   Higher Ground                                               PA0000798022       Polygram Publishing, Inc.
 903   Holland Road                                                PA0001818831       Polygram Publishing, Inc.
 904   Hopeless Wanderer                                           PA0001818824       Polygram Publishing, Inc.
 905   How I Roll                                                  PA0001767515       Polygram Publishing, Inc.
 906   Howl                                                        PA0001892798       Polygram Publishing, Inc.
 907   Humming Bird                                                PA0001806288       Polygram Publishing, Inc.
                                                                   EU0000580612
 908 I Ain't Never                                                                    Polygram Publishing, Inc.
                                                                   RE0000346333




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                                                                     EXHIBIT B - MUSICAL COMPOSITIONS

                                  Track                                Reg. No.                                   Plaintiff
 909   I Guess That's Why They Call It The Blues                   PA0000176776       Polygram Publishing, Inc.
 910   I Love It                                                   PA0002084281       Polygram Publishing, Inc.
 911   I Love You                                                  PA0001806282       Polygram Publishing, Inc.
 912   I Will Wait                                                 PA0001818830       Polygram Publishing, Inc.
 913   I?ll Be Waiting                                             PA0001734871       Polygram Publishing, Inc.
 914   I'm Not Calling You A Liar                                  PA0001892801       Polygram Publishing, Inc.
 915   I'm Open                                                    PAu002141245       Polygram Publishing, Inc.
 916   I'm Still Standing                                          PA0000094296       Polygram Publishing, Inc.
 917   Icarus                                                      PA0001915730       Polygram Publishing, Inc.
 918   If It Happens Again                                         PA0000798031       Polygram Publishing, Inc.
 919   If It Kills Me                                              PA0001679623       Polygram Publishing, Inc.
 920   In My Tree                                                  PAu002141250       Polygram Publishing, Inc.
 921   Inside Job                                                  PA0001701783       Polygram Publishing, Inc.
 922   Inside Your Heaven                                          PA0001292859       Polygram Publishing, Inc.
 923   Insignificance                                              PA0001006829       Polygram Publishing, Inc.
                                                                   PA0000057204
 924 It Must Be Love                                                                  Polygram Publishing, Inc.
                                                                   PA0000018884
 925   It's Not Enough                                             PA0000457166       Polygram Publishing, Inc.
 926   Just Don't                                                  PA0001752532       Polygram Publishing, Inc.
 927   Keep Walkin' On                                             PA0000583382       Polygram Publishing, Inc.
 928   Kiss With A Fist                                            PA0001892795       Polygram Publishing, Inc.
 929   Last Exit                                                   PA0000663639       Polygram Publishing, Inc.
 930   Latch                                                       PA0001916095       Polygram Publishing, Inc.
 931   Laughter Lines                                              PA0001915739       Polygram Publishing, Inc.
 932   Leatherman                                                  PA0001146750       Polygram Publishing, Inc.
 933   Life Wasted                                                 PA0001701738       Polygram Publishing, Inc.
 934   Little Jeannie                                              PA0000262822       Polygram Publishing, Inc.
 935   Little Lion Man                                             PA0001932483       Polygram Publishing, Inc.
 936   Love Boat Captain                                           PA0001134590       Polygram Publishing, Inc.
 937   Love For A Child                                            PA0001679625       Polygram Publishing, Inc.
 938   Love Me                                                     PA0001816048       Polygram Publishing, Inc.
 939   Love Rescue Me                                              PA0000410155       Polygram Publishing, Inc.
 940   Lover Of The Light                                          PA0001818820       Polygram Publishing, Inc.
 941   Lovers' Eyes                                                PA0001818822       Polygram Publishing, Inc.
 942   Lukin                                                       PAu002141242       Polygram Publishing, Inc.
 943   Mad House                                                   PA0001669186       Polygram Publishing, Inc.
 944   Mankind                                                     PAu002141244       Polygram Publishing, Inc.
 945   Marina Del Rey                                              PA0000132713       Polygram Publishing, Inc.
 946   Marker In The Sand                                          PA0001701759       Polygram Publishing, Inc.
 947   Mercy                                                       PA0001698348       Polygram Publishing, Inc.
 948   Monkey Man                                                  PA0000086306       Polygram Publishing, Inc.
 949   Music                                                       PA0001823264       Polygram Publishing, Inc.
 950   My Dear Mr. Gaye                                            PA0000237265       Polygram Publishing, Inc.
 951   Nikita                                                      PA0000267371       Polygram Publishing, Inc.
                                                                   PA0000310517
 952 Nobody In His Right Mind Would've Left Her                                       Polygram Publishing, Inc.
                                                                   PA0000088151
 953   Not With Haste                                              PA0001818827       Polygram Publishing, Inc.
 954   Oblivion                                                    PA0001915731       Polygram Publishing, Inc.
 955   Oceans                                                      PA0000544555       Polygram Publishing, Inc.
 956   October Song                                                PA0001792201       Polygram Publishing, Inc.
 957   Of The Girl                                                 PA0001006830       Polygram Publishing, Inc.
 958   Ohio                                                        PA0001245008       Polygram Publishing, Inc.
 959   Once                                                        PA0000544557       Polygram Publishing, Inc.
 960   One And Only                                                PA0001734869       Polygram Publishing, Inc.
 961   One Foot Wrong                                              PA0001698064       Polygram Publishing, Inc.
 962   One In Ten                                                  PA0000820149       Polygram Publishing, Inc.
 963   Only Human                                                  PA0001679599       Polygram Publishing, Inc.
 964   Overjoyed                                                   PA0001915735       Polygram Publishing, Inc.
 965   Parachutes                                                  PA0001701764       Polygram Publishing, Inc.
 966   Parting Ways                                                PA0001006835       Polygram Publishing, Inc.
 967   Philadelphia Freedom                                        RE0000875356       Polygram Publishing, Inc.
 968   Porch                                                       PA0000544556       Polygram Publishing, Inc.
 969   Present Tense                                               PAu002141243       Polygram Publishing, Inc.
 970   Pry, To                                                     PA0000663645       Polygram Publishing, Inc.
 971   Radio                                                       PA0001752514       Polygram Publishing, Inc.
 972   Rather Be feat. Jess Glynne                                 PA0002008748       Polygram Publishing, Inc.
 973   Red Mosquito                                                PAu002141240       Polygram Publishing, Inc.
 974   Release                                                     PA0000544558       Polygram Publishing, Inc.




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                                 Track                                 Reg. No.                                   Plaintiff
  975 Reminder                                                     PA0001818823       Polygram Publishing, Inc.
  976 Repeat (feat. Jessie J)                                      PA0001761918       Polygram Publishing, Inc.
  977 Right As Rain                                                PA0001735121       Polygram Publishing, Inc.
  978 Rival                                                        PA0001006832       Polygram Publishing, Inc.
  979 Rolling In The Deep                                          PA0001734866       Polygram Publishing, Inc.
  980 Rumour Has It                                                PA0001734865       Polygram Publishing, Inc.
  981 Runnin' Wit No Breaks                                        PA0000896405       Polygram Publishing, Inc.
  982 Sacrifice                                                    PA0000445454       Polygram Publishing, Inc.
  983 Satan's Bed                                                  PA0000663648       Polygram Publishing, Inc.
  984 Saturday Night's Alright (For Fighting)                      RE0000834705       Polygram Publishing, Inc.
  985 Set Fire To The Rain                                         PA0001734875       Polygram Publishing, Inc.
  986 Should I Stay Or Should I Go                                 PA0000146741       Polygram Publishing, Inc.
  987 Should've Been A Cowboy                                      PA0000606001       Polygram Publishing, Inc.
  988 Sigh No More                                                 PA0001932474       Polygram Publishing, Inc.
  989 Sixty Years On                                               RE0000750225       Polygram Publishing, Inc.
  990 Sleight Of Hand                                              PA0001006833       Polygram Publishing, Inc.
  991 Smile                                                        PAu002141249       Polygram Publishing, Inc.
  992 Someone Like You                                             PA0001734868       Polygram Publishing, Inc.
  993 Sometimes                                                    PAu002141252       Polygram Publishing, Inc.
  994 Song For Guy                                                 PA0000017378       Polygram Publishing, Inc.
  995 Soon Forget                                                  PA0001006834       Polygram Publishing, Inc.
  996 Sorry Seems To Be The Hardest Word                           RE0000895651       Polygram Publishing, Inc.
  997 Stepping Stone                                               PA0001698359       Polygram Publishing, Inc.
  998 Stole My Heart                                               PA0001830363       Polygram Publishing, Inc.
  999 Strangeness And Charm                                        PA0001781742       Polygram Publishing, Inc.
 1000 Stupidmop                                                    PA0000663652       Polygram Publishing, Inc.
 1001 Take It All                                                  PA0001734872       Polygram Publishing, Inc.
 1002 The Bridge                                                   PA0001343239       Polygram Publishing, Inc.
 1003 The Cave                                                     PA0001932476       Polygram Publishing, Inc.
 1004 The Silence                                                  PA0001915740       Polygram Publishing, Inc.
 1005 These Streets                                                PA0001915727       Polygram Publishing, Inc.
 1006 Thin Air                                                     PA0001006828       Polygram Publishing, Inc.
 1007 This Train Don't Stop There Anymore                          PA0001064725       Polygram Publishing, Inc.
 1008 Thumbing My Way                                              PA0001134594       Polygram Publishing, Inc.
 1009 Tinderbox                                                    PA0001343236       Polygram Publishing, Inc.
                                                                   EU0000283994
 1010 Tiny Dancer                                                                     Polygram Publishing, Inc.
                                                                   RE0000802431
 1011 Today My World Slipped Away                                  PA0000094587       Polygram Publishing, Inc.
 1012 Toxic                                                        PA0001287636       Polygram Publishing, Inc.
 1013 Tremor Christ                                                PA0000663642       Polygram Publishing, Inc.
 1014 Turning Tables                                               PA0001734878       Polygram Publishing, Inc.
 1015 Unemployable                                                 PA0001701773       Polygram Publishing, Inc.
 1016 Unwound                                                      PA0000126622       Polygram Publishing, Inc.
 1017 Wait Your Turn                                               PA0001668381       Polygram Publishing, Inc.
 1018 Warwick Avenue                                               PA0001698368       Polygram Publishing, Inc.
 1019 Warzone                                                      PA0001896532       Polygram Publishing, Inc.
 1020 Wasted Reprise                                               PA0001701779       Polygram Publishing, Inc.
 1021 We Run The Night                                             PA0001929045       Polygram Publishing, Inc.
 1022 Weight of Living, Pt. I                                      PA0001915728       Polygram Publishing, Inc.
 1023 Where Are You Now                                            PA0001818817       Polygram Publishing, Inc.
 1024 Whipping                                                     PA0000663644       Polygram Publishing, Inc.
 1025 Whispers In The Dark                                         PA0001818829       Polygram Publishing, Inc.
 1026 White Blank Page                                             PA0001932481       Polygram Publishing, Inc.
 1027 Why Go                                                       PA0000544559       Polygram Publishing, Inc.
 1028 Winter Winds                                                 PA0001932478       Polygram Publishing, Inc.
 1029 Work                                                         PA0001981018       Polygram Publishing, Inc.
 1030 World Wide Suicide                                           PA0001701741       Polygram Publishing, Inc.
 1031 You Give Love A Bad Name                                     PA0000315520       Polygram Publishing, Inc.
 1032 You Know Me Better Than That                                 PA0000511213       Polygram Publishing, Inc.
 1033 (White Man) in Hammersmith Palais                            PA0000066409       Polygram Publishing, Inc.
 1034 A Man I'll Never Be                                          PA0000014792       Polygram Publishing, Inc.
 1035 Achy Breaky Song                                             PA0000713892       Polygram Publishing, Inc.
 1036 Amanda                                                       PA0000312407       Polygram Publishing, Inc.
 1037 Amish Paradise                                               PA0000809516       Polygram Publishing, Inc.
 1038 Animal Instinct                                              PA0000968355       Polygram Publishing, Inc.
 1039 Animals (Original Mix)                                       PA0001899929       Polygram Publishing, Inc.
 1040 Back To You                                                  PA0001120340       Polygram Publishing, Inc.
 1041 Bad Blood                                                    PA0001915737       Polygram Publishing, Inc.




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                                                                     EXHIBIT B - MUSICAL COMPOSITIONS

                                Track                                  Reg. No.                                   Plaintiff
 1042 Bad Day                                                      PA0001025285       Polygram Publishing, Inc.
 1043 Best For Last                                                PA0001975721       Polygram Publishing, Inc.
 1044 Bittersweet                                                  PA0000893227       Polygram Publishing, Inc.
 1045 Breathe                                                      PA0000999862       Polygram Publishing, Inc.
 1046 Can't Stop The Rain                                          PA0001991134       Polygram Publishing, Inc.
 1047 Chasing Cars                                                 PA0001990266       Polygram Publishing, Inc.
 1048 Chasing Pavements                                            PA0001975709       Polygram Publishing, Inc.
 1049 Clash City Rockers                                           PA0000066407       Polygram Publishing, Inc.
 1050 Cold Shoulder                                                PA0001975723       Polygram Publishing, Inc.
 1051 Complete Control                                             PA0000066408       Polygram Publishing, Inc.
 1052 Cool The Engines                                             PA0000312410       Polygram Publishing, Inc.
 1053 Crazy For You                                                PA0001975719       Polygram Publishing, Inc.
 1054 Daffodil Lament                                              PA0000734582       Polygram Publishing, Inc.
 1055 Daydreamer                                                   PA0001975694       Polygram Publishing, Inc.
 1056 Days With You                                                PA0001245154       Polygram Publishing, Inc.
 1057 Die Like This                                                PA0001245156       Polygram Publishing, Inc.
 1058 Don't Break My Heart                                         PA0000781963       Polygram Publishing, Inc.
 1059 Don't Let Me Be The Last One To Know                         PA0001010089       Polygram Publishing, Inc.
 1060 Don't Look Back                                              PA0000014789       Polygram Publishing, Inc.
 1061 Down                                                         PA0001025288       Polygram Publishing, Inc.
 1062 Down Inside Of You                                           PA0001245163       Polygram Publishing, Inc.
 1063 Drive Me Wild                                                PA0002072171       Polygram Publishing, Inc.
 1064 Durban Skies                                                 PA0001981858       Polygram Publishing, Inc.
 1065 Easy                                                         PA0001025287       Polygram Publishing, Inc.
 1066 Empty Spaces                                                 PA0001025283       Polygram Publishing, Inc.
 1067 English Civil War                                            PA0000044735       Polygram Publishing, Inc.
 1068 Falls On Me                                                  PA0001245161       Polygram Publishing, Inc.
 1069 Feelin' Satisfied                                            PA0000014793       Polygram Publishing, Inc.
 1070 First Love                                                   PA0001975718       Polygram Publishing, Inc.
 1071 Fool For You                                                 PA0001730802       Polygram Publishing, Inc.
 1072 For Tha Love Of $                                            PA0000713004       Polygram Publishing, Inc.
 1073 Free To Decide                                               PA0000791577       Polygram Publishing, Inc.
 1074 Garageland                                                   PA0000044756       Polygram Publishing, Inc.
 1075 Getting Thru?                                                PA0001245157       Polygram Publishing, Inc.
 1076 Give Me My Month                                             PA0001824175       Polygram Publishing, Inc.
 1077 Gone Country                                                 PA0000642408       Polygram Publishing, Inc.
 1078 Hands Are Clever                                             PA0001806286       Polygram Publishing, Inc.
 1079 Hate & War                                                   PA0000044748       Polygram Publishing, Inc.
 1080 Hemorrhage (In My Hands)                                     PA0001025282       Polygram Publishing, Inc.
 1081 Hideaway                                                     PA0000893223       Polygram Publishing, Inc.
 1082 Higher Power                                                 PA0000863654       Polygram Publishing, Inc.
 1083 Higher Power (Kalodner Edit)                                 PA0000863654       Polygram Publishing, Inc.
 1084 Hollywood                                                    PA0000791574       Polygram Publishing, Inc.
 1085 Home By Now/No Matter What                                   PA0001144121       Polygram Publishing, Inc.
 1086 Hometown Glory                                               PA0001975714       Polygram Publishing, Inc.
 1087 I Can't Be With You                                          PA0000734572       Polygram Publishing, Inc.
 1088 I Mind                                                       PA0001827817       Polygram Publishing, Inc.
 1089 I Never Learnt To Share                                      PA0001827811       Polygram Publishing, Inc.
 1090 I Want Love (LP Version)                                     PA0001064720       Polygram Publishing, Inc.
 1091 I Was Country When Country Wasn't Cool                       PA0000126702       Polygram Publishing, Inc.
 1092 I Won't Let You Down                                         PA0001806274       Polygram Publishing, Inc.
 1093 I'm So Bored with the U.S.A.                                 PA0000044746       Polygram Publishing, Inc.
 1094 Innocent                                                     PA0001025291       Polygram Publishing, Inc.
 1095 Is Nothing Sacred                                            PA0000936094       Polygram Publishing, Inc.
 1096 It's Come To This                                            PA0000893229       Polygram Publishing, Inc.
 1097 Ivan Meets G.I. Joe                                          PA0000112397       Polygram Publishing, Inc.
 1098 Janie Jones                                                  PA0000044744       Polygram Publishing, Inc.
 1099 Jesus Or A Gun                                               PA0000893225       Polygram Publishing, Inc.
 1100 Jurassic Park                                                PA0000713893       Polygram Publishing, Inc.
 1101 Knives                                                       PA0001025290       Polygram Publishing, Inc.
 1102 Last Time                                                    PA0001025281       Polygram Publishing, Inc.
 1103 Laura Palmer                                                 PA0001915734       Polygram Publishing, Inc.
 1104 Lindisfarne II                                               PA0001827813       Polygram Publishing, Inc.
 1105 Livin' For You                                               PAu001802362       Polygram Publishing, Inc.
 1106 London's Burning                                             PA0000044751       Polygram Publishing, Inc.
 1107 Love Gun                                                     PA0001727659       Polygram Publishing, Inc.
 1108 Luck                                                         PA0001245155       Polygram Publishing, Inc.
 1109 Mary Pretends                                                PA0000893220       Polygram Publishing, Inc.




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                                                                     EXHIBIT B - MUSICAL COMPOSITIONS

                                 Track                                 Reg. No.                                             Plaintiff
 1110 Measurements                                                 PA0001824202       Polygram Publishing, Inc.
 1111 Melt My Heart To Stone                                       PA0001975706       Polygram Publishing, Inc.
 1112 Million Miles                                                PA0001245162       Polygram Publishing, Inc.
 1113 More Than This                                               PA0001830362       Polygram Publishing, Inc.
 1114 Most Of All                                                  PA0001245158       Polygram Publishing, Inc.
 1115 My Same                                                      PA0001975716       Polygram Publishing, Inc.
 1116 New Thing                                                    PA0000893230       Polygram Publishing, Inc.
 1117 No More I Love You's                                         PA0000753262       Polygram Publishing, Inc.
 1118 One Way Ticket                                               PA0001810764       Polygram Publishing, Inc.
 1119 Ozone                                                        PA0000893222       Polygram Publishing, Inc.
 1120 Poet                                                         PA0001981843       Polygram Publishing, Inc.
 1121 Police & Thieves                                             PA0000046453       Polygram Publishing, Inc.
 1122 Promises                                                     PA0000968357       Polygram Publishing, Inc.
 1123 Prove                                                        PA0001025286       Polygram Publishing, Inc.
 1124 Rabbit Heart (Raise It Up)                                   PA0001892789       Polygram Publishing, Inc.
 1125 Rat In Mi Kitchen                                            PA0000779746       Polygram Publishing, Inc.
 1126 Recognize                                                    PA0000896403       Polygram Publishing, Inc.
 1127 Relax My Beloved                                             PA0001806292       Polygram Publishing, Inc.
 1128 Ridiculous Thoughts                                          PA0000734579       Polygram Publishing, Inc.
 1129 Running Away                                                 PA0001245159       Polygram Publishing, Inc.
 1130 Safe European Home                                           PA0000044734       Polygram Publishing, Inc.
 1131 Sanctuary                                                    PA0001806278       Polygram Publishing, Inc.
 1132 Scar                                                         PA0001025284       Polygram Publishing, Inc.
 1133 Shimmer                                                      PA0000893226       Polygram Publishing, Inc.
 1134 Sing Our Own Song                                            PA0000779749       Polygram Publishing, Inc.
 1135 Skulls                                                       PA0001981876       Polygram Publishing, Inc.
 1136 Sleepsong                                                    PA0001981854       Polygram Publishing, Inc.
 1137 Slow                                                         PA0001025292       Polygram Publishing, Inc.
 1138 So Many Ways                                                 PA0000896404       Polygram Publishing, Inc.
 1139 Solace                                                       PA0001025289       Polygram Publishing, Inc.
 1140 Somebody Got Murdered                                        PA0000112402       Polygram Publishing, Inc.
 1141 Someone                                                      PA0001003696       Polygram Publishing, Inc.
 1142 Something To Die For                                         PA0001677407       Polygram Publishing, Inc.
 1143 Song For You                                                 PA0000893221       Polygram Publishing, Inc.
 1144 Stay Free                                                    PA0000044740       Polygram Publishing, Inc.
 1145 Tell Me                                                      PA0000863655       Polygram Publishing, Inc.
 1146 The Best Day                                                 PA0001028241       Polygram Publishing, Inc.
 1147 The Draw                                                     PA0001981866       Polygram Publishing, Inc.
 1148 The Magnificent Seven                                        PA0000112394       Polygram Publishing, Inc.
 1149 The Motto                                                    PA0001804402       Polygram Publishing, Inc.
 1150 The Street Parade                                            PA0000112420       Polygram Publishing, Inc.
 1151 The Wilhelm Scream                                           PA0001824165       Polygram Publishing, Inc.
 1152 There's A Thug In My Life                                    PA0001162730       Polygram Publishing, Inc.
 1153 These Things                                                 PA0001245160       Polygram Publishing, Inc.
 1154 Things We Lost in the Fire (Abbey Road Sessions)             PA0001915726       Polygram Publishing, Inc.
 1155 Tired                                                        PA0001975712       Polygram Publishing, Inc.
 1156 To Care (Like You)                                           PA0001824177       Polygram Publishing, Inc.
 1157 Tommy Gun                                                    PA0000044736       Polygram Publishing, Inc.
 1158 Train In Vain                                                PA0000066125       Polygram Publishing, Inc.
 1159 Treading Water                                               PA0001806293       Polygram Publishing, Inc.
 1160 Tuning Out...                                                PA0001981868       Polygram Publishing, Inc.
 1161 Untitled**                                                   PA0000893228       Polygram Publishing, Inc.
 1162 Up All Night                                                 PA0001806294       Polygram Publishing, Inc.
 1163 Whispering                                                   PA0001806283       Polygram Publishing, Inc.
 1164 White Riot                                                   PA0000044747       Polygram Publishing, Inc.
 1165 Why Don't You Call Me?                                       PA0001827815       Polygram Publishing, Inc.
 1166 You And Me                                                   PA0000968358       Polygram Publishing, Inc.
                                                                   EP0000041630
 1167 I'm So Lonesome I Could Cry                                                     Rightsong Music, Inc.
                                                                   RE0000651522
 1168 So Much Like My Dad                                          PA0000225775       Rightsong Music, Inc.
 1169 Naughty Girl                                                 PA0001375850       Rightsong Music, Inc. / WB Music Corp. / Warner-Tamerlane Publishing Corp.
 1170 Get Out                                                      PA0001592997       Screen Gems-EMI Music Inc.
 1171 Remember When                                                R541319            Songs of Universal, Inc
 1172 2 Of Amerikaz Most Wanted                                    PA0001070596       Songs of Universal, Inc.
 1173 200 Balloons                                                 PA0000426579       Songs of Universal, Inc.
 1174 25 To Life                                                   PA0001730984       Songs of Universal, Inc.
 1175 2nd Sucks                                                    PA0001748917       Songs of Universal, Inc.
 1176 4x4                                                          PA0001904196       Songs of Universal, Inc.




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                                                                     EXHIBIT B - MUSICAL COMPOSITIONS

                                 Track                                 Reg. No.                                  Plaintiff
 1177 50 Plates                                                    V9929D321          Songs of Universal, Inc.
 1178 8 Mile                                                       PA0001204555       Songs of Universal, Inc.
 1179 A Fool's Dance                                               PA0001839497       Songs of Universal, Inc.
 1180 A Kiss                                                       PA0001784201       Songs of Universal, Inc.
 1181 All I Have In This World                                     PA0001639922       Songs of Universal, Inc.
 1182 All I Want For Christmas Is You (Super Festive!)             PA0001780229       Songs of Universal, Inc.
 1183 All I Want Is You                                            PA0001751391       Songs of Universal, Inc.
 1184 All Signs Point To Lauderdale                                PA0001748918       Songs of Universal, Inc.
 1185 Almost Doesn't Count                                         PA0000917406       Songs of Universal, Inc.
 1186 Almost Famous                                                PA0001730979       Songs of Universal, Inc.
 1187 And The Grass Won't Pay No Mind                              PA0000043004       Songs of Universal, Inc.
 1188 Another Day Without You                                      PA0001878112       Songs of Universal, Inc.
 1189 Another Night                                                PA0000795554       Songs of Universal, Inc.
 1190 Another Round                                                PA0001730878       Songs of Universal, Inc.
 1191 Anything                                                     PA0000664027       Songs of Universal, Inc.
 1192 As Fast As I Could                                           PA0001700896       Songs of Universal, Inc.
 1193 Baby Love                                                    PA0001602408       Songs of Universal, Inc.
 1194 Backpackers                                                  PA0001773699       Songs of Universal, Inc.
 1195 Ballad Of The Beaconsfield Miners                            V3551D653          Songs of Universal, Inc.
 1196 Be (Intro)                                                   PA0001302097       Songs of Universal, Inc.
 1197 Be With You                                                  PA0001208967       Songs of Universal, Inc.
 1198 Beautiful People                                             PA0001750727       Songs of Universal, Inc.
 1199 Beautiful People                                             PA0001752889       Songs of Universal, Inc.
 1200 Beauty in the World                                          PA0001733325       Songs of Universal, Inc.
 1201 Best Friend                                                  PA0000757400       Songs of Universal, Inc.
 1202 Best Of You                                                  PA0001730963       Songs of Universal, Inc.
 1203 Beware                                                       PA0001916151       Songs of Universal, Inc.
 1204 Black And White                                              PA0000391485       Songs of Universal, Inc.
 1205 Bonfire                                                      PA0001773709       Songs of Universal, Inc.
 1206 Boom Skit                                                    PA0001915826       Songs of Universal, Inc.
 1207 Born Sinner                                                  PA0001975727       Songs of Universal, Inc.
 1208 Bottle Pop                                                   PA0001645597       Songs of Universal, Inc.
 1209 Break Ya Back                                                PA0001395672       Songs of Universal, Inc.
 1210 Broken-Hearted Girl                                          PA0001682652       Songs of Universal, Inc.
 1211 Brooklyn Roads (Live)                                        PA0000040394       Songs of Universal, Inc.
 1212 Brother Love's Traveling Salvation Show                      PA0000043013       Songs of Universal, Inc.
 1213 But, Honestly                                                PA0001625341       Songs of Universal, Inc.
 1214 Call Me Up                                                   PA0001882786       Songs of Universal, Inc.
 1215 Can't Go Wrong                                               PA0001839494       Songs of Universal, Inc.
 1216 Changes                                                      PA0001070591       Songs of Universal, Inc.
 1217 Cheer Up, Boys (Your Make Up Is Running)                     PA0001625323       Songs of Universal, Inc.
 1218 Cherry, Cherry                                               PA0000043000       Songs of Universal, Inc.
 1219 Chi-City                                                     PA0001302103       Songs of Universal, Inc.
 1220 Ciara To The Stage                                           PA0001729154       Songs of Universal, Inc.
 1221 Cinderella Man                                               PA0001730987       Songs of Universal, Inc.
                                                                   PA0001073403
 1222 Cleanin Out My Closet                                                           Songs of Universal, Inc.
                                                                   PA0001225996
 1223 Cold Day In The Sun                                          PA0001731042       Songs of Universal, Inc.
 1224 Cold Wind Blows                                              PA0001731091       Songs of Universal, Inc.
 1225 Come & Get It                                                PA0001916312       Songs of Universal, Inc.
 1226 Come Alive                                                   PA0001625311       Songs of Universal, Inc.
 1227 Crazy Arms                                                   RE0000204817       Songs of Universal, Inc.
 1228 Crazy In Love                                                PA0001295397       Songs of Universal, Inc.
 1229 Dangerous                                                    PA0001678612       Songs of Universal, Inc.
 1230 Death Around The Corner                                      PA0001070586       Songs of Universal, Inc.
 1231 Demons                                                       PA0001796478       Songs of Universal, Inc.
                                                                   PA0001750516
 1232 Deuces Remix                                                                    Songs of Universal, Inc.
                                                                   PA0001738384
 1233 Did It On Em                                                 PA0001745300       Songs of Universal, Inc.
 1234 Didn't You Know How Much I Loved You                         PA0001376310       Songs of Universal, Inc.
 1235 Director                                                     PA0001371419       Songs of Universal, Inc.
 1236 Disturbia                                                    V3574D452          Songs of Universal, Inc.
 1237 Diva                                                         PA0002067668       Songs of Universal, Inc.
 1238 DOA                                                          PA0001730972       Songs of Universal, Inc.
 1239 Don't Get Me Started                                         PA0002072695       Songs of Universal, Inc.
 1240 Don't Give up on Me                                          PA0001899457       Songs of Universal, Inc.
 1241 Don't Phunk Around                                           PA0001824676       Songs of Universal, Inc.
 1242 Down                                                         PA0001659053       Songs of Universal, Inc.




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                                                                     EXHIBIT B - MUSICAL COMPOSITIONS

                                Track                                  Reg. No.                                  Plaintiff
 1243 Dreams of Our Fathers                                        PA0001039322       Songs of Universal, Inc.
 1244 Drive Me                                                     PA0001839492       Songs of Universal, Inc.
 1245 Drop It Low                                                  PA0001748634       Songs of Universal, Inc.
 1246 Echo                                                         PA0001842409       Songs of Universal, Inc.
 1247 Encore/Curtains Down                                         PA0001295406       Songs of Universal, Inc.
 1248 End Over End                                                 PA0001730846       Songs of Universal, Inc.
 1249 Erase/Replace                                                PA0001625296       Songs of Universal, Inc.
 1250 Erotic City (Make Love Not War Erotic City Come Alive)       PA0000227083       Songs of Universal, Inc.
 1251 Everyday                                                     PA0001039330       Songs of Universal, Inc.
 1252 Eye Candy                                                    PA0001681746       Songs of Universal, Inc.
 1253 Fallen                                                       PA0001840137       Songs of Universal, Inc.
 1254 Fallin' In Love                                              PA0001603747       Songs of Universal, Inc.
 1255 Farewell                                                     PA0001778700       Songs of Universal, Inc.
 1256 Fine Time                                                    PA0000810654       Songs of Universal, Inc.
 1257 Fool In Love                                                 PA0001804439       Songs of Universal, Inc.
 1258 Fool to Think                                                PA0001039327       Songs of Universal, Inc.
 1259 Free Me                                                      PA0001730772       Songs of Universal, Inc.
 1260 French Pedicure                                              PA0001395670       Songs of Universal, Inc.
 1261 Friend Of A Friend                                           PA0001730881       Songs of Universal, Inc.
 1262 Friend Of A Friend                                           PA0001856075       Songs of Universal, Inc.
 1263 FU                                                           PA0001904193       Songs of Universal, Inc.
 1264 Gangsta                                                      PA0001115190       Songs of Universal, Inc.
 1265 Get It                                                       PA0001780728       Songs of Universal, Inc.
 1266 Girl You Know                                                PA0001395613       Songs of Universal, Inc.
 1267 Girls Chase Boys                                             PA0001932052       Songs of Universal, Inc.
 1268 Give Me Back My Hometown                                     PA0001902269       Songs of Universal, Inc.
 1269 Going Through Changes                                        PA0001731106       Songs of Universal, Inc.
 1270 Gotta Get Thru This                                          PA0001241752       Songs of Universal, Inc.
 1271 Gotta Stop Messin' About                                     PAu000221275       Songs of Universal, Inc.
 1272 Grandma's Hands                                              RE0000827149       Songs of Universal, Inc.
 1273 Hand On The Pump                                             PA0000538434       Songs of Universal, Inc.
 1274 Hard To Breathe                                              PA0001768251       Songs of Universal, Inc.
 1275 Haywire                                                      PA0001700892       Songs of Universal, Inc.
 1276 Hazel                                                        PA0001848179       Songs of Universal, Inc.
 1277 Heartbeat                                                    PA0001773703       Songs of Universal, Inc.
 1278 Hell                                                         PA0001731003       Songs of Universal, Inc.
 1279 Here Comes Goodbye                                           PA0001655601       Songs of Universal, Inc.
                                                                   PA0001328100
 1280 Here I Go Again                                                                 Songs of Universal, Inc.
                                                                   PA0001162725
 1281 Hold On                                                      PA0001839485       Songs of Universal, Inc.
 1282 Hold You Down                                                PA0001773584       Songs of Universal, Inc.
 1283 Holly Holy                                                   PA0000040389       Songs of Universal, Inc.
 1284 Home                                                         PA0001625349       Songs of Universal, Inc.
 1285 Horny Toad                                                   PA0000193309       Songs of Universal, Inc.
 1286 How Do U Want It                                             PA0001070595       Songs of Universal, Inc.
 1287 I Am Your Leader                                             PA0001917811       Songs of Universal, Inc.
 1288 I Could Never Take The Place Of Your Man                     PA0000339616       Songs of Universal, Inc.
 1289 I Did It                                                     PA0001039319       Songs of Universal, Inc.
 1290 I Don't Feel Like Loving You Today                           PA0001299754       Songs of Universal, Inc.
                                                                   EU0000093241
 1291 I Don't Know                                                                    Songs of Universal, Inc.
                                                                   RE0000751859
 1292 I Don't Want You on My Mind                                  RE0000832589       Songs of Universal, Inc.
 1293 I Know                                                       PA0001924185       Songs of Universal, Inc.
 1294 I Want Crazy (Encore)                                        PA0001856536       Songs of Universal, Inc.
 1295 I.F.U.                                                       PA0001833854       Songs of Universal, Inc.
 1296 I'll Call Ya                                                 PA0001644932       Songs of Universal, Inc.
 1297 I'm On Everything                                            PA0001784199       Songs of Universal, Inc.
 1298 If Ever I Could Love                                         PA0001701008       Songs of Universal, Inc.
 1299 If I Had It All                                              PA0001039324       Songs of Universal, Inc.
 1300 If I Leave                                                   PA0001748919       Songs of Universal, Inc.
 1301 If I Were A Boy                                              PAU003358950       Songs of Universal, Inc.
 1302 Imagination                                                  PA0001371420       Songs of Universal, Inc.
 1303 In Your Honor                                                PA0001730947       Songs of Universal, Inc.
 1304 Intro                                                        PA0001396244       Songs of Universal, Inc.
 1305 Intro                                                        PA0001780742       Songs of Universal, Inc.
 1306 It Ain't Easy                                                PA0001070585       Songs of Universal, Inc.
 1307 It's Me Snitches                                             PA0001334184       Songs of Universal, Inc.
 1308 It's Time                                                    PA0001796482       Songs of Universal, Inc.




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                                 Track                                 Reg. No.                                  Plaintiff
                                                                   PA0001302108
 1309 It's Your World                                                                 Songs of Universal, Inc.
                                                                   PA0001302107
 1310 Just Don't Give A Fuck                                       PA0000954432       Songs of Universal, Inc.
 1311 Just Lose It                                                 PA0001284525       Songs of Universal, Inc.
 1312 Kids                                                         PA0001773582       Songs of Universal, Inc.
 1313 Kiss Kiss                                                    PA0001395675       Songs of Universal, Inc.
 1314 Last Name                                                    PA0001642858       Songs of Universal, Inc.
 1315 Leaf                                                         PA0002000110       Songs of Universal, Inc.
 1316 Lean On Me                                                   EP0000304954       Songs of Universal, Inc.
 1317 Let It Die                                                   PA0001625293       Songs of Universal, Inc.
 1318 Let Me Go                                                    PA0001846372       Songs of Universal, Inc.
 1319 Let You Win                                                  PA0001733341       Songs of Universal, Inc.
 1320 Letter Home                                                  PA0001773708       Songs of Universal, Inc.
 1321 Letter To My Ex's                                            PA0001780260       Songs of Universal, Inc.
 1322 Lil' Hipster Girl                                            PA0001749813       Songs of Universal, Inc.
 1323 Livin This Life                                              PA0001780720       Songs of Universal, Inc.
 1324 Loca                                                         PA0001834128       Songs of Universal, Inc.
 1325 Long Road To Ruin                                            PA0001625301       Songs of Universal, Inc.
 1326 Lose Yourself                                                PA0001152688       Songs of Universal, Inc.
 1327 Lost In You                                                  PA0001855522       Songs of Universal, Inc.
 1328 Love Is A Sweet Thing                                        PA0001295806       Songs of Universal, Inc.
 1329 Love is...                                                   PA0001302102       Songs of Universal, Inc.
 1330 Love More                                                    PA0001914221       Songs of Universal, Inc.
 1331 Love The Way You Lie                                         PA0001730976       Songs of Universal, Inc.
 1332 Love The Way You Lie (Part II)                               PA0001732821       Songs of Universal, Inc.
 1333 Love The Way You Love Me                                     PA0001612853       Songs of Universal, Inc.
 1334 Man On The Moon                                              PA0001839481       Songs of Universal, Inc.
 1335 Marvin Gaye & Chardonnay                                     PA0001780731       Songs of Universal, Inc.
 1336 Material Things                                              PA0001395669       Songs of Universal, Inc.
 1337 Meet Me Halfway                                              PA0001659066       Songs of Universal, Inc.
 1338 Memories Pt 2                                                PA0001780744       Songs of Universal, Inc.
 1339 Miracle                                                      PA0001730876       Songs of Universal, Inc.
 1340 Missing You                                                  PA0001659068       Songs of Universal, Inc.
 1341 Mother Father                                                PA0001039329       Songs of Universal, Inc.
                                                                   PA0001163426
 1342 Music Of The Sun                                                                Songs of Universal, Inc.
                                                                   V3533D359
 1343 My Eyes                                                      PA0001915209       Songs of Universal, Inc.
 1344 My Fault                                                     PA0000954429       Songs of Universal, Inc.
 1345 New York Times                                               PA0001898830       Songs of Universal, Inc.
 1346 Next To You                                                  PA0001750522       Songs of Universal, Inc.
 1347 No BS                                                        PA0001750518       Songs of Universal, Inc.
 1348 No Idea                                                      PA0001751186       Songs of Universal, Inc.
 1349 No Way Back                                                  PA0001730955       Songs of Universal, Inc.
 1350 Not Afraid                                                   PA0001730957       Songs of Universal, Inc.
 1351 Not Tonight                                                  PA0002000109       Songs of Universal, Inc.
 1352 Nothin' Like The First Time                                  PA0001858363       Songs of Universal, Inc.
 1353 Nothin' On You                                               PA0001731018       Songs of Universal, Inc.
 1354 Nothin' On You [feat. Bruno Mars]                            PA0001731018       Songs of Universal, Inc.
 1355 Nothing Compares 2 U                                         PA0000261000       Songs of Universal, Inc.
 1356 Now That You Got It                                          PA0001382157       Songs of Universal, Inc.
 1357 On & On                                                      PA0001733345       Songs of Universal, Inc.
 1358 On The Mend                                                  PA0001730887       Songs of Universal, Inc.
 1359 ONE CHAIN (DON'T MAKE NO PRISON)                             RE0000755069       Songs of Universal, Inc.
 1360 One Tribe                                                    PA0001659076       Songs of Universal, Inc.
 1361 Only Wanna Give It To You                                    PA0002000105       Songs of Universal, Inc.
 1362 Original Sin                                                 PA0000213647       Songs of Universal, Inc.
 1363 Out Of My Head                                               PA0001659074       Songs of Universal, Inc.
 1364 Over And Out                                                 PA0001730884       Songs of Universal, Inc.
 1365 Paul (Skit)                                                  PA0001295388       Songs of Universal, Inc.
 1366 Peach                                                        PA0000669561       Songs of Universal, Inc.
 1367 Pedestal                                                     PA0001370492       Songs of Universal, Inc.
 1368 Peep Show                                                    PA0001645332       Songs of Universal, Inc.
 1369 Perfect Gentleman                                            PA0001395665       Songs of Universal, Inc.
 1370 Picture Perfect                                              PA0001395677       Songs of Universal, Inc.
 1371 Play Me                                                      PA0000040399       Songs of Universal, Inc.
 1372 Pretty Amazing Grace                                         PA0001687595       Songs of Universal, Inc.
 1373 Private Room Intro                                           PA0001371763       Songs of Universal, Inc.
 1374 Purple Rain                                                  PA0000217254       Songs of Universal, Inc.




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                                                                     EXHIBIT B - MUSICAL COMPOSITIONS

                                Track                                  Reg. No.                                  Plaintiff
 1375 Put You In A Song                                            PA0001725330       Songs of Universal, Inc.
 1376 Rabiosa (English Version)                                    PA0001833949       Songs of Universal, Inc.
 1377 Rabiosa (Spanish Version)                                    PA0001833947       Songs of Universal, Inc.
 1378 Radioactive                                                  PA0001796477       Songs of Universal, Inc.
 1379 Raining Men                                                  PA0001732814       Songs of Universal, Inc.
 1380 Raining On Sunday                                            PA0000919724       Songs of Universal, Inc.
 1381 Rap God                                                      PA0001965450       Songs of Universal, Inc.
 1382 Rap Name                                                     PA0001248992       Songs of Universal, Inc.
 1383 Razor                                                        PA0001731043       Songs of Universal, Inc.
 1384 Real Big                                                     PA0001784187       Songs of Universal, Inc.
 1385 Real Love                                                    PA0001733344       Songs of Universal, Inc.
 1386 Real People                                                  PA0001302105       Songs of Universal, Inc.
 1387 Red Red Wine                                                 RE0000653689       Songs of Universal, Inc.
 1388 Remember My Name                                             PA0001821988       Songs of Universal, Inc.
 1389 Reminding Me (Of Self)                                       PA0001011173       Songs of Universal, Inc.
 1390 Resolve                                                      PA0001730791       Songs of Universal, Inc.
 1391 Rewind (feat. Wyclef Jean)                                   PA0001744940       Songs of Universal, Inc.
 1392 Rich N****z                                                  PA0001975684       Songs of Universal, Inc.
 1393 Rich Niggaz                                                  PA0001975684       Songs of Universal, Inc.
 1394 Right Here                                                   PA0000665447       Songs of Universal, Inc.
 1395 Right Place, Wrong Time                                      PA0001371418       Songs of Universal, Inc.
 1396 Riot                                                         PA0001916362       Songs of Universal, Inc.
 1397 Roc Me Out                                                   PA0001773644       Songs of Universal, Inc.
 1398 Rockin To The Beat                                           PA0001659078       Songs of Universal, Inc.
 1399 Roman Holiday                                                PA0001915014       Songs of Universal, Inc.
 1400 Rooting for My Baby                                          PA0001888334       Songs of Universal, Inc.
 1401 Round and Round                                              PA0001796481       Songs of Universal, Inc.
 1402 Rush                                                         V3521D389          Songs of Universal, Inc.
 1403 Save Me                                                      PA0001745307       Songs of Universal, Inc.
 1404 Say Goodbye Hollywood                                        PA0001090374       Songs of Universal, Inc.
 1405 Seduction                                                    PA0001730951       Songs of Universal, Inc.
 1406 Selene                                                       PA0001822212       Songs of Universal, Inc.
 1407 Sex Therapy                                                  PA0001678887       Songs of Universal, Inc.
 1408 Sexy M.F.                                                    PA0000607812       Songs of Universal, Inc.
 1409 Shilo                                                        PA0000040397       Songs of Universal, Inc.
 1410 Shine                                                        PA0001911373       Songs of Universal, Inc.
 1411 Shoo Be Doo                                                  PA0001593120       Songs of Universal, Inc.
 1412 Shots                                                        PA0001691942       Songs of Universal, Inc.
 1413 Sing For The Moment                                          PA0001093104       Songs of Universal, Inc.
 1414 Skin And Bones                                               PA0001368334       Songs of Universal, Inc.
 1415 Sleep to Dream Her                                           PA0001039328       Songs of Universal, Inc.
 1416 So Fly                                                       PA0002000112       Songs of Universal, Inc.
 1417 So Much More                                                 PA0001780714       Songs of Universal, Inc.
 1418 So Right                                                     PA0001039323       Songs of Universal, Inc.
 1419 Soft And Wet                                                 PA0000492348       Songs of Universal, Inc.
 1420 Soldier                                                      PA0001073064       Songs of Universal, Inc.
 1421 Solitary Man                                                 PA0000042999       Songs of Universal, Inc.
 1422 Somebody Like You                                            PA0001146316       Songs of Universal, Inc.
 1423 Somewhere In My Car                                          PA0001898869       Songs of Universal, Inc.
 1424 Soolaimon                                                    PA0000043012       Songs of Universal, Inc.
 1425 Sorry For Partyin'                                           PA0001882788       Songs of Universal, Inc.
 1426 Soul's On Fire                                               PA0001768252       Songs of Universal, Inc.
 1427 Sound Proof Room                                             PA0002000107       Songs of Universal, Inc.
 1428 Space Bound                                                  PA0001730989       Songs of Universal, Inc.
 1429 Spend Some Time                                              PA0001295395       Songs of Universal, Inc.
 1430 Spoke To My Momma                                            PA0001780259       Songs of Universal, Inc.
 1431 Square Dance                                                 PA0001073065       Songs of Universal, Inc.
 1432 Stalker                                                      PA0001733343       Songs of Universal, Inc.
 1433 Statues                                                      PA0001625338       Songs of Universal, Inc.
 1434 Stay The Night                                               PA0001902216       Songs of Universal, Inc.
 1435 Still                                                        PA0001730871       Songs of Universal, Inc.
 1436 Still Don't Give                                             PA0000954424       Songs of Universal, Inc.
 1437 Still Hurts                                                  PA0001733323       Songs of Universal, Inc.
 1438 Stones                                                       PA0000040398       Songs of Universal, Inc.
 1439 Stop The Clock                                               PA0002000111       Songs of Universal, Inc.
 1440 Stranger Things Have Happened                                PA0001625352       Songs of Universal, Inc.
 1441 Stronger                                                     PA0001120338       Songs of Universal, Inc.
 1442 Stuck On Stupid                                              PA0002094523       Songs of Universal, Inc.




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                                                                     EXHIBIT B - MUSICAL COMPOSITIONS

                               Track                                   Reg. No.                                  Plaintiff
 1443 Stupid Hoe                                                   PA0001910348       Songs of Universal, Inc.
 1444 Suicidal Thoughts                                            PA0001874310       Songs of Universal, Inc.
 1445 Summer's End                                                 PA0001625330       Songs of Universal, Inc.
 1446 Super Rich Kids                                              PA0001825834       Songs of Universal, Inc.
 1447 Superman                                                     PA0001073066       Songs of Universal, Inc.
 1448 Sweet Caroline                                               PA0000043001       Songs of Universal, Inc.
 1449 Sweet Love                                                   PA0002094537       Songs of Universal, Inc.
 1450 SWV (In The House)                                           PA0000664036       Songs of Universal, Inc.
 1451 Take It To The Hole                                          PA0001821597       Songs of Universal, Inc.
 1452 Takin' Over The World                                        PA0001646201       Songs of Universal, Inc.
 1453 Talkin 2 Myself                                              PA0001730970       Songs of Universal, Inc.
 1454 Talkin' 2 Myself                                             PA0001730970       Songs of Universal, Inc.
 1455 Tell Me A Story                                              PA0001839488       Songs of Universal, Inc.
 1456 Testify                                                      PA0001302101       Songs of Universal, Inc.
 1457 That Man                                                     PA0001733342       Songs of Universal, Inc.
 1458 That's Gonna Leave A Memory                                  PA0001910312       Songs of Universal, Inc.
 1459 That's Right                                                 PA0001885587       Songs of Universal, Inc.
 1460 That's What I'm Here For                                     PA0000810658       Songs of Universal, Inc.
 1461 The Boys                                                     PA0001822067       Songs of Universal, Inc.
 1462 The Comeback                                                 PA0001733346       Songs of Universal, Inc.
 1463 The Corner                                                   PA0001302098       Songs of Universal, Inc.
 1464 The Deepest Blues Are Black                                  PA0001730830       Songs of Universal, Inc.
 1465 The Last Song                                                PA0001731040       Songs of Universal, Inc.
 1466 The Last Time                                                PA0001328099       Songs of Universal, Inc.
 1467 The Monster                                                  PA0001965626       Songs of Universal, Inc.
 1468 The News                                                     PA0001631133       Songs of Universal, Inc.
 1469 The One                                                      PA0001867783       Songs of Universal, Inc.
 1470 The One Thing                                                PA0000247197       Songs of Universal, Inc.
 1471 The Pretender                                                PA0001623649       Songs of Universal, Inc.
                                                                   PA0001784195
 1472 The Reunion                                                                     Songs of Universal, Inc.
                                                                   PA0001842406
 1473 The River                                                    PA0001822211       Songs of Universal, Inc.
 1474 The Sellout                                                  PA0001733312       Songs of Universal, Inc.
 1475 The Way You Do Me                                            PA0001367649       Songs of Universal, Inc.
 1476 They Say                                                     PA0001302106       Songs of Universal, Inc.
 1477 This Is Me                                                   PA0001131262       Songs of Universal, Inc.
 1478 This Is The House That Doubt Built                           PA0001748916       Songs of Universal, Inc.
 1479 This Is Your Night                                           PA0001371414       Songs of Universal, Inc.
 1480 Trouble                                                      PA0001975677       Songs of Universal, Inc.
 1481 U Remind Me                                                  PA0001147408       Songs of Universal, Inc.
 1482 Uma Thurman                                                  PA0001975921       Songs of Universal, Inc.
 1483 Universal Mind Control (UMC)                                 PA0001395696       Songs of Universal, Inc.
 1484 Up All Night                                                 PA0001715364       Songs of Universal, Inc.
 1485 Use Me                                                       RE0000832587       Songs of Universal, Inc.
 1486 Va Va Voom                                                   PA0001835092       Songs of Universal, Inc.
 1487 Video Phone                                                  PA0001657245       Songs of Universal, Inc.
 1488 Virginia Moon                                                PAu003542317       Songs of Universal, Inc.
 1489 Voodoo                                                       PA0002063426       Songs of Universal, Inc.
 1490 W.T.P.                                                       PA0001730966       Songs of Universal, Inc.
 1491 Wait For Me                                                  PA0001780732       Songs of Universal, Inc.
 1492 Wait For You                                                 PA0001821989       Songs of Universal, Inc.
 1493 Wanted Is Love                                               PA0001839493       Songs of Universal, Inc.
 1494 Wave Ya Hand                                                 PA0001730648       Songs of Universal, Inc.
 1495 We All Want Love                                             PA0001778698       Songs of Universal, Inc.
 1496 We Oughta Be Drinkin'                                        PA0001878369       Songs of Universal, Inc.
 1497 Weak                                                         PA0000664030       Songs of Universal, Inc.
 1498 Wedding Day                                                  PA0001768169       Songs of Universal, Inc.
                                                                   PA0001808402
 1499 Welcome 2 Hell                                                                  Songs of Universal, Inc.
                                                                   PA0001784192
 1500 What A World                                                 PA0001656994       Songs of Universal, Inc.
 1501 What Goes Around                                             PA0001780251       Songs of Universal, Inc.
 1502 What I Gotta Do                                              PA0001734468       Songs of Universal, Inc.
 1503 What If I Do?                                                PA0001730872       Songs of Universal, Inc.
 1504 What You Are                                                 PA0001039325       Songs of Universal, Inc.
 1505 What's Your Mama's Name, Child                               RE0000821360       Songs of Universal, Inc.
 1506 Wheels                                                       PA0001705842       Songs of Universal, Inc.
      Where Them Girls At (feat. Nicki Minaj & Flo Rida) [Nicky
 1507                                                           PA0001761902          Songs of Universal, Inc.
      Romero and Sidney Samson Remix] [Party Mix]




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                                                                     EXHIBIT B - MUSICAL COMPOSITIONS

                                Track                                  Reg. No.                                                Plaintiff
 1508 Where We Came From                                           PA0001839490       Songs of Universal, Inc.
 1509 Where Ya Wanna Go                                            PA0001824684       Songs of Universal, Inc.
 1510 Who Do You Love?                                             PA0001897250       Songs of Universal, Inc.
 1511 Why's It Feel So Long                                        PA0001679953       Songs of Universal, Inc.
 1512 Willing To Wait                                              PA0001328103       Songs of Universal, Inc.
 1513 With This Ring                                               RE0000714002       Songs of Universal, Inc.
 1514 With You                                                     PA0001371417       Songs of Universal, Inc.
 1515 Without Me                                                   PA0001143650       Songs of Universal, Inc.
 1516 Word Forward                                                 PA0001678922       Songs of Universal, Inc.
 1517 Words I Never Said                                           PA0001739113       Songs of Universal, Inc.
 1518 Working Man                                                  PA0001840143       Songs of Universal, Inc.
 1519 Ying & The Yang                                              PA0001678487       Songs of Universal, Inc.
 1520 You Da One                                                   PA0001778697       Songs of Universal, Inc.
 1521 You Don't Know                                               PA0001396073       Songs of Universal, Inc.
 1522 You See Me                                                   PA0001773581       Songs of Universal, Inc.
 1523 You're Never Over                                            PA0001731110       Songs of Universal, Inc.
 1524 Your Love                                                    PA0001745312       Songs of Universal, Inc.
 1525 My Fault                                                     PA0001796476       Songs of Universal, Inc.
 1526 Don't Tell Me You Love Me                                    PA0001780734       Songs of Universal, Inc. / Sony/ATV Music Publishing LLC
 1527 I'm In Miami Bitch                                           PA0001749811       Songs of Universal, Inc. / Sony/ATV Music Publishing LLC
 1528 Up In Flames                                                 PA0001840535       Songs of Universal, Inc. / Sony/ATV Music Publishing LLC
 1529 Young Forever                                                PA0001822065       Songs of Universal, Inc. / Sony/ATV Music Publishing LLC
 1530 Hush Hush                                                    PA0001612724       Songs of Universal, Inc. / Universal Music - MGB NA LLC
 1531 Diamond In The Rough                                         PA0001768249       Songs of Universal, Inc. / Universal Music Corp.
 1532 Easy                                                         PA0001726638       Songs of Universal, Inc. / Universal Music Corp.
 1533 Life is a Highway                                            PA0000683569       Songs of Universal, Inc. / Universal Music Corp.
 1534 2024                                                         PA0001794286       Sony/ATV Music Publishing LLC
 1535 2 On                                                         PA0001910781       Sony/ATV Music Publishing LLC
 1536 9 Piece                                                      PA0001864281       Sony/ATV Music Publishing LLC
 1537 A Capella (Something's Missing)                              PA0001821297       Sony/ATV Music Publishing LLC
 1538 A Gentlemen's Coup                                           PA0001887807       Sony/ATV Music Publishing LLC
 1539 A Name In This Town                                          PA0001777805       Sony/ATV Music Publishing LLC
 1540 A Thousand Words                                             PA0000913967       Sony/ATV Music Publishing LLC
 1541 Aberdeen                                                     PA0001794286       Sony/ATV Music Publishing LLC
 1542 Ack Like You Know                                            PA0001644889       Sony/ATV Music Publishing LLC
 1543 Again Again                                                  PA0001397132       Sony/ATV Music Publishing LLC
 1544 Ain't No Rest for the Wicked                                 PA0001794291       Sony/ATV Music Publishing LLC
 1545 Airstream Song                                               PA0001682737       Sony/ATV Music Publishing LLC
 1546 Alejandro                                                    PA0001751975       Sony/ATV Music Publishing LLC
 1547 All Around The World                                         PA0001850389       Sony/ATV Music Publishing LLC
 1548 All I Ever Think About                                       PA0001661603       Sony/ATV Music Publishing LLC
 1549 All I Really Want                                            PA0001748296       Sony/ATV Music Publishing LLC
 1550 All The Money In The World                                   PA0001821914       Sony/ATV Music Publishing LLC
 1551 Always Been Me                                               PA0001777807       Sony/ATV Music Publishing LLC
 1552 Always Something                                             PA0001794286       Sony/ATV Music Publishing LLC
 1553 Anna Sun                                                     PA0001778240       Sony/ATV Music Publishing LLC
 1554 Architects                                                   PA0001887807       Sony/ATV Music Publishing LLC
 1555 Around My Head                                               PA0001794286       Sony/ATV Music Publishing LLC
 1556 As Long As You Love Me                                       PA0001834758       Sony/ATV Music Publishing LLC
 1557 Aston Martin Music                                           PA0001821812       Sony/ATV Music Publishing LLC
 1558 Automatic                                                    PA0001822058       Sony/ATV Music Publishing LLC
 1559 Available                                                    PA0001807827       Sony/ATV Music Publishing LLC
 1560 B.M.F. (Blowin' Money Fast)                                  PA0001821909       Sony/ATV Music Publishing LLC
 1561 Back Against The Wall                                        PA0001794291       Sony/ATV Music Publishing LLC
 1562 Back Stabbin' Betty                                          PA0001794291       Sony/ATV Music Publishing LLC
 1563 Bad Habits                                                   PA0001707770       Sony/ATV Music Publishing LLC
 1564 Bad Kids                                                     PA0001752325       Sony/ATV Music Publishing LLC
 1565 Bad Romance                                                  PA0001751974       Sony/ATV Music Publishing LLC
 1566 Bassline                                                     PA0001896024       Sony/ATV Music Publishing LLC
 1567 Beautiful Freaks                                             PA0001803641       Sony/ATV Music Publishing LLC
 1568 Beautiful, Dirty, Rich                                       PA0001685320       Sony/ATV Music Publishing LLC
 1569 Beer For My Horses                                           PA0001109842       Sony/ATV Music Publishing LLC
 1570 Believe                                                      PA0001835123       Sony/ATV Music Publishing LLC
 1571 Best Of Times                                                PA0002069314       Sony/ATV Music Publishing LLC
 1572 Bigger                                                       PA0001749345       Sony/ATV Music Publishing LLC
 1573 Black Jesus (Amen Fashion)                                   PA0001752320       Sony/ATV Music Publishing LLC
 1574 Blind                                                        PA0001813213       Sony/ATV Music Publishing LLC
 1575 Blowin Money Fast                                            PA0001821909       Sony/ATV Music Publishing LLC




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                                 Track                                 Reg. No.                                       Plaintiff
 1576 Blowin' Up Your Speakers                                     PA0001158291       Sony/ATV Music Publishing LLC
 1577 Bojangles                                                    PA0001338581       Sony/ATV Music Publishing LLC
 1578 Boys Boys Boys                                               PA0001685351       Sony/ATV Music Publishing LLC
 1579 Brave                                                        PA0001967864       Sony/ATV Music Publishing LLC
 1580 Broken Mirrors                                               PA0001887807       Sony/ATV Music Publishing LLC
 1581 Brown Eyes                                                   PA0001685359       Sony/ATV Music Publishing LLC
 1582 Bubbly                                                       PA0001391445       Sony/ATV Music Publishing LLC
 1583 Can't Stop Me Now                                            PA0001473767       Sony/ATV Music Publishing LLC
 1584 Carry On Dancing                                             PA0000913967       Sony/ATV Music Publishing LLC
 1585 Center Stage                                                 PA0001952597       Sony/ATV Music Publishing LLC
 1586 Chartreuse                                                   PA0001952597       Sony/ATV Music Publishing LLC
 1587 Chasing You                                                  PA0001952597       Sony/ATV Music Publishing LLC
 1588 Christmas Tree                                               PA0001969613       Sony/ATV Music Publishing LLC
 1589 Church Pew Or Bar Stool                                      PA0001897745       Sony/ATV Music Publishing LLC
 1590 Club Can't Handle Me (Feat. David Guetta)                    PA0001739599       Sony/ATV Music Publishing LLC
 1591 Club Zydeco Moon                                             PA0001776561       Sony/ATV Music Publishing LLC
 1592 Come N Go                                                    PA0001780999       Sony/ATV Music Publishing LLC
 1593 Coming Up Strong                                             PA0001892993       Sony/ATV Music Publishing LLC
 1594 Crazy Ain't Original                                         PA0001881665       Sony/ATV Music Publishing LLC
 1595 Dead Flowers                                                 PA0001682745       Sony/ATV Music Publishing LLC
 1596 Disparity By Design                                          PA0001887807       Sony/ATV Music Publishing LLC
 1597 Disturbia                                                    PA0001692669       Sony/ATV Music Publishing LLC
 1598 DJ Khaled Interlude                                          PA0001661345       Sony/ATV Music Publishing LLC
 1599 Don't Give Up On Us                                          PA0001719662       Sony/ATV Music Publishing LLC
 1600 Don't Judge Me                                               PA0001896026       Sony/ATV Music Publishing LLC
 1601 Don't Play This Song                                         PA0001750006       Sony/ATV Music Publishing LLC
 1602 Don't Stop The Music                                         PA0001637008       Sony/ATV Music Publishing LLC
 1603 Dope Ball (Interlude)                                        PA0001733400       Sony/ATV Music Publishing LLC
 1604 Down For Whatever                                            PA0001823983       Sony/ATV Music Publishing LLC
 1605 Drinks for You (Ladies Anthem)                               PA0001833788       Sony/ATV Music Publishing LLC
 1606 Drones In The Valley                                         PA0001794291       Sony/ATV Music Publishing LLC
 1607 Eh, Eh (Nothing Else I Can Say)                              PA0001685326       Sony/ATV Music Publishing LLC
 1608 Electric Chapel                                              PA0001752318       Sony/ATV Music Publishing LLC
 1609 Encore                                                       PA0001813214       Sony/ATV Music Publishing LLC
 1610 Endgame                                                      PA0001887807       Sony/ATV Music Publishing LLC
 1611 Every Reason Not To Go                                       PA0001909205       Sony/ATV Music Publishing LLC
 1612 Farrah Fawcett Hair                                          PA0001952598       Sony/ATV Music Publishing LLC
 1613 Finally Here                                                 PA0001807843       Sony/ATV Music Publishing LLC
 1614 Fire Burns                                                   PA0001822066       Sony/ATV Music Publishing LLC
 1615 Flow                                                         PA0001794286       Sony/ATV Music Publishing LLC
 1616 Fly                                                          PA0001745306       Sony/ATV Music Publishing LLC
 1617 Forca                                                        PA0001239138       Sony/ATV Music Publishing LLC
 1618 Forever                                                      PA0001677037       Sony/ATV Music Publishing LLC
 1619 Freaky Deaky                                                 PA0001644872       Sony/ATV Music Publishing LLC
 1620 Free Love                                                    PA0001794291       Sony/ATV Music Publishing LLC
 1621 Freedom                                                      PA0001840533       Sony/ATV Music Publishing LLC
 1622 Gangsta Bop                                                  PA0001167178       Sony/ATV Music Publishing LLC
 1623 GHOST!                                                       PA0001750014       Sony/ATV Music Publishing LLC
 1624 Girlfriend In The City                                       PA0001753993       Sony/ATV Music Publishing LLC
 1625 Girls                                                        PA0001733986       Sony/ATV Music Publishing LLC
 1626 Girls Fall Like Dominoes                                     PA0001996711       Sony/ATV Music Publishing LLC
 1627 Girls Like You                                               PA0001808680       Sony/ATV Music Publishing LLC
 1628 Give Me Back My Hometown                                     PA0001998347       Sony/ATV Music Publishing LLC
 1629 Give Me Everything                                           PA0001780977       Sony/ATV Music Publishing LLC
 1630 Give Them What They Ask For                                  PA0001733406       Sony/ATV Music Publishing LLC
 1631 Glasgow                                                      PA0001774897       Sony/ATV Music Publishing LLC
 1632 Good Enough For Now                                          PA0000311496       Sony/ATV Music Publishing LLC
 1633 Gotta Get It (Dancer)                                        PA0001807837       Sony/ATV Music Publishing LLC
 1634 Hair                                                         PA0001752317       Sony/ATV Music Publishing LLC
 1635 Happy On The Hey Now (A Song For Kristi)                     PA0001899369       Sony/ATV Music Publishing LLC
 1636 Heart Like Mine                                              PA0001682741       Sony/ATV Music Publishing LLC
 1637 Help Is On The Way                                           PA0001887807       Sony/ATV Music Publishing LLC
 1638 Hey Baby (Drop It To The Floor)                              PA0001719812       Sony/ATV Music Publishing LLC
 1639 I Choose You                                                 PA0001967866       Sony/ATV Music Publishing LLC
 1640 I Don't Care                                                 PA0001022882       Sony/ATV Music Publishing LLC
 1641 I Don't Care                                                 PA0001996421       Sony/ATV Music Publishing LLC
 1642 I Know You Know                                              PA0001807117       Sony/ATV Music Publishing LLC
 1643 I Like It                                                    PA0001786618       Sony/ATV Music Publishing LLC




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                                 Track                                 Reg. No.                                       Plaintiff
 1644 I Shall Return                                               PA0001909221       Sony/ATV Music Publishing LLC
 1645 I Sold My Bed, But Not My Stereo                             PA0001952597       Sony/ATV Music Publishing LLC
 1646 I Told You So                                                PA0001892989       Sony/ATV Music Publishing LLC
 1647 I'm Gone                                                     PA0001971310       Sony/ATV Music Publishing LLC
 1648 I'm Just Sayin'                                              PA0001807726       Sony/ATV Music Publishing LLC
 1649 I'm Not A Star                                               PA0001821873       Sony/ATV Music Publishing LLC
 1650 I'm Your Woman                                               PA0001681664       Sony/ATV Music Publishing LLC
 1651 If I Ruled The World                                         PA0001825040       Sony/ATV Music Publishing LLC
 1652 In One Ear                                                   PA0001794292       Sony/ATV Music Publishing LLC
 1653 In The Dark                                                  PA0001783660       Sony/ATV Music Publishing LLC
 1654 Indy Kidz                                                    PA0001794286       Sony/ATV Music Publishing LLC
 1655 Invisible                                                    PA0001825037       Sony/ATV Music Publishing LLC
 1656 It's That Time Of Day                                        PA0001899360       Sony/ATV Music Publishing LLC
 1657 James Brown                                                  PA0001794291       Sony/ATV Music Publishing LLC
 1658 Japanese Buffalo                                             PA0001794286       Sony/ATV Music Publishing LLC
 1659 Jet Pack Blues                                               PA0004151215       Sony/ATV Music Publishing LLC
 1660 Judas                                                        PA0001752321       Sony/ATV Music Publishing LLC
 1661 Judas (DJ White Shadow Remix)                                PA0001752321       Sony/ATV Music Publishing LLC
 1662 Juice Box                                                    PA0001733404       Sony/ATV Music Publishing LLC
 1663 Jump [feat. Nelly Furtado]                                   PA0001807841       Sony/ATV Music Publishing LLC
 1664 Just Dance                                                   PA0001685310       Sony/ATV Music Publishing LLC
 1665 Just One Last Time                                           PA0001896046       Sony/ATV Music Publishing LLC
 1666 Kangaroo Court                                               PA0001952597       Sony/ATV Music Publishing LLC
 1667 Keep It Between Us                                           PA0001823996       Sony/ATV Music Publishing LLC
 1668 Krazy                                                        PA0001733987       Sony/ATV Music Publishing LLC
 1669 Lanterns                                                     PA0001887807       Sony/ATV Music Publishing LLC
 1670 Last Chance                                                  PA0001728914       Sony/ATV Music Publishing LLC
 1671 Lazy Lies                                                    PA0001952597       Sony/ATV Music Publishing LLC
 1672 Let's Get Lifted Again                                       PA0001160450       Sony/ATV Music Publishing LLC
 1673 Like A G6                                                    PA0001778021       Sony/ATV Music Publishing LLC
 1674 Lindy                                                        PA0001899353       Sony/ATV Music Publishing LLC
 1675 Little Bad Girl                                              PA0001814075       Sony/ATV Music Publishing LLC
 1676 Little Bad Girl (Instrumental Edit)                          PA0001814075       Sony/ATV Music Publishing LLC
 1677 Long Distance                                                PA0001821287       Sony/ATV Music Publishing LLC
 1678 Lotus                                                        PA0001794291       Sony/ATV Music Publishing LLC
 1679 Love Away                                                    PA0001952597       Sony/ATV Music Publishing LLC
 1680 Love The Girls                                               PA0001772294       Sony/ATV Music Publishing LLC
 1681 Love Who You Love                                            PA0001661382       Sony/ATV Music Publishing LLC
 1682 LoveGame                                                     PA0001685315       Sony/ATV Music Publishing LLC
 1683 Lunar                                                        PA0001814079       Sony/ATV Music Publishing LLC
 1684 Lunar (Party Mix)                                            PA0001814079       Sony/ATV Music Publishing LLC
 1685 Mafia Music                                                  PA0001748285       Sony/ATV Music Publishing LLC
 1686 Maintain the Pain                                            PA0001682745       Sony/ATV Music Publishing LLC
 1687 Make It Stop (September's Children)                          PA0001887807       Sony/ATV Music Publishing LLC
 1688 Makin' Plans                                                 PA0001682745       Sony/ATV Music Publishing LLC
 1689 Mama Africa                                                  PA0001167181       Sony/ATV Music Publishing LLC
 1690 Manos Al Aire                                                PA0001760999       Sony/ATV Music Publishing LLC
 1691 Maria                                                        PA0001834767       Sony/ATV Music Publishing LLC
 1692 Marley                                                       PA0001899367       Sony/ATV Music Publishing LLC
 1693 Marry Me                                                     PA0001896439       Sony/ATV Music Publishing LLC
 1694 Maybach Music                                                PA0001639897       Sony/ATV Music Publishing LLC
 1695 MC Hammer                                                    PA0001821908       Sony/ATV Music Publishing LLC
 1696 Me and Your Cigarettes                                       PA0001682744       Sony/ATV Music Publishing LLC
 1697 Metropolis                                                   PA0001827951       Sony/ATV Music Publishing LLC
 1698 Midnight Hands                                               PA0001887807       Sony/ATV Music Publishing LLC
 1699 Mmm Yeah                                                     PA0001886182       Sony/ATV Music Publishing LLC
 1700 Mojo So Dope                                                 PA0001750010       Sony/ATV Music Publishing LLC
 1701 Money Right                                                  PA0001644871       Sony/ATV Music Publishing LLC
 1702 Monster                                                      PA0001751978       Sony/ATV Music Publishing LLC
 1703 Mr. Rager                                                    PA0001750006       Sony/ATV Music Publishing LLC
 1704 Mr. Worldwide (Intro)                                        PA0001780980       Sony/ATV Music Publishing LLC
 1705 Murda                                                        PA0001996420       Sony/ATV Music Publishing LLC
 1706 Music Sounds Better                                          PA0001825036       Sony/ATV Music Publishing LLC
 1707 Must Be Something I Missed                                   PA0001899368       Sony/ATV Music Publishing LLC
 1708 My Heart Beats For Love                                      PA0001708952       Sony/ATV Music Publishing LLC
 1709 My Heart Is Open                                             PA0001661390       Sony/ATV Music Publishing LLC
 1710 Nature Trail To Hell                                         PA0000205633       Sony/ATV Music Publishing LLC
 1711 Never                                                        PA0001807823       Sony/ATV Music Publishing LLC




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                                  Track                                Reg. No.                                       Plaintiff
 1712 Never Say Never                                              PA0001806271       Sony/ATV Music Publishing LLC
 1713 Never Took The Time                                          PA0001663701       Sony/ATV Music Publishing LLC
 1714 Nice                                                         PA0001659024       Sony/ATV Music Publishing LLC
 1715 Night Is Young                                               PA0001753995       Sony/ATV Music Publishing LLC
 1716 No. 1                                                        PA0001821894       Sony/ATV Music Publishing LLC
 1717 Nothing Even Matters                                         PA0001807063       Sony/ATV Music Publishing LLC
 1718 Nothing Really Matters                                       PA0001814078       Sony/ATV Music Publishing LLC
 1719 Oh Yeah                                                      PA0001807062       Sony/ATV Music Publishing LLC
 1720 On and On                                                    PA0001735747       Sony/ATV Music Publishing LLC
 1721 Only Prettier                                                PA0001682740       Sony/ATV Music Publishing LLC
 1722 Origami                                                      PA0001952597       Sony/ATV Music Publishing LLC
 1723 Out Of Town Girl                                             PA0001835122       Sony/ATV Music Publishing LLC
 1724 Oye Baby                                                     PA0001745498       Sony/ATV Music Publishing LLC
 1725 Paparazzi                                                    PA0001685323       Sony/ATV Music Publishing LLC
 1726 Paper Gangsta                                                PA0001685367       Sony/ATV Music Publishing LLC
 1727 Papi                                                         PA0001810026       Sony/ATV Music Publishing LLC
 1728 Patience Gets Us Nowhere Fast                                PA0001952597       Sony/ATV Music Publishing LLC
 1729 Pay Me                                                       PA0001808680       Sony/ATV Music Publishing LLC
 1730 Play Hard                                                    PA0001827956       Sony/ATV Music Publishing LLC
 1731 Poker Face                                                   PA0001685342       Sony/ATV Music Publishing LLC
 1732 Pretty Wings                                                 PA0001707770       Sony/ATV Music Publishing LLC
 1733 Priceless                                                    PA0001644888       Sony/ATV Music Publishing LLC
 1734 Promises                                                     PA0000913967       Sony/ATV Music Publishing LLC
 1735 Put It Down                                                  PA0001787201       Sony/ATV Music Publishing LLC
 1736 Quickie                                                      PA0001808680       Sony/ATV Music Publishing LLC
 1737 R.O.O.T.S.                                                   PA0001807832       Sony/ATV Music Publishing LLC
 1738 Radio                                                        PA0001807090       Sony/ATV Music Publishing LLC
 1739 Raise 'Em Up                                                 PA0001947439       Sony/ATV Music Publishing LLC
 1740 Raw (How You Like It)                                        PA0001848766       Sony/ATV Music Publishing LLC
 1741 Ready To Roll                                                PA0001890859       Sony/ATV Music Publishing LLC
 1742 Ridin' Solo                                                  PA0001813218       Sony/ATV Music Publishing LLC
 1743 Right Before My Eyes                                         PA0001794286       Sony/ATV Music Publishing LLC
 1744 Right By My Side                                             PA0001822037       Sony/ATV Music Publishing LLC
 1745 Right Here (Departed)                                        PA0001821289       Sony/ATV Music Publishing LLC
 1746 Right Round                                                  PA0001639208       Sony/ATV Music Publishing LLC
 1747 Right Thru Me                                                PA0001745303       Sony/ATV Music Publishing LLC
 1748 Robot                                                        PA0001708950       Sony/ATV Music Publishing LLC
 1749 Rubber Ball                                                  PA0001794286       Sony/ATV Music Publishing LLC
 1750 Run (feat. RedFoo of LMFAO) [Preview Clip]                   PA0001887865       Sony/ATV Music Publishing LLC
 1751 Runnin' Around                                               PA0001698432       Sony/ATV Music Publishing LLC
 1752 Sabertooth Tiger                                             PA0001794286       Sony/ATV Music Publishing LLC
 1753 Safe and Sound                                               PA0001952597       Sony/ATV Music Publishing LLC
 1754 Satellite                                                    PA0001887807       Sony/ATV Music Publishing LLC
 1755 Scared Of Beautiful                                          PA0001846377       Sony/ATV Music Publishing LLC
 1756 Scars                                                        PA0001708950       Sony/ATV Music Publishing LLC
 1757 Sell Yourself                                                PA0001794286       Sony/ATV Music Publishing LLC
 1758 Sexy Bitch                                                   PA0001703244       Sony/ATV Music Publishing LLC
 1759 Shake Senora                                                 PA0001820421       Sony/ATV Music Publishing LLC
 1760 Shake Senora Remix                                           PA0001820421       Sony/ATV Music Publishing LLC
 1761 She Don't Like The Lights                                    PA0001822166       Sony/ATV Music Publishing LLC
 1762 She Wolf (Falling to Pieces)                                 PA0001896051       Sony/ATV Music Publishing LLC
 1763 She'd Be California                                          PA0001661378       Sony/ATV Music Publishing LLC
 1764 Shiza                                                        PA0001752319       Sony/ATV Music Publishing LLC
 1765 Shut It Down                                                 PA0001733390       Sony/ATV Music Publishing LLC
 1766 Silence                                                      PA0000740717       Sony/ATV Music Publishing LLC
 1767 Silence (Above & Beyond's 21st Century Remix)                PA0000740717       Sony/ATV Music Publishing LLC
 1768 Silence (DJ Tiesto's In Search Of Sunrise Remix)             PA0000740717       Sony/ATV Music Publishing LLC
 1769 Silence (Fade's Sanctuary Remix Edit)                        PA0000740717       Sony/ATV Music Publishing LLC
 1770 Silence (Filterheadz Remix)                                  PA0000740717       Sony/ATV Music Publishing LLC
 1771 Silence (Lissat & Voltaxx Remix)                             PA0000740717       Sony/ATV Music Publishing LLC
 1772 Silence (Michael Wood Remix)                                 PA0000740717       Sony/ATV Music Publishing LLC
 1773 Sin For A Sin                                                PA0001682734       Sony/ATV Music Publishing LLC
 1774 Sinner                                                       PA0001777809       Sony/ATV Music Publishing LLC
 1775 So Happy I Could Die                                         PA0001751980       Sony/ATV Music Publishing LLC
 1776 Soil To The Sun                                              PA0001794291       Sony/ATV Music Publishing LLC
 1777 Something For The DJs                                        PA0001774899       Sony/ATV Music Publishing LLC
 1778 South Of You                                                 PA0001776561       Sony/ATV Music Publishing LLC
 1779 Spaghetti                                                    PA0001879175       Sony/ATV Music Publishing LLC




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                               Track                                   Reg. No.                                       Plaintiff
 1780 Speechless                                                   PA0001751979       Sony/ATV Music Publishing LLC
 1781 Spread The Love                                              PA0001899352       Sony/ATV Music Publishing LLC
 1782 Stand Up                                                     PA0001946133       Sony/ATV Music Publishing LLC
 1783 Stars                                                        PA0001753996       Sony/ATV Music Publishing LLC
 1784 Starstruck                                                   PA0001685366       Sony/ATV Music Publishing LLC
 1785 Stay                                                         PA0001708951       Sony/ATV Music Publishing LLC
 1786 Stay With Me                                                 PA0001698437       Sony/ATV Music Publishing LLC
 1787 Still Missin                                                 PA0001644870       Sony/ATV Music Publishing LLC
 1788 Strip                                                        PA0001896031       Sony/ATV Music Publishing LLC
 1789 Stupid Hoe                                                   PA0001822069       Sony/ATV Music Publishing LLC
 1790 Summerboy                                                    PA0001685365       Sony/ATV Music Publishing LLC
 1791 Superhuman                                                   PA0001659015       Sony/ATV Music Publishing LLC
 1792 Survivor Guilt                                               PA0001887807       Sony/ATV Music Publishing LLC
 1793 Sweat                                                        PA0001803810       Sony/ATV Music Publishing LLC
 1794 Sweat (Dubstep Remix)                                        PA0001814071       Sony/ATV Music Publishing LLC
 1795 Sweet Spot                                                   PA0001887850       Sony/ATV Music Publishing LLC
 1796 Sweet Surrender                                              PA0000866242       Sony/ATV Music Publishing LLC
 1797 Take It To The Limit                                         PA0001641026       Sony/ATV Music Publishing LLC
 1798 Take Me Along                                                PA0001708950       Sony/ATV Music Publishing LLC
 1799 Tears Of Pearls                                              PA0000913967       Sony/ATV Music Publishing LLC
 1800 Teenage Kings                                                PA0001920260       Sony/ATV Music Publishing LLC
 1801 Tell Me How To Live                                          PA0001952597       Sony/ATV Music Publishing LLC
 1802 That Should Be Me                                            PA0001729714       Sony/ATV Music Publishing LLC
 1803 The Fame                                                     PA0001685344       Sony/ATV Music Publishing LLC
 1804 The Future                                                   PA0001774893       Sony/ATV Music Publishing LLC
 1805 The Future (Party Mix)                                       PA0001774893       Sony/ATV Music Publishing LLC
 1806 The Only One                                                 PA0001807094       Sony/ATV Music Publishing LLC
 1807 The Sweet Escape                                             PA0001166379       Sony/ATV Music Publishing LLC
 1808 The Time (Dirty Bit)                                         PA0001796440       Sony/ATV Music Publishing LLC
 1809 These Worries                                                PA0001750006       Sony/ATV Music Publishing LLC
 1810 Things That Matter                                           PA0001661359       Sony/ATV Music Publishing LLC
 1811 This Is Letting Go                                           PA0001887807       Sony/ATV Music Publishing LLC
 1812 Thought Of You                                               PA0001834762       Sony/ATV Music Publishing LLC
 1813 Tik Tik Boom                                                 PA0001917951       Sony/ATV Music Publishing LLC
 1814 Til It's Gone                                                PA0001917966       Sony/ATV Music Publishing LLC
 1815 Time                                                         PA0001874359       Sony/ATV Music Publishing LLC
 1816 Tiny Little Robots                                           PA0001794291       Sony/ATV Music Publishing LLC
 1817 Titanium                                                     PA0001814072       Sony/ATV Music Publishing LLC
 1818 Tonight Tonight                                              PA0001765703       Sony/ATV Music Publishing LLC
 1819 Too Many Fish                                                PA0001864542       Sony/ATV Music Publishing LLC
 1820 Torn Down                                                    PA0001821291       Sony/ATV Music Publishing LLC
 1821 Touch Me                                                     PA0001807825       Sony/ATV Music Publishing LLC
 1822 Touch Me                                                     PA0001896041       Sony/ATV Music Publishing LLC
 1823 Toy Story                                                    PA0001774895       Sony/ATV Music Publishing LLC
 1824 Triumph                                                      PA0001733388       Sony/ATV Music Publishing LLC
 1825 Turn Me On                                                   PA0001814076       Sony/ATV Music Publishing LLC
 1826 Turn Me On (David Guetta and Laidback Luke Remix)            PA0001814076       Sony/ATV Music Publishing LLC
 1827 Turn Me On (JP Candela Remix)                                PA0001814076       Sony/ATV Music Publishing LLC
 1828 Turn Me On (Sebastien Drums Remix)                           PA0001814076       Sony/ATV Music Publishing LLC
 1829 Turn Me On (Sidney Samson Remix) (Party Mix)                 PA0001822072       Sony/ATV Music Publishing LLC
 1830 Twisted                                                      PA0001642854       Sony/ATV Music Publishing LLC
 1831 U Want Me 2                                                  PA0001719661       Sony/ATV Music Publishing LLC
 1832 Universe                                                     PA0000913967       Sony/ATV Music Publishing LLC
 1833 Up                                                           PA0001729713       Sony/ATV Music Publishing LLC
 1834 Us                                                           PA0001339679       Sony/ATV Music Publishing LLC
 1835 Violet                                                       PA0000913967       Sony/ATV Music Publishing LLC
 1836 Virginia Bluebell                                            PA0001682743       Sony/ATV Music Publishing LLC
 1837 Vixen                                                        PA0001808680       Sony/ATV Music Publishing LLC
 1838 Wait For Me                                                  PA0001887807       Sony/ATV Music Publishing LLC
 1839 Watching Airplanes                                           PA0001644061       Sony/ATV Music Publishing LLC
 1840 Way Out Here                                                 PA0001777804       Sony/ATV Music Publishing LLC
 1841 We Aite (Wake Your Mind Up)                                  PA0001750006       Sony/ATV Music Publishing LLC
 1842 We Are Young (feat. Janelle Mone)                            PA0001811978       Sony/ATV Music Publishing LLC
 1843 What I Wanted to Say                                         PA0001698434       Sony/ATV Music Publishing LLC
 1844 What If                                                      PA0001813212       Sony/ATV Music Publishing LLC
 1845 Whatcha Say                                                  PA0001813211       Sony/ATV Music Publishing LLC
                                                                   PA0001682910
 1846 When Love Takes Over                                                            Sony/ATV Music Publishing LLC
                                                                   PA0001644855




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                                                                     EXHIBIT B - MUSICAL COMPOSITIONS

                                Track                                  Reg. No.                                              Plaintiff
 1847 White Liar                                                   PA0001682738       Sony/ATV Music Publishing LLC
 1848 Who I Am With You                                            PA0001887676       Sony/ATV Music Publishing LLC
 1849 Why Don't We Just Dance                                      PA0001689774       Sony/ATV Music Publishing LLC
 1850 With You, Without You                                        PA0001607900       Sony/ATV Music Publishing LLC
 1851 Won't Be Lonely Long - On The Road                           PA0001777801       Sony/ATV Music Publishing LLC
 1852 XO                                                           PA0001879186       Sony/ATV Music Publishing LLC
 1853 Yeah 3x                                                      PA0001884071       Sony/ATV Music Publishing LLC
 1854 You Ain't Seen Country Yet                                   PA0000177803       Sony/ATV Music Publishing LLC
 1855 You And I                                                    PA0001751989       Sony/ATV Music Publishing LLC
 1856 TRUE                                                         PA0001821294       Sony/ATV Music Publishing LLC
 1857 Intro                                                        PA0001874326       Sony/ATV Music Publishing LLC
 1858 Trouble On My Mind                                           PA0001789134       Sony/ATV Music Publishing LLC
                                                                   PA0001875761
 1859 You're Not In On The Joke                                                       Sony/ATV Music Publishing LLC / EMI April Music Inc.
                                                                   PA0001662742
 1860 Forgiveness                                                  PA0001158290       Sony/ATV Music Publishing LLC / EMI April Music Inc.
 1861 Home This Christmas                                          PA0001780222       Sony/ATV Music Publishing LLC / EMI April Music Inc.
 1862 Oh My Love                                                   PA0001772289       Sony/ATV Music Publishing LLC / EMI April Music Inc.
 1863 Say It With Me                                               PA0001772291       Sony/ATV Music Publishing LLC / EMI April Music Inc.
 1864 Daddy's Little Girl                                          PA0001706680       Sony/ATV Music Publishing LLC / EMI April Music Inc.
 1865 Fading                                                       PA0001728370       Sony/ATV Music Publishing LLC / EMI April Music Inc.
 1866 Mirage                                                       PA0001896025       Sony/ATV Music Publishing LLC / EMI April Music Inc.
                                                                   PA0001875762
 1867 Move Like You Gonna Die                                                         Sony/ATV Music Publishing LLC / EMI April Music Inc.
                                                                   PA0001662776
 1868 The Way                                                      PA0001903036       Sony/ATV Music Publishing LLC / EMI April Music Inc.
 1869 It's Not Right But It's Okay                                 PA0000954971       Sony/ATV Music Publishing LLC / EMI April Music Inc. / EMI Blackwood Music Inc.
 1870 U Smile                                                      PA0001729700       Sony/ATV Music Publishing LLC / EMI April Music Inc. / EMI Blackwood Music Inc.
 1871 Where Them Girls At                                          PA0001761902       Sony/ATV Music Publishing LLC / EMI April Music Inc. / EMI Blackwood Music Inc.
                                                                                      Sony/ATV Music Publishing LLC / EMI April Music Inc. / Warner-Tamerlane Publishing
 1872 Work It Man                                                  PA0001763347
                                                                                      Corp.
                                                                   PA0001673111
 1873 Here I Stand                                                                    Sony/ATV Music Publishing LLC / EMI April Music Inc. / WB Music Corp.
                                                                   PA0001659007
 1874 Refill                                                       PA0002000106       Sony/ATV Music Publishing LLC / EMI April Music Inc. / WB Music Corp.
                                                                   PA0001848908
 1875 Talk That Talk                                                                  Sony/ATV Music Publishing LLC / EMI April Music Inc. / WB Music Corp.
                                                                   PA0002003919
                                                                   PA0001771874       Sony/ATV Music Publishing LLC / EMI April Music Inc. / WB Music Corp. / W.B.M. Music
 1876 Castle Made Of Sand
                                                                   PA0001780992       Corp.
                                                                   PA0001858812       Sony/ATV Music Publishing LLC / EMI April Music Inc. / WB Music Corp. / Warner-
 1877 Jay Z Blue
                                                                   PA0001878202       Tamerlane Publishing Corp.
 1878 Downtown                                                     PA0001864826       Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc.
 1879 More                                                         PA0001745641       Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc.
 1880 Superstar                                                    PA0001825039       Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc.
 1881 Your Mama Should've Named You Whiskey                        PA0001914393       Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc.
 1882 Across The World                                             PA0001706677       Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc.
 1883 Call Of The Wild                                             PA0001733405       Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc.
 1884 Dirty                                                        PA0001895398       Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc.
 1885 Feel This Moment                                             PA0001858590       Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc.
 1886 Global Warming                                               PA0001858589       Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc.
 1887 Hope We Meet Again                                           PA0001858593       Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc.
 1888 I'm Gone                                                     PA0001788402       Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc.
 1889 Took My Love                                                 PA0001781001       Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc.
 1890 Wet The Bed                                                  PA0001883692       Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc.
 1891 Where Do We Go                                               PA0001760301       Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc.
 1892 Big Night                                                    PA0001807064       Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc. / EMI April Music Inc.
 1893 Party Ain't Over                                             PA0001933663       Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc. / EMI April Music Inc.
 1894 What About Us?                                               PA0001072616       Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc. / EMI April Music Inc.
                                                                                      Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc. / Warner-Tamerlane
 1895 Fast Lane                                                    PA0001842407
                                                                                      Publishing Corp.
                                                                                      Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc. / Warner-Tamerlane
 1896 Fuego                                                        PA0001884048
                                                                                      Publishing Corp.
                                                                                      Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc. / Warner-Tamerlane
 1897 Hotel Room Service                                           PA0001677761
                                                                                      Publishing Corp.
                                                                                      Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc. / Warner-Tamerlane
 1898 Without A Woman                                              PA0001865872
                                                                                      Publishing Corp.
                                                                   PA0001856240       Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc. / Warner-Tamerlane
 1899 Unfortunate
                                                                   PA0001787038       Publishing Corp.
                                                                   PA0001870870
 1900 Dirt Road Diary                                                                 Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc. / WB Music Corp.
                                                                   PA0001967431




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                                 Track                                 Reg. No.                                             Plaintiff
                                                                   PA0001852371
 1901 I Did It For My Dawgz                                                           Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc. / WB Music Corp.
                                                                   PA0001874308
 1902 With The Lights On                                           PA0001924140       Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc. / WB Music Corp.

 1903 Overboard                                                    PA0001729705       Sony/ATV Music Publishing LLC / EMI Entertainment World Inc. d/b/a EMI Foray Music

                                                                                      Sony/ATV Music Publishing LLC / EMI Entertainment World Inc. d/b/a EMI Foray Music /
 1904 Without You                                                  PA0001814077
                                                                                      EMI April Music Inc.
                                                                                      Sony/ATV Music Publishing LLC / EMI Entertainment World Inc. d/b/a EMI Foray Music /
 1905 Thinking Of You                                              PA0001884080
                                                                                      Warner-Tamerlane Publishing Corp.
                                                                                      Sony/ATV Music Publishing LLC / EMI Entertainment World Inc. d/b/a EMI Foray Music /
 1906 Thinking Of You                                              PA0001687082
                                                                                      WB Music Corp.
 1907 Tears Of Joy                                                 PA0001821877       Sony/ATV Music Publishing LLC / Jobete Music Co Inc
 1908 Dance (Ass)                                                  PA0001760422       Sony/ATV Music Publishing LLC / Jobete Music Co. Inc.
 1909 Down On Me                                                   PA0001722077       Sony/ATV Music Publishing LLC / Universal Music Corp.
 1910 I'll Still Kill                                              PA0001645337       Sony/ATV Music Publishing LLC / Universal Music Corp.
 1911 Never Let You Go                                             PA0001733293       Sony/ATV Music Publishing LLC / W.B.M. Music Corp.
                                                                   PA0001852397
 1912 Mr. Right Now                                                                   Sony/ATV Music Publishing LLC / W.B.M. Music Corp./WB Music Corp.
                                                                   PA0001780994
 1913 21                                                           PA0001741677       Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1914 Automatic                                                    PA0001932906       Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1915 Paint Tha Town                                               PA0001976126       Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1916 Roman Reloaded                                               PA0001842418       Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                                   PA0001638917
 1917 American Superstar                                                              Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                                   PA0001644943
                                                                   PA0001757746
 1918 Americano                                                                       Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                                   PA0001752324
                                                                   PA0001693110
 1919 Back Around                                                                     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                                   PA0001777802
                                                                   PA0001757746
 1920 Bloody Mary                                                                     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                                   PA0001752323
                                                                   PA0001807230
 1921 Blunt Blowin                                                                    Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                                   PA0001811893
                                                                   PA0001757756
 1922 Born This Way                                                                   Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                                   PA0001751981
 1923 Born This Way (Country Road Version)                         PA0001757756       Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1924 Cut Throat                                                   PA0001648869       Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1925 Dance In The Dark                                            PA0001668360       Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                                   PA0001647060
 1926 Don't Know How To Act                                                           Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                                   PA0001644874
 1927 Fall Asleep                                                  PA0001874350       Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                                   PA0001757748
 1928 Fashion Of His Love                                                             Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                                   PA0001751985
                                                                   PA0001951624
 1929 Got Everything                                                                  Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                                   PA0001874348
                                                                   PA0001757746
 1930 Government Hooker                                                               Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                                   PA0001752316
                                                                   PA0001757748
 1931 Heavy Metal Lover                                                               Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                                   PA0001751982
                                                                   PA0001995833
 1932 High School                                                                     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                                   PA0001840527
                                                                   PA0001757746
 1933 Highway Unicorn (Road To Love)                                                  Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                                   PA0001752322
                                                                   PA0001856126
 1934 Honestly                                                                        Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                                   PA0001803614
                                                                   PA0001742580
 1935 In My Head                                                                      Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                                   PA0001813215
                                                                   PA0001647062
 1936 In The Ayer                                                                     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                                   PA0001644948
 1937 International Love                                           PA0001771867       Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1938 International Love                                           PA0001920653       Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1939 John                                                         PA0001807238       Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                                   PA0001951623
 1940 Let It Go                                                                       Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                                   PA0001874344
                                                                   PA0001742580
 1941 Love Hangover                                                                   Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                                   PA0001813216
                                                                   PA0001691877
 1942 Love Song                                                                       Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                                   PA0001682742




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                                 Track                                 Reg. No.                                             Plaintiff
                                                                   PA0001807225
 1943 Marilyn Monroe                                                                  Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                                   PA0001822206
                                                                   PA0001757748
 1944 Marry The Night                                                                 Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                                   PA0001751986
                                                                   PA0001757748
 1945 Marry The Night (Fernando Garibay Remix)                                        Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                                   PA0001751986
                                                                   PA0001951617
 1946 No Limit                                                                        Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                                   PA0001874362
 1947 Not A Bad Thing                                              PA0001896719       Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1948 Paperbond                                                    PA0001874342       Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                                   PA0001741420
 1949 Permanent December                                                              Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                                   PA0001708953
 1950 Romans Revenge                                               PA0001786576       Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1951 Side FX                                                      PA0001896430       Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1952 Stackin                                                      PA0001841819       Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                                   PA0001807221
 1953 Starships                                                                       Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                                   PA0001822042
 1954 Stupid Love                                                  PA0001924144       Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1955 Talk Dirty                                                   PA0001924145       Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1956 The Bluff                                                    PA0001874346       Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                                   PA0001757746
 1957 The Edge Of Glory                                                               Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                                   PA0001751987
                                                                   PA0001874363
 1958 The Plan                                                                        Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                                   PA0001913727
                                                                   PA0001757748
 1959 The Queen                                                                       Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                                   PA0001751984
                                                                   PA0001750275
 1960 The Show Goes On                                                                Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                                   PA0001735709
                                                                   PA0001771888
 1961 Unusual                                                                         Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                                   PA0001787047
                                                                   PA0001741927
 1962 What's Wrong With Them                                                          Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                                   PA0001804877
                                                                   PA0001807223
 1963 Whip It                                                                         Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                                   PA0001822050
                                                                   PA0001771889
 1964 You Just Need Me                                                                Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                                   PA0001787045

 1965 Maybach Music III                                            PA0001739159       Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp. / WB Music Corp.

 1966 Speedin'                                                     PA0001647947       Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp. / WB Music Corp.
 1967 Centuries                                                    PA0001967311       Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp./WB Music Corp.
                                                                   PA0001791456
 1968 All Alone                                                                       Sony/ATV Music Publishing LLC / WB Music Corp.
                                                                   PA0001810597
                                                                   PA0001791457
 1969 All Alright                                                                     Sony/ATV Music Publishing LLC / WB Music Corp.
                                                                   PA0001810599
 1970 Boyfriend                                                    PA0001834755       Sony/ATV Music Publishing LLC / WB Music Corp.
                                                                   PA0001791456
 1971 Carry On                                                                        Sony/ATV Music Publishing LLC / WB Music Corp.
                                                                   PA0001812238
                                                                   PA0001823951
 1972 Each Other                                                                      Sony/ATV Music Publishing LLC / WB Music Corp.
                                                                   PA0001763340
 1973 Free Mason                                                   PA0001715518       Sony/ATV Music Publishing LLC / WB Music Corp.
                                                                   PA0001856139
 1974 Get It Started                                                                  Sony/ATV Music Publishing LLC / WB Music Corp.
                                                                   PA0001833984
                                                                   PA0001334589
 1975 Hustlin'                                                                        Sony/ATV Music Publishing LLC / WB Music Corp.
                                                                   PA0001367972
                                                                   PA0001864854
 1976 I Cry                                                                           Sony/ATV Music Publishing LLC / WB Music Corp.
                                                                   PA0001887864
                                                                   PA0001706662
 1977 I Know You Want Me (Calle Ocho)                                                 Sony/ATV Music Publishing LLC / WB Music Corp.
                                                                   PA0001733983
                                                                   PA0001791456
 1978 It Gets Better                                                                  Sony/ATV Music Publishing LLC / WB Music Corp.
                                                                   PA0001810595
                                                                   PA0001622996
 1979 Lace and Leather                                                                Sony/ATV Music Publishing LLC / WB Music Corp.
                                                                   PA0001647942
                                                                   PA0001659046
 1980 Lover's Thing                                                                   Sony/ATV Music Publishing LLC / WB Music Corp.
                                                                   PA0001755160
 1981 Magnificent                                                  PA0001651715       Sony/ATV Music Publishing LLC / WB Music Corp.
 1982 No New Friends                                               PA0001975061       Sony/ATV Music Publishing LLC / WB Music Corp.




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                                 Track                                 Reg. No.                                                Plaintiff
                                                                   PA0001791458
 1983 One Foot                                                                        Sony/ATV Music Publishing LLC / WB Music Corp.
                                                                   PA0001811984
                                                                   PA0001919070
 1984 Sexodus                                                                         Sony/ATV Music Publishing LLC / WB Music Corp.
                                                                   PA0001955249
                                                                   PA0001775944
 1985 She Ain't You                                                                   Sony/ATV Music Publishing LLC / WB Music Corp.
                                                                   PA0001772287
                                                                   PA0001791456
 1986 Some Nights                                                                     Sony/ATV Music Publishing LLC / WB Music Corp.
                                                                   PA0001810594
                                                                   PA0001791456
 1987 Some Nights (Intro)                                                             Sony/ATV Music Publishing LLC / WB Music Corp.
                                                                   PA0001810593
                                                                   PA0001791456
 1988 Stars                                                                           Sony/ATV Music Publishing LLC / WB Music Corp.
                                                                   PA0001810598
                                                                   PA0001742577
 1989 The Sky's The Limit                                                             Sony/ATV Music Publishing LLC / WB Music Corp.
                                                                   PA0001813221
                                                                   PA0001745024
 1990 Turn Around (5,4,3,2,1)                                                         Sony/ATV Music Publishing LLC / WB Music Corp.
                                                                   PA0001821659
                                                                   PA0001791456
 1991 We Are Young                                                                    Sony/ATV Music Publishing LLC / WB Music Corp.
                                                                   PA0001811978
                                                                   PA0001791456
 1992 Why Am I the One                                                                Sony/ATV Music Publishing LLC / WB Music Corp.
                                                                   PA0001810596
                                                                   PA0001741641
 1993 Why You Up In Here                                                              Sony/ATV Music Publishing LLC / WB Music Corp.
                                                                   PA0001821674
 1994 American Beauty/American Psycho                              PA0001967312       Sony/ATV Music Publishing LLC / WB Music Corp.
 1995 BO$$                                                         PA0001961615       Sony/ATV Music Publishing LLC / WB Music Corp.
 1996 Bomb                                                         PA0001736350       Sony/ATV Music Publishing LLC / WB Music Corp.
 1997 Cooler Than Me                                               PA0001740827       Sony/ATV Music Publishing LLC / WB Music Corp.
 1998 Down To Earth                                                PA0001733328       Sony/ATV Music Publishing LLC / WB Music Corp.
 1999 Somebody To Love                                             PA0001733294       Sony/ATV Music Publishing LLC / WB Music Corp.
 2000 Stuck In The Moment                                          PA0001733295       Sony/ATV Music Publishing LLC / WB Music Corp.
 2001 Turn Around (5,4,3,2,1)                                      PA0001745024       Sony/ATV Music Publishing LLC / WB Music Corp.
                                                                   PA0001864144
 2002 Beg For It                                                                      Sony/ATV Music Publishing LLC / WB Music Corp. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001772282
                                                                   PA0001842280
 2003 Biggest Fan                                                                     Sony/ATV Music Publishing LLC / WB Music Corp. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001896028

 2004 Heaven                                                       PA0001858834       Sony/ATV Music Publishing LLC / WB Music Corp. / Warner-Tamerlane Publishing Corp.

 2005 Let It Roll Part 2                                           PA0001863569       Sony/ATV Music Publishing LLC / WB Music Corp. / Warner-Tamerlane Publishing Corp.

                                                                   PA0001870023
 2006 Maybe You're Right                                                              Sony/ATV Music Publishing LLC / WB Music Corp. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001920676
                                                                   PA0001771867
 2007 My Darlin'                                                                      Sony/ATV Music Publishing LLC / WB Music Corp. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001870022
                                                                   PA0001398432
 2008 Picasso Baby                                                                    Sony/ATV Music Publishing LLC / WB Music Corp. / Warner-Tamerlane Publishing Corp.
                                                                   PA0001858799

 2009 Remember You                                                 PA0001872896       Sony/ATV Music Publishing LLC / WB Music Corp. / Warner-Tamerlane Publishing Corp.

 2010 Tom Ford                                                     PA0001858805       Sony/ATV Music Publishing LLC / WB Music Corp. / Warner-Tamerlane Publishing Corp.

                                                                   PA0001853118
 2011 Hot In Here                                                                     Sony/ATV Music Publishing LLC / WB Music Corp. / Warner/Chappell Music, Inc.
                                                                   PA0001910894
                                                                   Eu0000789133
 2012 Can I Get A Witness                                                             Stone Agate Music (a division of Jobete Music Co. Inc.)
                                                                   RE0000535701
 2013 It Takes Two                                                 EP0000214841       Stone Agate Music (a division of Jobete Music Co. Inc.)
 2014 That's The Way Love Is                                       RE0000678602       Stone Agate Music (a division of Jobete Music Co. Inc.)
 2015 God Gave Me Style                                            PA0001160843       Stone Diamond Music Corp. / Jobete Music Co. Inc.
 2016 Head Over Feet                                               PA0000705734       UMG Recordings, Inc.
 2017 Simple Together                                              PA0001229065       UMG Recordings, Inc.
 2018 Sister Blister                                               PA0001229062       UMG Recordings, Inc.
 2019 That I Would Be Good                                         PA0000940240       UMG Recordings, Inc.
 2020 Uninvited                                                    PA0000921947       UMG Recordings, Inc.
 2021 You Learn                                                    PA0000705733       UMG Recordings, Inc.
 2022 You Oughta Know                                              PA0000705728       UMG Recordings, Inc.
                                                                   EP0000056342
 2023 Always Late (with Your Kisses)                                                  Unichappell Music, Inc.
                                                                   RE0000017054
 2024 Chaining Day                                                 PA0001939572       Unichappell Music, Inc.
                                                                   Eu0000721849
 2025 Down In The Valley                                                              Unichappell Music, Inc.
                                                                   RE0000490969




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                                 Track                                 Reg. No.                                             Plaintiff
                                                                   EU0000437231
 2026 Hallelujah I Love Her So                                                        Unichappell Music, Inc.
                                                                   RE0000193661
                                                                   Eu0000760358
 2027 Home In Your Heart                                                              Unichappell Music, Inc.
                                                                   RE0000519130
 2028 Live Fast, Die Young                                         PA0001739156       Unichappell Music, Inc.
 2029 Lloyd (Intro)                                                PA0001387423       Unichappell Music, Inc.
 2030 Lost In The World                                            PA0001784045       Unichappell Music, Inc.
 2031 Necromancer                                                  Eu0000236563       Unichappell Music, Inc.
                                                                   Eu0000937504
                                                                   EP0000204266
 2032 Papa's Got A Brand New Bag                                                      Unichappell Music, Inc.
                                                                   RE0000660458
                                                                   RE0000621005
 2033 Where Have You Been                                          PA0001802575       Unichappell Music, Inc.
 2034 1st Of Tha Month                                             PA0000782831       Unichappell Music, Inc.
 2035 In The Rain                                                  PA0001697043       Unichappell Music, Inc.
 2036 Pump It Harder                                               PA0001723093       Unichappell Music, Inc.
 2037 Somebody That I Used To Know                                 PA0001785517       Unichappell Music, Inc.
 2038 The Food                                                     PA0001299025       Unichappell Music, Inc.
 2039 The Title                                                    PA0001263488       Unichappell Music, Inc.
                                                                   EP0000105220
 2040 Walking the Floor over You                                                      Unichappell Music, Inc.
                                                                   R437566
 2041 It's a Man's Man's Man's World                               PA0000934266       Unichappell Music, Inc. / Warner-Tamerlane Publishing Corp.
 2042 New God Flow                                                 PA0001839620       Unichappell Music, Inc. / Warner-Tamerlane Publishing Corp.
 2043 New God Flow.1                                               PA0001839620       Unichappell Music, Inc. / Warner-Tamerlane Publishing Corp.
 2044 TKO                                                          PA0001896712       Unichappell Music, Inc. / Warner-Tamerlane Publishing Corp.
 2045 Crazy in Love                                                PA0001131132       Unichappell Music, Inc. / WB Music Corp.
 2046 Crazy in Love                                                PA0001208972       Unichappell Music, Inc. / WB Music Corp.
 2047 Don't Like                                                   PA0001808408       Unichappell Music, Inc. / WB Music Corp.
 2048 Gotta Have It                                                PA0001762033       Unichappell Music, Inc. / WB Music Corp.
 2049 Otis                                                         PA0001762031       Unichappell Music, Inc. / WB Music Corp.
 2050 That's My Bitch                                              PA0001762034       Unichappell Music, Inc. / WB Music Corp.
 2051 No Church In The Wild                                        PA0001762032       Unichappell Music, Inc. / WB Music Corp. / Warner-Tamerlane Publishing Corp.
 2052 Suit & Tie                                                   PA0001939563       Unichappell Music, Inc. / WB Music Corp. / Warner-Tamerlane Publishing Corp.
 2053 42                                                           PA0001820455       Universal Music - MGB NA LLC
 2054 1234                                                         PA0001692663       Universal Music - MGB NA LLC
 2055 (Rock) Superstar                                             PA0001009112       Universal Music - MGB NA LLC
 2056 A Distorted Reality Is Now A Necessity To Be Free            PA0001160161       Universal Music - MGB NA LLC
 2057 A Few Hours After This                                       PA0000344062       Universal Music - MGB NA LLC
 2058 A Fond Farewell                                              PA0001160152       Universal Music - MGB NA LLC
 2059 A Forest                                                     PA0000194922       Universal Music - MGB NA LLC
 2060 A Man Inside My Mouth                                        PA0000287956       Universal Music - MGB NA LLC
 2061 A Night Like This                                            PA0000279380       Universal Music - MGB NA LLC
 2062 A Passing Feeling                                            PA0001160156       Universal Music - MGB NA LLC
 2063 A Question Mark                                              PA0000943571       Universal Music - MGB NA LLC
 2064 A Thousand Beautiful Things                                  PA0001105462       Universal Music - MGB NA LLC
 2065 Ace In The Hole                                              PA0000419894       Universal Music - MGB NA LLC
 2066 Alameda                                                      PA0000859622       Universal Music - MGB NA LLC
 2067 All Black Everything                                         PA0001740713       Universal Music - MGB NA LLC
 2068 Alphabet Town                                                PA0000787969       Universal Music - MGB NA LLC
 2069 Amity                                                        PA0000943572       Universal Music - MGB NA LLC
 2070 Amsterdam                                                    PA0001073310       Universal Music - MGB NA LLC
 2071 Angel                                                        PA0000342822       Universal Music - MGB NA LLC
 2072 Angeles                                                      PA0000859623       Universal Music - MGB NA LLC
 2073 Baby Britain                                                 PA0000943582       Universal Music - MGB NA LLC
 2074 Ballad Of Big Nothing                                        PA0000859624       Universal Music - MGB NA LLC
 2075 Beautiful                                                    PA0001073465       Universal Music - MGB NA LLC
 2076 Beautiful Lasers (2 Ways)                                    PA0001739094       Universal Music - MGB NA LLC
 2077 Behind The Crooked Cross                                     PA0000398150       Universal Music - MGB NA LLC
 2078 Better Be Quiet Now                                          PA0001015796       Universal Music - MGB NA LLC
 2079 Between The Bars                                             PA0000859625       Universal Music - MGB NA LLC
 2080 Bled White                                                   PA0000943583       Universal Music - MGB NA LLC
 2081 Bless The Broken Road                                        PA0000734451       Universal Music - MGB NA LLC
 2082 Brandy Alexander                                             PA0001692661       Universal Music - MGB NA LLC
 2083 Breakdown                                                    PA0001166373       Universal Music - MGB NA LLC
 2084 Brothers And Sisters                                         PA0001072997       Universal Music - MGB NA LLC
 2085 Bye                                                          PA0001015793       Universal Music - MGB NA LLC
 2086 Can't Get the Best of Me                                     PA0001009100       Universal Music - MGB NA LLC
 2087 Can't Make A Sound                                           PA0001015792       Universal Music - MGB NA LLC




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                                                                     EXHIBIT B - MUSICAL COMPOSITIONS

                                Track                                  Reg. No.                                      Plaintiff
 2088 Candyman                                                     PA0001165131       Universal Music - MGB NA LLC
 2089 Candyman                                                     PA0001600087       Universal Music - MGB NA LLC
 2090 Cemeteries Of London                                         PA0001820453       Universal Music - MGB NA LLC
 2091 Charlie Brown (Radio Edit)                                   PA0001766986       Universal Music - MGB NA LLC
 2092 Christian Brothers                                           PA0000787963       Universal Music - MGB NA LLC
 2093 Cleanse The Soul                                             PA0000398146       Universal Music - MGB NA LLC
 2094 Clementine                                                   PA0000787964       Universal Music - MGB NA LLC
 2095 Close To Me                                                  PA0000279388       Universal Music - MGB NA LLC
 2096 Coast To Coast                                               PA0001160148       Universal Music - MGB NA LLC
 2097 Colorbars                                                    PA0001015789       Universal Music - MGB NA LLC
 2098 Coming Up                                                    PA0001739096       Universal Music - MGB NA LLC
 2099 Coming Up Roses                                              PA0000787967       Universal Music - MGB NA LLC
 2100 Condor Ave                                                   PA0000874054       Universal Music - MGB NA LLC
 2101 Cowboy Take Me Away                                          PA0000976781       Universal Music - MGB NA LLC
 2102 Crashed                                                      PA0001166377       Universal Music - MGB NA LLC
 2103 Crawling Back to You                                         PA0001777988       Universal Music - MGB NA LLC
 2104 Crazy Dreams                                                 PA0001642863       Universal Music - MGB NA LLC
 2105 Crests Of Waves                                              PA0001073304       Universal Music - MGB NA LLC
 2106 Culo (feat. Lil Jon)                                         PA0001160641       Universal Music - MGB NA LLC
 2107 Cupids Trick                                                 PA0000859633       Universal Music - MGB NA LLC
 2108 Death And All His Friends                                    PA0001820461       Universal Music - MGB NA LLC
 2109 Disappear                                                    PA0002067656       Universal Music - MGB NA LLC
 2110 Don't Go Down                                                PA0001160150       Universal Music - MGB NA LLC
 2111 Dr. Greenthumb                                               PA0000944325       Universal Music - MGB NA LLC
 2112 Drive All Over Town                                          PA0000874058       Universal Music - MGB NA LLC
 2113 Early Winter                                                 PA0001350680       Universal Music - MGB NA LLC
 2114 Easy Way Out                                                 PA0001015787       Universal Music - MGB NA LLC
 2115 Engel                                                        PA0000910768       Universal Music - MGB NA LLC
 2116 Everybody Cares, Everybody Understands                       PA0000943580       Universal Music - MGB NA LLC
 2117 Everything                                                   PA0001160035       Universal Music - MGB NA LLC
 2118 Everything                                                   PA0001600375       Universal Music - MGB NA LLC
 2119 Everything Means Nothing To Me                               PA0001015783       Universal Music - MGB NA LLC
 2120 Everything Reminds Me Of Her                                 PA0001015782       Universal Music - MGB NA LLC
                                                                   V2694P487
 2121 Everything's Coming Our Way                                                     Universal Music - MGB NA LLC
                                                                   EU284167
 2122 Eye In The Sky                                               PA0000144130       Universal Music - MGB NA LLC
 2123 Feel The Beat                                                PA0001015351       Universal Music - MGB NA LLC
 2124 Free                                                         PA0001284167       Universal Music - MGB NA LLC
 2125 Gatekeeper                                                   PA0001166701       Universal Music - MGB NA LLC
 2126 Get Back In My Life                                          PA0001726280       Universal Music - MGB NA LLC
 2127 Ghosts of War                                                PA0000398148       Universal Music - MGB NA LLC
 2128 Give A Little More                                           PA0001726268       Universal Music - MGB NA LLC
 2129 Gone                                                         PA0001694264       Universal Music - MGB NA LLC
 2130 Good To Go                                                   PA0000787971       Universal Music - MGB NA LLC
                                                                   V2694P487
 2131 Guajira                                                                         Universal Music - MGB NA LLC
                                                                   EU284166
 2132 Hand In My Pocket                                            PA0000705730       Universal Music - MGB NA LLC
 2133 Happiness                                                    PA0001015790       Universal Music - MGB NA LLC
 2134 Harder To Breathe                                            PA0001073084       Universal Music - MGB NA LLC
 2135 Help Me                                                      PA0001395680       Universal Music - MGB NA LLC
 2136 Home                                                         PA0001166372       Universal Music - MGB NA LLC
 2137 Honey Honey                                                  PA0001692656       Universal Music - MGB NA LLC
 2138 How                                                          PA0001784067       Universal Music - MGB NA LLC
 2139 How 'Bout Them Cowgirls                                      PA0001165925       Universal Music - MGB NA LLC
 2140 How My Heart Behaves                                         PA0001692650       Universal Music - MGB NA LLC
 2141 I Ain't In Checotah Anymore                                  PA0001327781       Universal Music - MGB NA LLC
 2142 I Can't Lie                                                  PA0001784067       Universal Music - MGB NA LLC
 2143 I Care                                                       PA0001748375       Universal Music - MGB NA LLC
 2144 I Didn't Understand                                          PA0000943573       Universal Music - MGB NA LLC
 2145 I Don't Wanna Care Right Now                                 PA0001739119       Universal Music - MGB NA LLC
 2146 I Feel It All                                                PA0001692643       Universal Music - MGB NA LLC
 2147 I Forgive You                                                PA0001771873       Universal Music - MGB NA LLC
 2148 I'm Scared                                                   PA0001698335       Universal Music - MGB NA LLC
 2149 In Between Days                                              PA0000279383       Universal Music - MGB NA LLC
 2150 In The Lost And Found (Honky Bach)/The Roost                 PA0001015785       Universal Music - MGB NA LLC
 2151 Inbetween Days                                               PA0000279383       Universal Music - MGB NA LLC
 2152 Independence Day                                             PA0000846538       Universal Music - MGB NA LLC
 2153 Intuition                                                    PA0001692658       Universal Music - MGB NA LLC




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                                Track                                  Reg. No.                                      Plaintiff
 2154 Jumping Someone Else's Train                                 PA0000205032       Universal Music - MGB NA LLC
 2155 Junk Bond Trader                                             PA0001015781       Universal Music - MGB NA LLC
 2156 Just A Feeling                                               PA0001726281       Universal Music - MGB NA LLC
 2157 Killing An Arab                                              PA0000205039       Universal Music - MGB NA LLC
 2158 King's Crossing                                              PA0001160154       Universal Music - MGB NA LLC
 2159 Kiwi Maddog 2020                                             PA0000874061       Universal Music - MGB NA LLC
 2160 Kyoto Song                                                   PA0000279387       Universal Music - MGB NA LLC
 2161 Lamborghini Angels                                           PA0001936327       Universal Music - MGB NA LLC
 2162 Last Call                                                    PA0000874060       Universal Music - MGB NA LLC
 2163 Leave Love Alone                                             PA0001810767       Universal Music - MGB NA LLC
 2164 Leisure Suite                                                PA0001166703       Universal Music - MGB NA LLC
 2165 Let It Die                                                   PA0001166700       Universal Music - MGB NA LLC
 2166 Let's Get Lost                                               PA0001160147       Universal Music - MGB NA LLC
 2167 Let's Go To Bed                                              PA0000190147       Universal Music - MGB NA LLC
 2168 Letting Go                                                   PA0001739109       Universal Music - MGB NA LLC
 2169 Links 2 3 4                                                  PA0001015267       Universal Music - MGB NA LLC
 2170 Little One                                                   PA0001160160       Universal Music - MGB NA LLC
 2171 Live Undead                                                  PA0000398142       Universal Music - MGB NA LLC
 2172 Lonely Lonely                                                PA0001166704       Universal Music - MGB NA LLC
 2173 Lose Myself                                                  PA0000884229       Universal Music - MGB NA LLC
 2174 Lost?                                                        PA0001820454       Universal Music - MGB NA LLC
 2175 Love Was Easy                                                PA0001899459       Universal Music - MGB NA LLC
 2176 Lovers In Japan (Osaka Sun Mix)                              PA0001820456       Universal Music - MGB NA LLC
 2177 Lowrider                                                     PA0001058017       Universal Music - MGB NA LLC
 2178 Mamacita                                                     PA0001635799       Universal Music - MGB NA LLC
 2179 Mandatory Suicide                                            PA0000398149       Universal Music - MGB NA LLC
 2180 Me                                                           PA0000898017       Universal Music - MGB NA LLC
 2181 Memory Lane                                                  PA0001160159       Universal Music - MGB NA LLC
 2182 Misery                                                       PA0001726265       Universal Music - MGB NA LLC
 2183 Miss Misery                                                  PA0000880149       Universal Music - MGB NA LLC
 2184 Mmm Papi                                                     PA0001800249       Universal Music - MGB NA LLC
 2185 Moves Like Jagger                                            PA0001801572       Universal Music - MGB NA LLC
 2186 Mushaboom                                                    PA0001166692       Universal Music - MGB NA LLC
 2187 Must Get Out                                                 PA0001073090       Universal Music - MGB NA LLC
 2188 Mutter                                                       PA0001015271       Universal Music - MGB NA LLC
 2189 My Kinda Girl                                                PA0002008135       Universal Music - MGB NA LLC
 2190 My Moon My Man                                               PA0001692639       Universal Music - MGB NA LLC
 2191 Needle In The Hay                                            PA0000787962       Universal Music - MGB NA LLC
 2192 Never Gonna Leave This Bed                                   PA0001726273       Universal Music - MGB NA LLC
 2193 No Curtain Call                                              PA0001726287       Universal Music - MGB NA LLC
 2194 No Name #1                                                   PA0000874055       Universal Music - MGB NA LLC
 2195 No Name #1                                                   PA0000874056       Universal Music - MGB NA LLC
 2196 No Name #1                                                   PA0000874057       Universal Music - MGB NA LLC
 2197 No Name #4                                                   PA0000874059       Universal Music - MGB NA LLC
 2198 No Name #5                                                   PA0000859632       Universal Music - MGB NA LLC
 2199 No Substitute Love                                           PA0001911376       Universal Music - MGB NA LLC
 2200 Nobody Ever Told You                                         PA0001810765       Universal Music - MGB NA LLC
 2201 Not Coming Home                                              PA0001073094       Universal Music - MGB NA LLC
 2202 Nothings Gonna Stop Us Now                                   PA0000318621       Universal Music - MGB NA LLC
 2203 Oh Well, OK                                                  PA0000943579       Universal Music - MGB NA LLC
 2204 One Evening                                                  PA0001166702       Universal Music - MGB NA LLC
 2205 One I Love                                                   PA0001073301       Universal Music - MGB NA LLC
 2206 One More Night                                               PA0001810344       Universal Music - MGB NA LLC
 2207 Ostrich & Chirping                                           PA0001160153       Universal Music - MGB NA LLC
 2208 Other Voices                                                 PA0000194927       Universal Music - MGB NA LLC
 2209 Out Of Goodbyes                                              PA0001726285       Universal Music - MGB NA LLC
 2210 Parachutes                                                   PA0000981361       Universal Music - MGB NA LLC
 2211 Past In Present                                              PA0001692670       Universal Music - MGB NA LLC
 2212 Pictures Of Me                                               PA0000859626       Universal Music - MGB NA LLC
 2213 Pitseleh                                                     PA0000943578       Universal Music - MGB NA LLC
 2214 Play For Today                                               PA0000194917       Universal Music - MGB NA LLC
 2215 Pretty (Ugly Before)                                         PA0001160149       Universal Music - MGB NA LLC
 2216 Pretty Mary K (Other Version)                                PA0001015791       Universal Music - MGB NA LLC
 2217 Pretty Mary Kay                                              PA0001015791       Universal Music - MGB NA LLC
 2218 Primary                                                      PA0000194926       Universal Music - MGB NA LLC
 2219 Punch And Judy                                               PA0000859627       Universal Music - MGB NA LLC
 2220 Push                                                         PA0000279386       Universal Music - MGB NA LLC
 2221 Rag Doll                                                     PA0001805172       Universal Music - MGB NA LLC




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                                                                     EXHIBIT B - MUSICAL COMPOSITIONS

                                 Track                                 Reg. No.                                      Plaintiff
 2222 Read Between The Lies                                        PA0000398147       Universal Music - MGB NA LLC
 2223 Ready To Run                                                 PA0000955178       Universal Music - MGB NA LLC
 2224 REISE, REISE                                                 PA0001163519       Universal Music - MGB NA LLC
 2225 Return of the "G"                                            PA0000956080       Universal Music - MGB NA LLC
 2226 Roman Candle                                                 PA0000874053       Universal Music - MGB NA LLC
 2227 Rose Parade                                                  PA0000859628       Universal Music - MGB NA LLC
 2228 Runaway                                                      PA0001726283       Universal Music - MGB NA LLC
 2229 Sacrifice                                                    PA0001163825       Universal Music - MGB NA LLC
                                                                   V2694P487
 2230 Samba Pa Ti                                                                     Universal Music - MGB NA LLC
                                                                   EU221030
 2231 Sandstorm (Js 16 Remix)                                      PA0001015249       Universal Music - MGB NA LLC
 2232 Sandstorm (Radio Edit)                                       PA0000981355       Universal Music - MGB NA LLC
 2233 Sara                                                         PA0000289967       Universal Music - MGB NA LLC
 2234 Satellite                                                    PA0000787968       Universal Music - MGB NA LLC
 2235 Satellites                                                   PA0002067663       Universal Music - MGB NA LLC
 2236 Say Yes                                                      PA0000859629       Universal Music - MGB NA LLC
 2237 Screw                                                        PA0000279385       Universal Music - MGB NA LLC
                                                                   V2694P487
 2238 Se a Cabo                                                                       Universal Music - MGB NA LLC
                                                                   EU221029
 2239 Secret                                                       PA0001073092       Universal Music - MGB NA LLC
 2240 Sehnsucht                                                    PA0000956711       Universal Music - MGB NA LLC
 2241 She Will Be Loved                                            PA0001073087       Universal Music - MGB NA LLC
 2242 Shiver                                                       PA0001073086       Universal Music - MGB NA LLC
 2243 Shooting Star                                                PA0001160158       Universal Music - MGB NA LLC
 2244 Shoulda Let You Go                                           PA0001395956       Universal Music - MGB NA LLC
 2245 Silent Scream                                                PA0000398144       Universal Music - MGB NA LLC
 2246 Single File                                                  PA0000787966       Universal Music - MGB NA LLC
 2247 Sinking                                                      PA0000279379       Universal Music - MGB NA LLC
 2248 Six Different Ways                                           PA0000279384       Universal Music - MGB NA LLC
 2249 So Small                                                     PA0001642868       Universal Music - MGB NA LLC
 2250 Some Song                                                    PA0000977171       Universal Music - MGB NA LLC
 2251 Somebody That I Used To Know                                 PA0001015780       Universal Music - MGB NA LLC
 2252 Somewhere Only We Know                                       PA0001160739       Universal Music - MGB NA LLC
 2253 Son Of Sam                                                   PA0001015779       Universal Music - MGB NA LLC
                                                                   V2694P487
 2254 Soul Sacrifice                                                                  Universal Music - MGB NA LLC
                                                                   EU133364
 2255 South Of Heaven                                              PA0000398143       Universal Music - MGB NA LLC
 2256 Southern Belle                                               PA0000787965       Universal Music - MGB NA LLC
 2257 Speed Of Sound (Edit)                                        PA0001700393       Universal Music - MGB NA LLC
 2258 Speed Trials                                                 PA0000859630       Universal Music - MGB NA LLC
 2259 Spies                                                        PA0000981358       Universal Music - MGB NA LLC
 2260 Spill The Blood                                              PA0000398145       Universal Music - MGB NA LLC
 2261 St. Ides Heaven                                              PA0000787970       Universal Music - MGB NA LLC
 2262 State Run Radio                                              PA0001739098       Universal Music - MGB NA LLC
 2263 Stop Dead                                                    PA0000292281       Universal Music - MGB NA LLC
 2264 Strawberry Swing                                             PA0001820460       Universal Music - MGB NA LLC
 2265 Stronger (What Doesn't Kill You)                             PA0001771872       Universal Music - MGB NA LLC
 2266 Strung Out Again                                             PA0001160151       Universal Music - MGB NA LLC
 2267 Stupidity Tries                                              PA0001015786       Universal Music - MGB NA LLC
 2268 Stutter                                                      PA0001784067       Universal Music - MGB NA LLC
 2269 Sunday Morning                                               PA0001073091       Universal Music - MGB NA LLC
 2270 Superstar                                                    PA0001914364       Universal Music - MGB NA LLC
 2271 Sweet Adeline                                                PA0000943577       Universal Music - MGB NA LLC
 2272 Sweetest Goodbye                                             PA0001073095       Universal Music - MGB NA LLC
 2273 Tangled                                                      PA0001073088       Universal Music - MGB NA LLC
 2274 Tequila Sunrise                                              PA0000978418       Universal Music - MGB NA LLC
 2275 Texas Lullaby                                                RE0000904352       Universal Music - MGB NA LLC
 2276 The Baby Screams                                             PA0000279381       Universal Music - MGB NA LLC
 2277 The Blood                                                    PA0000279382       Universal Music - MGB NA LLC
 2278 The Caterpillar                                              PA0000215389       Universal Music - MGB NA LLC
 2279 The Exploding Boy                                            PA0000344061       Universal Music - MGB NA LLC
 2280 The Hanging Garden                                           PA0000192007       Universal Music - MGB NA LLC
 2281 The Last Hour                                                PA0001160157       Universal Music - MGB NA LLC
 2282 The Limit To Your Love                                       PA0001692667       Universal Music - MGB NA LLC
 2283 The Park                                                     PA0001692751       Universal Music - MGB NA LLC
 2284 The Quiet Things That No One Ever Knows                      PA0001160997       Universal Music - MGB NA LLC
 2285 The Sun                                                      PA0001073089       Universal Music - MGB NA LLC
 2286 The Walk                                                     PA0000190145       Universal Music - MGB NA LLC




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                                                                     EXHIBIT B - MUSICAL COMPOSITIONS

                                  Track                                Reg. No.                                       Plaintiff
 2287 The Water                                                    PA0001692757       Universal Music - MGB NA LLC
 2288 The White Lady Loves You More                                PA0000787972       Universal Music - MGB NA LLC
 2289 There And Back Again                                         PA0001166375       Universal Music - MGB NA LLC
 2290 There Will Come A Day                                        PA0001104206       Universal Music - MGB NA LLC
 2291 This Love                                                    PA0001073085       Universal Music - MGB NA LLC
 2292 Through With You                                             PA0001073093       Universal Music - MGB NA LLC
 2293 Throw Your Set In The Air                                    PA0000864778       Universal Music - MGB NA LLC
 2294 Thugz Cry                                                    PA0000980074       Universal Music - MGB NA LLC
 2295 Tomorrow Tomorrow                                            PA0000943576       Universal Music - MGB NA LLC
 2296 Tulsa Texas                                                  PA0001910314       Universal Music - MGB NA LLC
 2297 Twilight                                                     PA0001160155       Universal Music - MGB NA LLC
 2298 Used To                                                      PA0001166369       Universal Music - MGB NA LLC
 2299 Violet Hill                                                  PA0001820463       Universal Music - MGB NA LLC
 2300 Viva La Vida [Radio Edit]                                    PA0001820459       Universal Music - MGB NA LLC
 2301 Waltz #1                                                     PA0000943575       Universal Music - MGB NA LLC
 2302 Waltz, NO. 2 (XO)                                            PA0000943574       Universal Music - MGB NA LLC
 2303 What I Want                                                  PA0001166370       Universal Music - MGB NA LLC
 2304 When This Feeling                                            PA0000795251       Universal Music - MGB NA LLC
 2305 When U Cry                                                   PA0000884230       Universal Music - MGB NA LLC
 2306 Who Will You Run To                                          PA0000332738       Universal Music - MGB NA LLC
 2307 Why                                                          PA0001166751       Universal Music - MGB NA LLC
 2308 Wouldn't Mama Be Proud                                       PA0001015788       Universal Music - MGB NA LLC
 2309 Yes                                                          PA0001820464       Universal Music - MGB NA LLC
 2310 You Can't Make A Heart Love Somebody                         PA0000693782       Universal Music - MGB NA LLC
 2311 You Want Her Too                                             PA0000423641       Universal Music - MGB NA LLC
 2312 Eye Pieces                                                   V3594D824          Universal Music - MGB NA LLC
 2313 Full Of S**t                                                 PA0001733984       Universal Music - MGB NA LLC
 2314 Homecoming Queen                                             PA0001915831       Universal Music - MGB NA LLC
 2315 One Of Those Nights                                          PA0001856074       Universal Music - MGB NA LLC
 2316 Sweetest Girl (Dollar Bill)                                  PA0001776575       Universal Music - MGB NA LLC
 2317 1985                                                         PA0001159762       Universal Music - Z Tunes LLC
 2318 A Modern Myth                                                PA0001627815       Universal Music - Z Tunes LLC
 2319 A-hole                                                       PA0001159770       Universal Music - Z Tunes LLC
 2320 After The Hurricane                                          PA0001897144       Universal Music - Z Tunes LLC
 2321 Alien                                                        PA0001917964       Universal Music - Z Tunes LLC
 2322 All I Have To Give                                           PA0000859324       Universal Music - Z Tunes LLC
 2323 All I Wanna Do Is Make Love To You                           PA000063695        Universal Music - Z Tunes LLC
 2324 All The Way                                                  PA0001933959       Universal Music - Z Tunes LLC
 2325 Almost                                                       PA0001159760       Universal Music - Z Tunes LLC
 2326 Almost Home                                                  PA0001159842       Universal Music - Z Tunes LLC
 2327 Anything                                                     PA0001166331       Universal Music - Z Tunes LLC
 2328 As Long As You Love Me                                       PA0000859323       Universal Music - Z Tunes LLC
 2329 Attack                                                       PA0001630069       Universal Music - Z Tunes LLC
 2330 AV                                                           PA0001158617       Universal Music - Z Tunes LLC
 2331 Baby One More Time                                           PA0000919013       Universal Music - Z Tunes LLC
 2332 Be On You (feat. Ne-Yo)                                      PA0001744934       Universal Music - Z Tunes LLC
 2333 Because Of You                                               PA0001643835       Universal Music - Z Tunes LLC
 2334 Body Count                                                   PA0001843832       Universal Music - Z Tunes LLC
 2335 Boo                                                          PA0001068355       Universal Music - Z Tunes LLC
 2336 Born to Make You Happy                                       PA0000932240       Universal Music - Z Tunes LLC
 2337 Brave New Girl                                               PA0001158592       Universal Music - Z Tunes LLC
 2338 Brenda's Got A Baby                                          PA0001319771       Universal Music - Z Tunes LLC
 2339 Brightest Morning Star                                       PA0001915188       Universal Music - Z Tunes LLC
 2340 Burn It Down                                                 PA0001805742       Universal Music - Z Tunes LLC
 2341 Caligula                                                     PA0000982321       Universal Music - Z Tunes LLC
 2342 Call Me Guilty                                               PA0001897137       Universal Music - Z Tunes LLC
 2343 Call On Me                                                   PA0001087663       Universal Music - Z Tunes LLC
 2344 Castle of Glass                                              PA0001805745       Universal Music - Z Tunes LLC
 2345 Celebrity                                                    PA0001752525       Universal Music - Z Tunes LLC
 2346 Chillin' With You                                            PA0001917967       Universal Music - Z Tunes LLC
 2347 Come And Get Some                                            PA0000951393       Universal Music - Z Tunes LLC
 2348 Come Together                                                PA0001131225       Universal Music - Z Tunes LLC
 2349 Coming Home                                                  PA0000968742       Universal Music - Z Tunes LLC
 2350 Crawling                                                     PA0001092510       Universal Music - Z Tunes LLC
 2351 Criminal                                                     PA0001767537       Universal Music - Z Tunes LLC
 2352 Damn Girl                                                    PA0001165054       Universal Music - Z Tunes LLC
 2353 Destiny                                                      PA0001012581       Universal Music - Z Tunes LLC
 2354 Do Something                                                 PA0000965750       Universal Music - Z Tunes LLC




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                                 Track                                  Reg. No.                                       Plaintiff
 2355 Don't Cry                                                     PA0001917968       Universal Music - Z Tunes LLC
 2356 Don't Say No, Just Say Yes                                    PA0001087665       Universal Music - Z Tunes LLC
 2357 Don't Take Your Love Away                                     PA0001158619       Universal Music - Z Tunes LLC
 2358 Down For The Count                                            PA0001159774       Universal Music - Z Tunes LLC
 2359 Dream Big                                                     PA0001897124       Universal Music - Z Tunes LLC
 2360 Drowning                                                      PA0001065910       Universal Music - Z Tunes LLC
 2361 Early Mornin'                                                 PA0001162999       Universal Music - Z Tunes LLC
 2362 Epiphany (Radio)                                              PA0001908943       Universal Music - Z Tunes LLC
 2363 Every Position                                                PA0002031790       Universal Music - Z Tunes LLC
 2364 Everything About You                                          PA0001158625       Universal Music - Z Tunes LLC
 2365 Everytime                                                     PA0001158595       Universal Music - Z Tunes LLC
 2366 F*ck Faces                                                    PA0000951093       Universal Music - Z Tunes LLC
 2367 Fear                                                          PA0001897132       Universal Music - Z Tunes LLC
 2368 Feast                                                         PA0001158622       Universal Music - Z Tunes LLC
 2369 Finally Made Me Happy                                         PA0001167770       Universal Music - Z Tunes LLC
 2370 Flickin'                                                      PA0001158627       Universal Music - Z Tunes LLC
 2371 Fly As An Eagle (feat. Foxx and Pimp C)                       PA0001924161       Universal Music - Z Tunes LLC
 2372 Friends O' Mine                                               PA0001159776       Universal Music - Z Tunes LLC
 2373 From Yesterday                                                PA0001627824       Universal Music - Z Tunes LLC
 2374 Get Away                                                      PA0001025466       Universal Music - Z Tunes LLC
 2375 Get Happy                                                     PA0001159763       Universal Music - Z Tunes LLC
 2376 Gimme All Your Lovin' or I Will Kill You                      PA0001068357       Universal Music - Z Tunes LLC
 2377 Good Girl Gone Bad                                            PA0001641361       Universal Music - Z Tunes LLC
      Good to know that if I ever need attention all I have to do
 2378                                                               PA0001160994       Universal Music - Z Tunes LLC
      is die
 2379 Guernica                                                      PA0001160999       Universal Music - Z Tunes LLC
 2380 Happiness                                                     PA0001131229       Universal Music - Z Tunes LLC
 2381 Happy                                                         PA0001012579       Universal Music - Z Tunes LLC
 2382 Hate It Or Love It                                            PA0001277483       Universal Music - Z Tunes LLC
 2383 Hate That I Love You                                          PA0001641335       Universal Music - Z Tunes LLC
                                                                    PA0001658991
 2384 His Mistakes                                                                     Universal Music - Z Tunes LLC
                                                                    PA0001602812
 2385 Hold On Tight                                                 PA0001915189       Universal Music - Z Tunes LLC
 2386 Hooked                                                        PA0001158620       Universal Music - Z Tunes LLC
 2387 Hunter                                                        PA0002076460       Universal Music - Z Tunes LLC
 2388 I Can't Wait                                                  PA0001396082       Universal Music - Z Tunes LLC
 2389 I Don't Remember                                              PA0001729163       Universal Music - Z Tunes LLC
 2390 I Hate Everything                                             PA0001159807       Universal Music - Z Tunes LLC
 2391 I Wanna Know                                                  PA0001012580       Universal Music - Z Tunes LLC
 2392 I Want It That Way                                            PA0000940714       Universal Music - Z Tunes LLC
 2393 I Will                                                        PA0000925699       Universal Music - Z Tunes LLC
 2394 I Will Play My Game Beneath The Spin Light                    PA0001160991       Universal Music - Z Tunes LLC
 2395 I'll Be Gone                                                  PA0001805744       Universal Music - Z Tunes LLC
 2396 I'll Never Break Your Heart                                   PA0000859260       Universal Music - Z Tunes LLC
                                                                    PA0001167048
 2397 If It's Lovin' That You Want                                                     Universal Music - Z Tunes LLC
                                                                    PA0001162726
 2398 In Between Us                                                 PA0001113731       Universal Music - Z Tunes LLC
 2399 In Love With Another Man                                      PA0001897134       Universal Music - Z Tunes LLC
 2400 In My Remains                                                 PA0001805741       Universal Music - Z Tunes LLC
 2401 In The End (Live In Texas)                                    PA0001092513       Universal Music - Z Tunes LLC
 2402 Int'l Players Anthem (I Choose You)                           PA0001646582       Universal Music - Z Tunes LLC
 2403 It Ain't The Money                                            PA0001131222       Universal Music - Z Tunes LLC
 2404 It Should Be Easy                                             PA0001917963       Universal Music - Z Tunes LLC
 2405 Jack & Jill                                                   PA0001087674       Universal Music - Z Tunes LLC
 2406 Jaws Theme Swimming                                           PA0001160998       Universal Music - Z Tunes LLC
 2407 King Of The Streets                                           PA0001774746       Universal Music - Z Tunes LLC
 2408 Larger Than Life                                              PA0000940713       Universal Music - Z Tunes LLC
 2409 Last Call Casualty                                            PA0001159767       Universal Music - Z Tunes LLC
 2410 Leave Out All The Rest                                        PA0001167571       Universal Music - Z Tunes LLC
 2411 Let Me C It (Feat. Petey Pablo)                               PA0001241429       Universal Music - Z Tunes LLC
 2412 Let Me Love You (Until You Learn To Love Yourself)            PA0001831966       Universal Music - Z Tunes LLC
 2413 Let's Make a Deal                                             PA0001025467       Universal Music - Z Tunes LLC
 2414 Lie About Us                                                  PA0001167119       Universal Music - Z Tunes LLC
 2415 Lies Greed Misery                                             PA0001805743       Universal Music - Z Tunes LLC
 2416 Like Smoke                                                    PA0001804417       Universal Music - Z Tunes LLC
 2417 Lost in the Echo                                              PA0001805740       Universal Music - Z Tunes LLC
 2418 Love Me Love Me                                               PA0001784544       Universal Music - Z Tunes LLC
 2419 Love School                                                   PA0001087673       Universal Music - Z Tunes LLC




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                                                                     EXHIBIT B - MUSICAL COMPOSITIONS

                                   Track                               Reg. No.                                       Plaintiff
 2420 Makin' Good Love                                             PA0001087666       Universal Music - Z Tunes LLC
 2421 Marry The P***y                                              PA0001934438       Universal Music - Z Tunes LLC
 2422 Me Against The Music                                         PA0001158586       Universal Music - Z Tunes LLC
 2423 Me vs. Maradona vs. Elvis                                    PA0001161000       Universal Music - Z Tunes LLC
 2424 My Baby                                                      PA0001888781       Universal Music - Z Tunes LLC
 2425 My Hometown                                                  PA0001159769       Universal Music - Z Tunes LLC
 2426 Need U Bad                                                   PA0001932031       Universal Music - Z Tunes LLC
 2427 Next Ex-Girlfriend                                           PA0001159768       Universal Music - Z Tunes LLC
 2428 Next To You                                                  PA0001641326       Universal Music - Z Tunes LLC
 2429 No Limit                                                     PA0001087668       Universal Music - Z Tunes LLC
 2430 Now That I Found You                                         PA0001915191       Universal Music - Z Tunes LLC
 2431 Oblivion                                                     PA0001066429       Universal Music - Z Tunes LLC
 2432 Okay I Believe You, But My Tommy Gun Don't                   PA0001160992       Universal Music - Z Tunes LLC
 2433 One Night Stand                                              PA0001897141       Universal Music - Z Tunes LLC
 2434 One Way Street                                               PA0001087672       Universal Music - Z Tunes LLC
 2435 Ooh Aah                                                      PA0001012582       Universal Music - Z Tunes LLC
 2436 Oops I Did It Again                                          PA0001005838       Universal Music - Z Tunes LLC
 2437 Outrageous                                                   PA0001158594       Universal Music - Z Tunes LLC
 2438 Papercut                                                     PA0001092506       Universal Music - Z Tunes LLC
 2439 Parachute                                                    PA0001856273       Universal Music - Z Tunes LLC
 2440 Perfume (The Dreaming Mix)                                   PA0001915193       Universal Music - Z Tunes LLC
 2441 Phone Sex (That's What's Up)                                 PA0001158621       Universal Music - Z Tunes LLC
 2442 Play Crack The Sky                                           PA0001160996       Universal Music - Z Tunes LLC
 2443 Plc.4 Mie Haed                                               PA0001237296       Universal Music - Z Tunes LLC
 2444 Points Of Authority                                          PA0001092509       Universal Music - Z Tunes LLC
 2445 Points Of Authority (Crystal Method Remix)                   PA0001092509       Universal Music - Z Tunes LLC
 2446 Powerless                                                    PA0001805751       Universal Music - Z Tunes LLC
 2447 PPr:Kut                                                      PA0001237300       Universal Music - Z Tunes LLC
 2448 Pts.Of.Athrty                                                PA0001237292       Universal Music - Z Tunes LLC
 2449 Question Existing                                            PA0001641356       Universal Music - Z Tunes LLC
 2450 Quit Playing Games (With My Heart)                           PA0000893064       Universal Music - Z Tunes LLC
 2451 R-Evolve                                                     PA0001627821       Universal Music - Z Tunes LLC
 2452 Rather Hazy                                                  PA0001010168       Universal Music - Z Tunes LLC
 2453 Reaction                                                     PA0001054035       Universal Music - Z Tunes LLC
 2454 Read Your Mind                                               PA0001158618       Universal Music - Z Tunes LLC
 2455 Really Might Be Gone                                         PA0001159773       Universal Music - Z Tunes LLC
 2456 Rehab                                                        PA0001641351       Universal Music - Z Tunes LLC
 2457 Ridiculous                                                   PA0001159765       Universal Music - Z Tunes LLC
 2458 Rnw@y                                                        PA0001237301       Universal Music - Z Tunes LLC
 2459 Roads Untraveled                                             PA0001805747       Universal Music - Z Tunes LLC
 2460 Run (feat. RedFoo of LMFAO) [Preview Clip]                   PA0001824805       Universal Music - Z Tunes LLC
 2461 Runaway                                                      PA0001092511       Universal Music - Z Tunes LLC
 2462 Sad Sad Situation                                            PA0001159772       Universal Music - Z Tunes LLC
 2463 Savior                                                       PA0001627837       Universal Music - Z Tunes LLC
 2464 Screamin'                                                    PA0001131232       Universal Music - Z Tunes LLC
 2465 Seems To Be                                                  PA0001158623       Universal Music - Z Tunes LLC
 2466 Separated                                                    PA0001012575       Universal Music - Z Tunes LLC
 2467 Serious                                                      PA0001025468       Universal Music - Z Tunes LLC
 2468 Session                                                      PA0001256413       Universal Music - Z Tunes LLC
 2469 Sex-o-matic Venus Freak                                      PA0000982322       Universal Music - Z Tunes LLC
 2470 Sexual Revolution                                            PA0001088199       Universal Music - Z Tunes LLC
 2471 Shadow                                                       PA0001158591       Universal Music - Z Tunes LLC
 2472 She Ain't Right for You                                      PA0001131223       Universal Music - Z Tunes LLC
 2473 She Don't Write Songs About You                              PA0001131226       Universal Music - Z Tunes LLC
 2474 Show Ya P***y                                                PA0002031786       Universal Music - Z Tunes LLC
 2475 Showdown                                                     PA0001158589       Universal Music - Z Tunes LLC
 2476 Shut-Up And Smile                                            PA0001159766       Universal Music - Z Tunes LLC
 2477 Sic Transit Gloria ... Glory Fades                           PA0001160995       Universal Music - Z Tunes LLC
 2478 Six In Da Morning                                            PA0001087670       Universal Music - Z Tunes LLC
 2479 Skin to Bone                                                 PA0001805748       Universal Music - Z Tunes LLC
 2480 Smoothie King                                                PA0001159771       Universal Music - Z Tunes LLC
 2481 Sometimes                                                    PA0000932239       Universal Music - Z Tunes LLC
 2482 Somewhere I Belong                                           PA0001256410       Universal Music - Z Tunes LLC
 2483 Song of the Wind                                             RE0000834788       Universal Music - Z Tunes LLC
 2484 Sorry                                                        PA0001087667       Universal Music - Z Tunes LLC
 2485 Stupid In Love                                               PA0001668436       Universal Music - Z Tunes LLC
 2486 Suicide                                                      PA0001087675       Universal Music - Z Tunes LLC
 2487 Switch!                                                      PA0001897139       Universal Music - Z Tunes LLC




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                               Track                                   Reg. No.                                                Plaintiff
 2488 Take A Bow                                                   PA0001692696       Universal Music - Z Tunes LLC
 2489 Tautou                                                       PA0001160990       Universal Music - Z Tunes LLC
 2490 Tear It Up                                                   PA0002031795       Universal Music - Z Tunes LLC
 2491 The Boss                                                     PA0001643618       Universal Music - Z Tunes LLC
 2492 The Boy Who Blocked His Own Shot                             PA0001160993       Universal Music - Z Tunes LLC
 2493 The Fantasy                                                  PA0001627841       Universal Music - Z Tunes LLC
 2494 The Hook Up                                                  PA0001158587       Universal Music - Z Tunes LLC
 2495 The Kill [Bury Me]                                           PA0001630065       Universal Music - Z Tunes LLC
 2496 The Letter                                                   PA0000982327       Universal Music - Z Tunes LLC
 2497 The One                                                      PA0000940719       Universal Music - Z Tunes LLC
 2498 The Star Spangled Banner                                     PA0000863656       Universal Music - Z Tunes LLC
 2499 The Story                                                    PA0001627822       Universal Music - Z Tunes LLC
 2500 These Dreams                                                 PA0000265527       Universal Music - Z Tunes LLC
 2501 They Down With Us                                            PA0001032839       Universal Music - Z Tunes LLC
 2502 Things That Made Me Change                                   PA0001131224       Universal Music - Z Tunes LLC
 2503 Thinkin' About You                                           PA0001087669       Universal Music - Z Tunes LLC
 2504 This Time                                                    PA0001025469       Universal Music - Z Tunes LLC
 2505 Throw This Money On You                                      PA0001934439       Universal Music - Z Tunes LLC
 2506 Tinfoil                                                      PA0001805750       Universal Music - Z Tunes LLC
 2507 Touch Of My Hand                                             PA0001158590       Universal Music - Z Tunes LLC
 2508 Treat Me Like Your Money                                     PA0001167777       Universal Music - Z Tunes LLC
 2509 Trucker Hat                                                  PA0001159761       Universal Music - Z Tunes LLC
 2510 Two-Seater                                                   PA0001159775       Universal Music - Z Tunes LLC
 2511 Valentine's Day                                              PA0001167577       Universal Music - Z Tunes LLC
 2512 Victimized                                                   PA0001805746       Universal Music - Z Tunes LLC
 2513 Wake                                                         PA0001167569       Universal Music - Z Tunes LLC
 2514 Wake [Live From SoHo]                                        PA0001167569       Universal Music - Z Tunes LLC
 2515 Wanna Be Close                                               PA0001158624       Universal Music - Z Tunes LLC
 2516 Was It A Dream?                                              PA0001630066       Universal Music - Z Tunes LLC
 2517 What Do You Want                                             PA0001087664       Universal Music - Z Tunes LLC
 2518 Why                                                          PA0001012583       Universal Music - Z Tunes LLC
 2519 Why Didn't You Call Me                                       PA0000982319       Universal Music - Z Tunes LLC
 2520 With You                                                     PA0001092508       Universal Music - Z Tunes LLC
 2521 Worldwide                                                    PA0001731533       Universal Music - Z Tunes LLC
 2522 Wth>You                                                      PA0001237298       Universal Music - Z Tunes LLC
 2523 You Ain't Right                                              PA0001087671       Universal Music - Z Tunes LLC
 2524 You Deserve Better                                           PA0001933962       Universal Music - Z Tunes LLC
                                                                   PA0001158628
 2525 You Got Me                                                                      Universal Music - Z Tunes LLC
                                                                   PA0001208305
 2526 You're Not Alone                                             PA0001784547       Universal Music - Z Tunes LLC
 2527 Up Down (Do This All Day)                                    PA0002092747       Universal Music - Z Tunes LLC / Songs of Universal, Inc.
 2528 Go On Girl                                                   PA0001167568       Universal Music -Z Tunes LLC
 2529 Amusement Park                                               PA0001645318       Universal Music – MGB NA LLC
 2530 Breathe Me (Four Tet Remix)                                  PA0001164903       Universal Music – MGB NA LLC
 2531 Breathe Me (Ulrich Schnauss Remix)                           PA0001164903       Universal Music – MGB NA LLC
 2532 Curtis 187                                                   PA0001645329       Universal Music – MGB NA LLC
 2533 Far From Home                                                PA0001646452       Universal Music – MGB NA LLC
 2534 Fully Loaded Clip                                            PA0001645319       Universal Music – MGB NA LLC
 2535 Lost!                                                        PA0001820454       Universal Music – MGB NA LLC
 2536 Lovers In Japan                                              PA0001820456       Universal Music – MGB NA LLC
 2537 Pattern Of My Life                                           PAU002965709       Universal Music – MGB NA LLC
 2538 She's Hotter                                                 PA0001163809       Universal Music – MGB NA LLC
 2539 The Bully                                                    PA0001164906       Universal Music – MGB NA LLC
 2540 Viva La Vida                                                 PA0001820459       Universal Music – MGB NA LLC
 2541 Whatcha Think About That                                     PA0001657436       Universal Music – MGB NA LLC
 2542 Everybody (Backstreet's Back)                                PA0000821647       Universal Music – Z Tunes LLC
 2543 No Diggity                                                   PA0000839312       Universal Music – Z Tunes LLC
 2544 Show Me The Meaning Of Being Lonely                          PA0000940715       Universal Music – Z Tunes LLC
 2545 The Call                                                     PA0001034531       Universal Music – Z Tunes LLC
 2546 When I See You                                               PA0001131221       Universal Music – Z Tunes LLC
 2547 Eight Easy Steps                                             PA0001160026       Universal Music Corp
 2548 El Farol                                                     PA0001397135       Universal Music Corp
 2549 If I Told You That                                           PA0001004813       Universal Music Corp
 2550 Primavera                                                    PA0001005029       Universal Music Corp
 2551 Rain                                                         PA0001004572       Universal Music Corp
 2552 Thank U                                                      PA0000940228       Universal Music Corp
 2553 What Can I Do?                                               V3497D308          Universal Music Corp
 2554 45                                                           PA0001278086       Universal Music Corp.




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                                  Track                                Reg. No.                               Plaintiff
 2555 1999                                                         PA0000157921       Universal Music Corp.
 2556 (Everything I Do) I Do It For You                            PA0000544254       Universal Music Corp.
 2557 (I've Just Begun) Having My Fun                              PA0001287638       Universal Music Corp.
 2558 (Sittin' On) The Dock Of The Bay                             V3448D467          Universal Music Corp.
 2559 #Beautiful                                                   PA0001888760       Universal Music Corp.
 2560 03' Bonnie & Clyde                                           PA0001147399       Universal Music Corp.
 2561 17 Days                                                      PA0000220372       Universal Music Corp.
 2562 4 Real                                                       PA0001742275       Universal Music Corp.
 2563 4 The Tears In Your Eyes                                     PA0000246463       Universal Music Corp.
 2564 7 (Seven)                                                    PA0000608652       Universal Music Corp.
 2565 A Complicated Song                                           PA0001334252       Universal Music Corp.
 2566 A Matter Of Trust                                            PA0000304122       Universal Music Corp.
 2567 Adore                                                        PA0000339619       Universal Music Corp.
 2568 Adore You                                                    PA0001904203       Universal Music Corp.
 2569 Adorn                                                        PA0001899234       Universal Music Corp.
 2570 Adrenaline Rush                                              PA0001145821       Universal Music Corp.
 2571 Aftermath                                                    PA0001916365       Universal Music Corp.
 2572 Ain't It The Life                                            PA0001693327       Universal Music Corp.
 2573 Alice                                                        PA0001728745       Universal Music Corp.
 2574 Alive                                                        PA0000544549       Universal Music Corp.
 2575 All About Soul                                               PA0000693483       Universal Music Corp.
 2576 All Back                                                     PA0001750523       Universal Music Corp.
 2577 All For Leyna                                                PA0000077964       Universal Music Corp.
 2578 All I Want Is You                                            PA0001780224       Universal Music Corp.
 2579 All That Sh** Is Gone                                        PA0001677408       Universal Music Corp.
 2580 Allentown                                                    PA0000186933       Universal Music Corp.
 2581 Alphabet St.                                                 PA0000377936       Universal Music Corp.
 2582 An Innocent Man                                              PA0000235369       Universal Music Corp.
 2583 Angel                                                        PA0001046461       Universal Music Corp.
 2584 Annabelle                                                    PA0000787740       Universal Music Corp.
 2585 Another Lonely Christmas                                     PA0000247822       Universal Music Corp.
 2586 Another Try                                                  PA0001642916       Universal Music Corp.
 2587 Anything But Ordinary                                        PA0001101512       Universal Music Corp.
 2588 April The 14th Part 1                                        PA0001063438       Universal Music Corp.
 2589 Are We All We Are?                                           PA0001817460       Universal Music Corp.
 2590 Astronaut Chick                                              PA0001856280       Universal Music Corp.
 2591 Atlantic                                                     PA0001777097       Universal Music Corp.
 2592 Aurora                                                       PA0001693316       Universal Music Corp.
 2593 Average Man                                                  PA0001245479       Universal Music Corp.
 2594 Baby, I Go Crazy                                             PA0001642909       Universal Music Corp.
 2595 Back on Earth                                                PA0000895946       Universal Music Corp.
 2596 Be Alright                                                   PA0001850370       Universal Music Corp.
 2597 Before Midnight                                              PA0001882257       Universal Music Corp.
 2598 Better Days                                                  PA0000877830       Universal Music Corp.
 2599 Better Man                                                   PA0000663649       Universal Music Corp.
 2600 Big Girl Little Girl                                         PA0001711304       Universal Music Corp.
 2601 Black Star                                                   PA0001742258       Universal Music Corp.
 2602 Blessed                                                      PA0001681897       Universal Music Corp.
 2603 Blind Man                                                    PA0000782950       Universal Music Corp.
                                                                   EU0000741567
 2604 Boogie Nights                                                                   Universal Music Corp.
                                                                   RE0000890921
 2605 Breakout                                                     PA0001705474       Universal Music Corp.
 2606 Breakout                                                     PA0001693301       Universal Music Corp.
 2607 Build You Up                                                 PA0001298503       Universal Music Corp.
 2608 Burn For You                                                 PA0000426815       Universal Music Corp.
 2609 By The Mark                                                  PA0000787742       Universal Music Corp.
 2610 Can U Get Away                                               PA0000875890       Universal Music Corp.
 2611 Can't Stop This Thing We Started                             PA0000549559       Universal Music Corp.
 2612 Can't Stop Won't Stop                                        PA0001831957       Universal Music Corp.
 2613 Candy Shop                                                   PA0001298495       Universal Music Corp.
 2614 Cant Leave Em Alone                                          PA0001885593       Universal Music Corp.
 2615 Cat People (Putting Out Fire)                                PA0000131825       Universal Music Corp.
 2616 Ceiling of Plankton                                          PA0001777095       Universal Music Corp.
 2617 Chained And Bound                                            RE0000606623       Universal Music Corp.
 2618 Cheers                                                       PA0001245485       Universal Music Corp.
 2619 Cheers (Drink To That)                                       PA0001732810       Universal Music Corp.
 2620 Christmas Eve                                                PA0001780227       Universal Music Corp.
 2621 Complicated                                                  PA0001101506       Universal Music Corp.




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                                 Track                                 Reg. No.                               Plaintiff
 2622 Complicated                                                  PA0001732820       Universal Music Corp.
 2623 Controversy                                                  PA0000130927       Universal Music Corp.
 2624 Corduroy                                                     PA0000663646       Universal Music Corp.
 2625 Cowgirl                                                      PA0001889382       Universal Music Corp.
 2626 Crept And We Came                                            PA0000767829       Universal Music Corp.
 2627 Crying Out                                                   PA0001278085       Universal Music Corp.
 2628 Cuts Like A Knife                                            PA0000164472       Universal Music Corp.
                                                                   PA0000391475
 2629 Dancing On The Jetty                                                            Universal Music Corp.
                                                                   PA0000426815
 2630 Darlin                                                       PA0001742277       Universal Music Corp.
 2631 Daughter                                                     PA0000669753       Universal Music Corp.
 2632 Dear Someone                                                 PA0001063436       Universal Music Corp.
 2633 Definition Of A Thug N***a                                   PA0000776781       Universal Music Corp.
 2634 Delirious (Edit)                                             PA0000157924       Universal Music Corp.
 2635 Destiny (Live)                                               PA0001131247       Universal Music Corp.
 2636 Deuces Are Wild                                              PA0000693447       Universal Music Corp.
 2637 Diamonds And Pearls                                          PA0000549272       Universal Music Corp.
 2638 Didn't We Almost Have It All                                 PA0000348786       Universal Music Corp.
 2639 Die Die Die                                                  PA0000782833       Universal Music Corp.
 2640 Direct Me                                                    PAu002032071       Universal Music Corp.
 2641 Dirty Mind                                                   PA0000085232       Universal Music Corp.
 2642 Disco Inferno                                                PA0001298497       Universal Music Corp.
 2643 Dissident                                                    PA0000669755       Universal Music Corp.
 2644 DJ Play A Love Song                                          PA0001696017       Universal Music Corp.
 2645 Do I Have To Say The Words?                                  PA0000549565       Universal Music Corp.
 2646 Do Me, Baby                                                  PA0000130925       Universal Music Corp.
 2647 Do That There                                                PA0001931123       Universal Music Corp.
 2648 Dog And Butterfly (Live)                                     PA0000091423       Universal Music Corp.
 2649 Don't Ask Me Why                                             PA0000077962       Universal Music Corp.
 2650 Don't Change                                                 PA0000167323       Universal Music Corp.
 2651 Don't Come Down                                              PA0001245487       Universal Music Corp.
 2652 Drinkin' Dark Whiskey                                        PA0001132067       Universal Music Corp.
 2653 East 1999                                                    PA0000767827       Universal Music Corp.
 2654 Echo                                                         PA0001727653       Universal Music Corp.
 2655 Eenie Meenie                                                 PA0001703249       Universal Music Corp.
 2656 Electric Bird                                                PA0001994826       Universal Music Corp.
 2657 End Of The Road                                              PA0001649584       Universal Music Corp.
 2658 Eternal                                                      PA0000767828       Universal Music Corp.
 2659 Euphoria                                                     PA0001831963       Universal Music Corp.
 2660 Everybody Loves You Now                                      PA0000119693       Universal Music Corp.
 2661 Everything Is Fine                                           PA0001642898       Universal Music Corp.
 2662 Everything Is Free                                           PA0001063442       Universal Music Corp.
 2663 Exclusive                                                    PA0001323360       Universal Music Corp.
 2664 Fa-Fa-Fa-Fa-Fa (Sad Song)                                    PA0000318166       Universal Music Corp.
 2665 Fall To Pieces                                               PA0001251271       Universal Music Corp.
 2666 Falling In Love (Is Hard On The Knees)                       PA0000847442       Universal Music Corp.
 2667 Far Behind                                                   PA0001649582       Universal Music Corp.
 2668 Fashion Beats                                                PA0001730827       Universal Music Corp.
 2669 Feel Good Summer Song                                        PA0001902463       Universal Music Corp.
 2670 Feels Like Today                                             PA0001245179       Universal Music Corp.
 2671 Fire Bomb                                                    PA0001668448       Universal Music Corp.
 2672 Firecracker                                                  PA0001642904       Universal Music Corp.
 2673 Fly As The Sky                                               PA0001317549       Universal Music Corp.
 2674 Fly From The Inside                                          PA0001278080       Universal Music Corp.
 2675 Follow My Lead                                               PA0001645308       Universal Music Corp.
 2676 Forgotten                                                    PA0001251273       Universal Music Corp.
 2677 Free Run                                                     PA0001821987       Universal Music Corp.
 2678 Frontin'                                                     PA0001317546       Universal Music Corp.
 2679 Fuck The World                                               PA0000956432       Universal Music Corp.
 2680 Generator                                                    PA0001693314       Universal Music Corp.
 2681 Get In My Car                                                PA0001298494       Universal Music Corp.
 2682 Get Your Number                                              PA0001931129       Universal Music Corp.
 2683 Ghetto Dreams                                                PA0001833561       Universal Music Corp.
 2684 Ghetto Gospel                                                PA0001323618       Universal Music Corp.
 2685 Ghost Behind My Eyes                                         PA0000795018       Universal Music Corp.
 2686 Gimme Stitches                                               PA0001693310       Universal Music Corp.
 2687 Girl                                                         PA0000125252       Universal Music Corp.
 2688 Girlfriend                                                   PA0001334139       Universal Music Corp.




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                               Track                                   Reg. No.                               Plaintiff
 2689 Given To Fly                                                 PAu002290743       Universal Music Corp.
 2690 Glamorous                                                    PA0001370493       Universal Music Corp.
 2691 Go Out All Night                                             PA0001777099       Universal Music Corp.
 2692 Good To Me                                                   RE0000648280       Universal Music Corp.
 2693 Good Woman Bad                                               PA0000785095       Universal Music Corp.
 2694 Goodbye                                                      PA0001742279       Universal Music Corp.
 2695 Goodbye Girl                                                 PA0001870813       Universal Music Corp.
 2696 Got Some Teeth                                               PA0001245484       Universal Music Corp.
 2697 GPSA (Ghetto Public Service Announcement)                    PA0001371422       Universal Music Corp.
 2698 Grind Time                                                   PA0001628178       Universal Music Corp.
 2699 Guaranteed                                                   PA0001685123       Universal Music Corp.
 2700 Hail, Hail                                                   PAu002141241       Universal Music Corp.
                                                                   PA0001645604
 2701 Halo                                                                            Universal Music Corp.
                                                                   PA0001612567
 2702 Hand Of The Dead Body                                        PA0000794897       Universal Music Corp.
 2703 Hands Clean                                                  PA0001077640       Universal Music Corp.
 2704 Hands On You                                                 PA0001245491       Universal Music Corp.
 2705 Hangman Jury                                                 PA0000343989       Universal Music Corp.
 2706 Happy                                                        PA0001997701       Universal Music Corp.
 2707 Hard To Handle                                               PAu002125862       Universal Music Corp.
 2708 Have Some Fun                                                PA0001858598       Universal Music Corp.
 2709 Hawg For You                                                 RE0000659366       Universal Music Corp.
 2710 He Wasn't                                                    PA0001251276       Universal Music Corp.
 2711 Head                                                         PA0000085237       Universal Music Corp.
 2712 Headwires                                                    PA0001693324       Universal Music Corp.
 2713 Heartbreak Road                                              PA0001855537       Universal Music Corp.
 2714 Heat Of The Night                                            PA0000334491       Universal Music Corp.
 2715 Heaven                                                       PA0001073138       Universal Music Corp.
 2716 Heavy In The Game                                            PA0000914501       Universal Music Corp.
 2717 Help Me                                                      PA0001733340       Universal Music Corp.
 2718 Here Comes The Weekend                                       PA0001817456       Universal Music Corp.
 2719 Here I Am                                                    PA0001661331       Universal Music Corp.
                                                                   V3448D468
 2720 Here I Am (Come And Take Me)                                 V3448D471          Universal Music Corp.
                                                                   EU420200
 2721 Hero                                                         PA0001751381       Universal Music Corp.
 2722 Hey Girl                                                     PA0001295883       Universal Music Corp.
 2723 Hit The Floor (feat. Pitbull)                                PA0001312069       Universal Music Corp.
 2724 Hits From The Bong                                           PA0000791818       Universal Music Corp.
 2725 Homewrecker                                                  PA0001248780       Universal Music Corp.
 2726 Homicide                                                     PA0001856324       Universal Music Corp.
 2727 Honesty                                                      PA0000015392       Universal Music Corp.
 2728 Hoodrats                                                     PA0001245492       Universal Music Corp.
 2729 How Come U Don't Call Me Anymore                             PA0000157922       Universal Music Corp.
 2730 How Does It Feel                                             PA0001251275       Universal Music Corp.
 2731 How I Could Just Kill A Man                                  PA0000796241       Universal Music Corp.
                                                                   PAu000817628
 2732 How Will I Know                                              PA0000243349       Universal Music Corp.
                                                                   PA0000266437
 2733 Hustler's Ambition                                           PA0001372056       Universal Music Corp.
 2734 I Can Do Better                                              PA0001334140       Universal Music Corp.
 2735 I Can't Turn You Loose                                       RE0000627626       Universal Music Corp.
 2736 I Don't Give                                                 PA0001233579       Universal Music Corp.
 2737 I Don't Have To Try                                          PA0001724691       Universal Music Corp.
 2738 I Don't Need 'Em                                             PA0001298501       Universal Music Corp.
 2739 I Dream A Highway                                            PA0001063443       Universal Music Corp.
 2740 I Feel for You                                               PA0000064971       Universal Music Corp.
 2741 I Go To Extremes                                             PA0000458310       Universal Music Corp.
 2742 I Got Id                                                     PA0000776998       Universal Music Corp.
 2743 I Got My Baby                                                PA0000976310       Universal Music Corp.
 2744 I Got The Will                                               PA0000402311       Universal Music Corp.
 2745 I Got To Be Myself                                           PAu002166303       Universal Music Corp.
 2746 I Just Want You                                              PA0000774129       Universal Music Corp.
 2747 I Love College                                               PA0001731209       Universal Music Corp.
 2748 I Love U In Me                                               PA0000461532       Universal Music Corp.
 2749 I Love You                                                   PA0001785768       Universal Music Corp.
 2750 I Love You Much Too Much                                     R411311            Universal Music Corp.
 2751 I Need To Hear A Country Song                                PA0001773110       Universal Music Corp.




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                                                                     EXHIBIT B - MUSICAL COMPOSITIONS

                                   Track                               Reg. No.                               Plaintiff
 2752 I Send A Message                                             PA0000257721       Universal Music Corp.
 2753 I Wanna Be Your Lover                                        PA0000061545       Universal Music Corp.
 2754 I Want To Sing That Rock And Roll                            PA0001063439       Universal Music Corp.
 2755 I Want You                                                   PA0001302581       Universal Music Corp.
 2756 I Will Love You Still (feat. Mallary Hope)                   PA0001864794       Universal Music Corp.
 2757 I Would Die 4 U                                              PA0000217252       Universal Music Corp.
 2758 I'd Rather                                                   PA0001053165       Universal Music Corp.
 2759 I'll Take You There                                          RE0000816283       Universal Music Corp.
 2760 I'm Goin Back                                                PA0001159522       Universal Music Corp.
 2761 I'm Only Me When I'm With You (Live)                         PA0001624202       Universal Music Corp.
 2762 I'm Out                                                      PA0001936025       Universal Music Corp.
 2763 I'm Sick Y'All                                               RE0000659326       Universal Music Corp.
 2764 I'm So into You                                              PA0000664028       Universal Music Corp.
 2765 I'm Supposed To Die Tonight                                  PA0001298492       Universal Music Corp.
 2766 I'm Trippin                                                  PA0001856289       Universal Music Corp.
 2767 I'm with You                                                 PA0001101508       Universal Music Corp.
 2768 I've Been Loving You Too Long                                RE0000608279       Universal Music Corp.
 2769 I've Come To Expect It From You                              PA0000482947       Universal Music Corp.
                                                                   EU0000058356
 2770 I've Got Dreams To Remember                                                     Universal Music Corp.
                                                                   RE0000731057
 2771 If I Die 2Nite                                               PA0000773737       Universal Music Corp.
 2772 If I Was Your Girlfriend                                     PA0000339614       Universal Music Corp.
 2773 If It Hadn't Been For Love                                   PA0001160703       Universal Music Corp.
 2774 If Only You Knew                                             PA0001931127       Universal Music Corp.
                                                                   V1916P470
 2775 If You're Ready (Come Go With Me)                                               Universal Music Corp.
                                                                   EU369365
 2776 Imma Be                                                      PA0001682852       Universal Music Corp.
 2777 Immortality                                                  PA0000663651       Universal Music Corp.
 2778 In My Eyes                                                   PA0001777096       Universal Music Corp.
 2779 In Person                                                    PA0001612567       Universal Music Corp.
 2780 In The Trunk                                                 PA0001317542       Universal Music Corp.
 2781 Indifference                                                 PA0000669762       Universal Music Corp.
 2782 Insane In The Brain                                          PA0000664235       Universal Music Corp.
 2783 Intro                                                        PA0001931121       Universal Music Corp.
 2784 Ironic                                                       PA0000705736       Universal Music Corp.
 2785 Irresistable Bitch                                           PA0000193308       Universal Music Corp.
 2786 It's About Time                                              PA0000689802       Universal Music Corp.
 2787 It's All About U                                             PA0000809080       Universal Music Corp.
 2788 It's Still Rock & Roll to Me                                 PA0000077963       Universal Music Corp.
 2789 It's Your World                                              PA0001856072       Universal Music Corp.
 2790 Just A Lil Bit                                               PA0001298496       Universal Music Corp.
 2791 Just About Now                                               PA0000669876       Universal Music Corp.
 2792 Just Around The Eyes                                         PA0000713702       Universal Music Corp.
 2793 Just Keep Walking                                            PA0000213896       Universal Music Corp.
 2794 Just One More Day                                            RE0000627625       Universal Music Corp.
 2795 Just One More Day                                            RE0000627625       Universal Music Corp.
 2796 Just Push Play                                               PA0001048574       Universal Music Corp.
 2797 Just The Way You Are                                         PA0000046908       Universal Music Corp.
 2798 Keep Holding On                                              PA0001353010       Universal Music Corp.
 2799 kenny rog                                                    PA0000087588       Universal Music Corp.
 2800 Kids Wanna Rock                                              PA0000238135       Universal Music Corp.
 2801 Kill Yourself                                                PA0001761891       Universal Music Corp.
 2802 Kristofferson                                                PA0001372033       Universal Music Corp.
 2803 Lady                                                         PA0001245486       Universal Music Corp.
 2804 Lady, Lady                                                   PA0000731125       Universal Music Corp.
 2805 Learn To Fly                                                 PA0001693305       Universal Music Corp.
 2806 Leavin' The Light On                                         PA0001845163       Universal Music Corp.
 2807 Leningrad                                                    PA0000458313       Universal Music Corp.
 2808 Let's Go                                                     PA0001825022       Universal Music Corp.
 2809 Let's Go Crazy                                               PA0000217248       Universal Music Corp.
 2810 Lie To Me                                                    PA0001868630       Universal Music Corp.
 2811 Life, Love And The Meaning Of                                PA0001697492       Universal Music Corp.
 2812 Light Years                                                  PA0001006826       Universal Music Corp.
 2813 Little Ol' Me                                                RE0000657998       Universal Music Corp.
 2814 Little Red Corvette                                          PA0000157923       Universal Music Corp.
 2815 Live-In Skin                                                 PA0001693317       Universal Music Corp.
 2816 Livin' On The Edge                                           PA0000832940       Universal Music Corp.
 2817 Long Live The Pimp                                           PA0001856319       Universal Music Corp.




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                                 Track                                 Reg. No.                               Plaintiff
 2818 Long Nights                                                  PA0001685123       Universal Music Corp.
                                                                   V1916P484
 2819 Long Walk To D.C.                                                               Universal Music Corp.
                                                                   EU66925
 2820 Look What You Made Me                                        PA0001931122       Universal Music Corp.
 2821 Lord Knows                                                   PA0000773740       Universal Music Corp.
 2822 Love Is (What I Say)                                         PA0000257720       Universal Music Corp.
 2823 Love Is On The Way (Real Love)                               PA0000731122       Universal Music Corp.
 2824 Love You Gently                                              PA0001602834       Universal Music Corp.
 2825 M.I.A.                                                       PA0001693329       Universal Music Corp.
 2826 Magic                                                        PA0001645604       Universal Music Corp.
 2827 Man Down                                                     PA0001732813       Universal Music Corp.
 2828 Me Against The World                                         PA0000700333       Universal Music Corp.
 2829 Meantime                                                     PA0001777091       Universal Music Corp.
 2830 Merry Go Round                                               PA0000494345       Universal Music Corp.
 2831 Miss You                                                     PA0001864797       Universal Music Corp.
 2832 Mo'Murda                                                     PA0000767834       Universal Music Corp.
 2833 Modern Woman (Audio)                                         PA0000304118       Universal Music Corp.
 2834 Movin' On                                                    PA0000757403       Universal Music Corp.
 2835 Movin' Out (Anthony's Song)                                  PA0000046906       Universal Music Corp.
 2836 Mr. Bill Collector                                           PA0000767831       Universal Music Corp.
 2837 Ms. Hangover                                                 PA0001639096       Universal Music Corp.
 2838 My Dream                                                     RE0000300006       Universal Music Corp.
 2839 My First Lover                                               PA0001063435       Universal Music Corp.
 2840 My Foolish Heart                                             PA0001950235       Universal Music Corp.
 2841 My Gun Go Off                                                PA0001645287       Universal Music Corp.
 2842 My Life                                                      PA0000015393       Universal Music Corp.
 2843 My Love                                                      PA0001885589       Universal Music Corp.
 2844 My Piece                                                     PA0001751375       Universal Music Corp.
 2845 My Toy Soldier                                               PA0001298500       Universal Music Corp.
 2846 Naked                                                        PA0001101517       Universal Music Corp.
 2847 Never Call U B**** Again                                     PA0001115088       Universal Music Corp.
 2848 Never Forget Ya                                              PA0001245493       Universal Music Corp.
 2849 New York State Of Mind                                       PA0000046360       Universal Music Corp.
 2850 Next Year                                                    PA0001693320       Universal Music Corp.
 2851 No Ceiling                                                   PA0001685123       Universal Music Corp.
 2852 No More Love                                                 PA0001278081       Universal Music Corp.
 2853 No One Has Eyes Like You                                     PA0001618391       Universal Music Corp.
 2854 No Snitchin'                                                 PA0001317545       Universal Music Corp.
 2855 Nobody's Fool                                                PA0001101515       Universal Music Corp.
 2856 Nobody's Home                                                PA0001251268       Universal Music Corp.
 2857 Noche Nada                                                   PA0001777094       Universal Music Corp.
 2858 Not Enough                                                   PA0001742273       Universal Music Corp.
 2859 Not For You                                                  PA0000663641       Universal Music Corp.
 2860 Nothin' At All                                               PA0000284908       Universal Music Corp.
 2861 Nothingman                                                   PA0000663643       Universal Music Corp.
 2862 Now You Got Someone                                          PA0001371421       Universal Music Corp.
 2863 Numb                                                         PA0001831959       Universal Music Corp.
 2864 Off He Goes                                                  PAu002141248       Universal Music Corp.
 2865 Old School                                                   PA0000773742       Universal Music Corp.
 2866 On                                                           PA0001120335       Universal Music Corp.
 2867 On & On                                                      PA0000741101       Universal Music Corp.
 2868 Once And Forever                                             PA0001779598       Universal Music Corp.
 2869 One Love                                                     PA0001850371       Universal Music Corp.
 2870 One Night                                                    PA0001931125       Universal Music Corp.
 2871 Only Thing I Ever Get For Christmas                          PA0001780235       Universal Music Corp.
 2872 Orphan Girl                                                  PA0000714948       Universal Music Corp.
 2873 Outerspace                                                   PA0001931128       Universal Music Corp.
 2874 Outro                                                        PA0001317551       Universal Music Corp.
 2875 Pass You By                                                  PA0000787739       Universal Music Corp.
 2876 Permanent Scar                                               PA0001856298       Universal Music Corp.
 2877 Picture Perfect                                              PA0001317548       Universal Music Corp.
 2878 Piggy Bank                                                   PA0001298491       Universal Music Corp.
 2879 Pink Cashmere                                                PAu001770697       Universal Music Corp.
 2880 Play                                                         PA0001726635       Universal Music Corp.
 2881 Played                                                       PA0001702956       Universal Music Corp.
 2882 Pop Life                                                     PA0000255667       Universal Music Corp.
 2883 Pope                                                         PAu001770696       Universal Music Corp.
 2884 Power Fantastic                                              PAu001835512       Universal Music Corp.




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                                 Track                                 Reg. No.                               Plaintiff
 2885 Power Of Love / Love Power                                   PA0000526816       Universal Music Corp.
 2886 Purple Rain (Short Version)                                  PA0000217254       Universal Music Corp.
 2887 Rag Doll                                                     PA0000349998       Universal Music Corp.
 2888 Rain                                                         PA0001317547       Universal Music Corp.
 2889 Raspberry Beret                                              PA0000255668       Universal Music Corp.
 2890 Red Clay Halo                                                PA0001063437       Universal Music Corp.
 2891 Remember When                                                PAu003539449       Universal Music Corp.
 2892 Resist The Temptation                                        PA0001640073       Universal Music Corp.
 2893 Respect Yourself                                             PAu002166307       Universal Music Corp.
 2894 Revelator                                                    PA0001063434       Universal Music Corp.
 2895 Ride                                                         PA0001849604       Universal Music Corp.
 2896 Rider                                                        PA0001395512       Universal Music Corp.
 2897 Ridin'                                                       PA0001317544       Universal Music Corp.
 2898 Ring-A-Ling                                                  PA0001698118       Universal Music Corp.
 2899 Ripe                                                         PA0001777093       Universal Music Corp.
 2900 Rise                                                         PA0001685123       Universal Music Corp.
 2901 Roll (feat. Sean Kingston)                                   PA0001639100       Universal Music Corp.
 2902 Ruination Day Part 2                                         PA0001063441       Universal Music Corp.
 2903 Run To You                                                   PA0000840168       Universal Music Corp.
 2904 Run To You                                                   PA0000232065       Universal Music Corp.
 2905 Runaway                                                      PA0001334141       Universal Music Corp.
 2906 Ryder Music                                                  PA0001298498       Universal Music Corp.
 2907 Same Damn Time                                               PA0001859144       Universal Music Corp.
 2908 Save You                                                     PA0001134589       Universal Music Corp.
                                                                   PAu000012547
 2909 Saving All My Love For You                                   PAu000148525       Universal Music Corp.
                                                                   PAu000082895
 2910 Saw You First                                                PA0001777092       Universal Music Corp.
 2911 Secret Heart                                                 PA0000807140       Universal Music Corp.
 2912 Setting Forth                                                PA0001649580       Universal Music Corp.
 2913 Sexy Beaches                                                 PA0001999032       Universal Music Corp.
 2914 She Put The Hurt On Me                                       RE0000666368       Universal Music Corp.
 2915 She's Always A Woman                                         PA0000046912       Universal Music Corp.
 2916 She's Always In My Hair                                      PAu000722566       Universal Music Corp.
 2917 She's Got A Way                                              PA0000119692       Universal Music Corp.
 2918 Shine                                                        PA0001864791       Universal Music Corp.
 2919 Shockadelica                                                 PA0000335358       Universal Music Corp.
 2920 Shotz To Tha Double Glock                                    PA0000767835       Universal Music Corp.
 2921 Sign 'O' The Times                                           PA0000322108       Universal Music Corp.
 2922 Silent Night                                                 PA0001782591       Universal Music Corp.
 2923 Sins Of My Father                                            PA0001831961       Universal Music Corp.
 2924 Sk8er Boi                                                    PA0001101507       Universal Music Corp.
 2925 Slipped Away                                                 PA0001251269       Universal Music Corp.
 2926 Smile                                                        PA0001785766       Universal Music Corp.
                                                                   PA0000815805
 2927 Smile                                                                           Universal Music Corp.
                                                                   PA0000815968
 2928 Smile (feat. 2Pac and Johnny P) (Explicit Lyric)             PA0000815968       Universal Music Corp.
 2929 So Fresh, So Clean                                           PA0001039707       Universal Music Corp.
 2930 So Many Tears                                                PA0000773738       Universal Music Corp.
 2931 So Many Ways                                                 PA0001371413       Universal Music Corp.
 2932 Someone Else's Dream                                         PA0000764860       Universal Music Corp.
 2933 Soul Intact                                                  PA0000810659       Universal Music Corp.
 2934 Soulsville                                                   PAu002345664       Universal Music Corp.
 2935 Spin The Black Circle                                        PA0000663640       Universal Music Corp.
 2936 Stacked Actors                                               PA0001693331       Universal Music Corp.
 2937 Stay Young                                                   PA0000226784       Universal Music Corp.
 2938 Sticks That Made Thunder                                     V3506D864          Universal Music Corp.
 2939 Still Ballin'                                                PA0001219183       Universal Music Corp.
 2940 Stop Standing There                                          PA0001742271       Universal Music Corp.
 2941 Straight From The Heart                                      PA0000191885       Universal Music Corp.
 2942 Straight To The Bank                                         PA0001645316       Universal Music Corp.
 2943 Strange Behavior                                             PA0001592905       Universal Music Corp.
 2944 Streetlife Serenader                                         RE0000862278       Universal Music Corp.
 2945 Summer Of '69                                                PA0000238134       Universal Music Corp.
 2946 Sure Thing                                                   PA0001751394       Universal Music Corp.
 2947 Survival                                                     PA0001965032       Universal Music Corp.
 2948 Take Me Home                                                 PA0001864792       Universal Music Corp.
 2949 Take Your Shirt Off                                          V3586D796          Universal Music Corp.




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                                 Track                                 Reg. No.                               Plaintiff
 2950 Te Amo                                                       PA0001668373       Universal Music Corp.
 2951 Tear My Stillhouse Down                                      PA0000762783       Universal Music Corp.
 2952 Tell Her About It                                            PAU000487423       Universal Music Corp.
 2953 Territorial Pissings                                         PA0000541276       Universal Music Corp.
 2954 Text Me Texas                                                PA0001878108       Universal Music Corp.
 2955 That's What I Need                                           PA0000664035       Universal Music Corp.
 2956 That's Why You're Beautiful                                  PA0002067666       Universal Music Corp.
 2957 The Business                                                 PA0001931124       Universal Music Corp.
 2958 The Chair                                                    PA0000482311       Universal Music Corp.
 2959 The Downeaster 'Alexa'                                       PA0000458309       Universal Music Corp.
 2960 The Entertainer                                              RE0000862276       Universal Music Corp.
 2961 The Future Is Now                                            PA0001856271       Universal Music Corp.
 2962 The Ghetto                                                   RE0000729667       Universal Music Corp.
 2963 The Groove Line                                              PA0000003812       Universal Music Corp.
 2964 The Longest Time                                             PA0001307631       Universal Music Corp.
 2965 The Other Side                                               PA0000437593       Universal Music Corp.
 2966 The Rain                                                     PA0001396083       Universal Music Corp.
 2967 The River Of Dreams                                          PA0000693490       Universal Music Corp.
 2968 The Way He Was Raised                                        PA0001642914       Universal Music Corp.
 2969 The Wolf                                                     PA0001685123       Universal Music Corp.
 2970 These Arms Of Mine                                           PA0000258549       Universal Music Corp.
 2971 These Days                                                   PA0001113927       Universal Music Corp.
 2972 They Don't Give A F**** About Us                             PA0001115097       Universal Music Corp.
 2973 Thieves In The Temple                                        PA0002121762       Universal Music Corp.
 2974 Things I'll Never Say                                        PA0001101513       Universal Music Corp.
 2975 Think You're Gonna Like It                                   PA0000664034       Universal Music Corp.
 2976 This Is 50                                                   PA0001298490       Universal Music Corp.
 2977 This Is The Time                                             PA0000304115       Universal Music Corp.
 2978 This Kiss (Pop Remix a.k.a. Radio Version)                   PA0000740722       Universal Music Corp.
 2979 This Time                                                    PA0000164471       Universal Music Corp.
 2980 Thug Luv                                                     PA0000943396       Universal Music Corp.
 2981 Thugz Mansion                                                PA0001115087       Universal Music Corp.
 2982 Tired Of Runnin'                                             PA0001396084       Universal Music Corp.
 2983 To Look At You                                               PA0000167320       Universal Music Corp.
 2984 To The Moon                                                  PA0001751378       Universal Music Corp.
 2985 Together                                                     PA0001251278       Universal Music Corp.
 2986 Tomorrow                                                     PA0001101511       Universal Music Corp.
 2987 Tony Montana - Behind The Scenes                             PA0001859140       Universal Music Corp.
 2988 Top of the World                                             PA0001114803       Universal Music Corp.
 2989 Touch A Hand (Make A Friend)                                 RE0000837111       Universal Music Corp.
 2990 Touch The Sky                                                PA0001395756       Universal Music Corp.
 2991 Trailerhood                                                  PA0001642900       Universal Music Corp.
 2992 Trick Or Treat                                               PA0001011470       Universal Music Corp.
 2993 True Believers                                               PA0001864805       Universal Music Corp.
 2994 True Love                                                    PA0001817461       Universal Music Corp.
 2995 Truth No. 2                                                  PA0001114802       Universal Music Corp.
 2996 Truthfully                                                   PA0001147359       Universal Music Corp.
 2997 Tuolumne                                                     PA0001685126       Universal Music Corp.
 2998 Turntables                                                   PA0001732352       Universal Music Corp.
 2999 Unconditional Love                                           PA0000980713       Universal Music Corp.
 3000 Unsaveable                                                   PA0001120337       Universal Music Corp.
 3001 Up To The Mountain                                           PA0001367095       Universal Music Corp.
 3002 Up Up Up                                                     PA0001777090       Universal Music Corp.
 3003 Uptown                                                       PA0000085236       Universal Music Corp.
 3004 Uptown Girl                                                  PA0000194055       Universal Music Corp.
 3005 Vertigo                                                      PA0001896435       Universal Music Corp.
 3006 Victory Lap featuring Eve and Collie Buddz                   PA0001931130       Universal Music Corp.
 3007 Void In My Life                                              PA0001317550       Universal Music Corp.
 3008 Walk On Water                                                PA0001015665       Universal Music Corp.
 3009 Walking The Dog                                              RE0000525576       Universal Music Corp.
 3010 We All Die One Day                                           PA0001245480       Universal Music Corp.
 3011 We Are Tonight                                               PA0001884879       Universal Music Corp.
 3012 We Didn't Start the Fire                                     PA0000458308       Universal Music Corp.
 3013 What About Love                                              PA0000265040       Universal Music Corp.
 3014 What The Hell                                                PA0001785765       Universal Music Corp.
 3015 What's It Gonna Be                                           PA0000810659       Universal Music Corp.
 3016 Whatcha Need                                                 PA0000996029       Universal Music Corp.
 3017 When Doves Cry                                               PA0000220373       Universal Music Corp.




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                                Track                                  Reg. No.                               Plaintiff
 3018 When I Get Free                                              PA0001051889       Universal Music Corp.
 3019 When The World Ends                                          PA0001046455       Universal Music Corp.
 3020 When You Were Mine                                           PA0000085233       Universal Music Corp.
 3021 Where Do We Go                                               PA0001701864       Universal Music Corp.
 3022 Who I Am                                                     PA0002063559       Universal Music Corp.
 3023 Who Knows                                                    PA0001251272       Universal Music Corp.
 3024 Who Took The Merry Out Of Christmas                          RE0000775151       Universal Music Corp.
 3025 Who You Are                                                  PAu002141251       Universal Music Corp.
 3026 Why You Wanna Treat Me So Bad                                PA0000238841       Universal Music Corp.
 3027 Wide Awake                                                   PA0001765708       Universal Music Corp.
 3028 Wish You Were Here                                           PA0001785767       Universal Music Corp.
 3029 Wishing It Was                                               PA0000968772       Universal Music Corp.
 3030 Womanizer                                                    PA0001888788       Universal Music Corp.
 3031 Words                                                        PA0001777098       Universal Music Corp.
 3032 Write This Down                                              PA0000947848       Universal Music Corp.
 3033 Yellow Ledbetter                                             PA0000756318       Universal Music Corp.
 3034 You                                                          PA0001757407       Universal Music Corp.
 3035 You Don't Miss Your Water                                    PA0000387512       Universal Music Corp.
 3036 You May Be Right                                             PA0000077960       Universal Music Corp.
 3037 You Stay With Me                                             PA0001302582       Universal Music Corp.
 3038 You're Always On My Mind                                     PA0000664031       Universal Music Corp.
 3039 You're Only Human (Second Wind)                              PA0000258497       Universal Music Corp.
 3040 You're The One                                               PA0000801851       Universal Music Corp.
 3041 All My Life (Edit)                                           PA0001384985       Universal Music Corp.
 3042 All Over Again                                               PA0001784542       Universal Music Corp.
 3043 All That I Got (The Make Up Song)                            PA0001397001       Universal Music Corp.
 3044 American Boy                                                 PA0001659161       Universal Music Corp.
 3045 American Boy [Radio Edit]                                    PA0001659161       Universal Music Corp.
 3046 Bad Kids                                                     PA0001748640       Universal Music Corp.
 3047 Beauty And A Beat                                            PA0001850375       Universal Music Corp.
 3048 Believe                                                      PA0001850360       Universal Music Corp.
 3049 Bigger                                                       PA0001816039       Universal Music Corp.
 3050 Blood Hound                                                  PA0001147472       Universal Music Corp.
 3051 Blue Jeans                                                   PA0001811642       Universal Music Corp.
 3052 Catching Feelings                                            PA0001850383       Universal Music Corp.
                                                                   PAu001547996
 3053 Cream                                                        PA0000549273       Universal Music Corp.
                                                                   PA0000543529
 3054 Darling Nikki                                                PA0000217251       Universal Music Corp.
 3055 Don't Push Me                                                PA0001147478       Universal Music Corp.
 3056 Down In The Park                                             PA0000112329       Universal Music Corp.
 3057 Electric Chapel                                              PA0001748642       Universal Music Corp.
 3058 Every Reason Not To Go                                       PA0001697511       Universal Music Corp.
 3059 Fa La La                                                     PA0001780232       Universal Music Corp.
 3060 Gangsta Lovin                                                PA0001209325       Universal Music Corp.
 3061 Gett Off                                                     PA0000535946       Universal Music Corp.
 3062 Gotta Make It To Heaven                                      PA0001147479       Universal Music Corp.
                                                                   PA0001147469
 3063 High All The Time                                                               Universal Music Corp.
                                                                   PA0001204559
 3064 I Get Money                                                  PA0001645342       Universal Music Corp.
 3065 I Proceed                                                    PA0001626064       Universal Music Corp.
 3066 I Shall Return                                               PA0001697550       Universal Music Corp.
 3067 In My Hood                                                   PA0001298505       Universal Music Corp.
 3068 Keep Ya Head Up                                              PA0000719813       Universal Music Corp.
 3069 Kiss                                                         PA0000284474       Universal Music Corp.
 3070 Many Men (Wish Death)                                        PA0001147467       Universal Music Corp.
 3071 Mistletoe                                                    PA0001780233       Universal Music Corp.
 3072 Movin On Up                                                  PA0001645312       Universal Music Corp.
 3073 Never                                                        PA0000259654       Universal Music Corp.
 3074 Never                                                        PA0001744937       Universal Music Corp.
 3075 Ooh Baby                                                     PA0001320484       Universal Music Corp.
 3076 Overboard                                                    PA0001702873       Universal Music Corp.
 3077 P.I.M.P.                                                     PA0001147474       Universal Music Corp.
 3078 Patiently Waiting                                            PA0001147466       Universal Music Corp.
 3079 Poor Lil Rich                                                PA0001147476       Universal Music Corp.
 3080 Radar                                                        PA0001732673       Universal Music Corp.
 3081 Right Here                                                   PA0001834759       Universal Music Corp.
 3082 Runaway Love                                                 PA0001703247       Universal Music Corp.




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                                Track                                  Reg. No.                                               Plaintiff
 3083 Shone                                                        PA0001744931       Universal Music Corp.
 3084 Shower                                                       PA0001913414       Universal Music Corp.
 3085 Speechless                                                   PA0001745545       Universal Music Corp.
 3086 Still                                                        PA0000988335       Universal Music Corp.
 3087 That Should Be Me                                            PA0001703254       Universal Music Corp.
 3088 That's How Country Boys Roll                                 PA0001697544       Universal Music Corp.
 3089 The Mighty Fall                                              PA0001844743       Universal Music Corp.
 3090 Thought Of You                                               PA0001850376       Universal Music Corp.
 3091 Trapped                                                      PA0000587083       Universal Music Corp.
 3092 U Got The Look                                               PA0000339613       Universal Music Corp.
 3093 U Not Like Me                                                PA0001147480       Universal Music Corp.
 3094 U Smile                                                      PA0001703246       Universal Music Corp.
 3095 Up                                                           PA0001703251       Universal Music Corp.
 3096 What Up Gangsta                                              PA0001147465       Universal Music Corp.
 3097 When The Lights Go Down                                      PA0001120336       Universal Music Corp.
 3098 Will You Be There (In The Morning)                           PA0000689442       Universal Music Corp.
 3099 Young Niggaz                                                 PA0000773739       Universal Music Corp.
 3100 It's Only Love                                               PA0000238136       Universal Music Corp. / Universal Music - Z Tunes LLC
 3101 Whatchamacallit                                              PA0001612567       Universal Music Corp. / Polygram Publishing, Inc.
 3102 Sexy Lady                                                    PA0001925127       Universal Music Corp. / Songs of Universal
 3103 Please Forgive Me                                            PA0000675008       Universal Music Corp. / Universal Music - Z Tunes LLC
 3104 Somebody                                                     PA0000238133       Universal Music Corp. / Universal Music - Z Tunes LLC
 3105 Bringing Out The Elvis                                       PA0000955483       Universal Music Publishing AB
 3106 Done Stealin'                                                PA0001677401       Universal Music Publishing AB
 3107 If My Heart Had Wings                                        PA0000976309       Universal Music Publishing AB
 3108 Shape Of My Heart                                            PA0001039513       Universal Music Publishing AB
 3109 What's In It For Me                                          PA0000976311       Universal Music Publishing AB
 3110 Distractions (Live)                                          PA0001263481       Universal Music Publishing Limited
 3111 DREADBELLY                                                   PA0001389604       Universal Music Publishing Limited
                                                                   PAU000066694
 3112 Forever In Blue Jeans                                                           Universal Music Publishing Limited
                                                                   PA0000027116
 3113 I Dreamed I Saw Phil Ochs Last Night                         PA0001324545       Universal Music Publishing Limited
 3114 JANE ALLEN                                                   PA0001389604       Universal Music Publishing Limited
                                                                   EU0000322568
 3115 Song Sung Blue                                                                  Universal Music Publishing Limited
                                                                   RE0000813919
 3116 Warriors                                                     PA0001898514       Universal Music Publishing Limited
 3117 A Rush Of Blood To The Head                                  PA0001073309       Universal Music Publishing MGB Limited
 3118 A Whisper                                                    PA0001073308       Universal Music Publishing MGB Limited
 3119 Charlotte Sometimes                                          PA0000344066       Universal Music Publishing MGB Limited
 3120 Daylight                                                     PA0001073306       Universal Music Publishing MGB Limited
 3121 Everything's Not Lost                                        PA0000981365       Universal Music Publishing MGB Limited
 3122 God Put A Smile Upon Your Face                               PA0001073302       Universal Music Publishing MGB Limited
 3123 Green Eyes                                                   PA0001073305       Universal Music Publishing MGB Limited
 3124 High Speed                                                   PA0000981363       Universal Music Publishing MGB Limited
 3125 Lullaby                                                      PA0001073354       Universal Music Publishing MGB Limited
 3126 Pavement Cracks                                              PA0001105463       Universal Music Publishing MGB Limited
 3127 Politik                                                      PA0001073300       Universal Music Publishing MGB Limited
 3128 Sparks                                                       PA0000981359       Universal Music Publishing MGB Limited
 3129 Trouble                                                      PA0000981362       Universal Music Publishing MGB Limited
 3130 Walnut tree: Under the walnut tree                           PA0001248670       Universal Music Publishing MGB Limited
 3131 Warning Sign                                                 PA0001073307       Universal Music Publishing MGB Limited
 3132 We Never Change                                              PA0000981364       Universal Music Publishing MGB Limited
 3133 How Come You Don't Call Me (Neptunes Remix)                  PA0001316943       Universal Music Publishing, Inc.
 3134 Lose My Cool                                                 PA0001318280       Universal Music Publishing, Inc.
 3135 Out Of Control                                               PA0001015243       Universal Music Publishing, Inc.
 3136 The One                                                      PA0001076952       Universal Music Publishing, Inc.
 3137 Signs                                                        PA0001193822       Universal Music Publishing, Inc.
 3138 We Built This City                                           PA0000265529       Universal Music- Z Tunes LLC
 3139 All Of Me                                                    PA0001645336       Universal Music-Z Tunes LLC
 3140 Without You                                                  PA0000577490       Universal/MCA Music Publishing Pty. Limited
 3141 American Eulogy: Mass Hysteria/Modern World                  PA0001859360       W.B.M. Music Corp.
 3142 Before The Lobotomy                                          PA0001859360       W.B.M. Music Corp.
 3143 Christian's Inferno                                          PA0001859360       W.B.M. Music Corp.
 3144 Come and Get Me                                              PA0001761874       W.B.M. Music Corp.
 3145 Confessions                                                  PA0001227181       W.B.M. Music Corp.
 3146 Friends We Won't Forget                                      PA0001800763       W.B.M. Music Corp.
 3147 Got You Home                                                 PA0001343363       W.B.M. Music Corp.
 3148 Horseshoes And Handgrenades                                  PA0001859360       W.B.M. Music Corp.




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                                Track                                  Reg. No.                                            Plaintiff
 3149 Last Night On Earth                                          PA0001859360       W.B.M. Music Corp.
 3150 Lovestoned/I Think She Knows                                 PA0001368884       W.B.M. Music Corp.
 3151 Medley: Sexy Ladies / Let Me Talk to You (Prelude)           PA0001368884       W.B.M. Music Corp.
 3152 Miscommunication                                             PA0001759717       W.B.M. Music Corp.
 3153 Murder City                                                  PA0001859360       W.B.M. Music Corp.
 3154 Oklahoma Sky                                                 PA0001789998       W.B.M. Music Corp.
 3155 Peacemaker                                                   PA0001859360       W.B.M. Music Corp.
 3156 Restless Heart Syndrome                                      PA0001859360       W.B.M. Music Corp.
 3157 Scream                                                       PA0001761672       W.B.M. Music Corp.
 3158 See The Light                                                PA0001859360       W.B.M. Music Corp.
 3159 Sexy Ladies (Remix)                                          PA0001368884       W.B.M. Music Corp.
 3160 So Hard                                                      PA0001375845       W.B.M. Music Corp.
 3161 Song Of The Century                                          PA0001859360       W.B.M. Music Corp.
 3162 The Static Age                                               PA0001859360       W.B.M. Music Corp.
 3163 The Way I Are                                                PA0001761677       W.B.M. Music Corp.
 3164 Throwed                                                      PA0001719705       W.B.M. Music Corp.
 3165 Was It Worth It?                                             PA0001603613       W.B.M. Music Corp.
 3166 What Goes Around... Comes Around                             PA0001368884       W.B.M. Music Corp.
 3167 Where Did He Go                                              PA0001767261       W.B.M. Music Corp.
 3168 Carry You There                                              PA0001733326       W.B.M. Music Corp.
 3169 Gimme More                                                   PA0001680545       W.B.M. Music Corp.
 3170 Give A Little                                                PA0001733326       W.B.M. Music Corp.
 3171 Kiss Me When You Come Home                                   PA0001733326       W.B.M. Music Corp.
 3172 Hardly Breathing                                             PA0001882751       W.B.M. Music Corp. / Warner-Tamerlane Publishing Corp.
 3173 I Can Only Imagine                                           PA0001778164       W.B.M. Music Corp. / Warner-Tamerlane Publishing Corp.
 3174 Generation                                                   PA0001644603       W.B.M. Music Corp. / WB Music Corp.
 3175 SexyBack (DJ Wayne Williams Ol' Skool Remix)                 PA0001165048       W.B.M. Music Corp. / WB Music Corp.
 3176 The End                                                      PA0001644615       W.B.M. Music Corp. / WB Music Corp.
 3177 When I'm Gone                                                PA0001644615       W.B.M. Music Corp. / WB Music Corp.
 3178 When I'm Gone (Acoustic Version)                             PA0001644615       W.B.M. Music Corp. / WB Music Corp.
 3179 Blaze Of Glory                                               PA0000115623       Warner-Tamerlane Publishing Corp.
 3180 Burn It To The Ground                                        PA0001638902       Warner-Tamerlane Publishing Corp.
 3181 Champion                                                     PA0001807224       Warner-Tamerlane Publishing Corp.
 3182 Crazy                                                        PA0001338240       Warner-Tamerlane Publishing Corp.
 3183 Domino                                                       PA0001853396       Warner-Tamerlane Publishing Corp.
                                                                   EU0000494299
 3184 Don't Forget Me                                                                 Warner-Tamerlane Publishing Corp.
                                                                   RE0000857922
 3185 Find Your Way Back                                           PAU000291891       Warner-Tamerlane Publishing Corp.
 3186 Gasoline                                                     PA0001750221       Warner-Tamerlane Publishing Corp.
 3187 Gotta Be Somebody                                            PA0001638896       Warner-Tamerlane Publishing Corp.
 3188 Hello                                                        PA0001892996       Warner-Tamerlane Publishing Corp.
 3189 How You Remind Me                                            PA0001103818       Warner-Tamerlane Publishing Corp.
 3190 I Melt                                                       PA0001136262       Warner-Tamerlane Publishing Corp.
 3191 I'd Come For You                                             PA0001708562       Warner-Tamerlane Publishing Corp.
 3192 I'm Me                                                       PA0001619819       Warner-Tamerlane Publishing Corp.
 3193 Islands In The Stream                                        PA0000188026       Warner-Tamerlane Publishing Corp.
 3194 Jackson, Mississippi                                         PA0001311747       Warner-Tamerlane Publishing Corp.
 3195 Jane                                                         PAU000269243       Warner-Tamerlane Publishing Corp.
 3196 Just To Get High                                             PA0001622259       Warner-Tamerlane Publishing Corp.
 3197 Layin' It on the Line                                        PA0000215600       Warner-Tamerlane Publishing Corp.
 3198 Like My Style                                                PA0001248733       Warner-Tamerlane Publishing Corp.
 3199 Next Go Round                                                PA0001622259       Warner-Tamerlane Publishing Corp.
 3200 Outta Here                                                   PA0001209421       Warner-Tamerlane Publishing Corp.
 3201 Own It                                                       PA0001891427       Warner-Tamerlane Publishing Corp.
 3202 Patron                                                       PA0001347986       Warner-Tamerlane Publishing Corp.
 3203 Playin' Our Song                                             PA0001670197       Warner-Tamerlane Publishing Corp.
 3204 Ready Or Not                                                 PA0000844694       Warner-Tamerlane Publishing Corp.
 3205 S.E.X.                                                       PA0001622259       Warner-Tamerlane Publishing Corp.
 3206 Shakin' Hands                                                PA0001638848       Warner-Tamerlane Publishing Corp.
 3207 Shame                                                        PA0001878241       Warner-Tamerlane Publishing Corp.
 3208 Something In Your Mouth                                      PA0001638848       Warner-Tamerlane Publishing Corp.
 3209 Stranger                                                     PAU000291890       Warner-Tamerlane Publishing Corp.
 3210 There Goes My Life                                           PA0001209420       Warner-Tamerlane Publishing Corp.
 3211 This Afternoon                                               PA0001638899       Warner-Tamerlane Publishing Corp.
 3212 Tie My Hands                                                 PA0001621378       Warner-Tamerlane Publishing Corp.
                                                                   PAu002607518
 3213 WCSR                                                                            Warner-Tamerlane Publishing Corp.
                                                                   PA0001114103
 3214 When I Think About Leaving                                   PA0001209065       Warner-Tamerlane Publishing Corp.




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                                 Track                                 Reg. No.                                           Plaintiff
 3215 1st Time                                                     PA0001347989       Warner-Tamerlane Publishing Corp.
 3216 6 Foot 7 Foot                                                PA0001807261       Warner-Tamerlane Publishing Corp.
 3217 Abortion                                                     PA0001842433       Warner-Tamerlane Publishing Corp.
 3218 All Kinds of Kinds                                           PA0001789995       Warner-Tamerlane Publishing Corp.
 3219 All Of The Lights                                            PA0001791088       Warner-Tamerlane Publishing Corp.
 3220 All Of The Lights (Interlude)                                PA0001773393       Warner-Tamerlane Publishing Corp.
 3221 All Summer Long                                              PA0001643681       Warner-Tamerlane Publishing Corp.
 3222 All The Shine                                                PA0001773706       Warner-Tamerlane Publishing Corp.
 3223 Almost Lose It                                               PA0001846094       Warner-Tamerlane Publishing Corp.
 3224 Already Taken                                                PA0001902781       Warner-Tamerlane Publishing Corp.
 3225 Apple Pie Moonshine                                          PA0001761402       Warner-Tamerlane Publishing Corp.
 3226 As You Turn Away                                             PA0001817433       Warner-Tamerlane Publishing Corp.
 3227 Baby Come Home                                               PA0001114113       Warner-Tamerlane Publishing Corp.
 3228 Bad Decisions                                                PA0001865868       Warner-Tamerlane Publishing Corp.
 3229 Banjo                                                        PA0001853119       Warner-Tamerlane Publishing Corp.
 3230 Barry Bonds                                                  PA0001861693       Warner-Tamerlane Publishing Corp.
 3231 Because Of Your Love                                         PA0001249901       Warner-Tamerlane Publishing Corp.
 3232 Bending the Rules and Breaking the Law                       PA0001694074       Warner-Tamerlane Publishing Corp.
 3233 Birdman Interlude                                            PA0001814502       Warner-Tamerlane Publishing Corp.
 3234 Blame Game                                                   PA0001784046       Warner-Tamerlane Publishing Corp.
 3235 Blue Ocean Floor                                             PA0001915504       Warner-Tamerlane Publishing Corp.
 3236 Body 2 Body                                                  PA0001868401       Warner-Tamerlane Publishing Corp.
 3237 Body Ache                                                    PA0001917965       Warner-Tamerlane Publishing Corp.
 3238 Bottle Poppin'                                               PA0001648776       Warner-Tamerlane Publishing Corp.
 3239 Bound 2                                                      PA0001921191       Warner-Tamerlane Publishing Corp.
 3240 Bravo                                                        PA0001778260       Warner-Tamerlane Publishing Corp.
 3241 Breathe                                                      PA0001349255       Warner-Tamerlane Publishing Corp.
 3242 BYOB                                                         PA0001648815       Warner-Tamerlane Publishing Corp.
 3243 Camouflage                                                   PA0002001267       Warner-Tamerlane Publishing Corp.
 3244 Candy                                                        PA0001763960       Warner-Tamerlane Publishing Corp.
 3245 Carried Away                                                 PA0000830048       Warner-Tamerlane Publishing Corp.
 3246 Carrying Your Love With Me                                   PA0000849801       Warner-Tamerlane Publishing Corp.
 3247 Changed                                                      PA0001853120       Warner-Tamerlane Publishing Corp.
 3248 Chapter V                                                    PA0001865863       Warner-Tamerlane Publishing Corp.
 3249 Chevy Smile                                                  PA0001648814       Warner-Tamerlane Publishing Corp.
                                                                   Eu0000684610
 3250 Cigarettes and Coffee                                                           Warner-Tamerlane Publishing Corp.
                                                                   RE0000442404
 3251 Circus                                                       PA0001622999       Warner-Tamerlane Publishing Corp.
                                                                   PAu002625389
 3252 Cocky                                                                           Warner-Tamerlane Publishing Corp.
                                                                   PA0001114105
 3253 Cold As Stone                                                PA0001817040       Warner-Tamerlane Publishing Corp.
 3254 Come A Little Closer                                         PA0001069964       Warner-Tamerlane Publishing Corp.
 3255 Come Wake Me Up                                              PA0001853117       Warner-Tamerlane Publishing Corp.
 3256 Compass                                                      PA0001879179       Warner-Tamerlane Publishing Corp.
 3257 Control Myself                                               PA0001599521       Warner-Tamerlane Publishing Corp.
 3258 Dancin' Away With My Heart                                   PA0001817030       Warner-Tamerlane Publishing Corp.
 3259 Days Like These                                              PA0001790666       Warner-Tamerlane Publishing Corp.
 3260 Dear Mama                                                    PA0000773741       Warner-Tamerlane Publishing Corp.
 3261 Dear Old Nicki                                               PA0001739207       Warner-Tamerlane Publishing Corp.
 3262 Devil In A New Dress                                         PA0001791337       Warner-Tamerlane Publishing Corp.
 3263 Dirt Road Anthem                                             PA0001694080       Warner-Tamerlane Publishing Corp.
 3264 Dive In                                                      PA0001868040       Warner-Tamerlane Publishing Corp.
 3265 Don't Be Scared                                              PA0001931589       Warner-Tamerlane Publishing Corp.
 3266 Don't Hold The Wall                                          PA0001915504       Warner-Tamerlane Publishing Corp.
 3267 Don't Play Wit It                                            PA0001347984       Warner-Tamerlane Publishing Corp.
 3268 Don't Tell Me U Love Me                                      PA0001638755       Warner-Tamerlane Publishing Corp.
 3269 Doorbell                                                     PA0001856251       Warner-Tamerlane Publishing Corp.
 3270 Dope Boy Magic                                               PA0001347985       Warner-Tamerlane Publishing Corp.
 3271 Downtown Girl                                                PA0001856129       Warner-Tamerlane Publishing Corp.
 3272 Drop The World                                               PA0001848752       Warner-Tamerlane Publishing Corp.
 3273 Drunk And Hot Girls                                          PA0001592989       Warner-Tamerlane Publishing Corp.
                                                                   PAu002607513
 3274 Drunk In the Morning                                                            Warner-Tamerlane Publishing Corp.
                                                                   PA0001114114
 3275 Easy                                                         PA0001349254       Warner-Tamerlane Publishing Corp.
 3276 Every Girl                                                   PA0001741596       Warner-Tamerlane Publishing Corp.
 3277 Extravaganza                                                 PA0001323666       Warner-Tamerlane Publishing Corp.
 3278 Fall Into Me                                                 PA0001884101       Warner-Tamerlane Publishing Corp.
 3279 Fancy                                                        PA0001852254       Warner-Tamerlane Publishing Corp.




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                                  Track                                Reg. No.                                           Plaintiff
 3280 Fast                                                         PA0001935086       Warner-Tamerlane Publishing Corp.
 3281 Fast Cars And Freedom                                        PA0001268341       Warner-Tamerlane Publishing Corp.
 3282 Feng Shui                                                    PA0001338255       Warner-Tamerlane Publishing Corp.
 3283 Fire Fly                                                     PA0001773710       Warner-Tamerlane Publishing Corp.
 3284 Flip Flop                                                    PA0001347987       Warner-Tamerlane Publishing Corp.
 3285 Flowers                                                      PA0001162294       Warner-Tamerlane Publishing Corp.
 3286 Forever Unstoppable                                          PA0001856129       Warner-Tamerlane Publishing Corp.
 3287 Forever Yours                                                PA0001865870       Warner-Tamerlane Publishing Corp.
 3288 Fumble                                                       PA0001866132       Warner-Tamerlane Publishing Corp.
 3289 Get Some                                                     PA0001253726       Warner-Tamerlane Publishing Corp.
 3290 Getting To Da Money                                          PA0001648763       Warner-Tamerlane Publishing Corp.
 3291 Ghetto Love                                                  PA0001395265       Warner-Tamerlane Publishing Corp.
 3292 Girls Around The World                                       PA0001677803       Warner-Tamerlane Publishing Corp.
 3293 Go N' Get It                                                 PA0001808406       Warner-Tamerlane Publishing Corp.
 3294 Gorgeous                                                     PA0001740943       Warner-Tamerlane Publishing Corp.
 3295 Got To Get My Heart Back                                     PA0001603589       Warner-Tamerlane Publishing Corp.
 3296 Hail Mary                                                    PA0001865861       Warner-Tamerlane Publishing Corp.
 3297 Halfway to Heaven                                            PA0001693861       Warner-Tamerlane Publishing Corp.
 3298 Harajuku Girls                                               PA0001274356       Warner-Tamerlane Publishing Corp.
 3299 Hate Sleeping Alone                                          PA0001997263       Warner-Tamerlane Publishing Corp.
 3300 Hear Me Coming                                               PA0001347989       Warner-Tamerlane Publishing Corp.
 3301 Heart Attack                                                 PA0001931588       Warner-Tamerlane Publishing Corp.
 3302 Hell On Wheels                                               PA0001694071       Warner-Tamerlane Publishing Corp.
 3303 Hell Yeah                                                    PA0001648815       Warner-Tamerlane Publishing Corp.
 3304 Hello Good Morning                                           PA0001745034       Warner-Tamerlane Publishing Corp.
 3305 Hollywood Divorce                                            PA0001603423       Warner-Tamerlane Publishing Corp.
 3306 How To Hate                                                  PA0001807231       Warner-Tamerlane Publishing Corp.
 3307 How To Love                                                  PA0001807262       Warner-Tamerlane Publishing Corp.
 3308 Hustle Hard                                                  PA0001794383       Warner-Tamerlane Publishing Corp.
 3309 Hustlemania (Skit)                                           PA0001648764       Warner-Tamerlane Publishing Corp.
 3310 HYFR (Hell Ya Fucking Right)                                 PA0001869936       Warner-Tamerlane Publishing Corp.
 3311 Hyyerr                                                       PA0001679583       Warner-Tamerlane Publishing Corp.
 3312 I Ain't Goin' Out Like That                                  PA0000848472       Warner-Tamerlane Publishing Corp.
 3313 I Am Not A Human Being                                       PA0001741896       Warner-Tamerlane Publishing Corp.
 3314 I Can Transform Ya                                           PA0001744956       Warner-Tamerlane Publishing Corp.
 3315 I Cross My Heart                                             PA0000593349       Warner-Tamerlane Publishing Corp.
 3316 I Get It                                                     PA0001387419       Warner-Tamerlane Publishing Corp.
 3317 I Know You See It                                            PA0001347990       Warner-Tamerlane Publishing Corp.
 3318 I Know You Won't                                             PA0001644685       Warner-Tamerlane Publishing Corp.
 3319 I Like It Like That                                          PA0001856125       Warner-Tamerlane Publishing Corp.
 3320 I Like The View                                              PA0001807227       Warner-Tamerlane Publishing Corp.
 3321 I Melt                                                       PA0001136262       Warner-Tamerlane Publishing Corp.
 3322 I Run To You                                                 PA0001706945       Warner-Tamerlane Publishing Corp.
 3323 I Stand Accused                                              EP0000329319       Warner-Tamerlane Publishing Corp.
 3324 I'm Him                                                      PA0001347988       Warner-Tamerlane Publishing Corp.
 3325 I'm Single                                                   PA0001741951       Warner-Tamerlane Publishing Corp.
 3326 I'm So Blessed                                               PA0001852361       Warner-Tamerlane Publishing Corp.
 3327 I'm So Over You                                              PA0001732191       Warner-Tamerlane Publishing Corp.
 3328 I'm The Best                                                 PA0001739207       Warner-Tamerlane Publishing Corp.
 3329 If Drinkin' Don't Kill Me (Her Memory Will)                  PA0000102104       Warner-Tamerlane Publishing Corp.
 3330 If Today Was Your Last Day                                   PA0001622259       Warner-Tamerlane Publishing Corp.
 3331 If You Want A Bad Boy                                        PA0001971305       Warner-Tamerlane Publishing Corp.
 3332 Initiation                                                   PA0001951618       Warner-Tamerlane Publishing Corp.
 3333 Inside Interlewd                                             PA0001866129       Warner-Tamerlane Publishing Corp.
 3334 Interlude                                                    PA0001807226       Warner-Tamerlane Publishing Corp.
 3335 Interlude4U                                                  PA0001865878       Warner-Tamerlane Publishing Corp.
 3336 Intro                                                        PA0001807226       Warner-Tamerlane Publishing Corp.
 3337 It Did                                                       PA0001628194       Warner-Tamerlane Publishing Corp.
 3338 It Will Be Me                                                PA0000988177       Warner-Tamerlane Publishing Corp.
 3339 It's Five O' Clock Somewhere                                 PA0001158580       Warner-Tamerlane Publishing Corp.
 3340 It's Good                                                    PA0001842432       Warner-Tamerlane Publishing Corp.
 3341 It's Not Over                                                PA0001349172       Warner-Tamerlane Publishing Corp.
 3342 Jesus For A Day                                              PA0001157410       Warner-Tamerlane Publishing Corp.
 3343 Johnny Cash                                                  PA0001292991       Warner-Tamerlane Publishing Corp.
 3344 Just A Kiss                                                  PA0001817035       Warner-Tamerlane Publishing Corp.
 3345 Keep The Girl                                                PA0001935083       Warner-Tamerlane Publishing Corp.
 3346 Keep You With Me                                             PA0001856129       Warner-Tamerlane Publishing Corp.
 3347 Knock It Out                                                 PA0001347991       Warner-Tamerlane Publishing Corp.




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                                 Track                                 Reg. No.                                           Plaintiff
 3348 Knock You Down                                               PA0001767248       Warner-Tamerlane Publishing Corp.
 3349 Ladies Go Wild                                               PA0001846093       Warner-Tamerlane Publishing Corp.
                                                                   PAu002607508
 3350 Lay It On Me                                                                    Warner-Tamerlane Publishing Corp.
                                                                   PA0001114110
 3351 LES                                                          PA0001773586       Warner-Tamerlane Publishing Corp.
 3352 Let It Rock                                                  PA0001624274       Warner-Tamerlane Publishing Corp.
 3353 Let The Beat Build                                           PA0001621374       Warner-Tamerlane Publishing Corp.
 3354 Let The Groove Get In                                        PA0001915504       Warner-Tamerlane Publishing Corp.
 3355 Let's Make Love                                              PAu001996658       Warner-Tamerlane Publishing Corp.
 3356 Lifeline                                                     PA0001671748       Warner-Tamerlane Publishing Corp.
 3357 Like I Love You                                              PA0001157796       Warner-Tamerlane Publishing Corp.
 3358 Like We Never Loved At All                                   PA0001290857       Warner-Tamerlane Publishing Corp.
 3359 Linger                                                       PA0000608834       Warner-Tamerlane Publishing Corp.
 3360 Lollipop                                                     PA0001619781       Warner-Tamerlane Publishing Corp.
                                                                   PAu002635077
 3361 Lonely Road Of Faith                                                            Warner-Tamerlane Publishing Corp.
                                                                   PA0001114106
 3362 Look At Me Now                                               PA0001921210       Warner-Tamerlane Publishing Corp.
 3363 Lookin' At You                                               PA0001263491       Warner-Tamerlane Publishing Corp.
 3364 Love Faces                                                   PA0001856243       Warner-Tamerlane Publishing Corp.
 3365 Love I've Found In You                                       PA0001817038       Warner-Tamerlane Publishing Corp.
 3366 Love In This Club, Part II                                   PA0001690182       Warner-Tamerlane Publishing Corp.
 3367 Made To Be Together                                          PA0001856238       Warner-Tamerlane Publishing Corp.
 3368 Main Title (From "Star Wars")                                PA0000062943       Warner-Tamerlane Publishing Corp.
 3369 Make Me Proud                                                PA0001869946       Warner-Tamerlane Publishing Corp.
 3370 Mama's Broken Heart                                          PA0001790000       Warner-Tamerlane Publishing Corp.
 3371 Marvin & Chardonnay                                          PA0001780731       Warner-Tamerlane Publishing Corp.
 3372 Medicated                                                    PA0001952869       Warner-Tamerlane Publishing Corp.
 3373 MegaMan                                                      PA0001807233       Warner-Tamerlane Publishing Corp.
 3374 Memory Lane                                                  PA0001868403       Warner-Tamerlane Publishing Corp.
 3375 Mercy                                                        PA0001913931       Warner-Tamerlane Publishing Corp.
 3376 Mercy.1                                                      PA0001913931       Warner-Tamerlane Publishing Corp.
                                                                   PAu002607511
 3377 Midnight Train To Memphis                                                       Warner-Tamerlane Publishing Corp.
                                                                   PA0001114112
 3378 Miss Me                                                      PA0001728552       Warner-Tamerlane Publishing Corp.
 3379 Moment 4 Life                                                PA0001739210       Warner-Tamerlane Publishing Corp.
 3380 Momma                                                        PA0001648755       Warner-Tamerlane Publishing Corp.
 3381 My Kinda Party                                               PA0001750920       Warner-Tamerlane Publishing Corp.
 3382 Never Again                                                  PA0001819832       Warner-Tamerlane Publishing Corp.
 3383 Never Ever                                                   PA0001659049       Warner-Tamerlane Publishing Corp.
 3384 New Joc City - Intro                                         PA0001347982       Warner-Tamerlane Publishing Corp.
 3385 Nightmares Of The Bottom                                     PA0001915461       Warner-Tamerlane Publishing Corp.
 3386 No                                                           PA0001628202       Warner-Tamerlane Publishing Corp.
 3387 Not Over You                                                 PA0001763962       Warner-Tamerlane Publishing Corp.
 3388 One Last Time                                                PA0001625727       Warner-Tamerlane Publishing Corp.
 3389 One, Two Step                                                PA0001263489       Warner-Tamerlane Publishing Corp.
 3390 Outro                                                        PA0001807226       Warner-Tamerlane Publishing Corp.
 3391 Outside                                                      PA0001773713       Warner-Tamerlane Publishing Corp.
 3392 P.Y.T. (Pretty Young Thing)                                  PA0000159305       Warner-Tamerlane Publishing Corp.
 3393 Paint This House                                             PA0001882750       Warner-Tamerlane Publishing Corp.
 3394 Pak Man                                                      PA0001648771       Warner-Tamerlane Publishing Corp.
 3395 Panic Prone                                                  PA0001253726       Warner-Tamerlane Publishing Corp.
 3396 Panty Wetter                                                 PA0001865865       Warner-Tamerlane Publishing Corp.
 3397 Paper Scissors Rock                                          PA0001866592       Warner-Tamerlane Publishing Corp.
 3398 Phone Home                                                   PA0001621245       Warner-Tamerlane Publishing Corp.
 3399 Pick Up The Phone                                            PA0001263490       Warner-Tamerlane Publishing Corp.
 3400 Picture Perfect                                              PA0001347992       Warner-Tamerlane Publishing Corp.
 3401 Play Your Cards                                              PA0001648743       Warner-Tamerlane Publishing Corp.
 3402 Player's Prayer                                              PA0001387429       Warner-Tamerlane Publishing Corp.
 3403 Playin' Hard                                                 PA0001866123       Warner-Tamerlane Publishing Corp.
 3404 Please Return My Call                                        PA0001771885       Warner-Tamerlane Publishing Corp.
 3405 Pocahontas Proud                                             PA0001227155       Warner-Tamerlane Publishing Corp.
 3406 Pop That                                                     PA0001861940       Warner-Tamerlane Publishing Corp.
 3407 Popular                                                      PA0001741903       Warner-Tamerlane Publishing Corp.
 3408 Prayin' For Daylight                                         PA0000978701       Warner-Tamerlane Publishing Corp.
 3409 President Carter                                             PA0001807235       Warner-Tamerlane Publishing Corp.
 3410 Pretty Girl's Lie                                            PA0001865867       Warner-Tamerlane Publishing Corp.
 3411 Pusher Love Girl                                             PA0001915504       Warner-Tamerlane Publishing Corp.
 3412 Queen Of Hearts                                              PA0001742580       Warner-Tamerlane Publishing Corp.




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                                 Track                                 Reg. No.                                           Plaintiff
 3413 Radiation                                                    PA0001763966       Warner-Tamerlane Publishing Corp.
 3414 Radio                                                        PA0001630369       Warner-Tamerlane Publishing Corp.
 3415 Release                                                      PA0001761877       Warner-Tamerlane Publishing Corp.
 3416 Rest Of Our Life                                             PA0001896429       Warner-Tamerlane Publishing Corp.
 3417 Rewind                                                       PA0001969112       Warner-Tamerlane Publishing Corp.
 3418 Right Above It                                               PA0001741926       Warner-Tamerlane Publishing Corp.
 3419 Right One Time                                               PA0001853122       Warner-Tamerlane Publishing Corp.
 3420 Rise Above                                                   PA0001951621       Warner-Tamerlane Publishing Corp.
 3421 Rock Your Body                                               PA0001157796       Warner-Tamerlane Publishing Corp.
 3422 Run Every Time                                               PA0001763961       Warner-Tamerlane Publishing Corp.
 3423 Salvation                                                    PA0000791575       Warner-Tamerlane Publishing Corp.
 3424 See Me Now                                                   PA0001865581       Warner-Tamerlane Publishing Corp.
 3425 See You In My Nightmares                                     PA0001643088       Warner-Tamerlane Publishing Corp.
 3426 See You When I See You                                       PA0001790669       Warner-Tamerlane Publishing Corp.
 3427 Senorita                                                     PA0001157796       Warner-Tamerlane Publishing Corp.
 3428 Session One                                                  PA0001848890       Warner-Tamerlane Publishing Corp.
 3429 Sex In The Lounge                                            PA0001842417       Warner-Tamerlane Publishing Corp.
 3430 Shattered Glass                                              PA0001632385       Warner-Tamerlane Publishing Corp.
 3431 She Don't Have to Know                                       PA0001299028       Warner-Tamerlane Publishing Corp.
 3432 She Will                                                     PA0001807232       Warner-Tamerlane Publishing Corp.
 3433 Shine                                                        PA0001778259       Warner-Tamerlane Publishing Corp.
 3434 Shoot Me Down                                                PA0001915522       Warner-Tamerlane Publishing Corp.
 3435 Shut It Down                                                 PA0001870871       Warner-Tamerlane Publishing Corp.
 3436 Simply Amazing                                               PA0001868036       Warner-Tamerlane Publishing Corp.
 3437 Skeletons                                                    PA0001789847       Warner-Tamerlane Publishing Corp.
 3438 Ski Mask Way                                                 PA0001281578       Warner-Tamerlane Publishing Corp.
 3439 So Special                                                   PA0001807229       Warner-Tamerlane Publishing Corp.
 3440 Somewhere Love Remains                                       PA0001817433       Warner-Tamerlane Publishing Corp.
 3441 Spaceship Coupe                                              PA0001915506       Warner-Tamerlane Publishing Corp.
 3442 Spell It Out                                                 PA0001763961       Warner-Tamerlane Publishing Corp.
 3443 St. Elsewhere                                                PA0001338251       Warner-Tamerlane Publishing Corp.
 3444 Stealing                                                     PA0001763960       Warner-Tamerlane Publishing Corp.
 3445 Stop, Look, Listen (To Your Heart)                           EP0000286226       Warner-Tamerlane Publishing Corp.
 3446 Straight Jacket Fashion                                      PA0001387418       Warner-Tamerlane Publishing Corp.
 3447 Straight Up                                                  PA0001808141       Warner-Tamerlane Publishing Corp.
 3448 Strawberry Bubblegum                                         PA0001915506       Warner-Tamerlane Publishing Corp.
 3449 StreetLove                                                   PA0001387433       Warner-Tamerlane Publishing Corp.
 3450 Summon The Heroes                                            PA0000844744       Warner-Tamerlane Publishing Corp.
 3451 Sunrise                                                      PA0001773580       Warner-Tamerlane Publishing Corp.
 3452 Sunshine & Summertime                                        PA0001290857       Warner-Tamerlane Publishing Corp.
 3453 Sweeter                                                      PA0001763962       Warner-Tamerlane Publishing Corp.
 3454 Take It Outside                                              PA0001694081       Warner-Tamerlane Publishing Corp.
 3455 Take You Home                                                PA0001387431       Warner-Tamerlane Publishing Corp.
 3456 Tapout                                                       PA0001976125       Warner-Tamerlane Publishing Corp.
 3457 Tattoo Of My Name                                            PA0001896737       Warner-Tamerlane Publishing Corp.
 3458 Tattoos On This Town                                         PA0001790667       Warner-Tamerlane Publishing Corp.
 3459 Teach Me How To Dougie                                       PA0001744864       Warner-Tamerlane Publishing Corp.
 3460 Tell Somebody                                                PA0001842284       Warner-Tamerlane Publishing Corp.
 3461 Texas Was You                                                PA0001790669       Warner-Tamerlane Publishing Corp.
 3462 That Girl                                                    PA0001915505       Warner-Tamerlane Publishing Corp.
 3463 That Power                                                   PA0001773578       Warner-Tamerlane Publishing Corp.
 3464 The Boogie Monster                                           PA0001338253       Warner-Tamerlane Publishing Corp.
 3465 The Clincher                                                 PA0001253725       Warner-Tamerlane Publishing Corp.
 3466 The Fad                                                      PA0001387418       Warner-Tamerlane Publishing Corp.
 3467 The Night Before (Life Goes On)                              PA0001302091       Warner-Tamerlane Publishing Corp.
 3468 The Real Her                                                 PA0001869994       Warner-Tamerlane Publishing Corp.
 3469 Them Boys                                                    PA0001693846       Warner-Tamerlane Publishing Corp.
 3470 Thug Style                                                   PA0001263491       Warner-Tamerlane Publishing Corp.
 3471 Till I Die                                                   PA0001842278       Warner-Tamerlane Publishing Corp.
 3472 Time                                                         PA0001760169       Warner-Tamerlane Publishing Corp.
 3473 Transformer                                                  PA0001338256       Warner-Tamerlane Publishing Corp.
 3474 Trumpet Lights                                               PA0001842283       Warner-Tamerlane Publishing Corp.
 3475 Tunnel Vision                                                PA0001915506       Warner-Tamerlane Publishing Corp.
 3476 Turnin Me On                                                 PA0001881520       Warner-Tamerlane Publishing Corp.
 3477 Two Shots                                                    PA0001842435       Warner-Tamerlane Publishing Corp.
 3478 Under Ground Kings                                           PA0001808381       Warner-Tamerlane Publishing Corp.
 3479 Up Up And Away                                               PA0001997140       Warner-Tamerlane Publishing Corp.
 3480 Valentine                                                    PA0001387428       Warner-Tamerlane Publishing Corp.




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                               Track                                   Reg. No.                                             Plaintiff
 3481 Vitamin R (Leading Us Along)                                 PA0001253726       Warner-Tamerlane Publishing Corp.
 3482 Wait A Minute                                                PA0001697038       Warner-Tamerlane Publishing Corp.
 3483 Waitin' On a Woman                                           PA0001288292       Warner-Tamerlane Publishing Corp.
 3484 Walking On The Moon                                          PA0001893004       Warner-Tamerlane Publishing Corp.
 3485 Wanted You More                                              PA0001817202       Warner-Tamerlane Publishing Corp.
 3486 Wasted                                                       PA0001302090       Warner-Tamerlane Publishing Corp.
 3487 Watch n' Learn                                               PA0001842405       Warner-Tamerlane Publishing Corp.
 3488 We Been On                                                   PA0001995834       Warner-Tamerlane Publishing Corp.
 3489 We'll Be Fine                                                PA0001869942       Warner-Tamerlane Publishing Corp.
 3490 Well Enough Alone                                            PA0001387417       Warner-Tamerlane Publishing Corp.
 3491 What Happened                                                PA0001227154       Warner-Tamerlane Publishing Corp.
                                                                   PAu002625391
 3492 What I Learned Out On The Road                                                  Warner-Tamerlane Publishing Corp.
                                                                   PA0001114109
 3493 What You Wanna Do                                            PA0001387432       Warner-Tamerlane Publishing Corp.
 3494 Whatever                                                     PA0001856129       Warner-Tamerlane Publishing Corp.
 3495 When I Think About Cheatin'                                  PA0001227155       Warner-Tamerlane Publishing Corp.
 3496 When It Rains                                                PA0001227155       Warner-Tamerlane Publishing Corp.
 3497 When U Love Someone                                          PA0001638755       Warner-Tamerlane Publishing Corp.
 3498 When You Were Mine                                           PA0001817032       Warner-Tamerlane Publishing Corp.
 3499 Where You Are                                                PA0001763960       Warner-Tamerlane Publishing Corp.
 3500 Wide Open                                                    PA0001935080       Warner-Tamerlane Publishing Corp.
 3501 Wild Ones                                                    PA0001883945       Warner-Tamerlane Publishing Corp.
 3502 Wind Beneath My Wings / He Hawai`i Au                        PA0000154386       Warner-Tamerlane Publishing Corp.
 3503 Wish You Would                                               PA0001660102       Warner-Tamerlane Publishing Corp.
 3504 Work Hard, Play Hard                                         PA0001951615       Warner-Tamerlane Publishing Corp.
 3505 Wut We Doin?                                                 PA0001846684       Warner-Tamerlane Publishing Corp.
 3506 You                                                          PA0001387424       Warner-Tamerlane Publishing Corp.
 3507 You And Me                                                   PA0001271822       Warner-Tamerlane Publishing Corp.
 3508 You Are Everything                                           EP0000291953       Warner-Tamerlane Publishing Corp.
 3509 You Know Where I'm At                                        PA0001763960       Warner-Tamerlane Publishing Corp.
                                                                   PAu002607516
 3510 You Never Met A Motherf**Ker Quite Like Me                                      Warner-Tamerlane Publishing Corp.
                                                                   PA0001114102
 3511 You Will Be Mine                                             PAu001996658       Warner-Tamerlane Publishing Corp.
 3512 Zombie                                                       PA0000734574       Warner-Tamerlane Publishing Corp.
 3513 TRUE                                                         PA0000895879       Warner-Tamerlane Publishing Corp.
 3514 Better In The Long Run                                       PA0001790002       Warner-Tamerlane Publishing Corp. / Warner/Chappell Music, Inc.
 3515 No Lie                                                       PA0001846688       Warner-Tamerlane Publishing Corp. / WB Music Corp.
 3516 Outta Control                                                PA0001298486       Warner-Tamerlane Publishing Corp. / WB Music Corp.
 3517 All Me                                                       PA0001967814       Warner-Tamerlane Publishing Corp. / WB Music Corp.
 3518 Amen                                                         PA0001842305       Warner-Tamerlane Publishing Corp. / WB Music Corp.
 3519 Bang                                                         PA0001739089       Warner-Tamerlane Publishing Corp. / WB Music Corp.
 3520 Beautiful                                                    PA0001868404       Warner-Tamerlane Publishing Corp. / WB Music Corp.
 3521 Fiend                                                        PA0000914814       Warner-Tamerlane Publishing Corp. / WB Music Corp.
 3522 Fire                                                         PA0001643192       Warner-Tamerlane Publishing Corp. / WB Music Corp.
 3523 Gender                                                       PA0000914814       Warner-Tamerlane Publishing Corp. / WB Music Corp.
 3524 I Have Never Been To Memphis                                 PA0001969119       Warner-Tamerlane Publishing Corp. / WB Music Corp.
 3525 Karma                                                        PA0001739133       Warner-Tamerlane Publishing Corp. / WB Music Corp.
 3526 Man Down (Censored)                                          PA0001693409       Warner-Tamerlane Publishing Corp. / WB Music Corp.
 3527 Mine                                                         PA0001918125       Warner-Tamerlane Publishing Corp. / WB Music Corp.
 3528 Monster                                                      PA0001806092       Warner-Tamerlane Publishing Corp. / WB Music Corp.
 3529 Outlaw                                                       PA0000754054       Warner-Tamerlane Publishing Corp. / WB Music Corp.
 3530 Rocket                                                       PA0001918124       Warner-Tamerlane Publishing Corp. / WB Music Corp. / Universal Music - Z Tunes LLC
 3531 Come & Go                                                    PA0001643195       Warner-Tamerlane Publishing Corp./ WB Music Corp. / Universal Music Corp.
 3532 1 Mo Time                                                    PA0001765676       Warner/Chappell Music, Inc.
 3533 Better In Time                                               PA0001740494       Warner/Chappell Music, Inc.
                                                                   EP0000027412
 3534 Bouquet of Roses                                                                Warner/Chappell Music, Inc.
                                                                   R607912
 3535 Breakin' Up                                                  PA0001166321       Warner/Chappell Music, Inc.
 3536 California Waiting                                           PA0001204543       Warner/Chappell Music, Inc.
 3537 Closer                                                       PA0001204538       Warner/Chappell Music, Inc.
                                                                   EP0000094728
 3538 Cry Me a River                                                                  Warner/Chappell Music, Inc.
                                                                   RE0000169218
                                                                   Eu0000548552
 3539 Don't Take Your Guns to Town                                                    Warner/Chappell Music, Inc.
                                                                   RE0000283032
 3540 Faithful                                                     PA0001299024       Warner/Chappell Music, Inc.
 3541 Friday                                                       PA0001765676       Warner/Chappell Music, Inc.
 3542 Genius                                                       PA0001204546       Warner/Chappell Music, Inc.
 3543 Happy Alone                                                  PA0001204539       Warner/Chappell Music, Inc.




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                                 Track                                 Reg. No.                                     Plaintiff
 3544 Hollaback Girl                                               PA0001160423       Warner/Chappell Music, Inc.
 3545 Holy Roller Novocaine                                        PA0001204548       Warner/Chappell Music, Inc.
 3546 I Am The Club                                                PA0001765676       Warner/Chappell Music, Inc.
                                                                   Eu0000541378
 3547 I Still Miss Someone                                                            Warner/Chappell Music, Inc.
                                                                   RE0000283809
 3548 I'm a Slave 4 U                                              PA0001060309       Warner/Chappell Music, Inc.
 3549 Jesus, Take The Wheel                                        PA0001339680       Warner/Chappell Music, Inc.
 3550 Joe's Head                                                   PA0001204541       Warner/Chappell Music, Inc.
 3551 Just A Dream                                                 PA0001742365       Warner/Chappell Music, Inc.
 3552 Let's Take A Ride                                            PA0001133272       Warner/Chappell Music, Inc.
 3553 Little Miss Strange                                          Eu0000081092       Warner/Chappell Music, Inc.
 3554 Losing You                                                   PA0001637010       Warner/Chappell Music, Inc.
 3555 Molly's Chambers                                             PA0001204545       Warner/Chappell Music, Inc.
                                                                   EP0000061055
 3556 My Funny Valentine                                                              Warner/Chappell Music, Inc.
                                                                   R333857
 3557 Nothin' Else                                                 PA0001133267       Warner/Chappell Music, Inc.
 3558 Orange County Girl                                           PA0001166322       Warner/Chappell Music, Inc.
 3559 Position Of Power                                            PA0001868739       Warner/Chappell Music, Inc.
 3560 Push Up On Me                                                PA0001167699       Warner/Chappell Music, Inc.
 3561 Red Morning Light                                            PA0001204538       Warner/Chappell Music, Inc.
 3562 She's So Fine                                                Eu0000031444       Warner/Chappell Music, Inc.
 3563 So Amazing                                                   PA0001868740       Warner/Chappell Music, Inc.
 3564 Spiral Staircase                                             PA0001204544       Warner/Chappell Music, Inc.
 3565 Stand                                                        PA0001345399       Warner/Chappell Music, Inc.
 3566 Take Care                                                    PA0001841723       Warner/Chappell Music, Inc.
 3567 Take It From Here                                            PA0001133263       Warner/Chappell Music, Inc.
 3568 Talk About Our Love                                          PA0001281568       Warner/Chappell Music, Inc.
                                                                   Eu0000753362
 3569 The Legend Of John Henry's Hammer                                               Warner/Chappell Music, Inc.
                                                                   RE0000519119
 3570 Trani                                                        PA0001204542       Warner/Chappell Music, Inc.
 3571 Trip To Your Heart                                           PA0001750219       Warner/Chappell Music, Inc.
 3572 U Started It                                                 PA0001166323       Warner/Chappell Music, Inc.
 3573 Understand Your Man                                          Eu0000805018       Warner/Chappell Music, Inc.
 3574 Wasted Time                                                  PA0001204540       Warner/Chappell Music, Inc.
 3575 You Look So Good In Love                                     PAu000502409       Warner/Chappell Music, Inc.
 3576 Yummy                                                        PA0001166324       Warner/Chappell Music, Inc.
 3577 (Kissed You) Good Night                                      PA0001840707       WB Music Corp.
 3578 (Oh No) What You Got                                         PA0001149533       WB Music Corp.
 3579 (One Of Those) Crazy Girls                                   PA0001854435       WB Music Corp.
 3580 ***Flawless                                                  PA0001918122       WB Music Corp.
 3581 1+1                                                          PA0001861929       WB Music Corp.
 3582 A Welcome Burden                                             PA0001059185       WB Music Corp.
 3583 Addicted                                                     PA0001084656       WB Music Corp.
 3584 Afrodisiac                                                   PA0001236712       WB Music Corp.
 3585 All Her Love                                                 PA0001087582       WB Music Corp.
 3586 All I Ask For                                                PA0001146376       WB Music Corp.
 3587 All I Wanted                                                 PA0001676908       WB Music Corp.
 3588 All In The Name Of...                                        PA0000354504       WB Music Corp.
 3589 All Over The Road                                            PA0001859563       WB Music Corp.
 3590 Already Gone                                                 PA0001249431       WB Music Corp.
 3591 And The Radio Played                                         PA0001889065       WB Music Corp.
 3592 Anklebiters                                                  PA0001854436       WB Music Corp.
 3593 Announcement                                                 PA0001656977       WB Music Corp.
                                                                   PA0001352640
 3594 Avarice                                                                         WB Music Corp.
                                                                   PA0001296201
 3595 Aw Naw                                                       PA0001887674       WB Music Corp.
 3596 Awaken                                                       PA0001111236       WB Music Corp.
 3597 Ayo Technology                                               PA0001876618       WB Music Corp.
 3598 Baby You Belong                                              PA0001147137       WB Music Corp.
 3599 Back To School (Mini Maggit)                                 PA0001033072       WB Music Corp.
 3600 Bad Bitch                                                    PA0001245809       WB Music Corp.
 3601 Bad Boy Boogie                                               PA0000354502       WB Music Corp.
 3602 Bad News                                                     PA0001633768       WB Music Corp.
 3603 bang bang bang                                               PA0001750215       WB Music Corp.
 3604 Basement                                                     PA0001075310       WB Music Corp.
 3605 Battle-axe                                                   PA0001157470       WB Music Corp.
 3606 BBC                                                          PA0001858826       WB Music Corp.
 3607 Be Alone                                                     PA0001854435       WB Music Corp.




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                                Track                                  Reg. No.                         Plaintiff
 3608 Be Quiet And Drive                                           PA0000870906       WB Music Corp.
 3609 Believe                                                      PA0001111236       WB Music Corp.
 3610 Berzerk                                                      PA0001863184       WB Music Corp.
 3611 Best Thing I Never Had                                       PA0001752857       WB Music Corp.
 3612 Betty's a Bombshell                                          PA0001762863       WB Music Corp.
 3613 Beware                                                       PA0001373477       WB Music Corp.
 3614 Big Pimpin'/Papercut                                         PA0001080612       WB Music Corp.
 3615 Birthday Cake                                                PA0001841920       WB Music Corp.
 3616 Birthmark                                                    PA0000077635       WB Music Corp.
 3617 Black Moon                                                   PA0001336033       WB Music Corp.
 3618 Blessed Redeemer                                             PA0001686148       WB Music Corp.
 3619 Blood Brothers                                               PA0001870874       WB Music Corp.
 3620 Blue Clear Sky                                               PA0000828422       WB Music Corp.
 3621 Bored                                                        PA0000776635       WB Music Corp.
 3622 Born For This                                                PA0001595081       WB Music Corp.
 3623 Bottom                                                       PA0001225978       WB Music Corp.
 3624 Bound                                                        PA0001111236       WB Music Corp.
 3625 Bring Me Down                                                PA0001311759       WB Music Corp.
 3626 Broken Glass                                                 PA0001335215       WB Music Corp.
 3627 Brokenhearted                                                PA0000757404       WB Music Corp.
 3628 Brooklyn                                                     PA0001335215       WB Music Corp.
 3629 Buried Alive Interlude                                       PA0001869935       WB Music Corp.
 3630 Business                                                     PA0001118664       WB Music Corp.
 3631 California Gurls                                             PA0001753646       WB Music Corp.
 3632 California Gurls (Armand Van Helden Remix)                   PA0001753646       WB Music Corp.
 3633 Careful (Instrumental)                                       PA0001676905       WB Music Corp.
 3634 Carousel                                                     PA0001335214       WB Music Corp.
 3635 Change (In The House Of Flies)                               PA0001029983       WB Music Corp.
 3636 Change My Mind                                               PA0001204552       WB Music Corp.
 3637 Chasin' That Neon Rainbow                                    PA0000458323       WB Music Corp.
 3638 Chattahoochee                                                PA0000587430       WB Music Corp.
 3639 Check On It                                                  PA0001163316       WB Music Corp.
 3640 Cherry Waves                                                 PA0001373477       WB Music Corp.
 3641 Children Of The Korn                                         PA0001058922       WB Music Corp.
 3642 Chloe                                                        PA0001762863       WB Music Corp.
 3643 Circle The Drain                                             PA0001753641       WB Music Corp.
 3644 Clique                                                       PA0001913932       WB Music Corp.
 3645 Close Your Eyes and Count to Ten                             PA0001762863       WB Music Corp.
 3646 Closure                                                      PA0001859504       WB Music Corp.
 3647 Cloud 9                                                      PA0001262375       WB Music Corp.
 3648 Clumsy                                                       PA0001165468       WB Music Corp.
 3649 Coffee                                                       PA0001779668       WB Music Corp.
 3650 Colours                                                      PA0001397703       WB Music Corp.
 3651 Combat                                                       PA0001373477       WB Music Corp.
 3652 Come As You Are                                              PA0001236710       WB Music Corp.
                                                                   EP0000001893
 3653 Come Rain or Come Shine                                                         WB Music Corp.
                                                                   R547891
 3654 Comfortable Liar                                             PA0001859610       WB Music Corp.
 3655 Conflict                                                     PA0001000622       WB Music Corp.
 3656 Countdown                                                    PA0001861897       WB Music Corp.
 3657 Crash My Party                                               PA0001870878       WB Music Corp.
 3658 Crazy                                                        PA0001251376       WB Music Corp.
 3659 Crenshaw Punch / I'll Throw Rocks At You                     PA0001336033       WB Music Corp.
 3660 Criminal                                                     PA0001697247       WB Music Corp.
 3661 Cruel and Beautiful World                                    PA0001762863       WB Music Corp.
 3662 crushcrushcrush                                              PA0001595045       WB Music Corp.
 3663 Cry Me A River                                               PA0001266147       WB Music Corp.
 3664 Dai The Flu                                                  PA0000870906       WB Music Corp.
 3665 Damage                                                       PA0001395679       WB Music Corp.
 3666 Dance For You                                                PA0002096977       WB Music Corp.
 3667 Dance Real Slow                                              PA0001859563       WB Music Corp.
 3668 Dancing On Glass                                             PA0000354501       WB Music Corp.
 3669 Dangerously In Love                                          PA0000954078       WB Music Corp.
 3670 Daydreaming                                                  PA0001854435       WB Music Corp.
 3671 Deathblow                                                    PA0001157470       WB Music Corp.
 3672 Decadence                                                    PA0001296200       WB Music Corp.
 3673 Deceiver                                                     PA0001697227       WB Music Corp.
 3674 Dehumanized                                                  PA0001224644       WB Music Corp.




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                                 Track                                 Reg. No.                         Plaintiff
 3675 Deify                                                        PA0001296199       WB Music Corp.
 3676 Devour                                                       PA0001111236       WB Music Corp.
 3677 Digital Bath                                                 PA0001029983       WB Music Corp.
 3678 Dirt Off Your Shoulder/Lying From You                        PA0001937215       WB Music Corp.
 3679 Divide                                                       PA0001697247       WB Music Corp.
 3680 Don't Rock The Jukebox                                       PA0000525633       WB Music Corp.
 3681 Don't Wake Me Up                                             PA0001842282       WB Music Corp.
 3682 Don't Wanna Think About You                                  PA0001238984       WB Music Corp.
 3683 Dopefriend's Diner                                           PA0001696337       WB Music Corp.
 3684 Double Bubble Trouble                                        PA0001919079       WB Music Corp.
 3685 Down With The Sickness                                       PA0001000622       WB Music Corp.
 3686 Dressin' Up                                                  PA0001816541       WB Music Corp.
 3687 Drift And Die                                                PA0001075312       WB Music Corp.
 3688 Droppin' Plates                                              PA0001000622       WB Music Corp.
 3689 Drumming Song                                                PA0001892793       WB Music Corp.
 3690 E.T.                                                         PA0001753644       WB Music Corp.
 3691 Elevator                                                     PA0001647059       WB Music Corp.
 3692 End Of Time                                                  PA0001861922       WB Music Corp.
 3693 Enough                                                       PA0001697242       WB Music Corp.
 3694 Entombed                                                     PA0000849262       WB Music Corp.
 3695 Everything                                                   PA0001335214       WB Music Corp.
 3696 Everytime                                                    PA0001251376       WB Music Corp.
 3697 F*ckwithmeyouknowigotit                                      PA0001858846       WB Music Corp.
 3698 Facade                                                       PA0001697247       WB Music Corp.
 3699 Fall                                                         PA0001884084       WB Music Corp.
 3700 Fast In My Car                                               PA0001854436       WB Music Corp.
 3701 Fear                                                         PA0001000622       WB Music Corp.
 3702 Feeling Sorry                                                PA0001676906       WB Music Corp.
 3703 Fences                                                       PA0001595053       WB Music Corp.
 3704 Finally                                                      PA0001236713       WB Music Corp.
 3705 Fireal                                                       PA0000776635       WB Music Corp.
 3706 Firework                                                     PA0001753920       WB Music Corp.
 3707 Five Years Dead                                              PA0000332227       WB Music Corp.
 3708 Focus                                                        PA0001236716       WB Music Corp.
 3709 For A Pessimist, I'm Pretty Optimistic                       PA0001595045       WB Music Corp.
 3710 For My Dawgs                                                 PA0001847144       WB Music Corp.
                                                                   PAu002635078
 3711 Forever                                                                         WB Music Corp.
                                                                   PA0001114104
 3712 Forfeit                                                      PA0001859504       WB Music Corp.
                                                                   PA0001352640
 3713 Forgiven                                                                        WB Music Corp.
                                                                   PA0001296201
 3714 Freak Of The World                                           PA0001225980       WB Music Corp.
 3715 Fu-Gee-La                                                    PA0000794856       WB Music Corp.
 3716 Future                                                       PA0001854435       WB Music Corp.
 3717 Gauze                                                        PA0001849262       WB Music Corp.
 3718 Get Your Money Up                                            PA0001881522       WB Music Corp.
 3719 Gladiator                                                    PA0001731495       WB Music Corp.
 3720 God Must Hate Me                                             PA0001084657       WB Music Corp.
 3721 God Of The Mind                                              PA0001045439       WB Music Corp.
 3722 Goon Squad                                                   PA0000849262       WB Music Corp.
 3723 Gorilla                                                      PA0001869823       WB Music Corp.
 3724 Graphic Nature                                               PA0000849262       WB Music Corp.
 3725 Grow Up                                                      PA0001854435       WB Music Corp.
 3726 Guarded                                                      PA0001296198       WB Music Corp.
 3727 Gunz Come Out                                                PA0001281577       WB Music Corp.
 3728 Hallelujah                                                   PA0001595045       WB Music Corp.
 3729 Hard                                                         PA0001711867       WB Music Corp.
 3730 Hate                                                         PA0001711046       WB Music Corp.
 3731 Hate To See Your Heart Break                                 PA0001854435       WB Music Corp.
 3732 Haunted                                                      PA0001697247       WB Music Corp.
 3733 Have You Seen Her                                            PA0001087579       WB Music Corp.
 3734 He Won't Hurt You                                            PA0001087585       WB Music Corp.
 3735 Headup                                                       PA0000870907       WB Music Corp.
 3736 Heartache That Don't Stop Hurting                            PA0001727379       WB Music Corp.
 3737 Heartland                                                    PA0000643056       WB Music Corp.
 3738 Hello                                                        PA0001789865       WB Music Corp.
 3739 Hello                                                        PA0000839504       WB Music Corp.
 3740 Hello World                                                  PA0001896735       WB Music Corp.




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                                Track                                  Reg. No.                         Plaintiff
 3741 Here In The Real World                                       PA0000458321       WB Music Corp.
 3742 Hexagram                                                     PA0001157470       WB Music Corp.
 3743 Hey Hey What Can I Do?                                       Eu0000222687       WB Music Corp.
 3744 Hip Hop Star                                                 PA0001208970       WB Music Corp.
 3745 Hold On, We're Going Home                                    PA0001891428       WB Music Corp.
 3746 Holding On                                                   PA0001644614       WB Music Corp.
 3747 Hole In The Earth                                            PA0001373477       WB Music Corp.
 3748 Hot N Cold (Innerpartysystem Main)                           PA0001697567       WB Music Corp.
 3749 Hot N Cold (Manhattan Clique Remix Radio Edit)               PA0001697567       WB Music Corp.
 3750 Human Nature                                                 PA0000158773       WB Music Corp.
 3751 Hummingbird Heartbeat                                        PA0001753638       WB Music Corp.
 3752 I Can Wait Forever                                           PA0001644607       WB Music Corp.
                                                                   PAu002504855
 3753 I Feel Like I'm Forgetting Something                                            WB Music Corp.
                                                                   PA0001120877
 3754 I Just Wanna F.                                              PA0001778193       WB Music Corp.
 3755 I Tried                                                      PA0001236714       WB Music Corp.
 3756 I Wanna Luv U                                                PA0001087576       WB Music Corp.
 3757 I Won't Be There                                             PA0001084657       WB Music Corp.
 3758 I'd Do Anything                                              PA0001084655       WB Music Corp.
 3759 I'm Alive                                                    PA0001296200       WB Music Corp.
 3760 I'm Just A Kid                                               PA0001084655       WB Music Corp.
 3761 I'm So Sure                                                  PA0001669444       WB Music Corp.
 3762 If I Could Love You                                          PA0001657879       WB Music Corp.
 3763 If We've Ever Needed You                                     PA0001686148       WB Music Corp.
 3764 Indestructible                                               PA0001697227       WB Music Corp.
 3765 Inhale                                                       PA0001731503       WB Music Corp.
 3766 Inside The Fire                                              PA0001697227       WB Music Corp.
 3767 Interlude: Holiday                                           PA0001854437       WB Music Corp.
 3768 Interlude: I'm Not Angry Anymore                             PA0001854435       WB Music Corp.
 3769 Interlude: Moving On                                         PA0001854435       WB Music Corp.
 3770 Intoxication                                                 PA0001111236       WB Music Corp.
 3771 It Matters To Me                                             PAu001966659       WB Music Corp.
 3772 It's Alright                                                 PA0001087587       WB Music Corp.
 3773 Itchin' On A Photograph                                      PA0001762863       WB Music Corp.
 3774 Izzo/In The End                                              PA0001038342       WB Music Corp.
 3775 Jesus, Hold Me Now                                           PA0001686148       WB Music Corp.
 3776 Jigga What/Faint                                             PA0001937227       WB Music Corp.
 3777 Joyful, Joyful                                               PA0001686148       WB Music Corp.
 3778 Jump                                                         PA0001251376       WB Music Corp.
 3779 Just Stop                                                    PA0001296198       WB Music Corp.
 3780 Karmageddon                                                  PA0001919074       WB Music Corp.
 3781 Keep Dancin' On Me                                           PA0001659055       WB Music Corp.
 3782 Knife Prty                                                   PA0001029983       WB Music Corp.
 3783 Last Friday Night (T.G.I.F.)                                 PA0001753637       WB Music Corp.
 3784 Last Hope                                                    PA0001854435       WB Music Corp.
 3785 Leathers                                                     PA0000849262       WB Music Corp.
 3786 Let Me Blow Ya Mind                                          PA0001060407       WB Music Corp.
 3787 Let The Flames Begin                                         PA0001595049       WB Music Corp.
 3788 Lhabia                                                       PA0000870906       WB Music Corp.
 3789 Liberate                                                     PA0001111236       WB Music Corp.
 3790 Lifter                                                       PA0000776635       WB Music Corp.
 3791 Light Up                                                     PA0001732180       WB Music Corp.
 3792 Like A Surgeon                                               PA0001659058       WB Music Corp.
 3793 Little Man                                                   PA0001318139       WB Music Corp.
 3794 Livin' On Love                                               PA0000727505       WB Music Corp.
 3795 Locked Out of Heaven                                         PA0001869823       WB Music Corp.
 3796 Look In My Eyes                                              PA0001245810       WB Music Corp.
 3797 Looking Up                                                   PA0001676905       WB Music Corp.
 3798 Looks That Kill                                              PA0000193924       WB Music Corp.
 3799 Lost                                                         PA0001669756       WB Music Corp.
 3800 Love Her Like She's Leavin'                                  PA0001769705       WB Music Corp.
 3801 Love On Top                                                  PA0001862938       WB Music Corp.
 3802 Love Them Like Jesus                                         PA0001301680       WB Music Corp.
 3803 Love Will Save Your Soul                                     PA0001762863       WB Music Corp.
 3804 Lovely Cup                                                   PA0001762863       WB Music Corp.
 3805 Lucky You                                                    PA0001157470       WB Music Corp.
 3806 Make Her Say                                                 PA0001847910       WB Music Corp.
 3807 Marvins Room / Buried Alive Interlude                        PA0001869935       WB Music Corp.




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                              Track                                    Reg. No.                         Plaintiff
 3808 MATANGI                                                      PA0001919076       WB Music Corp.
 3809 Me & U                                                       PA0001627318       WB Music Corp.
 3810 Me Against The World                                         PA0001251376       WB Music Corp.
 3811 Meaning Of Life                                              PA0001000622       WB Music Corp.
 3812 Meet You There                                               PA0001084656       WB Music Corp.
 3813 Merry Go Round                                               PA0001657844       WB Music Corp.
 3814 Midnight In Montgomery                                       PA0000533558       WB Music Corp.
 3815 Minerva                                                      PA0001157470       WB Music Corp.
 3816 Minus Blindfold                                              PA0000776635       WB Music Corp.
 3817 Misguided Ghosts                                             PA0001676906       WB Music Corp.
 3818 Mistress                                                     PA0001111236       WB Music Corp.
 3819 Moana                                                        PA0001157470       WB Music Corp.
 3820 Moonshine                                                    PA0001669444       WB Music Corp.
 3821 Murder To Excellence                                         PA0001816414       WB Music Corp.
 3822 My Alien                                                     PA0001084656       WB Music Corp.
 3823 My Dad's Gone Crazy                                          PA0001118665       WB Music Corp.
 3824 Naked Kids                                                   PA0001762863       WB Music Corp.
 3825 Never Change                                                 PA0001311759       WB Music Corp.
 3826 Never Enough                                                 PA0001284523       WB Music Corp.
 3827 Never Let Me Down                                            PA0001159068       WB Music Corp.
 3828 Never Say Never                                              PA0000949112       WB Music Corp.
 3829 New York Minute: Vacation                                    PA0001251377       WB Music Corp.
 3830 Next 2 You                                                   PA0001335216       WB Music Corp.
 3831 No Angel                                                     PA0001918140       WB Music Corp.
 3832 No Hands                                                     PA0001739078       WB Music Corp.
 3833 No Love                                                      PA0001644610       WB Music Corp.
 3834 No Miracles                                                  PA0001896740       WB Music Corp.
 3835 No Trash in My Trailer                                       PA0001056014       WB Music Corp.
 3836 Nobody Feelin' No Pain                                       PA0001904211       WB Music Corp.
 3837 Nobody Told Me                                               PA0001075310       WB Music Corp.
 3838 Nosebleed                                                    PA0000776635       WB Music Corp.
 3839 Not Like The Movies                                          PA0001753643       WB Music Corp.
 3840 Nothing Left To Lose                                         PA0001249431       WB Music Corp.
 3841 Notorious Thugs                                              PA0001005836       WB Music Corp.
 3842 Now                                                          PA0001854435       WB Music Corp.
 3843 Numb                                                         PA0001000622       WB Music Corp.
 3844 Numb/Encore                                                  PA0001160198       WB Music Corp.
 3845 Oceans                                                       PA0001858843       WB Music Corp.
 3846 Oh Timbaland                                                 PA0001759709       WB Music Corp.
 3847 Oh!                                                          PA0001245811       WB Music Corp.
 3848 On And On                                                    PA0001745026       WB Music Corp.
 3849 On My Highway                                                PA0001935081       WB Music Corp.
 3850 One and Only                                                 PA0001759715       WB Music Corp.
 3851 One Day                                                      PA0001084657       WB Music Corp.
 3852 One For Me                                                   PA0001396264       WB Music Corp.
 3853 One Weak                                                     PA0000776635       WB Music Corp.
 3854 Onset                                                        PA0001335215       WB Music Corp.
 3855 Out Like That                                                PA0001870872       WB Music Corp.
 3856 Out of Line                                                  PA0001335214       WB Music Corp.
 3857 Out Of My Head                                               PA0001153778       WB Music Corp.
 3858 Out on the Town                                              PA0001791458       WB Music Corp.
 3859 Overburdened                                                 PA0001296200       WB Music Corp.
                                                                   PA0001352640
 3860 Pain Redefined                                                                  WB Music Corp.
                                                                   PA0001296201
 3861 Parasite                                                     PA0001677916       WB Music Corp.
 3862 Part II                                                      PA0001854436       WB Music Corp.
 3863 Part Of Me                                                   PA0001845827       WB Music Corp.
 3864 Passenger                                                    PA0001029982       WB Music Corp.
 3865 Passenger                                                    PA0001911867       WB Music Corp.
 3866 Peacock                                                      PA0001753921       WB Music Corp.
 3867 Perfect                                                      PA0001084657       WB Music Corp.
 3868 Perfect Insanity                                             PA0001687498       WB Music Corp.
 3869 Perfect World                                                PA0001251377       WB Music Corp.
 3870 Pink Cellphone                                               PA0001373477       WB Music Corp.
 3871 Pink Maggit                                                  PA0001029983       WB Music Corp.
 3872 Points Of Authority/99 Problems/One Step Closer              PA0001937228       WB Music Corp.
 3873 Poltergeist                                                  PA0000849262       WB Music Corp.
 3874 Praise You In This Storm                                     PA0001301680       WB Music Corp.




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                                 Track                                 Reg. No.                         Plaintiff
 3875 Prayer                                                       PA0001111236       WB Music Corp.
 3876 Pretty Hurts                                                 PA0001918127       WB Music Corp.
 3877 Promise                                                      PA0001251378       WB Music Corp.
 3878 Proof                                                        PA0001854436       WB Music Corp.
 3879 Punch Drunk Love                                             PA0001656968       WB Music Corp.
 3880 Pushin'                                                      PA0001087577       WB Music Corp.
                                                                   EP0000162847
 3881 Quando, Quando, Quando (with Nelly Furtado)                                     WB Music Corp.
                                                                   RE0000451824
 3882 Radiate                                                      PA0001657838       WB Music Corp.
 3883 Red Camaro                                                   PA0001878244       WB Music Corp.
 3884 Red Lipstick                                                 PA0001841921       WB Music Corp.
 3885 Remember                                                     PA0001111236       WB Music Corp.
 3886 Renegade                                                     PA0001038351       WB Music Corp.
 3887 Rhinestone Cowboy                                            Eu0000459595       WB Music Corp.
 3888 Rich Girl                                                    PA0001274357       WB Music Corp.
 3889 Right For Me                                                 PA0001149533       WB Music Corp.
 3890 Roar                                                         PA0001861206       WB Music Corp.
 3891 Rock The BeaT                                                PA0001679015       WB Music Corp.
 3892 Rock The House                                               PA0001066507       WB Music Corp.
 3893 Rockstar 101                                                 PA0001711708       WB Music Corp.
 3894 Romantic Dreams                                              PA0001849262       WB Music Corp.
 3895 Rosemary                                                     PA0001849262       WB Music Corp.
 3896 Round Midnight                                               R518400            WB Music Corp.
 3897 Run The World (Girls)                                        PA0001861905       WB Music Corp.
 3898 Running Out of Time                                          PA0001644610       WB Music Corp.
 3899 Rx Queen                                                     PA0001029983       WB Music Corp.
                                                                   PA0001352640
 3900 Sacred Lie                                                                      WB Music Corp.
                                                                   PA0001296201
 3901 Sadiddy                                                      PA0001236712       WB Music Corp.
 3902 Said                                                         PA0001153778       WB Music Corp.
 3903 Same Girl                                                    PAu003411255       WB Music Corp.
 3904 Same Old You                                                 PA0001789997       WB Music Corp.
 3905 Save You                                                     PA0001644614       WB Music Corp.
 3906 Say It                                                       PA0001641339       WB Music Corp.
 3907 Say What You Say                                             PA0001118663       WB Music Corp.
 3908 Schoolin' Life                                               PA0002096976       WB Music Corp.
 3909 Sealion                                                      PA0001382155       WB Music Corp.
 3910 Send The Pain Below                                          PA0001859504       WB Music Corp.
 3911 Sex 4 Suga                                                   PA0001731496       WB Music Corp.
 3912 She Couldn't Change Me                                       PA0001095336       WB Music Corp.
                                                                   PA0000586645
 3913 She's Got the Rhythm (And I Got the Blues)                                      WB Music Corp.
                                                                   PAu001522810
 3914 Shit Hits The Fan                                            PA0001245810       WB Music Corp.
 3915 Shorty (Got Her Eyes On Me)                                  PA0001087581       WB Music Corp.
 3916 Should I Go                                                  PA0001236715       WB Music Corp.
 3917 Shout Out To The Real                                        PA0001852372       WB Music Corp.
 3918 Shut Up!                                                     PA0001251377       WB Music Corp.
 3919 Sickened                                                     PA0001790006       WB Music Corp.
 3920 Single Ladies (Put A Ring On It)                             PA0001630370       WB Music Corp.
 3921 Sister Rose                                                  PA0000627931       WB Music Corp.
 3922 Slow                                                         PA0001762863       WB Music Corp.
 3923 Slow Dance                                                   PA0001767256       WB Music Corp.
 3924 Smash Into You                                               PA0001624967       WB Music Corp.
 3925 Snake In The Grass                                           PA0001739078       WB Music Corp.
 3926 So Far                                                       PA0001335214       WB Music Corp.
 3927 Somebody Stand By Me                                         PA0000705224       WB Music Corp.
                                                                   E00000651512
 3928 Someone To Watch Over Me                                                        WB Music Corp.
                                                                   EP234827
 3929 Sons Of Plunder                                              PA0001296200       WB Music Corp.
 3930 Sorry                                                        PA0001335216       WB Music Corp.
 3931 Spin You Around                                              PA0001249431       WB Music Corp.
 3932 Spun                                                         PA0001762863       WB Music Corp.
 3933 Still Into You                                               PA0001854435       WB Music Corp.
 3934 Stricken                                                     PA0001296198       WB Music Corp.
 3935 Stunt on Ya Haters                                           PA0001977398       WB Music Corp.
 3936 Stupify                                                      PA0001000622       WB Music Corp.
 3937 Sumthin' For Nuthin'                                         PA0000332225       WB Music Corp.
 3938 Sunshine                                                     PA0001335215       WB Music Corp.




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                                 Track                                 Reg. No.                         Plaintiff
 3939 Superpower                                                   PA0001918119       WB Music Corp.
 3940 Swerve City                                                  PA0001849262       WB Music Corp.
 3941 Sydney                                                       PA0001225980       WB Music Corp.
 3942 Take My Hand                                                 PA0001644614       WB Music Corp.
 3943 Teenage Dream                                                PA0001753645       WB Music Corp.
 3944 Teenage Dream (Kaskade Club Remix)                           PA0001753645       WB Music Corp.
 3945 Tell Me What Your Name Is                                    PA0001659058       WB Music Corp.
 3946 Tempest                                                      PA0001849262       WB Music Corp.
 3947 Ten Thousand Fists                                           PA0001347236       WB Music Corp.
 3948 Thank You                                                    PA0001251377       WB Music Corp.
 3949 That's How You Like It                                       PA0001131257       WB Music Corp.
 3950 That's What You Get                                          PA0001595073       WB Music Corp.
 3951 The Chill Of An Early Fall                                   PA0000472652       WB Music Corp.
 3952 The Curse                                                    PA0001697242       WB Music Corp.
 3953 The Game                                                     PA0001000622       WB Music Corp.
 3954 The Last Song                                                PA0001704476       WB Music Corp.
 3955 The Lazy Song                                                PA0001869989       WB Music Corp.
 3956 The Night                                                    PA0001697227       WB Music Corp.
 3957 The Night I Fell in Love                                     PA0000259621       WB Music Corp.
 3958 The One That Got Away                                        PA0001753639       WB Music Corp.
 3959 The Real Slim Shady                                          PA0001040874       WB Music Corp.
 3960 The Red                                                      PA0001859504       WB Music Corp.
 3961 The Setup                                                    PA0001245808       WB Music Corp.
 3962 The Truth                                                    PA0001935087       WB Music Corp.
 3963 The Way You Love Me                                          PA0000977102       WB Music Corp.
 3964 The Wedding Song                                             PA0000627930       WB Music Corp.
 3965 The Worst Day Ever                                           PA0001084655       WB Music Corp.
                                                                   PA0001225979
 3966 Think                                                                           WB Music Corp.
                                                                   PA0001204554
 3967 Think About It (Don't Call My Crib)                          PA0001087584       WB Music Corp.
 3968 Thinking About You                                           PA0001657895       WB Music Corp.
 3969 This Luv                                                     PA0001087578       WB Music Corp.
 3970 This Moment                                                  PA0001599219       WB Music Corp.
 3971 Till I Get There                                             PA0001739115       WB Music Corp.
 3972 Time Flies                                                   PA0001225979       WB Music Corp.
 3973 Time To Say Goodbye                                          PA0001644605       WB Music Corp.
 3974 To Know You                                                  PA0001686146       WB Music Corp.
 3975 Tommie Sunshine's Megasix Smash-Up                           PA0001753640       WB Music Corp.
 3976 Tongue Tied                                                  PA0001762863       WB Music Corp.
 3977 Torn                                                         PA0001697247       WB Music Corp.
 3978 Touch My Body                                                PA0001769539       WB Music Corp.
 3979 Treasure                                                     PA0001869830       WB Music Corp.
 3980 Turn It Off                                                  PA0001676905       WB Music Corp.
 3981 U Know What's Up                                             PA0001087586       WB Music Corp.
 3982 U,U,D,D,L,R,L,R,A,B,Select,Start                             PA0001373477       WB Music Corp.
 3983 Umbrella                                                     PA0001602373       WB Music Corp.
 3984 Until The End Of Time                                        PA0001053379       WB Music Corp.
 3985 Until The Whole World Hears                                  PA0001686149       WB Music Corp.
 3986 Up Out My Face                                               PA0001677862       WB Music Corp.
 3987 Versus                                                       PA0001858836       WB Music Corp.
 3988 Violence Fetish                                              PA0001000622       WB Music Corp.
 3989 Voices                                                       PA0001000622       WB Music Corp.
 3990 Want                                                         PA0001000622       WB Music Corp.
 3991 We Are Broken                                                PA0001595053       WB Music Corp.
 3992 What Happened To You?                                        PA0001849262       WB Music Corp.
 3993 When Girls Telephone Boys                                    PA0001157470       WB Music Corp.
 3994 When I'm With You                                            PA0001084656       WB Music Corp.
 3995 When It Rains                                                PA0001595076       WB Music Corp.
 3996 Who Am I Living For?                                         PA0001753640       WB Music Corp.
                                                                   PAu000755785
 3997 Who's Gonna Fill Their Shoes                                                    WB Music Corp.
                                                                   PA0000258925
 3998 Why They Call It Falling                                     PA0001032265       WB Music Corp.
 3999 www.memory                                                   PA0001013750       WB Music Corp.
 4000 XO                                                           PA0001918135       WB Music Corp.
 4001 Y.A.L.A.                                                     PA0001919078       WB Music Corp.
 4002 You Can't Win                                                PA0001789856       WB Music Corp.
 4003 You Love Me                                                  PA0001789870       WB Music Corp.
 4004 You're All I Need                                            PA0000354505       WB Music Corp.




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                                 Track                                 Reg. No.                         Plaintiff
 4005 Your Love Is A Lie                                           PA0001644614       WB Music Corp.
 4006 (Drop Dead) Beautiful                                        PA0001750218       WB Music Corp.
 4007 21 Questions                                                 PA0001147207       WB Music Corp.
 4008 A Flat                                                       PA0000951000       WB Music Corp.
 4009 All I Want                                                   PA0001608904       WB Music Corp.
 4010 Already There                                                PA0001768165       WB Music Corp.
 4011 And I Waited                                                 PA0001733326       WB Music Corp.
 4012 B.B.K.                                                       PA0000776191       WB Music Corp.
 4013 Back Down                                                    PA0001248732       WB Music Corp.
 4014 Believe                                                      PA0001608897       WB Music Corp.
 4015 Blow Away                                                    PA0001157386       WB Music Corp.
 4016 Break Away                                                   PA0001608902       WB Music Corp.
 4017 Can't Believe                                                PA0001060038       WB Music Corp.
 4018 Change                                                       PA0001029983       WB Music Corp.
 4019 Change                                                       PA0001060039       WB Music Corp.
 4020 Could It Be                                                  PA0001157385       WB Music Corp.
 4021 Crawl                                                        PA0000951000       WB Music Corp.
 4022 Crazy                                                        PA0001858858       WB Music Corp.
 4023 Cross To Bear                                                PA0001287783       WB Music Corp.
 4024 Dead Bodies Everywhere                                       PA0000776191       WB Music Corp.
 4025 Epiphany                                                     PA0001060035       WB Music Corp.
 4026 Everything Changes                                           PA0001287780       WB Music Corp.
 4027 Everything Changes                                           PA0001287780       WB Music Corp.
 4028 Fade                                                         PA0001060039       WB Music Corp.
 4029 Failing                                                      PA0001763314       WB Music Corp.
 4030 Falling                                                      PA0001287783       WB Music Corp.
 4031 Falling Down                                                 PA0001157385       WB Music Corp.
 4032 Fill Me Up                                                   PA0001157384       WB Music Corp.
 4033 For You                                                      PA0001060038       WB Music Corp.
 4034 Fray                                                         PA0001157384       WB Music Corp.
 4035 Freak On A Leash                                             PA0000776191       WB Music Corp.
 4036 Go                                                           PA0001302099       WB Music Corp.
 4037 Got The Life                                                 PA0000776191       WB Music Corp.
 4038 Hands All Over                                               PA0001784067       WB Music Corp.
 4039 Haterade                                                     PA0001778471       WB Music Corp.
 4040 Heat                                                         PA0001248730       WB Music Corp.
 4041 Hell                                                         PA0001310671       WB Music Corp.
 4042 Home                                                         PA0000951000       WB Music Corp.
 4043 Homies                                                       PA0001847137       WB Music Corp.
 4044 How About You                                                PA0001157383       WB Music Corp.
 4045 I Kissed A Girl                                              PA0001686870       WB Music Corp.
 4046 I'm Still Breathing                                          PA0001686870       WB Music Corp.
 4047 If I Can't                                                   PA0001248731       WB Music Corp.
 4048 If You Can Afford Me                                         PA0001687085       WB Music Corp.
 4049 Inhale                                                       PA0001395698       WB Music Corp.
 4050 Intro                                                        PA0001157386       WB Music Corp.
 4051 It's Been a While                                            PA0001060039       WB Music Corp.
 4052 It's On!                                                     PA0000776191       WB Music Corp.
 4053 Jam For The Ladies                                           PA0001075467       WB Music Corp.
 4054 Jar Of Hearts                                                PA0001750215       WB Music Corp.
 4055 Jump                                                         PA0001251376       WB Music Corp.
 4056 Just Go                                                      PA0000951000       WB Music Corp.
 4057 Justin                                                       PA0000776191       WB Music Corp.
 4058 King Of All Excuses                                          PA0001287780       WB Music Corp.
 4059 Last Chance                                                  PA0001784067       WB Music Corp.
 4060 Layne                                                        PA0001157384       WB Music Corp.
 4061 Lost Along The Way                                           PA0001608902       WB Music Corp.
 4062 Make It Out Alive                                            PA0001733326       WB Music Corp.
 4063 Mannequin                                                    PA0001687076       WB Music Corp.
 4064 Me                                                           PA0000951000       WB Music Corp.
 4065 Me Myself And I                                              PA0001733326       WB Music Corp.
 4066 Miracle                                                      PA0001595049       WB Music Corp.
 4067 Mudshovel                                                    PA0000951000       WB Music Corp.
 4068 Mudshuvel                                                    PA0001084423       WB Music Corp.
 4069 Musical Ride                                                 PA0001733326       WB Music Corp.
 4070 MX                                                           PA0000870906       WB Music Corp.
 4071 My Gift To You                                               PA0000776191       WB Music Corp.
 4072 Not Again                                                    PA0001763314       WB Music Corp.




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                                                                     EXHIBIT B - MUSICAL COMPOSITIONS

                               Track                                   Reg. No.                                              Plaintiff
 4073 Nothing Left To Say                                          PA0001608897       WB Music Corp.
 4074 Now                                                          PA0001763314       WB Music Corp.
 4075 One                                                          PA0001251378       WB Music Corp.
 4076 One Of The Boys                                              PA0001687082       WB Music Corp.
 4077 Open Your Eyes                                               PA0001060039       WB Music Corp.
 4078 Outside                                                      PA0001041716       WB Music Corp.
 4079 Paper Jesus                                                  PA0001287782       WB Music Corp.
 4080 Paper Wings                                                  PA0001763314       WB Music Corp.
 4081 Pardon Me                                                    PA0001608902       WB Music Corp.
 4082 Payback                                                      PA0001969099       WB Music Corp.
 4083 Pearl                                                        PA0001753642       WB Music Corp.
 4084 Please                                                       PA0001287783       WB Music Corp.
 4085 Pressure                                                     PA0001060036       WB Music Corp.
 4086 Pretty                                                       PA0000776191       WB Music Corp.
 4087 Price To Play                                                PA0001157383       WB Music Corp.
 4088 Raining Again                                                PA0001608897       WB Music Corp.
 4089 Rainy Day Parade                                             PA0001608902       WB Music Corp.
 4090 Raw                                                          PA0000951000       WB Music Corp.
 4091 Reality                                                      PA0001157385       WB Music Corp.
 4092 Reclaim My Place                                             PA0000776191       WB Music Corp.
 4093 Reply                                                        PA0001287780       WB Music Corp.
 4094 Right Here                                                   PA0001287782       WB Music Corp.
 4095 Run Away                                                     PA0001287782       WB Music Corp.
 4096 Safe Place                                                   PA0001060038       WB Music Corp.
 4097 Schizophrenic Conversations                                  PA0001287782       WB Music Corp.
 4098 Seed                                                         PA0000776191       WB Music Corp.
 4099 Self Inflicted                                               PA0001689948       WB Music Corp.
 4100 Shut It Down                                                 PA0001728551       WB Music Corp.
 4101 So Far Away                                                  PA0001157383       WB Music Corp.
 4102 Something To Remind You                                      PA0001763314       WB Music Corp.
 4103 Spleen                                                       PA0000951000       WB Music Corp.
 4104 Stupid Girls                                                 PA0001320435       WB Music Corp.
 4105 Suffer                                                       PA0001060038       WB Music Corp.
 4106 Suffocate                                                    PA0000951000       WB Music Corp.
 4107 Take A Breath                                                PA0001763314       WB Music Corp.
 4108 Take It                                                      PA0001060037       WB Music Corp.
 4109 Take This                                                    PA0001287781       WB Music Corp.
 4110 Tangled Up In You                                            PA0001608903       WB Music Corp.
 4111 Tear Da Roof Off                                             PA0001728662       WB Music Corp.
 4112 The Bottom                                                   PA0001763314       WB Music Corp.
 4113 The Corner                                                   PA0001608904       WB Music Corp.
 4114 The Way I Am                                                 PA0001608904       WB Music Corp.
 4115 These Walls                                                  PA0001733326       WB Music Corp.
 4116 Thinking 'Bout Somethin'                                     PA0001733326       WB Music Corp.
 4117 This Is It                                                   PA0001608897       WB Music Corp.
 4118 Throw It All Away                                            PA0001763314       WB Music Corp.
 4119 Tonight                                                      PA0001157385       WB Music Corp.
 4120 UCUD GEDIT                                                   PA0001851073       WB Music Corp.
 4121 Upgrade U                                                    PA0001384822       WB Music Corp.
 4122 Ur So Gay                                                    PA0001686689       WB Music Corp.
 4123 Use Me Up                                                    PA0001733326       WB Music Corp.
 4124 Voice In The Chorus                                          PA0001733326       WB Music Corp.
 4125 Waiting For This                                             PA0001733326       WB Music Corp.
 4126 Waking Up In Vegas                                           PA0001687508       WB Music Corp.
 4127 Wannabe                                                      PA0001763316       WB Music Corp.
 4128 We are Young                                                 PA0001791456       WB Music Corp.
 4129 What A World                                                 PA0001395699       WB Music Corp.
 4130 Yesterday                                                    PA0001157383       WB Music Corp.
 4131 Zoe Jane                                                     PA0001157384       WB Music Corp.
 4132 Mr. Know It All                                              PA0001851190       WB Music Corp. / Universal Music Corp.
 4133 Can't Stand The Rain                                         PA0001864761       WB Music Corp. / W.B.M. Music Corp.
 4134 Goodbye Town                                                 PA0001864759       WB Music Corp. / W.B.M. Music Corp.
 4135 Life As We Know It                                           PA0001879182       WB Music Corp. / W.B.M. Music Corp.
 4136 Long Teenage Goodbye                                         PA0001867241       WB Music Corp. / W.B.M. Music Corp.
 4137 107                                                          PA0001022575       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4138 2 Reasons                                                    PA0001865859       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4139 All The Same                                                 PA0000914816       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4140 Ass Like That                                                PA0001284525       WB Music Corp. / Warner-Tamerlane Publishing Corp.




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                                                                     EXHIBIT B - MUSICAL COMPOSITIONS

                                  Track                                Reg. No.                                           Plaintiff
 4141 Beach Is Better                                              PA0001858808       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4142 Big Weenie                                                   PA0001284525       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4143 Bitches & Bottles (Let's Get It Started)                     PA0001852363       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4144 Blow Remix                                                   PA0001918139       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4145 Blue                                                         PA0001918115       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4146 Bricksquad                                                   PA0001739083       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4147 Bustin' At 'Em                                               PA0001739055       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4148 But I Will                                                   PA0000669975       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4149 California King Bed                                          PA0001771890       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4150 Chasing Sirens                                               PA0001022575       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4151 Check Me Out                                                 PA0001865883       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4152 Coffee Shop                                                  PA0001858764       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4153 Crack A Bottle                                               PA0001848051       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4154 Crown                                                        PA0001858816       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4155 Dissention                                                   PA0000914816       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4156 Do You Know What You Have                                    PA0001882749       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4157 Dramatica                                                    PA0001022575       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4158 Drive                                                        PA0001870025       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4159 Drunk in Love                                                PA0001918132       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4160 Encore                                                       PA0001284526       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4161 Eva                                                          PA0001022575       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4162 Evil Deeds                                                   PA0001284525       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4163 Eyes-Radio-Lies                                              PA0001022575       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4164 F.U.T.W.                                                     PA0001858842       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4165 F**k The Club Up                                             PA0001847136       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4166 F**k This Industry                                           PA0001739132       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4167 Fetisha                                                      PA0000914814       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4168 Fiction (Dreams In Digital)                                  PA0001022579       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4169 G Check                                                      PA0001739116       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4170 Gimme Whatcha Got                                            PA0001732722       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4171 Grove St. Party                                              PA0001739117       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4172 Haunted                                                      PA0001918115       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4173 Heaven                                                       PA0001915115       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4174 Holy Grail                                                   PA0001858794       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4175 How Forever Feels                                            PA0001044172       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4176 Jealous                                                      PA0001918143       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4177 La Familia                                                   PA0001858842       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4178 Lift Off                                                     PA0001768255       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4179 Live By The Gun                                              PA0001746038       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4180 Living The Life                                              PA0001648817       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4181 Love Money Party                                             PA0001870000       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4182 Loyal                                                        PA0001912898       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4183 Made In America                                              PA0001768256       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4184 Mirror                                                       PA0001842434       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4185 Mosh                                                         PA0001284524       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4186 Move That Dope                                               PA0001888725       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4187 My Wild Frontier                                             PA0000901850       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4188 Neva End                                                     PA0001856290       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4189 New Day                                                      PA0001941862       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4190 Nickels And Dimes                                            PA0001858821       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4191 No Love                                                      PA0001735858       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4192 Opticon                                                      PA0001022575       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4193 Pantomime                                                    PA0000914814       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4194 Panty Droppa (Intro)                                         PA0001703149       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4195 Part II (On The Run)                                         PA0001858831       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4196 Partition                                                    PA0001918144       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4197 Piece Of My Heart                                            PA0000669975       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4198 Platinum                                                     PA0000914814       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4199 Pound Cake / Paris Morton Music 2                            PA0001967812       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4200 POWER                                                        PA0001866095       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4201 Rain Man                                                     PA0001284524       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4202 Re-Creation                                                  PA0001022578       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4203 Revival                                                      PA0000914815       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4204 Revolver                                                     PA0001764628       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4205 Ridaz                                                        PA0001848889       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4206 Run This Town                                                PA0001678122       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4207 Saving Amy                                                   PA0001694078       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4208 Saving Faces                                                 PA0001022576       WB Music Corp. / Warner-Tamerlane Publishing Corp.




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                                Track                                  Reg. No.                                            Plaintiff
 4209 Shine                                                        PA0001305505       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4210 Slip of the Tongue                                           PA0000308826       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4211 Smoke, Drank                                                 PA0001847147       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4212 SMS (Bangerz)                                                PA0001870020       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4213 So Appalled                                                  PA0001740945       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4214 Social Enemies                                               PA0000914813       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4215 Somewhereinamerica                                           PA0001858818       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4216 Stitches                                                     PA0000914814       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4217 Stronger                                                     PA0001597242       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4218 Suckerface                                                   PA0001022575       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4219 Sugar                                                        PA0001638753       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4220 Swagger Jagger                                               PA0001884104       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4221 Take You                                                     PA0001884089       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4222 Tattoo                                                       PA0001872991       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4223 The Big One                                                  PA0001945087       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4224 The Odyssey                                                  PA0001022577       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4225 Timber                                                       PA0001868393       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4226 Truth Gonna Hurt You                                         PA0001852655       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4227 TTG (Trained To Go)                                          PA0001739067       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4228 Turn On The Lights                                           PA0001852654       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4229 Two More Lonely People                                       PA0001741421       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4230 Vapor Transmission (Intro)                                   PA0001022575       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4231 We Can't Stop                                                PA0001870026       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4232 Welcome To The Jungle                                        PA0001816412       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4233 When I Was Down                                              PA0001087575       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4234 Where's Gerrold                                              PA0001022574       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4235 Who Gon Stop Me                                              PA0001850662       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4236 Wild One                                                     PA0000901850       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4237 Worst Behavior                                               PA0001967813       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4238 You Deserve It                                               PA0001808144       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4239 You Give Me Love                                             PA0000901849       WB Music Corp. / Warner-Tamerlane Publishing Corp.
 4240 Ni**as In Paris                                              PA0001762035       WB Music Corp. / Warner-Tamerlane Publishing Corp. / Unichappell Music, Inc.
 4241 Cop Car                                                      PA0001878240       WB Music Corp. / Warner/Chappell Music, Inc.
                                                                   EP0000198593
 4242 Don't Let Me Be Misunderstood                                                   WB Music Corp. / Warner/Chappell Music, Inc.
                                                                   RE0000650481
                                                                   Eu0000845843
 4243 Don't Let Me Be Misunderstood                                                   WB Music Corp. / Warner/Chappell Music, Inc.
                                                                   EP0000198593
 4244 Radio                                                        PA0001939474       WB Music Corp. / Warner/Chappell Music, Inc.
 4245 Thank God For Hometowns                                      PA0001848754       WB Music Corp. / Warner/Chappell Music, Inc.
 4246 What Are We Doin' In Love                                    PA0000101285       WB Music Corp. / Warner/Chappell Music, Inc.
 4247 Work It Out                                                  PA0001073475       WB Music Corp. / Warner/Chappell Music, Inc.




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             Appendix 2 to Schedule 5

        Charter Amended Ex. A and B
              to the Complaint
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                                                                             EXHIBIT A - SOUND RECORDINGS

                                    Artist                                                Track                          Registration Number                  Plaintiff
   1     Alabama                                              Mountain Music                                    SR0000045289                   Arista Music
   2     Alan Jackson                                         Drive (For Daddy Gene)                            SR0000311615                   Arista Music
   3     Alan Jackson                                         It's Five O' Clock Somewhere                      SR0000340026                   Arista Music
   4     Alan Jackson                                         Where Were You (When the World Stopped Turning)   SR0000311615                   Arista Music
   5     Alan Jackson                                         www.memory                                        SR0000289367                   Arista Music
   6     Alicia Keys                                          As I Am (Intro)                                   SR0000627148                   Arista Music
   7     Alicia Keys                                          Butterflyz                                        SR0000299410                   Arista Music
   8     Alicia Keys                                          Caged Bird                                        SR0000299410                   Arista Music
   9     Alicia Keys                                          Diary                                             SR0000346869                   Arista Music
   10    Alicia Keys                                          Dragon Days                                       SR0000346869                   Arista Music
   11    Alicia Keys                                          Fallin                                            PA0001328763                   Arista Music
   12    Alicia Keys                                          Feeling U, Feeling Me (Interlude)                 SR0000346869                   Arista Music
   13    Alicia Keys                                          Girlfriend                                        SR0000299410                   Arista Music
   14    Alicia Keys                                          Go Ahead                                          SR0000627148                   Arista Music
   15    Alicia Keys                                          Goodbye                                           SR0000299410                   Arista Music
   16    Alicia Keys                                          Harlem's Nocturne                                 SR0000346869                   Arista Music
   17    Alicia Keys                                          Heartburn                                         SR0000346869                   Arista Music
   18    Alicia Keys                                          I Need You                                        SR0000627148                   Arista Music
   19    Alicia Keys                                          If I Ain't Got You                                SR0000346869                   Arista Music
   20    Alicia Keys                                          If I Was Your Woman / Walk On By                  SR0000346869                   Arista Music
   21    Alicia Keys                                          Jane Doe                                          SR0000299410                   Arista Music
   22    Alicia Keys                                          Karma                                             SR0000346869                   Arista Music
   23    Alicia Keys                                          Lesson Learned                                    SR0000627148                   Arista Music
   24    Alicia Keys                                          Like You'll Never See Me Again                    SR0000627148                   Arista Music
   25    Alicia Keys                                          Lovin U                                           SR0000299410                   Arista Music
   26    Alicia Keys                                          Mr. Man                                           SR0000299410                   Arista Music
   27    Alicia Keys                                          Never Felt This Way                               SR0000299410                   Arista Music
   28    Alicia Keys                                          No One                                            SR0000627148                   Arista Music
   29    Alicia Keys                                          Nobody Not Really (Interlude)                     SR0000346869                   Arista Music
   30    Alicia Keys                                          Piano & I                                         SR0000299410                   Arista Music
   31    Alicia Keys                                          Prelude To A Kiss                                 SR0000627148                   Arista Music
   32    Alicia Keys                                          Rock Wit U                                        SR0000299410                   Arista Music
   33    Alicia Keys                                          Samsonite Man                                     SR0000346869                   Arista Music
   34    Alicia Keys                                          Slow Down                                         SR0000346869                   Arista Music
   35    Alicia Keys                                          Streets Of New York                               SR0000379937                   Arista Music
   36    Alicia Keys                                          Superwoman                                        SR0000627148                   Arista Music
   37    Alicia Keys                                          Sure Looks Good To Me                             SR0000627148                   Arista Music
   38    Alicia Keys                                          Teenage Love Affair                               SR0000627148                   Arista Music
   39    Alicia Keys                                          Tell You Something (Nana's Reprise)               SR0000627148                   Arista Music
   40    Alicia Keys                                          The Life                                          SR0000299410                   Arista Music
   41    Alicia Keys                                          The Thing About Love                              SR0000627148                   Arista Music
   42    Alicia Keys                                          Troubles                                          SR0000299410                   Arista Music
   43    Alicia Keys                                          Waiting For Your Love                             SR0000627148                   Arista Music
   44    Alicia Keys                                          Wake Up                                           SR0000346869                   Arista Music
   45    Alicia Keys                                          When You Really Love Someone                      SR0000346869                   Arista Music
   46    Alicia Keys                                          Where Do We Go From Here                          SR0000627148                   Arista Music
   47    Alicia Keys                                          Why Do I Feel So Sad                              SR0000299410                   Arista Music
   48    Alicia Keys                                          Wreckless Love                                    SR0000627148                   Arista Music
   49    Alicia Keys                                          You Don't Know My Name                            SR0000346869                   Arista Music
   50    Alicia Keys feat. Lellow                             So Simple                                         SR0000346869                   Arista Music
   51    Angie Stone feat. Alicia Keys & Eve                  Brotha Part II                                    SR0000303830                   Arista Music
   52    Avril Lavigne                                        Complicated                                       PA0001328757                   Arista Music
   53    Avril Lavigne                                        Contagious                                        SR0000609671                   Arista Music
   54    Avril Lavigne                                        Don't Tell Me                                     SR0000332312                   Arista Music
   55    Avril Lavigne                                        Everything Back But You                           SR0000609671                   Arista Music
   56    Avril Lavigne                                        Fall To Pieces                                    SR0000332312                   Arista Music
   57    Avril Lavigne                                        Forgotten                                         SR0000332312                   Arista Music
   58    Avril Lavigne                                        Freak Out                                         SR0000332312                   Arista Music
   59    Avril Lavigne                                        He Wasn't                                         SR0000332312                   Arista Music
   60    Avril Lavigne                                        Hot                                               SR0000609671                   Arista Music
   61    Avril Lavigne                                        How Does It Feel                                  SR0000332312                   Arista Music
   62    Avril Lavigne                                        I Can Do Better                                   SR0000609671                   Arista Music
   63    Avril Lavigne                                        I Don't Have To Try                               SR0000609671                   Arista Music
   64    Avril Lavigne                                        Innocence                                         SR0000609671                   Arista Music
   65    Avril Lavigne                                        Keep Holding On                                   SR0000609671                   Arista Music
   66    Avril Lavigne                                        My Happy Ending                                   SR0000332312                   Arista Music
   67    Avril Lavigne                                        Nobody's Home                                     SR0000332312                   Arista Music
   68    Avril Lavigne                                        One Of Those Girls                                SR0000609671                   Arista Music
   69    Avril Lavigne                                        Runaway                                           SR0000609671                   Arista Music
   70    Avril Lavigne                                        Slipped Away                                      SR0000332312                   Arista Music
   71    Avril Lavigne                                        Take Me Away                                      SR0000332312                   Arista Music
   72    Avril Lavigne                                        The Best Damn Thing                               SR0000609671                   Arista Music
   73    Avril Lavigne                                        Together                                          SR0000332312                   Arista Music
   74    Avril Lavigne                                        When You're Gone                                  SR0000609671                   Arista Music
   75    Avril Lavigne                                        Who Knows                                         SR0000332312                   Arista Music
   76    Brad Paisley                                         All I Wanted Was a Car                            SR0000610946                   Arista Music
   77    Brad Paisley                                         Better Than This                                  SR0000610946                   Arista Music
   78    Brad Paisley                                         Easy Money                                        SR0000366007                   Arista Music
   79    Brad Paisley                                         Flowers                                           SR0000366007                   Arista Music
   80    Brad Paisley                                         If Love Was a Plane                               SR0000610946                   Arista Music
   81    Brad Paisley                                         I'll Take You Back                                SR0000366007                   Arista Music
   82    Brad Paisley                                         I'm Still A Guy                                   SR0000610946                   Arista Music
   83    Brad Paisley                                         It Did                                            SR0000610946                   Arista Music
   84    Brad Paisley                                         Letter To Me                                      SR0000610946                   Arista Music
   85    Brad Paisley                                         Love Is Never-Ending                              SR0000366007                   Arista Music
   86    Brad Paisley                                         Mr. Policeman                                     SR0000610946                   Arista Music


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                                                                              EXHIBIT A - SOUND RECORDINGS

                                   Artist                                              Track                            Registration Number                  Plaintiff
  87     Brad Paisley                                         Oh Love                                          SR0000610946                   Arista Music
  88     Brad Paisley                                         Online                                           SR0000610946                   Arista Music
  89     Brad Paisley                                         Out In The Parkin' Lot                           SR0000366007                   Arista Music
  90     Brad Paisley                                         Out Take 3                                       SR0000366007                   Arista Music
  91     Brad Paisley                                         Out Take 4                                       SR0000366007                   Arista Music
  92     Brad Paisley                                         Outtake #2                                       SR0000610946                   Arista Music
  93     Brad Paisley                                         Previously                                       SR0000610946                   Arista Music
  94     Brad Paisley                                         Rainin' You                                      SR0000366007                   Arista Music
  95     Brad Paisley                                         She's Everything                                 SR0000366007                   Arista Music
  96     Brad Paisley                                         Some Mistakes                                    SR0000610946                   Arista Music
  97     Brad Paisley                                         The Uncloudy Day                                 SR0000366007                   Arista Music
  98     Brad Paisley                                         The World                                        SR0000366007                   Arista Music
  99     Brad Paisley                                         Throttleneck                                     SR0000610946                   Arista Music
  100    Brad Paisley                                         Ticks                                            SR0000610946                   Arista Music
  101    Brad Paisley                                         Time Warp                                        SR0000366007                   Arista Music
  102    Brad Paisley                                         Time Well Wasted                                 SR0000366007                   Arista Music
  103    Brad Paisley                                         Waitin' On a Woman                               SR0000366007                   Arista Music
  104    Brad Paisley                                         When I Get Where I'm Going                       SR0000366007                   Arista Music
  105    Brad Paisley                                         When We All Get to Heaven                        SR0000610946                   Arista Music
  106    Brad Paisley                                         With You, Without You                            SR0000610946                   Arista Music
  107    Brad Paisley                                         You Need a Man Around Here                       SR0000366007                   Arista Music
  108    Brad Paisley feat. James Burton and The Kung Pao     Cornography                                      SR0000366007                   Arista Music
         Buckaroos
  109    Brad Paisley feat. The Kung Pao Buckaroos            Bigger Fish to Fry                               SR0000610946                   Arista Music
  110    Bruce Hornsby & the Range                            Down the Road Tonight                            SR0000071024                   Arista Music
  111    Bruce Hornsby & the Range                            Every Little Kiss                                SR0000071024                   Arista Music
  112    Bruce Hornsby & the Range                            Mandolin Rain                                    SR0000071024                   Arista Music
  113    Bruce Hornsby & the Range                            On The Western Skyline                           SR0000071024                   Arista Music
  114    Bruce Hornsby & the Range                            The Long Race                                    SR0000071024                   Arista Music
  115    Bruce Hornsby & the Range                            The Red Plains                                   SR0000071024                   Arista Music
  116    Bruce Hornsby & the Range                            The River Runs Low                               SR0000071024                   Arista Music
  117    Bruce Hornsby & the Range                            The Way It Is                                    SR0000071024                   Arista Music
  118    Bruce Hornsby & the Range                            The Wild Frontier                                SR0000071024                   Arista Music
  119    Christina Aguilera                                   Candyman                                         SR0000393677                   Arista Music
  120    Citizen Cope                                         107°                                             SR0000395941                   Arista Music
  121    Citizen Cope                                         All Dressed Up                                   SR0000395941                   Arista Music
  122    Citizen Cope                                         Awe                                              SR0000395941                   Arista Music
  123    Citizen Cope                                         Back Together                                    SR0000395941                   Arista Music
  124    Citizen Cope                                         Brother Lee                                      SR0000395941                   Arista Music
  125    Citizen Cope                                         Bullet And A Target                              SR0000355314                   Arista Music
  126    Citizen Cope                                         D'Artagnan's Theme                               SR0000355314                   Arista Music
  127    Citizen Cope                                         Deep                                             SR0000355314                   Arista Music
  128    Citizen Cope                                         Every Waking Moment                              SR0000395941                   Arista Music
  129    Citizen Cope                                         Fame                                             SR0000355314                   Arista Music
  130    Citizen Cope                                         Friendly Fire                                    SR0000395941                   Arista Music
  131    Citizen Cope                                         Hurricane Waters                                 SR0000355314                   Arista Music
  132    Citizen Cope                                         John Lennon                                      SR0000395941                   Arista Music
  133    Citizen Cope                                         Left For Dead                                    SR0000395941                   Arista Music
  134    Citizen Cope                                         More Than It Seems                               SR0000395941                   Arista Music
  135    Citizen Cope                                         My Way Home                                      SR0000355314                   Arista Music
  136    Citizen Cope                                         Nite Becomes Day                                 SR0000355314                   Arista Music
  137    Citizen Cope                                         Pablo Picasso                                    SR0000355314                   Arista Music
  138    Citizen Cope                                         Penitentiary                                     SR0000355314                   Arista Music
  139    Citizen Cope                                         Sideways                                         SR0000355314                   Arista Music
  140    Citizen Cope                                         Somehow                                          SR0000395941                   Arista Music
  141    Citizen Cope                                         Son's Gonna Rise                                 SR0000355314                   Arista Music
  142    Dave Matthews Band                                   #34                                              SR0000285688                   Arista Music
  143    Dave Matthews Band                                   #41                                              SR0000212572                   Arista Music
  144    Dave Matthews Band                                   Alligator Pie                                    SR0000628753                   Arista Music
  145    Dave Matthews Band                                   American Baby Intro                              SR0000385935                   Arista Music
  146    Dave Matthews Band                                   Angel                                            SR0000300313                   Arista Music
  147    Dave Matthews Band                                   Ants Marching                                    SR0000285688                   Arista Music
  148    Dave Matthews Band                                   Baby Blue                                        SR0000628753                   Arista Music
  149    Dave Matthews Band                                   Bartender                                        SR0000321902                   Arista Music
  150    Dave Matthews Band                                   Big Eyed Fish                                    SR0000321902                   Arista Music
  151    Dave Matthews Band                                   Busted Stuff                                     SR0000321902                   Arista Music
  152    Dave Matthews Band                                   Captain                                          SR0000321902                   Arista Music
  153    Dave Matthews Band                                   Crash Into Me                                    SR0000212572                   Arista Music
  154    Dave Matthews Band                                   Crush                                            SR0000257982                   Arista Music
  155    Dave Matthews Band                                   Cry Freedom                                      SR0000212572                   Arista Music
  156    Dave Matthews Band                                   Dancing Nancies                                  SR0000285688                   Arista Music
  157    Dave Matthews Band                                   Digging a Ditch                                  SR0000321902                   Arista Music
  158    Dave Matthews Band                                   Dive In                                          SR0000628753                   Arista Music
  159    Dave Matthews Band                                   Don't Drink The Water                            SR0000257982                   Arista Music
  160    Dave Matthews Band                                   Dreamgirl                                        SR0000385935                   Arista Music
  161    Dave Matthews Band                                   Dreams of Our Fathers                            SR0000300313                   Arista Music
  162    Dave Matthews Band                                   Drive in Drive Out                               SR0000212572                   Arista Music
  163    Dave Matthews Band                                   Everybody Wake Up (Our Finest Hour Arrives)      SR0000385935                   Arista Music
  164    Dave Matthews Band                                   Everyday                                         SR0000300313                   Arista Music
  165    Dave Matthews Band                                   Fool to Think                                    SR0000300313                   Arista Music
  166    Dave Matthews Band                                   Funny the Way It Is                              SR0000628753                   Arista Music
  167    Dave Matthews Band                                   Grace Is Gone                                    SR0000321902                   Arista Music
  168    Dave Matthews Band                                   Grey Street                                      SR0000321902                   Arista Music
  169    Dave Matthews Band                                   Grux                                             SR0000628753                   Arista Music
  170    Dave Matthews Band                                   Halloween                                        SR0000257982                   Arista Music
  171    Dave Matthews Band                                   Hunger For The Great Light                       SR0000385935                   Arista Music


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                                    Artist                                                       Track                           Registration Number                  Plaintiff
  172    Dave Matthews Band                                       I Did It                                              SR0000300313                   Arista Music
  173    Dave Matthews Band                                       If I Had It All                                       SR0000300313                   Arista Music
  174    Dave Matthews Band                                       Jimi Thing                                            SR0000285688                   Arista Music
  175    Dave Matthews Band                                       Kit Kat Jam                                           SR0000321902                   Arista Music
  176    Dave Matthews Band                                       Let You Down                                          SR0000212572                   Arista Music
  177    Dave Matthews Band                                       Lie in Our Graves                                     SR0000212572                   Arista Music
  178    Dave Matthews Band                                       Louisiana Bayou                                       SR0000385935                   Arista Music
  179    Dave Matthews Band                                       Lover Lay Down                                        SR0000285688                   Arista Music
  180    Dave Matthews Band                                       Lying in the Hands of God                             SR0000628753                   Arista Music
  181    Dave Matthews Band                                       Mother Father                                         SR0000300313                   Arista Music
  182    Dave Matthews Band                                       Old Dirt Hill (Bring That Beat Back)                  SR0000385935                   Arista Music
  183    Dave Matthews Band                                       Out of My Hands                                       SR0000385935                   Arista Music
  184    Dave Matthews Band                                       Pantala Naga Pampa                                    SR0000257982                   Arista Music
  185    Dave Matthews Band                                       Pay for What You Get                                  SR0000285688                   Arista Music
  186    Dave Matthews Band                                       Pig                                                   SR0000257982                   Arista Music
  187    Dave Matthews Band                                       Proudest Monkey                                       SR0000212572                   Arista Music
  188    Dave Matthews Band                                       Rapunzel                                              SR0000257982                   Arista Music
  189    Dave Matthews Band                                       Raven                                                 SR0000321902                   Arista Music
  190    Dave Matthews Band                                       Rhyme & Reason                                        SR0000285688                   Arista Music
  191    Dave Matthews Band                                       Satellite                                             SR0000285688                   Arista Music
  192    Dave Matthews Band                                       Say Goodbye                                           SR0000212572                   Arista Music
  193    Dave Matthews Band                                       Seven                                                 SR0000628753                   Arista Music
  194    Dave Matthews Band                                       Shake Me Like A Monkey                                SR0000628753                   Arista Music
  195    Dave Matthews Band                                       Sleep to Dream Her                                    SR0000300313                   Arista Music
  196    Dave Matthews Band                                       Smooth Rider                                          SR0000385935                   Arista Music
  197    Dave Matthews Band                                       So Much To Say                                        SR0000212572                   Arista Music
  198    Dave Matthews Band                                       So Right                                              SR0000300313                   Arista Music
  199    Dave Matthews Band                                       Spaceman                                              SR0000628753                   Arista Music
  200    Dave Matthews Band                                       Spoon                                                 SR0000257982                   Arista Music
  201    Dave Matthews Band                                       Squirm                                                SR0000628753                   Arista Music
  202    Dave Matthews Band                                       Stand Up (For It)                                     SR0000385935                   Arista Music
  203    Dave Matthews Band                                       Stay (Wasting Time)                                   SR0000257982                   Arista Music
  204    Dave Matthews Band                                       Steady as We Go                                       SR0000385935                   Arista Music
  205    Dave Matthews Band                                       Stolen Away on 55th & 3rd                             SR0000385935                   Arista Music
  206    Dave Matthews Band                                       The Best of What's Around                             SR0000285688                   Arista Music
  207    Dave Matthews Band                                       The Dreaming Tree                                     SR0000257982                   Arista Music
  208    Dave Matthews Band                                       The Last Stop                                         SR0000257982                   Arista Music
  209    Dave Matthews Band                                       The Space Between                                     SR0000300313                   Arista Music
  210    Dave Matthews Band                                       The Stone                                             SR0000257982                   Arista Music
  211    Dave Matthews Band                                       Time Bomb                                             SR0000628753                   Arista Music
  212    Dave Matthews Band                                       Too Much                                              SR0000212572                   Arista Music
  213    Dave Matthews Band                                       Tripping Billies                                      SR0000212572                   Arista Music
  214    Dave Matthews Band                                       Two Step                                              SR0000212572                   Arista Music
  215    Dave Matthews Band                                       Typical Situation                                     SR0000285688                   Arista Music
  216    Dave Matthews Band                                       Warehouse                                             SR0000285688                   Arista Music
  217    Dave Matthews Band                                       What Would You Say                                    SR0000285688                   Arista Music
  218    Dave Matthews Band                                       What You Are                                          SR0000300313                   Arista Music
  219    Dave Matthews Band                                       When The World Ends                                   SR0000300313                   Arista Music
  220    Dave Matthews Band                                       Where Are You Going                                   SR0000321902                   Arista Music
  221    Dave Matthews Band                                       Why I Am                                              SR0000628753                   Arista Music
  222    Dave Matthews Band                                       You & Me                                              SR0000628753                   Arista Music
  223    Dave Matthews Band                                       You Might Die Trying                                  SR0000385935                   Arista Music
  224    Dave Matthews Band                                       You Never Know                                        SR0000321902                   Arista Music
  225    Diamond Rio                                              Beautiful Mess                                        SR0000319527                   Arista Music
  226    Etta James                                               Crawlin' King Snake                                   SR0000356724                   Arista Music
  227    Etta James                                               If I Had Any Pride Left At All                        SR0000279857                   Arista Music
  228    Etta James                                               I'll Be Seeing You                                    SR0000187947                   Arista Music
  229    Etta James                                               It's a Man's Man's Man's World                        SR0000386246                   Arista Music
  230    Etta James                                               I've Been Lovin' You Too Long                         SR0000279857                   Arista Music
  231    Etta James                                               Strongest Weakness                                    SR0000339597                   Arista Music
  232    Etta James                                               The Blues Is My Business                              SR0000339597                   Arista Music
  233    Etta James                                               The Man I Love                                        SR0000187947                   Arista Music
  234    Etta James                                               The Very Thought Of You                               SR0000187947                   Arista Music
  235    Etta James                                               Try a Little Tenderness                               SR0000270247                   Arista Music
  236    Heather Headley                                          Am I Worth It                                         SR0000382683                   Arista Music
  237    Heather Headley                                          Back When It Was                                      SR0000382683                   Arista Music
  238    Heather Headley                                          Change                                                SR0000382683                   Arista Music
  239    Heather Headley                                          I Didn't Mean To                                      SR0000382683                   Arista Music
  240    Heather Headley                                          In My Mind                                            SR0000382683                   Arista Music
  241    Heather Headley                                          Losing You                                            SR0000382683                   Arista Music
  242    Heather Headley                                          Me Time                                               SR0000382683                   Arista Music
  243    Heather Headley                                          The Letter                                            SR0000382683                   Arista Music
  244    Heather Headley                                          Wait A Minute                                         SR0000382683                   Arista Music
  245    Heather Headley                                          What's Not Being Said                                 SR0000382683                   Arista Music
  246    Heather Headley feat. Shaggy                             Rain                                                  SR0000382683                   Arista Music
  247    Heather Headley feat. Vybz Kartel                        How Many Ways                                         SR0000382683                   Arista Music
  248    Hurricane Chris                                          Beat In My Trunk                                      SR0000620403                   Arista Music
  249    Hurricane Chris                                          Do Something                                          SR0000620403                   Arista Music
  250    Hurricane Chris                                          Doin' My Thang                                        SR0000620403                   Arista Music
  251    Hurricane Chris                                          Leaving You                                           SR0000620403                   Arista Music
  252    Hurricane Chris                                          New Fashion                                           SR0000620403                   Arista Music
  253    Hurricane Chris                                          Touch Me                                              SR0000620403                   Arista Music
  254    Hurricane Chris                                          Walk Like That                                        SR0000620403                   Arista Music
  255    Hurricane Chris feat. Big Poppa of Ratchet City & Bigg   Bang                                                  SR0000620403                   Arista Music
         Redd
  256    Hurricane Chris feat. Boxie                              Playas Rock                                           SR0000620403                   Arista Music


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                                   Artist                                                 Track                                  Registration Number                  Plaintiff
  257    Hurricane Chris feat. Nicole Wray                    Getting Money                                             SR0000620403                   Arista Music
  258    Hurricane Chris feat. Nicole Wray                    Momma                                                     SR0000620403                   Arista Music
  259    Jamey Johnson                                        It Was Me                                                 SR0000374946                   Arista Music
  260    Jamey Johnson                                        Redneck Side of Me                                        SR0000374946                   Arista Music
  261    Jamie Foxx                                           DJ Play A Love Song                                       SR0000374820                   Arista Music
  262    Jamie Foxx                                           Love Changes                                              SR0000374820                   Arista Music
  263    Jamie Foxx                                           Unpredictable (Radio Edit)                                SR0000374820                   Arista Music
  264    Jamie Foxx                                           With You                                                  SR0000374820                   Arista Music
  265    Jazmine Sullivan                                     After The Hurricane                                       SR0000618093                   Arista Music
  266    Jazmine Sullivan                                     Bust Your Windows                                         SR0000618093                   Arista Music
  267    Jazmine Sullivan                                     Call Me Guilty                                            SR0000618093                   Arista Music
  268    Jazmine Sullivan                                     Dream Big                                                 SR0000618093                   Arista Music
  269    Jazmine Sullivan                                     Fear                                                      SR0000618093                   Arista Music
  270    Jazmine Sullivan                                     In Love With Another Man                                  SR0000618093                   Arista Music
  271    Jazmine Sullivan                                     Lions, Tigers & Bears                                     SR0000618093                   Arista Music
  272    Jazmine Sullivan                                     Live A Lie                                                SR0000618093                   Arista Music
  273    Jazmine Sullivan                                     My Foolish Heart                                          SR0000618093                   Arista Music
  274    Jazmine Sullivan                                     Need U Bad                                                SR0000613934                   Arista Music
  275    Jazmine Sullivan                                     One Night Stand                                           SR0000618093                   Arista Music
  276    Jazmine Sullivan                                     Switch!                                                   SR0000618093                   Arista Music
  277    Jefferson Starship                                   Find Your Way Back                                        SR0000030619                   Arista Music
  278    Jefferson Starship                                   Jane                                                      SR0000014668                   Arista Music
  279    Jefferson Starship                                   Layin' It on the Line                                     SR0000058222                   Arista Music
  280    Jefferson Starship                                   No Way Out                                                SR0000058222                   Arista Music
  281    Jefferson Starship                                   Stranger                                                  SR0000026534                   Arista Music
  282    John Denver                                          Darcy Farrow                                              RE0000919266                   Arista Music
  283    John Denver                                          Fall                                                      RE0000919266                   Arista Music
  284    John Denver                                          For Baby (For Bobbie)                                     RE0000919266                   Arista Music
  285    John Denver                                          Goodbye Again                                             RE0000919266                   Arista Music
  286    John Denver                                          Late Winter, Early Spring (When Everybody Goes To Mexico) RE0000919266                   Arista Music

  287    John Denver                                          Mother Nature's Son                                     RE0000919266                     Arista Music
  288    John Denver                                          Prisoners                                               RE0000919266                     Arista Music
  289    John Denver                                          Rocky Mountain High                                     RE0000919266                     Arista Music
  290    John Denver                                          Spring                                                  RE0000919266                     Arista Music
  291    John Denver                                          Summer                                                  RE0000919266                     Arista Music
  292    John Denver                                          Winter                                                  RE0000919266                     Arista Music
  293    Kenny Chesney                                        All I Need To Know                                      SR0000208984                     Arista Music
  294    Kenny Chesney                                        All I Want For Christmas Is A Real Good Tan             SR0000333554                     Arista Music
  295    Kenny Chesney                                        Anything But Mine                                       SR0000341104                     Arista Music
  296    Kenny Chesney                                        Back Where I Come From                                  SR0000277700                     Arista Music
  297    Kenny Chesney                                        Baptism                                                 SR0000263302                     Arista Music
  298    Kenny Chesney                                        Because Of Your Love                                    SR0000277700                     Arista Music
  299    Kenny Chesney                                        Being Drunk's A Lot Like Loving You                     SR0000341104                     Arista Music
  300    Kenny Chesney                                        Christmas In Dixie                                      SR0000333554                     Arista Music
  301    Kenny Chesney                                        Don't Happen Twice                                      SR0000277700                     Arista Music
  302    Kenny Chesney                                        Fall In Love                                            SR0000208984                     Arista Music
  303    Kenny Chesney                                        For The First Time                                      SR0000277700                     Arista Music
  304    Kenny Chesney                                        How Forever Feels                                       SR0000263302                     Arista Music
  305    Kenny Chesney                                        I Go Back                                               SR0000341104                     Arista Music
  306    Kenny Chesney                                        I Lost It                                               SR0000277700                     Arista Music
  307    Kenny Chesney                                        I'll Be Home For Christmas                              SR0000333554                     Arista Music
  308    Kenny Chesney                                        Jingle Bells                                            SR0000333554                     Arista Music
  309    Kenny Chesney                                        Just A Kid                                              SR0000333554                     Arista Music
  310    Kenny Chesney                                        Keg In The Closet                                       SR0000341104                     Arista Music
  311    Kenny Chesney                                        Live Those Songs                                        SR0000341104                     Arista Music
  312    Kenny Chesney                                        Me And You                                              SR0000208984                     Arista Music
  313    Kenny Chesney                                        O Little Town Of Bethlehem                              SR0000333554                     Arista Music
  314    Kenny Chesney                                        Old Blue Chair                                          SR0000341104                     Arista Music
  315    Kenny Chesney                                        Outta Here                                              SR0000341104                     Arista Music
  316    Kenny Chesney                                        Please Come To Boston                                   SR0000341104                     Arista Music
  317    Kenny Chesney                                        Pretty Paper                                            SR0000333554                     Arista Music
  318    Kenny Chesney                                        She Thinks My Tractor's Sexy                            SR0000263302                     Arista Music
  319    Kenny Chesney                                        She's Got It All                                        SR0000238371                     Arista Music
  320    Kenny Chesney                                        Silent Night                                            SR0000333554                     Arista Music
  321    Kenny Chesney                                        Silver Bells                                            SR0000333554                     Arista Music
  322    Kenny Chesney                                        Some People Change                                      SR0000341104                     Arista Music
  323    Kenny Chesney                                        Thank God For Kids                                      SR0000333554                     Arista Music
  324    Kenny Chesney                                        That's Why I'm Here                                     SR0000238371                     Arista Music
  325    Kenny Chesney                                        The Angel At The Top Of My Tree                         SR0000333554                     Arista Music
  326    Kenny Chesney                                        The Tin Man                                             SR0000208984                     Arista Music
  327    Kenny Chesney                                        The Woman With You                                      SR0000341104                     Arista Music
  328    Kenny Chesney                                        There Goes My Life                                      SR0000341104                     Arista Music
  329    Kenny Chesney                                        What I Need To Do                                       SR0000263302                     Arista Music
  330    Kenny Chesney                                        When I Close My Eyes                                    SR0000238371                     Arista Music
  331    Kenny Chesney                                        When I Think About Leaving                              SR0000341104                     Arista Music
  332    Kenny Chesney                                        When The Sun Goes Down                                  SR0000341104                     Arista Music
  333    Kenny Chesney                                        You Had Me From Hello                                   SR0000263302                     Arista Music
  334    Kenny Rogers with Dolly Parton                       Islands In The Stream                                   SR0000049409                     Arista Music
  335    Kings Of Leon                                        California Waiting                                      SR0000330401                     Arista Music
  336    Kings Of Leon                                        Holy Roller Novocaine                                   SR0000330401                     Arista Music
  337    Kings Of Leon                                        Molly's Chambers                                        SR0000330401                     Arista Music
  338    Kings Of Leon                                        Wasted Time                                             SR0000330401                     Arista Music
  339    Kings Of Leon                                        Wicker Chair                                            SR0000330401                     Arista Music
  340    Luther Vandross                                      I'd Rather                                              SR0000298047                     Arista Music
  341    Luther Vandross                                      Take You Out                                            SR0000298047                     Arista Music


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                                 Artist                                                  Track                            Registration Number                        Plaintiff
  342    Mario                                                Let Me Love You                                    SR0000363091                   Arista Music
  343    Ronnie Milsap & Kenny Rogers                         Make No Mistake, She's Mine                        SR0000084019                   Arista Music
  344    Starship                                             Hearts Of The World (Will Understand)              SR0000065899                   Arista Music
  345    Starship                                             It's Not Enough                                    SR0000107373                   Arista Music
  346    Starship                                             Love Among The Cannibals                           SR0000107373                   Arista Music
  347    Starship                                             Rock Myself To Sleep                               SR0000065899                   Arista Music
  348    Starship                                             Sara                                               SR0000065899                   Arista Music
  349    Starship                                             We Built This City                                 SR0000065899                   Arista Music
  350    SWV                                                  Anything                                           SR0000146905                   Arista Music
  351    SWV                                                  Blak Pudd'n                                        SR0000146905                   Arista Music
  352    SWV                                                  Can We                                             SR0000249300                   Arista Music
  353    SWV                                                  Come And Get Some                                  SR0000249300                   Arista Music
  354    SWV                                                  Coming Home                                        SR0000146905                   Arista Music
  355    SWV                                                  Downtown                                           SR0000146905                   Arista Music
  356    SWV                                                  Gettin' Funky                                      SR0000249300                   Arista Music
  357    SWV                                                  Give It To Me                                      SR0000146905                   Arista Music
  358    SWV                                                  Give It Up                                         SR0000249300                   Arista Music
  359    SWV                                                  Here For You                                       SR0000249300                   Arista Music
  360    SWV                                                  I'm So Into You                                    SR0000146905                   Arista Music
  361    SWV                                                  It's About Time                                    SR0000146905                   Arista Music
  362    SWV                                                  Lose Myself                                        SR0000249300                   Arista Music
  363    SWV                                                  Love Like This                                     SR0000249300                   Arista Music
  364    SWV                                                  Rain                                               SR0000249300                   Arista Music
  365    SWV                                                  Release Some Tension                               SR0000249300                   Arista Music
  366    SWV                                                  Right Here                                         SR0000146905                   Arista Music
  367    SWV                                                  SWV (In The House)                                 SR0000146905                   Arista Music
  368    SWV                                                  That's What I Need                                 SR0000146905                   Arista Music
  369    SWV                                                  Think You're Gonna Like It                         SR0000146905                   Arista Music
  370    SWV                                                  Weak                                               SR0000146905                   Arista Music
  371    SWV                                                  Weak (A Cappella)                                  SR0000146905                   Arista Music
  372    SWV                                                  When U Cry                                         SR0000249300                   Arista Music
  373    SWV                                                  You're Always On My Mind                           SR0000146905                   Arista Music
  374    SWV                                                  You're The One                                     PA0001288814                   Arista Music
  375    SWV feat. Puff Daddy                                 Someone                                            SR0000249300                   Arista Music
  376    SWV feat. Redman                                     Lose My Cool                                       SR0000249300                   Arista Music
  377    Usher                                                Bad Girl                                           SR0000354784                   Arista Music
  378    Usher                                                Burn                                               SR0000354784                   Arista Music
  379    Usher                                                Can U Handle It?                                   SR0000354784                   Arista Music
  380    Usher                                                Caught Up                                          SR0000354784                   Arista Music
  381    Usher                                                Confessions                                        SR0000354784                   Arista Music
  382    Usher                                                Confessions Part II                                SR0000354784                   Arista Music
  383    Usher                                                Do It To Me                                        SR0000354784                   Arista Music
  384    Usher                                                Follow Me                                          SR0000354784                   Arista Music
  385    Usher                                                Simple Things                                      SR0000354784                   Arista Music
  386    Usher                                                Superstar                                          SR0000354784                   Arista Music
  387    Usher                                                Take Your Hand                                     SR0000354784                   Arista Music
  388    Usher                                                That's What It's Made For                          SR0000354784                   Arista Music
  389    Usher                                                Throwback                                          SR0000354784                   Arista Music
  390    Usher                                                Truth Hurts                                        SR0000354784                   Arista Music
  391    Usher                                                Yeah!                                              SR0000354784                   Arista Music
  392    Waylon Jennings                                      Luckenbach, Texas (Back to the Basics of Love)     RE0000919768                   Arista Music
  393    Alan Jackson                                         Chasin' That Neon Rainbow                          SR0000120465                   Arista Records LLC
  394    Alan Jackson                                         Chattahoochee                                      SR0000147716                   Arista Records LLC
  395    Alan Jackson                                         Don't Rock The Jukebox                             SR0000138302                   Arista Records LLC
  396    Alan Jackson                                         Everything I Love                                  SR0000227719                   Arista Records LLC
  397    Alan Jackson                                         Gone Country                                       SR0000202090                   Arista Records LLC
  398    Alan Jackson                                         Here In The Real World                             SR0000120465                   Arista Records LLC
  399    Alan Jackson                                         It Must Be Love                                    SR0000303828                   Arista Records LLC
  400    Alan Jackson                                         Little Bitty                                       SR0000227719                   Arista Records LLC
  401    Alan Jackson                                         Little Man                                         SR0000295185                   Arista Records LLC
  402    Alan Jackson                                         Livin' On Love                                     SR0000202090                   Arista Records LLC
  403    Alan Jackson                                         Midnight In Montgomery                             SR0000138302                   Arista Records LLC
  404    Alan Jackson                                         Pop A Top                                          SR0000303828                   Arista Records LLC
  405    Alan Jackson                                         Right On the Money                                 SR0000295185                   Arista Records LLC
  406    Alan Jackson                                         She's Got the Rhythm (And I Got the Blues)         SR0000147716                   Arista Records LLC
  407    Alan Jackson                                         Tall, Tall Trees                                   SR0000216936                   Arista Records LLC
  408    Alan Jackson                                         Who's Cheatin' Who                                 SR0000227719                   Arista Records LLC
  409    Alan Parsons Project                                 Eye In The Sky                                     SR0000037591                   Arista Records LLC
  410    Annie Lennox                                         Cold                                               SR0000145693                   Arista Records LLC
  411    Annie Lennox                                         Little Bird                                        SR0000145693                   Arista Records LLC
  412    Annie Lennox                                         Precious                                           SR0000145693                   Arista Records LLC
  413    Annie Lennox                                         Walking On Broken Glass                            SR0000145693                   Arista Records LLC
  414    Annie Lennox                                         Why                                                SR0000145693                   Arista Records LLC
  415    Anthony Hamilton                                     Diamond In The Rough                               SR0000625444                   Arista Records LLC
  416    Anthony Hamilton                                     Fallin' In Love                                    SR0000625444                   Arista Records LLC
  417    Anthony Hamilton                                     Fine Again                                         SR0000625444                   Arista Records LLC
  418    Anthony Hamilton                                     Hard To Breathe                                    SR0000625444                   Arista Records LLC
  419    Anthony Hamilton                                     Her Heart                                          SR0000625444                   Arista Records LLC
  420    Anthony Hamilton                                     I Did It For Sho                                   SR0000625444                   Arista Records LLC
  421    Anthony Hamilton                                     Please Stay                                        SR0000625444                   Arista Records LLC
  422    Anthony Hamilton                                     Prayin' For You/Superman                           SR0000625444                   Arista Records LLC
  423    Anthony Hamilton                                     Soul's On Fire                                     SR0000625444                   Arista Records LLC
  424    Anthony Hamilton                                     The Day We Met                                     SR0000625444                   Arista Records LLC
  425    Anthony Hamilton                                     The News                                           SR0000625444                   Arista Records LLC
  426    Anthony Hamilton                                     The Point Of It All                                SR0000625444                   Arista Records LLC
  427    Anthony Hamilton feat. David Banner                  Cool                                               PA0001640157                   Arista Records LLC


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                                                                               EXHIBIT A - SOUND RECORDINGS

                                  Artist                                                     Track                             Registration Number                        Plaintiff
  428    Avril Lavigne                                        Anything But Ordinary                                   SR0000312786                   Arista Records LLC
  429    Avril Lavigne                                        I'm With You                                            SR0000312786                   Arista Records LLC
  430    Avril Lavigne                                        Losing Grip                                             SR0000312786                   Arista Records LLC
  431    Avril Lavigne                                        Mobile                                                  SR0000312786                   Arista Records LLC
  432    Avril Lavigne                                        Naked                                                   SR0000312786                   Arista Records LLC
  433    Avril Lavigne                                        Nobody's Fool                                           SR0000312786                   Arista Records LLC
  434    Avril Lavigne                                        Sk8er Boi                                               SR0000312786                   Arista Records LLC
  435    Avril Lavigne                                        Things I'll Never Say                                   SR0000312786                   Arista Records LLC
  436    Avril Lavigne                                        Tomorrow                                                SR0000312786                   Arista Records LLC
  437    Brandy                                               Sittin' Up In My Room                                   SR0000219539                   Arista Records LLC
  438    Brooks & Dunn                                        Boot Scootin' Boogie                                    SR0000140290                   Arista Records LLC
  439    John Williams                                        March from 1941                                         SR0000019891                   Arista Records LLC
  440    Kenny G                                              Against Doctor's Orders                                 SR0000135107                   Arista Records LLC
  441    Kenny G                                              Brazil                                                  SR0000321704                   Arista Records LLC
  442    Kenny G                                              Desafinado                                              SR0000289898                   Arista Records LLC
  443    Kenny G                                              Havana                                                  SR0000236228                   Arista Records LLC
  444    Kenny G                                              Have Yourself a Merry Little Christmas                  SR0000206848                   Arista Records LLC
  445    Kenny G                                              I'm in the Mood for Love                                SR0000399076                   Arista Records LLC
  446    Kenny G                                              It Had To Be You                                        SR0000399076                   Arista Records LLC
  447    Kenny G                                              Loving You                                              SR0000248755                   Arista Records LLC
  448    Kenny G                                              Medley: Deck the Halls / The Twelve Days of Christmas   SR0000322511                   Arista Records LLC
  449    Kenny G                                              Round Midnight                                          SR0000289898                   Arista Records LLC
  450    Kenny G                                              Sade                                                    SR0000079028                   Arista Records LLC
  451    Kenny G                                              Silhouette                                              SR0000135107                   Arista Records LLC
  452    Kenny G                                              Slip of the Tongue                                      SR0000079028                   Arista Records LLC
  453    Kenny G                                              Songbird                                                SR0000079028                   Arista Records LLC
  454    Kenny G                                              The Champion's Theme                                    SR0000236228                   Arista Records LLC
  455    Kenny G                                              The Look Of Love                                        SR0000289898                   Arista Records LLC
  456    Kenny G                                              The Moment                                              SR0000236228                   Arista Records LLC
  457    Kenny G                                              Theme from "Dying Young"                                SR0000263707                   Arista Records LLC
  458    Monica feat. OutKast                                 Gone Be Fine                                            SR0000263982                   Arista Records LLC
  459    OutKast                                              A Life In The Life of Benjamin Andre (Incomplete)       SR0000340520                   Arista Records LLC
  460    OutKast                                              Da Art of Storytellin' (Pt. 1)                          SR0000264092                   Arista Records LLC
  461    OutKast                                              Da Art of Storytellin' (Pt. 2)                          SR0000264092                   Arista Records LLC
  462    OutKast                                              Return of the "G"                                       SR0000264092                   Arista Records LLC
  463    OutKast feat. George Clinton                         Synthesizer                                             SR0000264092                   Arista Records LLC
  464    P!nk                                                 18 Wheeler                                              SR0000326672                   Arista Records LLC
  465    P!nk                                                 Dear Diary                                              SR0000326672                   Arista Records LLC
  466    P!nk                                                 Don't Let Me Get Me                                     SR0000326672                   Arista Records LLC
  467    P!nk                                                 Eventually                                              SR0000326672                   Arista Records LLC
  468    P!nk                                                 Family Portrait                                         SR0000326672                   Arista Records LLC
  469    P!nk                                                 Get The Party Started                                   SR0000326672                   Arista Records LLC
  470    P!nk                                                 God Is A DJ                                             SR0000345431                   Arista Records LLC
  471    P!nk                                                 Gone to California                                      SR0000326672                   Arista Records LLC
  472    P!nk                                                 Just Like A Pill                                        SR0000326672                   Arista Records LLC
  473    P!nk                                                 Lonely Girl                                             SR0000326672                   Arista Records LLC
  474    P!nk                                                 Misery                                                  SR0000326672                   Arista Records LLC
  475    P!nk                                                 Missundaztood                                           SR0000326672                   Arista Records LLC
  476    P!nk                                                 My Vietnam                                              SR0000326672                   Arista Records LLC
  477    P!nk                                                 Numb                                                    SR0000326672                   Arista Records LLC
  478    P!nk                                                 Trouble                                                 SR0000344428                   Arista Records LLC
  479    Paula DeAnda                                         Breathe                                                 SR0000393631                   Arista Records LLC
  480    Paula DeAnda                                         Doing Too Much                                          SR0000393631                   Arista Records LLC
  481    Paula DeAnda                                         Easy                                                    SR0000393631                   Arista Records LLC
  482    Paula DeAnda                                         Footprints On My Heart                                  SR0000393631                   Arista Records LLC
  483    Paula DeAnda                                         Good Girl                                               SR0000393631                   Arista Records LLC
  484    Paula Deanda                                         I'll Be Down For You                                    SR0000393631                   Arista Records LLC
  485    Paula DeAnda                                         Overloved                                               SR0000393631                   Arista Records LLC
  486    Paula DeAnda                                         So Cold                                                 SR0000393631                   Arista Records LLC
  487    Paula DeAnda                                         When It Was Me                                          SR0000393631                   Arista Records LLC
  488    Paula DeAnda feat. Ak'Sent                           Clap Ta This                                            SR0000393631                   Arista Records LLC
  489    Paula DeAnda feat. P.B.                              Let's Go Out Tonight                                    SR0000393631                   Arista Records LLC
  490    Paula DeAnda feat. The Dey                           Walk Away (Remember Me)                                 SR0000393631                   Arista Records LLC
  491    Paula DeAnda feat. V Nice                            Wanna Be With You                                       SR0000393631                   Arista Records LLC
  492    Run D.M.C.                                           Beats to the Rhyme                                      SR0000124365                   Arista Records LLC
  493    Run D.M.C.                                           Down With The King                                      SR0000291221                   Arista Records LLC
  494    Run D.M.C.                                           Faces                                                   SR0000124852                   Arista Records LLC
  495    Run D.M.C.                                           Hit It Run                                              SR0000124846                   Arista Records LLC
  496    Run D.M.C.                                           I'm Not Going Out Like That                             SR0000124365                   Arista Records LLC
  497    Run D.M.C.                                           It's Like That                                          SR0000044959                   Arista Records LLC
  498    Run D.M.C.                                           It's Tricky                                             SR0000124846                   Arista Records LLC
  499    Run D.M.C.                                           King Of Rock                                            SR0000124851                   Arista Records LLC
  500    Run D.M.C.                                           Mary, Mary                                              SR0000124365                   Arista Records LLC
  501    Run D.M.C.                                           My Adidas                                               SR0000124846                   Arista Records LLC
  502    Run D.M.C.                                           Run's House                                             SR0000124365                   Arista Records LLC
  503    Run D.M.C.                                           What's It All About                                     SR0000124852                   Arista Records LLC
  504    Run D.M.C.                                           You Be Illin'                                           SR0000124846                   Arista Records LLC
  505    Run D.M.C.                                           You Talk Too Much                                       SR0000124851                   Arista Records LLC
  506    Santana                                              (Da Le) Yaleo                                           SR0000289833                   Arista Records LLC
  507    Santana                                              Africa Bamba                                            SR0000289833                   Arista Records LLC
  508    Santana                                              Corazon Espinado                                        SR0000289833                   Arista Records LLC
  509    Santana                                              El Farol                                                SR0000289833                   Arista Records LLC
  510    Santana                                              Migra                                                   SR0000289833                   Arista Records LLC
  511    Santana                                              Primavera                                               SR0000289833                   Arista Records LLC
  512    Santana                                              Put Your Lights On                                      SR0000289833                   Arista Records LLC



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                                   Artist                                                   Track                      Registration Number                      Plaintiff
  513    Santana                                              Smooth                                          SR0000289833                   Arista Records LLC
  514    Santana feat. Dave Matthews & Carter Beauford        Love Of My Life                                 SR0000289833                   Arista Records LLC
  515    Santana feat. Eagle-Eye Cherry                       Wishing It Was                                  SR0000289833                   Arista Records LLC
  516    Santana feat. Lauryn Hill & Cee-Lo                   Do You Like The Way                             SR0000289833                   Arista Records LLC
  517    Sarah McLachlan                                      Adia                                            SR0000243027                   Arista Records LLC
  518    Sarah McLachlan                                      Ben's Song                                      SR0000137750                   Arista Records LLC
  519    Sarah McLachlan                                      Building A Mystery                              SR0000243027                   Arista Records LLC
  520    Sarah McLachlan                                      Drawn to the Rhythm                             SR0000140285                   Arista Records LLC
  521    Sarah McLachlan                                      Fallen                                          SR0000345432                   Arista Records LLC
  522    Sarah McLachlan                                      Fumbling Towards Ecstasy                        SR0000200152                   Arista Records LLC
  523    Sarah McLachlan                                      Good Enough                                     SR0000200152                   Arista Records LLC
  524    Sarah McLachlan                                      Hold On                                         SR0000200152                   Arista Records LLC
  525    Sarah McLachlan                                      I Will Remember You                             SR0000219471                   Arista Records LLC
  526    Sarah McLachlan                                      Ice Cream                                       SR0000200152                   Arista Records LLC
  527    Sarah McLachlan                                      Into the Fire                                   SR0000140285                   Arista Records LLC
  528    Sarah McLachlan                                      Mercy                                           SR0000140285                   Arista Records LLC
  529    Sarah McLachlan                                      Possession                                      SR0000200152                   Arista Records LLC
  530    Sarah McLachlan                                      Push                                            SR0000345432                   Arista Records LLC
  531    Sarah McLachlan                                      Steaming                                        SR0000137750                   Arista Records LLC
  532    Sarah McLachlan                                      Stupid                                          SR0000345432                   Arista Records LLC
  533    Sarah McLachlan                                      Sweet Surrender                                 SR0000243027                   Arista Records LLC
  534    Sarah McLachlan                                      The Path of Thorns (Terms)                      SR0000140285                   Arista Records LLC
  535    Sarah McLachlan                                      Vox                                             SR0000137750                   Arista Records LLC
  536    Sarah McLachlan                                      World On Fire                                   SR0000345432                   Arista Records LLC
  537    The Alan Parsons Project                             Any Other Day                                   SR0000609687                   Arista Records LLC
  538    The Alan Parsons Project                             Children Of The Moon                            SR0000037591                   Arista Records LLC
  539    The Alan Parsons Project                             Eye Pieces                                      SR0000609687                   Arista Records LLC
  540    The Alan Parsons Project                             Gemini                                          SR0000037591                   Arista Records LLC
  541    The Alan Parsons Project                             Mammagamma                                      SR0000037591                   Arista Records LLC
  542    The Alan Parsons Project                             Old & Wise                                      SR0000609687                   Arista Records LLC
  543    The Alan Parsons Project                             Old and Wise                                    SR0000037591                   Arista Records LLC
  544    The Alan Parsons Project                             Psychobabble                                    SR0000037591                   Arista Records LLC
  545    The Alan Parsons Project                             Silence and I                                   SR0000037591                   Arista Records LLC
  546    The Alan Parsons Project                             SIRIUS                                          SR0000037591                   Arista Records LLC
  547    The Alan Parsons Project                             Step By Step                                    SR0000037591                   Arista Records LLC
  548    The Alan Parsons Project                             The Naked Eye                                   SR0000609687                   Arista Records LLC
  549    The Alan Parsons Project                             You're Gonna Get Your Fingers Burned            SR0000037591                   Arista Records LLC
  550    Whitney Houston                                      Didn't We Almost Have It All                    SR0000089966                   Arista Records LLC
  551    Whitney Houston                                      Exhale                                          SR0000219539                   Arista Records LLC
  552    Whitney Houston                                      Get It Back                                     SR0000298453                   Arista Records LLC
  553    Whitney Houston                                      Greatest Love Of All                            SR0000060716                   Arista Records LLC
  554    Whitney Houston                                      Heartbreak Hotel                                SR0000298453                   Arista Records LLC
  555    Whitney Houston                                      How Will I Know                                 SR0000060716                   Arista Records LLC
  556    Whitney Houston                                      I Bow Out                                       SR0000298453                   Arista Records LLC
  557    Whitney Houston                                      I Have Nothing                                  SR0000152583                   Arista Records LLC
  558    Whitney Houston                                      I Learned From The Best                         SR0000298453                   Arista Records LLC
  559    Whitney Houston                                      I Wanna Dance With Somebody                     SR0000089966                   Arista Records LLC
  560    Whitney Houston                                      I Was Made To Love Him                          SR0000298453                   Arista Records LLC
  561    Whitney Houston                                      I Will Always Love You                          SR0000152583                   Arista Records LLC
  562    Whitney Houston                                      If I Told You That                              SR0000298453                   Arista Records LLC
  563    Whitney Houston                                      I'm Every Woman                                 SR0000152583                   Arista Records LLC
  564    Whitney Houston                                      I'm Your Baby Tonight                           SR0000129257                   Arista Records LLC
  565    Whitney Houston                                      In My Business                                  SR0000298453                   Arista Records LLC
  566    Whitney Houston                                      It's Not Right But It's Okay                    SR0000298453                   Arista Records LLC
  567    Whitney Houston                                      My Love Is Your Love                            SR0000298453                   Arista Records LLC
  568    Whitney Houston                                      Oh Yes                                          SR0000298453                   Arista Records LLC
  569    Whitney Houston                                      One Moment In Time                              SR0000097640                   Arista Records LLC
  570    Whitney Houston                                      Run To You                                      SR0000152583                   Arista Records LLC
  571    Whitney Houston                                      Saving All My Love For You                      SR0000060716                   Arista Records LLC
  572    Whitney Houston                                      So Emotional                                    SR0000089966                   Arista Records LLC
  573    Whitney Houston                                      Until You Come Back                             SR0000298453                   Arista Records LLC
  574    Whitney Houston                                      When You Believe                                SR0000298453                   Arista Records LLC
  575    Whitney Houston                                      Where Do Broken Hearts Go                       SR0000089966                   Arista Records LLC
  576    Whitney Houston                                      You'll Never Stand Alone                        SR0000298453                   Arista Records LLC
  577    3OH!3                                                StarStrukk                                      SR0000652637                   Atlantic Recording Corporation
  578    B.o.B                                                Nothin' On You                                  SR0000704831                   Atlantic Recording Corporation
  579    Brandy                                               (Everything I Do) I Do It For You               SR0000256701                   Atlantic Recording Corporation
  580    Brandy                                               Afrodisiac                                      SR0000370673                   Atlantic Recording Corporation
  581    Brandy                                               All In Me                                       SR0000345858                   Atlantic Recording Corporation
  582    Brandy                                               Almost Doesn't Count                            SR0000256701                   Atlantic Recording Corporation
  583    Brandy                                               Always On My Mind                               SR0000202696                   Atlantic Recording Corporation
  584    Brandy                                               Angel In Disquise                               SR0000256701                   Atlantic Recording Corporation
  585    Brandy                                               Anybody                                         SR0000345858                   Atlantic Recording Corporation
  586    Brandy                                               Apart                                           SR0000345858                   Atlantic Recording Corporation
  587    Brandy                                               As Long As You're Here                          SR0000202696                   Atlantic Recording Corporation
  588    Brandy                                               B Rocka Intro                                   SR0000345858                   Atlantic Recording Corporation
  589    Brandy                                               Baby                                            SR0000202696                   Atlantic Recording Corporation
  590    Brandy                                               Best Friend                                     SR0000202696                   Atlantic Recording Corporation
  591    Brandy                                               Brokenhearted (feat. Wanya Morris)              SR0000373291                   Atlantic Recording Corporation
  592    Brandy                                               Can We                                          SR0000345858                   Atlantic Recording Corporation
  593    Brandy                                               Come A Little Closer                            SR0000345858                   Atlantic Recording Corporation
  594    Brandy                                               Come As You Are                                 SR0000370673                   Atlantic Recording Corporation
  595    Brandy                                               Die Without You                                 SR0000345858                   Atlantic Recording Corporation
  596    Brandy                                               Finally                                         SR0000370673                   Atlantic Recording Corporation
  597    Brandy                                               Focus                                           SR0000370673                   Atlantic Recording Corporation
  598    Brandy                                               Full Moon                                       SR0000345858                   Atlantic Recording Corporation


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                                                                              EXHIBIT A - SOUND RECORDINGS

                                   Artist                                              Track                            Registration Number                      Plaintiff
  599    Brandy                                               Give Me You                                      SR0000202696                   Atlantic Recording Corporation
  600    Brandy                                               Happy                                            SR0000256701                   Atlantic Recording Corporation
  601    Brandy                                               Have You Ever?                                   SR0000256701                   Atlantic Recording Corporation
  602    Brandy                                               He Is                                            SR0000345858                   Atlantic Recording Corporation
  603    Brandy                                               How I Feel                                       SR0000370673                   Atlantic Recording Corporation
  604    Brandy                                               I Dedicate (Part I)                              SR0000202696                   Atlantic Recording Corporation
  605    Brandy                                               I Dedicate (Part II)                             SR0000202696                   Atlantic Recording Corporation
  606    Brandy                                               I Dedicate (Part III)                            SR0000202696                   Atlantic Recording Corporation
  607    Brandy                                               I Thought                                        SR0000345858                   Atlantic Recording Corporation
  608    Brandy                                               I Tried                                          SR0000370673                   Atlantic Recording Corporation
  609    Brandy                                               I Wanna Be Down                                  SR0000202696                   Atlantic Recording Corporation
  610    Brandy                                               I'm Yours                                        SR0000202696                   Atlantic Recording Corporation
  611    Brandy                                               In The Car Interlude                             SR0000256701                   Atlantic Recording Corporation
  612    Brandy                                               Intro                                            SR0000256701                   Atlantic Recording Corporation
  613    Brandy                                               It's Not Worth It                                SR0000345858                   Atlantic Recording Corporation
  614    Brandy                                               Learn The Hard Way                               SR0000256701                   Atlantic Recording Corporation
  615    Brandy                                               Like This                                        SR0000345858                   Atlantic Recording Corporation
  616    Brandy                                               Love Is On My Side                               SR0000202696                   Atlantic Recording Corporation
  617    Brandy                                               Love Wouldn't Count Me Out                       SR0000345858                   Atlantic Recording Corporation
  618    Brandy                                               Movin' On                                        SR0000202696                   Atlantic Recording Corporation
  619    Brandy                                               Necessary                                        SR0000370673                   Atlantic Recording Corporation
  620    Brandy                                               Never Say Never                                  SR0000256701                   Atlantic Recording Corporation
  621    Brandy                                               Nothing                                          SR0000345858                   Atlantic Recording Corporation
  622    Brandy                                               One Voice                                        SR0000256701                   Atlantic Recording Corporation
  623    Brandy                                               Put That On Everything                           SR0000256701                   Atlantic Recording Corporation
  624    Brandy                                               Sadiddy                                          SR0000370673                   Atlantic Recording Corporation
  625    Brandy                                               Say You Will                                     SR0000370673                   Atlantic Recording Corporation
  626    Brandy                                               Should I Go                                      SR0000370673                   Atlantic Recording Corporation
  627    Brandy                                               Sunny Day                                        SR0000202696                   Atlantic Recording Corporation
  628    Brandy                                               Talk About Our Love                              SR0000370673                   Atlantic Recording Corporation
  629    Brandy                                               Tomorrow                                         SR0000256701                   Atlantic Recording Corporation
  630    Brandy                                               Truthfully                                       SR0000256701                   Atlantic Recording Corporation
  631    Brandy                                               Turn It Up                                       SR0000370673                   Atlantic Recording Corporation
  632    Brandy                                               U Dont Know Me (Like U Used To)                  SR0000256701                   Atlantic Recording Corporation
  633    Brandy                                               What About Us?                                   SR0000345858                   Atlantic Recording Corporation
  634    Brandy                                               When You Touch Me                                SR0000345858                   Atlantic Recording Corporation
  635    Brandy                                               Where You Wanna Be                               SR0000370673                   Atlantic Recording Corporation
  636    Brandy                                               Who I Am                                         SR0000370673                   Atlantic Recording Corporation
  637    Brandy                                               Who Is She To U                                  SR0000370673                   Atlantic Recording Corporation
  638    Brandy                                               Wow                                              SR0000345858                   Atlantic Recording Corporation
  639    Brandy                                               Top Of The World                                 SR0000256701                   Atlantic Recording Corporation
  640    Brandy & Monica                                      The Boy Is Mine                                  SR0000256110                   Atlantic Recording Corporation
  641    Brandy & Ray J                                       Another Day In Paradise                          SR0000373291                   Atlantic Recording Corporation
  642    Bruno Mars                                           Gorilla                                          SR0000715738                   Atlantic Recording Corporation
  643    Bruno Mars                                           Locked Out of Heaven                             SR0000715738                   Atlantic Recording Corporation
  644    Bruno Mars                                           Treasure                                         SR0000715738                   Atlantic Recording Corporation
  645    Carolina Liar                                        All That Sh** Is Gone                            SR0000637774                   Atlantic Recording Corporation
  646    Carolina Liar                                        Better Alone                                     SR0000637774                   Atlantic Recording Corporation
  647    Carolina Liar                                        California Bound                                 SR0000637774                   Atlantic Recording Corporation
  648    Carolina Liar                                        Coming To Terms                                  SR0000637774                   Atlantic Recording Corporation
  649    Carolina Liar                                        Done Stealin'                                    SR0000637774                   Atlantic Recording Corporation
  650    Carolina Liar                                        I'm Not Over                                     SR0000637774                   Atlantic Recording Corporation
  651    Carolina Liar                                        Last Night                                       SR0000637774                   Atlantic Recording Corporation
  652    Carolina Liar                                        Show Me What I'm Looking For                     SR0000637774                   Atlantic Recording Corporation
  653    Carolina Liar                                        Simple Life                                      SR0000637774                   Atlantic Recording Corporation
  654    Carolina Liar                                        Something To Die For                             SR0000637774                   Atlantic Recording Corporation
  655    Carolina Liar                                        When You Are Near                                SR0000637774                   Atlantic Recording Corporation
  656    Christina Perri                                      arms                                             SR0000704080                   Atlantic Recording Corporation
  657    Christina Perri                                      backwards                                        SR0000705202                   Atlantic Recording Corporation
  658    Christina Perri                                      bang bang bang                                   SR0000704080                   Atlantic Recording Corporation
  659    Christina Perri                                      black + blue                                     SR0000705202                   Atlantic Recording Corporation
  660    Christina Perri                                      bluebird                                         SR0000704080                   Atlantic Recording Corporation
  661    Christina Perri                                      interlude                                        SR0000704080                   Atlantic Recording Corporation
  662    Christina Perri                                      Jar Of Hearts                                    SR0000704080                   Atlantic Recording Corporation
  663    Christina Perri                                      miles                                            SR0000704080                   Atlantic Recording Corporation
  664    Christina Perri                                      mine                                             SR0000704080                   Atlantic Recording Corporation
  665    Christina Perri                                      my eyes                                          SR0000705202                   Atlantic Recording Corporation
  666    Christina Perri                                      penguin                                          SR0000704080                   Atlantic Recording Corporation
  667    Christina Perri                                      sad song                                         SR0000704080                   Atlantic Recording Corporation
  668    Christina Perri                                      the lonely                                       SR0000704080                   Atlantic Recording Corporation
  669    Christina Perri                                      tragedy                                          SR0000704080                   Atlantic Recording Corporation
  670    Clean Bandit                                         Rather Be                                        SR0000767823                   Atlantic Recording Corporation
  671    Flo Rida                                             21                                               SR0000672870                   Atlantic Recording Corporation
  672    Flo Rida                                             Ack Like You Know                                SR0000629161                   Atlantic Recording Corporation
  673    Flo Rida                                             All My Life                                      SR0000629161                   Atlantic Recording Corporation
  674    Flo Rida                                             American Superstar                               SR0000629161                   Atlantic Recording Corporation
  675    Flo Rida                                             Available                                        SR0000658178                   Atlantic Recording Corporation
  676    Flo Rida                                             Be On You                                        SR0000658178                   Atlantic Recording Corporation
  677    Flo Rida                                             Club Can't Handle Me                             SR0000672870                   Atlantic Recording Corporation
  678    Flo Rida                                             Don't Know How To Act                            SR0000629161                   Atlantic Recording Corporation
  679    Flo Rida                                             Elevator                                         SR0000629161                   Atlantic Recording Corporation
  680    Flo Rida                                             Finally Here                                     SR0000658178                   Atlantic Recording Corporation
  681    Flo Rida                                             Freaky Deaky                                     SR0000629161                   Atlantic Recording Corporation
  682    Flo Rida                                             Gotta Get It (Dancer)                            SR0000658178                   Atlantic Recording Corporation
  683    Flo Rida                                             I Cry                                            SR0000754532                   Atlantic Recording Corporation
  684    Flo Rida                                             In My Mind (Part 2)                              SR0000754532                   Atlantic Recording Corporation


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                                                                               EXHIBIT A - SOUND RECORDINGS

                                   Artist                                                 Track                          Registration Number                      Plaintiff
  685    Flo Rida                                             In The Ayer                                       SR0000629161                   Atlantic Recording Corporation
  686    Flo Rida                                             Jump                                              SR0000658178                   Atlantic Recording Corporation
  687    Flo Rida                                             Let it Roll                                       SR0000754532                   Atlantic Recording Corporation
  688    Flo Rida                                             Low                                               SR0000629161                   Atlantic Recording Corporation
  689    Flo Rida                                             Me & U                                            SR0000629161                   Atlantic Recording Corporation
  690    Flo Rida                                             Mind On My Money                                  SR0000658178                   Atlantic Recording Corporation
  691    Flo Rida                                             Money Right                                       SR0000629161                   Atlantic Recording Corporation
  692    Flo Rida                                             Ms. Hangover                                      SR0000629161                   Atlantic Recording Corporation
  693    Flo Rida                                             Never                                             SR0000658178                   Atlantic Recording Corporation
  694    Flo Rida                                             On and On                                         SR0000672870                   Atlantic Recording Corporation
  695    Flo Rida                                             Priceless                                         SR0000629161                   Atlantic Recording Corporation
  696    Flo Rida                                             R.O.O.T.S.                                        SR0000658178                   Atlantic Recording Corporation
  697    Flo Rida                                             Respirator                                        SR0000672870                   Atlantic Recording Corporation
  698    Flo Rida                                             Rewind                                            SR0000658178                   Atlantic Recording Corporation
  699    Flo Rida                                             Right Round                                       SR0000658178                   Atlantic Recording Corporation
  700    Flo Rida                                             Roll                                              SR0000629161                   Atlantic Recording Corporation
  701    Flo Rida                                             Run                                               SR0000754532                   Atlantic Recording Corporation
  702    Flo Rida                                             Shone                                             SR0000658178                   Atlantic Recording Corporation
  703    Flo Rida                                             Still Missin                                      SR0000629161                   Atlantic Recording Corporation
  704    Flo Rida                                             Sugar                                             SR0000658178                   Atlantic Recording Corporation
  705    Flo Rida                                             Sweet Spot                                        SR0000754532                   Atlantic Recording Corporation
  706    Flo Rida                                             Thinking Of You                                   SR0000754532                   Atlantic Recording Corporation
  707    Flo Rida                                             Touch Me                                          SR0000658178                   Atlantic Recording Corporation
  708    Flo Rida                                             Turn Around (5,4,3,2,1)                           SR0000672870                   Atlantic Recording Corporation
  709    Flo Rida                                             Who Dat Girl                                      SR0000672870                   Atlantic Recording Corporation
  710    Flo Rida                                             Why You Up In Here                                SR0000672870                   Atlantic Recording Corporation
  711    Flo Rida                                             Wild Ones                                         SR0000754532                   Atlantic Recording Corporation
  712    Genesis                                              Congo                                             SR0000239424                   Atlantic Recording Corporation
  713    Genesis                                              I Know What I Like (In Your Wardrobe)             N10834                         Atlantic Recording Corporation
  714    Genesis                                              Mama                                              SR0000047558                   Atlantic Recording Corporation
  715    Genesis                                              The Carpet Crawlers                               N19639                         Atlantic Recording Corporation
  716    Gnarls Barkley                                       Crazy                                             SR0000398345                   Atlantic Recording Corporation
  717    Gnarls Barkley                                       Feng Shui                                         SR0000398345                   Atlantic Recording Corporation
  718    Gnarls Barkley                                       Go-Go Gadget Gospel                               SR0000398345                   Atlantic Recording Corporation
  719    Gnarls Barkley                                       Gone Daddy Gone                                   SR0000398345                   Atlantic Recording Corporation
  720    Gnarls Barkley                                       Just A Thought                                    SR0000398345                   Atlantic Recording Corporation
  721    Gnarls Barkley                                       Necromancer                                       SR0000398345                   Atlantic Recording Corporation
  722    Gnarls Barkley                                       Online                                            SR0000398345                   Atlantic Recording Corporation
  723    Gnarls Barkley                                       Smiley Faces                                      SR0000398345                   Atlantic Recording Corporation
  724    Gnarls Barkley                                       St. Elsewhere                                     SR0000398345                   Atlantic Recording Corporation
  725    Gnarls Barkley                                       The Boogie Monster                                SR0000398345                   Atlantic Recording Corporation
  726    Gnarls Barkley                                       The Last Time                                     SR0000398345                   Atlantic Recording Corporation
  727    Gnarls Barkley                                       Transformer                                       SR0000398345                   Atlantic Recording Corporation
  728    Gnarls Barkley                                       Who Cares?                                        SR0000398345                   Atlantic Recording Corporation
  729    Grouplove                                            Betty's a Bombshell                               SR0000704081                   Atlantic Recording Corporation
  730    Grouplove                                            Chloe                                             SR0000704081                   Atlantic Recording Corporation
  731    Grouplove                                            Close Your Eyes and Count to Ten                  SR0000704081                   Atlantic Recording Corporation
  732    Grouplove                                            Colours                                           SR0000707748                   Atlantic Recording Corporation
  733    Grouplove                                            Cruel and Beautiful World                         SR0000704081                   Atlantic Recording Corporation
  734    Grouplove                                            Don't Say Oh Well                                 SR0000707748                   Atlantic Recording Corporation
  735    Grouplove                                            Get Giddy                                         SR0000707748                   Atlantic Recording Corporation
  736    Grouplove                                            Getaway Car                                       SR0000707748                   Atlantic Recording Corporation
  737    Grouplove                                            Goldcoast                                         SR0000707748                   Atlantic Recording Corporation
  738    Grouplove                                            Itchin' On A Photograph                           SR0000704081                   Atlantic Recording Corporation
  739    Grouplove                                            Love Will Save Your Soul                          SR0000704081                   Atlantic Recording Corporation
  740    Grouplove                                            Lovely Cup                                        SR0000704081                   Atlantic Recording Corporation
  741    Grouplove                                            Naked Kids                                        SR0000704081                   Atlantic Recording Corporation
  742    Grouplove                                            Slow                                              SR0000704081                   Atlantic Recording Corporation
  743    Grouplove                                            Spun                                              SR0000704081                   Atlantic Recording Corporation
  744    Grouplove                                            Tongue Tied                                       SR0000704081                   Atlantic Recording Corporation
  745    Hootie & The Blowfish                                Be The One                                        SR0000223661                   Atlantic Recording Corporation
  746    Hootie & The Blowfish                                Hey Hey What Can I Do?                            SR0000207905                   Atlantic Recording Corporation
  747    Hootie & The Blowfish                                Hold My Hand                                      SR0000193960                   Atlantic Recording Corporation
  748    Hootie & The Blowfish                                I Go Blind                                        SR0000230125                   Atlantic Recording Corporation
  749    Hootie & The Blowfish                                I Will Wait                                       SR0000246482                   Atlantic Recording Corporation
  750    Hootie & The Blowfish                                Innocence                                         SR0000334892                   Atlantic Recording Corporation
  751    Hootie & The Blowfish                                Let Her Cry                                       SR0000193960                   Atlantic Recording Corporation
  752    Hootie & The Blowfish                                Not Even The Trees                                SR0000193960                   Atlantic Recording Corporation
  753    Hootie & The Blowfish                                Old Man & Me                                      SR0000223661                   Atlantic Recording Corporation
  754    Hootie & The Blowfish                                Only Lonely                                       SR0000246482                   Atlantic Recording Corporation
  755    Hootie & The Blowfish                                Only Wanna Be With You                            SR0000193960                   Atlantic Recording Corporation
  756    Hootie & The Blowfish                                Sad Caper                                         SR0000223661                   Atlantic Recording Corporation
  757    Hootie & The Blowfish                                Space                                             SR0000334892                   Atlantic Recording Corporation
  758    Hootie & The Blowfish                                Time                                              SR0000193960                   Atlantic Recording Corporation
  759    Hootie & The Blowfish                                Tucker's Town                                     SR0000223661                   Atlantic Recording Corporation
  760    Hootie & The Blowfish                                Use Me                                            SR0000311807                   Atlantic Recording Corporation
  761    Hunter Hayes                                         I Want Crazy (Encore)                             SR0000748751                   Atlantic Recording Corporation
  762    Icona Pop                                            I Love It                                         SR0000723485                   Atlantic Recording Corporation
  763    INXS                                                 Baby Don't Cry                                    SR0000152091                   Atlantic Recording Corporation
  764    INXS                                                 Beautiful Girl                                    SR0000152091                   Atlantic Recording Corporation
  765    INXS                                                 Bitter Tears                                      SR0000121377                   Atlantic Recording Corporation
  766    INXS                                                 Black And White                                   SR0000042945                   Atlantic Recording Corporation
  767    INXS                                                 Burn For You                                      SR0000054062                   Atlantic Recording Corporation
  768    INXS                                                 By My Side                                        SR0000121377                   Atlantic Recording Corporation
  769    INXS                                                 Dancing On The Jetty                              SR0000054062                   Atlantic Recording Corporation
  770    INXS                                                 Devil Inside                                      SR0000085232                   Atlantic Recording Corporation


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                                   Artist                                                   Track                        Registration Number                      Plaintiff
  771    INXS                                                 Disappear                                         SR0000121377                   Atlantic Recording Corporation
  772    INXS                                                 Don't Change                                      SR0000042945                   Atlantic Recording Corporation
  773    INXS                                                 Heaven Sent                                       SR0000152091                   Atlantic Recording Corporation
  774    INXS                                                 I Send A Message                                  SR0000054062                   Atlantic Recording Corporation
  775    INXS                                                 Just Keep Walking                                 SR0000054970                   Atlantic Recording Corporation
  776    INXS                                                 Kiss The Dirt (Falling Down The Mountain)         SR0000066559                   Atlantic Recording Corporation
  777    INXS                                                 Listen Like Thieves                               SR0000066559                   Atlantic Recording Corporation
  778    INXS                                                 Love Is (What I Say)                              SR0000054062                   Atlantic Recording Corporation
  779    INXS                                                 Mystify                                           SR0000085232                   Atlantic Recording Corporation
  780    INXS                                                 Need You Tonight                                  SR0000085232                   Atlantic Recording Corporation
  781    INXS                                                 Never Tear Us Apart                               SR0000085232                   Atlantic Recording Corporation
  782    INXS                                                 New Sensation                                     SR0000085232                   Atlantic Recording Corporation
  783    INXS                                                 Not Enough Time                                   SR0000152091                   Atlantic Recording Corporation
  784    INXS                                                 Original Sin                                      SR0000054753                   Atlantic Recording Corporation
  785    INXS                                                 Stay Young                                        SR0000054971                   Atlantic Recording Corporation
  786    INXS                                                 Suicide Blonde                                    SR0000121377                   Atlantic Recording Corporation
  787    INXS                                                 Taste It                                          SR0000152091                   Atlantic Recording Corporation
  788    INXS                                                 The Gift                                          SR0000175450                   Atlantic Recording Corporation
  789    INXS                                                 The One Thing                                     SR0000042945                   Atlantic Recording Corporation
  790    INXS                                                 The Stairs                                        SR0000121377                   Atlantic Recording Corporation
  791    INXS                                                 This Time                                         SR0000065969                   Atlantic Recording Corporation
  792    INXS                                                 To Look At You                                    SR0000042945                   Atlantic Recording Corporation
  793    INXS                                                 What You Need                                     SR0000066559                   Atlantic Recording Corporation
  794    INXS with Jimmy Barnes                               Good Times                                        SR0000084356                   Atlantic Recording Corporation
  795    Jason Mraz                                           A Beautiful Mess                                  SR0000623312                   Atlantic Recording Corporation
  796    Jason Mraz                                           Butterfly                                         SR0000623312                   Atlantic Recording Corporation
  797    Jason Mraz                                           Coyotes                                           SR0000623312                   Atlantic Recording Corporation
  798    Jason Mraz                                           Details in the Fabric                             SR0000623312                   Atlantic Recording Corporation
  799    Jason Mraz                                           I Won't Give Up                                   SR0000704463                   Atlantic Recording Corporation
  800    Jason Mraz                                           If It Kills Me                                    SR0000623312                   Atlantic Recording Corporation
  801    Jason Mraz                                           I'm Yours                                         SR0000623312                   Atlantic Recording Corporation
  802    Jason Mraz                                           Live High                                         SR0000623312                   Atlantic Recording Corporation
  803    Jason Mraz                                           Love For A Child                                  SR0000623312                   Atlantic Recording Corporation
  804    Jason Mraz                                           Lucky                                             SR0000623312                   Atlantic Recording Corporation
  805    Jason Mraz                                           Make It Mine                                      SR0000623312                   Atlantic Recording Corporation
  806    Jason Mraz                                           Only Human                                        SR0000623312                   Atlantic Recording Corporation
  807    Jason Mraz                                           The Dynamo Of Volition                            SR0000623312                   Atlantic Recording Corporation
  808    Kid Rock                                             All Summer Long                                   SR0000622796                   Atlantic Recording Corporation
  809    Kid Rock                                             Amen                                              SR0000622796                   Atlantic Recording Corporation
  810    Kid Rock                                             Blue Jeans And A Rosary                           SR0000622796                   Atlantic Recording Corporation
  811    Kid Rock                                             Don't Tell Me You Love Me                         SR0000622796                   Atlantic Recording Corporation
  812    Kid Rock                                             Half Your Age                                     SR0000622796                   Atlantic Recording Corporation
  813    Kid Rock                                             Lowlife (Living The Highlife)                     SR0000622796                   Atlantic Recording Corporation
  814    Kid Rock                                             New Orleans                                       SR0000622796                   Atlantic Recording Corporation
  815    Kid Rock                                             Rock N Roll Jesus                                 SR0000622796                   Atlantic Recording Corporation
  816    Kid Rock                                             Roll On                                           SR0000622796                   Atlantic Recording Corporation
  817    Kid Rock                                             So Hott                                           SR0000622796                   Atlantic Recording Corporation
  818    Kid Rock                                             Sugar                                             SR0000622796                   Atlantic Recording Corporation
  819    Kid Rock                                             When U Love Someone                               SR0000622796                   Atlantic Recording Corporation
  820    Lupe Fiasco                                          All Black Everything                              SR0000704469                   Atlantic Recording Corporation
  821    Lupe Fiasco                                          Beautiful Lasers (2 Ways)                         SR0000704469                   Atlantic Recording Corporation
  822    Lupe Fiasco                                          BREAK THE CHAIN                                   SR0000704469                   Atlantic Recording Corporation
  823    Lupe Fiasco                                          Coming Up                                         SR0000704469                   Atlantic Recording Corporation
  824    Lupe Fiasco                                          Dumb It Down                                      SR0000639320                   Atlantic Recording Corporation
  825    Lupe Fiasco                                          Fighters                                          SR0000639320                   Atlantic Recording Corporation
  826    Lupe Fiasco                                          Free Chilly                                       SR0000639320                   Atlantic Recording Corporation
  827    Lupe Fiasco                                          Go Go Gadget Flow                                 SR0000639320                   Atlantic Recording Corporation
  828    Lupe Fiasco                                          Gotta Eat                                         SR0000639320                   Atlantic Recording Corporation
  829    Lupe Fiasco                                          Hip-Hop Saved My Life                             SR0000639320                   Atlantic Recording Corporation
  830    Lupe Fiasco                                          I Don't Wanna Care Right Now                      SR0000704469                   Atlantic Recording Corporation
  831    Lupe Fiasco                                          Intruder Alert                                    SR0000639320                   Atlantic Recording Corporation
  832    Lupe Fiasco                                          Letting Go                                        SR0000704469                   Atlantic Recording Corporation
  833    Lupe Fiasco                                          Little Weapon                                     SR0000639320                   Atlantic Recording Corporation
  834    Lupe Fiasco                                          Never Forget You                                  SR0000704469                   Atlantic Recording Corporation
  835    Lupe Fiasco                                          Out Of My Head                                    SR0000704469                   Atlantic Recording Corporation
  836    Lupe Fiasco                                          Paris, Tokyo                                      SR0000639320                   Atlantic Recording Corporation
  837    Lupe Fiasco                                          Put You On Game                                   SR0000639320                   Atlantic Recording Corporation
  838    Lupe Fiasco                                          State Run Radio                                   SR0000704469                   Atlantic Recording Corporation
  839    Lupe Fiasco                                          Streets On Fire                                   SR0000639320                   Atlantic Recording Corporation
  840    Lupe Fiasco                                          Superstar                                         SR0000639320                   Atlantic Recording Corporation
  841    Lupe Fiasco                                          The Coolest                                       SR0000639320                   Atlantic Recording Corporation
  842    Lupe Fiasco                                          The Die                                           SR0000639320                   Atlantic Recording Corporation
  843    Lupe Fiasco                                          The Show Goes On                                  SR0000704469                   Atlantic Recording Corporation
  844    Lupe Fiasco                                          Till I Get There                                  SR0000704469                   Atlantic Recording Corporation
  845    Lupe Fiasco                                          Words I Never Said                                SR0000704469                   Atlantic Recording Corporation
  846    Lupe Fiasco                                          Go Baby                                           SR0000639320                   Atlantic Recording Corporation
  847    Lupe Fiasco                                          Hi-Definitions                                    SR0000639320                   Atlantic Recording Corporation
  848    Matchbox Twenty                                      3AM                                               SR0000227755                   Atlantic Recording Corporation
  849    Matchbox Twenty                                      All I Need                                        SR0000345857                   Atlantic Recording Corporation
  850    Matchbox Twenty                                      All Your Reasons                                  SR0000633456                   Atlantic Recording Corporation
  851    Matchbox Twenty                                      Angry                                             SR0000305708                   Atlantic Recording Corporation
  852    Matchbox Twenty                                      Argue                                             SR0000227755                   Atlantic Recording Corporation
  853    Matchbox Twenty                                      Back 2 Good (Remastered)                          SR0000633456                   Atlantic Recording Corporation
  854    Matchbox Twenty                                      Bed Of Lies                                       SR0000305708                   Atlantic Recording Corporation
  855    Matchbox Twenty                                      Bent (Remastered)                                 SR0000633456                   Atlantic Recording Corporation



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                                   Artist                                                  Track                           Registration Number                      Plaintiff
  856    Matchbox Twenty                                      Black & White People                                SR0000305708                   Atlantic Recording Corporation
  857    Matchbox Twenty                                      Busted                                              SR0000227755                   Atlantic Recording Corporation
  858    Matchbox Twenty                                      Can't Let You Go                                    SR0000633456                   Atlantic Recording Corporation
  859    Matchbox Twenty                                      Cold                                                SR0000345857                   Atlantic Recording Corporation
  860    Matchbox Twenty                                      Could I Be You                                      SR0000345857                   Atlantic Recording Corporation
  861    Matchbox Twenty                                      Crutch                                              SR0000305708                   Atlantic Recording Corporation
  862    Matchbox Twenty                                      Damn                                                SR0000227755                   Atlantic Recording Corporation
  863    Matchbox Twenty                                      Disease (Acoustic)                                  SR0000353594                   Atlantic Recording Corporation
  864    Matchbox Twenty                                      Disease (Remastered)                                SR0000633456                   Atlantic Recording Corporation
  865    Matchbox Twenty                                      Downfall                                            SR0000345857                   Atlantic Recording Corporation
  866    Matchbox Twenty                                      English Town                                        SR0000714896                   Atlantic Recording Corporation
  867    Matchbox Twenty                                      Feel                                                SR0000345857                   Atlantic Recording Corporation
  868    Matchbox Twenty                                      Girl Like That                                      SR0000227755                   Atlantic Recording Corporation
  869    Matchbox Twenty                                      Hand Me Down                                        SR0000345857                   Atlantic Recording Corporation
  870    Matchbox Twenty                                      Hang                                                SR0000227755                   Atlantic Recording Corporation
  871    Matchbox Twenty                                      How Far We've Come                                  SR0000633456                   Atlantic Recording Corporation
  872    Matchbox Twenty                                      How Long                                            SR0000714896                   Atlantic Recording Corporation
  873    Matchbox Twenty                                      I Will                                              SR0000714896                   Atlantic Recording Corporation
  874    Matchbox Twenty                                      If I Fall                                           SR0000633456                   Atlantic Recording Corporation
  875    Matchbox Twenty                                      If You're Gone                                      SR0000305708                   Atlantic Recording Corporation
  876    Matchbox Twenty                                      I'll Believe You When                               SR0000633456                   Atlantic Recording Corporation
  877    Matchbox Twenty                                      Kody                                                SR0000227755                   Atlantic Recording Corporation
  878    Matchbox Twenty                                      Last Beautiful Girl                                 SR0000305708                   Atlantic Recording Corporation
  879    Matchbox Twenty                                      Leave                                               SR0000305708                   Atlantic Recording Corporation
  880    Matchbox Twenty                                      Like Sugar                                          SR0000714896                   Atlantic Recording Corporation
  881    Matchbox Twenty                                      Long Day                                            SR0000227755                   Atlantic Recording Corporation
  882    Matchbox Twenty                                      Mad Season (Remastered)                             SR0000633456                   Atlantic Recording Corporation
  883    Matchbox Twenty                                      Our Song                                            SR0000714896                   Atlantic Recording Corporation
  884    Matchbox Twenty                                      Overjoyed                                           SR0000714896                   Atlantic Recording Corporation
  885    Matchbox Twenty                                      Push                                                SR0000227755                   Atlantic Recording Corporation
  886    Matchbox Twenty                                      Push (Remastered)                                   SR0000633456                   Atlantic Recording Corporation
  887    Matchbox Twenty                                      Put Your Hands Up                                   SR0000714896                   Atlantic Recording Corporation
  888    Matchbox Twenty                                      Radio                                               SR0000714896                   Atlantic Recording Corporation
  889    Matchbox Twenty                                      Real World                                          SR0000227755                   Atlantic Recording Corporation
  890    Matchbox Twenty                                      Rest Stop                                           SR0000305708                   Atlantic Recording Corporation
  891    Matchbox Twenty                                      She's So Mean                                       SR0000714896                   Atlantic Recording Corporation
  892    Matchbox Twenty                                      Sleeping At The Wheel                               SR0000714896                   Atlantic Recording Corporation
  893    Matchbox Twenty                                      Soul                                                SR0000345857                   Atlantic Recording Corporation
  894    Matchbox Twenty                                      Stop                                                SR0000305708                   Atlantic Recording Corporation
  895    Matchbox Twenty                                      The Burn                                            SR0000305708                   Atlantic Recording Corporation
  896    Matchbox Twenty                                      The Difference                                      SR0000345857                   Atlantic Recording Corporation
  897    Matchbox Twenty                                      These Hard Times                                    SR0000633456                   Atlantic Recording Corporation
  898    Matchbox Twenty                                      Unwell                                              SR0000345857                   Atlantic Recording Corporation
  899    Matchbox Twenty                                      You Won't Be Mine                                   SR0000305708                   Atlantic Recording Corporation
  900    Matchbox Twenty                                      You're So Real                                      SR0000345857                   Atlantic Recording Corporation
  901    Meek Mill                                            Amen                                                SRu001109021                   Atlantic Recording Corporation
  902    Musiq Soulchild                                      backagain                                           SR0000706644                   Atlantic Recording Corporation
  903    Musiq Soulchild                                      dearjohn                                            SR0000706644                   Atlantic Recording Corporation
  904    Musiq Soulchild                                      deserveumore                                        SR0000706644                   Atlantic Recording Corporation
  905    Musiq Soulchild                                      ifuleave                                            SR0000706644                   Atlantic Recording Corporation
  906    Musiq Soulchild                                      iwannabe                                            SR0000706644                   Atlantic Recording Corporation
  907    Musiq Soulchild                                      loveofmylife                                        SR0000706644                   Atlantic Recording Corporation
  908    Musiq Soulchild                                      moneyright                                          SR0000706644                   Atlantic Recording Corporation
  909    Musiq Soulchild                                      Radio                                               SR0000706644                   Atlantic Recording Corporation
  910    Musiq Soulchild                                      sobeautiful                                         SR0000706644                   Atlantic Recording Corporation
  911    Musiq Soulchild                                      someone                                             SR0000706644                   Atlantic Recording Corporation
  912    Musiq Soulchild                                      special                                             SR0000706644                   Atlantic Recording Corporation
  913    Musiq Soulchild                                      until                                               SR0000706644                   Atlantic Recording Corporation
  914    P.O.D.                                               Youth Of The Nation                                 SR0000303757                   Atlantic Recording Corporation
  915    Paramore                                             (One Of Those) Crazy Girls                          SR0000724441                   Atlantic Recording Corporation
  916    Paramore                                             All I Wanted                                        SR0000657157                   Atlantic Recording Corporation
  917    Paramore                                             Anklebiters                                         SR0000724441                   Atlantic Recording Corporation
  918    Paramore                                             Be Alone                                            SR0000724441                   Atlantic Recording Corporation
  919    Paramore                                             Born For This                                       SR0000631909                   Atlantic Recording Corporation
  920    Paramore                                             Careful                                             SR0000657157                   Atlantic Recording Corporation
  921    Paramore                                             crushcrushcrush                                     SR0000631909                   Atlantic Recording Corporation
  922    Paramore                                             Daydreaming                                         SR0000724441                   Atlantic Recording Corporation
  923    Paramore                                             Fast In My Car                                      SR0000724441                   Atlantic Recording Corporation
  924    Paramore                                             Feeling Sorry                                       SR0000657157                   Atlantic Recording Corporation
  925    Paramore                                             Fences                                              SR0000631909                   Atlantic Recording Corporation
  926    Paramore                                             For A Pessimist, I'm Pretty Optimistic              SR0000631909                   Atlantic Recording Corporation
  927    Paramore                                             Future                                              SR0000724441                   Atlantic Recording Corporation
  928    Paramore                                             Grow Up                                             SR0000724441                   Atlantic Recording Corporation
  929    Paramore                                             Hallelujah                                          SR0000631909                   Atlantic Recording Corporation
  930    Paramore                                             Hate To See Your Heart Break                        SR0000724441                   Atlantic Recording Corporation
  931    Paramore                                             Interlude: Holiday                                  SR0000724441                   Atlantic Recording Corporation
  932    Paramore                                             Interlude: I'm Not Angry Anymore                    SR0000724441                   Atlantic Recording Corporation
  933    Paramore                                             Interlude: Moving On                                SR0000724441                   Atlantic Recording Corporation
  934    Paramore                                             Last Hope                                           SR0000724441                   Atlantic Recording Corporation
  935    Paramore                                             Let The Flames Begin                                SR0000631909                   Atlantic Recording Corporation
  936    Paramore                                             Looking Up                                          SR0000657157                   Atlantic Recording Corporation
  937    Paramore                                             Miracle                                             SR0000631909                   Atlantic Recording Corporation
  938    Paramore                                             Misguided Ghosts                                    SR0000657157                   Atlantic Recording Corporation
  939    Paramore                                             Now                                                 SR0000724441                   Atlantic Recording Corporation
  940    Paramore                                             Part II                                             SR0000724441                   Atlantic Recording Corporation
  941    Paramore                                             Proof                                               SR0000724441                   Atlantic Recording Corporation


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                                   Artist                                                  Track                           Registration Number                      Plaintiff
  942    Paramore                                             Still Into You                                      SR0000724441                   Atlantic Recording Corporation
  943    Paramore                                             That's What You Get                                 SR0000631909                   Atlantic Recording Corporation
  944    Paramore                                             Turn It Off                                         SR0000657157                   Atlantic Recording Corporation
  945    Paramore                                             We Are Broken                                       SR0000631909                   Atlantic Recording Corporation
  946    Paramore                                             When It Rains                                       SR0000631909                   Atlantic Recording Corporation
  947    Plies                                                1 Mo Time                                           SR0000612286                   Atlantic Recording Corporation
  948    Plies                                                100 Years                                           SR0000612286                   Atlantic Recording Corporation
  949    Plies                                                Friday                                              SR0000612286                   Atlantic Recording Corporation
  950    Plies                                                Goons Lurkin                                        SR0000612286                   Atlantic Recording Corporation
  951    Plies                                                I Am The Club                                       SR0000612286                   Atlantic Recording Corporation
  952    Plies                                                I Kno U Workin                                      SR0000612286                   Atlantic Recording Corporation
  953    Plies                                                Kept It Too Real                                    SR0000612286                   Atlantic Recording Corporation
  954    Plies                                                Money Straight                                      SR0000612286                   Atlantic Recording Corporation
  955    Plies                                                Murkin Season                                       SR0000612286                   Atlantic Recording Corporation
  956    Plies                                                On My D**k                                          SR0000612286                   Atlantic Recording Corporation
  957    Plies                                                Runnin' My Momma Crazy                              SR0000612286                   Atlantic Recording Corporation
  958    Plies                                                The Real Testament Intro                            SR0000612286                   Atlantic Recording Corporation
  959    Plies                                                You                                                 SR0000612286                   Atlantic Recording Corporation
  960    Plies                                                Shawty                                              SR0000612286                   Atlantic Recording Corporation
  961    Plies feat. Akon                                     Hypnotized                                          SR0000612286                   Atlantic Recording Corporation
  962    Rob Thomas                                           All That I Am                                       SR0000373876                   Atlantic Recording Corporation
  963    Rob Thomas                                           Ever The Same                                       SR0000373876                   Atlantic Recording Corporation
  964    Rob Thomas                                           Fallin' To Pieces                                   SR0000373876                   Atlantic Recording Corporation
  965    Rob Thomas                                           I Am An Illusion                                    SR0000373876                   Atlantic Recording Corporation
  966    Rob Thomas                                           Lonely No More                                      SR0000373876                   Atlantic Recording Corporation
  967    Rob Thomas                                           My, My, My                                          SR0000373876                   Atlantic Recording Corporation
  968    Rob Thomas                                           Now Comes The Night                                 SR0000373876                   Atlantic Recording Corporation
  969    Rob Thomas                                           Problem Girl                                        SR0000373876                   Atlantic Recording Corporation
  970    Rob Thomas                                           Something To Be                                     SR0000373876                   Atlantic Recording Corporation
  971    Rob Thomas                                           This Is How A Heart Breaks                          SR0000373876                   Atlantic Recording Corporation
  972    Rob Thomas                                           When The Heartache Ends                             SR0000373876                   Atlantic Recording Corporation
  973    Shinedown                                            45                                                  SR0000342566                   Atlantic Recording Corporation
  974    Shinedown                                            All I Ever Wanted                                   SR0000342566                   Atlantic Recording Corporation
  975    Shinedown                                            Better Version                                      SR0000342566                   Atlantic Recording Corporation
  976    Shinedown                                            Breaking Inside                                     SR0000673788                   Atlantic Recording Corporation
  977    Shinedown                                            Burning Bright                                      SR0000342566                   Atlantic Recording Corporation
  978    Shinedown                                            Call Me                                             SR0000673788                   Atlantic Recording Corporation
  979    Shinedown                                            Cry For Help                                        SR0000673788                   Atlantic Recording Corporation
  980    Shinedown                                            Crying Out                                          SR0000342566                   Atlantic Recording Corporation
  981    Shinedown                                            Cyanide Sweet Tooth Suicide                         SR0000673788                   Atlantic Recording Corporation
  982    Shinedown                                            Devour                                              SR0000673788                   Atlantic Recording Corporation
  983    Shinedown                                            Fly From The Inside                                 SR0000342566                   Atlantic Recording Corporation
  984    Shinedown                                            I Own You                                           SR0000673788                   Atlantic Recording Corporation
  985    Shinedown                                            If You Only Knew                                    SR0000673788                   Atlantic Recording Corporation
  986    Shinedown                                            In Memory                                           SR0000342566                   Atlantic Recording Corporation
  987    Shinedown                                            Lacerated                                           SR0000342566                   Atlantic Recording Corporation
  988    Shinedown                                            Left Out                                            SR0000342566                   Atlantic Recording Corporation
  989    Shinedown                                            Lost In The Crowd                                   SR0000342566                   Atlantic Recording Corporation
  990    Shinedown                                            No More Love                                        SR0000342566                   Atlantic Recording Corporation
  991    Shinedown                                            Second Chance                                       SR0000673788                   Atlantic Recording Corporation
  992    Shinedown                                            Sin With A Grin                                     SR0000673788                   Atlantic Recording Corporation
  993    Shinedown                                            Son Of Sam                                          SR0000673788                   Atlantic Recording Corporation
  994    Shinedown                                            Sound Of Madness                                    SR0000673788                   Atlantic Recording Corporation
  995    Shinedown                                            Stranger Inside                                     SR0000342566                   Atlantic Recording Corporation
  996    Shinedown                                            The Crow & The Butterfly                            SR0000673788                   Atlantic Recording Corporation
  997    Shinedown                                            The Energy                                          SR0000673788                   Atlantic Recording Corporation
  998    Shinedown                                            What A Shame                                        SR0000673788                   Atlantic Recording Corporation
  999    Simple Plan                                          Generation                                          SR0000639323                   Atlantic Recording Corporation
  1000   Simple Plan                                          Holding On                                          SR0000639323                   Atlantic Recording Corporation
  1001   Simple Plan                                          I Can Wait Forever                                  SR0000639323                   Atlantic Recording Corporation
  1002   Simple Plan                                          No Love                                             SR0000639323                   Atlantic Recording Corporation
  1003   Simple Plan                                          Running Out of Time                                 SR0000686779                   Atlantic Recording Corporation
  1004   Simple Plan                                          Save You                                            SR0000639323                   Atlantic Recording Corporation
  1005   Simple Plan                                          Take My Hand                                        SR0000639323                   Atlantic Recording Corporation
  1006   Simple Plan                                          The End                                             SR0000639323                   Atlantic Recording Corporation
  1007   Simple Plan                                          Time To Say Goodbye                                 SR0000639323                   Atlantic Recording Corporation
  1008   Simple Plan                                          When I'm Gone                                       SR0000639323                   Atlantic Recording Corporation
  1009   Simple Plan                                          When I'm Gone (Acoustic Version)                    SR0000686779                   Atlantic Recording Corporation
  1010   Simple Plan                                          Your Love Is A Lie                                  SR0000639323                   Atlantic Recording Corporation
  1011   Staind                                               All I Want                                          SR0000652574                   Atlantic Recording Corporation
  1012   Staind                                               Believe                                             SR0000652574                   Atlantic Recording Corporation
  1013   Staind                                               Break Away                                          SR0000652574                   Atlantic Recording Corporation
  1014   Staind                                               It's Been Awhile (Live at Hiro Ballroom)            SR0000708769                   Atlantic Recording Corporation
  1015   Staind                                               Lost Along The Way                                  SR0000652574                   Atlantic Recording Corporation
  1016   Staind                                               Nothing Left To Say                                 SR0000652574                   Atlantic Recording Corporation
  1017   Staind                                               Pardon Me                                           SR0000652574                   Atlantic Recording Corporation
  1018   Staind                                               Raining Again                                       SR0000652574                   Atlantic Recording Corporation
  1019   Staind                                               Rainy Day Parade                                    SR0000652574                   Atlantic Recording Corporation
  1020   Staind                                               Tangled Up In You                                   SR0000652574                   Atlantic Recording Corporation
  1021   Staind                                               The Corner                                          SR0000652574                   Atlantic Recording Corporation
  1022   Staind                                               The Way I Am                                        SR0000652574                   Atlantic Recording Corporation
  1023   Staind                                               This Is It                                          SR0000652574                   Atlantic Recording Corporation
  1024   Trey Songz                                           2 Reasons                                           SR0000715080                   Atlantic Recording Corporation
  1025   Trey Songz                                           Alone                                               SR0000671697                   Atlantic Recording Corporation
  1026   Trey Songz                                           Bad Decisions                                       SR0000715080                   Atlantic Recording Corporation
  1027   Trey Songz                                           Blind                                               SR0000671697                   Atlantic Recording Corporation


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                                   Artist                                             Track                            Registration Number                      Plaintiff
  1028   Trey Songz                                           Bottoms Up                                      SR0000671697                   Atlantic Recording Corporation
  1029   Trey Songz                                           Can't Be Friends                                SR0000671697                   Atlantic Recording Corporation
  1030   Trey Songz                                           Chapter V                                       SR0000715080                   Atlantic Recording Corporation
  1031   Trey Songz                                           Check Me Out                                    SR0000715080                   Atlantic Recording Corporation
  1032   Trey Songz                                           Dive In                                         SR0000715080                   Atlantic Recording Corporation
  1033   Trey Songz                                           Don't Be Scared                                 SR0000715080                   Atlantic Recording Corporation
  1034   Trey Songz                                           Doorbell                                        SR0000671697                   Atlantic Recording Corporation
  1035   Trey Songz                                           Forever Yours                                   SR0000715080                   Atlantic Recording Corporation
  1036   Trey Songz                                           Fumble                                          SR0000715080                   Atlantic Recording Corporation
  1037   Trey Songz                                           Hail Mary                                       SR0000715080                   Atlantic Recording Corporation
  1038   Trey Songz                                           Heart Attack                                    SR0000715080                   Atlantic Recording Corporation
  1039   Trey Songz                                           Inside Interlewd                                SR0000715080                   Atlantic Recording Corporation
  1040   Trey Songz                                           Interlude4U                                     SR0000715080                   Atlantic Recording Corporation
  1041   Trey Songz                                           Love Faces                                      SR0000671697                   Atlantic Recording Corporation
  1042   Trey Songz                                           Made To Be Together                             SR0000671697                   Atlantic Recording Corporation
  1043   Trey Songz                                           Massage                                         SR0000671697                   Atlantic Recording Corporation
  1044   Trey Songz                                           Never Again                                     SR0000715080                   Atlantic Recording Corporation
  1045   Trey Songz                                           Pain (Interlude)                                SR0000671697                   Atlantic Recording Corporation
  1046   Trey Songz                                           Panty Wetter                                    SR0000715080                   Atlantic Recording Corporation
  1047   Trey Songz                                           Passion (Interlude)                             SR0000671697                   Atlantic Recording Corporation
  1048   Trey Songz                                           Playin' Hard                                    SR0000715080                   Atlantic Recording Corporation
  1049   Trey Songz                                           Please Return My Call                           SR0000671697                   Atlantic Recording Corporation
  1050   Trey Songz                                           Pleasure (Interlude)                            SR0000671697                   Atlantic Recording Corporation
  1051   Trey Songz                                           Pretty Girl's Lie                               SR0000715080                   Atlantic Recording Corporation
  1052   Trey Songz                                           Red Lipstick                                    SR0000671697                   Atlantic Recording Corporation
  1053   Trey Songz                                           Simply Amazing                                  SR0000715080                   Atlantic Recording Corporation
  1054   Trey Songz                                           Unfortunate                                     SR0000671697                   Atlantic Recording Corporation
  1055   Trey Songz                                           Unusual                                         SR0000671697                   Atlantic Recording Corporation
  1056   Trey Songz                                           Without A Woman                                 SR0000715080                   Atlantic Recording Corporation
  1057   Trey Songz                                           You Just Need Me                                SR0000671697                   Atlantic Recording Corporation
  1058   Ty Dolla $ign                                        Or Nah                                          SR0000743306                   Atlantic Recording Corporation
  1059   Uncle Kracker                                        Smile                                           SR0000657108                   Atlantic Recording Corporation
  1060   Waka Flocka Flame                                    Bang                                            SR0000672357                   Atlantic Recording Corporation
  1061   Waka Flocka Flame                                    Bricksquad                                      SR0000672357                   Atlantic Recording Corporation
  1062   Waka Flocka Flame                                    Bustin' At 'Em                                  SR0000672357                   Atlantic Recording Corporation
  1063   Waka Flocka Flame                                    F**k The Club Up                                SR0000672357                   Atlantic Recording Corporation
  1064   Waka Flocka Flame                                    F**k This Industry                              SR0000672357                   Atlantic Recording Corporation
  1065   Waka Flocka Flame                                    For My Dawgs                                    SR0000672357                   Atlantic Recording Corporation
  1066   Waka Flocka Flame                                    G Check                                         SR0000672357                   Atlantic Recording Corporation
  1067   Waka Flocka Flame                                    Grove St. Party                                 SR0000672357                   Atlantic Recording Corporation
  1068   Waka Flocka Flame                                    Homies                                          SR0000672357                   Atlantic Recording Corporation
  1069   Waka Flocka Flame                                    Karma                                           SR0000672357                   Atlantic Recording Corporation
  1070   Waka Flocka Flame                                    Live By The Gun                                 SR0000672357                   Atlantic Recording Corporation
  1071   Waka Flocka Flame                                    No Hands                                        SR0000672357                   Atlantic Recording Corporation
  1072   Waka Flocka Flame                                    O Let's Do It                                   SR0000672357                   Atlantic Recording Corporation
  1073   Waka Flocka Flame                                    Smoke, Drank                                    SR0000672357                   Atlantic Recording Corporation
  1074   Waka Flocka Flame                                    Snake In The Grass                              SR0000672357                   Atlantic Recording Corporation
  1075   Waka Flocka Flame                                    TTG (Trained To Go)                             SR0000672357                   Atlantic Recording Corporation
  1076   Wale & Meek Mill                                     Bag Of Money                                    SR0000718581                   Atlantic Recording Corporation
  1077   Wiz Khalifa                                          Bluffin                                         SR0000715951                   Atlantic Recording Corporation
  1078   Wiz Khalifa                                          Fall Asleep                                     SR0000715951                   Atlantic Recording Corporation
  1079   Wiz Khalifa                                          Got Everything                                  SR0000715951                   Atlantic Recording Corporation
  1080   Wiz Khalifa                                          Initiation                                      SR0000715951                   Atlantic Recording Corporation
  1081   Wiz Khalifa                                          Intro                                           SR0000715951                   Atlantic Recording Corporation
  1082   Wiz Khalifa                                          It's Nothin                                     SR0000715951                   Atlantic Recording Corporation
  1083   Wiz Khalifa                                          Let It Go                                       SR0000715951                   Atlantic Recording Corporation
  1084   Wiz Khalifa                                          Medicated                                       SR0000715951                   Atlantic Recording Corporation
  1085   Wiz Khalifa                                          No Limit                                        SR0000715951                   Atlantic Recording Corporation
  1086   Wiz Khalifa                                          Paperbond                                       SR0000715951                   Atlantic Recording Corporation
  1087   Wiz Khalifa                                          Remember You                                    SR0000715951                   Atlantic Recording Corporation
  1088   Wiz Khalifa                                          Rise Above                                      SR0000715951                   Atlantic Recording Corporation
  1089   Wiz Khalifa                                          The Bluff                                       SR0000715951                   Atlantic Recording Corporation
  1090   Wiz Khalifa                                          The Plan                                        SR0000715951                   Atlantic Recording Corporation
  1091   Wiz Khalifa                                          Time                                            SR0000715951                   Atlantic Recording Corporation
  1092   Wiz Khalifa                                          Up In It                                        SR0000715951                   Atlantic Recording Corporation
  1093   Wiz Khalifa                                          Work Hard, Play Hard                            SR0000715951                   Atlantic Recording Corporation
  1094   Zac Brown Band                                       Day That I Die                                  SR0000726685                   Atlantic Recording Corporation
  1095   Zac Brown Band                                       Goodbye In Her Eyes                             SR0000726685                   Atlantic Recording Corporation
  1096   Zac Brown Band                                       Island Song                                     SR0000726685                   Atlantic Recording Corporation
  1097   Zac Brown Band                                       Lance's Song                                    SR0000726685                   Atlantic Recording Corporation
  1098   Zac Brown Band                                       Last But Not Least                              SR0000726685                   Atlantic Recording Corporation
  1099   Zac Brown Band                                       Natural Disaster                                SR0000726685                   Atlantic Recording Corporation
  1100   Zac Brown Band                                       Overnight                                       SR0000726685                   Atlantic Recording Corporation
  1101   Zac Brown Band                                       Sweet Annie                                     SR0000726685                   Atlantic Recording Corporation
  1102   Zac Brown Band                                       The Wind                                        SR0000726685                   Atlantic Recording Corporation
  1103   Zac Brown Band                                       Uncaged                                         SR0000726685                   Atlantic Recording Corporation
  1104   Gorilla Zoe                                          Lost                                            SR0000663781                   Bad Boy Records LLC
  1105   P. Diddy feat. Keyshia Cole                          Last Night                                      SR0000400868                   Bad Boy Records LLC
  1106   The Notorious B.I.G.                                 Notorious Thugs                                 SR0000220411                   Bad Boy Records LLC
  1107   Yung Joc                                             1st Time                                        SR0000393525                   Bad Boy Records LLC
  1108   Yung Joc                                             Bottle Poppin'                                  SR0000622799                   Bad Boy Records LLC
  1109   Yung Joc                                             Brand New                                       SR0000622799                   Bad Boy Records LLC
  1110   Yung Joc                                             BYOB                                            SR0000622799                   Bad Boy Records LLC
  1111   Yung Joc                                             Chevy Smile                                     SR0000622799                   Bad Boy Records LLC
  1112   Yung Joc                                             Coffee Shop                                     SR0000622799                   Bad Boy Records LLC
  1113   Yung Joc                                             Cut Throat                                      SR0000622799                   Bad Boy Records LLC


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                                   Artist                                                 Track                        Registration Number                      Plaintiff
  1114   Yung Joc                                             Do Yah Bad                                      SR0000393525                   Bad Boy Records LLC
  1115   Yung Joc                                             Don't Play Wit It                               SR0000393525                   Bad Boy Records LLC
  1116   Yung Joc                                             Dope Boy Magic                                  SR0000393525                   Bad Boy Records LLC
  1117   Yung Joc                                             Excuse Me Officer (Interlude)                   SR0000393525                   Bad Boy Records LLC
  1118   Yung Joc                                             Flip Flop                                       SR0000393525                   Bad Boy Records LLC
  1119   Yung Joc                                             Getting to da Money                             SR0000622799                   Bad Boy Records LLC
  1120   Yung Joc                                             He Stayed In Trouble (Interlude)                SR0000393525                   Bad Boy Records LLC
  1121   Yung Joc                                             Hear Me Coming                                  SR0000393525                   Bad Boy Records LLC
  1122   Yung Joc                                             Hell Yeah                                       SR0000622799                   Bad Boy Records LLC
  1123   Yung Joc                                             Hustlemania (Skit)                              SR0000622799                   Bad Boy Records LLC
  1124   Yung Joc                                             Hustlenomics                                    SR0000622799                   Bad Boy Records LLC
  1125   Yung Joc                                             I Know You See It                               SR0000393525                   Bad Boy Records LLC
  1126   Yung Joc                                             I'm Him                                         SR0000393525                   Bad Boy Records LLC
  1127   Yung Joc                                             It's Goin' Down                                 SR0000393525                   Bad Boy Records LLC
  1128   Yung Joc                                             Knock It Out                                    SR0000393525                   Bad Boy Records LLC
  1129   Yung Joc                                             Livin' The Life                                 SR0000622799                   Bad Boy Records LLC
  1130   Yung Joc                                             New Joc City (Intro)                            SR0000393525                   Bad Boy Records LLC
  1131   Yung Joc                                             Pak Man                                         SR0000622799                   Bad Boy Records LLC
  1132   Yung Joc                                             Patron                                          SR0000393525                   Bad Boy Records LLC
  1133   Yung Joc                                             Picture Perfect                                 SR0000393525                   Bad Boy Records LLC
  1134   Yung Joc                                             Play Your Cards                                 SR0000622799                   Bad Boy Records LLC
  1135   Yung Joc                                             I'm A G                                         SR0000622799                   Bad Boy Records LLC
  1136   Yung Joc                                             Momma                                           SR0000622799                   Bad Boy Records LLC
  1137   30 Seconds To Mars                                   A Modern Myth (Without Hidden Track)            SR0000377457                   Capitol Records, LLC
  1138   30 Seconds To Mars                                   Battle Of One                                   SR0000377457                   Capitol Records, LLC
  1139   30 Seconds To Mars                                   Hunter                                          SR0000377457                   Capitol Records, LLC
  1140   30 Seconds To Mars                                   R-Evolve                                        SR0000377457                   Capitol Records, LLC
  1141   30 Seconds To Mars                                   Savior                                          SR0000377457                   Capitol Records, LLC
  1142   30 Seconds To Mars                                   The Fantasy                                     SR0000377457                   Capitol Records, LLC
  1143   30 Seconds To Mars                                   The Kill [Bury Me]                              SR0000377457                   Capitol Records, LLC
  1144   30 Seconds To Mars                                   The Story                                       SR0000377457                   Capitol Records, LLC
  1145   30 Seconds To Mars                                   Was It A Dream?                                 SR0000377457                   Capitol Records, LLC
  1146   5 Seconds Of Summer                                  Heartache On The Big Screen                     SR0000741298                   Capitol Records, LLC
  1147   5 Seconds Of Summer                                  She Looks So Perfect                            SR0000741298                   Capitol Records, LLC
  1148   5 Seconds Of Summer                                  The Only Reason                                 SR0000741298                   Capitol Records, LLC
  1149   5 Seconds Of Summer                                  What I Like About You                           SR0000764151                   Capitol Records, LLC
  1150   Avant                                                Break Ya Back                                   SR0000648878                   Capitol Records, LLC
  1151   Avant                                                French Pedicure                                 SR0000648878                   Capitol Records, LLC
  1152   Avant                                                Involve Yourself                                SR0000648878                   Capitol Records, LLC
  1153   Avant                                                Material Things                                 SR0000648878                   Capitol Records, LLC
  1154   Avant                                                Out of Character                                SR0000648878                   Capitol Records, LLC
  1155   Avant                                                Perfect Gentleman                               SR0000648878                   Capitol Records, LLC
  1156   Avant                                                Sailing                                         SR0000648878                   Capitol Records, LLC
  1157   Avant                                                Sensuality                                      SR0000648878                   Capitol Records, LLC
  1158   Avant                                                When It Hurts                                   SR0000649607                   Capitol Records, LLC
  1159   Avant                                                Y.O.U.                                          SR0000648878                   Capitol Records, LLC
  1160   Avant feat. Snoop Dogg                               Attention                                       SR0000648878                   Capitol Records, LLC
  1161   Blind Melon                                          2X4                                             SR0000262682                   Capitol Records, LLC
  1162   Blind Melon                                          All That I Need                                 SR0000336269                   Capitol Records, LLC
  1163   Blind Melon                                          Car Seat (God's Presents)                       SR0000262682                   Capitol Records, LLC
  1164   Blind Melon                                          Change                                          SR0000384161                   Capitol Records, LLC
  1165   Blind Melon                                          Dear Ol' Dad                                    SR0000384161                   Capitol Records, LLC
  1166   Blind Melon                                          Deserted                                        SR0000384161                   Capitol Records, LLC
  1167   Blind Melon                                          Drive                                           SR0000384161                   Capitol Records, LLC
  1168   Blind Melon                                          Dumptruck                                       SR0000262682                   Capitol Records, LLC
  1169   Blind Melon                                          Galaxie                                         SR0000262682                   Capitol Records, LLC
  1170   Blind Melon                                          Glitch                                          SR0000336269                   Capitol Records, LLC
  1171   Blind Melon                                          Hell                                            SR0000336269                   Capitol Records, LLC
  1172   Blind Melon                                          Holyman                                         SR0000384161                   Capitol Records, LLC
  1173   Blind Melon                                          I Wonder                                        SR0000384161                   Capitol Records, LLC
  1174   Blind Melon                                          John Sinclair                                   SR0000336269                   Capitol Records, LLC
  1175   Blind Melon                                          Lemonade                                        SR0000262682                   Capitol Records, LLC
  1176   Blind Melon                                          Letters From A Porcupine                        SR0000336269                   Capitol Records, LLC
  1177   Blind Melon                                          Life Ain't So Shitty                            SR0000336269                   Capitol Records, LLC
  1178   Blind Melon                                          Mouthful Of Cavities                            SR0000262682                   Capitol Records, LLC
  1179   Blind Melon                                          New Life                                        SR0000262682                   Capitol Records, LLC
  1180   Blind Melon                                          No Rain                                         SR0000384161                   Capitol Records, LLC
  1181   Blind Melon                                          No Rain (Ripped Away Version)                   SR0000336269                   Capitol Records, LLC
  1182   Blind Melon                                          Paper Scratcher                                 SR0000384161                   Capitol Records, LLC
  1183   Blind Melon                                          Pull                                            SR0000336269                   Capitol Records, LLC
  1184   Blind Melon                                          Seed To A Tree                                  SR0000384161                   Capitol Records, LLC
  1185   Blind Melon                                          Skinned                                         SR0000262682                   Capitol Records, LLC
  1186   Blind Melon                                          Sleepyhouse                                     SR0000384161                   Capitol Records, LLC
  1187   Blind Melon                                          Soak The Sin                                    SR0000384161                   Capitol Records, LLC
  1188   Blind Melon                                          Soul One                                        SR0000336269                   Capitol Records, LLC
  1189   Blind Melon                                          Soup                                            SR0000336269                   Capitol Records, LLC
  1190   Blind Melon                                          St. Andrew's Fall                               SR0000262682                   Capitol Records, LLC
  1191   Blind Melon                                          St. Andrew's Hall                               SR0000336269                   Capitol Records, LLC
  1192   Blind Melon                                          Swallowed                                       SR0000336269                   Capitol Records, LLC
  1193   Blind Melon                                          The Duke                                        SR0000262682                   Capitol Records, LLC
  1194   Blind Melon                                          The Pusher                                      SR0000336269                   Capitol Records, LLC
  1195   Blind Melon                                          Time                                            SR0000384161                   Capitol Records, LLC
  1196   Blind Melon                                          Toes Across The Floor                           SR0000262682                   Capitol Records, LLC
  1197   Blind Melon                                          Tones Of Home                                   SR0000384161                   Capitol Records, LLC
  1198   Blind Melon                                          Vernie                                          SR0000262682                   Capitol Records, LLC
  1199   Blind Melon                                          Walk                                            SR0000262682                   Capitol Records, LLC


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                                  Artist                                                     Track                            Registration Number                      Plaintiff
  1200   Blind Melon                                          Wilt                                                   SR0000262682                   Capitol Records, LLC
  1201   Capital Cities                                       Center Stage                                           SR0000725325                   Capitol Records, LLC
  1202   Capital Cities                                       Chartreuse                                             SR0000725325                   Capitol Records, LLC
  1203   Capital Cities                                       Chasing You                                            SR0000725325                   Capitol Records, LLC
  1204   Capital Cities                                       Farrah Fawcett Hair                                    SR0000725325                   Capitol Records, LLC
  1205   Capital Cities                                       I Sold My Bed, But Not My Stereo                       SR0000725325                   Capitol Records, LLC
  1206   Capital Cities                                       Kangaroo Court                                         SR0000725325                   Capitol Records, LLC
  1207   Capital Cities                                       Lazy Lies                                              SR0000725325                   Capitol Records, LLC
  1208   Capital Cities                                       Love Away                                              SR0000725325                   Capitol Records, LLC
  1209   Capital Cities                                       Origami                                                SR0000725325                   Capitol Records, LLC
  1210   Capital Cities                                       Patience Gets Us Nowhere Fast                          SR0000725325                   Capitol Records, LLC
  1211   Capital Cities                                       Safe and Sound                                         SR0000725325                   Capitol Records, LLC
  1212   Capital Cities                                       Tell Me How To Live                                    SR0000725325                   Capitol Records, LLC
  1213   Darius Rucker                                        Heartbreak Road                                        SR0000724693                   Capitol Records, LLC
  1214   Darius Rucker                                        Leavin' The Light On                                   SR0000724693                   Capitol Records, LLC
  1215   Darius Rucker                                        Lie To Me                                              SR0000724693                   Capitol Records, LLC
  1216   Darius Rucker                                        Lost In You                                            SR0000724693                   Capitol Records, LLC
  1217   Darius Rucker                                        Miss You                                               SR0000724693                   Capitol Records, LLC
  1218   Darius Rucker                                        Radio                                                  SR0000724693                   Capitol Records, LLC
  1219   Darius Rucker                                        Shine                                                  SR0000724693                   Capitol Records, LLC
  1220   Darius Rucker                                        Take Me Home                                           SR0000724693                   Capitol Records, LLC
  1221   Darius Rucker                                        True Believers                                         SR0000724693                   Capitol Records, LLC
  1222   Darius Rucker                                        Wagon Wheel                                            SR0000724693                   Capitol Records, LLC
  1223   Darius Rucker/Mallary Hope                           I Will Love You Still                                  SR0000724693                   Capitol Records, LLC
  1224   Darius Rucker/Sheryl Crow                            Love Without You                                       SR0000724693                   Capitol Records, LLC
  1225   David Guetta                                         Sweat                                                  SR0000683521                   Capitol Records, LLC
  1226   Garth Brooks                                         Dance, The                                             SR0000109121                   Capitol Records, LLC
  1227   Heart                                                All I Wanna Do Is Make Love To You                     SR0000114803                   Capitol Records, LLC
  1228   Heart                                                Alone                                                  SR0000088275                   Capitol Records, LLC
  1229   Heart                                                Crazy On You                                           SR0000102964                   Capitol Records, LLC
  1230   Heart                                                Dog And Butterfly                                      SR0000276088                   Capitol Records, LLC
  1231   Heart                                                Dreamboat Annie                                        SR0000102964                   Capitol Records, LLC
  1232   Heart                                                Heartless                                              SR0000102963                   Capitol Records, LLC
  1233   Heart                                                If Looks Could Kill                                    SR0000075726                   Capitol Records, LLC
  1234   Heart                                                Magic Man                                              SR0000102964                   Capitol Records, LLC
  1235   Heart                                                Never                                                  SR0000075726                   Capitol Records, LLC
  1236   Heart                                                Nothin' At All                                         SR0000075726                   Capitol Records, LLC
  1237   Heart                                                Stranded                                               SR0000114803                   Capitol Records, LLC
  1238   Heart                                                These Dreams                                           SR0000276088                   Capitol Records, LLC
  1239   Heart                                                What About Love                                        SR0000075726                   Capitol Records, LLC
  1240   Heart                                                Who Will You Run To                                    SR0000088275                   Capitol Records, LLC
  1241   Heart                                                Will You Be There (In The Morning)                     SR0000212555                   Capitol Records, LLC
  1242   Katy Perry                                           Circle The Drain                                       SR0000662268                   Capitol Records, LLC
  1243   Katy Perry                                           Dressin' Up                                            SR0000695553                   Capitol Records, LLC
  1244   Katy Perry                                           E.T.                                                   SR0000681293                   Capitol Records, LLC
  1245   Katy Perry                                           Fingerprints                                           SR0000638214                   Capitol Records, LLC
  1246   Katy Perry                                           Firework                                               SR0000662268                   Capitol Records, LLC
  1247   Katy Perry                                           Hot N Cold                                             SR0000638214                   Capitol Records, LLC
  1248   Katy Perry                                           Hummingbird Heartbeat                                  SR0000662268                   Capitol Records, LLC
  1249   Katy Perry                                           I Kissed A Girl                                        SR0000638214                   Capitol Records, LLC
  1250   Katy Perry                                           If You Can Afford Me                                   SR0000638214                   Capitol Records, LLC
  1251   Katy Perry                                           I'm Still Breathing                                    SR0000638214                   Capitol Records, LLC
  1252   Katy Perry                                           Last Friday Night (T.G.I.F.)                           SR0000662268                   Capitol Records, LLC
  1253   Katy Perry                                           Last Friday Night (T.G.I.F.) (feat. Missy Elliot)      SR0000695549                   Capitol Records, LLC
  1254   Katy Perry                                           Lost                                                   SR0000638213                   Capitol Records, LLC
  1255   Katy Perry                                           Mannequin                                              SR0000638214                   Capitol Records, LLC
  1256   Katy Perry                                           Not Like The Movies                                    SR0000662268                   Capitol Records, LLC
  1257   Katy Perry                                           One Of The Boys                                        SR0000638214                   Capitol Records, LLC
  1258   Katy Perry                                           Part Of Me                                             SR0000695742                   Capitol Records, LLC
  1259   Katy Perry                                           Peacock                                                SR0000662268                   Capitol Records, LLC
  1260   Katy Perry                                           Pearl                                                  SR0000662268                   Capitol Records, LLC
  1261   Katy Perry                                           Roar                                                   SR0000734383                   Capitol Records, LLC
  1262   Katy Perry                                           Self Inflicted                                         SR0000638214                   Capitol Records, LLC
  1263   Katy Perry                                           Teenage Dream                                          SR0000662267                   Capitol Records, LLC
  1264   Katy Perry                                           Teenage Dream (Kaskade Club Remix)                     SR0000662268                   Capitol Records, LLC
  1265   Katy Perry                                           The One That Got Away                                  SR0000662268                   Capitol Records, LLC
  1266   Katy Perry                                           The One That Got Away (Acoustic)                       SR0000695553                   Capitol Records, LLC
  1267   Katy Perry                                           Thinking Of You                                        SR0000638214                   Capitol Records, LLC
  1268   Katy Perry                                           Tommie Sunshine's Megasix Smash-Up                     SR0000695553                   Capitol Records, LLC
  1269   Katy Perry                                           Ur So Gay                                              SR0000638214                   Capitol Records, LLC
  1270   Katy Perry                                           Waking Up In Vegas                                     SR0000638214                   Capitol Records, LLC
  1271   Katy Perry                                           Who Am I Living For?                                   SR0000662268                   Capitol Records, LLC
  1272   Katy Perry feat. Snoop Dogg                          California Gurls                                       SR0000662264                   Capitol Records, LLC
  1273   Katy Perry feat. Snoop Dogg                          California Gurls (Armand Van Helden Remix)             SR0000669922                   Capitol Records, LLC
  1274   Katy Perry feat. Snoop Dogg                          California Gurls (Passion Pit Main Mix)                SR0000662268                   Capitol Records, LLC
  1275   Kenny Rogers                                         Daytime Friends                                        N44114                         Capitol Records, LLC
  1276   Kenny Rogers                                         Don't Fall In Love With A Dreamer                      SR0000017924                   Capitol Records, LLC
  1277   Kenny Rogers                                         Share Your Love With Me                                SR0000027768                   Capitol Records, LLC
  1278   Kenny Rogers                                         Through The Years                                      SR0000027768                   Capitol Records, LLC
  1279   Kenny Rogers                                         What Are We Doin' In Love                              SR0000024347                   Capitol Records, LLC
  1280   Lady Antebellum                                      All For Love                                           SR0000724696                   Capitol Records, LLC
  1281   Lady Antebellum                                      And The Radio Played                                   SR0000724696                   Capitol Records, LLC
  1282   Lady Antebellum                                      As You Turn Away                                       SR0000686148                   Capitol Records, LLC
  1283   Lady Antebellum                                      Better Man                                             SR0000724696                   Capitol Records, LLC




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                                   Artist                                                Track                             Registration Number                      Plaintiff
  1284   Lady Antebellum                                      Better Off Now (That You're Gone)                   SR0000724696                   Capitol Records, LLC

  1285   Lady Antebellum                                      Can't Stand The Rain                                SR0000724696                   Capitol Records, LLC
  1286   Lady Antebellum                                      Cold As Stone                                       SR0000686148                   Capitol Records, LLC
  1287   Lady Antebellum                                      Compass                                             SR0000750709                   Capitol Records, LLC
  1288   Lady Antebellum                                      Dancin' Away With My Heart                          SR0000686147                   Capitol Records, LLC
  1289   Lady Antebellum                                      Downtown                                            SR0000721174                   Capitol Records, LLC
  1290   Lady Antebellum                                      Friday Night                                        SR0000686148                   Capitol Records, LLC
  1291   Lady Antebellum                                      Generation Away                                     SR0000723786                   Capitol Records, LLC
  1292   Lady Antebellum                                      Get To Me                                           SR0000724696                   Capitol Records, LLC
  1293   Lady Antebellum                                      Golden                                              SR0000741953                   Capitol Records, LLC
  1294   Lady Antebellum                                      Goodbye Town                                        SR0000724696                   Capitol Records, LLC
  1295   Lady Antebellum                                      Heart Of The World                                  SR0000686148                   Capitol Records, LLC
  1296   Lady Antebellum                                      I Run To You                                        SR0000732681                   Capitol Records, LLC
  1297   Lady Antebellum                                      It Ain't Pretty                                     SR0000724696                   Capitol Records, LLC
  1298   Lady Antebellum                                      Just A Kiss                                         SR0000679267                   Capitol Records, LLC
  1299   Lady Antebellum                                      Life As We Know It                                  SR0000724696                   Capitol Records, LLC
  1300   Lady Antebellum                                      Long Teenage Goodbye                                SR0000724696                   Capitol Records, LLC
  1301   Lady Antebellum                                      Love I've Found In You                              SR0000686148                   Capitol Records, LLC
  1302   Lady Antebellum                                      Nothin' Like The First Time                         SR0000724696                   Capitol Records, LLC
  1303   Lady Antebellum                                      Singing Me Home                                     SR0000686148                   Capitol Records, LLC
  1304   Lady Antebellum                                      Somewhere Love Remains                              SR0000686148                   Capitol Records, LLC
  1305   Lady Antebellum                                      Wanted You More                                     SR0000686145                   Capitol Records, LLC
  1306   Lady Antebellum                                      We Owned The Night                                  SR0000686144                   Capitol Records, LLC
  1307   Lady Antebellum                                      When You Were Mine                                  SR0000686148                   Capitol Records, LLC
  1308   Luke Bryan                                           All My Friends Say                                  SR0000612029                   Capitol Records, LLC
  1309   Luke Bryan                                           Baby's On The Way                                   SR0000612029                   Capitol Records, LLC
  1310   Luke Bryan                                           Beer In The Headlights                              SR0000728445                   Capitol Records, LLC
  1311   Luke Bryan                                           Better Than My Heart                                SR0000728445                   Capitol Records, LLC
  1312   Luke Bryan                                           Blood Brothers                                      SR0000722027                   Capitol Records, LLC
  1313   Luke Bryan                                           Country Man                                         SR0000612029                   Capitol Records, LLC
  1314   Luke Bryan                                           Crash My Party                                      SR0000722027                   Capitol Records, LLC
  1315   Luke Bryan                                           Dirt Road Diary                                     SR0000722027                   Capitol Records, LLC
  1316   Luke Bryan                                           Drink A Beer                                        SR0000728445                   Capitol Records, LLC
  1317   Luke Bryan                                           First Love Song                                     SR0000612032                   Capitol Records, LLC
  1318   Luke Bryan                                           Goodbye Girl                                        SR0000728445                   Capitol Records, LLC
  1319   Luke Bryan                                           I'll Stay Me                                        SR0000612032                   Capitol Records, LLC
  1320   Luke Bryan                                           Out Like That                                       SR0000728445                   Capitol Records, LLC
  1321   Luke Bryan                                           Over The River                                      SR0000612032                   Capitol Records, LLC
  1322   Luke Bryan                                           Play It Again                                       SR0000728445                   Capitol Records, LLC
  1323   Luke Bryan                                           Pray About Everything                               SR0000612032                   Capitol Records, LLC
  1324   Luke Bryan                                           Roller Coaster                                      SR0000728445                   Capitol Records, LLC
  1325   Luke Bryan                                           Shut It Down                                        SR0000728445                   Capitol Records, LLC
  1326   Luke Bryan                                           Sunburnt Lips                                       SR0000728445                   Capitol Records, LLC
  1327   Luke Bryan                                           Tackle Box                                          SR0000612032                   Capitol Records, LLC
  1328   Luke Bryan                                           That's My Kind Of Night                             SR0000728445                   Capitol Records, LLC
  1329   Luke Bryan                                           The Car In Front Of Me                              SR0000612029                   Capitol Records, LLC
  1330   Luke Bryan                                           We Rode In Trucks                                   SR0000612032                   Capitol Records, LLC
  1331   Luke Bryan                                           We Run This Town                                    SR0000728445                   Capitol Records, LLC
  1332   Luke Bryan                                           What Is It With You                                 SR0000728445                   Capitol Records, LLC
  1333   Luke Bryan                                           You Make Me Want To                                 SR0000612032                   Capitol Records, LLC
  1334   Luke Bryan                                           Your Mama Should've Named You Whiskey               SR0000728445                   Capitol Records, LLC
  1335   Maze                                                 Changing Times                                      SR0000034187                   Capitol Records, LLC
  1336   Maze                                                 Dee's Song (Live)                                   SR0000337846                   Capitol Records, LLC
  1337   Maze                                                 Feel That You're Feelin'                            SR0000034187                   Capitol Records, LLC
  1338   Maze                                                 Feel That You're Feelin' (Live)                     SR0000337846                   Capitol Records, LLC
  1339   Maze                                                 Golden Time Of Day                                  SR0000007973                   Capitol Records, LLC
  1340   Maze                                                 I Wanna Thank You (Live)                            SR0000337846                   Capitol Records, LLC
  1341   Maze                                                 I Want To Feel Wanted (Live)                        SR0000337846                   Capitol Records, LLC
  1342   Maze                                                 Introduction                                        SR0000034187                   Capitol Records, LLC
  1343   Maze                                                 Joy & Pain                                          SR0000034187                   Capitol Records, LLC
  1344   Maze                                                 Joy And Pain                                        SR0000034187                   Capitol Records, LLC
  1345   Maze                                                 Lady Of Magic                                       SR0000048450                   Capitol Records, LLC
  1346   Maze                                                 Reason                                              SR0000034187                   Capitol Records, LLC
  1347   Maze                                                 Running Away                                        SR0000034187                   Capitol Records, LLC
  1348   Maze                                                 Running Away (Live)                                 SR0000337846                   Capitol Records, LLC
  1349   Maze                                                 We Are One (Live)                                   SR0000337846                   Capitol Records, LLC
  1350   Maze                                                 You (Live)                                          SR0000096013                   Capitol Records, LLC
  1351   Maze feat. Frankie Beverly                           Ain't It Strange                                    SR0000008107                   Capitol Records, LLC
  1352   Maze feat. Frankie Beverly                           Back In Stride                                      SR0000337846                   Capitol Records, LLC
  1353   Maze feat. Frankie Beverly                           Back In Stride (Live)                               SR0000337846                   Capitol Records, LLC
  1354   Maze feat. Frankie Beverly                           Call On Me                                          SR0000008107                   Capitol Records, LLC
  1355   Maze feat. Frankie Beverly                           Feel That You're Feelin'                            SR0000007931                   Capitol Records, LLC
  1356   Maze feat. Frankie Beverly                           Freedom (South Africa) (Live)                       SR0000337846                   Capitol Records, LLC
  1357   Maze feat. Frankie Beverly                           Happy Feelings (Live)                               SR0000096013                   Capitol Records, LLC
  1358   Maze feat. Frankie Beverly                           I Need You                                          SR0000007973                   Capitol Records, LLC
  1359   Maze feat. Frankie Beverly                           I Wanna Thank You                                   SR0000046840                   Capitol Records, LLC
  1360   Maze feat. Frankie Beverly                           Lovely Inspiration (Instrumental)                   SR0000008107                   Capitol Records, LLC
  1361   Maze feat. Frankie Beverly                           Song For My Mother                                  SR0000007973                   Capitol Records, LLC
  1362   Maze feat. Frankie Beverly                           Timin'                                              SR0000008107                   Capitol Records, LLC
  1363   Maze feat. Frankie Beverly                           Too Many Games (Live)                               SR0000337846                   Capitol Records, LLC
  1364   Maze feat. Frankie Beverly                           Welcome Home                                        SR0000008107                   Capitol Records, LLC
  1365   Maze feat. Frankie Beverly                           When You Love Someone (Live)                        SR0000337846                   Capitol Records, LLC
  1366   Maze feat. Frankie Beverly                           Woman Is A Wonder                                   SR0000008107                   Capitol Records, LLC
  1367   Maze feat. Frankie Beverly                           You                                                 N39985                         Capitol Records, LLC



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                                  Artist                                                   Track                            Registration Number                      Plaintiff
  1368   Maze feat. Frankie Beverly                           Your Own Kind Of Way                                 SR0000046840                   Capitol Records, LLC
  1369   Maze feat. Frankie Beverly                           You're Not The Same                                  SR0000007973                   Capitol Records, LLC
  1370   Rolling Stones                                       Harlem Shuffle                                       SR0000071259                   Capitol Records, LLC
  1371   Bruno Mars                                           The Lazy Song                                        SR0000671062                   Elektra Entertainment Group Inc.
  1372   Busta Rhymes                                         Tear Da Roof Off                                     SR0000269647                   Elektra Entertainment Group Inc.
  1373   CeeLo Green                                          Bodies                                               SR0000673160                   Elektra Entertainment Group Inc.
  1374   CeeLo Green                                          Cry Baby                                             SR0000673160                   Elektra Entertainment Group Inc.
  1375   CeeLo Green                                          Forget You                                           SR0000673158                   Elektra Entertainment Group Inc.
  1376   CeeLo Green                                          I Want You                                           SR0000673160                   Elektra Entertainment Group Inc.
  1377   CeeLo Green                                          It's OK                                              SR0000673160                   Elektra Entertainment Group Inc.
  1378   CeeLo Green                                          Love Gun                                             SR0000673160                   Elektra Entertainment Group Inc.
  1379   CeeLo Green                                          No One's Gonna Love You                              SR0000673160                   Elektra Entertainment Group Inc.
  1380   CeeLo Green                                          Old Fashioned                                        SR0000673160                   Elektra Entertainment Group Inc.
  1381   CeeLo Green                                          Satisfied                                            SR0000673160                   Elektra Entertainment Group Inc.
  1382   CeeLo Green                                          The Lady Killer Theme (Intro)                        SR0000673160                   Elektra Entertainment Group Inc.
  1383   CeeLo Green                                          The Lady Killer Theme (Outro)                        SR0000673160                   Elektra Entertainment Group Inc.
  1384   CeeLo Green                                          Wildflower                                           SR0000673160                   Elektra Entertainment Group Inc.
  1385   CeeLo Green                                          Bright Lights Bigger City                            SR0000673160                   Elektra Entertainment Group Inc.
  1386   Fitz & The Tantrums                                  6am                                                  SR0000724442                   Elektra Entertainment Group Inc.
  1387   Fitz & The Tantrums                                  Break The Walls                                      SR0000724442                   Elektra Entertainment Group Inc.
  1388   Fitz & The Tantrums                                  Fools Gold                                           SR0000724442                   Elektra Entertainment Group Inc.
  1389   Fitz & The Tantrums                                  Get Away                                             SR0000724442                   Elektra Entertainment Group Inc.
  1390   Fitz & The Tantrums                                  House On Fire                                        SR0000724442                   Elektra Entertainment Group Inc.
  1391   Fitz & The Tantrums                                  Keepin Our Eyes Out                                  SR0000724442                   Elektra Entertainment Group Inc.
  1392   Fitz & The Tantrums                                  Last Raindrop                                        SR0000724442                   Elektra Entertainment Group Inc.
  1393   Fitz & The Tantrums                                  MerryGoRound                                         SR0000724442                   Elektra Entertainment Group Inc.
  1394   Fitz & The Tantrums                                  Out Of My League                                     SR0000724442                   Elektra Entertainment Group Inc.
  1395   Fitz & The Tantrums                                  Spark                                                SR0000724442                   Elektra Entertainment Group Inc.
  1396   Fitz & The Tantrums                                  The End                                              SR0000724442                   Elektra Entertainment Group Inc.
  1397   Fitz & The Tantrums                                  The Walker                                           SR0000724442                   Elektra Entertainment Group Inc.
  1398   George Jones                                         Choices                                              SR0000178893                   Elektra Entertainment Group Inc.
  1399   Grover Washington, Jr.                               Just The Two Of Us                                   SR0000023451                   Elektra Entertainment Group Inc.
  1400   Keith Sweat                                          (There You Go) Tellin' Me No Again                   SR0000150241                   Elektra Entertainment Group Inc.
  1401   Keith Sweat                                          Come With Me                                         SR0000226496                   Elektra Entertainment Group Inc.
  1402   Keith Sweat                                          Don't Stop Your Love                                 SR0000086761                   Elektra Entertainment Group Inc.
  1403   Keith Sweat                                          Get Up On It                                         SR0000193836                   Elektra Entertainment Group Inc.
  1404   Keith Sweat                                          How Deep Is Your Love                                SR0000086761                   Elektra Entertainment Group Inc.
  1405   Keith Sweat                                          I Want Her                                           SR0000085227                   Elektra Entertainment Group Inc.
  1406   Keith Sweat                                          I'll Give All My Love To You                         SR0000150379                   Elektra Entertainment Group Inc.
  1407   Keith Sweat                                          Make It Last Forever                                 SR0000086761                   Elektra Entertainment Group Inc.
  1408   Keith Sweat                                          Merry Go Round                                       SR0000150379                   Elektra Entertainment Group Inc.
  1409   Keith Sweat                                          Right And A Wrong Way                                SR0000086761                   Elektra Entertainment Group Inc.
  1410   Keith Sweat                                          Something Just Ain't Right                           SR0000086761                   Elektra Entertainment Group Inc.
  1411   Keith Sweat                                          Why Me Baby?                                         SR0000150241                   Elektra Entertainment Group Inc.
  1412   Keith Sweat                                          Yumi                                                 SR0000226496                   Elektra Entertainment Group Inc.
  1413   Kenny Rogers                                         Love The World Away                                  SR0000021092                   Elektra Entertainment Group Inc.
  1414   Nada Surf                                            Deeper Well                                          SR0000225933                   Elektra Entertainment Group Inc.
  1415   Nada Surf                                            Hollywood                                            SR0000225933                   Elektra Entertainment Group Inc.
  1416   Nada Surf                                            Icebox                                               SR0000225933                   Elektra Entertainment Group Inc.
  1417   Nada Surf                                            Psychic Caramel                                      SR0000225933                   Elektra Entertainment Group Inc.
  1418   Nada Surf                                            Sleep                                                SR0000225933                   Elektra Entertainment Group Inc.
  1419   Nada Surf                                            Stalemate                                            SR0000225933                   Elektra Entertainment Group Inc.
  1420   Nada Surf                                            The Plan                                             SR0000225933                   Elektra Entertainment Group Inc.
  1421   Nada Surf                                            Treehouse                                            SR0000225933                   Elektra Entertainment Group Inc.
  1422   Nada Surf                                            Zen Brain                                            SR0000225933                   Elektra Entertainment Group Inc.
  1423   Staind                                               Blow Away                                            SR0000332424                   Elektra Entertainment Group Inc.
  1424   Staind                                               Can't Believe                                        SR0000297677                   Elektra Entertainment Group Inc.
  1425   Staind                                               Change                                               SR0000297677                   Elektra Entertainment Group Inc.
  1426   Staind                                               Could It Be                                          SR0000332424                   Elektra Entertainment Group Inc.
  1427   Staind                                               Epiphany                                             SR0000297677                   Elektra Entertainment Group Inc.
  1428   Staind                                               Fade                                                 SR0000297677                   Elektra Entertainment Group Inc.
  1429   Staind                                               Falling Down                                         SR0000332424                   Elektra Entertainment Group Inc.
  1430   Staind                                               Fill Me Up                                           SR0000332424                   Elektra Entertainment Group Inc.
  1431   Staind                                               For You                                              SR0000297677                   Elektra Entertainment Group Inc.
  1432   Staind                                               Fray                                                 SR0000332424                   Elektra Entertainment Group Inc.
  1433   Staind                                               How About You                                        SR0000332424                   Elektra Entertainment Group Inc.
  1434   Staind                                               Intro                                                SR0000332424                   Elektra Entertainment Group Inc.
  1435   Staind                                               Layne                                                SR0000332424                   Elektra Entertainment Group Inc.
  1436   Staind                                               Open Your Eyes                                       SR0000297677                   Elektra Entertainment Group Inc.
  1437   Staind                                               Outside                                              SR0000297677                   Elektra Entertainment Group Inc.
  1438   Staind                                               Pressure                                             SR0000297677                   Elektra Entertainment Group Inc.
  1439   Staind                                               Price To Play                                        SR0000332424                   Elektra Entertainment Group Inc.
  1440   Staind                                               Reality                                              SR0000332424                   Elektra Entertainment Group Inc.
  1441   Staind                                               So Far Away                                          SR0000332424                   Elektra Entertainment Group Inc.
  1442   Staind                                               Suffer                                               SR0000297677                   Elektra Entertainment Group Inc.
  1443   Staind                                               Take It                                              SR0000297677                   Elektra Entertainment Group Inc.
  1444   Staind                                               Tonight                                              SR0000332424                   Elektra Entertainment Group Inc.
  1445   Staind                                               Warm Safe Place                                      SR0000297677                   Elektra Entertainment Group Inc.
  1446   Staind                                               Yesterday                                            SR0000332424                   Elektra Entertainment Group Inc.
  1447   Staind                                               Zoe Jane                                             SR0000332424                   Elektra Entertainment Group Inc.
  1448   The Cars                                             Bye Bye Love                                         SR0000004128                   Elektra Entertainment Group Inc.
  1449   The Cars                                             Dangerous Type                                       SR0000010621                   Elektra Entertainment Group Inc.
  1450   The Cars                                             Drive                                                SR0000052759                   Elektra Entertainment Group Inc.
  1451   The Cars                                             Good Times Roll                                      SR0000004128                   Elektra Entertainment Group Inc.
  1452   The Cars                                             Heartbeat City                                       SR0000053584                   Elektra Entertainment Group Inc.
  1453   The Cars                                             Hello Again                                          SR0000052759                   Elektra Entertainment Group Inc.


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                                   Artist                                                 Track                        Registration Number                      Plaintiff
  1454   The Cars                                             I'm Not The One                                 SR0000032055                   Elektra Entertainment Group Inc.
  1455   The Cars                                             It's All I Can Do                               SR0000010621                   Elektra Entertainment Group Inc.
  1456   The Cars                                             Just What I Needed                              SR0000004127                   Elektra Entertainment Group Inc.
  1457   The Cars                                             Let's Go                                        SR0000010639                   Elektra Entertainment Group Inc.
  1458   The Cars                                             Moving In Stereo                                SR0000004128                   Elektra Entertainment Group Inc.
  1459   The Cars                                             My Best Friend's Girl                           SR0000004128                   Elektra Entertainment Group Inc.
  1460   The Cars                                             Shake It Up                                     SR0000032055                   Elektra Entertainment Group Inc.
  1461   The Cars                                             Since You're Gone                               SR0000032055                   Elektra Entertainment Group Inc.
  1462   The Cars                                             Tonight She Comes                               SR0000066519                   Elektra Entertainment Group Inc.
  1463   The Cars                                             Touch and Go                                    SR0000020897                   Elektra Entertainment Group Inc.
  1464   The Cars                                             Why Can't I Have You                            SR0000052759                   Elektra Entertainment Group Inc.
  1465   The Cars                                             You Are The Girl                                SR0000083709                   Elektra Entertainment Group Inc.
  1466   The Cars                                             You Might Think                                 SR0000053584                   Elektra Entertainment Group Inc.
  1467   The Cars                                             You're All I've Got Tonight                     SR0000004128                   Elektra Entertainment Group Inc.
  1468   The Cure                                             10:15 Saturday Night                            SR0000072309                   Elektra Entertainment Group Inc.
  1469   The Cure                                             A Few Hours After This ...                      SR0000072370                   Elektra Entertainment Group Inc.
  1470   The Cure                                             A Man Inside My Mouth                           SR0000070179                   Elektra Entertainment Group Inc.
  1471   The Cure                                             A Night Like This                               SR0000065872                   Elektra Entertainment Group Inc.
  1472   The Cure                                             Boys Don't Cry                                  SR0000075783                   Elektra Entertainment Group Inc.
  1473   The Cure                                             Charlotte Sometimes                             SR0000192615                   Elektra Entertainment Group Inc.
  1474   The Cure                                             Close To Me                                     SR0000065872                   Elektra Entertainment Group Inc.
  1475   The Cure                                             Closedown                                       SR0000104305                   Elektra Entertainment Group Inc.
  1476   The Cure                                             Disintegration                                  SR0000104305                   Elektra Entertainment Group Inc.
  1477   The Cure                                             Fascination Street                              SR0000104305                   Elektra Entertainment Group Inc.
  1478   The Cure                                             In Between Days                                 SR0000065872                   Elektra Entertainment Group Inc.
  1479   The Cure                                             Jumping Someone Else's Train                    SR0000072371                   Elektra Entertainment Group Inc.
  1480   The Cure                                             Killing An Arab                                 SR0000072371                   Elektra Entertainment Group Inc.
  1481   The Cure                                             Kyoto Song                                      SR0000065872                   Elektra Entertainment Group Inc.
  1482   The Cure                                             Lovesong                                        SR0000104305                   Elektra Entertainment Group Inc.
  1483   The Cure                                             Lullaby                                         SR0000104305                   Elektra Entertainment Group Inc.
  1484   The Cure                                             Pictures Of You                                 SR0000104305                   Elektra Entertainment Group Inc.
  1485   The Cure                                             Plainsong                                       SR0000104305                   Elektra Entertainment Group Inc.
  1486   The Cure                                             Prayers For Rain                                SR0000104305                   Elektra Entertainment Group Inc.
  1487   The Cure                                             Push                                            SR0000065872                   Elektra Entertainment Group Inc.
  1488   The Cure                                             Screw                                           SR0000065872                   Elektra Entertainment Group Inc.
  1489   The Cure                                             Sinking                                         SR0000065872                   Elektra Entertainment Group Inc.
  1490   The Cure                                             Six Different Ways                              SR0000065872                   Elektra Entertainment Group Inc.
  1491   The Cure                                             Stop Dead                                       SR0000065387                   Elektra Entertainment Group Inc.
  1492   The Cure                                             The Baby Screams                                SR0000065872                   Elektra Entertainment Group Inc.
  1493   The Cure                                             The Blood                                       SR0000065872                   Elektra Entertainment Group Inc.
  1494   The Cure                                             The Exploding Boy                               SR0000072370                   Elektra Entertainment Group Inc.
  1495   The Cure                                             The Hanging Garden                              SR0000036019                   Elektra Entertainment Group Inc.
  1496   The Cure                                             The Same Deep Water As You                      SR0000104305                   Elektra Entertainment Group Inc.
  1497   The Cure                                             Untitled                                        SR0000104305                   Elektra Entertainment Group Inc.
  1498   Third Eye Blind                                      10 Days Late                                    SR0000278241                   Elektra Entertainment Group Inc.
  1499   Third Eye Blind                                      1000 Julys                                      SR0000278241                   Elektra Entertainment Group Inc.
  1500   Third Eye Blind                                      An Ode To Maybe                                 SR0000278241                   Elektra Entertainment Group Inc.
  1501   Third Eye Blind                                      Anything                                        SR0000278241                   Elektra Entertainment Group Inc.
  1502   Third Eye Blind                                      Burning Man                                     SR0000188673                   Elektra Entertainment Group Inc.
  1503   Third Eye Blind                                      Camouflage                                      SR0000278241                   Elektra Entertainment Group Inc.
  1504   Third Eye Blind                                      Darwin                                          SR0000278241                   Elektra Entertainment Group Inc.
  1505   Third Eye Blind                                      Deep Inside Of You                              SR0000278241                   Elektra Entertainment Group Inc.
  1506   Third Eye Blind                                      Farther                                         SR0000278241                   Elektra Entertainment Group Inc.
  1507   Third Eye Blind                                      God Of Wine                                     SR0000188673                   Elektra Entertainment Group Inc.
  1508   Third Eye Blind                                      Good For You                                    SR0000188673                   Elektra Entertainment Group Inc.
  1509   Third Eye Blind                                      Graduate                                        SR0000188673                   Elektra Entertainment Group Inc.
  1510   Third Eye Blind                                      How's It Going To Be                            SR0000188673                   Elektra Entertainment Group Inc.
  1511   Third Eye Blind                                      I Want You                                      SR0000188673                   Elektra Entertainment Group Inc.
  1512   Third Eye Blind                                      Jumper                                          SR0000188673                   Elektra Entertainment Group Inc.
  1513   Third Eye Blind                                      London                                          SR0000188673                   Elektra Entertainment Group Inc.
  1514   Third Eye Blind                                      Losing A Whole Year                             SR0000188673                   Elektra Entertainment Group Inc.
  1515   Third Eye Blind                                      Motorcycle Drive By                             SR0000188673                   Elektra Entertainment Group Inc.
  1516   Third Eye Blind                                      Narcolepsy                                      SR0000188673                   Elektra Entertainment Group Inc.
  1517   Third Eye Blind                                      Never Let You Go                                SR0000278241                   Elektra Entertainment Group Inc.
  1518   Third Eye Blind                                      Semi-Charmed Life                               SR0000188673                   Elektra Entertainment Group Inc.
  1519   Third Eye Blind                                      Slow Motion                                     SR0000278241                   Elektra Entertainment Group Inc.
  1520   Third Eye Blind                                      Slow Motion (Instrumental)                      SR0000278241                   Elektra Entertainment Group Inc.
  1521   Third Eye Blind                                      Thanks A Lot                                    SR0000188673                   Elektra Entertainment Group Inc.
  1522   Third Eye Blind                                      The Background                                  SR0000188673                   Elektra Entertainment Group Inc.
  1523   Third Eye Blind                                      The Red Summer Sun                              SR0000278241                   Elektra Entertainment Group Inc.
  1524   Third Eye Blind                                      Wounded                                         SR0000278241                   Elektra Entertainment Group Inc.
  1525   Cobra Starship                                       Cobras Never Say Die                            SR0000711457                   Fueled By Ramen LLC
  1526   Cobra Starship                                       Fold Your Hands Child                           SR0000657140                   Fueled By Ramen LLC
  1527   Cobra Starship                                       Good Girls Go Bad                               SR0000657140                   Fueled By Ramen LLC
  1528   Cobra Starship                                       Hot Mess                                        SR0000657140                   Fueled By Ramen LLC
  1529   Cobra Starship                                       I May Be Rude But I'm The Truth                 SR0000711457                   Fueled By Ramen LLC
  1530   Cobra Starship                                       Living In The Sky With Diamonds                 SR0000657140                   Fueled By Ramen LLC
  1531   Cobra Starship                                       Move Like You Gonna Die                         SR0000657140                   Fueled By Ramen LLC
  1532   Cobra Starship                                       Nice Guys Finish Last                           SR0000657140                   Fueled By Ramen LLC
  1533   Cobra Starship                                       Pete Wentz Is The Only Reason We're Famous      SR0000657140                   Fueled By Ramen LLC
  1534   Cobra Starship                                       The Scene Is Dead; Long Live The Scene          SR0000657140                   Fueled By Ramen LLC
  1535   Cobra Starship                                       The World Will Never Do                         SR0000657140                   Fueled By Ramen LLC
  1536   Cobra Starship                                       Wet Hot American Summer                         SR0000657140                   Fueled By Ramen LLC
  1537   Cobra Starship                                       You're Not In On The Joke                       SR0000657140                   Fueled By Ramen LLC
  1538   fun.                                                 All Alone                                       SR0000704930                   Fueled By Ramen LLC
  1539   fun.                                                 All Alright                                     SR0000704930                   Fueled By Ramen LLC


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                                   Artist                                                 Track                            Registration Number                      Plaintiff
  1540   fun.                                                 Carry On                                            SR0000704930                   Fueled By Ramen LLC
  1541   fun.                                                 It Gets Better                                      SR0000704930                   Fueled By Ramen LLC
  1542   fun.                                                 One Foot                                            SR0000704930                   Fueled By Ramen LLC
  1543   fun.                                                 Out on the Town                                     SR0000704930                   Fueled By Ramen LLC
  1544   fun.                                                 Some Nights                                         SR0000704930                   Fueled By Ramen LLC
  1545   fun.                                                 Some Nights (Intro)                                 SR0000704930                   Fueled By Ramen LLC
  1546   fun.                                                 Stars                                               SR0000704930                   Fueled By Ramen LLC
  1547   fun.                                                 We Are Young                                        SR0000704930                   Fueled By Ramen LLC
  1548   Gym Class Heroes                                     The Fighter                                         SR0000704012                   Fueled By Ramen LLC
  1549   Travie McCoy                                         Billionaire                                         SR0000706137                   Fueled By Ramen LLC
  1550   Young the Giant                                      Anagram                                             SR0000746139                   Fueled By Ramen LLC
  1551   Young the Giant                                      Camera                                              SR0000746139                   Fueled By Ramen LLC
  1552   Young the Giant                                      Crystallized                                        SR0000746139                   Fueled By Ramen LLC
  1553   Young the Giant                                      Daydreamer                                          SR0000746139                   Fueled By Ramen LLC
  1554   Young the Giant                                      Eros                                                SR0000746139                   Fueled By Ramen LLC
  1555   Young the Giant                                      Firelight                                           SR0000746139                   Fueled By Ramen LLC
  1556   Young the Giant                                      In My Home                                          SR0000746139                   Fueled By Ramen LLC
  1557   Young the Giant                                      Mind Over Matter                                    SR0000746139                   Fueled By Ramen LLC
  1558   Young the Giant                                      Paralysis                                           SR0000746139                   Fueled By Ramen LLC
  1559   Young the Giant                                      Slow Dive                                           SR0000746139                   Fueled By Ramen LLC
  1560   Young the Giant                                      Teachers                                            SR0000746139                   Fueled By Ramen LLC
  1561   Young the Giant                                      Waves                                               SR0000746139                   Fueled By Ramen LLC
  1562   Ciara                                                Bang It Up                                          SR0000404728                   LaFace Records LLC
  1563   Ciara                                                Go Girl                                             PA0001640177                   LaFace Records LLC
  1564   Ciara                                                I Proceed                                           SR0000404728                   LaFace Records LLC
  1565   Ciara                                                Make It Last Forever                                SR0000404728                   LaFace Records LLC
  1566   Ciara                                                My Love                                             SR0000404728                   LaFace Records LLC
  1567   Ciara                                                Promise                                             SR0000404728                   LaFace Records LLC
  1568   Ciara feat. Lil Jon                                  That's Right                                        SR0000404728                   LaFace Records LLC
  1569   OutKast                                              13th Floor/Growing Old                              SR0000233296                   LaFace Records LLC
  1570   OutKast                                              ATLiens                                             SR0000233296                   LaFace Records LLC
  1571   OutKast                                              B.O.B.                                              SR0000306741                   LaFace Records LLC
  1572   OutKast                                              Babylon                                             SR0000233296                   LaFace Records LLC
  1573   OutKast                                              Decatur Psalm                                       SR0000233296                   LaFace Records LLC
  1574   OutKast                                              E.T. (Extraterrestrial)                             SR0000233296                   LaFace Records LLC
  1575   OutKast                                              Elevators                                           SR0000233296                   LaFace Records LLC
  1576   OutKast                                              Elevators (DNP 86 Mix)                              SR0000233296                   LaFace Records LLC
  1577   OutKast                                              Funkin' Around                                      SR0000326671                   LaFace Records LLC
  1578   OutKast                                              Hollywood Divorce                                   SR0000395944                   LaFace Records LLC
  1579   OutKast                                              Jazzy Belle                                         SR0000233296                   LaFace Records LLC
  1580   OutKast                                              Mainstream                                          SR0000233296                   LaFace Records LLC
  1581   OutKast                                              Millennium                                          SR0000233296                   LaFace Records LLC
  1582   OutKast                                              Morris Brown                                        SR0000395944                   LaFace Records LLC
  1583   OutKast                                              Movin' Cool (The After Party)                       SR0000326671                   LaFace Records LLC
  1584   OutKast                                              Ms. Jackson                                         SR0000306741                   LaFace Records LLC
  1585   OutKast                                              Ova Da Wudz                                         SR0000233296                   LaFace Records LLC
  1586   OutKast                                              So Fresh, So Clean                                  SR0000306741                   LaFace Records LLC
  1587   OutKast                                              The Whole World                                     SR0000309898                   LaFace Records LLC
  1588   OutKast                                              Wailin'                                             SR0000233296                   LaFace Records LLC
  1589   OutKast                                              Wheelz of Steel                                     SR0000233296                   LaFace Records LLC
  1590   OutKast                                              You May Die                                         SR0000233296                   LaFace Records LLC
  1591   P!nk                                                 Ave Mary A                                          SR0000619959                   LaFace Records LLC
  1592   P!nk                                                 Bad Influence                                       SR0000619959                   LaFace Records LLC
  1593   P!nk                                                 Crystal Ball                                        SR0000619959                   LaFace Records LLC
  1594   P!nk                                                 Dear Mr. President                                  SR0000395942                   LaFace Records LLC
  1595   P!nk                                                 Funhouse                                            SR0000619959                   LaFace Records LLC
  1596   P!nk                                                 Glitter In The Air                                  SR0000619959                   LaFace Records LLC
  1597   P!nk                                                 I Don't Believe You                                 SR0000619959                   LaFace Records LLC
  1598   P!nk                                                 It's All Your Fault                                 SR0000619959                   LaFace Records LLC
  1599   P!nk                                                 Leave Me Alone (I'm Lonely)                         SR0000403184                   LaFace Records LLC
  1600   P!nk                                                 Mean                                                SR0000619959                   LaFace Records LLC
  1601   P!nk                                                 Most Girls                                          SR0000279958                   LaFace Records LLC
  1602   P!nk                                                 Nobody Knows                                        SR0000395942                   LaFace Records LLC
  1603   P!nk                                                 One Foot Wrong                                      SR0000619959                   LaFace Records LLC
  1604   P!nk                                                 Please Don't Leave Me                               SR0000619959                   LaFace Records LLC
  1605   P!nk                                                 Sober                                               SR0000619959                   LaFace Records LLC
  1606   P!nk                                                 There You Go                                        SR0000279958                   LaFace Records LLC
  1607   P!nk                                                 U + Ur Hand (Explicit)                              SR0000403184                   LaFace Records LLC
  1608   P!nk                                                 U + Ur Hand (Main Version/Clean)                    SR0000395942                   LaFace Records LLC
  1609   P!nk                                                 Who Knew                                            SR0000395942                   LaFace Records LLC
  1610   TLC                                                  Can I Get a Witness-Interlude                       SR0000198743                   LaFace Records LLC
  1611   TLC                                                  Case Of The Fake People                             SR0000198743                   LaFace Records LLC
  1612   TLC                                                  CrazySexyCool-Interlude                             SR0000198743                   LaFace Records LLC
  1613   TLC                                                  Creep                                               SR0000198743                   LaFace Records LLC
  1614   TLC                                                  Diggin' on You                                      SR0000198743                   LaFace Records LLC
  1615   TLC                                                  If I Was Your Girlfriend                            SR0000198743                   LaFace Records LLC
  1616   TLC                                                  Intermission-lude                                   SR0000198743                   LaFace Records LLC
  1617   TLC                                                  Intro-Iude                                          SR0000198743                   LaFace Records LLC
  1618   TLC                                                  Kick Your Game                                      SR0000198743                   LaFace Records LLC
  1619   TLC                                                  Let's Do It Again                                   SR0000198743                   LaFace Records LLC
  1620   TLC                                                  Sexy-Interlude                                      SR0000198743                   LaFace Records LLC
  1621   TLC                                                  Sumthin' Wicked This Way Comes                      SR0000198743                   LaFace Records LLC
  1622   TLC                                                  Switch                                              SR0000198743                   LaFace Records LLC
  1623   TLC                                                  Take Our Time                                       SR0000198743                   LaFace Records LLC
  1624   TLC                                                  Waterfalls                                          SR0000198743                   LaFace Records LLC



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                                   Artist                                                Track                            Registration Number                      Plaintiff
  1625   Usher                                                Appetite                                           SR0000620940                   LaFace Records LLC
  1626   Usher                                                Bedtime                                            SR0000257730                   LaFace Records LLC
  1627   Usher                                                Before I Met You                                   SR0000620940                   LaFace Records LLC
  1628   Usher                                                Can U Help Me                                      SR0000307207                   LaFace Records LLC
  1629   Usher                                                Come Back                                          SR0000257730                   LaFace Records LLC
  1630   Usher                                                Here I Stand                                       SR0000620940                   LaFace Records LLC
  1631   Usher                                                His Mistakes                                       SR0000620940                   LaFace Records LLC
  1632   Usher                                                Hottest Thing                                      SR0000307207                   LaFace Records LLC
  1633   Usher                                                How Do I Say                                       SR0000307207                   LaFace Records LLC
  1634   Usher                                                I Can't Let U Go                                   SR0000307207                   LaFace Records LLC
  1635   Usher                                                I Will                                             SR0000257730                   LaFace Records LLC
  1636   Usher                                                If I Want To                                       SR0000307207                   LaFace Records LLC
  1637   Usher                                                Intro                                              SR0000620940                   LaFace Records LLC
  1638   Usher                                                Just Like Me                                       SR0000257730                   LaFace Records LLC
  1639   Usher                                                Lifetime                                           SR0000620940                   LaFace Records LLC
  1640   Usher                                                Love In This Club, Part II                         SR0000620940                   LaFace Records LLC
  1641   Usher                                                Love You Gently                                    SR0000620940                   LaFace Records LLC
  1642   Usher                                                Moving Mountains                                   SR0000620940                   LaFace Records LLC
  1643   Usher                                                My Way                                             SR0000257730                   LaFace Records LLC
  1644   Usher                                                Nice And Slow                                      SR0000257730                   LaFace Records LLC
  1645   Usher                                                One Day You'll Be Mine                             SR0000257730                   LaFace Records LLC
  1646   Usher                                                Prayer For You (Interlude)                         SR0000620940                   LaFace Records LLC
  1647   Usher                                                Something Special                                  SR0000620940                   LaFace Records LLC
  1648   Usher                                                This Ain't Sex                                     SR0000620940                   LaFace Records LLC
  1649   Usher                                                Trading Places                                     SR0000620940                   LaFace Records LLC
  1650   Usher                                                Twork It Out                                       SR0000307207                   LaFace Records LLC
  1651   Usher                                                U Don't Have to Call                               SR0000307207                   LaFace Records LLC
  1652   Usher                                                U Got It Bad                                       SR0000307207                   LaFace Records LLC
  1653   Usher                                                U Remind Me                                        SR0000307207                   LaFace Records LLC
  1654   Usher                                                What's A Man To Do                                 SR0000620940                   LaFace Records LLC
  1655   Usher                                                Will Work For Love                                 SR0000620940                   LaFace Records LLC
  1656   Usher                                                Without U                                          SR0000307207                   LaFace Records LLC
  1657   Usher                                                You Make Me Wanna...                               SR0000257730                   LaFace Records LLC
  1658   Usher feat. Jay-Z                                    Best Thing                                         SR0000620940                   LaFace Records LLC
  1659   Usher feat. Monica                                   Slow Jam                                           SR0000257730                   LaFace Records LLC
  1660   Usher feat. will.i.am                                What's Your Name                                   SR0000620940                   LaFace Records LLC
  1661   Simple Plan                                          Addicted                                           SR0000351060                   Lava Records LLC
  1662   Simple Plan                                          Crazy                                              SR0000375167                   Lava Records LLC
  1663   Simple Plan                                          Everytime                                          SR0000375167                   Lava Records LLC
  1664   Simple Plan                                          God Must Hate Me                                   SR0000351060                   Lava Records LLC
  1665   Simple Plan                                          I Won't Be There                                   SR0000351060                   Lava Records LLC
  1666   Simple Plan                                          I'd Do Anything                                    SR0000351060                   Lava Records LLC
  1667   Simple Plan                                          I'm Just A Kid                                     SR0000351060                   Lava Records LLC
  1668   Simple Plan                                          Jump                                               SR0000375167                   Lava Records LLC
  1669   Simple Plan                                          Me Against The World                               SR0000375167                   Lava Records LLC
  1670   Simple Plan                                          Meet You There                                     SR0000351060                   Lava Records LLC
  1671   Simple Plan                                          My Alien                                           SR0000351060                   Lava Records LLC
  1672   Simple Plan                                          One                                                SR0000375167                   Lava Records LLC
  1673   Simple Plan                                          One Day                                            SR0000351060                   Lava Records LLC
  1674   Simple Plan                                          Perfect                                            SR0000351060                   Lava Records LLC
  1675   Simple Plan                                          Perfect World                                      SR0000375167                   Lava Records LLC
  1676   Simple Plan                                          Promise                                            SR0000375167                   Lava Records LLC
  1677   Simple Plan                                          Thank You                                          SR0000375167                   Lava Records LLC
  1678   Simple Plan                                          The Worst Day Ever                                 SR0000351060                   Lava Records LLC
  1679   Simple Plan                                          When I'm With You                                  SR0000351060                   Lava Records LLC
  1680   Alanis Morissette                                    Crazy (James Michael Mix)                          SR0000382587                   Maverick Recording Company
  1681   Alanis Morissette                                    Eight Easy Steps                                   SR0000356595                   Maverick Recording Company
  1682   Alanis Morissette                                    Everything                                         SR0000356595                   Maverick Recording Company
  1683   Alanis Morissette                                    Hand In My Pocket                                  SR0000213545                   Maverick Recording Company
  1684   Alanis Morissette                                    Hands Clean                                        SR0000315266                   Maverick Recording Company
  1685   Alanis Morissette                                    Head Over Feet                                     SR0000213545                   Maverick Recording Company
  1686   Alanis Morissette                                    Ironic                                             SR0000213545                   Maverick Recording Company
  1687   Alanis Morissette                                    Princes Familiar                                   SR0000276685                   Maverick Recording Company
  1688   Alanis Morissette                                    Simple Together                                    SR0000314676                   Maverick Recording Company
  1689   Alanis Morissette                                    Sister Blister                                     SR0000315266                   Maverick Recording Company
  1690   Alanis Morissette                                    Still                                              SR0000276563                   Maverick Recording Company
  1691   Alanis Morissette                                    Thank U                                            SR0000228847                   Maverick Recording Company
  1692   Alanis Morissette                                    That I Would Be Good                               SR0000228847                   Maverick Recording Company
  1693   Alanis Morissette                                    Uninvited                                          SR0000252550                   Maverick Recording Company
  1694   Alanis Morissette                                    You Learn                                          SR0000213545                   Maverick Recording Company
  1695   Alanis Morissette                                    You Oughta Know                                    SR0000213545                   Maverick Recording Company
  1696   Deftones                                             Back To School (Mini Maggit)                       SR0000288286                   Maverick Recording Company
  1697   Deftones                                             Battle-axe                                         SR0000335169                   Maverick Recording Company
  1698   Deftones                                             Be Quiet And Drive (Far Away)                      SR0000244493                   Maverick Recording Company
  1699   Deftones                                             Birthmark                                          SR0000171111                   Maverick Recording Company
  1700   Deftones                                             Black Moon                                         SR0000390931                   Maverick Recording Company
  1701   Deftones                                             Bored                                              SR0000171111                   Maverick Recording Company
  1702   Deftones                                             Change (In The House Of Flies)                     SR0000284862                   Maverick Recording Company
  1703   Deftones                                             Change (In The House Of Flies) (Acoustic)          SR0000390931                   Maverick Recording Company
  1704   Deftones                                             Crenshaw Punch / I'll Throw Rocks At You           SR0000390931                   Maverick Recording Company
  1705   Deftones                                             Dai The Flu                                        SR0000244493                   Maverick Recording Company
  1706   Deftones                                             Deathblow                                          SR0000335169                   Maverick Recording Company
  1707   Deftones                                             Digital Bath                                       SR0000284862                   Maverick Recording Company
  1708   Deftones                                             Digital Bath (Acoustic)                            SR0000390931                   Maverick Recording Company
  1709   Deftones                                             Fireal                                             SR0000171111                   Maverick Recording Company



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                                   Artist                                                Track                          Registration Number                      Plaintiff
  1710   Deftones                                             Headup                                           SR0000244493                   Maverick Recording Company
  1711   Deftones                                             Hexagram                                         SR0000335169                   Maverick Recording Company
  1712   Deftones                                             If Only Tonight We Could Sleep                   SR0000390931                   Maverick Recording Company
  1713   Deftones                                             Knife Prty                                       SR0000284862                   Maverick Recording Company
  1714   Deftones                                             Lhabia                                           SR0000244493                   Maverick Recording Company
  1715   Deftones                                             Lifter                                           SR0000171111                   Maverick Recording Company
  1716   Deftones                                             Lucky You                                        SR0000335169                   Maverick Recording Company
  1717   Deftones                                             Minerva                                          SR0000335169                   Maverick Recording Company
  1718   Deftones                                             Minus Blindfold                                  SR0000171111                   Maverick Recording Company
  1719   Deftones                                             Moana                                            SR0000335169                   Maverick Recording Company
  1720   Deftones                                             MX                                               SR0000244493                   Maverick Recording Company
  1721   Deftones                                             No Ordinary Love                                 SR0000390931                   Maverick Recording Company
  1722   Deftones                                             Nosebleed                                        SR0000171111                   Maverick Recording Company
  1723   Deftones                                             One Weak                                         SR0000171111                   Maverick Recording Company
  1724   Deftones                                             Passenger                                        SR0000284862                   Maverick Recording Company
  1725   Deftones                                             Pink Maggit                                      SR0000284862                   Maverick Recording Company
  1726   Deftones                                             Please Please Please Let Me Get What I Want      SR0000390931                   Maverick Recording Company
  1727   Deftones                                             Rx Queen                                         SR0000284862                   Maverick Recording Company
  1728   Deftones                                             Savory                                           SR0000390931                   Maverick Recording Company
  1729   Deftones                                             Simple Man                                       SR0000390931                   Maverick Recording Company
  1730   Deftones                                             Sinatra                                          SR0000390931                   Maverick Recording Company
  1731   Deftones                                             The Chauffeur                                    SR0000390931                   Maverick Recording Company
  1732   Deftones                                             Wax And Wane                                     SR0000390931                   Maverick Recording Company
  1733   Deftones                                             When Girls Telephone Boys                        SR0000335169                   Maverick Recording Company
  1734   Muse                                                 Cave                                             SR0000273528                   Maverick Recording Company
  1735   Muse                                                 Muscle Museum                                    SR0000273528                   Maverick Recording Company
  1736   Muse                                                 Sunburn                                          SR0000273528                   Maverick Recording Company
  1737   Muse                                                 Unintended                                       SR0000273528                   Maverick Recording Company
  1738   Muse                                                 Uno                                              SR0000273528                   Maverick Recording Company
  1739   The Black Keys                                       Lonely Boy                                       SR0000733194                   Nonesuch Records Inc.
  1740   The Black Keys                                       Strange Times                                    SR0000644154                   Nonesuch Records Inc.
  1741   The Black Keys                                       Tighten Up                                       SR0000669071                   Nonesuch Records Inc.
  1742   The Black Keys                                       Turn Blue                                        SR0000757078                   Nonesuch Records Inc.
  1743   Wilco                                                Airline To Heaven                                SR0000374907                   Nonesuch Records Inc.
  1744   Casting Crowns                                       Already There                                    SR0000689742                   Provident Label Group, LLC
  1745   Casting Crowns                                       Always Enough - Demo                             SR0000643694                   Provident Label Group, LLC
  1746   Casting Crowns                                       And Now My Lifesong Sings                        SR0000375845                   Provident Label Group, LLC
  1747   Casting Crowns                                       At Your Feet                                     SR0000643694                   Provident Label Group, LLC
  1748   Casting Crowns                                       Blessed Redeemer                                 SR0000643694                   Provident Label Group, LLC
  1749   Casting Crowns                                       City On The Hill                                 SR0000689742                   Provident Label Group, LLC
  1750   Casting Crowns                                       Courageous                                       SR0000689742                   Provident Label Group, LLC
  1751   Casting Crowns                                       Does Anybody Hear Her                            SR0000375845                   Provident Label Group, LLC
  1752   Casting Crowns                                       Face Down                                        SR0000689742                   Provident Label Group, LLC
  1753   Casting Crowns                                       Father, Spirit, Jesus                            SR0000375845                   Provident Label Group, LLC
  1754   Casting Crowns                                       Holy One                                         SR0000643694                   Provident Label Group, LLC
  1755   Casting Crowns                                       If We've Ever Needed You - Demo                  SR0000643694                   Provident Label Group, LLC
  1756   Casting Crowns                                       In Me (Demo)                                     SR0000375845                   Provident Label Group, LLC
  1757   Casting Crowns                                       Jesus, Friend Of Sinners                         SR0000689742                   Provident Label Group, LLC
  1758   Casting Crowns                                       Jesus, Hold Me Now                               SR0000643694                   Provident Label Group, LLC
  1759   Casting Crowns                                       Joyful, Joyful                                   SR0000643694                   Provident Label Group, LLC
  1760   Casting Crowns                                       Just Another Birthday                            SR0000689742                   Provident Label Group, LLC
  1761   Casting Crowns                                       Lifesong                                         SR0000375845                   Provident Label Group, LLC
  1762   Casting Crowns                                       Love Them Like Jesus                             SR0000375845                   Provident Label Group, LLC
  1763   Casting Crowns                                       Mercy                                            SR0000643694                   Provident Label Group, LLC
  1764   Casting Crowns                                       My Own Worst Enemy                               SR0000689742                   Provident Label Group, LLC
  1765   Casting Crowns                                       Praise You In This Storm                         SR0000375845                   Provident Label Group, LLC
  1766   Casting Crowns                                       Prodigal                                         SR0000375845                   Provident Label Group, LLC
  1767   Casting Crowns                                       Set Me Free                                      SR0000375845                   Provident Label Group, LLC
  1768   Casting Crowns                                       Shadow Of Your Wings                             SR0000643694                   Provident Label Group, LLC
  1769   Casting Crowns                                       So Far To Find You                               SR0000689742                   Provident Label Group, LLC
  1770   Casting Crowns                                       Spirit Wind                                      SR0000689742                   Provident Label Group, LLC
  1771   Casting Crowns                                       Stained Glass Masquerade                         SR0000375845                   Provident Label Group, LLC
  1772   Casting Crowns                                       The Well                                         SR0000689742                   Provident Label Group, LLC
  1773   Casting Crowns                                       To Know You - Demo                               SR0000643694                   Provident Label Group, LLC
  1774   Casting Crowns                                       Until The Whole World Hears                      SR0000643694                   Provident Label Group, LLC
  1775   Casting Crowns                                       Wedding Day                                      SR0000689742                   Provident Label Group, LLC
  1776   Casting Crowns                                       While You Were Sleeping                          SR0000375845                   Provident Label Group, LLC
  1777   Adam Lambert                                         Whataya Want From Me                             SR0000654886                   Sony Music Entertainment
  1778   Adele                                                Best For Last                                    SR0000616701                   Sony Music Entertainment
  1779   Adele                                                Chasing Pavements                                SR0000616701                   Sony Music Entertainment
  1780   Adele                                                Cold Shoulder                                    SR0000616701                   Sony Music Entertainment
  1781   Adele                                                Crazy For You                                    SR0000616701                   Sony Music Entertainment
  1782   Adele                                                Daydreamer                                       SR0000616701                   Sony Music Entertainment
  1783   Adele                                                Don't You Remember                               SR0000673074                   Sony Music Entertainment
  1784   Adele                                                First Love                                       SR0000616701                   Sony Music Entertainment
  1785   Adele                                                He Won't Go                                      SR0000673074                   Sony Music Entertainment
  1786   Adele                                                Hometown Glory                                   SR0000616701                   Sony Music Entertainment
  1787   Adele                                                I Found A Boy                                    SR0000718312                   Sony Music Entertainment
  1788   Adele                                                I'll Be Waiting                                  SR0000673074                   Sony Music Entertainment
  1789   Adele                                                Lovesong                                         SR0000673074                   Sony Music Entertainment
  1790   Adele                                                Make You Feel My Love                            SR0000616701                   Sony Music Entertainment
  1791   Adele                                                Melt My Heart To Stone                           SR0000616701                   Sony Music Entertainment
  1792   Adele                                                My Same                                          SR0000616701                   Sony Music Entertainment
  1793   Adele                                                One And Only                                     SR0000673074                   Sony Music Entertainment
  1794   Adele                                                Right As Rain                                    SR0000616701                   Sony Music Entertainment
  1795   Adele                                                Rolling In The Deep                              SR0000673074                   Sony Music Entertainment


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                                  Artist                                                    Track                        Registration Number                     Plaintiff
  1796   Adele                                                Rumour Has It                                     SR0000673074                   Sony Music Entertainment
  1797   Adele                                                Set Fire To The Rain                              SR0000673074                   Sony Music Entertainment
  1798   Adele                                                Someone Like You                                  SR0000673074                   Sony Music Entertainment
  1799   Adele                                                Take It All                                       SR0000673074                   Sony Music Entertainment
  1800   Adele                                                That's It, I Quit, I'm Moving On                  SR0000616701                   Sony Music Entertainment
  1801   Adele                                                Tired                                             SR0000616701                   Sony Music Entertainment
  1802   Adele                                                Turning Tables                                    SR0000673074                   Sony Music Entertainment
  1803   Aerosmith                                            Adam's Apple                                      N25838                         Sony Music Entertainment
  1804   Aerosmith                                            Angel's Eye                                       SR0000294320                   Sony Music Entertainment
  1805   Aerosmith                                            Baby, Please Don't Go                             SR0000355804                   Sony Music Entertainment
  1806   Aerosmith                                            Back In The Saddle                                N33961                         Sony Music Entertainment
  1807   Aerosmith                                            Big Ten Inch Record                               N25838                         Sony Music Entertainment
  1808   Aerosmith                                            Chip Away The Stone                               SR0000005095                   Sony Music Entertainment
  1809   Aerosmith                                            Critical Mass                                     RE0000927389                   Sony Music Entertainment
  1810   Aerosmith                                            Devil's Got a New Disguise                        SR0000400132                   Sony Music Entertainment
  1811   Aerosmith                                            Dream On                                          RE0000928145                   Sony Music Entertainment
  1812   Aerosmith                                            Falling In Love (Is Hard On The Knees)            SR0000246031                   Sony Music Entertainment
  1813   Aerosmith                                            Fly Away From Here                                SR0000299932                   Sony Music Entertainment
  1814   Aerosmith                                            Full Circle                                       SR0000246031                   Sony Music Entertainment
  1815   Aerosmith                                            Girls of Summer                                   SR0000314304                   Sony Music Entertainment
  1816   Aerosmith                                            Helter Skelter                                    SR0000138466                   Sony Music Entertainment
  1817   Aerosmith                                            Hole In My Soul                                   SR0000246031                   Sony Music Entertainment
  1818   Aerosmith                                            I Don't Want to Miss a Thing                      SR0000730819                   Sony Music Entertainment
  1819   Aerosmith                                            Jaded                                             PA0001065844                   Sony Music Entertainment
  1820   Aerosmith                                            Jailbait                                          SR0000039598                   Sony Music Entertainment
  1821   Aerosmith                                            Just Push Play                                    SR0000299932                   Sony Music Entertainment
  1822   Aerosmith                                            Kings And Queens                                  RE0000927389                   Sony Music Entertainment
  1823   Aerosmith                                            Last Child                                        N33961                         Sony Music Entertainment
  1824   Aerosmith                                            Lay It Down                                       SR0000314304                   Sony Music Entertainment
  1825   Aerosmith                                            Lick And A Promise                                N33961                         Sony Music Entertainment
  1826   Aerosmith                                            Lightning Strikes                                 SR0000039598                   Sony Music Entertainment
  1827   Aerosmith                                            Lord Of The Thighs                                RE0000871991                   Sony Music Entertainment
  1828   Aerosmith                                            Mama Kin                                          RE0000928145                   Sony Music Entertainment
  1829   Aerosmith                                            Nine Lives                                        SR0000246031                   Sony Music Entertainment
  1830   Aerosmith                                            No Surprize                                       SR0000014473                   Sony Music Entertainment
  1831   Aerosmith                                            Nobody's Fault                                    N33961                         Sony Music Entertainment
  1832   Aerosmith                                            One Way Street                                    RE0000928145                   Sony Music Entertainment
  1833   Aerosmith                                            Pink                                              SR0000246031                   Sony Music Entertainment
  1834   Aerosmith                                            Rats In The Cellar                                N33961                         Sony Music Entertainment
  1835   Aerosmith                                            Remember (Walking In The Sand)                    SR0000014473                   Sony Music Entertainment
  1836   Aerosmith                                            Round And Round                                   N25838                         Sony Music Entertainment
  1837   Aerosmith                                            Seasons of Wither                                 RE0000871991                   Sony Music Entertainment
  1838   Aerosmith                                            Sedona Sunrise                                    SR0000400132                   Sony Music Entertainment
  1839   Aerosmith                                            Sunshine                                          SR0000299932                   Sony Music Entertainment
  1840   Aerosmith                                            Sweet Emotion                                     N25838                         Sony Music Entertainment
  1841   Aerosmith                                            Theme From Spider Man                             SR0000316861                   Sony Music Entertainment
  1842   Aerosmith                                            Toys In The Attic                                 N25838                         Sony Music Entertainment
  1843   Aerosmith                                            Train Kept A Rollin'                              RE0000871991                   Sony Music Entertainment
  1844   Aerosmith                                            Walk This Way                                     N25838                         Sony Music Entertainment
  1845   Aerosmith                                            You See Me Crying                                 N25838                         Sony Music Entertainment
  1846   Alicia Keys                                          Dah Dee Dah (Sexy Thing)                          SR0000252535                   Sony Music Entertainment
  1847   Alicia Keys                                          Empire State Of Mind (Part II) Broken Down        SR0000752597                   Sony Music Entertainment
  1848   Alicia Keys                                          I Got A Little Something                          SR0000685875                   Sony Music Entertainment
  1849   Alicia Keys                                          Un-thinkable (I'm Ready)                          SR0000752593                   Sony Music Entertainment
  1850   Annie Lennox                                         Dark Road                                         SR0000627150                   Sony Music Entertainment
  1851   Annie Lennox                                         Sing                                              SR0000627150                   Sony Music Entertainment
  1852   Audioslave                                           Like A Stone                                      SR0000322103                   Sony Music Entertainment
  1853   Avril Lavigne                                        4 Real                                            SR0000680182                   Sony Music Entertainment
  1854   Avril Lavigne                                        Alice                                             SR0000680182                   Sony Music Entertainment
  1855   Avril Lavigne                                        Bad Reputation                                    SR0000680182                   Sony Music Entertainment
  1856   Avril Lavigne                                        Black Star                                        SR0000680182                   Sony Music Entertainment
  1857   Avril Lavigne                                        Darlin                                            SR0000680182                   Sony Music Entertainment
  1858   Avril Lavigne                                        Everybody Hurts                                   SR0000680182                   Sony Music Entertainment
  1859   Avril Lavigne                                        Girlfriend                                        SR0000719163                   Sony Music Entertainment
  1860   Avril Lavigne                                        Goodbye                                           SR0000680182                   Sony Music Entertainment
  1861   Avril Lavigne                                        I Love You                                        SR0000680182                   Sony Music Entertainment
  1862   Avril Lavigne                                        Knockin' on Heaven's Door                         SR0000680182                   Sony Music Entertainment
  1863   Avril Lavigne                                        Not Enough                                        SR0000680182                   Sony Music Entertainment
  1864   Avril Lavigne                                        Push                                              SR0000680182                   Sony Music Entertainment
  1865   Avril Lavigne                                        Remember When                                     SR0000680182                   Sony Music Entertainment
  1866   Avril Lavigne                                        Smile                                             SR0000680182                   Sony Music Entertainment
  1867   Avril Lavigne                                        Stop Standing There                               SR0000680182                   Sony Music Entertainment
  1868   Avril Lavigne                                        What The Hell                                     SR0000670616                   Sony Music Entertainment
  1869   Avril Lavigne                                        Wish You Were Here                                SR0000680182                   Sony Music Entertainment
  1870   Barbra Streisand duet with Neil Diamond              You Don't Bring Me Flowers                        SR0000004765                   Sony Music Entertainment
  1871   Becky G                                              Shower                                            SR0000760239                   Sony Music Entertainment
  1872   Beyoncé                                              1+1                                               SR0000683948                   Sony Music Entertainment
  1873   Beyoncé                                              Ave Maria                                         SR0000623449                   Sony Music Entertainment
  1874   Beyoncé                                              Best Thing I Never Had                            SR0000683948                   Sony Music Entertainment
  1875   Beyoncé                                              Blow                                              SR0000747291                   Sony Music Entertainment
  1876   Beyoncé                                              Broken-Hearted Girl                               SR0000623449                   Sony Music Entertainment
  1877   Beyoncé                                              Countdown                                         SR0000683948                   Sony Music Entertainment
  1878   Beyoncé                                              Disappear                                         SR0000623449                   Sony Music Entertainment
  1879   Beyoncé                                              Ego                                               SR0000623449                   Sony Music Entertainment
  1880   Beyoncé                                              Halo                                              SR0000623449                   Sony Music Entertainment



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                                   Artist                                                  Track                            Registration Number                     Plaintiff
  1881   Beyoncé                                              Hello                                                SR0000623449                   Sony Music Entertainment
  1882   Beyoncé                                              I Miss You                                           SR0000683948                   Sony Music Entertainment
  1883   Beyoncé                                              If I Were A Boy                                      SR0000718926                   Sony Music Entertainment
  1884   Beyoncé                                              Love On Top                                          SR0000683948                   Sony Music Entertainment
  1885   Beyoncé                                              Naughty Girl                                         SR0000342236                   Sony Music Entertainment
  1886   Beyoncé                                              No Angel                                             SR0000747291                   Sony Music Entertainment
  1887   Beyoncé                                              Party                                                SR0000683948                   Sony Music Entertainment
  1888   Beyoncé                                              Radio                                                SR0000623449                   Sony Music Entertainment
  1889   Beyoncé                                              Rather Die Young                                     SR0000683948                   Sony Music Entertainment
  1890   Beyoncé                                              Run The World (Girls)                                SR0000683948                   Sony Music Entertainment
  1891   Beyoncé                                              Satellites                                           SR0000623449                   Sony Music Entertainment
  1892   Beyoncé                                              Scared Of Lonely                                     SR0000623449                   Sony Music Entertainment
  1893   Beyoncé                                              Single Ladies (Put A Ring On It)                     SR0000723765                   Sony Music Entertainment
  1894   Beyoncé                                              Smash Into You                                       SR0000623449                   Sony Music Entertainment
  1895   Beyoncé                                              Start Over                                           SR0000683948                   Sony Music Entertainment
  1896   Beyoncé                                              Sweet Dreams                                         SR0000623449                   Sony Music Entertainment
  1897   Beyoncé                                              That's Why You're Beautiful                          SR0000623449                   Sony Music Entertainment
  1898   Beyoncé                                              Video Phone                                          SR0000623449                   Sony Music Entertainment
  1899   Beyoncé                                              ***Flawless                                          SR0000747291                   Sony Music Entertainment
  1900   Beyoncé                                              Be With You                                          SR0000342236                   Sony Music Entertainment
  1901   Beyoncé                                              Check On It                                          SR0000395861                   Sony Music Entertainment
  1902   Beyoncé                                              Crazy in Love                                        SR0000787489                   Sony Music Entertainment
  1903   Beyoncé                                              Dance For You                                        SR0000683948                   Sony Music Entertainment
  1904   Beyoncé                                              Diva                                                 SR0000623449                   Sony Music Entertainment
  1905   Beyoncé                                              End Of Time                                          SR0000683948                   Sony Music Entertainment
  1906   Beyoncé                                              Gift From Virgo                                      SR0000342236                   Sony Music Entertainment
  1907   Beyoncé                                              Haunted                                              SR0000747291                   Sony Music Entertainment
  1908   Beyoncé                                              Heaven                                               SR0000747291                   Sony Music Entertainment
  1909   Beyoncé                                              I Care                                               SR0000683948                   Sony Music Entertainment
  1910   Beyoncé                                              I Was Here                                           SR0000683948                   Sony Music Entertainment
  1911   Beyoncé                                              Jealous                                              SR0000747291                   Sony Music Entertainment
  1912   Beyoncé                                              Lay Up Under Me                                      SR0000683948                   Sony Music Entertainment
  1913   Beyoncé                                              Me, Myself And I                                     SR0000342236                   Sony Music Entertainment
  1914   Beyoncé                                              Partition                                            SR0000747291                   Sony Music Entertainment
  1915   Beyoncé                                              Pretty Hurts                                         SR0000747291                   Sony Music Entertainment
  1916   Beyoncé                                              Rocket                                               SR0000747291                   Sony Music Entertainment
  1917   Beyoncé                                              Schoolin' Life                                       SR0000683948                   Sony Music Entertainment
  1918   Beyoncé                                              Speechless                                           SR0000342236                   Sony Music Entertainment
  1919   Beyoncé                                              XO                                                   SR0000747291                   Sony Music Entertainment
  1920   Beyoncé feat. Big Boi and Sleepy Brown               Hip Hop Star                                         SR0000342236                   Sony Music Entertainment
  1921   Beyoncé feat. Blue Ivy                               Blue                                                 SR0000747291                   Sony Music Entertainment
  1922   Beyoncé feat. Drake                                  Mine                                                 SR0000747291                   Sony Music Entertainment
  1923   Beyoncé feat. Frank Ocean                            Superpower                                           SR0000747291                   Sony Music Entertainment
  1924   Beyoncé feat. Jay-Z                                  Drunk in Love                                        SR0000747291                   Sony Music Entertainment
  1925   Beyoncé feat. Jay-Z                                  That's How You Like It                               SR0000342236                   Sony Music Entertainment
  1926   Beyoncé feat. Jay-Z                                  Upgrade U                                            SR0000395861                   Sony Music Entertainment
  1927   Beyoncé feat. Missy Elliott                          Signs                                                SR0000342236                   Sony Music Entertainment
  1928   Big Time Rush                                        All Over Again                                       SR0000697856                   Sony Music Entertainment
  1929   Big Time Rush                                        Big Night                                            SR0000668082                   Sony Music Entertainment
  1930   Big Time Rush                                        Big Time Rush                                        SR0000668082                   Sony Music Entertainment
  1931   Big Time Rush                                        City Is Ours                                         SR0000668082                   Sony Music Entertainment
  1932   Big Time Rush                                        Cover Girl                                           SR0000697856                   Sony Music Entertainment
  1933   Big Time Rush                                        Elevate                                              SR0000697856                   Sony Music Entertainment
  1934   Big Time Rush                                        Halfway There                                        SR0000668082                   Sony Music Entertainment
  1935   Big Time Rush                                        If I Ruled The World                                 SR0000697856                   Sony Music Entertainment
  1936   Big Time Rush                                        Invisible                                            SR0000697856                   Sony Music Entertainment
  1937   Big Time Rush                                        Love Me Love Me                                      SR0000697856                   Sony Music Entertainment
  1938   Big Time Rush                                        Music Sounds Better                                  SR0000697856                   Sony Music Entertainment
  1939   Big Time Rush                                        No Idea                                              SR0000697856                   Sony Music Entertainment
  1940   Big Time Rush                                        Nothing Even Matters                                 SR0000668082                   Sony Music Entertainment
  1941   Big Time Rush                                        Oh Yeah                                              SR0000668082                   Sony Music Entertainment
  1942   Big Time Rush                                        Show Me                                              SR0000697856                   Sony Music Entertainment
  1943   Big Time Rush                                        Superstar                                            SR0000697856                   Sony Music Entertainment
  1944   Big Time Rush                                        Til I Forget About You                               SR0000668082                   Sony Music Entertainment
  1945   Big Time Rush                                        Time Of Our Life                                     SR0000697856                   Sony Music Entertainment
  1946   Big Time Rush                                        Worldwide                                            SR0000668082                   Sony Music Entertainment
  1947   Big Time Rush                                        You're Not Alone                                     SR0000697856                   Sony Music Entertainment
  1948   Big Time Rush feat. Cymphonique                      I Know You Know                                      SR0000668082                   Sony Music Entertainment
  1949   Big Time Rush feat. Jordin Sparks                    Count On You                                         SR0000668082                   Sony Music Entertainment
  1950   Bill Withers                                         I Don't Know                                         N1596                          Sony Music Entertainment
  1951   Bill Withers                                         I Don't Want You on My Mind                          N1596                          Sony Music Entertainment
  1952   Bill Withers                                         Kissing My Love                                      N1596                          Sony Music Entertainment
  1953   Bill Withers                                         Lean On Me                                           N1596                          Sony Music Entertainment
  1954   Bill Withers                                         Lonely Town, Lonely Street                           N1596                          Sony Music Entertainment
  1955   Bill Withers                                         Use Me                                               N1596                          Sony Music Entertainment
  1956   Bill Withers                                         Watching You Watching Me                             SR0000065774                   Sony Music Entertainment
  1957   Billy Joel                                           A Matter Of Trust                                    SR0000077612                   Sony Music Entertainment
  1958   Billy Joel                                           All About Soul                                       SR0000185184                   Sony Music Entertainment
  1959   Billy Joel                                           All For Leyna                                        SR0000017630                   Sony Music Entertainment
  1960   Billy Joel                                           Allentown                                            SR0000040031                   Sony Music Entertainment
  1961   Billy Joel                                           An Innocent Man                                      SR0000047532                   Sony Music Entertainment
  1962   Billy Joel                                           Don't Ask Me Why                                     SR0000017630                   Sony Music Entertainment
  1963   Billy Joel                                           Honesty                                              SR0000004681                   Sony Music Entertainment
  1964   Billy Joel                                           I Go To Extremes                                     SR0000109420                   Sony Music Entertainment
  1965   Billy Joel                                           It's Still Rock & Roll to Me                         SR0000017630                   Sony Music Entertainment
  1966   Billy Joel                                           Just The Way You Are                                 RE0000927434                   Sony Music Entertainment


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                                                                                  EXHIBIT A - SOUND RECORDINGS

                                    Artist                                                   Track                           Registration Number                     Plaintiff
  1967   Billy Joel                                              Leave A Tender Moment Alone                        SR0000047532                   Sony Music Entertainment
  1968   Billy Joel                                              Leningrad                                          SR0000109420                   Sony Music Entertainment
  1969   Billy Joel                                              My Life                                            SR0000004681                   Sony Music Entertainment
  1970   Billy Joel                                              Piano Man                                          N11702                         Sony Music Entertainment
  1971   Billy Joel                                              Say Goodbye To Hollywood                           SR0000031638                   Sony Music Entertainment
  1972   Billy Joel                                              Streetlife Serenader (Audio)                       RE0000872265                   Sony Music Entertainment
  1973   Billy Joel                                              Tell Her About It                                  SR0000047534                   Sony Music Entertainment
  1974   Billy Joel                                              The Downeaster 'Alexa'                             SR0000109420                   Sony Music Entertainment
  1975   Billy Joel                                              The Entertainer                                    RE0000872265                   Sony Music Entertainment
  1976   Billy Joel                                              The Longest Time                                   SR0000047532                   Sony Music Entertainment
  1977   Billy Joel                                              This Is The Time                                   SR0000077612                   Sony Music Entertainment
  1978   Billy Joel                                              Uptown Girl                                        SR0000047532                   Sony Music Entertainment
  1979   Billy Joel                                              We Didn't Start the Fire                           SR0000111680                   Sony Music Entertainment
  1980   Billy Joel                                              You May Be Right                                   SR0000017630                   Sony Music Entertainment
  1981   Billy Joel                                              You're My Home                                     N11702                         Sony Music Entertainment
  1982   Billy Joel                                              You're Only Human (Second Wind)                    SR0000068501                   Sony Music Entertainment
  1983   Boston                                                  A Man I'll Never Be                                SR0000004079                   Sony Music Entertainment
  1984   Boston                                                  Don't Look Back                                    SR0000003614                   Sony Music Entertainment
  1985   Boston                                                  Feelin' Satisfied                                  SR0000004079                   Sony Music Entertainment
  1986   Boston                                                  Higher Power                                       SR0000239485                   Sony Music Entertainment
  1987   Boston                                                  Higher Power (Kalodner Edit)                       SR0000239485                   Sony Music Entertainment
  1988   Boston                                                  More Than A Feeling                                N36238                         Sony Music Entertainment
  1989   Boston                                                  Party                                              SR0000004079                   Sony Music Entertainment
  1990   Boston                                                  Tell Me                                            SR0000239485                   Sony Music Entertainment
  1991   Boston                                                  The Star Spangled Banner, 4th of July Reprise      SR0000239485                   Sony Music Entertainment
  1992   Boys Like Girls                                         Be Your Everything                                 SR0000717244                   Sony Music Entertainment
  1993   Boys Like Girls                                         Broken Man                                         SR0000724396                   Sony Music Entertainment
  1994   Boys Like Girls                                         Cheated                                            SR0000731314                   Sony Music Entertainment
  1995   Boys Like Girls                                         Chemicals Collide                                  SR0000643654                   Sony Music Entertainment
  1996   Boys Like Girls                                         Contagious                                         SR0000643654                   Sony Music Entertainment
  1997   Boys Like Girls                                         Crazy World                                        SR0000731314                   Sony Music Entertainment
  1998   Boys Like Girls                                         Dance Hall Drug                                    SR0000724396                   Sony Music Entertainment
  1999   Boys Like Girls                                         Five Minutes To Midnight                           SR0000724396                   Sony Music Entertainment
  2000   Boys Like Girls                                         Go                                                 SR0000643654                   Sony Music Entertainment
  2001   Boys Like Girls                                         Heart Heart Heartbreak                             SR0000643654                   Sony Music Entertainment
  2002   Boys Like Girls                                         Heels Over Head                                    SR0000724396                   Sony Music Entertainment
  2003   Boys Like Girls                                         Hero / Heroine                                     SR0000724396                   Sony Music Entertainment
  2004   Boys Like Girls                                         Hey You                                            SR0000731314                   Sony Music Entertainment
  2005   Boys Like Girls                                         Holiday                                            SR0000724396                   Sony Music Entertainment
  2006   Boys Like Girls                                         Learning To Fall                                   SR0000724396                   Sony Music Entertainment
  2007   Boys Like Girls                                         Leaving California                                 SR0000731314                   Sony Music Entertainment
  2008   Boys Like Girls                                         Life Of The Party                                  SR0000717244                   Sony Music Entertainment
  2009   Boys Like Girls                                         Love Drunk                                         SR0000643654                   Sony Music Entertainment
  2010   Boys Like Girls                                         Me, You And My Medication                          SR0000724396                   Sony Music Entertainment
  2011   Boys Like Girls                                         On Top Of The World                                SR0000724396                   Sony Music Entertainment
  2012   Boys Like Girls                                         Real Thing                                         SR0000643654                   Sony Music Entertainment
  2013   Boys Like Girls                                         Red Cup Hands Up Long Brown Hair                   SR0000731314                   Sony Music Entertainment
  2014   Boys Like Girls                                         She's Got A Boyfriend Now                          SR0000643654                   Sony Music Entertainment
  2015   Boys Like Girls                                         Shoot                                              SR0000731314                   Sony Music Entertainment
  2016   Boys Like Girls                                         Someone Like You                                   SR0000643654                   Sony Music Entertainment
  2017   Boys Like Girls                                         Stuck in the Middle                                SR0000731314                   Sony Music Entertainment
  2018   Boys Like Girls                                         Take Me Home                                       SR0000731314                   Sony Music Entertainment
  2019   Boys Like Girls                                         The First One                                      SR0000643654                   Sony Music Entertainment
  2020   Boys Like Girls                                         The First Time                                     SR0000717244                   Sony Music Entertainment
  2021   Boys Like Girls                                         The Great Escape                                   SR0000724396                   Sony Music Entertainment
  2022   Boys Like Girls                                         The Shot Heard 'Round The World                    SR0000643654                   Sony Music Entertainment
  2023   Boys Like Girls                                         Thunder                                            SR0000724396                   Sony Music Entertainment
  2024   Boys Like Girls                                         Up Against The Wall                                SR0000724396                   Sony Music Entertainment
  2025   Boys Like Girls feat. Taylor Swift                      Two Is Better Than One                             SR0000639800                   Sony Music Entertainment
  2026   Brad Paisley                                            A Man Don't Have to Die                            SR0000680360                   Sony Music Entertainment
  2027   Brad Paisley                                            Alcohol                                            SR0000746295                   Sony Music Entertainment
  2028   Brad Paisley                                            Be The Lake                                        SR0000680360                   Sony Music Entertainment
  2029   Brad Paisley                                            Camouflage                                         SR0000680360                   Sony Music Entertainment
  2030   Brad Paisley                                            I Do Now                                           SR0000680360                   Sony Music Entertainment
  2031   Brad Paisley                                            New Favorite Memory                                SR0000680360                   Sony Music Entertainment
  2032   Brad Paisley                                            Old Alabama                                        SR0000680360                   Sony Music Entertainment
  2033   Brad Paisley                                            One of Those Lives                                 SR0000680360                   Sony Music Entertainment
  2034   Brad Paisley                                            This Is Country Music                              SR0000680360                   Sony Music Entertainment
  2035   Brad Paisley                                            Toothbrush                                         SR0000680360                   Sony Music Entertainment
  2036   Brad Paisley                                            Working On A Tan                                   SR0000680360                   Sony Music Entertainment
  2037   Brad Paisley feat. Blake Shelton                        Don't Drink the Water                              SR0000680360                   Sony Music Entertainment
  2038   Brad Paisley feat. Clint Eastwood                       Eastwood                                           SR0000680360                   Sony Music Entertainment
  2039   Brad Paisley feat. Don Henley                           Love Her Like She's Leavin'                        SR0000680360                   Sony Music Entertainment
  2040   Brad Paisley feat. Marty Stuart, Sheryl Crow and Carl   Life's Railway to Heaven                           SR0000680360                   Sony Music Entertainment
         Jackson
  2041   Brad Praisley                                           Remind Me                                          SR0000680360                   Sony Music Entertainment
  2042   Brandi Carlile                                          Again Today / Hiding My Heart                      SR0000609517                   Sony Music Entertainment
  2043   Brandi Carlile                                          Cannonball                                         SR0000609517                   Sony Music Entertainment
  2044   Brandi Carlile                                          Downpour                                           SR0000609517                   Sony Music Entertainment
  2045   Brandi Carlile                                          Have You Ever                                      SR0000609517                   Sony Music Entertainment
  2046   Brandi Carlile                                          Josephine                                          SR0000609517                   Sony Music Entertainment
  2047   Brandi Carlile                                          Late Morning Lullaby                               SR0000609517                   Sony Music Entertainment
  2048   Brandi Carlile                                          Losing Heart                                       SR0000609517                   Sony Music Entertainment
  2049   Brandi Carlile                                          My Song                                            SR0000609517                   Sony Music Entertainment
  2050   Brandi Carlile                                          Shadow On The Wall                                 SR0000609517                   Sony Music Entertainment
  2051   Brandi Carlile                                          Turpentine                                         SR0000609517                   Sony Music Entertainment


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                                     Artist                                              Track                           Registration Number                     Plaintiff
  2052   Brandi Carlile                                       Until I Die                                       SR0000609517                   Sony Music Entertainment
  2053   Brandi Carlile                                       Wasted                                            SR0000609517                   Sony Music Entertainment
  2054   Brandy                                               1st & Love                                        SR0000622255                   Sony Music Entertainment
  2055   Brandy                                               A Capella (Something's Missing)                   SR0000622255                   Sony Music Entertainment
  2056   Brandy                                               Camouflage                                        SR0000622255                   Sony Music Entertainment
  2057   Brandy                                               Can You Hear Me Now                               SR0000710136                   Sony Music Entertainment
  2058   Brandy                                               Do You Know What You Have                         SR0000710136                   Sony Music Entertainment
  2059   Brandy                                               Fall                                              SR0000622255                   Sony Music Entertainment
  2060   Brandy                                               Hardly Breathing                                  SR0000710136                   Sony Music Entertainment
  2061   Brandy                                               Human                                             SR0000622255                   Sony Music Entertainment
  2062   Brandy                                               Let Me Go                                         SR0000710136                   Sony Music Entertainment
  2063   Brandy                                               Long Distance                                     SR0000622255                   Sony Music Entertainment
  2064   Brandy                                               Long Distance Interlude                           SR0000622255                   Sony Music Entertainment
  2065   Brandy                                               Music                                             SR0000710136                   Sony Music Entertainment
  2066   Brandy                                               No Such Thing As Too Late                         SR0000710136                   Sony Music Entertainment
  2067   Brandy                                               Outro                                             SR0000710136                   Sony Music Entertainment
  2068   Brandy                                               Paint This House                                  SR0000710136                   Sony Music Entertainment
  2069   Brandy                                               Piano Man                                         SR0000622255                   Sony Music Entertainment
  2070   Brandy                                               Scared Of Beautiful                               SR0000710136                   Sony Music Entertainment
  2071   Brandy                                               Shattered Heart                                   SR0000622255                   Sony Music Entertainment
  2072   Brandy                                               Slower                                            SR0000710136                   Sony Music Entertainment
  2073   Brandy                                               So Sick                                           SR0000710136                   Sony Music Entertainment
  2074   Brandy                                               The Definition                                    SR0000622255                   Sony Music Entertainment
  2075   Brandy                                               Torn Down                                         SR0000622255                   Sony Music Entertainment
  2076   Brandy                                               True                                              SR0000622255                   Sony Music Entertainment
  2077   Brandy                                               Warm It Up (With Love)                            SR0000622255                   Sony Music Entertainment
  2078   Brandy                                               What You Need                                     SR0000710136                   Sony Music Entertainment
  2079   Brandy                                               Wildest Dreams                                    SR0000710136                   Sony Music Entertainment
  2080   Brandy                                               Wish Your Love Away                               SR0000710136                   Sony Music Entertainment
  2081   Brandy                                               Without You                                       SR0000710136                   Sony Music Entertainment
  2082   Brandy feat. Chris Brown                             Put It Down                                       SR0000710136                   Sony Music Entertainment
  2083   Britney Spears                                       Alien                                             SR0000738040                   Sony Music Entertainment
  2084   Britney Spears                                       Body Ache                                         SR0000738040                   Sony Music Entertainment
  2085   Britney Spears                                       Brightest Morning Star                            SR0000738040                   Sony Music Entertainment
  2086   Britney Spears                                       Criminal                                          SR0000673693                   Sony Music Entertainment
  2087   Britney Spears                                       Don't Cry                                         SR0000738040                   Sony Music Entertainment
  2088   Britney Spears                                       Don't Keep Me Waiting                             SR0000677693                   Sony Music Entertainment
  2089   Britney Spears                                       Gasoline                                          SR0000673693                   Sony Music Entertainment
  2090   Britney Spears                                       He About To Lose Me                               SR0000677693                   Sony Music Entertainment
  2091   Britney Spears                                       Hold It Against Me                                SR0000673693                   Sony Music Entertainment
  2092   Britney Spears                                       Hold On Tight                                     SR0000738040                   Sony Music Entertainment
  2093   Britney Spears                                       How I Roll                                        SR0000673693                   Sony Music Entertainment
  2094   Britney Spears                                       I Wanna Go                                        SR0000673693                   Sony Music Entertainment
  2095   Britney Spears                                       Inside Out                                        SR0000673693                   Sony Music Entertainment
  2096   Britney Spears                                       Now That I Found You                              SR0000738040                   Sony Music Entertainment
  2097   Britney Spears                                       Passenger                                         SR0000738040                   Sony Music Entertainment
  2098   Britney Spears                                       Perfume                                           SR0000738038                   Sony Music Entertainment
  2099   Britney Spears                                       Perfume (The Dreaming Mix)                        SR0000738040                   Sony Music Entertainment
  2100   Britney Spears                                       Seal It With A Kiss                               SR0000673693                   Sony Music Entertainment
  2101   Britney Spears                                       Selfish                                           SR0000677693                   Sony Music Entertainment
  2102   Britney Spears                                       Til It's Gone                                     SR0000738040                   Sony Music Entertainment
  2103   Britney Spears                                       Till The World Ends                               SR0000674674                   Sony Music Entertainment
  2104   Britney Spears                                       Trip To Your Heart                                SR0000673693                   Sony Music Entertainment
  2105   Britney Spears                                       Trouble For Me                                    SR0000673693                   Sony Music Entertainment
  2106   Britney Spears                                       Up N' Down                                        SR0000677693                   Sony Music Entertainment
  2107   Britney Spears feat. Jamie Lynn                      Chillin' With You                                 SR0000738040                   Sony Music Entertainment
  2108   Britney Spears feat. Sabi                            (Drop Dead) Beautiful                             SR0000673693                   Sony Music Entertainment
  2109   Britney Spears feat. T.I.                            Tik Tik Boom                                      SR0000738040                   Sony Music Entertainment
  2110   Britney Spears feat. will.i.am                       Big Fat Bass                                      SR0000673693                   Sony Music Entertainment
  2111   Britney Spears feat. will.i.am                       It Should Be Easy                                 SR0000738040                   Sony Music Entertainment
  2112   Bruce Springsteen                                    American Land                                     SR0000705192                   Sony Music Entertainment
  2113   Bruce Springsteen                                    American Skin (41 Shots)                          SR0000742574                   Sony Music Entertainment
  2114   Bruce Springsteen                                    Death To My Hometown                              SR0000705192                   Sony Music Entertainment
  2115   Bruce Springsteen                                    Down in the Hole                                  SR0000742574                   Sony Music Entertainment
  2116   Bruce Springsteen                                    Dream Baby Dream                                  SR0000742197                   Sony Music Entertainment
  2117   Bruce Springsteen                                    Easy Money                                        SR0000705192                   Sony Music Entertainment
  2118   Bruce Springsteen                                    Frankie Fell in Love                              SR0000742574                   Sony Music Entertainment
  2119   Bruce Springsteen                                    Harry's Place                                     SR0000742574                   Sony Music Entertainment
  2120   Bruce Springsteen                                    Heaven's Wall                                     SR0000742574                   Sony Music Entertainment
  2121   Bruce Springsteen                                    High Hopes                                        SR0000742572                   Sony Music Entertainment
  2122   Bruce Springsteen                                    Hunter of Invisible Game                          SR0000742574                   Sony Music Entertainment
  2123   Bruce Springsteen                                    Jack Of All Trades                                SR0000705192                   Sony Music Entertainment
  2124   Bruce Springsteen                                    Just Like Fire Would                              SR0000742574                   Sony Music Entertainment
  2125   Bruce Springsteen                                    Land of Hope and Dreams                           SR0000705192                   Sony Music Entertainment
  2126   Bruce Springsteen                                    Rocky Ground                                      SR0000705192                   Sony Music Entertainment
  2127   Bruce Springsteen                                    Shackled And Drawn                                SR0000705192                   Sony Music Entertainment
  2128   Bruce Springsteen                                    Swallowed Up (In The Belly Of The Whale)          SR0000705192                   Sony Music Entertainment
  2129   Bruce Springsteen                                    The Ghost of Tom Joad                             SR0000742574                   Sony Music Entertainment
  2130   Bruce Springsteen                                    The Wall                                          SR0000742574                   Sony Music Entertainment
  2131   Bruce Springsteen                                    This Depression                                   SR0000705192                   Sony Music Entertainment
  2132   Bruce Springsteen                                    This is Your Sword                                SR0000742574                   Sony Music Entertainment
  2133   Bruce Springsteen                                    We Are Alive                                      SR0000705192                   Sony Music Entertainment
  2134   Bruce Springsteen                                    We Take Care Of Our Own                           SR0000705192                   Sony Music Entertainment
  2135   Bruce Springsteen                                    Wrecking Ball                                     SR0000705192                   Sony Music Entertainment
  2136   Bruce Springsteen                                    You've Got It                                     SR0000705192                   Sony Music Entertainment
  2137   Bullet For My Valentine                              A Place Where You Belong                          SR0000706395                   Sony Music Entertainment


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                                   Artist                                                 Track                            Registration Number                     Plaintiff
  2138   Bullet For My Valentine                              Alone                                               SR0000706395                   Sony Music Entertainment
  2139   Bullet For My Valentine                              Ashes Of The Innocent                               SR0000619985                   Sony Music Entertainment
  2140   Bullet For My Valentine                              Begging For Mercy                                   SR0000706395                   Sony Music Entertainment
  2141   Bullet For My Valentine                              Bittersweet Memories                                SR0000706395                   Sony Music Entertainment
  2142   Bullet For My Valentine                              Breaking Out, Breaking Down                         SR0000706395                   Sony Music Entertainment
  2143   Bullet For My Valentine                              Deliver Us from Evil                                SR0000619985                   Sony Music Entertainment
  2144   Bullet For My Valentine                              Dignity                                             SR0000706395                   Sony Music Entertainment
  2145   Bullet For My Valentine                              Disappear                                           SR0000619985                   Sony Music Entertainment
  2146   Bullet For My Valentine                              End Of Days                                         SR0000619985                   Sony Music Entertainment
  2147   Bullet For My Valentine                              Eye Of The Storm                                    SR0000619985                   Sony Music Entertainment
  2148   Bullet For My Valentine                              Fever                                               SR0000706395                   Sony Music Entertainment
  2149   Bullet For My Valentine                              Forever And Always                                  SR0000619985                   Sony Music Entertainment
  2150   Bullet For My Valentine                              Hearts Burst Into Fire                              SR0000619985                   Sony Music Entertainment
  2151   Bullet For My Valentine                              Last To Know                                        SR0000619985                   Sony Music Entertainment
  2152   Bullet For My Valentine                              One Good Reason Why                                 SR0000619985                   Sony Music Entertainment
  2153   Bullet For My Valentine                              Pleasure And Pain                                   SR0000706395                   Sony Music Entertainment
  2154   Bullet For My Valentine                              Pretty On The Outside                               SR0000706395                   Sony Music Entertainment
  2155   Bullet For My Valentine                              Road To Nowhere                                     SR0000619985                   Sony Music Entertainment
  2156   Bullet For My Valentine                              Say Goodnight                                       SR0000619985                   Sony Music Entertainment
  2157   Bullet For My Valentine                              Scream Aim Fire                                     PA0001607594                   Sony Music Entertainment
  2158   Bullet For My Valentine                              Take It Out On Me                                   SR0000619985                   Sony Music Entertainment
  2159   Bullet For My Valentine                              The Last Fight                                      SR0000706395                   Sony Music Entertainment
  2160   Bullet For My Valentine                              Waking The Demon                                    SR0000619985                   Sony Music Entertainment
  2161   Bullet For My Valentine                              Watching Us Die Tonight                             SR0000619985                   Sony Music Entertainment
  2162   Bullet For My Valentine                              Your Betrayal                                       SR0000706395                   Sony Music Entertainment
  2163   Cage The Elephant                                    2024                                                SR0000703665                   Sony Music Entertainment
  2164   Cage The Elephant                                    Aberdeen                                            SR0000703665                   Sony Music Entertainment
  2165   Cage The Elephant                                    Ain't No Rest for the Wicked                        SR0000615871                   Sony Music Entertainment
  2166   Cage The Elephant                                    Always Something                                    SR0000703665                   Sony Music Entertainment
  2167   Cage The Elephant                                    Around My Head                                      SR0000703665                   Sony Music Entertainment
  2168   Cage The Elephant                                    Back Against The Wall                               SR0000631003                   Sony Music Entertainment
  2169   Cage The Elephant                                    Back Stabbin' Betty                                 SR0000631003                   Sony Music Entertainment
  2170   Cage The Elephant                                    Cover Me Again                                      SR0000631003                   Sony Music Entertainment
  2171   Cage The Elephant                                    Drones In The Valley                                SR0000631003                   Sony Music Entertainment
  2172   Cage The Elephant                                    Flow                                                SR0000703665                   Sony Music Entertainment
  2173   Cage The Elephant                                    Free Love                                           SR0000631003                   Sony Music Entertainment
  2174   Cage The Elephant                                    In One Ear                                          SR0000631003                   Sony Music Entertainment
  2175   Cage The Elephant                                    Indy Kidz                                           SR0000703665                   Sony Music Entertainment
  2176   Cage The Elephant                                    James Brown                                         SR0000631003                   Sony Music Entertainment
  2177   Cage The Elephant                                    Japanese Buffalo                                    SR0000703665                   Sony Music Entertainment
  2178   Cage The Elephant                                    Judas                                               SR0000631003                   Sony Music Entertainment
  2179   Cage The Elephant                                    Lotus                                               SR0000631003                   Sony Music Entertainment
  2180   Cage The Elephant                                    Right Before My Eyes                                SR0000703665                   Sony Music Entertainment
  2181   Cage The Elephant                                    Rubber Ball                                         SR0000703665                   Sony Music Entertainment
  2182   Cage The Elephant                                    Sabertooth Tiger                                    SR0000703665                   Sony Music Entertainment
  2183   Cage The Elephant                                    Sell Yourself                                       SR0000703665                   Sony Music Entertainment
  2184   Cage The Elephant                                    Shake Me Down                                       SR0000703665                   Sony Music Entertainment
  2185   Cage The Elephant                                    Soil To The Sun                                     SR0000631003                   Sony Music Entertainment
  2186   Cage The Elephant                                    Tiny Little Robots                                  SR0000631003                   Sony Music Entertainment
  2187   Calvin Harris                                        I Need Your Love                                    SR0000710756                   Sony Music Entertainment
  2188   Camila                                               Coleccionista De Canciones                          SR0000393905                   Sony Music Entertainment
  2189   Camila                                               Me Basto                                            SR0000393905                   Sony Music Entertainment
  2190   Camila                                               Me Da Igual                                         SR0000393905                   Sony Music Entertainment
  2191   Camila                                               Nanga Ti Feo                                        SR0000393905                   Sony Music Entertainment
  2192   Camila                                               Perderte de Nuevo                                   SR0000393905                   Sony Music Entertainment
  2193   Camila                                               Sin Tu Amor                                         SR0000393905                   Sony Music Entertainment
  2194   Camila                                               Todo Cambio                                         SR0000393905                   Sony Music Entertainment
  2195   Camila                                               U Got My Love                                       SR0000393905                   Sony Music Entertainment
  2196   Camila                                               Va Para Ti                                          SR0000393905                   Sony Music Entertainment
  2197   Camila                                               Yo Quiero                                           SR0000393905                   Sony Music Entertainment
  2198   Carlos Santana                                       Havana Moon                                         SR0000045295                   Sony Music Entertainment
  2199   Carrie Underwood                                     All-American Girl                                   SR0000627157                   Sony Music Entertainment
  2200   Carrie Underwood                                     Before He Cheats                                    SR0000742546                   Sony Music Entertainment
  2201   Carrie Underwood                                     Blown Away                                          SR0000700157                   Sony Music Entertainment
  2202   Carrie Underwood                                     Crazy Dreams                                        SR0000627157                   Sony Music Entertainment
  2203   Carrie Underwood                                     Cupid's Got A Shotgun                               SR0000700157                   Sony Music Entertainment
  2204   Carrie Underwood                                     Do You Think About Me                               SR0000700157                   Sony Music Entertainment
  2205   Carrie Underwood                                     Don't Forget to Remember Me                         SR0000383054                   Sony Music Entertainment
  2206   Carrie Underwood                                     Flat On The Floor                                   SR0000627157                   Sony Music Entertainment
  2207   Carrie Underwood                                     Forever Changed                                     SR0000700157                   Sony Music Entertainment
  2208   Carrie Underwood                                     Get Out Of This Town                                SR0000627157                   Sony Music Entertainment
  2209   Carrie Underwood                                     Good Girl                                           SR0000700157                   Sony Music Entertainment
  2210   Carrie Underwood                                     Good In Goodbye                                     SR0000700157                   Sony Music Entertainment
  2211   Carrie Underwood                                     I Ain't In Checotah Anymore                         SR0000383054                   Sony Music Entertainment
  2212   Carrie Underwood                                     I Just Can't Live A Lie                             SR0000383054                   Sony Music Entertainment
  2213   Carrie Underwood                                     I Know You Won't                                    SR0000627157                   Sony Music Entertainment
  2214   Carrie Underwood                                     I Told You So                                       SR0000627157                   Sony Music Entertainment
  2215   Carrie Underwood                                     Inside Your Heaven                                  SR0000383054                   Sony Music Entertainment
  2216   Carrie Underwood                                     Jesus Take The Wheel                                SR0000742547                   Sony Music Entertainment
  2217   Carrie Underwood                                     Just A Dream                                        SR0000627157                   Sony Music Entertainment
  2218   Carrie Underwood                                     Last Name                                           SR0000627157                   Sony Music Entertainment
  2219   Carrie Underwood                                     Leave Love Alone                                    SR0000700157                   Sony Music Entertainment
  2220   Carrie Underwood                                     Lessons Learned                                     SR0000383054                   Sony Music Entertainment
  2221   Carrie Underwood                                     Nobody Ever Told You                                SR0000700157                   Sony Music Entertainment
  2222   Carrie Underwood                                     One Way Ticket                                      SR0000700157                   Sony Music Entertainment
  2223   Carrie Underwood                                     See You Again                                       SR0000700157                   Sony Music Entertainment


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                                   Artist                                                  Track                                  Registration Number                     Plaintiff
  2224   Carrie Underwood                                     So Small                                                   SR0000742208                   Sony Music Entertainment
  2225   Carrie Underwood                                     Some Hearts                                                SR0000383054                   Sony Music Entertainment
  2226   Carrie Underwood                                     Starts With Goodbye                                        SR0000383054                   Sony Music Entertainment
  2227   Carrie Underwood                                     Thank God For Hometowns                                    SR0000700157                   Sony Music Entertainment
  2228   Carrie Underwood                                     That's Where It Is                                         SR0000383054                   Sony Music Entertainment
  2229   Carrie Underwood                                     The More Boys I Meet                                       SR0000627157                   Sony Music Entertainment
  2230   Carrie Underwood                                     The Night Before (Life Goes On)                            SR0000383054                   Sony Music Entertainment
  2231   Carrie Underwood                                     Twisted                                                    SR0000627157                   Sony Music Entertainment
  2232   Carrie Underwood                                     Two Black Cadillacs                                        SR0000700157                   Sony Music Entertainment
  2233   Carrie Underwood                                     Wasted                                                     SR0000383054                   Sony Music Entertainment
  2234   Carrie Underwood                                     We're Young and Beautiful                                  SR0000383054                   Sony Music Entertainment
  2235   Carrie Underwood                                     Wheel Of The World                                         SR0000627157                   Sony Music Entertainment
  2236   Carrie Underwood                                     Whenever You Remember                                      SR0000383054                   Sony Music Entertainment
  2237   Carrie Underwood                                     Who Are You                                                SR0000700157                   Sony Music Entertainment
  2238   Carrie Underwood                                     Wine After Whiskey                                         SR0000700157                   Sony Music Entertainment
  2239   Carrie Underwood                                     You Won't Find This                                        SR0000627157                   Sony Music Entertainment
  2240   Celine Dion                                          I Hate You Then I Love You (Duet with Luciano Pavarotti)   SR0000248109                   Sony Music Entertainment
  2241   Celine Dion                                          Just A Little Bit Of Love                                  SR0000248109                   Sony Music Entertainment
  2242   Celine Dion                                          Let's Talk About Love                                      SR0000248109                   Sony Music Entertainment
  2243   Celine Dion                                          Love Is On The Way                                         SR0000248109                   Sony Music Entertainment
  2244   Celine Dion                                          Miles To Go (Before I Sleep)                               SR0000248109                   Sony Music Entertainment
  2245   Celine Dion                                          Treat Her Like A Lady                                      SR0000248109                   Sony Music Entertainment
  2246   Celine Dion                                          Us                                                         SR0000248109                   Sony Music Entertainment
  2247   Celine Dion                                          When I Need You                                            SR0000248109                   Sony Music Entertainment
  2248   Celine Dion                                          Where Does My Heart Beat Now                               SR0000124245                   Sony Music Entertainment
  2249   Celine Dion                                          Where Is The Love                                          SR0000248109                   Sony Music Entertainment
  2250   Celine Dion                                          Why Oh Why                                                 SR0000248109                   Sony Music Entertainment
  2251   Charlie Daniels                                      The Devil Went Down To Georgia                             SR0000008973                   Sony Music Entertainment
  2252   Charlie Wilson                                       Crying For You                                             SR0000679365                   Sony Music Entertainment
  2253   Charlie Wilson                                       I Can't Let Go                                             SR0000679365                   Sony Music Entertainment
  2254   Charlie Wilson                                       Life Of The Party                                          SR0000679365                   Sony Music Entertainment
  2255   Charlie Wilson                                       Lotto                                                      SR0000679365                   Sony Music Entertainment
  2256   Charlie Wilson                                       My Girl Is A Dime                                          SR0000679365                   Sony Music Entertainment
  2257   Charlie Wilson                                       Never Got Enough                                           SR0000679365                   Sony Music Entertainment
  2258   Charlie Wilson                                       Once And Forever                                           SR0000679365                   Sony Music Entertainment
  2259   Charlie Wilson                                       Where Would I Be                                           SR0000679365                   Sony Music Entertainment
  2260   Charlie Wilson                                       You Are                                                    SR0000679365                   Sony Music Entertainment
  2261   Charlie Wilson feat. Fantasia                        I Wanna Be Your Man                                        SR0000679365                   Sony Music Entertainment
  2262   Cher Lloyd                                           Swagger Jagger                                             SR0000724733                   Sony Music Entertainment
  2263   Cher Lloyd                                           Want U Back                                                SR0000724736                   Sony Music Entertainment
  2264   Chevelle                                             Closure                                                    SR0000324184                   Sony Music Entertainment
  2265   Chevelle                                             Comfortable Liar                                           SR0000324184                   Sony Music Entertainment
  2266   Chevelle                                             Forfeit                                                    SR0000324184                   Sony Music Entertainment
  2267   Chevelle                                             Get Some                                                   SR0000363500                   Sony Music Entertainment
  2268   Chevelle                                             I Get It                                                   SR0000407044                   Sony Music Entertainment
  2269   Chevelle                                             Panic Prone                                                SR0000363500                   Sony Music Entertainment
  2270   Chevelle                                             Send The Pain Below                                        SR0000324184                   Sony Music Entertainment
  2271   Chevelle                                             Straight Jacket Fashion                                    SR0000407044                   Sony Music Entertainment
  2272   Chevelle                                             The Clincher                                               SR0000363500                   Sony Music Entertainment
  2273   Chevelle                                             The Fad                                                    SR0000407044                   Sony Music Entertainment
  2274   Chevelle                                             The Red                                                    PA0001060682                   Sony Music Entertainment
  2275   Chevelle                                             Vitamin R (Leading Us Along)                               PA0001263996                   Sony Music Entertainment
  2276   Chipmunk Feat. Chris Brown                           Champion                                                   SR0000751658                   Sony Music Entertainment
  2277   Chris Brown                                          2012                                                       SR0000711816                   Sony Music Entertainment
  2278   Chris Brown                                          4 Years Old                                                SR0000711816                   Sony Music Entertainment
  2279   Chris Brown                                          All Back                                                   SR0000679366                   Sony Music Entertainment
  2280   Chris Brown                                          Bassline                                                   SR0000711816                   Sony Music Entertainment
  2281   Chris Brown                                          Beg For It                                                 SR0000679366                   Sony Music Entertainment
  2282   Chris Brown                                          Biggest Fan                                                SR0000711816                   Sony Music Entertainment
  2283   Chris Brown                                          Don't Judge Me                                             SR0000711816                   Sony Music Entertainment
  2284   Chris Brown                                          Don't Wake Me Up                                           SR0000711816                   Sony Music Entertainment
  2285   Chris Brown                                          Free Run                                                   SR0000711816                   Sony Music Entertainment
  2286   Chris Brown                                          Oh My Love                                                 SR0000679366                   Sony Music Entertainment
  2287   Chris Brown                                          Say It With Me                                             SR0000679366                   Sony Music Entertainment
  2288   Chris Brown                                          She Ain't You                                              SR0000679366                   Sony Music Entertainment
  2289   Chris Brown                                          Should've Kissed You                                       SR0000679366                   Sony Music Entertainment
  2290   Chris Brown                                          Strip                                                      SR0000711816                   Sony Music Entertainment
  2291   Chris Brown                                          Stuck On Stupid                                            SR0000711816                   Sony Music Entertainment
  2292   Chris Brown                                          Sweet Love                                                 SR0000711816                   Sony Music Entertainment
  2293   Chris Brown                                          Tell Somebody                                              SR0000711816                   Sony Music Entertainment
  2294   Chris Brown                                          Up To You                                                  SR0000679366                   Sony Music Entertainment
  2295   Chris Brown                                          Wait For You                                               SR0000711816                   Sony Music Entertainment
  2296   Chris Brown                                          Yeah 3x                                                    SR0000679366                   Sony Music Entertainment
  2297   Chris Brown feat. B.o.B                              Get Down (Rarities & B-Sides)                              SR0000708122                   Sony Music Entertainment
  2298   Chris Brown feat. Benny Benassi                      Beautiful People                                           SR0000679366                   Sony Music Entertainment
  2299   Chris Brown feat. Big Sean & Wiz Khalifa             Till I Die                                                 SR0000711816                   Sony Music Entertainment
  2300   Chris Brown feat. Eva Simons                         Love The Girls                                             SR0000679366                   Sony Music Entertainment
  2301   Chris Brown feat. Eva Simons                         Pass Out                                                   SR0000747286                   Sony Music Entertainment
  2302   Chris Brown feat. Justin Bieber                      Next To You                                                SR0000679366                   Sony Music Entertainment
  2303   Chris Brown feat. Kevin McCall                       No BS                                                      SR0000679366                   Sony Music Entertainment
  2304   Chris Brown feat. Lil Wayne & Busta Rhymes           Look At Me Now                                             SR0000677541                   Sony Music Entertainment
  2305   Chris Brown feat. Lil Wayne & Swizz Beatz            I Can Transform Ya                                         SR0000747284                   Sony Music Entertainment
  2306   Chris Brown feat. Lil Wayne & Tyga                   Loyal                                                      SR0000760918                   Sony Music Entertainment
  2307   Chris Brown feat. Ludacris                           Wet The Bed                                                SR0000679366                   Sony Music Entertainment
  2308   Chris Brown feat. Nas                                Mirage                                                     SR0000711816                   Sony Music Entertainment



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                                    Artist                                                  Track                            Registration Number                     Plaintiff
  2309   Chris Brown feat. Nicki Minaj                        Love More                                             SR0000726473                   Sony Music Entertainment
  2310   Chris Brown feat. Sabrina Antionette                 Trumpet Lights                                        SR0000711816                   Sony Music Entertainment
  2311   Chris Brown feat. Sevyn                              Party Hard / Cadillac (Interlude)                     SR0000711816                   Sony Music Entertainment
  2312   Chris Brown feat. Sevyn                              Remember My Name                                      SR0000711816                   Sony Music Entertainment
  2313   Chris Brown feat. Sevyn                              Touch Me                                              SR0000711816                   Sony Music Entertainment
  2314   Chris Brown feat. Tyga & Kevin McCall                Deuces                                                SR0000679366                   Sony Music Entertainment
  2315   Chris Brown feat. Wiz Khalifa                        Bomb                                                  SR0000679366                   Sony Music Entertainment
  2316   Chris Young                                          A.M.                                                  SR0000726878                   Sony Music Entertainment
  2317   Chris Young                                          Aw Naw                                                SR0000726910                   Sony Music Entertainment
  2318   Chris Young                                          Forgiveness                                           SR0000726878                   Sony Music Entertainment
  2319   Chris Young                                          Goodbye                                               SR0000736687                   Sony Music Entertainment
  2320   Chris Young                                          Hold You To It                                        SR0000726878                   Sony Music Entertainment
  2321   Chris Young                                          Lighters In the Air                                   SR0000726878                   Sony Music Entertainment
  2322   Chris Young                                          Nothin' But the Cooler Left                           SR0000726878                   Sony Music Entertainment
  2323   Chris Young                                          Text Me Texas                                         SR0000726878                   Sony Music Entertainment
  2324   Chris Young                                          We're Gonna Find It Tonight                           SR0000726878                   Sony Music Entertainment
  2325   Chris Young                                          Who I Am With You                                     SR0000726878                   Sony Music Entertainment
  2326   Ciara                                                Body Party                                            SR0000724526                   Sony Music Entertainment
  2327   Ciara                                                Ciara To The Stage                                    SR0000631011                   Sony Music Entertainment
  2328   Ciara                                                G Is For Girl (A-Z)                                   SR0000631011                   Sony Music Entertainment
  2329   Ciara                                                I Don't Remember                                      SR0000631011                   Sony Music Entertainment
  2330   Ciara                                                Keep Dancin' On Me                                    SR0000631011                   Sony Music Entertainment
  2331   Ciara                                                Like A Surgeon                                        SR0000631011                   Sony Music Entertainment
  2332   Ciara                                                Never Ever                                            SR0000723761                   Sony Music Entertainment
  2333   Ciara                                                Pucker Up                                             SR0000631011                   Sony Music Entertainment
  2334   Ciara                                                Ride                                                  SR0000671337                   Sony Music Entertainment
  2335   Ciara                                                So Hard                                               SR0000757150                   Sony Music Entertainment
  2336   Ciara                                                Speechless                                            SR0000671337                   Sony Music Entertainment
  2337   Ciara                                                Tell Me What Your Name Is                             SR0000631011                   Sony Music Entertainment
  2338   Ciara feat. Chris Brown                              Turntables                                            SR0000631011                   Sony Music Entertainment
  2339   Ciara feat. Justin Timberlake                        Love Sex Magic                                        SR0000631011                   Sony Music Entertainment
  2340   Ciara feat. Ludacris                                 High Price                                            SR0000631011                   Sony Music Entertainment
  2341   Ciara feat. Nicki Minaj                              I'm Out                                               SR0000724534                   Sony Music Entertainment
  2342   Ciara feat. The-Dream                                Lover's Thing                                         SR0000631011                   Sony Music Entertainment
  2343   Clash                                                I Fought The Law                                      SR0000013444                   Sony Music Entertainment
  2344   Clash                                                Should I Stay Or Should I Go                          SR0000034959                   Sony Music Entertainment
  2345   Crossfade                                            Cold                                                  SR0000697112                   Sony Music Entertainment
  2346   Crossfade                                            Colors                                                SR0000354126                   Sony Music Entertainment
  2347   Crossfade                                            Dead Skin                                             SR0000354126                   Sony Music Entertainment
  2348   Crossfade                                            Death Trend Setta                                     SR0000354126                   Sony Music Entertainment
  2349   Crossfade                                            Disco                                                 SR0000354126                   Sony Music Entertainment
  2350   Crossfade                                            No Giving Up                                          SR0000354126                   Sony Music Entertainment
  2351   Crossfade                                            So Far Away                                           SR0000354126                   Sony Music Entertainment
  2352   Crossfade                                            Starless                                              SR0000354126                   Sony Music Entertainment
  2353   Crossfade                                            The Deep End                                          SR0000354126                   Sony Music Entertainment
  2354   Crossfade                                            The Unknown                                           SR0000354126                   Sony Music Entertainment
  2355   Cypress Hill                                         (Rock) Superstar                                      SR0000287128                   Sony Music Entertainment
  2356   Cypress Hill                                         Can't Get the Best of Me                              SR0000287128                   Sony Music Entertainment
  2357   Cypress Hill                                         Dr. Greenthumb                                        SR0000263930                   Sony Music Entertainment
  2358   Cypress Hill                                         EZ Come EZ Go                                         SR0000384639                   Sony Music Entertainment
  2359   Cypress Hill                                         Hand On The Pump                                      SR0000134573                   Sony Music Entertainment
  2360   Cypress Hill                                         Latin Thugs                                           SR0000354123                   Sony Music Entertainment
  2361   Cypress Hill                                         Tequila Sunrise                                       SR0000263930                   Sony Music Entertainment
  2362   Cypress Hill                                         The Only Way                                          SR0000384639                   Sony Music Entertainment
  2363   Cypress Hill                                         Throw Your Set In The Air                             SR0000215690                   Sony Music Entertainment
  2364   Daughtry                                             All These Lives                                       SR0000399960                   Sony Music Entertainment
  2365   Daughtry                                             Breakdown                                             SR0000399960                   Sony Music Entertainment
  2366   Daughtry                                             Crashed                                               SR0000399960                   Sony Music Entertainment
  2367   Daughtry                                             Crawling Back to You                                  SR0000715606                   Sony Music Entertainment
  2368   Daughtry                                             Feels Like Tonight                                    SR0000399960                   Sony Music Entertainment
  2369   Daughtry                                             Gone                                                  SR0000399960                   Sony Music Entertainment
  2370   Daughtry                                             Home                                                  SR0000399960                   Sony Music Entertainment
  2371   Daughtry                                             It's Not Over                                         SR0000399960                   Sony Music Entertainment
  2372   Daughtry                                             Over You                                              SR0000399960                   Sony Music Entertainment
  2373   Daughtry                                             There And Back Again                                  SR0000399960                   Sony Music Entertainment
  2374   Daughtry                                             Used To                                               SR0000399960                   Sony Music Entertainment
  2375   Daughtry                                             What About Now                                        SR0000399960                   Sony Music Entertainment
  2376   Daughtry                                             What I Want                                           SR0000399960                   Sony Music Entertainment
  2377   Dave Matthews Band                                   American Baby                                         SR0000719468                   Sony Music Entertainment
  2378   Destiny's Child                                      Dangerously In Love                                   SR0000289199                   Sony Music Entertainment
  2379   Dixie Chicks                                         Bitter End                                            SR0000391109                   Sony Music Entertainment
  2380   Dixie Chicks                                         Cowboy Take Me Away                                   SR0000275086                   Sony Music Entertainment
  2381   Dixie Chicks                                         Easy Silence                                          SR0000391109                   Sony Music Entertainment
  2382   Dixie Chicks                                         Everybody Knows                                       SR0000391109                   Sony Music Entertainment
  2383   Dixie Chicks                                         Give It Up Or Let Me Go                               SR0000252000                   Sony Music Entertainment
  2384   Dixie Chicks                                         Goodbye Earl                                          SR0000275086                   Sony Music Entertainment
  2385   Dixie Chicks                                         Heartbreak Town                                       SR0000275086                   Sony Music Entertainment
  2386   Dixie Chicks                                         I Believe in Love                                     SR0000314722                   Sony Music Entertainment
  2387   Dixie Chicks                                         I Can Love You Better                                 SR0000252000                   Sony Music Entertainment
  2388   Dixie Chicks                                         Landslide                                             SR0000314722                   Sony Music Entertainment
  2389   Dixie Chicks                                         Let Him Fly                                           SR0000275086                   Sony Music Entertainment
  2390   Dixie Chicks                                         Lil' Jack Slade                                       SR0000314722                   Sony Music Entertainment
  2391   Dixie Chicks                                         Lubbock or Leave It                                   SR0000391109                   Sony Music Entertainment
  2392   Dixie Chicks                                         Lullaby                                               SR0000391109                   Sony Music Entertainment
  2393   Dixie Chicks                                         Not Ready To Make Nice                                SR0000697321                   Sony Music Entertainment
  2394   Dixie Chicks                                         Ready To Run                                          SR0000309667                   Sony Music Entertainment


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                                     Artist                                              Track                           Registration Number                     Plaintiff
  2395   Dixie Chicks                                         Silent House                                      SR0000391109                   Sony Music Entertainment
  2396   Dixie Chicks                                         Sin Wagon                                         SR0000275086                   Sony Music Entertainment
  2397   Dixie Chicks                                         Some Days You Gotta Dance                         SR0000275086                   Sony Music Entertainment
  2398   Dixie Chicks                                         The Long Way Around                               SR0000391109                   Sony Music Entertainment
  2399   Dixie Chicks                                         There's Your Trouble                              SR0000252000                   Sony Music Entertainment
  2400   Dixie Chicks                                         Tonight the Heartache's on Me                     SR0000252000                   Sony Music Entertainment
  2401   Dixie Chicks                                         Top of the World                                  SR0000314722                   Sony Music Entertainment
  2402   Dixie Chicks                                         Travelin' Soldier                                 SR0000314722                   Sony Music Entertainment
  2403   Dixie Chicks                                         Truth No. 2                                       SR0000314722                   Sony Music Entertainment
  2404   Dixie Chicks                                         White Trash Wedding                               SR0000314722                   Sony Music Entertainment
  2405   Dixie Chicks                                         Wide Open Spaces                                  SR0000252000                   Sony Music Entertainment
  2406   Dixie Chicks                                         Without You                                       SR0000275086                   Sony Music Entertainment
  2407   Dixie Chicks                                         You Were Mine                                     SR0000252000                   Sony Music Entertainment
  2408   Eddie Money                                          Baby Hold On                                      RE0000923174                   Sony Music Entertainment
  2409   Eddie Money                                          I Wanna Go Back                                   SR0000071987                   Sony Music Entertainment
  2410   Eddie Money                                          Looking Through The Eyes Of A Child               SR0000109485                   Sony Music Entertainment
  2411   Eddie Money                                          No Control                                        SR0000038050                   Sony Music Entertainment
  2412   Eddie Money                                          Peace in Our Time                                 SR0000109485                   Sony Music Entertainment
  2413   Eddie Money                                          Shakin'                                           SR0000038050                   Sony Music Entertainment
  2414   Eddie Money                                          Stop Steppin' On My Heart                         SR0000109485                   Sony Music Entertainment
  2415   Eddie Money                                          Think I'm In Love                                 SR0000038226                   Sony Music Entertainment
  2416   Eddie Money                                          Two Tickets To Paradise                           RE0000923174                   Sony Music Entertainment
  2417   Eddie Money                                          We Should Be Sleeping                             SR0000071987                   Sony Music Entertainment
  2418   Eddie Money                                          Where's The Party?                                SR0000050822                   Sony Music Entertainment
  2419   Electric Light Orchestra                             Across the Border                                 N46612                         Sony Music Entertainment
  2420   Electric Light Orchestra                             Confusion                                         SR0000012943                   Sony Music Entertainment
  2421   Electric Light Orchestra                             Do Ya                                             N36991                         Sony Music Entertainment
  2422   Electric Light Orchestra                             Don't Bring Me Down                               SR0000012943                   Sony Music Entertainment
  2423   Electric Light Orchestra                             Evil Woman                                        N27257                         Sony Music Entertainment
  2424   Electric Light Orchestra                             Four Little Diamonds                              SR0000046784                   Sony Music Entertainment
  2425   Electric Light Orchestra                             Getting to the Point                              SR0000070477                   Sony Music Entertainment
  2426   Electric Light Orchestra                             Here Is the News                                  SR0000030537                   Sony Music Entertainment
  2427   Electric Light Orchestra                             Illusions In G Major                              N19100                         Sony Music Entertainment
  2428   Electric Light Orchestra                             Last Train to London                              SR0000012943                   Sony Music Entertainment
  2429   Electric Light Orchestra                             Livin' Thing                                      N36991                         Sony Music Entertainment
  2430   Electric Light Orchestra                             Ma Ma Ma Belle                                    N11365                         Sony Music Entertainment
  2431   Electric Light Orchestra                             Mr Blue Sky                                       N46612                         Sony Music Entertainment
  2432   Electric Light Orchestra                             Nightrider                                        N27257                         Sony Music Entertainment
  2433   Electric Light Orchestra                             Rockaria!                                         N36991                         Sony Music Entertainment
  2434   Electric Light Orchestra                             Secret Messages                                   SR0000046784                   Sony Music Entertainment
  2435   Electric Light Orchestra                             Shine a Little Love                               SR0000009161                   Sony Music Entertainment
  2436   Electric Light Orchestra                             Showdown                                          N11365                         Sony Music Entertainment
  2437   Electric Light Orchestra                             So Serious                                        SR0000070477                   Sony Music Entertainment
  2438   Electric Light Orchestra                             Strange Magic                                     N27257                         Sony Music Entertainment
  2439   Electric Light Orchestra                             Sweet Talkin' Woman                               N46612                         Sony Music Entertainment
  2440   Electric Light Orchestra                             Telephone Line                                    N36991                         Sony Music Entertainment
  2441   Electric Light Orchestra                             The Diary Of Horace Wimp                          SR0000012943                   Sony Music Entertainment
  2442   Electric Light Orchestra                             The Way Life's Meant To Be                        SR0000030537                   Sony Music Entertainment
  2443   Electric Light Orchestra                             Ticket To The Moon                                SR0000030537                   Sony Music Entertainment
  2444   Electric Light Orchestra                             Turn To Stone                                     N46612                         Sony Music Entertainment
  2445   Electric Light Orchestra                             Twilight                                          SR0000030537                   Sony Music Entertainment
  2446   Electric Light Orchestra                             Wild West Hero                                    N46612                         Sony Music Entertainment
  2447   Elle Varner                                          Damn Good Friends                                 SR0000721189                   Sony Music Entertainment
  2448   Elle Varner                                          Leaf                                              SR0000721189                   Sony Music Entertainment
  2449   Elle Varner                                          Not Tonight                                       SR0000721189                   Sony Music Entertainment
  2450   Elle Varner                                          Oh What A Night                                   SR0000721189                   Sony Music Entertainment
  2451   Elle Varner                                          Refill                                            SR0000721190                   Sony Music Entertainment
  2452   Elle Varner                                          So Fly                                            SR0000721187                   Sony Music Entertainment
  2453   Elle Varner                                          Sound Proof Room                                  SR0000721189                   Sony Music Entertainment
  2454   Elle Varner                                          Stop The Clock                                    SR0000721189                   Sony Music Entertainment
  2455   Elle Varner                                          Welcome Home                                      SR0000721189                   Sony Music Entertainment
  2456   Elle Varner feat. J. Cole                            Only Wanna Give It To You                         SR0000721192                   Sony Music Entertainment
  2457   Emblem3                                              3000 Miles                                        SR0000726978                   Sony Music Entertainment
  2458   Emblem3                                              Chloe (You're The One I Want)                     SR0000726979                   Sony Music Entertainment
  2459   Emblem3                                              Do It All Again                                   SR0000726978                   Sony Music Entertainment
  2460   Emblem3                                              Girl Next Door                                    SR0000726978                   Sony Music Entertainment
  2461   Emblem3                                              I Love LA                                         SR0000726978                   Sony Music Entertainment
  2462   Emblem3                                              I Wish                                            SR0000726978                   Sony Music Entertainment
  2463   Emblem3                                              Jaiden                                            SR0000726978                   Sony Music Entertainment
  2464   Emblem3                                              Just For One Day                                  SR0000726978                   Sony Music Entertainment
  2465   Emblem3                                              Nothing To Lose                                   SR0000726978                   Sony Music Entertainment
  2466   Emblem3                                              One Day                                           SR0000726978                   Sony Music Entertainment
  2467   Emblem3                                              Reason                                            SR0000726978                   Sony Music Entertainment
  2468   Emblem3                                              Spaghetti                                         SR0000726978                   Sony Music Entertainment
  2469   Emblem3                                              Sunset Blvd                                       SR0000726978                   Sony Music Entertainment
  2470   Emblem3                                              Teenage Kings                                     SR0000726978                   Sony Music Entertainment
  2471   Emblem3                                              XO                                                SR0000726978                   Sony Music Entertainment
  2472   Europe                                               Carrie                                            SR0000076395                   Sony Music Entertainment
  2473   Europe                                               Cherokee                                          SR0000076395                   Sony Music Entertainment
  2474   Europe                                               Danger On the Track                               SR0000076395                   Sony Music Entertainment
  2475   Europe                                               Heart Of Stone                                    SR0000076395                   Sony Music Entertainment
  2476   Europe                                               Love Chaser                                       SR0000076395                   Sony Music Entertainment
  2477   Europe                                               Ninja                                             SR0000076395                   Sony Music Entertainment
  2478   Europe                                               On The Loose                                      SR0000076395                   Sony Music Entertainment
  2479   Europe                                               Rock the Night                                    SR0000076395                   Sony Music Entertainment
  2480   Europe                                               The Final Countdown                               SR0000076395                   Sony Music Entertainment


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                                   Artist                                                Track                          Registration Number                     Plaintiff
  2481   Europe                                               Time Has Come                                    SR0000076395                   Sony Music Entertainment
  2482   Fabulous Thunderbirds                                Amnesia                                          SR0000076616                   Sony Music Entertainment
  2483   Fabulous Thunderbirds                                Down At Antwones                                 SR0000076616                   Sony Music Entertainment
  2484   Fabulous Thunderbirds                                I Don't Care                                     SR0000076616                   Sony Music Entertainment
  2485   Fabulous Thunderbirds                                Tell Me                                          SR0000076616                   Sony Music Entertainment
  2486   Fabulous Thunderbirds                                True Love                                        SR0000076616                   Sony Music Entertainment
  2487   Fabulous Thunderbirds                                Tuff Enuff                                       SR0000076616                   Sony Music Entertainment
  2488   Fifth Harmony                                        BO$$                                             SR0000768358                   Sony Music Entertainment
  2489   Foo Fighters                                         Ain't It The Life                                SR0000285034                   Sony Music Entertainment
  2490   Foo Fighters                                         All My Life (Edit)                               SR0000325862                   Sony Music Entertainment
  2491   Foo Fighters                                         Another Round                                    SR0000377762                   Sony Music Entertainment
  2492   Foo Fighters                                         Aurora                                           SR0000285034                   Sony Music Entertainment
  2493   Foo Fighters                                         Ballad Of The Beaconsfield Miners                SR0000617325                   Sony Music Entertainment
  2494   Foo Fighters                                         Best Of You                                      SR0000734391                   Sony Music Entertainment
  2495   Foo Fighters                                         Breakout                                         SR0000285034                   Sony Music Entertainment
  2496   Foo Fighters                                         But, Honestly                                    SR0000617325                   Sony Music Entertainment
  2497   Foo Fighters                                         Cheer Up, Boys (Your Make Up Is Running)         SR0000617325                   Sony Music Entertainment
  2498   Foo Fighters                                         Cold Day In The Sun                              SR0000377762                   Sony Music Entertainment
  2499   Foo Fighters                                         Come Alive                                       SR0000617325                   Sony Music Entertainment
  2500   Foo Fighters                                         Danny Says                                       SR0000325862                   Sony Music Entertainment
  2501   Foo Fighters                                         DOA                                              SR0000377762                   Sony Music Entertainment
  2502   Foo Fighters                                         Doll                                             SR0000297253                   Sony Music Entertainment
  2503   Foo Fighters                                         End Over End                                     SR0000377762                   Sony Music Entertainment
  2504   Foo Fighters                                         Enough Space                                     SR0000297253                   Sony Music Entertainment
  2505   Foo Fighters                                         Everlong                                         SR0000297253                   Sony Music Entertainment
  2506   Foo Fighters                                         February Stars                                   SR0000297253                   Sony Music Entertainment
  2507   Foo Fighters                                         Free Me                                          SR0000377762                   Sony Music Entertainment
  2508   Foo Fighters                                         Friend Of A Friend                               SR0000377762                   Sony Music Entertainment
  2509   Foo Fighters                                         Generator                                        SR0000285034                   Sony Music Entertainment
  2510   Foo Fighters                                         Gimme Stitches                                   SR0000285034                   Sony Music Entertainment
  2511   Foo Fighters                                         Headwires                                        SR0000285034                   Sony Music Entertainment
  2512   Foo Fighters                                         Hell                                             SR0000377762                   Sony Music Entertainment
  2513   Foo Fighters                                         Hey, Johnny Park!                                SR0000297253                   Sony Music Entertainment
  2514   Foo Fighters                                         Home                                             SR0000617325                   Sony Music Entertainment
  2515   Foo Fighters                                         In Your Honor                                    SR0000377762                   Sony Music Entertainment
  2516   Foo Fighters                                         Learn To Fly                                     SR0000285034                   Sony Music Entertainment
  2517   Foo Fighters                                         Let It Die                                       SR0000617325                   Sony Music Entertainment
  2518   Foo Fighters                                         Live-In Skin                                     SR0000285034                   Sony Music Entertainment
  2519   Foo Fighters                                         Long Road To Ruin                                SR0000617325                   Sony Music Entertainment
  2520   Foo Fighters                                         M.I.A.                                           SR0000285034                   Sony Music Entertainment
  2521   Foo Fighters                                         Marigold                                         SR0000396409                   Sony Music Entertainment
  2522   Foo Fighters                                         Miracle                                          SR0000377762                   Sony Music Entertainment
  2523   Foo Fighters                                         Monkey Wrench                                    SR0000297253                   Sony Music Entertainment
  2524   Foo Fighters                                         My Hero                                          SR0000297253                   Sony Music Entertainment
  2525   Foo Fighters                                         My Hero (Live)                                   SR0000396409                   Sony Music Entertainment
  2526   Foo Fighters                                         My Poor Brain                                    SR0000297253                   Sony Music Entertainment
  2527   Foo Fighters                                         New Way Home                                     SR0000297253                   Sony Music Entertainment
  2528   Foo Fighters                                         Next Year                                        SR0000285034                   Sony Music Entertainment
  2529   Foo Fighters                                         No Way Back                                      SR0000377762                   Sony Music Entertainment
  2530   Foo Fighters                                         On The Mend                                      SR0000377762                   Sony Music Entertainment
  2531   Foo Fighters                                         Once & For All (Demo)                            SR0000617325                   Sony Music Entertainment
  2532   Foo Fighters                                         Over And Out                                     SR0000377762                   Sony Music Entertainment
  2533   Foo Fighters                                         Razor                                            SR0000396409                   Sony Music Entertainment
  2534   Foo Fighters                                         Resolve                                          SR0000377762                   Sony Music Entertainment
  2535   Foo Fighters                                         See You                                          SR0000297253                   Sony Music Entertainment
  2536   Foo Fighters                                         Skin And Bones                                   SR0000396409                   Sony Music Entertainment
  2537   Foo Fighters                                         Stacked Actors                                   SR0000285034                   Sony Music Entertainment
  2538   Foo Fighters                                         Statues                                          SR0000617325                   Sony Music Entertainment
  2539   Foo Fighters                                         Still                                            SR0000377762                   Sony Music Entertainment
  2540   Foo Fighters                                         Stranger Things Have Happened                    SR0000617325                   Sony Music Entertainment
  2541   Foo Fighters                                         Summer's End                                     SR0000617325                   Sony Music Entertainment
  2542   Foo Fighters                                         The Deepest Blues Are Black                      SR0000377762                   Sony Music Entertainment
  2543   Foo Fighters                                         The Last Song                                    SR0000377762                   Sony Music Entertainment
  2544   Foo Fighters                                         The Pretender                                    SR0000748786                   Sony Music Entertainment
  2545   Foo Fighters                                         Up In Arms                                       SR0000297253                   Sony Music Entertainment
  2546   Foo Fighters                                         Virginia Moon                                    SR0000377762                   Sony Music Entertainment
  2547   Foo Fighters                                         Walking After You                                SR0000297253                   Sony Music Entertainment
  2548   Foo Fighters                                         What If I Do?                                    SR0000377762                   Sony Music Entertainment
  2549   Foo Fighters                                         Wheels                                           SR0000636262                   Sony Music Entertainment
  2550   Foo Fighters                                         Wind Up                                          SR0000297253                   Sony Music Entertainment
  2551   Foo Fighters                                         Word Forward                                     SR0000636262                   Sony Music Entertainment
  2552   Foster The People                                    Call It What You Want                            SR0000752474                   Sony Music Entertainment
  2553   Foster The People                                    Chin Music For The Unsuspecting Hero             SR0000754312                   Sony Music Entertainment
  2554   Foster The People                                    Don't Stop (Color on the Walls)                  SR0000752474                   Sony Music Entertainment
  2555   Foster The People                                    Helena Beat                                      SR0000752475                   Sony Music Entertainment
  2556   Foster The People                                    Houdini                                          SR0000752475                   Sony Music Entertainment
  2557   Foster The People                                    I Would Do Anything For You                      SR0000752474                   Sony Music Entertainment
  2558   Foster The People                                    Life on the Nickel                               SR0000752474                   Sony Music Entertainment
  2559   Foster The People                                    Love                                             SR0000742408                   Sony Music Entertainment
  2560   Foster The People                                    Miss You                                         SR0000752474                   Sony Music Entertainment
  2561   Foster The People                                    Pumped Up Kicks                                  SR0000754312                   Sony Music Entertainment
  2562   Foster The People                                    Warrant                                          SR0000752474                   Sony Music Entertainment
  2563   Foster The People                                    Waste                                            SR0000752474                   Sony Music Entertainment
  2564   Fuel                                                 Again                                            SR0000616497                   Sony Music Entertainment
  2565   Fuel                                                 Angels Take a Soul                               SR0000616497                   Sony Music Entertainment
  2566   Fuel                                                 Bad Day                                          SR0000269920                   Sony Music Entertainment


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                                    Artist                                                  Track                       Registration Number                     Plaintiff
  2567   Fuel                                                 Days With You                                    SR0000342237                   Sony Music Entertainment
  2568   Fuel                                                 Die Like This                                    SR0000342237                   Sony Music Entertainment
  2569   Fuel                                                 Down                                             SR0000269920                   Sony Music Entertainment
  2570   Fuel                                                 Down Inside Of You                               SR0000342237                   Sony Music Entertainment
  2571   Fuel                                                 Easy                                             SR0000269920                   Sony Music Entertainment
  2572   Fuel                                                 Empty Spaces                                     SR0000269920                   Sony Music Entertainment
  2573   Fuel                                                 Falls On Me                                      PA0001234071                   Sony Music Entertainment
  2574   Fuel                                                 Forever                                          SR0000616497                   Sony Music Entertainment
  2575   Fuel                                                 Getting Thru?                                    SR0000342237                   Sony Music Entertainment
  2576   Fuel                                                 Gone                                             SR0000616497                   Sony Music Entertainment
  2577   Fuel                                                 Halos of the Son                                 SR0000616497                   Sony Music Entertainment
  2578   Fuel                                                 Hangin Round                                     SR0000616497                   Sony Music Entertainment
  2579   Fuel                                                 I Should Have Told You                           SR0000616497                   Sony Music Entertainment
  2580   Fuel                                                 Innocent                                         SR0000269920                   Sony Music Entertainment
  2581   Fuel                                                 Jesus Or A Gun                                   PA0000939885                   Sony Music Entertainment
  2582   Fuel                                                 Knives                                           SR0000269920                   Sony Music Entertainment
  2583   Fuel                                                 Last Time                                        SR0000269920                   Sony Music Entertainment
  2584   Fuel                                                 Leave the Memories Alone                         SR0000616497                   Sony Music Entertainment
  2585   Fuel                                                 Luck                                             SR0000342237                   Sony Music Entertainment
  2586   Fuel                                                 Million Miles                                    SR0000342237                   Sony Music Entertainment
  2587   Fuel                                                 Most Of All                                      SR0000342237                   Sony Music Entertainment
  2588   Fuel                                                 Not This Time                                    SR0000616497                   Sony Music Entertainment
  2589   Fuel                                                 Prove                                            SR0000269920                   Sony Music Entertainment
  2590   Fuel                                                 Quarter                                          SR0000342237                   Sony Music Entertainment
  2591   Fuel                                                 Running Away                                     SR0000342237                   Sony Music Entertainment
  2592   Fuel                                                 Scar                                             SR0000269920                   Sony Music Entertainment
  2593   Fuel                                                 Scars in the Making                              SR0000616497                   Sony Music Entertainment
  2594   Fuel                                                 Shimmer                                          SR0000253431                   Sony Music Entertainment
  2595   Fuel                                                 Slow                                             SR0000269920                   Sony Music Entertainment
  2596   Fuel                                                 Solace                                           SR0000269920                   Sony Music Entertainment
  2597   Fuel                                                 Sunburn                                          SR0000253431                   Sony Music Entertainment
  2598   Fuel                                                 These Things                                     SR0000342237                   Sony Music Entertainment
  2599   Fuel                                                 Wasted Time                                      SR0000616497                   Sony Music Entertainment
  2600   Fuel 238                                             Hideaway                                         SR0000253431                   Sony Music Entertainment
  2601   Fuel 238                                             Mary Pretends                                    SR0000253431                   Sony Music Entertainment
  2602   Fuel 238                                             New Thing                                        SR0000253431                   Sony Music Entertainment
  2603   Fuel 238                                             Ozone                                            SR0000253431                   Sony Music Entertainment
  2604   Fuel 238                                             Song For You                                     SR0000253431                   Sony Music Entertainment
  2605   Fuel 238                                             Untitled**                                       SR0000253431                   Sony Music Entertainment
  2606   Fugees                                               Manifest/Outro                                   SR0000222005                   Sony Music Entertainment
  2607   Fugees                                               Mista Mista                                      SR0000222005                   Sony Music Entertainment
  2608   Fugees                                               No Woman No Cry                                  SR0000222005                   Sony Music Entertainment
  2609   Fugees                                               Ready Or Not                                     SR0000222005                   Sony Music Entertainment
  2610   Fugees                                               Red Intro                                        SR0000222005                   Sony Music Entertainment
  2611   Fugees                                               The Score                                        SR0000222005                   Sony Music Entertainment
  2612   Fugees                                               Zealots                                          SR0000222005                   Sony Music Entertainment
  2613   Future                                               Astronaut Chick                                  SR0000701457                   Sony Music Entertainment
  2614   Future                                               Neva End                                         SR0000701457                   Sony Music Entertainment
  2615   Future                                               Permanent Scar                                   SR0000701457                   Sony Music Entertainment
  2616   Future                                               Same Damn Time                                   SR0000701457                   Sony Music Entertainment
  2617   Future                                               Straight Up                                      SR0000701457                   Sony Music Entertainment
  2618   Future                                               Tony Montana                                     SR0000701457                   Sony Music Entertainment
  2619   Future                                               Truth Gonna Hurt You                             SR0000701457                   Sony Music Entertainment
  2620   Future                                               Turn On The Lights                               SR0000701457                   Sony Music Entertainment
  2621   Future                                               You Deserve It                                   SR0000701457                   Sony Music Entertainment
  2622   Future feat. Big Rube                                The Future Is Now                                SR0000701457                   Sony Music Entertainment
  2623   Future feat. Juicy J                                 I'm Trippin                                      SR0000701457                   Sony Music Entertainment
  2624   Future feat. Pharrell, Pusha T and Casino            Move That Dope                                   SR0000762576                   Sony Music Entertainment
  2625   Future feat. R. Kelly                                Parachute                                        SR0000701457                   Sony Music Entertainment
  2626   Future feat. Snoop Dogg                              Homicide                                         SR0000701457                   Sony Music Entertainment
  2627   Future feat. T.I.                                    Magic                                            SR0000701457                   Sony Music Entertainment
  2628   Future feat. Trae The Truth                          Long Live The Pimp                               SR0000701457                   Sony Music Entertainment
  2629   Gavin DeGraw                                         Candy                                            SR0000412465                   Sony Music Entertainment
  2630   Gavin DeGraw                                         Radiation                                        SR0000412465                   Sony Music Entertainment
  2631   Gavin DeGraw                                         Run Every Time                                   SR0000412465                   Sony Music Entertainment
  2632   Gavin DeGraw                                         Spell It Out                                     SR0000412465                   Sony Music Entertainment
  2633   Gavin DeGraw                                         Stealing                                         SR0000412465                   Sony Music Entertainment
  2634   Gavin DeGraw                                         Sweeter                                          SR0000412465                   Sony Music Entertainment
  2635   Gavin DeGraw                                         Where You Are                                    SR0000412465                   Sony Music Entertainment
  2636   Gavin DeGraw                                         You Know Where I'm At                            SR0000412465                   Sony Music Entertainment
  2637   George Jones                                         He Stopped Loving Her Today                      SR0000018496                   Sony Music Entertainment
  2638   George Jones                                         I Always Get Lucky With You                      SR0000045294                   Sony Music Entertainment
  2639   George Jones                                         If Drinkin' Don't Kill Me (Her Memory Will)      SR0000021788                   Sony Music Entertainment
  2640   George Jones                                         I'm A One Woman Man                              SR0000101829                   Sony Music Entertainment
  2641   George Jones                                         I've Aged Twenty Years In Five                   SR0000021788                   Sony Music Entertainment
  2642   George Jones                                         Someday My Day Will Come                         SR0000010280                   Sony Music Entertainment
  2643   George Jones                                         Still Doin' Time                                 SR0000030506                   Sony Music Entertainment
  2644   George Jones                                         Tennessee Whiskey                                SR0000045294                   Sony Music Entertainment
  2645   George Jones                                         The One I Loved Back Then (The Corvette Song)    SR0000067238                   Sony Music Entertainment
  2646   George Jones                                         The Right Left Hand                              SR0000078097                   Sony Music Entertainment
  2647   George Jones                                         Who's Gonna Fill Their Shoes                     PA0000262395                   Sony Music Entertainment
  2648   George Jones                                         You've Still Got a Place In My Heart             SR0000055734                   Sony Music Entertainment
  2649   George Jones & Tammy Wynette                         Near You                                         RE0000905501                   Sony Music Entertainment
  2650   George Michael                                       An Easier Affair                                 SR0000618251                   Sony Music Entertainment
  2651   George Michael                                       Cowboys and Angels                               SR0000133600                   Sony Music Entertainment
  2652   George Michael                                       Father Figure                                    SR0000092432                   Sony Music Entertainment


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                                                                               EXHIBIT A - SOUND RECORDINGS

                                   Artist                                                  Track                            Registration Number                     Plaintiff
  2653   George Michael                                       Freedom! '90                                         SR0000133600                   Sony Music Entertainment
  2654   George Michael                                       I Want Your Sex                                      SR0000092432                   Sony Music Entertainment
  2655   George Michael                                       Kissing A Fool                                       SR0000092432                   Sony Music Entertainment
  2656   George Michael                                       One More Try                                         SR0000092432                   Sony Music Entertainment
  2657   George Michael                                       Praying For Time                                     SR0000133600                   Sony Music Entertainment
  2658   George Michael                                       They Won't Go When I Go                              SR0000133600                   Sony Music Entertainment
  2659   Good Charlotte                                       A New Beginning                                      SR0000309099                   Sony Music Entertainment
  2660   Good Charlotte                                       Emotionless                                          SR0000309099                   Sony Music Entertainment
  2661   Good Charlotte                                       Girls & Boys                                         SR0000309099                   Sony Music Entertainment
  2662   Good Charlotte                                       Hold On                                              SR0000309099                   Sony Music Entertainment
  2663   Good Charlotte                                       Movin' On                                            SR0000309099                   Sony Music Entertainment
  2664   Good Charlotte                                       My Bloody Valentine                                  SR0000309099                   Sony Music Entertainment
  2665   Good Charlotte                                       Riot Girl                                            SR0000309099                   Sony Music Entertainment
  2666   Good Charlotte                                       Say Anything                                         SR0000309099                   Sony Music Entertainment
  2667   Good Charlotte                                       The Anthem                                           SR0000309099                   Sony Music Entertainment
  2668   Good Charlotte                                       The Day That I Die                                   SR0000309099                   Sony Music Entertainment
  2669   Good Charlotte                                       The Story Of My Old Man                              SR0000309099                   Sony Music Entertainment
  2670   Good Charlotte                                       The Young & The Hopeless                             SR0000309099                   Sony Music Entertainment
  2671   Good Charlotte                                       Wondering                                            SR0000309099                   Sony Music Entertainment
  2672   Gossip                                               2012                                                 SR0000643177                   Sony Music Entertainment
  2673   Gossip                                               8th Wonder                                           SR0000643177                   Sony Music Entertainment
  2674   Gossip                                               Dimestore Diamond                                    SR0000643177                   Sony Music Entertainment
  2675   Gossip                                               For Keeps                                            SR0000643177                   Sony Music Entertainment
  2676   Gossip                                               Four Letter Word                                     SR0000643177                   Sony Music Entertainment
  2677   Gossip                                               Love and Let Love                                    SR0000643177                   Sony Music Entertainment
  2678   Gossip                                               Love Long Distance                                   SR0000643177                   Sony Music Entertainment
  2679   Gossip                                               Men In Love                                          SR0000643177                   Sony Music Entertainment
  2680   Gossip                                               Pop Goes the World                                   SR0000643177                   Sony Music Entertainment
  2681   Gossip                                               Spare Me From The Mold                               SR0000643177                   Sony Music Entertainment
  2682   Gossip                                               The Breakdown                                        SR0000643177                   Sony Music Entertainment
  2683   Gossip                                               Vertical Rhythm                                      SR0000643177                   Sony Music Entertainment
  2684   Gretchen Wilson                                      All Jacked Up                                        PA0001259117                   Sony Music Entertainment
  2685   Gretchen Wilson                                      California Girls                                     SR0000388036                   Sony Music Entertainment
  2686   Gretchen Wilson                                      Chariot                                              PA0001245662                   Sony Music Entertainment
  2687   Gretchen Wilson                                      Here For The Party                                   PA0001245662                   Sony Music Entertainment
  2688   Gretchen Wilson                                      Holdin' You                                          PA0001245662                   Sony Music Entertainment
  2689   Gretchen Wilson                                      Homewrecker                                          PA0001245662                   Sony Music Entertainment
  2690   Gretchen Wilson                                      I Don't Feel Like Loving You Today                   SR0000388036                   Sony Music Entertainment
  2691   Gretchen Wilson                                      One Of The Boys                                      SR0000609494                   Sony Music Entertainment
  2692   Gretchen Wilson                                      Pocahontas Proud                                     PA0001245662                   Sony Music Entertainment
  2693   Gretchen Wilson                                      Politically Uncorrect                                SR0000388036                   Sony Music Entertainment
  2694   Gretchen Wilson                                      Redneck Woman                                        PA0001233077                   Sony Music Entertainment
  2695   Gretchen Wilson                                      The Bed                                              PA0001245662                   Sony Music Entertainment
  2696   Gretchen Wilson                                      What Happened                                        PA0001245662                   Sony Music Entertainment
  2697   Gretchen Wilson                                      When I Think About Cheatin'                          PA0001245662                   Sony Music Entertainment
  2698   Gretchen Wilson                                      When It Rains                                        PA0001245662                   Sony Music Entertainment
  2699   Heatwave                                             Ain't No Half Steppin'                               SR0000004075                   Sony Music Entertainment
  2700   Heatwave                                             All You Do Is Dial                                   SR0000000875                   Sony Music Entertainment
  2701   Heatwave                                             Always And Forever                                   SR0000000875                   Sony Music Entertainment
  2702   Heatwave                                             Boogie Nights                                        SR0000000875                   Sony Music Entertainment
  2703   Heatwave                                             Central Heating                                      SR0000005108                   Sony Music Entertainment
  2704   Heatwave                                             Eyeballin'                                           SR0000008717                   Sony Music Entertainment
  2705   Heatwave                                             Gangsters of the Groove                              SR0000023077                   Sony Music Entertainment
  2706   Heatwave                                             Happiness Togetherness                               SR0000005108                   Sony Music Entertainment
  2707   Heatwave                                             I'll Beat Your Booty                                 SR0000000875                   Sony Music Entertainment
  2708   Heatwave                                             Lay It On Me                                         SR0000000875                   Sony Music Entertainment
  2709   Heatwave                                             Lettin' It Loose                                     SR0000041027                   Sony Music Entertainment
  2710   Heatwave                                             Look After Love                                      SR0000041402                   Sony Music Entertainment
  2711   Heatwave                                             Mind Blowing Decisions                               SR0000005108                   Sony Music Entertainment
  2712   Heatwave                                             Sho'Nuff Must Be Luv                                 SR0000000875                   Sony Music Entertainment
  2713   Heatwave                                             The Groove Line                                      SR0000005108                   Sony Music Entertainment
  2714   Heatwave                                             Too Hot To Handle                                    SR0000000875                   Sony Music Entertainment
  2715   Heatwave                                             Where Did I Go Wrong                                 SR0000024332                   Sony Music Entertainment
  2716   Hot Chelle Rae                                       Beautiful Freaks                                     SR0000412466                   Sony Music Entertainment
  2717   Hot Chelle Rae                                       Downtown Girl                                        SR0000412466                   Sony Music Entertainment
  2718   Hot Chelle Rae                                       Forever Unstoppable                                  SR0000412466                   Sony Music Entertainment
  2719   Hot Chelle Rae                                       Honestly                                             SR0000412466                   Sony Music Entertainment
  2720   Hot Chelle Rae                                       Keep You With Me                                     SR0000412466                   Sony Music Entertainment
  2721   Hot Chelle Rae                                       The Only One                                         SR0000412466                   Sony Music Entertainment
  2722   Hot Chelle Rae                                       Tonight Tonight                                      SR0000412466                   Sony Music Entertainment
  2723   Hot Chelle Rae                                       Whatever                                             SR0000412466                   Sony Music Entertainment
  2724   Hot Chelle Rae feat. Bei Maejor                      Radio                                                SR0000412466                   Sony Music Entertainment
  2725   Hot Chelle Rae feat. Demi Lovato                     Why Don't You Love Me                                SR0000412466                   Sony Music Entertainment
  2726   Hurricane Chris                                      A Bay Bay                                            SR0000719410                   Sony Music Entertainment
  2727   In This Moment                                       Adrenalize                                           SR0000703747                   Sony Music Entertainment
  2728   In This Moment                                       Aries                                                SR0000703747                   Sony Music Entertainment
  2729   In This Moment                                       Beast Within                                         SR0000703747                   Sony Music Entertainment
  2730   In This Moment                                       Blood                                                SR0000703747                   Sony Music Entertainment
  2731   In This Moment                                       Burn                                                 SR0000703747                   Sony Music Entertainment
  2732   In This Moment                                       Comanche                                             SR0000703747                   Sony Music Entertainment
  2733   In This Moment                                       From the Ashes                                       SR0000703747                   Sony Music Entertainment
  2734   In This Moment                                       Rise With Me                                         SR0000703747                   Sony Music Entertainment
  2735   In This Moment                                       Scarlet                                              SR0000703747                   Sony Music Entertainment
  2736   In This Moment                                       The Blood Legion                                     SR0000703747                   Sony Music Entertainment
  2737   In This Moment                                       Whore                                                SR0000703747                   Sony Music Entertainment
  2738   In This Moment                                       You're Gonna' Listen                                 SR0000703747                   Sony Music Entertainment


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                                   Artist                                                 Track                        Registration Number                     Plaintiff
  2739   Incubus                                              A Kiss to Send Us Off                           SR0000403204                   Sony Music Entertainment
  2740   Incubus                                              Anna Molly                                      SR0000742203                   Sony Music Entertainment
  2741   Incubus                                              Aqueous Transmission                            SR0000306181                   Sony Music Entertainment
  2742   Incubus                                              Are You In?                                     SR0000306181                   Sony Music Entertainment
  2743   Incubus                                              Battlestar Scralatchtica                        SR0000278818                   Sony Music Entertainment
  2744   Incubus                                              Blood on the Ground                             SR0000306181                   Sony Music Entertainment
  2745   Incubus                                              Circles                                         SR0000306181                   Sony Music Entertainment
  2746   Incubus                                              Clean                                           SR0000278818                   Sony Music Entertainment
  2747   Incubus                                              Consequence                                     SR0000278818                   Sony Music Entertainment
  2748   Incubus                                              Diamonds and Coal                               SR0000403204                   Sony Music Entertainment
  2749   Incubus                                              Dig                                             SR0000403204                   Sony Music Entertainment
  2750   Incubus                                              Drive                                           SR0000278818                   Sony Music Entertainment
  2751   Incubus                                              Earth To Bella (Part I)                         SR0000403204                   Sony Music Entertainment
  2752   Incubus                                              Earth To Bella (Part II)                        SR0000403204                   Sony Music Entertainment
  2753   Incubus                                              Echo                                            SR0000306181                   Sony Music Entertainment
  2754   Incubus                                              Have You Ever                                   SR0000306181                   Sony Music Entertainment
  2755   Incubus                                              I Miss You                                      SR0000278818                   Sony Music Entertainment
  2756   Incubus                                              Just a Phase                                    SR0000306181                   Sony Music Entertainment
  2757   Incubus                                              Light Grenades                                  SR0000403204                   Sony Music Entertainment
  2758   Incubus                                              Love Hurts                                      SR0000403204                   Sony Music Entertainment
  2759   Incubus                                              Magic Medicine                                  SR0000249690                   Sony Music Entertainment
  2760   Incubus                                              Make Yourself                                   SR0000278818                   Sony Music Entertainment
  2761   Incubus                                              Mexico                                          SR0000306181                   Sony Music Entertainment
  2762   Incubus                                              Nice To Know You                                SR0000306181                   Sony Music Entertainment
  2763   Incubus                                              Nowhere Fast                                    SR0000278818                   Sony Music Entertainment
  2764   Incubus                                              Oil And Water                                   SR0000403204                   Sony Music Entertainment
  2765   Incubus                                              Out from Under                                  SR0000278818                   Sony Music Entertainment
  2766   Incubus                                              Paper Shoes                                     SR0000403204                   Sony Music Entertainment
  2767   Incubus                                              Pendulous Threads                               SR0000403204                   Sony Music Entertainment
  2768   Incubus                                              Privilege                                       SR0000278818                   Sony Music Entertainment
  2769   Incubus                                              Quicksand                                       SR0000403204                   Sony Music Entertainment
  2770   Incubus                                              Rogues                                          SR0000403204                   Sony Music Entertainment
  2771   Incubus                                              Stellar                                         SR0000278818                   Sony Music Entertainment
  2772   Incubus                                              Summer Romance (Anti-Gravity Love Song)         SR0000249690                   Sony Music Entertainment
  2773   Incubus                                              The Warmth                                      SR0000278818                   Sony Music Entertainment
  2774   Incubus                                              Under My Umbrella                               SR0000306181                   Sony Music Entertainment
  2775   Incubus                                              Warning                                         SR0000306181                   Sony Music Entertainment
  2776   Incubus                                              When It Comes                                   SR0000278818                   Sony Music Entertainment
  2777   Incubus                                              Wish You Were Here                              PA0001065849                   Sony Music Entertainment
  2778   Itzhak Perlman                                       Theme from"Far and Away"                        SR0000247495                   Sony Music Entertainment
  2779   Itzhak Perlman; John Williams                        Schindler's List: Theme                         SR0000247495                   Sony Music Entertainment
  2780   J. Cole                                              Chaining Day                                    SR0000730319                   Sony Music Entertainment
  2781   J. Cole                                              Let Nas Down                                    SR0000730319                   Sony Music Entertainment
  2782   J. Cole                                              Mo Money (Interlude)                            SR0000730319                   Sony Music Entertainment
  2783   J. Cole                                              Power Trip                                      SR0000730319                   Sony Music Entertainment
  2784   J. Cole                                              Rich Niggaz                                     SR0000730319                   Sony Music Entertainment
  2785   J. Cole                                              Trouble                                         SR0000730319                   Sony Music Entertainment
  2786   J. Cole                                              Where's Jermaine? (Skit)                        SR0000730319                   Sony Music Entertainment
  2787   J. Cole feat. TLC                                    Crooked Smile                                   SR0000730319                   Sony Music Entertainment
  2788   Jace Everett                                         Bad Things                                      SR0000385664                   Sony Music Entertainment
  2789   Jack White                                           Blunderbuss                                     SR0000699383                   Sony Music Entertainment
  2790   Jack White                                           Freedom At 21                                   SR0000699383                   Sony Music Entertainment
  2791   Jack White                                           Hip (Eponymous) Poor Boy                        SR0000699383                   Sony Music Entertainment
  2792   Jack White                                           Hypocritical Kiss                               SR0000699383                   Sony Music Entertainment
  2793   Jack White                                           I Guess I Should Go To Sleep                    SR0000699383                   Sony Music Entertainment
  2794   Jack White                                           I'm Shakin'                                     SR0000699383                   Sony Music Entertainment
  2795   Jack White                                           Love Interruption                               SR0000699383                   Sony Music Entertainment
  2796   Jack White                                           Missing Pieces                                  SR0000699383                   Sony Music Entertainment
  2797   Jack White                                           On And On And On                                SR0000699383                   Sony Music Entertainment
  2798   Jack White                                           Sixteen Saltines                                SR0000699383                   Sony Music Entertainment
  2799   Jack White                                           Take Me With You When You Go                    SR0000699383                   Sony Music Entertainment
  2800   Jack White                                           Trash Tongue Talker                             SR0000699383                   Sony Music Entertainment
  2801   Jack White                                           Weep Themselves To Sleep                        SR0000699383                   Sony Music Entertainment
  2802   Jake Owen                                            Alone With You                                  SR0000697851                   Sony Music Entertainment
  2803   Jake Owen                                            Anywhere With You                               SR0000697851                   Sony Music Entertainment
  2804   Jake Owen                                            Apple Pie Moonshine                             SR0000697851                   Sony Music Entertainment
  2805   Jake Owen                                            Barefoot Blue Jean Night                        SR0000697851                   Sony Music Entertainment
  2806   Jake Owen                                            Beachin'                                        SR0000737050                   Sony Music Entertainment
  2807   Jake Owen                                            Heaven                                          SR0000697851                   Sony Music Entertainment
  2808   Jake Owen                                            Keepin' It Country                              SR0000697851                   Sony Music Entertainment
  2809   Jake Owen                                            Nobody Feelin' No Pain                          SR0000697851                   Sony Music Entertainment
  2810   Jake Owen                                            Settin' The World On Fire                       SR0000697851                   Sony Music Entertainment
  2811   Jake Owen                                            The Journey Of Your Life                        SR0000697851                   Sony Music Entertainment
  2812   Jake Owen                                            The One That Got Away                           SR0000697851                   Sony Music Entertainment
  2813   Jake Owen                                            Wide Awake                                      SR0000697851                   Sony Music Entertainment
  2814   James Taylor                                         Bartender's Blues                               SR0000000157                   Sony Music Entertainment
  2815   James Taylor                                         Only A Dream In Rio                             SR0000068536                   Sony Music Entertainment
  2816   James Taylor                                         Up On The Roof                                  SR0000009172                   Sony Music Entertainment
  2817   James Taylor                                         Your Smiling Face                               RE0000923126                   Sony Music Entertainment
  2818   Jamie Foxx feat. Drake                               Fall For Your Type                              SR0000671348                   Sony Music Entertainment
  2819   Jamiroquai                                           Virtual Insanity                                SR0000299909                   Sony Music Entertainment
  2820   Jennifer Hudson                                      Angel                                           SR0000674220                   Sony Music Entertainment
  2821   Jennifer Hudson                                      Believe                                         SR0000674220                   Sony Music Entertainment
  2822   Jennifer Hudson                                      Don't Look Down                                 SR0000674220                   Sony Music Entertainment
  2823   Jennifer Hudson                                      Everybody Needs Love                            SR0000674220                   Sony Music Entertainment
  2824   Jennifer Hudson                                      Gone                                            SR0000674220                   Sony Music Entertainment


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                                   Artist                                                  Track                                 Registration Number                     Plaintiff
  2825   Jennifer Hudson                                      I Got This                                                SR0000674220                   Sony Music Entertainment
  2826   Jennifer Hudson                                      I Remember Me                                             SR0000674220                   Sony Music Entertainment
  2827   Jennifer Hudson                                      No One Gonna Love You                                     SR0000674220                   Sony Music Entertainment
  2828   Jennifer Hudson                                      Still Here                                                SR0000674220                   Sony Music Entertainment
  2829   Jennifer Hudson                                      Where You At                                              SR0000674220                   Sony Music Entertainment
  2830   Jennifer Hudson                                      Why Is It So Hard                                         SR0000674220                   Sony Music Entertainment
  2831   Jennifer Hudson & Ne-Yo feat. Rick Ross              Think Like A Man                                          SR0000712017                   Sony Music Entertainment
  2832   Jennifer Lopez                                       No Me Ames                                                SR0000267571                   Sony Music Entertainment
  2833   Jerrod Niemann                                       Drink to That All Night                                   SR0000738148                   Sony Music Entertainment
  2834   John Legend                                          Cross The Line                                            SR0000619653                   Sony Music Entertainment
  2835   John Legend                                          Everybody Knows                                           SR0000619653                   Sony Music Entertainment
  2836   John Legend                                          Good Morning                                              SR0000742202                   Sony Music Entertainment
  2837   John Legend                                          I Love, You Love                                          SR0000619653                   Sony Music Entertainment
  2838   John Legend                                          If You're Out There                                       SR0000619653                   Sony Music Entertainment
  2839   John Legend                                          Quickly                                                   SR0000619653                   Sony Music Entertainment
  2840   John Legend                                          Satisfaction                                              SR0000619653                   Sony Music Entertainment
  2841   John Legend                                          Take Me Away                                              SR0000619653                   Sony Music Entertainment
  2842   John Legend                                          This Time                                                 SR0000619653                   Sony Music Entertainment
  2843   John Legend feat. Buju Banton                        Can't Be My Lover                                         SR0000619653                   Sony Music Entertainment
  2844   John Legend feat. Estelle                            No Other Love                                             SR0000619653                   Sony Music Entertainment
  2845   John Legend feat. Kanye West                         It's Over                                                 SR0000619653                   Sony Music Entertainment
  2846   John Mayer                                           83                                                        SR0000305049                   Sony Music Entertainment
  2847   John Mayer                                           3x5                                                       SR0000305049                   Sony Music Entertainment
  2848   John Mayer                                           A Face To Call Home                                       SR0000701446                   Sony Music Entertainment
  2849   John Mayer                                           Back to You                                               SR0000305049                   Sony Music Entertainment
  2850   John Mayer                                           Belief                                                    SR0000398715                   Sony Music Entertainment
  2851   John Mayer                                           Bold As Love                                              SR0000398715                   Sony Music Entertainment
  2852   John Mayer                                           Born and Raised                                           SR0000701446                   Sony Music Entertainment
  2853   John Mayer                                           City Love                                                 SR0000305049                   Sony Music Entertainment
  2854   John Mayer                                           Crossroads                                                SR0000650569                   Sony Music Entertainment
  2855   John Mayer                                           Daughters                                                 SR0000405307                   Sony Music Entertainment
  2856   John Mayer                                           Do You Know Me                                            SR0000650569                   Sony Music Entertainment
  2857   John Mayer                                           Dreaming With A Broken Heart                              SR0000398715                   Sony Music Entertainment
  2858   John Mayer                                           Edge Of Desire                                            SR0000650569                   Sony Music Entertainment
  2859   John Mayer                                           Fool To Love You                                          SR0000701446                   Sony Music Entertainment
  2860   John Mayer                                           Friends, Lovers Or Nothing                                SR0000650569                   Sony Music Entertainment
  2861   John Mayer                                           Gravity                                                   SR0000398715                   Sony Music Entertainment
  2862   John Mayer                                           Great Indoors                                             SR0000305049                   Sony Music Entertainment
  2863   John Mayer                                           Half Of My Heart                                          SR0000650569                   Sony Music Entertainment
  2864   John Mayer                                           Heartbreak Warfare                                        SR0000650569                   Sony Music Entertainment
  2865   John Mayer                                           I Don't Trust Myself (With Loving You)                    SR0000398715                   Sony Music Entertainment
  2866   John Mayer                                           If I Ever Get Around To Living                            SR0000701446                   Sony Music Entertainment
  2867   John Mayer                                           I'm Gonna Find Another You                                SR0000398715                   Sony Music Entertainment
  2868   John Mayer                                           In Repair                                                 SR0000398715                   Sony Music Entertainment
  2869   John Mayer                                           Love Is A Verb                                            SR0000701446                   Sony Music Entertainment
  2870   John Mayer                                           Love Song For No One                                      SR0000305049                   Sony Music Entertainment
  2871   John Mayer                                           My Stupid Mouth                                           SR0000305049                   Sony Music Entertainment
  2872   John Mayer                                           Neon                                                      SR0000305049                   Sony Music Entertainment
  2873   John Mayer                                           No Such Thing                                             SR0000305049                   Sony Music Entertainment
  2874   John Mayer                                           Not Myself                                                SR0000305049                   Sony Music Entertainment
  2875   John Mayer                                           Perfectly Lonely                                          SR0000650569                   Sony Music Entertainment
  2876   John Mayer                                           Queen of California                                       SR0000701446                   Sony Music Entertainment
  2877   John Mayer                                           Shadow Days                                               SR0000701446                   Sony Music Entertainment
  2878   John Mayer                                           Slow Dancing In A Burning Room                            SR0000398715                   Sony Music Entertainment
  2879   John Mayer                                           Something Like Olivia                                     SR0000701446                   Sony Music Entertainment
  2880   John Mayer                                           Speak For Me                                              SR0000701446                   Sony Music Entertainment
  2881   John Mayer                                           St. Patrick's Day                                         SR0000305049                   Sony Music Entertainment
  2882   John Mayer                                           Stop This Train                                           SR0000398715                   Sony Music Entertainment
  2883   John Mayer                                           The Age of Worry                                          SR0000701446                   Sony Music Entertainment
  2884   John Mayer                                           The Heart Of Life                                         SR0000398715                   Sony Music Entertainment
  2885   John Mayer                                           Vultures                                                  SR0000398715                   Sony Music Entertainment
  2886   John Mayer                                           Waiting On The World To Change                            SR0000718995                   Sony Music Entertainment
  2887   John Mayer                                           Walt Grace's Submarine Test, January 1967                 SR0000701446                   Sony Music Entertainment
  2888   John Mayer                                           War Of My Life                                            SR0000650569                   Sony Music Entertainment
  2889   John Mayer                                           Whiskey, Whiskey, Whiskey                                 SR0000701446                   Sony Music Entertainment
  2890   John Mayer                                           Who Says                                                  SR0000650569                   Sony Music Entertainment
  2891   John Mayer                                           Why Georgia                                               SR0000305049                   Sony Music Entertainment
  2892   John Mayer                                           Your Body Is A Wonderland                                 SR0000305049                   Sony Music Entertainment
  2893   John Williams                                        Bugler's Dream and Olympic Fanfare Medley                 SR0000224437                   Sony Music Entertainment
  2894   John Williams                                        Hook: Flight To Neverland                                 SR0000233783                   Sony Music Entertainment
  2895   John Williams                                        Summon The Heroes                                         SR0000224437                   Sony Music Entertainment
  2896   John Williams                                        Theme From Jurassic Park                                  SR0000233783                   Sony Music Entertainment
  2897   John Williams; London Symphony Orchestra             Main Title (From "Star Wars")                             SR0000247474                   Sony Music Entertainment
  2898   John Williams; The Boston Pops Orchestra             Close Encounters of the Third Kind/When You Wish Upon a   SR0000186141                   Sony Music Entertainment
                                                              Star Medley
  2899   John Williams; The Boston Pops Orchestra             Scherzo for Motorcycle and Orchestra from Indiana Jones   SR0000186141                   Sony Music Entertainment
                                                              and the Last Crusade
  2900   John Williams; The Boston Pops Orchestra             Theme from "Sugarland Express"                            SR0000186141                   Sony Music Entertainment
  2901   Johnny Cash                                          (Ghost) Riders in the Sky                                 SR0000010496                   Sony Music Entertainment
  2902   Johnny Cash                                          Cocaine Blues                                             SR0000011119                   Sony Music Entertainment
  2903   Johnny Cash                                          Sunday Morning Coming Down                                RE0000923063                   Sony Music Entertainment
  2904   Johnny Cash                                          The General Lee                                           SR0000035327                   Sony Music Entertainment
  2905   Josh Thompson                                        A Name In This Town                                       SR0000652025                   Sony Music Entertainment
  2906   Josh Thompson                                        Always Been Me                                            SR0000652025                   Sony Music Entertainment
  2907   Josh Thompson                                        Back Around                                               SR0000652025                   Sony Music Entertainment
  2908   Josh Thompson                                        Beer On The Table                                         SR0000652025                   Sony Music Entertainment


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                                    Artist                                                  Track                      Registration Number                     Plaintiff
  2909   Josh Thompson                                        Blame It On Waylon                              SR0000652025                   Sony Music Entertainment
  2910   Josh Thompson                                        I Won't Go Crazy                                SR0000652025                   Sony Music Entertainment
  2911   Josh Thompson                                        Sinner                                          SR0000652025                   Sony Music Entertainment
  2912   Josh Thompson                                        Way Out Here                                    SR0000652025                   Sony Music Entertainment
  2913   Josh Thompson                                        Won't Be Lonely Long - On The Road              SR0000652025                   Sony Music Entertainment
  2914   Josh Thompson                                        You Ain't Seen Country Yet                      SR0000652025                   Sony Music Entertainment
  2915   Journey                                              Dead or Alive                                   SR0000030088                   Sony Music Entertainment
  2916   Journey                                              Don't Stop Believin'                            SR0000030088                   Sony Music Entertainment
  2917   Journey                                              Escape                                          SR0000030088                   Sony Music Entertainment
  2918   Journey                                              Keep on Runnin'                                 SR0000030088                   Sony Music Entertainment
  2919   Journey                                              Lay It Down                                     SR0000030088                   Sony Music Entertainment
  2920   Journey                                              Mother, Father                                  SR0000030707                   Sony Music Entertainment
  2921   Journey                                              Open Arms                                       SR0000030088                   Sony Music Entertainment
  2922   Journey                                              Still They Ride                                 SR0000030088                   Sony Music Entertainment
  2923   Journey                                              Stone In Love                                   SR0000030088                   Sony Music Entertainment
  2924   Journey                                              Who's Crying Now                                SR0000030707                   Sony Music Entertainment
  2925   Julio Iglesias duet with Willie Nelson               To All the Girls I've Loved Before              SR0000058185                   Sony Music Entertainment
  2926   Justin Timberlake                                    Blue Ocean Floor                                SR0000717770                   Sony Music Entertainment
  2927   Justin Timberlake                                    Body Count                                      SR0000717770                   Sony Music Entertainment
  2928   Justin Timberlake                                    Don't Hold The Wall                             SR0000717770                   Sony Music Entertainment
  2929   Justin Timberlake                                    Dress On                                        SR0000717770                   Sony Music Entertainment
  2930   Justin Timberlake                                    Let The Groove Get In                           SR0000717770                   Sony Music Entertainment
  2931   Justin Timberlake                                    Not A Bad Thing                                 SR0000743696                   Sony Music Entertainment
  2932   Justin Timberlake                                    Pusher Love Girl                                SR0000717770                   Sony Music Entertainment
  2933   Justin Timberlake                                    Spaceship Coupe                                 SR0000717770                   Sony Music Entertainment
  2934   Justin Timberlake                                    Strawberry Bubblegum                            SR0000717770                   Sony Music Entertainment
  2935   Justin Timberlake                                    That Girl                                       SR0000717770                   Sony Music Entertainment
  2936   Justin Timberlake                                    TKO                                             SR0000743696                   Sony Music Entertainment
  2937   Justin Timberlake                                    Tunnel Vision                                   SR0000717770                   Sony Music Entertainment
  2938   Justin Timberlake feat. JAY Z                        Suit & Tie                                      SR0000714855                   Sony Music Entertainment
  2939   Kansas                                               Closet Chronicles                               RE0000927442                   Sony Music Entertainment
  2940   Kansas                                               Dust in The Wind                                RE0000927442                   Sony Music Entertainment
  2941   Kansas                                               Hopelessly Human                                RE0000927442                   Sony Music Entertainment
  2942   Kansas                                               Lightning's Hand                                RE0000927442                   Sony Music Entertainment
  2943   Kansas                                               Nobody's Home                                   RE0000927442                   Sony Music Entertainment
  2944   Kansas                                               Paradox                                         RE0000927442                   Sony Music Entertainment
  2945   Kansas                                               Point Of Know Return                            RE0000927442                   Sony Music Entertainment
  2946   Kansas                                               Portrait (He Knew)                              RE0000927442                   Sony Music Entertainment
  2947   Kansas                                               Sparks of the Tempest                           RE0000927442                   Sony Music Entertainment
  2948   Kansas                                               The Spider                                      RE0000927442                   Sony Music Entertainment
  2949   Karmin                                               Acapella                                        SR0000746675                   Sony Music Entertainment
  2950   Karmin                                               Brokenhearted                                   SR0000719608                   Sony Music Entertainment
  2951   Karmin                                               Coming Up Strong                                SR0000717565                   Sony Music Entertainment
  2952   Karmin                                               Crash Your Party                                SR0000719621                   Sony Music Entertainment
  2953   Karmin                                               Hello                                           SR0000717565                   Sony Music Entertainment
  2954   Karmin                                               I Told You So                                   SR0000717565                   Sony Music Entertainment
  2955   Karmin                                               I'm Just Sayin'                                 SR0000717565                   Sony Music Entertainment
  2956   Karmin                                               Too Many Fish                                   SR0000717565                   Sony Music Entertainment
  2957   Karmin                                               Walking On The Moon                             SR0000717565                   Sony Music Entertainment
  2958   Keb' Mo'                                             A Better Man                                    SR0000237597                   Sony Music Entertainment
  2959   Kellie Pickler                                       100 Proof                                       SR0000697940                   Sony Music Entertainment
  2960   Kellie Pickler                                       Best Days Of Your Life                          SR0000618096                   Sony Music Entertainment
  2961   Kellie Pickler                                       Didn't You Know How Much I Loved You            SR0000618096                   Sony Music Entertainment
  2962   Kellie Pickler                                       Going Out In Style                              SR0000618096                   Sony Music Entertainment
  2963   Kellie Pickler                                       I'm Your Woman                                  SR0000618096                   Sony Music Entertainment
  2964   Kellie Pickler                                       Little House On The Highway                     SR0000697940                   Sony Music Entertainment
  2965   Kellie Pickler                                       Long As I Never See You Again                   SR0000697940                   Sony Music Entertainment
  2966   Kellie Pickler                                       Lucky Girl                                      SR0000618096                   Sony Music Entertainment
  2967   Kellie Pickler                                       Makin' Me Fall In Love Again                    SR0000618096                   Sony Music Entertainment
  2968   Kellie Pickler                                       Mother's Day                                    SR0000697940                   Sony Music Entertainment
  2969   Kellie Pickler                                       One Last Time                                   SR0000618096                   Sony Music Entertainment
  2970   Kellie Pickler                                       Rockaway (The Rockin' Chair Song)               SR0000697940                   Sony Music Entertainment
  2971   Kellie Pickler                                       Rocks Instead of Rice                           SR0000618096                   Sony Music Entertainment
  2972   Kellie Pickler                                       Somebody to Love Me                             SR0000618096                   Sony Music Entertainment
  2973   Kellie Pickler                                       Stop Cheatin' On Me                             SR0000697940                   Sony Music Entertainment
  2974   Kellie Pickler                                       The Letter (To Daddy)                           SR0000697940                   Sony Music Entertainment
  2975   Kellie Pickler                                       Tough                                           SR0000697940                   Sony Music Entertainment
  2976   Kellie Pickler                                       Turn On The Radio And Dance                     SR0000697940                   Sony Music Entertainment
  2977   Kellie Pickler                                       Unlock That Honky Tonk                          SR0000697940                   Sony Music Entertainment
  2978   Kellie Pickler                                       Where's Tammy Wynette                           SR0000697940                   Sony Music Entertainment
  2979   Kelly Clarkson                                       Breaking Your Own Heart                         SR0000693113                   Sony Music Entertainment
  2980   Kelly Clarkson                                       Dark Side                                       SR0000693113                   Sony Music Entertainment
  2981   Kelly Clarkson                                       Don't Be A Girl About It                        SR0000693113                   Sony Music Entertainment
  2982   Kelly Clarkson                                       Einstein                                        SR0000693113                   Sony Music Entertainment
  2983   Kelly Clarkson                                       Hello                                           SR0000693113                   Sony Music Entertainment
  2984   Kelly Clarkson                                       Honestly                                        SR0000693113                   Sony Music Entertainment
  2985   Kelly Clarkson                                       I Forgive You                                   SR0000693113                   Sony Music Entertainment
  2986   Kelly Clarkson                                       Mr. Know It All                                 SR0000715680                   Sony Music Entertainment
  2987   Kelly Clarkson                                       Standing In Front Of You                        SR0000693113                   Sony Music Entertainment
  2988   Kelly Clarkson                                       Stronger (What Doesn't Kill You)                SR0000693113                   Sony Music Entertainment
  2989   Kelly Clarkson                                       The War Is Over                                 SR0000693113                   Sony Music Entertainment
  2990   Kelly Clarkson                                       You Can't Win                                   SR0000693113                   Sony Music Entertainment
  2991   Kelly Clarkson                                       You Love Me                                     SR0000693113                   Sony Music Entertainment
  2992   Kenny Chesney                                        Always Gonna Be You                             SR0000722762                   Sony Music Entertainment
  2993   Kenny Chesney                                        Come Over                                       SR0000734917                   Sony Music Entertainment
  2994   Kenny Chesney                                        El Cerrito Place                                SR0000722762                   Sony Music Entertainment


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                                    Artist                                               Track                          Registration Number                     Plaintiff
  2995   Kenny Chesney                                        Happy On The Hey Now (A Song For Kristi)         SR0000726972                   Sony Music Entertainment
  2996   Kenny Chesney                                        I'm A Small Town                                 SR0000722762                   Sony Music Entertainment
  2997   Kenny Chesney                                        It's That Time Of Day                            SR0000726972                   Sony Music Entertainment
  2998   Kenny Chesney                                        Life On A Rock                                   SR0000726972                   Sony Music Entertainment
  2999   Kenny Chesney                                        Lindy                                            SR0000726972                   Sony Music Entertainment
  3000   Kenny Chesney                                        Makes Me Wonder                                  SR0000722762                   Sony Music Entertainment
  3001   Kenny Chesney                                        Marley                                           SR0000726972                   Sony Music Entertainment
  3002   Kenny Chesney                                        Must Be Something I Missed                       SR0000726972                   Sony Music Entertainment
  3003   Kenny Chesney                                        Pirate Flag                                      SR0000726974                   Sony Music Entertainment
  3004   Kenny Chesney                                        Sing 'Em Good My Friend                          SR0000722762                   Sony Music Entertainment
  3005   Kenny Chesney                                        Time Flies                                       SR0000722762                   Sony Music Entertainment
  3006   Kenny Chesney                                        To Get To You (55th And 3rd)                     SR0000722762                   Sony Music Entertainment
  3007   Kenny Chesney                                        Welcome To The Fishbowl                          SR0000722762                   Sony Music Entertainment
  3008   Kenny Chesney                                        When I See This Bar                              SR0000726972                   Sony Music Entertainment
  3009   Kenny Chesney                                        While He Still Knows Who I Am                    SR0000722762                   Sony Music Entertainment
  3010   Kenny Chesney feat. Grace Potter                     You And Tequila                                  SR0000722762                   Sony Music Entertainment
  3011   Kenny Chesney feat. The Wailers with Elan            Spread The Love                                  SR0000726972                   Sony Music Entertainment
  3012   Kenny Chesney with Willie Nelson                     Coconut Tree (with Willie Nelson)                SR0000726972                   Sony Music Entertainment
  3013   Kenny G                                              Forever In Love                                  SR0000709272                   Sony Music Entertainment
  3014   Kenny G                                              Morning                                          SR0000709272                   Sony Music Entertainment
  3015   Kenny G                                              Sentimental                                      SR0000709272                   Sony Music Entertainment
  3016   Kenny G                                              Sister Rose                                      SR0000709272                   Sony Music Entertainment
  3017   Kenny G                                              The Wedding Song                                 SR0000709272                   Sony Music Entertainment
  3018   Kid Ink                                              Hello World                                      SR0000742556                   Sony Music Entertainment
  3019   Kid Ink                                              Money and the Power                              SR0000761343                   Sony Music Entertainment
  3020   Kid Ink                                              More Than A King                                 SR0000742556                   Sony Music Entertainment
  3021   Kid Ink                                              My System                                        SR0000742556                   Sony Music Entertainment
  3022   Kid Ink                                              Rollin'                                          SR0000742556                   Sony Music Entertainment
  3023   Kid Ink                                              Show Me                                          SR0000742549                   Sony Music Entertainment
  3024   Kid Ink                                              Star Player                                      SR0000742556                   Sony Music Entertainment
  3025   Kid Ink                                              Tattoo Of My Name                                SR0000742556                   Sony Music Entertainment
  3026   Kid Ink                                              The Movement                                     SR0000742556                   Sony Music Entertainment
  3027   Kid Ink feat. A$AP Ferg & French Montana             Bossin' Up                                       SR0000761343                   Sony Music Entertainment
  3028   Kid Ink feat. August Alsina                          We Just Came to Party                            SR0000742556                   Sony Music Entertainment
  3029   Kid Ink feat. Chris Brown                            Main Chick                                       SR0000742556                   Sony Music Entertainment
  3030   Kid Ink feat. Elle Varner & MGK                      No Miracles                                      SR0000742552                   Sony Music Entertainment
  3031   Kid Ink feat. King Los                               No Option                                        SR0000742553                   Sony Music Entertainment
  3032   Kid Ink feat. Maejor Ali                             I Don't Care                                     SR0000742556                   Sony Music Entertainment
  3033   Kid Ink feat. Meek Mill & Wale                       Bad Ass                                          SR0000742551                   Sony Music Entertainment
  3034   Kid Ink feat. Pusha T                                Murda                                            SR0000742556                   Sony Music Entertainment
  3035   Kid Ink feat. Tyga                                   Iz U Down                                        SR0000742550                   Sony Music Entertainment
  3036   Kings Of Leon                                        17                                               SR0000617761                   Sony Music Entertainment
  3037   Kings Of Leon                                        Be Somebody                                      SR0000617761                   Sony Music Entertainment
  3038   Kings Of Leon                                        Beautiful War                                    SR0000734388                   Sony Music Entertainment
  3039   Kings Of Leon                                        Closer                                           SR0000617761                   Sony Music Entertainment
  3040   Kings Of Leon                                        Cold Desert                                      SR0000617761                   Sony Music Entertainment
  3041   Kings Of Leon                                        Comeback Story                                   SR0000734388                   Sony Music Entertainment
  3042   Kings Of Leon                                        Coming Back Again                                SR0000734388                   Sony Music Entertainment
  3043   Kings Of Leon                                        Crawl                                            SR0000723763                   Sony Music Entertainment
  3044   Kings Of Leon                                        Don't Matter                                     SR0000734388                   Sony Music Entertainment
  3045   Kings Of Leon                                        Family Tree                                      SR0000734388                   Sony Music Entertainment
  3046   Kings Of Leon                                        Last Mile Home                                   SR0000734388                   Sony Music Entertainment
  3047   Kings Of Leon                                        Manhattan                                        SR0000617761                   Sony Music Entertainment
  3048   Kings Of Leon                                        Notion                                           SR0000617761                   Sony Music Entertainment
  3049   Kings Of Leon                                        On the Chin                                      SR0000734388                   Sony Music Entertainment
  3050   Kings Of Leon                                        Revelry                                          SR0000617761                   Sony Music Entertainment
  3051   Kings Of Leon                                        Rock City                                        SR0000734388                   Sony Music Entertainment
  3052   Kings Of Leon                                        Sex On Fire                                      SR0000617761                   Sony Music Entertainment
  3053   Kings Of Leon                                        Supersoaker                                      SR0000726617                   Sony Music Entertainment
  3054   Kings Of Leon                                        Temple                                           SR0000734388                   Sony Music Entertainment
  3055   Kings Of Leon                                        Tonight                                          SR0000734388                   Sony Music Entertainment
  3056   Kings Of Leon                                        Wait for Me                                      SR0000734389                   Sony Music Entertainment
  3057   Kings Of Leon                                        Work On Me                                       SR0000734388                   Sony Music Entertainment
  3058   Korn                                                 B.B.K.                                           SR0000263749                   Sony Music Entertainment
  3059   Korn                                                 Cameltosis                                       SR0000263749                   Sony Music Entertainment
  3060   Korn                                                 Children Of The Korn                             SR0000263749                   Sony Music Entertainment
  3061   Korn                                                 Dead Bodies Everywhere                           SR0000263749                   Sony Music Entertainment
  3062   Korn                                                 Earache My Eye                                   SR0000263749                   Sony Music Entertainment
  3063   Korn                                                 Freak On A Leash                                 SR0000263749                   Sony Music Entertainment
  3064   Korn                                                 Got The Life                                     SR0000263749                   Sony Music Entertainment
  3065   Korn                                                 It's On!                                         SR0000263749                   Sony Music Entertainment
  3066   Korn                                                 Justin                                           SR0000263749                   Sony Music Entertainment
  3067   Korn                                                 My Gift To You                                   SR0000263749                   Sony Music Entertainment
  3068   Korn                                                 Pretty                                           SR0000263749                   Sony Music Entertainment
  3069   Korn                                                 Reclaim My Place                                 SR0000263749                   Sony Music Entertainment
  3070   Korn                                                 Seed                                             SR0000263749                   Sony Music Entertainment
  3071   Kreayshawn                                           Gucci Gucci                                      SR0000733390                   Sony Music Entertainment
  3072   L-Burna aka Layzie Bone                              Carole Of The Bones                              SR0000291785                   Sony Music Entertainment
  3073   L-Burna aka Layzie Bone                              Still The Greatest                               SR0000291785                   Sony Music Entertainment
  3074   Leona Lewis                                          Better In Time                                   SR0000619647                   Sony Music Entertainment
  3075   London Symphony Orchestra; John Williams             Theme (From "Jaws")                              SR0000247474                   Sony Music Entertainment
  3076   Los Lonely Boys                                      Crazy Dream                                      SR0000352465                   Sony Music Entertainment
  3077   Los Lonely Boys                                      Dime Mi Amor                                     SR0000352465                   Sony Music Entertainment
  3078   Los Lonely Boys                                      Heaven                                           SR0000352465                   Sony Music Entertainment
  3079   Los Lonely Boys                                      Hollywood                                        SR0000352465                   Sony Music Entertainment
  3080   Los Lonely Boys                                      La Contestacion                                  SR0000352465                   Sony Music Entertainment


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                                   Artist                                                 Track                               Registration Number                     Plaintiff
  3081   Los Lonely Boys                                      More Than Love                                         SR0000352465                   Sony Music Entertainment
  3082   Los Lonely Boys                                      Nobody Else                                            SR0000352465                   Sony Music Entertainment
  3083   Los Lonely Boys                                      Onda                                                   SR0000352465                   Sony Music Entertainment
  3084   Los Lonely Boys                                      Real Emotions                                          SR0000352465                   Sony Music Entertainment
  3085   Los Lonely Boys                                      Senorita                                               SR0000352465                   Sony Music Entertainment
  3086   Los Lonely Boys                                      Tell Me Why                                            SR0000352465                   Sony Music Entertainment
  3087   Los Lonely Boys                                      Velvet Sky                                             SR0000352465                   Sony Music Entertainment
  3088   Love and Theft                                       Angel Eyes                                             PA0001922065                   Sony Music Entertainment
  3089   Luther Vandross                                      A House Is Not A Home                                  SR0000030527                   Sony Music Entertainment
  3090   Luther Vandross                                      Ain't No Stoppin' Us Now                               SR0000317135                   Sony Music Entertainment
  3091   Luther Vandross                                      Always And Forever                                     SR0000317135                   Sony Music Entertainment
  3092   Luther Vandross                                      Any Love - Wembley Stadium 1989                        PA0000434017                   Sony Music Entertainment
  3093   Luther Vandross                                      Emotional Love                                         SR0000185186                   Sony Music Entertainment
  3094   Luther Vandross                                      Give Me the Reason                                     SR0000071632                   Sony Music Entertainment
  3095   Luther Vandross                                      Heaven Knows                                           SR0000171321                   Sony Music Entertainment
  3096   Luther Vandross                                      Killing Me Softly                                      SR0000317135                   Sony Music Entertainment
  3097   Luther Vandross                                      Lady, Lady                                             SR0000171321                   Sony Music Entertainment
  3098   Luther Vandross                                      Love Is On The Way (Real Love)                         SR0000171321                   Sony Music Entertainment
  3099   Luther Vandross                                      Never Too Much                                         SR0000030497                   Sony Music Entertainment
  3100   Luther Vandross                                      So Amazing                                             SR0000079450                   Sony Music Entertainment
  3101   Luther Vandross                                      Superstar/Until You Come Back To Me (That's What I'm   SR0000054317                   Sony Music Entertainment
                                                              Gonna Do)
  3102   Luther Vandross                                      The Night I Fell in Love                               SR0000064351                   Sony Music Entertainment
  3103   Luther Vandross                                      What The World Needs Now                               SR0000317135                   Sony Music Entertainment
  3104   Macy Gray                                            A Moment To Myself                                     SR0000267460                   Sony Music Entertainment
  3105   Macy Gray                                            Blowin' Up Your Speakers                               SR0000302804                   Sony Music Entertainment
  3106   Macy Gray                                            Boo                                                    SR0000302804                   Sony Music Entertainment
  3107   Macy Gray                                            Caligula                                               SR0000267460                   Sony Music Entertainment
  3108   Macy Gray                                            Come Together                                          SR0000336638                   Sony Music Entertainment
  3109   Macy Gray                                            Do Something                                           SR0000267460                   Sony Music Entertainment
  3110   Macy Gray                                            Every Now And Then                                     SR0000336638                   Sony Music Entertainment
  3111   Macy Gray                                            Forgiveness                                            SR0000302804                   Sony Music Entertainment
  3112   Macy Gray                                            Freak Like Me                                          SR0000302804                   Sony Music Entertainment
  3113   Macy Gray                                            Gimme All Your Lovin' or I Will Kill You               SR0000302804                   Sony Music Entertainment
  3114   Macy Gray                                            Happiness                                              SR0000336638                   Sony Music Entertainment
  3115   Macy Gray                                            Harry                                                  SR0000302804                   Sony Music Entertainment
  3116   Macy Gray                                            I Can't Wait To Meetchu                                SR0000267460                   Sony Music Entertainment
  3117   Macy Gray                                            I Try                                                  SR0000267460                   Sony Music Entertainment
  3118   Macy Gray                                            I've Committed Murder                                  SR0000267460                   Sony Music Entertainment
  3119   Macy Gray                                            Jesus For A Day                                        SR0000336638                   Sony Music Entertainment
  3120   Macy Gray                                            My Fondest Childhood Memories                          SR0000336638                   Sony Music Entertainment
  3121   Macy Gray                                            Oblivion                                               SR0000302804                   Sony Music Entertainment
  3122   Macy Gray                                            Relating To A Psychopath                               SR0000302804                   Sony Music Entertainment
  3123   Macy Gray                                            Screamin'                                              SR0000336638                   Sony Music Entertainment
  3124   Macy Gray                                            Sex-o-matic Venus Freak                                SR0000267460                   Sony Music Entertainment
  3125   Macy Gray                                            Sexual Revolution                                      SR0000302804                   Sony Music Entertainment
  3126   Macy Gray                                            She Don't Write Songs About You                        SR0000336638                   Sony Music Entertainment
  3127   Macy Gray                                            Speechless                                             SR0000336638                   Sony Music Entertainment
  3128   Macy Gray                                            Still                                                  SR0000267460                   Sony Music Entertainment
  3129   Macy Gray                                            The Letter                                             SR0000267460                   Sony Music Entertainment
  3130   Macy Gray                                            Things That Made Me Change                             SR0000336638                   Sony Music Entertainment
  3131   Macy Gray                                            When I See You                                         PA0001207765                   Sony Music Entertainment
  3132   Macy Gray                                            Why Didn't You Call Me                                 SR0000267460                   Sony Music Entertainment
  3133   Macy Gray feat. Angie Stone and Mos Def              My Nutmeg Phantasy                                     SR0000302804                   Sony Music Entertainment
  3134   Macy Gray feat. Erykah Badu                          Sweet Baby                                             PA0001074698                   Sony Music Entertainment
  3135   Macy Gray feat. Slick Rick                           Hey Young World, Pt. 2                                 SR0000302804                   Sony Music Entertainment
  3136   Macy Gray feat. Sunshine Anderson                    Don't Come Around                                      SR0000302804                   Sony Music Entertainment
  3137   Manchester Orchestra                                 Apprehension                                           SR0000680374                   Sony Music Entertainment
  3138   Manchester Orchestra                                 April Fool                                             SR0000680374                   Sony Music Entertainment
  3139   Manchester Orchestra                                 Deer                                                   SR0000680374                   Sony Music Entertainment
  3140   Manchester Orchestra                                 Leaky Breaks                                           SR0000680374                   Sony Music Entertainment
  3141   Manchester Orchestra                                 Leave It Alone                                         SR0000680374                   Sony Music Entertainment
  3142   Manchester Orchestra                                 Mighty                                                 SR0000680374                   Sony Music Entertainment
  3143   Manchester Orchestra                                 Pale Black Eye                                         SR0000680374                   Sony Music Entertainment
  3144   Manchester Orchestra                                 Pensacola                                              SR0000680374                   Sony Music Entertainment
  3145   Manchester Orchestra                                 Simple Math                                            SR0000680374                   Sony Music Entertainment
  3146   Manchester Orchestra                                 Virgin                                                 SR0000680374                   Sony Music Entertainment
  3147   Marc Anthony                                         Ahora Quien                                            SR0000355308                   Sony Music Entertainment
  3148   Marc Anthony                                         Amigo                                                  SR0000355308                   Sony Music Entertainment
  3149   Marc Anthony                                         Escapémonos                                            SR0000355308                   Sony Music Entertainment
  3150   Marc Anthony                                         Lamento Borincano                                      SR0000358132                   Sony Music Entertainment
  3151   Marc Anthony                                         Se Esfuma Tu Amor                                      SR0000355308                   Sony Music Entertainment
  3152   Marc Anthony                                         Tu Amor Me Hace Bien                                   SR0000355308                   Sony Music Entertainment
  3153   Marc Anthony                                         Valio La Pena                                          SR0000355308                   Sony Music Entertainment
  3154   Marc Anthony                                         Vivir Mi Vida                                          SR0000727153                   Sony Music Entertainment
  3155   Marc Anthony                                         Volando Entre Tus Brazos                               SR0000355308                   Sony Music Entertainment
  3156   Marcela Morelo                                       Para Toda La Vida                                      SR0000290235                   Sony Music Entertainment
  3157   Mariah Carey                                         Breakdown                                              SR0000244014                   Sony Music Entertainment
  3158   Marvin Gaye                                          Sexual Healing                                         SR0000038850                   Sony Music Entertainment
  3159   Marvin Sapp                                          Comfort Zone                                           PA0001749838                   Sony Music Entertainment
  3160   Marvin Sapp                                          Don't Count Me Out                                     PA0001749838                   Sony Music Entertainment
  3161   Marvin Sapp                                          Fresh Wind                                             PA0001749838                   Sony Music Entertainment
  3162   Marvin Sapp                                          He Has His Hands On You                                PA0001749838                   Sony Music Entertainment
  3163   Marvin Sapp                                          Here I Am                                              PA0001749838                   Sony Music Entertainment
  3164   Marvin Sapp                                          I Came                                                 PA0001749838                   Sony Music Entertainment
  3165   Marvin Sapp                                          I Came (Intro)                                         PA0001749838                   Sony Music Entertainment


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                                  Artist                                                  Track                            Registration Number                     Plaintiff
  3166   Marvin Sapp                                          Keep Holding On                                     PA0001749838                   Sony Music Entertainment
  3167   Marvin Sapp                                          More Than A Conqueror                               PA0001749838                   Sony Music Entertainment
  3168   Marvin Sapp                                          Praise You Forever                                  PA0001749838                   Sony Music Entertainment
  3169   Marvin Sapp                                          The Best In Me                                      PA0001749838                   Sony Music Entertainment
  3170   Marvin Sapp                                          Wait                                                PA0001749838                   Sony Music Entertainment
  3171   Mary Mary                                            Can't Give Up Now                                   SR0000711038                   Sony Music Entertainment
  3172   Mary Mary                                            Dirt                                                SR0000711038                   Sony Music Entertainment
  3173   Mary Mary                                            Go Get It                                           SR0000711038                   Sony Music Entertainment
  3174   Mary Mary                                            God Bless                                           SR0000711038                   Sony Music Entertainment
  3175   Mary Mary                                            He Said                                             SR0000317087                   Sony Music Entertainment
  3176   Mary Mary                                            I'm Running                                         SR0000711038                   Sony Music Entertainment
  3177   Mary Mary                                            Little Girl                                         SR0000317087                   Sony Music Entertainment
  3178   Mary Mary                                            Sunday Morning                                      SR0000711038                   Sony Music Entertainment
  3179   Mary Mary feat. Destiny's Child                      Good To Me                                          SR0000269994                   Sony Music Entertainment
  3180   Mary Mary feat. Kirk Franklin                        And I                                               SR0000378079                   Sony Music Entertainment
  3181   Maxwell                                              Bad Habits                                          SR0000639738                   Sony Music Entertainment
  3182   Maxwell                                              Cold                                                SR0000639738                   Sony Music Entertainment
  3183   Maxwell                                              Fistful Of Tears                                    SR0000639738                   Sony Music Entertainment
  3184   Maxwell                                              Help Somebody                                       SR0000639738                   Sony Music Entertainment
  3185   Maxwell                                              Love You                                            SR0000639738                   Sony Music Entertainment
  3186   Maxwell                                              Phoenix Rise                                        SR0000639738                   Sony Music Entertainment
  3187   Maxwell                                              Playing Possum                                      SR0000639738                   Sony Music Entertainment
  3188   Maxwell                                              Pretty Wings                                        SR0000639738                   Sony Music Entertainment
  3189   Maxwell                                              Stop The World                                      SR0000639738                   Sony Music Entertainment
  3190   Meat Loaf                                            Bat Out Of Hell                                     RE0000925597                   Sony Music Entertainment
  3191   Meat Loaf                                            Great Boleros of Fire                               SR0000293673                   Sony Music Entertainment
  3192   Meat Loaf                                            Heaven Can Wait                                     RE0000925597                   Sony Music Entertainment
  3193   Meat Loaf                                            Midnight at the Lost and Found                      SR0000046157                   Sony Music Entertainment
  3194   Meat Loaf                                            Nocturnal Pleasure                                  SR0000030226                   Sony Music Entertainment
  3195   Meat Loaf                                            Paradise By The Dashboard Light                     RE0000925597                   Sony Music Entertainment
  3196   Meat Loaf                                            Two Out of Three Ain't Bad                          RE0000925597                   Sony Music Entertainment
  3197   Meat Loaf with Cher                                  Dead Ringer for Love                                SR0000030226                   Sony Music Entertainment
  3198   MGMT                                                 4th Dimensional Transition                          SR0000670166                   Sony Music Entertainment
  3199   MGMT                                                 Brian Eno                                           SR0000655661                   Sony Music Entertainment
  3200   MGMT                                                 Congratulations                                     SR0000655661                   Sony Music Entertainment
  3201   MGMT                                                 Electric Feel                                       SR0000670166                   Sony Music Entertainment
  3202   MGMT                                                 Flash Delirium                                      SR0000655661                   Sony Music Entertainment
  3203   MGMT                                                 Future Reflections                                  SR0000670166                   Sony Music Entertainment
  3204   MGMT                                                 I Found a Whistle                                   SR0000655661                   Sony Music Entertainment
  3205   MGMT                                                 It's Working                                        SR0000655661                   Sony Music Entertainment
  3206   MGMT                                                 Kids                                                SR0000670166                   Sony Music Entertainment
  3207   MGMT                                                 Lady Dada's Nightmare                               SR0000655661                   Sony Music Entertainment
  3208   MGMT                                                 Of Moons, Birds & Monsters                          SR0000670166                   Sony Music Entertainment
  3209   MGMT                                                 Pieces of What                                      SR0000670166                   Sony Music Entertainment
  3210   MGMT                                                 Siberian Breaks                                     SR0000655661                   Sony Music Entertainment
  3211   MGMT                                                 Someone's Missing                                   SR0000655661                   Sony Music Entertainment
  3212   MGMT                                                 Song for Dan Treacy                                 SR0000655661                   Sony Music Entertainment
  3213   MGMT                                                 The Handshake                                       SR0000670166                   Sony Music Entertainment
  3214   MGMT                                                 The Youth                                           SR0000670166                   Sony Music Entertainment
  3215   MGMT                                                 Time To Pretend                                     SR0000697485                   Sony Music Entertainment
  3216   MGMT                                                 Weekend Wars                                        SR0000670166                   Sony Music Entertainment
  3217   Michael Jackson                                      Baby Be Mine                                        SR0000041965                   Sony Music Entertainment
  3218   Michael Jackson                                      Burn This Disco Out                                 SR0000011120                   Sony Music Entertainment
  3219   Michael Jackson                                      Don't Stop 'Til You Get Enough                      SR0000011105                   Sony Music Entertainment
  3220   Michael Jackson                                      Get On The Floor                                    SR0000011120                   Sony Music Entertainment
  3221   Michael Jackson                                      Girlfriend                                          SR0000011120                   Sony Music Entertainment
  3222   Michael Jackson                                      Human Nature                                        SR0000041965                   Sony Music Entertainment
  3223   Michael Jackson                                      I Can't Help It                                     SR0000011105                   Sony Music Entertainment
  3224   Michael Jackson                                      It's The Falling In Love                            SR0000011120                   Sony Music Entertainment
  3225   Michael Jackson                                      Off The Wall                                        SR0000011120                   Sony Music Entertainment
  3226   Michael Jackson                                      P.Y.T. (Pretty Young Thing)                         SR0000041965                   Sony Music Entertainment
  3227   Michael Jackson                                      The Lady In My Life                                 SR0000041965                   Sony Music Entertainment
  3228   Michael Jackson                                      Workin' Day And Night                               SR0000011120                   Sony Music Entertainment
  3229   Miguel                                               Adorn                                               SR0000709268                   Sony Music Entertainment
  3230   Miguel                                               All I Want Is You                                   SR0000673073                   Sony Music Entertainment
  3231   Miguel                                               Girl With The Tattoo Enter.lewd                     SR0000673073                   Sony Music Entertainment
  3232   Miguel                                               Girls Like You                                      SR0000673073                   Sony Music Entertainment
  3233   Miguel                                               Hard Way                                            SR0000673073                   Sony Music Entertainment
  3234   Miguel                                               Hero                                                SR0000673073                   Sony Music Entertainment
  3235   Miguel                                               How Many Drinks?                                    SR0000709268                   Sony Music Entertainment
  3236   Miguel                                               My Piece                                            SR0000673073                   Sony Music Entertainment
  3237   Miguel                                               Pay Me                                              SR0000673073                   Sony Music Entertainment
  3238   Miguel                                               Quickie                                             SR0000673073                   Sony Music Entertainment
  3239   Miguel                                               Sure Thing                                          SR0000673073                   Sony Music Entertainment
  3240   Miguel                                               Teach Me                                            SR0000673073                   Sony Music Entertainment
  3241   Miguel                                               To The Moon                                         SR0000673073                   Sony Music Entertainment
  3242   Miguel                                               Vixen                                               SR0000673073                   Sony Music Entertainment
  3243   Mike Posner                                          Cooler Than Me                                      SR0000657938                   Sony Music Entertainment
  3244   Miley Cyrus                                          #GETITRIGHT                                         SR0000735242                   Sony Music Entertainment
  3245   Miley Cyrus                                          Adore You                                           SR0000735242                   Sony Music Entertainment
  3246   Miley Cyrus                                          Do My Thang                                         SR0000735242                   Sony Music Entertainment
  3247   Miley Cyrus                                          Drive                                               SR0000735242                   Sony Music Entertainment
  3248   Miley Cyrus                                          Maybe You're Right                                  SR0000735242                   Sony Music Entertainment
  3249   Miley Cyrus                                          On My Own                                           SR0000735242                   Sony Music Entertainment
  3250   Miley Cyrus                                          Rooting for My Baby                                 SR0000735242                   Sony Music Entertainment
  3251   Miley Cyrus                                          Someone Else                                        SR0000735242                   Sony Music Entertainment


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                                    Artist                                               Track                          Registration Number                     Plaintiff
  3252   Miley Cyrus                                          We Can't Stop                                    SR0000726503                   Sony Music Entertainment
  3253   Miley Cyrus feat. Big Sean                           Love Money Party                                 SR0000735242                   Sony Music Entertainment
  3254   Miley Cyrus feat. Britney Spears                     SMS (Bangerz)                                    SR0000735242                   Sony Music Entertainment
  3255   Miley Cyrus feat. French Montana                     FU                                               SR0000735242                   Sony Music Entertainment
  3256   Miley Cyrus feat. Future                             My Darlin'                                       SR0000735242                   Sony Music Entertainment
  3257   Miley Cyrus feat. Ludacris                           Hands in the Air                                 SR0000735242                   Sony Music Entertainment
  3258   Miley Cyrus feat. Nelly                              4x4                                              SR0000735242                   Sony Music Entertainment
  3259   Miranda Lambert                                      Airstream Song                                   SR0000641403                   Sony Music Entertainment
  3260   Miranda Lambert                                      All Kinds of Kinds                               PA0001805349                   Sony Music Entertainment
  3261   Miranda Lambert                                      Automatic                                        SR0000738201                   Sony Music Entertainment
  3262   Miranda Lambert                                      Baggage Claim                                    PA0001805349                   Sony Music Entertainment
  3263   Miranda Lambert                                      Better In The Long Run                           PA0001805349                   Sony Music Entertainment
  3264   Miranda Lambert                                      Bring Me Down                                    SR0000367710                   Sony Music Entertainment
  3265   Miranda Lambert                                      Crazy Ex-Girlfriend                              SR0000746292                   Sony Music Entertainment
  3266   Miranda Lambert                                      Dead Flowers                                     SR0000641403                   Sony Music Entertainment
  3267   Miranda Lambert                                      Dear Diamond                                     PA0001805349                   Sony Music Entertainment
  3268   Miranda Lambert                                      Desperation                                      SR0000609529                   Sony Music Entertainment
  3269   Miranda Lambert                                      Down                                             SR0000609529                   Sony Music Entertainment
  3270   Miranda Lambert                                      Dry Town                                         SR0000609529                   Sony Music Entertainment
  3271   Miranda Lambert                                      Easy From Now On                                 SR0000609529                   Sony Music Entertainment
  3272   Miranda Lambert                                      Easy Living                                      PA0001805349                   Sony Music Entertainment
  3273   Miranda Lambert                                      Famous In A Small Town                           SR0000609529                   Sony Music Entertainment
  3274   Miranda Lambert                                      Fastest Girl In Town                             PA0001805349                   Sony Music Entertainment
  3275   Miranda Lambert                                      Fine Tune                                        PA0001805349                   Sony Music Entertainment
  3276   Miranda Lambert                                      Getting Ready                                    SR0000609529                   Sony Music Entertainment
  3277   Miranda Lambert                                      Greyhound Bound For Nowhere                      SR0000367710                   Sony Music Entertainment
  3278   Miranda Lambert                                      Guilty In Here                                   SR0000609529                   Sony Music Entertainment
  3279   Miranda Lambert                                      Gunpowder & Lead                                 SR0000609529                   Sony Music Entertainment
  3280   Miranda Lambert                                      Heart Like Mine                                  SR0000641403                   Sony Music Entertainment
  3281   Miranda Lambert                                      Hurts To Think                                   PA0001805349                   Sony Music Entertainment
  3282   Miranda Lambert                                      I Can't Be Bothered                              SR0000367710                   Sony Music Entertainment
  3283   Miranda Lambert                                      I Wanna Die                                      SR0000367710                   Sony Music Entertainment
  3284   Miranda Lambert                                      Kerosene                                         SR0000367710                   Sony Music Entertainment
  3285   Miranda Lambert                                      Look At Miss Ohio                                PA0001805349                   Sony Music Entertainment
  3286   Miranda Lambert                                      Love Is Looking For You                          SR0000367710                   Sony Music Entertainment
  3287   Miranda Lambert                                      Love Letters                                     SR0000609529                   Sony Music Entertainment
  3288   Miranda Lambert                                      Love Song                                        SR0000641403                   Sony Music Entertainment
  3289   Miranda Lambert                                      Love Your Memory                                 SR0000367710                   Sony Music Entertainment
  3290   Miranda Lambert                                      Maintain the Pain                                SR0000641403                   Sony Music Entertainment
  3291   Miranda Lambert                                      Makin' Plans                                     SR0000641403                   Sony Music Entertainment
  3292   Miranda Lambert                                      Mama, I'm Alright                                SR0000367710                   Sony Music Entertainment
  3293   Miranda Lambert                                      Mama's Broken Heart                              PA0001805349                   Sony Music Entertainment
  3294   Miranda Lambert                                      Me And Charlie Talking                           SR0000746293                   Sony Music Entertainment
  3295   Miranda Lambert                                      Me and Your Cigarettes                           SR0000641403                   Sony Music Entertainment
  3296   Miranda Lambert                                      More Like Her                                    SR0000609529                   Sony Music Entertainment
  3297   Miranda Lambert                                      New Strings                                      SR0000367710                   Sony Music Entertainment
  3298   Miranda Lambert                                      Nobody's Fool                                    PA0001805349                   Sony Music Entertainment
  3299   Miranda Lambert                                      Oklahoma Sky                                     PA0001805349                   Sony Music Entertainment
  3300   Miranda Lambert                                      Only Prettier                                    SR0000641403                   Sony Music Entertainment
  3301   Miranda Lambert                                      Over You                                         PA0001805349                   Sony Music Entertainment
  3302   Miranda Lambert                                      Safe                                             PA0001805349                   Sony Music Entertainment
  3303   Miranda Lambert                                      Same Old You                                     PA0001805349                   Sony Music Entertainment
  3304   Miranda Lambert                                      Sin For A Sin                                    SR0000641403                   Sony Music Entertainment
  3305   Miranda Lambert                                      Somewhere Trouble Don't Go                       SR0000641403                   Sony Music Entertainment
  3306   Miranda Lambert                                      That's the Way That the World Goes 'Round        SR0000641403                   Sony Music Entertainment
  3307   Miranda Lambert                                      There's A Wall                                   SR0000367710                   Sony Music Entertainment
  3308   Miranda Lambert                                      Time To Get A Gun                                SR0000641403                   Sony Music Entertainment
  3309   Miranda Lambert                                      Virginia Bluebell                                SR0000641403                   Sony Music Entertainment
  3310   Miranda Lambert                                      What About Georgia?                              SR0000367710                   Sony Music Entertainment
  3311   Miranda Lambert                                      White Liar                                       SR0000641403                   Sony Music Entertainment
  3312   Modest Mouse                                         Education                                        SR0000407040                   Sony Music Entertainment
  3313   Modest Mouse                                         Fire It Up                                       SR0000407040                   Sony Music Entertainment
  3314   Modest Mouse                                         Florida                                          SR0000407040                   Sony Music Entertainment
  3315   Modest Mouse                                         Fly Trapped In A Jar                             SR0000407040                   Sony Music Entertainment
  3316   Modest Mouse                                         Invisible                                        SR0000407040                   Sony Music Entertainment
  3317   Modest Mouse                                         Little Motel                                     SR0000407040                   Sony Music Entertainment
  3318   Modest Mouse                                         March Into The Sea                               SR0000407040                   Sony Music Entertainment
  3319   Modest Mouse                                         Missed The Boat                                  SR0000407040                   Sony Music Entertainment
  3320   Modest Mouse                                         Parting of the Sensory                           SR0000407040                   Sony Music Entertainment
  3321   Modest Mouse                                         People As Places As People                       SR0000407040                   Sony Music Entertainment
  3322   Modest Mouse                                         Spitting Venom                                   SR0000407040                   Sony Music Entertainment
  3323   Modest Mouse                                         Steam Engenius                                   SR0000407040                   Sony Music Entertainment
  3324   Modest Mouse                                         We've Got Everything                             SR0000407040                   Sony Music Entertainment
  3325   Monica feat. Rick Ross                               Anything (To Find You)                           SR0000700530                   Sony Music Entertainment
  3326   Montgomery Gentry                                    Daddy Won't Sell the Farm                        SR0000266467                   Sony Music Entertainment
  3327   Montgomery Gentry                                    Didn't I                                         PA0001079468                   Sony Music Entertainment
  3328   Montgomery Gentry                                    Gone                                             SR0000266467                   Sony Music Entertainment
  3329   Montgomery Gentry                                    Hell Yeah                                        SR0000314295                   Sony Music Entertainment
  3330   Montgomery Gentry                                    Lonely And Gone                                  SR0000266467                   Sony Music Entertainment
  3331   Montgomery Gentry                                    My Town                                          SR0000314295                   Sony Music Entertainment
  3332   Montgomery Gentry                                    She Don't Tell Me To                             SR0000386446                   Sony Music Entertainment
  3333   Montgomery Gentry                                    Something To Be Proud Of                         SR0000355896                   Sony Music Entertainment
  3334   Montgomery Gentry                                    Speed                                            SR0000314295                   Sony Music Entertainment
  3335   Mudvayne                                             (Per)Version of a truth                          SR0000346266                   Sony Music Entertainment
  3336   Mudvayne                                             A Key to Nothing                                 SR0000346266                   Sony Music Entertainment
  3337   Mudvayne                                             Mercy, Severity                                  SR0000346266                   Sony Music Entertainment


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                                   Artist                                                 Track                          Registration Number                     Plaintiff
  3338   Mudvayne                                             Severed                                           SR0000269973                   Sony Music Entertainment
  3339   Mudvayne                                             Shadow of a Man                                   SR0000346266                   Sony Music Entertainment
  3340   Mudvayne                                             Silenced                                          SR0000346266                   Sony Music Entertainment
  3341   Mudvayne                                             Skrying                                           SR0000346266                   Sony Music Entertainment
  3342   Mudvayne                                             Solve Et Coagula                                  SR0000346266                   Sony Music Entertainment
  3343   Mudvayne                                             The End of All Things to Come                     SR0000346266                   Sony Music Entertainment
  3344   Mudvayne                                             The Patient Mental                                SR0000346266                   Sony Music Entertainment
  3345   Mudvayne                                             Trapped In The Wake Of A Dream                    SR0000346266                   Sony Music Entertainment
  3346   Mudvayne                                             World So Cold                                     SR0000346266                   Sony Music Entertainment
  3347   Oh Land                                              Break The Chain                                   SR0000674211                   Sony Music Entertainment
  3348   Oh Land                                              Helicopter                                        SR0000674211                   Sony Music Entertainment
  3349   Oh Land                                              Human                                             SR0000674211                   Sony Music Entertainment
  3350   Oh Land                                              Lean                                              SR0000674211                   Sony Music Entertainment
  3351   Oh Land                                              Perfection                                        SR0000674211                   Sony Music Entertainment
  3352   Oh Land                                              Rainbow                                           SR0000674211                   Sony Music Entertainment
  3353   Oh Land                                              Sun Of A Gun                                      SR0000674211                   Sony Music Entertainment
  3354   Oh Land                                              Voodoo                                            SR0000674211                   Sony Music Entertainment
  3355   Oh Land                                              We Turn It Up                                     SR0000674211                   Sony Music Entertainment
  3356   Oh Land                                              White Nights                                      SR0000674211                   Sony Music Entertainment
  3357   Oh Land                                              Wolf & I                                          SR0000674211                   Sony Music Entertainment
  3358   One Direction                                        Everything About You                              SR0000703645                   Sony Music Entertainment
  3359   One Direction                                        Gotta Be You                                      SR0000703645                   Sony Music Entertainment
  3360   One Direction                                        I Want                                            SR0000703645                   Sony Music Entertainment
  3361   One Direction                                        I Wish                                            SR0000703645                   Sony Music Entertainment
  3362   One Direction                                        Kiss You                                          SR0000714020                   Sony Music Entertainment
  3363   One Direction                                        Moments                                           SR0000703645                   Sony Music Entertainment
  3364   One Direction                                        More Than This                                    SR0000703645                   Sony Music Entertainment
  3365   One Direction                                        One Thing                                         SR0000703645                   Sony Music Entertainment
  3366   One Direction                                        Same Mistakes                                     SR0000703645                   Sony Music Entertainment
  3367   One Direction                                        Save You Tonight                                  SR0000703645                   Sony Music Entertainment
  3368   One Direction                                        Stand Up                                          SR0000703645                   Sony Music Entertainment
  3369   One Direction                                        Stole My Heart                                    SR0000703645                   Sony Music Entertainment
  3370   One Direction                                        Taken                                             SR0000703645                   Sony Music Entertainment
  3371   One Direction                                        Tell Me A Lie                                     SR0000703645                   Sony Music Entertainment
  3372   One Direction                                        What Makes You Beautiful                          SR0000703645                   Sony Music Entertainment
  3373   OutKast                                              Idlewild Blue (Don'tchu Worry 'Bout Me)           SR0000747302                   Sony Music Entertainment
  3374   OutKast                                              Mighty "O"                                        SR0000747300                   Sony Music Entertainment
  3375   Ozzy Osbourne                                        21st Century Schizoid Man                         SR0000388035                   Sony Music Entertainment
  3376   Ozzy Osbourne                                        A.V.H.                                            SR0000135019                   Sony Music Entertainment
  3377   Ozzy Osbourne                                        Back on Earth                                     SR0000247732                   Sony Music Entertainment
  3378   Ozzy Osbourne                                        Bark At The Moon                                  SR0000053824                   Sony Music Entertainment
  3379   Ozzy Osbourne                                        Breakin' All The Rules                            SR0000098705                   Sony Music Entertainment
  3380   Ozzy Osbourne                                        Centre of Eternity                                SR0000053824                   Sony Music Entertainment
  3381   Ozzy Osbourne                                        Crazy Babies                                      SR0000098705                   Sony Music Entertainment
  3382   Ozzy Osbourne                                        Crazy Train                                       SR0000028652                   Sony Music Entertainment
  3383   Ozzy Osbourne                                        Desire                                            SR0000135019                   Sony Music Entertainment
  3384   Ozzy Osbourne                                        Diary of a Madman                                 SR0000034167                   Sony Music Entertainment
  3385   Ozzy Osbourne                                        Dreamer                                           SR0000303331                   Sony Music Entertainment
  3386   Ozzy Osbourne                                        Gets Me Through                                   SR0000303331                   Sony Music Entertainment
  3387   Ozzy Osbourne                                        Ghost Behind My Eyes                              SR0000171292                   Sony Music Entertainment
  3388   Ozzy Osbourne                                        Hellraiser                                        SR0000135019                   Sony Music Entertainment
  3389   Ozzy Osbourne                                        I Can't Save You                                  SR0000628282                   Sony Music Entertainment
  3390   Ozzy Osbourne                                        I Don't Wanna Stop                                SR0000628282                   Sony Music Entertainment
  3391   Ozzy Osbourne                                        I Don't Want to Change the World                  SR0000135019                   Sony Music Entertainment
  3392   Ozzy Osbourne                                        I Just Want You                                   SR0000171292                   Sony Music Entertainment
  3393   Ozzy Osbourne                                        In My Life                                        SR0000373744                   Sony Music Entertainment
  3394   Ozzy Osbourne                                        Mama, I'm Coming Home                             SR0000135019                   Sony Music Entertainment
  3395   Ozzy Osbourne                                        Miracle Man                                       SR0000098705                   Sony Music Entertainment
  3396   Ozzy Osbourne                                        Mississippi Queen                                 SR0000388035                   Sony Music Entertainment
  3397   Ozzy Osbourne                                        Mr. Crowley                                       SR0000028652                   Sony Music Entertainment
  3398   Ozzy Osbourne                                        Mr. Tinkertrain                                   SR0000135019                   Sony Music Entertainment
  3399   Ozzy Osbourne                                        Nightmare                                         SR0000628282                   Sony Music Entertainment
  3400   Ozzy Osbourne                                        No Easy Way Out                                   SR0000303331                   Sony Music Entertainment
  3401   Ozzy Osbourne                                        No More Tears                                     SR0000135019                   Sony Music Entertainment
  3402   Ozzy Osbourne                                        Not Going Away                                    SR0000628282                   Sony Music Entertainment
  3403   Ozzy Osbourne                                        Now You See It (Now You Don't)                    SR0000053824                   Sony Music Entertainment
  3404   Ozzy Osbourne                                        Over The Mountain                                 SR0000034167                   Sony Music Entertainment
  3405   Ozzy Osbourne                                        Perry Mason                                       SR0000171292                   Sony Music Entertainment
  3406   Ozzy Osbourne                                        Road To Nowhere                                   SR0000135019                   Sony Music Entertainment
  3407   Ozzy Osbourne                                        Rock 'n' Roll Rebel                               SR0000053824                   Sony Music Entertainment
  3408   Ozzy Osbourne                                        Shot In The Dark                                  SR0000076545                   Sony Music Entertainment
  3409   Ozzy Osbourne                                        Slow Down                                         SR0000053824                   Sony Music Entertainment
  3410   Ozzy Osbourne                                        So Tired                                          SR0000053824                   Sony Music Entertainment
  3411   Ozzy Osbourne                                        Spiders                                           SR0000054446                   Sony Music Entertainment
  3412   Ozzy Osbourne                                        Thunder Underground                               SR0000171292                   Sony Music Entertainment
  3413   Ozzy Osbourne                                        Time After Time                                   SR0000135019                   Sony Music Entertainment
  3414   Ozzy Osbourne                                        Waiting for Darkness                              SR0000053824                   Sony Music Entertainment
  3415   Ozzy Osbourne                                        Won't Be Coming Home (S.I.N.)                     SR0000135019                   Sony Music Entertainment
  3416   Ozzy Osbourne                                        You're No Different                               SR0000053824                   Sony Music Entertainment
  3417   Ozzy Osbourne                                        Zombie Stomp                                      SR0000135019                   Sony Music Entertainment
  3418   P!nk                                                 Are We All We Are                                 SR0000709056                   Sony Music Entertainment
  3419   P!nk                                                 Beam Me Up                                        SR0000709056                   Sony Music Entertainment
  3420   P!nk                                                 Chaos & Piss                                      SR0000709377                   Sony Music Entertainment
  3421   P!nk                                                 F**kin' Perfect                                   SR0000671699                   Sony Music Entertainment
  3422   P!nk                                                 How Come You're Not Here                          SR0000709056                   Sony Music Entertainment
  3423   P!nk                                                 Just Give Me a Reason                             SR0000709056                   Sony Music Entertainment


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                                    Artist                                              Track                             Registration Number                     Plaintiff
  3424   P!nk                                                 Push You Away                                      SR0000644873                   Sony Music Entertainment
  3425   P!nk                                                 Raise Your Glass                                   SR0000671699                   Sony Music Entertainment
  3426   P!nk                                                 Slut Like You                                      SR0000709056                   Sony Music Entertainment
  3427   P!nk                                                 So What                                            SR0000719121                   Sony Music Entertainment
  3428   P!nk                                                 Stupid Girls                                       SR0000727837                   Sony Music Entertainment
  3429   P!nk                                                 The Great Escape                                   SR0000709056                   Sony Music Entertainment
  3430   P!nk                                                 The Truth About Love                               SR0000709056                   Sony Music Entertainment
  3431   P!nk                                                 Timebomb                                           SR0000709377                   Sony Music Entertainment
  3432   P!nk                                                 Try                                                SR0000709056                   Sony Music Entertainment
  3433   P!nk                                                 Walk of Shame                                      SR0000709056                   Sony Music Entertainment
  3434   P!nk                                                 Where Did The Beat Go?                             SR0000709056                   Sony Music Entertainment
  3435   P!nk feat. Eminem                                    Here Comes The Weekend                             SR0000709056                   Sony Music Entertainment
  3436   P!nk feat. William Orbit                             Feel Good Time                                     PA0001242238                   Sony Music Entertainment
  3437   Passion Pit                                          Little Secrets                                     PA0001678112                   Sony Music Entertainment
  3438   Passion Pit                                          To Kingdom Come                                    PA0001683346                   Sony Music Entertainment
  3439   Paul Simon                                           Me and Julio Down By the Schoolyard                RE0000923092                   Sony Music Entertainment
  3440   Paul Simon                                           Mother And Child Reunion                           RE0000923092                   Sony Music Entertainment
  3441   Pearl Jam                                            1/2 Full                                           SR0000324204                   Sony Music Entertainment
  3442   Pearl Jam                                            All or None                                        SR0000324204                   Sony Music Entertainment
  3443   Pearl Jam                                            Animal (Remastered)                                SR0000207219                   Sony Music Entertainment
  3444   Pearl Jam                                            Arc                                                SR0000324204                   Sony Music Entertainment
  3445   Pearl Jam                                            Army Reserve                                       SR0000654748                   Sony Music Entertainment
  3446   Pearl Jam                                            Around The Bend                                    SR0000230851                   Sony Music Entertainment
  3447   Pearl Jam                                            Aye Davanita                                       SR0000206558                   Sony Music Entertainment
  3448   Pearl Jam                                            Better Man                                         SR0000206558                   Sony Music Entertainment
  3449   Pearl Jam                                            Big Wave                                           SR0000654748                   Sony Music Entertainment
  3450   Pearl Jam                                            Black                                              SR0000137787                   Sony Music Entertainment
  3451   Pearl Jam                                            Blood (Remastered)                                 SR0000207219                   Sony Music Entertainment
  3452   Pearl Jam                                            Brain Of J.                                        SR0000255869                   Sony Music Entertainment
  3453   Pearl Jam                                            Breakerfall                                        SR0000300972                   Sony Music Entertainment
  3454   Pearl Jam                                            Breath And A Scream                                SR0000635733                   Sony Music Entertainment
  3455   Pearl Jam                                            Bu$hleaguer                                        SR0000324204                   Sony Music Entertainment
  3456   Pearl Jam                                            Bugs                                               SR0000206558                   Sony Music Entertainment
  3457   Pearl Jam                                            Can't Keep                                         SR0000324204                   Sony Music Entertainment
  3458   Pearl Jam                                            Come Back                                          SR0000654748                   Sony Music Entertainment
  3459   Pearl Jam                                            Corduroy                                           SR0000206558                   Sony Music Entertainment
  3460   Pearl Jam                                            Cropduster                                         SR0000324204                   Sony Music Entertainment
  3461   Pearl Jam                                            Daughter                                           SR0000207219                   Sony Music Entertainment
  3462   Pearl Jam                                            Deep                                               SR0000137787                   Sony Music Entertainment
  3463   Pearl Jam                                            Dissident                                          SR0000207219                   Sony Music Entertainment
  3464   Pearl Jam                                            Do the Evolution                                   SR0000255869                   Sony Music Entertainment
  3465   Pearl Jam                                            Elderly Woman Behind The Counter in a Small Town   SR0000207219                   Sony Music Entertainment
  3466   Pearl Jam                                            Evacuation                                         SR0000300972                   Sony Music Entertainment
  3467   Pearl Jam                                            Even Flow                                          SR0000137787                   Sony Music Entertainment
  3468   Pearl Jam                                            Faithful                                           SR0000255869                   Sony Music Entertainment
  3469   Pearl Jam                                            Garden                                             SR0000137787                   Sony Music Entertainment
  3470   Pearl Jam                                            Get Right                                          SR0000324204                   Sony Music Entertainment
  3471   Pearl Jam                                            Ghost                                              SR0000324204                   Sony Music Entertainment
  3472   Pearl Jam                                            Given To Fly                                       SR0000255869                   Sony Music Entertainment
  3473   Pearl Jam                                            Glorified G                                        SR0000207219                   Sony Music Entertainment
  3474   Pearl Jam                                            Go                                                 SR0000207219                   Sony Music Entertainment
  3475   Pearl Jam                                            Gods' Dice                                         SR0000300972                   Sony Music Entertainment
  3476   Pearl Jam                                            Gone                                               SR0000654748                   Sony Music Entertainment
  3477   Pearl Jam                                            Green Disease                                      SR0000324204                   Sony Music Entertainment
  3478   Pearl Jam                                            Grievance                                          SR0000300972                   Sony Music Entertainment
  3479   Pearl Jam                                            Habit                                              SR0000230851                   Sony Music Entertainment
  3480   Pearl Jam                                            Hail, Hail                                         SR0000230851                   Sony Music Entertainment
  3481   Pearl Jam                                            Help Help                                          SR0000324204                   Sony Music Entertainment
  3482   Pearl Jam                                            I Am Mine                                          SR0000324204                   Sony Music Entertainment
  3483   Pearl Jam                                            I'm Open                                           SR0000230851                   Sony Music Entertainment
  3484   Pearl Jam                                            Immortality                                        SR0000206558                   Sony Music Entertainment
  3485   Pearl Jam                                            In My Tree                                         SR0000230851                   Sony Music Entertainment
  3486   Pearl Jam                                            Indifference (Remastered)                          SR0000207219                   Sony Music Entertainment
  3487   Pearl Jam                                            Inside Job                                         SR0000654748                   Sony Music Entertainment
  3488   Pearl Jam                                            Insignificance                                     SR0000300972                   Sony Music Entertainment
  3489   Pearl Jam                                            Jeremy                                             SR0000137787                   Sony Music Entertainment
  3490   Pearl Jam                                            Last Exit                                          SR0000206558                   Sony Music Entertainment
  3491   Pearl Jam                                            Leash                                              SR0000207219                   Sony Music Entertainment
  3492   Pearl Jam                                            Life Wasted                                        SR0000654748                   Sony Music Entertainment
  3493   Pearl Jam                                            Light Years                                        SR0000300972                   Sony Music Entertainment
  3494   Pearl Jam                                            Love Boat Captain                                  SR0000324204                   Sony Music Entertainment
  3495   Pearl Jam                                            Low Light                                          SR0000255869                   Sony Music Entertainment
  3496   Pearl Jam                                            Lukin                                              SR0000230851                   Sony Music Entertainment
  3497   Pearl Jam                                            Mankind                                            SR0000230851                   Sony Music Entertainment
  3498   Pearl Jam                                            Marker In The Sand                                 SR0000654748                   Sony Music Entertainment
  3499   Pearl Jam                                            MFC                                                SR0000255869                   Sony Music Entertainment
  3500   Pearl Jam                                            No Way                                             SR0000255869                   Sony Music Entertainment
  3501   Pearl Jam                                            Not For You                                        SR0000206558                   Sony Music Entertainment
  3502   Pearl Jam                                            Nothingman                                         SR0000206558                   Sony Music Entertainment
  3503   Pearl Jam                                            Oceans                                             SR0000137787                   Sony Music Entertainment
  3504   Pearl Jam                                            Of The Girl                                        SR0000300972                   Sony Music Entertainment
  3505   Pearl Jam                                            Off He Goes                                        SR0000230851                   Sony Music Entertainment
  3506   Pearl Jam                                            Once                                               SR0000137787                   Sony Music Entertainment
  3507   Pearl Jam                                            Parachutes                                         SR0000654748                   Sony Music Entertainment
  3508   Pearl Jam                                            Parting Ways                                       SR0000300972                   Sony Music Entertainment
  3509   Pearl Jam                                            Pilate                                             SR0000255869                   Sony Music Entertainment


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                                                                               EXHIBIT A - SOUND RECORDINGS

                                     Artist                                                Track                         Registration Number                     Plaintiff
  3510   Pearl Jam                                            Porch                                             SR0000137787                   Sony Music Entertainment
  3511   Pearl Jam                                            Present Tense                                     SR0000230851                   Sony Music Entertainment
  3512   Pearl Jam                                            Pry, To                                           SR0000206558                   Sony Music Entertainment
  3513   Pearl Jam                                            Push Me, Pull Me                                  SR0000255869                   Sony Music Entertainment
  3514   Pearl Jam                                            Rats (Remastered)                                 SR0000207219                   Sony Music Entertainment
  3515   Pearl Jam                                            Rearviewmirror                                    SR0000207219                   Sony Music Entertainment
  3516   Pearl Jam                                            Red Bar (also known as "●" or "The Color Red")    SR0000255869                   Sony Music Entertainment
  3517   Pearl Jam                                            Red Mosquito                                      SR0000230851                   Sony Music Entertainment
  3518   Pearl Jam                                            Release                                           SR0000137787                   Sony Music Entertainment
  3519   Pearl Jam                                            Rival                                             SR0000300972                   Sony Music Entertainment
  3520   Pearl Jam                                            Satan's Bed                                       SR0000206558                   Sony Music Entertainment
  3521   Pearl Jam                                            Save You                                          SR0000324204                   Sony Music Entertainment
  3522   Pearl Jam                                            Sleight Of Hand                                   SR0000300972                   Sony Music Entertainment
  3523   Pearl Jam                                            Smile                                             SR0000230851                   Sony Music Entertainment
  3524   Pearl Jam                                            Sometimes                                         SR0000230851                   Sony Music Entertainment
  3525   Pearl Jam                                            Soon Forget                                       SR0000300972                   Sony Music Entertainment
  3526   Pearl Jam                                            Spin The Black Circle                             SR0000206558                   Sony Music Entertainment
  3527   Pearl Jam                                            State Of Love And Trust                           SR0000635733                   Sony Music Entertainment
  3528   Pearl Jam                                            Stupid Mop                                        SR0000206558                   Sony Music Entertainment
  3529   Pearl Jam                                            Thin Air                                          SR0000300972                   Sony Music Entertainment
  3530   Pearl Jam                                            Thumbing My Way                                   SR0000324204                   Sony Music Entertainment
  3531   Pearl Jam                                            Tremor Christ                                     SR0000206558                   Sony Music Entertainment
  3532   Pearl Jam                                            Unemployable                                      SR0000654748                   Sony Music Entertainment
  3533   Pearl Jam                                            W.M.A.                                            SR0000207219                   Sony Music Entertainment
  3534   Pearl Jam                                            Wasted Reprise                                    SR0000654748                   Sony Music Entertainment
  3535   Pearl Jam                                            Whipping                                          SR0000206558                   Sony Music Entertainment
  3536   Pearl Jam                                            Who You Are                                       SR0000230851                   Sony Music Entertainment
  3537   Pearl Jam                                            Why Go                                            SR0000137787                   Sony Music Entertainment
  3538   Pearl Jam                                            Wishlist                                          SR0000255869                   Sony Music Entertainment
  3539   Pearl Jam                                            World Wide Suicide                                SR0000654748                   Sony Music Entertainment
  3540   Pearl Jam                                            Yellow Ledbetter                                  SR0000363498                   Sony Music Entertainment
  3541   Pharrell Williams Duet with Miley Cyrus              Come Get It Bae                                   SR0000756467                   Sony Music Entertainment
  3542   Pitbull                                              Call Of The Wild                                  SR0000641804                   Sony Music Entertainment
  3543   Pitbull                                              Can't Stop Me Now                                 SR0000641804                   Sony Music Entertainment
  3544   Pitbull                                              Celebrate                                         SR0000763595                   Sony Music Entertainment
  3545   Pitbull                                              Don't Stop the Party                              SR0000714736                   Sony Music Entertainment
  3546   Pitbull                                              Dope Ball (Interlude)                             SR0000641804                   Sony Music Entertainment
  3547   Pitbull                                              Drinks for You (Ladies Anthem)                    SR0000714643                   Sony Music Entertainment
  3548   Pitbull                                              Echa Pa'lla (Manos Pa'rriba)                      SR0000714643                   Sony Music Entertainment
  3549   Pitbull                                              Everybody Fucks                                   SR0000714643                   Sony Music Entertainment
  3550   Pitbull                                              Feel This Moment                                  SR0000714643                   Sony Music Entertainment
  3551   Pitbull                                              Get It Started                                    SR0000714740                   Sony Music Entertainment
  3552   Pitbull                                              Girls                                             SR0000641804                   Sony Music Entertainment
  3553   Pitbull                                              Give Me Everything                                SR0000681904                   Sony Music Entertainment
  3554   Pitbull                                              Give Them What They Ask For                       SR0000641804                   Sony Music Entertainment
  3555   Pitbull                                              Global Warming                                    SR0000714643                   Sony Music Entertainment
  3556   Pitbull                                              Have Some Fun                                     SR0000714643                   Sony Music Entertainment
  3557   Pitbull                                              Hotel Room Service                                SR0000641804                   Sony Music Entertainment
  3558   Pitbull                                              I Know You Want Me                                SR0000641804                   Sony Music Entertainment
  3559   Pitbull                                              I'm Off That                                      SR0000714643                   Sony Music Entertainment
  3560   Pitbull                                              International Love                                SR0000681904                   Sony Music Entertainment
  3561   Pitbull                                              Juice Box                                         SR0000641804                   Sony Music Entertainment
  3562   Pitbull                                              Last Night                                        SR0000714643                   Sony Music Entertainment
  3563   Pitbull                                              Pause                                             SR0000681904                   Sony Music Entertainment
  3564   Pitbull                                              Something For The DJs                             SR0000681904                   Sony Music Entertainment
  3565   Pitbull & Ne-Yo                                      Time of Our Lives                                 SR0000763598                   Sony Music Entertainment
  3566   Pitbull feat. Akon                                   Shut It Down                                      SR0000641804                   Sony Music Entertainment
  3567   Pitbull feat. Akon & DJ Frank E                      Mr. Right Now                                     SR0000683282                   Sony Music Entertainment
  3568   Pitbull feat. Avery Storm                            Triumph                                           SR0000641804                   Sony Music Entertainment
  3569   Pitbull feat. B.O.B.                                 Across The World                                  SR0000641804                   Sony Music Entertainment
  3570   Pitbull feat. Bebe Rexha                             This Is Not A Drill                               SR0000763598                   Sony Music Entertainment
  3571   Pitbull feat. Chloe Angelides                        Sexy Beaches                                      SR0000763598                   Sony Music Entertainment
  3572   Pitbull feat. Chris Brown                            Hope We Meet Again                                SR0000714643                   Sony Music Entertainment
  3573   Pitbull feat. Danny Mercer                           Outta Nowhere                                     SR0000714643                   Sony Music Entertainment
  3574   Pitbull feat. Enrique Iglesias                       Come N Go                                         SR0000681904                   Sony Music Entertainment
  3575   Pitbull feat. Enrique Iglesias                       Tchu Tchu Tcha                                    SR0000714643                   Sony Music Entertainment
  3576   Pitbull feat. G.R.L.                                 Wild Wild Love                                    SR0000763597                   Sony Music Entertainment
  3577   Pitbull feat. Heymous Molly                          Day Drinking                                      SR0000763598                   Sony Music Entertainment
  3578   Pitbull feat. Jamie Foxx                             Where Do We Go                                    SR0000681904                   Sony Music Entertainment
  3579   Pitbull feat. Jason Derulo & Juicy J                 Drive You Crazy                                   SR0000763598                   Sony Music Entertainment
  3580   Pitbull feat. Jennifer Lopez & Claudia Leitte        We Are One (Ole Ola)                              SR0000763333                   Sony Music Entertainment
  3581   Pitbull feat. Ke$ha                                  Timber                                            SR0000737322                   Sony Music Entertainment
  3582   Pitbull feat. Kelly Rowland & Jamie Drastik          Castle Made Of Sand                               SR0000681904                   Sony Music Entertainment
  3583   Pitbull feat. Lil Jon;Shawty Lo                      Krazy                                             SR0000641804                   Sony Music Entertainment
  3584   Pitbull feat. Nayer & Bass III Euro                  Full Of S**t                                      SR0000641804                   Sony Music Entertainment
  3585   Pitbull feat. Nelly                                  My Kinda Girl                                     SR0000683282                   Sony Music Entertainment
  3586   Pitbull feat. Red Foo, Vein & David Rush             Took My Love                                      SR0000641804                   Sony Music Entertainment
  3587   Pitbull feat. Sean Paul                              Ah Leke                                           SR0000763598                   Sony Music Entertainment
  3588   Pitbull feat. Slim                                   Daddy's Little Girl                               SR0000641804                   Sony Music Entertainment
  3589   Pitbull feat. T-Pain                                 Hey Baby (Drop It To The Floor)                   SR0000681904                   Sony Music Entertainment
  3590   Pitbull feat. T-Pain & Sean Paul                     Shake Senora                                      SR0000681904                   Sony Music Entertainment
  3591   Pitbull feat. T-Pain, Sean Paul & Ludacris           Shake Senora Remix                                SR0000683282                   Sony Music Entertainment
  3592   Pitbull feat. Usher & Afrojack                       Party Ain't Over                                  SR0000714643                   Sony Music Entertainment
  3593   Pitbull feat. Vein                                   11:59                                             SR0000714643                   Sony Music Entertainment
  3594   Pitbull feat. Vein                                   Mr. Worldwide (Intro)                             SR0000681904                   Sony Music Entertainment
  3595   Pitbull vs. Nicola Fasano                            Oye Baby                                          SR0000683282                   Sony Music Entertainment


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                                                                                 EXHIBIT A - SOUND RECORDINGS

                                    Artist                                                  Track                          Registration Number                     Plaintiff
  3596   R. Kelly                                               Cookie                                            SR0000737848                   Sony Music Entertainment
  3597   R. Kelly                                               Crazy Sex                                         SR0000737848                   Sony Music Entertainment
  3598   R. Kelly                                               Every Position                                    SR0000737848                   Sony Music Entertainment
  3599   R. Kelly                                               Genius                                            SR0000737850                   Sony Music Entertainment
  3600   R. Kelly                                               Marry the P***y                                   SR0000737848                   Sony Music Entertainment
  3601   R. Kelly                                               Physical                                          SR0000737848                   Sony Music Entertainment
  3602   R. Kelly                                               Prelude                                           SR0000737848                   Sony Music Entertainment
  3603   R. Kelly                                               Right Back                                        SR0000737848                   Sony Music Entertainment
  3604   R. Kelly                                               Shut Up                                           SR0000737848                   Sony Music Entertainment
  3605   R. Kelly                                               Spend That                                        SR0000737848                   Sony Music Entertainment
  3606   R. Kelly                                               Throw This Money On You                           SR0000737848                   Sony Music Entertainment
  3607   R. Kelly                                               You Deserve Better                                SR0000737848                   Sony Music Entertainment
  3608   R. Kelly & Usher                                       Same Girl                                         SR0000611942                   Sony Music Entertainment
  3609   R. Kelly feat. 2 Chainz                                My Story                                          SR0000737848                   Sony Music Entertainment
  3610   R. Kelly feat. Future                                  Tear It Up                                        SR0000737848                   Sony Music Entertainment
  3611   R. Kelly feat. Kelly Rowland                           All the Way                                       SR0000737848                   Sony Music Entertainment
  3612   R. Kelly feat. Ludacris                                Legs Shakin'                                      SR0000737848                   Sony Music Entertainment
  3613   R. Kelly feat. Migos & Juicy J                         Show Ya P***y                                     SR0000737848                   Sony Music Entertainment
  3614   Raphael Saadiq                                         100 Yard Dash                                     SR0000619872                   Sony Music Entertainment
  3615   Raphael Saadiq                                         Calling                                           SR0000619872                   Sony Music Entertainment
  3616   Raphael Saadiq                                         Day Dreams                                        SR0000677734                   Sony Music Entertainment
  3617   Raphael Saadiq                                         Go To Hell                                        SR0000677734                   Sony Music Entertainment
  3618   Raphael Saadiq                                         Good Man                                          SR0000677734                   Sony Music Entertainment
  3619   Raphael Saadiq                                         Heart Attack                                      SR0000677734                   Sony Music Entertainment
  3620   Raphael Saadiq                                         Keep Marchin'                                     SR0000619872                   Sony Music Entertainment
  3621   Raphael Saadiq                                         Let's Take a Walk                                 SR0000619872                   Sony Music Entertainment
  3622   Raphael Saadiq                                         Love That Girl                                    SR0000619872                   Sony Music Entertainment
  3623   Raphael Saadiq                                         Movin' Down the Line                              SR0000677734                   Sony Music Entertainment
  3624   Raphael Saadiq                                         Oh Girl                                           SR0000619872                   Sony Music Entertainment
  3625   Raphael Saadiq                                         Over You                                          SR0000677734                   Sony Music Entertainment
  3626   Raphael Saadiq                                         Radio                                             SR0000677734                   Sony Music Entertainment
  3627   Raphael Saadiq                                         Sometimes                                         SR0000619872                   Sony Music Entertainment
  3628   Raphael Saadiq                                         Staying In Love                                   SR0000619872                   Sony Music Entertainment
  3629   Raphael Saadiq                                         Stone Rollin                                      SR0000677734                   Sony Music Entertainment
  3630   Raphael Saadiq                                         Sure Hope You Mean It                             SR0000619872                   Sony Music Entertainment
  3631   Raphael Saadiq                                         The Answer                                        SR0000677734                   Sony Music Entertainment
  3632   Raphael Saadiq feat. Joss Stone                        Just One Kiss                                     SR0000619872                   Sony Music Entertainment
  3633   Raphael Saadiq feat. The Infamous Young Spodie and the Big Easy                                          SR0000619872                   Sony Music Entertainment
         Rebirth Brass Band
  3634   Raphael Saadiq feat. Yukimi Nakano                     Just Don't                                        SR0000677734                   Sony Music Entertainment
  3635   Ray Charles                                            Seven Spanish Angels                              SR0000058443                   Sony Music Entertainment
  3636   Ray Charles;Billy Joel                                 Baby Grand (duet w/Ray Charles)                   SR0000077612                   Sony Music Entertainment
  3637   Sade                                                   All About Our Love                                SR0000298354                   Sony Music Entertainment
  3638   Sade                                                   Bulletproof Soul                                  SR0000183731                   Sony Music Entertainment
  3639   Sade                                                   By Your Side                                      SR0000298354                   Sony Music Entertainment
  3640   Sade                                                   Cherish The Day                                   SR0000183731                   Sony Music Entertainment
  3641   Sade                                                   Cherry Pie                                        SR0000069105                   Sony Music Entertainment
  3642   Sade                                                   Clean Heart                                       SR0000093822                   Sony Music Entertainment
  3643   Sade                                                   Every Word                                        SR0000298354                   Sony Music Entertainment
  3644   Sade                                                   Fear                                              SR0000071848                   Sony Music Entertainment
  3645   Sade                                                   Feel No Pain                                      SR0000183731                   Sony Music Entertainment
  3646   Sade                                                   Flow                                              SR0000298354                   Sony Music Entertainment
  3647   Sade                                                   Frankie's First Affair                            SR0000069105                   Sony Music Entertainment
  3648   Sade                                                   Give it Up                                        SR0000093822                   Sony Music Entertainment
  3649   Sade                                                   Hang On To Your Love                              SR0000069105                   Sony Music Entertainment
  3650   Sade                                                   Haunt Me                                          SR0000093822                   Sony Music Entertainment
  3651   Sade                                                   I Couldn't Love You More                          SR0000183731                   Sony Music Entertainment
  3652   Sade                                                   I Never Thought I'd See the Day                   SR0000093822                   Sony Music Entertainment
  3653   Sade                                                   I Will Be Your Friend                             SR0000069105                   Sony Music Entertainment
  3654   Sade                                                   Immigrant                                         SR0000298354                   Sony Music Entertainment
  3655   Sade                                                   Is It A Crime                                     SR0000071848                   Sony Music Entertainment
  3656   Sade                                                   It's Only Love That Gets You Through              SR0000298354                   Sony Music Entertainment
  3657   Sade                                                   Jezebel                                           SR0000071848                   Sony Music Entertainment
  3658   Sade                                                   Keep Looking                                      SR0000093822                   Sony Music Entertainment
  3659   Sade                                                   King of Sorrow                                    SR0000298354                   Sony Music Entertainment
  3660   Sade                                                   Kiss Of Life                                      SR0000183731                   Sony Music Entertainment
  3661   Sade                                                   Like a Tattoo                                     SR0000183731                   Sony Music Entertainment
  3662   Sade                                                   Love Is Stronger Than Pride                       SR0000093822                   Sony Music Entertainment
  3663   Sade                                                   Lovers Rock                                       SR0000298354                   Sony Music Entertainment
  3664   Sade                                                   Maureen                                           SR0000071848                   Sony Music Entertainment
  3665   Sade                                                   Mermaid                                           SR0000183731                   Sony Music Entertainment
  3666   Sade                                                   Never as Good as the First Time                   SR0000071848                   Sony Music Entertainment
  3667   Sade                                                   No Ordinary Love                                  SR0000183731                   Sony Music Entertainment
  3668   Sade                                                   Nothing Can Come Between Us                       SR0000093822                   Sony Music Entertainment
  3669   Sade                                                   Paradise                                          SR0000093822                   Sony Music Entertainment
  3670   Sade                                                   Pearls                                            SR0000183731                   Sony Music Entertainment
  3671   Sade                                                   Please Send Me Someone to Love                    SR0000233773                   Sony Music Entertainment
  3672   Sade                                                   Punch Drunk                                       SR0000071848                   Sony Music Entertainment
  3673   Sade                                                   Sally                                             SR0000069105                   Sony Music Entertainment
  3674   Sade                                                   Siempre Hay Esperanza                             SR0000093822                   Sony Music Entertainment
  3675   Sade                                                   Slave Song                                        SR0000298354                   Sony Music Entertainment
  3676   Sade                                                   Smooth Operator                                   SR0000069105                   Sony Music Entertainment
  3677   Sade                                                   Somebody Already Broke My Heart                   SR0000298354                   Sony Music Entertainment
  3678   Sade                                                   Tar Baby                                          SR0000071848                   Sony Music Entertainment
  3679   Sade                                                   The Sweetest Gift                                 SR0000298354                   Sony Music Entertainment
  3680   Sade                                                   Turn My Back On You                               SR0000093822                   Sony Music Entertainment


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                                  Artist                                                 Track                          Registration Number                     Plaintiff
  3681   Sade                                                 War of the Hearts                                SR0000071848                   Sony Music Entertainment
  3682   Sade                                                 When Am I Going To Make A Living                 SR0000069105                   Sony Music Entertainment
  3683   Sade                                                 Why Can't We Live Together                       SR0000069105                   Sony Music Entertainment
  3684   Sade                                                 You're Not The Man                               SR0000071848                   Sony Music Entertainment
  3685   Santana                                              All I Ever Wanted                                SR0000013645                   Sony Music Entertainment
  3686   Santana                                              Aqua Marine                                      SR0000013645                   Sony Music Entertainment
  3687   Santana                                              Blues for Salvador                               SR0000086429                   Sony Music Entertainment
  3688   Santana                                              Brightest Star                                   SR0000028839                   Sony Music Entertainment
  3689   Santana                                              Carnaval                                         N40322                         Sony Music Entertainment
  3690   Santana                                              Dance Sister Dance (Baila Mi Hermana)            N33113                         Sony Music Entertainment
  3691   Santana                                              Europa (Earth's Cry Heaven's Smile)              N33113                         Sony Music Entertainment
  3692   Santana                                              Flor D'Luna (Moonflower)                         N47421                         Sony Music Entertainment
  3693   Santana                                              Full Moon                                        SR0000118423                   Sony Music Entertainment
  3694   Santana                                              Gypsy Woman                                      SR0000118423                   Sony Music Entertainment
  3695   Santana                                              Hannibal                                         SR0000086429                   Sony Music Entertainment
  3696   Santana                                              Hold On                                          SR0000039658                   Sony Music Entertainment
  3697   Santana                                              How Long                                         SR0000065770                   Sony Music Entertainment
  3698   Santana                                              I Love You Much Too Much                         SR0000028774                   Sony Music Entertainment
  3699   Santana                                              I'll Be Waiting                                  N40322                         Sony Music Entertainment
  3700   Santana                                              La Fuente del Ritmo                              N3383; N5328                   Sony Music Entertainment
  3701   Santana                                              Let the Children Play                            N40322                         Sony Music Entertainment
  3702   Santana                                              Mirage                                           RE0000872000                   Sony Music Entertainment
  3703   Santana                                              Nowhere to Run                                   SR0000039763                   Sony Music Entertainment
  3704   Santana                                              One Chain (Don't Make No Prison)                 SR0000004781                   Sony Music Entertainment
  3705   Santana                                              Revelations                                      N40322                         Sony Music Entertainment
  3706   Santana                                              Say It Again                                     PA0000254926                   Sony Music Entertainment
  3707   Santana                                              The Sensitive Kind                               SR0000028774                   Sony Music Entertainment
  3708   Santana                                              Well All Right                                   SR0000004781                   Sony Music Entertainment
  3709   Santana                                              Winning                                          SR0000028839                   Sony Music Entertainment
  3710   Santana                                              You Know That I Love You                         SR0000013645                   Sony Music Entertainment
  3711   Sara Bareilles                                       1000 Times                                       SR0000727195                   Sony Music Entertainment
  3712   Sara Bareilles                                       Between The Lines                                SR0000609856                   Sony Music Entertainment
  3713   Sara Bareilles                                       Bottle It Up                                     SR0000609856                   Sony Music Entertainment
  3714   Sara Bareilles                                       Brave                                            SR0000727192                   Sony Music Entertainment
  3715   Sara Bareilles                                       Cassiopeia                                       SR0000727195                   Sony Music Entertainment
  3716   Sara Bareilles                                       Chasing The Sun                                  SR0000727195                   Sony Music Entertainment
  3717   Sara Bareilles                                       City                                             SR0000609856                   Sony Music Entertainment
  3718   Sara Bareilles                                       Come Round Soon                                  SR0000609856                   Sony Music Entertainment
  3719   Sara Bareilles                                       December                                         SR0000727195                   Sony Music Entertainment
  3720   Sara Bareilles                                       Eden                                             SR0000727195                   Sony Music Entertainment
  3721   Sara Bareilles                                       Fairytale                                        SR0000609856                   Sony Music Entertainment
  3722   Sara Bareilles                                       Gravity                                          SR0000609856                   Sony Music Entertainment
  3723   Sara Bareilles                                       Hercules                                         SR0000727195                   Sony Music Entertainment
  3724   Sara Bareilles                                       I Choose You                                     SR0000727195                   Sony Music Entertainment
  3725   Sara Bareilles                                       Islands                                          SR0000727195                   Sony Music Entertainment
  3726   Sara Bareilles                                       Little Black Dress                               SR0000727195                   Sony Music Entertainment
  3727   Sara Bareilles                                       Love On The Rocks                                SR0000609856                   Sony Music Entertainment
  3728   Sara Bareilles                                       Love Song                                        SR0000730822                   Sony Music Entertainment
  3729   Sara Bareilles                                       Manhattan                                        SR0000727193                   Sony Music Entertainment
  3730   Sara Bareilles                                       Many the Miles                                   SR0000609856                   Sony Music Entertainment
  3731   Sara Bareilles                                       Morningside                                      SR0000609856                   Sony Music Entertainment
  3732   Sara Bareilles                                       One Sweet Love                                   SR0000609856                   Sony Music Entertainment
  3733   Sara Bareilles                                       Satellite Call                                   SR0000727195                   Sony Music Entertainment
  3734   Sara Bareilles                                       Vegas                                            SR0000609856                   Sony Music Entertainment
  3735   Sarah McLachlan                                      Don't Give Up On Us                              SR0000661978                   Sony Music Entertainment
  3736   Sarah McLachlan                                      U Want Me 2                                      SR0000661978                   Sony Music Entertainment
  3737   Savage Garden                                        A Thousand Words                                 SR0000299097                   Sony Music Entertainment
  3738   Savage Garden                                        Affirmation                                      SR0000276120                   Sony Music Entertainment
  3739   Savage Garden                                        California                                       SR0000386428                   Sony Music Entertainment
  3740   Savage Garden                                        Carry On Dancing                                 SR0000299097                   Sony Music Entertainment
  3741   Savage Garden                                        Crash And Burn                                   SR0000276120                   Sony Music Entertainment
  3742   Savage Garden                                        Hold Me                                          SR0000276120                   Sony Music Entertainment
  3743   Savage Garden                                        Promises                                         SR0000299097                   Sony Music Entertainment
  3744   Savage Garden                                        So Beautiful                                     SR0000386428                   Sony Music Entertainment
  3745   Savage Garden                                        Tears Of Pearls                                  SR0000299097                   Sony Music Entertainment
  3746   Savage Garden                                        The Animal Song                                  SR0000276120                   Sony Music Entertainment
  3747   Savage Garden                                        Universe                                         SR0000299097                   Sony Music Entertainment
  3748   Savage Garden                                        Violet                                           SR0000299097                   Sony Music Entertainment
  3749   Sean Kingston and Justin Bieber                      Eenie Meenie                                     SR0000730824                   Sony Music Entertainment
  3750   Shakira                                              Devoción                                         SR0000669191                   Sony Music Entertainment
  3751   Shakira                                              Empire                                           SR0000756299                   Sony Music Entertainment
  3752   Shakira                                              Gordita                                          SR0000669191                   Sony Music Entertainment
  3753   Shakira                                              Lo Que Más                                       SR0000669191                   Sony Music Entertainment
  3754   Shakira                                              Loca (feat. Dizzee Rascal)                       SR0000669191                   Sony Music Entertainment
  3755   Shakira                                              Loca (feat. El Cata)                             SR0000669191                   Sony Music Entertainment
  3756   Shakira                                              Rabiosa                                          SR0000669191                   Sony Music Entertainment
  3757   Shakira                                              Waka Waka (This Time For Africa)                 SR0000669191                   Sony Music Entertainment
  3758   Sia                                                  Be Good To Me                                    SR0000655573                   Sony Music Entertainment
  3759   Sia                                                  Big Girl Little Girl                             SR0000655573                   Sony Music Entertainment
  3760   Sia                                                  Cloud                                            SR0000655573                   Sony Music Entertainment
  3761   Sia                                                  Hurting Me Now                                   SR0000655573                   Sony Music Entertainment
  3762   Sia                                                  I'm in Here                                      SR0000655573                   Sony Music Entertainment
  3763   Sia                                                  Never Gonna Leave Me                             SR0000655573                   Sony Music Entertainment
  3764   Sia                                                  Oh Father                                        SR0000655573                   Sony Music Entertainment
  3765   Sia                                                  Stop Trying                                      SR0000655573                   Sony Music Entertainment
  3766   Sia                                                  The Co-Dependent                                 SR0000655573                   Sony Music Entertainment


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                                 Artist                                                    Track                          Registration Number                     Plaintiff
  3767   Social Distortion                                    Ball And Chain                                     SR0000115085                   Sony Music Entertainment
  3768   Social Distortion                                    Ring Of Fire                                       SR0000115085                   Sony Music Entertainment
  3769   Social Distortion                                    Story Of My Life                                   SR0000115085                   Sony Music Entertainment
  3770   Stevie Ray Vaughan and Double Trouble                Boot Hill                                          SR0000138313                   Sony Music Entertainment
  3771   Stevie Ray Vaughan and Double Trouble                Chitlins Con Carne                                 SR0000138313                   Sony Music Entertainment
  3772   Stevie Ray Vaughan and Double Trouble                Close to You                                       SR0000138313                   Sony Music Entertainment
  3773   Stevie Ray Vaughan and Double Trouble                Empty Arms                                         SR0000138313                   Sony Music Entertainment
  3774   Stevie Ray Vaughan and Double Trouble                Life By The Drop                                   SR0000138313                   Sony Music Entertainment
  3775   Stevie Ray Vaughan and Double Trouble                Little Wing                                        SR0000138313                   Sony Music Entertainment
  3776   Stevie Ray Vaughan and Double Trouble                May I Have a Talk with You                         SR0000138313                   Sony Music Entertainment
  3777   Stevie Ray Vaughan and Double Trouble                So Excited                                         SR0000138313                   Sony Music Entertainment
  3778   Stevie Ray Vaughan and Double Trouble                Wham                                               SR0000138313                   Sony Music Entertainment
  3779   Stevie Ray Vaughan and Double Trouble                The Sky Is Crying                                  SR0000138313                   Sony Music Entertainment
  3780   Susan Boyle                                          Amazing Grace                                      SR0000645076                   Sony Music Entertainment
  3781   Susan Boyle                                          Cry Me A River                                     SR0000645076                   Sony Music Entertainment
  3782   Susan Boyle                                          Daydream Believer                                  SR0000645076                   Sony Music Entertainment
  3783   Susan Boyle                                          How Great Thou Art                                 SR0000645076                   Sony Music Entertainment
  3784   Susan Boyle                                          I Dreamed A Dream                                  SR0000645076                   Sony Music Entertainment
  3785   Susan Boyle                                          Proud                                              SR0000645076                   Sony Music Entertainment
  3786   Susan Boyle                                          Silent Night                                       SR0000645076                   Sony Music Entertainment
  3787   Susan Boyle                                          The End Of The World                               SR0000645076                   Sony Music Entertainment
  3788   Susan Boyle                                          Up To The Mountain                                 SR0000645076                   Sony Music Entertainment
  3789   Susan Boyle                                          Who I Was Born To Be                               SR0000645076                   Sony Music Entertainment
  3790   Susan Boyle                                          Wild Horses                                        SR0000645076                   Sony Music Entertainment
  3791   Susan Boyle                                          You'll See                                         SR0000645076                   Sony Music Entertainment
  3792   Switchfoot                                           Adding To The Noise                                SR0000347967                   Sony Music Entertainment
  3793   Switchfoot                                           Ammunition                                         SR0000347967                   Sony Music Entertainment
  3794   Switchfoot                                           Gone                                               SR0000347967                   Sony Music Entertainment
  3795   Switchfoot                                           Meant To Live                                      SR0000347967                   Sony Music Entertainment
  3796   Switchfoot                                           More Than Fine                                     SR0000347967                   Sony Music Entertainment
  3797   Switchfoot                                           On Fire                                            SR0000347967                   Sony Music Entertainment
  3798   Switchfoot                                           Redemption                                         SR0000347967                   Sony Music Entertainment
  3799   Switchfoot                                           The Beautiful Letdown                              SR0000347967                   Sony Music Entertainment
  3800   Switchfoot                                           Twenty-four                                        SR0000347967                   Sony Music Entertainment
  3801   System Of A Down                                     Attack                                             SR0000388170                   Sony Music Entertainment
  3802   System Of A Down                                     B.Y.O.B.                                           SR0000718994                   Sony Music Entertainment
  3803   System Of A Down                                     Cigaro                                             SR0000372792                   Sony Music Entertainment
  3804   System Of A Down                                     Dreaming                                           SR0000388170                   Sony Music Entertainment
  3805   System Of A Down                                     Holy Mountains                                     SR0000388170                   Sony Music Entertainment
  3806   System Of A Down                                     Hypnotize                                          SR0000748788                   Sony Music Entertainment
  3807   System Of A Down                                     Kill Rock 'n Roll                                  SR0000388170                   Sony Music Entertainment
  3808   System Of A Down                                     Lonely Day                                         SR0000388170                   Sony Music Entertainment
  3809   System Of A Down                                     Lost In Hollywood                                  SR0000372792                   Sony Music Entertainment
  3810   System Of A Down                                     Old School Hollywood                               SR0000372792                   Sony Music Entertainment
  3811   System Of A Down                                     Question!                                          SR0000372792                   Sony Music Entertainment
  3812   System Of A Down                                     Radio/Video                                        SR0000372792                   Sony Music Entertainment
  3813   System Of A Down                                     Revenga                                            SR0000372792                   Sony Music Entertainment
  3814   System Of A Down                                     Sad Statue                                         SR0000372792                   Sony Music Entertainment
  3815   System Of A Down                                     She's Like Heroin                                  SR0000388170                   Sony Music Entertainment
  3816   System Of A Down                                     Soldier Side                                       SR0000388170                   Sony Music Entertainment
  3817   System Of A Down                                     Soldier Side - Intro                               SR0000372792                   Sony Music Entertainment
  3818   System Of A Down                                     Stealing Society                                   SR0000388170                   Sony Music Entertainment
  3819   System Of A Down                                     Tentative                                          SR0000388170                   Sony Music Entertainment
  3820   System Of A Down                                     This Cocaine Makes Me Feel Like I'm On This Song   SR0000372792                   Sony Music Entertainment
  3821   System Of A Down                                     U-Fig                                              SR0000388170                   Sony Music Entertainment
  3822   System Of A Down                                     Vicinity Of Obscenity                              SR0000388170                   Sony Music Entertainment
  3823   System Of A Down                                     Violent Pornography                                SR0000372792                   Sony Music Entertainment
  3824   Teddy Pendergrass                                    All I Need Is You                                  SR0000012942                   Sony Music Entertainment
  3825   Teddy Pendergrass                                    And If I Had                                       RE0000926587                   Sony Music Entertainment
  3826   Teddy Pendergrass                                    Be Sure                                            RE0000926587                   Sony Music Entertainment
  3827   Teddy Pendergrass                                    Cold, Cold World                                   SR0000002510                   Sony Music Entertainment
  3828   Teddy Pendergrass                                    Do Me                                              SR0000012942                   Sony Music Entertainment
  3829   Teddy Pendergrass                                    Easy, Easy, Got To Take It Easy                    RE0000926587                   Sony Music Entertainment
  3830   Teddy Pendergrass                                    Get Up, Get Down, Get Funky, Get Loose             SR0000002555                   Sony Music Entertainment
  3831   Teddy Pendergrass                                    Girl You Know                                      SR0000019849                   Sony Music Entertainment
  3832   Teddy Pendergrass                                    I Just Called to Say                               SR0000019849                   Sony Music Entertainment
  3833   Teddy Pendergrass                                    If You Know Like I Know                            SR0000009608                   Sony Music Entertainment
  3834   Teddy Pendergrass                                    I'll Never See Heaven Again                        SR0000012942                   Sony Music Entertainment
  3835   Teddy Pendergrass                                    Is It Still Good To Ya?                            SR0000019849                   Sony Music Entertainment
  3836   Teddy Pendergrass                                    It Don't Hurt Now                                  SR0000002510                   Sony Music Entertainment
  3837   Teddy Pendergrass                                    Let Me Love You                                    SR0000019849                   Sony Music Entertainment
  3838   Teddy Pendergrass                                    Life Is A Circle                                   SR0000012942                   Sony Music Entertainment
  3839   Teddy Pendergrass                                    Life Is A Song Worth Singing                       SR0000002510                   Sony Music Entertainment
  3840   Teddy Pendergrass                                    Set Me Free                                        SR0000012942                   Sony Music Entertainment
  3841   Teddy Pendergrass                                    Somebody Told Me                                   RE0000926587                   Sony Music Entertainment
  3842   Teddy Pendergrass                                    When Somebody Loves You Back                       SR0000002510                   Sony Music Entertainment
  3843   Teddy Pendergrass                                    You Can't Hide From Yourself                       RE0000926587                   Sony Music Entertainment
  3844   Teddy Pendergrass & Stephanie Mills                  Feel the Fire                                      SR0000019849                   Sony Music Entertainment
  3845   Teddy Pendergrass & Stephanie Mills                  Take Me In Your Arms Tonight                       SR0000019849                   Sony Music Entertainment
  3846   Teena Marie                                          Call Me (I Got Yo Number)                          SR0000090900                   Sony Music Entertainment
  3847   Teena Marie                                          Cassanova Brown                                    SR0000050515                   Sony Music Entertainment
  3848   Teena Marie                                          Dear Lover                                         SR0000050515                   Sony Music Entertainment
  3849   Teena Marie                                          Here's Looking At You                              SR0000134764                   Sony Music Entertainment
  3850   Teena Marie                                          If I Were a Bell                                   SR0000134764                   Sony Music Entertainment
  3851   Teena Marie                                          Lovergirl                                          SR0000061732                   Sony Music Entertainment
  3852   Teena Marie                                          My Dear Mr. Gaye                                   SR0000062234                   Sony Music Entertainment


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                                    Artist                                                 Track                         Registration Number                     Plaintiff
  3853   Teena Marie                                          Out On A Limb                                     SR0000062234                   Sony Music Entertainment
  3854   Teena Marie                                          Work It                                           SR0000090900                   Sony Music Entertainment
  3855   The Clash                                            Bankrobber                                        SR0000030054                   Sony Music Entertainment
  3856   The Clash                                            Brand New Cadillac                                SR0000016270                   Sony Music Entertainment
  3857   The Clash                                            Capital Radio One                                 SR0000030054                   Sony Music Entertainment
  3858   The Clash                                            Career Opportunities                              SR0000293426                   Sony Music Entertainment
  3859   The Clash                                            Cheat                                             SR0000030054                   Sony Music Entertainment
  3860   The Clash                                            Clampdown                                         SR0000016270                   Sony Music Entertainment
  3861   The Clash                                            Complete Control                                  SR0000293426                   Sony Music Entertainment
  3862   The Clash                                            Death Or Glory                                    SR0000016270                   Sony Music Entertainment
  3863   The Clash                                            English Civil War                                 SR0000006482                   Sony Music Entertainment
  3864   The Clash                                            Four Horsemen                                     SR0000016270                   Sony Music Entertainment
  3865   The Clash                                            Ghetto Defendant                                  SR0000034959                   Sony Music Entertainment
  3866   The Clash                                            Groovy Times                                      SR0000013444                   Sony Music Entertainment
  3867   The Clash                                            Hateful                                           SR0000016270                   Sony Music Entertainment
  3868   The Clash                                            I'm Not Down                                      SR0000016270                   Sony Music Entertainment
  3869   The Clash                                            Ivan Meets G.I. Joe                               SR0000024334                   Sony Music Entertainment
  3870   The Clash                                            Jimmy Jazz                                        SR0000016270                   Sony Music Entertainment
  3871   The Clash                                            Julie's Been Working for the Drug Squad           SR0000006482                   Sony Music Entertainment
  3872   The Clash                                            Koka Kola                                         SR0000016270                   Sony Music Entertainment
  3873   The Clash                                            London Calling                                    SR0000016270                   Sony Music Entertainment
  3874   The Clash                                            Lost In The Supermarket                           SR0000016270                   Sony Music Entertainment
  3875   The Clash                                            Lover's Rock                                      SR0000016270                   Sony Music Entertainment
  3876   The Clash                                            Police on my Back                                 SR0000024334                   Sony Music Entertainment
  3877   The Clash                                            Revolution Rock                                   SR0000016270                   Sony Music Entertainment
  3878   The Clash                                            Rock the Casbah                                   SR0000034959                   Sony Music Entertainment
  3879   The Clash                                            Rudie Can't Fail                                  SR0000016270                   Sony Music Entertainment
  3880   The Clash                                            Safe European Home                                SR0000006482                   Sony Music Entertainment
  3881   The Clash                                            Somebody Got Murdered                             SR0000024334                   Sony Music Entertainment
  3882   The Clash                                            Spanish Bombs                                     SR0000016270                   Sony Music Entertainment
  3883   The Clash                                            Stay Free                                         SR0000006482                   Sony Music Entertainment
  3884   The Clash                                            Stop The World                                    SR0000760747                   Sony Music Entertainment
  3885   The Clash                                            Straight to Hell                                  SR0000034959                   Sony Music Entertainment
  3886   The Clash                                            The Card Cheat                                    SR0000016270                   Sony Music Entertainment
  3887   The Clash                                            The Guns Of Brixton                               SR0000016270                   Sony Music Entertainment
  3888   The Clash                                            The Magnificent Seven                             SR0000031262                   Sony Music Entertainment
  3889   The Clash                                            The Right Profile                                 SR0000016270                   Sony Music Entertainment
  3890   The Clash                                            The Street Parade                                 SR0000024334                   Sony Music Entertainment
  3891   The Clash                                            This Is England                                   SR0000070039                   Sony Music Entertainment
  3892   The Clash                                            This Is Radio Clash                               SR0000033898                   Sony Music Entertainment
  3893   The Clash                                            Tommy Gun                                         SR0000006482                   Sony Music Entertainment
  3894   The Clash                                            Train In Vain                                     SR0000293426                   Sony Music Entertainment
  3895   The Clash                                            Wrong 'Em Boyo                                    SR0000016270                   Sony Music Entertainment
  3896   The Fabulous Thunderbirds                            Look at That, Look at That                        SR0000076616                   Sony Music Entertainment
  3897   The Fabulous Thunderbirds                            Two Time My Lovin                                 SR0000076616                   Sony Music Entertainment
  3898   The Fabulous Thunderbirds                            Why Get Up                                        SR0000076616                   Sony Music Entertainment
  3899   The Fabulous Thunderbirds                            Wrap It Up                                        SR0000076616                   Sony Music Entertainment
  3900   The Fugees                                           Cowboys                                           SR0000222005                   Sony Music Entertainment
  3901   The Fugees                                           Family Business                                   SR0000222005                   Sony Music Entertainment
  3902   The Fugees                                           Killing Me Softly With His Song                   SR0000222005                   Sony Music Entertainment
  3903   The Fugees                                           The Beast                                         SR0000222005                   Sony Music Entertainment
  3904   The Neighbourhood                                    Sweater Weather                                   SR0000728982                   Sony Music Entertainment
  3905   The Staple Singers                                   Slippery People                                   SR0000061705                   Sony Music Entertainment
  3906   Three 6 Mafia                                        Stay Fly                                          PA0001305910                   Sony Music Entertainment
  3907   Three Days Grace                                     Animal I Have Become                              SR0000719115                   Sony Music Entertainment
  3908   Three Days Grace                                     Bitter Taste                                      SR0000641798                   Sony Music Entertainment
  3909   Three Days Grace                                     Break                                             SR0000641798                   Sony Music Entertainment
  3910   Three Days Grace                                     Goin' Down                                        SR0000641798                   Sony Music Entertainment
  3911   Three Days Grace                                     Last To Know                                      SR0000641798                   Sony Music Entertainment
  3912   Three Days Grace                                     Life Starts Now                                   SR0000641798                   Sony Music Entertainment
  3913   Three Days Grace                                     Lost In You                                       SR0000641798                   Sony Music Entertainment
  3914   Three Days Grace                                     No More                                           SR0000641798                   Sony Music Entertainment
  3915   Three Days Grace                                     Someone Who Cares                                 SR0000641798                   Sony Music Entertainment
  3916   Three Days Grace                                     The Good Life                                     SR0000641798                   Sony Music Entertainment
  3917   Three Days Grace                                     Without You                                       SR0000641798                   Sony Music Entertainment
  3918   Three Days Grace                                     World So Cold                                     SR0000641798                   Sony Music Entertainment
  3919   Tinashe feat. ScHoolboy Q                            2 On                                              SR0000763606                   Sony Music Entertainment
  3920   Tony Bennett & Amy Winehouse                         Body And Soul                                     SR0000701447                   Sony Music Entertainment
  3921   Tony Terry                                           With You                                          SR0000127422                   Sony Music Entertainment
  3922   T-Pain feat. B.o.B                                   Up Down (Do This All Day)                         SR0000766922                   Sony Music Entertainment
  3923   Train                                                50 Ways To Say Goodbye                            SR0000700152                   Sony Music Entertainment
  3924   Train                                                Drive By                                          SR0000700152                   Sony Music Entertainment
  3925   Tyler Farr                                           Ain't Even Drinkin'                               SR0000735228                   Sony Music Entertainment
  3926   Tyler Farr                                           Cowgirl                                           SR0000735228                   Sony Music Entertainment
  3927   Tyler Farr                                           Dirty                                             SR0000735228                   Sony Music Entertainment
  3928   Tyler Farr                                           Hello Goodbye                                     SR0000729158                   Sony Music Entertainment
  3929   Tyler Farr                                           Living With the Blues                             SR0000735228                   Sony Music Entertainment
  3930   Tyler Farr                                           Makes You Wanna Drink                             SR0000729124                   Sony Music Entertainment
  3931   Tyler Farr                                           Redneck Crazy                                     SR0000729105                   Sony Music Entertainment
  3932   Tyler Farr                                           Whiskey in My Water                               SR0000735228                   Sony Music Entertainment
  3933   Tyler Farr                                           Wish I Had a Boat                                 SR0000735228                   Sony Music Entertainment
  3934   Tyler Farr feat. Colt Ford                           Chicks, Trucks, and Beer                          SR0000735228                   Sony Music Entertainment
  3935   Usher                                                2nd Round                                         SR0000731104                   Sony Music Entertainment
  3936   Usher                                                Can't Stop Won't Stop                             SR0000731104                   Sony Music Entertainment
  3937   Usher                                                Climax                                            SR0000731104                   Sony Music Entertainment
  3938   Usher                                                Dive                                              SR0000731104                   Sony Music Entertainment


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                                   Artist                                                  Track                               Registration Number                     Plaintiff
  3939   Usher                                                Euphoria                                                SR0000731104                   Sony Music Entertainment
  3940   Usher                                                Good Kisser                                             SR0000773759                   Sony Music Entertainment
  3941   Usher                                                Hey Daddy (Daddy's Home)                                SR0000652023                   Sony Music Entertainment
  3942   Usher                                                I Care For U                                            SR0000731104                   Sony Music Entertainment
  3943   Usher                                                I.F.U.                                                  SR0000731104                   Sony Music Entertainment
  3944   Usher                                                Lemme See                                               SR0000731104                   Sony Music Entertainment
  3945   Usher                                                Lessons For The Lover                                   SR0000731104                   Sony Music Entertainment
  3946   Usher                                                Love In This Club                                       SR0000742199                   Sony Music Entertainment
  3947   Usher                                                More                                                    SR0000652023                   Sony Music Entertainment
  3948   Usher                                                Numb                                                    SR0000731104                   Sony Music Entertainment
  3949   Usher                                                Papers                                                  SR0000652023                   Sony Music Entertainment
  3950   Usher                                                Say The Words                                           SR0000731104                   Sony Music Entertainment
  3951   Usher                                                Scream                                                  SR0000731104                   Sony Music Entertainment
  3952   Usher                                                Show Me                                                 SR0000731104                   Sony Music Entertainment
  3953   Usher                                                Sins Of My Father                                       SR0000731104                   Sony Music Entertainment
  3954   Usher                                                There Goes My Baby                                      SR0000652023                   Sony Music Entertainment
  3955   Usher                                                What Happened To U                                      SR0000731104                   Sony Music Entertainment
  3956   Usher feat. A$AP Rocky                               Hot Thing                                               SR0000731104                   Sony Music Entertainment
  3957   Usher feat. Luke Steele                              Looking 4 Myself                                        SR0000731104                   Sony Music Entertainment
  3958   Usher feat. Nicki Minaj                              Lil Freak                                               SR0000652023                   Sony Music Entertainment
  3959   Usher feat. T.I.                                     Guilty                                                  SR0000652023                   Sony Music Entertainment
  3960   Usher feat. will.i.am                                OMG                                                     PA0001700214                   Sony Music Entertainment
  3961   Walk The Moon                                        Anna Sun                                                SR0000709118                   Sony Music Entertainment
  3962   WALK THE MOON                                        Next In Line                                            SR0000709118                   Sony Music Entertainment
  3963   WALK THE MOON                                        Tightrope                                               SR0000709118                   Sony Music Entertainment
  3964   Warrant                                              32 Pennies                                              SR0000103108                   Sony Music Entertainment
  3965   Warrant                                              Bed Of Roses                                            SR0000122785                   Sony Music Entertainment
  3966   Warrant                                              Big Talk                                                SR0000103108                   Sony Music Entertainment
  3967   Warrant                                              Cherry Pie                                              SR0000122785                   Sony Music Entertainment
  3968   Warrant                                              D.R.F.S.R.                                              SR0000103108                   Sony Music Entertainment
  3969   Warrant                                              Down Boys                                               SR0000103108                   Sony Music Entertainment
  3970   Warrant                                              Heaven                                                  SR0000103108                   Sony Music Entertainment
  3971   Warrant                                              I Saw Red                                               SR0000122785                   Sony Music Entertainment
  3972   Warrant                                              Mr. Rainmaker                                           SR0000122785                   Sony Music Entertainment
  3973   Warrant                                              Sometimes She Cries                                     SR0000103108                   Sony Music Entertainment
  3974   Warrant                                              Sure Feels Good to Me                                   SR0000122785                   Sony Music Entertainment
  3975   Warrant                                              The Hole In My Wall                                     SR0000146976                   Sony Music Entertainment
  3976   Warrant                                              Train, Train                                            SR0000122785                   Sony Music Entertainment
  3977   Warrant                                              Uncle Tom's Cabin                                       SR0000122785                   Sony Music Entertainment
  3978   Weird Al Yankovic                                    (This Song's Just) Six Words Long                       SR0000088931                   Sony Music Entertainment
  3979   Weird Al Yankovic                                    Alimony                                                 SR0000088931                   Sony Music Entertainment
  3980   Weird Al Yankovic                                    Another One Rides The Bus                               SR0000046144                   Sony Music Entertainment
  3981   Weird Al Yankovic                                    Attack Of The Radioactive Hamsters From A Planet Near   SR0000108100                   Sony Music Entertainment
                                                              Mars
  3982   Weird Al Yankovic                                    Buckingham Blues                                        SR0000046320                   Sony Music Entertainment
  3983   Weird Al Yankovic                                    Buy Me A Condo                                          SR0000054056                   Sony Music Entertainment
  3984   Weird Al Yankovic                                    Cable TV                                                SR0000068020                   Sony Music Entertainment
  3985   Weird Al Yankovic                                    Christmas At Ground Zero                                SR0000078099                   Sony Music Entertainment
  3986   Weird Al Yankovic                                    Dare To Be Stupid                                       SR0000068020                   Sony Music Entertainment
  3987   Weird Al Yankovic                                    Dog Eat Dog                                             SR0000078099                   Sony Music Entertainment
  3988   Weird Al Yankovic                                    Eat It                                                  SR0000054439                   Sony Music Entertainment
  3989   Weird Al Yankovic                                    Fat                                                     SR0000088931                   Sony Music Entertainment
  3990   Weird Al Yankovic                                    Fun Zone                                                SR0000108100                   Sony Music Entertainment
  3991   Weird Al Yankovic                                    Gandhi II                                               SR0000108100                   Sony Music Entertainment
  3992   Weird Al Yankovic                                    Generic Blues                                           SR0000108100                   Sony Music Entertainment
  3993   Weird Al Yankovic                                    George Of The Jungle                                    SR0000068020                   Sony Music Entertainment
  3994   Weird Al Yankovic                                    Girls Just Want To Have Lunch                           SR0000068020                   Sony Music Entertainment
  3995   Weird Al Yankovic                                    Good Enough For Now                                     SR0000078099                   Sony Music Entertainment
  3996   Weird Al Yankovic                                    Good Old Days                                           SR0000088931                   Sony Music Entertainment
  3997   Weird Al Yankovic                                    Gotta Boogie                                            SR0000046144                   Sony Music Entertainment
  3998   Weird Al Yankovic                                    Happy Birthday                                          SR0000046144                   Sony Music Entertainment
  3999   Weird Al Yankovic                                    Here's Johnny                                           SR0000078099                   Sony Music Entertainment
  4000   Weird Al Yankovic                                    Hooked On Polkas                                        SR0000068020                   Sony Music Entertainment
  4001   Weird Al Yankovic                                    I Lost On Jeopardy                                      SR0000054056                   Sony Music Entertainment
  4002   Weird Al Yankovic                                    I Love Rocky Road                                       SR0000046144                   Sony Music Entertainment
  4003   Weird Al Yankovic                                    I Want A New Duck                                       SR0000068020                   Sony Music Entertainment
  4004   Weird Al Yankovic                                    I'll Be Mellow When I'm Dead                            SR0000046144                   Sony Music Entertainment
  4005   Weird Al Yankovic                                    Isle Thing                                              SR0000108100                   Sony Music Entertainment
  4006   Weird Al Yankovic                                    King Of Suede                                           SR0000054056                   Sony Music Entertainment
  4007   Weird Al Yankovic                                    Lasagna                                                 SR0000088931                   Sony Music Entertainment
  4008   Weird Al Yankovic                                    Like A Surgeon                                          PA0000254936                   Sony Music Entertainment
  4009   Weird Al Yankovic                                    Melanie                                                 SR0000088931                   Sony Music Entertainment
  4010   Weird Al Yankovic                                    Midnight Star                                           SR0000054056                   Sony Music Entertainment
  4011   Weird Al Yankovic                                    Money for Nothing/Beverly Hillbillies                   SR0000108100                   Sony Music Entertainment
  4012   Weird Al Yankovic                                    Mr. Frump In The Iron Lung                              SR0000046144                   Sony Music Entertainment
  4013   Weird Al Yankovic                                    Mr. Popeil                                              SR0000054056                   Sony Music Entertainment
  4014   Weird Al Yankovic                                    Nature Trail To Hell                                    SR0000054056                   Sony Music Entertainment
  4015   Weird Al Yankovic                                    One More Minute                                         SR0000068020                   Sony Music Entertainment
  4016   Weird Al Yankovic                                    One Of Those Days                                       SR0000078099                   Sony Music Entertainment
  4017   Weird Al Yankovic                                    Polka Party                                             SR0000078099                   Sony Music Entertainment
  4018   Weird Al Yankovic                                    Polkas On 45                                            SR0000054056                   Sony Music Entertainment
  4019   Weird Al Yankovic                                    Ricky                                                   SR0000046320                   Sony Music Entertainment
  4020   Weird Al Yankovic                                    She Drives Like Crazy                                   SR0000108100                   Sony Music Entertainment
  4021   Weird Al Yankovic                                    Spam                                                    SR0000108100                   Sony Music Entertainment
  4022   Weird Al Yankovic                                    Spatula City                                            SR0000108100                   Sony Music Entertainment
  4023   Weird Al Yankovic                                    Stop Draggin' My Car Around                             SR0000046144                   Sony Music Entertainment


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                                   Artist                                                 Track                           Registration Number                       Plaintiff
  4024   Weird Al Yankovic                                    Such A Groovy Guy                                  SR0000046144                   Sony Music Entertainment
  4025   Weird Al Yankovic                                    That Boy Could Dance                               SR0000054439                   Sony Music Entertainment
  4026   Weird Al Yankovic                                    The Biggest Ball Of Twine In Minnesota             SR0000108100                   Sony Music Entertainment
  4027   Weird Al Yankovic                                    The Brady Bunch                                    SR0000054056                   Sony Music Entertainment
  4028   Weird Al Yankovic                                    The Check's In The Mail                            SR0000046144                   Sony Music Entertainment
  4029   Weird Al Yankovic                                    The Hot Rocks Polka                                SR0000108100                   Sony Music Entertainment
  4030   Weird Al Yankovic                                    Theme From Rocky XIII                              SR0000054056                   Sony Music Entertainment
  4031   Weird Al Yankovic                                    This Is The Life                                   SR0000068020                   Sony Music Entertainment
  4032   Weird Al Yankovic                                    Toothless People                                   SR0000078099                   Sony Music Entertainment
  4033   Weird Al Yankovic                                    Twister                                            SR0000088931                   Sony Music Entertainment
  4034   Weird Al Yankovic                                    Uhf                                                SR0000108100                   Sony Music Entertainment
  4035   Weird Al Yankovic                                    Velvet Elvis                                       SR0000088931                   Sony Music Entertainment
  4036   Weird Al Yankovic                                    Yoda                                               SR0000068020                   Sony Music Entertainment
  4037   Weird Al Yankovic                                    You Make Me                                        SR0000088931                   Sony Music Entertainment
  4038   Wham                                                 Careless Whisper                                   SR0000068616                   Sony Music Entertainment
  4039   Whitney Houston                                      A Song For You                                     SR0000644885                   Sony Music Entertainment
  4040   Whitney Houston                                      Call You Tonight                                   SR0000644885                   Sony Music Entertainment
  4041   Whitney Houston                                      For The Lovers                                     SR0000644885                   Sony Music Entertainment
  4042   Whitney Houston                                      I Didn't Know My Own Strength                      SR0000644885                   Sony Music Entertainment
  4043   Whitney Houston                                      I Got You                                          SR0000644885                   Sony Music Entertainment
  4044   Whitney Houston                                      I Look To You                                      SR0000644885                   Sony Music Entertainment
  4045   Whitney Houston                                      Million Dollar Bill                                SR0000644885                   Sony Music Entertainment
  4046   Whitney Houston                                      Nothin' But Love                                   SR0000644885                   Sony Music Entertainment
  4047   Whitney Houston                                      Salute                                             SR0000644885                   Sony Music Entertainment
  4048   Whitney Houston                                      Worth It                                           SR0000644885                   Sony Music Entertainment
  4049   Whitney Houston feat. Akon                           Like I Never Left                                  SR0000644885                   Sony Music Entertainment
  4050   Willie Nelson                                        Always On My Mind                                  SR0000034836                   Sony Music Entertainment
  4051   Willie Nelson                                        Angel Flying Too Close To The Ground               SR0000033917                   Sony Music Entertainment
  4052   Willie Nelson                                        City Of New Orleans                                SR0000055605                   Sony Music Entertainment
  4053   Willie Nelson                                        Forgiving You Was Easy                             SR0000064588                   Sony Music Entertainment
  4054   Willie Nelson                                        Good Hearted Woman                                 SR0000004979                   Sony Music Entertainment
  4055   Willie Nelson                                        Graceland                                          SR0000153066                   Sony Music Entertainment
  4056   Willie Nelson                                        Last Thing I Needed First Thing This Morning       SR0000034842                   Sony Music Entertainment
  4057   Willie Nelson                                        My Heroes Have Always Been Cowboys                 SR0000015871                   Sony Music Entertainment
  4058   Willie Nelson                                        On The Road Again                                  PA0000084966; SR0000034019     Sony Music Entertainment
  4059   Willie Nelson with Ray Price                         Faded Love                                         SR0000019676                   Sony Music Entertainment
  4060   Marc Anthony                                         A Quién Quiero Mentirle                            SR0000654928                   Sony Music Entertainment US Latin
  4061   Marc Anthony                                         Aguanile                                           SR0000615507                   Sony Music Entertainment US Latin
  4062   Marc Anthony                                         Amada Amante                                       SR0000654928                   Sony Music Entertainment US Latin
  4063   Marc Anthony                                         Che Che Colé                                       SR0000615507                   Sony Music Entertainment US Latin
  4064   Marc Anthony                                         El Cantante                                        SR0000615507                   Sony Music Entertainment US Latin
  4065   Marc Anthony                                         El Día de Mi Suerte                                SR0000615507                   Sony Music Entertainment US Latin
  4066   Marc Anthony                                         Escandalo                                          SR0000615507                   Sony Music Entertainment US Latin
  4067   Marc Anthony                                         Qué Lío                                            SR0000615507                   Sony Music Entertainment US Latin
  4068   Marc Anthony                                         Quítate Tú Pa' Ponerme Yo                          SR0000615507                   Sony Music Entertainment US Latin
  4069   Marc Anthony                                         Te Lo Pido Por Favor                               SR0000654928                   Sony Music Entertainment US Latin
  4070   Marc Anthony                                         Todo Tiene Su Final                                SR0000615507                   Sony Music Entertainment US Latin
  4071   Marc Anthony                                         Y Cómo Es Él                                       SR0000654928                   Sony Music Entertainment US Latin
  4072   Shakira                                              La Tortura                                         SR0000711081                   Sony Music Entertainment US Latin
  4073   Slipknot                                             (515)                                              SR0000330440                   The All Blacks U.S.A., Inc.
  4074   Slipknot                                             742617000027                                       SR0000301094                   The All Blacks U.S.A., Inc.
  4075   Slipknot                                             (sic)                                              SR0000301094                   The All Blacks U.S.A., Inc.
  4076   Slipknot                                             .execute.                                          SR0000656810                   The All Blacks U.S.A., Inc.
  4077   Slipknot                                             All Hope Is Gone                                   SR0000656810                   The All Blacks U.S.A., Inc.
  4078   Slipknot                                             Before I Forget                                    SR0000358238                   The All Blacks U.S.A., Inc.
  4079   Slipknot                                             Butcher's Hook                                     SR0000656810                   The All Blacks U.S.A., Inc.
  4080   Slipknot                                             Child Of Burning Time                              SR0000656810                   The All Blacks U.S.A., Inc.
  4081   Slipknot                                             Dead Memories                                      SR0000656810                   The All Blacks U.S.A., Inc.
  4082   Slipknot                                             Disasterpiece                                      SR0000330440                   The All Blacks U.S.A., Inc.
  4083   Slipknot                                             Duality                                            SR0000358238                   The All Blacks U.S.A., Inc.
  4084   Slipknot                                             Everything Ends                                    SR0000330440                   The All Blacks U.S.A., Inc.
  4085   Slipknot                                             Eyeless                                            SR0000301094                   The All Blacks U.S.A., Inc.
  4086   Slipknot                                             Gehenna                                            SR0000656810                   The All Blacks U.S.A., Inc.
  4087   Slipknot                                             Gematria (The Killing Name)                        SR0000656810                   The All Blacks U.S.A., Inc.
  4088   Slipknot                                             Iowa (Live Version)                                SR0000390797                   The All Blacks U.S.A., Inc.
  4089   Slipknot                                             Left Behind                                        SR0000330440                   The All Blacks U.S.A., Inc.
  4090   Slipknot                                             My Plague                                          SR0000330440                   The All Blacks U.S.A., Inc.
  4091   Slipknot                                             People = Shit                                      SR0000330440                   The All Blacks U.S.A., Inc.
  4092   Slipknot                                             Prelude 3.0                                        SR0000358238                   The All Blacks U.S.A., Inc.
  4093   Slipknot                                             Psychosocial                                       SR0000656810                   The All Blacks U.S.A., Inc.
  4094   Slipknot                                             Snuff                                              SR0000656810                   The All Blacks U.S.A., Inc.
  4095   Slipknot                                             Spit It Out                                        SR0000301094                   The All Blacks U.S.A., Inc.
  4096   Slipknot                                             Sulfur                                             SR0000656810                   The All Blacks U.S.A., Inc.
  4097   Slipknot                                             Surfacing                                          SR0000301094                   The All Blacks U.S.A., Inc.
  4098   Slipknot                                             The Blister Exists                                 SR0000358238                   The All Blacks U.S.A., Inc.
  4099   Slipknot                                             The Heretic Anthem                                 SR0000330440                   The All Blacks U.S.A., Inc.
  4100   Slipknot                                             The Nameless                                       SR0000358238                   The All Blacks U.S.A., Inc.
  4101   Slipknot                                             This Cold Black                                    SR0000656810                   The All Blacks U.S.A., Inc.
  4102   Slipknot                                             Til We Die                                         SR0000656810                   The All Blacks U.S.A., Inc.
  4103   Slipknot                                             Vendetta                                           SR0000656810                   The All Blacks U.S.A., Inc.
  4104   Slipknot                                             Vermilion                                          SR0000358238                   The All Blacks U.S.A., Inc.
  4105   Slipknot                                             Vermilion Pt. 2                                    SR0000358238                   The All Blacks U.S.A., Inc.
  4106   Slipknot                                             Vermilion Pt. 2 (Bloodstone Mix)                   SR0000656810                   The All Blacks U.S.A., Inc.
  4107   Slipknot                                             Wait And Bleed                                     SR0000301094                   The All Blacks U.S.A., Inc.
  4108   Slipknot                                             Wherein Lies Continue                              SR0000656810                   The All Blacks U.S.A., Inc.
  4109   Fozzy                                                A Passed Life                                      SR0000726755                   The Century Family, Inc.


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                                   Artist                                                 Track                         Registration Number                     Plaintiff
  4110   Fozzy                                                Blood Happens                                    SR0000726755                   The Century Family, Inc.
  4111   Fozzy                                                Dark Passenger                                   SR0000726755                   The Century Family, Inc.
  4112   Fozzy                                                Inside My Head                                   SR0000726755                   The Century Family, Inc.
  4113   Fozzy                                                Sandpaper                                        SR0000726755                   The Century Family, Inc.
  4114   Fozzy                                                She's My Addiction                               SR0000726755                   The Century Family, Inc.
  4115   Fozzy                                                Shine Forever                                    SR0000726755                   The Century Family, Inc.
  4116   Fozzy                                                Sin and Bones                                    SR0000726755                   The Century Family, Inc.
  4117   Fozzy                                                Spider in My Mouth                               SR0000726755                   The Century Family, Inc.
  4118   Fozzy                                                Storm the Beaches                                SR0000726755                   The Century Family, Inc.
  4119   In This Moment                                       A Star-Crossed Wasteland                         SR0000669909                   The Century Family, Inc.
  4120   In This Moment                                       Blazin'                                          SR0000669909                   The Century Family, Inc.
  4121   In This Moment                                       Gunshow                                          SR0000669909                   The Century Family, Inc.
  4122   In This Moment                                       Iron Army                                        SR0000669909                   The Century Family, Inc.
  4123   In This Moment                                       Just Drive                                       SR0000669909                   The Century Family, Inc.
  4124   In This Moment                                       Standing Alone                                   SR0000669909                   The Century Family, Inc.
  4125   In This Moment                                       The Last Cowboy                                  SR0000669909                   The Century Family, Inc.
  4126   In This Moment                                       The Promise                                      SR0000669909                   The Century Family, Inc.
  4127   In This Moment                                       The Road                                         SR0000669909                   The Century Family, Inc.
  4128   In This Moment                                       Whispers Of October                              SR0000610825                   The Century Family, Inc.
  4129   In This Moment                                       World In Flames                                  SR0000669909                   The Century Family, Inc.
  4130   In This Moment                                       You Always Believed                              SR0000630468                   The Century Family, Inc.
  4131   iwrestledabearonce                                   Break It Down Camacho                            SR0000697986                   The Century Family, Inc.
  4132   iwrestledabearonce                                   Deodorant Can't Fix Ugly                         SR0000697986                   The Century Family, Inc.
  4133   iwrestledabearonce                                   Gold Jacket, Green Jacket                        SR0000697986                   The Century Family, Inc.
  4134   iwrestledabearonce                                   I'm Gonna Shoot                                  SR0000697986                   The Century Family, Inc.
  4135   iwrestledabearonce                                   It Is "Bro" Isn't It?                            SR0000697986                   The Century Family, Inc.
  4136   iwrestledabearonce                                   Karate Nipples                                   SR0000697986                   The Century Family, Inc.
  4137   iwrestledabearonce                                   Next Visible Delicious                           SR0000697986                   The Century Family, Inc.
  4138   iwrestledabearonce                                   Stay to the Right                                SR0000697986                   The Century Family, Inc.
  4139   iwrestledabearonce                                   This Head Music Makes My Eyes Rain               SR0000697986                   The Century Family, Inc.
  4140   iwrestledabearonce                                   You Know That Ain't Them Dogs' Real Voice        SR0000697986                   The Century Family, Inc.
  4141   Otherwise                                            Crimson                                          SR0000704620                   The Century Family, Inc.
  4142   Otherwise                                            Die for You                                      SR0000704620                   The Century Family, Inc.
  4143   Otherwise                                            Don't Be Afraid                                  SR0000704620                   The Century Family, Inc.
  4144   Otherwise                                            Full Circle                                      SR0000704620                   The Century Family, Inc.
  4145   Otherwise                                            Heaven                                           SR0000704620                   The Century Family, Inc.
  4146   Otherwise                                            I                                                SR0000704620                   The Century Family, Inc.
  4147   Otherwise                                            I Don't Apologize (1000 Pictures)                SR0000704620                   The Century Family, Inc.
  4148   Otherwise                                            II                                               SR0000704620                   The Century Family, Inc.
  4149   Otherwise                                            III                                              SR0000704620                   The Century Family, Inc.
  4150   Otherwise                                            Lighthouse                                       SR0000704620                   The Century Family, Inc.
  4151   Otherwise                                            Scream Now                                       SR0000704620                   The Century Family, Inc.
  4152   Otherwise                                            Silence Reigns                                   SR0000704620                   The Century Family, Inc.
  4153   Otherwise                                            Soldiers                                         SR0000704620                   The Century Family, Inc.
  4154   Otherwise                                            Vegas Girl                                       SR0000704620                   The Century Family, Inc.
  4155   Suicide Silence                                      Bludgeoned to Death                              SR0000623967                   The Century Family, Inc.
  4156   Suicide Silence                                      Cancerous Skies                                  SR0000697040                   The Century Family, Inc.
  4157   Suicide Silence                                      Cross-Eyed Catastrophe                           SR0000697040                   The Century Family, Inc.
  4158   Suicide Silence                                      Destruction of a Statue                          SR0000623967                   The Century Family, Inc.
  4159   Suicide Silence                                      Disengage                                        SR0000643826                   The Century Family, Inc.
  4160   Suicide Silence                                      Eyes Sewn Shut                                   SR0000623967                   The Century Family, Inc.
  4161   Suicide Silence                                      Fuck Everything                                  SR0000697040                   The Century Family, Inc.
  4162   Suicide Silence                                      Genocide                                         SR0000643826                   The Century Family, Inc.
  4163   Suicide Silence                                      Girl of Glass                                    SR0000623967                   The Century Family, Inc.
  4164   Suicide Silence                                      Green Monster                                    SR0000623967                   The Century Family, Inc.
  4165   Suicide Silence                                      Hands of a Killer                                SR0000623967                   The Century Family, Inc.
  4166   Suicide Silence                                      Human Violence                                   SR0000697040                   The Century Family, Inc.
  4167   Suicide Silence                                      In a Photograph                                  SR0000623967                   The Century Family, Inc.
  4168   Suicide Silence                                      March To The Black Crown                         SR0000697040                   The Century Family, Inc.
  4169   Suicide Silence                                      No Pity For a Coward                             SR0000623967                   The Century Family, Inc.
  4170   Suicide Silence                                      No Time To Bleed                                 SR0000643826                   The Century Family, Inc.
  4171   Suicide Silence                                      O.C.D.                                           SR0000697040                   The Century Family, Inc.
  4172   Suicide Silence                                      Slaves to Substance                              SR0000697040                   The Century Family, Inc.
  4173   Suicide Silence                                      Smashed                                          SR0000697040                   The Century Family, Inc.
  4174   Suicide Silence                                      The Disease                                      SR0000623967                   The Century Family, Inc.
  4175   Suicide Silence                                      The Fallen                                       SR0000623967                   The Century Family, Inc.
  4176   Suicide Silence                                      The Only Thing That Sets Us Apart                SR0000697040                   The Century Family, Inc.
  4177   Suicide Silence                                      The Price of Beauty                              SR0000623967                   The Century Family, Inc.
  4178   Suicide Silence                                      Unanswered                                       SR0000623967                   The Century Family, Inc.
  4179   Suicide Silence                                      Witness the Addiction                            SR0000697040                   The Century Family, Inc.
  4180   Suicide Silence                                      You Only Live Once                               SR0000697040                   The Century Family, Inc.
  4181   In This Moment                                       All For You                                      SR0000630468                   The Century Family, Inc.
  4182   In This Moment                                       Ashes                                            SR0000610825                   The Century Family, Inc.
  4183   In This Moment                                       Beautiful Tragedy                                SR0000610825                   The Century Family, Inc.
  4184   In This Moment                                       Circles                                          SR0000610825                   The Century Family, Inc.
  4185   In This Moment                                       Forever                                          SR0000630468                   The Century Family, Inc.
  4186   In This Moment                                       He Said Eternity                                 SR0000610825                   The Century Family, Inc.
  4187   In This Moment                                       Her Kiss                                         SR0000630468                   The Century Family, Inc.
  4188   In This Moment                                       Into The Light                                   SR0000630468                   The Century Family, Inc.
  4189   In This Moment                                       Legacy of Odio                                   SR0000610825                   The Century Family, Inc.
  4190   In This Moment                                       Lost At Sea                                      SR0000630468                   The Century Family, Inc.
  4191   In This Moment                                       Mechanical Love                                  SR0000630468                   The Century Family, Inc.
  4192   In This Moment                                       Next Life                                        SR0000610825                   The Century Family, Inc.
  4193   In This Moment                                       Prayers                                          SR0000610829                   The Century Family, Inc.
  4194   In This Moment                                       The Dream                                        SR0000630468                   The Century Family, Inc.
  4195   In This Moment                                       The Great Divide                                 SR0000630468                   The Century Family, Inc.


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                                   Artist                                                Track                            Registration Number                     Plaintiff
  4196   In This Moment                                       The Rabbit Hole                                    SR0000630468                   The Century Family, Inc.
  4197   In This Moment                                       This Moment                                        SR0000610825                   The Century Family, Inc.
  4198   In This Moment                                       Violet Skies                                       SR0000630468                   The Century Family, Inc.
  4199   In This Moment                                       When the Storm Subsides                            SR0000610825                   The Century Family, Inc.
  4200   2 Chainz                                             Feds Watching                                      SR0000724645                   UMG Recordings, Inc.
  4201   2 Chainz                                             Ghetto Dreams                                      SR0000706415                   UMG Recordings, Inc.
  4202   2 Chainz                                             No Lie                                             SR0000700831                   UMG Recordings, Inc.
  4203   2 Chainz                                             Wut We Doin?                                       SR0000706415                   UMG Recordings, Inc.
  4204   2Pac                                                 2 Of Amerikaz Most Wanted                          SR0000331786                   UMG Recordings, Inc.
  4205   2Pac                                                 Brenda's Got A Baby                                SR0000172261                   UMG Recordings, Inc.
  4206   2Pac                                                 California Love                                    SR0000331786                   UMG Recordings, Inc.
  4207   2Pac                                                 Can U Get Away                                     SR0000198774                   UMG Recordings, Inc.
  4208   2Pac                                                 Changes                                            SR0000246223                   UMG Recordings, Inc.
  4209   2Pac                                                 Dear Mama                                          SR0000198941                   UMG Recordings, Inc.
  4210   2Pac                                                 Death Around The Corner                            SR0000198774                   UMG Recordings, Inc.
  4211   2Pac                                                 Definition Of A Thug N***a                         SR0000260354                   UMG Recordings, Inc.
  4212   2Pac                                                 Dopefiend's Diner                                  SR0000627960                   UMG Recordings, Inc.
  4213   2Pac                                                 Fuck The World                                     SR0000198774                   UMG Recordings, Inc.
  4214   2Pac                                                 Ghetto Gospel                                      SR0000366107                   UMG Recordings, Inc.
  4215   2Pac                                                 Hail Mary                                          SR0000230629                   UMG Recordings, Inc.
  4216   2Pac                                                 Heavy In The Game                                  SR0000198774                   UMG Recordings, Inc.
  4217   2Pac                                                 How Do U Want It                                   SR0000331786                   UMG Recordings, Inc.
  4218   2Pac                                                 I Ain't Mad At Cha                                 SR0000331786                   UMG Recordings, Inc.
  4219   2Pac                                                 If I Die 2Nite                                     SR0000198774                   UMG Recordings, Inc.
  4220   2Pac                                                 It Ain't Easy                                      SR0000198774                   UMG Recordings, Inc.
  4221   2Pac                                                 Keep Ya Head Up                                    SR0000152641                   UMG Recordings, Inc.
  4222   2Pac                                                 Lord Knows                                         SR0000198774                   UMG Recordings, Inc.
  4223   2Pac                                                 Me Against The World                               SR0000198774                   UMG Recordings, Inc.
  4224   2Pac                                                 Never Call U B**** Again                           SR0000323532                   UMG Recordings, Inc.
  4225   2Pac                                                 Old School                                         SR0000198774                   UMG Recordings, Inc.
  4226   2Pac                                                 Resist The Temptation                              SR0000628434                   UMG Recordings, Inc.
  4227   2Pac                                                 So Many Tears                                      SR0000198774                   UMG Recordings, Inc.
  4228   2Pac                                                 Still Ballin'                                      SR0000323532                   UMG Recordings, Inc.
  4229   2Pac                                                 Temptations                                        SR0000198774                   UMG Recordings, Inc.
  4230   2Pac                                                 They Don't Give A F**** About Us                   SR0000323532                   UMG Recordings, Inc.
  4231   2Pac                                                 Thugz Mansion                                      SR0000323532                   UMG Recordings, Inc.
  4232   2Pac                                                 Trapped                                            SR0000172261                   UMG Recordings, Inc.
  4233   2Pac                                                 Unconditional Love                                 SR0000246223                   UMG Recordings, Inc.
  4234   2Pac                                                 Until The End Of Time                              SR0000295873                   UMG Recordings, Inc.
  4235   2Pac                                                 When I Get Free                                    SR0000260354                   UMG Recordings, Inc.
  4236   2Pac                                                 Young Niggaz                                       SR0000198774                   UMG Recordings, Inc.
  4237   50 Cent                                              21 Questions (Explicit)                            SR0000332595                   UMG Recordings, Inc.
  4238   50 Cent                                              8 More Miles                                       SR0000338743                   UMG Recordings, Inc.
  4239   50 Cent                                              A Baltimore Love Thing                             SR0000366051                   UMG Recordings, Inc.
  4240   50 Cent                                              All Of Me                                          SR0000611234                   UMG Recordings, Inc.
  4241   50 Cent                                              Amusement Park                                     SR0000611234                   UMG Recordings, Inc.
  4242   50 Cent                                              Back Down                                          SR0000337801                   UMG Recordings, Inc.
  4243   50 Cent                                              Blood Hound                                        SR0000337801                   UMG Recordings, Inc.
  4244   50 Cent                                              Build You Up                                       SR0000366051                   UMG Recordings, Inc.
  4245   50 Cent                                              Candy Shop                                         SR0000366051                   UMG Recordings, Inc.
  4246   50 Cent                                              Come & Go                                          SR0000611234                   UMG Recordings, Inc.
  4247   50 Cent                                              Curtis 187                                         SR0000611234                   UMG Recordings, Inc.
  4248   50 Cent                                              Disco Inferno                                      SR0000366950                   UMG Recordings, Inc.
  4249   50 Cent                                              Don't Push Me                                      SR0000337801                   UMG Recordings, Inc.
  4250   50 Cent                                              Fire                                               SR0000611234                   UMG Recordings, Inc.
  4251   50 Cent                                              Follow My Lead                                     SR0000611234                   UMG Recordings, Inc.
  4252   50 Cent                                              Fully Loaded Clip                                  SR0000611234                   UMG Recordings, Inc.
  4253   50 Cent                                              GATman And Robbin                                  SR0000366051                   UMG Recordings, Inc.
  4254   50 Cent                                              Get In My Car                                      SR0000366051                   UMG Recordings, Inc.
  4255   50 Cent                                              God Gave Me Style                                  SR0000366051                   UMG Recordings, Inc.
  4256   50 Cent                                              Gotta Make It To Heaven                            SR0000337801                   UMG Recordings, Inc.
  4257   50 Cent                                              Gunz Come Out                                      SR0000366051                   UMG Recordings, Inc.
  4258   50 Cent                                              Hate It Or Love It                                 SR0000366051                   UMG Recordings, Inc.
  4259   50 Cent                                              Heat                                               SR0000337801                   UMG Recordings, Inc.
  4260   50 Cent                                              High All The Time                                  SR0000337801                   UMG Recordings, Inc.
  4261   50 Cent                                              Hustler's Ambition                                 SR0000382030                   UMG Recordings, Inc.
  4262   50 Cent                                              I Don't Need 'Em                                   SR0000366051                   UMG Recordings, Inc.
  4263   50 Cent                                              I Get Money                                        SR0000610389                   UMG Recordings, Inc.
  4264   50 Cent                                              If I Can't                                         SR0000337801                   UMG Recordings, Inc.
  4265   50 Cent                                              I'll Still Kill                                    SR0000611234                   UMG Recordings, Inc.
  4266   50 Cent                                              I'm Supposed To Die Tonight                        SR0000366051                   UMG Recordings, Inc.
  4267   50 Cent                                              In My Hood                                         SR0000366051                   UMG Recordings, Inc.
  4268   50 Cent                                              Intro                                              SR0000611234                   UMG Recordings, Inc.
  4269   50 Cent                                              Intro/ 50 Cent/ The Massacre                       SR0000366051                   UMG Recordings, Inc.
  4270   50 Cent                                              Just A Lil Bit                                     SR0000366051                   UMG Recordings, Inc.
  4271   50 Cent                                              Lifes On The Line                                  SR0000337801                   UMG Recordings, Inc.
  4272   50 Cent                                              Like My Style                                      SR0000337801                   UMG Recordings, Inc.
  4273   50 Cent                                              Man Down                                           SR0000611234                   UMG Recordings, Inc.
  4274   50 Cent                                              Many Men (Wish Death)                              SR0000337801                   UMG Recordings, Inc.
  4275   50 Cent                                              Movin On Up                                        SR0000611234                   UMG Recordings, Inc.
  4276   50 Cent                                              My Gun Go Off                                      SR0000611234                   UMG Recordings, Inc.
  4277   50 Cent                                              My Toy Soldier                                     SR0000366051                   UMG Recordings, Inc.
  4278   50 Cent                                              Outta Control                                      SR0000366051                   UMG Recordings, Inc.
  4279   50 Cent                                              P.I.M.P.                                           SR0000337801                   UMG Recordings, Inc.
  4280   50 Cent                                              Patiently Waiting                                  SR0000337801                   UMG Recordings, Inc.
  4281   50 Cent                                              Peep Show                                          SR0000611234                   UMG Recordings, Inc.


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                                   Artist                                                Track                              Registration Number                     Plaintiff
  4282   50 Cent                                              Piggy Bank                                           SR0000366051                   UMG Recordings, Inc.
  4283   50 Cent                                              Poor Lil Rich                                        SR0000337801                   UMG Recordings, Inc.
  4284   50 Cent                                              Position Of Power                                    SR0000366051                   UMG Recordings, Inc.
  4285   50 Cent                                              Ryder Music                                          SR0000366051                   UMG Recordings, Inc.
  4286   50 Cent                                              Ski Mask Way                                         SR0000366051                   UMG Recordings, Inc.
  4287   50 Cent                                              So Amazing                                           SR0000366051                   UMG Recordings, Inc.
  4288   50 Cent                                              Straight To The Bank                                 SR0000611234                   UMG Recordings, Inc.
  4289   50 Cent                                              This Is 50                                           SR0000366051                   UMG Recordings, Inc.
  4290   50 Cent                                              Touch The Sky                                        SR0000611234                   UMG Recordings, Inc.
  4291   50 Cent                                              U Not Like Me                                        SR0000337801                   UMG Recordings, Inc.
  4292   50 Cent                                              Wanksta                                              SR0000322706                   UMG Recordings, Inc.
  4293   50 Cent                                              What Up Gangsta                                      SR0000337801                   UMG Recordings, Inc.
  4294   A Perfect Circle                                     A Stranger                                           SR0000341312                   UMG Recordings, Inc.
  4295   A Perfect Circle                                     Crimes                                               SR0000341312                   UMG Recordings, Inc.
  4296   A Perfect Circle                                     Gravity                                              SR0000341312                   UMG Recordings, Inc.
  4297   A Perfect Circle                                     Lullaby                                              SR0000341312                   UMG Recordings, Inc.
  4298   A Perfect Circle                                     Pet                                                  SR0000341312                   UMG Recordings, Inc.
  4299   A Perfect Circle                                     The Noose                                            SR0000341312                   UMG Recordings, Inc.
  4300   A Perfect Circle                                     The Nurse Who Loved Me                               SR0000341312                   UMG Recordings, Inc.
  4301   A Perfect Circle                                     Vanishing                                            SR0000341312                   UMG Recordings, Inc.
  4302   A Perfect Circle                                     Weak And Powerless                                   SR0000341312                   UMG Recordings, Inc.
  4303   Ace Hood                                             Beautiful                                            SR0000681567                   UMG Recordings, Inc.
  4304   Ace Hood                                             Bitter World                                         SR0000681567                   UMG Recordings, Inc.
  4305   Ace Hood                                             Body 2 Body                                          SR0000681567                   UMG Recordings, Inc.
  4306   Ace Hood                                             ErrryThang                                           SR0000681567                   UMG Recordings, Inc.
  4307   Ace Hood                                             Go N' Get It                                         SR0000681573                   UMG Recordings, Inc.
  4308   Ace Hood                                             Hustle Hard                                          SR0000674482                   UMG Recordings, Inc.
  4309   Ace Hood                                             Hustle Hard Remix                                    SR0000681569                   UMG Recordings, Inc.
  4310   Ace Hood                                             I Know                                               SR0000681567                   UMG Recordings, Inc.
  4311   Ace Hood                                             King Of The Streets                                  SR0000681567                   UMG Recordings, Inc.
  4312   Ace Hood                                             Letter To My Ex's                                    SR0000681567                   UMG Recordings, Inc.
  4313   Ace Hood                                             Lord Knows                                           SR0000681567                   UMG Recordings, Inc.
  4314   Ace Hood                                             Memory Lane                                          SR0000681567                   UMG Recordings, Inc.
  4315   Ace Hood                                             Real Big                                             SR0000681567                   UMG Recordings, Inc.
  4316   Ace Hood                                             Spoke To My Momma                                    SR0000681567                   UMG Recordings, Inc.
  4317   Ace Hood                                             Tear Da Roof Off                                     SR0000681567                   UMG Recordings, Inc.
  4318   Ace Hood                                             Walk It Like I Talk It                               SR0000681567                   UMG Recordings, Inc.
  4319   Akon                                                 Blown Away                                           SR0000610156                   UMG Recordings, Inc.
  4320   Akon                                                 Gangsta Bop                                          SR0000610156                   UMG Recordings, Inc.
  4321   Akon                                                 I Can't Wait                                         SR0000610156                   UMG Recordings, Inc.
  4322   Akon                                                 Mama Africa                                          SR0000610156                   UMG Recordings, Inc.
  4323   Akon                                                 Never Took The Time                                  SR0000610156                   UMG Recordings, Inc.
  4324   Akon                                                 Once In A While                                      SR0000610156                   UMG Recordings, Inc.
  4325   Akon                                                 Shake Down                                           SR0000610156                   UMG Recordings, Inc.
  4326   Akon                                                 Smack That                                           SR0000411449                   UMG Recordings, Inc.
  4327   Akon                                                 The Rain                                             SR0000610156                   UMG Recordings, Inc.
  4328   Akon                                                 Tired Of Runnin'                                     SR0000610156                   UMG Recordings, Inc.
  4329   Alex Clare                                           Hands Are Clever                                     SR0000700527                   UMG Recordings, Inc.
  4330   Alex Clare                                           Humming Bird                                         SR0000700527                   UMG Recordings, Inc.
  4331   Alex Clare                                           I Love You                                           SR0000700527                   UMG Recordings, Inc.
  4332   Alex Clare                                           I Won't Let You Down                                 SR0000700527                   UMG Recordings, Inc.
  4333   Alex Clare                                           Relax My Beloved                                     SR0000700527                   UMG Recordings, Inc.
  4334   Alex Clare                                           Sanctuary                                            SR0000700527                   UMG Recordings, Inc.
  4335   Alex Clare                                           Treading Water                                       SR0000700527                   UMG Recordings, Inc.
  4336   Alex Clare                                           Up All Night                                         SR0000680301                   UMG Recordings, Inc.
  4337   Alex Clare                                           When Doves Cry                                       SR0000700527                   UMG Recordings, Inc.
  4338   Alex Clare                                           Whispering                                           SR0000700527                   UMG Recordings, Inc.
  4339   Amy Winehouse                                        (There Is) No Greater Love                           SR0000614121                   UMG Recordings, Inc.
  4340   Amy Winehouse                                        A Song For You                                       SR0000695755                   UMG Recordings, Inc.
  4341   Amy Winehouse                                        Amy Amy Amy                                          SR0000614121                   UMG Recordings, Inc.
  4342   Amy Winehouse                                        Best Friends, Right?                                 SR0000695755                   UMG Recordings, Inc.
  4343   Amy Winehouse                                        Between The Cheats                                   SR0000695755                   UMG Recordings, Inc.
  4344   Amy Winehouse                                        Cupid                                                SR0000636832                   UMG Recordings, Inc.
  4345   Amy Winehouse                                        Fuck Me Pumps                                        SR0000614121                   UMG Recordings, Inc.
  4346   Amy Winehouse                                        Half Time                                            SR0000695755                   UMG Recordings, Inc.
  4347   Amy Winehouse                                        Hey Little Rich Girl                                 SR0000636832                   UMG Recordings, Inc.
  4348   Amy Winehouse                                        I Heard Love Is Blind                                SR0000614121                   UMG Recordings, Inc.
  4349   Amy Winehouse                                        In My Bed                                            SR0000614121                   UMG Recordings, Inc.
  4350   Amy Winehouse                                        Intro / Stronger Than Me                             SR0000614121                   UMG Recordings, Inc.
  4351   Amy Winehouse                                        Know You Now                                         SR0000614121                   UMG Recordings, Inc.
  4352   Amy Winehouse                                        Like Smoke                                           SR0000695755                   UMG Recordings, Inc.
  4353   Amy Winehouse                                        Love Is A Losing Game                                SR0000407451                   UMG Recordings, Inc.
  4354   Amy Winehouse                                        Love Is A Losing Game (Demo)                         SR0000636832                   UMG Recordings, Inc.
  4355   Amy Winehouse                                        Me & Mr. Jones                                       SR0000407451                   UMG Recordings, Inc.
  4356   Amy Winehouse                                        Monkey Man                                           SR0000636832                   UMG Recordings, Inc.
  4357   Amy Winehouse                                        Moody's Mood For Love                                SR0000614121                   UMG Recordings, Inc.
  4358   Amy Winehouse                                        Mr Magic (Through The Smoke) (Janice Long Session)   SR0000614121                   UMG Recordings, Inc.
  4359   Amy Winehouse                                        October Song                                         SR0000614121                   UMG Recordings, Inc.
  4360   Amy Winehouse                                        Our Day Will Come                                    SR0000695755                   UMG Recordings, Inc.
  4361   Amy Winehouse                                        Rehab                                                SR0000410095                   UMG Recordings, Inc.
  4362   Amy Winehouse                                        Some Unholy War (Down Tempo)                         SR0000636832                   UMG Recordings, Inc.
  4363   Amy Winehouse                                        Stronger Than Me                                     SR0000614121                   UMG Recordings, Inc.
  4364   Amy Winehouse                                        Take The Box                                         SR0000614121                   UMG Recordings, Inc.
  4365   Amy Winehouse                                        Tears Dry                                            SR0000695755                   UMG Recordings, Inc.
  4366   Amy Winehouse                                        The Girl From Ipanema                                SR0000695755                   UMG Recordings, Inc.
  4367   Amy Winehouse                                        To Know Him Is To Love Him (Live)                    SR0000636832                   UMG Recordings, Inc.


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                                   Artist                                                Track                         Registration Number                     Plaintiff
  4368   Amy Winehouse                                        Valerie                                         SR0000636832                   UMG Recordings, Inc.
  4369   Amy Winehouse                                        What Is It About Men                            SR0000614121                   UMG Recordings, Inc.
  4370   Amy Winehouse                                        Will You Still Love Me Tomorrow?                SR0000695755                   UMG Recordings, Inc.
  4371   Amy Winehouse                                        You Know I'm No Good                            SR0000407451                   UMG Recordings, Inc.
  4372   Amy Winehouse                                        You Sent Me Flying                              SR0000614121                   UMG Recordings, Inc.
  4373   Amy Winehouse                                        You're Wondering Now                            SR0000636832                   UMG Recordings, Inc.
  4374   Ariana Grande                                        The Way                                         SR0000722427                   UMG Recordings, Inc.
  4375   Avant                                                4 Minutes                                       SR0000379553                   UMG Recordings, Inc.
  4376   Avant                                                AV                                              SR0000339561                   UMG Recordings, Inc.
  4377   Avant                                                Call On Me                                      SR0000308368                   UMG Recordings, Inc.
  4378   Avant                                                Destiny                                         SR0000281220                   UMG Recordings, Inc.
  4379   Avant                                                Director                                        SR0000396388                   UMG Recordings, Inc.
  4380   Avant                                                Don't Say No, Just Say Yes                      SR0000341102                   UMG Recordings, Inc.
  4381   Avant                                                Don't Take Your Love Away                       SR0000339561                   UMG Recordings, Inc.
  4382   Avant                                                Everything About You                            SR0000339561                   UMG Recordings, Inc.
  4383   Avant                                                Exclusive                                       SR0000396388                   UMG Recordings, Inc.
  4384   Avant                                                Feast                                           SR0000339561                   UMG Recordings, Inc.
  4385   Avant                                                Flickin'                                        SR0000339561                   UMG Recordings, Inc.
  4386   Avant                                                Get Away                                        SR0000281220                   UMG Recordings, Inc.
  4387   Avant                                                GPSA (Ghetto Public Service Announcement)       SR0000396388                   UMG Recordings, Inc.
  4388   Avant                                                Grown Ass Man                                   SR0000396388                   UMG Recordings, Inc.
  4389   Avant                                                Happy                                           SR0000281220                   UMG Recordings, Inc.
  4390   Avant                                                Have Some Fun                                   SR0000339561                   UMG Recordings, Inc.
  4391   Avant                                                Heaven                                          SR0000339561                   UMG Recordings, Inc.
  4392   Avant                                                Hooked                                          SR0000339561                   UMG Recordings, Inc.
  4393   Avant                                                I Wanna Know                                    SR0000281220                   UMG Recordings, Inc.
  4394   Avant                                                Imagination                                     SR0000396388                   UMG Recordings, Inc.
  4395   Avant                                                Jack & Jill                                     SR0000308368                   UMG Recordings, Inc.
  4396   Avant                                                Let's Make a Deal                               SR0000281220                   UMG Recordings, Inc.
  4397   Avant                                                Lie About Us                                    SR0000396388                   UMG Recordings, Inc.
  4398   Avant                                                Love School                                     SR0000308368                   UMG Recordings, Inc.
  4399   Avant                                                Makin' Good Love                                SR0000308368                   UMG Recordings, Inc.
  4400   Avant                                                Mr. Dream                                       SR0000396388                   UMG Recordings, Inc.
  4401   Avant                                                My First Love                                   SR0000281220                   UMG Recordings, Inc.
  4402   Avant                                                No Limit                                        SR0000308368                   UMG Recordings, Inc.
  4403   Avant                                                Now You Got Someone                             SR0000396388                   UMG Recordings, Inc.
  4404   Avant                                                One Way Street                                  SR0000308368                   UMG Recordings, Inc.
  4405   Avant                                                Ooh Aah                                         SR0000281220                   UMG Recordings, Inc.
  4406   Avant                                                Phone Sex (That's What's Up)                    SR0000339561                   UMG Recordings, Inc.
  4407   Avant                                                Private Room Intro                              SR0000339561                   UMG Recordings, Inc.
  4408   Avant                                                Reaction                                        SR0000281220                   UMG Recordings, Inc.
  4409   Avant                                                Read Your Mind                                  SR0000344351                   UMG Recordings, Inc.
  4410   Avant                                                Right Place, Wrong Time                         SR0000396388                   UMG Recordings, Inc.
  4411   Avant                                                Seems To Be                                     SR0000339561                   UMG Recordings, Inc.
  4412   Avant                                                Separated                                       SR0000281220                   UMG Recordings, Inc.
  4413   Avant                                                Serious                                         SR0000281220                   UMG Recordings, Inc.
  4414   Avant                                                Six In Da Morning                               SR0000308368                   UMG Recordings, Inc.
  4415   Avant                                                So Many Ways                                    SR0000396388                   UMG Recordings, Inc.
  4416   Avant                                                Sorry                                           SR0000308368                   UMG Recordings, Inc.
  4417   Avant                                                Suicide                                         SR0000308368                   UMG Recordings, Inc.
  4418   Avant                                                Thinkin' About You                              SR0000308368                   UMG Recordings, Inc.
  4419   Avant                                                This Is Your Night                              SR0000396388                   UMG Recordings, Inc.
  4420   Avant                                                This Time                                       SR0000281220                   UMG Recordings, Inc.
  4421   Avant                                                Wanna Be Close                                  SR0000339561                   UMG Recordings, Inc.
  4422   Avant                                                What Do You Want                                SR0000308368                   UMG Recordings, Inc.
  4423   Avant                                                Why                                             SR0000281220                   UMG Recordings, Inc.
  4424   Avant                                                With You                                        SR0000396388                   UMG Recordings, Inc.
  4425   Avant                                                You                                             SR0000339561                   UMG Recordings, Inc.
  4426   Avant                                                You Ain't Right                                 SR0000308368                   UMG Recordings, Inc.
  4427   Avant                                                You Got Me                                      SR0000339561                   UMG Recordings, Inc.
  4428   Avant                                                You Know What                                   SR0000378385                   UMG Recordings, Inc.
  4429   Bad Meets Evil                                       A Kiss                                          SR0000678636                   UMG Recordings, Inc.
  4430   Bad Meets Evil                                       Above The Law                                   SR0000678636                   UMG Recordings, Inc.
  4431   Bad Meets Evil                                       Echo                                            SR0000678636                   UMG Recordings, Inc.
  4432   Bad Meets Evil                                       Fast Lane                                       SR0000678637                   UMG Recordings, Inc.
  4433   Bad Meets Evil                                       I'm On Everything                               SR0000678636                   UMG Recordings, Inc.
  4434   Bad Meets Evil                                       Lighters                                        SR0000678636                   UMG Recordings, Inc.
  4435   Bad Meets Evil                                       Living Proof                                    SR0000678636                   UMG Recordings, Inc.
  4436   Bad Meets Evil                                       Loud Noises                                     SR0000678636                   UMG Recordings, Inc.
  4437   Bad Meets Evil                                       Take From Me                                    SR0000678636                   UMG Recordings, Inc.
  4438   Bad Meets Evil                                       The Reunion                                     SR0000678636                   UMG Recordings, Inc.
  4439   Bad Meets Evil                                       Welcome 2 Hell                                  SR0000678636                   UMG Recordings, Inc.
  4440   Bastille                                             Daniel in the Den                               SR0000753441                   UMG Recordings, Inc.
  4441   Bastille                                             Durban Skies                                    SR0000748676                   UMG Recordings, Inc.
  4442   Bastille                                             Flaws                                           SR0000753441                   UMG Recordings, Inc.
  4443   Bastille                                             Get Home                                        SR0000753441                   UMG Recordings, Inc.
  4444   Bastille                                             Haunt                                           SR0000728185                   UMG Recordings, Inc.
  4445   Bastille                                             Icarus                                          SR0000753441                   UMG Recordings, Inc.
  4446   Bastille                                             Laughter Lines                                  SR0000753441                   UMG Recordings, Inc.
  4447   Bastille                                             Laura Palmer (Abbey Road Sessions)              SR0000753441                   UMG Recordings, Inc.
  4448   Bastille                                             Oblivion                                        SR0000753441                   UMG Recordings, Inc.
  4449   Bastille                                             Of The Night                                    SR0000748676                   UMG Recordings, Inc.
  4450   Bastille                                             Overjoyed                                       SR0000728185                   UMG Recordings, Inc.
  4451   Bastille                                             Poet                                            SR0000748676                   UMG Recordings, Inc.
  4452   Bastille                                             Previously On Other People's Heartache...       SR0000748676                   UMG Recordings, Inc.
  4453   Bastille                                             Skulls                                          SR0000748676                   UMG Recordings, Inc.


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                                   Artist                                                Track                            Registration Number                     Plaintiff
  4454   Bastille                                             Sleepsong                                          SR0000748676                   UMG Recordings, Inc.
  4455   Bastille                                             The Draw                                           SR0000748676                   UMG Recordings, Inc.
  4456   Bastille                                             The Silence                                        SR0000753441                   UMG Recordings, Inc.
  4457   Bastille                                             These Streets                                      SR0000753441                   UMG Recordings, Inc.
  4458   Bastille                                             Things We Lost in the Fire                         SR0000753441                   UMG Recordings, Inc.
  4459   Bastille                                             Tuning Out...                                      SR0000748676                   UMG Recordings, Inc.
  4460   Bastille                                             Weight of Living, Pt. I                            SR0000753441                   UMG Recordings, Inc.
  4461   Bastille                                             What Would You Do                                  SR0000748676                   UMG Recordings, Inc.
  4462   Big Sean                                             Beware                                             SR0000730543                   UMG Recordings, Inc.
  4463   Big Sean                                             Celebrity                                          SR0000678630                   UMG Recordings, Inc.
  4464   Big Sean                                             Dance (Ass)                                        SR0000678630                   UMG Recordings, Inc.
  4465   Big Sean                                             Don't Tell Me You Love Me                          SR0000678630                   UMG Recordings, Inc.
  4466   Big Sean                                             Get It                                             SR0000678630                   UMG Recordings, Inc.
  4467   Big Sean                                             High                                               SR0000678630                   UMG Recordings, Inc.
  4468   Big Sean                                             Intro                                              SR0000678630                   UMG Recordings, Inc.
  4469   Big Sean                                             Keys                                               SR0000678630                   UMG Recordings, Inc.
  4470   Big Sean                                             Livin This Life                                    SR0000678630                   UMG Recordings, Inc.
  4471   Big Sean                                             Marvin & Chardonnay                                SR0000678630                   UMG Recordings, Inc.
  4472   Big Sean                                             Memories Pt 2                                      SR0000678630                   UMG Recordings, Inc.
  4473   Big Sean                                             My House                                           SR0000678630                   UMG Recordings, Inc.
  4474   Big Sean                                             So Much More                                       SR0000678630                   UMG Recordings, Inc.
  4475   Big Sean                                             Wait For Me                                        SR0000678630                   UMG Recordings, Inc.
  4476   Big Sean                                             What Goes Around                                   SR0000678632                   UMG Recordings, Inc.
  4477   Billy Currington                                     23 Degrees And South                               SR0000730540                   UMG Recordings, Inc.
  4478   Billy Currington                                     Another Day Without You                            SR0000730540                   UMG Recordings, Inc.
  4479   Billy Currington                                     Banana Pancakes                                    SR0000730540                   UMG Recordings, Inc.
  4480   Billy Currington                                     Closer Tonight                                     SR0000730540                   UMG Recordings, Inc.
  4481   Billy Currington                                     Don't                                              SR0000617590                   UMG Recordings, Inc.
  4482   Billy Currington                                     Every Reason Not To Go                             SR0000617590                   UMG Recordings, Inc.
  4483   Billy Currington                                     Everything                                         SR0000617590                   UMG Recordings, Inc.
  4484   Billy Currington                                     Hallelujah                                         SR0000730540                   UMG Recordings, Inc.
  4485   Billy Currington                                     Hard To Be A Hippie                                SR0000730540                   UMG Recordings, Inc.
  4486   Billy Currington                                     Heal Me                                            SR0000617590                   UMG Recordings, Inc.
  4487   Billy Currington                                     Hey Girl                                           SR0000722290                   UMG Recordings, Inc.
  4488   Billy Currington                                     I Shall Return                                     SR0000617590                   UMG Recordings, Inc.
  4489   Billy Currington                                     Let Me Down Easy                                   SR0000664523                   UMG Recordings, Inc.
  4490   Billy Currington                                     Life, Love And The Meaning Of                      SR0000617590                   UMG Recordings, Inc.
  4491   Billy Currington                                     No One Has Eyes Like You                           SR0000617590                   UMG Recordings, Inc.
  4492   Billy Currington                                     One Way Ticket                                     SR0000730540                   UMG Recordings, Inc.
  4493   Billy Currington                                     People Are Crazy                                   SR0000617590                   UMG Recordings, Inc.
  4494   Billy Currington                                     Swimmin' In Sunshine                               SR0000617590                   UMG Recordings, Inc.
  4495   Billy Currington                                     That's How Country Boys Roll                       SR0000617590                   UMG Recordings, Inc.
  4496   Billy Currington                                     Walk On                                            SR0000617590                   UMG Recordings, Inc.
  4497   Billy Currington                                     We Are Tonight                                     SR0000730540                   UMG Recordings, Inc.
  4498   Billy Currington                                     Wingman                                            SR0000730540                   UMG Recordings, Inc.
  4499   Black Eyed Peas                                      Alive                                              SR0000633587                   UMG Recordings, Inc.
  4500   Black Eyed Peas                                      Another Weekend                                    SR0000633584                   UMG Recordings, Inc.
  4501   Black Eyed Peas                                      Boom Boom Pow                                      SR0000633584                   UMG Recordings, Inc.
  4502   Black Eyed Peas                                      Do It Like This                                    SR0000670148                   UMG Recordings, Inc.
  4503   Black Eyed Peas                                      Don't Bring Me Down                                SR0000633584                   UMG Recordings, Inc.
  4504   Black Eyed Peas                                      Don't Phunk Around                                 SR0000633584                   UMG Recordings, Inc.
  4505   Black Eyed Peas                                      Don't Stop The Party                               SR0000670148                   UMG Recordings, Inc.
  4506   Black Eyed Peas                                      Electric City                                      SR0000633584                   UMG Recordings, Inc.
  4507   Black Eyed Peas                                      I Gotta Feeling                                    SR0000633584                   UMG Recordings, Inc.
  4508   Black Eyed Peas                                      I Gotta Feeling (FMIF Remix)                       SR0000652380                   UMG Recordings, Inc.
  4509   Black Eyed Peas                                      Imma Be                                            SR0000633585                   UMG Recordings, Inc.
  4510   Black Eyed Peas                                      Let's Get Re-Started                               SR0000633584                   UMG Recordings, Inc.
  4511   Black Eyed Peas                                      Light Up The Night                                 SR0000670148                   UMG Recordings, Inc.
  4512   Black Eyed Peas                                      Mare                                               SR0000633584                   UMG Recordings, Inc.
  4513   Black Eyed Peas                                      Meet Me Halfway                                    SR0000633584                   UMG Recordings, Inc.
  4514   Black Eyed Peas                                      Missing You                                        SR0000633584                   UMG Recordings, Inc.
  4515   Black Eyed Peas                                      Now Generation                                     SR0000633584                   UMG Recordings, Inc.
  4516   Black Eyed Peas                                      One Tribe                                          SR0000633584                   UMG Recordings, Inc.
  4517   Black Eyed Peas                                      Out Of My Head                                     SR0000633584                   UMG Recordings, Inc.
  4518   Black Eyed Peas                                      Party All The Time                                 SR0000633584                   UMG Recordings, Inc.
  4519   Black Eyed Peas                                      Pump It Harder                                     SR0000633584                   UMG Recordings, Inc.
  4520   Black Eyed Peas                                      Ring-A-Ling                                        SR0000633584                   UMG Recordings, Inc.
  4521   Black Eyed Peas                                      Rock That Body                                     SR0000633584                   UMG Recordings, Inc.
  4522   Black Eyed Peas                                      Rockin To The Beat                                 SR0000633584                   UMG Recordings, Inc.
  4523   Black Eyed Peas                                      Showdown                                           SR0000633584                   UMG Recordings, Inc.
  4524   Black Eyed Peas                                      Shut Up                                            SR0000347870                   UMG Recordings, Inc.
  4525   Black Eyed Peas                                      Simple Little Melody                               SR0000633584                   UMG Recordings, Inc.
  4526   Black Eyed Peas                                      That's The Joint                                   SR0000633584                   UMG Recordings, Inc.
  4527   Black Eyed Peas                                      The Time (Dirty Bit)                               SR0000717504                   UMG Recordings, Inc.
  4528   Black Eyed Peas                                      Where Ya Wanna Go                                  SR0000633584                   UMG Recordings, Inc.
  4529   Blue October                                         18th Floor Balcony                                 SR0000388117                   UMG Recordings, Inc.
  4530   Blue October                                         Congratulations                                    SR0000388117                   UMG Recordings, Inc.
  4531   Blue October                                         Drilled A Wire Through My Cheek                    SR0000388117                   UMG Recordings, Inc.
  4532   Blue October                                         Everlasting Friend                                 SR0000388117                   UMG Recordings, Inc.
  4533   Blue October                                         Hate Me                                            SR0000388117                   UMG Recordings, Inc.
  4534   Blue October                                         Into The Ocean                                     SR0000388117                   UMG Recordings, Inc.
  4535   Blue October                                         Let It Go                                          SR0000388117                   UMG Recordings, Inc.
  4536   Blue October                                         Overweight                                         SR0000388117                   UMG Recordings, Inc.
  4537   Blue October                                         She's My Ride Home                                 SR0000388117                   UMG Recordings, Inc.
  4538   Blue October                                         Sound Of Pulling Heaven Down                       SR0000388117                   UMG Recordings, Inc.
  4539   Blue October                                         What If We Could                                   SR0000388117                   UMG Recordings, Inc.


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                                 Artist                                                     Track                            Registration Number                     Plaintiff
  4540   Blue October                                         X-Amount Of Words                                     SR0000388117                   UMG Recordings, Inc.
  4541   Blue October                                         You Make Me Smile                                     SR0000615154                   UMG Recordings, Inc.
  4542   Bob Marley                                           Buffalo Soldier                                       SR0000045126                   UMG Recordings, Inc.
  4543   Bob Marley                                           Could You Be Loved                                    SR0000020594                   UMG Recordings, Inc.
  4544   Bob Marley                                           Mr Brown                                              SR0000152585                   UMG Recordings, Inc.
  4545   Bob Marley                                           One Love                                              RE0000926868                   UMG Recordings, Inc.
  4546   Bob Marley                                           Three Little Birds                                    N48538; RE0000926868           UMG Recordings, Inc.
  4547   Bob Marley & The Wailers                             Exodus                                                N48538; RE0000926868           UMG Recordings, Inc.
  4548   Bob Marley & The Wailers                             Get Up, Stand Up                                      NF137; RE0000931699            UMG Recordings, Inc.
  4549   Bob Marley & The Wailers                             Jamming                                               N48538; RE0000926868           UMG Recordings, Inc.
  4550   Bob Marley & The Wailers                             Misty Morning                                         SR0000001122                   UMG Recordings, Inc.
  4551   Bob Marley & The Wailers                             No Woman, No Cry                                      NF2048; RE0000906116           UMG Recordings, Inc.
  4552   Bob Marley & The Wailers                             Rebel Music (3 O'Clock Roadblock)                     RE0000906116                   UMG Recordings, Inc.
  4553   Bob Marley & The Wailers                             Redemption Song                                       SR0000019502                   UMG Recordings, Inc.
  4554   Bob Marley & The Wailers                             Satisfy My Soul                                       SR0000001122                   UMG Recordings, Inc.
  4555   Bob Marley & the Wailers                             So Much Things To Say                                 N48538; RE0000926868           UMG Recordings, Inc.
  4556   Bob Marley & the Wailers                             Stir It Up                                            N8793; RE0000860333            UMG Recordings, Inc.
  4557   Bob Marley & The Wailers                             Time Will Tell                                        SR0000001122                   UMG Recordings, Inc.
  4558   Bob Marley & The Wailers                             Waiting In Vain                                       N48538; RE0000926868           UMG Recordings, Inc.
  4559   Bob Marley & The Wailers                             Who The Cap Fit                                       SR0000323536                   UMG Recordings, Inc.
  4560   Bon Jovi                                             You Give Love A Bad Name                              SR0000071794                   UMG Recordings, Inc.
  4561   Brand New                                            At The Bottom                                         SR0000642061                   UMG Recordings, Inc.
  4562   Brand New                                            Be Gone                                               SR0000642060                   UMG Recordings, Inc.
  4563   Brand New                                            Bed                                                   SR0000642060                   UMG Recordings, Inc.
  4564   Brand New                                            Bought A Bride                                        SR0000642060                   UMG Recordings, Inc.
  4565   Brand New                                            Daisy                                                 SR0000642060                   UMG Recordings, Inc.
  4566   Brand New                                            Gasoline                                              SR0000642060                   UMG Recordings, Inc.
  4567   Brand New                                            In A Jar                                              SR0000642060                   UMG Recordings, Inc.
  4568   Brand New                                            Noro                                                  SR0000642060                   UMG Recordings, Inc.
  4569   Brand New                                            Sink                                                  SR0000642060                   UMG Recordings, Inc.
  4570   Brand New                                            Vices                                                 SR0000642060                   UMG Recordings, Inc.
  4571   Brand New                                            You Stole                                             SR0000642060                   UMG Recordings, Inc.
  4572   Bryan Adams                                          (Everything I Do) I Do It For You                     SR0000133214                   UMG Recordings, Inc.
  4573   Bryan Adams                                          Can't Stop This Thing We Started                      SR0000140512                   UMG Recordings, Inc.
  4574   Bryan Adams                                          Cuts Like A Knife                                     SR0000385401                   UMG Recordings, Inc.
  4575   Bryan Adams                                          Do I Have To Say The Words?                           SR0000140512                   UMG Recordings, Inc.
  4576   Bryan Adams                                          Heat Of The Night                                     SR0000085179                   UMG Recordings, Inc.
  4577   Bryan Adams                                          It's Only Love                                        SR0000058024                   UMG Recordings, Inc.
  4578   Bryan Adams                                          Kids Wanna Rock                                       SR0000058024                   UMG Recordings, Inc.
  4579   Bryan Adams                                          Please Forgive Me                                     SR0000183432                   UMG Recordings, Inc.
  4580   Bryan Adams                                          Run To You                                            SR0000058024                   UMG Recordings, Inc.
  4581   Bryan Adams                                          Somebody                                              SR0000206509                   UMG Recordings, Inc.
  4582   Bryan Adams                                          Summer Of '69                                         SR0000058024                   UMG Recordings, Inc.
  4583   Carly Rae Jepsen                                     Good Time                                             SR0000738473                   UMG Recordings, Inc.
  4584   Chamillionaire                                       Fly As The Sky                                        SR0000381901                   UMG Recordings, Inc.
  4585   Chamillionaire                                       Frontin'                                              SR0000381901                   UMG Recordings, Inc.
  4586   Chamillionaire                                       Grown and Sexy                                        SR0000381901                   UMG Recordings, Inc.
  4587   Chamillionaire                                       In The Trunk                                          SR0000381901                   UMG Recordings, Inc.
  4588   Chamillionaire                                       No Snitchin'                                          SR0000381901                   UMG Recordings, Inc.
  4589   Chamillionaire                                       Outro                                                 SR0000381901                   UMG Recordings, Inc.
  4590   Chamillionaire                                       Peepin' Me                                            SR0000381901                   UMG Recordings, Inc.
  4591   Chamillionaire                                       Picture Perfect                                       SR0000381901                   UMG Recordings, Inc.
  4592   Chamillionaire                                       Radio Interruption                                    SR0000381901                   UMG Recordings, Inc.
  4593   Chamillionaire                                       Rain                                                  SR0000381901                   UMG Recordings, Inc.
  4594   Chamillionaire                                       Ridin'                                                SR0000381901                   UMG Recordings, Inc.
  4595   Chamillionaire                                       Southern Takeover                                     SR0000381901                   UMG Recordings, Inc.
  4596   Chamillionaire                                       Think I'm Crazy                                       SR0000381901                   UMG Recordings, Inc.
  4597   Chamillionaire                                       Turn It Up                                            SR0000381901                   UMG Recordings, Inc.
  4598   Chamillionaire                                       Void In My Life                                       SR0000381901                   UMG Recordings, Inc.
  4599   Chrisette Michele                                    All I Ever Think About                                SR0000631429                   UMG Recordings, Inc.
  4600   Chrisette Michele                                    Another One                                           SR0000631429                   UMG Recordings, Inc.
  4601   Chrisette Michele                                    Epiphany (Radio)                                      SR0000631427                   UMG Recordings, Inc.
  4602   Chrisette Michele                                    Fragile                                               SR0000631429                   UMG Recordings, Inc.
  4603   Chrisette Michele                                    I'm Okay                                              SR0000631429                   UMG Recordings, Inc.
  4604   Chrisette Michele                                    Mr. Right                                             SR0000631429                   UMG Recordings, Inc.
  4605   Chrisette Michele                                    Notebook                                              SR0000631429                   UMG Recordings, Inc.
  4606   Chrisette Michele                                    On My Own                                             SR0000631429                   UMG Recordings, Inc.
  4607   Chrisette Michele                                    Playin' Our Song                                      SR0000631429                   UMG Recordings, Inc.
  4608   Chrisette Michele                                    Porcelain Doll                                        SR0000631429                   UMG Recordings, Inc.
  4609   Colbie Caillat                                       Battle                                                SR0000620297                   UMG Recordings, Inc.
  4610   Colbie Caillat                                       Begin Again                                           SR0000637479                   UMG Recordings, Inc.
  4611   Colbie Caillat                                       Brand New Me                                          SR0000619237                   UMG Recordings, Inc.
  4612   Colbie Caillat                                       Break Through                                         SR0000637479                   UMG Recordings, Inc.
  4613   Colbie Caillat                                       Breakin' At The Cracks                                SR0000637479                   UMG Recordings, Inc.
  4614   Colbie Caillat                                       Bubbly                                                SR0000620298                   UMG Recordings, Inc.
  4615   Colbie Caillat                                       Capri                                                 SR0000620297                   UMG Recordings, Inc.
  4616   Colbie Caillat                                       Circles                                               SR0000619237                   UMG Recordings, Inc.
  4617   Colbie Caillat                                       Don't Hold Me Down                                    SR0000637479                   UMG Recordings, Inc.
  4618   Colbie Caillat                                       Droplets                                              SR0000637479                   UMG Recordings, Inc.
  4619   Colbie Caillat                                       Fallin' For You                                       SR0000637478                   UMG Recordings, Inc.
  4620   Colbie Caillat                                       Fearless                                              SR0000637479                   UMG Recordings, Inc.
  4621   Colbie Caillat                                       Feelings Show                                         SR0000620297                   UMG Recordings, Inc.
  4622   Colbie Caillat                                       Hold Your Head High                                   SR0000637479                   UMG Recordings, Inc.
  4623   Colbie Caillat                                       Hoy Me Voy                                            SR0000619237                   UMG Recordings, Inc.
  4624   Colbie Caillat                                       I Never Told You                                      SR0000637479                   UMG Recordings, Inc.
  4625   Colbie Caillat                                       I Won't                                               SR0000637479                   UMG Recordings, Inc.


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                                   Artist                                                 Track                            Registration Number                     Plaintiff
  4626   Colbie Caillat                                       It Stops Today                                      SR0000637479                   UMG Recordings, Inc.
  4627   Colbie Caillat                                       Magic                                               SR0000620297                   UMG Recordings, Inc.
  4628   Colbie Caillat                                       Midnight Bottle                                     SR0000620297                   UMG Recordings, Inc.
  4629   Colbie Caillat                                       Never Let You Go                                    SR0000637479                   UMG Recordings, Inc.
  4630   Colbie Caillat                                       One Fine Wire                                       SR0000620297                   UMG Recordings, Inc.
  4631   Colbie Caillat                                       Out of My Mind                                      SR0000637479                   UMG Recordings, Inc.
  4632   Colbie Caillat                                       Oxygen                                              SR0000620297                   UMG Recordings, Inc.
  4633   Colbie Caillat                                       Rainbow                                             SR0000637479                   UMG Recordings, Inc.
  4634   Colbie Caillat                                       Realize                                             SR0000620297                   UMG Recordings, Inc.
  4635   Colbie Caillat                                       Runnin' Around                                      SR0000637479                   UMG Recordings, Inc.
  4636   Colbie Caillat                                       Somethin' Special                                   SR0000615614                   UMG Recordings, Inc.
  4637   Colbie Caillat                                       Stay With Me                                        SR0000637479                   UMG Recordings, Inc.
  4638   Colbie Caillat                                       Tailor Made                                         SR0000620297                   UMG Recordings, Inc.
  4639   Colbie Caillat                                       Tell Him                                            SR0000619237                   UMG Recordings, Inc.
  4640   Colbie Caillat                                       The Little Things                                   SR0000620297                   UMG Recordings, Inc.
  4641   Colbie Caillat                                       Tied Down                                           SR0000620297                   UMG Recordings, Inc.
  4642   Colbie Caillat                                       Turn Your Lights Down Low                           SR0000619237                   UMG Recordings, Inc.
  4643   Colbie Caillat                                       What I Wanted to Say                                SR0000637479                   UMG Recordings, Inc.
  4644   Colbie Caillat                                       You Got Me                                          SR0000637479                   UMG Recordings, Inc.
  4645   Counting Crows                                       A Murder Of One                                     SR0000172267                   UMG Recordings, Inc.
  4646   Counting Crows                                       Anna Begins                                         SR0000345378                   UMG Recordings, Inc.
  4647   Counting Crows                                       Ghost Train                                         SR0000172267                   UMG Recordings, Inc.
  4648   Counting Crows                                       Mr. Jones                                           SR0000172267                   UMG Recordings, Inc.
  4649   Counting Crows                                       Omaha                                               SR0000172267                   UMG Recordings, Inc.
  4650   Counting Crows                                       Perfect Blue Buildings                              SR0000172267                   UMG Recordings, Inc.
  4651   Counting Crows                                       Rain King                                           SR0000345378                   UMG Recordings, Inc.
  4652   Counting Crows                                       Raining In Baltimore                                SR0000172267                   UMG Recordings, Inc.
  4653   Counting Crows                                       Round Here                                          SR0000172267                   UMG Recordings, Inc.
  4654   Counting Crows                                       Sullivan Street                                     SR0000172267                   UMG Recordings, Inc.
  4655   Counting Crows                                       Time And Time Again                                 SR0000172267                   UMG Recordings, Inc.
  4656   Daniel Bedingfield                                   Blown It Again                                      SR0000321977                   UMG Recordings, Inc.
  4657   Daniel Bedingfield                                   Friday                                              SR0000321977                   UMG Recordings, Inc.
  4658   Daniel Bedingfield                                   Girlfriend                                          SR0000321977                   UMG Recordings, Inc.
  4659   Daniel Bedingfield                                   He Don't Love You Like I Love You                   SR0000321977                   UMG Recordings, Inc.
  4660   Daniel Bedingfield                                   Honest Questions                                    SR0000321977                   UMG Recordings, Inc.
  4661   Daniel Bedingfield                                   Inflate My Ego                                      SR0000321977                   UMG Recordings, Inc.
  4662   Daniel Bedingfield                                   James Dean (I Wanna Know)                           SR0000321977                   UMG Recordings, Inc.
  4663   Daniel Bedingfield                                   Without The Girl                                    SR0000321977                   UMG Recordings, Inc.
  4664   Disclosure                                           Latch                                               SR0000724303                   UMG Recordings, Inc.
  4665   Dr. Dre                                              I Need A Doctor                                     SR0000674469                   UMG Recordings, Inc.
  4666   Duffy                                                Delayed Devotion                                    SR0000613340                   UMG Recordings, Inc.
  4667   Duffy                                                Distant Dreamer                                     SR0000613340                   UMG Recordings, Inc.
  4668   Duffy                                                Hanging On Too Long                                 SR0000613340                   UMG Recordings, Inc.
  4669   Duffy                                                I'm Scared                                          SR0000613340                   UMG Recordings, Inc.
  4670   Duffy                                                Mercy                                               SR0000613340                   UMG Recordings, Inc.
  4671   Duffy                                                Rockferry                                           SR0000613340                   UMG Recordings, Inc.
  4672   Duffy                                                Serious                                             SR0000613340                   UMG Recordings, Inc.
  4673   Duffy                                                Stepping Stone                                      SR0000613340                   UMG Recordings, Inc.
  4674   Duffy                                                Syrup & Honey                                       SR0000613340                   UMG Recordings, Inc.
  4675   Duffy                                                Warwick Avenue                                      SR0000613340                   UMG Recordings, Inc.
  4676   Easton Corbin                                        A Thing For You                                     SR0000709974                   UMG Recordings, Inc.
  4677   Easton Corbin                                        All Over The Road                                   SR0000709974                   UMG Recordings, Inc.
  4678   Easton Corbin                                        Are You With Me                                     SR0000709974                   UMG Recordings, Inc.
  4679   Easton Corbin                                        Dance Real Slow                                     SR0000709974                   UMG Recordings, Inc.
  4680   Easton Corbin                                        Hearts Drawn In The Sand                            SR0000709972                   UMG Recordings, Inc.
  4681   Easton Corbin                                        I Think Of You                                      SR0000709974                   UMG Recordings, Inc.
  4682   Easton Corbin                                        Lovin' You Is Fun                                   SR0000699451                   UMG Recordings, Inc.
  4683   Easton Corbin                                        Only A Girl                                         SR0000710243                   UMG Recordings, Inc.
  4684   Easton Corbin                                        That's Gonna Leave A Memory                         SR0000709974                   UMG Recordings, Inc.
  4685   Easton Corbin                                        This Feels A Lot Like Love                          SR0000709974                   UMG Recordings, Inc.
  4686   Easton Corbin                                        Tulsa Texas                                         SR0000709974                   UMG Recordings, Inc.
  4687   Eli Young Band                                       Every Other Memory                                  SR0000684024                   UMG Recordings, Inc.
  4688   Eli Young Band                                       How Quickly You Forget                              SR0000684024                   UMG Recordings, Inc.
  4689   Eli Young Band                                       Life At Best                                        SR0000684024                   UMG Recordings, Inc.
  4690   Eli Young Band                                       My Old Man's Son                                    SR0000684024                   UMG Recordings, Inc.
  4691   Eli Young Band                                       On My Way                                           SR0000684024                   UMG Recordings, Inc.
  4692   Eli Young Band                                       Recover                                             SR0000684024                   UMG Recordings, Inc.
  4693   Eli Young Band                                       Say Goodnight                                       SR0000684024                   UMG Recordings, Inc.
  4694   Eli Young Band                                       The Falling                                         SR0000684024                   UMG Recordings, Inc.
  4695   Eli Young Band                                       War On A Desperate Man                              SR0000684024                   UMG Recordings, Inc.
  4696   Ellie Goulding                                       Animal                                              SR0000752677                   UMG Recordings, Inc.
  4697   Ellie Goulding                                       Anything Could Happen                               SR0000709961                   UMG Recordings, Inc.
  4698   Ellie Goulding                                       Atlantis                                            SR0000709960                   UMG Recordings, Inc.
  4699   Ellie Goulding                                       Believe Me                                          SR0000752677                   UMG Recordings, Inc.
  4700   Ellie Goulding                                       Dead In The Water                                   SR0000709960                   UMG Recordings, Inc.
  4701   Ellie Goulding                                       Don't Say A Word                                    SR0000709960                   UMG Recordings, Inc.
  4702   Ellie Goulding                                       Every Time You Go                                   SR0000752677                   UMG Recordings, Inc.
  4703   Ellie Goulding                                       Explosions                                          SR0000709960                   UMG Recordings, Inc.
  4704   Ellie Goulding                                       Figure 8                                            SR0000709960                   UMG Recordings, Inc.
  4705   Ellie Goulding                                       Guns And Horses                                     SR0000752677                   UMG Recordings, Inc.
  4706   Ellie Goulding                                       Halcyon                                             SR0000709960                   UMG Recordings, Inc.
  4707   Ellie Goulding                                       Hanging On                                          SR0000709960                   UMG Recordings, Inc.
  4708   Ellie Goulding                                       Home                                                SR0000752677                   UMG Recordings, Inc.
  4709   Ellie Goulding                                       Human                                               SR0000752677                   UMG Recordings, Inc.
  4710   Ellie Goulding                                       I Know You Care                                     SR0000709960                   UMG Recordings, Inc.
  4711   Ellie Goulding                                       I'll Hold My Breath                                 SR0000671828                   UMG Recordings, Inc.


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                                   Artist                                                   Track                               Registration Number                     Plaintiff
  4712   Ellie Goulding                                       In My City                                               SR0000709960                   UMG Recordings, Inc.
  4713   Ellie Goulding                                       Joy                                                      SR0000709960                   UMG Recordings, Inc.
  4714   Ellie Goulding                                       Lights                                                   SR0000671828                   UMG Recordings, Inc.
  4715   Ellie Goulding                                       Little Dreams                                            SR0000752677                   UMG Recordings, Inc.
  4716   Ellie Goulding                                       My Blood                                                 SR0000709960                   UMG Recordings, Inc.
  4717   Ellie Goulding                                       Only You                                                 SR0000709960                   UMG Recordings, Inc.
  4718   Ellie Goulding                                       Ritual                                                   SR0000709960                   UMG Recordings, Inc.
  4719   Ellie Goulding                                       Roscoe                                                   SR0000752677                   UMG Recordings, Inc.
  4720   Ellie Goulding                                       Salt Skin                                                SR0000752677                   UMG Recordings, Inc.
  4721   Ellie Goulding                                       Starry Eyed                                              SR0000664533                   UMG Recordings, Inc.
  4722   Ellie Goulding                                       The End                                                  SR0000752677                   UMG Recordings, Inc.
  4723   Ellie Goulding                                       The Writer                                               SR0000671828                   UMG Recordings, Inc.
  4724   Ellie Goulding                                       This Love (Will Be Your Downfall)                        SR0000752677                   UMG Recordings, Inc.
  4725   Ellie Goulding                                       Under The Sheets                                         SR0000752677                   UMG Recordings, Inc.
  4726   Ellie Goulding                                       Wish I Stayed                                            SR0000752677                   UMG Recordings, Inc.
  4727   Ellie Goulding                                       Without Your Love                                        SR0000709960                   UMG Recordings, Inc.
  4728   Ellie Goulding                                       Your Biggest Mistake                                     SR0000752677                   UMG Recordings, Inc.
  4729   Ellie Goulding                                       Your Song                                                SR0000752677                   UMG Recordings, Inc.
  4730   Elliott Smith                                        A Question Mark                                          SR0000241677                   UMG Recordings, Inc.
  4731   Elliott Smith                                        Amity                                                    SR0000241677                   UMG Recordings, Inc.
  4732   Elliott Smith                                        Baby Britain                                             SR0000241677                   UMG Recordings, Inc.
  4733   Elliott Smith                                        Better Be Quiet Now                                      SR0000280584                   UMG Recordings, Inc.
  4734   Elliott Smith                                        Bled White                                               SR0000241677                   UMG Recordings, Inc.
  4735   Elliott Smith                                        Bottle Up And Explode!                                   SR0000241677                   UMG Recordings, Inc.
  4736   Elliott Smith                                        Bye                                                      SR0000280584                   UMG Recordings, Inc.
  4737   Elliott Smith                                        Can't Make A Sound                                       SR0000280584                   UMG Recordings, Inc.
  4738   Elliott Smith                                        Colorbars                                                SR0000280584                   UMG Recordings, Inc.
  4739   Elliott Smith                                        Easy Way Out                                             SR0000280584                   UMG Recordings, Inc.
  4740   Elliott Smith                                        Everybody Cares, Everybody Understands                   SR0000241677                   UMG Recordings, Inc.
  4741   Elliott Smith                                        Everything Reminds Me Of Her                             SR0000280584                   UMG Recordings, Inc.
  4742   Elliott Smith                                        I Didn't Understand                                      SR0000241677                   UMG Recordings, Inc.
  4743   Elliott Smith                                        In The Lost And Found (Honky Bach)/The Roost             SR0000280584                   UMG Recordings, Inc.
  4744   Elliott Smith                                        Independence Day                                         SR0000241677                   UMG Recordings, Inc.
  4745   Elliott Smith                                        Junk Bond Trader                                         SR0000280584                   UMG Recordings, Inc.
  4746   Elliott Smith                                        Oh Well, Okay                                            SR0000241677                   UMG Recordings, Inc.
  4747   Elliott Smith                                        Pitseleh                                                 SR0000241677                   UMG Recordings, Inc.
  4748   Elliott Smith                                        Pretty Mary K                                            SR0000280584                   UMG Recordings, Inc.
  4749   Elliott Smith                                        Somebody That I Used To Know                             SR0000280584                   UMG Recordings, Inc.
  4750   Elliott Smith                                        Stupidity Tries                                          SR0000280584                   UMG Recordings, Inc.
  4751   Elliott Smith                                        Sweet Adeline                                            SR0000241677                   UMG Recordings, Inc.
  4752   Elliott Smith                                        Tomorrow Tomorrow                                        SR0000241677                   UMG Recordings, Inc.
  4753   Elliott Smith                                        Waltz #1                                                 SR0000241677                   UMG Recordings, Inc.
  4754   Elliott Smith                                        Wouldn't Mama Be Proud?                                  SR0000280584                   UMG Recordings, Inc.
  4755   Elton John                                           Bennie And The Jets                                      N10950                         UMG Recordings, Inc.
  4756   Elton John                                           Blue Eyes                                                SR0000035166                   UMG Recordings, Inc.
  4757   Elton John                                           Candle In The Wind                                       N10950                         UMG Recordings, Inc.
  4758   Elton John                                           Crocodile Rock                                           N6758                          UMG Recordings, Inc.
  4759   Elton John                                           Daniel                                                   N6759                          UMG Recordings, Inc.
  4760   Elton John                                           Don't Go Breaking My Heart                               N37165                         UMG Recordings, Inc.
  4761   Elton John                                           Don't Let The Sun Go Down On Me                          N0511; RE0000866913            UMG Recordings, Inc.
  4762   Elton John                                           Electricity                                              SR0000388053                   UMG Recordings, Inc.
  4763   Elton John                                           Goodbye Yellow Brick Road                                N10950                         UMG Recordings, Inc.
  4764   Elton John                                           Honky Cat                                                N1989                          UMG Recordings, Inc.
  4765   Elton John                                           I Feel Like A Bullet (In The Gun Of Robert Ford)         N27695                         UMG Recordings, Inc.
  4766   Elton John                                           I Guess That's Why They Call It The Blues                SR0000045784                   UMG Recordings, Inc.
  4767   Elton John                                           I Want Love                                              SR0000303795                   UMG Recordings, Inc.
  4768   Elton John                                           I'm Still Standing                                       SR0000046348                   UMG Recordings, Inc.
  4769   Elton John                                           Little Jeannie                                           SR0000023473                   UMG Recordings, Inc.
  4770   Elton John                                           Philadelphia Freedom                                     N22622; RE0000887755           UMG Recordings, Inc.
  4771   Elton John                                           Rocket Man (I Think It's Going To Be A Long Long Time)   N1989                          UMG Recordings, Inc.
  4772   Elton John                                           Sacrifice                                                SR0000107727                   UMG Recordings, Inc.
  4773   Elton John                                           Saturday Night's Alright For Fighting                    N10950                         UMG Recordings, Inc.
  4774   Elton John                                           The Bridge                                               SR0000396048                   UMG Recordings, Inc.
  4775   Elton John                                           This Train Don't Stop There Anymore                      SR0000303795                   UMG Recordings, Inc.
  4776   Elton John                                           Tinderbox                                                SR0000396047                   UMG Recordings, Inc.
  4777   Eminem                                               (Curtains Up - Encore version)                           SR0000364769                   UMG Recordings, Inc.
  4778   Eminem                                               25 To Life                                               SR0000653572                   UMG Recordings, Inc.
  4779   Eminem                                               3 a.m.                                                   SR0000633156                   UMG Recordings, Inc.
  4780   Eminem                                               8 Mile                                                   SR0000322706                   UMG Recordings, Inc.
  4781   Eminem                                               Almost Famous                                            SR0000653572                   UMG Recordings, Inc.
  4782   Eminem                                               Ass Like That                                            SR0000364769                   UMG Recordings, Inc.
  4783   Eminem                                               Beautiful                                                SR0000633152                   UMG Recordings, Inc.
  4784   Eminem                                               Berzerk                                                  SR0000729822                   UMG Recordings, Inc.
  4785   Eminem                                               Big Weenie                                               SR0000364769                   UMG Recordings, Inc.
  4786   Eminem                                               Business                                                 SR0000317924                   UMG Recordings, Inc.
  4787   Eminem                                               Cinderella Man                                           SR0000653572                   UMG Recordings, Inc.
  4788   Eminem                                               Cleanin' Out My Closet                                   SR0000317924                   UMG Recordings, Inc.
  4789   Eminem                                               Cold Wind Blows                                          SR0000653572                   UMG Recordings, Inc.
  4790   Eminem                                               Crack A Bottle                                           SR0000633152                   UMG Recordings, Inc.
  4791   Eminem                                               Crazy In Love                                            SR0000364769                   UMG Recordings, Inc.
  4792   Eminem                                               Curtains Close (Skit)                                    SR0000317924                   UMG Recordings, Inc.
  4793   Eminem                                               Curtains Up                                              SR0000364769                   UMG Recordings, Inc.
  4794   Eminem                                               Drips                                                    SR0000317924                   UMG Recordings, Inc.
  4795   Eminem                                               Em Calls Paul                                            SR0000364769                   UMG Recordings, Inc.
  4796   Eminem                                               Encore                                                   SR0000364769                   UMG Recordings, Inc.
  4797   Eminem                                               Encore / Curtains Up                                     SR0000364769                   UMG Recordings, Inc.


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                                   Artist                                               Track                            Registration Number                     Plaintiff
  4798   Eminem                                               Encore/Curtains Down                              SR0000364769                   UMG Recordings, Inc.
  4799   Eminem                                               Evil Deeds                                        SR0000364769                   UMG Recordings, Inc.
  4800   Eminem                                               FACK                                              SR0000382840                   UMG Recordings, Inc.
  4801   Eminem                                               Final Thought (Skit)                              SR0000364769                   UMG Recordings, Inc.
  4802   Eminem                                               Get You Mad                                       SR0000265774                   UMG Recordings, Inc.
  4803   Eminem                                               Go To Sleep                                       SR0000327127                   UMG Recordings, Inc.
  4804   Eminem                                               Going Through Changes                             SR0000653572                   UMG Recordings, Inc.
  4805   Eminem                                               Guilty Conscience                                 SR0000262686                   UMG Recordings, Inc.
  4806   Eminem                                               Hailie's Song                                     SR0000317924                   UMG Recordings, Inc.
  4807   Eminem                                               Insane                                            SR0000633152                   UMG Recordings, Inc.
  4808   Eminem                                               Intro                                             SR0000382840                   UMG Recordings, Inc.
  4809   Eminem                                               Jimmy Crack Corn                                  SR0000405877                   UMG Recordings, Inc.
  4810   Eminem                                               Just Don't Give A Fuck                            SR0000262686                   UMG Recordings, Inc.
  4811   Eminem                                               Just Lose It                                      SR0000362082                   UMG Recordings, Inc.
  4812   Eminem                                               Like Toy Soldiers                                 SR0000364769                   UMG Recordings, Inc.
  4813   Eminem                                               Lose Yourself                                     SR0000322706                   UMG Recordings, Inc.
  4814   Eminem                                               Love The Way You Lie                              SR0000653572                   UMG Recordings, Inc.
  4815   Eminem                                               Love You More                                     SR0000364769                   UMG Recordings, Inc.
  4816   Eminem                                               Mockingbird                                       SR0000364769                   UMG Recordings, Inc.
  4817   Eminem                                               Mosh                                              SR0000364769                   UMG Recordings, Inc.
  4818   Eminem                                               My 1st Single                                     SR0000364769                   UMG Recordings, Inc.
  4819   Eminem                                               My Dad's Gone Crazy                               SR0000317924                   UMG Recordings, Inc.
  4820   Eminem                                               My Fault                                          SR0000262686                   UMG Recordings, Inc.
  4821   Eminem                                               My Name Is                                        SR0000262686                   UMG Recordings, Inc.
  4822   Eminem                                               Never Enough                                      SR0000364769                   UMG Recordings, Inc.
  4823   Eminem                                               No Apologies                                      SR0000401289                   UMG Recordings, Inc.
  4824   Eminem                                               No Love                                           SR0000653572                   UMG Recordings, Inc.
  4825   Eminem                                               Not Afraid                                        SR0000653571                   UMG Recordings, Inc.
  4826   Eminem                                               On Fire                                           SR0000653572                   UMG Recordings, Inc.
  4827   Eminem                                               One Shot 2 Shot                                   SR0000364769                   UMG Recordings, Inc.
  4828   Eminem                                               Paul                                              SR0000364769                   UMG Recordings, Inc.
  4829   Eminem                                               Paul (Skit)                                       SR0000364769                   UMG Recordings, Inc.
  4830   Eminem                                               Public Enemy #1                                   SR0000401289                   UMG Recordings, Inc.
  4831   Eminem                                               Puke                                              SR0000364769                   UMG Recordings, Inc.
  4832   Eminem                                               Rabbit Run                                        SR0000322706                   UMG Recordings, Inc.
  4833   Eminem                                               Rain Man                                          SR0000364769                   UMG Recordings, Inc.
  4834   Eminem                                               Rap God                                           SR0000735451                   UMG Recordings, Inc.
  4835   Eminem                                               Ricky Ticky Toc                                   SR0000364769                   UMG Recordings, Inc.
  4836   Eminem                                               Ridaz                                             SR0000659181                   UMG Recordings, Inc.
  4837   Eminem                                               Say Goodbye Hollywood                             SR0000317924                   UMG Recordings, Inc.
  4838   Eminem                                               Say What You Say                                  SR0000317924                   UMG Recordings, Inc.
  4839   Eminem                                               Seduction                                         SR0000653572                   UMG Recordings, Inc.
  4840   Eminem                                               Session One                                       SR0000659181                   UMG Recordings, Inc.
  4841   Eminem                                               Shake That                                        SR0000382840                   UMG Recordings, Inc.
  4842   Eminem                                               Sing For The Moment                               SR0000317924                   UMG Recordings, Inc.
  4843   Eminem                                               So Bad                                            SR0000653572                   UMG Recordings, Inc.
  4844   Eminem                                               Soldier                                           SR0000317924                   UMG Recordings, Inc.
  4845   Eminem                                               Space Bound                                       SR0000653572                   UMG Recordings, Inc.
  4846   Eminem                                               Spend Some Time                                   SR0000364769                   UMG Recordings, Inc.
  4847   Eminem                                               Square Dance                                      SR0000317924                   UMG Recordings, Inc.
  4848   Eminem                                               Stay Wide Awake                                   SR0000633152                   UMG Recordings, Inc.
  4849   Eminem                                               Still Don't Give                                  SR0000262686                   UMG Recordings, Inc.
  4850   Eminem                                               Superman                                          SR0000317924                   UMG Recordings, Inc.
  4851   Eminem                                               Survival                                          SR0000735450                   UMG Recordings, Inc.
  4852   Eminem                                               Talkin' 2 Myself                                  SR0000653572                   UMG Recordings, Inc.
  4853   Eminem                                               The Kiss (Skit)                                   SR0000317924                   UMG Recordings, Inc.
  4854   Eminem                                               The Monster                                       SR0000735452                   UMG Recordings, Inc.
  4855   Eminem                                               The Real Slim Shady                               SR0000293541                   UMG Recordings, Inc.
  4856   Eminem                                               The Re-Up                                         SR0000401289                   UMG Recordings, Inc.
  4857   Eminem                                               The Way I Am                                      SR0000287944                   UMG Recordings, Inc.
  4858   Eminem                                               Till I Collapse                                   SR0000317924                   UMG Recordings, Inc.
  4859   Eminem                                               Untitled                                          SR0000653572                   UMG Recordings, Inc.
  4860   Eminem                                               W.T.P.                                            SR0000653572                   UMG Recordings, Inc.
  4861   Eminem                                               We As Americans                                   SR0000364769                   UMG Recordings, Inc.
  4862   Eminem                                               We Made You                                       SR0000633152                   UMG Recordings, Inc.
  4863   Eminem                                               When I'm Gone                                     SR0000382840                   UMG Recordings, Inc.
  4864   Eminem                                               When The Music Stops                              SR0000317924                   UMG Recordings, Inc.
  4865   Eminem                                               White America                                     SR0000317924                   UMG Recordings, Inc.
  4866   Eminem                                               Without Me                                        SR0000317924                   UMG Recordings, Inc.
  4867   Eminem                                               Won't Back Down                                   SR0000653572                   UMG Recordings, Inc.
  4868   Eminem                                               Yellow Brick Road                                 SR0000364769                   UMG Recordings, Inc.
  4869   Eminem                                               You Don't Know                                    SR0000400225                   UMG Recordings, Inc.
  4870   Eminem                                               You're Never Over                                 SR0000653572                   UMG Recordings, Inc.
  4871   Eric Church                                          Give Me Back My Hometown                          SR0000741485                   UMG Recordings, Inc.
  4872   Eric Clapton                                         Cocaine                                           SR0000001112                   UMG Recordings, Inc.
  4873   Eric Clapton                                         I Shot The Sheriff                                N16785                         UMG Recordings, Inc.
  4874   Eric Clapton                                         Knockin' On Heaven's Door                         N25879                         UMG Recordings, Inc.
  4875   Eric Clapton                                         Let It Grow                                       N16809; RE0000866829           UMG Recordings, Inc.
  4876   Eric Clapton                                         Promises                                          SR0000630877                   UMG Recordings, Inc.
  4877   Fall Out Boy                                         Alone Together                                    SR0000720423                   UMG Recordings, Inc.
  4878   Fall Out Boy                                         American Beauty/American Psycho                   SR0000766295                   UMG Recordings, Inc.
  4879   Fall Out Boy                                         Centuries                                         SR0000750127                   UMG Recordings, Inc.
  4880   Fall Out Boy                                         Death Valley                                      SR0000720423                   UMG Recordings, Inc.
  4881   Fall Out Boy                                         Favorite Record                                   SR0000766550                   UMG Recordings, Inc.
  4882   Fall Out Boy                                         Fourth Of July                                    SR0000766550                   UMG Recordings, Inc.
  4883   Fall Out Boy                                         Immortals                                         SR0000766550                   UMG Recordings, Inc.


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                                   Artist                                                  Track                              Registration Number                     Plaintiff
  4884   Fall Out Boy                                         Irresistible                                           SR0000766295                   UMG Recordings, Inc.
  4885   Fall Out Boy                                         Jet Pack Blues                                         SR0000766550                   UMG Recordings, Inc.
  4886   Fall Out Boy                                         Just One Yesterday                                     SR0000720423                   UMG Recordings, Inc.
  4887   Fall Out Boy                                         Miss Missing You                                       SR0000720423                   UMG Recordings, Inc.
  4888   Fall Out Boy                                         My Songs Know What You Did In The Dark (Light Em Up)   SR0000718973                   UMG Recordings, Inc.
  4889   Fall Out Boy                                         Novocaine                                              SR0000766550                   UMG Recordings, Inc.
  4890   Fall Out Boy                                         Rat A Tat                                              SR0000720423                   UMG Recordings, Inc.
  4891   Fall Out Boy                                         Save Rock And Roll                                     SR0000720423                   UMG Recordings, Inc.
  4892   Fall Out Boy                                         The Kids Aren't Alright                                SR0000766934                   UMG Recordings, Inc.
  4893   Fall Out Boy                                         The Mighty Fall                                        SR0000720423                   UMG Recordings, Inc.
  4894   Fall Out Boy                                         The Phoenix                                            SR0000720423                   UMG Recordings, Inc.
  4895   Fall Out Boy                                         Thnks fr th Mmrs                                       SR0000766550                   UMG Recordings, Inc.
  4896   Fall Out Boy                                         Twin Skeleton's (Hotel In NYC)                         SR0000766550                   UMG Recordings, Inc.
  4897   Fall Out Boy                                         Uma Thurman                                            SR0000766286                   UMG Recordings, Inc.
  4898   Fall Out Boy                                         Where Did The Party Go                                 SR0000720423                   UMG Recordings, Inc.
  4899   Fall Out Boy                                         Young Volcanoes                                        SR0000720423                   UMG Recordings, Inc.
  4900   Far East Movement                                    Like A G6                                              SR0000658290                   UMG Recordings, Inc.
  4901   Feist                                                1234                                                   SR0000406935                   UMG Recordings, Inc.
  4902   Feist                                                Brandy Alexander                                       SR0000406936                   UMG Recordings, Inc.
  4903   Feist                                                Gatekeeper                                             SR0000374394                   UMG Recordings, Inc.
  4904   Feist                                                Honey Honey                                            SR0000406936                   UMG Recordings, Inc.
  4905   Feist                                                How My Heart Behaves                                   SR0000406936                   UMG Recordings, Inc.
  4906   Feist                                                I Feel It All                                          SR0000406936                   UMG Recordings, Inc.
  4907   Feist                                                Inside And Out                                         SR0000374394                   UMG Recordings, Inc.
  4908   Feist                                                Intuition                                              SR0000406936                   UMG Recordings, Inc.
  4909   Feist                                                Leisure Suite                                          SR0000374394                   UMG Recordings, Inc.
  4910   Feist                                                Let It Die                                             SR0000374394                   UMG Recordings, Inc.
  4911   Feist                                                Lonely Lonely                                          SR0000374394                   UMG Recordings, Inc.
  4912   Feist                                                Mushaboom                                              SR0000388836                   UMG Recordings, Inc.
  4913   Feist                                                My Moon My Man                                         SR0000620089                   UMG Recordings, Inc.
  4914   Feist                                                Now At Last                                            SR0000374394                   UMG Recordings, Inc.
  4915   Feist                                                One Evening                                            SR0000374394                   UMG Recordings, Inc.
  4916   Feist                                                Past In Present                                        SR0000406936                   UMG Recordings, Inc.
  4917   Feist                                                Sealion                                                SR0000406936                   UMG Recordings, Inc.
  4918   Feist                                                Secret Heart                                           SR0000374394                   UMG Recordings, Inc.
  4919   Feist                                                So Sorry                                               SR0000406936                   UMG Recordings, Inc.
  4920   Feist                                                The Limit To Your Love                                 SR0000406936                   UMG Recordings, Inc.
  4921   Feist                                                The Park                                               SR0000406936                   UMG Recordings, Inc.
  4922   Feist                                                The Water                                              SR0000406936                   UMG Recordings, Inc.
  4923   Feist                                                Tout Doucement                                         SR0000374394                   UMG Recordings, Inc.
  4924   Feist                                                When I Was A Young Girl                                SR0000374394                   UMG Recordings, Inc.
  4925   Fergie                                               All That I Got (The Make Up Song)                      SR0000393675                   UMG Recordings, Inc.
  4926   Fergie                                               Barracuda                                              SR0000613597                   UMG Recordings, Inc.
  4927   Fergie                                               Big Girls Don't Cry (Personal)                         SR0000393675                   UMG Recordings, Inc.
  4928   Fergie                                               Clumsy                                                 SR0000393675                   UMG Recordings, Inc.
  4929   Fergie                                               Fergalicious                                           SR0000393675                   UMG Recordings, Inc.
  4930   Fergie                                               Finally                                                SR0000393675                   UMG Recordings, Inc.
  4931   Fergie                                               Glamorous                                              SR0000393675                   UMG Recordings, Inc.
  4932   Fergie                                               Here I Come                                            SR0000393675                   UMG Recordings, Inc.
  4933   Fergie                                               Labels Or Love                                         SR0000613598                   UMG Recordings, Inc.
  4934   Fergie                                               London Bridge                                          SR0000399946                   UMG Recordings, Inc.
  4935   Fergie                                               Losing My Ground                                       SR0000393675                   UMG Recordings, Inc.
  4936   Fergie                                               Mary Jane Shoes                                        SR0000393675                   UMG Recordings, Inc.
  4937   Fergie                                               Pedestal                                               SR0000393675                   UMG Recordings, Inc.
  4938   Fergie                                               Velvet                                                 SR0000393675                   UMG Recordings, Inc.
  4939   Fergie                                               Voodoo Doll                                            SR0000393675                   UMG Recordings, Inc.
  4940   Flobots                                              Anne Braden                                            SR0000613276                   UMG Recordings, Inc.
  4941   Flobots                                              Combat                                                 SR0000613276                   UMG Recordings, Inc.
  4942   Flobots                                              Fight With Tools                                       SR0000613276                   UMG Recordings, Inc.
  4943   Flobots                                              Mayday!!!                                              SR0000613276                   UMG Recordings, Inc.
  4944   Flobots                                              Never Had It                                           SR0000613276                   UMG Recordings, Inc.
  4945   Flobots                                              Rise                                                   SR0000613276                   UMG Recordings, Inc.
  4946   Flobots                                              Same Thing                                             SR0000613276                   UMG Recordings, Inc.
  4947   Flobots                                              Stand Up                                               SR0000613276                   UMG Recordings, Inc.
  4948   Flobots                                              The Rhythm Method (Move!)                              SR0000613276                   UMG Recordings, Inc.
  4949   Flobots                                              There's A War Going On For Your Mind                   SR0000613276                   UMG Recordings, Inc.
  4950   Flobots                                              We Are Winning                                         SR0000613276                   UMG Recordings, Inc.
  4951   Florence + The Machine                               Between Two Lungs                                      SR0000645045                   UMG Recordings, Inc.
  4952   Florence + The Machine                               Blinding                                               SR0000645045                   UMG Recordings, Inc.
  4953   Florence + The Machine                               Cosmic Love                                            SR0000645045                   UMG Recordings, Inc.
  4954   Florence + The Machine                               Dog Days Are Over                                      SR0000645045                   UMG Recordings, Inc.
  4955   Florence + The Machine                               Girl With One Eye                                      SR0000645045                   UMG Recordings, Inc.
  4956   Florence + The Machine                               Howl                                                   SR0000645045                   UMG Recordings, Inc.
  4957   Florence + The Machine                               Hurricane Drunk                                        SR0000645045                   UMG Recordings, Inc.
  4958   Florence + The Machine                               I'm Not Calling You A Liar                             SR0000645045                   UMG Recordings, Inc.
  4959   Florence + The Machine                               My Boy Builds Coffins                                  SR0000645045                   UMG Recordings, Inc.
  4960   Florence + The Machine                               Rabbit Heart (Raise It Up)                             SR0000645045                   UMG Recordings, Inc.
  4961   Florence + The Machine                               You've Got The Love                                    SR0000645045                   UMG Recordings, Inc.
  4962   Frank Ocean                                          Bad Religion                                           SR0000704928                   UMG Recordings, Inc.
  4963   Frank Ocean                                          Crack Rock                                             SR0000704928                   UMG Recordings, Inc.
  4964   Frank Ocean                                          End                                                    SR0000704928                   UMG Recordings, Inc.
  4965   Frank Ocean                                          Fertilizer                                             SR0000704928                   UMG Recordings, Inc.
  4966   Frank Ocean                                          Forrest Gump                                           SR0000704928                   UMG Recordings, Inc.
  4967   Frank Ocean                                          Lost                                                   SR0000704928                   UMG Recordings, Inc.
  4968   Frank Ocean                                          Monks                                                  SR0000704928                   UMG Recordings, Inc.
  4969   Frank Ocean                                          Not Just Money                                         SR0000704928                   UMG Recordings, Inc.


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                                   Artist                                                   Track                                 Registration Number                     Plaintiff
  4970   Frank Ocean                                          Pilot Jones                                                SR0000704928                   UMG Recordings, Inc.
  4971   Frank Ocean                                          Pink Matter                                                SR0000704928                   UMG Recordings, Inc.
  4972   Frank Ocean                                          Pyramids                                                   SR0000704928                   UMG Recordings, Inc.
  4973   Frank Ocean                                          Sierra Leone                                               SR0000704928                   UMG Recordings, Inc.
  4974   Frank Ocean                                          Start                                                      SR0000704928                   UMG Recordings, Inc.
  4975   Frank Ocean                                          Super Rich Kids                                            SR0000704928                   UMG Recordings, Inc.
  4976   Frank Ocean                                          Sweet Life                                                 SR0000704928                   UMG Recordings, Inc.
  4977   Frank Ocean                                          Thinkin Bout You                                           SR0000699626                   UMG Recordings, Inc.
  4978   Frank Ocean                                          White                                                      SR0000704928                   UMG Recordings, Inc.
  4979   Gary Allan                                           As Long As You're Looking Back                             SR0000613393                   UMG Recordings, Inc.
  4980   Gary Allan                                           Half Of My Mistakes                                        SR0000613393                   UMG Recordings, Inc.
  4981   Gary Allan                                           Like It's A Bad Thing                                      SR0000613393                   UMG Recordings, Inc.
  4982   Gary Allan                                           Living Hard                                                SR0000613393                   UMG Recordings, Inc.
  4983   Gary Allan                                           She's So California                                        SR0000613393                   UMG Recordings, Inc.
  4984   Gary Allan                                           Trying To Matter                                           SR0000613393                   UMG Recordings, Inc.
  4985   Gary Allan                                           Watching Airplanes                                         SR0000613394                   UMG Recordings, Inc.
  4986   Gary Allan                                           We Touched The Sun                                         SR0000613393                   UMG Recordings, Inc.
  4987   Gary Allan                                           Wrecking Ball                                              SR0000613393                   UMG Recordings, Inc.
  4988   Gary Allan                                           Yesterday's Rain                                           SR0000613393                   UMG Recordings, Inc.
  4989   George Strait                                        A Fire I Can't Put Out                                     SR0000213745                   UMG Recordings, Inc.
  4990   George Strait                                        Ace In The Hole                                            SR0000100975                   UMG Recordings, Inc.
  4991   George Strait                                        Adalida                                                    SR0000278184                   UMG Recordings, Inc.
  4992   George Strait                                        All My Ex's Live In Texas                                  SR0000358502                   UMG Recordings, Inc.
  4993   George Strait                                        Am I Blue (Yes I'm Blue)                                   SR0000213745                   UMG Recordings, Inc.
  4994   George Strait                                        Amarillo By Morning                                        SR0000213745                   UMG Recordings, Inc.
  4995   George Strait                                        Baby Blue                                                  SR0000358502                   UMG Recordings, Inc.
  4996   George Strait                                        Baby's Gotten Good At Goodbye                              SR0000100975                   UMG Recordings, Inc.
  4997   George Strait                                        Blue Clear Sky                                             SR0000218886                   UMG Recordings, Inc.
  4998   George Strait                                        Carried Away                                               SR0000358502                   UMG Recordings, Inc.
  4999   George Strait                                        Carrying Your Love With Me                                 SR0000358502                   UMG Recordings, Inc.
  5000   George Strait                                        Check Yes Or No                                            SR0000213745                   UMG Recordings, Inc.
  5001   George Strait                                        Cowboys Like Us                                            SR0000333733                   UMG Recordings, Inc.
  5002   George Strait                                        Desperately                                                SR0000334394                   UMG Recordings, Inc.
  5003   George Strait                                        Does Fort Worth Ever Cross Your Mind                       SR0000213745                   UMG Recordings, Inc.
  5004   George Strait                                        Don't Make Me Come Over There And Love You                 SR0000270094                   UMG Recordings, Inc.
  5005   George Strait                                        Down And Out                                               SR0000030829                   UMG Recordings, Inc.
  5006   George Strait                                        Drinking Champagne                                         SR0000213745                   UMG Recordings, Inc.
  5007   George Strait                                        Easy Come, Easy Go                                         SR0000213745                   UMG Recordings, Inc.
  5008   George Strait                                        Famous Last Words Of A Fool                                SR0000358502                   UMG Recordings, Inc.
  5009   George Strait                                        Fool Hearted Memory                                        SR0000213745                   UMG Recordings, Inc.
  5010   George Strait                                        Go On                                                      SR0000270094                   UMG Recordings, Inc.
  5011   George Strait                                        Gone As A Girl Can Get                                     SR0000141229                   UMG Recordings, Inc.
  5012   George Strait                                        Good News, Bad News                                        SR0000372131                   UMG Recordings, Inc.
  5013   George Strait                                        Heartland                                                  SR0000213745                   UMG Recordings, Inc.
  5014   George Strait                                        How 'Bout Them Cowgirls                                    SR0000398524                   UMG Recordings, Inc.
  5015   George Strait                                        I Can Still Make Cheyenne                                  SR0000358502                   UMG Recordings, Inc.
  5016   George Strait                                        I Cross My Heart                                           SR0000213745                   UMG Recordings, Inc.
  5017   George Strait                                        I Hate Everything                                          SR0000358502                   UMG Recordings, Inc.
  5018   George Strait                                        I Just Want To Dance With You                              SR0000252101                   UMG Recordings, Inc.
  5019   George Strait                                        I Know She Still Loves Me                                  SR0000358502                   UMG Recordings, Inc.
  5020   George Strait                                        I'd Like To Have That One Back                             SR0000178495                   UMG Recordings, Inc.
  5021   George Strait                                        If I Know Me                                               SR0000358502                   UMG Recordings, Inc.
  5022   George Strait                                        If You Ain't Lovin' (You Ain't Livin')                     SR0000213745                   UMG Recordings, Inc.
  5023   George Strait                                        If You Can Do Anything Else                                SR0000270094                   UMG Recordings, Inc.
  5024   George Strait                                        If You're Thinking You Want A Stranger (There's One Coming SR0000030829                   UMG Recordings, Inc.
                                                              Home)
  5025   George Strait                                        It Ain't Cool To Be Crazy About You                        SR0000358502                   UMG Recordings, Inc.
  5026   George Strait                                        I've Come To Expect It From You                            SR0000358502                   UMG Recordings, Inc.
  5027   George Strait                                        Lead On                                                    SR0000358502                   UMG Recordings, Inc.
  5028   George Strait                                        Let's Fall To Pieces Together                              SR0000358502                   UMG Recordings, Inc.
  5029   George Strait                                        Living And Living Well                                     SR0000309691                   UMG Recordings, Inc.
  5030   George Strait                                        Love Without End, Amen                                     SR0000358502                   UMG Recordings, Inc.
  5031   George Strait                                        Marina Del Rey                                             SR0000066434                   UMG Recordings, Inc.
  5032   George Strait                                        Meanwhile                                                  SR0000263154                   UMG Recordings, Inc.
  5033   George Strait                                        Nobody In His Right Mind Would've Left Her                 SR0000077926                   UMG Recordings, Inc.
  5034   George Strait                                        Ocean Front Property                                       SR0000079124                   UMG Recordings, Inc.
  5035   George Strait                                        One Night At A Time                                        SR0000358502                   UMG Recordings, Inc.
  5036   George Strait                                        Overnight Success                                          SR0000100975                   UMG Recordings, Inc.
  5037   George Strait                                        Right Or Wrong                                             SR0000358502                   UMG Recordings, Inc.
  5038   George Strait                                        Round About Way                                            SR0000358502                   UMG Recordings, Inc.
  5039   George Strait                                        Run                                                        SR0000358502                   UMG Recordings, Inc.
  5040   George Strait                                        She Let Herself Go                                         SR0000801476                   UMG Recordings, Inc.
  5041   George Strait                                        She'll Leave You With A Smile                              SR0000358502                   UMG Recordings, Inc.
  5042   George Strait                                        So Much Like My Dad                                        SR0000358502                   UMG Recordings, Inc.
  5043   George Strait                                        The Best Day                                               SR0000278800                   UMG Recordings, Inc.
  5044   George Strait                                        The Big One                                                SR0000358502                   UMG Recordings, Inc.
  5045   George Strait                                        The Chair                                                  SR0000073980                   UMG Recordings, Inc.
  5046   George Strait                                        The Chill Of An Early Fall                                 SR0000128640                   UMG Recordings, Inc.
  5047   George Strait                                        The Cowboy Rides Away                                      SR0000213745                   UMG Recordings, Inc.
  5048   George Strait                                        The Fireman                                                SR0000213745                   UMG Recordings, Inc.
  5049   George Strait                                        The Love Bug                                               SR0000178495                   UMG Recordings, Inc.
  5050   George Strait                                        The Man In Love With You                                   SR0000178495                   UMG Recordings, Inc.
  5051   George Strait                                        The Seashores Of Old Mexico                                SR0000801476                   UMG Recordings, Inc.
  5052   George Strait                                        Today My World Slipped Away                                SR0000278184                   UMG Recordings, Inc.
  5053   George Strait                                        True                                                       SR0000801476                   UMG Recordings, Inc.
  5054   George Strait                                        Unwound                                                    SR0000030829                   UMG Recordings, Inc.


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                                   Artist                                                Track                        Registration Number                     Plaintiff
  5055   George Strait                                        We Really Shouldn't Be Doing This              SR0000278184                   UMG Recordings, Inc.
  5056   George Strait                                        What Do You Say To That                        SR0000263154                   UMG Recordings, Inc.
  5057   George Strait                                        What's Going On In Your World                  SR0000100975                   UMG Recordings, Inc.
  5058   George Strait                                        When Did You Stop Loving Me                    SR0000146421                   UMG Recordings, Inc.
  5059   George Strait                                        Write This Down                                SR0000801476                   UMG Recordings, Inc.
  5060   George Strait                                        You Can't Make A Heart Love Somebody           SR0000200310                   UMG Recordings, Inc.
  5061   George Strait                                        You Know Me Better Than That                   SR0000213745                   UMG Recordings, Inc.
  5062   George Strait                                        You Look So Good In Love                       SR0000213745                   UMG Recordings, Inc.
  5063   George Strait                                        You'll Be There                                SR0000376078                   UMG Recordings, Inc.
  5064   George Strait                                        You're Something Special To Me                 SR0000073980                   UMG Recordings, Inc.
  5065   Gotye                                                Bronte                                         SR0000692982                   UMG Recordings, Inc.
  5066   Gotye                                                Don't Worry, We'll Be Watching You             SR0000692982                   UMG Recordings, Inc.
  5067   Gotye                                                Easy Way Out                                   SR0000692982                   UMG Recordings, Inc.
  5068   Gotye                                                Eyes Wide Open                                 SR0000692982                   UMG Recordings, Inc.
  5069   Gotye                                                Giving Me A Chance                             SR0000692982                   UMG Recordings, Inc.
  5070   Gotye                                                I Feel Better                                  SR0000692982                   UMG Recordings, Inc.
  5071   Gotye                                                In Your Light                                  SR0000692982                   UMG Recordings, Inc.
  5072   Gotye                                                Save Me                                        SR0000692982                   UMG Recordings, Inc.
  5073   Gotye                                                Smoke And Mirrors                              SR0000692982                   UMG Recordings, Inc.
  5074   Gotye                                                Somebody That I Used To Know                   SR0000692982                   UMG Recordings, Inc.
  5075   Gotye                                                State Of The Art                               SR0000692982                   UMG Recordings, Inc.
  5076   Gwen Stefani                                         4 In The Morning                               SR0000400614                   UMG Recordings, Inc.
  5077   Gwen Stefani                                         Breakin' Up                                    SR0000400614                   UMG Recordings, Inc.
  5078   Gwen Stefani                                         Bubble Pop Electric                            SR0000364759                   UMG Recordings, Inc.
  5079   Gwen Stefani                                         Cool                                           SR0000364759                   UMG Recordings, Inc.
  5080   Gwen Stefani                                         Crash                                          SR0000364759                   UMG Recordings, Inc.
  5081   Gwen Stefani                                         Danger Zone                                    SR0000364759                   UMG Recordings, Inc.
  5082   Gwen Stefani                                         Don't Get It Twisted                           SR0000400614                   UMG Recordings, Inc.
  5083   Gwen Stefani                                         Early Winter                                   SR0000400614                   UMG Recordings, Inc.
  5084   Gwen Stefani                                         Fluorescent                                    SR0000400614                   UMG Recordings, Inc.
  5085   Gwen Stefani                                         Harajuku Girls                                 SR0000364759                   UMG Recordings, Inc.
  5086   Gwen Stefani                                         Hollaback Girl                                 SR0000364759                   UMG Recordings, Inc.
  5087   Gwen Stefani                                         Long Way To Go                                 SR0000364759                   UMG Recordings, Inc.
  5088   Gwen Stefani                                         Luxurious                                      SR0000364759                   UMG Recordings, Inc.
  5089   Gwen Stefani                                         Now That You Got It                            SR0000400614                   UMG Recordings, Inc.
  5090   Gwen Stefani                                         Orange County Girl                             SR0000400614                   UMG Recordings, Inc.
  5091   Gwen Stefani                                         Rich Girl                                      SR0000364759                   UMG Recordings, Inc.
  5092   Gwen Stefani                                         Serious                                        SR0000364759                   UMG Recordings, Inc.
  5093   Gwen Stefani                                         The Real Thing                                 SR0000364759                   UMG Recordings, Inc.
  5094   Gwen Stefani                                         The Sweet Escape                               SR0000400614                   UMG Recordings, Inc.
  5095   Gwen Stefani                                         U Started It                                   SR0000400614                   UMG Recordings, Inc.
  5096   Gwen Stefani                                         What You Waiting For?                          SR0000364759                   UMG Recordings, Inc.
  5097   Gwen Stefani                                         Wind It Up                                     SR0000400613                   UMG Recordings, Inc.
  5098   Gwen Stefani                                         Yummy                                          SR0000400614                   UMG Recordings, Inc.
  5099   Hinder                                               Bed Of Roses                                   SR0000617110                   UMG Recordings, Inc.
  5100   Hinder                                               Better Than Me                                 SR0000379192                   UMG Recordings, Inc.
  5101   Hinder                                               Bliss (I Don't Wanna Know)                     SR0000379192                   UMG Recordings, Inc.
  5102   Hinder                                               Born To Be Wild                                SR0000617110                   UMG Recordings, Inc.
  5103   Hinder                                               By The Way                                     SR0000379192                   UMG Recordings, Inc.
  5104   Hinder                                               Far From Home                                  SR0000622802                   UMG Recordings, Inc.
  5105   Hinder                                               Get Stoned                                     SR0000379192                   UMG Recordings, Inc.
  5106   Hinder                                               Heartless                                      SR0000619828                   UMG Recordings, Inc.
  5107   Hinder                                               Heaven Sent                                    SR0000622802                   UMG Recordings, Inc.
  5108   Hinder                                               Homecoming Queen                               SR0000379192                   UMG Recordings, Inc.
  5109   Hinder                                               How Long                                       SR0000379192                   UMG Recordings, Inc.
  5110   Hinder                                               Last Kiss Goodbye                              SR0000622802                   UMG Recordings, Inc.
  5111   Hinder                                               Lips Of An Angel                               SR0000379192                   UMG Recordings, Inc.
  5112   Hinder                                               Live For Today                                 SR0000622802                   UMG Recordings, Inc.
  5113   Hinder                                               Loaded and Alone                               SR0000622802                   UMG Recordings, Inc.
  5114   Hinder                                               Lost In The Sun                                SR0000622802                   UMG Recordings, Inc.
  5115   Hinder                                               Nothin' Good About Goodbye                     SR0000379192                   UMG Recordings, Inc.
  5116   Hinder                                               One Night Stand                                SR0000619828                   UMG Recordings, Inc.
  5117   Hinder                                               Room 21                                        SR0000379192                   UMG Recordings, Inc.
  5118   Hinder                                               Running In The Rain                            SR0000622802                   UMG Recordings, Inc.
  5119   Hinder                                               Shoulda                                        SR0000379192                   UMG Recordings, Inc.
  5120   Hinder                                               Take It To The Limit                           SR0000622802                   UMG Recordings, Inc.
  5121   Hinder                                               Take Me Home Tonight                           SR0000617110                   UMG Recordings, Inc.
  5122   Hinder                                               The Best is Yet to Come                        SR0000622802                   UMG Recordings, Inc.
  5123   Hinder                                               Thing For You                                  SR0000622802                   UMG Recordings, Inc.
  5124   Hinder                                               Thunderstruck                                  SR0000622802                   UMG Recordings, Inc.
  5125   Hinder                                               Up All Night                                   SR0000619214                   UMG Recordings, Inc.
  5126   Hinder                                               Use Me                                         SR0000614599                   UMG Recordings, Inc.
  5127   Hinder                                               Without You                                    SR0000619215                   UMG Recordings, Inc.
  5128   Iggy Azalea                                          Work                                           SR0000720743                   UMG Recordings, Inc.
  5129   Imagine Dragons                                      America                                        SR0000717800                   UMG Recordings, Inc.
  5130   Imagine Dragons                                      Demons                                         SR0000695196                   UMG Recordings, Inc.
  5131   Imagine Dragons                                      Fallen                                         SR0000706680                   UMG Recordings, Inc.
  5132   Imagine Dragons                                      It's Time                                      SR0000695196                   UMG Recordings, Inc.
  5133   Imagine Dragons                                      My Fault                                       SR0000695196                   UMG Recordings, Inc.
  5134   Imagine Dragons                                      Radioactive                                    SR0000695196                   UMG Recordings, Inc.
  5135   Imagine Dragons                                      Round and Round                                SR0000695196                   UMG Recordings, Inc.
  5136   Imagine Dragons                                      Selene                                         SR0000707482                   UMG Recordings, Inc.
  5137   Imagine Dragons                                      The River                                      SR0000707482                   UMG Recordings, Inc.
  5138   Imagine Dragons                                      Working Man                                    SR0000706680                   UMG Recordings, Inc.
  5139   Jadakiss                                             Air It Out                                     SR0000356267                   UMG Recordings, Inc.
  5140   Jadakiss                                             Bring You Down                                 SR0000356267                   UMG Recordings, Inc.


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                                   Artist                                               Track                        Registration Number                     Plaintiff
  5141   Jadakiss                                             Hot Sauce To Go                               SR0000356267                   UMG Recordings, Inc.
  5142   Jadakiss                                             I'm Goin Back                                 SR0000356267                   UMG Recordings, Inc.
  5143   Jadakiss                                             Real Hip Hop                                  SR0000356267                   UMG Recordings, Inc.
  5144   Jadakiss                                             Shine                                         SR0000356267                   UMG Recordings, Inc.
  5145   Jadakiss                                             Still Feel Me                                 SR0000356267                   UMG Recordings, Inc.
  5146   Jadakiss                                             Welcome To D-Block                            SR0000356267                   UMG Recordings, Inc.
  5147   James Blake                                          Give Me My Month                              SR0000673339                   UMG Recordings, Inc.
  5148   James Blake                                          I Mind                                        SR0000673339                   UMG Recordings, Inc.
  5149   James Blake                                          I Never Learnt To Share                       SR0000673339                   UMG Recordings, Inc.
  5150   James Blake                                          Limit To Your Love                            SR0000673339                   UMG Recordings, Inc.
  5151   James Blake                                          Lindisfarne II                                SR0000673339                   UMG Recordings, Inc.
  5152   James Blake                                          Measurements                                  SR0000673339                   UMG Recordings, Inc.
  5153   James Blake                                          To Care (Like You)                            SR0000673339                   UMG Recordings, Inc.
  5154   James Blake                                          Unluck                                        SR0000673339                   UMG Recordings, Inc.
  5155   James Blake                                          Why Don't You Call Me?                        SR0000673339                   UMG Recordings, Inc.
  5156   James Morrison                                       Broken Strings                                SR0000629431                   UMG Recordings, Inc.
  5157   JAY Z                                                Gotta Have It                                 SR0000683714                   UMG Recordings, Inc.
  5158   JAY Z                                                Made In America                               SR0000683714                   UMG Recordings, Inc.
  5159   JAY Z                                                Murder To Excellence                          SR0000683714                   UMG Recordings, Inc.
  5160   JAY Z                                                New Day                                       SR0000683714                   UMG Recordings, Inc.
  5161   JAY Z                                                Ni**as In Paris                               SR0000683714                   UMG Recordings, Inc.
  5162   JAY Z                                                No Church In The Wild                         SR0000683714                   UMG Recordings, Inc.
  5163   JAY Z                                                Otis                                          SR0000683713                   UMG Recordings, Inc.
  5164   JAY Z                                                That's My Bitch                               SR0000683714                   UMG Recordings, Inc.
  5165   JAY Z                                                Welcome To The Jungle                         SR0000683714                   UMG Recordings, Inc.
  5166   JAY Z                                                Who Gon Stop Me                               SR0000683714                   UMG Recordings, Inc.
  5167   JAY Z                                                Why I Love You                                SR0000683714                   UMG Recordings, Inc.
  5168   JAY-Z                                                03' Bonnie & Clyde                            SR0000322448                   UMG Recordings, Inc.
  5169   JAY-Z                                                Renegade                                      SR0000305948                   UMG Recordings, Inc.
  5170   Jennifer Lopez                                       I'm Into You                                  SR0000751797                   UMG Recordings, Inc.
  5171   Jennifer Lopez                                       Papi                                          SR0000676979                   UMG Recordings, Inc.
  5172   Jeremih                                              Down On Me                                    SR0000664544                   UMG Recordings, Inc.
  5173   Jessie J                                             Domino                                        SR0000684339                   UMG Recordings, Inc.
  5174   Jimmy Eat World                                      Drugs Or Me                                   SR0000366508                   UMG Recordings, Inc.
  5175   Jimmy Eat World                                      Futures                                       SR0000366508                   UMG Recordings, Inc.
  5176   Jimmy Eat World                                      Just Tonight                                  SR0000366508                   UMG Recordings, Inc.
  5177   Jimmy Eat World                                      Kill                                          SR0000366508                   UMG Recordings, Inc.
  5178   Jimmy Eat World                                      Night Drive                                   SR0000366508                   UMG Recordings, Inc.
  5179   Jimmy Eat World                                      Nothing Wrong                                 SR0000366508                   UMG Recordings, Inc.
  5180   Jimmy Eat World                                      Polaris                                       SR0000366508                   UMG Recordings, Inc.
  5181   Jimmy Eat World                                      The World You Love                            SR0000366508                   UMG Recordings, Inc.
  5182   Josh Turner                                          All Over Me                                   SR0000645586                   UMG Recordings, Inc.
  5183   Josh Turner                                          Angels Fall Sometimes                         SR0000386947                   UMG Recordings, Inc.
  5184   Josh Turner                                          Another Try                                   SR0000615283                   UMG Recordings, Inc.
  5185   Josh Turner                                          As Fast As I Could                            SR0000645586                   UMG Recordings, Inc.
  5186   Josh Turner                                          Baby, I Go Crazy                              SR0000621056                   UMG Recordings, Inc.
  5187   Josh Turner                                          Baby's Gone Home To Mama                      SR0000386947                   UMG Recordings, Inc.
  5188   Josh Turner                                          Backwoods Boy                                 SR0000344336                   UMG Recordings, Inc.
  5189   Josh Turner                                          Everything Is Fine                            SR0000621055                   UMG Recordings, Inc.
  5190   Josh Turner                                          Eye Candy                                     SR0000645586                   UMG Recordings, Inc.
  5191   Josh Turner                                          Firecracker                                   SR0000621055                   UMG Recordings, Inc.
  5192   Josh Turner                                          Friday Paycheck                               SR0000645586                   UMG Recordings, Inc.
  5193   Josh Turner                                          Good Woman Bad                                SR0000344336                   UMG Recordings, Inc.
  5194   Josh Turner                                          Gravity                                       SR0000381628                   UMG Recordings, Inc.
  5195   Josh Turner                                          Haywire                                       SR0000645586                   UMG Recordings, Inc.
  5196   Josh Turner                                          I Had One One Time                            SR0000344336                   UMG Recordings, Inc.
  5197   Josh Turner                                          I Wouldn't Be A Man                           SR0000645586                   UMG Recordings, Inc.
  5198   Josh Turner                                          I'll Be There                                 SR0000645586                   UMG Recordings, Inc.
  5199   Josh Turner                                          In My Dreams                                  SR0000344336                   UMG Recordings, Inc.
  5200   Josh Turner                                          Jacksonville                                  SR0000344336                   UMG Recordings, Inc.
  5201   Josh Turner                                          Let's Find A Church                           SR0000645586                   UMG Recordings, Inc.
  5202   Josh Turner                                          Long Black Train                              SR0000344336                   UMG Recordings, Inc.
  5203   Josh Turner                                          Lord Have Mercy On A Country Boy              SR0000386947                   UMG Recordings, Inc.
  5204   Josh Turner                                          Loretta Lynn's Lincoln                        SR0000386947                   UMG Recordings, Inc.
  5205   Josh Turner                                          Lovin' You On My Mind                         SR0000645586                   UMG Recordings, Inc.
  5206   Josh Turner                                          Me And God                                    SR0000386947                   UMG Recordings, Inc.
  5207   Josh Turner                                          No Rush                                       SR0000386947                   UMG Recordings, Inc.
  5208   Josh Turner                                          Nowhere Fast                                  SR0000621055                   UMG Recordings, Inc.
  5209   Josh Turner                                          One Woman Man                                 SR0000621055                   UMG Recordings, Inc.
  5210   Josh Turner                                          She'll Go On You                              SR0000344336                   UMG Recordings, Inc.
  5211   Josh Turner                                          So Not My Baby                                SR0000621055                   UMG Recordings, Inc.
  5212   Josh Turner                                          Soulmate                                      SR0000621055                   UMG Recordings, Inc.
  5213   Josh Turner                                          South Carolina Low Country                    SR0000621055                   UMG Recordings, Inc.
  5214   Josh Turner                                          The Answer                                    SR0000645586                   UMG Recordings, Inc.
  5215   Josh Turner                                          The Difference Between A Woman And A Man      SR0000344336                   UMG Recordings, Inc.
  5216   Josh Turner                                          The Longer The Waiting                        SR0000621055                   UMG Recordings, Inc.
  5217   Josh Turner                                          The Way He Was Raised                         SR0000621055                   UMG Recordings, Inc.
  5218   Josh Turner                                          This Kind Of Love                             SR0000645586                   UMG Recordings, Inc.
  5219   Josh Turner                                          Trailerhood                                   SR0000621055                   UMG Recordings, Inc.
  5220   Josh Turner                                          Unburn All Our Bridges                        SR0000344336                   UMG Recordings, Inc.
  5221   Josh Turner                                          Way Down South                                SR0000386947                   UMG Recordings, Inc.
  5222   Josh Turner                                          What It Ain't                                 SR0000344336                   UMG Recordings, Inc.
  5223   Josh Turner                                          White Noise                                   SR0000386947                   UMG Recordings, Inc.
  5224   Josh Turner                                          Why Don't We Just Dance                       SR0000635058                   UMG Recordings, Inc.
  5225   Josh Turner                                          Would You Go With Me                          SR0000615305                   UMG Recordings, Inc.
  5226   Josh Turner                                          You Don't Mess Around With Jim                SR0000344336                   UMG Recordings, Inc.


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                                   Artist                                                  Track                                   Registration Number                     Plaintiff
  5227   Josh Turner                                          Your Man                                                    SR0000386947                   UMG Recordings, Inc.
  5228   Josh Turner                                          Your Smile                                                  SR0000645586                   UMG Recordings, Inc.
  5229   Justin Bieber                                        All Around The World                                        SR0000705166                   UMG Recordings, Inc.
  5230   Justin Bieber                                        All I Want For Christmas Is You (SuperFestive!) Duet with   SR0000704701                   UMG Recordings, Inc.
                                                              Mariah Carey
  5231   Justin Bieber                                        All I Want Is You                                           SR0000704701                   UMG Recordings, Inc.
  5232   Justin Bieber                                        As Long As You Love Me                                      SR0000710074                   UMG Recordings, Inc.
  5233   Justin Bieber                                        Baby                                                        SR0000647660                   UMG Recordings, Inc.
  5234   Justin Bieber                                        Be Alright                                                  SR0000710074                   UMG Recordings, Inc.
  5235   Justin Bieber                                        Beauty And A Beat                                           SR0000710074                   UMG Recordings, Inc.
  5236   Justin Bieber                                        Believe                                                     SR0000704844                   UMG Recordings, Inc.
  5237   Justin Bieber                                        Bigger                                                      SR0000638627                   UMG Recordings, Inc.
  5238   Justin Bieber                                        Boyfriend                                                   SR0000698585                   UMG Recordings, Inc.
  5239   Justin Bieber                                        Catching Feelings                                           SR0000710074                   UMG Recordings, Inc.
  5240   Justin Bieber                                        Christmas Eve                                               SR0000704701                   UMG Recordings, Inc.
  5241   Justin Bieber                                        Christmas Love                                              SR0000704701                   UMG Recordings, Inc.
  5242   Justin Bieber                                        Common Denominator                                          SR0000637163                   UMG Recordings, Inc.
  5243   Justin Bieber                                        Die In Your Arms                                            SR0000705165                   UMG Recordings, Inc.
  5244   Justin Bieber                                        Down To Earth                                               SR0000638627                   UMG Recordings, Inc.
  5245   Justin Bieber                                        Drummer Boy                                                 SR0000704701                   UMG Recordings, Inc.
  5246   Justin Bieber                                        Fa La La                                                    SR0000704701                   UMG Recordings, Inc.
  5247   Justin Bieber                                        Fall                                                        SR0000710074                   UMG Recordings, Inc.
  5248   Justin Bieber                                        Favorite Girl                                               SR0000638627                   UMG Recordings, Inc.
  5249   Justin Bieber                                        First Dance                                                 SR0000638627                   UMG Recordings, Inc.
  5250   Justin Bieber                                        Home This Christmas                                         SR0000704701                   UMG Recordings, Inc.
  5251   Justin Bieber                                        Love Me                                                     SR0000638627                   UMG Recordings, Inc.
  5252   Justin Bieber                                        Maria                                                       SR0000710074                   UMG Recordings, Inc.
  5253   Justin Bieber                                        Mistletoe                                                   SR0000704701                   UMG Recordings, Inc.
  5254   Justin Bieber                                        Never Let You Go                                            SR0000647662                   UMG Recordings, Inc.
  5255   Justin Bieber                                        Never Say Never                                             SR0000659942                   UMG Recordings, Inc.
  5256   Justin Bieber                                        One Less Lonely Girl                                        SR0000636192                   UMG Recordings, Inc.
  5257   Justin Bieber                                        One Love                                                    SR0000710074                   UMG Recordings, Inc.
  5258   Justin Bieber                                        Only Thing I Ever Get For Christmas                         SR0000704701                   UMG Recordings, Inc.
  5259   Justin Bieber                                        Out Of Town Girl                                            SR0000710074                   UMG Recordings, Inc.
  5260   Justin Bieber                                        Overboard                                                   SR0000647657                   UMG Recordings, Inc.
  5261   Justin Bieber                                        Right Here                                                  SR0000710074                   UMG Recordings, Inc.
  5262   Justin Bieber                                        Runaway Love                                                SR0000647657                   UMG Recordings, Inc.
  5263   Justin Bieber                                        Santa Claus Is Coming To Town                               SR0000704701                   UMG Recordings, Inc.
  5264   Justin Bieber                                        She Don't Like The Lights                                   SR0000710074                   UMG Recordings, Inc.
  5265   Justin Bieber                                        Silent Night                                                SR0000704701                   UMG Recordings, Inc.
  5266   Justin Bieber                                        Somebody To Love                                            SR0000647657                   UMG Recordings, Inc.
  5267   Justin Bieber                                        Stuck In The Moment                                         SR0000647657                   UMG Recordings, Inc.
  5268   Justin Bieber                                        Take You                                                    SR0000710074                   UMG Recordings, Inc.
  5269   Justin Bieber                                        That Should Be Me                                           SR0000647657                   UMG Recordings, Inc.
  5270   Justin Bieber                                        The Christmas Song (Chestnuts Roasting On An Open Fire)     SR0000704701                   UMG Recordings, Inc.

  5271   Justin Bieber                                        Thought Of You                                              SR0000710074                   UMG Recordings, Inc.
  5272   Justin Bieber                                        U Smile                                                     SR0000647657                   UMG Recordings, Inc.
  5273   K Camp                                               Cut Her Off                                                 SR0000741940                   UMG Recordings, Inc.
  5274   Kanye West                                           All Of The Lights                                           SR0000683430                   UMG Recordings, Inc.
  5275   Kanye West                                           All Of The Lights (Interlude)                               SR0000683430                   UMG Recordings, Inc.
  5276   Kanye West                                           Bad News                                                    SR0000620203                   UMG Recordings, Inc.
  5277   Kanye West                                           Barry Bonds                                                 SR0000615020                   UMG Recordings, Inc.
  5278   Kanye West                                           Big Brother                                                 SR0000615020                   UMG Recordings, Inc.
  5279   Kanye West                                           Bittersweet Poetry                                          SR0000614872                   UMG Recordings, Inc.
  5280   Kanye West                                           Blame Game                                                  SR0000683430                   UMG Recordings, Inc.
  5281   Kanye West                                           Bound 2                                                     SR0000724178                   UMG Recordings, Inc.
  5282   Kanye West                                           Breathe In Breathe Out                                      SR0000347391                   UMG Recordings, Inc.
  5283   Kanye West                                           Champion                                                    SR0000615020                   UMG Recordings, Inc.
  5284   Kanye West                                           Clique                                                      SR0000763373                   UMG Recordings, Inc.
  5285   Kanye West                                           Cold.1                                                      SR0000683430                   UMG Recordings, Inc.
  5286   Kanye West                                           Coldest Winter                                              SR0000620203                   UMG Recordings, Inc.
  5287   Kanye West                                           Dark Fantasy                                                SR0000683430                   UMG Recordings, Inc.
  5288   Kanye West                                           Devil In A New Dress                                        SR0000683430                   UMG Recordings, Inc.
  5289   Kanye West                                           Diamonds From Sierra Leone                                  SR0000372867                   UMG Recordings, Inc.
  5290   Kanye West                                           Don't Like.1                                                SR0000683430                   UMG Recordings, Inc.
  5291   Kanye West                                           Drunk And Hot Girls                                         SR0000615020                   UMG Recordings, Inc.
  5292   Kanye West                                           Everything I Am                                             SR0000615020                   UMG Recordings, Inc.
  5293   Kanye West                                           Get Em High                                                 SR0000347391                   UMG Recordings, Inc.
  5294   Kanye West                                           Good Morning                                                SR0000615020                   UMG Recordings, Inc.
  5295   Kanye West                                           Gorgeous                                                    SR0000683430                   UMG Recordings, Inc.
  5296   Kanye West                                           Graduation Day                                              SR0000347391                   UMG Recordings, Inc.
  5297   Kanye West                                           Hell Of A Life                                              SR0000683430                   UMG Recordings, Inc.
  5298   Kanye West                                           I Wonder                                                    SR0000615020                   UMG Recordings, Inc.
  5299   Kanye West                                           I'll Fly Away                                               SR0000347391                   UMG Recordings, Inc.
  5300   Kanye West                                           Last Call                                                   SR0000347391                   UMG Recordings, Inc.
  5301   Kanye West                                           Lil Jimmy Skit                                              SR0000347391                   UMG Recordings, Inc.
  5302   Kanye West                                           Lost In The World                                           SR0000683430                   UMG Recordings, Inc.
  5303   Kanye West                                           Mercy                                                       SR0000699408                   UMG Recordings, Inc.
  5304   Kanye West                                           Mercy.1                                                     SR0000763373                   UMG Recordings, Inc.
  5305   Kanye West                                           Monster                                                     SR0000683430                   UMG Recordings, Inc.
  5306   Kanye West                                           Never Let Me Down                                           SR0000347391                   UMG Recordings, Inc.
  5307   Kanye West                                           New God Flow.1                                              SR0000683430                   UMG Recordings, Inc.
  5308   Kanye West                                           Paranoid                                                    SR0000620203                   UMG Recordings, Inc.
  5309   Kanye West                                           Pinocchio Story (Freestyle Live From Singapore)             SR0000620203                   UMG Recordings, Inc.
  5310   Kanye West                                           POWER                                                       SR0000683430                   UMG Recordings, Inc.


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                                   Artist                                                 Track                           Registration Number                     Plaintiff
  5311   Kanye West                                           RoboCop                                            SR0000620203                   UMG Recordings, Inc.
  5312   Kanye West                                           Say You Will                                       SR0000620203                   UMG Recordings, Inc.
  5313   Kanye West                                           School Spirit                                      SR0000347391                   UMG Recordings, Inc.
  5314   Kanye West                                           School Spirit Skit 1                               SR0000347391                   UMG Recordings, Inc.
  5315   Kanye West                                           See Me Now                                         SR0000667365                   UMG Recordings, Inc.
  5316   Kanye West                                           See You In My Nightmares                           SR0000620203                   UMG Recordings, Inc.
  5317   Kanye West                                           Slow Jamz                                          SR0000347391                   UMG Recordings, Inc.
  5318   Kanye West                                           So Appalled                                        SR0000683430                   UMG Recordings, Inc.
  5319   Kanye West                                           Spaceship                                          SR0000347391                   UMG Recordings, Inc.
  5320   Kanye West                                           Street Lights                                      SR0000620203                   UMG Recordings, Inc.
  5321   Kanye West                                           Stronger                                           SR0000615019                   UMG Recordings, Inc.
  5322   Kanye West                                           The Glory                                          SR0000615020                   UMG Recordings, Inc.
  5323   Kanye West                                           The One                                            SR0000763373                   UMG Recordings, Inc.
  5324   Kanye West                                           To The World                                       SR0000763373                   UMG Recordings, Inc.
  5325   Kanye West                                           Two Words                                          SR0000347391                   UMG Recordings, Inc.
  5326   Kanye West                                           Way Too Cold                                       SR0000699415                   UMG Recordings, Inc.
  5327   Kanye West                                           We Don't Care                                      SR0000347391                   UMG Recordings, Inc.
  5328   Kanye West                                           Welcome To Heartbreak                              SR0000620203                   UMG Recordings, Inc.
  5329   Kanye West                                           Who Will Survive In America                        SR0000683430                   UMG Recordings, Inc.
  5330   Kanye West                                           Workout Plan                                       SR0000347391                   UMG Recordings, Inc.
  5331   Keane                                                Snowed Under                                       SR0000637459                   UMG Recordings, Inc.
  5332   Keane                                                Somewhere Only We Know                             SR0000355429                   UMG Recordings, Inc.
  5333   Keane                                                Walnut Tree                                        SR0000737377                   UMG Recordings, Inc.
  5334   Kelly Rowland                                        All Of The Night                                   SR0000681564                   UMG Recordings, Inc.
  5335   Kelly Rowland                                        Commander                                          SR0000658307                   UMG Recordings, Inc.
  5336   Kelly Rowland                                        Down For Whatever                                  SR0000681564                   UMG Recordings, Inc.
  5337   Kelly Rowland                                        Each Other                                         SR0000681564                   UMG Recordings, Inc.
  5338   Kelly Rowland                                        Feelin Me Right Now                                SR0000681564                   UMG Recordings, Inc.
  5339   Kelly Rowland                                        Heaven & Earth                                     SR0000681564                   UMG Recordings, Inc.
  5340   Kelly Rowland                                        I'm Dat Chick                                      SR0000681564                   UMG Recordings, Inc.
  5341   Kelly Rowland                                        Keep It Between Us                                 SR0000681564                   UMG Recordings, Inc.
  5342   Kelly Rowland                                        Lay It On Me                                       SR0000681564                   UMG Recordings, Inc.
  5343   Kelly Rowland                                        Motivation                                         SR0000677261                   UMG Recordings, Inc.
  5344   Kelly Rowland                                        Turn It Up                                         SR0000681564                   UMG Recordings, Inc.
  5345   Kelly Rowland                                        Work It Man                                        SR0000681564                   UMG Recordings, Inc.
  5346   Keri Hilson                                          Alienated                                          SR0000629123                   UMG Recordings, Inc.
  5347   Keri Hilson                                          Change Me                                          SR0000629123                   UMG Recordings, Inc.
  5348   Keri Hilson                                          Energy                                             SR0000612858                   UMG Recordings, Inc.
  5349   Keri Hilson                                          Get Your Money Up                                  SR0000629123                   UMG Recordings, Inc.
  5350   Keri Hilson                                          How Does It Feel                                   SR0000629123                   UMG Recordings, Inc.
  5351   Keri Hilson                                          Intro                                              SR0000629123                   UMG Recordings, Inc.
  5352   Keri Hilson                                          Intuition                                          SR0000629123                   UMG Recordings, Inc.
  5353   Keri Hilson                                          Knock You Down                                     SR0000629123                   UMG Recordings, Inc.
  5354   Keri Hilson                                          Make Love                                          SR0000629123                   UMG Recordings, Inc.
  5355   Keri Hilson                                          Return The Favor                                   SR0000619820                   UMG Recordings, Inc.
  5356   Keri Hilson                                          Slow Dance                                         SR0000629123                   UMG Recordings, Inc.
  5357   Keri Hilson                                          Tell Him The Truth                                 SR0000629123                   UMG Recordings, Inc.
  5358   Keri Hilson                                          Turnin Me On                                       SR0000621818                   UMG Recordings, Inc.
  5359   Keri Hilson                                          Where Did He Go                                    SR0000629123                   UMG Recordings, Inc.
  5360   Keyshia Cole                                         Didn't I Tell You                                  SR0000615233                   UMG Recordings, Inc.
  5361   Keyshia Cole                                         Enough Of No Love                                  SR0000704034                   UMG Recordings, Inc.
  5362   Keyshia Cole                                         Fallin' Out                                        SR0000615233                   UMG Recordings, Inc.
  5363   Keyshia Cole                                         Give Me More                                       SR0000615233                   UMG Recordings, Inc.
  5364   Keyshia Cole                                         Got To Get My Heart Back                           SR0000615233                   UMG Recordings, Inc.
  5365   Keyshia Cole                                         Heaven Sent                                        SR0000615233                   UMG Recordings, Inc.
  5366   Keyshia Cole                                         I Ain't Thru                                       SR0000670139                   UMG Recordings, Inc.
  5367   Keyshia Cole                                         I Remember                                         SR0000615233                   UMG Recordings, Inc.
  5368   Keyshia Cole                                         Just Like You                                      SR0000615233                   UMG Recordings, Inc.
  5369   Keyshia Cole                                         Last Night                                         SR0000615233                   UMG Recordings, Inc.
  5370   Keyshia Cole                                         Losing You                                         SR0000615233                   UMG Recordings, Inc.
  5371   Keyshia Cole                                         Same Thing                                         SR0000615233                   UMG Recordings, Inc.
  5372   Keyshia Cole                                         Shoulda Let You Go                                 SR0000615233                   UMG Recordings, Inc.
  5373   Keyshia Cole                                         Was It Worth It?                                   SR0000615233                   UMG Recordings, Inc.
  5374   Keyshia Cole                                         Work It Out                                        SR0000615233                   UMG Recordings, Inc.
  5375   Kid Cudi                                             Alive (Nightmare)                                  SR0000637865                   UMG Recordings, Inc.
  5376   Kid Cudi                                             All Along                                          SR0000696989                   UMG Recordings, Inc.
  5377   Kid Cudi                                             Ashin' Kusher                                      SR0000696989                   UMG Recordings, Inc.
  5378   Kid Cudi                                             Creepers                                           SR0000763372                   UMG Recordings, Inc.
  5379   Kid Cudi                                             Cudi Zone                                          SR0000637865                   UMG Recordings, Inc.
  5380   Kid Cudi                                             Day 'N' Nite                                       SR0000641952                   UMG Recordings, Inc.
  5381   Kid Cudi                                             Day 'N' Nite (Nightmare)                           SR0000637865                   UMG Recordings, Inc.
  5382   Kid Cudi                                             Don't Play This Song                               SR0000696989                   UMG Recordings, Inc.
  5383   Kid Cudi                                             Enter Galactic (Love Connection Part I)            SR0000637865                   UMG Recordings, Inc.
  5384   Kid Cudi                                             GHOST!                                             SR0000696989                   UMG Recordings, Inc.
  5385   Kid Cudi                                             Heart Of A Lion (Kid Cudi Theme Music)             SR0000637865                   UMG Recordings, Inc.
  5386   Kid Cudi                                             Hyyerr                                             SR0000637865                   UMG Recordings, Inc.
  5387   Kid Cudi                                             In My Dreams (Cudder Anthem)                       SR0000637865                   UMG Recordings, Inc.
  5388   Kid Cudi                                             Is There Any Love                                  SR0000637865                   UMG Recordings, Inc.
  5389   Kid Cudi                                             Make Her Say                                       SR0000641951                   UMG Recordings, Inc.
  5390   Kid Cudi                                             MANIAC                                             SR0000696989                   UMG Recordings, Inc.
  5391   Kid Cudi                                             Marijuana                                          SR0000696989                   UMG Recordings, Inc.
  5392   Kid Cudi                                             Mojo So Dope                                       SR0000696989                   UMG Recordings, Inc.
  5393   Kid Cudi                                             Mr. Rager                                          SR0000695775                   UMG Recordings, Inc.
  5394   Kid Cudi                                             My World                                           SR0000637865                   UMG Recordings, Inc.
  5395   Kid Cudi                                             Pursuit Of Happiness                               SR0000637865                   UMG Recordings, Inc.
  5396   Kid Cudi                                             Revolution (Revofev)                               SR0000696989                   UMG Recordings, Inc.


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                                   Artist                                                  Track                         Registration Number                     Plaintiff
  5397   Kid Cudi                                             Scott Mescudi Vs. The World                       SR0000696989                   UMG Recordings, Inc.
  5398   Kid Cudi                                             Simple As...                                      SR0000637865                   UMG Recordings, Inc.
  5399   Kid Cudi                                             Sky Might Fall                                    SR0000637865                   UMG Recordings, Inc.
  5400   Kid Cudi                                             Solo Dolo (Nightmare)                             SR0000637865                   UMG Recordings, Inc.
  5401   Kid Cudi                                             Soundtrack 2 My Life                              SR0000637865                   UMG Recordings, Inc.
  5402   Kid Cudi                                             T.G.I.F.                                          SR0000637865                   UMG Recordings, Inc.
  5403   Kid Cudi                                             The End                                           SR0000696989                   UMG Recordings, Inc.
  5404   Kid Cudi                                             The Mood                                          SR0000696989                   UMG Recordings, Inc.
  5405   Kid Cudi                                             These Worries                                     SR0000696989                   UMG Recordings, Inc.
  5406   Kid Cudi                                             Trapped In My Mind                                SR0000696989                   UMG Recordings, Inc.
  5407   Kid Cudi                                             Up Up & Away                                      SR0000637865                   UMG Recordings, Inc.
  5408   Kid Cudi                                             We Aite (Wake Your Mind Up)                       SR0000696989                   UMG Recordings, Inc.
  5409   Kid Cudi                                             Wyld'n Cuz I'm Young                              SR0000696989                   UMG Recordings, Inc.
  5410   La Roux                                              Bulletproof                                       SR0000628226                   UMG Recordings, Inc.
  5411   Lady Gaga                                            Again Again                                       SR0000617841                   UMG Recordings, Inc.
  5412   Lady Gaga                                            Alejandro                                         SR0000642917                   UMG Recordings, Inc.
  5413   Lady Gaga                                            Americano                                         SR0000678406                   UMG Recordings, Inc.
  5414   Lady Gaga                                            Bad Kids                                          SR0000678406                   UMG Recordings, Inc.
  5415   Lady Gaga                                            Bad Romance                                       SR0000642919                   UMG Recordings, Inc.
  5416   Lady Gaga                                            Beautiful, Dirty, Rich                            SR0000617842                   UMG Recordings, Inc.
  5417   Lady Gaga                                            Black Jesus (Amen Fashion)                        SR0000678406                   UMG Recordings, Inc.
  5418   Lady Gaga                                            Bloody Mary                                       SR0000678406                   UMG Recordings, Inc.
  5419   Lady Gaga                                            Born This Way                                     SR0000671815                   UMG Recordings, Inc.
  5420   Lady Gaga                                            Born This Way (Country Road Version)              SR0000678406                   UMG Recordings, Inc.
  5421   Lady Gaga                                            Boys Boys Boys                                    SR0000617841                   UMG Recordings, Inc.
  5422   Lady Gaga                                            Brown Eyes                                        SR0000617841                   UMG Recordings, Inc.
  5423   Lady Gaga                                            Christmas Tree                                    SR0000621816                   UMG Recordings, Inc.
  5424   Lady Gaga                                            Dance In The Dark                                 SR0000642917                   UMG Recordings, Inc.
  5425   Lady Gaga                                            Disco Heaven                                      SR0000619254                   UMG Recordings, Inc.
  5426   Lady Gaga                                            Eh, Eh (Nothing Else I Can Say)                   SR0000617841                   UMG Recordings, Inc.
  5427   Lady Gaga                                            Electric Chapel                                   SR0000678406                   UMG Recordings, Inc.
  5428   Lady Gaga                                            Fashion                                           SR0000737557                   UMG Recordings, Inc.
  5429   Lady Gaga                                            Fashion Of His Love                               SR0000678406                   UMG Recordings, Inc.
  5430   Lady Gaga                                            Fashion Of His Love (Fernando Garibay Remix)      SR0000678406                   UMG Recordings, Inc.
  5431   Lady Gaga                                            Government Hooker                                 SR0000678406                   UMG Recordings, Inc.
  5432   Lady Gaga                                            Hair                                              SR0000678406                   UMG Recordings, Inc.
  5433   Lady Gaga                                            Heavy Metal Lover                                 SR0000678406                   UMG Recordings, Inc.
  5434   Lady Gaga                                            Highway Unicorn (Road To Love)                    SR0000678406                   UMG Recordings, Inc.
  5435   Lady Gaga                                            I Like It Rough                                   SR0000617841                   UMG Recordings, Inc.
  5436   Lady Gaga                                            Judas                                             SR0000678407                   UMG Recordings, Inc.
  5437   Lady Gaga                                            Judas (DJ White Shadow Mulger)                    SR0000678406                   UMG Recordings, Inc.
  5438   Lady Gaga                                            Just Dance                                        SR0000613221                   UMG Recordings, Inc.
  5439   Lady Gaga                                            LoveGame                                          SR0000617841                   UMG Recordings, Inc.
  5440   Lady Gaga                                            Marry The Night                                   SR0000678406                   UMG Recordings, Inc.
  5441   Lady Gaga                                            Marry The Night (Zedd Remix)                      SR0000678406                   UMG Recordings, Inc.
  5442   Lady Gaga                                            Money Honey                                       SR0000617841                   UMG Recordings, Inc.
  5443   Lady Gaga                                            Monster                                           SR0000642917                   UMG Recordings, Inc.
  5444   Lady Gaga                                            Paparazzi                                         SR0000617841                   UMG Recordings, Inc.
  5445   Lady Gaga                                            Paparazzi (Radio Edit)                            SR0000617841                   UMG Recordings, Inc.
  5446   Lady Gaga                                            Paper Gangsta                                     SR0000617841                   UMG Recordings, Inc.
  5447   Lady Gaga                                            Poker Face                                        SR0000617843                   UMG Recordings, Inc.
  5448   Lady Gaga                                            Scheiße                                           SR0000678406                   UMG Recordings, Inc.
  5449   Lady Gaga                                            Scheiße (DJ White Shadow Mugler)                  SR0000678406                   UMG Recordings, Inc.
  5450   Lady Gaga                                            So Happy I Could Die                              SR0000642917                   UMG Recordings, Inc.
  5451   Lady Gaga                                            Speechless                                        SR0000642917                   UMG Recordings, Inc.
  5452   Lady Gaga                                            Starstruck                                        SR0000617841                   UMG Recordings, Inc.
  5453   Lady Gaga                                            Summerboy                                         SR0000617841                   UMG Recordings, Inc.
  5454   Lady Gaga                                            Teeth                                             SR0000642917                   UMG Recordings, Inc.
  5455   Lady Gaga                                            Telephone                                         SR0000642917                   UMG Recordings, Inc.
  5456   Lady Gaga                                            The Edge Of Glory                                 SR0000678409                   UMG Recordings, Inc.
  5457   Lady Gaga                                            The Fame                                          SR0000617841                   UMG Recordings, Inc.
  5458   Lady Gaga                                            The Queen                                         SR0000678406                   UMG Recordings, Inc.
  5459   Lady Gaga                                            You & I                                           SR0000678406                   UMG Recordings, Inc.
  5460   Lady Gaga                                            You And I                                         SR0000678406                   UMG Recordings, Inc.
  5461   Lana Del Rey                                         American                                          SR0000712342                   UMG Recordings, Inc.
  5462   Lana Del Rey                                         Bel Air                                           SR0000712342                   UMG Recordings, Inc.
  5463   Lana Del Rey                                         Blue Jeans                                        SR0000412524                   UMG Recordings, Inc.
  5464   Lana Del Rey                                         Blue Velvet                                       SR0000712342                   UMG Recordings, Inc.
  5465   Lana Del Rey                                         Body Electric                                     SR0000712342                   UMG Recordings, Inc.
  5466   Lana Del Rey                                         Born To Die                                       SR0000692991                   UMG Recordings, Inc.
  5467   Lana Del Rey                                         Burning Desire                                    SR0000711860                   UMG Recordings, Inc.
  5468   Lana Del Rey                                         Carmen                                            SR0000692991                   UMG Recordings, Inc.
  5469   Lana Del Rey                                         Cola                                              SR0000712342                   UMG Recordings, Inc.
  5470   Lana Del Rey                                         Dark Paradise                                     SR0000712345                   UMG Recordings, Inc.
  5471   Lana Del Rey                                         Diet Mountain Dew                                 SR0000729848                   UMG Recordings, Inc.
  5472   Lana Del Rey                                         Gods & Monsters                                   SR0000712342; SR0000412525     UMG Recordings, Inc.
  5473   Lana Del Rey                                         Lolita                                            SR0000692991                   UMG Recordings, Inc.
  5474   Lana Del Rey                                         Lucky Ones                                        SR0000692991                   UMG Recordings, Inc.
  5475   Lana Del Rey                                         Million Dollar Man                                SR0000692991                   UMG Recordings, Inc.
  5476   Lana Del Rey                                         National Anthem                                   SR0000692991                   UMG Recordings, Inc.
  5477   Lana Del Rey                                         Off To The Races                                  SR0000412524                   UMG Recordings, Inc.
  5478   Lana Del Rey                                         Radio                                             SR0000692991                   UMG Recordings, Inc.
  5479   Lana Del Rey                                         Ride                                              SR0000711860                   UMG Recordings, Inc.
  5480   Lana Del Rey                                         Summertime Sadness                                SR0000729848                   UMG Recordings, Inc.
  5481   Lana Del Rey                                         This Is What Makes Us Girls                       SR0000692991                   UMG Recordings, Inc.
  5482   Lana Del Rey                                         Video Games                                       SR0000693409                   UMG Recordings, Inc.


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                                   Artist                                                  Track                              Registration Number                     Plaintiff
  5483   Lana Del Rey                                         Without You                                            SR0000692991; SR0000412523     UMG Recordings, Inc.
  5484   Lana Del Rey                                         Yayo                                                   SR0000712342                   UMG Recordings, Inc.
  5485   Ledisi                                               BGTY                                                   SR0000678487                   UMG Recordings, Inc.
  5486   Ledisi                                               Bravo                                                  SR0000678487                   UMG Recordings, Inc.
  5487   Ledisi                                               Coffee                                                 SR0000678487                   UMG Recordings, Inc.
  5488   Ledisi                                               Hate Me                                                SR0000678487                   UMG Recordings, Inc.
  5489   Ledisi                                               I Gotta Get To You                                     SR0000678487                   UMG Recordings, Inc.
  5490   Ledisi                                               I Miss You Now                                         SR0000678487                   UMG Recordings, Inc.
  5491   Ledisi                                               Pieces Of Me                                           SR0000678490                   UMG Recordings, Inc.
  5492   Ledisi                                               Raise Up                                               SR0000678487                   UMG Recordings, Inc.
  5493   Ledisi                                               Shine                                                  SR0000678487                   UMG Recordings, Inc.
  5494   Ledisi                                               Shut Up                                                SR0000678487                   UMG Recordings, Inc.
  5495   Ledisi                                               So Into You                                            SR0000678487                   UMG Recordings, Inc.
  5496   Ledisi                                               Stay Together                                          SR0000678487                   UMG Recordings, Inc.
  5497   Lee Ann Womack                                       After I Fall                                           SR0000281198                   UMG Recordings, Inc.
  5498   Lee Ann Womack                                       Ashes By Now                                           SR0000281198                   UMG Recordings, Inc.
  5499   Lee Ann Womack                                       Does My Ring Burn Your Finger                          SR0000281198                   UMG Recordings, Inc.
  5500   Lee Ann Womack                                       I Feel Like I'm Forgetting Something                   SR0000281198                   UMG Recordings, Inc.
  5501   Lee Ann Womack                                       I Hope You Dance                                       SR0000281261                   UMG Recordings, Inc.
  5502   Lee Ann Womack                                       I Know Why The River Runs                              SR0000281261                   UMG Recordings, Inc.
  5503   Lee Ann Womack                                       Lonely Too                                             SR0000281198                   UMG Recordings, Inc.
  5504   Lee Ann Womack                                       Lord I Hope This Day Is Good                           SR0000281198                   UMG Recordings, Inc.
  5505   Lee Ann Womack                                       Stronger Than I Am                                     SR0000281198                   UMG Recordings, Inc.
  5506   Lee Ann Womack                                       The Healing Kind                                       SR0000281261                   UMG Recordings, Inc.
  5507   Lee Ann Womack                                       Thinkin' With My Heart Again                           SR0000281198                   UMG Recordings, Inc.
  5508   Lee Ann Womack                                       Why They Call It Falling                               SR0000281198                   UMG Recordings, Inc.
  5509   Lifehouse                                            All In All                                             SR0000370643                   UMG Recordings, Inc.
  5510   Lifehouse                                            Am I Ever Gonna Find Out                               SR0000321812                   UMG Recordings, Inc.
  5511   Lifehouse                                            Anchor                                                 SR0000321812                   UMG Recordings, Inc.
  5512   Lifehouse                                            Better Luck Next Time                                  SR0000370643                   UMG Recordings, Inc.
  5513   Lifehouse                                            Breathing                                              SR0000289389                   UMG Recordings, Inc.
  5514   Lifehouse                                            Bridges                                                SR0000409087                   UMG Recordings, Inc.
  5515   Lifehouse                                            Broken                                                 SR0000409087                   UMG Recordings, Inc.
  5516   Lifehouse                                            Chapter One                                            SR0000370643                   UMG Recordings, Inc.
  5517   Lifehouse                                            Cling And Clatter                                      SR0000289389                   UMG Recordings, Inc.
  5518   Lifehouse                                            Come Back Down                                         SR0000370643                   UMG Recordings, Inc.
  5519   Lifehouse                                            Days Go By                                             SR0000370643                   UMG Recordings, Inc.
  5520   Lifehouse                                            Easier To Be                                           SR0000409087                   UMG Recordings, Inc.
  5521   Lifehouse                                            Empty Space                                            SR0000321812                   UMG Recordings, Inc.
  5522   Lifehouse                                            Everything                                             SR0000289389                   UMG Recordings, Inc.
  5523   Lifehouse                                            From Where You Are                                     SR0000614087                   UMG Recordings, Inc.
  5524   Lifehouse                                            How Long                                               SR0000321812                   UMG Recordings, Inc.
  5525   Lifehouse                                            Into The Sun                                           SR0000370643                   UMG Recordings, Inc.
  5526   Lifehouse                                            Just Another Name                                      SR0000321812                   UMG Recordings, Inc.
  5527   Lifehouse                                            Learn You Inside Out                                   SR0000409087                   UMG Recordings, Inc.
  5528   Lifehouse                                            Make Me Over                                           SR0000409087                   UMG Recordings, Inc.
  5529   Lifehouse                                            Mesmerized                                             SR0000409087                   UMG Recordings, Inc.
  5530   Lifehouse                                            My Precious                                            SR0000321812                   UMG Recordings, Inc.
  5531   Lifehouse                                            Only One                                               SR0000289389                   UMG Recordings, Inc.
  5532   Lifehouse                                            Out Of Breath                                          SR0000321812                   UMG Recordings, Inc.
  5533   Lifehouse                                            Quasimodo                                              SR0000289389                   UMG Recordings, Inc.
  5534   Lifehouse                                            Sick Cycle Carousel                                    SR0000289389                   UMG Recordings, Inc.
  5535   Lifehouse                                            Simon                                                  SR0000289389                   UMG Recordings, Inc.
  5536   Lifehouse                                            Sky Is Falling                                         SR0000321812                   UMG Recordings, Inc.
  5537   Lifehouse                                            Someone Else's Song                                    SR0000289389                   UMG Recordings, Inc.
  5538   Lifehouse                                            Somewhere In Between                                   SR0000289389                   UMG Recordings, Inc.
  5539   Lifehouse                                            Spin                                                   SR0000321812                   UMG Recordings, Inc.
  5540   Lifehouse                                            Stanley Climbfall                                      SR0000321812                   UMG Recordings, Inc.
  5541   Lifehouse                                            Storm                                                  SR0000409087                   UMG Recordings, Inc.
  5542   Lifehouse                                            Take Me Away                                           SR0000321812                   UMG Recordings, Inc.
  5543   Lifehouse                                            The Beginning                                          SR0000321812                   UMG Recordings, Inc.
  5544   Lifehouse                                            The End Has Only Begun                                 SR0000370643                   UMG Recordings, Inc.
  5545   Lifehouse                                            The Joke                                               SR0000409087                   UMG Recordings, Inc.
  5546   Lifehouse                                            Trying                                                 SR0000289389                   UMG Recordings, Inc.
  5547   Lifehouse                                            Undone                                                 SR0000370643                   UMG Recordings, Inc.
  5548   Lifehouse                                            Unknown                                                SR0000289389                   UMG Recordings, Inc.
  5549   Lifehouse                                            Walking Away                                           SR0000370643                   UMG Recordings, Inc.
  5550   Lifehouse                                            Wash                                                   SR0000321812                   UMG Recordings, Inc.
  5551   Lifehouse                                            We'll Never Know                                       SR0000370643                   UMG Recordings, Inc.
  5552   Lifehouse                                            Whatever It Takes                                      SR0000409087                   UMG Recordings, Inc.
  5553   Lifehouse                                            You And Me                                             SR0000370643                   UMG Recordings, Inc.
  5554   Little Big Town                                      Pontoon                                                SR0000709014                   UMG Recordings, Inc.
  5555   Lloyd                                                Certified                                              SR0000391940                   UMG Recordings, Inc.
  5556   Lloyd                                                Girls Around The World                                 SR0000615838                   UMG Recordings, Inc.
  5557   Lloyd                                                Hazel                                                  SR0000391940                   UMG Recordings, Inc.
  5558   Lloyd                                                I Don't Mind                                           SR0000391940                   UMG Recordings, Inc.
  5559   Lloyd                                                I Want You                                             SR0000391940                   UMG Recordings, Inc.
  5560   Lloyd                                                Incredible                                             SR0000391940                   UMG Recordings, Inc.
  5561   Lloyd                                                Killing Me                                             SR0000391940                   UMG Recordings, Inc.
  5562   Lloyd                                                Lloyd (Intro)                                          SR0000391940                   UMG Recordings, Inc.
  5563   Lloyd                                                One For Me                                             SR0000391940                   UMG Recordings, Inc.
  5564   Lloyd                                                Player's Prayer                                        SR0000391940                   UMG Recordings, Inc.
  5565   Lloyd                                                StreetLove                                             SR0000391940                   UMG Recordings, Inc.
  5566   Lloyd                                                Take You Home                                          SR0000391940                   UMG Recordings, Inc.
  5567   Lloyd                                                Valentine                                              SR0000391940                   UMG Recordings, Inc.
  5568   Lloyd                                                What You Wanna Do                                      SR0000391940                   UMG Recordings, Inc.


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                                   Artist                                                  Track                            Registration Number                     Plaintiff
  5569   Lloyd                                                You (Edited)                                         SR0000391940                   UMG Recordings, Inc.
  5570   LMFAO                                                All Night Long                                       SR0000678646                   UMG Recordings, Inc.
  5571   LMFAO                                                Bounce                                               SR0000641967                   UMG Recordings, Inc.
  5572   LMFAO                                                Champagne Showers                                    SR0000678646                   UMG Recordings, Inc.
  5573   LMFAO                                                Get Crazy                                            SR0000641967                   UMG Recordings, Inc.
  5574   LMFAO                                                Hot Dog                                              SR0000678646                   UMG Recordings, Inc.
  5575   LMFAO                                                I Am Not A Whore                                     SR0000641967                   UMG Recordings, Inc.
  5576   LMFAO                                                I Don't Wanna Be                                     SR0000641967                   UMG Recordings, Inc.
  5577   LMFAO                                                I Shake, I Move                                      SR0000641967                   UMG Recordings, Inc.
  5578   LMFAO                                                I'm In Miami Bitch                                   SR0000621810                   UMG Recordings, Inc.
  5579   LMFAO                                                La La La                                             SR0000641993                   UMG Recordings, Inc.
  5580   LMFAO                                                Leaving U 4 The Groove                               SR0000641967                   UMG Recordings, Inc.
  5581   LMFAO                                                Lil' Hipster Girl                                    SR0000641967                   UMG Recordings, Inc.
  5582   LMFAO                                                One Day                                              SR0000678646                   UMG Recordings, Inc.
  5583   LMFAO                                                Put That A$$ To Work                                 SR0000678646                   UMG Recordings, Inc.
  5584   LMFAO                                                Reminds Me Of You                                    SR0000678646                   UMG Recordings, Inc.
  5585   LMFAO                                                Rock The Beat                                        SR0000641967                   UMG Recordings, Inc.
  5586   LMFAO                                                Rock The Beat II                                     SR0000678646                   UMG Recordings, Inc.
  5587   LMFAO                                                Scream My Name                                       SR0000641967                   UMG Recordings, Inc.
  5588   LMFAO                                                Sexy And I Know It                                   SR0000678646                   UMG Recordings, Inc.
  5589   LMFAO                                                Shots                                                SR0000641967                   UMG Recordings, Inc.
  5590   LMFAO                                                Sorry For Party Rocking                              SR0000678646                   UMG Recordings, Inc.
  5591   LMFAO                                                Take It To The Hole                                  SR0000678646                   UMG Recordings, Inc.
  5592   LMFAO                                                We Came Here To Party                                SR0000678646                   UMG Recordings, Inc.
  5593   LMFAO                                                What Happens At The Party                            SR0000641967                   UMG Recordings, Inc.
  5594   LMFAO                                                With You                                             SR0000678646                   UMG Recordings, Inc.
  5595   LMFAO                                                Yes                                                  SR0000641967                   UMG Recordings, Inc.
  5596   Lorde                                                400 Lux                                              SR0000732619                   UMG Recordings, Inc.
  5597   Lorde                                                A World Alone                                        SR0000732619                   UMG Recordings, Inc.
  5598   Lorde                                                Biting Down                                          SR0000724529                   UMG Recordings, Inc.
  5599   Lorde                                                Bravado                                              SR0000724529                   UMG Recordings, Inc.
  5600   Lorde                                                Buzzcut Season                                       SR0000733267                   UMG Recordings, Inc.
  5601   Lorde                                                Glory And Gore                                       SR0000732619                   UMG Recordings, Inc.
  5602   Lorde                                                Million Dollar Bills                                 SR0000724529                   UMG Recordings, Inc.
  5603   Lorde                                                No Better                                            SR0000736121                   UMG Recordings, Inc.
  5604   Lorde                                                Ribs                                                 SR0000732619                   UMG Recordings, Inc.
  5605   Lorde                                                Royals                                               SR0000724529                   UMG Recordings, Inc.
  5606   Lorde                                                Still Sane                                           SR0000732619                   UMG Recordings, Inc.
  5607   Lorde                                                Swingin Party                                        SR0000726964                   UMG Recordings, Inc.
  5608   Lorde                                                Team                                                 SR0000732619                   UMG Recordings, Inc.
  5609   Lorde                                                Tennis Court                                         SR0000726964                   UMG Recordings, Inc.
  5610   Lorde                                                The Love Club                                        SR0000724529                   UMG Recordings, Inc.
  5611   Lorde                                                White Teeth Teens                                    SR0000732619                   UMG Recordings, Inc.
  5612   Ludacris                                             One More Drink                                       SR0000620047                   UMG Recordings, Inc.
  5613   Ludacris                                             Undisputed                                           SR0000620048                   UMG Recordings, Inc.
  5614   Ludacris                                             What Them Girls Like                                 SR0000617041                   UMG Recordings, Inc.
  5615   M.I.A.                                               Attention                                            SR0000736308                   UMG Recordings, Inc.
  5616   M.I.A.                                               Bad Girls                                            SR0000698452                   UMG Recordings, Inc.
  5617   M.I.A.                                               Boom Skit                                            SR0000736308                   UMG Recordings, Inc.
  5618   M.I.A.                                               Come Walk With Me                                    SR0000736307                   UMG Recordings, Inc.
  5619   M.I.A.                                               Double Bubble Trouble                                SR0000736308                   UMG Recordings, Inc.
  5620   M.I.A.                                               Karmageddon                                          SR0000736308                   UMG Recordings, Inc.
  5621   M.I.A.                                               Know It Ain't Right                                  SR0000736308                   UMG Recordings, Inc.
  5622   M.I.A.                                               Lights                                               SR0000736308                   UMG Recordings, Inc.
  5623   M.I.A.                                               MATANGI                                              SR0000736308                   UMG Recordings, Inc.
  5624   M.I.A.                                               Only 1                                               SR0000736308                   UMG Recordings, Inc.
  5625   M.I.A.                                               Refugee-In-Tent                                      SR0000736308                   UMG Recordings, Inc.
  5626   M.I.A.                                               Sexodus                                              SR0000736308                   UMG Recordings, Inc.
  5627   M.I.A.                                               Sexodus (Hitboy Version)                             SR0000736308                   UMG Recordings, Inc.
  5628   M.I.A.                                               Warriors                                             SR0000736308                   UMG Recordings, Inc.
  5629   M.I.A.                                               Y.A.L.A.                                             SR0000736309                   UMG Recordings, Inc.
  5630   Macy Gray                                            Everybody                                            SR0000395382                   UMG Recordings, Inc.
  5631   Macy Gray                                            Get Out                                              SR0000395382                   UMG Recordings, Inc.
  5632   Macy Gray                                            Glad You're Here                                     SR0000395382                   UMG Recordings, Inc.
  5633   Macy Gray                                            Okay                                                 SR0000395382                   UMG Recordings, Inc.
  5634   Macy Gray                                            One For Me                                           SR0000395382                   UMG Recordings, Inc.
  5635   Macy Gray                                            Slowly                                               SR0000395382                   UMG Recordings, Inc.
  5636   Macy Gray                                            Strange Behavior                                     SR0000395382                   UMG Recordings, Inc.
  5637   Macy Gray                                            Treat Me Like Your Money                             SR0000395382                   UMG Recordings, Inc.
  5638   Macy Gray                                            What I Gotta Do                                      SR0000395382                   UMG Recordings, Inc.
  5639   Mariah Carey                                         #Beautiful                                           SR0000750755                   UMG Recordings, Inc.
  5640   Mariah Carey                                         Touch My Body                                        SR0000612879                   UMG Recordings, Inc.
  5641   Mariah Carey                                         Up Out My Face                                       SR0000633779                   UMG Recordings, Inc.
  5642   Maroon 5                                             Crazy Little Thing Called Love                       SR0000664531                   UMG Recordings, Inc.
  5643   Maroon 5                                             Doin' Dirt                                           SR0000705167                   UMG Recordings, Inc.
  5644   Maroon 5                                             Figure It Out                                        SR0000627938                   UMG Recordings, Inc.
  5645   Maroon 5                                             Get Back In My Life                                  SR0000664531                   UMG Recordings, Inc.
  5646   Maroon 5                                             Give A Little More                                   SR0000664529                   UMG Recordings, Inc.
  5647   Maroon 5                                             Hands All Over                                       SR0000664531                   UMG Recordings, Inc.
  5648   Maroon 5                                             Hello                                                SR0000393024                   UMG Recordings, Inc.
  5649   Maroon 5                                             How                                                  SR0000664531                   UMG Recordings, Inc.
  5650   Maroon 5                                             I Can't Lie                                          SR0000664531                   UMG Recordings, Inc.
  5651   Maroon 5                                             If I Ain't Got You                                   SR0000664531                   UMG Recordings, Inc.
  5652   Maroon 5                                             Just A Feeling                                       SR0000664531                   UMG Recordings, Inc.
  5653   Maroon 5                                             Last Chance                                          SR0000664531                   UMG Recordings, Inc.
  5654   Maroon 5                                             Let's Stay Together                                  SR0000705167                   UMG Recordings, Inc.


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                                   Artist                                                  Track                            Registration Number                     Plaintiff
  5655   Maroon 5                                             Misery                                               SR0000659947                   UMG Recordings, Inc.
  5656   Maroon 5                                             Miss You Love You                                    SR0000627938                   UMG Recordings, Inc.
  5657   Maroon 5                                             Moves Like Jagger                                    SR0000680542                   UMG Recordings, Inc.
  5658   Maroon 5                                             Must Get Out (Live)                                  SR0000393024                   UMG Recordings, Inc.
  5659   Maroon 5                                             Never Gonna Leave This Bed                           SR0000664531                   UMG Recordings, Inc.
  5660   Maroon 5                                             No Curtain Call                                      SR0000664531                   UMG Recordings, Inc.
  5661   Maroon 5                                             Not Coming Home (Live)                               SR0000393024                   UMG Recordings, Inc.
  5662   Maroon 5                                             One More Night                                       SR0000705170                   UMG Recordings, Inc.
  5663   Maroon 5                                             One More Night (Sticky K Remix)                      SR0000703878                   UMG Recordings, Inc.
  5664   Maroon 5                                             Out Of Goodbyes                                      SR0000664531                   UMG Recordings, Inc.
  5665   Maroon 5                                             Rag Doll                                             SR0000702833                   UMG Recordings, Inc.
  5666   Maroon 5                                             Runaway                                              SR0000664531                   UMG Recordings, Inc.
  5667   Maroon 5                                             Secret/Ain't No Sunshine                             SR0000393024                   UMG Recordings, Inc.
  5668   Maroon 5                                             She Will Be Loved                                    SR0000674174                   UMG Recordings, Inc.
  5669   Maroon 5                                             Stutter                                              SR0000664531                   UMG Recordings, Inc.
  5670   Maroon 5                                             Sweetest Goodbye (LIve)                              SR0000393024                   UMG Recordings, Inc.
  5671   Maroon 5                                             This Love                                            SR0000348508                   UMG Recordings, Inc.
  5672   Maroon 5                                             Through With You (Live)                              SR0000393024                   UMG Recordings, Inc.
  5673   Maroon 5 feat. Christina Aguilera                    Moves Like Jagger                                    SR0000690026                   UMG Recordings, Inc.
  5674   Marvin Gaye                                          Anger                                                SR0000005020                   UMG Recordings, Inc.
  5675   Marvin Gaye                                          Come Get To This                                     N08961; RE0000860289           UMG Recordings, Inc.
  5676   Marvin Gaye                                          Ego Tripping Out                                     SR0000012844                   UMG Recordings, Inc.
  5677   Marvin Gaye                                          Got To Give It Up                                    N42204                         UMG Recordings, Inc.
  5678   Marvin Gaye                                          Praise                                               SR0000024441                   UMG Recordings, Inc.
  5679   Marvin Gaye                                          You're The Man - Pts. I & II                         N03735; RE0000852280           UMG Recordings, Inc.
  5680   Mary J. Blige                                        Someone To Love Me (Naked)                           SR0000676435                   UMG Recordings, Inc.
  5681   Maze feat. Frankie Beverly                           Time Is On My Side                                   SR0000349929                   UMG Recordings, Inc.
  5682   Meat Loaf                                            I'd Do Anything For Love (But I Won't Do That)       SR0000316425                   UMG Recordings, Inc.
  5683   Meat Loaf                                            Life Is A Lemon And I Want My Money Back             SR0000316425                   UMG Recordings, Inc.
  5684   Nas                                                  America                                              SR0000614072                   UMG Recordings, Inc.
  5685   Nas                                                  Black President                                      SR0000614072                   UMG Recordings, Inc.
  5686   Nas                                                  Breathe                                              SR0000614072                   UMG Recordings, Inc.
  5687   Nas                                                  Fried Chicken                                        SR0000614072                   UMG Recordings, Inc.
  5688   Nas                                                  Hero                                                 SR0000614073                   UMG Recordings, Inc.
  5689   Nas                                                  Make The World Go Round                              SR0000614072                   UMG Recordings, Inc.
  5690   Nas                                                  N.I.*.*.E.R. (The Slave and the Master)              SR0000614072                   UMG Recordings, Inc.
  5691   Nas                                                  Project Roach                                        SR0000614072                   UMG Recordings, Inc.
  5692   Nas                                                  Queens Get The Money                                 SR0000614072                   UMG Recordings, Inc.
  5693   Nas                                                  Sly Fox                                              SR0000614072                   UMG Recordings, Inc.
  5694   Nas                                                  Testify                                              SR0000614072                   UMG Recordings, Inc.
  5695   Nas                                                  Untitled                                             SR0000614072                   UMG Recordings, Inc.
  5696   Nas                                                  We're Not Alone                                      SR0000614072                   UMG Recordings, Inc.
  5697   Nas                                                  Y'all My Ni**as                                      SR0000614072                   UMG Recordings, Inc.
  5698   Nas                                                  You Can't Stop Us Now                                SR0000614072                   UMG Recordings, Inc.
  5699   Nelly                                                Body On Me                                           SR0000616562                   UMG Recordings, Inc.
  5700   Nelly                                                Chill                                                SR0000616562                   UMG Recordings, Inc.
  5701   Nelly                                                Dilemma                                              SR0000339724                   UMG Recordings, Inc.
  5702   Nelly                                                Hold Up                                              SR0000616562                   UMG Recordings, Inc.
  5703   Nelly                                                Just A Dream                                         SR0000662586                   UMG Recordings, Inc.
  5704   Nelly                                                LA                                                   SR0000616562                   UMG Recordings, Inc.
  5705   Nelly                                                Let It Go Lil Mama                                   SR0000616562                   UMG Recordings, Inc.
  5706   Nelly                                                Lie                                                  SR0000616562                   UMG Recordings, Inc.
  5707   Nelly                                                Long Night                                           SR0000616562                   UMG Recordings, Inc.
  5708   Nelly                                                One & Only                                           SR0000616562                   UMG Recordings, Inc.
  5709   Nelly                                                Party People                                         SR0000613225                   UMG Recordings, Inc.
  5710   Nelly                                                Self Esteem                                          SR0000616562                   UMG Recordings, Inc.
  5711   Nelly                                                Stepped On My J'z                                    SR0000616562                   UMG Recordings, Inc.
  5712   Nelly                                                U Ain't Him                                          SR0000616562                   UMG Recordings, Inc.
  5713   Nelly                                                UCUD GEDIT                                           SR0000616562                   UMG Recordings, Inc.
  5714   Nelly                                                Who F*cks Wit Me                                     SR0000616562                   UMG Recordings, Inc.
  5715   Nelly Furtado                                        **** On The Radio (Remember The Days)                SR0000289461                   UMG Recordings, Inc.
  5716   Nelly Furtado                                        Crazy (Radio 1 Live Lounge Session)                  SR0000400012                   UMG Recordings, Inc.
  5717   Nelly Furtado                                        Forca                                                SR0000347749                   UMG Recordings, Inc.
  5718   Nelly Furtado                                        Fotografía                                           SR0000313682                   UMG Recordings, Inc.
  5719   Nelly Furtado                                        Girlfriend In The City                               SR0000729667                   UMG Recordings, Inc.
  5720   Nelly Furtado                                        I'm Like A Bird                                      SR0000289461                   UMG Recordings, Inc.
  5721   Nelly Furtado                                        In God's Hands                                       SR0000612217                   UMG Recordings, Inc.
  5722   Nelly Furtado                                        Island Of Wonder                                     SR0000347749                   UMG Recordings, Inc.
  5723   Nelly Furtado                                        Manos Al Aire                                        SR0000641955                   UMG Recordings, Inc.
  5724   Nelly Furtado                                        Night Is Young                                       SR0000756992                   UMG Recordings, Inc.
  5725   Nelly Furtado                                        Powerless (Say What You Want)                        SR0000729667                   UMG Recordings, Inc.
  5726   Nelly Furtado                                        Stars                                                SR0000729667                   UMG Recordings, Inc.
  5727   Nelly Furtado                                        Try                                                  SR0000347749                   UMG Recordings, Inc.
  5728   Neon Trees                                           Animal                                               SR0000647020                   UMG Recordings, Inc.
  5729   Neon Trees                                           Sleeping With A Friend                               SR0000737412                   UMG Recordings, Inc.
  5730   Ne-Yo                                                Addicted                                             SR0000394385                   UMG Recordings, Inc.
  5731   Ne-Yo                                                Ain't Thinking About You                             SR0000394385                   UMG Recordings, Inc.
  5732   Ne-Yo                                                Angel                                                SR0000668445                   UMG Recordings, Inc.
  5733   Ne-Yo                                                Because Of You                                       SR0000394385                   UMG Recordings, Inc.
  5734   Ne-Yo                                                Can We Chill                                         SR0000394385                   UMG Recordings, Inc.
  5735   Ne-Yo                                                Crazy                                                SR0000394385                   UMG Recordings, Inc.
  5736   Ne-Yo                                                Do You                                               SR0000394385                   UMG Recordings, Inc.
  5737   Ne-Yo                                                Go On Girl                                           SR0000394385                   UMG Recordings, Inc.
  5738   Ne-Yo                                                Leaving Tonight                                      SR0000394385                   UMG Recordings, Inc.
  5739   Ne-Yo                                                Let Me Love You (Until You Learn To Love Yourself)   SR0000705073                   UMG Recordings, Inc.
  5740   Ne-Yo                                                Make It Work                                         SR0000394385                   UMG Recordings, Inc.


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                                   Artist                                                Track                            Registration Number                     Plaintiff
  5741   Ne-Yo                                                Say It                                             SR0000394385                   UMG Recordings, Inc.
  5742   Ne-Yo                                                Sex With My Ex                                     SR0000394385                   UMG Recordings, Inc.
  5743   Ne-Yo                                                She Knows                                          SR0000750246                   UMG Recordings, Inc.
  5744   Nirvana                                              About A Girl                                       SR0000320325                   UMG Recordings, Inc.
  5745   Nirvana                                              All Apologies                                      SR0000178690                   UMG Recordings, Inc.
  5746   Nirvana                                              Been A Son                                         SR0000148333                   UMG Recordings, Inc.
  5747   Nirvana                                              Breed                                              SR0000135335                   UMG Recordings, Inc.
  5748   Nirvana                                              Come As You Are                                    SR0000178690                   UMG Recordings, Inc.
  5749   Nirvana                                              Drain You                                          SR0000135335                   UMG Recordings, Inc.
  5750   Nirvana                                              Dumb                                               SR0000172276                   UMG Recordings, Inc.
  5751   Nirvana                                              Heart Shaped Box                                   SR0000172276                   UMG Recordings, Inc.
  5752   Nirvana                                              In Bloom                                           SR0000135335                   UMG Recordings, Inc.
  5753   Nirvana                                              Lithium                                            SR0000135335                   UMG Recordings, Inc.
  5754   Nirvana                                              Lounge Act                                         SR0000135335                   UMG Recordings, Inc.
  5755   Nirvana                                              On A Plain                                         SR0000135335                   UMG Recordings, Inc.
  5756   Nirvana                                              Pennyroyal Tea                                     SR0000172276                   UMG Recordings, Inc.
  5757   Nirvana                                              Polly                                              SR0000135335                   UMG Recordings, Inc.
  5758   Nirvana                                              Rape Me                                            SR0000172276                   UMG Recordings, Inc.
  5759   Nirvana                                              Sliver                                             SR0000148333                   UMG Recordings, Inc.
  5760   Nirvana                                              Smells Like Teen Spirit                            SR0000134601                   UMG Recordings, Inc.
  5761   Nirvana                                              Something In The Way                               SR0000135335                   UMG Recordings, Inc.
  5762   Nirvana                                              Stay Away                                          SR0000135335                   UMG Recordings, Inc.
  5763   Nirvana                                              Territorial Pissings                               SR0000135335                   UMG Recordings, Inc.
  5764   Nirvana                                              The Man Who Sold The World (Live, MTV Unplugged)   SR0000178690                   UMG Recordings, Inc.
  5765   Nirvana                                              You Know You're Right                              SR0000320325                   UMG Recordings, Inc.
  5766   No Doubt                                             Settle Down                                        SR0000708747                   UMG Recordings, Inc.
  5767   Obie Trice                                           Adrenaline Rush (Explicit)                         SR0000322706                   UMG Recordings, Inc.
  5768   Obie Trice                                           Average Man                                        SR0000341637                   UMG Recordings, Inc.
  5769   Obie Trice                                           Bad Bitch                                          SR0000341637                   UMG Recordings, Inc.
  5770   Obie Trice                                           Cheers                                             SR0000341637                   UMG Recordings, Inc.
  5771   Obie Trice                                           Don't Come Down (Explicit)                         SR0000341637                   UMG Recordings, Inc.
  5772   Obie Trice                                           Follow My Life                                     SR0000341637                   UMG Recordings, Inc.
  5773   Obie Trice                                           Got Some Teeth (Explicit)                          SR0000341637                   UMG Recordings, Inc.
  5774   Obie Trice                                           Hands On You                                       SR0000341637                   UMG Recordings, Inc.
  5775   Obie Trice                                           Hoodrats                                           SR0000341637                   UMG Recordings, Inc.
  5776   Obie Trice                                           Lady                                               SR0000341637                   UMG Recordings, Inc.
  5777   Obie Trice                                           Look In My Eyes                                    SR0000341637                   UMG Recordings, Inc.
  5778   Obie Trice                                           Never Forget Ya                                    SR0000341637                   UMG Recordings, Inc.
  5779   Obie Trice                                           Oh!                                                SR0000341637                   UMG Recordings, Inc.
  5780   Obie Trice                                           Outro (Obie Trice/ Cheers)                         SR0000341637                   UMG Recordings, Inc.
  5781   Obie Trice                                           Rap Name                                           SR0000322706                   UMG Recordings, Inc.
  5782   Obie Trice                                           Shit Hits The Fan                                  SR0000341637                   UMG Recordings, Inc.
  5783   Obie Trice                                           Spread Yo Shit                                     SR0000341637                   UMG Recordings, Inc.
  5784   Obie Trice                                           The Setup                                          SR0000339737                   UMG Recordings, Inc.
  5785   Obie Trice                                           We All Die One Day                                 SR0000341637                   UMG Recordings, Inc.
  5786   Of Monsters and Men                                  Little Talks                                       SR0000694984                   UMG Recordings, Inc.
  5787   Of Monsters and Men                                  Your Bones                                         SR0000698589                   UMG Recordings, Inc.
  5788   OneRepublic                                          All Fall Down                                      SR0000614111                   UMG Recordings, Inc.
  5789   OneRepublic                                          All We Are                                         SR0000614111                   UMG Recordings, Inc.
  5790   OneRepublic                                          Come Home                                          SR0000632435                   UMG Recordings, Inc.
  5791   OneRepublic                                          Goodbye, Apathy                                    SR0000614111                   UMG Recordings, Inc.
  5792   OneRepublic                                          Prodigal                                           SR0000614111                   UMG Recordings, Inc.
  5793   OneRepublic                                          Someone To Save You                                SR0000614111                   UMG Recordings, Inc.
  5794   OneRepublic                                          Stop And Stare                                     SR0000614111                   UMG Recordings, Inc.
  5795   OneRepublic                                          Won't Stop                                         SR0000614111                   UMG Recordings, Inc.
  5796   Phillip Phillips                                     A Fool's Dance                                     SR0000712841                   UMG Recordings, Inc.
  5797   Phillip Phillips                                     Can't Go Wrong                                     SR0000712841                   UMG Recordings, Inc.
  5798   Phillip Phillips                                     Drive Me                                           SR0000712841                   UMG Recordings, Inc.
  5799   Phillip Phillips                                     Get Up Get Down                                    SR0000712841                   UMG Recordings, Inc.
  5800   Phillip Phillips                                     Gone, Gone, Gone                                   SR0000712841                   UMG Recordings, Inc.
  5801   Phillip Phillips                                     Hazel                                              SR0000712841                   UMG Recordings, Inc.
  5802   Phillip Phillips                                     Hold On                                            SR0000712841                   UMG Recordings, Inc.
  5803   Phillip Phillips                                     Home                                               SR0000712859                   UMG Recordings, Inc.
  5804   Phillip Phillips                                     Man On The Moon                                    SR0000712841                   UMG Recordings, Inc.
  5805   Phillip Phillips                                     So Easy                                            SR0000712841                   UMG Recordings, Inc.
  5806   Phillip Phillips                                     Tell Me A Story                                    SR0000712841                   UMG Recordings, Inc.
  5807   Phillip Phillips                                     Wanted Is Love                                     SR0000712841                   UMG Recordings, Inc.
  5808   Phillip Phillips                                     Where We Came From                                 SR0000712860                   UMG Recordings, Inc.
  5809   Phillip Phillips                                     Wicked Game                                        SR0000712841                   UMG Recordings, Inc.
  5810   Pusha T                                              New God Flow                                       SR0000703870                   UMG Recordings, Inc.
  5811   Pussycat Dolls                                       When I Grow Up                                     SR0000612860                   UMG Recordings, Inc.
  5812   Rick Ross                                            911                                                SR0000706411                   UMG Recordings, Inc.
  5813   Rick Ross                                            9 Piece                                            SR0000677844                   UMG Recordings, Inc.
  5814   Rick Ross                                            All I Have In This World                           SR0000642144                   UMG Recordings, Inc.
  5815   Rick Ross                                            All I Really Want                                  SR0000631749                   UMG Recordings, Inc.
  5816   Rick Ross                                            Billionaire                                        SR0000642144                   UMG Recordings, Inc.
  5817   Rick Ross                                            Cross That Line                                    SR0000394154                   UMG Recordings, Inc.
  5818   Rick Ross                                            DJ Khaled Interlude                                SR0000642144                   UMG Recordings, Inc.
  5819   Rick Ross                                            Here I Am                                          SR0000627325                   UMG Recordings, Inc.
  5820   Rick Ross                                            Hustlin'                                           SR0000387156                   UMG Recordings, Inc.
  5821   Rick Ross                                            Ice Cold                                           SR0000706411                   UMG Recordings, Inc.
  5822   Rick Ross                                            I'm Only Human                                     SR0000642144                   UMG Recordings, Inc.
  5823   Rick Ross                                            Luxury Tax                                         SR0000642144                   UMG Recordings, Inc.
  5824   Rick Ross                                            Mafia Music                                        SR0000631748                   UMG Recordings, Inc.
  5825   Rick Ross                                            Magnificent                                        SR0000631747                   UMG Recordings, Inc.
  5826   Rick Ross                                            Maybach Music                                      SR0000642144                   UMG Recordings, Inc.


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                                   Artist                                                  Track                         Registration Number                     Plaintiff
  5827   Rick Ross                                            Money Make Me Come                                SR0000642144                   UMG Recordings, Inc.
  5828   Rick Ross                                            Push It                                           SR0000394154                   UMG Recordings, Inc.
  5829   Rick Ross                                            Reppin My City                                    SR0000642144                   UMG Recordings, Inc.
  5830   Rick Ross                                            Speedin'                                          SR0000627979                   UMG Recordings, Inc.
  5831   Rick Ross                                            Street Life                                       SR0000394154                   UMG Recordings, Inc.
  5832   Rick Ross                                            The Boss                                          SR0000642192                   UMG Recordings, Inc.
  5833   Rick Ross                                            This Is The Life                                  SR0000642144                   UMG Recordings, Inc.
  5834   Rick Ross                                            This Me                                           SR0000642144                   UMG Recordings, Inc.
  5835   Rick Ross                                            Trilla Intro                                      SR0000642144                   UMG Recordings, Inc.
  5836   Rick Ross                                            Triple Beam Dream                                 SR0000706411                   UMG Recordings, Inc.
  5837   Rick Ross                                            We Shinin'                                        SR0000642144                   UMG Recordings, Inc.
  5838   Rick Ross                                            You The Boss                                      SR0000689369                   UMG Recordings, Inc.
  5839   Rihanna                                              Birthday Cake                                     SR0000689431                   UMG Recordings, Inc.
  5840   Rihanna                                              California King Bed                               SR0000684805                   UMG Recordings, Inc.
  5841   Rihanna                                              Cheers (Drink To That)                            SR0000684805                   UMG Recordings, Inc.
  5842   Rihanna                                              Cockiness (Love It)                               SR0000689431                   UMG Recordings, Inc.
  5843   Rihanna                                              Cold Case Love                                    SR0000644571                   UMG Recordings, Inc.
  5844   Rihanna                                              Complicated                                       SR0000684805                   UMG Recordings, Inc.
  5845   Rihanna                                              Disturbia                                         SR0000616718                   UMG Recordings, Inc.
  5846   Rihanna                                              Do Ya Thang                                       SR0000689431                   UMG Recordings, Inc.
  5847   Rihanna                                              Don't Stop The Music                              SR0000411459                   UMG Recordings, Inc.
  5848   Rihanna                                              Drunk On Love                                     SR0000689431                   UMG Recordings, Inc.
  5849   Rihanna                                              Fading                                            SR0000684805                   UMG Recordings, Inc.
  5850   Rihanna                                              Farewell                                          SR0000689431                   UMG Recordings, Inc.
  5851   Rihanna                                              Fire Bomb                                         SR0000644571                   UMG Recordings, Inc.
  5852   Rihanna                                              Fool In Love                                      SR0000689431                   UMG Recordings, Inc.
  5853   Rihanna                                              G4L                                               SR0000644571                   UMG Recordings, Inc.
  5854   Rihanna                                              Good Girl Gone Bad                                SR0000087124                   UMG Recordings, Inc.
  5855   Rihanna                                              Hard                                              SR0000644571                   UMG Recordings, Inc.
  5856   Rihanna                                              Hate That I Love You                              SR0000643083                   UMG Recordings, Inc.
  5857   Rihanna                                              Haunted                                           SR0000629434                   UMG Recordings, Inc.
  5858   Rihanna                                              Here I Go Again                                   SR0000372611                   UMG Recordings, Inc.
  5859   Rihanna                                              If It's Lovin' That You Want                      SR0000377878                   UMG Recordings, Inc.
  5860   Rihanna                                              Lemme Get That                                    SR0000411459                   UMG Recordings, Inc.
  5861   Rihanna                                              Let Me                                            SR0000372611                   UMG Recordings, Inc.
  5862   Rihanna                                              Love The Way You Lie (Part II)                    SR0000684805                   UMG Recordings, Inc.
  5863   Rihanna                                              Mad House                                         SR0000644571                   UMG Recordings, Inc.
  5864   Rihanna                                              Man Down                                          SR0000684805                   UMG Recordings, Inc.
  5865   Rihanna                                              Music Of The Sun                                  SR0000372611                   UMG Recordings, Inc.
  5866   Rihanna                                              Now I Know                                        SR0000372611                   UMG Recordings, Inc.
  5867   Rihanna                                              Only Girl (In The World)                          SR0000669316                   UMG Recordings, Inc.
  5868   Rihanna                                              Photographs                                       SR0000644571                   UMG Recordings, Inc.
  5869   Rihanna                                              Push Up On Me                                     SR0000411459                   UMG Recordings, Inc.
  5870   Rihanna                                              Question Existing                                 SR0000411459                   UMG Recordings, Inc.
  5871   Rihanna                                              Raining Men                                       SR0000684805                   UMG Recordings, Inc.
  5872   Rihanna                                              Red Lipstick                                      SR0000689431                   UMG Recordings, Inc.
  5873   Rihanna                                              Rehab                                             SR0000635072                   UMG Recordings, Inc.
  5874   Rihanna                                              Roc Me Out                                        SR0000689431                   UMG Recordings, Inc.
  5875   Rihanna                                              ROCKSTAR 101                                      SR0000644571                   UMG Recordings, Inc.
  5876   Rihanna                                              Rude Boy                                          SR0000644571                   UMG Recordings, Inc.
  5877   Rihanna                                              Rush                                              SR0000372611                   UMG Recordings, Inc.
  5878   Rihanna                                              Russian Roulette                                  SR0000644571                   UMG Recordings, Inc.
  5879   Rihanna                                              S&M                                               SR0000684805                   UMG Recordings, Inc.
  5880   Rihanna                                              Say It                                            SR0000411459                   UMG Recordings, Inc.
  5881   Rihanna                                              Shut Up and Drive                                 SR0000411459                   UMG Recordings, Inc.
  5882   Rihanna                                              Skin                                              SR0000684805                   UMG Recordings, Inc.
  5883   Rihanna                                              SOS                                               SR0000385674                   UMG Recordings, Inc.
  5884   Rihanna                                              Stupid In Love                                    SR0000644571                   UMG Recordings, Inc.
  5885   Rihanna                                              Take A Bow                                        SR0000616719                   UMG Recordings, Inc.
  5886   Rihanna                                              Talk That Talk                                    SR0000689431                   UMG Recordings, Inc.
  5887   Rihanna                                              Te Amo                                            SR0000644571                   UMG Recordings, Inc.
  5888   Rihanna                                              That La, La, La                                   SR0000372611                   UMG Recordings, Inc.
  5889   Rihanna                                              The Last Song                                     SR0000644571                   UMG Recordings, Inc.
  5890   Rihanna                                              The Last Time                                     SR0000372611                   UMG Recordings, Inc.
  5891   Rihanna                                              There's A Thug In My Life                         SR0000372611                   UMG Recordings, Inc.
  5892   Rihanna                                              Umbrella                                          SR0000615487                   UMG Recordings, Inc.
  5893   Rihanna                                              Wait Your Turn                                    SR0000644571                   UMG Recordings, Inc.
  5894   Rihanna                                              Watch N Learn                                     SR0000689431                   UMG Recordings, Inc.
  5895   Rihanna                                              We All Want Love                                  SR0000689431                   UMG Recordings, Inc.
  5896   Rihanna                                              We Found Love                                     SR0000684805                   UMG Recordings, Inc.
  5897   Rihanna                                              What's My Name?                                   SR0000669319                   UMG Recordings, Inc.
  5898   Rihanna                                              Where Have You Been                               SR0000689431                   UMG Recordings, Inc.
  5899   Rihanna                                              Willing To Wait                                   SR0000372611                   UMG Recordings, Inc.
  5900   Rihanna                                              You Da One                                        SR0000689433                   UMG Recordings, Inc.
  5901   Rihanna                                              You Don't Love Me (No, No, No)                    SR0000372611                   UMG Recordings, Inc.
  5902   Rise Against                                         A Gentlemen's Coup                                SR0000671827                   UMG Recordings, Inc.
  5903   Rise Against                                         Architects                                        SR0000671826                   UMG Recordings, Inc.
  5904   Rise Against                                         Broken Mirrors                                    SR0000671827                   UMG Recordings, Inc.
  5905   Rise Against                                         Disparity By Design                               SR0000671827                   UMG Recordings, Inc.
  5906   Rise Against                                         Endgame                                           SR0000671827                   UMG Recordings, Inc.
  5907   Rise Against                                         Help Is On The Way                                SR0000671825                   UMG Recordings, Inc.
  5908   Rise Against                                         Lanterns                                          SR0000674467                   UMG Recordings, Inc.
  5909   Rise Against                                         Make It Stop (September's Children)               SR0000671827                   UMG Recordings, Inc.
  5910   Rise Against                                         Midnight Hands                                    SR0000671827                   UMG Recordings, Inc.
  5911   Rise Against                                         Satellite                                         SR0000671827                   UMG Recordings, Inc.
  5912   Rise Against                                         Survivor Guilt                                    SR0000671827                   UMG Recordings, Inc.


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                                   Artist                                                Track                            Registration Number                     Plaintiff
  5913   Rise Against                                         This Is Letting Go                                 SR0000671827                   UMG Recordings, Inc.
  5914   Rise Against                                         Wait For Me                                        SR0000671827                   UMG Recordings, Inc.
  5915   Robin Thicke                                         Cry No More                                        SR0000617389                   UMG Recordings, Inc.
  5916   Robin Thicke                                         Dreamworld                                         SR0000617389                   UMG Recordings, Inc.
  5917   Robin Thicke                                         Ebb and Flow                                       SR0000618754                   UMG Recordings, Inc.
  5918   Robin Thicke                                         Everybody's a Star                                 SR0000618754                   UMG Recordings, Inc.
  5919   Robin Thicke                                         Hard On My Love                                    SR0000617389                   UMG Recordings, Inc.
  5920   Robin Thicke                                         I'm Coming Home                                    SR0000618754                   UMG Recordings, Inc.
  5921   Robin Thicke                                         Lost Without U                                     SR0000398513                   UMG Recordings, Inc.
  5922   Robin Thicke                                         Loverman                                           SR0000617389                   UMG Recordings, Inc.
  5923   Robin Thicke                                         Magic                                              SR0000622566                   UMG Recordings, Inc.
  5924   Robin Thicke                                         Magic Touch                                        SR0000618707                   UMG Recordings, Inc.
  5925   Robin Thicke                                         Ms. Harmony                                        SR0000617389                   UMG Recordings, Inc.
  5926   Robin Thicke                                         Sex Therapy                                        SR0000644567                   UMG Recordings, Inc.
  5927   Robin Thicke                                         Shadow of Doubt                                    SR0000617389                   UMG Recordings, Inc.
  5928   Robin Thicke                                         Sidestep                                           SR0000617389                   UMG Recordings, Inc.
  5929   Robin Thicke                                         Something Else                                     SR0000617389                   UMG Recordings, Inc.
  5930   Robin Thicke                                         The Sweetest Love                                  SR0000617386                   UMG Recordings, Inc.
  5931   Robin Thicke                                         Tie My Hands                                       SR0000617389                   UMG Recordings, Inc.
  5932   Robin Thicke                                         You're My Baby                                     SR0000617389                   UMG Recordings, Inc.
  5933   Saving Abel                                          18 Days                                            SR0000639174                   UMG Recordings, Inc.
  5934   Saving Abel                                          Addicted                                           SR0000639174                   UMG Recordings, Inc.
  5935   Saving Abel                                          Beautiful Day                                      SR0000639174                   UMG Recordings, Inc.
  5936   Saving Abel                                          Beautiful You                                      SR0000639174                   UMG Recordings, Inc.
  5937   Saving Abel                                          Drowning (Face Down)                               SR0000639174                   UMG Recordings, Inc.
  5938   Saving Abel                                          In God's Eyes                                      SR0000639174                   UMG Recordings, Inc.
  5939   Saving Abel                                          New Tatoo                                          SR0000639174                   UMG Recordings, Inc.
  5940   Saving Abel                                          Out Of My Face                                     SR0000639174                   UMG Recordings, Inc.
  5941   Saving Abel                                          Running From You                                   SR0000639174                   UMG Recordings, Inc.
  5942   Saving Abel                                          Sailed Away                                        SR0000639174                   UMG Recordings, Inc.
  5943   Saving Abel                                          She Got Over Me                                    SR0000639174                   UMG Recordings, Inc.
  5944   Schoolboy Q                                          Man Of The Year                                    SR0000733738                   UMG Recordings, Inc.
  5945   Schoolboy Q                                          Studio                                             SR0000740379                   UMG Recordings, Inc.
  5946   Scissor Sisters                                      Better Luck Next Time                              SR0000355220                   UMG Recordings, Inc.
  5947   Scissor Sisters                                      Filthy/Gorgeous                                    SR0000355220                   UMG Recordings, Inc.
  5948   Scissor Sisters                                      It Can't Come Quickly Enough                       SR0000355220                   UMG Recordings, Inc.
  5949   Scissor Sisters                                      Laura                                              SR0000355220                   UMG Recordings, Inc.
  5950   Scissor Sisters                                      Lovers In The Backseat                             SR0000355220                   UMG Recordings, Inc.
  5951   Scissor Sisters                                      Mary                                               SR0000355220                   UMG Recordings, Inc.
  5952   Scissor Sisters                                      Music Is The Victim                                SR0000355220                   UMG Recordings, Inc.
  5953   Scissor Sisters                                      Return To Oz                                       SR0000355220                   UMG Recordings, Inc.
  5954   Scissor Sisters                                      Take Your Mama                                     SR0000355220                   UMG Recordings, Inc.
  5955   Scissor Sisters                                      Tits On The Radio                                  SR0000355220                   UMG Recordings, Inc.
  5956   Scotty McCreery                                      Before Midnight                                    SR0000735611                   UMG Recordings, Inc.
  5957   Scotty McCreery                                      Blue Jean Baby                                     SR0000735611                   UMG Recordings, Inc.
  5958   Scotty McCreery                                      Buzzin'                                            SR0000735611                   UMG Recordings, Inc.
  5959   Scotty McCreery                                      Can You Feel It                                    SR0000735611                   UMG Recordings, Inc.
  5960   Scotty McCreery                                      Carolina Eyes                                      SR0000735611                   UMG Recordings, Inc.
  5961   Scotty McCreery                                      Carolina Moon                                      SR0000735611                   UMG Recordings, Inc.
  5962   Scotty McCreery                                      Feel Good Summer Song                              SR0000735611                   UMG Recordings, Inc.
  5963   Scotty McCreery                                      Feelin' It                                         SR0000735611                   UMG Recordings, Inc.
  5964   Scotty McCreery                                      Forget To Forget You                               SR0000735611                   UMG Recordings, Inc.
  5965   Scotty McCreery                                      Get Gone With You                                  SR0000735611                   UMG Recordings, Inc.
  5966   Scotty McCreery                                      I Don't Wanna Be Your Friend                       SR0000735611                   UMG Recordings, Inc.
  5967   Scotty McCreery                                      Roll Your Window Down                              SR0000735611                   UMG Recordings, Inc.
  5968   Scotty McCreery                                      See You Tonight                                    SR0000735611                   UMG Recordings, Inc.
  5969   Scotty McCreery                                      Something More                                     SR0000735611                   UMG Recordings, Inc.
  5970   Scotty McCreery                                      The Dash                                           SR0000735611                   UMG Recordings, Inc.
  5971   Taio Cruz                                            Break Your Heart                                   SR0000655287                   UMG Recordings, Inc.
  5972   Taio Cruz                                            Dynamite                                           SR0000670254                   UMG Recordings, Inc.
  5973   The Band Perry                                       Double Heart                                       SR0000664551                   UMG Recordings, Inc.
  5974   The Band Perry                                       Hip To My Heart                                    SR0000637103                   UMG Recordings, Inc.
  5975   The Band Perry                                       If I Die Young                                     SR0000653353                   UMG Recordings, Inc.
  5976   The Band Perry                                       Independence                                       SR0000664551                   UMG Recordings, Inc.
  5977   The Band Perry                                       Lasso                                              SR0000664551                   UMG Recordings, Inc.
  5978   The Band Perry                                       Miss You Being Gone                                SR0000664551                   UMG Recordings, Inc.
  5979   The Band Perry                                       Walk Me Down the Middle                            SR0000664551                   UMG Recordings, Inc.
  5980   The Band Perry                                       You Lie                                            SR0000664551                   UMG Recordings, Inc.
  5981   The Band Perry                                       All Your Life                                      SR0000653353                   UMG Recordings, Inc.
  5982   The Band Perry                                       Postcard From Paris                                SR0000653353                   UMG Recordings, Inc.
  5983   The Band Perry                                       Quittin? You                                       SR0000653353                   UMG Recordings, Inc.
  5984   The Black Eyed Peas                                  Fashion Beats                                      SR0000670148                   UMG Recordings, Inc.
  5985   The Black Eyed Peas                                  Just Can't Get Enough                              SR0000670148                   UMG Recordings, Inc.
  5986   The Black Eyed Peas                                  Love You Long Time                                 SR0000670148                   UMG Recordings, Inc.
  5987   The Black Eyed Peas                                  Own It                                             SR0000670148                   UMG Recordings, Inc.
  5988   The Black Eyed Peas                                  Play It Loud                                       SR0000670148                   UMG Recordings, Inc.
  5989   The Black Eyed Peas                                  Someday                                            SR0000670148                   UMG Recordings, Inc.
  5990   The Black Eyed Peas                                  The Best One Yet (The Boy)                         SR0000670148                   UMG Recordings, Inc.
  5991   The Black Eyed Peas                                  The Coming                                         SR0000670148                   UMG Recordings, Inc.
  5992   The Black Eyed Peas                                  The Situation                                      SR0000670148                   UMG Recordings, Inc.
  5993   The Black Eyed Peas                                  Whenever                                           SR0000670148                   UMG Recordings, Inc.
  5994   The Black Eyed Peas                                  XOXOXO                                             SR0000670148                   UMG Recordings, Inc.
  5995   The Cranberries                                      Animal Instinct                                    SR0000264395                   UMG Recordings, Inc.
  5996   The Cranberries                                      Daffodil Lament                                    SR0000218047                   UMG Recordings, Inc.
  5997   The Cranberries                                      Free To Decide                                     SR0000228075                   UMG Recordings, Inc.
  5998   The Cranberries                                      Hollywood                                          SR0000217619                   UMG Recordings, Inc.


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                                   Artist                                               Track                                     Registration Number                     Plaintiff
  5999   The Cranberries                                      I Can't Be With You                                        SR0000218047                   UMG Recordings, Inc.
  6000   The Cranberries                                      New New York                                               SR0000324975                   UMG Recordings, Inc.
  6001   The Cranberries                                      Promises                                                   SR0000264395                   UMG Recordings, Inc.
  6002   The Cranberries                                      Ridiculous Thoughts                                        SR0000218047                   UMG Recordings, Inc.
  6003   The Cranberries                                      This Is The Day                                            SR0000303013                   UMG Recordings, Inc.
  6004   The Cranberries                                      Time Is Ticking Out                                        SR0000303013                   UMG Recordings, Inc.
  6005   The Cranberries                                      You And Me                                                 SR0000264395                   UMG Recordings, Inc.
  6006   The Mowgli's                                         San Francisco                                              SR0000712405                   UMG Recordings, Inc.
  6007   The Pussycat Dolls                                   Stickwitu                                                  SR0000377102                   UMG Recordings, Inc.
  6008   Timbaland                                            2 Man Show                                                 SR0000411631                   UMG Recordings, Inc.
  6009   Timbaland                                            Apologize                                                  SR0000623039                   UMG Recordings, Inc.
  6010   Timbaland                                            Boardmeeting                                               SR0000411631                   UMG Recordings, Inc.
  6011   Timbaland                                            Bombay                                                     SR0000411631                   UMG Recordings, Inc.
  6012   Timbaland                                            Come and Get Me                                            SR0000411631                   UMG Recordings, Inc.
  6013   Timbaland                                            Fantasy                                                    SR0000411631                   UMG Recordings, Inc.
  6014   Timbaland                                            Kill Yourself                                              SR0000411631                   UMG Recordings, Inc.
  6015   Timbaland                                            Miscommunication                                           SR0000623039                   UMG Recordings, Inc.
  6016   Timbaland                                            Oh Timbaland                                               SR0000623039                   UMG Recordings, Inc.
  6017   Timbaland                                            One and Only                                               SR0000411631                   UMG Recordings, Inc.
  6018   Timbaland                                            Release                                                    SR0000623039                   UMG Recordings, Inc.
  6019   Timbaland                                            Scream                                                     SR0000411631                   UMG Recordings, Inc.
  6020   Timbaland                                            The Way I Are                                              SR0000623039                   UMG Recordings, Inc.
  6021   Timbaland                                            Throw It On Me                                             SR0000411631                   UMG Recordings, Inc.
  6022   Timbaland                                            Time                                                       SR0000411631                   UMG Recordings, Inc.
  6023   Toby Keith                                           Beer For My Horses                                         SR0000808555                   UMG Recordings, Inc.
  6024   Toby Keith                                           Country Comes To Town                                      SR0000278495                   UMG Recordings, Inc.
  6025   Toby Keith                                           Courtesy Of The Red, White And Blue (The Angry American)   SR0000307469                   UMG Recordings, Inc.

  6026   Toby Keith                                           Go With Her                                                SR0000363112                   UMG Recordings, Inc.
  6027   Toby Keith                                           How Do You Like Me Now?!                                   SR0000768442                   UMG Recordings, Inc.
  6028   Toby Keith                                           I Wanna Talk About Me                                      SR0000301479                   UMG Recordings, Inc.
  6029   Toby Keith                                           I'm Just Talkin' About Tonight                             SR0000301479                   UMG Recordings, Inc.
  6030   Toby Keith                                           Mockingbird                                                SR0000363112                   UMG Recordings, Inc.
  6031   Toby Keith                                           Should've Been A Cowboy                                    SR0000152653                   UMG Recordings, Inc.
  6032   Toby Keith                                           Stays In Mexico                                            SR0000363112                   UMG Recordings, Inc.
  6033   Toby Keith                                           Who's Your Daddy?                                          SR0000307469                   UMG Recordings, Inc.
  6034   Toby Keith                                           You Ain't Much Fun                                         SR0000363112                   UMG Recordings, Inc.
  6035   Toby Keith                                           You Shouldn't Kiss Me Like This                            SR0000278495                   UMG Recordings, Inc.
  6036   UB40                                                 (I Can't Help) Falling In Love With You                    SR0000205179                   UMG Recordings, Inc.
  6037   UB40                                                 Breakfast In Bed                                           SR0000205152                   UMG Recordings, Inc.
  6038   UB40                                                 Cherry Oh Baby                                             SR0000049244                   UMG Recordings, Inc.
  6039   UB40                                                 Come Back Darling                                          SR0000178976                   UMG Recordings, Inc.
  6040   UB40                                                 Don't Break My Heart                                       SR0000205152                   UMG Recordings, Inc.
  6041   UB40                                                 Groovin' (Out On Life)                                     SR0000112173                   UMG Recordings, Inc.
  6042   UB40                                                 Here I Am (Come And Take Me)                               SR0000205179                   UMG Recordings, Inc.
  6043   UB40                                                 Higher Ground                                              SR0000205179                   UMG Recordings, Inc.
  6044   UB40                                                 Homely Girl                                                SR0000112173                   UMG Recordings, Inc.
  6045   UB40                                                 I Got You Babe                                             SR0000205152                   UMG Recordings, Inc.
  6046   UB40                                                 If It Happens Again                                        SR0000205152                   UMG Recordings, Inc.
  6047   UB40                                                 Kingston Town                                              SR0000205179                   UMG Recordings, Inc.
  6048   UB40                                                 One In Ten                                                 SR0000205152                   UMG Recordings, Inc.
  6049   UB40                                                 Please Don't Make Me Cry                                   SR0000205152                   UMG Recordings, Inc.
  6050   UB40                                                 Rat In Mi Kitchen                                          SR0000205152                   UMG Recordings, Inc.
  6051   UB40                                                 Red Red Wine                                               SR0000205152                   UMG Recordings, Inc.
  6052   UB40                                                 Sing Our Own Song                                          SR0000205152                   UMG Recordings, Inc.
  6053   UB40                                                 The Way You Do The Things You Do                           SR0000205179                   UMG Recordings, Inc.
  6054   UB40                                                 Until My Dying Day                                         SR0000205179                   UMG Recordings, Inc.
  6055   Warren G                                             Do You See                                                 SR0000629800                   UMG Recordings, Inc.
  6056   Warren G                                             Gangsta Sermon                                             SR0000629800                   UMG Recordings, Inc.
  6057   Warren G                                             Recognize                                                  SR0000629800                   UMG Recordings, Inc.
  6058   Warren G                                             Regulate                                                   SR0000629800                   UMG Recordings, Inc.
  6059   Warren G                                             Super Soul Sis                                             SR0000629800                   UMG Recordings, Inc.
  6060   Warren G                                             This D.J.                                                  SR0000629800                   UMG Recordings, Inc.
  6061   Warren G                                             What's Next                                                SR0000629800                   UMG Recordings, Inc.
  6062   Weezer                                               Buddy Holly                                                SR0000187644                   UMG Recordings, Inc.
  6063   Weezer                                               Holiday                                                    SR0000350888                   UMG Recordings, Inc.
  6064   Weezer                                               In The Garage                                              SR0000187644                   UMG Recordings, Inc.
  6065   Weezer                                               My Name Is Jonas                                           SR0000350888                   UMG Recordings, Inc.
  6066   Weezer                                               No One Else                                                SR0000187644                   UMG Recordings, Inc.
  6067   Weezer                                               Only In Dreams                                             SR0000350888                   UMG Recordings, Inc.
  6068   Weezer                                               Say It Ain't So                                            SR0000187644                   UMG Recordings, Inc.
  6069   Weezer                                               Surf Wax America                                           SR0000187644                   UMG Recordings, Inc.
  6070   Weezer                                               The World Has Turned And Left Me Here                      SR0000187644                   UMG Recordings, Inc.
  6071   Weezer                                               Undone -- The Sweater Song                                 SR0000187644                   UMG Recordings, Inc.
  6072   Wisin & Yandel                                       Irresistible                                               SR0000665444                   UMG Recordings, Inc.
  6073   YG                                                   Who Do You Love?                                           SR0000745799                   UMG Recordings, Inc.
  6074   Young Jeezy                                          Amazin'                                                    SR0000616586                   UMG Recordings, Inc.
  6075   Young Jeezy                                          By The Way                                                 SR0000616586                   UMG Recordings, Inc.
  6076   Young Jeezy                                          Circulate                                                  SR0000616586                   UMG Recordings, Inc.
  6077   Young Jeezy                                          Crazy World                                                SR0000616586                   UMG Recordings, Inc.
  6078   Young Jeezy                                          Don't Do It                                                SR0000616586                   UMG Recordings, Inc.
  6079   Young Jeezy                                          Don't You Know                                             SR0000616586                   UMG Recordings, Inc.
  6080   Young Jeezy                                          Everything                                                 SR0000616586                   UMG Recordings, Inc.
  6081   Young Jeezy                                          Get Allot                                                  SR0000616586                   UMG Recordings, Inc.
  6082   Young Jeezy                                          Hustlaz Ambition                                           SR0000616586                   UMG Recordings, Inc.
  6083   Young Jeezy                                          My President                                               SR0000616586                   UMG Recordings, Inc.


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                                   Artist                                                Track                        Registration Number                     Plaintiff
  6084   Young Jeezy                                          Put On                                         SR0000615616                   UMG Recordings, Inc.
  6085   Young Jeezy                                          Takin' It There                                SR0000616586                   UMG Recordings, Inc.
  6086   Young Jeezy                                          The Recession                                  SR0000616586                   UMG Recordings, Inc.
  6087   Young Jeezy                                          The Recession (Intro)                          SR0000616586                   UMG Recordings, Inc.
  6088   Young Jeezy                                          Vacation                                       SR0000616586                   UMG Recordings, Inc.
  6089   Young Jeezy                                          Welcome Back                                   SR0000616586                   UMG Recordings, Inc.
  6090   Young Jeezy                                          What They Want                                 SR0000616586                   UMG Recordings, Inc.
  6091   Young Jeezy                                          Who Dat                                        SR0000616586                   UMG Recordings, Inc.
  6092   Young Jeezy                                          Word Play                                      SR0000616586                   UMG Recordings, Inc.
  6093   Zedd                                                 Clarity                                        SR0000736147                   UMG Recordings, Inc.
  6094   Zedd                                                 Epos                                           SR0000745858                   UMG Recordings, Inc.
  6095   Zedd                                                 Fall Into The Sky                              SR0000745858                   UMG Recordings, Inc.
  6096   Zedd                                                 Follow You Down                                SR0000709927                   UMG Recordings, Inc.
  6097   Zedd                                                 Hourglass                                      SR0000736147                   UMG Recordings, Inc.
  6098   Zedd                                                 Lost At Sea                                    SR0000744174                   UMG Recordings, Inc.
  6099   Zedd                                                 Shave It Up                                    SR0000709927                   UMG Recordings, Inc.
  6100   Zedd                                                 Spectrum                                       SR0000736147                   UMG Recordings, Inc.
  6101   Zedd                                                 Stache                                         SR0000745858                   UMG Recordings, Inc.
  6102   Zedd                                                 Stay The Night                                 SR0000736147                   UMG Recordings, Inc.
  6103   Weird Al Yankovic                                    A Complicated Song                             SR0000331347                   Volcano Entertainment III, LLC
  6104   Weird Al Yankovic                                    Achy Breaky Song                               SR0000184456                   Volcano Entertainment III, LLC
  6105   Weird Al Yankovic                                    Airline Amy                                    SR0000251666                   Volcano Entertainment III, LLC
  6106   Weird Al Yankovic                                    Amish Paradise                                 SR0000225008                   Volcano Entertainment III, LLC
  6107   Weird Al Yankovic                                    Angry White Boy Polka                          SR0000331347                   Volcano Entertainment III, LLC
  6108   Weird Al Yankovic                                    Bedrock Anthem                                 SR0000184456                   Volcano Entertainment III, LLC
  6109   Weird Al Yankovic                                    Bob                                            SR0000331347                   Volcano Entertainment III, LLC
  6110   Weird Al Yankovic                                    Bohemian Polka                                 SR0000184456                   Volcano Entertainment III, LLC
  6111   Weird Al Yankovic                                    Callin' In Sick                                SR0000225008                   Volcano Entertainment III, LLC
  6112   Weird Al Yankovic                                    Cavity Search                                  SR0000225008                   Volcano Entertainment III, LLC
  6113   Weird Al Yankovic                                    Couch Potato                                   SR0000331347                   Volcano Entertainment III, LLC
  6114   Weird Al Yankovic                                    Ebay                                           SR0000331347                   Volcano Entertainment III, LLC
  6115   Weird Al Yankovic                                    Everything You Know Is Wrong                   SR0000225008                   Volcano Entertainment III, LLC
  6116   Weird Al Yankovic                                    Frank's 2000" TV                               SR0000184456                   Volcano Entertainment III, LLC
  6117   Weird Al Yankovic                                    Genius In France                               SR0000331347                   Volcano Entertainment III, LLC
  6118   Weird Al Yankovic                                    Gump                                           SR0000225008                   Volcano Entertainment III, LLC
  6119   Weird Al Yankovic                                    Hardware Store                                 SR0000331347                   Volcano Entertainment III, LLC
  6120   Weird Al Yankovic                                    I Can't Watch This                             SR0000251666                   Volcano Entertainment III, LLC
  6121   Weird Al Yankovic                                    I Remember Larry                               SR0000225008                   Volcano Entertainment III, LLC
  6122   Weird Al Yankovic                                    I Was Only Kidding                             SR0000251666                   Volcano Entertainment III, LLC
  6123   Weird Al Yankovic                                    I'm So Sick Of You                             SR0000225008                   Volcano Entertainment III, LLC
  6124   Weird Al Yankovic                                    Jurassic Park                                  SR0000184456                   Volcano Entertainment III, LLC
  6125   Weird Al Yankovic                                    Livin' In The Fridge                           SR0000184456                   Volcano Entertainment III, LLC
  6126   Weird Al Yankovic                                    Ode To A Superhero                             SR0000331347                   Volcano Entertainment III, LLC
  6127   Weird Al Yankovic                                    Party At The Leper Colony                      SR0000331347                   Volcano Entertainment III, LLC
  6128   Weird Al Yankovic                                    Phony Calls                                    SR0000225008                   Volcano Entertainment III, LLC
  6129   Weird Al Yankovic                                    Polka Your Eyes Out                            SR0000251666                   Volcano Entertainment III, LLC
  6130   Weird Al Yankovic                                    She Never Told Me She Was A Mime               SR0000184456                   Volcano Entertainment III, LLC
  6131   Weird Al Yankovic                                    Smells Like Nirvana                            SR0000251666                   Volcano Entertainment III, LLC
  6132   Weird Al Yankovic                                    Spy Hard                                       SR0000251798                   Volcano Entertainment III, LLC
  6133   Weird Al Yankovic                                    Syndicated Inc.                                SR0000225008                   Volcano Entertainment III, LLC
  6134   Weird Al Yankovic                                    Taco Grande                                    SR0000251666                   Volcano Entertainment III, LLC
  6135   Weird Al Yankovic                                    Talk Soup                                      SR0000184456                   Volcano Entertainment III, LLC
  6136   Weird Al Yankovic                                    The Alternative Polka                          SR0000225008                   Volcano Entertainment III, LLC
  6137   Weird Al Yankovic                                    The Night Santa Went Crazy                     SR0000225008                   Volcano Entertainment III, LLC
  6138   Weird Al Yankovic                                    The Plumbing Song                              SR0000251666                   Volcano Entertainment III, LLC
  6139   Weird Al Yankovic                                    The White Stuff                                SR0000251666                   Volcano Entertainment III, LLC
  6140   Weird Al Yankovic                                    Traffic Jam                                    SR0000184456                   Volcano Entertainment III, LLC
  6141   Weird Al Yankovic                                    Trash Day                                      SR0000331347                   Volcano Entertainment III, LLC
  6142   Weird Al Yankovic                                    Trigger Happy                                  SR0000251666                   Volcano Entertainment III, LLC
  6143   Weird Al Yankovic                                    Waffle King                                    SR0000184456                   Volcano Entertainment III, LLC
  6144   Weird Al Yankovic                                    Wanna B Ur Lovr                                SR0000331347                   Volcano Entertainment III, LLC
  6145   Weird Al Yankovic                                    Why Does This Always Happen To Me?             SR0000331347                   Volcano Entertainment III, LLC
  6146   Weird Al Yankovic                                    You Don't Love Me Anymore                      SR0000251666                   Volcano Entertainment III, LLC
  6147   Weird Al Yankovic                                    Young, Dumb & Ugly                             SR0000184456                   Volcano Entertainment III, LLC
  6148   Nickelback                                           Burn It To The Ground                          SR0000651954                   Warner Music Inc.
  6149   Nickelback                                           Gotta Be Somebody                              SR0000651954                   Warner Music Inc.
  6150   Nickelback                                           How You Remind Me                              SR0000330446                   Warner Music Inc.
  6151   Nickelback                                           I'd Come For You                               SR0000651954                   Warner Music Inc.
  6152   Nickelback                                           If Today Was Your Last Day                     SR0000651954                   Warner Music Inc.
  6153   Nickelback                                           Just To Get High                               SR0000651954                   Warner Music Inc.
  6154   Nickelback                                           Never Gonna Be Alone                           SR0000651954                   Warner Music Inc.
  6155   Nickelback                                           Next Go Round                                  SR0000651954                   Warner Music Inc.
  6156   Nickelback                                           S.E.X.                                         SR0000651954                   Warner Music Inc.
  6157   Nickelback                                           Shakin' Hands                                  SR0000651954                   Warner Music Inc.
  6158   Nickelback                                           Something In Your Mouth                        SR0000651954                   Warner Music Inc.
  6159   Nickelback                                           This Afternoon                                 SR0000651954                   Warner Music Inc.
  6160   Stone Sour                                           1st Person                                     SR0000695030                   Warner Music Inc.
  6161   Stone Sour                                           30/30-150                                      SR0000695030                   Warner Music Inc.
  6162   Stone Sour                                           Bother                                         SR0000330447                   Warner Music Inc.
  6163   Stone Sour                                           Cardiff                                        SR0000695030                   Warner Music Inc.
  6164   Stone Sour                                           Choose                                         SR0000330447                   Warner Music Inc.
  6165   Stone Sour                                           Come What(ever) May                            SR0000695030                   Warner Music Inc.
  6166   Stone Sour                                           Digital (Did You Tell)                         SR0000689549                   Warner Music Inc.
  6167   Stone Sour                                           Get Inside                                     SR0000330447                   Warner Music Inc.
  6168   Stone Sour                                           Hell & Consequences                            SR0000695030                   Warner Music Inc.
  6169   Stone Sour                                           Home Again                                     SR0000689549                   Warner Music Inc.


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                                   Artist                                                 Track                          Registration Number                     Plaintiff
  6170   Stone Sour                                           Inhale                                            SR0000330447                   Warner Music Inc.
  6171   Stone Sour                                           Kill Everybody                                    SR0000357276                   Warner Music Inc.
  6172   Stone Sour                                           Made Of Scars                                     SR0000695030                   Warner Music Inc.
  6173   Stone Sour                                           Nylon 6/6                                         SR0000689549                   Warner Music Inc.
  6174   Stone Sour                                           Orchids                                           SR0000330447                   Warner Music Inc.
  6175   Stone Sour                                           Pieces                                            SR0000689549                   Warner Music Inc.
  6176   Stone Sour                                           Reborn                                            SR0000695030                   Warner Music Inc.
  6177   Stone Sour                                           Road Hogs                                         SR0000357276                   Warner Music Inc.
  6178   Stone Sour                                           Say You'll Haunt Me                               SR0000689549                   Warner Music Inc.
  6179   Stone Sour                                           Sillyworld                                        SR0000695030                   Warner Music Inc.
  6180   Stone Sour                                           Socio                                             SR0000695030                   Warner Music Inc.
  6181   Stone Sour                                           Take A Number                                     SR0000330447                   Warner Music Inc.
  6182   Stone Sour                                           The Bitter End                                    SR0000689549                   Warner Music Inc.
  6183   Stone Sour                                           Threadbare                                        SR0000689549                   Warner Music Inc.
  6184   Stone Sour                                           Through Glass                                     SR0000695030                   Warner Music Inc.
  6185   Stone Sour                                           Tumult                                            SR0000330447                   Warner Music Inc.
  6186   Stone Sour                                           Your God                                          SR0000695030                   Warner Music Inc.
  6187   Stone Sour                                           Zzyzx Rd.                                         SR0000695030                   Warner Music Inc.
  6188   Avenged Sevenfold                                    Bat Country                                       SR0000374368                   Warner Records Inc.
  6189   Avenged Sevenfold                                    Beast And The Harlot                              SR0000374368                   Warner Records Inc.
  6190   Avenged Sevenfold                                    Betrayed                                          SR0000374368                   Warner Records Inc.
  6191   Avenged Sevenfold                                    Blinded In Chains                                 SR0000374368                   Warner Records Inc.
  6192   Avenged Sevenfold                                    Burn It Down                                      SR0000374368                   Warner Records Inc.
  6193   Avenged Sevenfold                                    M.I.A.                                            SR0000374368                   Warner Records Inc.
  6194   Avenged Sevenfold                                    Seize The Day                                     SR0000374368                   Warner Records Inc.
  6195   Avenged Sevenfold                                    Sidewinder                                        SR0000374368                   Warner Records Inc.
  6196   Avenged Sevenfold                                    Strength Of The World                             SR0000374368                   Warner Records Inc.
  6197   Avenged Sevenfold                                    The Wicked End                                    SR0000374368                   Warner Records Inc.
  6198   Avenged Sevenfold                                    Trashed And Scattered                             SR0000374368                   Warner Records Inc.
  6199   Black Sabbath                                        Electric Funeral                                  N20213                         Warner Records Inc.
  6200   Black Sabbath                                        Hand Of Doom                                      N20213                         Warner Records Inc.
  6201   Black Sabbath                                        Iron Man                                          N20213                         Warner Records Inc.
  6202   Black Sabbath                                        Jack The Stripper/Fairies Wear Boots              N20213                         Warner Records Inc.
  6203   Black Sabbath                                        Paranoid                                          N20213                         Warner Records Inc.
  6204   Black Sabbath                                        Planet Caravan                                    N20213                         Warner Records Inc.
  6205   Black Sabbath                                        Rat Salad                                         N20213                         Warner Records Inc.
  6206   Black Sabbath                                        War Pigs                                          SR0000042886                   Warner Records Inc.
  6207   Blake Shelton                                        All About Tonight                                 SR0000668677                   Warner Records Inc.
  6208   Blake Shelton                                        Austin                                            SR0000299678                   Warner Records Inc.
  6209   Blake Shelton                                        Back There Again                                  SR0000406834                   Warner Records Inc.
  6210   Blake Shelton                                        Boys 'Round Here                                  SR0000721082                   Warner Records Inc.
  6211   Blake Shelton                                        Chances                                           SR0000644193                   Warner Records Inc.
  6212   Blake Shelton                                        Country On The Radio                              SR0000721082                   Warner Records Inc.
  6213   Blake Shelton                                        Do You Remember                                   SR0000721082                   Warner Records Inc.
  6214   Blake Shelton                                        Doin' What She Likes                              SR0000721082                   Warner Records Inc.
  6215   Blake Shelton                                        Don't Make Me                                     SR0000406834                   Warner Records Inc.
  6216   Blake Shelton                                        Drink On It                                       SR0000693085                   Warner Records Inc.
  6217   Blake Shelton                                        Get Some                                          SR0000693085                   Warner Records Inc.
  6218   Blake Shelton                                        God Gave Me You                                   SR0000693085                   Warner Records Inc.
  6219   Blake Shelton                                        Good Ole Boys                                     SR0000693085                   Warner Records Inc.
  6220   Blake Shelton                                        Goodbye Time                                      SR0000359309                   Warner Records Inc.
  6221   Blake Shelton                                        Granddaddy's Gun                                  SR0000721082                   Warner Records Inc.
  6222   Blake Shelton                                        Hey                                               SR0000693085                   Warner Records Inc.
  6223   Blake Shelton                                        Hillbilly Bone                                    SR0000685229                   Warner Records Inc.
  6224   Blake Shelton                                        Home                                              SR0000644193                   Warner Records Inc.
  6225   Blake Shelton                                        Honey Bee                                         SR0000693085                   Warner Records Inc.
  6226   Blake Shelton                                        I Can't Walk Away                                 SR0000644193                   Warner Records Inc.
  6227   Blake Shelton                                        I Don't Care                                      SR0000406834                   Warner Records Inc.
  6228   Blake Shelton                                        I Have Been Lonely                                SR0000406834                   Warner Records Inc.
  6229   Blake Shelton                                        I Still Got A Finger                              SR0000721082                   Warner Records Inc.
  6230   Blake Shelton                                        I'm Sorry                                         SR0000693085                   Warner Records Inc.
  6231   Blake Shelton                                        It Ain't Easy Bein' Me                            SR0000406834                   Warner Records Inc.
  6232   Blake Shelton                                        Kiss My Country Ass                               SR0000685229                   Warner Records Inc.
  6233   Blake Shelton                                        Lay Low                                           SR0000721082                   Warner Records Inc.
  6234   Blake Shelton                                        Mine Would Be You                                 SR0000721082                   Warner Records Inc.
  6235   Blake Shelton                                        My Eyes                                           SR0000721082                   Warner Records Inc.
  6236   Blake Shelton                                        Nobody But Me                                     SR0000359309                   Warner Records Inc.
  6237   Blake Shelton                                        Ol' Red                                           SR0000300565                   Warner Records Inc.
  6238   Blake Shelton                                        Over                                              SR0000693085                   Warner Records Inc.
  6239   Blake Shelton                                        Playboys Of The Southwestern World                SR0000331177                   Warner Records Inc.
  6240   Blake Shelton                                        Ready To Roll                                     SR0000693085                   Warner Records Inc.
  6241   Blake Shelton                                        Red River Blue                                    SR0000693085                   Warner Records Inc.
  6242   Blake Shelton                                        She Can't Get That                                SR0000406834                   Warner Records Inc.
  6243   Blake Shelton                                        She Don't Love Me                                 SR0000406834                   Warner Records Inc.
  6244   Blake Shelton                                        She Wouldn't Be Gone                              SR0000659650                   Warner Records Inc.
  6245   Blake Shelton                                        Small Town Big Time                               SR0000721082                   Warner Records Inc.
  6246   Blake Shelton                                        Some Beach                                        SR0000359307                   Warner Records Inc.
  6247   Blake Shelton                                        Sunny In Seattle                                  SR0000693085                   Warner Records Inc.
  6248   Blake Shelton                                        Sure Be Cool If You Did                           SR0000721082                   Warner Records Inc.
  6249   Blake Shelton                                        Ten Times Crazier                                 SR0000721082                   Warner Records Inc.
  6250   Blake Shelton                                        The Last Country Song                             SR0000406834                   Warner Records Inc.
  6251   Blake Shelton                                        The More I Drink                                  SR0000406834                   Warner Records Inc.
  6252   Blake Shelton                                        This Can't Be Good                                SR0000406834                   Warner Records Inc.
  6253   Blake Shelton                                        What I Wouldn't Give                              SR0000406834                   Warner Records Inc.
  6254   Blake Shelton                                        Who Are You When I'm Not Looking                  SR0000668677                   Warner Records Inc.
  6255   Daniel Powter                                        Bad Day                                           SR0000384148                   Warner Records Inc.


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                                   Artist                                                  Track                            Registration Number                     Plaintiff
  6256   David Draiman                                        Forsaken                                             SR0000308602                   Warner Records Inc.
  6257   Deftones                                             Entombed                                             SR0000719493                   Warner Records Inc.
  6258   Deftones                                             Gauze                                                SR0000719493                   Warner Records Inc.
  6259   Deftones                                             Goon Squad                                           SR0000719493                   Warner Records Inc.
  6260   Deftones                                             Graphic Nature                                       SR0000719493                   Warner Records Inc.
  6261   Deftones                                             Leathers                                             SR0000719493                   Warner Records Inc.
  6262   Deftones                                             Poltergeist                                          SR0000719493                   Warner Records Inc.
  6263   Deftones                                             Romantic Dreams                                      SR0000719493                   Warner Records Inc.
  6264   Deftones                                             Rosemary                                             SR0000719493                   Warner Records Inc.
  6265   Deftones                                             Swerve City                                          SR0000719493                   Warner Records Inc.
  6266   Deftones                                             Tempest                                              SR0000719493                   Warner Records Inc.
  6267   Deftones                                             What Happened To You?                                SR0000719493                   Warner Records Inc.
  6268   Disturbed                                            A Welcome Burden                                     SR0000685183                   Warner Records Inc.
  6269   Disturbed                                            Avarice                                              SR0000380289                   Warner Records Inc.
  6270   Disturbed                                            Awaken                                               SR0000316958                   Warner Records Inc.
  6271   Disturbed                                            Believe                                              SR0000316958                   Warner Records Inc.
  6272   Disturbed                                            Bound                                                SR0000316958                   Warner Records Inc.
  6273   Disturbed                                            Breathe                                              SR0000316958                   Warner Records Inc.
  6274   Disturbed                                            Conflict                                             SR0000288344                   Warner Records Inc.
  6275   Disturbed                                            Criminal                                             SR0000647297                   Warner Records Inc.
  6276   Disturbed                                            Decadence                                            SR0000380289                   Warner Records Inc.
  6277   Disturbed                                            Deceiver                                             SR0000647297                   Warner Records Inc.
  6278   Disturbed                                            Dehumanized                                          SR0000695381                   Warner Records Inc.
  6279   Disturbed                                            Deify                                                SR0000380289                   Warner Records Inc.
  6280   Disturbed                                            Devour                                               SR0000316958                   Warner Records Inc.
  6281   Disturbed                                            Divide                                               SR0000647297                   Warner Records Inc.
  6282   Disturbed                                            Down With The Sickness                               SR0000280324                   Warner Records Inc.
  6283   Disturbed                                            Droppin' Plates                                      SR0000280324                   Warner Records Inc.
  6284   Disturbed                                            Enough                                               SR0000647297                   Warner Records Inc.
  6285   Disturbed                                            Facade                                               SR0000647297                   Warner Records Inc.
  6286   Disturbed                                            Fear                                                 SR0000280324                   Warner Records Inc.
  6287   Disturbed                                            Forgiven                                             SR0000380289                   Warner Records Inc.
  6288   Disturbed                                            God Of The Mind                                      SR0000695381                   Warner Records Inc.
  6289   Disturbed                                            Guarded                                              SR0000374276                   Warner Records Inc.
  6290   Disturbed                                            Haunted                                              SR0000647297                   Warner Records Inc.
  6291   Disturbed                                            Hell                                                 SR0000695381                   Warner Records Inc.
  6292   Disturbed                                            I'm Alive                                            SR0000380289                   Warner Records Inc.
  6293   Disturbed                                            Indestructible                                       SR0000647297                   Warner Records Inc.
  6294   Disturbed                                            Inside The Fire                                      SR0000647297                   Warner Records Inc.
  6295   Disturbed                                            Intoxication                                         SR0000316958                   Warner Records Inc.
  6296   Disturbed                                            Just Stop                                            SR0000380289                   Warner Records Inc.
  6297   Disturbed                                            Land Of Confusion                                    SR0000380289                   Warner Records Inc.
  6298   Disturbed                                            Liberate                                             SR0000316958                   Warner Records Inc.
  6299   Disturbed                                            Meaning Of Life                                      SR0000280324                   Warner Records Inc.
  6300   Disturbed                                            Mistress                                             SR0000316958                   Warner Records Inc.
  6301   Disturbed                                            Monster                                              SR0000695381                   Warner Records Inc.
  6302   Disturbed                                            Numb                                                 SR0000685183                   Warner Records Inc.
  6303   Disturbed                                            Overburdened                                         SR0000380289                   Warner Records Inc.
  6304   Disturbed                                            Pain Redefined                                       SR0000380289                   Warner Records Inc.
  6305   Disturbed                                            Parasite                                             SR0000695381                   Warner Records Inc.
  6306   Disturbed                                            Perfect Insanity                                     SR0000647297                   Warner Records Inc.
  6307   Disturbed                                            Prayer                                               SR0000316958                   Warner Records Inc.
  6308   Disturbed                                            Remember                                             SR0000316958                   Warner Records Inc.
  6309   Disturbed                                            Rise                                                 SR0000316958                   Warner Records Inc.
  6310   Disturbed                                            Run                                                  SR0000695381                   Warner Records Inc.
  6311   Disturbed                                            Sacred Lie                                           SR0000380289                   Warner Records Inc.
  6312   Disturbed                                            Shout 2000                                           SR0000280324                   Warner Records Inc.
  6313   Disturbed                                            Sickened                                             SR0000695381                   Warner Records Inc.
  6314   Disturbed                                            Sons Of Plunder                                      SR0000380289                   Warner Records Inc.
  6315   Disturbed                                            Stricken                                             SR0000380288                   Warner Records Inc.
  6316   Disturbed                                            Stupify                                              SR0000280324                   Warner Records Inc.
  6317   Disturbed                                            Ten Thousand Fists                                   SR0000380289                   Warner Records Inc.
  6318   Disturbed                                            The Curse                                            SR0000647297                   Warner Records Inc.
  6319   Disturbed                                            The Game                                             SR0000280324                   Warner Records Inc.
  6320   Disturbed                                            The Night                                            SR0000647297                   Warner Records Inc.
  6321   Disturbed                                            This Moment                                          SR0000695381                   Warner Records Inc.
  6322   Disturbed                                            Torn                                                 SR0000647297                   Warner Records Inc.
  6323   Disturbed                                            Two Worlds                                           SR0000695381                   Warner Records Inc.
  6324   Disturbed                                            Violence Fetish                                      SR0000280324                   Warner Records Inc.
  6325   Disturbed                                            Voices                                               SR0000280324                   Warner Records Inc.
  6326   Disturbed                                            Want                                                 SR0000280324                   Warner Records Inc.
  6327   Eric Clapton                                         (I) Get Lost                                         SR0000276566                   Warner Records Inc.
  6328   Eric Clapton                                         Riding With The King                                 SR0000285808                   Warner Records Inc.
  6329   Faith Hill                                           A Man's Home Is His Castle                           SR0000169102                   Warner Records Inc.
  6330   Faith Hill                                           A Room In My Heart                                   SR0000169102                   Warner Records Inc.
  6331   Faith Hill                                           Baby You Belong                                      SR0000321377                   Warner Records Inc.
  6332   Faith Hill                                           Back To You                                          SR0000321377                   Warner Records Inc.
  6333   Faith Hill                                           Beautiful                                            SR0000321377                   Warner Records Inc.
  6334   Faith Hill                                           Bed Of Roses                                         SR0000169102                   Warner Records Inc.
  6335   Faith Hill                                           Better Days                                          SR0000253752                   Warner Records Inc.
  6336   Faith Hill                                           Breathe                                              SR0000276629                   Warner Records Inc.
  6337   Faith Hill                                           Bringing Out The Elvis                               SR0000276629                   Warner Records Inc.
  6338   Faith Hill                                           But I Will                                           SR0000182853                   Warner Records Inc.
  6339   Faith Hill                                           Cry                                                  SR0000321377                   Warner Records Inc.
  6340   Faith Hill                                           Dearly Beloved                                       SR0000374377                   Warner Records Inc.
  6341   Faith Hill                                           Fireflies                                            SR0000374377                   Warner Records Inc.


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                                   Artist                                                  Track                                 Registration Number                     Plaintiff
  6342   Faith Hill                                           Go The Distance                                           SR0000182853                   Warner Records Inc.
  6343   Faith Hill                                           I Can't Do That Anymore                                   SR0000169102                   Warner Records Inc.
  6344   Faith Hill                                           I Got My Baby                                             SR0000276629                   Warner Records Inc.
  6345   Faith Hill                                           I Love You                                                SR0000253752                   Warner Records Inc.
  6346   Faith Hill                                           I Think I Will                                            SR0000321377                   Warner Records Inc.
  6347   Faith Hill                                           I Want You                                                SR0000374377                   Warner Records Inc.
  6348   Faith Hill                                           I Would Be Stronger Than That                             SR0000182853                   Warner Records Inc.
  6349   Faith Hill                                           If I Should Fall Behind                                   SR0000276629                   Warner Records Inc.
  6350   Faith Hill                                           If I'm Not In Love                                        SR0000276629                   Warner Records Inc.
  6351   Faith Hill                                           If My Heart Had Wings                                     SR0000276629                   Warner Records Inc.
  6352   Faith Hill                                           If This Is The End                                        SR0000321377                   Warner Records Inc.
  6353   Faith Hill                                           If You Ask                                                SR0000374377                   Warner Records Inc.
  6354   Faith Hill                                           If You're Gonna Fly Away                                  SR0000321377                   Warner Records Inc.
  6355   Faith Hill                                           It Matters To Me                                          SR0000169102                   Warner Records Inc.
  6356   Faith Hill                                           It Will Be Me                                             SR0000276629                   Warner Records Inc.
  6357   Faith Hill                                           I've Got This Friend (With Larry Stewart)                 SR0000182853                   Warner Records Inc.
  6358   Faith Hill                                           Just About Now                                            SR0000182853                   Warner Records Inc.
  6359   Faith Hill                                           Just Around The Eyes                                      SR0000182853                   Warner Records Inc.
  6360   Faith Hill                                           Just To Hear You Say That You Love Me (with Tim McGraw)   SR0000253752                   Warner Records Inc.

  6361   Faith Hill                                           Keep Walkin' On                                           SR0000169102                   Warner Records Inc.
  6362   Faith Hill                                           Let Me Let Go                                             SR0000253752                   Warner Records Inc.
  6363   Faith Hill                                           Let's Go To Vegas                                         SR0000169102                   Warner Records Inc.
  6364   Faith Hill                                           Life's Too Short To Love Like That                        SR0000182853                   Warner Records Inc.
  6365   Faith Hill                                           Like We Never Loved At All                                SR0000374377                   Warner Records Inc.
  6366   Faith Hill                                           Love Ain't Like That                                      SR0000253752                   Warner Records Inc.
  6367   Faith Hill                                           Love Is A Sweet Thing                                     SR0000276629                   Warner Records Inc.
  6368   Faith Hill                                           Me                                                        SR0000253752                   Warner Records Inc.
  6369   Faith Hill                                           Mississippi Girl                                          SR0000374378                   Warner Records Inc.
  6370   Faith Hill                                           My Wild Frontier                                          SR0000253752                   Warner Records Inc.
  6371   Faith Hill                                           One                                                       SR0000321377                   Warner Records Inc.
  6372   Faith Hill                                           Piece Of My Heart                                         SR0000182853                   Warner Records Inc.
  6373   Faith Hill                                           Somebody Stand By Me                                      SR0000253752                   Warner Records Inc.
  6374   Faith Hill                                           Someone Else's Dream                                      SR0000169102                   Warner Records Inc.
  6375   Faith Hill                                           Stealing Kisses                                           SR0000374377                   Warner Records Inc.
  6376   Faith Hill                                           Stronger                                                  SR0000321377                   Warner Records Inc.
  6377   Faith Hill                                           Sunshine & Summertime                                     SR0000374377                   Warner Records Inc.
  6378   Faith Hill                                           Take Me As I Am                                           SR0000182853                   Warner Records Inc.
  6379   Faith Hill                                           That's How Love Moves                                     SR0000276629                   Warner Records Inc.
  6380   Faith Hill                                           The Hard Way                                              SR0000253752                   Warner Records Inc.
  6381   Faith Hill                                           The Lucky One                                             SR0000374377                   Warner Records Inc.
  6382   Faith Hill                                           The Secret Of Life                                        SR0000253752                   Warner Records Inc.
  6383   Faith Hill                                           The Way You Love Me                                       SR0000276629                   Warner Records Inc.
  6384   Faith Hill                                           There Will Come A Day                                     SR0000276629                   Warner Records Inc.
  6385   Faith Hill                                           This Is Me                                                SR0000321377                   Warner Records Inc.
  6386   Faith Hill                                           This Kiss (Pop Remix a.k.a. Radio Version)                SR0000181237                   Warner Records Inc.
  6387   Faith Hill                                           Unsaveable                                                SR0000321377                   Warner Records Inc.
  6388   Faith Hill                                           We've Got Nothing But Love To Prove                       SR0000374377                   Warner Records Inc.
  6389   Faith Hill                                           What's In It For Me                                       SR0000276629                   Warner Records Inc.
  6390   Faith Hill                                           When The Lights Go Down                                   SR0000321377                   Warner Records Inc.
  6391   Faith Hill                                           Wild One                                                  SR0000182853                   Warner Records Inc.
  6392   Faith Hill                                           Wish For You                                              SR0000374377                   Warner Records Inc.
  6393   Faith Hill                                           You Can't Lose Me                                         SR0000169102                   Warner Records Inc.
  6394   Faith Hill                                           You Give Me Love                                          SR0000253752                   Warner Records Inc.
  6395   Faith Hill                                           You Stay With Me                                          SR0000374377                   Warner Records Inc.
  6396   Faith Hill                                           You Will Be Mine                                          SR0000169102                   Warner Records Inc.
  6397   Faith Hill                                           You're Still Here                                         SR0000321377                   Warner Records Inc.
  6398   Faith Hill & Tim McGraw                              Let's Make Love                                           SR0000276629                   Warner Records Inc.
  6399   Gloriana                                             (Kissed You) Good Night                                   SR0000719998                   Warner Records Inc.
  6400   Green Day                                            ¡Viva La Gloria!                                          SR0000762131                   Warner Records Inc.
  6401   Green Day                                            American Eulogy: Mass Hysteria/Modern World               SR0000762131                   Warner Records Inc.
  6402   Green Day                                            Before The Lobotomy                                       SR0000762131                   Warner Records Inc.
  6403   Green Day                                            Christian's Inferno                                       SR0000762131                   Warner Records Inc.
  6404   Green Day                                            Horseshoes and Handgrenades                               SR0000762131                   Warner Records Inc.
  6405   Green Day                                            Last Night On Earth                                       SR0000762131                   Warner Records Inc.
  6406   Green Day                                            Murder City                                               SR0000762131                   Warner Records Inc.
  6407   Green Day                                            Peacemaker                                                SR0000762131                   Warner Records Inc.
  6408   Green Day                                            Restless Heart Syndrome                                   SR0000762131                   Warner Records Inc.
  6409   Green Day                                            See The Light                                             SR0000762131                   Warner Records Inc.
  6410   Green Day                                            Song Of The Century                                       SR0000762131                   Warner Records Inc.
  6411   Green Day                                            The Static Age                                            SR0000762131                   Warner Records Inc.
  6412   Gucci Mane                                           Haterade                                                  SR0000665931                   Warner Records Inc.
  6413   James Taylor                                         Don't Let Me Be Lonely Tonight                            N3810                          Warner Records Inc.
  6414   James Taylor                                         Golden Moments                                            N35786                         Warner Records Inc.
  6415   James Taylor                                         Steamroller (Live)                                        N38974                         Warner Records Inc.
  6416   Jason Derulo                                         Blind                                                     SR0000685175                   Warner Records Inc.
  6417   Jason Derulo                                         Encore                                                    SR0000685175                   Warner Records Inc.
  6418   Jason Derulo                                         Fallen                                                    SR0000685175                   Warner Records Inc.
  6419   Jason Derulo                                         In My Head                                                SR0000685175                   Warner Records Inc.
  6420   Jason Derulo                                         Love Hangover                                             SR0000685175                   Warner Records Inc.
  6421   Jason Derulo                                         Marry Me                                                  SR0000763207                   Warner Records Inc.
  6422   Jason Derulo                                         Ridin' Solo                                               SR0000685175                   Warner Records Inc.
  6423   Jason Derulo                                         Strobelight                                               SR0000685175                   Warner Records Inc.
  6424   Jason Derulo                                         Stupid Love                                               SR0000763207                   Warner Records Inc.
  6425   Jason Derulo                                         Talk Dirty                                                SR0000763207                   Warner Records Inc.
  6426   Jason Derulo                                         The Sky's The Limit                                       SR0000685175                   Warner Records Inc.


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                                  Artist                                                  Track                        Registration Number                     Plaintiff
  6427   Jason Derulo                                         Trumpets                                        SR0000763207                   Warner Records Inc.
  6428   Jason Derulo                                         Vertigo                                         SR0000763207                   Warner Records Inc.
  6429   Jason Derulo                                         What If                                         SR0000685175                   Warner Records Inc.
  6430   Jason Derulo                                         Whatcha Say                                     SR0000685175                   Warner Records Inc.
  6431   Jason Derulo                                         With The Lights On                              SR0000763207                   Warner Records Inc.
  6432   John Williams                                        Theme from Superman                             SR0000006230                   Warner Records Inc.
  6433   Kenny Rogers                                         The Vows Go Unbroken (Always True To You)       SR0000105862                   Warner Records Inc.
  6434   Linkin Park                                          1stp Klosr                                      SR0000316952                   Warner Records Inc.
  6435   Linkin Park                                          A Place For My Head                             SR0000288402                   Warner Records Inc.
  6436   Linkin Park                                          BURN IT DOWN                                    SR0000708311                   Warner Records Inc.
  6437   Linkin Park                                          BURN IT DOWN (Instrumental)                     SR0000708311                   Warner Records Inc.
  6438   Linkin Park                                          By Myself                                       SR0000288402                   Warner Records Inc.
  6439   Linkin Park                                          By_Myslf                                        SR0000316952                   Warner Records Inc.
  6440   Linkin Park                                          CASTLE OF GLASS                                 SR0000708311                   Warner Records Inc.
  6441   Linkin Park                                          CASTLE OF GLASS (Instrumental)                  SR0000708311                   Warner Records Inc.
  6442   Linkin Park                                          Crawling (Live In Texas)                        SR0000350998                   Warner Records Inc.
  6443   Linkin Park                                          Cure For The Itch                               SR0000288402                   Warner Records Inc.
  6444   Linkin Park                                          Dirt Off Your Shoulder/Lying From You           SR0000362315                   Warner Records Inc.
  6445   Linkin Park                                          Don't Stay                                      SR0000346247                   Warner Records Inc.
  6446   Linkin Park                                          Easier To Run                                   SR0000346247                   Warner Records Inc.
  6447   Linkin Park                                          Enth E Nd                                       SR0000316952                   Warner Records Inc.
  6448   Linkin Park                                          Faint                                           SR0000346247                   Warner Records Inc.
  6449   Linkin Park                                          Figure.09                                       SR0000346247                   Warner Records Inc.
  6450   Linkin Park                                          Forgotten                                       SR0000288402                   Warner Records Inc.
  6451   Linkin Park                                          Frgt/10                                         SR0000316952                   Warner Records Inc.
  6452   Linkin Park                                          H! Vltg3                                        SR0000316952                   Warner Records Inc.
  6453   Linkin Park                                          Hit The Floor                                   SR0000346247                   Warner Records Inc.
  6454   Linkin Park                                          I'LL BE GONE                                    SR0000708311                   Warner Records Inc.
  6455   Linkin Park                                          In Between                                      SR0000406841                   Warner Records Inc.
  6456   Linkin Park                                          IN MY REMAINS                                   SR0000708311                   Warner Records Inc.
  6457   Linkin Park                                          In Pieces                                       SR0000406841                   Warner Records Inc.
  6458   Linkin Park                                          In The End (Live In Texas)                      SR0000350998                   Warner Records Inc.
  6459   Linkin Park                                          Krwlng                                          SR0000316952                   Warner Records Inc.
  6460   Linkin Park                                          Kyur4 Th Ich                                    SR0000316952                   Warner Records Inc.
  6461   Linkin Park                                          Leave Out All The Rest                          SR0000406841                   Warner Records Inc.
  6462   Linkin Park                                          LIES GREED MISERY                               SR0000708311                   Warner Records Inc.
  6463   Linkin Park                                          LOST IN THE ECHO                                SR0000708311                   Warner Records Inc.
  6464   Linkin Park                                          My<Dsmbr                                        SR0000316952                   Warner Records Inc.
  6465   Linkin Park                                          Nobody's Listening                              SR0000346247                   Warner Records Inc.
  6466   Linkin Park                                          One Step Closer (Live In Texas)                 SR0000350998                   Warner Records Inc.
  6467   Linkin Park                                          P5hng Me A*wy (Live in Texas)                   SR0000350998                   Warner Records Inc.
  6468   Linkin Park                                          Papercut                                        SR0000288402                   Warner Records Inc.
  6469   Linkin Park                                          Plc.4 Mie Haed                                  SR0000316952                   Warner Records Inc.
  6470   Linkin Park                                          Points Of Authority                             SR0000288402                   Warner Records Inc.
  6471   Linkin Park                                          POWERLESS                                       SR0000708311                   Warner Records Inc.
  6472   Linkin Park                                          PPr:Kut                                         SR0000316952                   Warner Records Inc.
  6473   Linkin Park                                          Pts.OF.Athrty                                   SR0000316952                   Warner Records Inc.
  6474   Linkin Park                                          Rnw@y                                           SR0000316952                   Warner Records Inc.
  6475   Linkin Park                                          ROADS UNTRAVELED                                SR0000708311                   Warner Records Inc.
  6476   Linkin Park                                          Runaway                                         SR0000288402                   Warner Records Inc.
  6477   Linkin Park                                          Session                                         SR0000346247                   Warner Records Inc.
  6478   Linkin Park                                          SKIN TO BONE                                    SR0000708311                   Warner Records Inc.
  6479   Linkin Park                                          Somewhere I Belong                              SR0000346247                   Warner Records Inc.
  6480   Linkin Park                                          TINFOIL                                         SR0000708311                   Warner Records Inc.
  6481   Linkin Park                                          UNTIL IT BREAKS                                 SR0000708311                   Warner Records Inc.
  6482   Linkin Park                                          Valentine's Day                                 SR0000406841                   Warner Records Inc.
  6483   Linkin Park                                          VICTIMIZED                                      SR0000708311                   Warner Records Inc.
  6484   Linkin Park                                          Wake                                            SR0000406841                   Warner Records Inc.
  6485   Linkin Park                                          With You                                        SR0000288402                   Warner Records Inc.
  6486   Linkin Park                                          Wth>You                                         SR0000316952                   Warner Records Inc.
  6487   Linkin Park                                          X-Ecutioner Style                               SR0000316952                   Warner Records Inc.
  6488   Linkin Park & Jay-Z                                  Numb/Encore                                     SR0000362316                   Warner Records Inc.
  6489   Madonna                                              Revolver                                        SR0000662296                   Warner Records Inc.
  6490   Maze feat. Frankie Beverly                           All Night Long                                  SR0000171913                   Warner Records Inc.
  6491   Maze feat. Frankie Beverly                           Africa                                          SR0000107982                   Warner Records Inc.
  6492   Maze feat. Frankie Beverly                           Can't Get Over You                              SR0000107982                   Warner Records Inc.
  6493   Maze feat. Frankie Beverly                           Change Our Ways                                 SR0000107982                   Warner Records Inc.
  6494   Maze feat. Frankie Beverly                           Don't Wanna Lose Your Love                      SR0000171913                   Warner Records Inc.
  6495   Maze feat. Frankie Beverly                           In Time                                         SR0000171913                   Warner Records Inc.
  6496   Maze feat. Frankie Beverly                           Just Us                                         SR0000107982                   Warner Records Inc.
  6497   Maze feat. Frankie Beverly                           Laid Back Girl                                  SR0000171913                   Warner Records Inc.
  6498   Maze feat. Frankie Beverly                           Love Is                                         SR0000171913                   Warner Records Inc.
  6499   Maze feat. Frankie Beverly                           Love's On The Run                               SR0000107982                   Warner Records Inc.
  6500   Maze feat. Frankie Beverly                           Mandela                                         SR0000107982                   Warner Records Inc.
  6501   Maze feat. Frankie Beverly                           Midnight                                        SR0000107982                   Warner Records Inc.
  6502   Maze feat. Frankie Beverly                           Nobody Knows What You Feel Inside               SR0000171913                   Warner Records Inc.
  6503   Maze feat. Frankie Beverly                           Silky Soul                                      SR0000107982                   Warner Records Inc.
  6504   Maze feat. Frankie Beverly                           Somebody Else's Arms                            SR0000107982                   Warner Records Inc.
  6505   Maze feat. Frankie Beverly                           Songs Of Love                                   SR0000107982                   Warner Records Inc.
  6506   Maze feat. Frankie Beverly                           The Morning After                               SR0000171913                   Warner Records Inc.
  6507   Maze feat. Frankie Beverly                           Twilight                                        SR0000171913                   Warner Records Inc.
  6508   Maze feat. Frankie Beverly                           What Goes Up                                    SR0000171913                   Warner Records Inc.
  6509   Michael Bublé                                        Everything                                      SR0000406982                   Warner Records Inc.
  6510   Michael Bublé                                        Quando, Quando, Quando (with Nelly Furtado)     SR0000370205                   Warner Records Inc.
  6511   My Chemical Romance                                  Blood                                           SR0000651990                   Warner Records Inc.
  6512   My Chemical Romance                                  Bulletproof Heart                               SR0000681139                   Warner Records Inc.


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                                   Artist                                                   Track                        Registration Number                     Plaintiff
  6513   My Chemical Romance                                  Bury Me In Black (Demo)                           SR0000360198                   Warner Records Inc.
  6514   My Chemical Romance                                  Cancer                                            SR0000399985                   Warner Records Inc.
  6515   My Chemical Romance                                  Cancer (Live In Mexico)                           SR0000651990                   Warner Records Inc.
  6516   My Chemical Romance                                  Cemetery Drive                                    SR0000360197                   Warner Records Inc.
  6517   My Chemical Romance                                  Cemetery Drive (Live Version)                     SR0000400291                   Warner Records Inc.
  6518   My Chemical Romance                                  Dead!                                             SR0000399985                   Warner Records Inc.
  6519   My Chemical Romance                                  Dead! (Live In Mexico)                            SR0000651990                   Warner Records Inc.
  6520   My Chemical Romance                                  Desert Song                                       SR0000400291                   Warner Records Inc.
  6521   My Chemical Romance                                  Disenchanted                                      SR0000399985                   Warner Records Inc.
  6522   My Chemical Romance                                  Disenchanted (Live In Mexico)                     SR0000651990                   Warner Records Inc.
  6523   My Chemical Romance                                  Famous Last Words                                 SR0000399985                   Warner Records Inc.
  6524   My Chemical Romance                                  Famous Last Words (Live In Mexico)                SR0000651990                   Warner Records Inc.
  6525   My Chemical Romance                                  Give 'Em Hell, Kid                                SR0000360197                   Warner Records Inc.
  6526   My Chemical Romance                                  Give 'Em Hell, Kid (Live Version)                 SR0000400291                   Warner Records Inc.
  6527   My Chemical Romance                                  Hang 'Em High                                     SR0000360197                   Warner Records Inc.
  6528   My Chemical Romance                                  Headfirst For Halos (Live Version)                SR0000400291                   Warner Records Inc.
  6529   My Chemical Romance                                  Helena                                            SR0000360197                   Warner Records Inc.
  6530   My Chemical Romance                                  House Of Wolves                                   SR0000399985                   Warner Records Inc.
  6531   My Chemical Romance                                  House Of Wolves (Live In Mexico)                  SR0000651990                   Warner Records Inc.
  6532   My Chemical Romance                                  I Don't Love You                                  SR0000399985                   Warner Records Inc.
  6533   My Chemical Romance                                  I Don't Love You (Live In Mexico)                 SR0000651990                   Warner Records Inc.
  6534   My Chemical Romance                                  I Never Told You What I Do For A Living           SR0000360197                   Warner Records Inc.
  6535   My Chemical Romance                                  I Never Told You What I Do For A Living (Demo)    SR0000400291                   Warner Records Inc.
  6536   My Chemical Romance                                  I'm Not Okay (I Promise)                          SR0000360197                   Warner Records Inc.
  6537   My Chemical Romance                                  Interlude                                         SR0000360197                   Warner Records Inc.
  6538   My Chemical Romance                                  Interlude (Live In Mexico)                        SR0000651990                   Warner Records Inc.
  6539   My Chemical Romance                                  It's Not A Fashion Statement It's A Deathwish     SR0000360197                   Warner Records Inc.
  6540   My Chemical Romance                                  Mama                                              SR0000399985                   Warner Records Inc.
  6541   My Chemical Romance                                  Mama (Live In Mexico)                             SR0000651990                   Warner Records Inc.
  6542   My Chemical Romance                                  Na Na Na (Na Na Na Na Na Na Na Na Na)             SR0000681139                   Warner Records Inc.
  6543   My Chemical Romance                                  Planetary (GO!)                                   SR0000681139                   Warner Records Inc.
  6544   My Chemical Romance                                  Save Yourself, I'll Hold Them Back                SR0000681139                   Warner Records Inc.
  6545   My Chemical Romance                                  Sleep                                             SR0000399985                   Warner Records Inc.
  6546   My Chemical Romance                                  Sleep (Live In Mexico)                            SR0000651990                   Warner Records Inc.
  6547   My Chemical Romance                                  Teenagers                                         SR0000399985                   Warner Records Inc.
  6548   My Chemical Romance                                  Teenagers (Live In Mexico)                        SR0000651990                   Warner Records Inc.
  6549   My Chemical Romance                                  Thank You For The Venom                           SR0000360197                   Warner Records Inc.
  6550   My Chemical Romance                                  Thank You For The Venom (Live Version)            SR0000400291                   Warner Records Inc.
  6551   My Chemical Romance                                  The Black Parade Is Dead (Live In Mexico)         SR0000651990                   Warner Records Inc.
  6552   My Chemical Romance                                  The End.                                          SR0000399985                   Warner Records Inc.
  6553   My Chemical Romance                                  The End. (Live In Mexico)                         SR0000651990                   Warner Records Inc.
  6554   My Chemical Romance                                  The Ghost Of You                                  SR0000360197                   Warner Records Inc.
  6555   My Chemical Romance                                  The Jetset Life Is Gonna Kill You                 SR0000360197                   Warner Records Inc.
  6556   My Chemical Romance                                  The Kids From Yesterday                           SR0000681139                   Warner Records Inc.
  6557   My Chemical Romance                                  The Only Hope For Me Is You                       SR0000681139                   Warner Records Inc.
  6558   My Chemical Romance                                  The Sharpest Lives                                SR0000399985                   Warner Records Inc.
  6559   My Chemical Romance                                  The Sharpest Lives (Live In Mexico)               SR0000651990                   Warner Records Inc.
  6560   My Chemical Romance                                  This Is How I Disappear                           SR0000399985                   Warner Records Inc.
  6561   My Chemical Romance                                  This Is How I Disappear (Live In Mexico)          SR0000651990                   Warner Records Inc.
  6562   My Chemical Romance                                  To The End                                        SR0000360197                   Warner Records Inc.
  6563   My Chemical Romance                                  Vampire Money                                     SR0000681139                   Warner Records Inc.
  6564   My Chemical Romance                                  Welcome To The Black Parade                       SR0000399985                   Warner Records Inc.
  6565   My Chemical Romance                                  Welcome To The Black Parade (Live In Mexico)      SR0000651990                   Warner Records Inc.
  6566   My Chemical Romance                                  You Know What They Do To Guys Like Us In Prison   SR0000360197                   Warner Records Inc.
  6567   Prince                                               1999                                              SR0000039818                   Warner Records Inc.
  6568   Prince                                               200 Balloons                                      SR0000112253                   Warner Records Inc.
  6569   Prince                                               4 The Tears In Your Eyes                          SR0000172034                   Warner Records Inc.
  6570   Prince                                               Adore                                             SR0000082403                   Warner Records Inc.
  6571   Prince                                               Alphabet St.                                      SR0000085595                   Warner Records Inc.
  6572   Prince                                               Controversy                                       SR0000029922                   Warner Records Inc.
  6573   Prince                                               Delirious                                         SR0000041035                   Warner Records Inc.
  6574   Prince                                               Dirty Mind                                        SR0000021996                   Warner Records Inc.
  6575   Prince                                               Do Me, Baby                                       SR0000030445                   Warner Records Inc.
  6576   Prince                                               Escape                                            SR0000094291                   Warner Records Inc.
  6577   Prince                                               Feel U Up                                         SR0000109054                   Warner Records Inc.
  6578   Prince                                               Gotta Stop (Messin' About)                        SR0000172034                   Warner Records Inc.
  6579   Prince                                               Head                                              SR0000021996                   Warner Records Inc.
  6580   Prince                                               Horny Toad                                        SR0000049498                   Warner Records Inc.
  6581   Prince                                               How Come U Don't Call Me Anymore                  SR0000039818                   Warner Records Inc.
  6582   Prince                                               I Could Never Take The Place Of Your Man          SR0000082403                   Warner Records Inc.
  6583   Prince                                               I Feel for You                                    SR0000014281                   Warner Records Inc.
  6584   Prince                                               I Love U In Me                                    SR0000113649                   Warner Records Inc.
  6585   Prince                                               I Wanna Be Your Lover                             SR0000012043                   Warner Records Inc.
  6586   Prince                                               If I Was Your Girlfriend                          SR0000082403                   Warner Records Inc.
  6587   Prince                                               Irresistible Bitch                                SR0000050859                   Warner Records Inc.
  6588   Prince                                               La, La, La, He, He, Hee                           SR0000078909                   Warner Records Inc.
  6589   Prince                                               Little Red Corvette                               SR0000041035                   Warner Records Inc.
  6590   Prince                                               Peach                                             SR0000172034                   Warner Records Inc.
  6591   Prince                                               Pink Cashmere                                     SR0000172034                   Warner Records Inc.
  6592   Prince                                               Pope                                              SR0000172034                   Warner Records Inc.
  6593   Prince                                               Power Fantastic                                   SR0000172034                   Warner Records Inc.
  6594   Prince                                               Scarlet Pussy                                     SR0000102073                   Warner Records Inc.
  6595   Prince                                               Shockadelica                                      SR0000082213                   Warner Records Inc.
  6596   Prince                                               Sign 'O' The Times                                SR0000078909                   Warner Records Inc.
  6597   Prince                                               Soft And Wet                                      SR0000000839                   Warner Records Inc.
  6598   Prince                                               Thieves In The Temple                             SR0000139907                   Warner Records Inc.


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                                 Artist                                                   Track                                     Registration Number                     Plaintiff
  6599   Prince                                               Thieves In The Temple (Remix Version)                        SR0000139907                   Warner Records Inc.
  6600   Prince                                               U Got The Look                                               SR0000082403                   Warner Records Inc.
  6601   Prince                                               Uptown                                                       SR0000021987                   Warner Records Inc.
  6602   Prince                                               When Doves Cry                                               SR0000054684                   Warner Records Inc.
  6603   Prince                                               When You Were Mine                                           SR0000021996                   Warner Records Inc.
  6604   Prince                                               Why You Wanna Treat Me So Bad                                SR0000014281                   Warner Records Inc.
  6605   Prince & The New Power Generation                    7                                                            SR0000146900                   Warner Records Inc.
  6606   Prince & The New Power Generation                    Cream                                                        SR0000135489                   Warner Records Inc.
  6607   Prince & The New Power Generation                    Diamonds And Pearls                                          SR0000135489                   Warner Records Inc.
  6608   Prince & The New Power Generation                    Nothing Compares 2 U                                         SR0000172034                   Warner Records Inc.
  6609   Prince & The New Power Generation                    Sexy M.F.                                                    SR0000146900                   Warner Records Inc.
  6610   Prince & The New Power Generation                    Gett Off                                                     SR0000135873                   Warner Records Inc.
  6611   Prince And The Revolution                            17 Days (the rain will come down, then U will have 2 choose. SR0000054684                   Warner Records Inc.
                                                              If U believe, look 2 the dawn and U shall never loose)

  6612   Prince And The Revolution                            Another Lonely Christmas                                    SR0000058458                    Warner Records Inc.
  6613   Prince And The Revolution                            Erotic City                                                 SR0000055739                    Warner Records Inc.
  6614   Prince And The Revolution                            Girl                                                        SR0000066585                    Warner Records Inc.
  6615   Prince And The Revolution                            God                                                         SR0000057169                    Warner Records Inc.
  6616   Prince And The Revolution                            Hello                                                       SR0000064741                    Warner Records Inc.
  6617   Prince And The Revolution                            I Would Die 4 U                                             SR0000054679; SR0000055615      Warner Records Inc.
  6618   Prince And The Revolution                            Kiss                                                        SR0000069888                    Warner Records Inc.
  6619   Prince And The Revolution                            Let's Go Crazy                                              SR0000054679; SR0000055615      Warner Records Inc.
  6620   Prince And The Revolution                            Pop Life                                                    SR0000062059                    Warner Records Inc.
  6621   Prince And The Revolution                            Purple Rain                                                 SR0000054679; SR0000055615      Warner Records Inc.
  6622   Prince And The Revolution                            Purple Rain (Short Version)                                 SR0000057169                    Warner Records Inc.
  6623   Prince And The Revolution                            Raspberry Beret                                             SR0000062059                    Warner Records Inc.
  6624   Prince And The Revolution                            She's Always In My Hair                                     SR0000062682                    Warner Records Inc.
  6625   Randy Travis                                         Forever And Ever, Amen                                      SR0000080879                    Warner Records Inc.
  6626   Red Hot Chili Peppers                                21st Century                                                SR0000390775                    Warner Records Inc.
  6627   Red Hot Chili Peppers                                Animal Bar                                                  SR0000390775                    Warner Records Inc.
  6628   Red Hot Chili Peppers                                Charlie                                                     SR0000390775                    Warner Records Inc.
  6629   Red Hot Chili Peppers                                C'mon Girl                                                  SR0000390775                    Warner Records Inc.
  6630   Red Hot Chili Peppers                                Dani California                                             SR0000390774                    Warner Records Inc.
  6631   Red Hot Chili Peppers                                Death Of A Martian                                          SR0000390775                    Warner Records Inc.
  6632   Red Hot Chili Peppers                                Desecration Smile                                           SR0000390775                    Warner Records Inc.
  6633   Red Hot Chili Peppers                                Especially In Michigan                                      SR0000390775                    Warner Records Inc.
  6634   Red Hot Chili Peppers                                Hard To Concentrate                                         SR0000390775                    Warner Records Inc.
  6635   Red Hot Chili Peppers                                Hey                                                         SR0000390775                    Warner Records Inc.
  6636   Red Hot Chili Peppers                                Hump De Bump                                                SR0000390775                    Warner Records Inc.
  6637   Red Hot Chili Peppers                                If                                                          SR0000390775                    Warner Records Inc.
  6638   Red Hot Chili Peppers                                Make You Feel Better                                        SR0000390775                    Warner Records Inc.
  6639   Red Hot Chili Peppers                                Readymade                                                   SR0000390775                    Warner Records Inc.
  6640   Red Hot Chili Peppers                                She Looks To Me                                             SR0000390775                    Warner Records Inc.
  6641   Red Hot Chili Peppers                                She's Only 18                                               SR0000390775                    Warner Records Inc.
  6642   Red Hot Chili Peppers                                Slow Cheetah                                                SR0000390775                    Warner Records Inc.
  6643   Red Hot Chili Peppers                                Snow (Hey Oh)                                               SR0000390775                    Warner Records Inc.
  6644   Red Hot Chili Peppers                                So Much I                                                   SR0000390775                    Warner Records Inc.
  6645   Red Hot Chili Peppers                                Stadium Arcadium                                            SR0000390775                    Warner Records Inc.
  6646   Red Hot Chili Peppers                                Storm In A Teacup                                           SR0000390775                    Warner Records Inc.
  6647   Red Hot Chili Peppers                                Strip My Mind                                               SR0000390775                    Warner Records Inc.
  6648   Red Hot Chili Peppers                                Tell Me Baby                                                SR0000390775                    Warner Records Inc.
  6649   Red Hot Chili Peppers                                Torture Me                                                  SR0000390775                    Warner Records Inc.
  6650   Red Hot Chili Peppers                                Turn It Again                                               SR0000390775                    Warner Records Inc.
  6651   Red Hot Chili Peppers                                Warlocks                                                    SR0000390775                    Warner Records Inc.
  6652   Red Hot Chili Peppers                                We Believe                                                  SR0000390775                    Warner Records Inc.
  6653   Red Hot Chili Peppers                                Wet Sand                                                    SR0000390775                    Warner Records Inc.
  6654   The Staple Singers                                   New Orleans                                                 N27244                          Warner Records Inc.
  6655   The Staples                                          Love Me, Love Me, Love Me                                   N36616                          Warner Records Inc.
  6656   The Cure                                             Let's Go To Bed                                             SR0000045130                    Warner Records/SIRE Ventures LLC
  6657   The Cure                                             The Caterpillar                                             SR0000054339                    Warner Records/SIRE Ventures LLC
  6658   Coldplay                                             A Rush Of Blood To The Head                                 SR0000322958                    WEA International Inc.
  6659   Coldplay                                             A Whisper                                                   SR0000322958                    WEA International Inc.
  6660   Coldplay                                             Amsterdam                                                   SR0000322958                    WEA International Inc.
  6661   Coldplay                                             Charlie Brown                                               SR0000686471                    WEA International Inc.
  6662   Coldplay                                             Daylight                                                    SR0000322958                    WEA International Inc.
  6663   Coldplay                                             Everything's Not Lost (Includes Hidden Track 'Life Is For   SR0000328762                    WEA International Inc.
                                                              Living')
  6664   Coldplay                                             God Put A Smile Upon Your Face                              SR0000322958                    WEA International Inc.
  6665   Coldplay                                             Green Eyes                                                  SR0000322958                    WEA International Inc.
  6666   Coldplay                                             High Speed                                                  SR0000328762                    WEA International Inc.
  6667   Coldplay                                             Lost!                                                       SRu000870150                    WEA International Inc.
  6668   Coldplay                                             Lovers In Japan (Osaka Sun Mix)                             SR0000651871                    WEA International Inc.
  6669   Coldplay                                             Parachutes                                                  SR0000328762                    WEA International Inc.
  6670   Coldplay                                             Politik                                                     SR0000322958                    WEA International Inc.
  6671   Coldplay                                             Sparks                                                      SR0000328762                    WEA International Inc.
  6672   Coldplay                                             Spies                                                       SR0000328762                    WEA International Inc.
  6673   Coldplay                                             Trouble                                                     SR0000328762                    WEA International Inc.
  6674   Coldplay                                             Violet Hill                                                 SRu000870150; SR0000652911      WEA International Inc.
  6675   Coldplay                                             Viva La Vida                                                SR0000652909                    WEA International Inc.
  6676   Coldplay                                             Warning Sign                                                SR0000322958                    WEA International Inc.
  6677   Coldplay                                             We Never Change                                             SR0000328762                    WEA International Inc.
  6678   David Bowie                                          1984                                                        N15958; RE0000918762            WEA International Inc.
  6679   David Bowie                                          Absolute Beginners                                          SR0000386234                    WEA International Inc.
  6680   David Bowie                                          Alabama Song                                                SR0000386234                    WEA International Inc.
  6681   David Bowie                                          Ashes To Ashes                                              SR0000021894                    WEA International Inc.


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                                   Artist                                                  Track                       Registration Number                      Plaintiff
  6682   David Bowie                                          Blue Jean                                       SR0000386234                   WEA International Inc.
  6683   David Bowie                                          Cat People (Putting Out Fire)                   SR0000043560                   WEA International Inc.
  6684   David Bowie                                          Changes                                         N32697; RE0000919011           WEA International Inc.
  6685   David Bowie                                          China Girl                                      SR0000043192                   WEA International Inc.
  6686   David Bowie                                          Criminal World                                  SR0000043192                   WEA International Inc.
  6687   David Bowie                                          Day-In Day-Out                                  SR0000081334                   WEA International Inc.
  6688   David Bowie                                          Fashion                                         SR0000021894                   WEA International Inc.
  6689   David Bowie                                          Heroes                                          N46597; SR0000032243           WEA International Inc.
  6690   David Bowie                                          Let's Dance                                     SR0000043560                   WEA International Inc.
  6691   David Bowie                                          Loving The Alien                                SR0000386234                   WEA International Inc.
  6692   David Bowie                                          Modern Love                                     SR0000043192                   WEA International Inc.
  6693   David Bowie                                          Moonage Daydream                                N01548; RE0000919238           WEA International Inc.
  6694   David Bowie                                          Ricochet                                        SR0000043192                   WEA International Inc.
  6695   David Bowie                                          Scary Monsters (And Super Creeps)               SR0000021894                   WEA International Inc.
  6696   David Bowie                                          Shake It                                        SR0000043192                   WEA International Inc.
  6697   David Bowie                                          Sorrow                                          N14159                         WEA International Inc.
  6698   David Bowie                                          Space Oddity                                    SR0000028765                   WEA International Inc.
  6699   David Bowie                                          Starman                                         N01548; RE0000919238           WEA International Inc.
  6700   David Bowie                                          The Drowned Girl                                SR0000386234                   WEA International Inc.
  6701   David Bowie                                          The Jean Genie                                  N06581; RE0000918856           WEA International Inc.
  6702   David Bowie                                          Time Will Crawl                                 SR0000081334                   WEA International Inc.
  6703   David Bowie                                          Up The Hill Backwards                           SR0000021894                   WEA International Inc.
  6704   David Bowie                                          When The Wind Blows                             SR0000386234                   WEA International Inc.
  6705   David Bowie                                          Without You                                     SR0000043192                   WEA International Inc.
  6706   David Bowie                                          Young Americans                                 N22804; SR0000032244           WEA International Inc.
  6707   David Bowie                                          Ziggy Stardust                                  N1548; RE0000919238            WEA International Inc.
  6708   David Guetta                                         Crank It Up                                     SR0000683523                   WEA International Inc.
  6709   David Guetta                                         Gettin' Over                                    SR0000649229                   WEA International Inc.
  6710   David Guetta                                         Gettin' Over You                                SR0000678038                   WEA International Inc.
  6711   David Guetta                                         I Can Only Imagine                              SR0000683523                   WEA International Inc.
  6712   David Guetta                                         In My Head                                      SR0000712148                   WEA International Inc.
  6713   David Guetta                                         Just One Last Time                              SR0000712148                   WEA International Inc.
  6714   David Guetta                                         Little Bad Girl                                 SR0000683522                   WEA International Inc.
  6715   David Guetta                                         Memories                                        SR0000643286                   WEA International Inc.
  6716   David Guetta                                         Metropolis (Edit)                               SR0000712148                   WEA International Inc.
  6717   David Guetta                                         Night Of Your Life                              SR0000683519                   WEA International Inc.
  6718   David Guetta                                         Play Hard                                       SR0000712148                   WEA International Inc.
  6719   David Guetta                                         Sexy Bitch                                      SR0000649218                   WEA International Inc.
  6720   David Guetta                                         She Wolf (Falling to Pieces)                    SR0000712148                   WEA International Inc.
  6721   David Guetta                                         Sunshine (Edit)                                 SR0000712148                   WEA International Inc.
  6722   David Guetta                                         Titanium                                        SR0000683518                   WEA International Inc.
  6723   David Guetta                                         Turn Me On                                      SR0000683523                   WEA International Inc.
  6724   David Guetta                                         Turn Me On (Sidney Samson Remix)                SR0000695541                   WEA International Inc.
  6725   David Guetta                                         What the F***                                   SR0000712148                   WEA International Inc.
  6726   David Guetta                                         When Love Takes Over                            SR0000643600                   WEA International Inc.
  6727   David Guetta                                         Without You                                     SR0000683523                   WEA International Inc.
  6728   David Guetta                                         I Just Wanna F.                                 SR0000683523                   WEA International Inc.
  6729   David Guetta                                         Lunar                                           SR0000683520                   WEA International Inc.
  6730   David Guetta                                         Nothing Really Matters                          SR0000683523                   WEA International Inc.
  6731   David Guetta                                         One Love                                        SR0000649227                   WEA International Inc.
  6732   David Guetta                                         Repeat                                          SR0000683523                   WEA International Inc.
  6733   David Guetta                                         Where Them Girls At                             SR0000683517                   WEA International Inc.
  6734   Ed Sheeran                                           Don't                                           SR0000411792                   WEA International Inc.
  6735   Ed Sheeran                                           Drunk                                           SR0000704259                   WEA International Inc.
  6736   Ed Sheeran                                           Give Me Love                                    SR0000704259                   WEA International Inc.
  6737   Ed Sheeran                                           Grade 8                                         SR0000704259                   WEA International Inc.
  6738   Ed Sheeran                                           Lego House                                      SR0000704259                   WEA International Inc.
  6739   Ed Sheeran                                           Small Bump                                      SR0000704259                   WEA International Inc.
  6740   Ed Sheeran                                           The A Team                                      SR0000704259                   WEA International Inc.
  6741   Ed Sheeran                                           The City                                        SR0000704259                   WEA International Inc.
  6742   Ed Sheeran                                           This                                            SR0000704259                   WEA International Inc.
  6743   Ed Sheeran                                           U.N.I.                                          SR0000704259                   WEA International Inc.
  6744   Ed Sheeran                                           Wake Me Up                                      SR0000704259                   WEA International Inc.
  6745   Ed Sheeran                                           You Need Me, I Don't Need You                   SR0000704259                   WEA International Inc.
  6746   Gorillaz                                             5/4                                             SR0000409208                   WEA International Inc.
  6747   Gorillaz                                             19-2000                                         SR0000409208                   WEA International Inc.
  6748   Gorillaz                                             All Alone                                       SR0000379135; SRu000573812     WEA International Inc.
  6749   Gorillaz                                             Clint Eastwood                                  SR0000409208                   WEA International Inc.
  6750   Gorillaz                                             DARE                                            SR0000379135; SRu000573812     WEA International Inc.
  6751   Gorillaz                                             Demon Days                                      SR0000379135; SRu000573812     WEA International Inc.
  6752   Gorillaz                                             Dirty Harry                                     SR0000379135; SRu000573812     WEA International Inc.
  6753   Gorillaz                                             Don't Get Lost In Heaven                        SR0000379135; SRu000573812     WEA International Inc.
  6754   Gorillaz                                             El Mañana                                       SR0000379135; SRu000573812     WEA International Inc.
  6755   Gorillaz                                             Every Planet We Reach Is Dead                   SR0000379135; SRu000573812     WEA International Inc.
  6756   Gorillaz                                             Feel Good Inc.                                  SR0000379134; SRu000573812     WEA International Inc.
  6757   Gorillaz                                             Fire Coming Out Of The Monkey's Head            SR0000379135; SRu000573812     WEA International Inc.
  6758   Gorillaz                                             Hong Kong                                       SR0000614363                   WEA International Inc.
  6759   Gorillaz                                             Kids With Guns                                  SR0000379135; SRu000573812     WEA International Inc.
  6760   Gorillaz                                             Last Living Souls                               SR0000379135; SRu000573812     WEA International Inc.
  6761   Gorillaz                                             November Has Come                               SR0000379135; SRu000573812     WEA International Inc.
  6762   Gorillaz                                             O Green World                                   SR0000379135; SRu000573812     WEA International Inc.
  6763   Gorillaz                                             On Melancholy Hill                              SR0000650312                   WEA International Inc.
  6764   Gorillaz                                             People                                          SR0000614363                   WEA International Inc.
  6765   Gorillaz                                             Re-Hash                                         SR0000409208                   WEA International Inc.
  6766   Gorillaz                                             Rhinestone Eyes                                 SR0000650312                   WEA International Inc.
  6767   Gorillaz                                             Rock The House                                  SR0000371589                   WEA International Inc.


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                                  Artist                                                  Track                                Registration Number                      Plaintiff
  6768   Gorillaz                                             Rockit                                                  SR0000614363                   WEA International Inc.
  6769   Gorillaz                                             Stylo                                                   SR0000650310                   WEA International Inc.
  6770   Gorillaz                                             Superfast Jellyfish                                     SR0000650312                   WEA International Inc.
  6771   Gorillaz                                             Tomorrow Comes Today                                    SR0000373824                   WEA International Inc.
  6772   Gorillaz                                             White Light                                             SR0000379135; SRu000573812     WEA International Inc.
  6773   Jarabe de Palo                                       La Flaca                                                SR0000319525                   WEA International Inc.
  6774   Muse                                                 Assassin                                                SR0000400299                   WEA International Inc.
  6775   Muse                                                 Bliss                                                   SR0000383074                   WEA International Inc.
  6776   Muse                                                 Citizen Erased                                          SR0000383074                   WEA International Inc.
  6777   Muse                                                 City Of Delusion                                        SR0000400299                   WEA International Inc.
  6778   Muse                                                 Exo-Politics                                            SR0000400299                   WEA International Inc.
  6779   Muse                                                 Feeling Good                                            SR0000383074                   WEA International Inc.
  6780   Muse                                                 Hoodoo                                                  SR0000400299                   WEA International Inc.
  6781   Muse                                                 Hyper Music                                             SR0000383074                   WEA International Inc.
  6782   Muse                                                 Invincible                                              SR0000400299                   WEA International Inc.
  6783   Muse                                                 Knights Of Cydonia                                      SR0000400299                   WEA International Inc.
  6784   Muse                                                 Map Of The Problematique                                SR0000400299                   WEA International Inc.
  6785   Muse                                                 Megalomania                                             SR0000383074                   WEA International Inc.
  6786   Muse                                                 Micro Cuts                                              SR0000383074                   WEA International Inc.
  6787   Muse                                                 New Born                                                SR0000383074                   WEA International Inc.
  6788   Muse                                                 Plug In Baby                                            SR0000383074                   WEA International Inc.
  6789   Muse                                                 Prelude                                                 SR0000721619                   WEA International Inc.
  6790   Muse                                                 Soldier's Poem                                          SR0000400299                   WEA International Inc.
  6791   Muse                                                 Starlight                                               SR0000400299                   WEA International Inc.
  6792   Muse                                                 Supermassive Black Hole                                 SR0000400298                   WEA International Inc.
  6793   Muse                                                 The 2nd Law: Unsustainable                              SR0000721619                   WEA International Inc.
  6794   Muse                                                 United States Of Eurasia (+Collateral Damage)           SR0000682053                   WEA International Inc.
  6795   Muse                                                 Uprising                                                SR0000682053                   WEA International Inc.
  6796   Space Monkeyz vs. Gorillaz                           Lil' Dub Chefin'                                        SR0000336541                   WEA International Inc.
  6797   Tinie Tempah                                         Written In The Stars                                    SR0000680992                   WEA International Inc.
  6798   Backstreet Boys                                      All I Have To Give                                      SR0000250678                   Zomba Recording LLC
  6799   Backstreet Boys                                      As Long As You Love Me                                  SR0000250678                   Zomba Recording LLC
  6800   Backstreet Boys                                      Drowning                                                SR0000291879                   Zomba Recording LLC
  6801   Backstreet Boys                                      Everybody (Backstreet's Back)                           SR0000254065                   Zomba Recording LLC
  6802   Backstreet Boys                                      I Want It That Way                                      SR0000275134                   Zomba Recording LLC
  6803   Backstreet Boys                                      I'll Never Break Your Heart                             SR0000250678                   Zomba Recording LLC
  6804   Backstreet Boys                                      Larger Than Life                                        SR0000275134                   Zomba Recording LLC
  6805   Backstreet Boys                                      More Than That                                          SR0000289455                   Zomba Recording LLC
  6806   Backstreet Boys                                      Quit Playing Games (With My Heart)                      SR0000250678                   Zomba Recording LLC
  6807   Backstreet Boys                                      Shape Of My Heart                                       SR0000289455                   Zomba Recording LLC
  6808   Backstreet Boys                                      Show Me The Meaning Of Being Lonely                     SR0000275134                   Zomba Recording LLC
  6809   Backstreet Boys                                      The Call                                                SR0000289455                   Zomba Recording LLC
  6810   Backstreet Boys                                      The One                                                 SR0000275134                   Zomba Recording LLC
  6811   Bowling For Soup                                     1985                                                    SR0000361081                   Zomba Recording LLC
  6812   Bowling For Soup                                     A-hole                                                  SR0000361081                   Zomba Recording LLC
  6813   Bowling For Soup                                     Almost                                                  SR0000361081                   Zomba Recording LLC
  6814   Bowling For Soup                                     Down For The Count                                      SR0000361081                   Zomba Recording LLC
  6815   Bowling For Soup                                     Friends O' Mine                                         SR0000361081                   Zomba Recording LLC
  6816   Bowling For Soup                                     Get Happy                                               SR0000361081                   Zomba Recording LLC
  6817   Bowling For Soup                                     Last Call Casualty                                      SR0000361081                   Zomba Recording LLC
  6818   Bowling For Soup                                     My Hometown                                             SR0000361081                   Zomba Recording LLC
  6819   Bowling For Soup                                     Next Ex-Girlfriend                                      SR0000361081                   Zomba Recording LLC
  6820   Bowling For Soup                                     Ohio                                                    SR0000361081                   Zomba Recording LLC
  6821   Bowling For Soup                                     Really Might Be Gone                                    SR0000361081                   Zomba Recording LLC
  6822   Bowling For Soup                                     Ridiculous                                              SR0000361081                   Zomba Recording LLC
  6823   Bowling For Soup                                     Sad Sad Situation                                       SR0000361081                   Zomba Recording LLC
  6824   Bowling For Soup                                     Shut-Up And Smile                                       SR0000361081                   Zomba Recording LLC
  6825   Bowling For Soup                                     Smoothie King                                           SR0000361081                   Zomba Recording LLC
  6826   Bowling For Soup                                     Trucker Hat                                             SR0000361081                   Zomba Recording LLC
  6827   Bowling For Soup                                     Two-Seater                                              SR0000361081                   Zomba Recording LLC
  6828   Britney Spears                                       (I Got That) Boom Boom                                  SR0000335267                   Zomba Recording LLC
  6829   Britney Spears                                       (I've Just Begun) Having My Fun                         SR0000361774                   Zomba Recording LLC
  6830   Britney Spears                                       (You Drive Me) Crazy                                    SR0000260870                   Zomba Recording LLC
  6831   Britney Spears                                       Amnesia                                                 SR0000620789                   Zomba Recording LLC
  6832   Britney Spears                                       Baby One More Time                                      SR0000260870                   Zomba Recording LLC
  6833   Britney Spears                                       Blur                                                    SR0000620789                   Zomba Recording LLC
  6834   Britney Spears                                       Born to Make You Happy                                  SR0000260870                   Zomba Recording LLC
  6835   Britney Spears                                       Boys                                                    SR0000301907                   Zomba Recording LLC
  6836   Britney Spears                                       Brave New Girl                                          SR0000335267                   Zomba Recording LLC
  6837   Britney Spears                                       Breathe On Me                                           SR0000335267                   Zomba Recording LLC
  6838   Britney Spears                                       Circus                                                  SR0000620789                   Zomba Recording LLC
  6839   Britney Spears                                       Don't Let Me Be The Last To Know                        SR0000285667                   Zomba Recording LLC
  6840   Britney Spears                                       Early Mornin'                                           SR0000335267                   Zomba Recording LLC
  6841   Britney Spears                                       Everytime                                               SR0000335267                   Zomba Recording LLC
  6842   Britney Spears                                       Gimme More                                              SR0000609441                   Zomba Recording LLC
  6843   Britney Spears                                       I Love Rock 'N' Roll                                    SR0000301907                   Zomba Recording LLC
  6844   Britney Spears                                       If U Seek Amy                                           SR0000620789                   Zomba Recording LLC
  6845   Britney Spears                                       I'm a Slave 4 U                                         SR0000301907                   Zomba Recording LLC
  6846   Britney Spears                                       I'm Not a Girl, Not Yet A Woman                         SR0000301907                   Zomba Recording LLC
  6847   Britney Spears                                       Kill The Lights                                         SR0000620789                   Zomba Recording LLC
  6848   Britney Spears                                       Lace and Leather                                        SR0000620789                   Zomba Recording LLC
  6849   Britney Spears                                       Lucky                                                   SR0000285667                   Zomba Recording LLC
  6850   Britney Spears                                       Mannequin                                               SR0000620789                   Zomba Recording LLC
  6851   Britney Spears                                       Me Against the Music                                    SR0000335267                   Zomba Recording LLC
  6852   Britney Spears                                       Me Against The Music (Rishi Rich's Desi Kulcha Remix)   SR0000335267                   Zomba Recording LLC
  6853   Britney Spears                                       Mmm Papi                                                SR0000620789                   Zomba Recording LLC


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                                   Artist                                                Track                              Registration Number                    Plaintiff
  6854   Britney Spears                                       My Baby                                              SR0000620789                   Zomba Recording LLC
  6855   Britney Spears                                       My Prerogative                                       SR0000361774                   Zomba Recording LLC
  6856   Britney Spears                                       Oops I Did It Again                                  SR0000285667                   Zomba Recording LLC
  6857   Britney Spears                                       Out From Under                                       SR0000620789                   Zomba Recording LLC
  6858   Britney Spears                                       Outrageous                                           SR0000335267                   Zomba Recording LLC
  6859   Britney Spears                                       Overprotected                                        SR0000301907                   Zomba Recording LLC
  6860   Britney Spears                                       Phonography                                          SR0000620789                   Zomba Recording LLC
  6861   Britney Spears                                       Piece Of Me                                          SR0000609604                   Zomba Recording LLC
  6862   Britney Spears                                       Radar                                                SR0000609604                   Zomba Recording LLC
  6863   Britney Spears                                       Rock Me In                                           SR0000620789                   Zomba Recording LLC
  6864   Britney Spears                                       Shadow                                               SR0000335267                   Zomba Recording LLC
  6865   Britney Spears                                       Shattered Glass                                      SR0000620789                   Zomba Recording LLC
  6866   Britney Spears                                       Showdown                                             SR0000335267                   Zomba Recording LLC
  6867   Britney Spears                                       Sometimes                                            SR0000260870                   Zomba Recording LLC
  6868   Britney Spears                                       The Hook Up                                          SR0000335267                   Zomba Recording LLC
  6869   Britney Spears                                       Touch Of My Hand                                     SR0000335267                   Zomba Recording LLC
  6870   Britney Spears                                       Toxic                                                SR0000335267                   Zomba Recording LLC
  6871   Britney Spears                                       Unusual You                                          SR0000620789                   Zomba Recording LLC
  6872   Britney Spears                                       Womanizer                                            PA0001619000                   Zomba Recording LLC
  6873   Chris Brown                                          Damage                                               SR0000630132                   Zomba Recording LLC
  6874   Chris Brown                                          Down                                                 SR0000630132                   Zomba Recording LLC
  6875   Chris Brown                                          Forever                                              SR0000613921                   Zomba Recording LLC
  6876   Chris Brown                                          Gimme Whatcha Got                                    SR0000630132                   Zomba Recording LLC
  6877   Chris Brown                                          Heart Ain't A Brain                                  SR0000613921                   Zomba Recording LLC
  6878   Chris Brown                                          Help Me                                              SR0000630132                   Zomba Recording LLC
  6879   Chris Brown                                          Hold Up                                              SR0000630132                   Zomba Recording LLC
  6880   Chris Brown                                          I Wanna Be                                           SR0000630132                   Zomba Recording LLC
  6881   Chris Brown                                          I'll Call Ya                                         SR0000630132                   Zomba Recording LLC
  6882   Chris Brown                                          Kiss Kiss                                            SR0000630132                   Zomba Recording LLC
  6883   Chris Brown                                          Lottery                                              SR0000630132                   Zomba Recording LLC
  6884   Chris Brown                                          Nice                                                 SR0000630132                   Zomba Recording LLC
  6885   Chris Brown                                          Picture Perfect                                      SR0000630132                   Zomba Recording LLC
  6886   Chris Brown                                          Superhuman                                           SR0000613921                   Zomba Recording LLC
  6887   Chris Brown                                          Take You Down                                        SR0000630132                   Zomba Recording LLC
  6888   Chris Brown                                          Throwed                                              SR0000630132                   Zomba Recording LLC
  6889   Chris Brown                                          Wall To Wall                                         PA0001634637                   Zomba Recording LLC
  6890   Chris Brown                                          With You                                             SR0000630132                   Zomba Recording LLC
  6891   Chris Brown                                          You                                                  SR0000630132                   Zomba Recording LLC
  6892   Ciara                                                And I                                                SR0000355316                   Zomba Recording LLC
  6893   Ciara                                                Crazy                                                SR0000355316                   Zomba Recording LLC
  6894   Ciara                                                Goodies                                              SR0000355316                   Zomba Recording LLC
  6895   Ciara                                                Hotline                                              SR0000355316                   Zomba Recording LLC
  6896   Ciara                                                Lookin' At You                                       SR0000355316                   Zomba Recording LLC
  6897   Ciara                                                Ooh Baby                                             SR0000355316                   Zomba Recording LLC
  6898   Ciara                                                Other Chicks                                         SR0000355316                   Zomba Recording LLC
  6899   Ciara                                                Pick Up The Phone                                    SR0000355316                   Zomba Recording LLC
  6900   Ciara                                                The Title                                            SR0000355316                   Zomba Recording LLC
  6901   Ciara                                                Thug Style                                           SR0000355316                   Zomba Recording LLC
  6902   Ciara feat. Missy Elliott                            One, Two Step                                        SR0000355316                   Zomba Recording LLC
  6903   Ciara feat. R. Kelly                                 Next To You                                          SR0000355316                   Zomba Recording LLC
  6904   Donell Jones feat. Left-Eye                          U Know What's Up                                     PA0001280927                   Zomba Recording LLC
  6905   Justin Timberlake                                    (And She Said) Take Me Now                           SR0000319834                   Zomba Recording LLC
  6906   Justin Timberlake                                    (Oh No) What You Got                                 SR0000319834                   Zomba Recording LLC
  6907   Justin Timberlake                                    Cry Me A River                                       SR0000319834                   Zomba Recording LLC
  6908   Justin Timberlake                                    Last Night                                           SR0000319834                   Zomba Recording LLC
  6909   Justin Timberlake                                    Let's Take A Ride                                    SR0000319834                   Zomba Recording LLC
  6910   Justin Timberlake                                    Like I Love You                                      SR0000321888                   Zomba Recording LLC
  6911   Justin Timberlake                                    Lovestoned/ I Think She Knows                        SR0000395943                   Zomba Recording LLC
  6912   Justin Timberlake                                    Medley: Sexy Ladies / Let Me Talk to You (Prelude)   SR0000395943                   Zomba Recording LLC
  6913   Justin Timberlake                                    Never Again                                          SR0000319834                   Zomba Recording LLC
  6914   Justin Timberlake                                    Nothin' Else                                         SR0000319834                   Zomba Recording LLC
  6915   Justin Timberlake                                    Right For Me                                         SR0000319834                   Zomba Recording LLC
  6916   Justin Timberlake                                    Rock Your Body                                       SR0000319834                   Zomba Recording LLC
  6917   Justin Timberlake                                    Senorita                                             SR0000319834                   Zomba Recording LLC
  6918   Justin Timberlake                                    Still On My Brain                                    SR0000319834                   Zomba Recording LLC
  6919   Justin Timberlake                                    Take It From Here                                    SR0000319834                   Zomba Recording LLC
  6920   Justin Timberlake                                    What Goes Around... Comes Around                     SR0000395943                   Zomba Recording LLC
  6921   Three Days Grace                                     Born Like This                                       SR0000338429                   Zomba Recording LLC
  6922   Three Days Grace                                     Burn                                                 SR0000338429                   Zomba Recording LLC
  6923   Three Days Grace                                     Drown                                                SR0000338429                   Zomba Recording LLC
  6924   Three Days Grace                                     Get Out Alive                                        SR0000397604                   Zomba Recording LLC
  6925   Three Days Grace                                     Gone Forever                                         SR0000397604                   Zomba Recording LLC
  6926   Three Days Grace                                     I Hate Everything About You                          SR0000338429                   Zomba Recording LLC
  6927   Three Days Grace                                     It's All Over                                        SR0000397604                   Zomba Recording LLC
  6928   Three Days Grace                                     Just Like You                                        SR0000338429                   Zomba Recording LLC
  6929   Three Days Grace                                     Let It Die                                           SR0000397604                   Zomba Recording LLC
  6930   Three Days Grace                                     Let You Down                                         SR0000338429                   Zomba Recording LLC
  6931   Three Days Grace                                     Never Too Late                                       SR0000397604                   Zomba Recording LLC
  6932   Three Days Grace                                     Now or Never                                         SR0000338429                   Zomba Recording LLC
  6933   Three Days Grace                                     On My Own                                            SR0000397604                   Zomba Recording LLC
  6934   Three Days Grace                                     One X                                                SR0000397604                   Zomba Recording LLC
  6935   Three Days Grace                                     Over And Over                                        SR0000397604                   Zomba Recording LLC
  6936   Three Days Grace                                     Overrated                                            SR0000338429                   Zomba Recording LLC
  6937   Three Days Grace                                     Riot                                                 SR0000397604                   Zomba Recording LLC
  6938   Three Days Grace                                     Scared                                               SR0000338429                   Zomba Recording LLC
  6939   Three Days Grace                                     Take Me Under                                        SR0000338429                   Zomba Recording LLC


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                                                                              EXHIBIT A - SOUND RECORDINGS

                                Artist                                                    Track                         Registration Number                    Plaintiff
  6940   Three Days Grace                                     Time Of Dying                                    SR0000397604                   Zomba Recording LLC
  6941   Three Days Grace                                     Wake Up                                          SR0000338429                   Zomba Recording LLC
  6942   UGK (Underground Kingz) feat. Outkast                Int'l Players Anthem (I Choose You)              PA0001634651                   Zomba Recording LLC
  6943   Usher                                                Confessions Part II (Remix)                      SR0000352165                   Zomba Recording LLC
  6944   Usher                                                My Boo                                           SR0000352165                   Zomba Recording LLC
  6945   Usher                                                Red Light                                        SR0000352165                   Zomba Recording LLC
  6946   Usher                                                Seduction                                        SR0000352165                   Zomba Recording LLC
  6947   Weird Al Yankovic                                    Albuquerque                                      SR0000275219                   Zomba Recording LLC
  6948   Weird Al Yankovic                                    Germs                                            SR0000275219                   Zomba Recording LLC
  6949   Weird Al Yankovic                                    Grapefruit Diet                                  SR0000275219                   Zomba Recording LLC
  6950   Weird Al Yankovic                                    It's All About The Pentiums                      SR0000275219                   Zomba Recording LLC
  6951   Weird Al Yankovic                                    Jerry Springer                                   SR0000275219                   Zomba Recording LLC
  6952   Weird Al Yankovic                                    My Baby's In Love With Eddie Vedder              SR0000275219                   Zomba Recording LLC
  6953   Weird Al Yankovic                                    Polka Power!                                     SR0000275219                   Zomba Recording LLC
  6954   Weird Al Yankovic                                    Pretty Fly For A Rabbi                           SR0000275219                   Zomba Recording LLC
  6955   Weird Al Yankovic                                    The Saga Begins                                  SR0000275219                   Zomba Recording LLC
  6956   Weird Al Yankovic                                    The Weird Al Show Theme                          SR0000275219                   Zomba Recording LLC
  6957   Weird Al Yankovic                                    Truck Drivin' Song                               SR0000275219                   Zomba Recording LLC
  6958   Weird Al Yankovic                                    Your Horoscope For Today                         SR0000275219                   Zomba Recording LLC
  6959   Whodini                                              Big Mouth                                        SR0000063110                   Zomba Recording LLC
  6960   Whodini                                              Escape (I Need A Break)                          SR0000063110                   Zomba Recording LLC
  6961   Whodini                                              Five Minutes Of Funk                             SR0000060859                   Zomba Recording LLC
  6962   Whodini                                              Freaks Come Out At Night                         SR0000063110                   Zomba Recording LLC
  6963   Whodini                                              Friends                                          SR0000060859                   Zomba Recording LLC




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                                                              EXHIBIT B - MUSICAL COMPOSITIONS

        Track                                                 Reg. No.         Plaintiff
   1    Pink                                                  PA0000849817     Colgems-EMI Music Inc.
   2    Freak Like Me                                         PA0001158289     Colgems-EMI Music Inc. / Screen Gems-EMI Music Inc.
   3    Guilty Conscience                                     PA0001207060;    Colgems-EMI Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0000954422;
                                                              PA0000962146
   4    Throw It On Me                                        PA0001760173     Cotillion Music, Inc.
   5    Wait A Minute                                         PA0001697038     Cotillion Music, Inc.
   6    When Something Is Wrong With My Baby                  Eu0000964275;    Cotillion Music, Inc.
                                                              RE0000654514
   7    Kids Say the Darndest Things                          RE0000835305     EMI Algee Music Corp.
   8    (515)                                                 PA0001062108     EMI April Music Inc.
   9    (sic)                                                 PA0001040104     EMI April Music Inc.
  10    1st Person                                            PA0001165086     EMI April Music Inc.
  11    2 Man Show                                            PA0001591430     EMI April Music Inc.
  12    30/30-150                                             PA0001165087     EMI April Music Inc.
  13    4 Minutes                                             PA0001164517     EMI April Music Inc.
  14    400 Lux                                               PA0002007289     EMI April Music Inc.
  15    50 Ways To Say Goodbye                                PA0001799437     EMI April Music Inc.
  16    A Little Piece Of Heaven                              PA0001591961     EMI April Music Inc.
  17    A New Beginning                                       PA0001111289     EMI April Music Inc.
  18    A World Alone                                         PA0002007289     EMI April Music Inc.
  19    Afterlife                                             PA0001591960     EMI April Music Inc.
  20    All I Need                                            PA0001104579     EMI April Music Inc.
  21    All I Wanted Was a Car                                PA0001167812     EMI April Music Inc.
  22    All That I Am                                         PA0001161185     EMI April Music Inc.
  23    All Your Reasons                                      PA0001588610     EMI April Music Inc.
  24    Almost Easy                                           PA0001591963     EMI April Music Inc.
  25    And I                                                 PA0001159779     EMI April Music Inc.
  26    Angel                                                 PA0001738403     EMI April Music Inc.
  27    Angel Eyes                                            PA0001810572     EMI April Music Inc.
  28    Another One                                           PA0001648125     EMI April Music Inc.
  29    As I Am (Intro)                                       PA0001590109     EMI April Music Inc.
  30    Attention                                             PA0001621899     EMI April Music Inc.
  31    Bat Country                                           PA0001162004     EMI April Music Inc.
  32    Be The One                                            PA0000795267     EMI April Music Inc.
  33    Be Your Everything                                    PA0001831407     EMI April Music Inc.
  34    Beast And The Harlot                                  PA0001162005     EMI April Music Inc.
  35    Before I Forget                                       PA0001231062     EMI April Music Inc.
  36    Betrayed                                              PA0001162006     EMI April Music Inc.
  37    Biting Down                                           PA0001904440     EMI April Music Inc.
  38    Blinded In Chains                                     PA0001162007     EMI April Music Inc.
  39    Bodies                                                PA0001731809     EMI April Music Inc.
  40    Book Of John                                          PA0001910898     EMI April Music Inc.
  41    Break Your Heart                                      PA0001687491     EMI April Music Inc.
  42    Brompton Cocktail                                     PA0001591959     EMI April Music Inc.
  43    Burn It Down                                          PA0001162008     EMI April Music Inc.
  44    Bust Your Windows                                     PA0001640781     EMI April Music Inc.
  45    Butterflyz                                            PA0001065075     EMI April Music Inc.
  46    By Your Side                                          PA0001159519     EMI April Music Inc.
  47    Caged Bird                                            PA0001065075     EMI April Music Inc.
  48    Camouflage                                            PA0001743344     EMI April Music Inc.
  49    Can U Handle It?                                      PA0001159345     EMI April Music Inc.
  50    Can U Help Me                                         PA0000846618     EMI April Music Inc.
  51    Cardiff                                               PA0001165077     EMI April Music Inc.
  52    Caught Up                                             PA0001159081     EMI April Music Inc.
  53    ChampagneChroniKnightCap                              PA0001955406     EMI April Music Inc.
  54    Choose                                                PA0001157849     EMI April Music Inc.
  55    Cleveland Is The City                                 PA0001105255     EMI April Music Inc.
  56    Cold Case Love                                        PA0001704466     EMI April Music Inc.
  57    Come Back                                             PA0000893388     EMI April Music Inc.
  58    Come What(ever) May                                   PA0001165078     EMI April Music Inc.
  59    Count On You                                          PA0001726662     EMI April Music Inc.
  60    Crazy World                                           PA0001831285     EMI April Music Inc.
  61    Creep                                                 PA0000797832     EMI April Music Inc.
  62    Critical Acclaim                                      PA0001591957     EMI April Music Inc.
  63    Cry Baby                                              PA0001731812     EMI April Music Inc.
  64    Daddy's Little Girl                                   PA0001706680     EMI April Music Inc.
  65    Dance With My Father                                  PA0001105451     EMI April Music Inc.
  66    Dear God                                              PA0001591954     EMI April Music Inc.
  67    Dear John                                             PA0001624582     EMI April Music Inc.
  68    Diary                                                 PA0001158368     EMI April Music Inc.
  69    Digital (Did You Tell)                                PA0001722498     EMI April Music Inc.
  70    Dilemma                                               PA0001073273     EMI April Music Inc.
  71    Dirt                                                  PA0001640796     EMI April Music Inc.
  72    Do It All Again                                       PA0001866549     EMI April Music Inc.
  73    Do It To Me                                           PA0001159080     EMI April Music Inc.
  74    Do The Right Thang                                    PA0001706726     EMI April Music Inc.




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                                                              EXHIBIT B - MUSICAL COMPOSITIONS

        Track                                                 Reg. No.         Plaintiff
  75    Don't Tell Me                                         PA0001159306     EMI April Music Inc.
  76    Dragon Days                                           PA0001158214     EMI April Music Inc.
  77    Dress On                                              PA0001843834     EMI April Music Inc.
  78    Drips                                                 PA0001092246     EMI April Music Inc.
  79    Drive (For Daddy Gene)                                PA0001118350     EMI April Music Inc.
  80    Drive By                                              PA0001799432     EMI April Music Inc.
  81    Duality                                               PA0001231062     EMI April Music Inc.
  82    Ego Tripping Out                                      PA0000065832     EMI April Music Inc.
  83    Elevate                                               PA0001825038     EMI April Music Inc.
  84    Epiphany                                              PA0001648126     EMI April Music Inc.
  85    Ever The Same                                         PA0001161186     EMI April Music Inc.
  86    Every Now And Then                                    PA0001131589     EMI April Music Inc.
  87    Every Other Memory                                    PA0001765856     EMI April Music Inc.
  88    Everybody Hurts                                       PA0001761234     EMI April Music Inc.
  89    Everybody Needs Love                                  PA0001738398     EMI April Music Inc.
  90    Everything Ends                                       PA0001102120     EMI April Music Inc.
  91    Eyeless                                               PA0000965864     EMI April Music Inc.
  92    Fading                                                PA0001728370     EMI April Music Inc.
  93    Fall                                                  PA0001920169     EMI April Music Inc.
  94    Fallin'                                               PA0001118374     EMI April Music Inc.
  95    Fallin' To Pieces                                     PA0001161187     EMI April Music Inc.
  96    Fantasy                                               PA0001167356     EMI April Music Inc.
  97    Feeling U, Feeling Me (Interlude)                     PA0001158215     EMI April Music Inc.
  98    Fertilizer                                            PA0001830370     EMI April Music Inc.
  99    Fold Your Hands Child                                 PA0001656112     EMI April Music Inc.
  100   Follow Me                                             PA0001159084     EMI April Music Inc.
  101   Follow My Life                                        PA0001131993     EMI April Music Inc.
  102   Freak Out                                             PA0001159307     EMI April Music Inc.
  103   G Is For Girl (A-Z)                                   PA0001649993     EMI April Music Inc.
  104   Get In My Car                                         PA0001723647     EMI April Music Inc.
  105   Get Inside                                            PA0001115051     EMI April Music Inc.
  106   Get Up Get Down                                       PA0001839489     EMI April Music Inc.
  107   Girlfriend                                            PA0001065074     EMI April Music Inc.
  108   Glory And Gore                                        PA0002007289     EMI April Music Inc.
  109   Go                                                    PA0001735199     EMI April Music Inc.
  110   Go Ahead                                              PA0001590126     EMI April Music Inc.
  111   God Bless                                             PA0001111571     EMI April Music Inc.
  112   God Given Name                                        PA0001610591     EMI April Music Inc.
  113   God In Me                                             PA0001640766     EMI April Music Inc.
  114   Gone Be Fine                                          PA0000914750     EMI April Music Inc.
  115   Good Girl                                             PA0001807727     EMI April Music Inc.
  116   Good Girls Go Bad                                     PA0001662734;    EMI April Music Inc.
                                                              PA0001679605
  117   Guilty                                                PA0001807273     EMI April Music Inc.
  118   Gunslinger                                            PA0001591956     EMI April Music Inc.
  119   Hand Me Down                                          PA0001104642     EMI April Music Inc.
  120   Harlem's Nocturne                                     PA0001158371     EMI April Music Inc.
  121   Heart Ain't A Brain                                   PA0001885554     EMI April Music Inc.
  122   Heaven Sent                                           PA0001395845     EMI April Music Inc.
  123   Hell & Consequences                                   PA0001165079     EMI April Music Inc.
  124   Hero/Heroine                                          PA0001165802     EMI April Music Inc.
  125   Hold On                                               PA0001113696     EMI April Music Inc.
  126   Hot                                                   PA0001167507     EMI April Music Inc.
  127   How Do I Say                                          PA0000846620     EMI April Music Inc.
  128   How Far We've Come                                    PA0001588613     EMI April Music Inc.
  129   How Far We've Come                                    PA0001588613     EMI April Music Inc.
  130   How I Feel                                            PA0001159657     EMI April Music Inc.
  131   How Long                                              PA0001850276     EMI April Music Inc.
  132   I Always Get What I Want                              PA0001160190     EMI April Music Inc.
  133   I Can't Let U Go                                      PA0000846615     EMI April Music Inc.
  134   I Can't Wait To Meetchu                               PA0000986835     EMI April Music Inc.
  135   I Gotta Feeling                                       PA0001396542     EMI April Music Inc.
  136   I Love LA                                             PA0001920258;    EMI April Music Inc.
                                                              PA0001879197
  137   I Miss You                                            PA0000978102     EMI April Music Inc.
  138   I Wanna Be                                            PA0001589983     EMI April Music Inc.
  139   I Want You                                            PA0001731813     EMI April Music Inc.
  140   I Will                                                PA0001850366     EMI April Music Inc.
  141   I Wish                                                PA0001813030     EMI April Music Inc.
  142   If I Ain't Got You                                    PA0001158216     EMI April Music Inc.
  143   If I Fall                                             PA0001588611     EMI April Music Inc.
  144   I'll Believe You When                                 PA0001588615     EMI April Music Inc.
  145   I'm Okay                                              PA0001648136     EMI April Music Inc.
  146   I'm Running                                           PA0001640785     EMI April Music Inc.
  147   In God's Hands                                        PA0001164471     EMI April Music Inc.
  148   Inhale                                                PA0001115050     EMI April Music Inc.
  149   Innocence                                             PA0001194022     EMI April Music Inc.




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                                                              EXHIBIT B - MUSICAL COMPOSITIONS

        Track                                                 Reg. No.         Plaintiff
  150   Innocence                                             PA0001167508     EMI April Music Inc.
  151   Intro                                                 PA0001159659     EMI April Music Inc.
  152   It's All About The Pentiums                           PA0000976952     EMI April Music Inc.
  153   I've Committed Murder                                 PA0000976706     EMI April Music Inc.
  154   Jane Doe                                              PA0001065078     EMI April Music Inc.
  155   Just For One Day                                      PA0001920253;    EMI April Music Inc.
                                                              PA0001879169
  156   Karma                                                 PA0001158372     EMI April Music Inc.
  157   Kissed It                                             PA0001737022     EMI April Music Inc.
  158   Land of the Snakes                                    PA0001975666     EMI April Music Inc.
  159   Lately                                                PA0001737021     EMI April Music Inc.
  160   Leaving California                                    PA0001831261     EMI April Music Inc.
  161   Left Behind                                           PA0001102120     EMI April Music Inc.
  162   Lesson Learned                                        PA0001590133     EMI April Music Inc.
  163   Let Me Love You                                       PA0001160636     EMI April Music Inc.
  164   Let's Go Out Tonight                                  PA0001166136     EMI April Music Inc.
  165   Life Of The Party                                     PA0001831259     EMI April Music Inc.
  166   Lifes On The Line                                     PA0001147481     EMI April Music Inc.
  167   Lifestyles Of The Rich & Famous                       PA0001113696     EMI April Music Inc.
  168   Lifetime                                              PA0001602821     EMI April Music Inc.
  169   Like Sugar                                            PA0001850238     EMI April Music Inc.
  170   Like You'll Never See Me Again                        PA0001590110     EMI April Music Inc.
  171   Lions, Tigers & Bears                                 PA0001640779     EMI April Music Inc.
  172   Little Girl                                           PA0001111575     EMI April Music Inc.
  173   Live A Lie                                            PA0001640780     EMI April Music Inc.
  174   London Bridge                                         PA0001165471     EMI April Music Inc.
  175   Lonely No More                                        PA0001161188     EMI April Music Inc.
  176   Losing Grip                                           PA0001101505     EMI April Music Inc.
  177   Lost                                                  PA0001591955     EMI April Music Inc.
  178   Love Drunk                                            PA0001735247     EMI April Music Inc.
  179   Love Of My Life                                       PA0001625858     EMI April Music Inc.
  180   Love Sex Magic                                        PA0001649982     EMI April Music Inc.
  181   Luxurious                                             PA0001160424     EMI April Music Inc.
  182   M.I.A.                                                PA0001162010     EMI April Music Inc.
  183   Made Of Scars                                         PA0001165080     EMI April Music Inc.
  184   Mannequin                                             PA0001888782     EMI April Music Inc.
  185   Million Dollar Bills                                  PA0001904440     EMI April Music Inc.
  186   Mobile                                                PA0001101509     EMI April Music Inc.
  187   Mr. Man                                               PA0001065080     EMI April Music Inc.
  188   MVP                                                   PA0001706727     EMI April Music Inc.
  189   My Bloody Valentine                                   PA0001113696     EMI April Music Inc.
  190   My Fondest Childhood Memories                         PA0001131694     EMI April Music Inc.
  191   My My My                                              PA0001161189     EMI April Music Inc.
  192   My Plague                                             PA0001102120     EMI April Music Inc.
  193   My Way                                                PA0000893387     EMI April Music Inc.
  194   Nasty Girl                                            PA0001706696     EMI April Music Inc.
  195   Nice And Slow                                         PA0000893386     EMI April Music Inc.
  196   No Better                                             PA0001882742     EMI April Music Inc.
  197   No One                                                PA0001590102     EMI April Music Inc.
  198   Nobody Not Really (Interlude)                         PA0001158373     EMI April Music Inc.
  199   Nobody's Business                                     PA0001881665     EMI April Music Inc.
  200   Nothing                                               PA0001072625     EMI April Music Inc.
  201   Now Comes The Night                                   PA0001161195     EMI April Music Inc.
  202   Nylon 6/6                                             PA0001718972     EMI April Music Inc.
  203   Old Man & Me                                          PA0000795267     EMI April Music Inc.
  204   On Fire                                               PA0001735856;    EMI April Music Inc.
                                                              PA0001731108
  205   One Day You'll Be Mine                                PA0000893389     EMI April Music Inc.
  206   One Of Those Girls                                    PA0001167509     EMI April Music Inc.
  207   One Thing                                             PA0001848513     EMI April Music Inc.
  208   Online                                                PA0001167813     EMI April Music Inc.
  209   Only Wanna Be With You                                PA0000734279     EMI April Music Inc.
  210   Orchids                                               PA0001115050     EMI April Music Inc.
  211   Our Song                                              PA0001850280     EMI April Music Inc.
  212   Overjoyed                                             PA0001850364     EMI April Music Inc.
  213   P.I.M.P.                                              PA0001105184     EMI April Music Inc.
  214   Papers                                                PA0001753740     EMI April Music Inc.
  215   Pete Wentz Is The Only Reason We're Famous            PA0001667218     EMI April Music Inc.
  216   Piano & I                                             PA0001065075     EMI April Music Inc.
  217   Pieces                                                PA0001718970     EMI April Music Inc.
  218   Pop Ya Collar                                         PA0001081875     EMI April Music Inc.
  219   Porcelain Doll                                        PA0001648132     EMI April Music Inc.
  220   Praise                                                PA0000101381     EMI April Music Inc.
  221   Prelude 3.0                                           PA0001231062     EMI April Music Inc.
  222   Prelude To A Kiss                                     PA0001590111     EMI April Music Inc.
  223   Pretty Boy Swag                                       PA0001734530     EMI April Music Inc.
  224   Problem Girl                                          PA0001161191     EMI April Music Inc.




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                                                              EXHIBIT B - MUSICAL COMPOSITIONS

        Track                                                 Reg. No.         Plaintiff
  225   Push                                                  PA0001761225     EMI April Music Inc.
  226   Put Your Hands Up                                     PA0001850287     EMI April Music Inc.
  227   Radio                                                 PA0001850359     EMI April Music Inc.
  228   Reborn                                                PA0001165124     EMI April Music Inc.
  229   Relating To A Psychopath                              PA0001092131     EMI April Music Inc.
  230   Remind Me                                             PA0001743361     EMI April Music Inc.
  231   Return The Favor                                      PA0001667243     EMI April Music Inc.
  232   Ribs                                                  PA0002007289     EMI April Music Inc.
  233   Riot Girl                                             PA0001157807     EMI April Music Inc.
  234   Rock Me In                                            PA0001626940     EMI April Music Inc.
  235   Rock That Body                                        PA0001666771     EMI April Music Inc.
  236   Royals                                                PA0002007289     EMI April Music Inc.
  237   Russian Roulette                                      PA0001704500     EMI April Music Inc.
  238   Samsonite Man                                         PA0001158374     EMI April Music Inc.
  239   Satisfied                                             PA0001731823     EMI April Music Inc.
  240   Say Anything                                          PA0001157807     EMI April Music Inc.
  241   Say You'll Haunt Me                                   PA0001722494     EMI April Music Inc.
  242   Scream                                                PA0001591958     EMI April Music Inc.
  243   Seduction                                             PA0001159869     EMI April Music Inc.
  244   Seize The Day                                         PA0001162009     EMI April Music Inc.
  245   Sensuality                                            PA0001395664     EMI April Music Inc.
  246   Sexual Healing                                        PA0000162210     EMI April Music Inc.
  247   Shattered Heart                                       PA0001624650     EMI April Music Inc.
  248   She's Gone                                            PA0001627413     EMI April Music Inc.
  249   She's Got A Boyfriend Now                             PA0001736534     EMI April Music Inc.
  250   She's So Mean                                         PA0001850358     EMI April Music Inc.
  251   Shortie Like Mine                                     PA0001647447     EMI April Music Inc.
  252   Shotgun                                               PA0001878368     EMI April Music Inc.
  253   Show Me                                               PA0001804834     EMI April Music Inc.
  254   Sidewinder                                            PA0001162011     EMI April Music Inc.
  255   Sillyworld                                            PA0001165081     EMI April Music Inc.
  256   Sleeping At The Wheel                                 PA0001850160     EMI April Music Inc.
  257   Slow Down                                             PA0001158938     EMI April Music Inc.
  258   So Beautiful                                          PA0001624586     EMI April Music Inc.
  259   Socio                                                 PA0001165082     EMI April Music Inc.
  260   Someone Like You                                      PA0001735195     EMI April Music Inc.
  261   Something Special                                     PA0001602832     EMI April Music Inc.
  262   Something To Be                                       PA0001161192     EMI April Music Inc.
  263   Space                                                 PA0001194022     EMI April Music Inc.
  264   Speechless                                            PA0001131696     EMI April Music Inc.
  265   Spit It Out                                           PA0000965864     EMI April Music Inc.
  266   Spread Yo Shit                                        PA0001245481     EMI April Music Inc.
  267   Still                                                 PA0000986836     EMI April Music Inc.
  268   Still On My Brain                                     PA0001118861     EMI April Music Inc.
  269   Still Sane                                            PA0002007289     EMI April Music Inc.
  270   Stranger                                              PA0001760579     EMI April Music Inc.
  271   Streets Of New York                                   PA0001162554     EMI April Music Inc.
  272   Strength Of The World                                 PA0001162012     EMI April Music Inc.
  273   Stuck in the Middle                                   PA0001831360     EMI April Music Inc.
  274   Superwoman                                            PA0001590140     EMI April Music Inc.
  275   Surfacing                                             PA0000965864     EMI April Music Inc.
  276   T.O.N.Y.                                              PA0001608776     EMI April Music Inc.
  277   Take A Number                                         PA0001115050     EMI April Music Inc.
  278   Take Me Away                                          PA0001656152     EMI April Music Inc.
  279   Take Me Away                                          PA0001159308     EMI April Music Inc.
  280   Take Me Home                                          PA0001831437     EMI April Music Inc.
  281   Take Our Time                                         PA0000797830     EMI April Music Inc.
  282   Taken                                                 PA0001813025     EMI April Music Inc.
  283   Team                                                  PA0002007289     EMI April Music Inc.
  284   Tell You Something (Nana's Reprise)                   PA0001590108     EMI April Music Inc.
  285   Tennis Court                                          PA0002007289     EMI April Music Inc.
  286   Thank You                                             PA0001653144     EMI April Music Inc.
  287   The Answer                                            PA0001279740;    EMI April Music Inc.
                                                              PA0001223278
  288   The Anthem                                            PA0001157807     EMI April Music Inc.
  289   The Bitter End                                        PA0001718944     EMI April Music Inc.
  290   The Blister Exists                                    PA0001231062     EMI April Music Inc.
  291   The Day That I Die                                    PA0001157807     EMI April Music Inc.
  292   The Definition                                        PA0001626025     EMI April Music Inc.
  293   The Fighter                                           PA0001806416     EMI April Music Inc.
  294   The First Time                                        PA0001831419     EMI April Music Inc.
  295   The Heretic Anthem                                    PA0001102120     EMI April Music Inc.
  296   The Impossible                                        PA0001073283     EMI April Music Inc.
  297   The Life                                              PA0001065079     EMI April Music Inc.
  298   The Love Club                                         PA0001904440     EMI April Music Inc.
  299   The More I Drink                                      PA0001993843     EMI April Music Inc.
  300   The Nameless                                          PA0001231062     EMI April Music Inc.




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                                                              EXHIBIT B - MUSICAL COMPOSITIONS

        Track                                                 Reg. No.         Plaintiff
  301   The Scene Is Dead; Long Live The Scene                PA0001662732     EMI April Music Inc.
  302   The Shot Heard 'Round The World                       PA0001735286     EMI April Music Inc.
  303   The Story Of My Old Man                               PA0001113696     EMI April Music Inc.
  304   The Wicked End                                        PA0001162014     EMI April Music Inc.
  305   The World Will Never Do                               PA0001662901     EMI April Music Inc.
  306   The Young & The Hopeless                              PA0001113696     EMI April Music Inc.
  307   These Hard Times                                      PA0001588614     EMI April Music Inc.
  308   Think About You                                       PA0001105460     EMI April Music Inc.
  309   Think Like A Man                                      PA0001820629     EMI April Music Inc.
  310   Threadbare                                            PA0001718936     EMI April Music Inc.
  311   Through Glass                                         PA0001165083     EMI April Music Inc.
  312   Throwback                                             PA0001159346     EMI April Music Inc.
  313   Thug Mentality                                        PA0001023895     EMI April Music Inc.
  314   Ticks                                                 PA0001167818     EMI April Music Inc.
  315   Time Well Wasted                                      PA0001162300     EMI April Music Inc.
  316   Trashed And Scattered                                 PA0001162013     EMI April Music Inc.
  317   Troubles                                              PA0001065076     EMI April Music Inc.
  318   Tumult                                                PA0001157849     EMI April Music Inc.
  319   Twork It Out                                          PA0000846613     EMI April Music Inc.
  320   U Make Me Wanna                                       PA000115929      EMI April Music Inc.
  321   Unbound (The Wild Ride)                               PA0001591987     EMI April Music Inc.
  322   Undisputed                                            PA0001707774     EMI April Music Inc.
  323   Valentine's Day                                       PA0001958626     EMI April Music Inc.
  324   Vermilion Pt. 2                                       PA0001231062     EMI April Music Inc.
  325   Wait And Bleed                                        PA0001040104     EMI April Music Inc.
  326   Wake Up                                               PA0001158369     EMI April Music Inc.
  327   Walking                                               PA0001738379     EMI April Music Inc.
  328   Wanksta                                               PA0001105183     EMI April Music Inc.
  329   Want U Back                                           PA0001835074     EMI April Music Inc.
  330   Waterfalls                                            PA0000797831     EMI April Music Inc.
  331   Welcome To Jamrock                                    PA0001162406     EMI April Music Inc.
  332   Wet Hot American Summer                               PA0001662916     EMI April Music Inc.
  333   What Makes You Beautiful                              PA0001790417     EMI April Music Inc.
  334   What Them Girls Like                                  PA0001620075     EMI April Music Inc.
  335   What's A Guy Gotta Do                                 PA0001159557     EMI April Music Inc.
  336   When It Hurts                                         PA0001621885     EMI April Music Inc.
  337   When The Heartache Ends                               PA0001161193     EMI April Music Inc.
  338   When You Really Love Someone                          PA0001158370     EMI April Music Inc.
  339   When You're Gone                                      PA0001167506     EMI April Music Inc.
  340   Where Do We Go From Here                              PA0001590129     EMI April Music Inc.
  341   Where Were You (When the World Stopped Turning)       PA0001076926     EMI April Music Inc.
  342   White Teeth Teens                                     PA0002007289     EMI April Music Inc.
  343   Who Is She To U                                       PA0001159573     EMI April Music Inc.
  344   Why Is It So Hard                                     PA0001738400     EMI April Music Inc.
  345   Will Work For Love                                    PA0001658983     EMI April Music Inc.
  346   With You                                              PA0001163725     EMI April Music Inc.
  347   Wondering                                             PA0001157807     EMI April Music Inc.
  348   Wreckless Love                                        PA0001589833     EMI April Music Inc.
  349   Y.O.U.                                                PA0001621886     EMI April Music Inc.
  350   Yeah 3x                                               PA0001884071     EMI April Music Inc.
  351   Yeah!                                                 PA0001159089     EMI April Music Inc.
  352   You Make Me Wanna...                                  PA0000893384     EMI April Music Inc.
  353   You Need a Man Around Here                            PA0001162302     EMI April Music Inc.
  354   You'll Think Of Me                                    PA0001073550     EMI April Music Inc.
  355   Your God                                              PA0001165084     EMI April Music Inc.
  356   Your Secret Love                                      PA0000826398     EMI April Music Inc.
  357   You're So Real                                        PA0001104643     EMI April Music Inc.
  358   Zzyzx Rd.                                             PA0001165085     EMI April Music Inc.
  359   Hot Tottie                                            PA0001760557     EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp.
  360   Just Like Me                                          PA0001033071;    EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                              PA0000893385
  361   3AM                                                   PA0000844647     EMI April Music Inc. / EMI Blackwood Music Inc.
  362   All I Ever Wanted                                     PA0001131835     EMI April Music Inc. / EMI Blackwood Music Inc.
  363   Back 2 Good                                           PA0000844646     EMI April Music Inc. / EMI Blackwood Music Inc.
  364   Bed Of Lies                                           PA0001006952     EMI April Music Inc. / EMI Blackwood Music Inc.
  365   Before I Met You                                      PA0001673114     EMI April Music Inc. / EMI Blackwood Music Inc.
  366   Better Version                                        PA0001131836     EMI April Music Inc. / EMI Blackwood Music Inc.
  367   Black & White People                                  PA0001006950     EMI April Music Inc. / EMI Blackwood Music Inc.
  368   Busted                                                PA0000844644     EMI April Music Inc. / EMI Blackwood Music Inc.
  369   Changes                                               PA0001731492     EMI April Music Inc. / EMI Blackwood Music Inc.
  370   Crutch                                                PA0001006950     EMI April Music Inc. / EMI Blackwood Music Inc.
  371   Damn                                                  PA0000844644     EMI April Music Inc. / EMI Blackwood Music Inc.
  372   Disease                                               PA0001105084     EMI April Music Inc. / EMI Blackwood Music Inc.
  373   Don't Look Down                                       PA0001738410     EMI April Music Inc. / EMI Blackwood Music Inc.
  374   Downfall                                              PA0001104581     EMI April Music Inc. / EMI Blackwood Music Inc.
  375   Everywhere                                            PA0001731500     EMI April Music Inc. / EMI Blackwood Music Inc.
  376   Fallin' Out                                           PA0001589919     EMI April Music Inc. / EMI Blackwood Music Inc.




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        Track                                                 Reg. No.         Plaintiff
  377   Girl Like That                                        PA0000844644     EMI April Music Inc. / EMI Blackwood Music Inc.
  378   Hang                                                  PA0000844644     EMI April Music Inc. / EMI Blackwood Music Inc.
  379   Have Some Fun                                         PA0001158407     EMI April Music Inc. / EMI Blackwood Music Inc.
  380   Heart Heart Heartbreak                                PA0001735191;    EMI April Music Inc. / EMI Blackwood Music Inc.
                                                              PA0001730760
  381   Heartbreak Hotel                                      PA0000927023     EMI April Music Inc. / EMI Blackwood Music Inc.
  382   I Need You                                            PA0001590128     EMI April Music Inc. / EMI Blackwood Music Inc.
  383   If You're Gone                                        PA0001006950;    EMI April Music Inc. / EMI Blackwood Music Inc.
                                                              PA0001038500
  384   If You're Out There                                   PA0001646374     EMI April Music Inc. / EMI Blackwood Music Inc.
  385   In Memory                                             PA0001131837     EMI April Music Inc. / EMI Blackwood Music Inc.
  386   It's Not Right But It's Okay                          PA0000954971     EMI April Music Inc. / EMI Blackwood Music Inc.
  387   Kody                                                  PA0000844644     EMI April Music Inc. / EMI Blackwood Music Inc.
  388   Lacerated                                             PA0001131838     EMI April Music Inc. / EMI Blackwood Music Inc.
  389   Leave                                                 PA0001006950     EMI April Music Inc. / EMI Blackwood Music Inc.
  390   Left Out                                              PA0001131839     EMI April Music Inc. / EMI Blackwood Music Inc.
  391   Long Day                                              PA0000844644     EMI April Music Inc. / EMI Blackwood Music Inc.
  392   Mad Season                                            PA0001006950     EMI April Music Inc. / EMI Blackwood Music Inc.
  393   Make My Day                                           PA0001731490     EMI April Music Inc. / EMI Blackwood Music Inc.
  394   Never Forget You                                      PA0001738485     EMI April Music Inc. / EMI Blackwood Music Inc.
  395   One Less Lonely Girl                                  PA0001704465     EMI April Music Inc. / EMI Blackwood Music Inc.
  396   Outro (Obie Trice/ Cheers)                            PA0001159257     EMI April Music Inc. / EMI Blackwood Music Inc.
  397   Piano Man                                             PA0001625977     EMI April Music Inc. / EMI Blackwood Music Inc.
  398   Push                                                  PA0000844645     EMI April Music Inc. / EMI Blackwood Music Inc.
  399   Push (Time Capsule Version)                           PA0000844645     EMI April Music Inc. / EMI Blackwood Music Inc.
  400   Real World                                            PA0001655141     EMI April Music Inc. / EMI Blackwood Music Inc.
  401   Rest Stop                                             PA0001038500     EMI April Music Inc. / EMI Blackwood Music Inc.
  402   Right On the Money                                    PA0000922532     EMI April Music Inc. / EMI Blackwood Music Inc.
  403   So Simple                                             PA0001158375     EMI April Music Inc. / EMI Blackwood Music Inc.
  404   Take Your Hand                                        PA0001159167     EMI April Music Inc. / EMI Blackwood Music Inc.
  405   Takin' It There                                       PA0001640699     EMI April Music Inc. / EMI Blackwood Music Inc.
  406   Teenage Love Affair                                   PA0001590132     EMI April Music Inc. / EMI Blackwood Music Inc.
  407   Un-thinkable (I'm Ready)                              PA0001666749     EMI April Music Inc. / EMI Blackwood Music Inc.
  408   Warm It Up (With Love)                                PA0001624745     EMI April Music Inc. / EMI Blackwood Music Inc.
  409   Wasted                                                PA0002067753     EMI April Music Inc. / EMI Blackwood Music Inc.
  410   When The Music Stops                                  PA0001073068     EMI April Music Inc. / EMI Blackwood Music Inc.
  411   Who Dat                                               PA0001640769     EMI April Music Inc. / EMI Blackwood Music Inc.
  412   You Don't Know My Name                                PA0001158217     EMI April Music Inc. / EMI Blackwood Music Inc.
  413   You Won't Be Mine                                     PA0001006950,    EMI April Music Inc. / EMI Blackwood Music Inc.
                                                              PA0001038500
  414   Fallen                                                PA0001712987     EMI April Music Inc. / EMI Blackwood Music Inc./ Sony/ATV Music Publishing LLC
  415   Like This                                             PA0001072623     EMI April Music Inc. / EMI Blackwood Music Inc./ Sony/ATV Music Publishing LLC
  416   Last Beautiful Girl                                   PA0000978638;    EMI April Music Inc. / EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001006951
  417   Out Of My Head                                        PA0001750279;    EMI April Music Inc. / EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001738574
  418   That's My Kind Of Night                               PA0001870880;    EMI April Music Inc. / EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp. /
                                                              PA0001967409     Warner Chappell Music, Inc.
  419   We Run This Town                                      PA0001967419     EMI April Music Inc. / EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp. /
                                                                               Warner Chappell Music, Inc.
  420   Make It Last Forever                                  PA0001375846;    EMI April Music Inc. / EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp. /
                                                              PA0001166656     Warner-Tamerlane Publishing Corp.
  421   It's a Beautiful Life                                 PA0001203953     EMI April Music Inc. / EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp.
  422   Someone To Love Me (Naked)                            PA0001842413     EMI April Music Inc. / EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp.
  423   Turn It Up                                            PA0001763350     EMI April Music Inc. / EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp.
  424   A Moment To Myself                                    PA0000986838     EMI April Music Inc. / EMI Consortium Songs Inc. d/b/a EMI Longitude Music
  425   Backagain                                             PA0001395994     EMI April Music Inc. / EMI Consortium Songs Inc. d/b/a EMI Longitude Music
  426   Blame It On Me                                        PA0001670195     EMI April Music Inc. / EMI Entertainment World Inc. d/b/a EMI Foray Music / Warner-Tamerlane
                                                                               Publishing Corp.
  427   Fragile                                               PA0001648128     EMI April Music Inc. / EMI Entertainment World Inc. d/b/a EMI Foray Music / Warner-Tamerlane
                                                                               Publishing Corp.
  428   Mr. Right                                             PA0001670188     EMI April Music Inc. / EMI Entertainment World Inc. d/b/a EMI Foray Music / Warner-Tamerlane
                                                                               Publishing Corp.
  429   Notebook                                              PA0001670195     EMI April Music Inc. / EMI Entertainment World Inc. d/b/a EMI Foray Music / Warner-Tamerlane
                                                                               Publishing Corp.
  430   Until                                                 PA0001624579     EMI April Music Inc. / Jobete Music Co Inc.
  431   Everybody Hates Chris                                 PA0001706689     EMI April Music Inc. / Jobete Music Co. Inc.
  432   Superstar                                             PA0001159085     EMI April Music Inc. / Jobete Music Co. Inc.
  433   Good Man                                              PA0001752533     EMI April Music Inc. / Polygram Publishing, Inc.
  434   All My Life                                           PA0001644944     EMI April Music Inc. / Sony/ATV Music Publishing LLC
  435   Call Up The Homies                                    PA0001706741     EMI April Music Inc. / Sony/ATV Music Publishing LLC
  436   Energy                                                PA0001840559     EMI April Music Inc. / Sony/ATV Music Publishing LLC
  437   First Dance                                           PA0001749344     EMI April Music Inc. / Sony/ATV Music Publishing LLC
  438   Never Took The Time                                   PA0001663701     EMI April Music Inc. / Sony/ATV Music Publishing LLC
  439   Save You Tonight                                      PA0001784623     EMI April Music Inc. / Sony/ATV Music Publishing LLC
  440   Slower                                                PA0001835570     EMI April Music Inc. / Sony/ATV Music Publishing LLC
  441   Without You                                           PA0001877914     EMI April Music Inc. / Sony/ATV Music Publishing LLC




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        Track                                                 Reg. No.         Plaintiff
  442   Lemme See                                             PA0001828069     EMI April Music Inc. / Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc.
  443   Brand New                                             PA0001858773     EMI April Music Inc. / Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
  444   You Can't Stop Us Now                                 PA0001396096     EMI April Music Inc. / Stone Agate Music (a division of Jobete Music Co. Inc.)
  445   Living In The Sky With Diamonds                       PA0001678956     EMI April Music Inc. / Unichappell Music Inc.
  446   My Boo                                                PA0001159778     EMI April Music Inc. / Unichappell Music Inc.
  447   Turn It Up                                            PA0001317543     EMI April Music Inc. / Universal Music Corp.
  448   Billionaire                                           PA0001740847;    EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001714525
  449   Breakdown                                             PA0000896279     EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp.
  450   Heartburn                                             PA0001158218;    EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001879469
  451   High Price                                            PA0001659051     EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp.
  452   I Do It For Hip Hop                                   PA0001869933     EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp.
  453   Niggaz Know                                           PA0001884065     EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp.
  454   Shackles (Praise You)                                 PA0001157819     EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp.
  455   Take You Down                                         PA0001395676     EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp.
  456   Turn It Up                                            PA0001236716;    EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001159468
  457   Until It Breaks                                       PA0001840841     EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp.
  458   Where I Wanna Be                                      PA0001087580;    EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001024534
  459   Baby                                                  PA0001733297     EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp.
  460   Billionaire                                           PA0001740847;    EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA00001714525
  461   A Little Home                                         PA0001853121;    EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp. / Warner Chappell Music, Inc.
                                                              PA0001910890
  462   Be The Lake                                           PA0001743353;    EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp. / Warner Chappell Music, Inc.
                                                              PA0002004490
  463   Working On A Tan                                      PA0001742330;    EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp. / Warner Chappell Music, Inc.
                                                              PA0002004468
  464   We Made You                                           PA0001848047;    EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing
                                                              PA0001706448;    Corp.
                                                              PA0001957226
  465   4 Years Old                                           PA0001842281     EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing
                                                                               Corp.
  466   Best Thing                                            PA0001690183     EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing
                                                                               Corp.
  467   Lighters                                              PA0001842411     EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing
                                                                               Corp.
  468   Nice Guys Finish Last                                 PA0001656109     EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing
                                                                               Corp.
  469   Real Hip Hop                                          PA0001314213;    EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing
                                                              PA0001159524;    Corp.
                                                              PA0001241282
  470   Someone Else                                          PA0001870024     EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing
                                                                               Corp.
  471   All Of The Night                                      PA0001868329     EMI April Music Inc. / W.C.M. Music Corp.
  472   Appetite                                              PA0001699247;    EMI April Music Inc. / W.C.M. Music Corp.
                                                              PA0001687431
  473   Burn                                                  PA0001227181;    EMI April Music Inc. / W.C.M. Music Corp.
                                                              PA0001159079
  474   Confessions pt. 2                                     PA0001227181;    EMI April Music Inc. / W.C.M. Music Corp.
                                                              PA0001159082
  475   Confessions pt. 2 Remix                               PA0001160227     EMI April Music Inc. / W.C.M. Music Corp.
  476   Hey Daddy (Daddy's Home)                              PA0001700475;    EMI April Music Inc. / W.C.M. Music Corp.
                                                              PA0001707160
  477   U Got It Bad                                          PA0001248726;    EMI April Music Inc. / W.C.M. Music Corp.
                                                              PA0000846614
  478   All-American Girl                                     PA0001590017     EMI April Music Inc. / Warner Chappell Music, Inc.
  479   Above The Law                                         PA0001808400     EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
  480   Cheated                                               PA0001853123     EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
  481   Hold Up                                               PA0001851053     EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
  482   I'm On Everything                                     PA0001808404     EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
  483   I'm Still A Guy                                       PA0001167815     EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
  484   Loud Noises                                           PA0001808399     EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
  485   One of Those Lives                                    PA0002004472     EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
  486   Take From Me                                          PA0001808393     EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
  487   You Know What                                         PA0001373489     EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
  488   A Milli                                               PA0001651821;    EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                              PA0001646370
  489   Bad Girl                                              PA0001227184;    EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                              PA0001159548
  490   Einstein                                              PA0001851192;    EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                              PA0001771871
  491   Enough Of No Love                                     PA0001850232;    EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                              PA0001833132
  492   Good To Me                                            PA0001016045     EMI April Music Inc. / Warner-Tamerlane Publishing Corp.




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        Track                                                 Reg. No.         Plaintiff
  493   Ground Zero                                           PA0001728545;    EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                              PA0001706473
  494   Gun Shot                                              PA0001868333     EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
  495   Hands in the Air                                      PA0001869999     EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
  496   Hip Hop                                               PA0001852357;    EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                              PA0001874306
  497   Hot Mess                                              PA0001679596;    EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                              PA0001662752
  498   Hustlenomics                                          PA0001648809;    EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                              PA0001648764
  499   I'm A G                                               PA0001648787     EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
  500   Incredible                                            PA0001387427;    EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                              PA0001167536
  501   It's Goin' Down                                       PA0001349210;    EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                              PA0001164441
  502   Last Of A Dying Breed                                 PA0001660091     EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
  503   Legs Shakin'                                          PA0001933961     EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
  504   Living Proof                                          PA0001841719     EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
  505   Pieces Of Me                                          PA0001778259;    EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                              PA0001760343
  506   Rock the Pants                                        PA0001720639     EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
  507   Simple Things                                         PA0001227182;    EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                              PA0001159549
  508   Super Bass                                            PA0001852528     EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
  509   That Ain't Me                                         PA0001745296;    EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                              PA0001744900
  510   That's What It's Made For                             PA0001227183;    EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                              PA0001159550
  511   The Bed                                               PA0001227153;    EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                              PA0001159332
  512   Truth Hurts                                           PA0001227182;    EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                              PA0001159551
  513   We Were Us                                            PA0001878243;    EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                              PA0001947445
  514   Lost In The Sun                                       PA0001641063     EMI Blackwood Music Inc
  515   911                                                   PA0001837905     EMI Blackwood Music Inc.
  516   (I Got That) Boom Boom                                PA0001158397     EMI Blackwood Music Inc.
  517   10 Days Late                                          PA0000986880     EMI Blackwood Music Inc.
  518   Across The World                                      PA0001706677     EMI Blackwood Music Inc.
  519   All About Tonight                                     PA0001716538     EMI Blackwood Music Inc.
  520   All Over Me                                           PA0001732490     EMI Blackwood Music Inc.
  521   Amazin'                                               PA0001640767     EMI Blackwood Music Inc.
  522   Anna Begins                                           PA0000708858     EMI Blackwood Music Inc.
  523   Back When It Was                                      PA0001321505     EMI Blackwood Music Inc.
  524   Bad Things                                            PA0001164354     EMI Blackwood Music Inc.
  525   Ballin'                                               PA0001855548     EMI Blackwood Music Inc.
  526   Bang It Up                                            PA0001626146     EMI Blackwood Music Inc.
  527   Beautiful Mess                                        PA0001073133     EMI Blackwood Music Inc.
  528   Better Than Me                                        PA0001162964     EMI Blackwood Music Inc.
  529   BGTY                                                  PA0001760358     EMI Blackwood Music Inc.
  530   Black Crowns                                          PA0001788405     EMI Blackwood Music Inc.
  531   Bliss (I Don't Wanna Know)                            PA0001162965     EMI Blackwood Music Inc.
  532   Boys 'Round Here                                      PA0001837383     EMI Blackwood Music Inc.
  533   Burning Bright                                        PA0001278083     EMI Blackwood Music Inc.
  534   By The Way                                            PA0001640696     EMI Blackwood Music Inc.
  535   Call Me                                               PA0001601050     EMI Blackwood Music Inc.
  536   Calling                                               PA0001832167     EMI Blackwood Music Inc.
  537   Careless World                                        PA0001788401     EMI Blackwood Music Inc.
  538   Celebrate                                             PA0001775496     EMI Blackwood Music Inc.
  539   Celebration                                           PA0001788393     EMI Blackwood Music Inc.
  540   Circulate                                             PA0001640772     EMI Blackwood Music Inc.
  541   Comin' Home                                           PA0001167517     EMI Blackwood Music Inc.
  542   Contagious                                            PA0001354282     EMI Blackwood Music Inc.
  543   Cool                                                  PA0001160425     EMI Blackwood Music Inc.
  544   Cool                                                  PA0001627481     EMI Blackwood Music Inc.
  545   Crazy Dream                                           PA0001159601     EMI Blackwood Music Inc.
  546   Crazy World                                           PA0001640764     EMI Blackwood Music Inc.
  547   Deuces                                                PA0001738384     EMI Blackwood Music Inc.
  548   Devour                                                PA0001601052     EMI Blackwood Music Inc.
  549   Dime Mi Amor                                          PA0001159602     EMI Blackwood Music Inc.
  550   Dive                                                  PA0001828070     EMI Blackwood Music Inc.
  551   Do It All                                             PA0001788396     EMI Blackwood Music Inc.
  552   Don't You Know                                        PA0001640771     EMI Blackwood Music Inc.
  553   Dreamer                                               PA0001071485     EMI Blackwood Music Inc.
  554   Dust in The Wind                                      RE0000912166     EMI Blackwood Music Inc.
  555   English Town                                          PA0001850285     EMI Blackwood Music Inc.
  556   Even The Stars Fall 4 U                               PA0001947441     EMI Blackwood Music Inc.




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        Track                                                 Reg. No.        Plaintiff
  557   Everybody                                             PA0001592998    EMI Blackwood Music Inc.
  558   Everything Back But You                               PA0001167505    EMI Blackwood Music Inc.
  559   Faded                                                 PA0001788407    EMI Blackwood Music Inc.
  560   Far Away                                              PA0001788325    EMI Blackwood Music Inc.
  561   Far From Home                                         PA0001641064    EMI Blackwood Music Inc.
  562   Fine Again                                            PA0001627411    EMI Blackwood Music Inc.
  563   Get Allot                                             PA0001640710    EMI Blackwood Music Inc.
  564   Get Stoned                                            PA0001162973    EMI Blackwood Music Inc.
  565   Get To Me                                             PA0001867242    EMI Blackwood Music Inc.
  566   Glass                                                 PA0001743265    EMI Blackwood Music Inc.
  567   Good Ole Boys                                         PA0001760428    EMI Blackwood Music Inc.
  568   Goodbye Earl                                          PA0000969189    EMI Blackwood Music Inc.
  569   Heaven                                                PA0001158408    EMI Blackwood Music Inc.
  570   Heaven                                                PA0001159600    EMI Blackwood Music Inc.
  571   Her Heart                                             PA0001768280    EMI Blackwood Music Inc.
  572   Hi-Definitions                                        PA0001600815    EMI Blackwood Music Inc.
  573   Hollywood                                             PA0001159603    EMI Blackwood Music Inc.
  574   Homecoming Queen                                      PA0001162966    EMI Blackwood Music Inc.
  575   Honestly                                              PA0001972855    EMI Blackwood Music Inc.
  576   Honey Bee                                             PA0001760410    EMI Blackwood Music Inc.
  577   How Long                                              PA0001162974    EMI Blackwood Music Inc.
  578   Hurry Baby                                            PA0001910891    EMI Blackwood Music Inc.
  579   Hustlaz Ambition                                      PA0001640768    EMI Blackwood Music Inc.
  580   I Ain't Ready To Quit                                 PA0001728141    EMI Blackwood Music Inc.
  581   I Did It For Sho                                      PA0001627415    EMI Blackwood Music Inc.
  582   I Drive Your Truck                                    PA0001900113    EMI Blackwood Music Inc.
  583   If U Seek Amy                                         PA0001881662    EMI Blackwood Music Inc.
  584   If You Can Do Anything Else                           PA0000981323    EMI Blackwood Music Inc.
  585   If You Only Knew                                      PA0001601046    EMI Blackwood Music Inc.
  586   I'm Gone                                              PA0001788402    EMI Blackwood Music Inc.
  587   In My Business                                        PA0000931051    EMI Blackwood Music Inc.
  588   Independence                                          PA0001728329    EMI Blackwood Music Inc.
  589   International Harvester                               PA0001642429    EMI Blackwood Music Inc.
  590   Involve Yourself                                      PA0001395666    EMI Blackwood Music Inc.
  591   Jaded                                                 PA0001042785    EMI Blackwood Music Inc.
  592   Jesse James                                           PA0000787272    EMI Blackwood Music Inc.
  593   La Contestacion                                       PA0001159599    EMI Blackwood Music Inc.
  594   Lasso                                                 PA0001728410    EMI Blackwood Music Inc.
  595   Last Kiss Goodbye                                     PA0001641015    EMI Blackwood Music Inc.
  596   Lay You Down                                          PA0001788308    EMI Blackwood Music Inc.
  597   Light Dreams                                          PA0001788323    EMI Blackwood Music Inc.
  598   Lips Of An Angel                                      PA0001162967    EMI Blackwood Music Inc.
  599   Little Bit Of Everything                              PA0001947440    EMI Blackwood Music Inc.
  600   Loaded and Alone                                      PA0001641065    EMI Blackwood Music Inc.
  601   Long Distance Interlude                               PA0001641290    EMI Blackwood Music Inc.
  602   Love Ain't Like That                                  PA0000894510    EMI Blackwood Music Inc.
  603   Love Game                                             PA0001788312    EMI Blackwood Music Inc.
  604   Mexicoma                                              PA0001910901    EMI Blackwood Music Inc.
  605   Mine Would Be You                                     PA0001859225    EMI Blackwood Music Inc.
  606   Miss You Being Gone                                   PA0001727845    EMI Blackwood Music Inc.
  607   More Than Love                                        PA0001159604    EMI Blackwood Music Inc.
  608   Muthaf**ka Up                                         PA0001788404    EMI Blackwood Music Inc.
  609   My Happy Ending                                       PA0001159309    EMI Blackwood Music Inc.
  610   My President                                          PA0001697454    EMI Blackwood Music Inc.
  611   N.I.*.*.E.R. (The Slave and the Master)               PA0001396103    EMI Blackwood Music Inc.
  612   No One Gonna Love You                                 PA0001738399    EMI Blackwood Music Inc.
  613   Nobody Else                                           PA0001159606    EMI Blackwood Music Inc.
  614   Nothin' Good About Goodbye                            PA0001162969    EMI Blackwood Music Inc.
  615   Now I Know                                            PA0001162729    EMI Blackwood Music Inc.
  616   Nowhere Fast                                          PA0001642920    EMI Blackwood Music Inc.
  617   Onda                                                  PA0001160202    EMI Blackwood Music Inc.
  618   Out of Character                                      PA0001395668    EMI Blackwood Music Inc.
  619   Parking Lot Party                                     PA0001900112    EMI Blackwood Music Inc.
  620   Pirate Flag                                           PA0001904652    EMI Blackwood Music Inc.
  621   Potty Mouth                                           PA0001783085    EMI Blackwood Music Inc.
  622   Praise You Forever                                    PA0001708382    EMI Blackwood Music Inc.
  623   Prayin' For You/Superman                              PA0001627414    EMI Blackwood Music Inc.
  624   Promise                                               PA0001166650    EMI Blackwood Music Inc.
  625   Pucker Up                                             PA0001649988    EMI Blackwood Music Inc.
  626   Raining In Baltimore                                  PA0000708863    EMI Blackwood Music Inc.
  627   Real Emotions                                         PA0001159607    EMI Blackwood Music Inc.
  628   Red Light                                             PA0001241918    EMI Blackwood Music Inc.
  629   Right There                                           PA0001745930    EMI Blackwood Music Inc.
  630   Room 21                                               PA0001162970    EMI Blackwood Music Inc.
  631   Round Here                                            PA0000708854    EMI Blackwood Music Inc.
  632   Say Goodnight                                         PA0001756544    EMI Blackwood Music Inc.
  633   Second Chance                                         PA0001601042    EMI Blackwood Music Inc.




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        Track                                                 Reg. No.          Plaintiff
  634   See You Again                                         PA0001807700      EMI Blackwood Music Inc.
  635   Senorita                                              PA0001159605      EMI Blackwood Music Inc.
  636   She Thinks My Tractor's Sexy                          PA0000950753      EMI Blackwood Music Inc.
  637   She's So California                                   PA0001695824      EMI Blackwood Music Inc.
  638   Shoulda                                               PA0001162975      EMI Blackwood Music Inc.
  639   Should've Kissed You                                  PA0001772278      EMI Blackwood Music Inc.
  640   Sin With A Grin                                       PA0001601054      EMI Blackwood Music Inc.
  641   Something To Do With My Hands                         PA0001800963      EMI Blackwood Music Inc.
  642   Songbird                                              PA0000330273      EMI Blackwood Music Inc.
  643   Sound Of Madness                                      PA0001601045      EMI Blackwood Music Inc.
  644   Spectrum                                              PA0001832077      EMI Blackwood Music Inc.
  645   Spend That                                            PA0001933956      EMI Blackwood Music Inc.
  646   Stop Cheatin' On Me                                   PA0001907989      EMI Blackwood Music Inc.
  647   Take It To The Limit                                  PA0001641026      EMI Blackwood Music Inc.
  648   Tell Me Why                                           PA0001159608      EMI Blackwood Music Inc.
  649   Ten Times Crazier                                     PA0001859226      EMI Blackwood Music Inc.
  650   That's Why I'm Here                                   PA0000867535      EMI Blackwood Music Inc.
  651   The Best Damn Thing                                   PA0001354251      EMI Blackwood Music Inc.
  652   The Best is Yet to Come                               PA0001641028      EMI Blackwood Music Inc.
  653   The Crow & The Butterfly                              PA0001601051      EMI Blackwood Music Inc.
  654   The Dollar                                            PA0001163958      EMI Blackwood Music Inc.
  655   The More Boys I Meet                                  PA0001590022      EMI Blackwood Music Inc.
  656   The One That Got Away                                 PA0001818449      EMI Blackwood Music Inc.
  657   The Point Of It All                                   PA0001631133      EMI Blackwood Music Inc.
  658   The Recession                                         PA0001640694      EMI Blackwood Music Inc.
  659   The Recession (Intro)                                 PA0001640694      EMI Blackwood Music Inc.
  660   There Goes My Baby                                    PA0001716542      EMI Blackwood Music Inc.
  661   Thing For You                                         PA0001641062      EMI Blackwood Music Inc.
  662   This Is Like                                          PA0001788320      EMI Blackwood Music Inc.
  663   Til I Forget About You                                PA0001733313      EMI Blackwood Music Inc.
  664   Time Flies                                            PA0001807051      EMI Blackwood Music Inc.
  665   U Dont Know Me (Like U Used To)                       PA0000965774      EMI Blackwood Music Inc.
  666   Unwell                                                PA0001104578      EMI Blackwood Music Inc.
  667   Up All Night                                          PA0001641019      EMI Blackwood Music Inc.
  668   Use Me                                                PA0001640932      EMI Blackwood Music Inc.
  669   Vacation                                              PA0001640774      EMI Blackwood Music Inc.
  670   Velvet Sky                                            PA0001159613      EMI Blackwood Music Inc.
  671   Welcome Back                                          PA0001640693      EMI Blackwood Music Inc.
  672   We're Young and Beautiful                             PA0001162893      EMI Blackwood Music Inc.
  673   What A Shame                                          PA0001601047      EMI Blackwood Music Inc.
  674   What About Now                                        PA0001166336      EMI Blackwood Music Inc.
  675   What They Want                                        PA0001640765      EMI Blackwood Music Inc.
  676   When I Grow Up                                        PA0001640788      EMI Blackwood Music Inc.
  677   When You Touch Me                                     PA0001072626      EMI Blackwood Music Inc.
  678   Why                                                   PA0001660621      EMI Blackwood Music Inc.
  679   Wine After Whiskey                                    PA0001807696      EMI Blackwood Music Inc.
  680   Without You                                           PA0001641023      EMI Blackwood Music Inc.
  681   You Lie                                               PA0001728328      EMI Blackwood Music Inc.
  682   Your Man                                              PA0001163481      EMI Blackwood Music Inc.
  683   Chemicals Collide                                     PA0001735285      EMI Blackwood Music Inc. / EMI April Music Inc.
  684   Hey You                                               PA0001831262      EMI Blackwood Music Inc. / EMI April Music Inc.
  685   I Decided                                             PA0001608769      EMI Blackwood Music Inc. / EMI April Music Inc.
  686   Ode to Marvin                                         PA0001608798      EMI Blackwood Music Inc. / EMI April Music Inc.
  687   Party Ain't Over                                      PA0001833663      EMI Blackwood Music Inc. / EMI April Music Inc.
  688   Real Thing                                            PA0001735194      EMI Blackwood Music Inc. / EMI April Music Inc.
  689   Sandcastle Disco                                      PA0001615101      EMI Blackwood Music Inc. / EMI April Music Inc.
  690   Take You Out                                          PA0001068165      EMI Blackwood Music Inc. / EMI April Music Inc.
  691   The Great Escape                                      PA0001165808      EMI Blackwood Music Inc. / EMI April Music Inc.
  692   What About Us?                                        PA0001072616      EMI Blackwood Music Inc. / EMI April Music Inc.
  693   Would've Been the One                                 PA0001608779      EMI Blackwood Music Inc. / EMI April Music Inc.
  694   Hot In Here                                           PA0001853118;     EMI Blackwood Music Inc./ EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp. /
                                                              PA0001790447;     Warner Chappell Music, Inc.
                                                              PA0001910894
  695   Lil Freak                                             PA0001700473      EMI Blackwood Music Inc./ Jobete Music Co. Inc./ EMI April Music Inc.
  696   Ay Chico (Lengua Afuera)                              PA0001166251      EMI Blackwood Music Inc./ Sony/ATV Music Publishing LLC
  697   Back in Time                                          PA0001833789      EMI Blackwood Music Inc./ Sony/ATV Music Publishing LLC
  698   Black Leather Jacket                                  PA0001947438      EMI Blackwood Music Inc./ Sony/ATV Music Publishing LLC
  699   Blame It On Waylon                                    PA0001896309      EMI Blackwood Music Inc./ Sony/ATV Music Publishing LLC
  700   Clarity                                               PA0001832089      EMI Blackwood Music Inc./ Sony/ATV Music Publishing LLC
  701   Glad You're Here                                      PA0001167415      EMI Blackwood Music Inc./ Sony/ATV Music Publishing LLC
  702   Ice Cold                                              PA0001854208      EMI Blackwood Music Inc./ Sony/ATV Music Publishing LLC
  703   I'm Off That                                          PA0001833780      EMI Blackwood Music Inc./ Sony/ATV Music Publishing LLC
  704   Last Night                                            PA0001833744      EMI Blackwood Music Inc./ Sony/ATV Music Publishing LLC
  705   Love's Poster Child                                   PA0001947446      EMI Blackwood Music Inc./ Sony/ATV Music Publishing LLC
  706   Show Me                                               PA0001933694      EMI Blackwood Music Inc./ Sony/ATV Music Publishing LLC
  707   Love In This Club                                     PA0001690182;     EMI Blackwood Music Inc./ Sony/ATV Music Publishing LLC / EMI April Music Inc. / Warner-
                                                              PA0001659003      Tamerlane Publishing Corp.




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        Track                                                 Reg. No.          Plaintiff
  708   Love in This Club, Pt. II                             PA0001658976      EMI Blackwood Music Inc./ Sony/ATV Music Publishing LLC / EMI April Music Inc. / Warner-
                                                                                Tamerlane Publishing Corp.
  709   Untitled                                              PA0001735849      EMI Blackwood Music Inc./ Unichappell Music Inc.
  710   Angel                                                 PA0001976122      EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp.
  711   Anywhere With You                                     PA0001917492      EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp.
  712   Don't Pay 4 It                                        PA0001852368      EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp.
  713   Everything                                            PA0001640776      EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp.
  714   For The Fame                                          PA0001814505;     EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001788406
  715   Gimmie That Girl                                      PA0001741424      EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp.
  716   How Many Drinks?                                      PA0001832802;     EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001917890
  717   It Was Faith                                          PA0001657887      EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp.
  718   King & Queens                                         PA0001814504;     EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001788319
  719   Red Lipstick                                          PA0001771886;     EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001786336
  720   The Shape I'm In                                      PA0001741424;     EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001717909
  721   Up To You                                             PA0001750517      EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp.
  722   Cameltosis                                            PA0001058923      EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp.
  723   Fingerprints                                          PA0001687080      EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp.
  724   Generation Away                                       PA0001864847      EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp. / W.C.M. Music Corp.

  725   Play It Again                                         PA0001870876;     EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp. / Warner Chappell Music,
                                                              PA0001967424      Inc.
  726   100 Favors                                            PA0001976129      EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane
                                                                                Publishing Corp.
  727   3 a.m.                                                PA0001848044;     EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane
                                                              PA0001707168      Publishing Corp.
  728   Back in the Day                                       PA0001693859;     EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane
                                                              PA0001707143      Publishing Corp.
  729   Bottoms Up                                            PA0001856248;     EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane
                                                              PA0001747296      Publishing Corp.
  730   Deja Vu                                               PA0001848045;     EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane
                                                              PA0001706428      Publishing Corp.
  731   Good Good Night                                       PA0001825014;     EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane
                                                              PA0001814345      Publishing Corp.
  732   Insane                                                PA0001848044;     EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane
                                                              PA0001666843      Publishing Corp.
  733   Kick It In The Sticks                                 PA0001693858;     EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane
                                                              PA0001707147      Publishing Corp.
  734   Must Be The Ganja                                     PA0001848040;     EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane
                                                              PA0001706429      Publishing Corp.
  735   My Kind of Crazy                                      PA0001693858;     EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane
                                                              PA0001707144      Publishing Corp.
  736   Old Time's Sake                                       PA0001848040;     EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane
                                                              PA0001706421      Publishing Corp.
  737   So Bad                                                PA0001861898;     EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane
                                                              PA0001730981      Publishing Corp.
  738   Stay Wide Awake                                       PA0001848044;     EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane
                                                              PA0001943940      Publishing Corp.
  739   Take It To The Head                                   PA0001852373;     EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane
                                                              PA0001844665      Publishing Corp.
  740   No Such Thing As Too Late                             PA0001835409;     EMI Blackwood Music Inc./ W.C.M. Music Corp.
                                                              PA0001882752
  741   Sunburnt Lips                                         PA0001884828      EMI Blackwood Music Inc./ W.C.M. Music Corp.
  742   Drink to That All Night                               PA0001953394;     EMI Blackwood Music Inc./ W.C.M. Music Corp. / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001910988
  743   Get Out Of This Town                                  PA0001590007;     EMI Blackwood Music Inc./ Warner Chappell Music, Inc.
                                                              PA0001396401
  744   Push Up On Me                                         PA0001167699      EMI Blackwood Music Inc./ Warner Chappell Music, Inc.
  745   Fuego                                                 PA0001884048      EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp.
  746   I Don't See 'Em                                       PA0002071585      EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp.
  747   Manager                                               PA0001647731      EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp.
  748   Alone                                                 PA0001856241;     EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp.
                                                              PA0001786329
  749   Blind                                                 PA0001771887;     EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp.
                                                              PA0001728367
  750   Burn The House                                        PA0001976123      EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp.
  751   Can't Be Friends                                      PA0001856245;     EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp.
                                                              PA0001787041
  752   Duffle Bag Boy                                        PA0001680553;     EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp.
                                                              PA0001590878
  753   Echoes Interlude                                      PA0001814506;     EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp.
                                                              PA0001788398




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        Track                                                     Reg. No.          Plaintiff
  754   Goodies                                                   PA0001263487;     EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp.
                                                                  PA0001241896,
                                                                  PA0001352650
  755   High                                                      PA0001808178      EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp.
  756   I'm A Dog                                                 PA0001058124;     EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp.
                                                                  PA0001114111
  757   Let It Show                                               PA0001802342;     EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp.
                                                                  PA0001788316
  758   Live Your Life                                            PA0001850546;     EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp.
                                                                  PA0001654952
  759   Massage                                                   PA0001856242;     EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp.
                                                                  PA0001786345
  760   Motivation                                                PA0001763331;     EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp.
                                                                  PA0001760929
  761   No Worries                                                PA0001842289;     EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp.
                                                                  PA0001885790
  762   Number One                                                PA0001299027;     EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp.
                                                                  PA0001160616
  763   Triple Beam Dream                                         PA0001868417      EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp.
  764   We Owned The Night                                        PA0001817027      EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp.
  765   Body Party                                                PA0001898101      EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp. / W Chappell Music Corp. d/b/a WC
                                                                                    Music Corp.
  766   Up In It                                                  PA0001834384;     EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp. / W.C.M. Music Corp.
                                                                  PA0001951620
  767   Let's Get Lifted                                          PA0001160615      EMI Blackwood Music, Inc.
  768   Paris, Tokyo                                              PA0001600832      EMI Consortium Music Publishing Inc. d/b/a EMI Full Keel Music
  769   She's Got It All                                          PA0000886673      EMI Consortium Music Publishing Inc. d/b/a EMI Full Keel Music
  770   Angel Flying Too Close To The Ground                      PA0000049322      EMI Consortium Songs Inc. d/b/a EMI Longitude Music
  771   The Only Way                                              PA0001163482      EMI Consortium Songs Inc. d/b/a EMI Longitude Music
  772   A Baltimore Love Thing                                    PA0001160841      EMI Consortium Songs Inc. d/b/a EMI Longitude Music
  773   Commander (feat. David Guetta)                            PA0001750325      EMI Entertainment World Inc. d/b/a EMI Foray Music
  774   Feelin Me Right Now                                       PA0001760951      EMI Entertainment World Inc. d/b/a EMI Foray Music
  775   I'm Just Sayin'                                           PA0001807726      EMI Entertainment World Inc. d/b/a EMI Foray Music
  776   2012                                                      PA0001842279      EMI Entertainment World Inc. d/b/a EMI Foray Music / Warner-Tamerlane Publishing Corp.
  777   Trucker Anthem                                            PA0001058125;     EMI Feist Catalog Inc. / Warner-Tamerlane Publishing Corp.
                                                                  PA0001142644
  778   Gatman And Robbin'                                        PA0001160842      EMI Miller Catalog Inc.
  779   Mighty "O"                                                PA0001165509      EMI Mills Music, Inc.
  780   Down With The King                                        PA0001143443      EMI U Catalog Inc.
  781   Forbidden Fruit                                           PA0001975701      EMI Unart Catalog Inc.
  782   Let It Roll                                               PA0001887832      EMI Unart Catalog Inc. / Sony/ATV Music Publishing LLC
  783   Blowin' Up Your Speakers                                  PA0001158291      Famous Music LLC
  784   Forgiveness                                               PA0001158290      Famous Music LLC
  785   Good Enough For Now                                       PA0000311496      Famous Music LLC
  786   I'll Still Kill                                           PA0001645337      Famous Music LLC
  787   Nature Trail To Hell                                      PA0000205633      Famous Music LLC
  788   Talk About Our Love                                       PA0001281568      Intersong U.S.A., Inc.
  789   Two Words                                                 PA0001292803      Intersong U.S.A., Inc.
  790   Gotta Have It                                             PA0001762033      Intersong U.S.A., Inc. / W Chappell Music Corp. d/b/a WC Music Corp.
  791   No Church In The Wild                                     PA0001762032      Intersong U.S.A., Inc. / W Chappell Music Corp. d/b/a WC Music Corp.
  792   Otis                                                      PA0001762031      Intersong U.S.A., Inc. / W Chappell Music Corp. d/b/a WC Music Corp.
  793   Hitch Hike                                                Eu0000750856;     Jobete Music Co Inc. / Stone Agate Music (a division of Jobete Music Co. Inc.)
                                                                  RE0000498339
  794   If I Could Build My Whole World Around You                EP0000229884      Jobete Music Co Inc. / Stone Agate Music (a division of Jobete Music Co. Inc.)
  795   What's Going On                                           EP0000281238      Jobete Music Co Inc. / Stone Agate Music (a division of Jobete Music Co. Inc.)
  796   You                                                       EP0000232619      Jobete Music Co Inc. / Stone Agate Music (a division of Jobete Music Co. Inc.)
  797   Ain't Nothing Like The Real Thing                         EP0000234188      Jobete Music Co. Inc.
  798   Ain't That Peculiar                                       EP0000203959      Jobete Music Co. Inc.
  799   Come Get To This                                          EP0000315837      Jobete Music Co. Inc.
  800   Dance (Ass)                                               PA0001760422      Jobete Music Co. Inc.
  801   Distant Lover                                             EP0000291366      Jobete Music Co. Inc.
  802   Good Lovin' Ain't Easy To Come By                         EP0000254456      Jobete Music Co. Inc.
  803   I Ain't Mad At Cha                                        PA0001070600      Jobete Music Co. Inc.
  804   I'll Be Doggone                                           EP0000198501      Jobete Music Co. Inc.
  805   Inner City Blues (Make Me Wanna Holler)                   EP0000287807      Jobete Music Co. Inc.
  806   Mercy Mercy Me (The Ecology)                              EP0000288939      Jobete Music Co. Inc.
  807   Never Can Say Goodbye                                     Eu0000187089      Jobete Music Co. Inc.
  808   Stay Fly                                                  PA0001328092      Jobete Music Co. Inc.
  809   The Onion Song                                            EP0000259283      Jobete Music Co. Inc.
  810   Too Busy Thinking About My Baby                           EP0000219339      Jobete Music Co. Inc.
  811   Trouble Man                                               EP0000307204      Jobete Music Co. Inc.
  812   When Did You Stop Loving Me, When Did I Stop Loving You   PA0000041232      Jobete Music Co. Inc.
  813   Your Precious Love                                        EP0000232154      Jobete Music Co. Inc.
  814   You're A Wonderful One                                    EP0000330074      Jobete Music Co. Inc.
  815   You're All I Need To Get By                               EP0000248214      Jobete Music Co. Inc.
  816   Anger                                                     PA0000041233      Jobete Music Co. Inc./ Stone Diamond Music Corp.
  817   Let's Get It On                                           EP0000314589      Jobete Music Co. Inc./ Stone Diamond Music Corp.




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        Track                                                 Reg. No.          Plaintiff
  818   Die In Your Arms                                      PA0001793961      Jobete Music Co. Inc./ W Chappell Music Corp. d/b/a WC Music Corp.
  819   Anything                                              PA0000664027      Music Corporation of America
  820   Cat People (Putting Out Fire)                         PA0000131825      Music Corporation of America
  821   Fine Time                                             PA0000810654      Music Corporation of America
  822   For Tha Love Of $                                     PA0000713004      Music Corporation of America
  823   Hand In My Pocket                                     PA0000705730      Music Corporation of America
  824   Head Over Feet                                        PA0000705734      Music Corporation of America
  825   Ironic                                                PA0000705736      Music Corporation of America
  826   It's About Time                                       PA0000689802      Music Corporation of America
  827   Right Here                                            PA0000665447      Music Corporation of America
  828   SWV (In The House)                                    PA0000664036      Music Corporation of America
  829   That's What I'm Here For                              PA0000810658      Music Corporation of America
  830   Thug Luv                                              PA0000943396      Music Corporation of America
  831   Unconditional Love                                    PA0000980713      Music Corporation of America
  832   Weak                                                  PA0000664030      Music Corporation of America
  833   You Learn                                             PA0000705733      Music Corporation of America
  834   You Oughta Know                                       PA0000705728      Music Corporation of America
  835   1/2 Full                                              PA0001134600      Polygram Publishing, Inc.
  836   All or None                                           PA0001134602      Polygram Publishing, Inc.
  837   Anybody Seen My Baby?                                 PA0000863872;     Polygram Publishing, Inc.
                                                              PA0000938844
  838   Arc                                                   PA0001134601      Polygram Publishing, Inc.
  839   Army Reserve                                          PA0001701781      Polygram Publishing, Inc.
  840   Around The Bend                                       PAu002141246      Polygram Publishing, Inc.
  841   Babylon                                               PA0000340645      Polygram Publishing, Inc.
  842   Big Wave                                              PA0001701775      Polygram Publishing, Inc.
  843   Black                                                 PA0000544550      Polygram Publishing, Inc.
  844   Blinding                                              PA0001892797      Polygram Publishing, Inc.
  845   Blue Eyes                                             PA0000148270      Polygram Publishing, Inc.
  846   Breakerfall                                           PA0001006823      Polygram Publishing, Inc.
  847   Breathe On Me                                         PA0001219076      Polygram Publishing, Inc.
  848   Bu$hleaguer                                           PA0001134599      Polygram Publishing, Inc.
  849   Bugs                                                  PA0000663647      Polygram Publishing, Inc.
  850   Candle In The Wind 1997                               PA0000861158      Polygram Publishing, Inc.
  851   Can't Keep                                            PA0001134588      Polygram Publishing, Inc.
  852   Come Back                                             PA0001701782      Polygram Publishing, Inc.
  853   Criminal                                              PA0001767537      Polygram Publishing, Inc.
  854   Cropduster                                            PA0001134591      Polygram Publishing, Inc.
  855   Daughter                                              PA0000669753      Polygram Publishing, Inc.
  856   Deep                                                  PA0000544551      Polygram Publishing, Inc.
  857   Delayed Devotion                                      PA0001698343      Polygram Publishing, Inc.
  858   Down And Out                                          PA0000126583      Polygram Publishing, Inc.
  859   Evacuation                                            PA0001006825      Polygram Publishing, Inc.
  860   Even Flow                                             PA0000544552      Polygram Publishing, Inc.
  861   Evil Ways                                             RE0000774048      Polygram Publishing, Inc.
  862   Garden                                                PA0000544553      Polygram Publishing, Inc.
  863   Get Right                                             PA0001134596      Polygram Publishing, Inc.
  864   Ghost                                                 PA0001134592      Polygram Publishing, Inc.
  865   Gods' Dice                                            PA0001006824      Polygram Publishing, Inc.
  866   Gone                                                  PA0001701776      Polygram Publishing, Inc.
  867   Good Hearted Woman                                    RE0000664954      Polygram Publishing, Inc.
  868   Green Disease                                         PA0001134597      Polygram Publishing, Inc.
  869   Grievance                                             PA0001006831      Polygram Publishing, Inc.
  870   Habit                                                 PAu002141247      Polygram Publishing, Inc.
  871   Heavy In Your Arms                                    PA0001776732      Polygram Publishing, Inc.
  872   Help Help                                             PA0001134598      Polygram Publishing, Inc.
  873   Higher Ground                                         PA0000798022      Polygram Publishing, Inc.
  874   Howl                                                  PA0001892798      Polygram Publishing, Inc.
  875   I Ain't Never                                         EU0000580612;     Polygram Publishing, Inc.
                                                              RE0000346333
  876   I Guess That's Why They Call It The Blues             PA0000176776      Polygram Publishing, Inc.
  877   If It Happens Again                                   PA0000798031      Polygram Publishing, Inc.
  878   If It Kills Me                                        PA0001679623      Polygram Publishing, Inc.
  879   I'm Only Me When I'm With You                         PA0001624202      Polygram Publishing, Inc.
  880   I'm Open                                              PAu002141245      Polygram Publishing, Inc.
  881   I'm Still Standing                                    PA0000262822      Polygram Publishing, Inc.
  882   In My Tree                                            PAu002141250      Polygram Publishing, Inc.
  883   Inside Job                                            PA0001701783      Polygram Publishing, Inc.
  884   Inside Your Heaven                                    PA0001292859      Polygram Publishing, Inc.
  885   Insignificance                                        PA0001006829      Polygram Publishing, Inc.
  886   It Must Be Love                                       PA0000057204;     Polygram Publishing, Inc.
                                                              PA0000018884
  887   It's Not Enough                                       PA0000457166      Polygram Publishing, Inc.
  888   Just Don't                                            PA0001752532      Polygram Publishing, Inc.
  889   Keep Walkin' On                                       PA0000583382      Polygram Publishing, Inc.
  890   Last Exit                                             PA0000663639      Polygram Publishing, Inc.
  891   Leatherman                                            PA0001146750      Polygram Publishing, Inc.




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        Track                                                 Reg. No.          Plaintiff
  892   Life Wasted                                           PA0001701738      Polygram Publishing, Inc.
  893   Little Jeannie                                        PA0000094296      Polygram Publishing, Inc.
  894   Love Boat Captain                                     PA0001134590      Polygram Publishing, Inc.
  895   Love For A Child                                      PA0001679625      Polygram Publishing, Inc.
  896   Love Me                                               PA0001816048      Polygram Publishing, Inc.
  897   Love Rescue Me                                        PA0000410155      Polygram Publishing, Inc.
  898   Lukin                                                 PAu002141242      Polygram Publishing, Inc.
  899   Mankind                                               PAu002141244      Polygram Publishing, Inc.
  900   Marina Del Rey                                        PA0000132713      Polygram Publishing, Inc.
  901   Marker In The Sand                                    PA0001701759      Polygram Publishing, Inc.
  902   Mercy                                                 PA0001698348      Polygram Publishing, Inc.
  903   Monkey Man                                            PA0000086306      Polygram Publishing, Inc.
  904   My Dear Mr. Gaye                                      PA0000237265      Polygram Publishing, Inc.
  905   Nikita                                                PA0000267371      Polygram Publishing, Inc.
  906   Nobody In His Right Mind Would've Left Her            PA0000310517;     Polygram Publishing, Inc.
                                                              PA0000088151
  907   Oceans                                                PA0000544555      Polygram Publishing, Inc.
  908   Of The Girl                                           PA0001006830      Polygram Publishing, Inc.
  909   On & On                                               PA0000741101      Polygram Publishing, Inc.
  910   Once                                                  PA0000544557      Polygram Publishing, Inc.
  911   One In Ten                                            PA0000820149      Polygram Publishing, Inc.
  912   Parachutes                                            PA0001701764      Polygram Publishing, Inc.
  913   Parting Ways                                          PA0001006835      Polygram Publishing, Inc.
  914   Porch                                                 PA0000544556      Polygram Publishing, Inc.
  915   Present Tense                                         PAu002141243      Polygram Publishing, Inc.
  916   Pry, To                                               PA0000663645      Polygram Publishing, Inc.
  917   Radio                                                 PA0001752514      Polygram Publishing, Inc.
  918   Raining On Sunday                                     PA0000919724      Polygram Publishing, Inc.
  919   Rather Be feat. Jess Glynne                           PA0002008748      Polygram Publishing, Inc.
  920   Red Mosquito                                          PAu002141240      Polygram Publishing, Inc.
  921   Release                                               PA0000544558      Polygram Publishing, Inc.
  922   Right As Rain                                         PA0001735121      Polygram Publishing, Inc.
  923   Rival                                                 PA0001006832      Polygram Publishing, Inc.
  924   Runnin' Wit No Breaks                                 PA0000896405      Polygram Publishing, Inc.
  925   Sacrifice                                             PA0000445454      Polygram Publishing, Inc.
  926   Satan's Bed                                           PA0000663648      Polygram Publishing, Inc.
  927   Should've Been A Cowboy                               PA0000606001      Polygram Publishing, Inc.
  928   Sleight Of Hand                                       PA0001006833      Polygram Publishing, Inc.
  929   Smile                                                 PAu002141249      Polygram Publishing, Inc.
  930   Sometimes                                             PAu002141252      Polygram Publishing, Inc.
  931   Song For Guy                                          PA0000017378      Polygram Publishing, Inc.
  932   Soon Forget                                           PA0001006834      Polygram Publishing, Inc.
  933   Stepping Stone                                        PA0001698359      Polygram Publishing, Inc.
  934   Strangeness And Charm                                 PA0001781742      Polygram Publishing, Inc.
  935   Stupidmop                                             PA0000663652      Polygram Publishing, Inc.
  936   Thin Air                                              PA0001006828      Polygram Publishing, Inc.
  937   Thumbing My Way                                       PA0001134594      Polygram Publishing, Inc.
  938   Today My World Slipped Away                           PA0000094587      Polygram Publishing, Inc.
  939   Toxic                                                 PA0001287636      Polygram Publishing, Inc.
  940   Tremor Christ                                         PA0000663642      Polygram Publishing, Inc.
  941   Unemployable                                          PA0001701773      Polygram Publishing, Inc.
  942   Unwound                                               PA0000126622      Polygram Publishing, Inc.
  943   Wasted Reprise                                        PA0001701779      Polygram Publishing, Inc.
  944   Whipping                                              PA0000663644      Polygram Publishing, Inc.
  945   Why Go                                                PA0000544559      Polygram Publishing, Inc.
  946   Work                                                  PA0001981018      Polygram Publishing, Inc.
  947   World Wide Suicide                                    PA0001701741      Polygram Publishing, Inc.
  948   Yellow Ledbetter                                      PA0000756318      Polygram Publishing, Inc.
  949   You Give Love A Bad Name                              PA0000315520      Polygram Publishing, Inc.
  950   You Know Me Better Than That                          PA0000511213      Polygram Publishing, Inc.
  951   (White Man) in Hammersmith Palais                     PA0000066409      Polygram Publishing, Inc.
  952   A Man I'll Never Be                                   PA0000014792      Polygram Publishing, Inc.
  953   Achy Breaky Song                                      PA0000713892      Polygram Publishing, Inc.
  954   Amanda                                                PA0000312407      Polygram Publishing, Inc.
  955   Amish Paradise                                        PA0000809516      Polygram Publishing, Inc.
  956   Angel                                                 PA0000342822      Polygram Publishing, Inc.
  957   Animals (Original Mix)                                PA0001899929      Polygram Publishing, Inc.
  958   Another Night                                         PA0000795554      Polygram Publishing, Inc.
  959   Back To You                                           PA0001120340      Polygram Publishing, Inc.
  960   Bad Day                                               PA0001025285      Polygram Publishing, Inc.
  961   Bittersweet                                           PA0000893227      Polygram Publishing, Inc.
  962   Breathe                                               PA0000999862      Polygram Publishing, Inc.
  963   Can't Stop The Rain                                   PA0001991134      Polygram Publishing, Inc.
  964   Clash City Rockers                                    PA0000066407      Polygram Publishing, Inc.
  965   Complete Control                                      PA0000066408      Polygram Publishing, Inc.
  966   Cool The Engines                                      PA0000312410      Polygram Publishing, Inc.
  967   Days With You                                         PA0001245154      Polygram Publishing, Inc.




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        Track                                                 Reg. No.          Plaintiff
  968   Die Like This                                         PA0001245156      Polygram Publishing, Inc.
  969   Don't Break My Heart                                  PA0000781963      Polygram Publishing, Inc.
  970   Don't Let Me Be The Last One To Know                  PA0001010089      Polygram Publishing, Inc.
  971   Don't Look Back                                       PA0000014789      Polygram Publishing, Inc.
  972   Down                                                  PA0001025288      Polygram Publishing, Inc.
  973   Down Inside Of You                                    PA0001245163      Polygram Publishing, Inc.
  974   Easy                                                  PA0001025287      Polygram Publishing, Inc.
  975   Empty Spaces                                          PA0001025283      Polygram Publishing, Inc.
  976   English Civil War                                     PA0000044735      Polygram Publishing, Inc.
  977   Falls On Me                                           PA0001245161      Polygram Publishing, Inc.
  978   Feelin' Satisfied                                     PA0000014793      Polygram Publishing, Inc.
  979   Garageland                                            PA0000044756      Polygram Publishing, Inc.
  980   Getting Thru?                                         PA0001245157      Polygram Publishing, Inc.
  981   Gone Country                                          PA0000642408      Polygram Publishing, Inc.
  982   Hate & War                                            PA0000044748      Polygram Publishing, Inc.
  983   Hemorrhage (In My Hands)                              PA0001025282      Polygram Publishing, Inc.
  984   Hideaway                                              PA0000893223      Polygram Publishing, Inc.
  985   Higher Power (Kalodner Edit)                          PA0000863654      Polygram Publishing, Inc.
  986   Home By Now/No Matter What                            PA0001144121      Polygram Publishing, Inc.
  987   I Ain't In Checotah Anymore                           PA0001327781      Polygram Publishing, Inc.
  988   I Was Country When Country Wasn't Cool                PA0000126702      Polygram Publishing, Inc.
  989   I'm So Bored with the U.S.A.                          PA0000044746      Polygram Publishing, Inc.
  990   Innocent                                              PA0001025291      Polygram Publishing, Inc.
  991   Is Nothing Sacred                                     PA0000936094      Polygram Publishing, Inc.
  992   It's Come To This                                     PA0000893229      Polygram Publishing, Inc.
  993   Janie Jones                                           PA0000044744      Polygram Publishing, Inc.
  994   Jesus Or A Gun                                        PA0000893225      Polygram Publishing, Inc.
  995   Jurassic Park                                         PA0000713893      Polygram Publishing, Inc.
  996   Knives                                                PA0001025290      Polygram Publishing, Inc.
  997   Last Time                                             PA0001025281      Polygram Publishing, Inc.
  998   Livin' For You                                        PAu001802362      Polygram Publishing, Inc.
  999   London's Burning                                      PA0000044751      Polygram Publishing, Inc.
 1000   Love Gun                                              PA0001727659      Polygram Publishing, Inc.
 1001   Luck                                                  PA0001245155      Polygram Publishing, Inc.
 1002   Mary Pretends                                         PA0000893220      Polygram Publishing, Inc.
 1003   Million Miles                                         PA0001245162      Polygram Publishing, Inc.
 1004   Most Of All                                           PA0001245158      Polygram Publishing, Inc.
 1005   New Thing                                             PA0000893230      Polygram Publishing, Inc.
 1006   No More I Love You's                                  PA0000753262      Polygram Publishing, Inc.
 1007   Ozone                                                 PA0000893222      Polygram Publishing, Inc.
 1008   Prove                                                 PA0001025286      Polygram Publishing, Inc.
 1009   Rat In Mi Kitchen                                     PA0000779746      Polygram Publishing, Inc.
 1010   Recognize                                             PA0000896403      Polygram Publishing, Inc.
 1011   Running Away                                          PA0001245159      Polygram Publishing, Inc.
 1012   Safe European Home                                    PA0000044734      Polygram Publishing, Inc.
 1013   Scar                                                  PA0001025284      Polygram Publishing, Inc.
 1014   Shimmer                                               PA0000893226      Polygram Publishing, Inc.
 1015   Shotz To Tha Double Glock                             PA0000767835      Polygram Publishing, Inc.
 1016   Sing Our Own Song                                     PA0000779749      Polygram Publishing, Inc.
 1017   Slow                                                  PA0001025292      Polygram Publishing, Inc.
 1018   So Many Ways                                          PA0000896404      Polygram Publishing, Inc.
 1019   Solace                                                PA0001025289      Polygram Publishing, Inc.
 1020   Someone                                               PA0001003696      Polygram Publishing, Inc.
 1021   Song For You                                          PA0000893221      Polygram Publishing, Inc.
 1022   Stay Free                                             PA0000044740      Polygram Publishing, Inc.
 1023   Tell Me                                               PA0000863655      Polygram Publishing, Inc.
 1024   The Best Day                                          PA0001028241      Polygram Publishing, Inc.
 1025   The Motto                                             PA0001804402      Polygram Publishing, Inc.
 1026   The Star Spangled Banner                              PA0000863656      Polygram Publishing, Inc.
 1027   These Things                                          PA0001245160      Polygram Publishing, Inc.
 1028   Tommy Gun                                             PA0000044736      Polygram Publishing, Inc.
 1029   Train In Vain                                         PA0000066125      Polygram Publishing, Inc.
 1030   Untitled                                              PA0000893228      Polygram Publishing, Inc.
 1031   White Riot                                            PA0000044747      Polygram Publishing, Inc.
 1032   I'm So Lonesome I Could Cry                           EP0000041630;     Rightsong Music, Inc.
                                                              R644980
 1033   So Much Like My Dad                                   PA0000225775      Rightsong Music, Inc.
 1034   Get Out                                               PA0001592997      Screen Gems-EMI Music Inc.
 1035   2 Of Amerikaz Most Wanted                             PA0001070596      Songs of Universal, Inc.
 1036   200 Balloons                                          PA0000426579      Songs of Universal, Inc.
 1037   25 To Life                                            PA0001730984      Songs of Universal, Inc.
 1038   2nd Sucks                                             PA0001748917      Songs of Universal, Inc.
 1039   50 Plates                                             V9929D321         Songs of Universal, Inc.
 1040   A Fool's Dance                                        PA0001839497      Songs of Universal, Inc.
 1041   A Kiss                                                PA0001784201      Songs of Universal, Inc.
 1042   All I Have In This World                              PA0001639922      Songs of Universal, Inc.
 1043   All I Want For Christmas Is You (SuperFestive!)       PA0001780229      Songs of Universal, Inc.




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        Track                                                    Reg. No.          Plaintiff
 1044   All I Want Is You                                        PA0001751391      Songs of Universal, Inc.
 1045   All Signs Point To Lauderdale                            PA0001748918      Songs of Universal, Inc.
 1046   Almost Doesn't Count                                     PA0000917406      Songs of Universal, Inc.
 1047   Almost Famous                                            PA0001730979      Songs of Universal, Inc.
 1048   And The Grass Won't Pay No Mind                          PA0000043004      Songs of Universal, Inc.
 1049   Another Day Without You                                  PA0001878112      Songs of Universal, Inc.
 1050   Another Round                                            PA0001730878      Songs of Universal, Inc.
 1051   As Fast As I Could                                       PA0001700896      Songs of Universal, Inc.
 1052   Baby Love                                                PA0001602408      Songs of Universal, Inc.
 1053   Backpackers                                              PA0001773699      Songs of Universal, Inc.
 1054   Ballad Of The Beaconsfield Miners                        V3551D653         Songs of Universal, Inc.
 1055   Be (Intro)                                               PA0001302097      Songs of Universal, Inc.
 1056   Be With You                                              PA0001208967      Songs of Universal, Inc.
 1057   Beautiful People                                         PA0001752889      Songs of Universal, Inc.
 1058   Beautiful People                                         PA0001750727      Songs of Universal, Inc.
 1059   Best Friend                                              PA0000757400      Songs of Universal, Inc.
 1060   Best Of You                                              PA0001730963      Songs of Universal, Inc.
 1061   Beware                                                   PA0001916151      Songs of Universal, Inc.
 1062   Bonfire                                                  PA0001773709      Songs of Universal, Inc.
 1063   Boom Skit                                                PA0001915826      Songs of Universal, Inc.
 1064   Born Sinner                                              PA0001975727      Songs of Universal, Inc.
 1065   Bottle Pop                                               PA0001645597      Songs of Universal, Inc.
 1066   Break Ya Back                                            PA0001395672      Songs of Universal, Inc.
 1067   Brooklyn Roads                                           PA0000040394      Songs of Universal, Inc.
 1068   Brother Love's Traveling Salvation Show                  PA0000043013      Songs of Universal, Inc.
 1069   But, Honestly                                            PA0001625341      Songs of Universal, Inc.
 1070   Call Me Up                                               PA0001882786      Songs of Universal, Inc.
 1071   Can't Go Wrong                                           PA0001839494      Songs of Universal, Inc.
 1072   Changes                                                  PA0001070591      Songs of Universal, Inc.
 1073   Cheer Up, Boys (Your Make Up Is Running)                 PA0001625323      Songs of Universal, Inc.
 1074   Cherry, Cherry                                           PA0000043000      Songs of Universal, Inc.
 1075   Chi-City                                                 PA0001302103      Songs of Universal, Inc.
 1076   Ciara To The Stage                                       PA0001729154      Songs of Universal, Inc.
 1077   Cinderella Man                                           PA0001730987      Songs of Universal, Inc.
 1078   Cold Day In The Sun                                      PA0001731042      Songs of Universal, Inc.
 1079   Cold Wind Blows                                          PA0001731091      Songs of Universal, Inc.
 1080   Come & Get It                                            PA0001916312      Songs of Universal, Inc.
 1081   Come Alive                                               PA0001625311      Songs of Universal, Inc.
 1082   Crazy Arms                                               RE0000204817      Songs of Universal, Inc.
 1083   Dangerous                                                PA0001678612      Songs of Universal, Inc.
 1084   Death Around The Corner                                  PA0001070586      Songs of Universal, Inc.
 1085   Demons                                                   PA0001796478      Songs of Universal, Inc.
 1086   Deuces                                                   PA0001750516;     Songs of Universal, Inc.
                                                                 PA0001738384
 1087   Did It On Em                                             PA0001745300      Songs of Universal, Inc.
 1088   Didn't You Know How Much I Loved You                     PA0001376310      Songs of Universal, Inc.
 1089   Director                                                 PA0001371419      Songs of Universal, Inc.
 1090   Disturbia                                                V3574D452         Songs of Universal, Inc.
 1091   DOA                                                      PA0001730972      Songs of Universal, Inc.
 1092   Don't Give up on Me                                      PA0001899457      Songs of Universal, Inc.
 1093   Don't Phunk Around                                       PA0001824676      Songs of Universal, Inc.
 1094   Down                                                     PA0001659053      Songs of Universal, Inc.
 1095   Drive Me                                                 PA0001839492      Songs of Universal, Inc.
 1096   Drop It Low                                              PA0001748634      Songs of Universal, Inc.
 1097   Echo                                                     PA0001842409      Songs of Universal, Inc.
 1098   End Over End                                             PA0001730846      Songs of Universal, Inc.
 1099   Erase/Replace                                            PA0001625296      Songs of Universal, Inc.
 1100   Erotic City (Make Love Not War Erotic City Come Alive)   PA0000227083      Songs of Universal, Inc.
 1101   Everything                                               PA0001600375      Songs of Universal, Inc.
 1102   Eye Candy                                                PA0001681746      Songs of Universal, Inc.
 1103   Fallen                                                   PA0001840137      Songs of Universal, Inc.
 1104   Fallin' In Love                                          PA0001603747      Songs of Universal, Inc.
 1105   Farewell                                                 PA0001778700      Songs of Universal, Inc.
 1106   Fool In Love                                             PA0001804439      Songs of Universal, Inc.
 1107   Forever In Blue Jeans                                    PAU000066694;     Songs of Universal, Inc.
                                                                 PA0000027116
 1108   Free Me                                                  PA0001730772      Songs of Universal, Inc.
 1109   French Pedicure                                          PA0001395670      Songs of Universal, Inc.
 1110   Friend Of A Friend                                       PA0001730881      Songs of Universal, Inc.
 1111   Friend Of A Friend                                       PA0001856075      Songs of Universal, Inc.
 1112   FU                                                       PA0001904193      Songs of Universal, Inc.
 1113   Gangsta                                                  PA0001115190      Songs of Universal, Inc.
 1114   Get It                                                   PA0001780728      Songs of Universal, Inc.
 1115   Girl You Know                                            PA0001395613      Songs of Universal, Inc.
 1116   Girls Chase Boys                                         PA0001932052      Songs of Universal, Inc.
 1117   Give Me Back My Hometown                                 PA0001902269      Songs of Universal, Inc.
 1118   Going Through Changes                                    PA0001731106      Songs of Universal, Inc.




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        Track                                                 Reg. No.          Plaintiff
 1119   Gotta Stop Messin' About                              PAu000221275      Songs of Universal, Inc.
 1120   Grandma's Hands                                       RE0000827149      Songs of Universal, Inc.
 1121   Hard To Breathe                                       PA0001768251      Songs of Universal, Inc.
 1122   Haywire                                               PA0001700892      Songs of Universal, Inc.
 1123   Hazel                                                 PA0001848179      Songs of Universal, Inc.
 1124   Heartbeat                                             PA0001773703      Songs of Universal, Inc.
 1125   Hell                                                  PA0001731003      Songs of Universal, Inc.
 1126   Hold On                                               PA0001839485      Songs of Universal, Inc.
 1127   Hold You Down                                         PA0001773584      Songs of Universal, Inc.
 1128   Holly Holy                                            PA0000040389      Songs of Universal, Inc.
 1129   Home                                                  PA0001625349      Songs of Universal, Inc.
 1130   Horny Toad                                            PA0000193309      Songs of Universal, Inc.
 1131   How Do U Want It                                      PA0001070595      Songs of Universal, Inc.
 1132   I Am Your Leader                                      PA0001917811      Songs of Universal, Inc.
 1133   I Could Never Take The Place Of Your Man              PA0000339616      Songs of Universal, Inc.
 1134   I Don't Feel Like Loving You Today                    PA0001299754      Songs of Universal, Inc.
 1135   I Don't Know                                          EU0000093241;     Songs of Universal, Inc.
                                                              RE0000751859
 1136   I Don't Want You on My Mind                           RE0000832589      Songs of Universal, Inc.
 1137   I Know                                                PA0001924185      Songs of Universal, Inc.
 1138   I Want Crazy (Encore)                                 PA0001856536      Songs of Universal, Inc.
 1139   I.F.U.                                                PA0001833854      Songs of Universal, Inc.
 1140   If Ever I Could Love                                  PA0001701008      Songs of Universal, Inc.
 1141   If I Leave                                            PA0001748919      Songs of Universal, Inc.
 1142   If I Were A Boy                                       PAU003358950      Songs of Universal, Inc.
 1143   I'll Call Ya                                          PA0001644932      Songs of Universal, Inc.
 1144   I'm On Everything                                     PA0001784199      Songs of Universal, Inc.
 1145   Imagination                                           PA0001371420      Songs of Universal, Inc.
 1146   In Your Honor                                         PA0001730947      Songs of Universal, Inc.
 1147   Intro                                                 PA0001780742      Songs of Universal, Inc.
 1148   It Ain't Easy                                         PA0001070585      Songs of Universal, Inc.
 1149   It's Me Snitches                                      PA0001334184      Songs of Universal, Inc.
 1150   It's Time                                             PA0001796482      Songs of Universal, Inc.
 1151   It's Your World                                       PA0001302107;     Songs of Universal, Inc.
                                                              PA0001302108
 1152   Just Lose It                                          PA0001284525      Songs of Universal, Inc.
 1153   Kids                                                  PA0001773582      Songs of Universal, Inc.
 1154   Kiss Kiss                                             PA0001395675      Songs of Universal, Inc.
 1155   Leaf                                                  PA0002000110      Songs of Universal, Inc.
 1156   Lean On Me                                            EP0000304954      Songs of Universal, Inc.
 1157   Leave Love Alone                                      PA0001810767      Songs Of Universal, Inc.
 1158   Let It Die                                            PA0001625293      Songs of Universal, Inc.
 1159   Let Me Go                                             PA0001846372      Songs of Universal, Inc.
 1160   Letter Home                                           PA0001773708      Songs of Universal, Inc.
 1161   Letter To My Ex's                                     PA0001780260      Songs of Universal, Inc.
 1162   Lil' Hipster Girl                                     PA0001749813      Songs of Universal, Inc.
 1163   Livin This Life                                       PA0001780720      Songs of Universal, Inc.
 1164   Long Road To Ruin                                     PA0001625301      Songs of Universal, Inc.
 1165   Lost In You                                           PA0001855522      Songs of Universal, Inc.
 1166   Love Is A Sweet Thing                                 PA0001295806      Songs of Universal, Inc.
 1167   Love is...                                            PA0001302102      Songs of Universal, Inc.
 1168   Love More                                             PA0001914221      Songs of Universal, Inc.
 1169   Love The Way You Lie                                  PA0001730976      Songs of Universal, Inc.
 1170   Love The Way You Lie (Part II)                        PA0001732821      Songs of Universal, Inc.
 1171   Love The Way You Love Me                              PA0001612853      Songs of Universal, Inc.
 1172   Man On The Moon                                       PA0001839481      Songs of Universal, Inc.
 1173   Material Things                                       PA0001395669      Songs of Universal, Inc.
 1174   Meet Me Halfway                                       PA0001659066      Songs of Universal, Inc.
 1175   Memories Pt 2                                         PA0001780744      Songs of Universal, Inc.
 1176   Miracle                                               PA0001730876      Songs of Universal, Inc.
 1177   Missing You                                           PA0001659068      Songs of Universal, Inc.
 1178   Music Of The Sun                                      PA0001163426;     Songs of Universal, Inc.
                                                              V3533D359
 1179   My Eyes                                               PA0001915209      Songs of Universal, Inc.
 1180   New York Times                                        PA0001898830      Songs of Universal, Inc.
 1181   Next To You                                           PA0001750522      Songs of Universal, Inc.
 1182   No BS                                                 PA0001750518      Songs of Universal, Inc.
 1183   No Idea                                               PA0001751186      Songs of Universal, Inc.
 1184   No Way Back                                           PA0001730955      Songs of Universal, Inc.
 1185   Not Afraid                                            PA0001730957      Songs of Universal, Inc.
 1186   Not Tonight                                           PA0002000109      Songs of Universal, Inc.
 1187   Nothin' Like The First Time                           PA0001858363      Songs of Universal, Inc.
 1188   Nothin' On You                                        PA0001731018      Songs of Universal, Inc.
 1189   Nothin' On You                                        PA0001731018      Songs of Universal, Inc.
 1190   Nothing Compares 2 U                                  PA0000261000      Songs of Universal, Inc.
 1191   Now That You Got It                                   PA0001382157      Songs of Universal, Inc.
 1192   On & On                                               PA0001733345      Songs of Universal, Inc.




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        Track                                                 Reg. No.          Plaintiff
 1193   On The Mend                                           PA0001730887      Songs of Universal, Inc.
 1194   One Chain Don't Make No Prison                        RE0000755069      Songs of Universal, Inc.
 1195   One Tribe                                             PA0001659076      Songs of Universal, Inc.
 1196   Only Wanna Give It To You                             PA0002000105      Songs of Universal, Inc.
 1197   Out Of My Head                                        PA0001659074      Songs of Universal, Inc.
 1198   Over And Out                                          PA0001730884      Songs of Universal, Inc.
 1199   Peach                                                 PA0000669561      Songs of Universal, Inc.
 1200   Pedestal                                              PA0001370492      Songs of Universal, Inc.
 1201   Perfect Gentleman                                     PA0001395665      Songs of Universal, Inc.
 1202   Picture Perfect                                       PA0001395677      Songs of Universal, Inc.
 1203   Play                                                  PA0001726635      Songs of Universal, Inc.
 1204   Play Me                                               PA0000040399      Songs of Universal, Inc.
 1205   Pretty Amazing Grace                                  PA0001687595      Songs of Universal, Inc.
 1206   Private Room Intro                                    PA0001371763      Songs of Universal, Inc.
 1207   Purple Rain                                           PA0000217254      Songs of Universal, Inc.
 1208   Put You In A Song                                     PA0001725330      Songs of Universal, Inc.
 1209   Radioactive                                           PA0001796477      Songs of Universal, Inc.
 1210   Raining Men                                           PA0001732814      Songs of Universal, Inc.
 1211   Rap God                                               PA0001965450      Songs of Universal, Inc.
 1212   Razor                                                 PA0001731043      Songs of Universal, Inc.
 1213   Real Big                                              PA0001784187      Songs of Universal, Inc.
 1214   Real People                                           PA0001302105      Songs of Universal, Inc.
 1215   Red Red Wine                                          RE0000653689      Songs of Universal, Inc.
 1216   Remember My Name                                      PA0001821988      Songs of Universal, Inc.
 1217   Reminding Me (Of Self)                                PA0001011173      Songs of Universal, Inc.
 1218   Resolve                                               PA0001730791      Songs of Universal, Inc.
 1219   Rewind (feat. Wyclef Jean)                            PA0001744940      Songs of Universal, Inc.
 1220   Rich N****z                                           PA0001975684      Songs of Universal, Inc.
 1221   Rich Niggaz                                           PA0001975684      Songs of Universal, Inc.
 1222   Right Place, Wrong Time                               PA0001371418      Songs of Universal, Inc.
 1223   Riot                                                  PA0001916362      Songs of Universal, Inc.
 1224   Roc Me Out                                            PA0001773644      Songs of Universal, Inc.
 1225   Rockin To The Beat                                    PA0001659078      Songs of Universal, Inc.
 1226   Roman Holiday                                         PA0001915014      Songs of Universal, Inc.
 1227   Round and Round                                       PA0001796481      Songs of Universal, Inc.
 1228   Rush                                                  V3521D389         Songs of Universal, Inc.
 1229   Save Me                                               PA0001745307      Songs of Universal, Inc.
 1230   Seduction                                             PA0001730951      Songs of Universal, Inc.
 1231   Selene                                                PA0001822212      Songs of Universal, Inc.
 1232   Sex Therapy                                           PA0001678887      Songs of Universal, Inc.
 1233   Sexy M.F.                                             PA0000607812      Songs of Universal, Inc.
 1234   Shilo                                                 PA0000040397      Songs of Universal, Inc.
 1235   Shine                                                 PA0001911373      Songs of Universal, Inc.
 1236   Shoo Be Doo                                           PA0001593120      Songs of Universal, Inc.
 1237   Shots                                                 PA0001691942      Songs of Universal, Inc.
 1238   Skin And Bones                                        PA0001368334      Songs of Universal, Inc.
 1239   So Fly                                                PA0002000112      Songs of Universal, Inc.
 1240   So Much More                                          PA0001780714      Songs of Universal, Inc.
 1241   Soft And Wet                                          PA0000492348      Songs of Universal, Inc.
 1242   Solitary Man                                          PA0000042999      Songs of Universal, Inc.
 1243   Somebody Like You                                     PA0001146316      Songs of Universal, Inc.
 1244   Somewhere In My Car                                   PA0001898869      Songs of Universal, Inc.
 1245   Song Sung Blue                                        EU0000322568;     Songs of Universal, Inc.
                                                              RE0000813919
 1246   Soolaimon                                             PA0000043012      Songs of Universal, Inc.
 1247   Sorry For Partyin'                                    PA0001882788      Songs of Universal, Inc.
 1248   Soul's On Fire                                        PA0001768252      Songs of Universal, Inc.
 1249   Sound Proof Room                                      PA0002000107      Songs of Universal, Inc.
 1250   Space Bound                                           PA0001730989      Songs of Universal, Inc.
 1251   Spoke To My Momma                                     PA0001780259      Songs of Universal, Inc.
 1252   Statues                                               PA0001625338      Songs of Universal, Inc.
 1253   Stay The Night                                        PA0001902216      Songs of Universal, Inc.
 1254   Still                                                 PA0001730871      Songs of Universal, Inc.
 1255   Stones                                                PA0000040398      Songs of Universal, Inc.
 1256   Stop The Clock                                        PA0002000111      Songs of Universal, Inc.
 1257   Stranger Things Have Happened                         PA0001625352      Songs of Universal, Inc.
 1258   Stronger                                              PA0001120338      Songs of Universal, Inc.
 1259   Stupid Hoe                                            PA0001910348      Songs of Universal, Inc.
 1260   Summer's End                                          PA0001625330      Songs of Universal, Inc.
 1261   Super Rich Kids                                       PA0001825834      Songs of Universal, Inc.
 1262   Sweet Caroline                                        PA0000043001      Songs of Universal, Inc.
 1263   Take It To The Hole                                   PA0001821597      Songs of Universal, Inc.
 1264   Takin' Over The World                                 PA0001646201      Songs of Universal, Inc.
 1265   Talkin 2 Myself                                       PA0001730970      Songs of Universal, Inc.
 1266   Talkin' 2 Myself                                      PA0001730970      Songs of Universal, Inc.
 1267   Tell Me A Story                                       PA0001839488      Songs of Universal, Inc.
 1268   Testify                                               PA0001302101      Songs of Universal, Inc.




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        Track                                                 Reg. No.          Plaintiff
 1269   That's Gonna Leave A Memory                           PA0001910312      Songs of Universal, Inc.
 1270   That's Right                                          PA0001885587      Songs of Universal, Inc.
 1271   The Boys                                              PA0001822067      Songs of Universal, Inc.
 1272   The Corner                                            PA0001302098      Songs of Universal, Inc.
 1273   The Deepest Blues Are Black                           PA0001730830      Songs of Universal, Inc.
 1274   The Last Song                                         PA0001731040      Songs of Universal, Inc.
 1275   The Last Time                                         PA0001328099      Songs of Universal, Inc.
 1276   The Monster                                           PA0001965626      Songs of Universal, Inc.
 1277   The News                                              PA0001631133      Songs of Universal, Inc.
 1278   The One                                               PA0001867783      Songs of Universal, Inc.
 1279   The Pretender                                         PA0001623649      Songs of Universal, Inc.
 1280   The Reunion                                           PA0001784195;     Songs of Universal, Inc.
                                                              PA0001842406
 1281   The River                                             PA0001822211      Songs of Universal, Inc.
 1282   The Sellout                                           PA0001733312      Songs of Universal, Inc.
 1283   The Way You Do Me                                     PA0001367649      Songs of Universal, Inc.
 1284   They Say                                              PA0001302106      Songs of Universal, Inc.
 1285   This Is Me                                            PA0001131262      Songs of Universal, Inc.
 1286   This Is The House That Doubt Built                    PA0001748916      Songs of Universal, Inc.
 1287   Trouble                                               PA0001975677      Songs of Universal, Inc.
 1288   U Remind Me                                           PA0001147408      Songs of Universal, Inc.
 1289   Uma Thurman                                           PA0001975921      Songs of Universal, Inc.
 1290   Universal Mind Control (UMC)                          PA0001395696      Songs of Universal, Inc.
 1291   Up All Night                                          PA0001715364      Songs of Universal, Inc.
 1292   Use Me                                                RE0000832587      Songs of Universal, Inc.
 1293   Va Va Voom                                            PA0001835092      Songs of Universal, Inc.
 1294   Video Phone                                           PA0001657245      Songs of Universal, Inc.
 1295   Virginia Moon                                         PAu003542317      Songs of Universal, Inc.
 1296   W.T.P.                                                PA0001730966      Songs of Universal, Inc.
 1297   Wait For Me                                           PA0001780732      Songs of Universal, Inc.
 1298   Wait For You                                          PA0001821989      Songs of Universal, Inc.
 1299   Wanted Is Love                                        PA0001839493      Songs of Universal, Inc.
 1300   Wave Ya Hand                                          PA0001730648      Songs of Universal, Inc.
 1301   We All Want Love                                      PA0001778698      Songs of Universal, Inc.
 1302   We Oughta Be Drinkin'                                 PA0001878369      Songs of Universal, Inc.
 1303   Wedding Day                                           PA0001768169      Songs of Universal, Inc.
 1304   What A World                                          PA0001656994      Songs of Universal, Inc.
 1305   What Goes Around                                      PA0001780251      Songs of Universal, Inc.
 1306   What I Gotta Do                                       PA0001734468      Songs of Universal, Inc.
 1307   What If I Do?                                         PA0001730872      Songs of Universal, Inc.
 1308   Wheels                                                PA0001705842      Songs of Universal, Inc.
 1309   Where We Came From                                    PA0001839490      Songs of Universal, Inc.
 1310   Where Ya Wanna Go                                     PA0001824684      Songs of Universal, Inc.
 1311   Who Do You Love?                                      PA0001897250      Songs of Universal, Inc.
 1312   Why's It Feel So Long                                 PA0001679953      Songs of Universal, Inc.
 1313   Willing To Wait                                       PA0001328103      Songs of Universal, Inc.
 1314   With You                                              PA0001371417      Songs of Universal, Inc.
 1315   Without You                                           PA0000577490      Songs of Universal, Inc.
 1316   Word Forward                                          PA0001678922      Songs of Universal, Inc.
 1317   Words I Never Said                                    PA0001739113      Songs of Universal, Inc.
 1318   Working Man                                           PA0001840143      Songs of Universal, Inc.
 1319   Ying & The Yang                                       PA0001678487      Songs of Universal, Inc.
 1320   You Da One                                            PA0001778697      Songs of Universal, Inc.
 1321   You Don't Know                                        PA0001396073      Songs of Universal, Inc.
 1322   You See Me                                            PA0001773581      Songs of Universal, Inc.
 1323   Your Love                                             PA0001745312      Songs of Universal, Inc.
 1324   You're Never Over                                     PA0001731110      Songs of Universal, Inc.
 1325   My Fault                                              PA0001796476      Songs of Universal, Inc.
 1326   Where Them Girls At                                   PA0001761902;     Songs of Universal, Inc. / EMI April Music Inc. / Sony/ATV Music Publishing
                                                              PA0001741154
 1327   Don't Tell Me You Love Me                             PA0001780734      Songs of Universal, Inc. / Sony/ATV Music Publishing LLC
 1328   I'm In Miami Bitch                                    PA0001749811      Songs of Universal, Inc. / Sony/ATV Music Publishing LLC
 1329   Up In Flames                                          PA0001840535      Songs of Universal, Inc. / Sony/ATV Music Publishing LLC
 1330   Young Forever                                         PA0001822065      Songs of Universal, Inc. / Sony/ATV Music Publishing LLC
 1331   Hush Hush                                             PA0001612724      Songs of Universal, Inc. / Universal Music - MGB NA LLC
 1332   Diamond In The Rough                                  PA0001768249      Songs of Universal, Inc. / Universal Music Corp.
 1333   Easy                                                  PA0001726638      Songs of Universal, Inc. / Universal Music Corp.
 1334   2024                                                  PA0001794286      Sony/ATV Music Publishing LLC
 1335   2 On                                                  PA0001910781      Sony/ATV Music Publishing LLC
 1336   9 Piece                                               PA0001864281      Sony/ATV Music Publishing LLC
 1337   A Capella (Something's Missing)                       PA0001821297      Sony/ATV Music Publishing LLC
 1338   A Gentlemen's Coup                                    PA0001887807      Sony/ATV Music Publishing LLC
 1339   A Name In This Town                                   PA0001777805      Sony/ATV Music Publishing LLC
 1340   Aberdeen                                              PA0001794286      Sony/ATV Music Publishing LLC
 1341   Ack Like You Know                                     PA0001644889      Sony/ATV Music Publishing LLC
 1342   Again Again                                           PA0001397132      Sony/ATV Music Publishing LLC
 1343   Ain't No Rest for the Wicked                          PA0001794291      Sony/ATV Music Publishing LLC




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        Track                                                 Reg. No.         Plaintiff
 1344   Airstream Song                                        PA0001682737     Sony/ATV Music Publishing LLC
 1345   Alejandro                                             PA0001751975     Sony/ATV Music Publishing LLC
 1346   All Around The World                                  PA0001850389     Sony/ATV Music Publishing LLC
 1347   All I Ever Think About                                PA0001661603     Sony/ATV Music Publishing LLC
 1348   All I Really Want                                     PA0001748296     Sony/ATV Music Publishing LLC
 1349   All The Money In The World                            PA0001821914     Sony/ATV Music Publishing LLC
 1350   Always Been Me                                        PA0001777807     Sony/ATV Music Publishing LLC
 1351   Always Something                                      PA0001794286     Sony/ATV Music Publishing LLC
 1352   Anna Sun                                              PA0001778240     Sony/ATV Music Publishing LLC
 1353   Anything (To Find You)                                PA0001900915     Sony/ATV Music Publishing LLC
 1354   Architects                                            PA0001887807     Sony/ATV Music Publishing LLC
 1355   Around My Head                                        PA0001794286     Sony/ATV Music Publishing LLC
 1356   As Long As You Love Me                                PA0001834758     Sony/ATV Music Publishing LLC
 1357   Aston Martin Music                                    PA0001821912     Sony/ATV Music Publishing LLC
 1358   Automatic                                             PA0001822058     Sony/ATV Music Publishing LLC
 1359   Available                                             PA0001807827     Sony/ATV Music Publishing LLC
 1360   B.M.F. (Blowin' Money Fast)                           PA0001821909     Sony/ATV Music Publishing LLC
 1361   Back Against The Wall                                 PA0001794291     Sony/ATV Music Publishing LLC
 1362   Back Stabbin' Betty                                   PA0001794291     Sony/ATV Music Publishing LLC
 1363   Bad Habits                                            PA0001707770     Sony/ATV Music Publishing LLC
 1364   Bad Kids                                              PA0001752325     Sony/ATV Music Publishing LLC
 1365   Bad Romance                                           PA0001751974     Sony/ATV Music Publishing LLC
 1366   Bassline                                              PA0001896024     Sony/ATV Music Publishing LLC
 1367   Beautiful Freaks                                      PA0001803641     Sony/ATV Music Publishing LLC
 1368   Beautiful, Dirty, Rich                                PA0001685320     Sony/ATV Music Publishing LLC
 1369   Beer For My Horses                                    PA0001109842     Sony/ATV Music Publishing LLC
 1370   Believe                                               PA0001835123     Sony/ATV Music Publishing LLC
 1371   Bigger                                                PA0001749345     Sony/ATV Music Publishing LLC
 1372   Black Jesus (Amen Fashion)                            PA0001752320     Sony/ATV Music Publishing LLC
 1373   Blind                                                 PA0001813213     Sony/ATV Music Publishing LLC
 1374   Blowin Money Fast                                     PA0001821909     Sony/ATV Music Publishing LLC
 1375   Bojangles                                             PA0001338581     Sony/ATV Music Publishing LLC
 1376   Boys Boys Boys                                        PA0001685351     Sony/ATV Music Publishing LLC
 1377   Bravado                                               PA0001904440     Sony/ATV Music Publishing LLC
 1378   Brave                                                 PA0001967864     Sony/ATV Music Publishing LLC
 1379   Broken Mirrors                                        PA0001887807     Sony/ATV Music Publishing LLC
 1380   Brown Eyes                                            PA0001685359     Sony/ATV Music Publishing LLC
 1381   Bubbly                                                PA0001391445     Sony/ATV Music Publishing LLC
 1382   Can't Stop Me Now                                     PA0001733402     Sony/ATV Music Publishing LLC
 1383   Center Stage                                          PA0001952597     Sony/ATV Music Publishing LLC
 1384   Chartreuse                                            PA0001952597     Sony/ATV Music Publishing LLC
 1385   Chasing You                                           PA0001952597     Sony/ATV Music Publishing LLC
 1386   Christmas Tree                                        PA0001969613     Sony/ATV Music Publishing LLC
 1387   Church Pew Or Bar Stool                               PA0001897745     Sony/ATV Music Publishing LLC
 1388   Climax                                                PA0001825135     Sony/ATV Music Publishing LLC
 1389   Club Can't Handle Me (Feat. David Guetta)             PA0001739599     Sony/ATV Music Publishing LLC
 1390   Club Zydeco Moon                                      PA0001776561     Sony/ATV Music Publishing LLC
 1391   Cold                                                  PA0001707770     Sony/ATV Music Publishing LLC
 1392   Come N Go                                             PA0001780999     Sony/ATV Music Publishing LLC
 1393   Coming Up Strong                                      PA0001892993     Sony/ATV Music Publishing LLC
 1394   Crazy Ain't Original                                  PA0001881665     Sony/ATV Music Publishing LLC
 1395   Dead Flowers                                          PA0001682745     Sony/ATV Music Publishing LLC
 1396   Disparity By Design                                   PA0001887807     Sony/ATV Music Publishing LLC
 1397   Disturbia                                             PA0001692669     Sony/ATV Music Publishing LLC
 1398   DJ Khaled Interlude                                   PA0001661345     Sony/ATV Music Publishing LLC
 1399   Don't Give Up On Us                                   PA0001719662     Sony/ATV Music Publishing LLC
 1400   Don't Judge Me                                        PA0001896026     Sony/ATV Music Publishing LLC
 1401   Don't Play This Song                                  PA0001750006     Sony/ATV Music Publishing LLC
 1402   Don't Stop The Music                                  PA0001637008     Sony/ATV Music Publishing LLC
 1403   Dope Ball (Interlude)                                 PA0001733400     Sony/ATV Music Publishing LLC
 1404   Down For Whatever                                     PA0001823983     Sony/ATV Music Publishing LLC
 1405   Drones In The Valley                                  PA0001794291     Sony/ATV Music Publishing LLC
 1406   Eh, Eh (Nothing Else I Can Say)                       PA0001685326     Sony/ATV Music Publishing LLC
 1407   Electric Chapel                                       PA0001752318     Sony/ATV Music Publishing LLC
 1408   Encore                                                PA0001813214     Sony/ATV Music Publishing LLC
 1409   Endgame                                               PA0001887807     Sony/ATV Music Publishing LLC
 1410   Every Reason Not To Go                                PA0001909205     Sony/ATV Music Publishing LLC
 1411   Farrah Fawcett Hair                                   PA0001952598     Sony/ATV Music Publishing LLC
 1412   Finally Here                                          PA0001807843     Sony/ATV Music Publishing LLC
 1413   Fire Burns                                            PA0001822066     Sony/ATV Music Publishing LLC
 1414   Fistful Of Tears                                      PA0001707770     Sony/ATV Music Publishing LLC
 1415   Flow                                                  PA0001794286     Sony/ATV Music Publishing LLC
 1416   Fly                                                   PA0001745306     Sony/ATV Music Publishing LLC
 1417   Forca                                                 PA0001239138     Sony/ATV Music Publishing LLC
 1418   Forever                                               PA0001677037     Sony/ATV Music Publishing LLC
 1419   Freaky Deaky (feat. Trey Songz)                       PA0001644872     Sony/ATV Music Publishing LLC
 1420   Free Love                                             PA0001794291     Sony/ATV Music Publishing LLC




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        Track                                                 Reg. No.         Plaintiff
 1421   Freedom                                               PA0001840533     Sony/ATV Music Publishing LLC
 1422   Gangsta Bop                                           PA0001167178     Sony/ATV Music Publishing LLC
 1423   Ghost!                                                PA0001750014     Sony/ATV Music Publishing LLC
 1424   Girlfriend In The City                                PA0001753993     Sony/ATV Music Publishing LLC
 1425   Girls                                                 PA0001733986     Sony/ATV Music Publishing LLC
 1426   Girls Like You                                        PA0001808680     Sony/ATV Music Publishing LLC
 1427   Give Me Back My Hometown                              PA0001998347     Sony/ATV Music Publishing LLC
 1428   Give Me Everything                                    PA0001780977     Sony/ATV Music Publishing LLC
 1429   Give Them What They Ask For                           PA0001733406     Sony/ATV Music Publishing LLC
 1430   Glasgow                                               PA0001774897     Sony/ATV Music Publishing LLC
 1431   Gotta Get It [Dancer]                                 PA0001807837     Sony/ATV Music Publishing LLC
 1432   Hair                                                  PA0001752317     Sony/ATV Music Publishing LLC
 1433   Happy On The Hey Now (A Song For Kristi)              PA0001899369     Sony/ATV Music Publishing LLC
 1434   Heart Like Mine                                       PA0001682741     Sony/ATV Music Publishing LLC
 1435   Help Is On The Way                                    PA0001887807     Sony/ATV Music Publishing LLC
 1436   Help Somebody                                         PA0001707770     Sony/ATV Music Publishing LLC
 1437   Hey Baby (Drop It To The Floor)                       PA0001719812     Sony/ATV Music Publishing LLC
 1438   I Choose You                                          PA0001967866     Sony/ATV Music Publishing LLC
 1439   I Don't Care                                          PA0001996421     Sony/ATV Music Publishing LLC
 1440   I Know You Know                                       PA0001807117     Sony/ATV Music Publishing LLC
 1441   I Like It                                             PA0001786618     Sony/ATV Music Publishing LLC
 1442   I Shall Return                                        PA0001909221     Sony/ATV Music Publishing LLC
 1443   I Sold My Bed, But Not My Stereo                      PA0001952597     Sony/ATV Music Publishing LLC
 1444   I Told You So                                         PA0001892989     Sony/ATV Music Publishing LLC
 1445   I Won't Go Crazy                                      PA0001777806     Sony/ATV Music Publishing LLC
 1446   If I Ruled The World                                  PA0001825040     Sony/ATV Music Publishing LLC
 1447   I'm Gone                                              PA0001971310     Sony/ATV Music Publishing LLC
 1448   I'm Not A Star                                        PA0001821873     Sony/ATV Music Publishing LLC
 1449   I'm Your Woman                                        PA0001681664     Sony/ATV Music Publishing LLC
 1450   In One Ear                                            PA0001794292     Sony/ATV Music Publishing LLC
 1451   In The Dark                                           PA0001783660     Sony/ATV Music Publishing LLC
 1452   Indy Kidz                                             PA0001794286     Sony/ATV Music Publishing LLC
 1453   Intro                                                 PA0001874326     Sony/ATV Music Publishing LLC
 1454   Invisible                                             PA0001825037     Sony/ATV Music Publishing LLC
 1455   It's OK                                               PA0001769596     Sony/ATV Music Publishing LLC
 1456   It's That Time Of Day                                 PA0001899360     Sony/ATV Music Publishing LLC
 1457   James Brown                                           PA0001794291     Sony/ATV Music Publishing LLC
 1458   Japanese Buffalo                                      PA0001794286     Sony/ATV Music Publishing LLC
 1459   Jet Pack Blues                                        PA0002149777     Sony/ATV Music Publishing LLC
 1460   Judas                                                 PA0001752321     Sony/ATV Music Publishing LLC
 1461   Juice Box                                             PA0001733404     Sony/ATV Music Publishing LLC
 1462   Jump [feat. Nelly Furtado]                            PA0001807841     Sony/ATV Music Publishing LLC
 1463   Just Dance                                            PA0001685310     Sony/ATV Music Publishing LLC
 1464   Just One Last Time                                    PA0001896046     Sony/ATV Music Publishing LLC
 1465   Kangaroo Court                                        PA0001952597     Sony/ATV Music Publishing LLC
 1466   Keep It Between Us                                    PA0001823996     Sony/ATV Music Publishing LLC
 1467   Krazy                                                 PA0001733987     Sony/ATV Music Publishing LLC
 1468   Last Chance                                           PA0001728914     Sony/ATV Music Publishing LLC
 1469   Lazy Lies                                             PA0001952597     Sony/ATV Music Publishing LLC
 1470   Like A G6                                             PA0001778021     Sony/ATV Music Publishing LLC
 1471   Lindy                                                 PA0001899353     Sony/ATV Music Publishing LLC
 1472   Little Bad Girl                                       PA0001814075     Sony/ATV Music Publishing LLC
 1473   Long Distance                                         PA0001821287     Sony/ATV Music Publishing LLC
 1474   Lotus                                                 PA0001794291     Sony/ATV Music Publishing LLC
 1475   Love Away                                             PA0001952597     Sony/ATV Music Publishing LLC
 1476   Love The Girls                                        PA0001772294     Sony/ATV Music Publishing LLC
 1477   Love Who You Love                                     PA0001661382     Sony/ATV Music Publishing LLC
 1478   Love You                                              PA0001707770     Sony/ATV Music Publishing LLC
 1479   LoveGame                                              PA0001685315     Sony/ATV Music Publishing LLC
 1480   Lunar                                                 PA0001814079     Sony/ATV Music Publishing LLC
 1481   Lunar (Party Mix)                                     PA0001814079     Sony/ATV Music Publishing LLC
 1482   Mafia Music                                           PA0001748285     Sony/ATV Music Publishing LLC
 1483   Maintain the Pain                                     PA0001682745     Sony/ATV Music Publishing LLC
 1484   Make It Stop (September's Children)                   PA0001887807     Sony/ATV Music Publishing LLC
 1485   Makin' Plans                                          PA0001682745     Sony/ATV Music Publishing LLC
 1486   Mama Africa                                           PA0001167181     Sony/ATV Music Publishing LLC
 1487   Manos Al Aire                                         PA0001760999     Sony/ATV Music Publishing LLC
 1488   Maria                                                 PA0001834767     Sony/ATV Music Publishing LLC
 1489   Marley                                                PA0001899367     Sony/ATV Music Publishing LLC
 1490   Marry Me                                              PA0001896439     Sony/ATV Music Publishing LLC
 1491   Maybach Music                                         PA0001639897     Sony/ATV Music Publishing LLC
 1492   MC Hammer                                             PA0001821908     Sony/ATV Music Publishing LLC
 1493   Me and Your Cigarettes                                PA0001682744     Sony/ATV Music Publishing LLC
 1494   Metropolis                                            PA0001827951     Sony/ATV Music Publishing LLC
 1495   Midnight Hands                                        PA0001887807     Sony/ATV Music Publishing LLC
 1496   Mirage                                                PA0001896025     Sony/ATV Music Publishing LLC
 1497   Mmm Yeah                                              PA0001886182     Sony/ATV Music Publishing LLC




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        Track                                                 Reg. No.         Plaintiff
 1498   Mojo So Dope                                          PA0001750010     Sony/ATV Music Publishing LLC
 1499   Money Right                                           PA0001644871     Sony/ATV Music Publishing LLC
 1500   Monster                                               PA0001751978     Sony/ATV Music Publishing LLC
 1501   Mr. Rager                                             PA0001750006     Sony/ATV Music Publishing LLC
 1502   Muny                                                  PA0001786604     Sony/ATV Music Publishing LLC
 1503   Murda                                                 PA0001996420     Sony/ATV Music Publishing LLC
 1504   Music Sounds Better                                   PA0001825036     Sony/ATV Music Publishing LLC
 1505   Must Be Something I Missed                            PA0001899368     Sony/ATV Music Publishing LLC
 1506   My Heart Beats For Love                               PA0001708952     Sony/ATV Music Publishing LLC
 1507   My Heart Is Open                                      PA0001661390     Sony/ATV Music Publishing LLC
 1508   Never                                                 PA0001807823     Sony/ATV Music Publishing LLC
 1509   Never Say Never                                       PA0001806271     Sony/ATV Music Publishing LLC
 1510   Nice                                                  PA0001659024     Sony/ATV Music Publishing LLC
 1511   Night Is Young                                        PA0001753995     Sony/ATV Music Publishing LLC
 1512   No. 1                                                 PA0001821894     Sony/ATV Music Publishing LLC
 1513   Nothing Even Matters                                  PA0001807063     Sony/ATV Music Publishing LLC
 1514   Nothing Really Matters                                PA0001814078     Sony/ATV Music Publishing LLC
 1515   Oh My Love                                            PA0001772289     Sony/ATV Music Publishing LLC
 1516   Oh Yeah                                               PA0001807062     Sony/ATV Music Publishing LLC
 1517   On and On                                             PA0001735747     Sony/ATV Music Publishing LLC
 1518   Only Prettier                                         PA0001682740     Sony/ATV Music Publishing LLC
 1519   Origami                                               PA0001952597     Sony/ATV Music Publishing LLC
 1520   Out Of Town Girl                                      PA0001835122     Sony/ATV Music Publishing LLC
 1521   Paparazzi                                             PA0001685323     Sony/ATV Music Publishing LLC
 1522   Paper Gangsta                                         PA0001685367     Sony/ATV Music Publishing LLC
 1523   Papi                                                  PA0001810026     Sony/ATV Music Publishing LLC
 1524   Patience Gets Us Nowhere Fast                         PA0001952597     Sony/ATV Music Publishing LLC
 1525   Pause                                                 PA0001780988     Sony/ATV Music Publishing LLC
 1526   Pay Me                                                PA0001808680     Sony/ATV Music Publishing LLC
 1527   Phoenix Rise                                          PA0001707770     Sony/ATV Music Publishing LLC
 1528   Play Hard                                             PA0001827956     Sony/ATV Music Publishing LLC
 1529   Playing Possum                                        PA0001707770     Sony/ATV Music Publishing LLC
 1530   Poker Face                                            PA0001685342     Sony/ATV Music Publishing LLC
 1531   Pretty Wings                                          PA0001707770     Sony/ATV Music Publishing LLC
 1532   Priceless                                             PA0001644888     Sony/ATV Music Publishing LLC
 1533   Put It Down                                           PA0001787201     Sony/ATV Music Publishing LLC
 1534   Quickie                                               PA0001808680     Sony/ATV Music Publishing LLC
 1535   R.O.O.T.S.                                            PA0001807832     Sony/ATV Music Publishing LLC
 1536   Radio                                                 PA0001807090     Sony/ATV Music Publishing LLC
 1537   Raise 'Em Up                                          PA0001947439     Sony/ATV Music Publishing LLC
 1538   Raw (How You Like It)                                 PA0001848766     Sony/ATV Music Publishing LLC
 1539   Ready To Roll                                         PA0001890859     Sony/ATV Music Publishing LLC
 1540   Respirator                                            PA0001821672     Sony/ATV Music Publishing LLC
 1541   Ridin' Solo                                           PA0001813218     Sony/ATV Music Publishing LLC
 1542   Right Before My Eyes                                  PA0001794286     Sony/ATV Music Publishing LLC
 1543   Right By My Side                                      PA0001822037     Sony/ATV Music Publishing LLC
 1544   Right Here (Departed)                                 PA0001821289     Sony/ATV Music Publishing LLC
 1545   Right Round                                           PA0001648304     Sony/ATV Music Publishing LLC
 1546   Right Thru Me                                         PA0001745303     Sony/ATV Music Publishing LLC
 1547   Robot                                                 PA0001708950     Sony/ATV Music Publishing LLC
 1548   Rubber Ball                                           PA0001794286     Sony/ATV Music Publishing LLC
 1549   Run (feat. RedFoo of LMFAO)                           PA0001887865     Sony/ATV Music Publishing LLC
 1550   Runnin' Around                                        PA0001698432     Sony/ATV Music Publishing LLC
 1551   Sabertooth Tiger                                      PA0001794286     Sony/ATV Music Publishing LLC
 1552   Safe and Sound                                        PA0001952597     Sony/ATV Music Publishing LLC
 1553   Satellite                                             PA0001887807     Sony/ATV Music Publishing LLC
 1554   Say It With Me                                        PA0001772291     Sony/ATV Music Publishing LLC
 1555   Scared Of Beautiful                                   PA0001846377     Sony/ATV Music Publishing LLC
 1556   Scars                                                 PA0001708950     Sony/ATV Music Publishing LLC
 1557   Sell Yourself                                         PA0001794286     Sony/ATV Music Publishing LLC
 1558   Sexy Bitch                                            PA0001703244     Sony/ATV Music Publishing LLC
 1559   She Don't Like The Lights                             PA0001822166     Sony/ATV Music Publishing LLC
 1560   She Wolf (Falling to Pieces)                          PA0001896051     Sony/ATV Music Publishing LLC
 1561   She'd Be California                                   PA0001661378     Sony/ATV Music Publishing LLC
 1562   Shiza                                                 PA0001752319     Sony/ATV Music Publishing LLC
 1563   Shut It Down                                          PA0001733390     Sony/ATV Music Publishing LLC
 1564   Silence                                               PA0000740717     Sony/ATV Music Publishing LLC
 1565   Sin For A Sin                                         PA0001682734     Sony/ATV Music Publishing LLC
 1566   Sinner                                                PA0001777809     Sony/ATV Music Publishing LLC
 1567   So Happy I Could Die                                  PA0001668692     Sony/ATV Music Publishing LLC
 1568   Soil To The Sun                                       PA0001794291     Sony/ATV Music Publishing LLC
 1569   South Of You                                          PA0001776561     Sony/ATV Music Publishing LLC
 1570   Spaghetti                                             PA0001879175     Sony/ATV Music Publishing LLC
 1571   Speechless                                            PA0001751979     Sony/ATV Music Publishing LLC
 1572   Spread The Love                                       PA0001899352     Sony/ATV Music Publishing LLC
 1573   Stand Up                                              PA0001946133     Sony/ATV Music Publishing LLC
 1574   Stars                                                 PA0001753996     Sony/ATV Music Publishing LLC




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        Track                                                 Reg. No.          Plaintiff
 1575   Starstruck                                            PA0001685366      Sony/ATV Music Publishing LLC
 1576   Stay                                                  PA0001708951      Sony/ATV Music Publishing LLC
 1577   Stay With Me                                          PA0001698437      Sony/ATV Music Publishing LLC
 1578   Still Missin                                          PA0001644870      Sony/ATV Music Publishing LLC
 1579   Stop The World                                        PA0001707770      Sony/ATV Music Publishing LLC
 1580   Strip                                                 PA0001896031      Sony/ATV Music Publishing LLC
 1581   Stupid Hoe                                            PA0001822069      Sony/ATV Music Publishing LLC
 1582   Summerboy                                             PA0001685365      Sony/ATV Music Publishing LLC
 1583   Super High                                            PA0001821907      Sony/ATV Music Publishing LLC
 1584   Superhuman                                            PA0001659015      Sony/ATV Music Publishing LLC
 1585   Superstar                                             PA0001825039      Sony/ATV Music Publishing LLC
 1586   Survivor Guilt                                        PA0001887807      Sony/ATV Music Publishing LLC
 1587   Sweat                                                 PA0001803810      Sony/ATV Music Publishing LLC
 1588   Sweat (Snoop Dogg vs. David Guetta)                   PA0001814071      Sony/ATV Music Publishing LLC
 1589   Sweet Spot                                            PA0001887850      Sony/ATV Music Publishing LLC
 1590   Sweet Surrender                                       PA0000866242      Sony/ATV Music Publishing LLC
 1591   Take Me Along                                         PA0001708950      Sony/ATV Music Publishing LLC
 1592   Teeth                                                 PA0001751976      Sony/ATV Music Publishing LLC
 1593   Tell Me How To Live                                   PA0001952597      Sony/ATV Music Publishing LLC
 1594   That Should Be Me                                     PA0001729714      Sony/ATV Music Publishing LLC
 1595   The Fame                                              PA0001685344      Sony/ATV Music Publishing LLC
 1596   The Future                                            PA0001774893      Sony/ATV Music Publishing LLC
 1597   The Future (Party Mix)                                PA0001774893      Sony/ATV Music Publishing LLC
 1598   The Only One                                          PA0001807094      Sony/ATV Music Publishing LLC
 1599   The Sweet Escape                                      PA0001166379      Sony/ATV Music Publishing LLC
 1600   The Time (Dirty Bit)                                  PA0001796440      Sony/ATV Music Publishing LLC
 1601   The War Is Over                                       PA0001821672      Sony/ATV Music Publishing LLC
 1602   These Worries                                         PA0001750006      Sony/ATV Music Publishing LLC
 1603   Things That Matter                                    PA0001661359      Sony/ATV Music Publishing LLC
 1604   This Is Letting Go                                    PA0001887807      Sony/ATV Music Publishing LLC
 1605   Thought Of You                                        PA0001834762      Sony/ATV Music Publishing LLC
 1606   Tik Tik Boom                                          PA0001917951      Sony/ATV Music Publishing LLC
 1607   Til It's Gone                                         PA0001917966      Sony/ATV Music Publishing LLC
 1608   Time                                                  PA0001874359      Sony/ATV Music Publishing LLC
 1609   Tiny Little Robots                                    PA0001794291      Sony/ATV Music Publishing LLC
 1610   Titanium                                              PA0001814072      Sony/ATV Music Publishing LLC
 1611   Tonight Tonight                                       PA0001765703      Sony/ATV Music Publishing LLC
 1612   Too Many Fish                                         PA0001864542      Sony/ATV Music Publishing LLC
 1613   Torn Down                                             PA0001821291      Sony/ATV Music Publishing LLC
 1614   Touch Me                                              PA0001896041      Sony/ATV Music Publishing LLC
 1615   Touch Me                                              PA0001807825      Sony/ATV Music Publishing LLC
 1616   Toy Story                                             PA0001774895      Sony/ATV Music Publishing LLC
 1617   Triumph                                               PA0001733388      Sony/ATV Music Publishing LLC
 1618   Turn Me On                                            PA0001814076;     Sony/ATV Music Publishing LLC
                                                              PA0001822072
 1619   Twisted                                               PA0001642854      Sony/ATV Music Publishing LLC
 1620   U Want Me 2                                           PA0001719661      Sony/ATV Music Publishing LLC
 1621   Up                                                    PA0001729713      Sony/ATV Music Publishing LLC
 1622   Us                                                    PA0001339679      Sony/ATV Music Publishing LLC
 1623   Virginia Bluebell                                     PA0001682743      Sony/ATV Music Publishing LLC
 1624   Vixen                                                 PA0001808680      Sony/ATV Music Publishing LLC
 1625   Wait For Me                                           PA0001887807      Sony/ATV Music Publishing LLC
 1626   Watching Airplanes                                    PA0001644061      Sony/ATV Music Publishing LLC
 1627   Way Out Here                                          PA0001777804      Sony/ATV Music Publishing LLC
 1628   We Aite (Wake Your Mind Up)                           PA0001750006      Sony/ATV Music Publishing LLC
 1629   We Are Young (feat. Janelle Mone)                     PA0001811978      Sony/ATV Music Publishing LLC
 1630   Wet The Bed                                           PA0001883692      Sony/ATV Music Publishing LLC
 1631   What I Wanted to Say                                  PA0001698434      Sony/ATV Music Publishing LLC
 1632   What If                                               PA0001813212      Sony/ATV Music Publishing LLC
 1633   Whatcha Say                                           PA0001813211      Sony/ATV Music Publishing LLC
 1634   When Love Takes Over                                  PA0001682910;     Sony/ATV Music Publishing LLC
                                                              PA0001644855
 1635   White Liar                                            PA0001682738      Sony/ATV Music Publishing LLC
 1636   Who I Am With You                                     PA0001887676      Sony/ATV Music Publishing LLC
 1637   Why Don't We Just Dance                               PA0001689774      Sony/ATV Music Publishing LLC
 1638   With You, Without You                                 PA0001607900      Sony/ATV Music Publishing LLC
 1639   Won't Be Lonely Long - On The Road                    PA0001777801      Sony/ATV Music Publishing LLC
 1640   XO                                                    PA0001879186      Sony/ATV Music Publishing LLC
 1641   You Ain't Seen Country Yet                            PA0001777803      Sony/ATV Music Publishing LLC
 1642   You And I                                             PA0001751989      Sony/ATV Music Publishing LLC
 1643   TRUE                                                  PA0001821294      Sony/ATV Music Publishing LLC
 1644   Without You                                           PA0001814077      Sony/ATV Music Publishing LLC / EMI April Music Inc.
 1645   Unfortunate                                           PA0001856240;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001787038
 1646 You're Not In On The Joke                               PA0001875761;     Sony/ATV Music Publishing LLC / EMI April Music Inc.
                                                              PA0001662742
 1647 Home This Christmas                                     PA0001780222      Sony/ATV Music Publishing LLC / EMI April Music Inc.




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      Track                                                   Reg. No.          Plaintiff
 1648 Trouble On My Mind                                      PA0001789134      Sony/ATV Music Publishing LLC / EMI April Music Inc.
 1649 Move Like You Gonna Die                                 PA0001875762;     Sony/ATV Music Publishing LLC / EMI April Music Inc.
                                                              PA0001662776
 1650 The Way                                                 PA0001903036      Sony/ATV Music Publishing LLC / EMI April Music Inc.
 1651 U Smile                                                 PA0001729700      Sony/ATV Music Publishing LLC / EMI April Music Inc. / EMI Blackwood Music Inc.
 1652 Here I Stand                                            PA0001673111;     Sony/ATV Music Publishing LLC / EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music
                                                              PA0001659007      Corp.
 1653 Refill                                                  PA0002000106      Sony/ATV Music Publishing LLC / EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music
                                                                                Corp.
 1654 Talk That Talk                                          PA0001848908;     Sony/ATV Music Publishing LLC / EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music
                                                              PA0002003919      Corp.
 1655 Castle Made Of Sand                                     PA0001771874;     W Chappell Music Corp. d/b/a WC Music Corp. / W.C.M. Music Corp.
                                                              PA0001780992
 1656 Jay Z Blue                                              PA0001858812;     Sony/ATV Music Publishing LLC / EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music
                                                              PA0001878202      Corp. / Warner-Tamerlane Publishing Corp.
 1657 Work It Man                                             PA0001763347      Sony/ATV Music Publishing LLC / EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
 1658   Call Of The Wild                                      PA0001733405      Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc.
 1659   Dirty                                                 PA0001895398      Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc.
 1660   Downtown                                              PA0001864826      Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc.
 1661   Drinks for You (Ladies Anthem)                        PA0001833788      Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc.
 1662   Feel This Moment                                      PA0001858590      Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc.
 1663   Global Warming                                        PA0001858589      Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc.
 1664   Hope We Meet Again                                    PA0001858593      Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc.
 1665   Mind On My Money                                      PA0001807828      Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc.
 1666   More                                                  PA0001745641      Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc.
 1667   Your Mama Should've Named You Whiskey                 PA0001914393      Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc.
 1668   Big Night                                             PA0001807064      Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc. / EMI April Music Inc.
 1669   Dirt Road Diary                                       PA0001870870;     Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc. / W Chappell Music Corp. d/b/a WC
                                                              PA0001967431      Music Corp.
 1670 I Did It For My Dawgz                                   PA0001852371;     Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc. / W Chappell Music Corp. d/b/a WC
                                                              PA0001874308      Music Corp.
 1671 With The Lights On                                      PA0001924140      Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc. / W Chappell Music Corp. d/b/a WC
                                                                                Music Corp.
 1672 Hotel Room Service                                      PA0001677761      Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc. / Warner-Tamerlane Publishing Corp.

 1673 Without A Woman                                         PA0001865872      Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc. / Warner-Tamerlane Publishing Corp.

 1674 Overboard                                               PA0001729705      Sony/ATV Music Publishing LLC / EMI Entertainment World Inc. d/b/a EMI Foray Music
 1675 Thinking Of You                                         PA0001884080      Sony/ATV Music Publishing LLC / EMI Entertainment World Inc. d/b/a EMI Foray Music / Warner-
                                                                                Tamerlane Publishing Corp.
 1676 Tears Of Joy                                            PA0001821877      Sony/ATV Music Publishing LLC / Jobete Music Co. Inc
 1677 Down On Me                                              PA0001722077      Sony/ATV Music Publishing LLC / Universal Music Corp.
 1678 All Alone                                               PA0001791456;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001810597
 1679 All Alright                                             PA0001791457;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001810599
 1680 Boyfriend                                               PA0001834755      Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
 1681 Carry On                                                PA0001791456;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001812238
 1682 Each Other                                              PA0001823951;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001763340
 1683 Free Mason                                              PA0001715518,     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001821875
 1684 Get It Started                                          PA0001833984;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001856139
 1685 Hustlin'                                                PA0001334589;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001367972
 1686 I Cry                                                   PA0001864854;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001887864
 1687 I Know You Want Me (Calle Ocho)                         PA0001706662;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001733983
 1688 It Gets Better                                          PA0001791456;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001810595
 1689 Lace and Leather                                        PA0001622996;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001647942
 1690 Lover's Thing                                           PA0001659046;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001755160
 1691 Magnificent                                             PA0001651715      Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
 1692 One Foot                                                PA0001811984      Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
 1693 Sexodus                                                 PA0001919070;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001955249
 1694 She Ain't You                                           PA0001775944;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001772287
 1695 Some Nights                                             PA0001791456;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001810594
 1696 Some Nights (Intro)                                     PA0001791456;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001810593




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      Track                                                   Reg. No.          Plaintiff
 1697 Stars                                                   PA0001791456;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001810598
 1698 The Sky's The Limit                                     PA0001742577;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001813221
 1699 Turn Around (5,4,3,2,1)                                 PA0001745024;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001821659
 1700 We Are Young                                            PA0001791456;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001811978
 1701 Why Am I the One                                        PA0001791456;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001810596
 1702 Why You Up In Here                                      PA0001741641;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001821674
 1703   American Beauty/American Psycho                       PA0001967312      Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
 1704   BO$$                                                  PA0001961615      Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
 1705   Bomb                                                  PA0001736350      Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
 1706   Cooler Than Me                                        PA0001740827      Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
 1707   Down To Earth                                         PA0001733328      Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
 1708   Somebody To Love                                      PA0001733294      Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
 1709   Stuck In The Moment                                   PA0001733295      Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
 1710   Beg For It                                            PA0001864144;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane
                                                              PA0001772282      Publishing Corp.
 1711 Biggest Fan                                             PA0001842280;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane
                                                              PA0001896028      Publishing Corp.
 1712 Heaven                                                  PA0001858834      Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane
                                                                                Publishing Corp.
 1713 Maybe You're Right                                      PA0001870023;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane
                                                              PA0001920676      Publishing Corp.
 1714 My Darlin'                                              PA0001870022      Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane
                                                                                Publishing Corp.
 1715 Picasso Baby                                            PA0001398432;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane
                                                              PA0001858799      Publishing Corp.
 1716 Remember You                                            PA0001872896      Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane
                                                                                Publishing Corp.
 1717 Tom Ford                                                PA0001858805      Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane
                                                                                Publishing Corp.
 1718   Never Let You Go                                      PA0001733293      Sony/ATV Music Publishing LLC / W.C.M. Music Corp.
 1719   21                                                    PA0001741677      Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1720   Automatic                                             PA0001932906      Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1721   Fast Lane                                             PA0001842407      Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1722   No New Friends                                        PA0001975061      Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1723   Paint Tha Town                                        PA0001976126      Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1724   Roman Reloaded                                        PA0001842418      Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1725   American Superstar                                    PA0001638917;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001644943
 1726 Americano                                               PA0001757746;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001752324
 1727 Back Around                                             PA0001693110;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001777802
 1728 Bloody Mary                                             PA0001757746;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001752323
 1729 Blunt Blowin                                            PA0001807230;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001811893
 1730 Born This Way                                           PA0001757756;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001751981
 1731   Born This Way (Country Road Version)                  PA0001757756      Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1732   Cut Throat                                            PA0001648869      Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1733   Dance In The Dark                                     PA0001668360      Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1734   Don't Know How To Act                                 PA0001647060;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001644874
 1735 Fall Asleep                                             PA0001874350      Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1736 Fashion Of His Love                                     PA0001757748;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001751985
 1737 Got Everything                                          PA0001951624;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001874348
 1738 Government Hooker                                       PA0001757746;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001752316
 1739 Heavy Metal Lover                                       PA0001757748;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001751982
 1740 High School                                             PA0001995833;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001840527
 1741 Highway Unicorn (Road To Love)                          PA0001757746;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001752322
 1742 Honestly                                                PA0001856126;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001803614
 1743 In My Head                                              PA0001742580;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001813215




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      Track                                                   Reg. No.          Plaintiff
 1744 In The Ayer                                             PA0001647062;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001644948
 1745 International Love                                      PA0001771867      Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1746 John                                                    PA0001807238      Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1747 Let It Go                                               PA0001951623;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001874344
 1748 Let It Roll Part 2                                      PA0001863569      Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1749 Love Hangover                                           PA0001742580;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001813216
 1750 Love Song                                               PA0001691877;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001682742
 1751 Marilyn Monroe                                          PA0001807225;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001822206
 1752 Marry The Night                                         PA0001757748;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001751986
 1753 No Limit                                                PA0001951617;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001874362
 1754 Not A Bad Thing                                         PA0001896719      Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1755 Paperbond                                               PA0001874342      Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1756 Permanent December                                      PA0001741420;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001708953
 1757   Roman's Revenge                                       PA0001786576      Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1758   Side FX                                               PA0001896430      Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1759   Stackin                                               PA0001841819      Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1760   Starships                                             PA0001807221;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001822042
 1761   Stupid Love                                           PA0001924144      Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1762   Talk Dirty                                            PA0001924145      Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1763   The Bluff                                             PA0001874346      Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1764   The Edge Of Glory                                     PA0001757746;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001751987
 1765 The Plan                                                PA0001874363;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001913727
 1766 The Queen                                               PA0001757748;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001751984
 1767 The Show Goes On                                        PA0001750275;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001735709
 1768 Unusual                                                 PA0001771888;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001787047
 1769 What's Wrong With Them                                  PA0001741927;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001804877
 1770 Whip It                                                 PA0001807223;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001822050
 1771 You Just Need Me                                        PA0001771889;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001787045
 1772 Maybach Music III                                       PA0001739159      Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp. / W Chappell Music Corp.
                                                                                d/b/a WC Music Corp.
 1773 Speedin'                                                PA0001647947      Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp. / W Chappell Music Corp.
                                                                                d/b/a WC Music Corp.
 1774 Centuries                                               PA0001967311      Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp./W Chappell Music Corp. d/b/a
                                                                                WC Music Corp.
 1775 Can I Get A Witness                                     Eu0000789133;     Stone Agate Music (a division of Jobete Music Co. Inc.)
                                                              RE0000535701
 1776   It Takes Two                                          EP0000214841      Stone Agate Music (a division of Jobete Music Co. Inc.)
 1777   That's The Way Love Is                                RE0000678602      Stone Agate Music (a division of Jobete Music Co. Inc.)
 1778   God Gave Me Style                                     PA0001160843      Stone Diamond Music Corp. / Jobete Music Co. Inc.
 1779   Always Late (with Your Kisses)                        EP0000056342;     Unichappell Music Inc.
                                                              RE0000017054
 1780 Chaining Day                                            PA0001939572      Unichappell Music Inc.
 1781 Don't Like (RMX)                                        PA0001808408      Unichappell Music Inc.
 1782 Down In The Valley                                      Eu0000721849;     Unichappell Music Inc.
                                                              RE0000490969
 1783 Hallelujah I Love Her So                                EU0000437231;     Unichappell Music Inc.
                                                              RE0000193661
 1784 Home In Your Heart                                      Eu0000760358;     Unichappell Music Inc.
                                                              RE0000519130
 1785   Live Fast, Die Young                                  PA0001739156      Unichappell Music Inc.
 1786   Lost In The World                                     PA0001784045      Unichappell Music Inc.
 1787   Necromancer                                           Eu0000236563      Unichappell Music Inc.
 1788   New God Flow                                          PA0001839620      Unichappell Music Inc.
 1789   Papa's Got A Brand New Bag                            Eu0000937504;     Unichappell Music Inc.
                                                              EP0000204266;
                                                              RE0000660458;
                                                              RE0000621005
 1790 Piece Of My Heart                                       EU19125;          Unichappell Music Inc.
                                                              RE0000695041
 1791 Where Have You Been                                     PA0001801575      Unichappell Music Inc.




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        Track                                                 Reg. No.          Plaintiff
 1792   1st Of Tha Month                                      PA0000782831      Unichappell Music Inc.
 1793   In The Rain                                           PA0001697043      Unichappell Music Inc.
 1794   Pump It Harder                                        PA0001723093      Unichappell Music Inc.
 1795   Somebody That I Used To Know                          PA0001785517      Unichappell Music Inc.
 1796   The Food                                              PA0001299025      Unichappell Music Inc.
 1797   The Title                                             PA0001263488      Unichappell Music Inc.
 1798   Walking the Floor over You                            R437580           Unichappell Music Inc.
 1799   Crazy in Love                                         PA0001131132      Unichappell Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp.
 1800   Crazy in Love                                         PA0001208972      Unichappell Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp.
 1801   That's My Bitch                                       PA0001762034      Unichappell Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp.
 1802   It's a Man's Man's Man's World                        EU934266;         Unichappell Music Inc. / Warner-Tamerlane Publishing Corp.
                                                              RE0000648306
 1803   TKO                                                   PA0001896712      Unichappell Music Inc. / Warner-Tamerlane Publishing Corp.
 1804   (Rock) Superstar                                      PA0001009112      Universal Music - MGB NA LLC
 1805   A Distorted Reality Is Now A Necessity To Be Free     PA0001160161      Universal Music - MGB NA LLC
 1806   A Fond Farewell                                       PA0001160152      Universal Music - MGB NA LLC
 1807   A Passing Feeling                                     PA0001160156      Universal Music - MGB NA LLC
 1808   A Question Mark                                       PA0000943571      Universal Music - MGB NA LLC
 1809   A Thousand Beautiful Things                           PA0001105462      Universal Music - MGB NA LLC
 1810   Ace In The Hole                                       PA0000419894      Universal Music - MGB NA LLC
 1811   Alameda                                               PA0000859622      Universal Music - MGB NA LLC
 1812   All Black Everything                                  PA0001740713      Universal Music - MGB NA LLC
 1813   Alphabet Town                                         PA0000787969      Universal Music - MGB NA LLC
 1814   Amity                                                 PA0000943572      Universal Music - MGB NA LLC
 1815   Angeles                                               PA0000859623      Universal Music - MGB NA LLC
 1816   Baby Britain                                          PA0000943582      Universal Music - MGB NA LLC
 1817   Ballad Of Big Nothing                                 PA0000859624      Universal Music - MGB NA LLC
 1818   Beautiful                                             PA0001073465      Universal Music - MGB NA LLC
 1819   Beautiful Lasers (2 Ways)                             PA0001739094      Universal Music - MGB NA LLC
 1820   Behind The Crooked Cross                              PA0000398150      Universal Music - MGB NA LLC
 1821   Better Be Quiet Now                                   PA0001015796      Universal Music - MGB NA LLC
 1822   Between The Bars                                      PA0000859625      Universal Music - MGB NA LLC
 1823   Bled White                                            PA0000943583      Universal Music - MGB NA LLC
 1824   Bless The Broken Road                                 PA0000734451      Universal Music - MGB NA LLC
 1825   Breakdown                                             PA0001166373      Universal Music - MGB NA LLC
 1826   Bye                                                   PA0001015793      Universal Music - MGB NA LLC
 1827   Candyman                                              PA0001165131      Universal Music - MGB NA LLC
 1828   Candyman                                              PA0001600087      Universal Music - MGB NA LLC
 1829   Can't Get the Best of Me                              PA0001009100      Universal Music - MGB NA LLC
 1830   Can't Make A Sound                                    PA0001015792      Universal Music - MGB NA LLC
 1831   Christian Brothers                                    PA0000787963      Universal Music - MGB NA LLC
 1832   Cleanse The Soul                                      PA0000398146      Universal Music - MGB NA LLC
 1833   Clementine                                            PA0000787964      Universal Music - MGB NA LLC
 1834   Coast To Coast                                        PA0001160148      Universal Music - MGB NA LLC
 1835   Colorbars                                             PA0001015789      Universal Music - MGB NA LLC
 1836   Coming Up                                             PA0001739096      Universal Music - MGB NA LLC
 1837   Coming Up Roses                                       PA0000787967      Universal Music - MGB NA LLC
 1838   Condor Ave                                            PA0000874054      Universal Music - MGB NA LLC
 1839   Cowboy Take Me Away                                   PA0000976781      Universal Music - MGB NA LLC
 1840   Crashed                                               PA0001166377      Universal Music - MGB NA LLC
 1841   Crawling Back to You                                  PA0001777988      Universal Music - MGB NA LLC
 1842   Crazy Dreams                                          PA0001642863      Universal Music - MGB NA LLC
 1843   Culo (feat. Lil Jon)                                  PA0001160641      Universal Music - MGB NA LLC
 1844   Cupids Trick                                          PA0000859633      Universal Music - MGB NA LLC
 1845   Don't Go Down                                         PA0001160150      Universal Music - MGB NA LLC
 1846   Dr. Greenthumb                                        PA0000944325      Universal Music - MGB NA LLC
 1847   Drive All Over Town                                   PA0000874058      Universal Music - MGB NA LLC
 1848   Easy Way Out                                          PA0001015787      Universal Music - MGB NA LLC
 1849   Eight Easy Steps                                      PA0001160026      Universal Music - MGB NA LLC
 1850   Everybody Cares, Everybody Understands                PA0000943580      Universal Music - MGB NA LLC
 1851   Everything                                            PA0001160035      Universal Music - MGB NA LLC
 1852   Everything Means Nothing To Me                        PA0001015783      Universal Music - MGB NA LLC
 1853   Everything Reminds Me Of Her                          PA0001015782      Universal Music - MGB NA LLC
 1854   Everything's Coming Our Way                           V2694P487;        Universal Music - MGB NA LLC
                                                              EU284167
 1855 Eye In The Sky                                          PAu000586337;     Universal Music - MGB NA LLC
                                                              PA0000144130
 1856   Feel The Beat                                         PA0001015351      Universal Music - MGB NA LLC
 1857   Get Back In My Life                                   PA0001726280      Universal Music - MGB NA LLC
 1858   Ghosts of War                                         PA0000398148      Universal Music - MGB NA LLC
 1859   Give A Little More                                    PA0001726268      Universal Music - MGB NA LLC
 1860   Gone                                                  PA0001694264      Universal Music - MGB NA LLC
 1861   Good To Go                                            PA0000787971      Universal Music - MGB NA LLC
 1862   Guajira                                               V2694P487;        Universal Music - MGB NA LLC
                                                              EU284166
 1863 Happiness                                               PA0001015790      Universal Music - MGB NA LLC
 1864 Harder To Breathe                                       PA0001073084      Universal Music - MGB NA LLC




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        Track                                                 Reg. No.         Plaintiff
 1865   Help Me                                               PA0001395680     Universal Music - MGB NA LLC
 1866   Home                                                  PA0001166372     Universal Music - MGB NA LLC
 1867   How                                                   PA0001784067     Universal Music - MGB NA LLC
 1868   How 'Bout Them Cowgirls                               PA0001165925     Universal Music - MGB NA LLC
 1869   I Can't Lie                                           PA0001784067     Universal Music - MGB NA LLC
 1870   I Care                                                PA0001748375     Universal Music - MGB NA LLC
 1871   I Didn't Understand                                   PA0000943573     Universal Music - MGB NA LLC
 1872   I Don't Wanna Care Right Now                          PA0001739119     Universal Music - MGB NA LLC
 1873   I Forgive You                                         PA0001771873     Universal Music - MGB NA LLC
 1874   In The Lost And Found (Honky Bach)/The Roost          PA0001015785     Universal Music - MGB NA LLC
 1875   Independence Day                                      PA0000846538     Universal Music - MGB NA LLC
 1876   Junk Bond Trader                                      PA0001015781     Universal Music - MGB NA LLC
 1877   Just A Feeling                                        PA0001726281     Universal Music - MGB NA LLC
 1878   King's Crossing                                       PA0001160154     Universal Music - MGB NA LLC
 1879   Kiwi Maddog 2020                                      PA0000874061     Universal Music - MGB NA LLC
 1880   Lamborghini Angels                                    PA0001936327     Universal Music - MGB NA LLC
 1881   Last Call                                             PA0000874060     Universal Music - MGB NA LLC
 1882   Last Name                                             PA0001642858     Universal Music - MGB NA LLC
 1883   Let It Die                                            PA0001166700     Universal Music - MGB NA LLC
 1884   Let's Get Lost                                        PA0001160147     Universal Music - MGB NA LLC
 1885   Letting Go                                            PA0001739109     Universal Music - MGB NA LLC
 1886   Life is a Highway                                     PA0000683569     Universal Music - MGB NA LLC
 1887   Little One                                            PA0001160160     Universal Music - MGB NA LLC
 1888   Live Undead                                           PA0000398142     Universal Music - MGB NA LLC
 1889   Lonely Lonely                                         PA0001166704     Universal Music - MGB NA LLC
 1890   Lose My Cool                                          PA0000884231     Universal Music - MGB NA LLC
 1891   Lose Myself                                           PA0000884229     Universal Music - MGB NA LLC
 1892   Love Was Easy                                         PA0001899459     Universal Music - MGB NA LLC
 1893   Lowrider                                              PA0001058017     Universal Music - MGB NA LLC
 1894   Mamacita                                              PA0001635799     Universal Music - MGB NA LLC
 1895   Mandatory Suicide                                     PA0000398149     Universal Music - MGB NA LLC
 1896   Me                                                    PA0000898017     Universal Music - MGB NA LLC
 1897   Memory Lane                                           PA0001160159     Universal Music - MGB NA LLC
 1898   Misery                                                PA0001726265     Universal Music - MGB NA LLC
 1899   Miss Misery                                           PA0000880149     Universal Music - MGB NA LLC
 1900   Mmm Papi                                              PA0001800249     Universal Music - MGB NA LLC
 1901   Moves Like Jagger                                     PA0001801572     Universal Music - MGB NA LLC
 1902   Mushaboom                                             PA0001166692     Universal Music - MGB NA LLC
 1903   Must Get Out                                          PA0001073090     Universal Music - MGB NA LLC
 1904   My Kinda Girl                                         PA0002008135     Universal Music - MGB NA LLC
 1905   Needle In The Hay                                     PA0000787962     Universal Music - MGB NA LLC
 1906   Never Gonna Leave This Bed                            PA0001726273     Universal Music - MGB NA LLC
 1907   No Curtain Call                                       PA0001726287     Universal Music - MGB NA LLC
 1908   No Name : No. 1                                       PA0000874055     Universal Music - MGB NA LLC
 1909   No Name : No. 2                                       PA0000874056     Universal Music - MGB NA LLC
 1910   No Name : No. 3                                       PA0000874057     Universal Music - MGB NA LLC
 1911   No Name : No. 4                                       PA0000874059     Universal Music - MGB NA LLC
 1912   No Name No. 5                                         PA0000859632     Universal Music - MGB NA LLC
 1913   No Substitute Love                                    PA0001911376     Universal Music - MGB NA LLC
 1914   Nobody Ever Told You                                  PA0001810765     Universal Music - MGB NA LLC
 1915   Not Coming Home                                       PA0001073094     Universal Music - MGB NA LLC
 1916   Nothing´s Gonna Stop Us Now                           PA0000318621     Universal Music - MGB NA LLC
 1917   Oh Well, OK                                           PA0000943579     Universal Music - MGB NA LLC
 1918   One More Night                                        PA0001810344     Universal Music - MGB NA LLC
 1919   One Way Ticket                                        PA0001810764     Universal Music - MGB NA LLC
 1920   Ostrich & Chirping                                    PA0001160153     Universal Music - MGB NA LLC
 1921   Out Of Control                                        PA0001015243     Universal Music - MGB NA LLC
 1922   Out Of Goodbyes                                       PA0001726285     Universal Music - MGB NA LLC
 1923   Pictures Of Me                                        PA0000859626     Universal Music - MGB NA LLC
 1924   Pitseleh                                              PA0000943578     Universal Music - MGB NA LLC
 1925   Pretty (Ugly Before)                                  PA0001160149     Universal Music - MGB NA LLC
 1926   Pretty Mary K (Other Version)                         PA0001015791     Universal Music - MGB NA LLC
 1927   Pretty Mary K                                         PA0001015791     Universal Music - MGB NA LLC
 1928   Punch And Judy                                        PA0000859627     Universal Music - MGB NA LLC
 1929   Rag Doll                                              PA0001805172     Universal Music - MGB NA LLC
 1930   Read Between The Lies                                 PA0000398147     Universal Music - MGB NA LLC
 1931   Ready To Run                                          PA0000955178     Universal Music - MGB NA LLC
 1932   Return of the "G"                                     PA0000956080     Universal Music - MGB NA LLC
 1933   Roman Candle                                          PA0000874053     Universal Music - MGB NA LLC
 1934   Rose Parade                                           PA0000859628     Universal Music - MGB NA LLC
 1935   Runaway                                               PA0001726283     Universal Music - MGB NA LLC
 1936   Sacrifice                                             PA0001163825     Universal Music - MGB NA LLC
 1937   Samba Pa Ti                                           V2694P487;       Universal Music - MGB NA LLC
                                                              EU221030
 1938 Sandstorm                                               PA0000981355     Universal Music - MGB NA LLC
 1939 Sandstorm (Js 16 Remix)                                 PA0001015249     Universal Music - MGB NA LLC
 1940 Sara                                                    PA0000289967     Universal Music - MGB NA LLC




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      Track                                                   Reg. No.          Plaintiff
 1941 Satellite                                               PA0000787968      Universal Music - MGB NA LLC
 1942 Say Yes                                                 PA0000859629      Universal Music - MGB NA LLC
 1943 Se a Cabo                                               V2694P487;        Universal Music - MGB NA LLC
                                                              EU221029
 1944   Secret                                                PA0001073092      Universal Music - MGB NA LLC
 1945   She Will Be Loved                                     PA0001073087      Universal Music - MGB NA LLC
 1946   Shiver                                                PA0001073086      Universal Music - MGB NA LLC
 1947   Shooting Star                                         PA0001160158      Universal Music - MGB NA LLC
 1948   Shoulda Let You Go                                    PA0001395956      Universal Music - MGB NA LLC
 1949   Silent Scream                                         PA0000398144      Universal Music - MGB NA LLC
 1950   Single File                                           PA0000787966      Universal Music - MGB NA LLC
 1951   So Small                                              PA0001642868      Universal Music - MGB NA LLC
 1952   Some Song                                             PA0000977171      Universal Music - MGB NA LLC
 1953   Somebody That I Used To Know                          PA0001015780      Universal Music - MGB NA LLC
 1954   Son Of Sam                                            PA0001015779      Universal Music - MGB NA LLC
 1955   Song of the Wind                                      RE0000834788      Universal Music - MGB NA LLC
 1956   Soul Sacrifice                                        V2694P487;        Universal Music - MGB NA LLC
                                                              EU133364
 1957   South Of Heaven                                       PA0000398143      Universal Music - MGB NA LLC
 1958   Southern Belle                                        PA0000787965      Universal Music - MGB NA LLC
 1959   Speed Trials                                          PA0000859630      Universal Music - MGB NA LLC
 1960   Spill The Blood                                       PA0000398145      Universal Music - MGB NA LLC
 1961   St. Ides Heaven                                       PA0000787970      Universal Music - MGB NA LLC
 1962   State Run Radio                                       PA0001739098      Universal Music - MGB NA LLC
 1963   Still Ballin'                                         PA0001219183      Universal Music - MGB NA LLC
 1964   Stronger (What Doesn't Kill You)                      PA0001771872      Universal Music - MGB NA LLC
 1965   Strung Out Again                                      PA0001160151      Universal Music - MGB NA LLC
 1966   Stupidity Tries                                       PA0001015786      Universal Music - MGB NA LLC
 1967   Stutter                                               PA0001784067      Universal Music - MGB NA LLC
 1968   Sunday Morning                                        PA0001073091      Universal Music - MGB NA LLC
 1969   Superstar                                             PA0001914364      Universal Music - MGB NA LLC
 1970   Sweet Adeline                                         PA0000943577      Universal Music - MGB NA LLC
 1971   Sweetest Goodbye                                      PA0001073095      Universal Music - MGB NA LLC
 1972   Tangled                                               PA0001073088      Universal Music - MGB NA LLC
 1973   Tequila Sunrise                                       PA0000978418      Universal Music - MGB NA LLC
 1974   The Last Hour                                         PA0001160157      Universal Music - MGB NA LLC
 1975   The Quiet Things That No One Ever Knows               PA0001160997      Universal Music - MGB NA LLC
 1976   The Sun                                               PA0001073089      Universal Music - MGB NA LLC
 1977   The White Lady Loves You More                         PA0000787972      Universal Music - MGB NA LLC
 1978   There And Back Again                                  PA0001166375      Universal Music - MGB NA LLC
 1979   There Will Come A Day                                 PA0001104206      Universal Music - MGB NA LLC
 1980   This Love                                             PA0001073085      Universal Music - MGB NA LLC
 1981   Through With You                                      PA0001073093      Universal Music - MGB NA LLC
 1982   Throw Your Set In The Air                             PA0000864778      Universal Music - MGB NA LLC
 1983   Thugz Cry                                             PA0000980074      Universal Music - MGB NA LLC
 1984   Tomorrow Tomorrow                                     PA0000943576      Universal Music - MGB NA LLC
 1985   Tulsa Texas                                           PA0001910314      Universal Music - MGB NA LLC
 1986   Twilight                                              PA0001160155      Universal Music - MGB NA LLC
 1987   Used To                                               PA0001166369      Universal Music - MGB NA LLC
 1988   Waltz No. 1                                           PA0000943575      Universal Music - MGB NA LLC
 1989   Waltz No. 2 (XO)                                      PA0000943574      Universal Music - MGB NA LLC
 1990   Welcome 2 Hell                                        PA0001808402;     Universal Music - MGB NA LLC
                                                              PA0001784192
 1991   What I Want                                           PA0001166370      Universal Music - MGB NA LLC
 1992   When U Cry                                            PA0000884230      Universal Music - MGB NA LLC
 1993   Who Will You Run To                                   PA0000332738      Universal Music - MGB NA LLC
 1994   Why                                                   PA0001166751      Universal Music - MGB NA LLC
 1995   Wouldn't Mama Be Proud                                PA0001015788      Universal Music - MGB NA LLC
 1996   You Can't Make A Heart Love Somebody                  PA0000693782      Universal Music - MGB NA LLC
 1997   You Want Her Too                                      PA0000423641      Universal Music - MGB NA LLC
 1998   Far From Home                                         PA0001646452      Universal Music – MGB NA LLC
 1999   Pavement Cracks                                       PA0001105463      Universal Music – MGB NA LLC
 2000   She's Hotter                                          PA0001163809      Universal Music – MGB NA LLC
 2001   The Bully                                             PA0001164906      Universal Music – MGB NA LLC
 2002   Whatcha Think About That                              PA0001657436      Universal Music – MGB NA LLC
 2003   Eye Pieces                                            V3594D824         Universal Music - MGB NA LLC
 2004   Homecoming Queen                                      PA0001915831      Universal Music - MGB NA LLC
 2005   One Of Those Nights                                   PA0001856074      Universal Music - MGB NA LLC
 2006   Sweetest Girl (Dollar Bill)                           PA0001776575      Universal Music - MGB NA LLC
 2007   1985                                                  PA0001159762      Universal Music - Z Tunes LLC
 2008   A Modern Myth                                         PA0001627815      Universal Music - Z Tunes LLC
 2009   After The Hurricane                                   PA0001897144      Universal Music - Z Tunes LLC
 2010   A-hole                                                PA0001159770      Universal Music - Z Tunes LLC
 2011   Alien                                                 PA0001917964      Universal Music - Z Tunes LLC
 2012   All I Have To Give                                    PA0000859324      Universal Music - Z Tunes LLC
 2013   All I Wanna Do Is Make Love To You                    PA0000063695      Universal Music - Z Tunes LLC
 2014   All The Way                                           PA0001933959      Universal Music - Z Tunes LLC




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        Track                                                            Reg. No.          Plaintiff
 2015   Almost                                                           PA0001159760      Universal Music - Z Tunes LLC
 2016   Almost Home                                                      PA0001159842      Universal Music - Z Tunes LLC
 2017   Anything                                                         PA0001166331      Universal Music - Z Tunes LLC
 2018   As Long As You Love Me                                           PA0000859323      Universal Music - Z Tunes LLC
 2019   Attack                                                           PA0001630069      Universal Music - Z Tunes LLC
 2020   AV                                                               PA0001158617      Universal Music - Z Tunes LLC
 2021   Baby One More Time                                               PA0000922764      Universal Music - Z Tunes LLC
 2022   Be On You (feat. Ne-Yo)                                          PA0001744934      Universal Music - Z Tunes LLC
 2023   Beauty in the World                                              PA0001733325      Universal Music - Z Tunes LLC
 2024   Because Of You                                                   PA0001643835      Universal Music - Z Tunes LLC
 2025   Body Count                                                       PA0001843832      Universal Music - Z Tunes LLC
 2026   Boo                                                              PA0001068355      Universal Music - Z Tunes LLC
 2027   Born to Make You Happy                                           PA0000932240      Universal Music - Z Tunes LLC
 2028   Brave New Girl                                                   PA0001158592      Universal Music - Z Tunes LLC
 2029   Brenda's Got A Baby                                              PA0001319771      Universal Music - Z Tunes LLC
 2030   Brightest Morning Star                                           PA0001915188      Universal Music - Z Tunes LLC
 2031   Burn It Down                                                     PA0001805742      Universal Music - Z Tunes LLC
 2032   Caligula                                                         PA0000982321      Universal Music - Z Tunes LLC
 2033   Call Me Guilty                                                   PA0001897137      Universal Music - Z Tunes LLC
 2034   Call On Me                                                       PA0001087663      Universal Music - Z Tunes LLC
 2035   Castle of Glass                                                  PA0001805745      Universal Music - Z Tunes LLC
 2036   Celebrity                                                        PA0001752525      Universal Music - Z Tunes LLC
 2037   Chillin' With You                                                PA0001917967      Universal Music - Z Tunes LLC
 2038   Come And Get Some                                                PA0000951393      Universal Music - Z Tunes LLC
 2039   Come Together                                                    PA0001131225      Universal Music - Z Tunes LLC
 2040   Coming Home                                                      PA0000968742      Universal Music - Z Tunes LLC
 2041   Crawling                                                         PA0001092510      Universal Music - Z Tunes LLC
 2042   Damn Girl                                                        PA0001165054      Universal Music - Z Tunes LLC
 2043   Destiny                                                          PA0001012581      Universal Music - Z Tunes LLC
 2044   Do Something                                                     PA0000965750      Universal Music - Z Tunes LLC
 2045   Don't Cry                                                        PA0001917968      Universal Music - Z Tunes LLC
 2046   Don't Say No, Just Say Yes                                       PA0001087665      Universal Music - Z Tunes LLC
 2047   Don't Take Your Love Away                                        PA0001158619      Universal Music - Z Tunes LLC
 2048   Down For The Count                                               PA0001159774      Universal Music - Z Tunes LLC
 2049   Dream Big                                                        PA0001897124      Universal Music - Z Tunes LLC
 2050   Drowning                                                         PA0001065910      Universal Music - Z Tunes LLC
 2051   Early Mornin'                                                    PA0001162999      Universal Music - Z Tunes LLC
 2052   Epiphany                                                         PA0001908943      Universal Music - Z Tunes LLC
 2053   Everybody (Backstreet's Back)                                    PA0000821647      Universal Music - Z Tunes LLC
 2054   Everything About You                                             PA0001158625      Universal Music - Z Tunes LLC
 2055   Everytime                                                        PA0001158595      Universal Music - Z Tunes LLC
 2056   F**k Faces                                                       PA0000951093      Universal Music - Z Tunes LLC
 2057   Fear                                                             PA0001897132      Universal Music - Z Tunes LLC
 2058   Feast                                                            PA0001158622      Universal Music - Z Tunes LLC
 2059   Finally Made Me Happy                                            PA0001167770      Universal Music - Z Tunes LLC
 2060   Flickin'                                                         PA0001158627      Universal Music - Z Tunes LLC
 2061   Fly As An Eagle (feat. Foxx and Pimp C)                          PA0001924161      Universal Music - Z Tunes LLC
 2062   Friends O' Mine                                                  PA0001159776      Universal Music - Z Tunes LLC
 2063   From Yesterday                                                   PA0001627824      Universal Music - Z Tunes LLC
 2064   Get Away                                                         PA0001025466      Universal Music - Z Tunes LLC
 2065   Get Happy                                                        PA0001159763      Universal Music - Z Tunes LLC
 2066   Gimme All Your Lovin' or I Will Kill You                         PA0001068357      Universal Music - Z Tunes LLC
 2067   Go On Girl                                                       PA0001167568      Universal Music - Z Tunes LLC
 2068   Good Girl Gone Bad                                               PA0001641361      Universal Music - Z Tunes LLC
 2069   Good To Know That If I Ever Need Attention All I Have To Do is   PA0001160994      Universal Music - Z Tunes LLC
        Die
 2070   Guernica                                                         PA0001160999      Universal Music - Z Tunes LLC
 2071   Happiness                                                        PA0001131229      Universal Music - Z Tunes LLC
 2072   Happy                                                            PA0001012579      Universal Music - Z Tunes LLC
 2073   Hate That I Love You                                             PA0001641335      Universal Music - Z Tunes LLC
 2074   Here Comes Goodbye                                               PA0001655601      Universal Music - Z Tunes LLC
 2075   His Mistakes                                                     PA0001658991;     Universal Music - Z Tunes LLC
                                                                         PA0001602812
 2076   Hold On Tight                                                    PA0001915189      Universal Music - Z Tunes LLC
 2077   Hooked                                                           PA0001158620      Universal Music - Z Tunes LLC
 2078   I Can't Wait                                                     PA0001396082      Universal Music - Z Tunes LLC
 2079   I Don't Remember                                                 PA0001729163      Universal Music - Z Tunes LLC
 2080   I Hate Everything                                                PA0001159807      Universal Music - Z Tunes LLC
 2081   I Wanna Know                                                     PA0001012580      Universal Music - Z Tunes LLC
 2082   I Want It That Way                                               PA0000940714      Universal Music - Z Tunes LLC
 2083   I Will                                                           PA0000925699      Universal Music - Z Tunes LLC
 2084   I Will Play My Game Beneath The Spin Light                       PA0001160991      Universal Music - Z Tunes LLC
 2085   If It's Lovin' That You Want                                     PA0001167048;     Universal Music - Z Tunes LLC
                                                                         PA0001162726
 2086 I'LL BE GONE                                                       PA0001805744      Universal Music - Z Tunes LLC
 2087 I'll Never Break Your Heart                                        PA0000859260      Universal Music - Z Tunes LLC
 2088 In Between Us                                                      PA0001113731      Universal Music - Z Tunes LLC




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        Track                                                 Reg. No.         Plaintiff
 2089   In Love With Another Man                              PA0001897134     Universal Music - Z Tunes LLC
 2090   In My Remains                                         PA0001805741     Universal Music - Z Tunes LLC
 2091   In The End                                            PA0001092513     Universal Music - Z Tunes LLC
 2092   Int'l Players Anthem (I Choose You)                   PA0001646582     Universal Music - Z Tunes LLC
 2093   It Ain't The Money                                    PA0001131222     Universal Music - Z Tunes LLC
 2094   It Should Be Easy                                     PA0001917963     Universal Music - Z Tunes LLC
 2095   Jack & Jill                                           PA0001087674     Universal Music - Z Tunes LLC
 2096   Jaws Theme Swimming                                   PA0001160998     Universal Music - Z Tunes LLC
 2097   King Of The Streets                                   PA0001774746     Universal Music - Z Tunes LLC
 2098   Larger Than Life                                      PA0000940713     Universal Music - Z Tunes LLC
 2099   Last Call Casualty                                    PA0001159767     Universal Music - Z Tunes LLC
 2100   Leave Out All The Rest                                PA0001167571     Universal Music - Z Tunes LLC
 2101   Let Me C It (Feat. Petey Pablo)                       PA0001241429     Universal Music - Z Tunes LLC
 2102   Let Me Love You (Until You Learn To Love Yourself)    PA0001831966     Universal Music - Z Tunes LLC
 2103 Let You Win                                             PA0001733341     Universal Music - Z Tunes LLC
 2104   Let's Make a Deal                                     PA0001025467     Universal Music - Z Tunes LLC
 2105   Lie About Us                                          PA0001167119     Universal Music - Z Tunes LLC
 2106   Lies Greed Misery                                     PA0001805743     Universal Music - Z Tunes LLC
 2107   Like Smoke                                            PA0001804417     Universal Music - Z Tunes LLC
 2108   Lost in the Echo                                      PA0001805740     Universal Music - Z Tunes LLC
 2109   Love Me Love Me                                       PA0001784544     Universal Music - Z Tunes LLC
 2110   Love School                                           PA0001087673     Universal Music - Z Tunes LLC
 2111   Makin' Good Love                                      PA0001087666     Universal Music - Z Tunes LLC
 2112   Marry The P***y                                       PA0001934438     Universal Music - Z Tunes LLC
 2113   Me Against The Music                                  PA0001158586     Universal Music - Z Tunes LLC
 2114   Me vs. Maradona vs. Elvis                             PA0001161000     Universal Music - Z Tunes LLC
 2115   My Baby                                               PA0001888781     Universal Music - Z Tunes LLC
 2116   My Hometown                                           PA0001159769     Universal Music - Z Tunes LLC
 2117   Need U Bad                                            PA0001932031     Universal Music - Z Tunes LLC
 2118   Next Ex-Girlfriend                                    PA0001159768     Universal Music - Z Tunes LLC
 2119   Next To You                                           PA0001641326     Universal Music - Z Tunes LLC
 2120   No Diggity                                            PA0000839312     Universal Music - Z Tunes LLC
 2121   No Limit                                              PA0001087668     Universal Music - Z Tunes LLC
 2122   Now That I Found You                                  PA0001915191     Universal Music - Z Tunes LLC
 2123   Oblivion                                              PA0001066429     Universal Music - Z Tunes LLC
 2124   Okay I Believe You, But My Tommy Gun Don't            PA0001160992     Universal Music - Z Tunes LLC
 2125   One Night Stand                                       PA0001897141     Universal Music - Z Tunes LLC
 2126   One Way Street                                        PA0001087672     Universal Music - Z Tunes LLC
 2127   Ooh Aah                                               PA0001012582     Universal Music - Z Tunes LLC
 2128   Oops I Did It Again                                   PA0001005838     Universal Music - Z Tunes LLC
 2129   Outrageous                                            PA0001158594     Universal Music - Z Tunes LLC
 2130   Papercut                                              PA0001092506     Universal Music - Z Tunes LLC
 2131   Parachute                                             PA0001856273     Universal Music - Z Tunes LLC
 2132   Perfume (The Dreaming Mix)                            PA0001915193     Universal Music - Z Tunes LLC
 2133   Phone Sex (That's What's Up)                          PA0001158621     Universal Music - Z Tunes LLC
 2134   Play Crack The Sky                                    PA0001160996     Universal Music - Z Tunes LLC
 2135   Plc.4 Mie Haed                                        PA0001237296     Universal Music - Z Tunes LLC
 2136   Points Of Authority                                   PA0001092509     Universal Music - Z Tunes LLC
 2137   Powerless                                             PA0001805751     Universal Music - Z Tunes LLC
 2138   PPr:Kut                                               PA0001237300     Universal Music - Z Tunes LLC
 2139   Pts.OF.Athrty                                         PA0001237292     Universal Music - Z Tunes LLC
 2140   Question Existing                                     PA0001641356     Universal Music - Z Tunes LLC
 2141   Quit Playing Games (With My Heart)                    PA0000893064     Universal Music - Z Tunes LLC
 2142   Rather Hazy                                           PA0001010168     Universal Music - Z Tunes LLC
 2143   Reaction                                              PA0001054035     Universal Music - Z Tunes LLC
 2144   Read Your Mind                                        PA0001158618     Universal Music - Z Tunes LLC
 2145   Real Love                                             PA0001733344     Universal Music - Z Tunes LLC
 2146   Really Might Be Gone                                  PA0001159773     Universal Music - Z Tunes LLC
 2147   Rehab                                                 PA0001641351     Universal Music - Z Tunes LLC
 2148   R-Evolve                                              PA0001627821     Universal Music - Z Tunes LLC
 2149   Ridiculous                                            PA0001159765     Universal Music - Z Tunes LLC
 2150   Rnw@y                                                 PA0001237301     Universal Music - Z Tunes LLC
 2151   Roads Untraveled                                      PA0001805747     Universal Music - Z Tunes LLC
 2152   Run (feat. RedFoo of LMFAO)                           PA0001824805     Universal Music - Z Tunes LLC
 2153   Runaway                                               PA0001092511     Universal Music - Z Tunes LLC
 2154   Sad Sad Situation                                     PA0001159772     Universal Music - Z Tunes LLC
 2155   Savior                                                PA0001627837     Universal Music - Z Tunes LLC
 2156   Screamin'                                             PA0001131232     Universal Music - Z Tunes LLC
 2157   Seems To Be                                           PA0001158623     Universal Music - Z Tunes LLC
 2158   Separated                                             PA0001012575     Universal Music - Z Tunes LLC
 2159   Serious                                               PA0001025468     Universal Music - Z Tunes LLC
 2160   Session                                               PA0001256413     Universal Music - Z Tunes LLC
 2161   Sex-o-matic Venus Freak                               PA0000982322     Universal Music - Z Tunes LLC
 2162   Sexual Revolution                                     PA0001088199     Universal Music - Z Tunes LLC
 2163   Shadow                                                PA0001158591     Universal Music - Z Tunes LLC
 2164   She Ain't Right for You                               PA0001131223     Universal Music - Z Tunes LLC
 2165   She Don't Write Songs About You                       PA0001131226     Universal Music - Z Tunes LLC




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        Track                                                 Reg. No.         Plaintiff
 2166   Show Me The Meaning Of Being Lonely                   PA0000940715     Universal Music - Z Tunes LLC
 2167   Showdown                                              PA0001158589     Universal Music - Z Tunes LLC
 2168   Shut-Up And Smile                                     PA0001159766     Universal Music - Z Tunes LLC
 2169   Sic Transit Gloria                                    PA0001160995     Universal Music - Z Tunes LLC
 2170   Six In Da Morning                                     PA0001087670     Universal Music - Z Tunes LLC
 2171   Skin to Bone                                          PA0001805748     Universal Music - Z Tunes LLC
 2172   Smoothie King                                         PA0001159771     Universal Music - Z Tunes LLC
 2173   Somewhere I Belong                                    PA0001256410     Universal Music - Z Tunes LLC
 2174   Sorry                                                 PA0001087667     Universal Music - Z Tunes LLC
 2175   Stalker                                               PA0001733343     Universal Music - Z Tunes LLC
 2176   Still Hurts                                           PA0001733323     Universal Music - Z Tunes LLC
 2177   Stupid In Love                                        PA0001668436     Universal Music - Z Tunes LLC
 2178   Suicide                                               PA0001087675     Universal Music - Z Tunes LLC
 2179   Switch!                                               PA0001897139     Universal Music - Z Tunes LLC
 2180   Take A Bow                                            PA0001692696     Universal Music - Z Tunes LLC
 2181   Tautou                                                PA0001160990     Universal Music - Z Tunes LLC
 2182   That Man                                              PA0001733342     Universal Music - Z Tunes LLC
 2183   The Boss                                              PA0001643618     Universal Music - Z Tunes LLC
 2184   The Boy Who Blocked His Own Shot                      PA0001160993     Universal Music - Z Tunes LLC
 2185   The Call                                              PA0001034531     Universal Music - Z Tunes LLC
 2186   The Comeback                                          PA0001733346     Universal Music - Z Tunes LLC
 2187   The Fantasy                                           PA0001627841     Universal Music - Z Tunes LLC
 2188   The Hook Up                                           PA0001158587     Universal Music - Z Tunes LLC
 2189   The Kill [Bury Me]                                    PA0001630065     Universal Music - Z Tunes LLC
 2190   The Letter                                            PA0000982327     Universal Music - Z Tunes LLC
 2191   The One                                               PA0000940719     Universal Music - Z Tunes LLC
 2192   The Story                                             PA0001627822     Universal Music - Z Tunes LLC
 2193   These Dreams                                          PA0000265527     Universal Music - Z Tunes LLC
 2194   They Down With Us                                     PA0001032839     Universal Music - Z Tunes LLC
 2195   Things That Made Me Change                            PA0001131224     Universal Music - Z Tunes LLC
 2196   Thinkin' About You                                    PA0001087669     Universal Music - Z Tunes LLC
 2197   This Time                                             PA0001025469     Universal Music - Z Tunes LLC
 2198   Throw This Money On You                               PA0001934439     Universal Music - Z Tunes LLC
 2199   Tinfoil                                               PA0001805750     Universal Music - Z Tunes LLC
 2200   Touch Of My Hand                                      PA0001158590     Universal Music - Z Tunes LLC
 2201   Treat Me Like Your Money                              PA0001167777     Universal Music - Z Tunes LLC
 2202   Trucker Hat                                           PA0001159761     Universal Music - Z Tunes LLC
 2203   Two-Seater                                            PA0001159775     Universal Music - Z Tunes LLC
 2204   Valentine's Day                                       PA0001167577     Universal Music - Z Tunes LLC
 2205   Victimized                                            PA0001805746     Universal Music - Z Tunes LLC
 2206   Wake                                                  PA0001167569     Universal Music - Z Tunes LLC
 2207   Wanna Be Close                                        PA0001158624     Universal Music - Z Tunes LLC
 2208   Was It A Dream?                                       PA0001630066     Universal Music - Z Tunes LLC
 2209   We Built This City                                    PA0000265529     Universal Music - Z Tunes LLC
 2210   What Do You Want                                      PA0001087664     Universal Music - Z Tunes LLC
 2211   When I See You                                        PA0001131221     Universal Music - Z Tunes LLC
 2212   Why                                                   PA0001012583     Universal Music - Z Tunes LLC
 2213   Why Didn't You Call Me                                PA0000982319     Universal Music - Z Tunes LLC
 2214   With You                                              PA0001092508     Universal Music - Z Tunes LLC
 2215   Worldwide                                             PA0001731533     Universal Music - Z Tunes LLC
 2216   You Ain't Right                                       PA0001087671     Universal Music - Z Tunes LLC
 2217   You Deserve Better                                    PA0001933962     Universal Music - Z Tunes LLC
 2218   You Got Me                                            PA0001208305     Universal Music - Z Tunes LLC
 2219   You're Not Alone                                      PA0001784547     Universal Music - Z Tunes LLC
 2220   El Farol                                              PA0001397135     Universal Music Corp
 2221   Primavera                                             PA0001005029     Universal Music Corp
 2222   45                                                    PA0001278086     Universal Music Corp.
 2223   1999                                                  PA0000157921     Universal Music Corp.
 2224   #Beautiful                                            PA0001888760     Universal Music Corp.
 2225   (Everything I Do) I Do It For You                     PA0000544254     Universal Music Corp.
 2226   (I've Just Begun) Having My Fun                       PA0001287638     Universal Music Corp.
 2227   (Sittin' On) The Dock Of The Bay                      V3448D467        Universal Music Corp.
 2228   03' Bonnie & Clyde                                    PA0001147399     Universal Music Corp.
 2229   17 Days                                               PA0000220372     Universal Music Corp.
 2230   4 Real                                                PA0001742275     Universal Music Corp.
 2231   4 The Tears In Your Eyes                              PA0000246463     Universal Music Corp.
 2232   7 (Seven)                                             PA0000608652     Universal Music Corp.
 2233   A Complicated Song                                    PA0001334252     Universal Music Corp.
 2234   A Matter Of Trust                                     PA0000304122     Universal Music Corp.
 2235   Adore                                                 PA0000339619     Universal Music Corp.
 2236   Adore You                                             PA0001904203     Universal Music Corp.
 2237   Adorn                                                 PA0001899234     Universal Music Corp.
 2238   Adrenaline Rush                                       PA0001145821     Universal Music Corp.
 2239   Aftermath                                             PA0001916365     Universal Music Corp.
 2240   Ain't It The Life                                     PA0001693327     Universal Music Corp.
 2241   Alice                                                 PA0001728745     Universal Music Corp.
 2242   Alive                                                 PA0000544549     Universal Music Corp.




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        Track                                                 Reg. No.          Plaintiff
 2243   All About Soul                                        PA0000693483      Universal Music Corp.
 2244   All Back                                              PA0001750523      Universal Music Corp.
 2245   All For Leyna                                         PA0000077964      Universal Music Corp.
 2246   All I Want Is You                                     PA0001780224      Universal Music Corp.
 2247   All That Sh** Is Gone                                 PA0001677408      Universal Music Corp.
 2248   Allentown                                             PA0000186933      Universal Music Corp.
 2249   Alphabet St.                                          PA0000377936      Universal Music Corp.
 2250   An Innocent Man                                       PA0000235369      Universal Music Corp.
 2251   Annabelle                                             PA0000787740      Universal Music Corp.
 2252   Another Lonely Christmas                              PA0000247822      Universal Music Corp.
 2253   Another Try                                           PA0001642916      Universal Music Corp.
 2254   Anything But Ordinary                                 PA0001101512      Universal Music Corp.
 2255   April The 14th Part 1                                 PA0001063438      Universal Music Corp.
 2256   Are We All We Are                                     PA0001817460      Universal Music Corp.
 2257   Astronaut Chick                                       PA0001856280      Universal Music Corp.
 2258   Atlantic                                              PA0001777097      Universal Music Corp.
 2259   Aurora                                                PA0001693316      Universal Music Corp.
 2260   Average Man                                           PA0001245479      Universal Music Corp.
 2261   Baby, I Go Crazy                                      PA0001642909      Universal Music Corp.
 2262   Be Alright                                            PA0001850370      Universal Music Corp.
 2263   Better Days                                           PA0000877830      Universal Music Corp.
 2264   Better Man                                            PA0000663649      Universal Music Corp.
 2265   Black And White                                       PA0000391485      Universal Music Corp.
 2266   Black Star                                            PA0001742258      Universal Music Corp.
 2267   Blessed                                               PA0001681897      Universal Music Corp.
 2268   Blind Man                                             PA0000782950      Universal Music Corp.
 2269   Boogie Nights                                         EU0000741567;     Universal Music Corp.
                                                              RE0000890921
 2270   Breakout                                              PA0001693301      Universal Music Corp.
 2271   Breakout                                              PA0001705474      Universal Music Corp.
 2272   Burn For You                                          PA0000426815      Universal Music Corp.
 2273   By The Mark                                           PA0000787742      Universal Music Corp.
 2274   Cant Leave Em Alone                                   PA0001885593      Universal Music Corp.
 2275   Can't Stop This Thing We Started                      PA0000549559      Universal Music Corp.
 2276   Can't Stop Won't Stop                                 PA0001831957      Universal Music Corp.
 2277   Ceiling of Plankton                                   PA0001777095      Universal Music Corp.
 2278   Cheers                                                PA0001245485      Universal Music Corp.
 2279   Cheers (Drink To That)                                PA0001732810      Universal Music Corp.
 2280   Christmas Eve                                         PA0001780227      Universal Music Corp.
 2281   Complicated                                           PA0001101506      Universal Music Corp.
 2282   Complicated                                           PA0001732820      Universal Music Corp.
 2283   Controversy                                           PA0000130927      Universal Music Corp.
 2284   Corduroy                                              PA0000663646      Universal Music Corp.
 2285   Cowgirl                                               PA0001889382      Universal Music Corp.
 2286   Crept And We Came                                     PA0000767829      Universal Music Corp.
 2287   Crying Out                                            PA0001278085      Universal Music Corp.
 2288   Cuts Like A Knife                                     PA0000164472      Universal Music Corp.
 2289   Dancing On The Jetty                                  PA0000391475;     Universal Music Corp.
                                                              PA0000426815
 2290   Darlin                                                PA0001742277      Universal Music Corp.
 2291   Dear Someone                                          PA0001063436      Universal Music Corp.
 2292   Delirious                                             PA0000157924      Universal Music Corp.
 2293   Destiny                                               PA0001131247      Universal Music Corp.
 2294   Deuces Are Wild                                       PA0000693447      Universal Music Corp.
 2295   Diamonds And Pearls                                   PA0000549272      Universal Music Corp.
 2296   Didn't We Almost Have It All                          PA0000348786      Universal Music Corp.
 2297   Die Die Die                                           PA0000782833      Universal Music Corp.
 2298   Dissident                                             PA0000669755      Universal Music Corp.
 2299   DJ Play A Love Song                                   PA0001696017      Universal Music Corp.
 2300   Do I Have To Say The Words?                           PA0000549565      Universal Music Corp.
 2301   Do Me, Baby                                           PA0000130925      Universal Music Corp.
 2302   Do That There                                         PA0001931123      Universal Music Corp.
 2303   Dog And Butterfly                                     PA0000091423      Universal Music Corp.
 2304   Don't Ask Me Why                                      PA0000077962      Universal Music Corp.
 2305   Don't Change                                          PA0000167323      Universal Music Corp.
 2306   Don't Come Down                                       PA0001245487      Universal Music Corp.
 2307   Drinkin' Dark Whiskey                                 PA0001132067      Universal Music Corp.
 2308   East 1999                                             PA0000767827      Universal Music Corp.
 2309   Echo                                                  PA0001727653      Universal Music Corp.
 2310   Eenie Meenie                                          PA0001703249      Universal Music Corp.
 2311   End Of The Road                                       PA0001649584      Universal Music Corp.
 2312   Eternal                                               PA0000767828      Universal Music Corp.
 2313   Euphoria                                              PA0001831963      Universal Music Corp.
 2314   Everybody Loves You Now                               PA0000119693      Universal Music Corp.
 2315   Everything Is Fine                                    PA0001642898      Universal Music Corp.
 2316   Everything Is Free                                    PA0001063442      Universal Music Corp.
 2317   Exclusive                                             PA0001323360      Universal Music Corp.




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                                                              EXHIBIT B - MUSICAL COMPOSITIONS

        Track                                                 Reg. No.          Plaintiff
 2318   Fall To Pieces                                        PA0001251271      Universal Music Corp.
 2319   Far Behind                                            PA0001649582      Universal Music Corp.
 2320   Fashion Beats                                         PA0001730827      Universal Music Corp.
 2321   Feel Good Summer Song                                 PA0001902463      Universal Music Corp.
 2322   Fire Bomb                                             PA0001668448      Universal Music Corp.
 2323   Firecracker                                           PA0001642904      Universal Music Corp.
 2324   Fly As The Sky                                        PA0001317549      Universal Music Corp.
 2325   Fly From The Inside                                   PA0001278080      Universal Music Corp.
 2326   Forgotten                                             PA0001251273      Universal Music Corp.
 2327   Free Run                                              PA0001821987      Universal Music Corp.
 2328   Frontin'                                              PA0001317546      Universal Music Corp.
 2329   Fuck The World                                        PA0000956432      Universal Music Corp.
 2330   Generator                                             PA0001693314      Universal Music Corp.
 2331   Get Your Number                                       PA0001931129      Universal Music Corp.
 2332   Ghetto Dreams                                         PA0001833561      Universal Music Corp.
 2333   Ghetto Gospel                                         PA0001323618      Universal Music Corp.
 2334   Gimme Stitches                                        PA0001693310      Universal Music Corp.
 2335   Girl                                                  PA0000125252      Universal Music Corp.
 2336   Girlfriend                                            PA0001334139      Universal Music Corp.
 2337   Given To Fly                                          PAu002290743      Universal Music Corp.
 2338   Glamorous                                             PA0001370493      Universal Music Corp.
 2339   Go Out All Night                                      PA0001777099      Universal Music Corp.
 2340   Good Woman Bad                                        PA0000785095      Universal Music Corp.
 2341   Goodbye                                               PA0001742279      Universal Music Corp.
 2342   Goodbye Girl                                          PA0001870813      Universal Music Corp.
 2343   Got Some Teeth                                        PA0001245484      Universal Music Corp.
 2344   Gotta Get Thru This                                   PA0001241752      Universal Music Corp.
 2345   GPSA (Ghetto Public Service Announcement)             PA0001371422      Universal Music Corp.
 2346   Grind Time                                            PA0001628178      Universal Music Corp.
 2347   Guaranteed                                            PA0001685123      Universal Music Corp.
 2348   Hail, Hail                                            PAu002141241      Universal Music Corp.
 2349   Halo                                                  PA0001645604;     Universal Music Corp.
                                                              PA0001612567
 2350   Hand Of The Dead Body                                 PA0000794897      Universal Music Corp.
 2351   Hands Clean                                           PA0001077640      Universal Music Corp.
 2352   Hands On You                                          PA0001245491      Universal Music Corp.
 2353   Hangman Jury                                          PA0000343989      Universal Music Corp.
 2354   Happy                                                 PA0001997701      Universal Music Corp.
 2355   Have Some Fun                                         PA0001858598      Universal Music Corp.
 2356   He Wasn't                                             PA0001251276      Universal Music Corp.
 2357   Head                                                  PA0000085237      Universal Music Corp.
 2358   Headwires                                             PA0001693324      Universal Music Corp.
 2359   Heartbreak Road                                       PA0001855537      Universal Music Corp.
 2360   Heat Of The Night                                     PA0000334491      Universal Music Corp.
 2361   Heaven                                                PA0001073138      Universal Music Corp.
 2362   Heavy In The Game                                     PA0000914501      Universal Music Corp.
 2363   Help Me                                               PA0001733340      Universal Music Corp.
 2364   Here Comes The Weekend                                PA0001817456      Universal Music Corp.
 2365   Here I Am                                             PA0001661331      Universal Music Corp.
 2366   Here I Am (Come And Take Me)                          V3448D468;        Universal Music Corp.
                                                              V3448D471;
                                                              EU420200
 2367   Hero                                                  PA0001751381      Universal Music Corp.
 2368   Hey Girl                                              PA0001295883      Universal Music Corp.
 2369   Hit The Floor (feat. Pitbull)                         PA0001312069      Universal Music Corp.
 2370   Homewrecker                                           PA0001248780      Universal Music Corp.
 2371   Homicide                                              PA0001856324      Universal Music Corp.
 2372   Honesty                                               PA0000015392      Universal Music Corp.
 2373   Hoodrats                                              PA0001245492      Universal Music Corp.
 2374   How Come U Don't Call Me Anymore                      PA0000157922      Universal Music Corp.
 2375   How Does It Feel                                      PA0001251275      Universal Music Corp.
 2376   How Will I Know                                       PAu000817628;     Universal Music Corp.
                                                              PA0000243349;
                                                              PA0000266437
 2377   I Can Do Better                                       PA0001334140      Universal Music Corp.
 2378   I Don't Give                                          PA0001233579      Universal Music Corp.
 2379   I Don't Have To Try                                   PA0001724691      Universal Music Corp.
 2380   I Dream A Highway                                     PA0001063443      Universal Music Corp.
 2381   I Feel for You                                        PA0000064971      Universal Music Corp.
 2382   I Go To Extremes                                      PA0000458310      Universal Music Corp.
 2383   I Got Id                                              PA0000776998      Universal Music Corp.
 2384   I Got My Baby                                         PA0000976310      Universal Music Corp.
 2385   I Got To Be Myself                                    PAu002166303      Universal Music Corp.
 2386   I Just Want You                                       PA0000774129      Universal Music Corp.
 2387   I Love College                                        PA0001731209      Universal Music Corp.
 2388   I Love U In Me                                        PA0000461532      Universal Music Corp.
 2389   I Love You                                            PA0001785768      Universal Music Corp.




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        Track                                                 Reg. No.         Plaintiff
 2390   I Love You Much Too Much                              R411311          Universal Music Corp.
 2391   I Need To Hear A Country Song                         PA0001773110     Universal Music Corp.
 2392   I Send A Message                                      PA0000257721     Universal Music Corp.
 2393   I Wanna Be Your Lover                                 PA0000061545     Universal Music Corp.
 2394   I Want To Sing That Rock And Roll                     PA0001063439     Universal Music Corp.
 2395   I Want You                                            PA0001302581     Universal Music Corp.
 2396   I Will Love You Still (feat. Mallary Hope)            PA0001864794     Universal Music Corp.
 2397   I Would Die 4 U                                       PA0000217252     Universal Music Corp.
 2398   I'd Rather                                            PA0001053165     Universal Music Corp.
 2399   If I Was Your Girlfriend                              PA0000339614     Universal Music Corp.
 2400   If It Hadn't Been For Love                            PA0001160703     Universal Music Corp.
 2401   If You Only Knew                                      PA0001931127     Universal Music Corp.
 2402   If You're Ready (Come Go With Me)                     V1916P470;       Universal Music Corp.
                                                              EU369365
 2403   I'll Take You There                                   RE0000816283     Universal Music Corp.
 2404   I'm Goin Back                                         PA0001159522     Universal Music Corp.
 2405   I'm Out                                               PA0001936025     Universal Music Corp.
 2406   I'm Trippin                                           PA0001856289     Universal Music Corp.
 2407   I'm with You                                          PA0001101508     Universal Music Corp.
 2408   Imma Be                                               PA0001682852     Universal Music Corp.
 2409   Immortality                                           PA0000663651     Universal Music Corp.
 2410   In My Eyes                                            PA0001777096     Universal Music Corp.
 2411   In Person                                             PA0001612567     Universal Music Corp.
 2412   In The Trunk                                          PA0001317542     Universal Music Corp.
 2413   Indifference                                          PA0000669762     Universal Music Corp.
 2414   Intro                                                 PA0001931121     Universal Music Corp.
 2415   Irresistable Bitch                                    PA0000193308     Universal Music Corp.
 2416   It's All About U                                      PA0000809080     Universal Music Corp.
 2417   It's Only Love                                        PA0000238136     Universal Music Corp.
 2418   It's Still Rock & Roll to Me                          PA0000077963     Universal Music Corp.
 2419   It's Your World                                       PA0001856072     Universal Music Corp.
 2420   I've Come To Expect It From You                       PA0000482947     Universal Music Corp.
 2421   Just Around The Eyes                                  PA0000713702     Universal Music Corp.
 2422   Just Keep Walking                                     PA0000213896     Universal Music Corp.
 2423   Just The Way You Are                                  PA0000046908     Universal Music Corp.
 2424   Keep Holding On                                       PA0001353010     Universal Music Corp.
 2425   Kids Wanna Rock                                       PA0000238135     Universal Music Corp.
 2426   Kill Yourself                                         PA0001761891     Universal Music Corp.
 2427   Kristofferson                                         PA0001372033     Universal Music Corp.
 2428   Lady                                                  PA0001245486     Universal Music Corp.
 2429   Learn To Fly                                          PA0001693305     Universal Music Corp.
 2430   Leavin' The Light On                                  PA0001845163     Universal Music Corp.
 2431   Leningrad                                             PA0000458313     Universal Music Corp.
 2432   Let's Go                                              PA0001825022     Universal Music Corp.
 2433   Let's Go Crazy                                        PA0000217248     Universal Music Corp.
 2434   Lie To Me                                             PA0001868630     Universal Music Corp.
 2435   Life, Love And The Meaning Of                         PA0001697492     Universal Music Corp.
 2436   Light Years                                           PA0001006826     Universal Music Corp.
 2437   Little Red Corvette                                   PA0000157923     Universal Music Corp.
 2438   Live-In Skin                                          PA0001693317     Universal Music Corp.
 2439   Long Live The Pimp                                    PA0001856319     Universal Music Corp.
 2440   Long Nights                                           PA0001685123     Universal Music Corp.
 2441   Long Walk To D.C.                                     V1916P484;       Universal Music Corp.
                                                              EU66925
 2442   Look What You Made Me                                 PA0001931122     Universal Music Corp.
 2443   Love Is (What I Say)                                  PA0000257720     Universal Music Corp.
 2444   Love You Gently                                       PA0001602834     Universal Music Corp.
 2445   M.I.A.                                                PA0001693329     Universal Music Corp.
 2446   Magic                                                 PA0001645604     Universal Music Corp.
 2447   Man Down                                              PA0001732813     Universal Music Corp.
 2448   Meantime                                              PA0001777091     Universal Music Corp.
 2449   Merry Go Round                                        PA0000494345     Universal Music Corp.
 2450   Miss You                                              PA0001864797     Universal Music Corp.
 2451   Modern Woman                                          PA0000304118     Universal Music Corp.
 2452   Mo'Murda                                              PA0000767834     Universal Music Corp.
 2453   Movin' On                                             PA0000757403     Universal Music Corp.
 2454   Movin' Out (Anthony's Song)                           PA0000046906     Universal Music Corp.
 2455   Mr. Bill Collector                                    PA0000767831     Universal Music Corp.
 2456   Ms. Hangover                                          PA0001639096     Universal Music Corp.
 2457   Music                                                 PA0001823264     Universal Music Corp.
 2458   My First Lover                                        PA0001063435     Universal Music Corp.
 2459   My Foolish Heart                                      PA0001950235     Universal Music Corp.
 2460   My Life                                               PA0000015393     Universal Music Corp.
 2461   My Love                                               PA0001885589     Universal Music Corp.
 2462   My Piece                                              PA0001751375     Universal Music Corp.
 2463   Naked                                                 PA0001101517     Universal Music Corp.
 2464   Never Call U B**** Again                              PA0001115088     Universal Music Corp.




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        Track                                                 Reg. No.          Plaintiff
 2465   Never Forget Ya                                       PA0001245493      Universal Music Corp.
 2466   New York State Of Mind                                PA0000046360      Universal Music Corp.
 2467   Next Year                                             PA0001693320      Universal Music Corp.
 2468   No Ceiling                                            PA0001685123      Universal Music Corp.
 2469   No More Love                                          PA0001278081      Universal Music Corp.
 2470   No One Has Eyes Like You                              PA0001618391      Universal Music Corp.
 2471   No Snitchin'                                          PA0001317545      Universal Music Corp.
 2472   Nobody's Fool                                         PA0001101515      Universal Music Corp.
 2473   Nobody's Home                                         PA0001251268      Universal Music Corp.
 2474   Noche Nada                                            PA0001777094      Universal Music Corp.
 2475   Not Enough                                            PA0001742273      Universal Music Corp.
 2476   Not For You                                           PA0000663641      Universal Music Corp.
 2477   Nothin' At All                                        PA0000284908      Universal Music Corp.
 2478   Nothingman                                            PA0000663643      Universal Music Corp.
 2479   Now You Got Someone                                   PA0001371421      Universal Music Corp.
 2480   Numb                                                  PA0001831959      Universal Music Corp.
 2481   Off He Goes                                           PAu002141248      Universal Music Corp.
 2482   Ohio                                                  PA0001245008      Universal Music Corp.
 2483   Once And Forever                                      PA0001779598      Universal Music Corp.
 2484   One                                                   PA0001120335      Universal Music Corp.
 2485   One Love                                              PA0001850371      Universal Music Corp.
 2486   One Night                                             PA0001931125      Universal Music Corp.
 2487   Only Thing I Ever Get For Christmas                   PA0001780235      Universal Music Corp.
 2488   Original Sin                                          PA0000213647      Universal Music Corp.
 2489   Orphan Girl                                           PA0000714948      Universal Music Corp.
 2490   Outerspace                                            PA0001931128      Universal Music Corp.
 2491   Outro                                                 PA0001317551      Universal Music Corp.
 2492   Pass You By                                           PA0000787739      Universal Music Corp.
 2493   Permanent Scar                                        PA0001856298      Universal Music Corp.
 2494   Picture Perfect                                       PA0001317548      Universal Music Corp.
 2495   Pink Cashmere                                         PAu001770697      Universal Music Corp.
 2496   Played                                                PA0001702956      Universal Music Corp.
 2497   Please Forgive Me                                     PA0000675008      Universal Music Corp.
 2498   Pop Life                                              PA0000255667      Universal Music Corp.
 2499   Pope                                                  PAu001770696      Universal Music Corp.
 2500   Power Fantastic                                       PAu001835512      Universal Music Corp.
 2501   Purple Rain                                           PA0000217254      Universal Music Corp.
 2502   Rag Doll                                              PA0000349998      Universal Music Corp.
 2503   Rain                                                  PA0001317547      Universal Music Corp.
 2504   Raspberry Beret                                       PA0000255668      Universal Music Corp.
 2505   Red Clay Halo                                         PA0001063437      Universal Music Corp.
 2506   Remember When                                         PAu003539449      Universal Music Corp.
 2507   Resist The Temptation                                 PA0001640073      Universal Music Corp.
 2508   Respect Yourself                                      PAu002166307      Universal Music Corp.
 2509   Revelator                                             PA0001063434      Universal Music Corp.
 2510   Ride                                                  PA0001849604      Universal Music Corp.
 2511   Rider                                                 PA0001395512      Universal Music Corp.
 2512   Ridin'                                                PA0001317544      Universal Music Corp.
 2513   Ring-A-Ling                                           PA0001698118      Universal Music Corp.
 2514   Ripe                                                  PA0001777093      Universal Music Corp.
 2515   Rise                                                  PA0001685123      Universal Music Corp.
 2516   Roll (feat. Sean Kingston)                            PA0001639100      Universal Music Corp.
 2517   Ruination Day Part 2                                  PA0001063441      Universal Music Corp.
 2518   Run To You                                            PA0000232065      Universal Music Corp.
 2519   Runaway                                               PAu003117483      Universal Music Corp.
 2520   Same Damn Time                                        PA0001859144      Universal Music Corp.
 2521   Save You                                              PA0001134589      Universal Music Corp.
 2522   Saving All My Love For You                            PAu000012547;     Universal Music Corp.
                                                              PAu000148525;
                                                              PAu000082895
 2523   Saw You First                                         PA0001777092      Universal Music Corp.
 2524   Setting Forth                                         PA0001649580      Universal Music Corp.
 2525   Sexy Beaches                                          PA0001999032      Universal Music Corp.
 2526   She's Always A Woman                                  PA0000046912      Universal Music Corp.
 2527   She's Always In My Hair                               PAu000722566      Universal Music Corp.
 2528   She's Got A Way                                       PA0000119692      Universal Music Corp.
 2529   Shine                                                 PA0001864791      Universal Music Corp.
 2530   Shockadelica                                          PA0000335358      Universal Music Corp.
 2531   Sign 'O' The Times                                    PA0000322108      Universal Music Corp.
 2532   Silent Night                                          PA0001782591      Universal Music Corp.
 2533   Simple Together                                       PA0001229065      Universal Music Corp.
 2534   Sins Of My Father                                     PA0001831961      Universal Music Corp.
 2535   Sister Blister                                        PA0001229062      Universal Music Corp.
 2536   Sk8er Boi                                             PA0001101507      Universal Music Corp.
 2537   Slipped Away                                          PA0001251269      Universal Music Corp.
 2538   Smile                                                 PA0001785766      Universal Music Corp.




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      Track                                                   Reg. No.          Plaintiff
 2539 Smile                                                   PA0000815805;     Universal Music Corp.
                                                              PA0000815968
 2540   So Many Ways                                          PA0001371413      Universal Music Corp.
 2541   Somebody                                              PA0000238133      Universal Music Corp.
 2542   Someone Else's Dream                                  PA0000764860      Universal Music Corp.
 2543   Soulsville                                            PAu002345664      Universal Music Corp.
 2544   Spin The Black Circle                                 PA0000663640      Universal Music Corp.
 2545   Stacked Actors                                        PA0001693331      Universal Music Corp.
 2546   Stay Young                                            PA0000226784      Universal Music Corp.
 2547   Sticks That Made Thunder                              V3506D864         Universal Music Corp.
 2548   Still                                                 PA0000988335      Universal Music Corp.
 2549   Stop Standing There                                   PA0001742271      Universal Music Corp.
 2550   Straight From The Heart                               PA0000191885      Universal Music Corp.
 2551   Strange Behavior                                      PA0001592905      Universal Music Corp.
 2552   Streetlife Serenader                                  RE0000862278      Universal Music Corp.
 2553   Suicidal Thoughts                                     PA0001874310      Universal Music Corp.
 2554   Summer Of '69                                         PA0000238134      Universal Music Corp.
 2555   Sure Thing                                            PA0001751394      Universal Music Corp.
 2556   Survival                                              PA0001965032      Universal Music Corp.
 2557   Take Me Home                                          PA0001864792      Universal Music Corp.
 2558   Take Your Shirt Off                                   V3586D796         Universal Music Corp.
 2559   Te Amo                                                PA0001668373      Universal Music Corp.
 2560   Tear My Stillhouse Down                               PA0000762783      Universal Music Corp.
 2561   Tell Her About It                                     PAU000487423      Universal Music Corp.
 2562   Territorial Pissings                                  PA0000541276      Universal Music Corp.
 2563   Text Me Texas                                         PA0001878108      Universal Music Corp.
 2564   Thank You                                             PA0000940228      Universal Music Corp.
 2565   That I Would Be Good                                  PA0000940240      Universal Music Corp.
 2566   The Business                                          PA0001931124      Universal Music Corp.
 2567   The Chair                                             PA0000482311      Universal Music Corp.
 2568   The Downeaster 'Alexa'                                PA0000458309      Universal Music Corp.
 2569   The Entertainer                                       RE0000862276      Universal Music Corp.
 2570   The Future Is Now                                     PA0001856271      Universal Music Corp.
 2571   The Ghetto                                            RE0000729667      Universal Music Corp.
 2572   The Groove Line                                       PA0000003812      Universal Music Corp.
 2573   The Longest Time                                      PA0001307631      Universal Music Corp.
 2574   The One                                               PA0001076952      Universal Music Corp.
 2575   The One Thing                                         PA0000247197      Universal Music Corp.
 2576   The Other Side                                        PA0000437593      Universal Music Corp.
 2577   The Rain                                              PA0001396083      Universal Music Corp.
 2578   The River Of Dreams                                   PA0000693490      Universal Music Corp.
 2579   The Way He Was Raised                                 PA0001642914      Universal Music Corp.
 2580   The Wolf                                              PA0001685123      Universal Music Corp.
 2581   These Days                                            PA0001113927      Universal Music Corp.
 2582   They Don't Give A F**** About Us                      PA0001115097      Universal Music Corp.
 2583   Things I'll Never Say                                 PA0001101513      Universal Music Corp.
 2584   This Is The Time                                      PA0000304115      Universal Music Corp.
 2585   This Is Your Night                                    PA0001371414      Universal Music Corp.
 2586   This Kiss                                             PA0000740722      Universal Music Corp.
 2587   This Time                                             PA0000164471      Universal Music Corp.
 2588   Thugz Mansion                                         PA0001115087      Universal Music Corp.
 2589   Tired Of Runnin'                                      PA0001396084      Universal Music Corp.
 2590   To Look At You                                        PA0000167320      Universal Music Corp.
 2591   To The Moon                                           PA0001751378      Universal Music Corp.
 2592   Together                                              PA0001251278      Universal Music Corp.
 2593   Tomorrow                                              PA0001101511      Universal Music Corp.
 2594   Tony Montana - Behind The Scenes                      PA0001859140      Universal Music Corp.
 2595   Top of the World                                      PA0001114803      Universal Music Corp.
 2596   Touch A Hand (Make A Friend)                          RE0000837111      Universal Music Corp.
 2597   Trailerhood                                           PA0001642900      Universal Music Corp.
 2598   True Believers                                        PA0001864805      Universal Music Corp.
 2599   Truth No. 2                                           PA0001114802      Universal Music Corp.
 2600   Tuolumne                                              PA0001685126      Universal Music Corp.
 2601   Turntables                                            PA0001732352      Universal Music Corp.
 2602   Uninvited                                             PA0000921947      Universal Music Corp.
 2603   Unsaveable                                            PA0001120337      Universal Music Corp.
 2604   Up To The Mountain                                    PA0001367095      Universal Music Corp.
 2605   Up Up Up                                              PA0001777090      Universal Music Corp.
 2606   Uptown                                                PA0000085236      Universal Music Corp.
 2607   Uptown Girl                                           PA0000194055      Universal Music Corp.
 2608   Vertigo                                               PA0001896435      Universal Music Corp.
 2609   Victory Lap featuring Eve and Collie Buddz            PA0001931130      Universal Music Corp.
 2610   Void In My Life                                       PA0001317550      Universal Music Corp.
 2611   Walk On Water                                         PA0001015665      Universal Music Corp.
 2612   Walking The Dog                                       RE0000525576      Universal Music Corp.
 2613   We All Die One Day                                    PA0001245480      Universal Music Corp.
 2614   We Are Tonight                                        PA0001884879      Universal Music Corp.




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                                                              EXHIBIT B - MUSICAL COMPOSITIONS

        Track                                                 Reg. No.          Plaintiff
 2615   We Didn't Start the Fire                              PA0000458308      Universal Music Corp.
 2616   What About Love                                       PA0000265040      Universal Music Corp.
 2617   What The Hell                                         PA0001785765      Universal Music Corp.
 2618   Whatcha Need                                          PA0000996029      Universal Music Corp.
 2619   Whatchamacallit                                       PA0001612567      Universal Music Corp.
 2620   What's In It For Me                                   PA0000976311      Universal Music Corp.
 2621   When Doves Cry                                        PA0000220373      Universal Music Corp.
 2622   When I Get Free                                       PA0001051889      Universal Music Corp.
 2623   When You Were Mine                                    PA0000085233      Universal Music Corp.
 2624   Where Do We Go                                        PA0001701864      Universal Music Corp.
 2625   Who Knows                                             PA0001251272      Universal Music Corp.
 2626   Who Took The Merry Out Of Christmas                   RE0000775151      Universal Music Corp.
 2627   Who You Are                                           PAu002141251      Universal Music Corp.
 2628   Why You Wanna Treat Me So Bad                         PA0000238841      Universal Music Corp.
 2629   Wide Awake                                            PA0001765708      Universal Music Corp.
 2630   Wish You Were Here                                    PA0001785767      Universal Music Corp.
 2631   Wishing It Was                                        PA0000968772      Universal Music Corp.
 2632   Womanizer                                             PA0001888788      Universal Music Corp.
 2633   Words                                                 PA0001777098      Universal Music Corp.
 2634   Write This Down                                       PA0000947848      Universal Music Corp.
 2635   Wth>You                                               PA0001237298      Universal Music Corp.
 2636   You                                                   PA0001757407      Universal Music Corp.
 2637   You May Be Right                                      PA0000077960      Universal Music Corp.
 2638   You Stay With Me                                      PA0001302582      Universal Music Corp.
 2639   You're Only Human (Second Wind)                       PA0000258497      Universal Music Corp.
 2640   You're The One                                        PA0000801851      Universal Music Corp.
 2641   All Over Again                                        PA0001784542      Universal Music Corp.
 2642   All That I Got (The Make Up Song)                     PA0001397001      Universal Music Corp.
 2643   American Boy                                          PA0001659161      Universal Music Corp.
 2644   Bad Kids                                              PA0001748640      Universal Music Corp.
 2645   Beauty And A Beat                                     PA0001850375      Universal Music Corp.
 2646   Believe                                               PA0001850360      Universal Music Corp.
 2647   Bigger                                                PA0001816039      Universal Music Corp.
 2648   Blue Jeans                                            PA0001811642      Universal Music Corp.
 2649   Catching Feelings                                     PA0001850383      Universal Music Corp.
 2650   Cream                                                 PAu001547996;     Universal Music Corp.
                                                              PA0000549273;
                                                              PA0000543529
 2651   Darling Nikki                                         PA0000217251      Universal Music Corp.
 2652   Electric Chapel                                       PA0001748642      Universal Music Corp.
 2653   Every Reason Not To Go                                PA0001697511      Universal Music Corp.
 2654   Fa La La                                              PA0001780232      Universal Music Corp.
 2655   Gangsta Lovin                                         PA0001209325      Universal Music Corp.
 2656   Gett Off                                              PA0000535946      Universal Music Corp.
 2657   I Proceed                                             PA0001626064      Universal Music Corp.
 2658   I Shall Return                                        PA0001697550      Universal Music Corp.
 2659   Keep Ya Head Up                                       PA0000719813      Universal Music Corp.
 2660   Kiss                                                  PA0000284474      Universal Music Corp.
 2661   Mistletoe                                             PA0001780233      Universal Music Corp.
 2662   Never                                                 PA0001744937      Universal Music Corp.
 2663   Never                                                 PA0000259654      Universal Music Corp.
 2664   Ooh Baby                                              PA0001320484      Universal Music Corp.
 2665   Overboard                                             PA0001702873      Universal Music Corp.
 2666   Radar                                                 PA0001732673      Universal Music Corp.
 2667   Right Here                                            PA0001834759      Universal Music Corp.
 2668   Runaway Love                                          PA0001703247      Universal Music Corp.
 2669   Shone                                                 PA0001744931      Universal Music Corp.
 2670   Speechless                                            PA0001745545      Universal Music Corp.
 2671   That Should Be Me                                     PA0001703254      Universal Music Corp.
 2672   That's How Country Boys Roll                          PA0001697544      Universal Music Corp.
 2673   The Mighty Fall                                       PA0001844743      Universal Music Corp.
 2674   Thought Of You                                        PA0001850376      Universal Music Corp.
 2675   Trapped                                               PA0000587083      Universal Music Corp.
 2676   U Got The Look                                        PA0000339613      Universal Music Corp.
 2677   U Smile                                               PA0001703246      Universal Music Corp.
 2678   Up                                                    PA0001703251      Universal Music Corp.
 2679   When The Lights Go Down                               PA0001120336      Universal Music Corp.
 2680   Will You Be There (In The Morning)                    PA0000689442      Universal Music Corp.
 2681   Young Niggaz                                          PA0000773739      Universal Music Corp.
 2682   Dirty Mind                                            PA0000085232      Universal Music Corp. / Songs of Universal, Inc.
 2683   Sexy Lady                                             PA0001925127      Universal Music Corp. / Songs of Universal, Inc.
 2684   42                                                    PA0001820455      Universal Music Publ. MGB Ltd.
 2685   1234                                                  PA0001692663      Universal Music Publ. MGB Ltd.
 2686   8 Mile                                                PA0001204555      Universal Music Publ. MGB Ltd.
 2687   A Few Hours After This                                PA0000344062      Universal Music Publ. MGB Ltd.
 2688   A Forest                                              PA0000194922      Universal Music Publ. MGB Ltd.
 2689   A Man Inside My Mouth                                 PA0000287956      Universal Music Publ. MGB Ltd.




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        Track                                                 Reg. No.          Plaintiff
 2690   A Night Like This                                     PA0000279380      Universal Music Publ. MGB Ltd.
 2691   A Rush Of Blood To The Head                           PA0001073309      Universal Music Publ. MGB Ltd.
 2692   A Whisper                                             PA0001073308      Universal Music Publ. MGB Ltd.
 2693   Amsterdam                                             PA0001073310      Universal Music Publ. MGB Ltd.
 2694   Amy Amy Amy                                           PA0001792200      Universal Music Publ. MGB Ltd.
 2695   Brandy Alexander                                      PA0001692661      Universal Music Publ. MGB Ltd.
 2696   Brothers And Sisters                                  PA0001072997      Universal Music Publ. MGB Ltd.
 2697   Cemeteries Of London                                  PA0001820453      Universal Music Publ. MGB Ltd.
 2698   Charlie Brown                                         PA0001766986      Universal Music Publ. MGB Ltd.
 2699   Charlotte Sometimes                                   PA0000344066      Universal Music Publ. MGB Ltd.
 2700   Cleanin Out My Closet                                 PA0001073403;     Universal Music Publ. MGB Ltd.
                                                              PA0001225996
 2701   Close To Me                                           PA0000279388      Universal Music Publ. MGB Ltd.
 2702   Crazy In Love                                         PA0001295397      Universal Music Publ. MGB Ltd.
 2703   Daylight                                              PA0001073306      Universal Music Publ. MGB Ltd.
 2704   Death And All His Friends                             PA0001820461      Universal Music Publ. MGB Ltd.
 2705   Encore/Curtains Down                                  PA0001295406      Universal Music Publ. MGB Ltd.
 2706   Everything's Not Lost                                 PA0000981365      Universal Music Publ. MGB Ltd.
 2707   Gatekeeper                                            PA0001166701      Universal Music Publ. MGB Ltd.
 2708   God Put A Smile Upon Your Face                        PA0001073302      Universal Music Publ. MGB Ltd.
 2709   Green Eyes                                            PA0001073305      Universal Music Publ. MGB Ltd.
 2710   High Speed                                            PA0000981363      Universal Music Publ. MGB Ltd.
 2711   Honey Honey                                           PA0001692656      Universal Music Publ. MGB Ltd.
 2712   How My Heart Behaves                                  PA0001692650      Universal Music Publ. MGB Ltd.
 2713   I Feel It All                                         PA0001692643      Universal Music Publ. MGB Ltd.
 2714   In Between Days                                       PA0000279383      Universal Music Publ. MGB Ltd.
 2715   Inbetween Days                                        PA0000279383      Universal Music Publ. MGB Ltd.
 2716   Intuition                                             PA0001692658      Universal Music Publ. MGB Ltd.
 2717   Jumping Someone Else's Train                          PA0000205032      Universal Music Publ. MGB Ltd.
 2718   Just Don't Give A Fuck                                PA0000954432      Universal Music Publ. MGB Ltd.
 2719   Killing An Arab                                       PA0000205039      Universal Music Publ. MGB Ltd.
 2720   Kyoto Song                                            PA0000279387      Universal Music Publ. MGB Ltd.
 2721   Leisure Suite                                         PA0001166703      Universal Music Publ. MGB Ltd.
 2722   Let's Go To Bed                                       PA0000190147      Universal Music Publ. MGB Ltd.
 2723   Lose Yourself                                         PA0001152688      Universal Music Publ. MGB Ltd.
 2724   Lost!                                                 PA0001820454      Universal Music Publ. MGB Ltd.
 2725   Lost?                                                 PA0001820454      Universal Music Publ. MGB Ltd.
 2726   Lovers In Japan                                       PA0001820456      Universal Music Publ. MGB Ltd.
 2727   Lovers In Japan (Osaka Sun Mix)                       PA0001820456      Universal Music Publ. MGB Ltd.
 2728   Lullaby                                               PA0001073354      Universal Music Publ. MGB Ltd.
 2729   My Fault                                              PA0000954429      Universal Music Publ. MGB Ltd.
 2730   My Moon My Man                                        PA0001692639      Universal Music Publ. MGB Ltd.
 2731   October Song                                          PA0001792201      Universal Music Publ. MGB Ltd.
 2732   One Evening                                           PA0001166702      Universal Music Publ. MGB Ltd.
 2733   Other Voices                                          PA0000194927      Universal Music Publ. MGB Ltd.
 2734   Parachutes                                            PA0000981361      Universal Music Publ. MGB Ltd.
 2735   Past In Present                                       PA0001692670      Universal Music Publ. MGB Ltd.
 2736   Pattern Of My Life                                    PAU002965709      Universal Music Publ. MGB Ltd.
 2737   Paul (Skit)                                           PA0001295388      Universal Music Publ. MGB Ltd.
 2738   Play For Today                                        PA0000194917      Universal Music Publ. MGB Ltd.
 2739   Politik                                               PA0001073300      Universal Music Publ. MGB Ltd.
 2740   Primary                                               PA0000194926      Universal Music Publ. MGB Ltd.
 2741   Push                                                  PA0000279386      Universal Music Publ. MGB Ltd.
 2742   Rap Name                                              PA0001248992      Universal Music Publ. MGB Ltd.
 2743   Say Goodbye Hollywood                                 PA0001090374      Universal Music Publ. MGB Ltd.
 2744   Screw                                                 PA0000279385      Universal Music Publ. MGB Ltd.
 2745   Sing For The Moment                                   PA0001093104      Universal Music Publ. MGB Ltd.
 2746   Sinking                                               PA0000279379      Universal Music Publ. MGB Ltd.
 2747   Six Different Ways                                    PA0000279384      Universal Music Publ. MGB Ltd.
 2748   Soldier                                               PA0001073064      Universal Music Publ. MGB Ltd.
 2749   Somewhere Only We Know                                PA0001160739      Universal Music Publ. MGB Ltd.
 2750   Sparks                                                PA0000981359      Universal Music Publ. MGB Ltd.
 2751   Speed Of Sound                                        PA0001700393      Universal Music Publ. MGB Ltd.
 2752   Spend Some Time                                       PA0001295395      Universal Music Publ. MGB Ltd.
 2753   Spies                                                 PA0000981358      Universal Music Publ. MGB Ltd.
 2754   Square Dance                                          PA0001073065      Universal Music Publ. MGB Ltd.
 2755   Still Don't Give                                      PA0000954424      Universal Music Publ. MGB Ltd.
 2756   Stop Dead                                             PA0000292281      Universal Music Publ. MGB Ltd.
 2757   Strawberry Swing                                      PA0001820460      Universal Music Publ. MGB Ltd.
 2758   Superman                                              PA0001073066      Universal Music Publ. MGB Ltd.
 2759   The Baby Screams                                      PA0000279381      Universal Music Publ. MGB Ltd.
 2760   The Blood                                             PA0000279382      Universal Music Publ. MGB Ltd.
 2761   The Caterpillar                                       PA0000215389      Universal Music Publ. MGB Ltd.
 2762   The Exploding Boy                                     PA0000344061      Universal Music Publ. MGB Ltd.
 2763   The Hanging Garden                                    PA0000192007      Universal Music Publ. MGB Ltd.
 2764   The Limit To Your Love                                PA0001692667      Universal Music Publ. MGB Ltd.
 2765   The Park                                              PA0001692751      Universal Music Publ. MGB Ltd.




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        Track                                                 Reg. No.          Plaintiff
 2766   The Walk                                              PA0000190145      Universal Music Publ. MGB Ltd.
 2767   The Water                                             PA0001692757      Universal Music Publ. MGB Ltd.
 2768   Trouble                                               PA0000981362      Universal Music Publ. MGB Ltd.
 2769   Violet Hill                                           PA0001820463      Universal Music Publ. MGB Ltd.
 2770   Viva La Vida                                          PA0001820459      Universal Music Publ. MGB Ltd.
 2771   Walnut Tree: Under the Walnut Tree                    PA0001248670      Universal Music Publ. MGB Ltd.
 2772   Warning Sign                                          PA0001073307      Universal Music Publ. MGB Ltd.
 2773   We Never Change                                       PA0000981364      Universal Music Publ. MGB Ltd.
 2774   Yes                                                   PA0001820464      Universal Music Publ. MGB Ltd.
 2775   3                                                     PA0001744943      Universal Music Publishing AB
 2776   Bringing Out The Elvis                                PA0000955483      Universal Music Publishing AB
 2777   Done Stealin'                                         PA0001677401      Universal Music Publishing AB
 2778   How I Roll                                            PA0001767515      Universal Music Publishing AB
 2779   If My Heart Had Wings                                 PA0000976309      Universal Music Publishing AB
 2780   Shape Of My Heart                                     PA0001039513      Universal Music Publishing AB
 2781   Something To Die For                                  PA0001677407      Universal Music Publishing AB
 2782   Sometimes                                             PA0000932239      Universal Music Publishing AB
 2783   Warzone                                               PA0001896532      Universal Music Publishing AB
 2784   After The Storm                                       PA0001932494      Universal Music Publishing Ltd.
 2785   Babel                                                 PA0001818828      Universal Music Publishing Ltd.
 2786   Bad Blood                                             PA0001915737      Universal Music Publishing Ltd.
 2787   Below My Feet                                         PA0001818826      Universal Music Publishing Ltd.
 2788   Best For Last                                         PA0001975721      Universal Music Publishing Ltd.
 2789   Between Two Lungs                                     PA0001892800      Universal Music Publishing Ltd.
 2790   Broken Crown                                          PA0001818825      Universal Music Publishing Ltd.
 2791   Chasing Cars                                          PA0001990266      Universal Music Publishing Ltd.
 2792   Chasing Pavements                                     PA0001975709      Universal Music Publishing Ltd.
 2793   Clint Eastwood                                        PA0001066504      Universal Music Publishing Ltd.
 2794   Cold Shoulder                                         PA0001975723      Universal Music Publishing Ltd.
 2795   Cosmic Love                                           PA0001892799      Universal Music Publishing Ltd.
 2796   Crazy For You                                         PA0001975719      Universal Music Publishing Ltd.
 2797   Crocodile Rock                                        EFO000159444;     Universal Music Publishing Ltd.
                                                              RE0000822540;
                                                              EP0000309236;
                                                              RE0000836270
 2798 Daniel                                                  EF0000161087;     Universal Music Publishing Ltd.
                                                              RE0000822570;
                                                              EU0000387491;
                                                              RE0000836513
 2799   Daniel in the Den                                     PA0001915733      Universal Music Publishing Ltd.
 2800   Daydreamer                                            PA0001975694      Universal Music Publishing Ltd.
 2801   Distractions                                          PA0001263481      Universal Music Publishing Ltd.
 2802   Dog Days Are Over                                     PA0001892802      Universal Music Publishing Ltd.
 2803   Don't Let The Sun Go Down On Me                       EU0000493982;     Universal Music Publishing Ltd.
                                                              RE0000857914
 2804   Don't You Remember                                    PA0001734876      Universal Music Publishing Ltd.
 2805   Durban Skies                                          PA0001981858      Universal Music Publishing Ltd.
 2806   Feels Like Today                                      PA0001245179      Universal Music Publishing Ltd.
 2807   First Episode At Hienton                              RE0000750700      Universal Music Publishing Ltd.
 2808   First Love                                            PA0001975718      Universal Music Publishing Ltd.
 2809   Flaws                                                 PA0001915732      Universal Music Publishing Ltd.
 2810   For Those Below                                       PA0001818816      Universal Music Publishing Ltd.
 2811   Get Home                                              PA0001915736      Universal Music Publishing Ltd.
 2812   Ghosts That We Knew                                   PA0001818832      Universal Music Publishing Ltd.
 2813   Give Me My Month                                      PA0001824175      Universal Music Publishing Ltd.
 2814   Goodbye Yellow Brick Road                             EFO000170947;     Universal Music Publishing Ltd.
                                                              RE0000838312
 2815   Hands Are Clever                                      PA0001806286      Universal Music Publishing Ltd.
 2816   Hanging On Too Long                                   PA0001698354      Universal Music Publishing Ltd.
 2817   Haunt                                                 PA0001917699      Universal Music Publishing Ltd.
 2818   He Won't Go                                           PA0001734873      Universal Music Publishing Ltd.
 2819   Holland Road                                          PA0001818831      Universal Music Publishing Ltd.
 2820   Hometown Glory                                        PA0001975714      Universal Music Publishing Ltd.
 2821   Hopeless Wanderer                                     PA0001818824      Universal Music Publishing Ltd.
 2822   Humming Bird                                          PA0001806288      Universal Music Publishing Ltd.
 2823   I Dreamed I Saw Phil Ochs Last Night                  PA0001324545      Universal Music Publishing Ltd.
 2824   I Love You                                            PA0001806282      Universal Music Publishing Ltd.
 2825   I Mind                                                PA0001827817      Universal Music Publishing Ltd.
 2826   I Never Learnt To Share                               PA0001827811      Universal Music Publishing Ltd.
 2827   I Want Love                                           PA0001064720      Universal Music Publishing Ltd.
 2828   I Will Wait                                           PA0001818830      Universal Music Publishing Ltd.
 2829   I Won't Let You Down                                  PA0001806274      Universal Music Publishing Ltd.
 2830   Icarus                                                PA0001915730      Universal Music Publishing Ltd.
 2831   I'll Be Waiting                                       PA0001734871      Universal Music Publishing Ltd.
 2832   I'm Not Calling You A Liar                            PA0001892801      Universal Music Publishing Ltd.
 2833   I'm Scared                                            PA0001698335      Universal Music Publishing Ltd.
 2834   Ivan Meets G.I. Joe                                   PA0000112397      Universal Music Publishing Ltd.




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        Track                                                 Reg. No.          Plaintiff
 2835   Kiss With A Fist                                      PA0001892795      Universal Music Publishing Ltd.
 2836   Latch                                                 PA0001916095      Universal Music Publishing Ltd.
 2837   Laughter Lines                                        PA0001915739      Universal Music Publishing Ltd.
 2838   Laura Palmer                                          PA0001915734      Universal Music Publishing Ltd.
 2839   Lindisfarne II                                        PA0001827813      Universal Music Publishing Ltd.
 2840   Little Lion Man                                       PA0001932483      Universal Music Publishing Ltd.
 2841   Lover Of The Light                                    PA0001818820      Universal Music Publishing Ltd.
 2842   Lovers' Eyes                                          PA0001818822      Universal Music Publishing Ltd.
 2843   Mad House                                             PA0001669186      Universal Music Publishing Ltd.
 2844   Measurements                                          PA0001824202      Universal Music Publishing Ltd.
 2845   Melt My Heart To Stone                                PA0001975706      Universal Music Publishing Ltd.
 2846   More Than This                                        PA0001830362      Universal Music Publishing Ltd.
 2847   My Same                                               PA0001975716      Universal Music Publishing Ltd.
 2848   Not With Haste                                        PA0001818827      Universal Music Publishing Ltd.
 2849   Oblivion                                              PA0001915731      Universal Music Publishing Ltd.
 2850   One And Only                                          PA0001734869      Universal Music Publishing Ltd.
 2851   One Foot Wrong                                        PA0001698064      Universal Music Publishing Ltd.
 2852   Overjoyed                                             PA0001915735      Universal Music Publishing Ltd.
 2853   Philadelphia Freedom                                  RE0000875356      Universal Music Publishing Ltd.
 2854   Poet                                                  PA0001981843      Universal Music Publishing Ltd.
 2855   Rabbit Heart (Raise It Up)                            PA0001892789      Universal Music Publishing Ltd.
 2856   Relax My Beloved                                      PA0001806292      Universal Music Publishing Ltd.
 2857   Reminder                                              PA0001818823      Universal Music Publishing Ltd.
 2858   Repeat (feat. Jessie J)                               PA0001761918      Universal Music Publishing Ltd.
 2859   Rolling In The Deep                                   PA0001734866      Universal Music Publishing Ltd.
 2860   Rumour Has It                                         PA0001734865      Universal Music Publishing Ltd.
 2861   Sanctuary                                             PA0001806278      Universal Music Publishing Ltd.
 2862   Saturday Night's Alright (For Fighting)               RE0000834705      Universal Music Publishing Ltd.
 2863   Set Fire To The Rain                                  PA0001734875      Universal Music Publishing Ltd.
 2864   Should I Stay Or Should I Go                          PA0000146741      Universal Music Publishing Ltd.
 2865   Sigh No More                                          PA0001932474      Universal Music Publishing Ltd.
 2866   Sixty Years On                                        RE0000750225      Universal Music Publishing Ltd.
 2867   Skulls                                                PA0001981876      Universal Music Publishing Ltd.
 2868   Sleepsong                                             PA0001981854      Universal Music Publishing Ltd.
 2869   Somebody Got Murdered                                 PA0000112402      Universal Music Publishing Ltd.
 2870   Someone Like You                                      PA0001734868      Universal Music Publishing Ltd.
 2871   Sorry Seems To Be The Hardest Word                    RE0000895651      Universal Music Publishing Ltd.
 2872   Stole My Heart                                        PA0001830363      Universal Music Publishing Ltd.
 2873   Take It All                                           PA0001734872      Universal Music Publishing Ltd.
 2874   The Bridge                                            PA0001343239      Universal Music Publishing Ltd.
 2875   The Cave                                              PA0001932476      Universal Music Publishing Ltd.
 2876   The Draw                                              PA0001981866      Universal Music Publishing Ltd.
 2877   The Magnificent Seven                                 PA0000112394      Universal Music Publishing Ltd.
 2878   The Silence                                           PA0001915740      Universal Music Publishing Ltd.
 2879   The Street Parade                                     PA0000112420      Universal Music Publishing Ltd.
 2880   The Wilhelm Scream                                    PA0001824165      Universal Music Publishing Ltd.
 2881   These Streets                                         PA0001915727      Universal Music Publishing Ltd.
 2882   Things We Lost in the Fire                            PA0001915726      Universal Music Publishing Ltd.
 2883   This Train Don't Stop There Anymore                   PA0001064725      Universal Music Publishing Ltd.
 2884   Tinderbox                                             PA0001343236      Universal Music Publishing Ltd.
 2885   Tiny Dancer                                           EU0000283994;     Universal Music Publishing Ltd.
                                                              RE0000802431
 2886   Tired                                                 PA0001975712      Universal Music Publishing Ltd.
 2887   To Care (Like You)                                    PA0001824177      Universal Music Publishing Ltd.
 2888   Treading Water                                        PA0001806293      Universal Music Publishing Ltd.
 2889   True Love                                             PA0001817461      Universal Music Publishing Ltd.
 2890   Tuning Out...                                         PA0001981868      Universal Music Publishing Ltd.
 2891   Turning Tables                                        PA0001734878      Universal Music Publishing Ltd.
 2892   Up All Night                                          PA0001806294      Universal Music Publishing Ltd.
 2893   Wait Your Turn                                        PA0001668381      Universal Music Publishing Ltd.
 2894   Warriors                                              PA0001898514      Universal Music Publishing Ltd.
 2895   Warwick Avenue                                        PA0001698368      Universal Music Publishing Ltd.
 2896   Weight of Living, Pt. I                               PA0001915728      Universal Music Publishing Ltd.
 2897   Where Are You Now                                     PA0001818817      Universal Music Publishing Ltd.
 2898   Whispering                                            PA0001806283      Universal Music Publishing Ltd.
 2899   Whispers In The Dark                                  PA0001818829      Universal Music Publishing Ltd.
 2900   White Blank Page                                      PA0001932481      Universal Music Publishing Ltd.
 2901   Why Don't You Call Me?                                PA0001827815      Universal Music Publishing Ltd.
 2902   Winter Winds                                          PA0001932478      Universal Music Publishing Ltd.
 2903   Without Me                                            PA0001143650      Universal Music Publishing Ltd.
 2904   Signs                                                 PA0001193822      Universal Music Publishing, Inc.
 2905   Animal Instinct                                       PA0000968355      Universal/Island Music Ltd.
 2906   Daffodil Lament                                       PA0000734582      Universal/Island Music Ltd.
 2907   Free To Decide                                        PA0000791577      Universal/Island Music Ltd.
 2908   Hollywood                                             PA0000791574      Universal/Island Music Ltd.
 2909   I Can't Be With You                                   PA0000734572      Universal/Island Music Ltd.
 2910   Police & Thieves                                      PA0000046453      Universal/Island Music Ltd.




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        Track                                                 Reg. No.          Plaintiff
 2911   Promises                                              PA0000968357      Universal/Island Music Ltd.
 2912   Ridiculous Thoughts                                   PA0000734579      Universal/Island Music Ltd.
 2913   This Is The Day                                       PA0001277414      Universal/Island Music Ltd.
 2914   Time Is Ticking Out                                   PA0001277412      Universal/Island Music Ltd.
 2915   You And Me                                            PA0000968358      Universal/Island Music Ltd.
 2916   Big Girl Little Girl                                  PA0001711304      Universal/MCA Music Ltd.
 2917   Electric Bird                                         PA0001994826      Universal/MCA Music Ltd.
 2918   Ghost Behind My Eyes                                  PA0000795018      Universal/MCA Music Ltd.
 2919   Run To You                                            PA0000840168      Universal/MCA Music Ltd.
 2920   Angel                                                 PA0001046461      Universal/MCA Music Publishing Pty. Ltd.
 2921   Back on Earth                                         PA0000895946      Universal/MCA Music Publishing Pty. Ltd.
 2922   Can U Get Away                                        PA0000875890      Universal/MCA Music Publishing Pty. Ltd.
 2923   Definition Of A Thug N***a                            PA0000776781      Universal/MCA Music Publishing Pty. Ltd.
 2924   Dreams of Our Fathers                                 PA0001039322      Universal/MCA Music Publishing Pty. Ltd.
 2925   Everyday                                              PA0001039330      Universal/MCA Music Publishing Pty. Ltd.
 2926   Falling In Love (Is Hard On The Knees)                PA0000847442      Universal/MCA Music Publishing Pty. Ltd.
 2927   Fool to Think                                         PA0001039327      Universal/MCA Music Publishing Pty. Ltd.
 2928   Hand On The Pump                                      PA0000538434      Universal/MCA Music Publishing Pty. Ltd.
 2929   Here I Go Again                                       PA0001328100;     Universal/MCA Music Publishing Pty. Ltd.
                                                              PA0001162725
 2930   Hits From The Bong                                    PA0000791818      Universal/MCA Music Publishing Pty. Ltd.
 2931   How I Could Just Kill A Man                           PA0000796241      Universal/MCA Music Publishing Pty. Ltd.
 2932   I Did It                                              PA0001039319      Universal/MCA Music Publishing Pty. Ltd.
 2933   If I Die 2Nite                                        PA0000773737      Universal/MCA Music Publishing Pty. Ltd.
 2934   If I Had It All                                       PA0001039324      Universal/MCA Music Publishing Pty. Ltd.
 2935   If I Told You That                                    PA0001004813      Universal/MCA Music Publishing Pty. Ltd.
 2936   I'm so into You                                       PA0000664028      Universal/MCA Music Publishing Pty. Ltd.
 2937   Insane In The Brain                                   PA0000664235      Universal/MCA Music Publishing Pty. Ltd.
 2938   Just About Now                                        PA0000669876      Universal/MCA Music Publishing Pty. Ltd.
 2939   Just Push Play                                        PA0001048574      Universal/MCA Music Publishing Pty. Ltd.
 2940   Lady, Lady                                            PA0000731125      Universal/MCA Music Publishing Pty. Ltd.
 2941   Livin' On The Edge                                    PA0000832940      Universal/MCA Music Publishing Pty. Ltd.
 2942   Lord Knows                                            PA0000773740      Universal/MCA Music Publishing Pty. Ltd.
 2943   Love Is On The Way (Real Love)                        PA0000731122      Universal/MCA Music Publishing Pty. Ltd.
 2944   Me Against The World                                  PA0000700333      Universal/MCA Music Publishing Pty. Ltd.
 2945   Mother Father                                         PA0001039329      Universal/MCA Music Publishing Pty. Ltd.
 2946   Old School                                            PA0000773742      Universal/MCA Music Publishing Pty. Ltd.
 2947   Rain                                                  PA0001004572      Universal/MCA Music Publishing Pty. Ltd.
 2948   Secret Heart                                          PA0000807140      Universal/MCA Music Publishing Pty. Ltd.
 2949   Sleep to Dream Her                                    PA0001039328      Universal/MCA Music Publishing Pty. Ltd.
 2950   So Many Tears                                         PA0000773738      Universal/MCA Music Publishing Pty. Ltd.
 2951   So Right                                              PA0001039323      Universal/MCA Music Publishing Pty. Ltd.
 2952   Soul Intact                                           PA0000810659      Universal/MCA Music Publishing Pty. Ltd.
 2953   That's What I Need                                    PA0000664035      Universal/MCA Music Publishing Pty. Ltd.
 2954   There's A Thug In My Life                             PA0001162730      Universal/MCA Music Publishing Pty. Ltd.
 2955   Think You're Gonna Like It                            PA0000664034      Universal/MCA Music Publishing Pty. Ltd.
 2956   Truthfully                                            PA0001147359      Universal/MCA Music Publishing Pty. Ltd.
 2957   We Run The Night                                      PA0001929045      Universal/MCA Music Publishing Pty. Ltd.
 2958   What Can I Do?                                        V3497D308         Universal/MCA Music Publishing Pty. Ltd.
 2959   What You Are                                          PA0001039325      Universal/MCA Music Publishing Pty. Ltd.
 2960   What's It Gonna Be                                    PA0000810659      Universal/MCA Music Publishing Pty. Ltd.
 2961   When The World Ends                                   PA0001046455      Universal/MCA Music Publishing Pty. Ltd.
 2962   You're Always On My Mind                              PA0000664031      Universal/MCA Music Publishing Pty. Ltd.
 2963   Ass Like That                                         PA0001284525      W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 2964   107                                                   PA0001022575      W Chappell Music Corp. d/b/a WC Music Corp.
 2965   (Drop Dead) Beautiful                                 PA0001750218      W Chappell Music Corp. d/b/a WC Music Corp.
 2966   (Kissed You) Good Night                               PA0001840707      W Chappell Music Corp. d/b/a WC Music Corp.
 2967   (Oh No) What You Got                                  PA0001149533      W Chappell Music Corp. d/b/a WC Music Corp.
 2968   (One Of Those) Crazy Girls                            PA0001854435      W Chappell Music Corp. d/b/a WC Music Corp.
 2969   ***Flawless                                           PA0001918122      W Chappell Music Corp. d/b/a WC Music Corp.
 2970   1+1                                                   PA0001861929      W Chappell Music Corp. d/b/a WC Music Corp.
 2971   21 Questions                                          PA0001147207      W Chappell Music Corp. d/b/a WC Music Corp.
 2972   A Flat                                                PA0000951000      W Chappell Music Corp. d/b/a WC Music Corp.
 2973   A Welcome Burden                                      PA0001059185      W Chappell Music Corp. d/b/a WC Music Corp.
 2974   Addicted                                              PA0001084656      W Chappell Music Corp. d/b/a WC Music Corp.
 2975   Afrodisiac                                            PA0001236712      W Chappell Music Corp. d/b/a WC Music Corp.
 2976   All Her Love                                          PA0001087582      W Chappell Music Corp. d/b/a WC Music Corp.
 2977   All I Ask For                                         PA0001146376      W Chappell Music Corp. d/b/a WC Music Corp.
 2978   All I Want                                            PA0001608904      W Chappell Music Corp. d/b/a WC Music Corp.
 2979   All I Wanted                                          PA0001676908      W Chappell Music Corp. d/b/a WC Music Corp.
 2980   All In The Name Of...                                 PA0000354504      W Chappell Music Corp. d/b/a WC Music Corp.
 2981   All Over The Road                                     PA0001859563      W Chappell Music Corp. d/b/a WC Music Corp.
 2982   All The Same                                          PA0000914816      W Chappell Music Corp. d/b/a WC Music Corp.
 2983   Already Gone                                          PA0001249431      W Chappell Music Corp. d/b/a WC Music Corp.
 2984   Amen                                                  PA0001842305      W Chappell Music Corp. d/b/a WC Music Corp.
 2985   American Eulogy: Mass Hysteria/Modern World           PA0001859360      W Chappell Music Corp. d/b/a WC Music Corp.
 2986   And I Waited                                          PA0001733326      W Chappell Music Corp. d/b/a WC Music Corp.




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        Track                                                 Reg. No.          Plaintiff
 2987   And The Radio Played                                  PA0001889065      W Chappell Music Corp. d/b/a WC Music Corp.
 2988   Anklebiters                                           PA0001854436      W Chappell Music Corp. d/b/a WC Music Corp.
 2989   Announcement                                          PA0001656977      W Chappell Music Corp. d/b/a WC Music Corp.
 2990   Avarice                                               PA0001352640;     W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001296201
 2991   Aw Naw                                                PA0001887674      W Chappell Music Corp. d/b/a WC Music Corp.
 2992   Awaken                                                PA0001111236      W Chappell Music Corp. d/b/a WC Music Corp.
 2993   Ayo Technology                                        PA0001876618      W Chappell Music Corp. d/b/a WC Music Corp.
 2994   B.B.K.                                                PA0000776191      W Chappell Music Corp. d/b/a WC Music Corp.
 2995   Baby You Belong                                       PA0001147137      W Chappell Music Corp. d/b/a WC Music Corp.
 2996   Back Down                                             PA0001248732      W Chappell Music Corp. d/b/a WC Music Corp.
 2997   Back To School (Mini Maggit)                          PA0001033072      W Chappell Music Corp. d/b/a WC Music Corp.
 2998   Bad Bitch                                             PA0001245809      W Chappell Music Corp. d/b/a WC Music Corp.
 2999   Bad Boy Boogie                                        PA0000354502      W Chappell Music Corp. d/b/a WC Music Corp.
 3000   Bad News                                              PA0001633768      W Chappell Music Corp. d/b/a WC Music Corp.
 3001   bang bang bang                                        PA0001750215      W Chappell Music Corp. d/b/a WC Music Corp.
 3002   Basement                                              PA0001075310      W Chappell Music Corp. d/b/a WC Music Corp.
 3003   Battle-axe                                            PA0001157470      W Chappell Music Corp. d/b/a WC Music Corp.
 3004   BBC                                                   PA0001858826      W Chappell Music Corp. d/b/a WC Music Corp.
 3005   Be Alone                                              PA0001854435      W Chappell Music Corp. d/b/a WC Music Corp.
 3006   Be Quiet And Drive                                    PA0000870906      W Chappell Music Corp. d/b/a WC Music Corp.
 3007   Before The Lobotomy                                   PA0001859360      W Chappell Music Corp. d/b/a WC Music Corp.
 3008   Believe                                               PA0001111236      W Chappell Music Corp. d/b/a WC Music Corp.
 3009   Believe                                               PA0001608897      W Chappell Music Corp. d/b/a WC Music Corp.
 3010   Berzerk                                               PA0001863184      W Chappell Music Corp. d/b/a WC Music Corp.
 3011   Best Thing I Never Had                                PA0001752857      W Chappell Music Corp. d/b/a WC Music Corp.
 3012   Betty's a Bombshell                                   PA0001762863      W Chappell Music Corp. d/b/a WC Music Corp.
 3013   Beware                                                PA0001373477      W Chappell Music Corp. d/b/a WC Music Corp.
 3014   Big Pimpin'/Papercut                                  PA0001080612      W Chappell Music Corp. d/b/a WC Music Corp.
 3015   Birdman Interlude                                     PA0001814502      W Chappell Music Corp. d/b/a WC Music Corp.
 3016   Birthday Cake                                         PA0001841920      W Chappell Music Corp. d/b/a WC Music Corp.
 3017   Birthmark                                             PA0000776635      W Chappell Music Corp. d/b/a WC Music Corp.
 3018   Black Moon                                            PA0001336033      W Chappell Music Corp. d/b/a WC Music Corp.
 3019   Blessed Redeemer                                      PA0001686148      W Chappell Music Corp. d/b/a WC Music Corp.
 3020   Blood Brothers                                        PA0001870874      W Chappell Music Corp. d/b/a WC Music Corp.
 3021   Blow Away                                             PA0001157386      W Chappell Music Corp. d/b/a WC Music Corp.
 3022   Blue Clear Sky                                        PA0000828422      W Chappell Music Corp. d/b/a WC Music Corp.
 3023   Bored                                                 PA0000776635      W Chappell Music Corp. d/b/a WC Music Corp.
 3024   Born For This                                         PA0001595081      W Chappell Music Corp. d/b/a WC Music Corp.
 3025   Bottom                                                PA0001225978      W Chappell Music Corp. d/b/a WC Music Corp.
 3026   Bound                                                 PA0001111236      W Chappell Music Corp. d/b/a WC Music Corp.
 3027   Break Away                                            PA0001608902      W Chappell Music Corp. d/b/a WC Music Corp.
 3028   Bring Me Down                                         PA0001311759      W Chappell Music Corp. d/b/a WC Music Corp.
 3029   Broken Glass                                          PA0001335215      W Chappell Music Corp. d/b/a WC Music Corp.
 3030   Brokenhearted                                         PA0000757404      W Chappell Music Corp. d/b/a WC Music Corp.
 3031   Brooklyn                                              PA0001335215      W Chappell Music Corp. d/b/a WC Music Corp.
 3032   Buried Alive Interlude                                PA0001869935      W Chappell Music Corp. d/b/a WC Music Corp.
 3033   Business                                              PA0001118664      W Chappell Music Corp. d/b/a WC Music Corp.
 3034   California Gurls                                      PA0001753646      W Chappell Music Corp. d/b/a WC Music Corp.
 3035   Can't Believe                                         PA0001060038      W Chappell Music Corp. d/b/a WC Music Corp.
 3036   Careful                                               PA0001676905      W Chappell Music Corp. d/b/a WC Music Corp.
 3037   Carousel                                              PA0001335214      W Chappell Music Corp. d/b/a WC Music Corp.
 3038   Carry You There                                       PA0001733326      W Chappell Music Corp. d/b/a WC Music Corp.
 3039   Change                                                PA0001060039      W Chappell Music Corp. d/b/a WC Music Corp.
 3040   Change (In The House Of Flies)                        PA0001029983      W Chappell Music Corp. d/b/a WC Music Corp.
 3041   Change My Mind                                        PA0001204552      W Chappell Music Corp. d/b/a WC Music Corp.
 3042   Chasin' That Neon Rainbow                             PA0000458323      W Chappell Music Corp. d/b/a WC Music Corp.
 3043   Chasing Sirens                                        PA0001022575      W Chappell Music Corp. d/b/a WC Music Corp.
 3044   Chattahoochee                                         PA0000587430      W Chappell Music Corp. d/b/a WC Music Corp.
 3045   Check On It                                           PA0001163316      W Chappell Music Corp. d/b/a WC Music Corp.
 3046   Cherry Waves                                          PA0001373477      W Chappell Music Corp. d/b/a WC Music Corp.
 3047   Children Of The Korn                                  PA0001058922      W Chappell Music Corp. d/b/a WC Music Corp.
 3048   Chloe                                                 PA0001762863      W Chappell Music Corp. d/b/a WC Music Corp.
 3049   Christian's Inferno                                   PA0001859360      W Chappell Music Corp. d/b/a WC Music Corp.
 3050   Circle The Drain                                      PA0001753641      W Chappell Music Corp. d/b/a WC Music Corp.
 3051   Clique                                                PA0001913932      W Chappell Music Corp. d/b/a WC Music Corp.
 3052   Close Your Eyes and Count to Ten                      PA0001762863      W Chappell Music Corp. d/b/a WC Music Corp.
 3053   Closure                                               PA0001859504      W Chappell Music Corp. d/b/a WC Music Corp.
 3054   Cloud 9                                               PA0001262375      W Chappell Music Corp. d/b/a WC Music Corp.
 3055   Clumsy                                                PA0001165468      W Chappell Music Corp. d/b/a WC Music Corp.
 3056   Coffee                                                PA0001779668      W Chappell Music Corp. d/b/a WC Music Corp.
 3057   Colours                                               PA0001397703      W Chappell Music Corp. d/b/a WC Music Corp.
 3058   Combat                                                PA0001373482      W Chappell Music Corp. d/b/a WC Music Corp.
 3059   Come As You Are                                       PA0001236710      W Chappell Music Corp. d/b/a WC Music Corp.
 3060   Come Rain or Come Shine                               EP0000001893;     W Chappell Music Corp. d/b/a WC Music Corp.
                                                              R547891
 3061 Comfortable Liar                                        PA0001859610      W Chappell Music Corp. d/b/a WC Music Corp.




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        Track                                                 Reg. No.         Plaintiff
 3062   Conflict                                              PA0001000622     W Chappell Music Corp. d/b/a WC Music Corp.
 3063   Could It Be                                           PA0001157385     W Chappell Music Corp. d/b/a WC Music Corp.
 3064   Countdown                                             PA0001861897     W Chappell Music Corp. d/b/a WC Music Corp.
 3065   Crash My Party                                        PA0001870878     W Chappell Music Corp. d/b/a WC Music Corp.
 3066   Crawl                                                 PA0000951000     W Chappell Music Corp. d/b/a WC Music Corp.
 3067   Crazy                                                 PA0001251376     W Chappell Music Corp. d/b/a WC Music Corp.
 3068   Crazy                                                 PA0001858858     W Chappell Music Corp. d/b/a WC Music Corp.
 3069   Crenshaw Punch / I'll Throw Rocks At You              PA0001336034     W Chappell Music Corp. d/b/a WC Music Corp.
 3070   Criminal                                              PA0001697247     W Chappell Music Corp. d/b/a WC Music Corp.
 3071   Cross To Bear                                         PA0001287783     W Chappell Music Corp. d/b/a WC Music Corp.
 3072   Cruel and Beautiful World                             PA0001762863     W Chappell Music Corp. d/b/a WC Music Corp.
 3073   crushcrushcrush                                       PA0001595045     W Chappell Music Corp. d/b/a WC Music Corp.
 3074   Cry Me A River                                        PA0001266147     W Chappell Music Corp. d/b/a WC Music Corp.
 3075   Dai The Flu                                           PA0000870906     W Chappell Music Corp. d/b/a WC Music Corp.
 3076   Damage                                                PA0001395679     W Chappell Music Corp. d/b/a WC Music Corp.
 3077   Dance For You                                         PA0002096977     W Chappell Music Corp. d/b/a WC Music Corp.
 3078   Dance Real Slow                                       PA0001859563     W Chappell Music Corp. d/b/a WC Music Corp.
 3079   Dancing On Glass                                      PA0000354501     W Chappell Music Corp. d/b/a WC Music Corp.
 3080   Dangerously In Love                                   PA0000954078     W Chappell Music Corp. d/b/a WC Music Corp.
 3081   Daydreaming                                           PA0001854435     W Chappell Music Corp. d/b/a WC Music Corp.
 3082   Dead Bodies Everywhere                                PA0000776191     W Chappell Music Corp. d/b/a WC Music Corp.
 3083   Deathblow                                             PA0001157470     W Chappell Music Corp. d/b/a WC Music Corp.
 3084   Decadence                                             PA0001296200     W Chappell Music Corp. d/b/a WC Music Corp.
 3085   Deceiver                                              PA0001697227     W Chappell Music Corp. d/b/a WC Music Corp.
 3086   Dehumanized                                           PA0001224644     W Chappell Music Corp. d/b/a WC Music Corp.
 3087   Deify                                                 PA0001296199     W Chappell Music Corp. d/b/a WC Music Corp.
 3088   Devour                                                PA0001111236     W Chappell Music Corp. d/b/a WC Music Corp.
 3089   Digital Bath                                          PA0001029983     W Chappell Music Corp. d/b/a WC Music Corp.
 3090   Dirt Off Your Shoulder/Lying From You                 PA0001937215     W Chappell Music Corp. d/b/a WC Music Corp.
 3091   Dissention                                            PA0000914816     W Chappell Music Corp. d/b/a WC Music Corp.
 3092   Divide                                                PA0001697247     W Chappell Music Corp. d/b/a WC Music Corp.
 3093   Don't Rock The Jukebox                                PA0000525633     W Chappell Music Corp. d/b/a WC Music Corp.
 3094   Don't Wake Me Up                                      PA0001842282     W Chappell Music Corp. d/b/a WC Music Corp.
 3095   Don't Wanna Think About You                           PA0001238984     W Chappell Music Corp. d/b/a WC Music Corp.
 3096   Dopefiend's Diner                                     PA0001696337     W Chappell Music Corp. d/b/a WC Music Corp.
 3097   Double Bubble Trouble                                 PA0001919079     W Chappell Music Corp. d/b/a WC Music Corp.
 3098   Down With The Sickness                                PA0001000622     W Chappell Music Corp. d/b/a WC Music Corp.
 3099   Dramatica                                             PA0001022575     W Chappell Music Corp. d/b/a WC Music Corp.
 3100   Dressin' Up                                           PA0001816541     W Chappell Music Corp. d/b/a WC Music Corp.
 3101   Drift And Die                                         PA0001075312     W Chappell Music Corp. d/b/a WC Music Corp.
 3102   Droppin' Plates                                       PA0001000622     W Chappell Music Corp. d/b/a WC Music Corp.
 3103   Drumming Song                                         PA0001892793     W Chappell Music Corp. d/b/a WC Music Corp.
 3104   E.T.                                                  PA0001753644     W Chappell Music Corp. d/b/a WC Music Corp.
 3105   Elevator                                              PA0001647059     W Chappell Music Corp. d/b/a WC Music Corp.
 3106   End Of Time                                           PA0001861922     W Chappell Music Corp. d/b/a WC Music Corp.
 3107   Enough                                                PA0001697242     W Chappell Music Corp. d/b/a WC Music Corp.
 3108   Entombed                                              PA0001849262     W Chappell Music Corp. d/b/a WC Music Corp.
 3109   Epiphany                                              PA0001060035     W Chappell Music Corp. d/b/a WC Music Corp.
 3110   Eva                                                   PA0001022575     W Chappell Music Corp. d/b/a WC Music Corp.
 3111   Everything                                            PA0001335214     W Chappell Music Corp. d/b/a WC Music Corp.
 3112   Everything Changes                                    PA0001287780     W Chappell Music Corp. d/b/a WC Music Corp.
 3113   Everytime                                             PA0001251376     W Chappell Music Corp. d/b/a WC Music Corp.
 3114   Eyes-Radio-Lies                                       PA0001022575     W Chappell Music Corp. d/b/a WC Music Corp.
 3115   F*ckwithmeyouknowigotit                               PA0001858846     W Chappell Music Corp. d/b/a WC Music Corp.
 3116   Facade                                                PA0001697247     W Chappell Music Corp. d/b/a WC Music Corp.
 3117   Fade                                                  PA0001060039     W Chappell Music Corp. d/b/a WC Music Corp.
 3118   Failing                                               PA0001763314     W Chappell Music Corp. d/b/a WC Music Corp.
 3119   Fall                                                  PA0001884084     W Chappell Music Corp. d/b/a WC Music Corp.
 3120   Falling                                               PA0001287783     W Chappell Music Corp. d/b/a WC Music Corp.
 3121   Falling Down                                          PA0001157385     W Chappell Music Corp. d/b/a WC Music Corp.
 3122   Fast                                                  PA0001935086     W Chappell Music Corp. d/b/a WC Music Corp.
 3123   Fast In My Car                                        PA0001854436     W Chappell Music Corp. d/b/a WC Music Corp.
 3124   Fear                                                  PA0001000622     W Chappell Music Corp. d/b/a WC Music Corp.
 3125   Feeling Sorry                                         PA0001676906     W Chappell Music Corp. d/b/a WC Music Corp.
 3126   Fences                                                PA0001595053     W Chappell Music Corp. d/b/a WC Music Corp.
 3127   Fetisha                                               PA0000914814     W Chappell Music Corp. d/b/a WC Music Corp.
 3128   Fiction (Dreams In Digital)                           PA0001022579     W Chappell Music Corp. d/b/a WC Music Corp.
 3129   Fiend                                                 PA0000914814     W Chappell Music Corp. d/b/a WC Music Corp.
 3130   Fill Me Up                                            PA0001157384     W Chappell Music Corp. d/b/a WC Music Corp.
 3131   Finally                                               PA0001236713     W Chappell Music Corp. d/b/a WC Music Corp.
 3132   Fireal                                                PA0000776635     W Chappell Music Corp. d/b/a WC Music Corp.
 3133   Firework                                              PA0001753920     W Chappell Music Corp. d/b/a WC Music Corp.
 3134   Five Years Dead                                       PA0000332227     W Chappell Music Corp. d/b/a WC Music Corp.
 3135   Focus                                                 PA0001236716     W Chappell Music Corp. d/b/a WC Music Corp.
 3136   For A Pessimist, I'm Pretty Optimistic                PA0001595045     W Chappell Music Corp. d/b/a WC Music Corp.
 3137   For My Dawgs                                          PA0001847144     W Chappell Music Corp. d/b/a WC Music Corp.
 3138   For You                                               PA0001060038     W Chappell Music Corp. d/b/a WC Music Corp.




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      Track                                                   Reg. No.          Plaintiff
 3139 Forfeit                                                 PA0001859504      W Chappell Music Corp. d/b/a WC Music Corp.
 3140 Forgiven                                                PA0001352640;     W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001296201
 3141   Fray                                                  PA0001157384      W Chappell Music Corp. d/b/a WC Music Corp.
 3142   Freak Of The World                                    PA0001225980      W Chappell Music Corp. d/b/a WC Music Corp.
 3143   Freak On A Leash                                      PA0000776191      W Chappell Music Corp. d/b/a WC Music Corp.
 3144   Fu-Gee-La                                             PA0000794856      W Chappell Music Corp. d/b/a WC Music Corp.
 3145   Future                                                PA0001854435      W Chappell Music Corp. d/b/a WC Music Corp.
 3146   Gauze                                                 PA0001849262      W Chappell Music Corp. d/b/a WC Music Corp.
 3147   Gender                                                PA0000914814      W Chappell Music Corp. d/b/a WC Music Corp.
 3148   Get Your Money Up                                     PA0001881522      W Chappell Music Corp. d/b/a WC Music Corp.
 3149   Give A Little                                         PA0001733326      W Chappell Music Corp. d/b/a WC Music Corp.
 3150   Gladiator                                             PA0001731495      W Chappell Music Corp. d/b/a WC Music Corp.
 3151   Go                                                    PA0001302099      W Chappell Music Corp. d/b/a WC Music Corp.
 3152   God Must Hate Me                                      PA0001084657      W Chappell Music Corp. d/b/a WC Music Corp.
 3153   God Of The Mind                                       PA0001045439      W Chappell Music Corp. d/b/a WC Music Corp.
 3154   Goon Squad                                            PA0001849262      W Chappell Music Corp. d/b/a WC Music Corp.
 3155   Gorilla                                               PA0001869823      W Chappell Music Corp. d/b/a WC Music Corp.
 3156   Got The Life                                          PA0000776191      W Chappell Music Corp. d/b/a WC Music Corp.
 3157   Graphic Nature                                        PA0001849262      W Chappell Music Corp. d/b/a WC Music Corp.
 3158   Grow Up                                               PA0001854435      W Chappell Music Corp. d/b/a WC Music Corp.
 3159   Guarded                                               PA0001296198      W Chappell Music Corp. d/b/a WC Music Corp.
 3160   Gunz Come Out                                         PA0001281577      W Chappell Music Corp. d/b/a WC Music Corp.
 3161   Hallelujah                                            PA0001595045      W Chappell Music Corp. d/b/a WC Music Corp.
 3162   Hard                                                  PA0001711867      W Chappell Music Corp. d/b/a WC Music Corp.
 3163   Hate                                                  PA0001711046      W Chappell Music Corp. d/b/a WC Music Corp.
 3164   Hate To See Your Heart Break                          PA0001854435      W Chappell Music Corp. d/b/a WC Music Corp.
 3165   Haterade                                              PA0001778471      W Chappell Music Corp. d/b/a WC Music Corp.
 3166   Haunted                                               PA0001697242      W Chappell Music Corp. d/b/a WC Music Corp.
 3167   Have You Seen Her                                     PA0001087579      W Chappell Music Corp. d/b/a WC Music Corp.
 3168   He Won't Hurt You                                     PA0001087585      W Chappell Music Corp. d/b/a WC Music Corp.
 3169   Headup                                                PA0000870907      W Chappell Music Corp. d/b/a WC Music Corp.
 3170   Heartache That Don't Stop Hurting                     PA0001727379      W Chappell Music Corp. d/b/a WC Music Corp.
 3171   Heartland                                             PA0000643056      W Chappell Music Corp. d/b/a WC Music Corp.
 3172   Heat                                                  PA0001248730      W Chappell Music Corp. d/b/a WC Music Corp.
 3173   Hell                                                  PA0001310671      W Chappell Music Corp. d/b/a WC Music Corp.
 3174   Hello                                                 PA0001789865      W Chappell Music Corp. d/b/a WC Music Corp.
 3175   Hello                                                 PA0000839504      W Chappell Music Corp. d/b/a WC Music Corp.
 3176   Hello World                                           PA0001896735      W Chappell Music Corp. d/b/a WC Music Corp.
 3177   Here In The Real World                                PA0000458321      W Chappell Music Corp. d/b/a WC Music Corp.
 3178   Hexagram                                              PA0001157469      W Chappell Music Corp. d/b/a WC Music Corp.
 3179   Hey Hey What Can I Do?                                Eu0000222687      W Chappell Music Corp. d/b/a WC Music Corp.
 3180   Hip Hop Star                                          PA0001208970      W Chappell Music Corp. d/b/a WC Music Corp.
 3181   Hold On, We're Going Home                             PA0001891428      W Chappell Music Corp. d/b/a WC Music Corp.
 3182   Holding On                                            PA0001644614      W Chappell Music Corp. d/b/a WC Music Corp.
 3183   Hole In The Earth                                     PA0001373476      W Chappell Music Corp. d/b/a WC Music Corp.
 3184   Home                                                  PA0000951000      W Chappell Music Corp. d/b/a WC Music Corp.
 3185   Homies                                                PA0001847137      W Chappell Music Corp. d/b/a WC Music Corp.
 3186   Horseshoes And Handgrenades                           PA0001859362      W Chappell Music Corp. d/b/a WC Music Corp.
 3187   Hot N Cold                                            PA0001697567      W Chappell Music Corp. d/b/a WC Music Corp.
 3188   How About You                                         PA0001157383      W Chappell Music Corp. d/b/a WC Music Corp.
 3189   Human Nature                                          PA0000158773      W Chappell Music Corp. d/b/a WC Music Corp.
 3190   Hummingbird Heartbeat                                 PA0001753638      W Chappell Music Corp. d/b/a WC Music Corp.
 3191   I Can Wait Forever                                    PA0001644607      W Chappell Music Corp. d/b/a WC Music Corp.
 3192   I Feel Like I'm Forgetting Something                  PAu002504855;     W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001120877
 3193   I Just Wanna F.                                       PA0001778193      W Chappell Music Corp. d/b/a WC Music Corp.
 3194   I Kissed A Girl                                       PA0001686870      W Chappell Music Corp. d/b/a WC Music Corp.
 3195   I Tried                                               PA0001236714      W Chappell Music Corp. d/b/a WC Music Corp.
 3196   I Wanna Luv U                                         PA0001087576      W Chappell Music Corp. d/b/a WC Music Corp.
 3197   I Won't Be There                                      PA0001084657      W Chappell Music Corp. d/b/a WC Music Corp.
 3198   I'd Do Anything                                       PA0001084655      W Chappell Music Corp. d/b/a WC Music Corp.
 3199   If I Can't                                            PA0001248731      W Chappell Music Corp. d/b/a WC Music Corp.
 3200   If I Could Love You                                   PA0001657879      W Chappell Music Corp. d/b/a WC Music Corp.
 3201   If We've Ever Needed You                              PA0001686148      W Chappell Music Corp. d/b/a WC Music Corp.
 3202   If You Can Afford Me                                  PA0001687085      W Chappell Music Corp. d/b/a WC Music Corp.
 3203   I'm Alive                                             PA0001296200      W Chappell Music Corp. d/b/a WC Music Corp.
 3204   I'm Just A Kid                                        PA0001084655      W Chappell Music Corp. d/b/a WC Music Corp.
 3205   I'm So Sure                                           PA0001669444      W Chappell Music Corp. d/b/a WC Music Corp.
 3206   I'm Still Breathing                                   PA0001686861      W Chappell Music Corp. d/b/a WC Music Corp.
 3207   Indestructible                                        PA0001697227      W Chappell Music Corp. d/b/a WC Music Corp.
 3208   Inhale                                                PA0001731503      W Chappell Music Corp. d/b/a WC Music Corp.
 3209   Inhale                                                PA0001395698      W Chappell Music Corp. d/b/a WC Music Corp.
 3210   Inside The Fire                                       PA0001697227      W Chappell Music Corp. d/b/a WC Music Corp.
 3211   Interlude: Holiday                                    PA0001854437      W Chappell Music Corp. d/b/a WC Music Corp.
 3212   Interlude: I'm Not Angry Anymore                      PA0001854435      W Chappell Music Corp. d/b/a WC Music Corp.
 3213   Interlude: Moving On                                  PA0001854435      W Chappell Music Corp. d/b/a WC Music Corp.




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                                                              EXHIBIT B - MUSICAL COMPOSITIONS

        Track                                                 Reg. No.         Plaintiff
 3214   Intoxication                                          PA0001111236     W Chappell Music Corp. d/b/a WC Music Corp.
 3215   Intro                                                 PA0001157386     W Chappell Music Corp. d/b/a WC Music Corp.
 3216   It Matters To Me                                      PAu001966659     W Chappell Music Corp. d/b/a WC Music Corp.
 3217   Itchin' On A Photograph                               PA0001762863     W Chappell Music Corp. d/b/a WC Music Corp.
 3218   It's Alright                                          PA0001087587     W Chappell Music Corp. d/b/a WC Music Corp.
 3219   It's Been Awhile                                      PA0001060039     W Chappell Music Corp. d/b/a WC Music Corp.
 3220   It's On!                                              PA0000776191     W Chappell Music Corp. d/b/a WC Music Corp.
 3221   Izzo/In The End                                       PA0001038342     W Chappell Music Corp. d/b/a WC Music Corp.
 3222   Jar Of Hearts                                         PA0001750215     W Chappell Music Corp. d/b/a WC Music Corp.
 3223   Jesus Take The Wheel                                  PA0001339680     W Chappell Music Corp. d/b/a WC Music Corp.
 3224   Jesus, Hold Me Now                                    PA0001686148     W Chappell Music Corp. d/b/a WC Music Corp.
 3225   Jigga What/Faint                                      PA0001937227     W Chappell Music Corp. d/b/a WC Music Corp.
 3226   Joyful, Joyful                                        PA0001686148     W Chappell Music Corp. d/b/a WC Music Corp.
 3227   Jump                                                  PA0001251376     W Chappell Music Corp. d/b/a WC Music Corp.
 3228   Just Go                                               PA0000951000     W Chappell Music Corp. d/b/a WC Music Corp.
 3229   Just Stop                                             PA0001296198     W Chappell Music Corp. d/b/a WC Music Corp.
 3230   Justin                                                PA0000776191     W Chappell Music Corp. d/b/a WC Music Corp.
 3231   Karmageddon                                           PA0001919074     W Chappell Music Corp. d/b/a WC Music Corp.
 3232   Keep Dancin' On Me                                    PA0001659055     W Chappell Music Corp. d/b/a WC Music Corp.
 3233   King Of All Excuses                                   PA0001287780     W Chappell Music Corp. d/b/a WC Music Corp.
 3234   Kiss Me When You Come Home                            PA0001733326     W Chappell Music Corp. d/b/a WC Music Corp.
 3235   Knife Prty                                            PA0001029983     W Chappell Music Corp. d/b/a WC Music Corp.
 3236   Last Friday Night (T.G.I.F.)                          PA0001753637     W Chappell Music Corp. d/b/a WC Music Corp.
 3237   Last Hope                                             PA0001854435     W Chappell Music Corp. d/b/a WC Music Corp.
 3238   Last Night On Earth                                   PA0001859360     W Chappell Music Corp. d/b/a WC Music Corp.
 3239   Layne                                                 PA0001157384     W Chappell Music Corp. d/b/a WC Music Corp.
 3240   Leathers                                              PA0001849262     W Chappell Music Corp. d/b/a WC Music Corp.
 3241   Let Me Blow Ya Mind                                   PA0001060407     W Chappell Music Corp. d/b/a WC Music Corp.
 3242   Let The Flames Begin                                  PA0001595049     W Chappell Music Corp. d/b/a WC Music Corp.
 3243   Lhabia                                                PA0000870906     W Chappell Music Corp. d/b/a WC Music Corp.
 3244   Liberate                                              PA0001111236     W Chappell Music Corp. d/b/a WC Music Corp.
 3245   Lifter                                                PA0000776635     W Chappell Music Corp. d/b/a WC Music Corp.
 3246   Light Up                                              PA0001732180     W Chappell Music Corp. d/b/a WC Music Corp.
 3247   Like A Surgeon                                        PA0001659055     W Chappell Music Corp. d/b/a WC Music Corp.
 3248   Little Man                                            PA0000914493     W Chappell Music Corp. d/b/a WC Music Corp.
 3249   Livin' On Love                                        PA0000727505     W Chappell Music Corp. d/b/a WC Music Corp.
 3250   Locked Out of Heaven                                  PA0001869823     W Chappell Music Corp. d/b/a WC Music Corp.
 3251   Look In My Eyes                                       PA0001245810     W Chappell Music Corp. d/b/a WC Music Corp.
 3252   Looking Up                                            PA0001676905     W Chappell Music Corp. d/b/a WC Music Corp.
 3253   Lost                                                  PA0001669756     W Chappell Music Corp. d/b/a WC Music Corp.
 3254   Lost Along The Way                                    PA0001608902     W Chappell Music Corp. d/b/a WC Music Corp.
 3255   Love Her Like She's Leavin'                           PA0001769705     W Chappell Music Corp. d/b/a WC Music Corp.
 3256   Love On Top                                           PA0001861938     W Chappell Music Corp. d/b/a WC Music Corp.
 3257   Love Them Like Jesus                                  PA0001301680     W Chappell Music Corp. d/b/a WC Music Corp.
 3258   Love Will Save Your Soul                              PA0001762863     W Chappell Music Corp. d/b/a WC Music Corp.
 3259   Lovely Cup                                            PA0001762863     W Chappell Music Corp. d/b/a WC Music Corp.
 3260   Lucky You                                             PA0001146106     W Chappell Music Corp. d/b/a WC Music Corp.
 3261   Make Her Say                                          PA0001847910     W Chappell Music Corp. d/b/a WC Music Corp.
 3262   Make It Out Alive                                     PA0001733326     W Chappell Music Corp. d/b/a WC Music Corp.
 3263   Man Down (Censored)                                   PA0001693409     W Chappell Music Corp. d/b/a WC Music Corp.
 3264   Mannequin                                             PA0001687076     W Chappell Music Corp. d/b/a WC Music Corp.
 3265   Marvins Room / Buried Alive Interlude                 PA0001869935     W Chappell Music Corp. d/b/a WC Music Corp.
 3266   MATANGI                                               PA0001919076     W Chappell Music Corp. d/b/a WC Music Corp.
 3267   Me                                                    PA0000951000     W Chappell Music Corp. d/b/a WC Music Corp.
 3268   Me & U                                                PA0001627318     W Chappell Music Corp. d/b/a WC Music Corp.
 3269   Me Against The World                                  PA0001251376     W Chappell Music Corp. d/b/a WC Music Corp.
 3270   Me Myself And I                                       PA0001733326     W Chappell Music Corp. d/b/a WC Music Corp.
 3271   Meaning Of Life                                       PA0001000622     W Chappell Music Corp. d/b/a WC Music Corp.
 3272   Meet You There                                        PA0001084656     W Chappell Music Corp. d/b/a WC Music Corp.
 3273   Merry Go Round                                        PA0001657844     W Chappell Music Corp. d/b/a WC Music Corp.
 3274   Midnight In Montgomery                                PA0000533558     W Chappell Music Corp. d/b/a WC Music Corp.
 3275   Mine                                                  PA0001918125     W Chappell Music Corp. d/b/a WC Music Corp.
 3276   Minerva                                               PA0001157469     W Chappell Music Corp. d/b/a WC Music Corp.
 3277   Minus Blindfold                                       PA0000776635     W Chappell Music Corp. d/b/a WC Music Corp.
 3278   Miracle                                               PA0001595049     W Chappell Music Corp. d/b/a WC Music Corp.
 3279   Misguided Ghosts                                      PA0001676906     W Chappell Music Corp. d/b/a WC Music Corp.
 3280   Mistress                                              PA0001111236     W Chappell Music Corp. d/b/a WC Music Corp.
 3281   Moana                                                 PA0001157471     W Chappell Music Corp. d/b/a WC Music Corp.
 3282   Moonshine                                             PA0001669444     W Chappell Music Corp. d/b/a WC Music Corp.
 3283   Mudshovel                                             PA0000951000     W Chappell Music Corp. d/b/a WC Music Corp.
 3284   Mudshuvel                                             PA0001084423     W Chappell Music Corp. d/b/a WC Music Corp.
 3285   Murder City                                           PA0001859360     W Chappell Music Corp. d/b/a WC Music Corp.
 3286   Murder To Excellence                                  PA0001816414     W Chappell Music Corp. d/b/a WC Music Corp.
 3287   Musical Ride                                          PA0001733326     W Chappell Music Corp. d/b/a WC Music Corp.
 3288   MX                                                    PA0000870906     W Chappell Music Corp. d/b/a WC Music Corp.
 3289   My Alien                                              PA0001084656     W Chappell Music Corp. d/b/a WC Music Corp.
 3290   My Dad's Gone Crazy                                   PA0001118665     W Chappell Music Corp. d/b/a WC Music Corp.




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                                                              EXHIBIT B - MUSICAL COMPOSITIONS

        Track                                                 Reg. No.          Plaintiff
 3291   My Gift To You                                        PA0000776191      W Chappell Music Corp. d/b/a WC Music Corp.
 3292   Naked Kids                                            PA0001762865      W Chappell Music Corp. d/b/a WC Music Corp.
 3293   Never Change                                          PA0001311759      W Chappell Music Corp. d/b/a WC Music Corp.
 3294   Never Enough                                          PA0001284523      W Chappell Music Corp. d/b/a WC Music Corp.
 3295   Never Let Me Down                                     PA0001159068      W Chappell Music Corp. d/b/a WC Music Corp.
 3296   Never Say Never                                       PA0000949112      W Chappell Music Corp. d/b/a WC Music Corp.
 3297   Next 2 You                                            PA0001335216      W Chappell Music Corp. d/b/a WC Music Corp.
 3298   Nickels And Dimes                                     PA0001858821      W Chappell Music Corp. d/b/a WC Music Corp.
 3299   No Angel                                              PA0001918140      W Chappell Music Corp. d/b/a WC Music Corp.
 3300   No Hands                                              PA0001739078      W Chappell Music Corp. d/b/a WC Music Corp.
 3301   No Love                                               PA0001644610      W Chappell Music Corp. d/b/a WC Music Corp.
 3302   No Miracles                                           PA0001896740      W Chappell Music Corp. d/b/a WC Music Corp.
 3303   No Trash in My Trailer                                PA0001056014      W Chappell Music Corp. d/b/a WC Music Corp.
 3304   Nobody Feelin' No Pain                                PA0001904211      W Chappell Music Corp. d/b/a WC Music Corp.
 3305   Nobody Told Me                                        PA0001075310      W Chappell Music Corp. d/b/a WC Music Corp.
 3306   Nosebleed                                             PA0000776635      W Chappell Music Corp. d/b/a WC Music Corp.
 3307   Not Again                                             PA0001763314      W Chappell Music Corp. d/b/a WC Music Corp.
 3308   Not Like The Movies                                   PA0001753643      W Chappell Music Corp. d/b/a WC Music Corp.
 3309   Nothing Left To Lose                                  PA0001249431      W Chappell Music Corp. d/b/a WC Music Corp.
 3310   Nothing Left To Say                                   PA0001608897      W Chappell Music Corp. d/b/a WC Music Corp.
 3311   Notorious Thugs                                       PA0001005836      W Chappell Music Corp. d/b/a WC Music Corp.
 3312   Now                                                   PA0001854435      W Chappell Music Corp. d/b/a WC Music Corp.
 3313   Now                                                   PA0001763314      W Chappell Music Corp. d/b/a WC Music Corp.
 3314   Numb                                                  PA0001000622      W Chappell Music Corp. d/b/a WC Music Corp.
 3315   Numb/Encore                                           PA0001160198      W Chappell Music Corp. d/b/a WC Music Corp.
 3316   O Let's Do It                                         PA0001847140      W Chappell Music Corp. d/b/a WC Music Corp.
 3317   Oceans                                                PA0001858843      W Chappell Music Corp. d/b/a WC Music Corp.
 3318   Oh Timbaland                                          PA0001759709      W Chappell Music Corp. d/b/a WC Music Corp.
 3319   Oh!                                                   PA0001245811      W Chappell Music Corp. d/b/a WC Music Corp.
 3320   On And On                                             PA0001745026      W Chappell Music Corp. d/b/a WC Music Corp.
 3321   On My Highway                                         PA0001935081      W Chappell Music Corp. d/b/a WC Music Corp.
 3322   One                                                   PA0001251378      W Chappell Music Corp. d/b/a WC Music Corp.
 3323   One and Only                                          PA0001759715      W Chappell Music Corp. d/b/a WC Music Corp.
 3324   One Day                                               PA0001084657      W Chappell Music Corp. d/b/a WC Music Corp.
 3325   One For Me                                            PA0001396264      W Chappell Music Corp. d/b/a WC Music Corp.
 3326   One Of The Boys                                       PA0001687082      W Chappell Music Corp. d/b/a WC Music Corp.
 3327   One Weak                                              PA0000776635      W Chappell Music Corp. d/b/a WC Music Corp.
 3328   Onset                                                 PA0001335215      W Chappell Music Corp. d/b/a WC Music Corp.
 3329   Open Your Eyes                                        PA0001060039      W Chappell Music Corp. d/b/a WC Music Corp.
 3330   Opticon                                               PA0001022575      W Chappell Music Corp. d/b/a WC Music Corp.
 3331   Out Like That                                         PA0001870872      W Chappell Music Corp. d/b/a WC Music Corp.
 3332   Out of Line                                           PA0001335214      W Chappell Music Corp. d/b/a WC Music Corp.
 3333   Out Of My Head                                        PA0001153778      W Chappell Music Corp. d/b/a WC Music Corp.
 3334   Out on the Town                                       PA0001791458      W Chappell Music Corp. d/b/a WC Music Corp.
 3335   Outside                                               PA0001041716      W Chappell Music Corp. d/b/a WC Music Corp.
 3336   Outta Control                                         PA0001298486      W Chappell Music Corp. d/b/a WC Music Corp.
 3337   Overburdened                                          PA0001296200      W Chappell Music Corp. d/b/a WC Music Corp.
 3338   Pain Redefined                                        PA0001352640;     W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001296201
 3339   Pantomime                                             PA0000914814      W Chappell Music Corp. d/b/a WC Music Corp.
 3340   Paper Jesus                                           PA0001287782      W Chappell Music Corp. d/b/a WC Music Corp.
 3341   Paper Wings                                           PA0001763314      W Chappell Music Corp. d/b/a WC Music Corp.
 3342   Parasite                                              PA0001677916      W Chappell Music Corp. d/b/a WC Music Corp.
 3343   Pardon Me                                             PA0001608902      W Chappell Music Corp. d/b/a WC Music Corp.
 3344   Part II                                               PA0001854436      W Chappell Music Corp. d/b/a WC Music Corp.
 3345   Part Of Me                                            PA0001845827      W Chappell Music Corp. d/b/a WC Music Corp.
 3346   Passenger                                             PA0001911867      W Chappell Music Corp. d/b/a WC Music Corp.
 3347   Passenger                                             PA0001029982      W Chappell Music Corp. d/b/a WC Music Corp.
 3348   Payback                                               PA0001969099      W Chappell Music Corp. d/b/a WC Music Corp.
 3349   Peacemaker                                            PA0001859360      W Chappell Music Corp. d/b/a WC Music Corp.
 3350   Peacock                                               PA0001753921      W Chappell Music Corp. d/b/a WC Music Corp.
 3351   Pearl                                                 PA0001753642      W Chappell Music Corp. d/b/a WC Music Corp.
 3352   Perfect                                               PA0001084657      W Chappell Music Corp. d/b/a WC Music Corp.
 3353   Perfect Insanity                                      PA0001687498      W Chappell Music Corp. d/b/a WC Music Corp.
 3354   Perfect World                                         PA0001251377      W Chappell Music Corp. d/b/a WC Music Corp.
 3355   Pink Cellphone                                        PA0001373481      W Chappell Music Corp. d/b/a WC Music Corp.
 3356   Pink Maggit                                           PA0001029983      W Chappell Music Corp. d/b/a WC Music Corp.
 3357   Platinum                                              PA0000914814      W Chappell Music Corp. d/b/a WC Music Corp.
 3358   Please                                                PA0001287783      W Chappell Music Corp. d/b/a WC Music Corp.
 3359   Points Of Authority/99 Problems/One Step Closer       PA0001937228      W Chappell Music Corp. d/b/a WC Music Corp.
 3360   Poltergeist                                           PA0001849262      W Chappell Music Corp. d/b/a WC Music Corp.
 3361   Praise You In This Storm                              PA0001301680      W Chappell Music Corp. d/b/a WC Music Corp.
 3362   Prayer                                                PA0001111236      W Chappell Music Corp. d/b/a WC Music Corp.
 3363   Pressure                                              PA0001060036      W Chappell Music Corp. d/b/a WC Music Corp.
 3364   Pretty                                                PA0000776191      W Chappell Music Corp. d/b/a WC Music Corp.
 3365   Pretty Hurts                                          PA0001918127      W Chappell Music Corp. d/b/a WC Music Corp.
 3366   Price To Play                                         PA0001157383      W Chappell Music Corp. d/b/a WC Music Corp.




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                                                              EXHIBIT B - MUSICAL COMPOSITIONS

        Track                                                 Reg. No.          Plaintiff
 3367   Promise                                               PA0001251378      W Chappell Music Corp. d/b/a WC Music Corp.
 3368   Proof                                                 PA0001854436      W Chappell Music Corp. d/b/a WC Music Corp.
 3369   Punch Drunk Love                                      PA0001656968      W Chappell Music Corp. d/b/a WC Music Corp.
 3370   Pushin'                                               PA0001087577      W Chappell Music Corp. d/b/a WC Music Corp.
 3371   Quando, Quando, Quando (with Nelly Furtado)           EP0000162847;     W Chappell Music Corp. d/b/a WC Music Corp.
                                                              RE0000451824
 3372   Radiate                                               PA0001657838      W Chappell Music Corp. d/b/a WC Music Corp.
 3373   Raining Again                                         PA0001608897      W Chappell Music Corp. d/b/a WC Music Corp.
 3374   Rainy Day Parade                                      PA0001608902      W Chappell Music Corp. d/b/a WC Music Corp.
 3375   Raw                                                   PA0000951000      W Chappell Music Corp. d/b/a WC Music Corp.
 3376   Reality                                               PA0001157385      W Chappell Music Corp. d/b/a WC Music Corp.
 3377   Reclaim My Place                                      PA0000776191      W Chappell Music Corp. d/b/a WC Music Corp.
 3378   Re-Creation                                           PA0001022578      W Chappell Music Corp. d/b/a WC Music Corp.
 3379   Red Camaro                                            PA0001878244      W Chappell Music Corp. d/b/a WC Music Corp.
 3380   Red Lipstick                                          PA0001841921      W Chappell Music Corp. d/b/a WC Music Corp.
 3381   Release                                               PA0001761877      W Chappell Music Corp. d/b/a WC Music Corp.
 3382   Remember                                              PA0001111236      W Chappell Music Corp. d/b/a WC Music Corp.
 3383   Renegade                                              PA0001038351      W Chappell Music Corp. d/b/a WC Music Corp.
 3384   Reply                                                 PA0001287780      W Chappell Music Corp. d/b/a WC Music Corp.
 3385   Restless Heart Syndrome                               PA0001859360      W Chappell Music Corp. d/b/a WC Music Corp.
 3386   Revival                                               PA0000914815      W Chappell Music Corp. d/b/a WC Music Corp.
 3387   Rhinestone Cowboy                                     Eu0000459595      W Chappell Music Corp. d/b/a WC Music Corp.
 3388   Rich Girl                                             PA0001274357      W Chappell Music Corp. d/b/a WC Music Corp.
 3389   Right For Me                                          PA0001149533      W Chappell Music Corp. d/b/a WC Music Corp.
 3390   Right Here                                            PA0001287782      W Chappell Music Corp. d/b/a WC Music Corp.
 3391   Roar                                                  PA0001861206      W Chappell Music Corp. d/b/a WC Music Corp.
 3392   Rock The Beat                                         PA0001679015      W Chappell Music Corp. d/b/a WC Music Corp.
 3393   Rock The House                                        PA0001066507      W Chappell Music Corp. d/b/a WC Music Corp.
 3394   Rockstar 101                                          PA0001711708      W Chappell Music Corp. d/b/a WC Music Corp.
 3395   Romantic Dreams                                       PA0001849262      W Chappell Music Corp. d/b/a WC Music Corp.
 3396   Rosemary                                              PA0001849262      W Chappell Music Corp. d/b/a WC Music Corp.
 3397   Round Midnight                                        EP0000107653;     W Chappell Music Corp. d/b/a WC Music Corp.
                                                              RE0000246069
 3398   Run Away                                              PA0001287782      W Chappell Music Corp. d/b/a WC Music Corp.
 3399   Run The World (Girls)                                 PA0001861905      W Chappell Music Corp. d/b/a WC Music Corp.
 3400   Running Out of Time                                   PA0001644610      W Chappell Music Corp. d/b/a WC Music Corp.
 3401   Rx Queen                                              PA0001029983      W Chappell Music Corp. d/b/a WC Music Corp.
 3402   Sacred Lie                                            PA0001352640;     W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001296201
 3403   Sadiddy                                               PA0001236712      W Chappell Music Corp. d/b/a WC Music Corp.
 3404   Safe Place                                            PA0001060038      W Chappell Music Corp. d/b/a WC Music Corp.
 3405   Said                                                  PA0001153778      W Chappell Music Corp. d/b/a WC Music Corp.
 3406   Same Girl                                             PAu003411255      W Chappell Music Corp. d/b/a WC Music Corp.
 3407   Same Old You                                          PA0001789997      W Chappell Music Corp. d/b/a WC Music Corp.
 3408   Save You                                              PA0001644614      W Chappell Music Corp. d/b/a WC Music Corp.
 3409   Saving Faces                                          PA0001022576      W Chappell Music Corp. d/b/a WC Music Corp.
 3410   Say It                                                PA0001641339      W Chappell Music Corp. d/b/a WC Music Corp.
 3411   Say What You Say                                      PA0001118663      W Chappell Music Corp. d/b/a WC Music Corp.
 3412   Schizophrenic Conversations                           PA0001287782      W Chappell Music Corp. d/b/a WC Music Corp.
 3413   Schoolin' Life                                        PA0002096976      W Chappell Music Corp. d/b/a WC Music Corp.
 3414   Sealion                                               PA0001382155      W Chappell Music Corp. d/b/a WC Music Corp.
 3415   See The Light                                         PA0001859360      W Chappell Music Corp. d/b/a WC Music Corp.
 3416   Seed                                                  PA0000776191      W Chappell Music Corp. d/b/a WC Music Corp.
 3417   Self Inflicted                                        PA0001689948      W Chappell Music Corp. d/b/a WC Music Corp.
 3418   Send The Pain Below                                   PA0001859504      W Chappell Music Corp. d/b/a WC Music Corp.
 3419   Sentimental                                           PA0000627933;     W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0000597871
 3420   Sex 4 Suga                                            PA0001731496      W Chappell Music Corp. d/b/a WC Music Corp.
 3421   Shawty                                                PA0001765610      W Chappell Music Corp. d/b/a WC Music Corp.
 3422   She Couldn't Change Me                                PA0001095336      W Chappell Music Corp. d/b/a WC Music Corp.
 3423   She's Got the Rhythm (And I Got the Blues)            PA0000586645;     W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PAu001522810
 3424   Shit Hits The Fan                                     PA0001245810      W Chappell Music Corp. d/b/a WC Music Corp.
 3425   Shorty (Got Her Eyes On Me)                           PA0001087581      W Chappell Music Corp. d/b/a WC Music Corp.
 3426   Should I Go                                           PA0001236715      W Chappell Music Corp. d/b/a WC Music Corp.
 3427   Shout Out To The Real                                 PA0001852372      W Chappell Music Corp. d/b/a WC Music Corp.
 3428   Shut It Down                                          PA0001728551      W Chappell Music Corp. d/b/a WC Music Corp.
 3429   Shut Up!                                              PA0001251377      W Chappell Music Corp. d/b/a WC Music Corp.
 3430   Sickened                                              PA0001790006      W Chappell Music Corp. d/b/a WC Music Corp.
 3431   Single Ladies (Put A Ring On It)                      PA0001630370      W Chappell Music Corp. d/b/a WC Music Corp.
 3432   Sister Rose                                           PA0000627931      W Chappell Music Corp. d/b/a WC Music Corp.
 3433   Slow                                                  PA0001762863      W Chappell Music Corp. d/b/a WC Music Corp.
 3434   Slow Dance                                            PA0001767256      W Chappell Music Corp. d/b/a WC Music Corp.
 3435   Smash Into You                                        PA0001624967      W Chappell Music Corp. d/b/a WC Music Corp.
 3436   So Far                                                PA0001335214      W Chappell Music Corp. d/b/a WC Music Corp.
 3437   So Far Away                                           PA0001157383      W Chappell Music Corp. d/b/a WC Music Corp.
 3438   Social Enemies                                        PA0000914813      W Chappell Music Corp. d/b/a WC Music Corp.




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                                                              EXHIBIT B - MUSICAL COMPOSITIONS

      Track                                                   Reg. No.          Plaintiff
 3439 Somebody Stand By Me                                    PA0000705224      W Chappell Music Corp. d/b/a WC Music Corp.
 3440 Someone To Watch Over Me                                E00000651512;     W Chappell Music Corp. d/b/a WC Music Corp.
                                                              EP234827
 3441   Something To Remind You                               PA0001763314      W Chappell Music Corp. d/b/a WC Music Corp.
 3442   Song Of The Century                                   PA0001859360      W Chappell Music Corp. d/b/a WC Music Corp.
 3443   Sons Of Plunder                                       PA0001296200      W Chappell Music Corp. d/b/a WC Music Corp.
 3444   Sorry                                                 PA0001335216      W Chappell Music Corp. d/b/a WC Music Corp.
 3445   Spin You Around                                       PA0001249431      W Chappell Music Corp. d/b/a WC Music Corp.
 3446   Spleen                                                PA0000951000      W Chappell Music Corp. d/b/a WC Music Corp.
 3447   Spun                                                  PA0001762863      W Chappell Music Corp. d/b/a WC Music Corp.
 3448   Still Into You                                        PA0001854435      W Chappell Music Corp. d/b/a WC Music Corp.
 3449   Stitches                                              PA0000914814      W Chappell Music Corp. d/b/a WC Music Corp.
 3450   Stricken                                              PA0001296198      W Chappell Music Corp. d/b/a WC Music Corp.
 3451   Stronger                                              PA0001597242      W Chappell Music Corp. d/b/a WC Music Corp.
 3452   Stunt on Ya Haters                                    PA0001977398      W Chappell Music Corp. d/b/a WC Music Corp.
 3453   Stupid Girls                                          PA0001320435      W Chappell Music Corp. d/b/a WC Music Corp.
 3454   Stupify                                               PA0001000622      W Chappell Music Corp. d/b/a WC Music Corp.
 3455   Suckerface                                            PA0001022575      W Chappell Music Corp. d/b/a WC Music Corp.
 3456   Suffer                                                PA0001060038      W Chappell Music Corp. d/b/a WC Music Corp.
 3457   Suffocate                                             PA0000951000      W Chappell Music Corp. d/b/a WC Music Corp.
 3458   Sumthin' For Nuthin'                                  PA0000332225      W Chappell Music Corp. d/b/a WC Music Corp.
 3459   Sunshine                                              PA0001335215      W Chappell Music Corp. d/b/a WC Music Corp.
 3460   Superpower                                            PA0001918119      W Chappell Music Corp. d/b/a WC Music Corp.
 3461   Swerve City                                           PA0001849262      W Chappell Music Corp. d/b/a WC Music Corp.
 3462   Sydney                                                PA0001225980      W Chappell Music Corp. d/b/a WC Music Corp.
 3463   Take A Breath                                         PA0001763314      W Chappell Music Corp. d/b/a WC Music Corp.
 3464   Take It                                               PA0001060037      W Chappell Music Corp. d/b/a WC Music Corp.
 3465   Take My Hand                                          PA0001644614      W Chappell Music Corp. d/b/a WC Music Corp.
 3466   Take This                                             PA0001287781      W Chappell Music Corp. d/b/a WC Music Corp.
 3467   Tangled Up In You                                     PA0001608903      W Chappell Music Corp. d/b/a WC Music Corp.
 3468   Tattoo Of My Name                                     PA0001896737      W Chappell Music Corp. d/b/a WC Music Corp.
 3469   Tear Da Roof Off                                      PA0001728662      W Chappell Music Corp. d/b/a WC Music Corp.
 3470   Teenage Dream                                         PA0001753645      W Chappell Music Corp. d/b/a WC Music Corp.
 3471   Tell Me What Your Name Is                             PA0001659058      W Chappell Music Corp. d/b/a WC Music Corp.
 3472   Tempest                                               PA0001849262      W Chappell Music Corp. d/b/a WC Music Corp.
 3473   Ten Thousand Fists                                    PA0001347236      W Chappell Music Corp. d/b/a WC Music Corp.
 3474   Thank You                                             PA0001251377      W Chappell Music Corp. d/b/a WC Music Corp.
 3475   That's How You Like It                                PA0001131257      W Chappell Music Corp. d/b/a WC Music Corp.
 3476   That's What You Get                                   PA0001595073      W Chappell Music Corp. d/b/a WC Music Corp.
 3477   The Bottom                                            PA0001763314      W Chappell Music Corp. d/b/a WC Music Corp.
 3478   The Chill Of An Early Fall                            PA0000472652      W Chappell Music Corp. d/b/a WC Music Corp.
 3479   The Corner                                            PA0001608904      W Chappell Music Corp. d/b/a WC Music Corp.
 3480   The Curse                                             PA0001697242      W Chappell Music Corp. d/b/a WC Music Corp.
 3481   The Game                                              PA0001000622      W Chappell Music Corp. d/b/a WC Music Corp.
 3482   The Last Song                                         PA0001704476      W Chappell Music Corp. d/b/a WC Music Corp.
 3483   The Lazy Song                                         PA0001869989      W Chappell Music Corp. d/b/a WC Music Corp.
 3484   The Night                                             PA0001697227      W Chappell Music Corp. d/b/a WC Music Corp.
 3485   The Night I Fell in Love                              PA0000259621      W Chappell Music Corp. d/b/a WC Music Corp.
 3486   The Odyssey                                           PA0001022577      W Chappell Music Corp. d/b/a WC Music Corp.
 3487   The One That Got Away                                 PA0001753639      W Chappell Music Corp. d/b/a WC Music Corp.
 3488   The Real Slim Shady                                   PA0001040874      W Chappell Music Corp. d/b/a WC Music Corp.
 3489   The Red                                               PA0001859504      W Chappell Music Corp. d/b/a WC Music Corp.
 3490   The Setup                                             PA0001245808      W Chappell Music Corp. d/b/a WC Music Corp.
 3491   The Static Age                                        PA0001859360      W Chappell Music Corp. d/b/a WC Music Corp.
 3492   The Truth                                             PA0001935087      W Chappell Music Corp. d/b/a WC Music Corp.
 3493   The Way I Am                                          PA0001608904      W Chappell Music Corp. d/b/a WC Music Corp.
 3494   The Way You Love Me                                   PA0000977102      W Chappell Music Corp. d/b/a WC Music Corp.
 3495   The Wedding Song                                      PA0000627930      W Chappell Music Corp. d/b/a WC Music Corp.
 3496   The Worst Day Ever                                    PA0001084655      W Chappell Music Corp. d/b/a WC Music Corp.
 3497   These Walls                                           PA0001733326      W Chappell Music Corp. d/b/a WC Music Corp.
 3498   They Ready                                            PA0001995515      W Chappell Music Corp. d/b/a WC Music Corp.
 3499   Think                                                 PA0001225979;     W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001204554
 3500   Think About It (Don't Call My Crib)                   PA0001087584      W Chappell Music Corp. d/b/a WC Music Corp.
 3501   Thinking About You                                    PA0001657895      W Chappell Music Corp. d/b/a WC Music Corp.
 3502   Thinking 'Bout Somethin'                              PA0001733326      W Chappell Music Corp. d/b/a WC Music Corp.
 3503   Thinking Of You                                       PA0001687082      W Chappell Music Corp. d/b/a WC Music Corp.
 3504   This Is It                                            PA0001608897      W Chappell Music Corp. d/b/a WC Music Corp.
 3505   This Luv                                              PA0001087578      W Chappell Music Corp. d/b/a WC Music Corp.
 3506   This Moment                                           PA0001599219      W Chappell Music Corp. d/b/a WC Music Corp.
 3507   Throw It All Away                                     PA0001763314      W Chappell Music Corp. d/b/a WC Music Corp.
 3508   Till I Get There                                      PA0001739115      W Chappell Music Corp. d/b/a WC Music Corp.
 3509   Time Flies                                            PA0001225979      W Chappell Music Corp. d/b/a WC Music Corp.
 3510   Time To Say Goodbye                                   PA0001644605      W Chappell Music Corp. d/b/a WC Music Corp.
 3511   To Know You                                           PA0001686146      W Chappell Music Corp. d/b/a WC Music Corp.
 3512   Tongue Tied                                           PA0001762863      W Chappell Music Corp. d/b/a WC Music Corp.
 3513   Tonight                                               PA0001157385      W Chappell Music Corp. d/b/a WC Music Corp.




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        Track                                                 Reg. No.          Plaintiff
 3514   Torn                                                  PA0001697247      W Chappell Music Corp. d/b/a WC Music Corp.
 3515   Touch My Body                                         PA0001769539      W Chappell Music Corp. d/b/a WC Music Corp.
 3516   Treasure                                              PA0001869830      W Chappell Music Corp. d/b/a WC Music Corp.
 3517   Turn It Off                                           PA0001676905      W Chappell Music Corp. d/b/a WC Music Corp.
 3518   U Know What's Up                                      PA0001087586      W Chappell Music Corp. d/b/a WC Music Corp.
 3519   U,U,D,D,L,R,L,R,A,B,Select,Start                      PA0001373479      W Chappell Music Corp. d/b/a WC Music Corp.
 3520   UCUD GEDIT                                            PA0001851073      W Chappell Music Corp. d/b/a WC Music Corp.
 3521   Umbrella                                              PA0001602373      W Chappell Music Corp. d/b/a WC Music Corp.
 3522   Until The End Of Time                                 PA0001053379      W Chappell Music Corp. d/b/a WC Music Corp.
 3523   Until The Whole World Hears                           PA0001686149      W Chappell Music Corp. d/b/a WC Music Corp.
 3524   Up Out My Face                                        PA0001677862      W Chappell Music Corp. d/b/a WC Music Corp.
 3525   Upgrade U                                             PA0001384822      W Chappell Music Corp. d/b/a WC Music Corp.
 3526   Ur So Gay                                             PA0001686689      W Chappell Music Corp. d/b/a WC Music Corp.
 3527   Use Me Up                                             PA0001733326      W Chappell Music Corp. d/b/a WC Music Corp.
 3528   Vapor Transmission (Intro)                            PA0001022575      W Chappell Music Corp. d/b/a WC Music Corp.
 3529   Versus                                                PA0001858836      W Chappell Music Corp. d/b/a WC Music Corp.
 3530   Violence Fetish                                       PA0001000622      W Chappell Music Corp. d/b/a WC Music Corp.
 3531   Voice In The Chorus                                   PA0001733326      W Chappell Music Corp. d/b/a WC Music Corp.
 3532   Voices                                                PA0001000622      W Chappell Music Corp. d/b/a WC Music Corp.
 3533   Waiting For This                                      PA0001733326      W Chappell Music Corp. d/b/a WC Music Corp.
 3534   Waking Up In Vegas                                    PA0001687508      W Chappell Music Corp. d/b/a WC Music Corp.
 3535   Wannabe                                               PA0001763316      W Chappell Music Corp. d/b/a WC Music Corp.
 3536   Want                                                  PA0001000622      W Chappell Music Corp. d/b/a WC Music Corp.
 3537   We Are Broken                                         PA0001595053      W Chappell Music Corp. d/b/a WC Music Corp.
 3538   We are Young                                          PA0001791456      W Chappell Music Corp. d/b/a WC Music Corp.
 3539   What A World                                          PA0001395699      W Chappell Music Corp. d/b/a WC Music Corp.
 3540   What Happened To You?                                 PA0001849262      W Chappell Music Corp. d/b/a WC Music Corp.
 3541   When Girls Telephone Boys                             PA0001157470      W Chappell Music Corp. d/b/a WC Music Corp.
 3542   When I'm With You                                     PA0001084656      W Chappell Music Corp. d/b/a WC Music Corp.
 3543   When It Rains                                         PA0001595076      W Chappell Music Corp. d/b/a WC Music Corp.
 3544   Where's Gerrold                                       PA0001022574      W Chappell Music Corp. d/b/a WC Music Corp.
 3545   Who Am I Living For?                                  PA0001753640      W Chappell Music Corp. d/b/a WC Music Corp.
 3546   Who's Gonna Fill Their Shoes                          PAu000755785;     W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0000258925
 3547   Why They Call It Falling                              PA0001032265      W Chappell Music Corp. d/b/a WC Music Corp.
 3548   www.memory                                            PA0001013750      W Chappell Music Corp. d/b/a WC Music Corp.
 3549   XO                                                    PA0001918135      W Chappell Music Corp. d/b/a WC Music Corp.
 3550   Y.A.L.A.                                              PA0001919078      W Chappell Music Corp. d/b/a WC Music Corp.
 3551   Yesterday                                             PA0001157383      W Chappell Music Corp. d/b/a WC Music Corp.
 3552   You Can't Win                                         PA0001789856      W Chappell Music Corp. d/b/a WC Music Corp.
 3553   You Love Me                                           PA0001789870      W Chappell Music Corp. d/b/a WC Music Corp.
 3554   Your Love Is A Lie                                    PA0001644614      W Chappell Music Corp. d/b/a WC Music Corp.
 3555   You're All I Need                                     PA0000354505      W Chappell Music Corp. d/b/a WC Music Corp.
 3556   Zoe Jane                                              PA0001157384      W Chappell Music Corp. d/b/a WC Music Corp.
 3557   Run This Town                                         PA0001678122      W Chappell Music Corp. d/b/a WC Music Corp.
 3558   Ni**as In Paris                                       PA0001762035      W Chappell Music Corp. d/b/a WC Music Corp. / Unichappell Music Inc.
 3559   Mr. Know It All                                       PA0001851190      W Chappell Music Corp. d/b/a WC Music Corp. / Universal Music Corp.
 3560   Can't Stand The Rain                                  PA0001864761      W Chappell Music Corp. d/b/a WC Music Corp. / W.C.M. Music Corp.
 3561   Generation                                            PA0001644603      W Chappell Music Corp. d/b/a WC Music Corp. / W.C.M. Music Corp.
 3562   Goodbye Town                                          PA0001864759      W Chappell Music Corp. d/b/a WC Music Corp. / W.C.M. Music Corp.
 3563   Life As We Know It                                    PA0001879182      W Chappell Music Corp. d/b/a WC Music Corp. / W.C.M. Music Corp.
 3564   Long Teenage Goodbye                                  PA0001867241      W Chappell Music Corp. d/b/a WC Music Corp. / W.C.M. Music Corp.
 3565   The End                                               PA0001644615      W Chappell Music Corp. d/b/a WC Music Corp. / W.C.M. Music Corp.
 3566   When I'm Gone                                         PA0001644615      W Chappell Music Corp. d/b/a WC Music Corp. / W.C.M. Music Corp.
 3567   When I'm Gone (Acoustic Version)                      PA0001644615      W Chappell Music Corp. d/b/a WC Music Corp. / W.C.M. Music Corp.
 3568   Cop Car                                               PA0001878240      W Chappell Music Corp. d/b/a WC Music Corp. / Warner Chappell Music, Inc.
 3569   Don't Let Me Be Misunderstood                         Eu0000845843;     W Chappell Music Corp. d/b/a WC Music Corp. / Warner Chappell Music, Inc.
                                                              EP0000198593
 3570 Don't Let Me Be Misunderstood                           EP0000198593;     W Chappell Music Corp. d/b/a WC Music Corp. / Warner Chappell Music, Inc.
                                                              RE0000650481
 3571   Lift Off                                              PA0001768255      W Chappell Music Corp. d/b/a WC Music Corp. / Warner Chappell Music, Inc.
 3572   Radio                                                 PA0001939474      W Chappell Music Corp. d/b/a WC Music Corp. / Warner Chappell Music, Inc.
 3573   SexyBack                                              PA0001165048      W Chappell Music Corp. d/b/a WC Music Corp. / Warner Chappell Music, Inc.
 3574   Thank God For Hometowns                               PA0001848754      W Chappell Music Corp. d/b/a WC Music Corp. / Warner Chappell Music, Inc.
 3575   What Are We Doin' In Love                             PA0000101285      W Chappell Music Corp. d/b/a WC Music Corp. / Warner Chappell Music, Inc.
 3576   Work It Out                                           PA0001073475      W Chappell Music Corp. d/b/a WC Music Corp. / Warner Chappell Music, Inc.
 3577   All Me                                                PA0001967814      W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3578   Bang                                                  PA0001739089      W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3579   Beautiful                                             PA0001868404      W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3580   Big Weenie                                            PA0001284525      W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3581   Evil Deeds                                            PA0001284525      W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3582   Fire                                                  PA0001643192      W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3583   I Have Never Been To Memphis                          PA0001969119      W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3584   Karma                                                 PA0001739133      W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3585   Monster                                               PA0001806092      W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3586   No Lie                                                PA0001846688      W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3587   Outlaw                                                PA0000754054      W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.




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        Track                                                 Reg. No.         Plaintiff
 3588   2 Reasons                                             PA0001865859     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3589   Beach Is Better                                       PA0001858808     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3590   Bitches & Bottles (Let's Get It Started)              PA0001852363     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3591   Blow                                                  PA0001918139     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3592   Blue                                                  PA0001918115     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3593   Boardmeeting                                          PA0001761903     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3594   Bricksquad                                            PA0001739083     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3595   Bustin' At 'Em                                        PA0001739055     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3596   But I Will                                            PA0000669875     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3597   California King Bed                                   PA0001771890     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3598   Check Me Out                                          PA0001865883     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3599   Coffee Shop                                           PA0001858764     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3600   Crack A Bottle                                        PA0001848051     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3601   Crown                                                 PA0001858816     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3602   Do You Know What You Have                             PA0001882749     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3603   Drive                                                 PA0001870025     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3604   Drunk in Love                                         PA0001918132     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3605   Encore                                                PA0001284526     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3606   F**k The Club Up                                      PA0001847136     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3607   F**k This Industry                                    PA0001739132     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3608   F.U.T.W.                                              PA0001858842     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3609   G Check                                               PA0001739116     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3610   Gimme Whatcha Got                                     PA0001732722     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3611   Haunted                                               PA0001918115     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3612   Heaven                                                PA0001918115     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3613   Holy Grail                                            PA0001858794     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3614   How Forever Feels                                     PA0001044172     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3615   Jealous                                               PA0001918143     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3616   La Familia                                            PA0001858842     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3617   Live By The Gun                                       PA0001746038     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3618   Living The Life                                       PA0001648817     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3619   Love Money Party                                      PA0001870000     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3620   Loyal                                                 PA0001912898     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3621   Made In America                                       PA0001768256     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3622   Mirror                                                PA0001842434     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3623   Mosh                                                  PA0001284524     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3624   Move That Dope                                        PA0001888725     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3625   Neva End                                              PA0001856290     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3626   New Day                                               PA0001941862     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3627   Panty Droppa (Intro)                                  PA0001703149     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3628   Part II (On The Run)                                  PA0001858831     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3629   Partition                                             PA0001918144     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3630   Pound Cake / Paris Morton Music 2                     PA0001967812     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3631   POWER                                                 PA0001866095     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3632   Rain Man                                              PA0001284524     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3633   Revolver                                              PA0001764628     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3634   Ridaz                                                 PA0001848889     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3635   Saving Amy                                            PA0001694078     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3636   Shine                                                 PA0001305505     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3637   Slip of the Tongue                                    PA0000308826     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3638   Smoke, Drank                                          PA0001847147     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3639   SMS (Bangerz)                                         PA0001870020     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3640   So Appalled                                           PA0001740945     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3641   Somewhereinamerica                                    PA0001858818     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3642   Suit & Tie                                            PA0001939563     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3643   Swagger Jagger                                        PA0001884104     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3644   Take You                                              PA0001884089     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3645   Tattoo                                                PA0001872991     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3646   The Big One                                           PA0000811780     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3647   Timber                                                PA0001868393     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3648   Truth Gonna Hurt You                                  PA0001852655     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3649   TTG (Trained To Go)                                   PA0001739067     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3650   Turn On The Lights                                    PA0001852654     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3651   Two More Lonely People                                PA0001741421     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3652   We Can't Stop                                         PA0001870026     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3653   Welcome To The Jungle                                 PA0001816412     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3654   When I Was Down                                       PA0001087575     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3655   Who Gon Stop Me                                       PA0001850662     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3656   Worst Behavior                                        PA0001967813     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3657   You Deserve It                                        PA0001808144     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3658   You Give Me Love                                      PA0000901849     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3659   Come & Go                                             PA0001643195     W Chappell Music Corp. d/b/a/ WC Music Corp.
 3660   Hands All Over                                        PA0001784067     W Chappell Music Corp. d/b/a/ WC Music Corp. / Universal Music - MGB NA LLC
 3661   Last Chance                                           PA0001784067     W Chappell Music Corp. d/b/a/ WC Music Corp. / Universal Music - MGB NA LLC
 3662   Rocket                                                PA0001918124     W Chappell Music Corp. d/b/a/ WC Music Corp. / Warner-Tamerlane Publishing Corp. / Universal
                                                                               Music - Z Tunes LLC
 3663 Come and Get Me                                         PA0001761874     W.C.M. Music Corp.




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                                                              EXHIBIT B - MUSICAL COMPOSITIONS

        Track                                                 Reg. No.          Plaintiff
 3664   Confessions                                           PA0001227181      W.C.M. Music Corp.
 3665   Friends We Won't Forget                               PA0001800763      W.C.M. Music Corp.
 3666   Got You Home                                          PA0001343363      W.C.M. Music Corp.
 3667   Lloyd (Intro)                                         PA0001387423      W.C.M. Music Corp.
 3668   Lovestoned/I Think She Knows                          PA0001368884      W.C.M. Music Corp.
 3669   Medley: Sexy Ladies / Let Me Talk to You (Prelude)    PA0001368884      W.C.M. Music Corp.

 3670 Miscommunication                                        PA0001759717      W.C.M. Music Corp.
 3671   Oklahoma Sky                                          PA0001789998      W.C.M. Music Corp.
 3672   Scream                                                PA0001761672      W.C.M. Music Corp.
 3673   Sexy Ladies                                           PA0001368884      W.C.M. Music Corp.
 3674   So Hard                                               PA0001375845      W.C.M. Music Corp.
 3675   The Way I Are                                         PA0001761677      W.C.M. Music Corp.
 3676   Throwed                                               PA0001719705      W.C.M. Music Corp.
 3677   Was It Worth It?                                      PA0001603613      W.C.M. Music Corp.
 3678   What Goes Around... Comes Around                      PA0001368884      W.C.M. Music Corp.
 3679   Where Did He Go                                       PA0001767261      W.C.M. Music Corp.
 3680   Gimme More                                            PA0001680545      W.C.M. Music Corp.
 3681   Hardly Breathing                                      PA0001882751      W.C.M. Music Corp. / Warner-Tamerlane Publishing Corp.
 3682   I Can Only Imagine                                    PA0001778164      W.C.M. Music Corp. / Warner-Tamerlane Publishing Corp.
 3683   Mr. Right Now                                         PA0001852397;     W.C.M. Music Corp./W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001780994
 3684   1 Mo Time                                             PA0001765676      Warner Chappell Music, Inc.
 3685   Already There                                         PA0001768165      Warner Chappell Music, Inc.
 3686   Better In Time                                        PA0001740494      Warner Chappell Music, Inc.
 3687   Bouquet of Roses                                      EP0000027412;     Warner Chappell Music, Inc.
                                                              R607912
 3688   Breakin' Up                                           PA0001166321      Warner Chappell Music, Inc.
 3689   California Waiting                                    PA0001204543      Warner Chappell Music, Inc.
 3690   Closer                                                PA0001615767      Warner Chappell Music, Inc.
 3691   Cry Me a River                                        EP0000094728;     Warner Chappell Music, Inc.
                                                              RE0000169218
 3692 Don't Take Your Guns to Town                            Eu0000548552;     Warner Chappell Music, Inc.
                                                              RE0000283032
 3693   Faithful                                              PA0001299024      Warner Chappell Music, Inc.
 3694   Friday                                                PA0001765676      Warner Chappell Music, Inc.
 3695   Genius                                                PA0001204546      Warner Chappell Music, Inc.
 3696   Happy Alone                                           PA0001204539      Warner Chappell Music, Inc.
 3697   Hollaback Girl                                        PA0001160423      Warner Chappell Music, Inc.
 3698   Holy Roller Novocaine                                 PA0001204548      Warner Chappell Music, Inc.
 3699   I Am The Club                                         PA0001765676      Warner Chappell Music, Inc.
 3700   I Still Miss Someone                                  Eu0000541378;     Warner Chappell Music, Inc.
                                                              RE0000283809
 3701   I'm a Slave 4 U                                       PA0001060309      Warner Chappell Music, Inc.
 3702   Joe's Head                                            PA0001204541      Warner Chappell Music, Inc.
 3703   Just A Dream                                          PA0001742365      Warner Chappell Music, Inc.
 3704   Let's Take A Ride                                     PA0001133272      Warner Chappell Music, Inc.
 3705   Little Miss Strange                                   Eu0000081092      Warner Chappell Music, Inc.
 3706   Losing You                                            PA0001637010      Warner Chappell Music, Inc.
 3707   Molly's Chambers                                      PA0001204545      Warner Chappell Music, Inc.
 3708   My Funny Valentine                                    EP0000061055;     Warner Chappell Music, Inc.
                                                              R333857
 3709   Nothin' Else                                          PA0001133267      Warner Chappell Music, Inc.
 3710   Orange County Girl                                    PA0001166322      Warner Chappell Music, Inc.
 3711   Position Of Power                                     PA0001868739      Warner Chappell Music, Inc.
 3712   Red Morning Light                                     PA0001204538      Warner Chappell Music, Inc.
 3713   She's So Fine                                         Eu0000031444      Warner Chappell Music, Inc.
 3714   So Amazing                                            PA0001868740      Warner Chappell Music, Inc.
 3715   Spiral Staircase                                      PA0001204544      Warner Chappell Music, Inc.
 3716   Stand                                                 PA0001345399      Warner Chappell Music, Inc.
 3717   Take Care                                             PA0001841723      Warner Chappell Music, Inc.
 3718   Take It From Here                                     PA0001133263      Warner Chappell Music, Inc.
 3719   The Legend Of John Henry's Hammer                     Eu0000753362;     Warner Chappell Music, Inc.
                                                              RE0000519119
 3720   Trani                                                 PA0001204542      Warner Chappell Music, Inc.
 3721   Trip To Your Heart                                    PA0001750219      Warner Chappell Music, Inc.
 3722   U Started It                                          PA0001166323      Warner Chappell Music, Inc.
 3723   Understand Your Man                                   Eu0000805018      Warner Chappell Music, Inc.
 3724   Wasted Time                                           PA0001204540      Warner Chappell Music, Inc.
 3725   You Look So Good In Love                              PAu000502409      Warner Chappell Music, Inc.
 3726   Yummy                                                 PA0001166324      Warner Chappell Music, Inc.
 3727   Better In The Long Run                                PA0001790002      Warner Chappell Music, Inc. / Warner-Tamerlane Publishing Corp.
 3728   1st Time                                              PA0001347989      Warner-Tamerlane Publishing Corp.
 3729   6 Foot 7 Foot                                         PA0001807261      Warner-Tamerlane Publishing Corp.
 3730   Abortion                                              PA0001842433      Warner-Tamerlane Publishing Corp.
 3731   All Kinds of Kinds                                    PA0001789995      Warner-Tamerlane Publishing Corp.
 3732   All Of The Lights                                     PA0001791088      Warner-Tamerlane Publishing Corp.




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        Track                                                 Reg. No.          Plaintiff
 3733   All Of The Lights (Interlude)                         PA0001773393      Warner-Tamerlane Publishing Corp.
 3734   All Summer Long                                       PA0001643681      Warner-Tamerlane Publishing Corp.
 3735   All The Shine                                         PA0001773706      Warner-Tamerlane Publishing Corp.
 3736   Almost Lose It                                        PA0001846094      Warner-Tamerlane Publishing Corp.
 3737   Already Taken                                         PA0001902781      Warner-Tamerlane Publishing Corp.
 3738   Apple Pie Moonshine                                   PA0001761402      Warner-Tamerlane Publishing Corp.
 3739   As You Turn Away                                      PA0001817433      Warner-Tamerlane Publishing Corp.
 3740   Baby Come Home                                        PA0001114113      Warner-Tamerlane Publishing Corp.
 3741   Bad Decisions                                         PA0001865868      Warner-Tamerlane Publishing Corp.
 3742   Banjo                                                 PA0001853119      Warner-Tamerlane Publishing Corp.
 3743   Barry Bonds                                           PA0001861693      Warner-Tamerlane Publishing Corp.
 3744   Because Of Your Love                                  PA0001249901      Warner-Tamerlane Publishing Corp.
 3745   Bending the Rules and Breaking the Law                PA0001694074      Warner-Tamerlane Publishing Corp.
 3746   Blame Game                                            PA0001784046      Warner-Tamerlane Publishing Corp.
 3747   Blaze Of Glory                                        PA0000115623      Warner-Tamerlane Publishing Corp.
 3748   Blue Ocean Floor                                      PA0001915504      Warner-Tamerlane Publishing Corp.
 3749   Body 2 Body                                           PA0001868401      Warner-Tamerlane Publishing Corp.
 3750   Body Ache                                             PA0001917965      Warner-Tamerlane Publishing Corp.
 3751   Bottle Poppin'                                        PA0001648776      Warner-Tamerlane Publishing Corp.
 3752   Bound 2                                               PA0001921191      Warner-Tamerlane Publishing Corp.
 3753   Bravo                                                 PA0001778260      Warner-Tamerlane Publishing Corp.
 3754   Breathe                                               PA0001349255      Warner-Tamerlane Publishing Corp.
 3755   Burn It To The Ground                                 PA0001638902      Warner-Tamerlane Publishing Corp.
 3756   BYOB                                                  PA0001648815      Warner-Tamerlane Publishing Corp.
 3757   Camouflage                                            PA0002001267      Warner-Tamerlane Publishing Corp.
 3758   Candy                                                 PA0001763960      Warner-Tamerlane Publishing Corp.
 3759   Carried Away                                          PA0000830048      Warner-Tamerlane Publishing Corp.
 3760   Carrying Your Love With Me                            PA0000849801      Warner-Tamerlane Publishing Corp.
 3761   Champion                                              PA0001807224      Warner-Tamerlane Publishing Corp.
 3762   Changed                                               PA0001853120      Warner-Tamerlane Publishing Corp.
 3763   Chapter V                                             PA0001865863      Warner-Tamerlane Publishing Corp.
 3764   Chevy Smile                                           PA0001648814      Warner-Tamerlane Publishing Corp.
 3765   Cigarettes and Coffee                                 Eu0000684610;     Warner-Tamerlane Publishing Corp.
                                                              RE0000442404
 3766 Circus                                                  PA0001622999      Warner-Tamerlane Publishing Corp.
 3767 Cocky                                                   PAu002625389;     Warner-Tamerlane Publishing Corp.
                                                              PA0001114105
 3768   Cold As Stone                                         PA0001817040      Warner-Tamerlane Publishing Corp.
 3769   Come A Little Closer                                  PA0001069964      Warner-Tamerlane Publishing Corp.
 3770   Come Wake Me Up                                       PA0001853117      Warner-Tamerlane Publishing Corp.
 3771   Compass                                               PA0001879179      Warner-Tamerlane Publishing Corp.
 3772   Control Myself                                        PA0001599521      Warner-Tamerlane Publishing Corp.
 3773   Crazy                                                 PA0001338240      Warner-Tamerlane Publishing Corp.
 3774   Dancin' Away With My Heart                            PA0001817030      Warner-Tamerlane Publishing Corp.
 3775   Days Like These                                       PA0001790666      Warner-Tamerlane Publishing Corp.
 3776   Dear Mama                                             PA0000773741      Warner-Tamerlane Publishing Corp.
 3777   Dear Old Nicki                                        PA0001739207      Warner-Tamerlane Publishing Corp.
 3778   Devil In A New Dress                                  PA0001791337      Warner-Tamerlane Publishing Corp.
 3779   Dirt Road Anthem                                      PA0001694080      Warner-Tamerlane Publishing Corp.
 3780   Dive In                                               PA0001868040      Warner-Tamerlane Publishing Corp.
 3781   Domino                                                PA0001853396      Warner-Tamerlane Publishing Corp.
 3782   Don't Be Scared                                       PA0001931589      Warner-Tamerlane Publishing Corp.
 3783   Don't Forget Me                                       EU0000494299;     Warner-Tamerlane Publishing Corp.
                                                              RE0000857922
 3784   Don't Hold The Wall                                   PA0001915504      Warner-Tamerlane Publishing Corp.
 3785   Don't Play Wit It                                     PA0001347984      Warner-Tamerlane Publishing Corp.
 3786   Don't Tell Me U Love Me                               PA0001638755      Warner-Tamerlane Publishing Corp.
 3787   Doorbell                                              PA0001856251      Warner-Tamerlane Publishing Corp.
 3788   Dope Boy Magic                                        PA0001347985      Warner-Tamerlane Publishing Corp.
 3789   Downtown Girl                                         PA0001856129      Warner-Tamerlane Publishing Corp.
 3790   Drop The World                                        PA0001848752      Warner-Tamerlane Publishing Corp.
 3791   Drunk And Hot Girls                                   PA0001592989      Warner-Tamerlane Publishing Corp.
 3792   Drunk In the Morning                                  PAu002607513;     Warner-Tamerlane Publishing Corp.
                                                              PA0001114114
 3793   Easy                                                  PA0001349254      Warner-Tamerlane Publishing Corp.
 3794   Every Girl                                            PA0001741596      Warner-Tamerlane Publishing Corp.
 3795   Extravaganza                                          PA0001323666      Warner-Tamerlane Publishing Corp.
 3796   Fall Into Me                                          PA0001884101      Warner-Tamerlane Publishing Corp.
 3797   Fancy                                                 PA0001852254      Warner-Tamerlane Publishing Corp.
 3798   Fast Cars And Freedom                                 PA0001268341      Warner-Tamerlane Publishing Corp.
 3799   Feng Shui                                             PA0001338255      Warner-Tamerlane Publishing Corp.
 3800   Find Your Way Back                                    PAU000291891      Warner-Tamerlane Publishing Corp.
 3801   Fire Fly                                              PA0001773710      Warner-Tamerlane Publishing Corp.
 3802   Flip Flop                                             PA0001347987      Warner-Tamerlane Publishing Corp.
 3803   Flowers                                               PA0001162294      Warner-Tamerlane Publishing Corp.
 3804   Forever                                               PAu002635078;     Warner-Tamerlane Publishing Corp.
                                                              PA0001114104




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        Track                                                 Reg. No.         Plaintiff
 3805   Forever Unstoppable                                   PA0001856129     Warner-Tamerlane Publishing Corp.
 3806   Forever Yours                                         PA0001865870     Warner-Tamerlane Publishing Corp.
 3807   Fumble                                                PA0001866132     Warner-Tamerlane Publishing Corp.
 3808   Gasoline                                              PA0001750221     Warner-Tamerlane Publishing Corp.
 3809   Get Some                                              PA0001253726     Warner-Tamerlane Publishing Corp.
 3810   Getting To Da Money                                   PA0001648763     Warner-Tamerlane Publishing Corp.
 3811   Ghetto Love                                           PA0001396265     Warner-Tamerlane Publishing Corp.
 3812   Girls Around The World                                PA0001677803     Warner-Tamerlane Publishing Corp.
 3813   Go N' Get It                                          PA0001808406     Warner-Tamerlane Publishing Corp.
 3814   Gorgeous                                              PA0001740943     Warner-Tamerlane Publishing Corp.
 3815   Got To Get My Heart Back                              PA0001603589     Warner-Tamerlane Publishing Corp.
 3816   Gotta Be Somebody                                     PA0001638896     Warner-Tamerlane Publishing Corp.
 3817   Hail Mary                                             PA0001865861     Warner-Tamerlane Publishing Corp.
 3818   Halfway to Heaven                                     PA0001693861     Warner-Tamerlane Publishing Corp.
 3819   Harajuku Girls                                        PA0001274356     Warner-Tamerlane Publishing Corp.
 3820   Hate Sleeping Alone                                   PA0001997263     Warner-Tamerlane Publishing Corp.
 3821   Hear Me Coming                                        PA0001347989     Warner-Tamerlane Publishing Corp.
 3822   Heart Attack                                          PA0001931588     Warner-Tamerlane Publishing Corp.
 3823   Hell On Wheels                                        PA0001694071     Warner-Tamerlane Publishing Corp.
 3824   Hell Yeah                                             PA0001648815     Warner-Tamerlane Publishing Corp.
 3825   Hello                                                 PA0001892996     Warner-Tamerlane Publishing Corp.
 3826   Hello Good Morning                                    PA0001745034     Warner-Tamerlane Publishing Corp.
 3827   Hold Up                                               PA0001741949     Warner-Tamerlane Publishing Corp.
 3828   Hollywood Divorce                                     PA0001603423     Warner-Tamerlane Publishing Corp.
 3829   How To Hate                                           PA0001807231     Warner-Tamerlane Publishing Corp.
 3830   How To Love                                           PA0001807262     Warner-Tamerlane Publishing Corp.
 3831   How You Remind Me                                     PA0001103818     Warner-Tamerlane Publishing Corp.
 3832   Hustle Hard Remix                                     PA0001794383     Warner-Tamerlane Publishing Corp.
 3833   Hustlemania (Skit)                                    PA0001648764     Warner-Tamerlane Publishing Corp.
 3834   HYFR (Hell Ya F***ing Right)                          PA0001869936     Warner-Tamerlane Publishing Corp.
 3835   Hyyerr                                                PA0001679583     Warner-Tamerlane Publishing Corp.
 3836   I Ain't Goin' Out Like That                           PA0000848472     Warner-Tamerlane Publishing Corp.
 3837   I Am Not A Human Being                                PA0001741896     Warner-Tamerlane Publishing Corp.
 3838   I Can Transform Ya                                    PA0001744956     Warner-Tamerlane Publishing Corp.
 3839   I Cross My Heart                                      PA0000593349     Warner-Tamerlane Publishing Corp.
 3840   I Get It                                              PA0001387419     Warner-Tamerlane Publishing Corp.
 3841   I Know You See It                                     PA0001347990     Warner-Tamerlane Publishing Corp.
 3842   I Know You Won't                                      PA0001644685     Warner-Tamerlane Publishing Corp.
 3843   I Like It Like That                                   PA0001856125     Warner-Tamerlane Publishing Corp.
 3844   I Like The View                                       PA0001807227     Warner-Tamerlane Publishing Corp.
 3845   I Melt                                                PA0001136262     Warner-Tamerlane Publishing Corp.
 3846   I Run To You                                          PA0001706945     Warner-Tamerlane Publishing Corp.
 3847   I Stand Accused                                       EP0000329319     Warner-Tamerlane Publishing Corp.
 3848   I'd Come For You                                      PA0001708562     Warner-Tamerlane Publishing Corp.
 3849   If Drinkin' Don't Kill Me (Her Memory Will)           PA0000102104     Warner-Tamerlane Publishing Corp.
 3850   If Today Was Your Last Day                            PA0001622259     Warner-Tamerlane Publishing Corp.
 3851   If You Want A Bad Boy                                 PA0001971305     Warner-Tamerlane Publishing Corp.
 3852   I'm Him                                               PA0001347988     Warner-Tamerlane Publishing Corp.
 3853   I'm Me                                                PA0001619819     Warner-Tamerlane Publishing Corp.
 3854   I'm Single                                            PA0001741951     Warner-Tamerlane Publishing Corp.
 3855   I'm So Blessed                                        PA0001852361     Warner-Tamerlane Publishing Corp.
 3856   I'm So Over You                                       PA0001732191     Warner-Tamerlane Publishing Corp.
 3857   I'm The Best                                          PA0001739207     Warner-Tamerlane Publishing Corp.
 3858   Initiation                                            PA0001951618     Warner-Tamerlane Publishing Corp.
 3859   Inside Interlewd                                      PA0001866129     Warner-Tamerlane Publishing Corp.
 3860   Interlude                                             PA0001807226     Warner-Tamerlane Publishing Corp.
 3861   Interlude4U                                           PA0001865878     Warner-Tamerlane Publishing Corp.
 3862   Intro                                                 PA0001807226     Warner-Tamerlane Publishing Corp.
 3863   Islands In The Stream                                 PA0000188026     Warner-Tamerlane Publishing Corp.
 3864   It Did                                                PA0001628194     Warner-Tamerlane Publishing Corp.
 3865   It Will Be Me                                         PA0000988177     Warner-Tamerlane Publishing Corp.
 3866   It's Five O' Clock Somewhere                          PA0001158580     Warner-Tamerlane Publishing Corp.
 3867   It's Good                                             PA0001842432     Warner-Tamerlane Publishing Corp.
 3868   It's Not Over                                         PA0001349172     Warner-Tamerlane Publishing Corp.
 3869   Jackson, Mississippi                                  PA0001311747     Warner-Tamerlane Publishing Corp.
 3870   Jam For The Ladies                                    PA0001075467     Warner-Tamerlane Publishing Corp.
 3871   Jane                                                  PAU000269243     Warner-Tamerlane Publishing Corp.
 3872   Jesus For A Day                                       PA0001157410     Warner-Tamerlane Publishing Corp.
 3873   Johnny Cash                                           PA0001292991     Warner-Tamerlane Publishing Corp.
 3874   Just A Kiss                                           PA0001817035     Warner-Tamerlane Publishing Corp.
 3875   Just To Get High                                      PA0001622259     Warner-Tamerlane Publishing Corp.
 3876   Keep The Girl                                         PA0001935083     Warner-Tamerlane Publishing Corp.
 3877   Keep You With Me                                      PA0001856129     Warner-Tamerlane Publishing Corp.
 3878   Knock It Out                                          PA0001347991     Warner-Tamerlane Publishing Corp.
 3879   Knock You Down                                        PA0001767248     Warner-Tamerlane Publishing Corp.
 3880   Ladies Go Wild                                        PA0001846093     Warner-Tamerlane Publishing Corp.




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      Track                                                   Reg. No.          Plaintiff
 3881 Lay It On Me                                            PAu002607508;     Warner-Tamerlane Publishing Corp.
                                                              PA0001114110
 3882   Layin' It on the Line                                 PA0000215600      Warner-Tamerlane Publishing Corp.
 3883   LES                                                   PA0001773586      Warner-Tamerlane Publishing Corp.
 3884   Let It Rock                                           PA0001624274      Warner-Tamerlane Publishing Corp.
 3885   Let The Beat Build                                    PA0001621374      Warner-Tamerlane Publishing Corp.
 3886   Let The Groove Get In                                 PA0001915504      Warner-Tamerlane Publishing Corp.
 3887   Let's Make Love                                       PA0000988178      Warner-Tamerlane Publishing Corp.
 3888   Lifeline                                              PA0001671748      Warner-Tamerlane Publishing Corp.
 3889   Like I Love You                                       PA0001157796      Warner-Tamerlane Publishing Corp.
 3890   Like My Style                                         PA0001248733      Warner-Tamerlane Publishing Corp.
 3891   Like We Never Loved At All                            PA0001290857      Warner-Tamerlane Publishing Corp.
 3892   Linger                                                PA0000608834      Warner-Tamerlane Publishing Corp.
 3893   Lollipop                                              PA0001619781      Warner-Tamerlane Publishing Corp.
 3894   Lonely Road Of Faith                                  PAu002635077;     Warner-Tamerlane Publishing Corp.
                                                              PA0001114106
 3895   Look At Me Now                                        PA0001921210      Warner-Tamerlane Publishing Corp.
 3896   Lookin' At You                                        PA0001263491      Warner-Tamerlane Publishing Corp.
 3897   Looks That Kill                                       PA0000193924      Warner-Tamerlane Publishing Corp.
 3898   Love Faces                                            PA0001856243      Warner-Tamerlane Publishing Corp.
 3899   Love In This Club, Part II                            PA0001690182      Warner-Tamerlane Publishing Corp.
 3900   Love I've Found In You                                PA0001817038      Warner-Tamerlane Publishing Corp.
 3901   Made To Be Together                                   PA0001856238      Warner-Tamerlane Publishing Corp.
 3902   Main Title (From "Star Wars")                         PA0000062943      Warner-Tamerlane Publishing Corp.
 3903   Make Me Proud                                         PA0001869946      Warner-Tamerlane Publishing Corp.
 3904   Mama's Broken Heart                                   PA0001790000      Warner-Tamerlane Publishing Corp.
 3905   Medicated                                             PA0001952869      Warner-Tamerlane Publishing Corp.
 3906   MegaMan                                               PA0001807233      Warner-Tamerlane Publishing Corp.
 3907   Memory Lane                                           PA0001868403      Warner-Tamerlane Publishing Corp.
 3908   Mercy                                                 PA0001913931      Warner-Tamerlane Publishing Corp.
 3909   Midnight Train To Memphis                             PA0001114112      Warner-Tamerlane Publishing Corp.
 3910   Miss Me                                               PA0001728552      Warner-Tamerlane Publishing Corp.
 3911   Moment 4 Life                                         PA0001739210      Warner-Tamerlane Publishing Corp.
 3912   Momma                                                 PA0001648755      Warner-Tamerlane Publishing Corp.
 3913   My Kinda Party                                        PA0001750920      Warner-Tamerlane Publishing Corp.
 3914   Never Again                                           PA0001819832      Warner-Tamerlane Publishing Corp.
 3915   Never Ever                                            PA0001659049      Warner-Tamerlane Publishing Corp.
 3916   New Joc City - Intro                                  PA0001347982      Warner-Tamerlane Publishing Corp.
 3917   Next Go Round                                         PA0001622259      Warner-Tamerlane Publishing Corp.
 3918   Nightmares Of The Bottom                              PA0001915461      Warner-Tamerlane Publishing Corp.
 3919   No                                                    PA0001628202      Warner-Tamerlane Publishing Corp.
 3920   Not Over You                                          PA0001763962      Warner-Tamerlane Publishing Corp.
 3921   One Last Time                                         PA0001625727      Warner-Tamerlane Publishing Corp.
 3922   One, Two Step                                         PA0001263489      Warner-Tamerlane Publishing Corp.
 3923   Outro                                                 PA0001807226      Warner-Tamerlane Publishing Corp.
 3924   Outside                                               PA0001773713      Warner-Tamerlane Publishing Corp.
 3925   Outta Here                                            PA0001209421      Warner-Tamerlane Publishing Corp.
 3926   Own It                                                PA0001891427      Warner-Tamerlane Publishing Corp.
 3927   P.Y.T. (Pretty Young Thing)                           PA0000159305      Warner-Tamerlane Publishing Corp.
 3928   Paint This House                                      PA0001882750      Warner-Tamerlane Publishing Corp.
 3929   Pak Man                                               PA0001648771      Warner-Tamerlane Publishing Corp.
 3930   Panic Prone                                           PA0001253726      Warner-Tamerlane Publishing Corp.
 3931   Panty Wetter                                          PA0001865865      Warner-Tamerlane Publishing Corp.
 3932   Paper Scissors Rock                                   PA0001866592      Warner-Tamerlane Publishing Corp.
 3933   Patron                                                PA0001347986      Warner-Tamerlane Publishing Corp.
 3934   Phone Home                                            PA0001621245      Warner-Tamerlane Publishing Corp.
 3935   Pick Up The Phone                                     PA0001263490      Warner-Tamerlane Publishing Corp.
 3936   Picture Perfect                                       PA0001347992      Warner-Tamerlane Publishing Corp.
 3937   Play Your Cards                                       PA0001648743      Warner-Tamerlane Publishing Corp.
 3938   Player's Prayer                                       PA0001387429      Warner-Tamerlane Publishing Corp.
 3939   Playin' Hard                                          PA0001866123      Warner-Tamerlane Publishing Corp.
 3940   Playin' Our Song                                      PA0001670197      Warner-Tamerlane Publishing Corp.
 3941   Please Return My Call                                 PA0001771885      Warner-Tamerlane Publishing Corp.
 3942   Pocahontas Proud                                      PA0001227155      Warner-Tamerlane Publishing Corp.
 3943   Pop That                                              PA0001861940      Warner-Tamerlane Publishing Corp.
 3944   Popular                                               PA0001741903      Warner-Tamerlane Publishing Corp.
 3945   Prayin' For Daylight                                  PA0000978701      Warner-Tamerlane Publishing Corp.
 3946   President Carter                                      PA0001807235      Warner-Tamerlane Publishing Corp.
 3947   Pretty Girl's Lie                                     PA0001865867      Warner-Tamerlane Publishing Corp.
 3948   Pusher Love Girl                                      PA0001915504      Warner-Tamerlane Publishing Corp.
 3949   Queen Of Hearts                                       PA0001742580      Warner-Tamerlane Publishing Corp.
 3950   Radiation                                             PA0001763960      Warner-Tamerlane Publishing Corp.
 3951   Radio                                                 PA0001630369      Warner-Tamerlane Publishing Corp.
 3952   Ready Or Not                                          PA0000844694      Warner-Tamerlane Publishing Corp.
 3953   Rest Of Our Life                                      PA0001896429      Warner-Tamerlane Publishing Corp.
 3954   Rewind                                                PA0001969112      Warner-Tamerlane Publishing Corp.
 3955   Right Above It                                        PA0001741926      Warner-Tamerlane Publishing Corp.




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        Track                                                 Reg. No.          Plaintiff
 3956   Right One Time                                        PA0001853122      Warner-Tamerlane Publishing Corp.
 3957   Rise Above                                            PA0001951621      Warner-Tamerlane Publishing Corp.
 3958   Rock Your Body                                        PA0001157796      Warner-Tamerlane Publishing Corp.
 3959   Run Every Time                                        PA0001763961      Warner-Tamerlane Publishing Corp.
 3960   S.E.X.                                                PA0001622259      Warner-Tamerlane Publishing Corp.
 3961   Salvation                                             PA0000791575      Warner-Tamerlane Publishing Corp.
 3962   See Me Now                                            PA0001865581      Warner-Tamerlane Publishing Corp.
 3963   See You In My Nightmares                              PA0001643088      Warner-Tamerlane Publishing Corp.
 3964   See You When I See You                                PA0001790669      Warner-Tamerlane Publishing Corp.
 3965   Senorita                                              PA0001157796      Warner-Tamerlane Publishing Corp.
 3966   Session One                                           PA0001848890      Warner-Tamerlane Publishing Corp.
 3967   Sex In The Lounge                                     PA0001842417      Warner-Tamerlane Publishing Corp.
 3968   Shakin' Hands                                         PA0001638848      Warner-Tamerlane Publishing Corp.
 3969   Shame                                                 PA0001878241      Warner-Tamerlane Publishing Corp.
 3970   Shattered Glass                                       PA0001632385      Warner-Tamerlane Publishing Corp.
 3971   She Don't Have to Know                                PA0001299028      Warner-Tamerlane Publishing Corp.
 3972   She Will                                              PA0001807232      Warner-Tamerlane Publishing Corp.
 3973   Shine                                                 PA0001778259      Warner-Tamerlane Publishing Corp.
 3974   Shoot Me Down                                         PA0001915522      Warner-Tamerlane Publishing Corp.
 3975   Shut It Down                                          PA0001870871      Warner-Tamerlane Publishing Corp.
 3976   Simply Amazing                                        PA0001868036      Warner-Tamerlane Publishing Corp.
 3977   Skeletons                                             PA0001789847      Warner-Tamerlane Publishing Corp.
 3978   Ski Mask Way                                          PA0001281578      Warner-Tamerlane Publishing Corp.
 3979   So Special                                            PA0001807229      Warner-Tamerlane Publishing Corp.
 3980   Something In Your Mouth                               PA0001638848      Warner-Tamerlane Publishing Corp.
 3981   Somewhere Love Remains                                PA0001817433      Warner-Tamerlane Publishing Corp.
 3982   Spaceship Coupe                                       PA0001915506      Warner-Tamerlane Publishing Corp.
 3983   Spell It Out                                          PA0001763961      Warner-Tamerlane Publishing Corp.
 3984   St. Elsewhere                                         PA0001338251      Warner-Tamerlane Publishing Corp.
 3985   Stealing                                              PA0001763960      Warner-Tamerlane Publishing Corp.
 3986   Stop, Look, Listen (To Your Heart)                    EP0000286226      Warner-Tamerlane Publishing Corp.
 3987   Straight Jacket Fashion                               PA0001387418      Warner-Tamerlane Publishing Corp.
 3988   Straight Up                                           PA0001808141      Warner-Tamerlane Publishing Corp.
 3989   Stranger                                              PAU000291890      Warner-Tamerlane Publishing Corp.
 3990   Strawberry Bubblegum                                  PA0001915506      Warner-Tamerlane Publishing Corp.
 3991   StreetLove                                            PA0001387433      Warner-Tamerlane Publishing Corp.
 3992   Summon The Heroes                                     PA0000844744      Warner-Tamerlane Publishing Corp.
 3993   Sunrise                                               PA0001773580      Warner-Tamerlane Publishing Corp.
 3994   Sunshine & Summertime                                 PA0001290858      Warner-Tamerlane Publishing Corp.
 3995   Sweeter                                               PA0001763962      Warner-Tamerlane Publishing Corp.
 3996   Take It Outside                                       PA0001694081      Warner-Tamerlane Publishing Corp.
 3997   Take You Home                                         PA0001387431      Warner-Tamerlane Publishing Corp.
 3998   Tapout                                                PA0001976125      Warner-Tamerlane Publishing Corp.
 3999   Tattoos On This Town                                  PA0001790667      Warner-Tamerlane Publishing Corp.
 4000   Teach Me How To Dougie                                PA0001744864      Warner-Tamerlane Publishing Corp.
 4001   Tell Somebody                                         PA0001842284      Warner-Tamerlane Publishing Corp.
 4002   Texas Was You                                         PA0001790669      Warner-Tamerlane Publishing Corp.
 4003   That Girl                                             PA0001915505      Warner-Tamerlane Publishing Corp.
 4004   That Power                                            PA0001773578      Warner-Tamerlane Publishing Corp.
 4005   The Boogie Monster                                    PA0001338253      Warner-Tamerlane Publishing Corp.
 4006   The Clincher                                          PA0001253725      Warner-Tamerlane Publishing Corp.
 4007   The Fad                                               PA0001387418      Warner-Tamerlane Publishing Corp.
 4008   The Night Before (Life Goes On)                       PA0001302091      Warner-Tamerlane Publishing Corp.
 4009   The Real Her                                          PA0001869994      Warner-Tamerlane Publishing Corp.
 4010   Them Boys                                             PA0001693846      Warner-Tamerlane Publishing Corp.
 4011   There Goes My Life                                    PA0001209420      Warner-Tamerlane Publishing Corp.
 4012   This Afternoon                                        PA0001638899      Warner-Tamerlane Publishing Corp.
 4013   Thug Style                                            PA0001263491      Warner-Tamerlane Publishing Corp.
 4014   Tie My Hands                                          PA0001621378      Warner-Tamerlane Publishing Corp.
 4015   Till I Die                                            PA0001842278      Warner-Tamerlane Publishing Corp.
 4016   Time                                                  PA0001760169      Warner-Tamerlane Publishing Corp.
 4017   Transformer                                           PA0001338256      Warner-Tamerlane Publishing Corp.
 4018   Trumpet Lights                                        PA0001842283      Warner-Tamerlane Publishing Corp.
 4019   Tunnel Vision                                         PA0001915506      Warner-Tamerlane Publishing Corp.
 4020   Turnin Me On                                          PA0001881520      Warner-Tamerlane Publishing Corp.
 4021   Two Shots                                             PA0001842435      Warner-Tamerlane Publishing Corp.
 4022   Under Ground Kings                                    PA0001808381      Warner-Tamerlane Publishing Corp.
 4023   Up Up And Away                                        PA0001997140      Warner-Tamerlane Publishing Corp.
 4024   Valentine                                             PA0001387428      Warner-Tamerlane Publishing Corp.
 4025   Vitamin R (Leading Us Along)                          PA0001253726      Warner-Tamerlane Publishing Corp.
 4026   Waitin' On a Woman                                    PA0001288292      Warner-Tamerlane Publishing Corp.
 4027   Walking On The Moon                                   PA0001893004      Warner-Tamerlane Publishing Corp.
 4028   Wanted You More                                       PA0001817205      Warner-Tamerlane Publishing Corp.
 4029   Wasted                                                PA0001302090      Warner-Tamerlane Publishing Corp.
 4030   Watch N Learn                                         PA0001842405      Warner-Tamerlane Publishing Corp.
 4031   WCSR                                                  PAu002607518;     Warner-Tamerlane Publishing Corp.
                                                              PA0001114103




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        Track                                                 Reg. No.          Plaintiff
 4032   We Been On                                            PA0001995834      Warner-Tamerlane Publishing Corp.
 4033   We'll Be Fine                                         PA0001869942      Warner-Tamerlane Publishing Corp.
 4034   Well Enough Alone                                     PA0001387417      Warner-Tamerlane Publishing Corp.
 4035   What Happened                                         PA0001227154      Warner-Tamerlane Publishing Corp.
 4036   What I Learned Out On The Road                        PAu002625391;     Warner-Tamerlane Publishing Corp.
                                                              PA0001114109
 4037   What You Wanna Do                                     PA0001387432      Warner-Tamerlane Publishing Corp.
 4038   Whatever                                              PA0001856129      Warner-Tamerlane Publishing Corp.
 4039   When I Think About Cheatin'                           PA0001227155      Warner-Tamerlane Publishing Corp.
 4040   When I Think About Leaving                            PA0001209065      Warner-Tamerlane Publishing Corp.
 4041   When It Rains                                         PA0001227155      Warner-Tamerlane Publishing Corp.
 4042   When U Love Someone                                   PA0001638755      Warner-Tamerlane Publishing Corp.
 4043   When You Were Mine                                    PA0001817032      Warner-Tamerlane Publishing Corp.
 4044   Where You Are                                         PA0001763960      Warner-Tamerlane Publishing Corp.
 4045   Wide Open                                             PA0001935080      Warner-Tamerlane Publishing Corp.
 4046   Wild Ones                                             PA0001883945      Warner-Tamerlane Publishing Corp.
 4047   Wind Beneath My Wings / He Hawai`i Au                 PA0000154386      Warner-Tamerlane Publishing Corp.
 4048   Wish You Would                                        PA0001660102      Warner-Tamerlane Publishing Corp.
 4049   Work Hard, Play Hard                                  PA0001951615      Warner-Tamerlane Publishing Corp.
 4050   Wut We Doin?                                          PA0001846684      Warner-Tamerlane Publishing Corp.
 4051   You                                                   PA0001387424      Warner-Tamerlane Publishing Corp.
 4052   You And Me                                            PA0001271822      Warner-Tamerlane Publishing Corp.
 4053   You Are Everything                                    EP0000291953      Warner-Tamerlane Publishing Corp.
 4054   You Know Where I'm At                                 PA0001763960      Warner-Tamerlane Publishing Corp.
 4055   You Never Met A Motherf**Ker Quite Like Me            PAu002607516;     Warner-Tamerlane Publishing Corp.
                                                              PA0001114102
 4056   You Will Be Mine                                      PAu001966658      Warner-Tamerlane Publishing Corp.
 4057   Zombie                                                PA0000734574      Warner-Tamerlane Publishing Corp.
 4058   TRUE                                                  PA0000895879      Warner-Tamerlane Publishing Corp.
 4059   Grove St. Party                                       PA0001739117      Warner-Tamerlane Publishing Corp.
 4060   My Wild Frontier                                      PA0000901850      Warner-Tamerlane Publishing Corp.
 4061   Naughty Girl                                          PA0001375850      Warner-Tamerlane Publishing Corp.
 4062   No Love                                               PA0001735858      Warner-Tamerlane Publishing Corp.
 4063   Sugar                                                 PA0001638753      Warner-Tamerlane Publishing Corp.
 4064   Marvin & Chardonnay                                   PA0001780731      Warner-Tamerlane Publishing Corp. / Songs of Universal, Inc.




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